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     Facility        Facility Owner   Item Number    Serial No.         Location          Item Description                                                          Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                          18‐3/4" X 10‐3/4" CASING HANGER, 11‐1/2" TENARIS TSH WEDGE 623 DOPELESS
                                                                                          (98.20 LB/FT) BOX DOWN X , V, DD, PSL‐3, RATED F/HIGH TEMP/HIGH LOAD,                      CUSTOMER
Drilquip ‐ Houston      Drilquip      2‐415343‐06   00304950‐01      ELD Rack: F191       F/H2S                                                                                      PROPERTY       EA                                 1                                0
                                                                                          18‐3/4" X 10‐3/4" CASING HANGER, 11‐1/2" TENARIS TSH WEDGE 623 DOPELESS
                                                                                          (98.20 LB/FT) BOX DOWN X , V, DD, PSL‐3, RATED F/HIGH TEMP/HIGH LOAD,                      CUSTOMER
Drilquip ‐ Houston      Drilquip      2‐415343‐06   00304950‐02      ELD Rack: F204       F/H2S                                                                                      PROPERTY       EA                                 1                                0
                                                                                          22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                          1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                          DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00304837‐01       ELD Rack: L71       Q504.01                                                                                                   EA                                 1                                0
                                                                                          22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                          1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                          DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00304837‐02       ELD Rack: L71       Q504.01                                                                                                   EA                                 1                                0
                                                                                          CROSSOVER SWEDGE: WITH 22" X 1.000" WALL BUTTWELD PREP DOWN X 22.13"
Drilquip ‐ Houston      Drilquip      2‐404391‐07   00304257‐01      ELD Rack: A05G       X .750" WALL BUTTWELD PREP UP, NOBLE QUALITY PLAN Q504.01                                                 EA                                 1                                0
                                                                                          CROSSOVER SWEDGE: WITH 22" X 1.000" WALL BUTTWELD PREP DOWN X 22.13"
Drilquip ‐ Houston      Drilquip      2‐404391‐07   00304257‐02      ELD Rack: A05G       X .750" WALL BUTTWELD PREP UP, NOBLE QUALITY PLAN Q504.01                                                 EA                                 1                                0
                                                                                          CROSSOVER SWEDGE: WITH 22" X 1.000" WALL BUTTWELD PREP DOWN X 22.13"
Drilquip ‐ Houston      Drilquip      2‐404391‐07   00304257‐03      ELD Rack: A05G       X .750" WALL BUTTWELD PREP UP, NOBLE QUALITY PLAN Q504.01                                                 EA                                 1                                0
                                                                                          CROSSOVER SWEDGE: WITH 22" X 1.000" WALL BUTTWELD PREP DOWN X 22.13"
Drilquip ‐ Houston      Drilquip      2‐404391‐07   00304257‐04      ELD Rack: A05G       X .750" WALL BUTTWELD PREP UP, NOBLE QUALITY PLAN Q504.01                                                 EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00304566‐01      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00304566‐02      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00304566‐03      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00304566‐04      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00304808‐01      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00304808‐02      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00304808‐03      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00304808‐04      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                          PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                          LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00304834‐01       ELD Rack: L69       QUALITY PLAN Q504.01                                                                                      EA                                 1                                0
                                                                                          36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                          PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                          LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00304834‐02       ELD Rack: L70       QUALITY PLAN Q504.01                                                                                      EA                                 1                                0
                                                                                          36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                          PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                          LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00304834‐03       ELD Rack: L75       QUALITY PLAN Q504.01                                                                                      EA                                 1                                0
                                                                                          36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                          PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                          LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00304834‐04       ELD Rack: L70       QUALITY PLAN Q504.01                                                                                      EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                          BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON                        DW GOM
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00305662‐03   ELD Rack: NYD CC‐9 16   FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                        INVENTORY      EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                          BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON                        DW GOM
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00305662‐01   ELD Rack: NYD CC‐9 15   FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                        INVENTORY      EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                          BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON                        DW GOM
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00305662‐02   ELD Rack: NYD CC‐9 15   FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                        INVENTORY      EA                                 1                                0
                                                                                          18‐3/4" X 10‐3/4" CASING HANGER, 11‐1/2" TENARIS TSH WEDGE 623 DOPELESS
                                                                                          (98.20 LB/FT) BOX DOWN X , V, DD, PSL‐3, RATED F/HIGH TEMP/HIGH LOAD,                      CUSTOMER
Drilquip ‐ Houston      Drilquip      2‐415343‐06   00306737‐01      ELD Rack: F191       F/H2S                                                                                      PROPERTY       EA                                 1                                0
                                                                                          18‐3/4" X 10‐3/4" CASING HANGER, 11‐1/2" TENARIS TSH WEDGE 623 DOPELESS
                                                                                          (98.20 LB/FT) BOX DOWN X , V, DD, PSL‐3, RATED F/HIGH TEMP/HIGH LOAD,                      CUSTOMER
Drilquip ‐ Houston      Drilquip      2‐415343‐06   00306737‐02      ELD Rack: F191       F/H2S                                                                                      PROPERTY       EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00302338‐01       ELD Rack: I‐3       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00302338‐02      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00302338‐03      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00302338‐04      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00302338‐05      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00302338‐06      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00302338‐07      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00302338‐08      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A           ELD Rack: J16       FOUR (4) VALVES)                                                                                          EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A           ELD Rack: J37       FOUR (4) VALVES)                                                                                          EA                                 1                                0




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     Facility        Facility Owner   Item Number   Serial No.      Location      Item Description                                                         Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J37    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J37    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A        ELD Rack: J9    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J16    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J16    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A        ELD Rack: J9    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J38    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J38    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J39    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J39    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: F217   FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: F217   FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: F217   FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: F217   FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J59    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J59    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J46    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J31    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: K100   FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J51    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J46    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J51    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J31    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J46    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J51    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J51    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J31    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J31    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J31    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: K100   FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: K100   FOUR (4) VALVES)                                                                                         EA                                 1                                0




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     Facility        Facility Owner   Item Number    Serial No.         Location          Item Description                                                              Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A          ELD Rack: K100       FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A          ELD Rack: K100       FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A          ELD Rack: K100       FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A           ELD Rack: J46       FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A           ELD Rack: J31       FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A           ELD Rack: J31       FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A           ELD Rack: J31       FOUR (4) VALVES)                                                                                              EA                                 1                                0

                                                                                          36" WELLHEAD HOUSING RIGID LOCKDOWN/ANNULUS SHUT‐OFF, TYPE SS‐15:
                                                                                          36" O.D. X 2.000" WALL B.W.P. I.D. PREP. FOR CAM ACTUATED RUNNING TOOL.
                                                                                          HYDRATE DIVERSION SEAL. MIN. I.D. 30.617". MATERIAL CLASS AA, TEMP. V, PSL‐
Drilquip ‐ Houston      Drilquip      2‐404172‐09   00307177‐01      ELD Rack: B15G       3, API‐17D. PROFILE FOR OVERPULL SPLIT RING. PER NOBLE QP Q504.01                                             EA                                 1                                0
                                                                                          36" X 28" SUPPLEMENTAL ADAPTER, 36" O.D. X 2.000" WALL BUTTWELD PREP.
                                                                                          UP X 36" O.D. X 2.000" WALL BUTTWELD PREP. DOWN, WITH TWELVE (12) 4"
                                                                                          FLOW‐BY PORTS AND INTERNAL POSITIVE STOP PROFILE FOR 28" SCAB HANGER,
Drilquip ‐ Houston      Drilquip      2‐413195‐02   00299769‐01       ELD Rack: J92       MIN. I.D. 30.240", OAL APPROX. 28" PER NOBLE QP Q504.01                                                       EA                                 1                                0
                                                                                          36" X 28" SUPPLEMENTAL ADAPTER, 36" O.D. X 2.000" WALL BUTTWELD PREP.
                                                                                          UP X 36" O.D. X 2.000" WALL BUTTWELD PREP. DOWN, WITH TWELVE (12) 4"
                                                                                          FLOW‐BY PORTS AND INTERNAL POSITIVE STOP PROFILE FOR 28" SCAB HANGER,
Drilquip ‐ Houston      Drilquip      2‐413195‐02   00299769‐02       ELD Rack: L79       MIN. I.D. 30.240", OAL APPROX. 28" PER NOBLE QP Q504.01                                                       EA                                 1                                0
                                                                                          36" X 28" SUPPLEMENTAL ADAPTER, 36" O.D. X 2.000" WALL BUTTWELD PREP.
                                                                                          UP X 36" O.D. X 2.000" WALL BUTTWELD PREP. DOWN, WITH TWELVE (12) 4"
                                                                                          FLOW‐BY PORTS AND INTERNAL POSITIVE STOP PROFILE FOR 28" SCAB HANGER,
Drilquip ‐ Houston      Drilquip      2‐413195‐02   00285469‐02       ELD Rack: J92       MIN. I.D. 30.240", OAL APPROX. 28" PER NOBLE QP Q504.01                                                       EA                                 1                                0

                                                                                          18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                          PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                          PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                          GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                          DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
                                                                                          GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01
                                                                                          XXXX
                                                                                          * 18‐3/4" HOUSING JOINT FABRICATION CONSISTS OF:
                                                                                          * PIPE: CUSTOMER SUPPLIED, 22" O.D. X 1.250" WALL, API 5L GRADE X‐80,
                                                                                          D.S.A.W., RANGE III, PEB X PEB
                                                                                          * PIPE: CUSTOMER SUPPLIED, 22" O.D. X 1.250" WALL, API 5L GRADE X‐80,
                                                                                          D.S.A.W., RANGE III, PEB X H‐90DM/MT
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00301981‐02   ELD Rack: RISER N‐16    * 18‐3/4" WELLHEAD HOUSING: P/N 2‐406862‐07, CP14901‐06.                                                      EA                                 1                                0

                                                                                          18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                          PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                          PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                          GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                          DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00301981‐03      ELD Rack: E03G       GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01                                                             EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐10/15, WITH 0‐2 DEGREE
                                                                                          BULLSEYE, FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐411654‐02   00307379‐01   ELD Rack: NYD CC‐9 8    FLANGE. WITH MUDSTICK INDICATOR ROD, NOBLE QUALITY PLAN Q504.01                                               EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐10/15, WITH 0‐2 DEGREE
                                                                                          BULLSEYE, FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐411654‐02   00305121‐03   ELD Rack: NYD CC‐9 8    FLANGE. WITH MUDSTICK INDICATOR ROD, NOBLE QUALITY PLAN Q504.01                                               EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐10/15, WITH 0‐2 DEGREE
                                                                                          BULLSEYE, FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐411654‐02   00305121‐01   ELD Rack: NYD CC‐9 15   FLANGE. WITH MUDSTICK INDICATOR ROD, NOBLE QUALITY PLAN Q504.01                                               EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐10/15, WITH 0‐2 DEGREE
                                                                                          BULLSEYE, FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐411654‐02   00305121‐02   ELD Rack: NYD CC‐9 15   FLANGE. WITH MUDSTICK INDICATOR ROD, NOBLE QUALITY PLAN Q504.01                                               EA                                 1                                0

                                                                                          36" WELLHEAD HOUSING RIGID LOCKDOWN/ANNULUS SHUT‐OFF, TYPE SS‐15:
                                                                                          36" O.D. X 2.000" WALL B.W.P. I.D. PREP. FOR CAM ACTUATED RUNNING TOOL.
                                                                                          HYDRATE DIVERSION SEAL. MIN. I.D. 30.617". MATERIAL CLASS AA, TEMP. V, PSL‐
Drilquip ‐ Houston      Drilquip      2‐404172‐09   00307579‐01     ELD Rack: B15G 4      3, API‐17D. PROFILE FOR OVERPULL SPLIT RING. PER NOBLE QP Q504.01                                             EA                                 1                                0

                                                                                          36" WELLHEAD HOUSING RIGID LOCKDOWN/ANNULUS SHUT‐OFF, TYPE SS‐15:
                                                                                          36" O.D. X 2.000" WALL B.W.P. I.D. PREP. FOR CAM ACTUATED RUNNING TOOL.
                                                                                          HYDRATE DIVERSION SEAL. MIN. I.D. 30.617". MATERIAL CLASS AA, TEMP. V, PSL‐
Drilquip ‐ Houston      Drilquip      2‐404172‐09   00307579‐02     ELD Rack: B15G 4      3, API‐17D. PROFILE FOR OVERPULL SPLIT RING. PER NOBLE QP Q504.01                                             EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                          BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00307667‐01   ELD Rack: NYD CC‐9 18   FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                                           EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                          BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00307667‐03   ELD Rack: NYD CC‐9 18   FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                                           EA                                 1                                0




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     Facility        Facility Owner   Item Number    Serial No.         Location          Item Description                                                              Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                          BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00307667‐02   ELD Rack: NYD CC‐9 20   FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                                           EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                          BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00307667‐04   ELD Rack: NYD CC‐9 20   FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                                           EA                                 1                                0

                                                                                          18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                          PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                          PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                          GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                          DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00303913‐02      ELD Rack: E03G       GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01                                                             EA                                 1                                0

                                                                                          18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                          PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                          PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                          GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                          DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00303913‐01      ELD Rack: E03G       GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01                                                             EA                                 1                                0
                                                                                          18‐3/4" X 13‐3/8" BUSHING SLEEVE, TYPE SS‐15, FOR H2S, TO BE RUN WITH
                                                                                          MULTIPLE RUNNING AND RETRIEVING SUBS (12.25" DIA.), BIT RUNNABLE
                                                                                          SELECTIVE RETRIEVAL, RATED FOR HIGH TEMP./HIGH LOAD, NOBLE QUALITY
Drilquip ‐ Houston      Drilquip      2‐408641‐04   00308005‐01      ELD Rack: F208       PLAN Q504.01                                                                                     GC 200       EA                                 1                                0

                                                                                          18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                          PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                          PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                          GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                          DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00305770‐01      ELD Rack: E03G       GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01                                                             EA                                 1                                0

                                                                                          18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                          PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                          PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                          GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                          DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00305770‐02      ELD Rack: E03G       GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01                                                             EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐10/15, WITH 0‐2 DEGREE
                                                                                          BULLSEYE, FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐411654‐02   00307717‐02    ELD Rack: NYD DD‐9     FLANGE. WITH MUDSTICK INDICATOR ROD, NOBLE QUALITY PLAN Q504.01                                               EA                                 1                                0
                                                                                          36" X 28" SUPPLEMENTAL ADAPTER, 36" O.D. X 2.000" WALL BUTTWELD PREP.
                                                                                          UP X 36" O.D. X 2.000" WALL BUTTWELD PREP. DOWN, WITH TWELVE (12) 4"
                                                                                          FLOW‐BY PORTS AND INTERNAL POSITIVE STOP PROFILE FOR 28" SCAB HANGER,
Drilquip ‐ Houston      Drilquip      2‐413195‐02   00302846‐04       ELD Rack: L42       MIN. I.D. 30.240", OAL APPROX. 28" PER NOBLE QP Q504.01                                                       EA                                 1                                0
                                                                                          22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                          PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00308594‐03      ELD Rack: F206       Q504.01                                                                                                       EA                                 1                                0
                                                                                          22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                          PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00308594‐02      ELD Rack: F193       Q504.01                                                                                                       EA                                 1                                0
                                                                                          22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                          PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00308594‐01      ELD Rack: F193       Q504.01                                                                                                       EA                                 1                                0
                                                                                          22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                          WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                          FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                          ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00299440‐01      ELD Rack: B14G       SERVICE PER NOBLE QUALITY PLAN Q504.01                                                                        EA                                 1                                0
                                                                                          22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                          WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                          FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                          ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00299440‐03      ELD Rack: B14G       SERVICE PER NOBLE QUALITY PLAN Q504.01                                                                        EA                                 1                                0
                                                                                          36" X 28" SUPPLEMENTAL ADAPTER, 36" O.D. X 2.000" WALL BUTTWELD PREP.
                                                                                          UP X 36" O.D. X 2.000" WALL BUTTWELD PREP. DOWN, WITH TWELVE (12) 4"
                                                                                          FLOW‐BY PORTS AND INTERNAL POSITIVE STOP PROFILE FOR 28" SCAB HANGER,
Drilquip ‐ Houston      Drilquip      2‐413195‐02   00302846‐01       ELD Rack: L14       MIN. I.D. 30.240", OAL APPROX. 28" PER NOBLE QP Q504.01                                                       EA                                 1                                0
                                                                                          36" X 28" SUPPLEMENTAL ADAPTER, 36" O.D. X 2.000" WALL BUTTWELD PREP.
                                                                                          UP X 36" O.D. X 2.000" WALL BUTTWELD PREP. DOWN, WITH TWELVE (12) 4"
                                                                                          FLOW‐BY PORTS AND INTERNAL POSITIVE STOP PROFILE FOR 28" SCAB HANGER,
Drilquip ‐ Houston      Drilquip      2‐413195‐02   00302846‐02       ELD Rack: L21       MIN. I.D. 30.240", OAL APPROX. 28" PER NOBLE QP Q504.01                                                       EA                                 1                                0
                                                                                          22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                          1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                          DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00309096‐01      ELD Rack: F218       Q504.01                                                                                                       EA                                 1                                0
                                                                                          18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                          SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00309084‐01       ELD Rack: A79       RING, H2S SERVICE PER NOBLE QP Q504.01                                                          MC 519 #3     EA                                 1                                0
                                                                                          18‐3/4" BIG BORE WEAR SLEEVE, TYPE SS‐15, TO BE RUN WITH 14.50"/14.75" DIA.
                                                                                          WEAR SLEEVE RUNNING AND RETRIEVING BIT SUBS, UPPER PROFILE WILL WORK
                                                                                          WITH SPECIAL B.O.P. TEST TOOL ADAPTER, "J" LUG STYLE, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐408632‐05   00309499‐01      ELD Rack: F205       Q504.01                                                                                         MC 519 #3     EA                                 1                                0
                                                                                          18‐3/4" BIG BORE WEAR SLEEVE, TYPE SS‐15, TO BE RUN WITH 14.50"/14.75" DIA.
                                                                                          WEAR SLEEVE RUNNING AND RETRIEVING BIT SUBS, UPPER PROFILE WILL WORK
                                                                                          WITH SPECIAL B.O.P. TEST TOOL ADAPTER, "J" LUG STYLE, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐408632‐05   00309499‐03      ELD Rack: F197       Q504.01                                                                                                       EA                                 1                                0
                                                                                          18‐3/4" BIG BORE WEAR SLEEVE, TYPE SS‐15, TO BE RUN WITH 14.50"/14.75" DIA.
                                                                                          WEAR SLEEVE RUNNING AND RETRIEVING BIT SUBS, UPPER PROFILE WILL WORK
                                                                                          WITH SPECIAL B.O.P. TEST TOOL ADAPTER, "J" LUG STYLE, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐408632‐05   00309499‐02      ELD Rack: E204       Q504.01                                                                                                       EA                                 1                                0




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     Facility        Facility Owner   Item Number    Serial No.        Location         Item Description                                                              Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                        18‐3/4" X 13‐3/8" ADAPTER SLEEVE, TYPE SS‐15, TO BE RUN WITH 6‐5/8" TOOL
                                                                                        JOINT SELECTIVE RETRIEVAL SUB AND 13‐3/8" WEAR BUSHING, FOR USE WITH
                                                                                        BIG BORE OR STANDARD BORE WELLHEAD SYSTEMS, "J" LUG STYLE, NOBLE
Drilquip ‐ Houston      Drilquip      2‐408063‐08   00309552‐01     ELD Rack: F201      QUALITY PLAN Q504.01                                                                             GC 40‐1      EA                                 1                                0
                                                                                        22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                        WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                        FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                        ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00302105‐03     ELD Rack: B14G      SERVICE PER NOBLE QUALITY PLAN Q504.01                                                                        EA                                 1                                0
                                                                                        22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                        WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                        FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                        ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00302105‐02     ELD Rack: B14G      SERVICE PER NOBLE QUALITY PLAN Q504.01                                                                        EA                                 1                                0
                                                                                        22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                        WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                        FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                        ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00302105‐04     ELD Rack: B14G      SERVICE PER NOBLE QUALITY PLAN Q504.01                                                                        EA                                 1                                0
                                                                                        18‐3/4" X 13‐3/8" BUSHING SLEEVE, TYPE SS‐15, FOR H2S, TO BE RUN WITH
                                                                                        MULTIPLE RUNNING AND RETRIEVING SUBS (12.25" DIA.), BIT RUNNABLE
                                                                                        SELECTIVE RETRIEVAL, RATED FOR HIGH TEMP./HIGH LOAD, NOBLE QUALITY
Drilquip ‐ Houston      Drilquip      2‐408641‐04   00310224‐01     ELD Rack: F187      PLAN Q504.01                                                                                     GC 40‐1      EA                                 1                                0
                                                                                        18‐3/4" SELECTABLE BORE PROTECTOR J‐TYPE RUNNING AND RETRIEVING TOOL,
                                                                                        TYPE SS‐15, 6‐5/8" API F.H. BOX UP WITH BORE BACK RELIEF BY PIN WITH RELIEF
                                                                                        GROOVE, 9.980" MAX. O.D., EXTENDED WEAR AREA, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐405222‐03   00303431‐01     ELD Rack: D06G      Q504.01                                                                                          GC 40‐1      EA                                 1                                0
                                                                                        18‐3/4" SELECTABLE BORE PROTECTOR J‐TYPE RUNNING AND RETRIEVING TOOL,
                                                                                        TYPE SS‐15, 6‐5/8" API F.H. BOX UP WITH BORE BACK RELIEF BY PIN WITH RELIEF
                                                                                        GROOVE, 9.980" MAX. O.D., EXTENDED WEAR AREA, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐405222‐03   00303431‐02     ELD Rack: F211      Q504.01                                                                                                       EA                                 1                                0
                                                                                        18‐3/4" SELECTABLE BORE PROTECTOR J‐TYPE RUNNING AND RETRIEVING TOOL,
                                                                                        TYPE SS‐15, 6‐5/8" API F.H. BOX UP WITH BORE BACK RELIEF BY PIN WITH RELIEF
                                                                                        GROOVE, 9.980" MAX. O.D., EXTENDED WEAR AREA, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐405222‐03   00303431‐03     ELD Rack: F211      Q504.01                                                                                                       EA                                 1                                0
                                                                                        18‐3/4" SELECTABLE BORE PROTECTOR J‐TYPE RUNNING AND RETRIEVING TOOL,
                                                                                        TYPE SS‐15, 6‐5/8" API F.H. BOX UP WITH BORE BACK RELIEF BY PIN WITH RELIEF
                                                                                        GROOVE, 9.980" MAX. O.D., EXTENDED WEAR AREA, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐405222‐03   00303431‐04     ELD Rack: F211      Q504.01                                                                                                       EA                                 1                                0

                                                                                        36" WELLHEAD HOUSING RIGID LOCKDOWN/ANNULUS SHUT‐OFF, TYPE SS‐15:
                                                                                        36" O.D. X 2.000" WALL B.W.P. I.D. PREP. FOR CAM ACTUATED RUNNING TOOL.
                                                                                        HYDRATE DIVERSION SEAL. MIN. I.D. 30.617". MATERIAL CLASS AA, TEMP. V, PSL‐
Drilquip ‐ Houston      Drilquip      2‐404172‐09   00310309‐01    ELD Rack: B15G 2     3, API‐17D. PROFILE FOR OVERPULL SPLIT RING. PER NOBLE QP Q504.01                                             EA                                 1                                0

                                                                                        36" WELLHEAD HOUSING RIGID LOCKDOWN/ANNULUS SHUT‐OFF, TYPE SS‐15:
                                                                                        36" O.D. X 2.000" WALL B.W.P. I.D. PREP. FOR CAM ACTUATED RUNNING TOOL.
                                                                                        HYDRATE DIVERSION SEAL. MIN. I.D. 30.617". MATERIAL CLASS AA, TEMP. V, PSL‐
Drilquip ‐ Houston      Drilquip      2‐404172‐09   00310309‐02    ELD Rack: B15G 2     3, API‐17D. PROFILE FOR OVERPULL SPLIT RING. PER NOBLE QP Q504.01                                             EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00310048‐01     ELD Rack: F200      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00310048‐02     ELD Rack: F205      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00310048‐03     ELD Rack: F200      Q504.01                                                                                                       EA                                 1                                0
                                                                                        36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                        PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                        LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00310376‐01      ELD Rack: L1       QUALITY PLAN Q504.01                                                                                          EA                                 1                                0
                                                                                        36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                        PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                        LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00310376‐02      ELD Rack: L2       QUALITY PLAN Q504.01                                                                                          EA                                 1                                0

                                                                                        18‐3/4" X 14" BIG BORE II CASING HANGER: TYPE SS‐15, HIGH PRESSURE/HIGH
                                                                                        TEMPERATURE, UPPER I.D. PREP. FOR CAM ACTUATED RUNNING TOOL, O.D.
                                                                                        PREP. FOR WEIGHT SET METAL‐TO‐METAL SEAL ASSEMBLY, 14" BLANK BOX,
Drilquip ‐ Houston      Drilquip      2‐410497‐03   00310480‐03     ELD Rack: F214      MATERIAL CLASS: AA, TEMP. RATING: V, PSL‐3 NOBLE QUALITY PLAN Q504.01                                         EA                                 1                                0
                                                                                        18‐3/4" X 14" CASING HANGER, 14" HYDRIL 523 (115 LBS/FT) BOX DOWN X
                                                                                        12.375" MIN ID X , API 17D, V, AA, PSL‐3, RATED F/HIGH TEMPERATURE/HIGH
Drilquip ‐ Houston      Drilquip      2‐410497‐09   00310480‐04     ELD Rack: F199      LOAD, SPECIAL, F/FIELDWOOD KATMAI                                                                             EA                                 1                                0
                                                                                        18‐3/4" X 14" CASING HANGER, 14" HYDRIL 523 (115 LBS/FT) BOX DOWN X
                                                                                        12.375" MIN ID X , API 17D, V, AA, PSL‐3, RATED F/HIGH TEMPERATURE/HIGH
                                                                                        LOAD, SPECIAL, F/FIELDWOOD KATMAI
                                                                                        XXXX
                                                                                        * 14" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                        * PIPE: CUSTOMER SUPPLIED 14", 115 LB/FT, Q125‐ICY, 20 FT. LONG, 14" 115#
                                                                                        HYD 523 PIN X 13‐5/8" 88.2 LB/FT VAM SLIJ II PIN,
Drilquip ‐ Houston      Drilquip      2‐410497‐09   00310644‐02   ELD Rack: NYD YR #2   * 14" CASING HANGER:, P/N 2‐410497‐09, CP15152‐01, ITEMS 32.                                    MC 519 #3     EA                                 1                                0
                                                                                        18‐3/4" X 14" CASING HANGER, 14" HYDRIL 523 (115 LBS/FT) BOX DOWN X
                                                                                        12.375" MIN ID X , API 17D, V, AA, PSL‐3, RATED F/HIGH TEMPERATURE/HIGH
Drilquip ‐ Houston      Drilquip      2‐410497‐09   00310644‐03     ELD Rack: F199      LOAD, SPECIAL, F/FIELDWOOD KATMAI                                                                             EA                                 1                                0




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     Facility        Facility Owner   Item Number    Serial No.      Location      Item Description                                                              Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value

                                                                                   18‐3/4" X 14" BIG BORE II CASING HANGER: TYPE SS‐15, HIGH PRESSURE/HIGH
                                                                                   TEMPERATURE, UPPER I.D. PREP. FOR CAM ACTUATED RUNNING TOOL, O.D.
                                                                                   PREP. FOR WEIGHT SET METAL‐TO‐METAL SEAL ASSEMBLY, 14" BLANK BOX,
Drilquip ‐ Houston      Drilquip      2‐410497‐03   00310644‐04   ELD Rack: F213   MATERIAL CLASS: AA, TEMP. RATING: V, PSL‐3 NOBLE QUALITY PLAN Q504.01                                         EA                                 1                                0

                                                                                   18‐3/4" X 14" BIG BORE II CASING HANGER: TYPE SS‐15, HIGH PRESSURE/HIGH
                                                                                   TEMPERATURE, UPPER I.D. PREP. FOR CAM ACTUATED RUNNING TOOL, O.D.
                                                                                   PREP. FOR WEIGHT SET METAL‐TO‐METAL SEAL ASSEMBLY, 14" BLANK BOX,
Drilquip ‐ Houston      Drilquip      2‐410497‐03   00310644‐01   ELD Rack: F213   MATERIAL CLASS: AA, TEMP. RATING: V, PSL‐3 NOBLE QUALITY PLAN Q504.01                                         EA                                 1                                0
                                                                                   22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                   PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00310573‐01   ELD Rack: F199   Q504.01                                                                                                       EA                                 1                                0
                                                                                   18‐3/4" BIG BORE WEAR SLEEVE, TYPE SS‐15, TO BE RUN WITH 14.50"/14.75" DIA.
                                                                                   WEAR SLEEVE RUNNING AND RETRIEVING BIT SUBS, UPPER PROFILE WILL WORK
                                                                                   WITH SPECIAL B.O.P. TEST TOOL ADAPTER, "J" LUG STYLE, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐408632‐05   00310618‐01   ELD Rack: F218   Q504.01                                                                                                       EA                                 1                                0
                                                                                   18‐3/4" X 13‐3/8" BUSHING SLEEVE, TYPE SS‐15, FOR H2S, TO BE RUN WITH
                                                                                   MULTIPLE RUNNING AND RETRIEVING SUBS (12.25" DIA.), BIT RUNNABLE
                                                                                   SELECTIVE RETRIEVAL, RATED FOR HIGH TEMP./HIGH LOAD, NOBLE QUALITY
Drilquip ‐ Houston      Drilquip      2‐408641‐04   00310754‐01   ELD Rack: F187   PLAN Q504.01                                                                                     GC 40‐1      EA                                 1                                0
                                                                                   18‐3/4" X 13‐3/8" ADAPTER SLEEVE, TYPE SS‐15, TO BE RUN WITH 6‐5/8" TOOL
                                                                                   JOINT SELECTIVE RETRIEVAL SUB AND 13‐3/8" WEAR BUSHING, FOR USE WITH
                                                                                   BIG BORE OR STANDARD BORE WELLHEAD SYSTEMS, "J" LUG STYLE, NOBLE
Drilquip ‐ Houston      Drilquip      2‐408063‐08   00310622‐01   ELD Rack: F206   QUALITY PLAN Q504.01                                                                                          EA                                 1                                0
                                                                                   18‐3/4" X 13‐3/8" ADAPTER SLEEVE, TYPE SS‐15, TO BE RUN WITH 6‐5/8" TOOL
                                                                                   JOINT SELECTIVE RETRIEVAL SUB AND 13‐3/8" WEAR BUSHING, FOR USE WITH
                                                                                   BIG BORE OR STANDARD BORE WELLHEAD SYSTEMS, "J" LUG STYLE, NOBLE
Drilquip ‐ Houston      Drilquip      2‐408063‐08   00310622‐02   ELD Rack: F206   QUALITY PLAN Q504.01                                                                                          EA                                 1                                0
                                                                                   22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                   1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                   DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00310874‐03   ELD Rack: K53    Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                   1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                   DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00310874‐02   ELD Rack: K53    Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                   1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                   DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00310874‐01   ELD Rack: L86    Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                   1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                   DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00310819‐01   ELD Rack: K67    Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                   1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                   DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00310819‐02   ELD Rack: K67    Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                   1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                   DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00310819‐03   ELD Rack: F204   Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                   PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00310814‐02   ELD Rack: F192   Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                   PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00310814‐03   ELD Rack: F213   Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                   PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00310814‐04   ELD Rack: F213   Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                   PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00310814‐01   ELD Rack: F192   Q504.01                                                                                                       EA                                 1                                0

                                                                                   18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                   PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                   PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                   GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                   DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00310833‐01   ELD Rack: E03G   GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01                                                             EA                                 1                                0

                                                                                   18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                   PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                   PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                   GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                   DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00310833‐03   ELD Rack: E03G   GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01                                                             EA                                 1                                0

                                                                                   18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                   PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                   PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                   GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                   DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00310833‐04   ELD Rack: E03G   GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01                                                             EA                                 1                                0
                                                                                   22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                   SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00311226‐01   ELD Rack: A83    Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                   SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00311226‐03   ELD Rack: A81    Q504.01                                                                                                       EA                                 1                                0




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     Facility        Facility Owner   Item Number    Serial No.        Location         Item Description                                                              Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                        22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                        SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00311226‐04      ELD Rack: A81      Q504.01                                                                                                       EA                                 1                                0
                                                                                        18‐3/4" STABILIZER SUB, TYPE SS‐15, 7‐5/8" API REG. DOWN X 7‐5/8" API REG,
                                                                                        BOX UP, TO BE RUN WITH 14.50"/14.75" 2‐408632‐05 WEAR SLEEVE AND 2‐
Drilquip ‐ Houston      Drilquip      2‐408524‐05   00303429‐01     ELD Rack: F190      408525‐06 BIT SUB, NOBLE QUALITY PLAN Q504.01                                                   MC 519 #3     EA                                 1                                0
                                                                                        18‐3/4" STABILIZER SUB, TYPE SS‐15, 7‐5/8" API REG. DOWN X 7‐5/8" API REG,
                                                                                        BOX UP, TO BE RUN WITH 14.50"/14.75" 2‐408632‐05 WEAR SLEEVE AND 2‐
Drilquip ‐ Houston      Drilquip      2‐408524‐05   00303429‐02     ELD Rack: F208      408525‐06 BIT SUB, NOBLE QUALITY PLAN Q504.01                                                                 EA                                 1                                0
                                                                                        18‐3/4" STABILIZER SUB, TYPE SS‐15, 7‐5/8" API REG. DOWN X 7‐5/8" API REG,
                                                                                        BOX UP, TO BE RUN WITH 14.50"/14.75" 2‐408632‐05 WEAR SLEEVE AND 2‐
Drilquip ‐ Houston      Drilquip      2‐408524‐05   00303429‐03     ELD Rack: F208      408525‐06 BIT SUB, NOBLE QUALITY PLAN Q504.01                                                                 EA                                 1                                0
                                                                                        18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                        SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00311715‐01      ELD Rack: A80      RING, H2S SERVICE PER NOBLE QP Q504.01                                                                        EA                                 1                                0
                                                                                        18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                        SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00311715‐03      ELD Rack: A79      RING, H2S SERVICE PER NOBLE QP Q504.01                                                          MC 519 #3     EA                                 1                                0
                                                                                        18‐3/4" X 13‐3/8" ADAPTER SLEEVE, TYPE SS‐15, TO BE RUN WITH 6‐5/8" TOOL
                                                                                        JOINT SELECTIVE RETRIEVAL SUB AND 13‐3/8" WEAR BUSHING, FOR USE WITH
                                                                                        BIG BORE OR STANDARD BORE WELLHEAD SYSTEMS, "J" LUG STYLE, NOBLE
Drilquip ‐ Houston      Drilquip      2‐408063‐08   00312053‐01     ELD Rack: F185      QUALITY PLAN Q504.01                                                                                          EA                                 1                                0
                                                                                        22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                        SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00312112‐02      ELD Rack: A81      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                        SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00312112‐03      ELD Rack: A81      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                        SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00312112‐04      ELD Rack: A81      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                        SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00312112‐01      ELD Rack: A81      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00312260‐01     ELD Rack: F194      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00312260‐02     ELD Rack: F194      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00312402‐01     ELD Rack: F183      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00312402‐02     ELD Rack: F183      Q504.01                                                                                                       EA                                 1                                0
                                                                                        18‐3/4" X 14" CASING HANGER, 14" HYDRIL 523 (115 LBS/FT) BOX DOWN X
                                                                                        12.375" MIN ID X , API 17D, V, AA, PSL‐3, RATED F/HIGH TEMPERATURE/HIGH
                                                                                        LOAD, SPECIAL, F/FIELDWOOD KATMAI
                                                                                        XXXX
                                                                                        * 14" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                        * PIPE: CUSTOMER SUPPLIED 14", 115 LB/FT, Q125‐ICY, 20 FT. LONG, 14" 115#
                                                                                        HYD 523 PIN X 13‐5/8" 88.2 LB/FT VAM SLIJ II PIN,
Drilquip ‐ Houston      Drilquip      2‐410497‐09   00312456‐01   ELD Rack: NYD YR #3   * 14" CASING HANGER:, P/N 2‐410497‐09, CP15334‐03, ITEMS 33.                                                  EA                                 1                                0

                                                                                        18‐3/4" X 14" BIG BORE II CASING HANGER: TYPE SS‐15, HIGH PRESSURE/HIGH
                                                                                        TEMPERATURE, UPPER I.D. PREP. FOR CAM ACTUATED RUNNING TOOL, O.D.
                                                                                        PREP. FOR WEIGHT SET METAL‐TO‐METAL SEAL ASSEMBLY, 14" BLANK BOX,
Drilquip ‐ Houston      Drilquip      2‐410497‐03   00312508‐01     ELD Rack: F184      MATERIAL CLASS: AA, TEMP. RATING: V, PSL‐3 NOBLE QUALITY PLAN Q504.01                                         EA                                 1                                0
                                                                                        18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                        SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00312161‐03      ELD Rack: A84      RING, H2S SERVICE PER NOBLE QP Q504.01                                                                        EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00312568‐01     ELD Rack: F220      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00312568‐02     ELD Rack: F186      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00312568‐03     ELD Rack: F220      Q504.01                                                                                                       EA                                 1                                0
                                                                                        CROSSOVER SWEDGE: WITH 22" X 1.000" WALL BUTTWELD PREP DOWN X 22.13"
Drilquip ‐ Houston      Drilquip      2‐404391‐07   00312626‐01     ELD Rack: A05G      X .750" WALL BUTTWELD PREP UP, NOBLE QUALITY PLAN Q504.01                                                     EA                                 1                                0
                                                                                        4" NIPPLE PIPE FOR ANNULUS VENTING VALVE ASSEMBLY, 4" NPT MALE
Drilquip ‐ Houston      Drilquip      2‐409052‐02    IN CP FILE     ELD Rack: F207      CONNECTION ONE END, "J" SLOT INTERFACE ONE END                                                                EA                                10                                0
                                                                                        18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                        SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00313001‐01      ELD Rack: A84      RING, H2S SERVICE PER NOBLE QP Q504.01                                                                        EA                                 1                                0




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     Facility        Facility Owner   Item Number    Serial No.      Location      Item Description                                                              Project Number     Project Name       UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                   22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                   SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00313180‐02   ELD Rack: A83    Q504.01                                                                                                             EA                                 1                                0

                                                                                   18‐3/4" X 10‐3/4" GEN II CASING HANGER LOCK‐DOWN SLEEVE, 15,000 PSI, TYPE
                                                                                   SS‐15, MIN. 9.262" I.D. TEMP. V, MAT'L CLASS DD. PSL‐3, FOR H2S, 2000 KIP
                                                                                   RATED LOCK‐DOWN CAPACITY, INCONEL CLADDED TREE SEAL INTERFACE, HIGH
Drilquip ‐ Houston      Drilquip      2‐413573‐02   00313356‐01   ELD Rack: F204   TEMPERATURE/HIGH LOAD SHOULDER, NOBLE QUALITY PLAN Q504.01                                          GC 40‐1         EA                                 1                                0
                                                                                   CROSSOVER SWEDGE: WITH 22" X 1.000" WALL BUTTWELD PREP DOWN X 22.13"
Drilquip ‐ Houston      Drilquip      2‐404391‐07   00313801‐02   ELD Rack: F203   X .750" WALL BUTTWELD PREP UP, NOBLE QUALITY PLAN Q504.01                                                           EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                   WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                   FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                   ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00309922‐01   ELD Rack: B14G   SERVICE PER NOBLE QUALITY PLAN Q504.01                                                                              EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00315155‐01   ELD Rack: A83    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00315155‐02   ELD Rack: A83    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00316049‐01   ELD Rack: A79    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00315506‐01   ELD Rack: A82    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00315506‐02   ELD Rack: A82    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00317848‐01   ELD Rack: A79    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00317848‐02   ELD Rack: A79    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00317848‐03   ELD Rack: A79    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00317848‐04   ELD Rack: A79    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00317848‐05   ELD Rack: A79    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00317848‐06   ELD Rack: A79    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                   SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00319512‐01   ELD Rack: A82    RING, H2S SERVICE PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                   18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                   SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00319512‐02   ELD Rack: A82    RING, H2S SERVICE PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                   18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                   SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00319512‐03   ELD Rack: A82    RING, H2S SERVICE PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                   18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                   SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00319512‐04   ELD Rack: A82    RING, H2S SERVICE PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                   18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                   SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00319512‐05   ELD Rack: A82    RING, H2S SERVICE PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                   4" NIPPLE PIPE FOR ANNULUS VENTING VALVE ASSEMBLY, 4" NPT MALE
                                                                                   CONNECTION ONE END, "J" SLOT INTERFACE ONE END
Drilquip ‐ Houston      Drilquip      2‐409052‐02    IN CP FILE   ELD Rack: F221   QTY.(14) LEFT TO USE.                                                                                               EA                                26                                0
                                                                                   18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                   SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00320231‐01   ELD Rack: A85    RING, H2S SERVICE PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                   18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                   SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00320231‐02   ELD Rack: A85    RING, H2S SERVICE PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                   18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                   SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00320231‐03   ELD Rack: A85    RING, H2S SERVICE PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                   18‐3/4" X 10‐3/4" GEN II CASING HANGER LOCK‐DOWN SLEEVE, 15,000 PSI, TYPE
                                                                                   SS‐15, V. DD. PSL‐3, FOR H2S, 2000 KIP RATED LOCK‐DOWN CAPACITY, INCONEL
                                                                                   CLADDED TREE SEAL INTERFACE, HIGH TEMPERATURE/HIGH LOAD SHOULDER,
Drilquip ‐ Houston      Drilquip      2‐414283‐02   00321346‐01   ELD Rack: F205   9.555" I.D., NOBLE QUALITY PLAN Q504.01                                                            MC 519 #3        EA                                 1                                0

                                                                                   18‐3/4" BIG BORE II WELLHEAD HOUSING, 15,000 PSI, TYPE SS‐15, 22" X 1.500"
                                                                                   BUTTWELD PREP DOWN X HD‐H4 PROFILE W/INCONEL VX‐VT GSKT PREP UP, V,
                                                                                   DD, PSL‐3, F/H2S, W/OVER‐PULL SPLIT RING,RIGID LOCK‐DOWN, & HYDRATE                            KATMAIF, GC 40F 3,
Drilquip ‐ Houston      Drilquip      2‐408468‐02   00299282‐01   ELD Rack: E03G   DIVERSION SEAL, SPECIAL, WITHOUT FLOWBY, W/EXTRA LOCK‐DOWN GROOVES                                OSC‐G‐34536       EA                                 1                                0

                                                                                   18‐3/4" BIG BORE II WELLHEAD HOUSING, 15,000 PSI, TYPE SS‐15, 22" X 1.500"
                                                                                   BUTTWELD PREP DOWN X HD‐H4 PROFILE W/INCONEL VX‐VT GSKT PREP UP, V,
                                                                                   DD, PSL‐3, F/H2S, W/OVER‐PULL SPLIT RING,RIGID LOCK‐DOWN, & HYDRATE                            KATMAIF, GC 40F 3,
Drilquip ‐ Houston      Drilquip      2‐408468‐02   00299282‐02   ELD Rack: E03G   DIVERSION SEAL, SPECIAL, WITHOUT FLOWBY, W/EXTRA LOCK‐DOWN GROOVES                                OSC‐G‐34536       EA                                 1                                0

Drilquip ‐ Houston      Drilquip       240559‐02    00306162‐01   ELD Rack: F128   ANTI‐ROTATION/CAM REACTION PLATE ASSEMBLY FOR 30" QUIK‐JAY "8‐IV".                                  MEXICO          EA                                 1                                0




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     Facility          Facility Owner       Item Number     Serial No.            Location             Item Description                                                                 Project Number     Project Name       UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                                       18‐3/4" X 10‐3/4" GEN II CASING HANGER LOCK‐DOWN SLEEVE, 15,000 PSI, TYPE
                                                                                                       SS‐15, V. DD. PSL‐3, FOR H2S, 2000 KIP RATED LOCK‐DOWN CAPACITY, INCONEL
                                                                                                       CLADDED TREE SEAL INTERFACE, HIGH TEMPERATURE/HIGH LOAD SHOULDER,                                    CUSTOMER
Drilquip ‐ Houston        Drilquip          2‐414283‐02    00323757‐01         ELD Rack: F192          9.555" I.D., NOBLE QUALITY PLAN Q504.01                                                              PROPERTY          EA                                 1                                0
                                                                                                       18‐3/4" X 10‐3/4" GEN II CASING HANGER LOCK‐DOWN SLEEVE, 15,000 PSI, TYPE
                                                                                                       SS‐15, V. DD. PSL‐3, FOR H2S, 2000 KIP RATED LOCK‐DOWN CAPACITY, INCONEL
                                                                                                       CLADDED TREE SEAL INTERFACE, HIGH TEMPERATURE/HIGH LOAD SHOULDER,                                    CUSTOMER
Drilquip ‐ Houston        Drilquip          2‐414283‐02    00323757‐02         ELD Rack: F192          9.555" I.D., NOBLE QUALITY PLAN Q504.01                                                              PROPERTY          EA                                 1                                0
                                                                                                       18‐3/4" X 10‐3/4" GEN II CASING HANGER LOCK‐DOWN SLEEVE, 15,000 PSI, TYPE
                                                                                                       SS‐15, V. DD. PSL‐3, FOR H2S, 2000 KIP RATED LOCK‐DOWN CAPACITY, INCONEL
                                                                                                       CLADDED TREE SEAL INTERFACE, HIGH TEMPERATURE/HIGH LOAD SHOULDER,                                    CUSTOMER
Drilquip ‐ Houston        Drilquip          2‐414283‐02    00325456‐01         ELD Rack: F184          9.555" I.D., NOBLE QUALITY PLAN Q504.01                                                              PROPERTY          EA                                 1                                0
                                                                                                       18‐3/4" X 10‐3/4" GEN II CASING HANGER LOCK‐DOWN SLEEVE, 15,000 PSI, TYPE
                                                                                                       SS‐15, V. DD. PSL‐3, FOR H2S, 2000 KIP RATED LOCK‐DOWN CAPACITY, INCONEL
                                                                                                       CLADDED TREE SEAL INTERFACE, HIGH TEMPERATURE/HIGH LOAD SHOULDER,                                    CUSTOMER
Drilquip ‐ Houston        Drilquip          2‐414283‐02    00325658‐01         ELD Rack: F214          9.555" I.D., NOBLE QUALITY PLAN Q504.01                                                              PROPERTY          EA                                 1                                0
                                                                                                       18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                                       SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston        Drilquip          2‐404254‐05    00327858‐01          ELD Rack: A80          RING, H2S SERVICE PER NOBLE QP Q504.01                                                                                 EA                                 1                                0
                                                                                                       22" X 16" BIG BORE II‐H SUPPLEMENTAL CASING HANGER ADAPTER: TYPE SS‐
                                                                                                       20/SS‐15, 10,000 PSI, 22" O.D. X 1.500" WALL BUTTWELD PREP. DOWN BY 22"
                                                                                                       O.D. X 1.500" WALL BUTTWELD PREP. UP, MIN. I.D. 18.375", AA, PSL‐3,
                                                                                                       TEMPERATURE 30°‐300° F., FOR 16" BIG BORE II‐H "NO‐GO" STYLE
                                                                                                       SUPPLEMENTAL HANGER, WEIGHT SET, WITH PREP. FOR SELECTABLE WEAR
                                                                                                       BUSHING, RATED FOR 2‐MILLION LBS. OF CASING, WITH FOUR (4) SHOULDER                               KATMAIF, GC 40F 3,
Drilquip ‐ Houston        Drilquip          2‐416531‐02    00325810‐01         ELD Rack: B13G          LOCK‐RING PROFILE. NOBLE QUALITY PLAN Q504.01                                                        OSC‐G‐34536       EA                                 1                                0
                                                                                                       22" X 16" BIG BORE II‐H SUPPLEMENTAL CASING HANGER ADAPTER: TYPE SS‐
                                                                                                       20/SS‐15, 10,000 PSI, 22" O.D. X 1.500" WALL BUTTWELD PREP. DOWN BY 22"
                                                                                                       O.D. X 1.500" WALL BUTTWELD PREP. UP, MIN. I.D. 18.375", AA, PSL‐3,
                                                                                                       TEMPERATURE 30°‐300° F., FOR 16" BIG BORE II‐H "NO‐GO" STYLE
                                                                                                       SUPPLEMENTAL HANGER, WEIGHT SET, WITH PREP. FOR SELECTABLE WEAR
                                                                                                       BUSHING, RATED FOR 2‐MILLION LBS. OF CASING, WITH FOUR (4) SHOULDER                               KATMAIF, GC 40F 3,
Drilquip ‐ Houston        Drilquip          2‐416531‐02    00325810‐02         ELD Rack: B13G          LOCK‐RING PROFILE. NOBLE QUALITY PLAN Q504.01                                                        OSC‐G‐34536       EA                                 1                                0
                                                                                                       16" BIG BORE II‐H SEAL ASSEMBLY: GEN. III, 5,000‐10,000 PSI, TYPE SS‐20/SS‐15,
                                                                                                       API 6A, AA, PSL‐3, TEMPERATURE 35°‐300° F., FOR 16" BB II‐H SUPPLEMENTAL
                                                                                                       CASING HANGER, BR STYLE, WEIGHT SET METAL TO METAL SEAL, RATED FOR 1.2                            KATMAIF, GC 40F 3,
Drilquip ‐ Houston        Drilquip          2‐412617‐13    00328407‐01          ELD Rack: A80          MM LBS. LOCK‐DOWN. NOBLE QUALITY PLAN Q504.01                                                        OSC‐G‐34536       EA                                 1                                0
                                                                                                       16" BIG BORE II‐H SEAL ASSEMBLY: GEN. III, 5,000‐10,000 PSI, TYPE SS‐20/SS‐15,
                                                                                                       API 6A, AA, PSL‐3, TEMPERATURE 35°‐300° F., FOR 16" BB II‐H SUPPLEMENTAL
                                                                                                       CASING HANGER, BR STYLE, WEIGHT SET METAL TO METAL SEAL, RATED FOR 1.2                            KATMAIF, GC 40F 3,
Drilquip ‐ Houston        Drilquip          2‐412617‐13    00328407‐02          ELD Rack: A80          MM LBS. LOCK‐DOWN. NOBLE QUALITY PLAN Q504.01                                                        OSC‐G‐34536       EA                                 1                                0

Drilquip ‐ Houston        Drilquip          2‐403665‐02    00293489‐03         ELD Rack: F195          18‐3/4" X 14‐1/2" WEAR SLEEVE BIT SUB. 7‐5/8" API REG. BOX UP X PIN DOWN.                               STOCK          EA                                 1                                0

Drilquip ‐ Houston        Drilquip          2‐403665‐02    00293489‐04         ELD Rack: F195          18‐3/4" X 14‐1/2" WEAR SLEEVE BIT SUB. 7‐5/8" API REG. BOX UP X PIN DOWN.                               STOCK          EA                                 1                                0

Drilquip ‐ Houston        Drilquip          2‐403665‐02    00293489‐01         ELD Rack: F198          18‐3/4" X 14‐1/2" WEAR SLEEVE BIT SUB. 7‐5/8" API REG. BOX UP X PIN DOWN.                               STOCK          EA                                 1                                0

Drilquip ‐ Houston        Drilquip          2‐403665‐02    00293489‐02         ELD Rack: F198          18‐3/4" X 14‐1/2" WEAR SLEEVE BIT SUB. 7‐5/8" API REG. BOX UP X PIN DOWN.                               STOCK          EA                                 1                                0
                                                                                                       18‐3/4" STABILIZER SUB FOR BIG BORE WEAR SLEEVES. 7‐5/8" API REG. BOX UP X
Drilquip ‐ Houston        Drilquip          2‐403666‐02    00333696‐01         ELD Rack: F198          PIN DOWN.                                                                                               STOCK          EA                                 1                                0
                                                                                                       18‐3/4" X 13‐3/8" SELECTABLE WEAR BUSHING/SLEEVE: TYPE SS‐15, TO BE RUN
                                                                                                       WITH MULTIPLE RUNNING AND RETRIEVING SUBS (12.395" DIA.), BIT RUNNABLE
                                                                                                       SELECTIVE RETRIEVAL, UPPER PROFILE FOR B.O.P. TEST TOOL ADAPTER, BIG BORE
                                                                                                       AND STANDARD BORE WELLHEAD SYSTEMS. RATED FOR HIGH
Drilquip ‐ Houston        Drilquip          2‐404122‐02    00339241‐02         ELD Rack: F223          TEMPERATURE/HIGH LOAD. H2S SERVICE                                                                      STOCK          EA                                 1                                0
                                                                                                       18‐3/4" X 13‐3/8" SELECTABLE WEAR BUSHING/SLEEVE: TYPE SS‐15, TO BE RUN
                                                                                                       WITH MULTIPLE RUNNING AND RETRIEVING SUBS (12.395" DIA.), BIT RUNNABLE
                                                                                                       SELECTIVE RETRIEVAL, UPPER PROFILE FOR B.O.P. TEST TOOL ADAPTER, BIG BORE
                                                                                                       AND STANDARD BORE WELLHEAD SYSTEMS. RATED FOR HIGH
Drilquip ‐ Houston        Drilquip          2‐404122‐02    00339241‐03         ELD Rack: F216          TEMPERATURE/HIGH LOAD. H2S SERVICE                                                                      STOCK          EA                                 1                                0
                                                                                                       18‐3/4" X 13‐3/8" SELECTABLE WEAR BUSHING/SLEEVE: TYPE SS‐15, TO BE RUN
                                                                                                       WITH MULTIPLE RUNNING AND RETRIEVING SUBS (12.395" DIA.), BIT RUNNABLE
                                                                                                       SELECTIVE RETRIEVAL, UPPER PROFILE FOR B.O.P. TEST TOOL ADAPTER, BIG BORE
                                                                                                       AND STANDARD BORE WELLHEAD SYSTEMS. RATED FOR HIGH
Drilquip ‐ Houston        Drilquip          2‐404122‐02    00339241‐01         ELD Rack: F223          TEMPERATURE/HIGH LOAD. H2S SERVICE                                                                      STOCK          EA                                 1                                0
                                                                                                       22" X 16" BIG BORE II SEAL ASSEMBLY, WEIGHT SET METAL‐TO‐METAL, 6,500 PSI
Drilquip ‐ Houston        Drilquip          2‐403134‐02    00227560‐01          ELD Rack: A84          RATED, H2S SERVICE                                                                                                     EA                                 1                                0
                                                                                                       22" X 16" BIG BORE II POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 6,500 PSI,
                                                                                                       16" 97 LB./FT. HYDRIL 511 PIN DOWN, PREP. FOR WEIGHT SET SEAL ASSEMBLY,
                                                                                                       MIN. I.D. 14.800", V, MATERIAL CLASS: AA, PSL‐3
                                                                                                       XXXX
                                                                                                       * 16" HANGER JOINT FABRICATION CONSISTS OF:
                                                                                                       * PIPE: CUSTOMER SUPPLIED 16", 97#, P‐110, WITH HYDRIL 511 BOX X HYDRIL 511
                                                                                                       PIN, APPROX. 20 FT.LONG
                                                                                                       * 16" SUPPLEMENTAL HANGER: P/N 2‐403133‐02,CP8979‐01, ITEM 14.1
Drilquip ‐ Houston        Drilquip          2‐403133‐02     1G935‐01          ELD Rack: NYD C‐6                                                                                                              GC 866 #1        EA                                 1                                0
                                                                                                       18" SEAL ASSEMBLY, TYPE SS‐10/15/20, API 6A, V, AA, PSL‐2, FOR USE WITH 18"
                                                                                                       SUPPLEMENTAL HANGER, FOR USE WITH BIG BORE II / BIG BORE II‐H WELLHEAD
Drilquip ‐ Houston        Drilquip          2‐403132‐02    00178688‐01          ELD Rack: A84          SYSTEM                                                                                                KC 292 #2        EA                                 1                                0
                                                                                                       SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/SS‐10,
                                                                                                       W/ 0‐2 DEGREE BULLSEYE, F/USE ON 38" OR 36" CONDUCTOR PIPE, WITHOUT
Drilquip ‐ Houston        Drilquip          2‐405105‐02    00175605‐01       ELD Rack: NYD CC‐9 17     WELD‐ON FLANGE, EXTRA LONG WITH ROV GUIDE HANDLES.                                                    MC 252 #1        EA                                 1                                0
 Franks ‐ Houma      Franks International     109998                      OSS DOCK C‐PORT 2 BLD 27     18" VAM HDL 117# G.S.                                                                                  ORLOV           EA                                 1                                0
 Franks ‐ Houma      Franks International     109994                      OSS DOCK C‐PORT 2 BLD 27     18" VAM HDL 117# Q125 F.C                                                                              ORLOV           EA                                 1                                0
                                                                         1 PLUG SET SHIPPED TO DRIL‐
                                                                         QUIP THE OTHER SHIPPED TO
 Franks ‐ Houma      Franks International     112032                      DOCK WITH CEMENT HEAD        18" DUAL WIPER PLUG MOD II                                                                             ORLOV           EA                                 1                                0
 Franks ‐ Houma      Franks International     106438                      OSS DOCK C‐PORT 2 BLD 27     13.625" VAM SLIJII 88.2# Q125 F.C.                                                                     ORLOV           EA                                 1                                0
 Franks ‐ Houma      Franks International     111637                      OSS DOCK C‐PORT 2 BLD 27     13.625" VAM SLIJII 88.2# Q125 G.S.                                                                     ORLOV           EA                                 1                                0
 Franks ‐ Houma      Franks International     113525                      OSS DOCK C‐PORT 2 BLD 27     9.875" VAM SLIJII 62.8# Q125 F.C.                                                                      ORLOV           EA                                 1                                0
 Franks ‐ Houma      Franks International     109067                      OSS DOCK C‐PORT 2 BLD 27     9.875" VAM SLIJII 62.8# Q125 G.S.                                                                      ORLOV           EA                                 1                                0
 Franks ‐ Houma      Franks International     114099                      OSS DOCK C‐PORT 2 BLD 27     7.75" FLOAT COLLAR TSH WEGDE 523 DOPELESS 46.10 PPF Q125 INNOVEX                                       ORLOV           EA                                 1                                0
 Franks ‐ Houma      Franks International     114055                      OSS DOCK C‐PORT 2 BLD 27     7.75" TSH523 DOPELESS 46.1# Q125 G.S.                                                                  ORLOV           EA                                 1                                0




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                                                                                                                                  DEBTORS' EX. NO. 5
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                                                       Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 433 of 995               Exhibit D-1 (continued)




    Facility            Facility Owner      Item Number    Serial No.            Location           Item Description                                                   Project Number    Project Name       UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
Franks ‐ Houma       Franks International      115250                    OSS DOCK C‐PORT 2 BLD 27   9.875" TSH 523 62.8# Q125 LANDING COLLAR                                                 ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      114099                    OSS DOCK C‐PORT 2 BLD 27   7.75" FLOAT COLLAR TSH WEGDE 523 DOPELESS 46.10 PPF Q125 INNOVEX                         ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      114055                    OSS DOCK C‐PORT 2 BLD 27   7.75" TSH523 DOPELESS 46.1# Q125 G.S.                                                    ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      114884                    OSS DOCK C‐PORT 2 BLD 27   9.875" VAM SLIJ‐II 65.3# Q125 GUIDE SHOE                                              ORLOV TA‐9         EA                                2                                0
Franks ‐ Houma       Franks International      115250                    OSS DOCK C‐PORT 2 BLD 27   9.875" TSH 523 62.8# Q125 LANDING COLLAR                                                 ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      106438                                               13.625" VAM SLIJ‐II 88.2# Q125 FLOAT COLLAR                                            GENOVESA          EA                                1                                0
Franks ‐ Houma       Franks International      111637                                               13.625" VAM SLIJ‐II 88.2# Q125 GUIDE SHOE                                              GENOVESA          EA                                1                                0
Franks ‐ Houma       Franks International      114883                    OSS DOCK C‐PORT 2 BLD 27   9.875" VAM SLIJ‐II 65.3# Q125 FLOAT COLLAR                                            ORLOV TA‐9         EA                                2                                0
Franks ‐ Houma       Franks International      110651                                               14" SLSF 115.53# Q125 CENTRALIZER SUB                                                  ICHALKIL 4        EA                               15                                0
Franks ‐ Houma       Franks International      113525                    OSS DOCK C‐PORT 2 BLD 27   9.875" VAM SLIJII 62.8# Q125 F.C.                                                        ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      109994                                               18" VAM HDL 117# Q125 F.C                                                                ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      106438                                               13.625" VAM SLIJII 88.2# Q125 F.C.                                                       ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      107304                                               11.875" TSH 513 71.8# Q125 F.C.                                                          ORLOV           EA                                2                                0
Franks ‐ Houma       Franks International      112582                                               18" VAM HDL 117# Q125 FLOAT COLLAR                                                     GENOVESA          EA                                1                                0
Franks ‐ Houma       Franks International      107304                                               11.875" TSH513 71.8# FLOAT COLLAR                                                      GENOVESA          EA                                1                                0
Franks ‐ Houma       Franks International      109904                                               14" TSH523 116# Q125 FLOAT COLLAR                                                     KATMAI‐2ST         EA                                2                                0
Franks ‐ Houma       Franks International      115425                                               11.875" TSH513 71.8# Q125 FLOAT COLLAR                                                KATMAI‐2ST         EA                                2                                0
Franks ‐ Houma       Franks International      115422                                               10.125" TSH513 79.29# Q125 FLOAT COLLAR                                               KATMAI‐2ST         EA                                2                                0
Franks ‐ Houma       Franks International      114883                                               9.875" VAM SLIJII 65.3# Q125 F.C.                                                     ORLOV TA‐9         EA                                1                                0
Franks ‐ Houma       Franks International      115366                                               16.264" TSH623 DOPLESS 122.5# Q125 FLOAT COLLAR                                        ICHALKIL 4        EA                                2                                0
Franks ‐ Houma       Franks International      115632                                               13.625" TSH 521 88.2# Q125 F.C.                                                        ICHALKIL 4        EA                                2                                0
Franks ‐ Houma       Franks International      113594                                               16" TSH521 109# P110 F.C.                                                              ICHALKIL 4        EA                                2                                0
Franks ‐ Houma       Franks International      111140                                               14" TSH513 113# Q125 F.C.                                                              ICHALKIL 4        EA                                2                                0
Franks ‐ Houma       Franks International      116159                                               9.875" TSH523 62.8# Q125 F.C.                                                          ICHALKIL 4        EA                                2                                0
Franks ‐ Houma       Franks International      115709                                               9.875" TSH523 62.8# Q140 ORIFICE F.C.                                                  ICHALKL 4         EA                                2                                0
Franks ‐ Houma       Franks International      114099                                               7.75" 46.1# Q125 (135 MYS) WEDGE 523 (INNOVEX 735‐AB "DVBR")                         KATMAI #2 ST        EA                                2                                0
Franks ‐ Houma       Franks International      114883                                               9.875" VAM SLIJII 65.3# Q125 FLOAT COLLAR                                              GENOVESA          EA                                1                                0
Franks ‐ Houma       Franks International      106438                                               13.625" VAM SLIJ‐II 88.2# Q125 FLOAT COLLAR                                            GENOVESA          EA                                1                                0
Franks ‐ Houma       Franks International      114884                                               9.875" VAM SLIJII 65.3# Q125 GUIDE SHOE                                                GENOVESA          EA                                2                                0
Franks ‐ Houma       Franks International      109067                    OSS DOCK C‐PORT 2 BLD 27   9.875" VAM SLIJII 62.8# Q125 G.S.                                                        ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      111637                                               13.625" VAM SLIJ‐II 88.2# Q125 GUIDE SHOE                                              GENOVESA          EA                                1                                0
Franks ‐ Houma       Franks International      111637                    OSS DOCK C‐PORT 2 BLD 27   13.625" VAM SLIJII 88.2# Q125 G.S.                                                       ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      109998                                               18" VAM HDL 117# G.S.                                                                    ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      115423                                               10.125" TSH513 79.29# Q125 GUIDE SHOE                                                 KATMAI‐2ST         EA                                2                                0
Franks ‐ Houma       Franks International      114184                                               14" TSH513 113# Q125 C.E.G.S.                                                          ICHALKIL 4        EA                                2                                0
Franks ‐ Houma       Franks International      114884                                               9.875" VAM SLIJII 65.3# Q125 C.E.G.S.                                                 ORLOV TA‐9         EA                                1                                0
Franks ‐ Houma       Franks International      109068                                               11.875" TSH 513 71.8# Q125 C.E..G.S.                                                     ORLOV           EA                                2                                0
Franks ‐ Houma       Franks International      112583                                               18" VAM HDL 117# Q125 GUIDE SHOE                                                       GENOVESA          EA                                1                                0
Franks ‐ Houma       Franks International      110530                     shipped to the OSS dock   7.75" TSH523 46.1# Q125 GUIDE SHOE                                                    KATMAI‐2ST         EA                                2                                0
Franks ‐ Houma       Franks International      115424                                               11.875" TSH513 71.8# Q125 GUIDE SHOE                                                  KATMAI‐2ST         EA                                2                                0
Franks ‐ Houma       Franks International      109905                                               14" TSH523 116# Q125 GUIDE SHOE                                                       KATMAI‐2ST         EA                                2                                0
Franks ‐ Houma       Franks International      109068                                               11.875" TSH513 71.8# GUIDE SHOE                                                        GENOVESA          EA                                1                                0
                                                                          PLUG SET WAS STABED IN
Franks ‐ Houma       Franks International     111904                    LINNER AND THEN REMOVED     10.75" X 9.635" DUAL WIPER PLUG MOD II                                                   ORLOV          EA                                 1                                0
Franks ‐ Houma       Franks International     111208                                                9.625" DUAL WIPER PLUG MOD II                                                            ORLOV          EA                                 1                                0
Franks ‐ Houma       Franks International     109030                                                7.625" DUAL WIPER PLUG                                                                   ORLOV          EA                                 2                                0
Franks ‐ Houma       Franks International     113133                                                9.625" DUAL WIPER PLOG MOD III                                                             NA           EA                                 2                                0
Franks ‐ Houma       Franks International     111904                                                10.75" 9.625" DUAL WIPER PLUG MOD II                                                   GENOVESA         EA                                 1                                0
Franks ‐ Houma       Franks International     111601                                                13.375" DUAL WIPER PLUG MOD II                                                         GENOVESA         EA                                 1                                0
Franks ‐ Houma       Franks International     113133                                                9.625" DUAL WIPER PLUG MOD III                                                         GENOVESA         EA                                 1                                0
Franks ‐ Houma       Franks International     113238                                                10.75" OD X 9.625" SINGLE WIPER PLUG                                                    TA9‐ST01        EA                                 1                                0
Franks ‐ Houma       Franks International     111601                                                13.375" DUAL WIPER PLUG MOD III                                                        ICHALKIL 4       EA                                 2                                0
Franks ‐ Houma       Franks International     111601                                                13.375" DUAL WIPER PLUG MOD II                                                           ORLOV          EA                                 1                                0
Franks ‐ Houma       Franks International     111904                                                10.75" X 9.635" DUAL WIPER PLUG MOD II                                                   ORLOV          EA                                 1                                0

 Franks ‐ Houma      Franks International     112032                    TO DOCK WITH CEMENT HEAD 18" DUAL WIPER PLUG MOD II                                                                  ORLOV          EA                                 1                                0
 Franks ‐ Houma      Franks International     111804                                             11.875" DUAL WIPER PLUG MOD II                                                              ORLOV          EA                                 2                                0
 Franks ‐ Houma      Franks International     111208                                             9.625" DUAL WIPER PLUG MOD II                                                               ORLOV          EA                                 1                                0
 Franks ‐ Houma      Franks International     111601                                             13.375" DUAL WIPER PLUG MOD II                                                              ORLOV          EA                                 1                                0
 Franks ‐ Houma      Franks International     109030                                             7.625" DUAL WIPER PLUG                                                                      ORLOV          EA                                 2                                0
 Franks ‐ Houma      Franks International     112809                                             11.75" X 9.625" DUAL WIPER PLUG MOD III                                                       NA           EA                                 2                                0
 Franks ‐ Houma      Franks International     111208                                             9.625" DUAL WIPER PLUG MOD II                                                              KATMAI‐1        EA                                 2                                0
 Franks ‐ Houma      Franks International     111904                                             10.75" 9.625" DUAL WIPER PLUG MOD II                                                      GENOVESA         EA                                 1                                0
 Franks ‐ Houma      Franks International     111601                                             13.375" DUAL WIPER PLUG MOD II                                                            GENOVESA         EA                                 1                                0
 Franks ‐ Houma      Franks International     111804                                             11.875" DUAL WIPER PLUG MOD II                                                           KATMAI‐2ST        EA                                 2                                0
 Franks ‐ Houma      Franks International     111208                                             9.625" DUAL WIPER PLUG MOD II                                                            KATMAI‐2ST        EA                                 2                                0
 Franks ‐ Houma      Franks International     111601                                             13.375" DUAL WIPER PLUG MOD II                                                           KATMAI‐2ST        EA                                 2                                0
 Franks ‐ Houma      Franks International     112809                                             11.75" X 9.625" DUAL WIPER PLUG MOD III                                                   GENOVESA         EA                                 1                                0
 Franks ‐ Houma      Franks International     113133                                             9.625" DUAL WIPER PLUG MOD III                                                            GENOVESA         EA                                 1                                0
 Franks ‐ Houma      Franks International     112032                                             18" DUAL WIPER PLUG MOD II                                                                GENOVESA         EA                                 1                                0
 Franks ‐ Houma      Franks International     113133                                             9.875" DUAL WIPER PLUG MOD III                                                            ORLOV TA‐9       EA                                 2                                0
 Franks ‐ Houma      Franks International     113238                                             10.75" OD X 9.625" SINGLE WIPER PLUG                                                   ORLOV TA9‐ST01      EA                                 1                                0
 Franks ‐ Houma      Franks International     115505                                             10.125" TSH 523 79.29# Q125 L.C.                                                           KATMAI‐1        EA                                 2                                0
 Franks ‐ Houma      Franks International     114542                                             9.875" VAM SLIJII 62.8# L80 L.C.                                                            ORLOV          EA                                 2                                0
 Franks ‐ Houma      Franks International     115505                                             10.125"TSH523 79.29# Q125 LANDING COLLAR                                                 KATMAI‐2ST        EA                                 2                                0
 Franks ‐ Houma      Franks International     115627                                             9.875" VAM SLIJII 65.3# L.C.                                                              GENOVESA         EA                                 1                                0
Franks ‐ Lafayette   Franks International     127543                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 2/75931                                                    Katmai East Noble   EA                                 1        61.78                   0
Franks ‐ Lafayette   Franks International     127544                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 1/75931                                                    Katmai East Noble   EA                                 1        61.91                   0
Franks ‐ Lafayette   Franks International     127546                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 3/75931                                                    Katmai East Noble   EA                                 1        61.76                   0
Franks ‐ Lafayette   Franks International     127547                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 4/75931                                                    Katmai East Noble   EA                                 1        61.84                   0
Franks ‐ Lafayette   Franks International     127548                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 6/75931                                                    Katmai East Noble   EA                                 1        61.74                   0
Franks ‐ Lafayette   Franks International     127549                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 5/75931                                                    Katmai East Noble   EA                                 1        61.72                   0
Franks ‐ Lafayette   Franks International     127550                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 7/75931                                                    Katmai East Noble   EA                                 1        61.74                   0
Franks ‐ Lafayette   Franks International     127551                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 8/75931                                                    Katmai East Noble   EA                                 1        61.75                   0
Franks ‐ Lafayette   Franks International     127552                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 9/75931                                                    Katmai East Noble   EA                                 1        61.86                   0
Franks ‐ Lafayette   Franks International     127553                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 14/75931                                                   Katmai East Noble   EA                                 1        61.78                   0
Franks ‐ Lafayette   Franks International     127554                               NA            22 INCH 1.5 LB X80 DLQ,B/P, 13/75931                                                   Katmai East Noble   EA                                 1        61.79                   0
Franks ‐ Lafayette   Franks International     127555                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 12/75931                                                   Katmai East Noble   EA                                 1        61.83                   0
Franks ‐ Lafayette   Franks International     127556                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 11/75931                                                   Katmai East Noble   EA                                 1        61.76                   0
Franks ‐ Lafayette   Franks International     127557                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 10/75931                                                   Katmai East Noble   EA                                 1        61.88                   0
Franks ‐ Lafayette   Franks International     128094                         Rack No. QRR1L2     22 INCH 1.5 LB X80 DLQ,P/PE, 15/75931                                                  Katmai East Noble   EA                                 1        81.3                    0
Franks ‐ Lafayette   Franks International     128095                         Rack No. QRR1L2     22 INCH 1.5 LB X80 DLQ,P/PE, 16/75931                                                  Katmai East Noble   EA                                 1        81.2                    0
Franks ‐ Lafayette   Franks International     128036                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 5/75933                                                    Katmai East Noble   EA                                 1        61.72                   0
Franks ‐ Lafayette   Franks International     128037                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 6/75933                                                    Katmai East Noble   EA                                 1        61.83                   0




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     Facility           Facility Owner      Item Number    Serial No.         Location         Item Description                                                    Project Number      Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
Franks ‐ Lafayette   Franks International      128038                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 9/75933                                                   Katmai East Noble    EA                                1         61.73                  0
Franks ‐ Lafayette   Franks International      128039                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 8/75933                                                   Katmai East Noble    EA                                1         61.82                  0
Franks ‐ Lafayette   Franks International      128040                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 3/75933                                                   Katmai East Noble    EA                                1         61.74                  0
Franks ‐ Lafayette   Franks International      128041                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 4/75933                                                   Katmai East Noble    EA                                1         61.84                  0
Franks ‐ Lafayette   Franks International      128042                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 1/75933                                                   Katmai East Noble    EA                                1         61.68                  0
Franks ‐ Lafayette   Franks International      128043                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 2/75933                                                   Katmai East Noble    EA                                1         61.84                  0
Franks ‐ Lafayette   Franks International      128044                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 7/75933                                                   Katmai East Noble    EA                                1         61.81                  0
Franks ‐ Lafayette   Franks International      128045                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 14/75933                                                  Katmai East Noble    EA                                1         61.71                  0
Franks ‐ Lafayette   Franks International      128046                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 13/75933                                                  Katmai East Noble    EA                                1         61.76                  0
Franks ‐ Lafayette   Franks International      128047                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 12/75933                                                  Katmai East Noble    EA                                1         61.86                  0
Franks ‐ Lafayette   Franks International      128048                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 11/75933                                                  Katmai East Noble    EA                                1         61.72                  0
Franks ‐ Lafayette   Franks International      128049                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 10/75933                                                  Katmai East Noble    EA                                1         61.72                  0
                                                                                                                                                                                    GREEN CANYON 200
Franks ‐ Lafayette   Franks International     129447                       Rack No. QR13       36 INCH 1.5 LB X65 DLQ,B/P,X/O, 3/76563                                                TA‐09 (ORLOV)      EA                                 1        42.34                   0
                                                                                                                                                                                    GREEN CANYON 200
Franks ‐ Lafayette   Franks International     137388                     Rack No. QRPRODL7     36 INCH 1.5 LB X65 PLAIN,                                                              TA‐09 (ORLOV)      EA                                 1        12.13                   0
                                                                                                                                                                                    GREEN CANYON 200
Franks ‐ Lafayette   Franks International     112711                      Rack No. QRR1L2      22 INCH 1.25 LB X80 DLQ,B/P, 21/74736                                                  TA‐09 (ORLOV)      EA                                 1        81.97                   0
                                                                                                                                                                                    GREEN CANYON 200
Franks ‐ Lafayette   Franks International     81565                       Rack No. BPR7L4      22 INCH 1 LB X80 DLQ,B/P,X/O, 5/71719                                                  TA‐09 (ORLOV)      EA                                 1        41.74                   0
                                                                                                                                                                                    GREEN CANYON 200
Franks ‐ Lafayette   Franks International     137653                    Rack No. QRFENCELINE   36 INCH 1.5 LB X65 PLAIN,                                                              TA‐09 (ORLOV)      EA                                 1        12.15                   0
Franks ‐ Lafayette   Franks International     130507                       Rack No. QRNL1      22 INCH 1 LB X80 DLQ,B/FS, 4a/76883                                                      GENOVESA         EA                                 1        42.95                   0
Franks ‐ Lafayette   Franks International     130536                       Rack No. QRL5L2     22 INCH 1 LB X80 DLQ,B/P, 114/76883                                                      GENOVESA         EA                                 1        41.47                   0
Franks ‐ Lafayette   Franks International     129462                       Rack No. QRR2L3     36 INCH 1.5 LB X65 DLQ,B/IBV, 1/76881                                                    GENOVESA         EA                                 1        41.19                   0
Franks ‐ Lafayette   Franks International     133758                       Rack No. QRR2L3     36 INCH 2 LB X70 DLQ,B/P,X/O, 4/76881                                                    GENOVESA         EA                                 1         42                     0
Franks ‐ Lafayette   Franks International     86165                      Rack No. QRPRODL2     36 INCH 1.5 LB X65 DLQ,B/P, 4/73210                                                      GENOVESA         EA                                 1         42                     0
Franks ‐ Lafayette   Franks International     132382                     Rack No. QRPRODL2     36 INCH 1.5 LB X65 DLQ,B/P, 8/76927                                                       ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     132386                     Rack No. QRPRODL2     36 INCH 1.5 LB X65 DLQ,B/P, 7/76927                                                       ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     132394                     Rack No. QRPRODL2     36 INCH 1.5 LB X65 DLQ,B/IBV, 9/76927                                                     ORLOV II        EA                                 1        40.81                   0
Franks ‐ Lafayette   Franks International     132408                     Rack No. QRPRODL2     36 INCH 1.5 LB X65 DLQ,B/P, 6/76927                                                       ORLOV II        EA                                 1        41.92                   0
Franks ‐ Lafayette   Franks International     132409                     Rack No. QRPRODL2     36 INCH 1.5 LB X65 DLQ,B/P, 5/76927                                                       ORLOV II        EA                                 1        41.9                    0
Franks ‐ Lafayette   Franks International     133751                     Rack No. QRPRODL1     36 INCH 2 LB X70 PLAIN,                                                                   ORLOV II        EA                                 1        39.95                   0
Franks ‐ Lafayette   Franks International     133752                     Rack No. QRPRODL1     36 INCH 2 LB X70 PLAIN,                                                                   ORLOV II        EA                                 1        39.93                   0
Franks ‐ Lafayette   Franks International     133753                     Rack No. QRPRODL2     36 INCH 2 LB X70 DLQ,P/PE, 2/76927                                                        ORLOV II        EA                                 1        41.05                   0
Franks ‐ Lafayette   Franks International     133754                     Rack No. QRPRODL2     36 INCH 2 LB X70 DLQ,P/PE, 1/76927                                                        ORLOV II        EA                                 1        41.09                   0
Franks ‐ Lafayette   Franks International     133755                     Rack No. QRPRODL2     36 INCH 2 LB X70 DLQ,B/P,X/O, 4/76927                                                     ORLOV II        EA                                 1        42.07                   0
Franks ‐ Lafayette   Franks International     133756                     Rack No. QRPRODL2     36 INCH 2 LB X70 DLQ,B/P,X/O, 3/76927                                                     ORLOV II        EA                                 1        42.1                    0
Franks ‐ Lafayette   Franks International     135208                       Rack No. QRM5L      28 INCH 0.75 LB X60 PLAIN,                                                                ORLOV II        EA                                 1        40.1                    0
Franks ‐ Lafayette   Franks International     135309                       Rack No. QRM5L      28 INCH 0.75 LB X60 PLAIN,                                                                ORLOV II        EA                                 1        40.04                   0
Franks ‐ Lafayette   Franks International     135389                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 17/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135390                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 7/76928                                                      ORLOV II        EA                                 1        41.98                   0
Franks ‐ Lafayette   Franks International     135391                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 10/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135392                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 11/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135393                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 12/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135394                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 22/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135395                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 23/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135396                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 14/76928                                                     ORLOV II        EA                                 1        41.94                   0
Franks ‐ Lafayette   Franks International     135457                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 26/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135458                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 21/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135459                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 18/76928                                                     ORLOV II        EA                                 1        41.94                   0
Franks ‐ Lafayette   Franks International     135460                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 24/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135461                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 25/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135462                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 16/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135463                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 29/76928                                                     ORLOV II        EA                                 1        41.89                   0
Franks ‐ Lafayette   Franks International     135464                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 19/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135465                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 20/76928                                                     ORLOV II        EA                                 1        41.06                   0
Franks ‐ Lafayette   Franks International     135466                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 32/76928                                                     ORLOV II        EA                                 1        41.93                   0
Franks ‐ Lafayette   Franks International     135467                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 35/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135468                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 27/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135469                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 37/76928                                                     ORLOV II        EA                                 1        41.92                   0
Franks ‐ Lafayette   Franks International     135470                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 31/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135471                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 33/76928                                                     ORLOV II        EA                                 1        41.88                   0
Franks ‐ Lafayette   Franks International     135472                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 41/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135473                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 30/76928                                                     ORLOV II        EA                                 1        41.87                   0
Franks ‐ Lafayette   Franks International     135474                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 28/76928                                                     ORLOV II        EA                                 1        41.94                   0
Franks ‐ Lafayette   Franks International     135475                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 47/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135476                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 39/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135477                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 34/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135478                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 38/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135506                              NA           28 INCH 0.75 LB X60 DLQ,P/PE, 63/76928                                                    ORLOV II        EA                                 1         41                     0
Franks ‐ Lafayette   Franks International     135523                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 8/76928                                                      ORLOV II        EA                                 1        41.98                   0
Franks ‐ Lafayette   Franks International     135524                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 46/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135525                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 44/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135526                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 45/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135527                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 43/76928                                                     ORLOV II        EA                                 1        41.97                   0
Franks ‐ Lafayette   Franks International     135528                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 36/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135529                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 49/76928                                                     ORLOV II        EA                                 1        41.89                   0
Franks ‐ Lafayette   Franks International     135530                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 42/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135531                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 40/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135532                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 53/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135533                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 50/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135534                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 52/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135535                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 48/76928                                                     ORLOV II        EA                                 1        41.97                   0
Franks ‐ Lafayette   Franks International     135536                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 56/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135537                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 51/76928                                                     ORLOV II        EA                                 1        41.97                   0
Franks ‐ Lafayette   Franks International     135538                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 54/76928                                                     ORLOV II        EA                                 1        41.97                   0
Franks ‐ Lafayette   Franks International     135539                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 55/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135541                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 58/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135542                              NA           28 INCH 0.75 LB X60 DLQ,B/P, 59/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135544                              NA           28 INCH 0.75 LB X60 DLQ,P/PE, 62/76928                                                    ORLOV II        EA                                 1         41                     0
Franks ‐ Lafayette   Franks International     135545                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 57/76928                                                     ORLOV II        EA                                 1        41.97                   0
Franks ‐ Lafayette   Franks International     135561                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 3/76928                                                      ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135562                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 15/76928                                                     ORLOV II        EA                                 1        41.98                   0




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     Facility           Facility Owner      Item Number   Serial No.          Location       Item Description                                                    Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
Franks ‐ Lafayette   Franks International      135563                    Rack No. QRR7R4     28 INCH 0.75 LB X60 DLQ,B/P, 6/76928                                                   ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135564                    Rack No. QRR7R4     28 INCH 0.75 LB X60 DLQ,B/P, 2/76928                                                   ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135565                    Rack No. QRR7R4     28 INCH 0.75 LB X60 DLQ,B/P, 1/76928                                                   ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135566                    Rack No. QRR7R4     28 INCH 0.75 LB X60 DLQ,B/P, 13/76928                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135567                    Rack No. QRR7R4     28 INCH 0.75 LB X60 DLQ,B/P, 4/76928                                                   ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135568                    Rack No. QRR7R4     28 INCH 0.75 LB X60 DLQ,B/P, 5/76928                                                   ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135569                    Rack No. QRR7R4     28 INCH 0.75 LB X60 DLQ,B/P, 9/76928                                                   ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      130150                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 82/76929                                                     ORLOV II      EA                                1         41.43                  0
Franks ‐ Lafayette   Franks International      130153                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 90/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130157                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 89/76929                                                     ORLOV II      EA                                1         41.42                  0
Franks ‐ Lafayette   Franks International      130158                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 85/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130159                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 86/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130161                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 88/76929                                                     ORLOV II      EA                                1         41.43                  0
Franks ‐ Lafayette   Franks International      130162                    Rack No. QR3RL5     22 INCH 1 LB X80 DLQ,B/P,X/O, 117/76929                                                ORLOV II      EA                                1         41.57                  0
Franks ‐ Lafayette   Franks International      130163                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 84/76929                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130165                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 87/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130226                       Rack No. QR      22 INCH 1 LB X80 DLQ,B/P, 81/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130227                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 80/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130229                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 96/76929                                                     ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130230                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 94/76929                                                     ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130231                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 98/76929                                                     ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130232                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 83/76929                                                     ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130234                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 92/76929                                                     ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130235                     Rack No. QRNL2     22 INCH 1 LB X80 DLQ,B/P, 113/76929                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130236                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 93/76929                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130283                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 91/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130284                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 78/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130285                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 79/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130346                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 69/76929                                                     ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130347                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 39/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130348                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 35/76929                                                     ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      130349                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 45/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130350                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 46/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130351                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 38/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130352                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 34/76929                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130353                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 51/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130354                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 52/76929                                                     ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130355                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 37/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130356                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 33/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130357                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 43/76929                                                     ORLOV II      EA                                1         41.42                  0
Franks ‐ Lafayette   Franks International      130358                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 44/76929                                                     ORLOV II      EA                                1         41.43                  0
Franks ‐ Lafayette   Franks International      130359                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 55/76929                                                     ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130360                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 56/76929                                                     ORLOV II      EA                                1         41.42                  0
Franks ‐ Lafayette   Franks International      130361                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 49/76929                                                     ORLOV II      EA                                1         41.43                  0
Franks ‐ Lafayette   Franks International      130367                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 50/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130368                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 61/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130369                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 62/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130370                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 53/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130371                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 54/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130372                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 57/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130373                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 58/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130374                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 59/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130375                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 60/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130376                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 77/76929                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130377                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 75/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130378                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 63/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130379                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 64/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130380                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 76/76929                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130381                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 74/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130382                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 67/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130383                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 68/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130384                  Rack No. QRPRODR2L1   22 INCH 1 LB X80 DLQ,B/P, 114/76929                                                    ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130385                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 73/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130386                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 65/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130387                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 66/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130388                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 95/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130389                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 72/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130390                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 70/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130391                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 71/76929                                                     ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130392                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 97/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130472                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 41/76929                                                     ORLOV II      EA                                1         41.4                   0
Franks ‐ Lafayette   Franks International      130473                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 47/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130474                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 36/76929                                                     ORLOV II      EA                                1         41.43                  0
Franks ‐ Lafayette   Franks International      130475                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 40/76929                                                     ORLOV II      EA                                1         41.4                   0
Franks ‐ Lafayette   Franks International      130476                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 42/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130477                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 48/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130478                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 21/76929                                                     ORLOV II      EA                                1         41.39                  0
Franks ‐ Lafayette   Franks International      130479                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 30/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130480                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 25/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130481                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 29/76929                                                     ORLOV II      EA                                1         41.42                  0
Franks ‐ Lafayette   Franks International      130482                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 26/76929                                                     ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      130483                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 14/76929                                                     ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130484                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 28/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130485                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 9/76929                                                      ORLOV II      EA                                1         41.42                  0
Franks ‐ Lafayette   Franks International      130486                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 16/76929                                                     ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130487                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 12/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130488                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 11/76929                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130489                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 10/76929                                                     ORLOV II      EA                                1         41.41                  0
Franks ‐ Lafayette   Franks International      130490                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 22/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130491                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 24/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130492                     Rack No. QRL5L2    22 INCH 1 LB X80 B/P,DIB, 27/76929                                                     ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130493                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 31/76929                                                     ORLOV II      EA                                1         41.42                  0
Franks ‐ Lafayette   Franks International      130494                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 23/76929                                                     ORLOV II      EA                                1         41.41                  0
Franks ‐ Lafayette   Franks International      130495                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 32/76929                                                     ORLOV II      EA                                1         41.46                  0




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                                                     Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 436 of 995         Exhibit D-1 (continued)




     Facility           Facility Owner      Item Number   Serial No.        Location       Item Description                                                    Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
Franks ‐ Lafayette   Franks International      130496                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 20/76929                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130499                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 4/76929                                                      ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130502                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 18/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130504                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 19/76929                                                     ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130505                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 3/76929                                                      ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130506                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 15/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130509                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 17/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130510                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 13/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130511                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 8/76929                                                      ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130512                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 1/76929                                                      ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130514                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 5/76929                                                      ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130515                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 6/76929                                                      ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130516                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 7/76929                                                      ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130541                   Rack No. QRR4L4    22 INCH 1 LB X80 DLQ,B/P, 2/76929                                                      ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      48572                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 101/76929                                                 ORLOV II      EA                                1         41.83                  0
Franks ‐ Lafayette   Franks International      48574                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 103/76929                                                 ORLOV II      EA                                1         41.88                  0
Franks ‐ Lafayette   Franks International      48612                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 104/76929                                                 ORLOV II      EA                                1         41.79                  0
Franks ‐ Lafayette   Franks International      48613                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 102/76929                                                 ORLOV II      EA                                1         41.79                  0
Franks ‐ Lafayette   Franks International      48615                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 107/76929                                                 ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      48621                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 99/76929                                                  ORLOV II      EA                                1         41.81                  0
Franks ‐ Lafayette   Franks International      48622                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 110/76929                                                 ORLOV II      EA                                1         41.75                  0
Franks ‐ Lafayette   Franks International      48631                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 108/76929                                                 ORLOV II      EA                                1         41.88                  0
Franks ‐ Lafayette   Franks International      48634                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 109/76929                                                 ORLOV II      EA                                1         41.82                  0
Franks ‐ Lafayette   Franks International      49635                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 105/76929                                                 ORLOV II      EA                                1         41.86                  0
Franks ‐ Lafayette   Franks International      50179                     Rack No. QRNL2    22 INCH 1.25 LB X80 DLQ,P/PE, 112/76929                                                ORLOV II      EA                                1         41.02                  0
Franks ‐ Lafayette   Franks International      50183                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 106/76929                                                 ORLOV II      EA                                1         41.86                  0
Franks ‐ Lafayette   Franks International      50185                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 100/76929                                                 ORLOV II      EA                                1         41.79                  0
Franks ‐ Lafayette   Franks International      82761                     Rack No. QRNL2    22 INCH 1.25 LB X80 DLQ,P/PE, 111/76929                                                ORLOV II      EA                                1         39.69                  0
Franks ‐ Lafayette   Franks International      115834                   Rack No. QRR1R1    36 INCH 2 LB X80 DLQ,B/P, 5/75976                                                      ORLOV II      EA                                1         42.16                  0
Franks ‐ Lafayette   Franks International      132380                  Rack No. QRPRODL2   36 INCH 1.5 LB X65 DLQ,B/P, 3/76939                                                    ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      132385                  Rack No. QRPRODL2   36 INCH 1.5 LB X65 DLQ,B/IBV, 4/76939                                                  ORLOV II      EA                                1         40.9                   0
Franks ‐ Lafayette   Franks International      132390                  Rack No. QRPRODL2   36 INCH 1.5 LB X65 DLQ,B/P, 2/76939                                                    ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135211                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 48/76940                                                  ORLOV II      EA                                1         41.93                  0
Franks ‐ Lafayette   Franks International      135214                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 47/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135359                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 12/76940                                                  ORLOV II      EA                                1         41.98                  0
Franks ‐ Lafayette   Franks International      135360                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 7/76940                                                   ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135361                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 25/76940                                                  ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135362                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 11/76940                                                  ORLOV II      EA                                1         41.01                  0
Franks ‐ Lafayette   Franks International      135363                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 29/76940                                                  ORLOV II      EA                                1         40.26                  0
Franks ‐ Lafayette   Franks International      135364                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 24/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135365                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 30/76940                                                  ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135366                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 15/76940                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135367                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 31/76940                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135368                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 35/76940                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135369                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 13/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135370                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 14/76940                                                  ORLOV II      EA                                1         41.98                  0
Franks ‐ Lafayette   Franks International      135371                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 46/76940                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135372                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 16/76940                                                  ORLOV II      EA                                1         41.93                  0
Franks ‐ Lafayette   Franks International      135373                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 34/76940                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135374                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 44/76940                                                  ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135375                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 45/76940                                                  ORLOV II      EA                                1         41.92                  0
Franks ‐ Lafayette   Franks International      135376                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 33/76940                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135377                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 37/76940                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135378                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 20/76940                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135379                   Rack No. QRR3L5    28 INCH 0.75 LB X60 DLQ,B/P, 18/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135380                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 41/76940                                                  ORLOV II      EA                                1         41.93                  0
Franks ‐ Lafayette   Franks International      135381                   Rack No. QRR3L5    28 INCH 0.75 LB X60 DLQ,B/P, 19/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135382                   Rack No. QRR3L5    28 INCH 0.75 LB X60 DLQ,B/P, 17/76940                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135383                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 38/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135384                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 39/76940                                                  ORLOV II      EA                                1         41.93                  0
Franks ‐ Lafayette   Franks International      135385                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 43/76940                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135386                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 40/76940                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135387                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 36/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135388                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 42/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135494                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 8/76940                                                   ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135495                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 27/76940                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135496                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 32/76940                                                  ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135497                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 9/76940                                                   ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135498                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 28/76940                                                  ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135499                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 10/76940                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135500                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 26/76940                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135501                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 6/76940                                                   ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135502                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 5/76940                                                   ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135503                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 22/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135504                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 4/76940                                                   ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135505                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 21/76940                                                  ORLOV II      EA                                1         41.01                  0
Franks ‐ Lafayette   Franks International      135508                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 23/76940                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135540                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 3/76940                                                   ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135543                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 2/76940                                                   ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      135546                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 1/76940                                                   ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      138955                    Rack No. QR13     28 INCH 0.75 LB X60 DLQ,B/P, 77/70915                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      138956                    Rack No. QR13     28 INCH 0.75 LB X60 DLQ,B/P, 63/70915                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      138957                    Rack No. QR13     28 INCH 0.75 LB X60 DLQ,B/P, 40/70915                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      138958                    Rack No. QR13     28 INCH 0.75 LB X60 DLQ,B/P, 43/70915                                                  ORLOV II      EA                                1         41.98                  0
Franks ‐ Lafayette   Franks International      88725                    Rack No. BPL7R5    28 INCH 0.75 LB X60 DLQ,B/P, 19/70785                                                  ORLOV II      EA                                1         42.02                  0
Franks ‐ Lafayette   Franks International      88729                    Rack No. BPL7R5    28 INCH 0.75 LB X60 DLQ,B/P, 25/70785                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      124226                          NA          22 INCH 1 LB x80 DLQ,B/P, 99/75976                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      124227                          NA          22 INCH 1 LB x80 DLQ,B/P, 260/75976                                                    ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      124230                          NA          22 INCH 1 LB x80 DLQ,B/P, 105/75976                                                    ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      124231                          NA          22 INCH 1 LB x80 DLQ,B/P, 98/75976                                                     ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      124233                   Rack No. BPL6L3    22 INCH 1 LB x80 DLQ,B/P, 97/75976                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      124234                          NA          22 INCH 1 LB x80 DLQ,B/P, 113/75976                                                    ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      124235                          NA          22 INCH 1 LB x80 DLQ,B/P, 267/75976                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      124237                          NA          22 INCH 1 LB x80 DLQ,B/P, 109/75976                                                    ORLOV II      EA                                1         41.5                   0




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     Facility           Facility Owner      Item Number   Serial No.       Location      Item Description                                                   Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
Franks ‐ Lafayette   Franks International      124238                         NA         22 INCH 1 LB x80 DLQ,B/P, 263/75976                                                   ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      124241                         NA         22 INCH 1 LB x80 DLQ,B/P, 120/75976                                                   ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      124242                         NA         22 INCH 1 LB x80 DLQ,B/P, 121/75976                                                   ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      124243                         NA         22 INCH 1 LB x80 DLQ,B/P, 110/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      124262                  Rack No. BPL7L4   22 INCH 1 LB x80 DLQ,B/P, 115/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      124263                         NA         22 INCH 1 LB x80 DLQ,B/P, 102/75976                                                   ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      124267                         NA         22 INCH 1 LB x80 DLQ,B/P, 266/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      124269                         NA         22 INCH 1 LB x80 DLQ,B/P, 265/75976                                                   ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      124278                         NA         22 INCH 1 LB x80 DLQ,B/P, 264/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      124279                         NA         22 INCH 1 LB x80 DLQ,B/P, 104/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      124281                         NA         22 INCH 1 LB x80 DLQ,B/P, 108/75976                                                   ORLOV II      EA                                1         41.52                  0
Franks ‐ Lafayette   Franks International      124284                         NA         22 INCH 1 LB x80 DLQ,B/P, 96/75976                                                    ORLOV II      EA                                1         41.38                  0
Franks ‐ Lafayette   Franks International      124285                         NA         22 INCH 1 LB x80 DLQ,B/P, 95/75976                                                    ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      124286                         NA         22 INCH 1 LB x80 DLQ,B/P, 101/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      124310                         NA         22 INCH 1 LB x80 DLQ,B/P, 112/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      124312                         NA         22 INCH 1 LB x80 DLQ,B/P, 118/75976                                                   ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      124313                         NA         22 INCH 1 LB x80 DLQ,B/P, 119/75976                                                   ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      124318                         NA         22 INCH 1 LB x80 DLQ,B/P, 114/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      125166                         NA         22 INCH 1 LB x80 DLQ,B/P, 128/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      125172                         NA         22 INCH 1 LB x80 DLQ,B/P, 122/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      125173                         NA         22 INCH 1 LB x80 DLQ,B/P, 123/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      125190                         NA         22 INCH 1 LB x80 DLQ,B/P, 144/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      125191                         NA         22 INCH 1 LB x80 DLQ,B/P, 143/75976                                                   ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      125200                         NA         22 INCH 1 LB x80 DLQ,B/P, 155/75976                                                   ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      125201                         NA         22 INCH 1 LB x80 DLQ,B/P, 154/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      125204                         NA         22 INCH 1 LB x80 DLQ,B/P, 159/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      125205                         NA         22 INCH 1 LB x80 DLQ,B/P, 158/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      125213                  Rack No. BPL7L2   22 INCH 1 LB x80 DLQ,B/P, 162/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      125219                         NA         22 INCH 1 LB x80 DLQ,B/P, 139/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      125221                         NA         22 INCH 1 LB x80 DLQ,B/P, 137/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      125222                         NA         22 INCH 1 LB x80 DLQ,B/P, 136/75976                                                   ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      125249                         NA         22 INCH 1 LB x80 DLQ,B/P, 145/75976                                                   ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      125250                         NA         22 INCH 1 LB x80 DLQ,B/P, 146/75976                                                   ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      130092                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 22/76941                                                    ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130093                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 15/76941                                                    ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130094                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 24/76941                                                    ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130095                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 9/76941                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130096                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 34/76941                                                    ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130097                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 27/76941                                                    ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130098                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 28/76941                                                    ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130099                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 19/76941                                                    ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      130100                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 39/76941                                                    ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130101                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 40/76941                                                    ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130102                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 25/76941                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130103                  Rack No. QRL5L2   22 INCH 1 LB X80 DLQ,B/P, 26/76941                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130104                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 38/76941                                                    ORLOV II      EA                                1         41.41                  0
Franks ‐ Lafayette   Franks International      130105                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 31/76941                                                    ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130106                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 32/76941                                                    ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130107                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 17/76941                                                    ORLOV II      EA                                1         41.41                  0
Franks ‐ Lafayette   Franks International      130108                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 44/76941                                                    ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130109                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 29/76941                                                    ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130110                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 30/76941                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130111                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 23/76941                                                    ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130112                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 42/76941                                                    ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130113                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 35/76941                                                    ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130114                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 36/76941                                                    ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130115                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 21/76941                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130117                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 47/76941                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130118                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 33/76941                                                    ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130121                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 46/76941                                                    ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130125                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 45/76941                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130126                   Rack No. QRS8L   22 INCH 1 LB X80 B/P,CPN, 37/76941                                                    ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130129                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 48/76941                                                    ORLOV II      EA                                1         39.42                  0
Franks ‐ Lafayette   Franks International      130130                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 43/76941                                                    ORLOV II      EA                                1         39.6                   0
Franks ‐ Lafayette   Franks International      130142                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 11/76941                                                    ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130143                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 13/76941                                                    ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130144                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 10/76941                                                    ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130145                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 18/76941                                                    ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130146                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 16/76941                                                    ORLOV II      EA                                1         41.42                  0
Franks ‐ Lafayette   Franks International      130147                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 12/76941                                                    ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130148                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 14/76941                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130149                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 20/76941                                                    ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130151                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 2/76941                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130152                   Rack No. QR13    22 INCH 1 LB X80 DLQ,B/P,X/O, 1/76941                                                 ORLOV II      EA                                1         41.6                   0
Franks ‐ Lafayette   Franks International      130154                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 4/76941                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130155                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 3/76941                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130156                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 5/76941                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130160                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 6/76941                                                     ORLOV II      EA                                1         41.42                  0
Franks ‐ Lafayette   Franks International      130164                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 7/76941                                                     ORLOV II      EA                                1         41.6                   0
Franks ‐ Lafayette   Franks International      130228                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 8/76941                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130559                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 49/76941                                                    ORLOV II      EA                                1         41.35                  0
Franks ‐ Lafayette   Franks International      130560                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 41/76941                                                    ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      62753                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 95/76941                                                 ORLOV II      EA                                1         41.87                  0
Franks ‐ Lafayette   Franks International      62759                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 92/76941                                                 ORLOV II      EA                                1         41.77                  0
Franks ‐ Lafayette   Franks International      62761                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 94/76941                                                 ORLOV II      EA                                1         41.86                  0
Franks ‐ Lafayette   Franks International      62762                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 93/76941                                                 ORLOV II      EA                                1         41.91                  0
Franks ‐ Lafayette   Franks International      62765                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 97/76941                                                 ORLOV II      EA                                1         41.91                  0
Franks ‐ Lafayette   Franks International      62766                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 101/76941                                                ORLOV II      EA                                1         41.91                  0
Franks ‐ Lafayette   Franks International      62768                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 96/76941                                                 ORLOV II      EA                                1         41.89                  0
Franks ‐ Lafayette   Franks International      62769                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 76941                                                    ORLOV II      EA                                1         41.89                  0
Franks ‐ Lafayette   Franks International      62851                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 100/76941                                                ORLOV II      EA                                1         41.85                  0
Franks ‐ Lafayette   Franks International      62863                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 98/76941                                                 ORLOV II      EA                                1         41.89                  0
Franks ‐ Lafayette   Franks International      103217                  Rack No. BPR8R2   22 INCH 1 LB X80 DLQ,B/P,                                                                           EA                                1         21.3                   0
Franks ‐ Lafayette   Franks International      105564                  Rack No. BPR6L4   22 INCH 1 LB X80 DLQ,B/P, 2/74164                                                     NOBLE         EA                                1         7.98                   0




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     Facility           Facility Owner      Item Number    Serial No.       Location       Item Description                                                      Project Number      Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
Franks ‐ Lafayette   Franks International      109324                   Rack No. BPR7L4    22 INCH 1.25 LB X80 DLQ,B/P, 15/74732                                                        NOBLE           EA                                1         21.74                  0
Franks ‐ Lafayette   Franks International      111396                   Rack No. BPR7L4    22 INCH 1 LB X80 DLQ,B/P, 4/74727                                                            NOBLE           EA                                1         28.35                  0
Franks ‐ Lafayette   Franks International      111399                   Rack No. BPR7L4    22 INCH 1 LB X80 DLQ,B/P, 2/74727                                                            NOBLE           EA                                1         28.32                  0
Franks ‐ Lafayette   Franks International      112330                   Rack No. QRR1L2    22 INCH 1.25 LB X80 DLQ,B/P, 15/74736                                                        NOBLE           EA                                1         81.15                  0
Franks ‐ Lafayette   Franks International      112336                   Rack No. QRR1L2    22 INCH 1.25 LB X80 DLQ,B/P, 20/74736                                                        NOBLE           EA                                1         81.85                  0
Franks ‐ Lafayette   Franks International      112709                   Rack No. QRR1L2    22 INCH 1.25 LB X80 DLQ,B/P, 9/74736                                                         NOBLE           EA                                1         81.85                  0
Franks ‐ Lafayette   Franks International      112710                   Rack No. QRR1L2    22 INCH 1.25 LB X80 DLQ,B/P, 23/74736                                                        NOBLE           EA                                1         81.92                  0
Franks ‐ Lafayette   Franks International      112712                   Rack No. QRR1L2    22 INCH 1.25 LB X80 DLQ,B/P, 22/74736                                                        NOBLE           EA                                1         81.85                  0
Franks ‐ Lafayette   Franks International      115996                   Rack No. BPR7L4    22 INCH 1 LB X80 DLQ,B/P, 7/72609                                                            NOBLE           EA                                1         31.34                  0
Franks ‐ Lafayette   Franks International      116784                         PYM          36 INCH 2 LB X70 DLQ,B,                                                                      NOBLE           EA                                1          4.5                   0
Franks ‐ Lafayette   Franks International      123875                          NA          22 INCH 1.25 LB X80 DLQ,B/PE,                                                                                EA                                1         40.89                  0
                                                                                                                                                                                   #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     136805                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 13/76560                                                        MARSH           EA                                 1        40.06                   0
                                                                                                                                                                                   #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     136806                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 16/76560                                                        MARSH           EA                                 1        40.09                   0
                                                                                                                                                                                   #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     136807                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 7/76560                                                         MARSH           EA                                 1        40.06                   0
                                                                                                                                                                                   #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     136808                          NA           26 INCH 1 LB X5256 DDS,B/TCE, 11/76560                                                      MARSH           EA                                 1        14.44                   0

                                                                                                                                                                                      SOUTH MARSH
Franks ‐ Lafayette   Franks International     136809                          NA           26 INCH 1 LB X5256 DDS,B/FS, 18/76560                                                  ISLAND 105#A‐21 ST   EA                                 1        23.75                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     136810                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 8/76560                                                           MARSH         EA                                 1        40.09                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137230                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 17/76560                                                          MARSH         EA                                 1        40.09                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137231                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 15/76560                                                          MARSH         EA                                 1        40.09                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137232                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 14/76560                                                          MARSH         EA                                 1        40.09                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137233                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 5/76560                                                           MARSH         EA                                 1        40.09                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137234                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 4/76560                                                           MARSH         EA                                 1        40.09                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137235                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 9/76560                                                           MARSH         EA                                 1        40.08                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137239                    Rack No. QRR5L4    26 INCH 1 LB X5256 DDS,B/P, 12/76560                                                          MARSH         EA                                 1         40.1                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137240                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 10/76560                                                          MARSH         EA                                 1        40.08                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137241                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 6/76560                                                           MARSH         EA                                 1        40.08                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137242                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/TCE,COT, 1/76560                                                     MARSH         EA                                 1        12.48                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137243                    Rack No. QRR1R1    26 INCH 1 LB X5256 DDS,P/TCE, 11/76560                                                        MARSH         EA                                 1        25.65                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137244                    Rack No. QRL3L1    26 INCH 1 LB X5256 TCE/TCE,COT, 1/76560                                                       MARSH         EA                                 1        14.16                   0
                                                                                                                                                                                      SOUTH MARSH
                                                                                                                                                                                    ISLAND#A‐21 ST #
Franks ‐ Lafayette   Franks International     137384                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 12/76561                                                            105         EA                                 1        40.09                   0
                                                                                                                                                                                  SHIP SHOAL 169 #G‐
Franks ‐ Lafayette   Franks International     137392                    Rack No. QRR5L4    26 INCH 1 LB X5256 DDS,B/P, 3/76561                                                               3         EA                                 1         40.1                   0
                                                                                                                                                                                  SHIP SHOAL 169 #G‐
Franks ‐ Lafayette   Franks International     137393                    Rack No. QRR5L4    26 INCH 1 LB X5256 DDS,B/P, 8/76561                                                               3         EA                                 1         40.1                   0
                                                                                                                                                                                  SHIP SHOAL 169 #G‐
Franks ‐ Lafayette   Franks International     137394                    Rack No. QRR5L4    26 INCH 1 LB X5256 DDS,B/P,COT, 6/76561                                                           3         EA                                 1         40.1                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     137938                    Rack No. BPL11R1   22 INCH 1 LB X80 DLQ,B/P,X/O, 1/72603                                                      TA‐09 (ORLOV)    EA                                 1        41.65                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     138065                    Rack No. BPL10L1   36 INCH 1.5 LB X65 DLQ,B/P, 26/70264                                                       TA‐09 (ORLOV)    EA                                 1        41.97                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     138459                    Rack No. BPL10L1   28 INCH 0.75 LB X60 DLQ,B/P, 2/76746                                                       TA‐09 (ORLOV)    EA                                 1        43.58                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     138928                    Rack No. BPR14L1   22 INCH 1 LB X80 DLQ,B/P, 28/73725                                                         TA‐09 (ORLOV)    EA                                 1        61.46                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     138947                    Rack No. BPL11R1   22 INCH 1 LB X80 DLQ,B/P,BURST X DLQ,B/P, 10/76595                                         TA‐09 (ORLOV)    EA                                 1        49.56                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140972                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 20/76610                                                         TA‐09 (ORLOV)    EA                                 1         42                     0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140973                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 27/76610                                                         TA‐09 (ORLOV)    EA                                 1        41.78                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140974                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 41/76610                                                         TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140975                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 45/76610                                                         TA‐09 (ORLOV)    EA                                 1        42.13                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140976                    Rack No. BPL9L4    22 INCH 1 LB X80 DLQ,B/P, 60/76610                                                         TA‐09 (ORLOV)    EA                                 1        41.66                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140977                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 53/76610                                                         TA‐09 (ORLOV)    EA                                 1        41.96                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140978                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 13/76610                                                         TA‐09 (ORLOV)    EA                                 1        42.05                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140979                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 37/76610                                                         TA‐09 (ORLOV)    EA                                 1        42.07                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140980                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 40/76610                                                         TA‐09 (ORLOV)    EA                                 1        42.15                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140981                    Rack No. BPL9L4    22 INCH 1 LB X80 DLQ,B/P, 23/76610                                                         TA‐09 (ORLOV)    EA                                 1         42.1                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140982                    Rack No. BPL9L4    22 INCH 1 LB X80 DLQ,B/P, 7/76610                                                          TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140983                    Rack No. BPL9L4    22 INCH 1 LB X80 DLQ,B/P, 81/76610                                                         TA‐09 (ORLOV)    EA                                 1        42.12                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140984                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 15/76610                                                         TA‐09 (ORLOV)    EA                                 1        42.12                   0




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     Facility          Facility Owner       Item Number    Serial No.       Location       Item Description                                                Project Number      Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140985                    Rack No. BPL11R4   22 INCH 1 LB X80 DLQ,B/P, 21/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140986                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 70/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.96                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140987                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 44/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.38                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140988                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 14/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.02                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140989                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 12/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.04                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140990                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 74/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.08                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140991                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 63/76610                                                 TA‐09 (ORLOV)    EA                                 1         42.1                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140992                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 61/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140993                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 19/76595                                                 TA‐09 (ORLOV)    EA                                 1        41.37                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140994                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 20/76595                                                 TA‐09 (ORLOV)    EA                                 1        42.06                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140995                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 51/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.96                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140996                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 68/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.36                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140997                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 24/76595                                                 TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141002                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 92/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.45                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141003                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 116/76883                                                TA‐09 (ORLOV)    EA                                 1        41.43                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141004                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 73/76610                                                 TA‐09 (ORLOV)    EA                                 1         42.1                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141005                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 130/76883                                                TA‐09 (ORLOV)    EA                                 1        41.46                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141006                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 21/76595                                                 TA‐09 (ORLOV)    EA                                 1        41.59                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141007                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 18/76595                                                 TA‐09 (ORLOV)    EA                                 1        42.08                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141008                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 14/76595                                                 TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141009                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 25/76595                                                 TA‐09 (ORLOV)    EA                                 1        42.12                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141010                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 4/76610                                                  TA‐09 (ORLOV)    EA                                 1        42.05                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141011                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 78/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.34                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141012                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 87/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.16                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141013                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 6/76610                                                  TA‐09 (ORLOV)    EA                                 1        42.12                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141014                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 33/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.14                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141015                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 11/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.16                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141016                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 9/76610                                                  TA‐09 (ORLOV)    EA                                 1         42                     0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141017                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 27/76595                                                 TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141018                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 32/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141019                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 94/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.46                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141020                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 28/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.12                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141021                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 30/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.13                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141022                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 31/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.44                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141023                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 90/76610                                                 TA‐09 (ORLOV)    EA                                 1        44.89                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141024                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 12/76595                                                 TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141025                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 93/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.47                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141026                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 84/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.49                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141027                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 96/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.01                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141028                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 35/76610                                                 TA‐09 (ORLOV)    EA                                 1         42.1                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141029                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 18/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.87                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141030                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 47/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.07                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141031                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 10/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                                MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141032                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 114/76883                                                   Genovesa      EA                                 1        41.47                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141033                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 46/76883                                                 TA‐09 (ORLOV)    EA                                 1        41.42                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141034                    Rack No. BPR5L3    22 INCH 1 LB X80 DLQ,B/P, 57/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.08                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141035                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 56/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.14                   0




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     Facility          Facility Owner       Item Number    Serial No.      Location       Item Description                                               Project Number      Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141036                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 86/76610                                                TA‐09 (ORLOV)    EA                                 1        42.13                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141037                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 37/76883                                                TA‐09 (ORLOV)    EA                                 1        41.49                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141038                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 39/76610                                                TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141039                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 39/76610                                                TA‐09 (ORLOV)    EA                                 1        42.14                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141040                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 47/76883                                                TA‐09 (ORLOV)    EA                                 1        41.42                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141041                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 42/76883                                                TA‐09 (ORLOV)    EA                                 1        41.51                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141042                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 24/76610                                                TA‐09 (ORLOV)    EA                                 1        42.12                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141043                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 79/76883                                                TA‐09 (ORLOV)    EA                                 1        41.48                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141044                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 54/76610                                                TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141045                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 46/76610                                                TA‐09 (ORLOV)    EA                                 1        41.72                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141046                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 82/76610                                                TA‐09 (ORLOV)    EA                                 1        42.14                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141047                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 2/76610                                                 TA‐09 (ORLOV)    EA                                 1         42.1                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141048                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 43/76610                                                TA‐09 (ORLOV)    EA                                 1         41.6                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141049                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 16/76610                                                TA‐09 (ORLOV)    EA                                 1        42.12                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141050                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 22/76610                                                TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141051                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 26/76610                                                TA‐09 (ORLOV)    EA                                 1        42.14                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141052                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 19/76610                                                TA‐09 (ORLOV)    EA                                 1        42.07                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141053                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 29/76610                                                TA‐09 (ORLOV)    EA                                 1        41.38                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141054                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 3/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.06                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141055                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 50/76610                                                TA‐09 (ORLOV)    EA                                 1        42.14                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141056                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 8/76883                                                 TA‐09 (ORLOV)    EA                                 1        42.14                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141057                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 8/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.07                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141058                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 48/76610                                                TA‐09 (ORLOV)    EA                                 1        42.13                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141059                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 55/76610                                                TA‐09 (ORLOV)    EA                                 1        41.64                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141060                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 76/76610                                                TA‐09 (ORLOV)    EA                                 1        41.41                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141061                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 64/76610                                                TA‐09 (ORLOV)    EA                                 1        42.13                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141062                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 65/76610                                                TA‐09 (ORLOV)    EA                                 1         42.1                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141063                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 36/76610                                                TA‐09 (ORLOV)    EA                                 1        41.72                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141064                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 62/76610                                                TA‐09 (ORLOV)    EA                                 1        41.41                   0
                                                                                                                                                                              MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141065                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 8/76883                                                    Genovesa      EA                                 1        41.48                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141066                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 69/76610                                                TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141067                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 72/76610                                                TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141068                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 66/76610                                                TA‐09 (ORLOV)    EA                                 1        42.13                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141069                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 5/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141070                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 34/76610                                                TA‐09 (ORLOV)    EA                                 1        41.24                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141071                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 75/76610                                                TA‐09 (ORLOV)    EA                                 1        42.14                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141072                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 17/76610                                                TA‐09 (ORLOV)    EA                                 1        41.95                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141073                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 38/76610                                                TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141074                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 85/76610                                                TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141075                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 79/76610                                                TA‐09 (ORLOV)    EA                                 1        42.08                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141076                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 58/76610                                                TA‐09 (ORLOV)    EA                                 1        41.48                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141077                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 42/76610                                                TA‐09 (ORLOV)    EA                                 1        42.13                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141078                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 48/76610                                                TA‐09 (ORLOV)    EA                                 1        41.47                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141079                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 25/76610                                                TA‐09 (ORLOV)    EA                                 1        42.15                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141080                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 77/76610                                                TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141081                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 3/76595                                                 TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141082                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 83/76610                                                TA‐09 (ORLOV)    EA                                 1        42.09                   0




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     Facility          Facility Owner       Item Number    Serial No.       Location       Item Description                                                  Project Number      Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141083                    Rack No. BPL10L2   22 INCH 1 LB X80 DLQ,B/P, 40/76883                                                   TA‐09 (ORLOV)    EA                                 1        41.51                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141084                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 80/76883                                                   TA‐09 (ORLOV)    EA                                 1        41.45                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141085                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 67/76610                                                   TA‐09 (ORLOV)    EA                                 1        42.15                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141086                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 71/76610                                                   TA‐09 (ORLOV)    EA                                 1        42.12                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141087                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 52/76610                                                   TA‐09 (ORLOV)    EA                                 1        42.05                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141088                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 49/76610                                                   TA‐09 (ORLOV)    EA                                 1        42.13                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141089                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 87/76883                                                      Genovesa      EA                                 1        41.49                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141090                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 93/76883                                                      Genovesa      EA                                 1        41.42                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141091                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 24/76883                                                      Genovesa      EA                                 1         41.5                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141122                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 83/76883                                                      Genovesa      EA                                 1         41.5                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141123                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 92/76883                                                      Genovesa      EA                                 1        41.47                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141124                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 28/76883                                                      Genovesa      EA                                 1         41.5                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141125                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 90/76883                                                      Genovesa      EA                                 1        41.47                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141126                    Rack No. QRR8L3    22 INCH 1 LB X80 DLQ,B/P, 152/75976                                                     Genovesa      EA                                 1        41.47                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141127                    Rack No. QRR8L3    22 INCH 1 LB X80 DLQ,B/P, 20/76883                                                      Genovesa      EA                                 1         41.5                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141129                    Rack No. QRR8L3    22 INCH 1 LB X80 DLQ,B/FS, 1/76748                                                   TA‐09 (ORLOV)    EA                                 1        43.52                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141130                    Rack No. QRR8L3    22 INCH 1 LB X80 DLQ,B/P, 124/76883                                                     Genovesa      EA                                 1        41.45                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141131                    Rack No. QRR8L3    22 INCH 1 LB X80 DLQ,B/P, 38/76883                                                      Genovesa      EA                                 1        41.48                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141230                    Rack No. BPL12R1   36 INCH 1.5 LB X65 DLQ,B/P, 2/76608                                                     Genovesa      EA                                 1        42.45                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141233                    Rack No. BPL12R1   36 INCH 1.5 LB X65 DLQ,B/P, 5/76608                                                     Genovesa      EA                                 1        42.18                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141234                    Rack No. BPL12R1   36 INCH 1.5 LB X65 DLQ,B/P, 3/76608                                                     Genovesa      EA                                 1        42.18                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141235                    Rack No. BPL12R1   36 INCH 1.5 LB X65 DLQ,B/P, 11/76881                                                    Genovesa      EA                                 1        40.95                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141236                    Rack No. BPL12R1   36 INCH 1.5 LB X65 DLQ,B/P, 2/75995                                                     Genovesa      EA                                 1        41.89                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141237                    Rack No. BPR5L3    22 INCH 1.25 LB X80 DLQ,B/P, 8/76813                                                 TA‐09 (ORLOV)    EA                                 1        41.72                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141238                    Rack No. BPR5L3    22 INCH 1.25 LB X80 DLQ,B/P, 49/76883                                                TA‐09 (ORLOV)    EA                                 1        41.72                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141239                    Rack No. BPR5L3    22 INCH 1.25 LB X80 DLQ,B/P, 49/76883                                                   Genovesa      EA                                 1        41.65                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141240                    Rack No. BPR5L3    22 INCH 1.25 LB X80 DLQ,B/P, 3/76813                                                 TA‐09 (ORLOV)    EA                                 1         41.7                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141241                    Rack No. BPR5L3    22 INCH 1.25 LB X80 DLQ,B/P, 5/76813                                                 TA‐09 (ORLOV)    EA                                 1         41.7                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141392                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 41/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141393                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 4/73211                                                 TA‐09 (ORLOV)    EA                                 1        41.96                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141394                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 3/73211                                                 TA‐09 (ORLOV)    EA                                 1         41.9                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141395                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 13/73213                                                TA‐09 (ORLOV)    EA                                 1        42.02                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141396                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 21/73213                                                TA‐09 (ORLOV)    EA                                 1        42.01                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141397                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 33/73213                                                TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141398                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 51/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141399                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 28/73212                                                TA‐09 (ORLOV)    EA                                 1        41.99                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141400                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 24/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141401                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 3/73211                                                 TA‐09 (ORLOV)    EA                                 1        41.96                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141402                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 40/73213                                                TA‐09 (ORLOV)    EA                                 1         42.1                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141403                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 29/73213                                                TA‐09 (ORLOV)    EA                                 1         42.1                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141404                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 37/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141405                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 13/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141406                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 31/73213                                                TA‐09 (ORLOV)    EA                                 1        41.96                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141407                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 53/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141408                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 16/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141409                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 8/70915                                                 TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141410                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 20/73213                                                TA‐09 (ORLOV)    EA                                 1        41.98                   0




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     Facility          Facility Owner       Item Number    Serial No.      Location       Item Description                                                  Project Number      Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141411                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 8/73213                                                 TA‐09 (ORLOV)    EA                                 1        41.97                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141412                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 48/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141413                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 10/73212                                                TA‐09 (ORLOV)    EA                                 1        41.96                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141414                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 49/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141415                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 26/70462                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141416                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 26/73212                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141417                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 78/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141418                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 1/73211                                                 TA‐09 (ORLOV)    EA                                 1        41.95                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141419                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 15/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141420                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 12/73157                                                TA‐09 (ORLOV)    EA                                 1        41.99                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141421                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 76/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141422                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 81/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141423                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 34/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141424                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 44/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141425                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 31/70462                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141426                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 76/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141427                    Rack No. BPR7R2   28 INCH 0.75 LB X60 DLQ,B/P, 9/70915                                                 TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141428                    Rack No. BPR7R2   28 INCH 0.75 LB X60 DLQ,B/P, 41/73213                                                TA‐09 (ORLOV)    EA                                 1        42.01                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141429                    Rack No. BPR7R2   28 INCH 0.75 LB X60 DLQ,B/P, 56/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141430                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 30/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141431                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 12/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141432                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 8/73212                                                 TA‐09 (ORLOV)    EA                                 1        41.95                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141433                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 39/73213                                                TA‐09 (ORLOV)    EA                                 1        42.01                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141434                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 39/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141435                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 69/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141436                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 33/70462                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141437                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 61/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141438                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 47/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141439                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 30/73212                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141441                    Rack No. BPR9L3   28 INCH 0.75 LB X60 DLQ,B/P, 60/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141442                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 46/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141443                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 20/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141444                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 70/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141445                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 79/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141446                    Rack No. BPL5R4   28 INCH 0.75 LB X60 DLQ,B/P, 74/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141447                    Rack No. BPL5R4   28 INCH 0.75 LB X60 DLQ,B/P, 11/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141448                    Rack No. BPL5R4   28 INCH 0.75 LB X60 DLQ,B/P, 11/73213                                                TA‐09 (ORLOV)    EA                                 1        42.02                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141450                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 26/73213                                                TA‐09 (ORLOV)    EA                                 1        42.01                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141452                    Rack No. BPR5L3   22 INCH 1.25 LB X80 DLQ,B/P, 4/76813                                                 TA‐09 (ORLOV)    EA                                 1        41.67                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141453                    Rack No. BPR5L3   22 INCH 1.25 LB X80 DLQ,B/P, 9/76813                                                 TA‐09 (ORLOV)    EA                                 1        41.74                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141454                    Rack No. BPR5L3   22 INCH 1.25 LB X80 DLQ,B/P, 10/76813                                                TA‐09 (ORLOV)    EA                                 1        41.76                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141455                    Rack No. BPR5L3   22 INCH 1.25 LB X80 DLQ,B/P, 6/76813                                                 TA‐09 (ORLOV)    EA                                 1        41.71                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141548                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,P/FS, 1/76596                                                TA‐09 (ORLOV)    EA                                 1         43.6                   0
                                                                                                                                                                                 MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141549                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 35/76795                                                   Genovesa      EA                                 1        41.47                   0
                                                                                                                                                                                 MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141550                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 31/76795                                                   Genovesa      EA                                 1        41.92                   0
                                                                                                                                                                                 MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141551                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 30/76795                                                   Genovesa      EA                                 1        41.93                   0
                                                                                                                                                                                 MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141552                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 23/76795                                                   Genovesa      EA                                 1        40.13                   0




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                                                                                                                    DEBTORS' EX. NO. 5
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                                                             Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 443 of 995                    Exhibit D-1 (continued)




      Facility             Facility Owner        Item Number     Serial No.          Location           Item Description                                                          Project Number      Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length    Average Cost       Total Value   WI% Net Value
                                                                                                                                                                                                       MC519 #3 ‐
 Franks ‐ Lafayette     Franks International       141553                        Rack No. BPR9L2        28 INCH 0.75 LB X60 DLQ,B/P, 26/76795                                                           Genovesa      EA                                 1         41.93                   0
                                                                                                                                                                                                       MC519 #3 ‐
 Franks ‐ Lafayette     Franks International       141554                        Rack No. BPR9L2        28 INCH 0.75 LB X60 DLQ,B/P, 3/76795                                                            Genovesa      EA                                 1         41.93                   0
                                                                                                                                                                                                       MC519 #3 ‐
 Franks ‐ Lafayette     Franks International       141555                        Rack No. BPR9L2        28 INCH 0.75 LB X60 DLQ,B/P, 28/76795                                                           Genovesa      EA                                 1         41.93                   0
                                                                                                                                                                                                       MC519 #3 ‐
 Franks ‐ Lafayette     Franks International       141556                        Rack No. BPR9L2        28 INCH 0.75 LB X60 DLQ,B/P, 29/76795                                                           Genovesa      EA                                 1         41.95                   0
                                                                                                                                                                                                   GREEN CANYON 200
 Franks ‐ Lafayette     Franks International       141616                        Rack No. BPR5L3        22 INCH 1 LB X80 DLQ,B/P, 112/76926                                                          TA‐09 (ORLOV)    EA                                 1         41.01                   0
                                                                                                                                                                                                   GREEN CANYON 200
 Franks ‐ Lafayette     Franks International       141619                        Rack No. BPR5L3        22 INCH 1 LB X80 DLQ,B/P, 78/76926                                                           TA‐09 (ORLOV)    EA                                 1         40.96                   0
                                                                                                                                                                                                   GREEN CANYON 200
 Franks ‐ Lafayette     Franks International       141622                        Rack No. BPR5L3        22 INCH 1 LB X80 DLQ,B/P, 111/76926                                                          TA‐09 (ORLOV)    EA                                 1         40.9                    0
                                                                                                                                                                                                   GREEN CANYON 200
 Franks ‐ Lafayette     Franks International       141625                        Rack No. BPR5L3        22 INCH 1 LB X80 DLQ,B/P, 123/76926                                                          TA‐09 (ORLOV)    EA                                 1         41.5                    0
 Franks ‐ Lafayette     Franks International       65379                         Rack No. BPR7L4        22 INCH 1 LB X80 DLQ,B/FS,                                                                                    EA                                 1         43.06                   0
 Franks ‐ Lafayette     Franks International       81955                         Rack No. BPL7L5        28 INCH 0.752 LB X56 DLQ,B/P, 14/74218                                                                        EA                                 1         21.88                   0
 Franks ‐ Lafayette     Franks International       83028                         Rack No. BPR7L4        36 INCH 1.5 LB X65 DLQ,B/IBV,                                                                                 EA                                 1         50.55                   0
 Franks ‐ Lafayette     Franks International       84690                         Rack No. BPL7L5        28 INCH 0.752 LB X56 DLQ,B/P, 1/69354                                                                         EA                                 1         42.03                   0
 Franks ‐ Lafayette     Franks International       84693                         Rack No. BPL7L5        28 INCH 0.752 LB X56 DLQ,B/P, 4/69354                                                                         EA                                 1         42.03                   0
 Franks ‐ Lafayette     Franks International       84694                         Rack No. BPL7L5        28 INCH 0.752 LB X56 DLQ,B/P, 5/69354                                                                         EA                                 1         42.04                   0
 Franks ‐ Lafayette     Franks International       84696                         Rack No. BPL7L5        28 INCH 0.752 LB X56 DLQ,B/P, 7/69354                                                                         EA                                 1         42.09                   0
 Franks ‐ Lafayette     Franks International       84881                         Rack No. BPL7L5        28 INCH 0.752 LB X56 DLQ,B/P, 12/69354                                                                        EA                                 1         42.04                   0
 Franks ‐ Lafayette     Franks International       84893                         Rack No. BPL7L5        28 INCH 0.752 LB X56 DLQ,B/P, 24/69354                                                                        EA                                 1         42.03                   0
 Franks ‐ Lafayette     Franks International       84900                         Rack No. BPL7L5        28 INCH 0.752 LB X56 DLQ,B/FS, 39/69354                                                                       EA                                 1         43.57                   0
 Franks ‐ Lafayette     Franks International       86362                         Rack No. BPR7L4        36 INCH 1.5 LB X65 DLQ,B/P, 14/70264                                                            Noble         EA                                 1         42.09                   0
 Franks ‐ Lafayette     Franks International       86410                         Rack No. BPR7L4        36 INCH 1.5 LB X65 DLQ,B/P, 24/70264                                                            Noble         EA                                 1         41.91                   0
 Franks ‐ Lafayette     Franks International       87226                         Rack No. BPR7L4        36 INCH 2 LB X70 DLQ,B/P, 1/70264                                                               Noble         EA                                 1         42.43                   0
 Franks ‐ Lafayette     Franks International       87233                         Rack No. BPR7L4        36 INCH 2 LB X70 DLQ,B/P, 5/70264                                                               Noble         EA                                 1         42.32                   0
 Franks ‐ Lafayette     Franks International       91366                         Rack No. BPR7L4        22 INCH 1 LB X80 DLQ,B/P, 7/72609                                                               Noble         EA                                 1         31.4                    0
 Franks ‐ Lafayette     Franks International       93573                         Rack No. BPL7L5        28 INCH 0.75 LB X5660 DLQ,B/IBV,LIF, 19/70466                                                   Noble         EA                                 1         41.95                   0
 Franks ‐ Lafayette     Franks International       93574                         Rack No. BPL7L5        28 INCH 0.75 LB X5660 DLQ,B/P, 31/70460                                                           4           EA                                 1          42                     0
 Franks ‐ Lafayette     Franks International       93576                         Rack No. BPL7L5        28 INCH 0.75 LB X5660 DLQ,B/P, 2/70466                                                            4           EA                                 1          42                     0
 Franks ‐ Lafayette     Franks International       93578                         Rack No. BPL7L5        28 INCH 0.75 LB X5660 DLQ,B/P, 7/70466                                                            4           EA                                 1          42                     0
 Franks ‐ Lafayette     Franks International       95141                         Rack No. BPR8R2        22 INCH 1 LB X80 DLQ,B/P,                                                                                     EA                                 1         21.4                    0
Franks ‐ New Iberia     Franks International       87377                          Rack No. N49          22 INCH 1.25 LB X80 PLAIN,                                                                     ORLOV II       EA                                 1         40.11                   0
Franks ‐ New Iberia     Franks International       87378                          Rack No. N49          22 INCH 1.25 LB X80 PLAIN,                                                                     ORLOV II       EA                                 1         40.07                   0
                                                                                                                                                                                                   MC 948 GUNFLINT
Hornbeck ‐ Fourchon   Hornbeck Energy Services     70024.A                                              PLATFORM; PN:SW160121‐01,TYP AERIAL LIFT                                     140528          LONG LEAD        EA                                 1                        279145
                                                                              Yard Loc: H219, climate   SIEMEMS MOTOR: S/N: 0770680‐010‐1. 1250 HP 882 RPM, 4160 VT, WP11 Frame
 Linear ‐ Lafayette       Linear Controls          70131.A                       controlled facility    6811 Siemens                                                                                 Thunderhawk      EA                                 1                                 0
                                                                              Yard Loc: H222, climate   SIEMENS MOTOR: S/N: 1LE24214CC112AA3. 75 HP, 1200 RPM, 460 VT, TEFC,
 Linear ‐ Lafayette       Linear Controls          70146.A                       controlled facility    Frame 444T                                                                                   Thunderhawk      EA                                 1                                 0
                                                                              Yard Loc: H223, climate   MARATHON MOTOR: S/N: WAA037677. 125 HP, 1800 RPM, 460 VR, TEFC, Grame
 Linear ‐ Lafayette       Linear Controls          70147.A                       controlled facility    445T                                                                                         Thunderhawk      EA                                 1                                 0
                                                                              Yard Loc: H225, climate
 Linear ‐ Lafayette       Linear Controls         70149.A                        controlled facility    SIEMENS MOTOR: S/N: G12T1269NPI7. 250 HP, 1800 RPM, TEFC Frame B449T                         Thunderhawk      EA                                 1                                 0
   NOV ‐ Amelia                NOV               7805505‐01                       Rack No. AR30.        4 1/2" 15.50# HP1‐13CR110 JFE SEAMLESS TUBING, BTS‐6 THREAD                 FW192008        GC 200 TA‐2 S/T   EA    UNKNOWN                     15        593.35                   0
   NOV ‐ Amelia                NOV               7805505‐02                       Rack No. AR30.        5 1/2" 23.00# 13CR95 JFE SEAMLESS TUBING, BTS‐6 THREAD                      FW192008        GC 200 TA‐2 S/T   EA    UNKNOWN                     23        910.04                   0
   NOV ‐ Amelia                NOV               7800124‐01                     Rack No. MURPHY.        5 1/2" 29.70# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                       40        1709.4                   0
                                                                                                        5 1/2" 29.70# HP2‐13CR110 JFE STEEL SEAMLESS PUP JOINTS, DUTCHMAN
   NOV ‐ Amelia                NOV               7800124‐05                      Rack No. EQ22.         THREAD                                                                      FW202002           GC 40 #1       EA      USED                       1          27                     0
   NOV ‐ Amelia                NOV               7800124‐01                     Rack No. MURPHY.        5 1/2" 29.70# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                        5        213.05                   0
   NOV ‐ Amelia                NOV               7800124‐06                      Rack No. 2‐336.        5 1/2" 29.70# HP2‐13CR110 JFE SEAMLESS PUP JOINTS, JFE LION CR THREAD       FW202002           GC 40 #1       EA      USED                       1         18.1                    0
   NOV ‐ Amelia                NOV               7800124‐03                     Rack No. MURPHY.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                        3         129.8                   0
   NOV ‐ Amelia                NOV               7800124‐01                     Rack No. MURPHY.        5 1/2" 29.70# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                        3          126                    0
   NOV ‐ Amelia                NOV               7800124‐03                     Rack No. MURPHY.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                       45        1926.05                  0
   NOV ‐ Amelia                NOV               7800124‐03                     Rack No. MURPHY.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                        1         42.75                   0
   NOV ‐ Amelia                NOV               7800124‐03                     Rack No. MURPHY.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                        2         84.85                   0
   NOV ‐ Amelia                NOV               7800124‐07                      Rack No. 2‐336.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS PUP JOINTS, JFE LION THREAD           FW202002           GC 40 #1       EA      NEW                        1         8.55                    0
   NOV ‐ Amelia                NOV               7800124‐07                      Rack No. 2‐336.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS PUP JOINTS, JFE LION THREAD           FW202002           GC 40 #1       EA      NEW                        2         13.25                   0
   NOV ‐ Amelia                NOV               7800124‐07                      Rack No. 2‐336.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS PUP JOINTS, JFE LION THREAD           FW202002           GC 40 #1       EA      NEW                        2          5.2                    0
   NOV ‐ Amelia                NOV               7800124‐08                    Rack No. N‐SPRAY‐1.      4 1/2" 15.10# HP2‐13CR110 JFE SEAMLESS PUP JOINTS, JFE LION CR THREAD       FW202002           GC 40 #1       EA      NEW                        1          4.3                    0
   NOV ‐ Amelia                NOV               7800124‐02                     Rack No. MURPHY.        4 1/2" 18.90# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                        2         85.15                   0
   NOV ‐ Amelia                NOV               7800124‐02                     Rack No. MURPHY.        4 1/2" 18.90# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                       41        1724.85                  0
   NOV ‐ Amelia                NOV               7800124‐02                     Rack No. MURPHY.        4 1/2" 18.90# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                        2         84.7                    0
   NOV ‐ Amelia                NOV               7800124‐02                     Rack No. MURPHY.        4 1/2" 18.90# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                        3         128.6                   0
   NOV ‐ Amelia                NOV               7800124‐07                      Rack No. 2‐336.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS PUP JOINTS, JFE LION THREAD           FW202002           GC 40 #1       EA      NEW                        1         15.55                   0
   NOV ‐ Amelia                NOV               7800124‐07                      Rack No. 2‐336.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS PUP JOINTS, JFE LION THREAD           FW202002           GC 40 #1       EA      NEW                        1          4.5                    0
                                                                                                                                                                                                    GC 40 #1 OCSG
   NOV ‐ Amelia                NOV               7800101‐01                       Rack No. K029.        5 1/2" 26.00# HP2‐13CR110 JFE SEAMLESS TUBING, JFE LION CR THREAD           FW202002            34536         EA      USED                      90        3836.7                   0
                                                                                                                                                                                                    GC 40 #1 OCSG
   NOV ‐ Amelia                NOV               7800101‐01                       Rack No. K029.        5 1/2" 26.00# HP2‐13CR110 JFE SEAMLESS TUBING, JFE LION CR THREAD           FW202002            34536         EA      USED                      21        899.55                   0
                                                                                                                                                                                                    GC 40 #1 OCSG
   NOV ‐ Amelia                NOV               7800101‐01                       Rack No. K029.        5 1/2" 26.00# HP2‐13CR110 JFE SEAMLESS TUBING, JFE LION CR THREAD           FW202002            34536         EA     USED                        1         42.4                    0
                                                                                                                                                                                                    GC 40 #1 OCSG
   NOV ‐ Amelia                NOV               7800101‐01                       Rack No. K029.        5 1/2" 26.00# HP2‐13CR110 JFE SEAMLESS TUBING, JFE LION CR THREAD           FW202002            34536         EA     USED                       142       6052.6                   0
                                                                                                                                                                                                    GC 40 #1 OCSG
   NOV ‐ Amelia                NOV               7800101‐02                       Rack No. K029.        5 1/2" 29.70# HP2‐13CR110 JFE SEAMLESS TUBING, JFE LION CR THREAD           FW202002            34536         EA     USED                        2         84.6                    0
                                                                                                                                                                                                    GC 40 #1 OCSG
   NOV ‐ Amelia                NOV               7800101‐01                       Rack No. K029.        5 1/2" 26.00# HP2‐13CR110 JFE SEAMLESS TUBING, JFE LION CR THREAD           FW202002            34536         EA     USED                       27        1148.8                   0
                                                                                                                                                                                                    GC 40 #1 OCSG
   NOV ‐ Amelia                NOV               7800101‐02                       Rack No. K029.        5 1/2" 29.70# HP2‐13CR110 JFE SEAMLESS TUBING, JFE LION CR THREAD           FW202002            34536         EA     USED                        4        169.25                   0
                                                                                                        4 1/2" 17.00# VM‐110 13CRSS VALLOUREC SEAMLESS TUBING, VAM TOP HC
   NOV ‐ Amelia                NOV               7796246‐01                     Rack No. WKRK02.        THREAD                                                                      FW202002       GC 40 #1 KATMAI    EA      NEW                        4         171                     0
                                                                                                                                                                                                   MC 519 #3 OCSG
   NOV ‐ Amelia                NOV               7785930‐01                       Rack No. D001.        5 1/2" 23.00# 13CR95 JFE SEAMLESS TUBING, JFE LION CR THREAD                FW202001             27278        EA    UNKNOWN                     40         1760                    0
                                                                                                                                                                                                   MISS CANYON 519
   NOV ‐ Amelia                NOV               7771779‐01                       Rack No. E033.        5 1/2" 23.00# 13CR95 JFE SEAMLESS CASING, JFE LION CR THREAD                FW202001        #3 OCSG 12209     EA      NEW                        1          44                     0
                                                                                                                                                                                                   GC 200 TA9‐ST01‐
   NOV ‐ Amelia                NOV               7767125‐02                     Rack No. WRAP1.         4 1/2" 15.10# 13CR95 JFE SEAMLESS TUBING, JFE LION CR THREAD                FW192015             BP01         EA      NEW                       12         519.3                   0
                                                                                                                                                                                                   GC 200 TA9‐ST01‐
   NOV ‐ Amelia                NOV               7767125‐02                       Rack No. EL06.        4 1/2" 15.10# 13CR95 JFE SEAMLESS TUBING, JFE LION CR THREAD                FW192015             BP01         EA      NEW                        1         38.3                    0




                                                                                                                                                                  87


                                                                                                                                   DEBTORS' EX. NO. 5
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  Facility     Facility Owner   Item Number   Serial No.       Location        Item Description                                                              Project Number       Project Name     UOM   Condition   Wt. (lbs)   On Hand Qty    Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                               GC 200 TA9‐ST01‐
NOV ‐ Amelia       NOV          7767125‐01                 Rack No. WRAP1.     5 1/2" 23.00# 13CR95 JFE SEAMLESS CASING, JFE LION CR THREAD                    FW192015               BP01         EA      NEW                       89         3858.85                   0
                                                                                                                                                                                 GC 200 / OCSG
NOV ‐ Amelia       NOV          7762379‐01                 Rack No. LONGTR.    4 1/2" 15.20# 13CR95 JFE SEAMLESS TUBING, JFE LION CR THREAD                    FW192012         12209 TA‐2 ST02    EA    UNKNOWN                      1           44                      0
                                                                                                                                                                                 GC 200 / OCSG
NOV ‐ Amelia       NOV          7762379‐02                 Rack No. I3‐WK10.   5 1/2" 23.00# 13CR95 JFE SEAMLESS CASING, JFE LION CR THREAD                    FW192012         12209 TA‐2 ST02    EA      NEW                        9         387.15                    0
                                                                                                                                                                                 GC 200 / OCSG
NOV ‐ Amelia       NOV          7762379‐02                 Rack No. CUST1.     5 1/2" 23.00# 13CR95 JFE SEAMLESS CASING, JFE LION CR THREAD                    FW192012         12209 TA‐2 ST02    EA      NEW                        1          43.55                    0
                                                                                                                                                                              GC 200 TROIKA TA2
NOV ‐ Amelia       NOV          7759774‐01                 Rack No. I3‐WK10.   5 1/2" 23.00# 13CR95 JFE SEAMLESS CASING, JFE LION CR THREAD                    FW192012        ST02 OCSG 12209     EA      NEW                       44        1904.7982                  0
                                                                                                                                                                              GC 200 TROIKA TA2
NOV ‐ Amelia       NOV          7759774‐02                 Rack No. CUST1.     4 1/2" 15.10# 13CR95 JFE SEAMLESS TUBING, JFE LION CR THREAD                    FW192012        ST02 OCSG 12209     EA      NEW                        1          41.65                    0
                                                                                                                                                                              GC 200 TROIKA TA2
NOV ‐ Amelia       NOV          7759774‐02                 Rack No. I3‐WK10.   4 1/2" 15.10# 13CR95 JFE SEAMLESS TUBING, JFE LION CR THREAD                    FW192012        ST02 OCSG 12209     EA      NEW                       10          429.9                    0
                                                                                                                                                                              GC 200 TROIKA TA3
NOV ‐ Amelia       NOV          7759771‐01                  Rack No. AR33.     5 1/2" 23.00# 13CR95 JFE SEAMLESS CASING, JFE LION CR THREAD                    FW192013        ST01 OCSG 12209     EA      NEW                        1         43.1602                   0
                                                                                                                                                                              GC 200 TROIKA TA3
NOV ‐ Amelia       NOV          7759771‐02                  Rack No. CP02.     4 1/2" 15.10# 13CR95 JFE SEAMLESS TUBING, JFE LION CR THREAD                    FW192013        ST01 OCSG 12209     EA      NEW                       11         472.75                    0
                                                                                                                                                                              GC 200 TROIKA TA3
NOV ‐ Amelia       NOV          7759771‐01                  Rack No. AR33.     5 1/2" 23.00# 13CR95 JFE SEAMLESS CASING, JFE LION CR THREAD                    FW192013        ST01 OCSG 12209     EA      NEW                       22        949.5383                   0
                                                                                                                                                                              GC 200 TROIKA TA3
NOV ‐ Amelia       NOV          7759771‐03                 Rack No. CUST1.     4 1/2" 15.10# 13CR95 JFE SEAMLESS TUBING, JFE LION CR THREAD                    FW192013        ST01 OCSG 12209     EA     USED                        1          43.3                     0
                                                                                                                                                                                 G.C. 40 #21 S/T
                                                                               7 3/4" 46.10# TN‐125‐HCY TENARIS‐TAMSA SEAMLESS CASING, TSH WEDGE 523                               OCSG 34536
NOV ‐ Amelia       NOV          7754749‐01                  Rack No. K057.     THREAD                                                                          FW191502             (KATMAI)       EA      NEW                       18         830.99                    0
                                                                               7 3/4" 46.10# TN‐125‐HCY TENARIS‐TAMSA SEAMLESS CASING, TSH WEDGE 523                           GC 200 TA3 OCSG
NOV ‐ Amelia       NOV          7753002‐01                  Rack No. 2‐438.    THREAD                                                                          FW191027               12209        EA      NEW                       11          491.8                    0
                                                                               7 3/4" 46.10# Q‐125 TENARIS‐TAMSA SEAMLESS CASING, TSH WEDGE 523                                GC 200 TA3 OCSG
NOV ‐ Amelia       NOV          7753002‐02                  Rack No. 2‐438.    THREAD                                                                          FW191027               12209        EA      NEW                        2          82.05                    0
                                                                               5 1/2" 26.00# VM‐110 13CRSS VALLOUREC SEAMLESS CASING, VAM TOP HC                               GC 40 #1 (KATMAI
NOV ‐ Amelia       NOV          7752420‐01                 Rack No. WKRK02.    THREAD                                                                          FW191515         #1) OCSG 34536     EA      NEW                        1           43                      0
                                                                                                                                                                                GC 200 #TA‐9ST
NOV ‐ Amelia       NOV          7749432‐01                  Rack No. C248.     11 7/8" 71.80# HCQ‐125 U S STEEL SEAMLESS CASING, TSH 513 THREAD                FW191023            OCSG 12209      EA      NEW                       72         3160.9                    0
                                                                                                                                                                               MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7749426‐01                  Rack No. EJ21.     11 7/8" 71.80# HCQ‐125 U S STEEL SEAMLESS CASING, TSH 513 THREAD                FW191019               27278        EA      NEW                       68         2986.1                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐07                  Rack No. C050.     10 3/4" 65.70# Q‐125 HC   SEAMLESS PUP JOINTS, SLIJII THREAD                    FW191023            OCSG 12209      EA      NEW                        1           5                       0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐07                  Rack No. C050.     10 3/4" 65.70# Q‐125 HC   SEAMLESS PUP JOINTS, SLIJII THREAD                    FW191023            OCSG 12209      EA      NEW                        1          15.2                     0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐07                  Rack No. C050.     10 3/4" 65.70# Q‐125 HC   SEAMLESS PUP JOINTS, SLIJII THREAD                    FW191023            OCSG 12209      EA      NEW                        2          19.55                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐12                  Rack No. C050.     10 3/4" 65.70# Q‐125 HC V&M TCA SEAMLESS CASING, SLIJII THREAD                  FW191023            OCSG 12209      EA      USED                       2          87.1                     0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐12                  Rack No. C050.     10 3/4" 65.70# Q‐125 HC V&M TCA SEAMLESS CASING, SLIJII THREAD                  FW191023            OCSG 12209      EA      USED                       1          44.95                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐06                  Rack No. C050.     10 3/4" 65.70# Q‐125 HC V&M TCA SEAMLESS CASING, SLIJII THREAD                  FW191023            OCSG 12209      EA      NEW                       11         480.93                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐10                  Rack No. C050.     9 7/8" 62.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD            FW191023            OCSG 12209      EA      NEW                        4         155.62                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐11                  Rack No. C050.     9 7/8" 62.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD            FW191023            OCSG 12209      EA      USED                       2          81.81                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐09                  Rack No. C050.     9 7/8" 62.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD            FW191023            OCSG 12209      EA      NEW                       27         1063.34                   0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐02                  Rack No. C048.     7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD                FW191023            OCSG 12209      EA      NEW                       17         696.84                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐08                  Rack No. C050.                  OTHER,   THREAD                                                    FW191023            OCSG 12209      EA      USED                       1           4.2                     0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐03                  Rack No. C048.     7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD                FW191023            OCSG 12209      EA      NEW                        3         123.26                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐04                  Rack No. C048.     7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD                FW191023            OCSG 12209      EA      NEW                        1          43.29                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐05                  Rack No. C048.     7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD                FW191023            OCSG 12209      EA      NEW                        1          43.3                     0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐01                  Rack No. C048.     7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD                FW191023            OCSG 12209      EA      NEW                       28         1269.16                   0
                                                                                                                                                                               GC 200 TA9 ST01
NOV ‐ Amelia       NOV          7742256‐02                  Rack No. 2‐439.    9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, SLIJII THREAD                    FW191023           OCSG 12209       EA      NEW                        3          129.4                    0
                                                                                                                                                                               GC 200 TA9 ST01
NOV ‐ Amelia       NOV          7742256‐01                  Rack No. 2‐439.    9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, SLIJII THREAD                    FW191023           OCSG 12209       EA      NEW                       10          441.3                    0
                                                                                                                                                                               GC 200 TA9 ST01
NOV ‐ Amelia       NOV          7742256‐03                  Rack No. 2‐439.    9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, SLIJII THREAD                    FW191023           OCSG 12209       EA      NEW                        4          175.2                    0
                                                                                                                                                                               GC 200 TA9 ST01
NOV ‐ Amelia       NOV          7742256‐04                  Rack No. 2‐439.    9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, SLIJII THREAD                    FW191023           OCSG 12209       EA      USED                       2          88.05                    0
                                                                                                                                                                              G.C. 200 TA3 OCSG:
NOV ‐ Amelia       NOV          7741619‐01                 Rack No. CEFPUP.    7 3/4" 46.10# Q‐125 TENARIS SEAMLESS PUP JOINTS, TSH 523 THREAD                 FW191027               12209        EA      NEW                        1          10.12                    0
                                                                               6" X 4 1/2" 30.38# 15.50# (45.88#) HP113CR115(O) HP113CR115(I) JFE SEAMLESS                    GREEN CANYON 200
NOV ‐ Amelia       NOV          7738697‐01                  Rack No. AR34.     VIT, VAM DRS NA THREAD                                                          FW192008            TA‐2 / TA‐3     EA      USED                      58         2300.3                    0
                                                                                                                                                                              GC 200 #TA‐9 OCSG
NOV ‐ Amelia       NOV          7736792‐01                   Rack No. CCF.     9 7/8" 62.80# Q‐125 TENARIS SEAMLESS CASING, TSH W523 DPLS THREAD               FW191018               12209        EA      NEW                        1          37.45                    0
                                                                                                                                                                               MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐02                   Rack No. CCF.     10 3/4" 73.20# TN‐125‐HC TENARIS SEAMLESS PUP JOINTS, MAC II THREAD             FW191517               27278        EA      NEW                        2           30                      0
                                                                                                                                                                               MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐01                  Rack No. 2‐438.    10 3/4" 73.20# TN‐125‐HC TENARIS SEAMLESS CASING, MAC II THREAD                 FW191517               27278        EA      NEW                        9          383.2                    0
                                                                                                                                                                               MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐05                   Rack No. CCF.     10 3/4" 73.20# TN‐125‐HC TENARIS SEAMLESS PUP JOINTS, MAC II THREAD             FW191517               27278        EA      NEW                        1          10.2                     0
                                                                                                                                                                               MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐03                  Rack No. 2‐439.                 OTHER,   THREAD                                                    FW191517               27278        EA      USED                       2          80.85                    0
                                                                                                                                                                               MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐07                   Rack No. CCF.                  OTHER,   THREAD                                                    FW191517               27278        EA      USED                       1          5.15                     0
                                                                                                                                                                               MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐01                  Rack No. 2‐438.    10 3/4" 73.20# TN‐125‐HC TENARIS SEAMLESS CASING, MAC II THREAD                 FW191517               27278        EA      NEW                       13         510.05                    0
                                                                                                                                                                               MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐04                  Rack No. 2‐438.    9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, SLIJII THREAD                    FW191517               27278        EA      NEW                       24         1051.5                    0




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  Facility     Facility Owner   Item Number   Serial No.        Location         Item Description                                                         Project Number     Project Name       UOM   Condition   Wt. (lbs)   On Hand Qty    Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                            MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐06                    Rack No. CCF.      10 3/4" 73.20# TN‐125‐HC TENARIS SEAMLESS PUP JOINTS, MAC II THREAD        FW191517             27278          EA      NEW                        2           9.8                     0
                                                                                                                                                                            MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐09                   Rack No. 2‐313.     9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, SLIJII THREAD               FW191517             27278          EA      USED                      15          659.7                    0

                                                                                                                                                                           GREEN CANYON 200
NOV ‐ Amelia       NOV          7734808‐01                   Rack No. C248.      9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, VAM SLIJ II THREAD          FW191023       TA9 S/T OCSG 12209   EA      NEW                        1          36.7                     0
                                                                                                                                                                            M.C 519 #3 OCSG:
NOV ‐ Amelia       NOV          7732821‐01                   Rack No. 2‐438.     13 5/8" 88.20# Q‐125 HC V&M SEAMLESS CASING, SLIJII THREAD                 FW191019              27278         EA      NEW                        4         162.95                    0
                                                                                                                                                                            M.C 519 #3 OCSG:
NOV ‐ Amelia       NOV          7732821‐03                   Rack No. R010.      13 5/8" 88.20# SM‐125TT SUMITOMO SEAMLESS CASING, SLIJII THREAD            FW191019              27278         EA      NEW                       10         399.25                    0
                                                                                                                                                                            M.C 519 #3 OCSG:
NOV ‐ Amelia       NOV          7732821‐02                   Rack No. 2‐330B.    13 5/8" 88.20# Q‐125 HC U S STEEL SEAMLESS CASING, SLIJII THREAD           FW191019              27278         EA      NEW                        3          128.4                    0
                                                                                                                                                                            M.C 519 #3 OCSG:
NOV ‐ Amelia       NOV          7732821‐06                   Rack No. 2‐313.     13 5/8" 88.20# Q‐125 HC U S STEEL SEAMLESS CASING, SLIJII THREAD           FW191019              27278         EA      USED                       1           44                      0
                                                                                                                                                                            M.C 519 #3 OCSG:
NOV ‐ Amelia       NOV          7732821‐05                   Rack No. R010.      13 5/8" 88.20# SM‐125S NSSMC SEAMLESS CASING, SLIJII THREAD                FW191019              27278         EA      NEW                        9         361.35                    0
                                                                                                                                                                            M.C 519 #3 OCSG:
NOV ‐ Amelia       NOV          7732821‐04                   Rack No. 2‐340.     13 5/8" 88.20# Q‐125 HC VMG SEAMLESS CASING, SLIJII THREAD                 FW191019              27278         EA      NEW                        1          44.5                     0
                                                                                                                                                                            M.C 519 #3 OCSG:
NOV ‐ Amelia       NOV          7732821‐08                   Rack No. 2‐330B.    13 5/8" 88.20# SM‐125S NSSMC SEAMLESS CASING, SLIJII THREAD                FW191019              27278         EA      USED                       2           88                      0
                                                                                                                                                                            M.C 519 ROWAN
NOV ‐ Amelia       NOV          7731874‐01                   Rack No. I3‐302.    18" 117.00# Q‐125‐HP USS SEAMLESS CASING, HDL THREAD                       FW191019            RESOLUTE        EA      NEW                       10         406.55                    0
                                                                                                                                                                            M.C 519 ROWAN
NOV ‐ Amelia       NOV          7731874‐02                   Rack No. I3‐302.    18" 117.00# Q‐125‐HP USS SEAMLESS CASING, HDL THREAD                       FW191019            RESOLUTE        EA      NEW                        4          170.2                    0
NOV ‐ Amelia       NOV          7729854‐01                   Rack No. C218.      2 7/8" 6.50# 13CR95 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW194024          EW 826 A‐18       EA      NEW                       54         1701.8                    0
NOV ‐ Amelia       NOV          7729854‐01                   Rack No. C218.      2 7/8" 6.50# 13CR95 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW194024          EW 826 A‐18       EA      NEW                        1          31.75                    0
NOV ‐ Amelia       NOV          7729854‐01                   Rack No. C152.      2 7/8" 6.50# 13CR95 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW194024          EW 826 A‐18       EA      NEW                        1          31.8                     0
NOV ‐ Amelia       NOV          7729854‐02                   Rack No. C152.      2 7/8" 6.50# 13CR95 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW194024          EW 826 A‐18       EA      USED                       4         125.95                    0

NOV ‐ Amelia       NOV          7727342‐03                    Rack No. CCF.      10 3/4" 85.30# Q125 ICY TENARIS SEAMLESS PUP JOINTS, MAC II THREAD         FW191515       GC 40 / OCSG 34536   EA      NEW                        2          10.7                     0

NOV ‐ Amelia       NOV          7727342‐03                    Rack No. CCF.      10 3/4" 85.30# Q125 ICY TENARIS SEAMLESS PUP JOINTS, MAC II THREAD         FW191515       GC 40 / OCSG 34536   EA      NEW                        1          10.4                     0

NOV ‐ Amelia       NOV          7727342‐04                    Rack No. CCF.                   OTHER,   THREAD                                               FW191515       GC 40 / OCSG 34536   EA      USED                       1          5.15                     0

NOV ‐ Amelia       NOV          7727342‐01                   Rack No. 2‐110.     10 3/4" 85.30# Q125 ICY TENARIS SEAMLESS CASING, MAC II THREAD             FW191515       GC 40 / OCSG 34536   EA      NEW                        8        352.8444                   0

NOV ‐ Amelia       NOV          7727342‐01                   Rack No. 2‐213.     10 3/4" 85.30# Q125 ICY TENARIS SEAMLESS CASING, MAC II THREAD             FW191515       GC 40 / OCSG 34536   EA      NEW                       10         441.06                    0

NOV ‐ Amelia       NOV          7727342‐02                   Rack No. 2‐110.     10 1/8" 79.29# Q125 ICY TENARIS SEAMLESS CASING, TSH WEDGE 523 THREAD      FW191515       GC 40 / OCSG 34536   EA      NEW                       16          712                      0
                                                                                                                                                                           GREEN CANYON 200
NOV ‐ Amelia       NOV          7725195‐01                   Rack No. C081.                    OTHER, THREAD                                                FW191018               TA9          EA      USED                       2            0                      0
NOV ‐ Amelia       NOV          7722897‐02                   Rack No. H002.      7 3/4" 46.10# Q‐125 IC TENARIS SEAMLESS CASING, TSH 523 THREAD             FW191021           GC 200 TA‐2      EA      NEW                        5          224.5                    0
NOV ‐ Amelia       NOV          7717849‐01                   Rack No. E010.      9 7/8" 62.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD       FW191018        GC 200 TA‐9 BP01    EA      NEW                       40        1598.6445                  0
NOV ‐ Amelia       NOV          7717849‐01                   Rack No. E010.      9 7/8" 62.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD       FW191018        GC 200 TA‐9 BP01    EA      NEW                        1          39.8                     0
NOV ‐ Amelia       NOV          7717849‐06                   Rack No. EG23.      9 7/8" 62.80# Q‐125 HC TENARIS SEAMLESS CASING, SLIJII THREAD              FW191018        GC 200 TA‐9 BP01    EA      NEW                        3         135.45                    0

NOV ‐ Amelia       NOV          7717849‐02                    Rack No. E010.     9 7/8" 62.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH WEDGE 523 THREAD      FW191018       GC 200 TA‐9 BP01     EA      NEW                       13         587.95                    0
NOV ‐ Amelia       NOV          7717849‐07                    Rack No. EG23.                   OTHER, THREAD                                                FW191018       GC 200 TA‐9 BP01     EA      USED                       2          87.6                     0
NOV ‐ Amelia       NOV          7715996‐01                 Rack No. SITEGUARD.   2 7/8" 6.50# 13CR85 SEAMLESS PUP JOINTS, BTS‐8 THREAD                      FW185098          EB 159 A‐17       EA      USED                       1           10                      0
NOV ‐ Amelia       NOV          7715996‐01                 Rack No. SITEGUARD.   2 7/8" 6.50# 13CR85 SEAMLESS PUP JOINTS, BTS‐8 THREAD                      FW185098          EB 159 A‐17       EA      USED                       1            6                      0
                                                                                                                                                                           ORLOV LONG LEAD
NOV ‐ Amelia       NOV          7714562‐01                   Rack No. 2‐104.     18" 116.09# Q125 HP U S STEEL SEAMLESS CASING, HDL THREAD                  FW181011         OCSG 12209         EA      NEW                       28         1092.6                    0
                                                                                                                                                                           ORLOV LONG LEAD
NOV ‐ Amelia       NOV          7714562‐01                    Rack No. AR1.      18" 116.09# Q125 HP U S STEEL SEAMLESS CASING, HDL THREAD                  FW181011         OCSG 12209         EA      NEW                        1          39.15                    0
                                                                                                                                                                           ORLOV LONG LEAD
NOV ‐ Amelia       NOV          7714562‐01                   Rack No. I3‐302.    18" 116.09# Q125 HP U S STEEL SEAMLESS CASING, HDL THREAD                  FW181011         OCSG 12209         EA      NEW                       62         2419.22                   0
                                                                                                                                                                           ORLOV LONG LEAD
NOV ‐ Amelia       NOV          7714562‐01                  Rack No. I3SPUR5.    18" 116.09# Q125 HP U S STEEL SEAMLESS CASING, HDL THREAD                  FW181011         OCSG 12209         EA      NEW                       56         2185.05                   0
                                                                                                                                                                           ORLOV LONG LEAD
NOV ‐ Amelia       NOV          7714562‐01                   Rack No. I3‐301.    18" 116.09# Q125 HP U S STEEL SEAMLESS CASING, HDL THREAD                  FW181011         OCSG 12209         EA      NEW                       84         3277.65                   0
NOV ‐ Amelia       NOV          7713962‐01                   Rack No. A037.      2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW184070          EB‐158 A‐12       EA      NEW                       68         2158.45                   0
                                                                                                                                                                           GC 200 TA‐9 OCSG
NOV ‐ Amelia       NOV          7713824‐01                   Rack No. C245.      13 5/8" 88.20# Q‐125 VMG SEAMLESS CASING, SLIJII THREAD                    FW191018             12209          EA      NEW                       42         1789.7                    0

                                                                                                                                                                           GREEN CANYON 200
NOV ‐ Amelia       NOV          7710150‐01                   Rack No. K057.      9 7/8" 64.10# Q‐125 VALLOUREC STAR SEAMLESS CASING, SLIJII THREAD          FW181011        TA‐9 OCSG 12209     EA      NEW                       61         2391.5                    0
NOV ‐ Amelia       NOV          7708123‐03                   Rack No. A037.      2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW184022            GI 47 E‐17      EA      NEW                        2          62.8                     0
NOV ‐ Amelia       NOV          7708123‐01                   Rack No. A037.      2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW184022            GI 47 E‐17      EA      NEW                        1          31.7                     0
NOV ‐ Amelia       NOV          7708123‐02                   Rack No. A004.                    OTHER, THREAD                                                FW184022            GI 47 E‐17      EA      USED                       1           30                      0
NOV ‐ Amelia       NOV          7708123‐04                   Rack No. A037.      2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW184022            GI 47 E‐17      EA      USED                       1          31.7                     0
                                                                                                                                                                           ENTERPRISE 264 SS
NOV ‐ Amelia       NOV          7707781‐02                   Rack No. A037.      2 7/8" 6.50# 13CR95 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW184061        169 OCSG: 00820     EA      USED                       5         157.25                    0
                                                                                                                                                                           GREEN CANYON 40
NOV ‐ Amelia       NOV          7707229‐01                   Rack No. K051.      14" 112.89# Q125‐IC TENARIS‐TAMSA SEAMLESS CASING, TSH 523 THREAD          FW191001       #2 S/T OCSG 34536    EA      NEW                       29         1218.4                    0
                                                                                                                                                                           GREEN CANYON 40
NOV ‐ Amelia       NOV          7707228‐01                   Rack No. K053.      14" 115.53# Q125 ICY TENARIS‐TAMSA SEAMLESS CASING, TSH 513 THREAD         FW191001        #2 ST OCSG 34536    EA      NEW                       35         1395.2                    0
                                                                                                                                                                           GREEN CANYON 200
NOV ‐ Amelia       NOV          7705545‐01                   Rack No. B048.      7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD           FW181011         TA‐09 (ORLOV)      EA      NEW                        2          83.16                    0
                                                                                                                                                                           GREEN CANYON 200
NOV ‐ Amelia       NOV          7705545‐01                   Rack No. B048.      7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD           FW181011         TA‐09 (ORLOV)      EA      NEW                        3          125.2                    0
                                                                                                                                                                           GREEN CANYON 200
NOV ‐ Amelia       NOV          7705545‐01                   Rack No. B035.      7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD           FW181011         TA‐09 (ORLOV)      EA      NEW                       12        498.9857                   0
                                                                                                                                                                           GREEN CANYON 200
NOV ‐ Amelia       NOV          7705545‐01                   Rack No. B035.      7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD           FW181011         TA‐09 (ORLOV)      EA      NEW                        6          250.4                    0
NOV ‐ Amelia       NOV          7704862‐02                   Rack No. C152.      2 3/8" 4.70# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW184036           EB 160 A16       EA      USED                       6         190.95                    0
NOV ‐ Amelia       NOV          7704862‐01                   Rack No. C152.      2 3/8" 4.70# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW184036           EB 160 A16       EA      NEW                        5          158.5                    0
                                                                                                                                                                            SMI 105 A21 ST#1
NOV ‐ Amelia       NOV          7703746‐03                   Rack No. EM05.      9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS PUP JOINTS, API 8RD LONG THREAD     FW191500           OCSG 17938       EA      NEW                        1          22.98                    0
                                                                                                                                                                            SMI 105 A21 ST#1
NOV ‐ Amelia       NOV          7703746‐03                   Rack No. EM05.      9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS PUP JOINTS, API 8RD LONG THREAD     FW191500           OCSG 17938       EA      NEW                        1          22.97                    0
                                                                                                                                                                            SMI 105 A21 ST#1
NOV ‐ Amelia       NOV          7703746‐02                   Rack No. EM05.      9 5/8" 53.50# HCP‐110 U S STEEL SEAMLESS CASING, API 8RD LONG THREAD       FW191500           OCSG 17938       EA      NEW                       21         975.55                    0




                                                                                                                                         89


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  Facility     Facility Owner   Item Number   Serial No.       Location       Item Description                                                       Project Number     Project Name        UOM   Condition   Wt. (lbs)   On Hand Qty     Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                      SMI 105 #A‐21 ST#1
NOV ‐ Amelia       NOV          7703736‐01                  Rack No. E060.    7" 26.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD           FW191500          OCSG 17938         EA      NEW                       16          738.65                    0
                                                                                                                                                                      SMI 105 #A‐21 ST#1
NOV ‐ Amelia       NOV          7703736‐02                  Rack No. E060.    7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD              FW191500          OCSG 17938         EA      NEW                       22          990.6                     0
NOV ‐ Amelia       NOV          7703511‐01                  Rack No. H062.    7 5/8" 29.70# P‐110 EC VSTAR SEAMLESS CASING, SLIJII THREAD              FW181013           SS 169 G‐3        EA      NEW                       46        2114.1007                   0
NOV ‐ Amelia       NOV          7703511‐01                  Rack No. H002.    7 5/8" 29.70# P‐110 EC VSTAR SEAMLESS CASING, SLIJII THREAD              FW181013           SS 169 G‐3        EA      NEW                       11         506.77                     0
NOV ‐ Amelia       NOV          7703511‐01                  Rack No. H002.    7 5/8" 29.70# P‐110 EC VSTAR SEAMLESS CASING, SLIJII THREAD              FW181013           SS 169 G‐3        EA      NEW                        5          230.7                     0
NOV ‐ Amelia       NOV          7703511‐01                  Rack No. H002.    7 5/8" 29.06# P‐110 EC VSTAR SEAMLESS CASING, SLIJII THREAD              FW181013           SS 169 G‐3        EA      NEW                       47         2165.43                    0
NOV ‐ Amelia       NOV          7703511‐01                  Rack No. H002.    7 5/8" 29.06# P‐110 EC VSTAR SEAMLESS CASING, SLIJII THREAD              FW181013           SS 169 G‐3        EA      NEW                       88         4051.36                    0
NOV ‐ Amelia       NOV          7703511‐01                  Rack No. H002.    7 5/8" 29.06# P‐110 EC VSTAR SEAMLESS CASING, SLIJII THREAD              FW181013           SS 169 G‐3        EA      NEW                       29        1337.9979                   0
NOV ‐ Amelia       NOV          7703511‐01                  Rack No. H062.    7 5/8" 29.06# P‐110 EC VSTAR SEAMLESS CASING, SLIJII THREAD              FW181013           SS 169 G‐3        EA      NEW                       47        2179.1498                   0

NOV ‐ Amelia       NOV          7699979‐01                 Rack No. 2‐323.    10 3/4" 45.50# L‐80 TAMSA SEAMLESS CASING, BUTTRESS THREAD               FW181013       SHIP SHOAL 169 G‐3    EA      NEW                        5          217.15                    0

NOV ‐ Amelia       NOV          7699979‐02                 Rack No. 2‐203.    10 3/4" 45.50# L‐80 TAMSA SEAMLESS CASING, BUTTRESS THREAD               FW181013       SHIP SHOAL 169 G‐3    EA      USED                       1           44                       0

NOV ‐ Amelia       NOV          7699979‐01                 Rack No. 2‐323.    10 3/4" 45.50# L‐80 TAMSA SEAMLESS CASING, BUTTRESS THREAD               FW181013       SHIP SHOAL 169 G‐3    EA      NEW                        1           43.7                     0

NOV ‐ Amelia       NOV          7699979‐03                 Rack No. 2‐203.    10 3/4" 45.50# L‐80 TAMSA SEAMLESS CASING, DUTCHMAN THREAD               FW181013       SHIP SHOAL 169 G‐3    EA      USED                       1           44                       0

NOV ‐ Amelia       NOV          7699979‐04                 Rack No. 2‐213.    10 3/4" 45.50# L‐80 TAMSA SEAMLESS CASING, DUTCHMAN THREAD               FW181013       SHIP SHOAL 169 G‐3    EA     USED                        2           88                       0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699448‐01                  Rack No. H021.    16" 97.00# Q125 HP U S STEEL SEAMLESS CASING, SLSF THREAD                FW181011             (ORLOV)         EA      NEW                       70         2918.65                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699448‐01                 Rack No. 2‐067.    16" 97.00# Q125 HP U S STEEL SEAMLESS CASING, SLSF THREAD                FW181011             (ORLOV)         EA      NEW                      190          7924.9                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699445‐01                 Rack No. 2‐201.    10 3/4" 59.45# HCQ‐125 VSTAR SEAMLESS CASING, SLIJII THREAD              FW181011             (ORLOV)         EA      NEW                      180          8283.6                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699445‐01                 Rack No. 2‐312.    10 3/4" 59.45# HCQ‐125 VSTAR SEAMLESS CASING, SLIJII THREAD              FW181011             (ORLOV)         EA      NEW                      250        11505.0092                  0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699445‐01                  Rack No. K016.    10 3/4" 59.45# HCQ‐125 VSTAR SEAMLESS CASING, SLIJII THREAD              FW181011             (ORLOV)         EA      NEW                       62         2855.29                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699439‐01                  Rack No. E006.    9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, SLIJII THREAD             FW181011             (ORLOV)         EA      NEW                      258          11223                     0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699439‐01                  Rack No. EO27.    9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, SLIJII THREAD             FW181011             (ORLOV)         EA      NEW                      225          9787.5                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699431‐01                  Rack No. I004.    16" 97.00# Q125 HP U S STEEL SEAMLESS CASING, SLSF THREAD                FW181011             (ORLOV)         EA      NEW                       26          1085.5                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699431‐01                  Rack No. E086.    16" 97.00# Q125 HP U S STEEL SEAMLESS CASING, SLSF THREAD                FW181011             (ORLOV)         EA      NEW                        9          371.15                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699431‐01                  Rack No. E086.    16" 97.00# Q125 HP U S STEEL SEAMLESS CASING, SLSF THREAD                FW181011             (ORLOV)         EA      NEW                      115         4801.25                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699424‐01                 Rack No. 2‐310.    16" 97.00# Q125 HP U S STEEL SEAMLESS CASING, SLSF THREAD                FW181011             (ORLOV)         EA      NEW                       170         7083.9                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699424‐01                  Rack No. K050.    16" 97.00# Q125 HP U S STEEL SEAMLESS CASING, SLSF THREAD                FW181011             (ORLOV)         EA      NEW                       25          1042.2                    0

NOV ‐ Amelia       NOV          7698957‐01                 Rack No. 2‐323.    16" 65.00# H‐40 TMK ERW CASING, BUTTRESS THREAD                          FW181013       SHIP SHOAL 169 G‐3    EA      NEW                        1           34.4                     0

NOV ‐ Amelia       NOV          7698957‐01                 Rack No. 2‐323.    16" 65.00# H‐40 TMK ERW CASING, BUTTRESS THREAD                          FW181013       SHIP SHOAL 169 G‐3    EA      NEW                        1           35.8                     0

NOV ‐ Amelia       NOV          7698957‐02                 Rack No. 2‐323.    16" 65.00# H‐40 TENARIS SEAMLESS CASING, BUTTRESS THREAD                 FW181013       SHIP SHOAL 169 G‐3    EA      NEW                        9          383.85                    0

NOV ‐ Amelia       NOV          7698957‐03                 Rack No. 2‐208.    16" 65.00# H‐40 USS SEAMLESS PUP JOINTS, BUTTRESS THREAD                 FW181013       SHIP SHOAL 169 G‐3    EA     USED                        1           22.2                     0

NOV ‐ Amelia       NOV          7698957‐02                 Rack No. 2‐323.    16" 65.00# H‐40 TENARIS SEAMLESS CASING, BUTTRESS THREAD                 FW181013       SHIP SHOAL 169 G‐3    EA      NEW                        1          42.25                     0

NOV ‐ Amelia       NOV          7698957‐04                 Rack No. 2‐203.    16" 65.00# H‐40 TENARIS SEAMLESS CASING, BUTTRESS THREAD                 FW181013       SHIP SHOAL 169 G‐3    EA     USED                        1           44                       0

NOV ‐ Amelia       NOV          7698957‐01                 Rack No. 2‐323.    16" 65.00# H‐40 TMK ERW CASING, BUTTRESS THREAD                          FW181013       SHIP SHOAL 169 G‐3    EA      NEW                        1            35                      0
NOV ‐ Amelia       NOV          7695156‐04                 Rack No. 2‐323.    18 5/8" 87.50# J‐55 MANNESMANN SEAMLESS CASING, BUTTRESS THREAD          FW191000        SM 105 A21 ST#1      EA      NEW                        1           40.8                     0

NOV ‐ Amelia       NOV          7695156‐06                 Rack No. 2‐323.    18 5/8" 87.50# J‐55 MANNESMANN SEAMLESS PUP JOINTS, BUTTRESS THREAD      FW191000        SM 105 A21 ST#1      EA      NEW                        1          23.5                      0
NOV ‐ Amelia       NOV          7695156‐02                 Rack No. 2‐323.    18 5/8" 87.50# J‐55 NSSMC SEAMLESS CASING, BUTTRESS THREAD               FW191000        SM 105 A21 ST#1      EA      NEW                        1          43.6                      0
NOV ‐ Amelia       NOV          7695156‐03                 Rack No. 2‐323.    18 5/8" 87.50# J‐55 MANNESMANN SEAMLESS CASING, BUTTRESS THREAD          FW191000        SM 105 A21 ST#1      EA      NEW                        1          45.8                      0
NOV ‐ Amelia       NOV          7695156‐05                 Rack No. 2‐323.    18 5/8" 87.50# J‐55 MANNESMANN SEAMLESS CASING, BUTTRESS THREAD          FW191000        SM 105 A21 ST#1      EA      NEW                        1          44.35                     0

NOV ‐ Amelia       NOV          7694544‐01                  Rack No. EO07.    13 3/8" 68.00# HCL80 ARCELOR MITTAL SEAMLESS CASING, BUTTRESS THREAD     FW191000          SM 105 A S1        EA      NEW                        3          122.55                    0

NOV ‐ Amelia       NOV          7694544‐01                  Rack No. EO07.    13 3/8" 68.00# HCL80 ARCELOR MITTAL SEAMLESS CASING, BUTTRESS THREAD     FW191000          SM 105 A S1        EA      NEW                        3          120.65                    0

NOV ‐ Amelia       NOV          7694544‐03                  Rack No. EO07.    13 3/8" 68.00# HCL80 ARCELOR MITTAL SEAMLESS CASING, BUTTRESS THREAD     FW191000          SM 105 A S1        EA      NEW                        1          42.65                     0

NOV ‐ Amelia       NOV          7694544‐02                  Rack No. EO07.    13 3/8" 68.00# HCL80 ARCELOR MITTAL SEAMLESS CASING, BUTTRESS THREAD     FW191000          SM 105 A S1        EA      NEW                        1          42.75                     0
NOV ‐ Amelia       NOV          7694041‐02                 Rack No. HUBCIT.                OTHER, THREAD                                               FW185004          MP 296 B15         EA      USED                       1          18.05                     0
NOV ‐ Amelia       NOV          7694041‐02                 Rack No. HUBCIT.                OTHER, THREAD                                               FW185004          MP 296 B15         EA      USED                       1          22.25                     0
                                                                                                                                                                      ENTERPRISE 264 SM
NOV ‐ Amelia       NOV          7690497‐02                  Rack No. E069.    2 7/8" 6.50# 13CR95 JFE SEAMLESS TUBING, BTS‐8 THREAD                    FW184054             280 H           EA      USED                       5          157.5                     0

                                                                                                                                                                      GREEN CANYON 200
NOV ‐ Amelia       NOV          7677657‐01                  Rack No. H052.    11 7/8" 71.80# HCQ‐125 U S STEEL SEAMLESS CASING, TSH 513 THREAD         FW181011        TA‐9 OCSG 12209      EA      NEW                       26         1124.573                   0

                                                                                                                                                                      GREEN CANYON 200
NOV ‐ Amelia       NOV          7677657‐03                 Rack No. I3‐140.   11 7/8" 70.26# Q125 XHP U S STEEL SEAMLESS CASING, TSH 513 THREAD        FW181011        TA‐9 OCSG 12209      EA      NEW                       85        3633.5029                   0

                                                                                                                                                                      GREEN CANYON 200
NOV ‐ Amelia       NOV          7677657‐02                  Rack No. B057.    11 7/8" 71.80# HCQ‐125 V&M SEAMLESS CASING, TSH 513 THREAD               FW181011         TA‐9 OCSG 12209     EA      NEW                        2          91.45                     0
                                                                                                                                                                         SOUTH MARSH
                                                                                                                                                                      ISLAND 105 #A‐21 ST
NOV ‐ Amelia       NOV          7669939‐03                 Rack No. I2‐ACC.   18 5/8" 87.50# J‐55 MANNESMANN SEAMLESS PUP JOINTS, BUTTRESS THREAD      FW191000           OCSG 17938        EA      NEW                        1           23.6                     0
                                                                                                                                                                         SOUTH MARSH
                                                                                                                                                                      ISLAND 105 #A‐21 ST
NOV ‐ Amelia       NOV          7669904‐02                  Rack No. E060.    7" 26.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD           FW191500           OCSG 17938        EA      NEW                        1           47.4                     0




                                                                                                                                      90


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  Facility     Facility Owner   Item Number   Serial No.      Location       Item Description                                                           Project Number       Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                            SOUTH MARSH
                                                                                                                                                                         ISLAND 105 #A‐21 ST
NOV ‐ Amelia       NOV          7669904‐01                 Rack No. E060.    7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD                  FW191500           OCSG 17938        EA      NEW                        2          89.7                    0
NOV ‐ Amelia       NOV          7665514‐02                 Rack No. E069.    2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                        FW182003           SMI‐127 B‐17      EA      USED                       4          125.4                   0
NOV ‐ Amelia       NOV          7664873‐02                 Rack No. E069.    2 7/8" 6.50# 13CR95 JFE SEAMLESS TUBING, BTS‐8 THREAD                        FW181009             ST 67 #6        EA      USED                       3          95.5                    0
NOV ‐ Amelia       NOV          7659991‐01                 Rack No. C247.    5 1/2" 20.00# P‐110 IC SEAMLESS CASING, TSH 625 THREAD                       FW181008            SM 127 B17       EA      USED                      11         511.35                   0

NOV ‐ Amelia       NOV          7659986‐01                 Rack No. B020.    5" 18.00# P‐110‐ICY TENARIS‐TAMSA SEAMLESS CASING, TSH WEDGE 625 THREAD      FW181009            ST 67 #6         EA      USED                      20         918.55                   0
NOV ‐ Amelia       NOV          7658785‐01                 Rack No. BS01.    7 5/8" 29.70# P‐110 IC TENARIS‐TAMSA SEAMLESS CASING, TSH 513 THREAD         FW181502           SM 127 B17        EA      NEW                        1          43.45                   0
NOV ‐ Amelia       NOV          7658785‐05                 Rack No. C247.    7 5/8" 29.70# P‐110 IC TENARIS‐TAMSA SEAMLESS CASING, TSH 513 THREAD         FW181502           SM 127 B17        EA      USED                       2           88                     0
NOV ‐ Amelia       NOV          7658785‐03                 Rack No. C247.    7 5/8" 29.70# P‐110 IC TENARIS‐TAMSA SEAMLESS CASING, TSH 513 THREAD         FW181502           SM 127 B17        EA      USED                       1          26.2                    0
NOV ‐ Amelia       NOV          7658785‐02                 Rack No. C247.    7 5/8" 29.70# P‐110 IC TENARIS‐TAMSA SEAMLESS CASING, TSH 513 THREAD         FW181502           SM 127 B17        EA      USED                       1          39.8                    0

NOV ‐ Amelia       NOV          7658785‐04                 Rack No. 2‐336.   7 5/8" 29.70# P‐110 IC TENARIS‐TAMSA SEAMLESS PUP JOINTS, TSH 513 THREAD     FW181502            SM 127 B17       EA      NEW                        1         10.3                     0
NOV ‐ Amelia       NOV          7658785‐01                 Rack No. C247.    7 5/8" 29.70# P‐110 IC TENARIS‐TAMSA SEAMLESS CASING, TSH 513 THREAD         FW181502            SM 127 B17       EA      NEW                       48        2089.05                   0
NOV ‐ Amelia       NOV          7653460‐03                 Rack No. H021.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                   FW181009              ST 67 #6       EA      USED                       1          44                      0
NOV ‐ Amelia       NOV          7653460‐01                 Rack No. H021.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                   FW181009              ST 67 #6       EA      NEW                        3        128.75                    0
NOV ‐ Amelia       NOV          7653460‐02                 Rack No. H021.    7" 32.00# HCP‐110 TENARIS SEAMLESS CASING, TSH 513 THREAD                    FW181009              ST 67 #6       EA    UNKNOWN                      2          88                      0
NOV ‐ Amelia       NOV          7653460‐01                 Rack No. BS01.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                   FW181009              ST 67 #6       EA      NEW                        1         42.45                    0
                                                                                                                                                                         SM 127 B17 ENSCO
NOV ‐ Amelia       NOV          7652285‐01                 Rack No. BS01.    10 3/4" 45.50# P‐110 IC TENARIS‐TAMSA SEAMLESS CASING, BUTTRESS THREAD       FW181002                 87          EA      NEW                        3         118.2                    0
                                                                                                                                                                         SM 127 B17 ENSCO
NOV ‐ Amelia       NOV          7652285‐03                 Rack No. EQ19.    10 3/4" 45.50# P‐110 IC TENARIS‐TAMSA SEAMLESS CASING, BUTTRESS THREAD       FW181002                 87          EA      USED                       1          44                      0
                                                                                                                                                                         SM 127 B17 ENSCO
NOV ‐ Amelia       NOV          7652285‐01                 Rack No. EO‐07.   10 3/4" 45.50# P‐110 IC TENARIS‐TAMSA SEAMLESS CASING, BUTTRESS THREAD       FW181002                 87          EA      NEW                       11         441.05                   0
                                                                             10 3/4" 45.50# P‐110 IC TENARIS‐TAMSA SEAMLESS PUP JOINTS, BUTTRESS                         SM 127 B17 ENSCO
NOV ‐ Amelia       NOV          7652285‐04                 Rack No. 2‐336.   THREAD                                                                       FW181002                 87          EA      USED                       1          20                      0
                                                                             10 3/4" 45.50# P‐110 IC TENARIS‐TAMSA SEAMLESS PUP JOINTS, BUTTRESS                         SM 127 B17 ENSCO
NOV ‐ Amelia       NOV          7652285‐02                 Rack No. 2‐336.   THREAD                                                                       FW181002                 87          EA      NEW                        1         19.6                     0
NOV ‐ Amelia       NOV          7650597‐02                 Rack No. 2‐336.   16" 65.00# H‐40 TMK IPSCO ERW PUP JOINTS, BUTTRESS THREAD                    FW181002            SM 127 B17       EA      USED                       1         22.3                     0
NOV ‐ Amelia       NOV          7650597‐03                 Rack No. BS01.    16" 65.00# H‐40 TMK IPSCO ERW CASING, BUTTRESS THREAD                        FW181002            SM 127 B17       EA      USED                       1         33.2                     0
NOV ‐ Amelia       NOV          7650597‐01                 Rack No. BS01.    16" 65.00# H‐40 TMK IPSCO ERW CASING, BUTTRESS THREAD                        FW181002            SM 127 B17       EA      NEW                        1         34.75                    0
                                                                                                                                                                            SOUTH MARSH
NOV ‐ Amelia       NOV          7644614‐02                 Rack No. C152.    2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                        FW184011          ISLAND 149 C4      EA      USED                       6         190.65                   0
NOV ‐ Amelia       NOV          7639389‐03                 Rack No. C218.    2 7/8" 6.50# 13CR95 JFE SEAMLESS TUBING, BTS‐8 THREAD                        FW184021             WD 70 FF        EA      USED                       5          158.6                   0
                                                                                                                                                                         SOUTH TIMBALIER
NOV ‐ Amelia       NOV          7634429‐02                 Rack No. B020.    7" 32.00# P‐110 HC TAMSA SEAMLESS CASING, TSH 523 THREAD                     FW 181503            67 #6 ST3       EA      NEW                       13         604.9                    0
                                                                                                                                                                         SOUTH TIMBALIER
NOV ‐ Amelia       NOV          7634429‐01                 Rack No. B020.    7" 32.00# P‐110 HC SIDERCA SEAMLESS CASING, TSH 523 THREAD                   FW 181503            67 #6 ST3       EA      NEW                       11         501.3                    0
NOV ‐ Amelia       NOV          7633847‐02                 Rack No. E069.    2 7/8" 6.50# JFE‐13CR‐95 JFE SEAMLESS TUBING, BTS‐8 THREAD                   FW184024         MAIN PASS 153B      EA      USED                       3         95.05                    0
                                                                                                                                                                            SOUTH MARSH
                                                                                                                                                                          ISLAND 127 #B‐17
NOV ‐ Amelia       NOV          7629202‐01                 Rack No. C233.    7 5/8" 29.70# HCP‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD             FW181502                ST1          EA      NEW                        2         87.85                    0
                                                                                                                                                                            SOUTH MARSH
                                                                                                                                                                          ISLAND 127 #B‐17
NOV ‐ Amelia       NOV          7629202‐02                 Rack No. C233.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD               FW181502                ST1          EA      NEW                        4         186.4                    0
                                                                                                                                                                            SOUTH MARSH
                                                                                                                                                                          ISLAND 127 #B‐17
NOV ‐ Amelia       NOV          7629202‐01                 Rack No. C233.    7 5/8" 29.70# HCP‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD             FW181502                ST1          EA      NEW                        1         47.75                    0
                                                                                                                                                                            SOUTH MARSH
                                                                                                                                                                          ISLAND 127 #B‐17
NOV ‐ Amelia       NOV          7629202‐01                 Rack No. C233.    7 5/8" 29.70# HCP‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD             FW181502                ST1          EA      NEW                        2         95.05                    0
                                                                                                                                                                            SOUTH MARSH
                                                                                                                                                                          ISLAND 127 #B‐17
NOV ‐ Amelia       NOV          7629202‐02                 Rack No. C233.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD               FW181502                ST1          EA      NEW                        1          46.2                    0
NOV ‐ Amelia       NOV          7625047‐11                 Rack No. H020.    7" 32.00# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD                    FW181503           ST 67 #6 ST3      EA      NEW                        6          277.5                   0
NOV ‐ Amelia       NOV          7625047‐09                 Rack No. H052.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                   FW181503           ST 67 #6 ST3      EA      NEW                       10        429.5476                  0
NOV ‐ Amelia       NOV          7625047‐09                 Rack No. H052.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                   FW181503           ST 67 #6 ST3      EA      NEW                        1           43                     0
NOV ‐ Amelia       NOV          7625047‐09                 Rack No. H052.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                   FW181503           ST 67 #6 ST3      EA      NEW                       19          811.2                   0
NOV ‐ Amelia       NOV          7625047‐09                 Rack No. BN01.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                   FW181503           ST 67 #6 ST3      EA      NEW                        2          85.4                    0
NOV ‐ Amelia       NOV          7625047‐09                 Rack No. B021.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                   FW181503           ST 67 #6 ST3      EA      NEW                        1          42.8                    0
NOV ‐ Amelia       NOV          7625047‐11                 Rack No. H020.    7" 32.00# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD                    FW181503           ST 67 #6 ST3      EA      NEW                        2          93.5                    0
                                                                                                                                                                            SOUTH MARSH
                                                                                                                                                                          ISLAND 127 #B‐17
NOV ‐ Amelia       NOV          7625043‐05                 Rack No. EQ09.    16" 65.00# H‐40 TENARIS ERW CASING, BUTTRESS THREAD                          FW 181002               ST1          EA      NEW                        5         212.9                    0
NOV ‐ Amelia       NOV          7589458‐01                 Rack No. MIT06.   10 1/8" 79.22# JFE‐125T JFE SEAMLESS CASING, SLIJII THREAD                    201560              KATMAI 2        EA      NEW                       84        3799.25                   0
NOV ‐ Amelia       NOV          7589458‐02                 Rack No. MIT06.   10 1/8" 79.22# JFE‐125T JFE SEAMLESS CASING, SLIJII THREAD                    201560              KATMAI 2        EA      NEW                        2         91.2                     0

NOV ‐ Amelia       NOV          7589458‐03                 Rack No. SH04.    11 7/8" 71.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD         201560             KATMAI 2         EA      NEW                        5         223.75                   0

NOV ‐ Amelia       NOV          7589458‐03                 Rack No. SH04.    11 7/8" 71.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD         201560             KATMAI 2         EA      NEW                       42        1918.95                   0

NOV ‐ Amelia       NOV          7589458‐03                 Rack No. SH04.    11 7/8" 71.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD         201560             KATMAI 2         EA      NEW                        1         48.8                     0
NOV ‐ Amelia       NOV          7576903‐01                 Rack No. C152.    2 7/8" 6.50# L‐80 TSC SEAMLESS TUBING, BTS‐8PR THREAD                        FW177024           EB 160 A‐23       EA      NEW                        1         31.25                    0
                                                                                                                                                                           EW 873 A‐20 ST
NOV ‐ Amelia       NOV          7555431‐01                 Rack No. H005.    7 5/8" 29.70# P‐110 IC TAMSA SEAMLESS CASING, API 8RD LONG THREAD                              LOBSTER RIG        EA      NEW                        5         230.7                    0
NOV ‐ Amelia       NOV          7526643‐01                 Rack No. A037.    2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                        FW162000            VR 78 A2         EA      NEW                       26         824.8                    0
NOV ‐ Amelia       NOV          7526643‐02                 Rack No. C062.    2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                        FW162000            VR 78 A2         EA      USED                       5         158.6                    0
NOV ‐ Amelia       NOV          7520329‐01                 Rack No. E033.    5 1/2" 20.00# P‐110 EC V&M STAR SEAMLESS CASING, VAM TOP HT THREAD           FW161500            VR 78 A2         EA      NEW                        6         276.1                    0
NOV ‐ Amelia       NOV          7520329‐01                 Rack No. E033.    5 1/2" 20.00# P‐110 EC V&M STAR SEAMLESS CASING, VAM TOP HT THREAD           FW161500            VR 78 A2         EA      NEW                        1         46.1                     0
                                                                                                                                                                              GUNFLINT
                                                                                                                                                                            COMPLETION
NOV ‐ Amelia       NOV          7506413‐03                 Rack No. MIT06.   7 1/16" 40.40# HP2‐13CR115 JFE SEAMLESS CASING, PLAIN END THREAD                                  143751          EA      NEW                       12          528                     0
                                                                                                                                                                              GUNFLINT
                                                                                                                                                                            COMPLETION
NOV ‐ Amelia       NOV          7506413‐04                 Rack No. SH04.    5 1/2" 29.70# HP213CR115 JFE SEAMLESS CASING, PLAIN END UPSET THREAD                              143751          EA      NEW                        6          264                     0
                                                                                                                                                                              GUNFLINT
                                                                                                                                                                            COMPLETION
NOV ‐ Amelia       NOV          7506413‐02                 Rack No. SH04.    6.626" 57.39# HP2‐13CR115 JFE SEAMLESS CPLG STOCK, PLAIN END THREAD                               143751          EA      NEW                        1           5                      0
                                                                                                                                                                              GUNFLINT
                                                                             6.504" 1.0" VM‐110 13CRSS GERMANY SEAMLESS CPLG STOCK, PLAIN END                               COMPLETION
NOV ‐ Amelia       NOV          7506413‐01                 Rack No. SH04.    THREAD                                                                                            143751          EA      NEW                        8          144                     0




                                                                                                                                      91


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  Facility     Facility Owner   Item Number   Serial No.       Location        Item Description                                                       Project Number       Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length    Average Cost       Total Value   WI% Net Value
                                                                                                                                                                          MP 140 A SWD
                                                                                                                                                                          #1/WORKOVER
NOV ‐ Amelia       NOV          7487102‐01                  Rack No. E033.     5 1/2" 20.00# P‐110 EC V&M SEAMLESS CASING, STL THREAD                   FW155042          BAYOU TECHE        EA      NEW                        3         120.5                   0
                                                                                                                                                                          MP 140 A SWD
                                                                                                                                                                          #1/WORKOVER
NOV ‐ Amelia       NOV          7487102‐02                  Rack No. C111.     3 1/2" 9.30# L‐80 1% CR TMK SEAMLESS TUBING, API 8RD EUE THREAD          FW155042          BAYOU TECHE        EA      NEW                        6        192.05                   0
                                                                                                                                                                          MP 140 A SWD
                                                                                                                                                                          #1/WORKOVER
NOV ‐ Amelia       NOV          7487102‐01                  Rack No. C255.     5 1/2" 20.00# P‐110 EC V&M SEAMLESS CASING, STL THREAD                   FW155042          BAYOU TECHE        EA      NEW                        4        163.45                   0
                                                                                                                                                                        MP 140 A SWD #2
NOV ‐ Amelia       NOV          7487099‐01                  Rack No. C111.     3 1/2" 9.30# L‐80 1% CR TMK SEAMLESS TUBING, API 8RD EUE THREAD          FW155043            OCSG GPLD        EA      NEW                        5         160.2                   0
NOV ‐ Amelia       NOV          7484107‐01                 Rack No. CEFPUP.                  OTHER, THREAD                                              FW155042         MP 140 #1 GBRS      EA      USED                       1           0                     0
NOV ‐ Amelia       NOV          7469717‐01                  Rack No. C152.     2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                    GO164000         W.D. 70 E #1 ST     EA      NEW                       28        889.35                   0
NOV ‐ Amelia       NOV          7464248‐04                  Rack No. C255.     5 1/2" 23.00# P‐110 EC V&M SEAMLESS CASING, STL THREAD                   FW164003       EI 354 A #6 ST1 BP1   EA      NEW                        1         47.3                    0
NOV ‐ Amelia       NOV          7464248‐03                  Rack No. C255.     5 1/2" 20.00# HCP‐110 V&M SEAMLESS PUP JOINTS, STL THREAD                FW164003       EI 354 A #6 ST1 BP1   EA      NEW                        1         19.65                   0

NOV ‐ Amelia       NOV          7460139‐01                  Rack No. 2‐109.    11 7/8" 70.26# VM‐125‐HC VALLOUREC SEAMLESS CASING, PLAIN END THREAD                        INVENTORY         EA      NEW                       121       5396.2                   0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐02                  Rack No. E033.     5 1/2" 20.00# P‐110 EC V&M SEAMLESS CASING, STL THREAD                   FW164003          OCSG 10752         EA      NEW                        1         35.65                   0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐01                  Rack No. E033.     5 1/2" 20.00# HCP‐110 U S STEEL SEAMLESS CASING, STL THREAD              FW164003          OCSG 10752         EA      NEW                        3        134.25                   0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐02                  Rack No. E033.     5 1/2" 20.00# P‐110 EC V&M SEAMLESS CASING, STL THREAD                   FW164003          OCSG 10752         EA      NEW                        2         76.4                    0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐03                  Rack No. E033.     5 1/2" 20.00# P‐110 V&M STAR SEAMLESS CASING, STL THREAD                 FW164003          OCSG 10752         EA      NEW                        1         46.1                    0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐01                  Rack No. E033.     5 1/2" 20.00# HCP‐110 U S STEEL SEAMLESS CASING, STL THREAD              FW164003          OCSG 10752         EA      NEW                        8         361.8                   0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐05                  Rack No. E033.     5 1/2" 23.00# P‐110 EC V&M SEAMLESS CASING, STL THREAD                   FW164003          OCSG 10752         EA      NEW                        4        171.85                   0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐05                  Rack No. E033.     5 1/2" 23.00# P‐110 EC V&M SEAMLESS CASING, STL THREAD                   FW164003          OCSG 10752         EA      NEW                        9         408.8                   0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐02                  Rack No. E033.     5 1/2" 20.00# P‐110 EC V&M SEAMLESS CASING, STL THREAD                   FW164003          OCSG 10752         EA      NEW                       11        429.55                   0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐01                  Rack No. E033.     5 1/2" 20.00# HCP‐110 U S STEEL SEAMLESS CASING, STL THREAD              FW164003          OCSG 10752         EA      NEW                        1         45.6                    0
NOV ‐ Amelia       NOV          7458405‐01                  Rack No. I3‐166.   10 3/4" 72.40# Q‐125 U S STEEL SEAMLESS CASING, PLAIN END THREAD                                              EA      NEW                       153       6048.1                   0
                                                                               7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, DUTCHMAN/CUT‐OFF PIN
NOV ‐ Amelia       NOV          7444262‐03                  Rack No. C023.     THREAD                                                                   FW154025         E.I. 316 A #11      EA      USED                       1         27.4                    0
NOV ‐ Amelia       NOV          7444262‐01                  Rack No. E079.     7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD           FW154025         E.I. 316 A #11      EA      NEW                        1         46.95                   0
NOV ‐ Amelia       NOV          7444262‐04                  Rack No. C024.     7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, THREAD                   FW154025         E.I. 316 A #11      EA      USED                       1         19.1                    0
                                                                                                                                                                        EUGENE ISL. 316
NOV ‐ Amelia       NOV          7439076‐01                  Rack No. H005.     7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD           FW154025        A11 OCSG 5040        EA      NEW                        2         92.3                    0
                                                                                                                                                                        EUGENE ISL. 316
NOV ‐ Amelia       NOV          7439076‐01                  Rack No. H005.     7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD           FW154025        A11 OCSG 5040        EA      NEW                       24        1121.1                   0
                                                                                                                                                                        EUGENE ISL. 316
NOV ‐ Amelia       NOV          7439076‐01                  Rack No. H005.     7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD           FW154025        A11 OCSG 5040        EA      NEW                       22        1020.65                  0
                                                                                                                                                                         E.I. 316 #A‐11
NOV ‐ Amelia       NOV          7437245‐01                  Rack No. D006.     7 5/8" 33.70# P‐110 RY VALLOUREC SEAMLESS CASING, TSH 523 THREAD         FW154025          OCSG:5040          EA    UNKNOWN                      1         34.1                    0
                                                                                                                                                                         E.I. 316 #A‐11
NOV ‐ Amelia       NOV          7437245‐02                  Rack No. C051.                  OTHER,   THREAD                                             FW154025          OCSG:5040          EA      USED                       1          0                      0
                                                                                                                                                                        EUGENE ISL. 316
NOV ‐ Amelia       NOV          7434675‐01                  Rack No. I3‐142.   7 5/8" 33.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD       FW154025        A11 OCSG 5040        EA      NEW                        1         45.25                   0
                                                                                                                                                                        EUGENE ISL. 316
NOV ‐ Amelia       NOV          7434675‐01                  Rack No. E028.     7 5/8" 33.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD       FW154025        A11 OCSG 5040        EA      NEW                       79        3639.75                  0

                                                                                                                                                                       EUGENE ISLAND 316
NOV ‐ Amelia       NOV          7430303‐03                  Rack No. E060.     7 5/8" 33.70# HCP‐110 SEAMLESS CASING, API 8RD LONG THREAD               FW154025         A‐11 OCSG 5040      EA      NEW                        9        417.05                   0

                                                                                                                                                                       EUGENE ISLAND 316
NOV ‐ Amelia       NOV          7430303‐03                  Rack No. E060.     7 5/8" 33.70# HCP‐110 SEAMLESS CASING, API 8RD LONG THREAD               FW154025         A‐11 OCSG 5040      EA      NEW                        9         416.3                   0

                                                                                                                                                                       EUGENE ISLAND 316
NOV ‐ Amelia       NOV          7430303‐01                  Rack No. E060.     7 5/8" 33.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD       FW154025         A‐11 OCSG 5040      EA      NEW                       16        657.25                   0

                                                                                                                                                                       EUGENE ISLAND 316
NOV ‐ Amelia       NOV          7430303‐01                  Rack No. E060.     7 5/8" 33.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD       FW154025         A‐11 OCSG 5040      EA      NEW                       25        1104.95                  0

                                                                               7 5/8" 33.70# HCP‐110 TENARIS‐TAMSA SEAMLESS CASING, API 8RD LONG                       EUGENE ISLAND 316
NOV ‐ Amelia       NOV          7430303‐02                  Rack No. E060.     THREAD                                                                   FW154025         A‐11 OCSG 5040      EA      NEW                       12         552.5                   0

                                                                                                                                                                       EUGENE ISLAND 316
NOV ‐ Amelia       NOV          7430303‐04                  Rack No. E060.     7 5/8" 33.70# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD          FW154025         A‐11 OCSG 5040      EA      NEW                        8        353.25                   0

NOV ‐ Amelia       NOV          7426924‐08                  Rack No. E017.     4 1/2" 17.00# VM‐110 13CRSS SEAMLESS PUP JOINTS, VAM TOP HC THREAD        203302            MC 948 #2         EA      NEW                        1          10                     0
                                                                               7 1/16" X 5 1/2" 40.40# 29.70# (70.10#) HP213CR115(O) HP213CR115(I)
NOV ‐ Amelia       NOV          7426924‐03                 Rack No. WKRK02.    SEAMLESS VIT, VAM TOP HC THREAD                                           203302            MC 948 #2         EA      NEW                        8        291.12                   0
NOV ‐ Amelia       NOV          7426924‐09                  Rack No. SH05.     5 1/2" 26.00# VM‐110 13CRSS VALLOUREC COUPLINGS, THREAD                   203302            MC 948 #2         EA      NEW                        2          0                      0
                                                                               5 1/2" 26.00# VM‐110 13CRSS VALLOUREC SEAMLESS CASING, VAM TOP HC
NOV ‐ Amelia       NOV          7426924‐11                 Rack No. WKRK02.    THREAD                                                                    203302            MC 948 #2         EA      USED                       4         181.5                   0

NOV ‐ Amelia       NOV          7426924‐07                  Rack No. SH05.     5 1/2" 26.00# VM‐110 13CRSS SEAMLESS PUP JOINTS, VAM TOP HC THREAD        203302            MC 948 #2         EA      NEW                        3          12                     0

NOV ‐ Amelia       NOV          7426924‐07                  Rack No. SH05.     5 1/2" 26.00# VM‐110 13CRSS SEAMLESS PUP JOINTS, VAM TOP HC THREAD        203302            MC 948 #2         EA      NEW                        4          8                      0

NOV ‐ Amelia       NOV          7426924‐07                  Rack No. SH02.     5 1/2" 26.00# VM‐110 13CRSS SEAMLESS PUP JOINTS, VAM TOP HC THREAD        203302            MC 948 #2         EA      NEW                       14          56                     0
NOV ‐ Amelia       NOV          7426924‐10                  Rack No. SH04.     5 1/2" 26.00# 13CRS110 SEAMLESS PUP JOINTS, VAM TOP HC THREAD             203302            MC 948 #2         EA      NEW                        1          20                     0
                                                                               5 1/2" 26.00# VM‐110 13CRSS VALLOUREC SEAMLESS CASING, VAM TOP HC
NOV ‐ Amelia       NOV          7426924‐02                 Rack No. WKRK02.    THREAD                                                                    203302            MC 948 #2         EA      NEW                       40        1806.3                   0
NOV ‐ Amelia       NOV          7426924‐09                  Rack No. SH05.     5 1/2" 26.00# VM‐110 13CRSS VALLOUREC COUPLINGS, THREAD                   203302            MC 948 #2         EA      NEW                       30          0                      0

NOV ‐ Amelia       NOV          7426924‐08                  Rack No. E017.     4 1/2" 17.00# VM‐110 13CRSS SEAMLESS PUP JOINTS, VAM TOP HC THREAD        203302             MC 948 #2        EA      NEW                        1           4                     0
NOV ‐ Amelia       NOV          7426924‐04                  Rack No. SH04.     5 1/2" 29.70# 13CR115 SEAMLESS PUP JOINTS, VAM TOP HC THREAD              203302             MC 948 #2        EA      NEW                        1          15                     0
NOV ‐ Amelia       NOV          7426924‐04                  Rack No. SH04.     5 1/2" 29.70# 13CR115 SEAMLESS PUP JOINTS, VAM TOP HC THREAD              203302             MC 948 #2        EA      NEW                        1          20                     0
NOV ‐ Amelia       NOV          7415765‐01                  Rack No. A049.     2 7/8" 7.90# 13CR110 JFE SEAMLESS TUBING, BTS‐6 THREAD                   FW155061         EI 136 JA‐4 BP1     EA      NEW                       10        315.05                   0




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  Facility     Facility Owner   Item Number   Serial No.       Location        Item Description                                                        Project Number      Project Name        UOM   Condition   Wt. (lbs)   On Hand Qty    Length     Average Cost       Total Value   WI% Net Value
NOV ‐ Amelia         NOV         7410843‐04                 Rack No. H005.     7 5/8" 38.08# HCQ‐125 EVRAZ SEAMLESS CASING, SLIJII THREAD                FW151506           E.I. 136 JA #2      EA     USED                       1          43.55                    0
NOV ‐ Amelia         NOV         7410843‐02                 Rack No. H005.     7 5/8" 38.08# Q‐125 U S STEEL SEAMLESS CASING, SLF THREAD                 FW151506           E.I. 136 JA #2      EA     NEW                        1          43.6                     0
NOV ‐ Amelia         NOV         7410843‐05                 Rack No. H005.     7 5/8" 38.08# Q‐125 U S STEEL SEAMLESS CASING, SLF THREAD                 FW151506           E.I. 136 JA #2      EA     USED                       2          88.5                     0
NOV ‐ Amelia         NOV         7410843‐01                 Rack No. H005.     7 5/8" 38.08# HCQ‐125 EVRAZ SEAMLESS CASING, SLIJII THREAD                FW151506           E.I. 136 JA #2      EA     NEW                        2          81.65                    0
NOV ‐ Amelia         NOV         7410843‐02                 Rack No. H005.     7 5/8" 38.08# Q‐125 U S STEEL SEAMLESS CASING, SLF THREAD                 FW151506           E.I. 136 JA #2      EA     NEW                       10         438.55                    0
NOV ‐ Amelia         NOV         7410843‐01                 Rack No. H005.     7 5/8" 38.08# HCQ‐125 EVRAZ SEAMLESS CASING, SLIJII THREAD                FW151506           E.I. 136 JA #2      EA     NEW                        1          43.7                     0
NOV ‐ Amelia         NOV         7410843‐01                 Rack No. H005.     7 5/8" 38.08# HCQ‐125 EVRAZ SEAMLESS CASING, SLIJII THREAD                FW151506           E.I. 136 JA #2      EA     NEW                       13         559.25                    0
NOV ‐ Amelia         NOV         7410843‐03                 Rack No. H005.                   OTHER, THREAD                                               FW151506           E.I. 136 JA #2      EA     USED                       1            0                      0
NOV ‐ Amelia         NOV         7410843‐01                 Rack No. H005.     7 5/8" 38.08# HCQ‐125 EVRAZ SEAMLESS CASING, SLIJII THREAD                FW151506           E.I. 136 JA #2      EA     NEW                        2          84.65                    0
NOV ‐ Amelia         NOV         7409904‐01                 Rack No. C134.     3 1/2" 12.95# HP1‐13CR110 JFE SEAMLESS TUBING, BTS‐6 THREAD               FW152006            EI 136 JA #2       EA     NEW                       44         1394.95                   0
                                                                                                                                                                          EI 136 #JA‐2 ST1
NOV ‐ Amelia       NOV          7397639‐01                  Rack No. 2‐105.    7" 42.59# Q‐125‐1 V&M STAR SEAMLESS CASING, SLIJII THREAD                 FW151506            OCSG 3152         EA      NEW                       11         484.85                    0
NOV ‐ Amelia       NOV          7395742‐03                  Rack No. H005.     7 5/8" 38.08# Q‐125 U S STEEL SEAMLESS CASING, SLF THREAD                 FW151506            EI 136 JA #2      EA      USED                       1           39                      0
NOV ‐ Amelia       NOV          7395742‐04                  Rack No. H005.     7 5/8" 38.08# Q‐125 U S STEEL SEAMLESS CASING, SLF THREAD                 FW151506            EI 136 JA #2      EA      USED                       1           28                      0
NOV ‐ Amelia       NOV          7391991‐01                  Rack No. C233.     7" 37.29# Q‐125 V&M SEAMLESS CASING, STL THREAD                           FW151506           E.I.136 JA #2      EA      NEW                        6         252.55                    0
NOV ‐ Amelia       NOV          7391991‐03                 Rack No. MOC1A.     9 5/8" 53.50# P‐110 EC V&M SEAMLESS CASING, CUT OFF PIN THREAD            FW151506           E.I.136 JA #2      EA      USED                       1          46.05                    0
NOV ‐ Amelia       NOV          7391991‐02                  Rack No. EP18.     9 5/8" 53.50# P‐110 EC V&M SEAMLESS CASING, CUT OFF PIN THREAD            FW151506           E.I.136 JA #2      EA      USED                       1          49.6                     0
NOV ‐ Amelia       NOV          7391991‐01                  Rack No. C233.     7" 37.29# Q‐125 V&M SEAMLESS CASING, STL THREAD                           FW151506           E.I.136 JA #2      EA      NEW                       44         1923.75                   0
                                                                               5 1/2" 26.00# VM‐110 13CRSS VALLOUREC SEAMLESS CASING, VAM TOP HC
NOV ‐ Amelia       NOV          7390965‐01                  Rack No. B020.     THREAD                                                                     143752         GUNFLINT 948‐4        EA    UNKNOWN                      2          90.45                    0
NOV ‐ Amelia       NOV          7384927‐03                  Rack No. E060.                  OTHER, THREAD                                                FW151006         EI 136 JA #2         EA      USED                       1            0                      0
NOV ‐ Amelia       NOV          7384927‐01                  Rack No. E079.     9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, SLX THREAD                 FW151006         EI 136 JA #2         EA      NEW                        1          45.65                    0
NOV ‐ Amelia       NOV          7384927‐01                  Rack No. E079.     9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, SLX THREAD                 FW151006         EI 136 JA #2         EA      NEW                        1          44.75                    0
NOV ‐ Amelia       NOV          7384927‐01                  Rack No. E060.     9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, SLX THREAD                 FW151006         EI 136 JA #2         EA      NEW                        6         262.75                    0
NOV ‐ Amelia       NOV          7384927‐02                  Rack No. E077.     9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS PUP JOINTS, SLX THREAD             FW151006         EI 136 JA #2         EA      NEW                        1          22.15                    0
NOV ‐ Amelia       NOV          7384927‐01                  Rack No. E060.     9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, SLX THREAD                 FW151006         EI 136 JA #2         EA      NEW                        2          87.25                    0
                                                                               5 1/2" 26.00# VM‐110 13CRSS VALLOUREC SEAMLESS CASING, VAM TOP HC                        GUNFLINT MC 948
NOV ‐ Amelia       NOV          7384484‐01                 Rack No. WKRK02.    THREAD                                                                     143752         #4 OCSG 28030         EA      NEW                       46         1984.82                   0
NOV ‐ Amelia       NOV          7375553‐01                  Rack No. E045.     13 3/8" 68.00# NT80LHE NSSMC ERW CASING, BUTTRESS THREAD                  FW151006         EI 136 JA # 2        EA      NEW                        2          87.3                     0
NOV ‐ Amelia       NOV          7375553‐03                  Rack No. H004.     13 3/8" 68.00# NT‐80HE TENARIS SEAMLESS PUP JOINTS, BUTTRESS THREAD       FW151006         EI 136 JA # 2        EA      NEW                        2          47.6                     0
NOV ‐ Amelia       NOV          7375553‐03                  Rack No. H004.     13 3/8" 68.00# NT‐80HE TENARIS SEAMLESS PUP JOINTS, BUTTRESS THREAD       FW151006         EI 136 JA # 2        EA      NEW                        1          20.25                    0
NOV ‐ Amelia       NOV          7375553‐03                  Rack No. H004.     13 3/8" 68.00# NT‐80HE TENARIS SEAMLESS PUP JOINTS, BUTTRESS THREAD       FW151006         EI 136 JA # 2        EA      NEW                        1          20.3                     0

NOV ‐ Amelia       NOV          7375553‐02                  Rack No. EP18.     13 3/8" 68.00# NT80LHE NSSMC ERW CASING, DUTCHMAN/CUT‐OFF PIN THREAD      FW151006          EI 136 JA # 2       EA      USED                       1          44.5                     0
NOV ‐ Amelia       NOV          7375553‐04                  Rack No. EP17.     13 3/8" 68.00# NT80LHE TENARIS SEAMLESS CASING, CUT OFF PIN THREAD        FW151006          EI 136 JA # 2       EA      USED                       1           18                      0

NOV ‐ Amelia       NOV          7375553‐02                  Rack No. EQ17.     13 3/8" 68.00# NT80LHE NSSMC ERW CASING, DUTCHMAN/CUT‐OFF PIN THREAD      FW151006            EI 136 JA # 2     EA      USED                       1          44.5                     0
NOV ‐ Amelia       NOV          7373478‐04                  Rack No. EP18.     18 5/8" 87.50# J‐55 NIPPON SEAMLESS CASING, BUTTRESS THREAD               FW151006             EI 136 JA #2     EA      USED                       1           24                      0
NOV ‐ Amelia       NOV          7373478‐03                  Rack No. EP17.     18 5/8" 87.50# J‐55 NIPPON SEAMLESS CASING, DUTCHMAN THREAD               FW151006             EI 136 JA #2     EA      USED                       2           75                      0
                                                                                                                                                                         INVENTORY CODE:
NOV ‐ Amelia       NOV          7363520‐01                  Rack No. C037.     5 1/2" 17# P‐110 TENARIS SEAMLESS CASING, TSH 511 THREAD                                         8000.156       EA      NEW                       97         4578.35                   0
                                                                                                                                                                              INVENTORY
NOV ‐ Amelia       NOV          7361437‐03                  Rack No. I3‐142.   7 5/8" 33.70# HCP‐110 U S STEEL SEAMLESS CASING, API 8RD LONG THREAD                             8000.156       EA      NEW                        5         231.35                    0
                                                                                                                                                                              INVENTORY
NOV ‐ Amelia       NOV          7361437‐02                  Rack No. I3‐142.   7 5/8" 33.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                               8000.156       EA      NEW                        9         414.65                    0
                                                                                                                                                                              INVENTORY
NOV ‐ Amelia       NOV          7361437‐01                  Rack No. I3‐142.   7 5/8" 33.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                               8000.156       EA      NEW                       109       5033.9544                  0
                                                                                                                                                                          E.I. 136 #JA‐2 ST1
NOV ‐ Amelia       NOV          7351051‐02                  Rack No. C140.                 OTHER,    THREAD                                              FW151506              OCSG:3152       EA      USED                       2           0                       0
                                                                                                                                                                          E.I. 136 #JA‐2 ST1
NOV ‐ Amelia       NOV          7351051‐01                  Rack No. C161.                 OTHER,    THREAD                                              FW151506              OCSG:3152       EA      USED                       1           0                       0
                                                                                                                                                                          E.I. 136 #JA‐2 ST1
NOV ‐ Amelia       NOV          7351051‐01                  Rack No. C161.                 OTHER,    THREAD                                              FW151506              OCSG:3152       EA      USED                       1           0                       0
                                                                                                                                                                           CHERRY ISLAND
NOV ‐ Amelia       NOV          7350949‐01                 Rack No. MIT02.     5 1/2" 29.70# HP2‐13CR115 JFE SEAMLESS CASING, PLAIN END UPSET THREAD                             VESSEL        EA      NEW                       12         430.747                   0
NOV ‐ Amelia       NOV          7350628‐01                 Rack No. I3‐142.    7" 29.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD            FW141015              SMI 48 E7       EA      NEW                        1           47                      0
NOV ‐ Amelia       NOV          7350628‐01                 Rack No. I3‐142.    7" 29.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD            FW141015              SMI 48 E7       EA      NEW                        1          42.6                     0
NOV ‐ Amelia       NOV          7350628‐01                 Rack No. I3‐142.    7" 29.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD            FW141015              SMI 48 E7       EA      NEW                       10          451.5                    0
NOV ‐ Amelia       NOV          7350628‐01                 Rack No. I3‐142.    7" 29.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD            FW141015              SMI 48 E7       EA      NEW                        4         170.905                   0
NOV ‐ Amelia       NOV          7350628‐01                 Rack No. I3‐142.    7" 29.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD            FW141015              SMI 48 E7       EA      NEW                        2          90.85                    0
                                                                                                                                                                         MC 782 DANTZLER
NOV ‐ Amelia       NOV          7347176‐04                  Rack No. B020.     4 1/2" 15.50# HP1‐13CR110 JFE SEAMLESS TUBING, BTS‐6 THREAD                142980               #1 XT‐SET       EA      USED                       2          78.05                    0
NOV ‐ Amelia       NOV          7341206‐02                  Rack No. EQ08.     9 5/8" 53.50# HCP‐110 U S STEEL SEAMLESS CASING, API 8RD LONG THREAD      FW141015              SMI 48 E‐7      EA      NEW                        1          46.7                     0
                                                                                                                                                                          MAIN PASS 153 B
NOV ‐ Amelia       NOV          7340778‐02                 Rack No. I2TP‐07.   7" 29.00# P‐110 TENARIS SEAMLESS PUP JOINTS, API 8RD LONG THREAD          FW152001        #10 ST3, ENSCO 87     EA      NEW                        1          21.25                    0
                                                                                                                                                                          MAIN PASS 153 B
NOV ‐ Amelia       NOV          7340778‐04                 Rack No. I2TP‐07.   7" 29.00# P‐110 TENARIS SEAMLESS PUP JOINTS, API 8RD LONG THREAD          FW152001        #10 ST3, ENSCO 87     EA      NEW                        1          20.75                    0
                                                                                                                                                                          MAIN PASS 153 B
NOV ‐ Amelia       NOV          7340778‐01                  Rack No. H053.     7" 29.00# P‐110 U S STEEL SEAMLESS CASING, API 8RD LONG THREAD            FW152001        #10 ST3, ENSCO 87     EA      NEW                        7          314.2                    0
                                                                                                                                                                        EUGENE ISLAND 136
                                                                                                                                                                          #JA‐2 ST1 OCS‐G
NOV ‐ Amelia       NOV          7339262‐01                  Rack No. 2‐105.    7" 42.59# Q‐125‐1 V&M STAR SEAMLESS CASING, SLIJII THREAD                 FW151506                 3156         EA      NEW                       294       12960.35                   0
                                                                                                                                                                        EUGENE ISLAND 136
                                                                                                                                                                          #JA‐2 ST1 OCS‐G
NOV ‐ Amelia       NOV          7339262‐02                  Rack No. 2‐105.    7" 42.59# Q‐125‐1 V&M STAR SEAMLESS CASING, SLIJII THREAD                 FW151506                 3156         EA      NEW                        1          45.1                     0
                                                                                                                                                                        EUGENE ISLAND 136
                                                                                                                                                                          #JA‐2 ST1 OCS‐G
NOV ‐ Amelia       NOV          7339262‐01                  Rack No. 2‐105.    7" 42.59# Q‐125‐1 V&M STAR SEAMLESS CASING, SLIJII THREAD                 FW151506                 3156         EA      NEW                       56        2468.3045                  0
                                                                                                                                                                        EUGENE ISLAND 136
                                                                                                                                                                          #JA‐2 ST1 OCS‐G
NOV ‐ Amelia       NOV          7339262‐01                  Rack No. 2‐105.    7" 42.59# Q‐125‐1 V&M STAR SEAMLESS CASING, SLIJII THREAD                 FW151506                 3156         EA      NEW                        1          43.75                    0
                                                                                                                                                                        EUGENE ISLAND 136
                                                                                                                                                                          #JA‐2 ST1 OCS‐G
NOV ‐ Amelia       NOV          7339239‐01                  Rack No. EN04.     7" 41.00# V‐150 U S STEEL SEAMLESS CASING, STL THREAD                     FW151506                 3156         EA      NEW                       56         2620.9                    0
                                                                                                                                                                        EUGENE ISLAND 136
                                                                                                                                                                          #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐06                  Rack No. EP25.     9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, SLX THREAD                     FW151006                 3156         EA      NEW                        5          222.2                    0
                                                                                                                                                                        EUGENE ISLAND 136
                                                                                                                                                                          #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐03                  Rack No. EP25.     9 5/8" 52.85# HCQ‐125 V&M SEAMLESS CASING, SLX THREAD                     FW151006                 3156         EA      NEW                        1          44.65                    0
                                                                                                                                                                        EUGENE ISLAND 136
                                                                                                                                                                          #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐06                  Rack No. EP25.     9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, SLX THREAD                     FW151006                 3156         EA      NEW                        6          272                      0




                                                                                                                                       93


                                                                                                         DEBTORS' EX. NO. 5
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                                         Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 450 of 995        Exhibit D-1 (continued)




  Facility     Facility Owner   Item Number   Serial No.      Location       Item Description                                                      Project Number       Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐05                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 V&M STAR SEAMLESS CASING, SLX THREAD              FW151006               3156        EA      NEW                        1          44.8                    0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐04                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 SIDERCA SEAMLESS CASING, SLX THREAD               FW151006               3156        EA      NEW                        1         41.75                    0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐05                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 V&M STAR SEAMLESS CASING, SLX THREAD              FW151006               3156        EA      NEW                        3         131.35                   0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐02                 Rack No. EP19.    9 5/8" 52.85# HCQ‐125 TENARIS‐TAMSA SEAMLESS PUP JOINTS, SLX THREAD     FW151006               3156        EA      NEW                        1          23                      0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐06                 Rack No. EP25.    9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, SLX THREAD                   FW151006               3156        EA      NEW                        4         182.7                    0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐03                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 V&M SEAMLESS CASING, SLX THREAD                   FW151006               3156        EA      NEW                        4         176.65                   0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐04                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 SIDERCA SEAMLESS CASING, SLX THREAD               FW151006               3156        EA      NEW                        2         92.45                    0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐04                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 SIDERCA SEAMLESS CASING, SLX THREAD               FW151006               3156        EA      NEW                        1          45.8                    0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐01                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 TENARIS‐TAMSA SEAMLESS CASING, SLX THREAD         FW151006               3156        EA      NEW                        4         176.75                   0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐03                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 V&M SEAMLESS CASING, SLX THREAD                   FW151006               3156        EA      NEW                        6         263.45                   0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐01                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 TENARIS‐TAMSA SEAMLESS CASING, SLX THREAD         FW151006               3156        EA      NEW                       11         497.2                    0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐01                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 TENARIS‐TAMSA SEAMLESS CASING, SLX THREAD         FW151006               3156        EA      NEW                        5         227.8                    0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐06                 Rack No. EP25.    9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, SLX THREAD                   FW151006               3156        EA      NEW                       28         1255.4                   0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐06                 Rack No. EP25.    9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, SLX THREAD                   FW151006               3156        EA      NEW                        6         275.45                   0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐06                 Rack No. EP25.    9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, SLX THREAD                   FW151006               3156        EA      NEW                        1          46                      0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐06                 Rack No. EP25.    9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, SLX THREAD                   FW151006               3156        EA      NEW                        1          45.3                    0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐06                 Rack No. EP25.    9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, SLX THREAD                   FW151006               3156        EA      NEW                        3         135.95                   0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OCS‐G
NOV ‐ Amelia       NOV          7339176‐02                 Rack No. EQ08.    9 5/8" 53.30# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD      FW151006               3156        EA      NEW                        3         137.25                   0
                                                                                                                                                                    VESSEL: "GLORIOUS
NOV ‐ Amelia       NOV          7337780‐01                 Rack No. MIT02.   7 1/16" 40.40# HP2‐13CR115 JFE SEAMLESS CASING, PLAIN END THREAD                              HOPE"        EA      NEW                        1         35.95                    0
                                                                                                                                                                    VESSEL: "GLORIOUS
NOV ‐ Amelia       NOV          7337780‐01                 Rack No. MIT02.   7 1/16" 40.40# HP2‐13CR115 JFE SEAMLESS CASING, PLAIN END THREAD                              HOPE"        EA      NEW                        2        71.7674                   0
NOV ‐ Amelia       NOV          7336043‐01                 Rack No. H062.    9 5/8" 47.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD         FW151001         MP 153 B‐10 ST3   EA      NEW                       13         564.1                    0
NOV ‐ Amelia       NOV          7334105‐01                 Rack No. H051.    9 5/8" 53.50# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD          SR141007            GC 65 A‐23     EA      NEW                       20         946.2                    0
                                                                                                                                                                         SMI 48 E‐7
NOV ‐ Amelia       NOV          7332033‐01                 Rack No. C255.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD     FW141515           OCSG:00786      EA      NEW                       14         654.74                   0
                                                                                                                                                                         SMI 48 E‐7
NOV ‐ Amelia       NOV          7332033‐02                 Rack No. C255.    7 5/8" 29.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD      FW141515           OCSG:00786      EA      NEW                        1         46.78                    0
                                                                                                                                                                         SMI 48 E‐7
NOV ‐ Amelia       NOV          7332033‐02                 Rack No. C255.    7 5/8" 29.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD      FW141515           OCSG:00786      EA      NEW                        4         184.15                   0
                                                                                                                                                                         SMI 48 E‐7
NOV ‐ Amelia       NOV          7332033‐01                 Rack No. C255.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD     FW141515           OCSG:00786      EA      NEW                        1         45.82                    0
                                                                                                                                                                         SMI 48 E‐7
NOV ‐ Amelia       NOV          7332033‐03                 Rack No. C255.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD     FW141515           OCSG:00786      EA      NEW                        4         181.48                   0
                                                                                                                                                                         GC 65 A‐23
NOV ‐ Amelia       NOV          7330358‐03                 Rack No. E045.    11 3/4" 65.00# Q‐125 HC LONE STAR ERW CASING, HYD 523 THREAD            SR141005            OCSG:5589      EA      NEW                        5         200.5                    0
                                                                                                                                                                         GC 65 A‐23
NOV ‐ Amelia       NOV          7330358‐01                 Rack No. BP‐15.   11 3/4" 65.00# Q‐125 IC TENARIS SEAMLESS CASING, HYD 523 THREAD         SR141005            OCSG:5589      EA      NEW                        5         203.4                    0
                                                                                                                                                                         GC 65 A‐23
NOV ‐ Amelia       NOV          7330358‐01                 Rack No. E045.    11 3/4" 65.00# Q‐125 IC TENARIS SEAMLESS CASING, HYD 523 THREAD         SR141005            OCSG:5589      EA      NEW                       13        528.8472                  0
                                                                                                                                                                         GC 65 A‐23
NOV ‐ Amelia       NOV          7330358‐02                 Rack No. E045.    11 3/4" 65.00# Q‐125 HC U S STEEL SEAMLESS CASING, HYD 523 THREAD       SR141005            OCSG:5589      EA      NEW                        4         152.25                   0
                                                                                                                                                                    GREEN CANYON 65 #
                                                                                                                                                                      A‐23 OCS‐G 5889
NOV ‐ Amelia       NOV          7326931‐01                 Rack No. B067.    9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, TSH 513 THREAD               FW141505             H&P 206       EA      NEW                       259       11294.5                   0
                                                                                                                                                                         GC 65 A‐23
NOV ‐ Amelia       NOV          7324824‐01                 Rack No. EQ08.    13 3/8" 72.00# HCQ‐125 U S STEEL SEAMLESS CASING, BUTTRESS THREAD       SR141005            OCSG:5889      EA      NEW                        2         85.35                    0
                                                                                                                                                                         GC 65 A‐23
NOV ‐ Amelia       NOV          7324824‐01                 Rack No. EQ08.    13 3/8" 72.00# HCQ‐125 U S STEEL SEAMLESS CASING, BUTTRESS THREAD       SR141005            OCSG:5889      EA      NEW                        1         43.35                    0
                                                                                                                                                                         GC 65 A‐23
NOV ‐ Amelia       NOV          7324824‐01                 Rack No. EO‐07.   13 3/8" 72.00# HCQ‐125 U S STEEL SEAMLESS CASING, BUTTRESS THREAD       SR141005            OCSG:5889      EA      NEW                        6         246.25                   0
NOV ‐ Amelia       NOV          7322732‐01                 Rack No. 2‐208.   18 5/8" 99.50# J‐55 TATA STEEL ERW CASING, BUTTRESS THREAD              SR141007            GC 65 A‐23     EA      NEW                        8         337.15                   0
NOV ‐ Amelia       NOV          7322732‐02                 Rack No. 2‐336.   18 5/8" 99.50# J‐55 TATA STEEL ERW PUP JOINTS, BUTTRESS THREAD          SR141007            GC 65 A‐23     EA      NEW                        1           21                     0
NOV ‐ Amelia       NOV          7322732‐02                 Rack No. 2‐336.   18 5/8" 99.50# J‐55 TATA STEEL ERW PUP JOINTS, BUTTRESS THREAD          SR141007            GC 65 A‐23     EA      NEW                        1          21.4                    0
                                                                                                                                                                     GREEN CANYON 65
NOV ‐ Amelia       NOV          7321277‐02                 Rack No. E040.    9 5/8" 53.50# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD          FW141505         A‐23 OCSG 5889    EA      NEW                        9          419                     0
                                                                                                                                                                     GREEN CANYON 65
NOV ‐ Amelia       NOV          7321277‐02                 Rack No. E040.    9 5/8" 53.50# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD          FW141505         A‐23 OCSG 5889    EA      NEW                        9         410.85                   0




                                                                                                                                     94


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  Facility     Facility Owner   Item Number   Serial No.       Location       Item Description                                                         Project Number      Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                        GREEN CANYON 65
NOV ‐ Amelia       NOV          7321277‐01                  Rack No. H062.    9 5/8" 53.50# P‐110 IC TAMSA SEAMLESS CASING, TSH 513 THREAD               FW141505        A‐23 OCSG 5889      EA      NEW                       65        3046.44                   0
                                                                                                                                                                        MAIN PASS 295 # 1
NOV ‐ Amelia       NOV          7316334‐05                 Rack No. WKRK07.   9 7/8" 62.80# HCQ‐125     SEAMLESS PUP JOINTS, HYD 513 THREAD             SA‐12‐0003         OCS‐G 32263       EA      NEW                        1           3                      0
                                                                                                                                                                        MAIN PASS 295 # 1
NOV ‐ Amelia       NOV          7316334‐07                 Rack No. WKRK07.   11 3/4" 65.00# Q‐125 IC   SEAMLESS PUP JOINTS, HYD 523 THREAD             SA‐12‐0003         OCS‐G 32263       EA      NEW                        1           3                      0
                                                                                                                                                                        MAIN PASS 295 # 1
NOV ‐ Amelia       NOV          7316334‐02                 Rack No. WKRK07.   9 7/8" 62.80# HCQ‐125     SEAMLESS PUP JOINTS, HYD 513 THREAD             SA‐12‐0003         OCS‐G 32263       EA      NEW                        1          10                      0
                                                                                                                                                                        MAIN PASS 295 # 1
NOV ‐ Amelia       NOV          7316334‐03                 Rack No. WKRK07.   9 7/8" 62.80# HCQ‐125     SEAMLESS PUP JOINTS, HYD 523 THREAD             SA‐12‐0003         OCS‐G 32263       EA      NEW                        1           3                      0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7315599‐01                  Rack No. EP22.    11 3/4" 65.00# JFE‐110T JFE SEAMLESS CASING, HYD 513 THREAD           FW141005 OCS‐G 588          A‐23         EA      NEW                       13         558.55                   0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7315599‐01                  Rack No. EP22.    11 3/4" 65.00# JFE‐110T JFE SEAMLESS CASING, HYD 513 THREAD           FW141005 OCS‐G 588          A‐23         EA      NEW                        1         42.75                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7315599‐01                  Rack No. EP22.    11 3/4" 65.00# JFE‐110T JFE SEAMLESS CASING, HYD 513 THREAD           FW141005 OCS‐G 588          A‐23         EA      NEW                        1         44.65                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7315599‐01                  Rack No. EP22.    11 3/4" 65.00# JFE‐110T JFE SEAMLESS CASING, HYD 513 THREAD           FW141005 OCS‐G 588          A‐23         EA      NEW                        1          42.8                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7315599‐02                  Rack No. EP22.    11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD      FW141005 OCS‐G 588          A‐23         EA      NEW                        1           42                     0
NOV ‐ Amelia       NOV          7312660‐01                  Rack No. B005.    4 1/2" 13.50# HCP‐110 TMK SEAMLESS CASING, ULTRA SF THREAD                 FW141009         EI 126 A‐5 ST‐1    EA      NEW                       16         676.75                   0
NOV ‐ Amelia       NOV          7312632‐02                  Rack No. EQ09.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD         FW141017         SS 274 C22 ST2     EA      NEW                        1           46                     0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐02                  Rack No. 2‐442.   9 5/8" 53.50# HCP‐110 TAMSA SEAMLESS PUP JOINTS, TSH 513 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                        1         22.95                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐06                  Rack No. B061.    9 5/8" 53.50# P‐110 EC V&M SEAMLESS CASING, HYD 523 THREAD                 FW141505        A‐23 OCS‐G 5889     EA      NEW                        7         314.8                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐05                  Rack No. B061.    9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                       24         1062.1                   0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐03                  Rack No. B061.    9 5/8" 53.50# HCP‐110 U S STEEL SEAMLESS CASING, HYD 523 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                        2          92.8                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐01                  Rack No. B061.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, HYD 513 THREAD              FW141505        A‐23 OCS‐G 5889     EA      NEW                        4         187.7                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐01                  Rack No. B061.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, HYD 513 THREAD              FW141505        A‐23 OCS‐G 5889     EA      NEW                       16        741.0824                  0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐05                  Rack No. EP22.    9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                       37        1656.35                   0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐03                  Rack No. EP22.    9 5/8" 53.50# HCP‐110 U S STEEL SEAMLESS CASING, HYD 523 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                        7         329.9                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐04                  Rack No. EP22.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD              FW141505        A‐23 OCS‐G 5889     EA      NEW                        1         44.35                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐01                  Rack No. EP22.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, HYD 513 THREAD              FW141505        A‐23 OCS‐G 5889     EA      NEW                        1         47.25                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐05                  Rack No. EP22.    9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                        8         365.55                   0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐05                  Rack No. EP22.    9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                        1          46.3                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐05                  Rack No. EP22.    9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                        4          183                     0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐05                  Rack No. EP22.    9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                        9         411.05                   0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐01                  Rack No. EP22.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, HYD 513 THREAD              FW141505        A‐23 OCS‐G 5889     EA      NEW                        2         93.45                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐04                  Rack No. B061.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD              FW141505        A‐23 OCS‐G 5889     EA      NEW                        3        133.55                    0
NOV ‐ Amelia       NOV          7303373‐02                  Rack No. H062.    9 7/8" 61.80# Q125‐IC TAMSA SEAMLESS CASING, TSH 513 THREAD                SR141003            GC 64 A26       EA    UNKNOWN                      1          44                      0
NOV ‐ Amelia       NOV          7303373‐01                  Rack No. H062.    9 7/8" 61.80# Q125‐IC TAMSA SEAMLESS CASING, TSH 513 THREAD                SR141003            GC 64 A26       EA    UNKNOWN                     16          704                     0
NOV ‐ Amelia       NOV          7302417‐01                  Rack No. B005.    7" 32.00# HCP‐110 JESCO SEAMLESS CASING, API 8RD LONG THREAD               FW141509         EI 126 A‐5 ST‐1    EA      NEW                        9        386.55                    0
NOV ‐ Amelia       NOV          7302417‐01                  Rack No. B005.    7" 32.00# HCP‐110 JESCO SEAMLESS CASING, API 8RD LONG THREAD               FW141509         EI 126 A‐5 ST‐1    EA      NEW                       28        1161.25                   0
NOV ‐ Amelia       NOV          7302417‐02                  Rack No. B020.    7" 32.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD             FW141509         EI 126 A‐5 ST‐1    EA      NEW                        1         47.4                     0
                                                                                                                                                                          SS 274 C22 ST2
NOV ‐ Amelia       NOV          7299505‐01                  Rack No. EP12.    13 3/8" 72.00# P‐110 IC TAMSA SEAMLESS CASING, BUTTRESS THREAD             FW141017           OCSG:1039        EA      NEW                        7        329.1543                  0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐02                  Rack No. EM05.    10 3/4" 45.50# J‐55 TENARIS ERW PUP JOINTS, BUTTRESS THREAD               FW1410016               786          EA      NEW                        1          21.5                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐01                  Rack No. EQ09.    10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                   FW1410016               786          EA      NEW                        1         46.35                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐01                  Rack No. EQ09.    10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                   FW1410016               786          EA      NEW                        1          43.1                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐02                  Rack No. EM05.    10 3/4" 45.50# J‐55 TENARIS ERW PUP JOINTS, BUTTRESS THREAD               FW1410016               786          EA      NEW                        2         43.25                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐01                  Rack No. EQ09.    10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                   FW1410016               786          EA      NEW                        2         81.75                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐02                  Rack No. EM05.    10 3/4" 45.50# J‐55 TENARIS ERW PUP JOINTS, BUTTRESS THREAD               FW1410016               786          EA      NEW                        2          42.8                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐01                  Rack No. B024.    10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                   FW1410016               786          EA      NEW                        3         130.1                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐01                  Rack No. B024.    10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                   FW1410016               786          EA      NEW                        1          40.1                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐02                  Rack No. EM05.    10 3/4" 45.50# J‐55 TENARIS ERW PUP JOINTS, BUTTRESS THREAD               FW1410016               786          EA      NEW                        1          21.6                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐05                  Rack No. H005.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD       FW1415016               786          EA      NEW                        4         188.5                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐03                  Rack No. H005.    7 5/8" 29.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD        FW1415016               786          EA      NEW                        1         45.35                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐03                  Rack No. H005.    7 5/8" 29.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD        FW1415016               786          EA      NEW                        1          45.1                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐01                  Rack No. H005.    7 5/8" 29.70# HCP‐110 TAMSA SEAMLESS CASING, API 8RD LONG THREAD          FW1415016               786          EA      NEW                       14         636.35                   0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐04                  Rack No. H005.    7 5/8" 29.70# P‐110 IC TAMSA SEAMLESS CASING, API 8RD LONG THREAD         FW1415016               786          EA      NEW                        2          91.8                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐03                  Rack No. H005.    7 5/8" 29.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD        FW1415016               786          EA      NEW                        1          47.4                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐04                  Rack No. H005.    7 5/8" 29.70# P‐110 IC TAMSA SEAMLESS CASING, API 8RD LONG THREAD         FW1415016               786          EA      NEW                       27        1242.49                   0




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  Facility     Facility Owner   Item Number   Serial No.       Location       Item Description                                                              Project Number     Project Name       UOM   Condition   Wt. (lbs)   On Hand Qty    Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                             S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐05                  Rack No. H005.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD            FW1415016               786          EA      NEW                        4          188.4                    0
                                                                                                                                                                             S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐05                  Rack No. H005.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD            FW1415016               786          EA      NEW                        7         332.25                    0
                                                                                                                                                                             S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐01                  Rack No. H005.    7 5/8" 29.70# HCP‐110 TAMSA SEAMLESS CASING, API 8RD LONG THREAD               FW1415016               786          EA      NEW                        5         229.05                    0
                                                                                                                                                                             S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐02                  Rack No. H005.    7 5/8" 29.70# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD                FW1415016               786          EA      NEW                        1          44.55                    0
                                                                                                                                                                             INVENTORY CODE:
NOV ‐ Amelia       NOV          7288816‐01                  Rack No. C255.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD                                 8000 156        EA      NEW                       64         2987.24                   0
                                                                                                                                                                             INVENTORY CODE:
NOV ‐ Amelia       NOV          7288816‐01                  Rack No. C255.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD                                 8000 156        EA      NEW                       129        6023.01                   0
                                                                                                                                                                             S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288570‐01                  Rack No. C255.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD            FW1415016               786          EA      NEW                       25         1166.75                   0
NOV ‐ Amelia       NOV          7287935‐01                  Rack No. B005.    7" 38.00# HCQ‐125‐1 TCA SEAMLESS CASING, STL THREAD                              3500.2                             EA      NEW                       43         1881.7                    0
                                                                                                                                                                             M.P. 311 #B‐12 ST
NOV ‐ Amelia       NOV          7282304‐02                  Rack No. C255.    7 5/8" 29.70# HCP‐110 TENARIS SEAMLESS CASING, TSH 513 THREAD                   GO141504           OCSG:2213        EA      NEW                       25         1134.7                    0
                                                                                                                                                                             M.P. 311 #B‐12 ST
NOV ‐ Amelia       NOV          7282304‐01                  Rack No. C255.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                  GO141504           OCSG:2213        EA      NEW                       40        1848.4017                  0
NOV ‐ Amelia       NOV          7280531‐01                  Rack No. B024.    10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                         GO141004          MP 311 B12        EA      NEW                        1          38.65                    0
NOV ‐ Amelia       NOV          7280531‐01                  Rack No. B024.    10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                         GO141004          MP 311 B12        EA      NEW                        1          38.85                    0
NOV ‐ Amelia       NOV          7280393‐01                  Rack No. E060.    9 5/8" 53.50# HCQ‐125 U S STEEL SEAMLESS CASING, BUTTRESS THREAD                FW141009         EI 126 A‐5 ST‐1    EA      NEW                       14          642.9                    0
NOV ‐ Amelia       NOV          7280393‐01                  Rack No. EQ09.    9 5/8" 53.50# HCQ‐125 U S STEEL SEAMLESS CASING, BUTTRESS THREAD                FW141009         EI 126 A‐5 ST‐1    EA      NEW                        1          47.25                    0
NOV ‐ Amelia       NOV          7277189‐01                  Rack No. B057.    11 7/8" 71.80# Q‐125 IC TENARIS SEAMLESS CASING, TSH 523 THREAD                 SR141003            GC 64 A26       EA      NEW                       21         954.85                    0
NOV ‐ Amelia       NOV          7276946‐01                  Rack No. E079.    7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD                     SR141500         SS 252 C‐9 ST1     EA      NEW                        1          44.15                    0
NOV ‐ Amelia       NOV          7276946‐01                  Rack No. E079.    7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD                     SR141500         SS 252 C‐9 ST1     EA      NEW                        2          89.1                     0
NOV ‐ Amelia       NOV          7276946‐01                  Rack No. E079.    7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD                     SR141500         SS 252 C‐9 ST1     EA      NEW                        5         221.25                    0
NOV ‐ Amelia       NOV          7276946‐03                  Rack No. E077.    7" 26.00# HCP‐110 VOEST ALP SEAMLESS CASING, API 8RD LONG THREAD                SR141500         SS 252 C‐9 ST1     EA      NEW                        2          83.7                     0
NOV ‐ Amelia       NOV          7276946‐02                  Rack No. EP22.    7" 26.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                  SR141500         SS 252 C‐9 ST1     EA      NEW                        6         280.02                    0
NOV ‐ Amelia       NOV          7276946‐05                  Rack No. E079.    7" 26.00# HCP‐110 V&M SEAMLESS CASING, API 8RD LONG THREAD                      SR141500         SS 252 C‐9 ST1     EA      NEW                        1          45.3                     0
NOV ‐ Amelia       NOV          7276946‐02                  Rack No. EP22.    7" 26.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                  SR141500         SS 252 C‐9 ST1     EA      NEW                       11        513.3639                   0
NOV ‐ Amelia       NOV          7276946‐03                  Rack No. EP22.    7" 26.00# HCP‐110 VOEST ALP SEAMLESS CASING, API 8RD LONG THREAD                SR141500         SS 252 C‐9 ST1     EA      NEW                        4         166.85                    0
NOV ‐ Amelia       NOV          7276946‐04                  Rack No. EP22.    7" 26.00# HCP‐110 V&M SEAMLESS CASING, API 8RD LONG THREAD                      SR141500         SS 252 C‐9 ST1     EA      NEW                        1          45.45                    0
NOV ‐ Amelia       NOV          7276946‐05                  Rack No. EP22.    7" 26.00# HCP‐110 V&M SEAMLESS CASING, API 8RD LONG THREAD                      SR141500         SS 252 C‐9 ST1     EA      NEW                        2          91.45                    0
NOV ‐ Amelia       NOV          7276946‐02                  Rack No. EP22.    7" 32.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                  SR141500         SS 252 C‐9 ST1     EA      NEW                        1          46.67                    0
NOV ‐ Amelia       NOV          7276946‐03                  Rack No. E077.    7" 26.00# HCP‐110 VOEST ALP SEAMLESS CASING, API 8RD LONG THREAD                SR141500         SS 252 C‐9 ST1     EA      NEW                        3         124.55                    0
NOV ‐ Amelia       NOV          7276946‐02                  Rack No. E077.    7" 26.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                  SR141500         SS 252 C‐9 ST1     EA      NEW                        2          94.65                    0
NOV ‐ Amelia       NOV          7272382‐04                  Rack No. EP22.    7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD                                        INVENTORY        EA      NEW                        2          89.1                     0
NOV ‐ Amelia       NOV          7272382‐01                  Rack No. H053.    7" 26.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                                     INVENTORY        EA      NEW                        1          46.9                     0
NOV ‐ Amelia       NOV          7272382‐01                  Rack No. H053.    7" 26.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                                     INVENTORY        EA      NEW                        3           141                     0
NOV ‐ Amelia       NOV          7272382‐01                  Rack No. EP22.    7" 26.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                                     INVENTORY        EA      NEW                        3         139.95                    0
NOV ‐ Amelia       NOV          7272382‐03                  Rack No. EP22.    7" 26.00# P‐110 EC V&M STAR SEAMLESS CASING, API 8RD LONG THREAD                                   INVENTORY        EA      NEW                        1          41.85                    0
NOV ‐ Amelia       NOV          7272382‐02                  Rack No. EP22.    7" 26.00# HCP‐110 VOEST ALP SEAMLESS CASING, API 8RD LONG THREAD                                   INVENTORY        EA      NEW                        6          249.6                    0
NOV ‐ Amelia       NOV          7261939‐01                  Rack No. E028.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                GO‐14‐1001‐DH     MP 311 A‐13 ST‐2    EA      NEW                        3        138.7269                   0
                                                                                                                                                                             MAIN PASS 311 A13
NOV ‐ Amelia       NOV          7244543‐05                  Rack No. E033.    5 1/2" 20.00# HCP‐110 U S STEEL SEAMLESS CASING, STL THREAD                        TBA                 S/T          EA      NEW                        1          45.4                     0

NOV ‐ Amelia       NOV          3679539‐02                  Rack No. 2‐336.   9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS PUP JOINTS, API 8RD LONG THREAD          FW141502           EI‐187 #2        EA      NEW                        1          23.15                    0

NOV ‐ Amelia       NOV          3679539‐02                  Rack No. 2‐336.   9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS PUP JOINTS, API 8RD LONG THREAD          FW141502              EI‐187 #2     EA      NEW                        1          23.15                    0
                                                                                                                                                                                S.S.193 A6 ST#5
NOV ‐ Amelia       NOV          3675138‐01                  Rack No. E028.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD                 FW141004            OCSG:13917      EA      NEW                        3         138.25                    0
                                                                                                                                                                                S.S.193 A6 ST#5
NOV ‐ Amelia       NOV          3675138‐02                  Rack No. E028.    7" 32.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                  FW141004            OCSG:13917      EA      NEW                       21          991.6                    0
                                                                                                                                                                             E. CAMERON 172 #2
NOV ‐ Amelia       NOV          3673667‐02                  Rack No. B021.    7" 32.00# HCP‐110 TENARIS‐ALGOMA SEAMLESS CASING, API 8RD LONG THREAD           FW141511            OCSG 17858      EA      NEW                       10          473.1                    0
                                                                                                                                                                             E. CAMERON 172 #2
NOV ‐ Amelia       NOV          3673667‐01                  Rack No. B021.    7" 32.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                  FW141511            OCSG 17858      EA      NEW                       16         752.05                    0
                                                                                                                                                                                  MP 153 B‐3
NOV ‐ Amelia       NOV          3669409‐01                  Rack No. B024.    10 3/4" 45.50# HCN‐80 TPCO SEAMLESS CASING, BUTTRESS THREAD                   SA‐14‐0006‐DH          OCSG:1967      EA      NEW                        9         402.55                    0
                                                                                                                                                                                  MP 153 B‐3
NOV ‐ Amelia       NOV          3669409‐01                  Rack No. EP16.    10 3/4" 45.50# HCN‐80 TPCO SEAMLESS CASING, BUTTRESS THREAD                   SA‐14‐0006‐DH          OCSG:1967      EA      NEW                        1          46.5                     0
                                                                                                                                                                                  MP 153 B‐3
NOV ‐ Amelia       NOV          3669409‐01                  Rack No. B024.    10 3/4" 45.50# HCN‐80 TPCO SEAMLESS CASING, BUTTRESS THREAD                   SA‐14‐0006‐DH          OCSG:1967      EA      NEW                        4          179.3                    0
                                                                              6" X 4 1/2" 30.38# 15.50# (45.88#) HP113CR115(O) HP113CR115(I) JFE SEAMLESS
NOV ‐ Amelia       NOV          3669375‐01                 Rack No. MIT02.    VIT, VAM DRS NA THREAD                                                                          DANTZLER WELLS      EA      USED                       1          39.6                     0
NOV ‐ Amelia       NOV          3652486‐02                 Rack No. B040.     5" 18.00# P‐110 EC V&M SEAMLESS CASING, TSH 513 THREAD                        SG‐13‐0001‐CC       MP 302 B‐19       EA      NEW                        5          226.1                    0
                                                                                                                                                                               EI 187 #2 OCSG
NOV ‐ Amelia       NOV          3651026‐02                  Rack No. E044.    13 3/8" 72.00# HCP‐110 TENARIS SEAMLESS CASING, BUTTRESS THREAD                 FW141002              10736         EA      NEW                        1          42.65                    0
                                                                                                                                                                               EI 187 #2 OCSG
NOV ‐ Amelia       NOV          3651026‐01                  Rack No. E044.    13 3/8" 72.00# HCP‐110 U S STEEL SEAMLESS CASING, BUTTRESS THREAD               FW141002              10736         EA      NEW                        1          38.1                     0
                                                                                                                                                                             HIGH ISL. A596 D‐6
NOV ‐ Amelia       NOV          3648959‐05                  Rack No. E016.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD                 SA‐13‐0031‐DC            S/T          EA      NEW                        2          96.7                     0
                                                                                                                                                                             HIGH ISL. A596 D‐6
NOV ‐ Amelia       NOV          3648959‐06                  Rack No. E016.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD                 SA‐13‐0031‐DC            S/T          EA      NEW                        1           51                      0
                                                                                                                                                                             HIGH ISL. A596 D‐6
NOV ‐ Amelia       NOV          3648959‐05                  Rack No. E016.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD                 SA‐13‐0031‐DC            S/T          EA      NEW                        6         292.35                    0
                                                                                                                                                                             HIGH ISL. A596 D‐6
NOV ‐ Amelia       NOV          3648959‐07                  Rack No. E016.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD                 SA‐13‐0031‐DC            S/T          EA      NEW                        1          48.6                     0
                                                                                                                                                                             HIGH ISL. A596 D‐6
NOV ‐ Amelia       NOV          3648959‐12                  Rack No. EP19.    9 5/8" 53.50# HCP‐110 TAMSA SEAMLESS PUP JOINTS, TSH 513 THREAD               SA‐13‐0031‐DC            S/T          EA      NEW                        1          23.1                     0
NOV ‐ Amelia       NOV          3648910‐02                 Rack No. WKRK02.   5 1/2" 23.00# 13 CR‐95 JFE SEAMLESS CASING, BTS‐6 THREAD                                             GC 40 #1       EA      USED                       1          39.75                    0
NOV ‐ Amelia       NOV          3648910‐02                 Rack No. WKRK02.   5 1/2" 23.00# 13 CR‐95 JFE SEAMLESS CASING, BTS‐6 THREAD                                             GC 40 #1       EA      USED                       1          39.8                     0
                                                                                                                                                                             BIG BEND M.C. 698
NOV ‐ Amelia       NOV          3643733‐01                 Rack No. WKRK02.                OTHER,   THREAD                                                     142412                 #1          EA      USED                       1           0                       0
                                                                                                                                                                             BIG BEND M.C. 698
NOV ‐ Amelia       NOV          3643733‐01                 Rack No. WKRK02.                OTHER,   THREAD                                                     142412                 #1          EA      USED                      10           0                       0
                                                                                                                                                                             BIG BEND M.C. 698
NOV ‐ Amelia       NOV          3643733‐03                  Rack No. E017.    5 1/2" 23.00# 13 CR‐95 JFE SEAMLESS CASING, BTS‐6 THREAD                         142412                 #1          EA      NEW                        8         316.45                    0
                                                                                                                                                                              HI A595 D‐6 ST‐2
NOV ‐ Amelia       NOV          3643149‐01                  Rack No. EP22.    11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD              SA‐13‐0031‐DH         OCSG:2722       EA      NEW                       15         620.45                    0
                                                                                                                                                                              HI A595 D‐6 ST‐2
NOV ‐ Amelia       NOV          3643149‐01                  Rack No. EP22.    11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD              SA‐13‐0031‐DH         OCSG:2722       EA      NEW                        1          40.3                     0




                                                                                                                                      96


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                                         Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 453 of 995         Exhibit D-1 (continued)




  Facility     Facility Owner   Item Number   Serial No.      Location        Item Description                                                       Project Number       Project Name       UOM   Condition   Wt. (lbs)   On Hand Qty    Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                        HI A595 D‐6 ST‐2
NOV ‐ Amelia       NOV          3643149‐02                  Rack No. EP17.    11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS PUP JOINTS, HYD 513 THREAD   SA‐13‐0031‐DH         OCSG:2722         EA      NEW                        1           5.3                     0
                                                                                                                                                                        HI A595 D‐6 ST‐2
NOV ‐ Amelia       NOV          3643149‐03                  Rack No. EP22.    11 3/4" 65.00# HCP‐110 JFE SEAMLESS CASING, HYD 513 THREAD             SA‐13‐0031‐DH         OCSG:2722         EA      NEW                        1          42.9                     0
                                                                                                                                                                        HI A595 D‐6 ST‐2
NOV ‐ Amelia       NOV          3643149‐01                  Rack No. EP22.    11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD       SA‐13‐0031‐DH         OCSG:2722         EA      NEW                        2          81.65                    0
                                                                                                                                                                        HI A595 D‐6 ST‐2
NOV ‐ Amelia       NOV          3643149‐02                  Rack No. EP17.    11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS PUP JOINTS, HYD 513 THREAD   SA‐13‐0031‐DH         OCSG:2722         EA      NEW                        1          10.3                     0
NOV ‐ Amelia       NOV          3641841‐01                  Rack No. EP18.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD     SG‐13‐0001‐DH        MP 302 B‐19        EA      NEW                        1           46                      0
NOV ‐ Amelia       NOV          3641817‐01                  Rack No. EP16.    9 5/8" 53.30# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD     SA‐14‐0001‐DH          MP 295 #3        EA      NEW                        1          46.1                     0
NOV ‐ Amelia       NOV          3641146‐01                  Rack No. EP16.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD     SA‐13‐0045‐DH      VR 262 A‐6 ST‐1      EA      NEW                        1          46.95                    0
NOV ‐ Amelia       NOV          3634794‐01                  Rack No. B061.    13 3/8" 68.00# J‐55 HYUNDAI ERW CASING, BUTTRESS THREAD                SA‐14‐0001‐DH          MP 295 #3        EA      NEW                        9         407.65                    0
NOV ‐ Amelia       NOV          3634794‐03                 Rack No. BS01‐B.   13 3/8" 68.00# J‐55 HYUNDAI ERW PUP JOINTS, BUTTRESS THREAD            SA‐14‐0001‐DH          MP 295 #3        EA      NEW                        2          43.25                    0
NOV ‐ Amelia       NOV          3634794‐01                  Rack No. BS01.    13 3/8" 68.00# J‐55 HYUNDAI ERW CASING, BUTTRESS THREAD                SA‐14‐0001‐DH          MP 295 #3        EA      NEW                        2          88.9                     0
NOV ‐ Amelia       NOV          3634794‐01                  Rack No. BS01.    13 3/8" 68.00# J‐55 HYUNDAI ERW CASING, BUTTRESS THREAD                SA‐14‐0001‐DH          MP 295 #3        EA      NEW                        1          45.5                     0
NOV ‐ Amelia       NOV          3632545‐01                 Rack No. B069‐B.   20" 106.50# J‐55 MANNESMANN SEAMLESS CASING, BUTTRESS THREAD           SA‐14‐0001‐DH          MP 295 #3        EA      NEW                        1          43.2                     0
                                                                                                                                                                            MP 295 #3
NOV ‐ Amelia       NOV          3632196‐01                 Rack No. B069‐B.   20" 106.50# J‐55 SALZGITTER ERW CASING, BUTTRESS THREAD                SA‐14‐0001‐DH        OCSG:32263         EA      NEW                        3          130.3                    0
                                                                                                                                                                      M.P. 153 #B‐10 ST3
NOV ‐ Amelia       NOV          3631381‐01                  Rack No. E028.    7" 29.00# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD            SA‐14‐0002‐DC         OCSG:1966         EA      NEW                       24          994.8                    0
                                                                                                                                                                      M.P. 153 #B‐10 ST3
NOV ‐ Amelia       NOV          3631381‐03                 Rack No. 2‐442.    7" 29.00# P‐110 U S STEEL SEAMLESS PUP JOINTS, API 8RD LONG THREAD     SA‐14‐0002‐DC         OCSG:1966         EA      NEW                        1          23.07                    0
                                                                                                                                                                       HIGH ISLAND A596
NOV ‐ Amelia       NOV          3631311‐01                 Rack No. B057.     11 7/8" 71.80# Q‐125 IC TAMSA SEAMLESS CASING, TSH 523 THREAD          SA‐13‐0003‐DH            D9 ST2         EA      NEW                       18        822.3794                   0
                                                                                                                                                                       HIGH ISLAND A596
NOV ‐ Amelia       NOV          3631280‐02                  Rack No. BS01.    16" 94.81# Q‐125 IC TENARIS SEAMLESS CASING, TSH 513 THREAD            SA‐13‐0003‐DH            D9 ST2         EA      NEW                        6         254.65                    0
                                                                                                                                                                       HIGH ISLAND A596
NOV ‐ Amelia       NOV          3631280‐01                  Rack No. BS01.    16" 94.81# HCQ‐125 U S STEEL SEAMLESS CASING, TSH 513 THREAD           SA‐13‐0003‐DH            D9 ST2         EA      NEW                        1          36.35                    0
                                                                                                                                                                       HIGH ISLAND A596
NOV ‐ Amelia       NOV          3631280‐01                  Rack No. BS01.    16" 94.81# HCQ‐125 U S STEEL SEAMLESS CASING, TSH 513 THREAD           SA‐13‐0003‐DH            D9 ST2         EA      NEW                        4          164.1                    0
                                                                                                                                                                       HIGH ISLAND A596
NOV ‐ Amelia       NOV          3631274‐01                  Rack No. BS01.    16" 97.00# HCN‐80 V&M SEAMLESS CASING, BUTTRESS THREAD                 SA‐13‐0003‐DH           D9 ST#2         EA      NEW                        1          41.95                    0
                                                                                                                                                                       HIGH ISLAND A596
NOV ‐ Amelia       NOV          3631274‐01                  Rack No. BS01.    16" 97.00# HCN‐80 V&M SEAMLESS CASING, BUTTRESS THREAD                 SA‐13‐0003‐DH           D9 ST#2         EA      NEW                        2          90.85                    0
                                                                                                                                                                       HIGH ISLAND A596
NOV ‐ Amelia       NOV          3631274‐01                  Rack No. BS01.    16" 97.00# HCN‐80 V&M SEAMLESS CASING, BUTTRESS THREAD                 SA‐13‐0003‐DH           D9 ST#2         EA      NEW                        1          44.5                     0
                                                                                                                                                                       HIGH ISLAND A596
NOV ‐ Amelia       NOV          3631274‐02                 Rack No. BS01.     16" 97.00# HCN‐80 U S STEEL SEAMLESS CASING, BUTTRESS THREAD           SA‐13‐0003‐DH           D9 ST#2         EA      NEW                        1          38.75                    0
NOV ‐ Amelia       NOV          3627781‐01                 Rack No. E045.     13 3/8" 72.00# HCP‐110 U S STEEL SEAMLESS CASING, SLX THREAD           SA‐13‐0031DH          HI A595 D‐6       EA      NEW                        2          81.55                    0
NOV ‐ Amelia       NOV          3627781‐01                 Rack No. BS01.     13 3/8" 72.00# HCP‐110 U S STEEL SEAMLESS CASING, SLX THREAD           SA‐13‐0031DH          HI A595 D‐6       EA      NEW                        1          40.8                     0
NOV ‐ Amelia       NOV          3627781‐01                 Rack No. BP‐15.    13 3/8" 72.00# HCP‐110 U S STEEL SEAMLESS CASING, SLX THREAD           SA‐13‐0031DH          HI A595 D‐6       EA      NEW                       10         407.75                    0
NOV ‐ Amelia       NOV          3627781‐01                 Rack No. BS01.     13 3/8" 72.00# HCP‐110 U S STEEL SEAMLESS CASING, SLX THREAD           SA‐13‐0031DH          HI A595 D‐6       EA      NEW                        6          255.1                    0
                                                                                                                                                                      MAIN PASS 153 #B‐
NOV ‐ Amelia       NOV          3620413‐04                  Rack No. E077.    7" 29.00# P‐110 U S STEEL SEAMLESS PUP JOINTS, API 8RD LONG THREAD     SA‐14‐0002‐DC    10 ST#3 OCSG 1966      EA      NEW                        1           23                      0
NOV ‐ Amelia       NOV          3620015‐01                  Rack No. EP12.    16" 97.00# Q125 HP U S STEEL SEAMLESS CASING, BUTTRESS THREAD          SA‐13‐0031‐DH        HI A596 #D‐6       EA      NEW                       22          908.5                    0
                                                                                                                                                                      MAIN PASS 153 B‐10
NOV ‐ Amelia       NOV          3619168‐03                 Rack No. 2‐442.    7" 29.00# HCP‐110 TENARIS SEAMLESS PUP JOINTS, API 8RD LONG THREAD     SA‐14‐0002‐DC      ST#3 OCSG 1966       EA      NEW                        1          21.8                     0
NOV ‐ Amelia       NOV          3616810‐01                 Rack No. B040.     4 1/2" 18.97# Q‐125 HCE VOEST ALP SEAMLESS CASING, SLIJII THREAD       SA‐13‐0024‐DH          EI 136 JA‐4      EA      NEW                        8          324.3                    0
NOV ‐ Amelia       NOV          3615844‐01                 Rack No. EP12.     13 3/8" 72.00# HCP‐110 V&M SEAMLESS CASING, HYD 513 THREAD             SA‐13‐0040‐DH          WC 210 #1        EA      NEW                        6          252.1                    0
NOV ‐ Amelia       NOV          3615844‐01                 Rack No. E077.     13 3/8" 72.00# HCP‐110 V&M SEAMLESS CASING, HYD 513 THREAD             SA‐13‐0040‐DH          WC 210 #1        EA      NEW                        5         209.55                    0
NOV ‐ Amelia       NOV          3614854‐03                 Rack No. H053.     7" 26.00# HCP‐110 VOEST ALP SEAMLESS CASING, API 8RD LONG THREAD       SA‐13‐0044‐DH       EI 330 D‐8 ST‐2     EA      NEW                        2          83.6                     0
NOV ‐ Amelia       NOV          3614854‐02                 Rack No. H053.     7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD            SA‐13‐0044‐DH       EI 330 D‐8 ST‐2     EA      NEW                        6         270.05                    0
NOV ‐ Amelia       NOV          3614854‐03                 Rack No. H053.     7" 26.00# HCP‐110 VOEST ALP SEAMLESS CASING, API 8RD LONG THREAD       SA‐13‐0044‐DH       EI 330 D‐8 ST‐2     EA      NEW                        2          83.8                     0
NOV ‐ Amelia       NOV          3614854‐04                 Rack No. H053.     7" 26.00# HCP‐110 SUMITOMO SEAMLESS CASING, API 8RD LONG THREAD        SA‐13‐0044‐DH       EI 330 D‐8 ST‐2     EA      NEW                        1           40                      0
NOV ‐ Amelia       NOV          3614854‐02                 Rack No. H053.     7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD            SA‐13‐0044‐DH       EI 330 D‐8 ST‐2     EA      NEW                       26        1165.7226                  0
                                                                                                                                                                            HI 596 D‐6
NOV ‐ Amelia       NOV          3614751‐01                 Rack No. B069‐B.   20" 169.00# X‐56 JFE ERW CASING, BUTTRESS THREAD                       SA‐13‐0031‐DH         OCSG:2722         EA      NEW                       10         444.85                    0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612120‐02                  Rack No. EP25.    11 7/8" 71.80# Q‐125 IC TENARIS SEAMLESS CASING, TSH 523 THREAD        SA‐12‐0003‐DH        OCSG 32263         EA      NEW                        2          91.9                     0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612120‐01                 Rack No. MOC1.     11 7/8" 71.80# Q‐125 IC TAMSA SEAMLESS CASING, TSH 523 THREAD          SA‐12‐0003‐DH        OCSG 32263         EA      NEW                        3          137.3                    0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612120‐01                 Rack No. MOC1.     11 7/8" 71.80# Q‐125 IC TAMSA SEAMLESS CASING, TSH 523 THREAD          SA‐12‐0003‐DH        OCSG 32263         EA      NEW                       10         457.85                    0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612120‐01                 Rack No. MOC1.     11 7/8" 71.80# Q‐125 IC TAMSA SEAMLESS CASING, TSH 523 THREAD          SA‐12‐0003‐DH        OCSG 32263         EA      NEW                       17          777.3                    0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612106‐01                 Rack No. EQ09.     9 7/8" 61.80# Q‐125 IC TAMSA SEAMLESS CASING, TSH 513 THREAD           SA‐12‐0003‐DH        OCSG 32263         EA      NEW                        2          93.95                    0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612106‐01                 Rack No. EQ08.     9 7/8" 61.80# Q‐125 IC TAMSA SEAMLESS CASING, TSH 513 THREAD           SA‐12‐0003‐DH        OCSG 32263         EA      NEW                        1          47.5                     0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612106‐01                 Rack No. EQ08.     9 7/8" 61.80# Q‐125 IC TAMSA SEAMLESS CASING, TSH 513 THREAD           SA‐12‐0003‐DH        OCSG 32263         EA      NEW                        6         281.85                    0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612047‐01                  Rack No. EP25.    9 7/8" 62.80# P‐110 TAMSA SEAMLESS CASING, HYD 513 THREAD              SA‐12‐0003‐DH        OCSG 32263         EA      NEW                        1          46.45                    0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612039‐01                  Rack No. EP17.    9 7/8" 62.80# Q‐125 TAMSA SEAMLESS CASING, HYD 523 THREAD              SA‐12‐0003‐DH        OCSG 32263         EA      NEW                        1         45.3333                   0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612039‐01                  Rack No. EP18.    9 7/8" 62.80# Q‐125 TAMSA SEAMLESS CASING, HYD 523 THREAD              SA‐12‐0003‐DH        OCSG 32263         EA      NEW                        2          90.67                    0
                                                                                                                                                                      VERMILLION 262 A‐6
NOV ‐ Amelia       NOV          3610913‐01                  Rack No. EP16.    13 3/8" 70.67# P‐110 U S STEEL SEAMLESS CASING, SLX THREAD               PENDING          ST1 OCSG 34257       EA      NEW                        2           83                      0
                                                                                                                                                                      VERMILLION 262 A‐6
NOV ‐ Amelia       NOV          3610913‐01                  Rack No. EP16.    13 3/8" 70.67# P‐110 U S STEEL SEAMLESS CASING, SLX THREAD               PENDING          ST1 OCSG 34257       EA      NEW                        3         119.75                    0
                                                                                                                                                                      VERMILLION 262 A6
NOV ‐ Amelia       NOV          3610856‐02                  Rack No. EP16.    13 3/8" 72.00# HCP‐110 TAMSA SEAMLESS CASING, BUTTRESS THREAD            PENDING          ST1 OCSG 34257       EA      NEW                        1          45.9                     0
                                                                                                                                                                      VERMILLION 262 A6
NOV ‐ Amelia       NOV          3610856‐01                  Rack No. EP16.    13 3/8" 72.00# HCP‐110 V&M SEAMLESS CASING, HYD 513 THREAD               PENDING          ST1 OCSG 34257       EA      NEW                        3          125.3                    0
                                                                                                                                                                      VERMILLION 262 A6
NOV ‐ Amelia       NOV          3610856‐01                  Rack No. EP16.    13 3/8" 72.00# HCP‐110 V&M SEAMLESS CASING, HYD 513 THREAD               PENDING          ST1 OCSG 34257       EA      NEW                        1          44.5                     0
                                                                                                                                                                       MP 295 #1 OCSG:
NOV ‐ Amelia       NOV          3610188‐01                  Rack No. EP22.    7" 42.70# Q‐125‐1 V&M SEAMLESS CASING, SLIJII THREAD                   SA‐12‐0003‐DC             32263         EA      NEW                        1          38.9                     0

NOV ‐ Amelia       NOV          3603237‐01                 Rack No. H053.     7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD            SA‐13‐0043‐DC    EI 125 #R‐1 OCSG: 51   EA      NEW                        2          90.2                     0
                                                                                                                                                                       GIBBSTOWN SWD
NOV ‐ Amelia       NOV          3601342‐01                  Rack No. C159.    4 1/2" 15.50# L‐80 JFE SEAMLESS TUBING, BTS‐6PR THREAD                  SA‐13‐4203               #1            EA      NEW                       12          379.4                    0
NOV ‐ Amelia       NOV          3594307‐01                  Rack No. EP22.    7" 32.00# HCP‐110 VOEST ALP SEAMLESS CASING, API 8RD LONG THREAD       SA‐13‐0002‐CC      HI A596 D‐2 ST‐1     EA      NEW                        9          362.1                    0




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  Facility     Facility Owner   Item Number   Serial No.       Location        Item Description                                                         Project Number        Project Name         UOM   Condition   Wt. (lbs)   On Hand Qty    Length     Average Cost       Total Value   WI% Net Value
NOV ‐ Amelia         NOV         3594287‐01                 Rack No. EP18.     9 5/8" 53.50# P‐110 EC V&M SEAMLESS CASING, SLX THREAD                    SA‐13‐0002‐CC       HI A596 D‐2 ST‐1       EA     NEW                        1          44.7                     0
NOV ‐ Amelia         NOV         3594279‐02                 Rack No. 2‐442.    13 3/8" 68.00# J‐55 TENARIS ERW PUP JOINTS, BUTTRESS THREAD              SA‐13‐3477‐DH          EI 330 D‐8 ST        EA     NEW                        2          41.85                    0
NOV ‐ Amelia         NOV         3594279‐01                 Rack No. B061.     13 3/8" 68.00# J‐55 NEXTEEL ERW CASING, BUTTRESS THREAD                  SA‐13‐3477‐DH          EI 330 D‐8 ST        EA     NEW                        6         271.95                    0
NOV ‐ Amelia         NOV         3580472‐03                 Rack No. I3‐303.   10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                  SA‐13‐0026‐DH            SS 91 #H2          EA     NEW                        1          45.5                     0
NOV ‐ Amelia         NOV         3580472‐02                 Rack No. I3‐303.   10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                  SA‐13‐0026‐DH            SS 91 #H2          EA     NEW                        1           45                      0
                                                                                                                                                                              EI 330 D‐1 ST1
NOV ‐ Amelia       NOV          3580447‐03                  Rack No. C002.     13 3/8" 68.00# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                  SA‐13‐0038‐DH           OCSG: 2115         EA      NEW                        1           43                      0
                                                                                                                                                                              EI 330 D‐1 ST1
NOV ‐ Amelia       NOV          3580447‐04                  Rack No. C002.     13 3/8" 68.00# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                  SA‐13‐0038‐DH           OCSG: 2115         EA      NEW                        1          42.12                    0
NOV ‐ Amelia       NOV          3580432‐02                  Rack No. B024.     13 3/8" 68.00# J‐55 HYUNDAI ERW CASING, BUTTRESS THREAD                                          INVENTORY          EA      NEW                        2          90.38                    0
NOV ‐ Amelia       NOV          3580082‐01                  Rack No. C242.     7" 41.00# V‐150 U S STEEL SEAMLESS CASING, STL THREAD                    SA‐13‐0024‐DH            EI 136 JA‐4       EA      NEW                        1          47.35                    0
NOV ‐ Amelia       NOV          3578347‐03                 Rack No. I2TP‐07.   13 3/8" 68.00# HCQ‐125 TENARIS SEAMLESS PUP JOINTS, BUTTRESS THREAD      SG‐13‐0011‐DH        GI 32 #U‐12 ST‐1      EA      NEW                        1          23.85                    0
NOV ‐ Amelia       NOV          3576854‐01                  Rack No. EM05.     9 5/8" 53.50# HCQ‐125 V&M SEAMLESS CASING, STL THREAD                    SA‐13‐0024‐DH          EI 136 #JA‐4        EA      NEW                       16         733.15                    0

                                                                                                                                                                            APACHE INVENTORY
NOV ‐ Amelia       NOV          3575043‐02                  Rack No. 2‐442.    7" 26.00# HCP‐110 TPCO SEAMLESS PUP JOINTS, API 8RD LONG THREAD                                    #35005           EA      NEW                        1           23                      0
NOV ‐ Amelia       NOV          3574231‐01                  Rack No. EM05.     9 5/8" 53.50# HCQ‐125 U S STEEL SEAMLESS CASING, STL THREAD              SA‐13‐0002‐DH        HI A 596 D‐2 ST1      EA      NEW                        6          272.4                    0
NOV ‐ Amelia       NOV          3574231‐01                  Rack No. EP18.     9 5/8" 53.50# HCQ‐125 U S STEEL SEAMLESS CASING, STL THREAD              SA‐13‐0002‐DH        HI A 596 D‐2 ST1      EA      NEW                        1          46.2                     0
NOV ‐ Amelia       NOV          3574231‐01                  Rack No. EP18.     9 5/8" 53.50# HCQ‐125 U S STEEL SEAMLESS CASING, STL THREAD              SA‐13‐0002‐DH        HI A 596 D‐2 ST1      EA      NEW                        1          45.4                     0
NOV ‐ Amelia       NOV          3574231‐02                  Rack No. EP18.     9 5/8" 53.50# HCQ‐125 VMS SEAMLESS CASING, STL THREAD                    SA‐13‐0002‐DH        HI A 596 D‐2 ST1      EA      NEW                        1          43.85                    0
NOV ‐ Amelia       NOV          3574231‐01                  Rack No. EP18.     9 5/8" 53.50# HCQ‐125 U S STEEL SEAMLESS CASING, STL THREAD              SA‐13‐0002‐DH        HI A 596 D‐2 ST1      EA      NEW                        1          38.8                     0
NOV ‐ Amelia       NOV          3570002‐01                  Rack No. EQ09.     11 7/8" 71.80# Q‐125 IC TENARIS SEAMLESS CASING, TSH 523 THREAD          SA‐12‐003‐DH             MP 295 #1         EA      NEW                        1          46.15                    0
NOV ‐ Amelia       NOV          3563792‐01                  Rack No. E045.     11 3/4" 69.48# HCQ‐125 U S STEEL SEAMLESS CASING, STL THREAD             SA‐13‐0002‐DH        HI A‐596 D‐2 ST1      EA      NEW                       13          549.5                    0
NOV ‐ Amelia       NOV          3560733‐01                  Rack No. B028.     7 5/8" 33.70# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD                                  INVENTORY          EA      NEW                       36        1574.4927                  0
NOV ‐ Amelia       NOV          3560733‐01                  Rack No. B028.     7 5/8" 33.70# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD                                  INVENTORY          EA      NEW                       19         832.63                    0
NOV ‐ Amelia       NOV          3554493‐01                  Rack No. EP17.     13 5/8" 88.20# HCQ‐125 V&M SEAMLESS CASING, SLX THREAD                   SA‐12‐0003‐DH            MP 295 #1         EA      NEW                        4         178.85                    0
NOV ‐ Amelia       NOV          3554493‐01                  Rack No. EP17.     13 5/8" 88.20# HCQ‐125 V&M SEAMLESS CASING, SLX THREAD                   SA‐12‐0003‐DH            MP 295 #1         EA      NEW                        1          45.3                     0
NOV ‐ Amelia       NOV          3554493‐01                  Rack No. EP17.     13 5/8" 88.20# HCQ‐125 V&M SEAMLESS CASING, SLX THREAD                   SA‐12‐0003‐DH            MP 295 #1         EA      NEW                        2          87.4                     0
NOV ‐ Amelia       NOV          3552709‐01                  Rack No. BP‐15.    11 3/4" 69.48# HCQ‐125 U S STEEL SEAMLESS CASING, STL THREAD          ‐0002‐DH / PO# 45000                          EA      NEW                       12          505.9                    0
NOV ‐ Amelia       NOV          3549135‐01                  Rack No. B070.     7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD           SA‐13‐0028‐DC        SMI 48 E‐4 ST‐1      EA      NEW                       15          692.3                    0
                                                                                                                                                                            HIGH ISL. A‐596 D‐2
NOV ‐ Amelia       NOV          3548409‐01                  Rack No. E040.     9 5/8" 53.50# HCQ‐125 V&M STAR SEAMLESS CASING, STL THREAD               SA‐13‐0002‐DH                 S/T          EA      NEW                       21          902.2                    0
NOV ‐ Amelia       NOV          3546740‐01                  Rack No. EP25.     13 3/8" 68.00# NT‐80 SEAMLESS CASING, GB BUTTRESS THREAD                   SA‐12‐3357             HI 596 D‐2        EA      NEW                        1          42.5                     0
NOV ‐ Amelia       NOV          3539819‐01                  Rack No. EP12.     13 3/8" 68.00# J‐55 HYUNDAI ERW CASING, BUTTRESS THREAD                  SA‐13‐0017‐DH         EI 330 D‐5 ST‐1      EA      NEW                        3         132.24                    0
NOV ‐ Amelia       NOV          3539819‐01                  Rack No. EP12.     13 3/8" 68.00# J‐55 HYUNDAI ERW CASING, BUTTRESS THREAD                  SA‐13‐0017‐DH         EI 330 D‐5 ST‐1      EA      NEW                        1           43                      0
NOV ‐ Amelia       NOV          3536855‐03                  Rack No. B050.     5" 18.00# HCP‐110 TMK SEAMLESS CASING, STL THREAD                        SA‐13‐0033‐CC            EI 125 A‐3        EA      NEW                        1          41.45                    0
NOV ‐ Amelia       NOV          3536855‐01                  Rack No. B050.     5" 18.00# HCP‐110 BENTELER SEAMLESS CASING, STL THREAD                   SA‐13‐0033‐CC            EI 125 A‐3        EA      NEW                        4          167.4                    0
NOV ‐ Amelia       NOV          3532107‐01                  Rack No. EP16.     16" 94.81# Q‐125 IC TENARIS SEAMLESS CASING, TSH 513 THREAD              SA‐12‐0003‐DH           M.P. 295 #1        EA      NEW                        1          43.5                     0
NOV ‐ Amelia       NOV          3532107‐01                  Rack No. EP17.     16" 94.81# Q‐125 IC TENARIS SEAMLESS CASING, TSH 513 THREAD              SA‐12‐0003‐DH           M.P. 295 #1        EA      NEW                        1          43.32                    0
NOV ‐ Amelia       NOV          3532107‐01                  Rack No. EP16.     16" 94.81# Q‐125 IC TENARIS SEAMLESS CASING, TSH 513 THREAD              SA‐12‐0003‐DH           M.P. 295 #1        EA      NEW                        4         173.28                    0
NOV ‐ Amelia       NOV          3532107‐02                  Rack No. EP17.     16" 94.81# HCQ‐125 U S STEEL SEAMLESS CASING, TSH 513 THREAD             SA‐12‐0003‐DH           M.P. 295 #1        EA      NEW                        3          123.6                    0
                                                                                                                                                                            EUGENE ISL. 136 JA‐
NOV ‐ Amelia       NOV          3524708‐01                  Rack No. EM05.     9 5/8" 52.90# HCQ‐125 U S STEEL SEAMLESS CASING, STL THREAD              SA‐13‐0024‐DH                  4           EA      NEW                       20        881.9565                   0
NOV ‐ Amelia       NOV          3523871‐08                  Rack No. D012.                  OTHER, THREAD                                                   5959                 WC 130 #2         EA    UNKNOWN                      1                                   0
NOV ‐ Amelia       NOV          3523871‐09                  Rack No. D012.                  OTHER, THREAD                                                   5959                 WC 130 #2         EA    UNKNOWN                      1                                   0
NOV ‐ Amelia       NOV          3522528‐03                  Rack No. 2‐442.    7 5/8" 29.70# HCP‐110 TPCO SEAMLESS PUP JOINTS, API 8RD LONG THREAD      SA‐13‐0008‐DC            WD 90 #F‐8        EA      NEW                        1          22.36                    0
                                                                                                                                                                            EUGENE ISL. 125 #A‐
NOV ‐ Amelia       NOV          3522355‐03                  Rack No. EN08.     5" 18.00# HCP‐110 TMK SEAMLESS PUP JOINTS, STL THREAD                    SA‐13‐0033‐DC                2 S/T         EA      NEW                        1           21                      0
                                                                                                                                                                            EUGENE ISL. 125 #A‐
NOV ‐ Amelia       NOV          3522335‐02                  Rack No. B050.     5" 18.00# P‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD                SA‐13‐0033‐DC                3 S/T         EA      NEW                        3          141.3                    0
                                                                                                                                                                            EUGENE ISL. 125 #A‐
NOV ‐ Amelia       NOV          3522335‐01                  Rack No. B050.     5" 18.00# P‐110 ALGOMA SEAMLESS CASING, HYD 513 THREAD                   SA‐13‐0033‐DC                3 S/T         EA      NEW                        3          130.5                    0
                                                                                                                                                                            EUGENE ISL. 125 #A‐
NOV ‐ Amelia       NOV          3522335‐01                  Rack No. B063.     5" 18.00# P‐110 ALGOMA SEAMLESS CASING, HYD 513 THREAD                   SA‐13‐0033‐DC                3 S/T         EA      NEW                       12          522                      0
                                                                                                                                                                            EUGENE ISL. 125 #A‐
NOV ‐ Amelia       NOV          3522335‐03                  Rack No. B050.     5" 18.00# P‐110 TENARIS SEAMLESS CASING, HYD 513 THREAD                  SA‐13‐0033‐DC                3 S/T         EA      NEW                        1          45.5                     0
NOV ‐ Amelia       NOV          3521926‐01                 Rack No. I3‐WK01.   9 5/8" 53.50# HCQ‐125 V&M SEAMLESS CASING, STL THREAD                    SA‐13‐0024‐DH           EI 136 #JA‐4       EA      NEW                        1          48.34                    0
NOV ‐ Amelia       NOV          3520312‐02                  Rack No. I3‐303.   10 3/4" 45.50# J‐55 CORINTH ERW CASING, BUTTRESS THREAD                  SA‐13‐0006‐DH           E.I. 126 #A‐6      EA      NEW                        1          42.1                     0
                                                                                                                                                                            HIGH ISL. A‐596 D‐6
NOV ‐ Amelia       NOV          3519531‐02                  Rack No. EP22.     11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD         SA‐13‐0031‐DH                 S/T          EA      NEW                        1           43                      0
                                                                                                                                                                            HIGH ISL. A‐596 D‐6
NOV ‐ Amelia       NOV          3519531‐03                  Rack No. EP22.     11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD         SA‐13‐0031‐DH                 S/T          EA      NEW                        1          42.5                     0
                                                                                                                                                                            HIGH ISL. A‐596 D‐6
NOV ‐ Amelia       NOV          3519531‐05                  Rack No. EP22.     11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD         SA‐13‐0031‐DH                 S/T          EA      NEW                        3         122.85                    0
                                                                                                                                                                            HIGH ISLAND A‐596
NOV ‐ Amelia       NOV          3519428‐01                  Rack No. EQ10.     9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD          SA‐13‐0031‐DC             #D‐6 S/T         EA      NEW                        1          46.2                     0
                                                                                                                                                                            HIGH ISLAND A‐596
NOV ‐ Amelia       NOV          3519428‐01                  Rack No. EQ10.     9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD          SA‐13‐0031‐DC             #D‐6 S/T         EA      NEW                        1          45.65                    0
                                                                                                                                                                            HIGH ISLAND A‐596
NOV ‐ Amelia       NOV          3519428‐03                  Rack No. EQ10.     9 5/8" 53.50# HCP‐110 U S STEEL SEAMLESS CASING, HYD 523 THREAD          SA‐13‐0031‐DC             #D‐6 S/T         EA      NEW                        1          47.15                    0
                                                                                                                                                                            HIGH ISLAND A‐596
NOV ‐ Amelia       NOV          3519428‐03                  Rack No. EQ10.     9 5/8" 53.50# HCP‐110 U S STEEL SEAMLESS CASING, HYD 523 THREAD          SA‐13‐0031‐DC             #D‐6 S/T         EA      NEW                        2         91.7333                   0
                                                                                                                                                                            HIGH ISLAND A‐596
NOV ‐ Amelia       NOV          3519428‐04                  Rack No. EQ10.     9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD          SA‐13‐0031‐DC             #D‐6 S/T         EA      NEW                        4          179                      0
                                                                                                                                                                            HIGH ISLAND A‐596
NOV ‐ Amelia       NOV          3519428‐01                  Rack No. EQ10.     9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD          SA‐13‐0031‐DC             #D‐6 S/T         EA      NEW                        3          133.2                    0
                                                                                                                                                                            HIGH ISLAND A‐596
NOV ‐ Amelia       NOV          3519428‐01                  Rack No. EQ10.     9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD          SA‐13‐0031‐DC             #D‐6 S/T         EA      NEW                       35        1577.7083                  0
                                                                                                                                                                            HIGH ISLAND A‐596
NOV ‐ Amelia       NOV          3519428‐02                  Rack No. EQ10.     9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD            SA‐13‐0031‐DC             #D‐6 S/T         EA      NEW                        2          87.95                    0
NOV ‐ Amelia       NOV          3508865‐01                  Rack No. EP12.     20" 94.00# J‐55 NIPPON ERW CASING, BUTTRESS THREAD                       SA‐13‐0024‐DH             EI 136 J‐4       EA      NEW                        3         131.15                    0
                                                                                                                                                                              EI 330 D‐3 S/T 2
NOV ‐ Amelia       NOV          3506358‐03                  Rack No. 2‐442.    13 3/8" 68.00# J‐55 TENARIS ERW PUP JOINTS, BUTTRESS THREAD              SA‐13‐0020‐DH            OCSG: 2115        EA      NEW                        1         21.645                    0
                                                                                                                                                                             W. DELTA 90 #F‐8
NOV ‐ Amelia       NOV          3501929‐04                  Rack No. 2‐442.    7 5/8" 29.70# HCP‐110 SEAMLESS PUP JOINTS, API 8RD LONG THREAD           SA‐13‐0008‐DH            OCSG 1089         EA      NEW                        1          22.3                     0
NOV ‐ Amelia       NOV          3498770‐01                  Rack No. B063.     9 5/8" 53.50# HCQ‐125 V&M SEAMLESS CASING, SLIJII THREAD                 SA‐13‐0004‐DH          VR 78 A‐3 ST‐2      EA      NEW                        6          281.4                    0
NOV ‐ Amelia       NOV          3493053‐03                  Rack No. 2‐336.    13 3/8" 68.00# J‐55 NEXTEEL ERW PUP JOINTS, BUTTRESS THREAD              SG‐12‐0054‐DH         GI 32 GG #2 ST 1     EA      NEW                        1          21.7                     0
                                                                                                                                                                            EUGENE ISL. 136 JA‐
NOV ‐ Amelia       NOV          3464088‐01                  Rack No. EQ19.     20" 94.00# J‐55 NIPPON ERW CASING, BUTTRESS THREAD                         PENDING                      4           EA      NEW                        4         176.79                    0

NOV ‐ Amelia       NOV          3450383‐01                  Rack No. B021.     9 5/8" 53.50# HCQ‐125 V&M SEAMLESS CASING, API 8RD LONG THREAD           SA‐12‐0036‐DH       G.I. 54 #A‐1 ST1 BP1   EA      NEW                       16          726.9                    0
                                                                                                                                                                              E.I. 120 #19 ST 2
NOV ‐ Amelia       NOV          3442458‐01                  Rack No. H053.     7 5/8" 33.70# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD          SA‐12‐0029‐DC            OCSG:00050        EA      NEW                       18          797.6                    0




                                                                                                                                       98


                                                                                                        DEBTORS' EX. NO. 5
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      Facility             Facility Owner        Item Number   Serial No.          Location          Item Description                                                         Project Number       Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty    Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                                                 E.I. 120 #19 ST 2
   NOV ‐ Amelia                NOV               3442458‐01                     Rack No. H053.       7 5/8" 33.70# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD          SA‐12‐0029‐DC         OCSG:00050       EA      NEW                        2          83.5                     0
                                                                                                                                                                                               SHIP SHOAL 193 A7
   NOV ‐ Amelia                NOV               3426020‐01                     Rack No. E031.       7 5/8" 33.70# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD          SA‐12‐0046‐DC              ST2         EA      NEW                       26        1156.1333                  0
                                                                                                                                                                                               SHIP SHOAL 193 A7
   NOV ‐ Amelia                NOV               3426020‐01                     Rack No. E031.       7 5/8" 33.70# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD          SA‐12‐0046‐DC              ST2         EA      NEW                       56          2490                     0
                                                                                                                                                                                                 E.I. 118 B#1 ST1
   NOV ‐ Amelia                NOV               3384042‐01                     Rack No. EP17.       9 5/8" 52.85# HCQ‐125 TENARIS‐TAMSA SEAMLESS CASING, SLX THREAD          SA‐12‐0008‐DH         OCSG:15242       EA      NEW                        1          38.45                    0
                                                                                                                                                                                                 E.I. 118 B#1 ST1
   NOV ‐ Amelia                NOV               3384042‐01                     Rack No. EP17.       9 5/8" 52.85# HCQ‐125 TENARIS‐TAMSA SEAMLESS CASING, SLX THREAD          SA‐12‐0008‐DH         OCSG:15242       EA      NEW                        1          45.45                    0
   NOV ‐ Amelia                NOV               3368529‐01                     Rack No. EQ09.       10 3/4" 60.70# JFE‐110T JFE SEAMLESS CASING, HYD 513 THREAD              SA‐11‐0010‐DH    MOBILE BAY 830 #2     EA      NEW                        1          41.85                    0
   NOV ‐ Amelia                NOV               3368529‐01                     Rack No. EQ09.       10 3/4" 60.70# JFE‐110T JFE SEAMLESS CASING, HYD 513 THREAD              SA‐11‐0010‐DH    MOBILE BAY 830 #2     EA      NEW                        4          168.6                    0
                                                                                                                                                                                                   S.S. 189 A#10
   NOV ‐ Amelia                NOV               3364720‐02                     Rack No. B028.       4 1/2" 15.00# HCP‐110 VOEST ALP SEAMLESS TUBING, ULTRA SF THREAD         SA‐11‐0042‐DC         OCSG:04232       EA      NEW                       17          710                      0
                                                                                                                                                                                                   S.S. 189 A#10
   NOV ‐ Amelia                NOV               3364720‐08                     Rack No. C242.       7" 38.00# HCQ‐125 TCA SEAMLESS CASING, VAM TOP THREAD                    SA‐11‐0042‐DC         OCSG:04232       EA      NEW                        4         161.95                    0
                                                                                                                                                                                                   S.S. 189 A#10
   NOV ‐ Amelia                NOV               3364720‐01                     Rack No. C242.       7" 38.00# P‐110 TCA SEAMLESS CASING, VAM TOP THREAD                      SA‐11‐0042‐DC         OCSG:04232       EA      NEW                        8          360.9                    0
   NOV ‐ Amelia                NOV               3362473‐03                     Rack No. EQ09.       9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, HYD 513 THREAD            SA‐12‐0002‐DH    M.P. 8 #1 SL# 20549   EA      NEW                        1          46.65                    0
                                                                                                                                                                                                GI 116 #A‐7 OCSG:
   NOV ‐ Amelia                NOV               3346038‐01                     Rack No. B024.       5 1/2" 26.00# Q‐125 V&M STAR SEAMLESS CASING, SLIJII THREAD              SA‐11‐0001‐DC            13944         EA      NEW                       18          820.9                    0
   NOV ‐ Amelia                NOV               3345139‐01                     Rack No. BS01.       13 5/8" 88.20# JFE‐125T JFE SEAMLESS CASING, GB CDE BUTTRESS THREAD      SA‐11‐0010‐DH    MOBILE BAY 830 #2     EA      NEW                        1          42.5                     0
   NOV ‐ Amelia                NOV               3345139‐01                     Rack No. BS01.       13 5/8" 88.20# JFE‐125T JFE SEAMLESS CASING, GB CDE BUTTRESS THREAD      SA‐11‐0010‐DH    MOBILE BAY 830 #2     EA      NEW                        1          43.15                    0
   NOV ‐ Amelia                NOV               3338902‐01                     Rack No. B040.       7" 32.00# Q‐125 TCA SEAMLESS CASING, TC‐II THREAD                        SA‐11‐0067‐DC         M.P. 59 I‐2      EA      NEW                        6         259.25                    0
                                                                                                                                                                                               S.S. 189 A‐10 OCSG:
   NOV ‐ Amelia                NOV               3325749‐01                    Rack No. MOC1.        11 7/8" 71.80# HCQ‐125 U S STEEL ERW CASING, BUTTRESS THREAD             SA‐11‐0042‐DH            04232         EA      NEW                        1          42.95                    0
                                                                                                                                                                                               S.S. 189 A‐10 OCSG:
   NOV ‐ Amelia                NOV               3325749‐01                     Rack No. E060.       11 7/8" 71.80# HCQ‐125 U S STEEL ERW CASING, BUTTRESS THREAD             SA‐11‐0042‐DH            04232         EA      NEW                       20         853.305                   0
   NOV ‐ Amelia                NOV               3325081‐01                     Rack No. EQ09.       9 5/8" 52.85# HCQ‐125 TENARIS‐TAMSA SEAMLESS CASING, SLX THREAD          SA‐11‐0044‐DH      W.C. 110 #10 ST     EA      NEW                        2          92.45                    0
   NOV ‐ Amelia                NOV               3322300‐01                     Rack No. E060.       11 7/8" 71.80# HCQ‐125 TENARIS SEAMLESS CASING, SLX THREAD               SA‐11‐0067‐DH                          EA      NEW                       10         427.95                    0
                                                                                                                                                                                                W.C. 110 #10 ST1
   NOV ‐ Amelia                NOV               3316773‐01                     Rack No. EQ08.       11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD         SA‐11‐0044‐DH            106           EA      NEW                        1          40.45                    0
   NOV ‐ Amelia                NOV               3314254‐01                    Rack No. B061B.       20" 94.00# J‐55 NIPPON ERW CASING, BUTTRESS THREAD                       SA‐11‐0067‐DH         MP 59 I‐2        EA      NEW                        4          178.5                    0
   NOV ‐ Amelia                NOV               3258554‐01                     Rack No. EP12.       20" 94.00# J‐55 V&M ERW CASING, BUTTRESS THREAD                          SA‐11‐0043‐DH       OCSG:8467 #2       EA      NEW                        8          379.1                    0
   NOV ‐ Amelia                NOV               3258554‐02                    Rack No. 2‐336.       20" 94.00# K‐55 U S STEEL SEAMLESS PUP JOINTS, BUTTRESS THREAD           SA‐11‐0043‐DH       OCSG:8467 #2       EA      NEW                        1          21.4                     0
   NOV ‐ Amelia                NOV               3258554‐02                    Rack No. 2‐336.       20" 94.00# K‐55 U S STEEL SEAMLESS PUP JOINTS, BUTTRESS THREAD           SA‐11‐0043‐DH       OCSG:8467 #2       EA      NEW                        1          20.85                    0
   NOV ‐ Amelia                NOV               3240441‐02                    Rack No. EQ08A.       20" 94.00# J‐55 TIPO ERW PUP JOINTS, BUTTRESS THREAD                     SA‐11‐0043‐DH     MAIN PASS 315 #1     EA      NEW                        2          39.85                    0
                                                                                                                                                                                                 W.D. 128 #D‐12
   NOV ‐ Amelia                NOV               3236135‐02                     Rack No. EQ19.       20" 133.00# X‐56 HUSTELL ERW CASING, GB BUTTRESS THREAD                  SA‐11‐0009‐DH       OCSG: 10893        EA      NEW                        2          87.5                     0
                                                                                                                                                                                                 W.D. 128 #D‐12
   NOV ‐ Amelia                NOV               3236135‐01                     Rack No. EQ19.       20" 133.00# X‐56 HUSTELL ERW CASING, BUTTRESS THREAD                     SA‐11‐0009‐DH       OCSG: 10893        EA      NEW                       11         478.85                    0
                                                                                                                                                                                                SP 88 D‐8 ST1 BP1
   NOV ‐ Amelia                NOV               3212533‐01                     Rack No. H053.       7" 29.00# P‐110 EC   SEAMLESS CASING, HYD 523 THREAD                     GO‐10‐0014‐DH        OCSG:10894        EA      NEW                       32         1379.95                   0
                                                                                                                                                                                                   MISSISSIPPI
NOV ‐ Sheldon North            NOV               7754361‐06                    Rack No. 20‐0508.     13 5/8" 88.20# VM‐125‐HC VMB SEAMLESS CASING, SLIJ11 THREAD                FW191019         CANYON 519 #3       EA      NEW                        7         280.92                    0
                                                                                                                                                                                                   MISSISSIPPI
NOV ‐ Sheldon North            NOV               7754361‐03                    Rack No. 20‐0627.     13 5/8" 88.20# Q‐125 HC U S STEEL SEAMLESS CASING, SLIJ11 THREAD           FW191019         CANYON 519 #3       EA      NEW                       23         960.21                    0
                                                                                                                                                                                                   MISSISSIPPI
NOV ‐ Sheldon North            NOV               7754361‐04                    Rack No. 02‐0511.     13 5/8" 88.20# Q‐125 HC V&M TCA SEAMLESS CASING, SLIJ11 THREAD             FW191019         CANYON 519 #3       EA      NEW                       18         743.48                    0
                                                                                                                                                                                                   MISSISSIPPI
NOV ‐ Sheldon North            NOV               7754361‐05                    Rack No. 20‐0530.     13 5/8" 88.20# SM‐125TT SUMITOMO SEAMLESS CASING, SLIJ11 THREAD            FW191019         CANYON 519 #3       EA      NEW                       21         819.19                    0
                                                                                                                                                                                                   MISSISSIPPI
NOV ‐ Sheldon North            NOV               7754361‐02                    Rack No. 20‐0508.     13 5/8" 88.20# Q‐125‐HP U S STEEL SEAMLESS CASING, SLIJ11 THREAD           FW191019         CANYON 519 #3       EA      NEW                        7         306.76                    0
                                                                                                                                                                                                   MISSISSIPPI
NOV ‐ Sheldon North            NOV               7754361‐01                    Rack No. 20‐0414.     13 5/8" 88.20# Q‐125 VMG SEAMLESS CASING, SLIJ11 THREAD                    FW191019         CANYON 519 #3       EA      NEW                       48         2085.33                   0
                                                                                                                                                                                               GREEN CANYON 40
NOV ‐ Sheldon North            NOV               7722987‐01                    Rack No. 06‐0704.     14" 116# Q‐125ICY TENARIS TM SEAMLESS CASING, TSH 523 THREAD              AFE 191001               #2           EA      NEW                       31        1277.4807                  0
                                                                                                                                                                                               GREEN CANYON 40
NOV ‐ Sheldon North            NOV               7722987‐01                    Rack No. 06‐0701.     14" 116# Q‐125ICY TENARIS TM SEAMLESS CASING, TSH 523 THREAD              AFE 191001               #2           EA      NEW                       117       4823.6721                  0
                                                                                                                                                                                               BILL KO SUPPLY PO
NOV ‐ Sheldon North            NOV               7708192‐06                    Rack No. 20‐0724.     13 5/8" 88.20# Q125 HP USS SEAMLESS CASING, SLIJII THREAD                                        10718          EA      NEW                       10          440                      0
                                                                                                                                                                                               BILL KO SUPPLY PO
NOV ‐ Sheldon North            NOV               7708192‐07                    Rack No. 20‐0726.     13 5/8" 88.20# Q‐125 HC USS SEAMLESS CASING, SLIJII THREAD                                       10718          EA      NEW                        9          396                      0
                                                                                                                                                                                               BILL KO SUPPLY PO
NOV ‐ Sheldon North            NOV               7708192‐05                    Rack No. 20‐0726.     13 5/8" 88.20# VM‐125‐HC VMB SEAMLESS CASING, SLIJII THREAD                                      10718          EA      NEW                        3          132                      0
                                                                                                     13 5/8" 88.20# Q‐125 HC VALLOUREC & MANNESMANN SEAMLESS CASING, SLIJII                    BILL KO SUPPLY PO
NOV ‐ Sheldon North            NOV               7708192‐04                    Rack No. 20‐0723.     THREAD                                                                                           10718          EA      NEW                        2           88                      0
                                                                                                                                                                                               BILL KO SUPPLY PO
NOV ‐ Sheldon North            NOV               7708192‐03                    Rack No. 20‐0719.     13 5/8" 88.20# Q‐125 HC TCA SEAMLESS CASING, SLIJII THREAD                                       10718          EA      NEW                       33          1452                     0
                                                                                                                                                                                               BILL KO SUPPLY PO
NOV ‐ Sheldon North            NOV               7708192‐02                    Rack No. 20‐0730.     13 5/8" 88.20# SM‐125S NSSMC SEAMLESS CASING, SLIJII THREAD                                      10718          EA      NEW                       37        1467.1474                  0
                                                                                                                                                                                                14" Green Canyon
NOV ‐ Sheldon North            NOV               7686925‐01                    Rack No. 20‐0346.     14" 116# Q‐125ICY TENARIS TM SEAMLESS CASING, TSH 523 THREAD                 34536              40 #2 ST        EA      NEW                        5        206.4833                   0
                                                                                                                                                                                               GREEN CANYON 200
NOV ‐ Sheldon North             NOV              7678145‐01                    Rack No. 20‐0553.     18" 117.00# Q125 HP USS SEAMLESS CASING, HDL THREAD                        FW181011              #TA‐9          EA      NEW                       27        1071.4384                  0
   OES ‐ Houma        Offshore Energy Services     FE145‐1                  Rack No. HW‐R10‐L2‐A09   BLAST JOINT (3.5" 10.30# 13CR110 HYPER 2 BTS‐8 BOX/PIN 4FT)                                 KATMAI # 1 & 2      EA      NEW                        1            4                      0
   OES ‐ Houma        Offshore Energy Services     FE145‐2                  Rack No. HW‐R10‐L2‐A09   BLAST JOINT (3.5" 10.30# 13CR110 HYPER 2 BTS‐8 BOX/PIN 4FT)                                 KATMAI # 1 & 2      EA      NEW                        1            4                      0
   OES ‐ Houma        Offshore Energy Services     FE146‐1                  Rack No. HW‐R10‐L2‐A09   BLAST JOINT (3.5" 10.30# 13CR110 HYPER 2 BTS‐8 BOX/PIN 2FT)                                 KATMAI # 1 & 2      EA      NEW                        1            2                      0
   OES ‐ Houma        Offshore Energy Services     FE146‐2                  Rack No. HW‐R10‐L2‐A09   BLAST JOINT (3.5" 10.30# 13CR110 HYPER 2 BTS‐8 BOX/PIN 2FT)                                 KATMAI # 1 & 2      EA      NEW                        1            2                      0
   OES ‐ Houma        Offshore Energy Services     FE144‐1                  Rack No. HW‐R10‐L2‐A09   BLAST JOINT (3.5" 9.30# 13CR110 HYPER 2 BTS‐8 BOX/PIN 4FT)                                  KATMAI # 1 & 2      EA      NEW                        1            4                      0
   OES ‐ Houma        Offshore Energy Services     FE144‐2                  Rack No. HW‐R10‐L2‐A09   BLAST JOINT (3.5" 9.30# 13CR110 HYPER 2 BTS‐8 BOX/PIN 4FT)                                  KATMAI # 1 & 2      EA      NEW                        1            4                      0
   OES ‐ Houma        Offshore Energy Services     FE147‐1                  Rack No. HW‐R10‐L2‐A09   BLAST JOINT (3.5" 9.30# 13CR110 HYPER 2 BTS‐8 BOX/PIN 2FT)                                  KATMAI # 1 & 2      EA      NEW                        1            2                      0
   OES ‐ Houma        Offshore Energy Services     FE147‐2                  Rack No. HW‐R10‐L2‐A09   BLAST JOINT (3.5" 9.30# 13CR110 HYPER 2 BTS‐8 BOX/PIN 2FT)                                  KATMAI # 1 & 2      EA      NEW                        1            2                      0
   OES ‐ Houma        Offshore Energy Services     FE123‐1                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                KATMAI #1 & 2       EA      NEW                        1           20                      0
   OES ‐ Houma        Offshore Energy Services     FE123‐2                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                KATMAI #1 & 2       EA      NEW                        1           20                      0
   OES ‐ Houma        Offshore Energy Services     FE123‐3                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                KATMAI #1 & 2       EA      NEW                        1           20                      0
   OES ‐ Houma        Offshore Energy Services     FE123‐4                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                KATMAI #1 & 2       EA      NEW                        1           20                      0
   OES ‐ Houma        Offshore Energy Services     FE123‐5                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                KATMAI #1 & 2       EA      NEW                        1           20                      0
   OES ‐ Houma        Offshore Energy Services     FE123‐6                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                KATMAI #1 & 2       EA      NEW                        1           20                      0
   OES ‐ Houma        Offshore Energy Services     FE125‐1                  Rack No. HW‐R10‐L6‐A01   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 10FT)                                KATMAI #1 & 2       EA      NEW                        1           10                      0
   OES ‐ Houma        Offshore Energy Services     FE125‐2                  Rack No. HW‐R10‐L6‐A01   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 10FT)                                KATMAI #1 & 2       EA      NEW                        1           10                      0
   OES ‐ Houma        Offshore Energy Services     FE126‐1                  Rack No. HW‐R10‐L6‐A01   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 8FT)                                 KATMAI #1 & 2       EA      NEW                        1            8                      0
   OES ‐ Houma        Offshore Energy Services     FE126‐2                  Rack No. HW‐R10‐L6‐A01   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 8FT)                                 KATMAI #1 & 2       EA      NEW                        1            8                      0
   OES ‐ Houma        Offshore Energy Services     FE127‐1                  Rack No. HW‐R10‐L6‐A01   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 6FT)                                 KATMAI #1 & 2       EA      NEW                        1            6                      0




                                                                                                                                                            99


                                                                                                                               DEBTORS' EX. NO. 5
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                                                     Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 456 of 995               Exhibit D-1 (continued)




  Facility         Facility Owner        Item Number     Serial No.          Location          Item Description                                                              Project Number    Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
OES ‐ Houma   Offshore Energy Services       FE127‐2                  Rack No. HW‐R10‐L6‐A01   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 6FT)                                    KATMAI #1 & 2     EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE122‐1                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE122‐2                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE122‐3                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE122‐4                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE122‐5                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE122‐6                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE122‐7                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE122‐8                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE122‐9                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services      FE122‐10                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services      FE122‐11                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services      FE122‐12                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services      FE122‐13                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services      FE122‐14                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE128‐1                  Rack No. HW‐R10‐L6‐A01   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 6FT)                                     KATMAI # 1 & 2    EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE128‐2                  Rack No. HW‐R10‐L6‐A01   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 6FT)                                     KATMAI # 1 & 2    EA     NEW                        1           6                    0
                                                                                               3‐WAY SHOOT AROUND(3.5" 9.20# AF913‐110Y VARST‐1 B0X / 5.5" 16.87# STL
OES ‐ Houma   Offshore Energy Services    FE5241‐1                    Rack No. HW‐R10‐L2‐A07   PIN / 3.5" 9.20# VARST‐1 BOX 2FT)                                                               TROKIA TA‐3     EA      NEW                        1          2                     0
                                                                                               3‐WAY SHOOT AROUND(3.5" 9.20# AF913‐110Y VARST‐1 B0X / 5.5" 16.87# STL
OES ‐ Houma   Offshore Energy Services    FE5241‐2                    Rack No. HW‐R10‐L2‐A07   PIN / 3.5" 9.20# VARST‐1 BOX 2FT)                                                               TROKIA TA‐3     EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services     FE170‐1                       Rack No. RACK #4      RANGE 3 JOINT (4.5" 17# 13CRS110 VAM TOP CPLG/PIN)                                             KATMAI # 1 & 2   EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE170‐2                       Rack No. RACK #4      RANGE 3 JOINT (4.5" 17# 13CRS110 VAM TOP CPLG/PIN)                                             KATMAI # 1 & 2   EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE170‐3                       Rack No. RACK #4      RANGE 3 JOINT (4.5" 17# 13CRS110 VAM TOP CPLG/PIN)                                             KATMAI # 1 & 2   EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE170‐4                       Rack No. RACK #4      RANGE 3 JOINT (4.5" 17# 13CRS110 VAM TOP CPLG/PIN)                                             KATMAI # 1 & 2   EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE170‐5                       Rack No. RACK #4      RANGE 3 JOINT (4.5" 17# 13CRS110 VAM TOP CPLG/PIN)                                             KATMAI # 1 & 2   EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE170‐6                       Rack No. RACK #4      RANGE 3 JOINT (4.5" 17# 13CRS110 VAM TOP CPLG/PIN)                                             KATMAI # 1 & 2   EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE170‐7                       Rack No. RACK #4      RANGE 3 JOINT (4.5" 17# 13CRS110 VAM TOP CPLG/PIN)                                             KATMAI # 1 & 2   EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE171‐1                       Rack No. RACK #4      RANGE 3 JOINT (4.5" 17# 13CRS110 VAM TOP PIN/PIN)                                              KATMAI # 1 & 2   EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE142‐1                    Rack No. HW‐R10‐L6‐A07   PUP JOINT (5.5" 23# 13CR95Y JFE LION PIN/PIN 6FT)                                              KATMAI # 1 & 2   EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services     FE155‐1                    Rack No. HW‐R10‐L6‐A10   COUPLING (5.5" 23# 13CR95 JFE LION ) (3RD CRATE)                                               KATMAI # 1 & 2   EA      NEW                        1          1                     0
                                                                                               CROSSOVER PUP (5.5" 26# HYPER 2 13CR110 JFE LION SD49 BOX X 5.5" 26# VAM
OES ‐ Houma   Offshore Energy Services     FE148‐1                    Rack No. HW‐R10‐L2‐A10   TOP HC PIN 4FT)                                                                                KATMAI #1 & 2    EA      NEW                        1          4                     0
                                                                                               CROSSOVER PUP (5.5" 26# HYPER 2 13CR110 JFE LION SD49 BOX X 5.5" 26# VAM
OES ‐ Houma   Offshore Energy Services     FE148‐2                    Rack No. HW‐R10‐L2‐A10   TOP HC PIN 4FT)                                                                                KATMAI #1 & 2    EA      NEW                        0          0                     0
                                                                                               CROSSOVER PUP (5.5" 26# HYPER 2 13CR110 VAM TOP HC BOX X 5.5" 26# JFE
OES ‐ Houma   Offshore Energy Services     FE149‐1                    Rack No. HW‐R10‐L2‐A10   LION SD49 PIN 4FT)                                                                             KATMAI #1 & 2    EA      NEW                        1          4                     0

OES ‐ Houma   Offshore Energy Services     FE150‐1                    Rack No. HW‐R10‐L2‐A10   CROSSOVER (5.5" 26# 13‐5‐2‐110 JFE LION BOX X 5" 23.20# VAM TOP HC PIN 2FT)                    KATMAI #1 & 2    EA      NEW                        1          2                     0
                                                                                               CROSSOVER ASSY (5.5" 26# 13CRS110 VAM TOP HC BOX X 4.5" 18.90# JFE LION
                                                                                               SD35 PIN 2FT XO X 4.5" 18.90# 13CRS110 JFE LION CPLG X 4.5" 18.90# HYPER
OES ‐ Houma   Offshore Energy Services     FE151‐1                    Rack No. HW‐R10‐L2‐A10   13CR110 JFE LION SD35 PIN/PIN 4FT PUP)                                                         KATMAI #1 & 2    EA      NEW                        1          7                     0
OES ‐ Houma   Offshore Energy Services     FE158‐1                    Rack No. HW‐R10‐L6‐A10   COUPLING (5.5" 26# HP2 13CR110 JFE LION SD49)                                                  KATMAI # 1 & 2   EA      NEW                        1          1                     0
                                                                                               CROSSOVER ASSEMBLY (5.5" 29.70# HP2 13CR115 VAM TOP HC CPLG/PIN 8FT
                                                                                               PUP X 5.5" 29.70# 13‐5‐2 110 VAM TOP BOX X 5.5" 26# VAM TOP HC PIN 2FT
                                                                                               XOVER X 5.5" 26# 13CRS110 VAM TOP HC CPLG/PIN 6FT X 5.5" 26# 13CRS110
OES ‐ Houma   Offshore Energy Services     FE114‐1                    Rack No. HW‐R10‐L5‐A01   VAM TOP HC CPLG/PIN 4FT)                                                                         GUNFLINT       EA      NEW                        1         22                     0
                                                                                               DECOMPLETION CROSSOVER ASSY (5.5" 29.70# HYPER 2 13CR110 VAM TOP HC
                                                                                               BOX X 5.5" 26# JFE LION PIN 4FT X 5.5" 26# HP2 13CR110 JFE LION SD49 CPLG X
                                                                                               5.5" 26# 13CR110 JFE LION PIN/PIN 2FT X 5.5" 26# 13CR110 JFE LION CPLG/PIN
OES ‐ Houma   Offshore Energy Services     FE168‐1                    Rack No. HW‐R10‐L5‐A10   2FT)                                                                                           KATMAI # 1 & 2   EA      NEW                        1         10                     0
                                                                                               DECOMPLETION CROSSOVER ASSY (5.5" 29.70# HP2 13CR115 JFE LION CPLG/PIN
                                                                                               10FT PUP X 5.5" 29.70# HP2 13CR110 JFE LION BOX X 5.5" 29.70# VAM TOP HC
OES ‐ Houma   Offshore Energy Services     FE169‐1                    Rack No. HW‐R10‐L5‐A10   PIN 6FT)                                                                                       KATMAI # 1 & 2   EA      NEW                        1         16                     0
OES ‐ Houma   Offshore Energy Services     FE157‐1                    Rack No. HW‐R10‐L6‐A10   COUPLING (5.5" 29.70# HP2 13CR110 JFE LION)                                                    KATMAI # 1 & 2   EA      NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services     FE157‐2                    Rack No. HW‐R10‐L6‐A10   COUPLING (5.5" 29.70# HP2 13CR110 JFE LION)                                                    KATMAI # 1 & 2   EA      NEW                        0          0                     0
OES ‐ Houma   Offshore Energy Services     FE134‐1                    Rack No. HW‐R10‐L6‐A03   PUP JOINT (5.5" 26# 13CRS110 JFE LION CPLG/PIN 15FT)                                           KATMAI #1 & 2    EA      NEW                        1         15                     0
OES ‐ Houma   Offshore Energy Services     FE135‐1                    Rack No. HW‐R10‐L6‐A04   PUP JOINT (5.5" 26# 13CRS110 JFE LION PIN/PIN 8FT)                                             KATMAI #1 & 2    EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE135‐2                    Rack No. HW‐R10‐L6‐A04   PUP JOINT (5.5" 26# 13CRS110 JFE LION PIN/PIN 8FT)                                             KATMAI #1 & 2    EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE143‐1                    Rack No. HW‐R10‐L6‐A07   PUP JOINT (5.5" 26# 13CRS110 JFE LION CPLG/PIN 6FT)                                            KATMAI #1 & 2    EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services     FE181‐1                    Rack No. ASSEMBLY SHOP   PUP JOINT (5.5" 26# 13CRS110 JFE LION PIN/PIN 10FT)                                            KATMAI # 1 & 2   EA      NEW                        1         10                     0
OES ‐ Houma   Offshore Energy Services     FE136‐1                    Rack No. HW‐R10‐L6‐A04   PUP JOINT (5.5" 29.70# HYPER 2 13CR110 JFE LION CPLG/PIN 8FT)                                  KATMAI #1 & 2    EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE136‐2                    Rack No. HW‐R10‐L6‐A04   PUP JOINT (5.5" 29.70# HYPER 2 13CR110 JFE LION CPLG/PIN 8FT)                                  KATMAI #1 & 2    EA      NEW                        1          8                     0

OES ‐ Houma   Offshore Energy Services     FE179‐1                    Rack No. HW‐R10‐L1‐A01   SPECIAL OD PUP JOINT (5.5" 29.70# HP2 13CR110 VAM TOP HC CPLG/CPLG 7FT)                        KATMAI # 1 & 2   EA      NEW                        1          7                     0
                                                                                               TIMED PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC CPLG/PIN 4FT)
OES ‐ Houma   Offshore Energy Services     FE152‐1                    Rack No. HW‐R9‐L1‐A09    (TIMED 180)                                                                                    KATMAI #1 & 2    EA      NEW                        1          4                     0
                                                                                               TIMED PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC CPLG/PIN 4FT)
OES ‐ Houma   Offshore Energy Services     FE152‐2                    Rack No. HW‐R9‐L1‐A09    (TIMED 135)                                                                                    KATMAI #1 & 2    EA      NEW                        1          4                     0
                                                                                               TIMED PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC CPLG/PIN 4FT)
OES ‐ Houma   Offshore Energy Services     FE152‐3                    Rack No. HW‐R9‐L1‐A09    (TIMED 90)                                                                                     KATMAI #1 & 2    EA      NEW                        1          4                     0
                                                                                               TIMED PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC CPLG/PIN 4FT)
OES ‐ Houma   Offshore Energy Services     FE152‐4                    Rack No. HW‐R9‐L1‐A09    (TIMED 225)                                                                                    KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE153‐1                    Rack No. HW‐R9‐L1‐A09    PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC PIN/PIN 4FT)                                 KATMAI # 1 & 2   EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE153‐2                    Rack No. HW‐R9‐L1‐A09    PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC PIN/PIN 4FT)                                 KATMAI # 1 & 2   EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE153‐3                    Rack No. HW‐R9‐L1‐A09    PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC PIN/PIN 4FT)                                 KATMAI # 1 & 2   EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE153‐4                    Rack No. HW‐R9‐L1‐A09    PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC PIN/PIN 4FT)                                 KATMAI # 1 & 2   EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE153‐5                    Rack No. HW‐R9‐L1‐A09    PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC PIN/PIN 4FT)                                 KATMAI # 1 & 2   EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE153‐6                    Rack No. HW‐R9‐L1‐A09    PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC PIN/PIN 4FT)                                 KATMAI # 1 & 2   EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE160‐1                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# HP2 13CR115 VAM TOP HC PIN/PIN 4FT)                                     KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE160‐2                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# HP2 13CR115 VAM TOP HC PIN/PIN 4FT)                                     KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE160‐3                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# HP2 13CR115 VAM TOP HC PIN/PIN 4FT)                                     KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE160‐4                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# HP2 13CR115 VAM TOP HC PIN/PIN 4FT)                                     KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE161‐1                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# HP2 13CR115 VAM TOP HC CPLG/PIN 4FT)                                    KATMAI # 1 & 2   EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE161‐2                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# HP2 13CR115 VAM TOP HC CPLG/PIN 4FT)                                    KATMAI # 1 & 2   EA      NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services     FE162‐1                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# HP2 13CR115 VAM TOP HC CPLG/PIN 6FT)                                    KATMAI #1 &2     EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services     FE162‐2                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# HP2 13CR115 VAM TOP HC CPLG/PIN 6FT)                                    KATMAI #1 &2     EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services     FE163‐1                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# 13CR115 HP2 VAM TOP HC CPLG/PIN 8FT)                                    KATMAI # 1 & 2   EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE163‐2                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# 13CR115 HP2 VAM TOP HC CPLG/PIN 8FT)                                    KATMAI # 1 & 2   EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE164‐1                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# 13CR115 HP2 VAM TOP HC CPLG/PIN 10FT)                                   KATMAI #1 & 2    EA      NEW                        1         10                     0
OES ‐ Houma   Offshore Energy Services     FE164‐2                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# 13CR115 HP2 VAM TOP HC CPLG/PIN 10FT)                                   KATMAI #1 & 2    EA      NEW                        1         10                     0
OES ‐ Houma   Offshore Energy Services     FE165‐1                    Rack No. HW‐R10‐L2‐A13   PUP JOINT (5.5" 29.70# 13CR115 HP2 VAM TOP HC CPLG/PIN 2FT)                                    KATMAI # 1 & 2   EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services     FE165‐2                    Rack No. HW‐R10‐L2‐A13   PUP JOINT (5.5" 29.70# 13CR115 HP2 VAM TOP HC CPLG/PIN 2FT)                                    KATMAI # 1 & 2   EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services     FE180‐1                    Rack No. HW‐R10‐L1‐A01   PUP JOINT (5.5" 29.70# HP2 13CR115 JFE LION CPLG/PIN 4FT)                                      KATMAI # 1 & 2   EA      NEW                        1          4                     0




                                                                                                                                                      100


                                                                                                                         DEBTORS' EX. NO. 5
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                                                  Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 457 of 995              Exhibit D-1 (continued)




  Facility         Facility Owner        Item Number   Serial No.          Location          Item Description                                                      Project Number    Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
OES ‐ Houma   Offshore Energy Services       FE154‐1                Rack No. HW‐R10‐L6‐A10   REJECTED COUPLINGS (5.5" 29.70# 13CR115 HP2 VAM TOP HC) (3RD CRATE)                    KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services       FE154‐2                Rack No. HW‐R10‐L6‐A10   REJECTED COUPLINGS (5.5" 29.70# 13CR115 HP2 VAM TOP HC) (3RD CRATE)                    KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services       FE154‐3                Rack No. HW‐R10‐L6‐A10   REJECTED COUPLINGS (5.5" 29.70# 13CR115 HP2 VAM TOP HC) (3RD CRATE)                    KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services       FE154‐4                Rack No. HW‐R10‐L6‐A10   REJECTED COUPLINGS (5.5" 29.70# 13CR115 HP2 VAM TOP HC) (3RD CRATE)                    KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services       FE154‐5                Rack No. HW‐R10‐L6‐A10   REJECTED COUPLINGS (5.5" 29.70# 13CR115 HP2 VAM TOP HC) (3RD CRATE)                    KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services       FE156‐1                Rack No. HW‐R10‐L6‐A10   COUPLING (5.5" 29.70# 13CR115 HP2 VAM TOP HC) (3RD CRATE)                              KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services       FE156‐2                Rack No. HW‐R10‐L6‐A10   COUPLING (5.5" 29.70# 13CR115 HP2 VAM TOP HC) (3RD CRATE)                              KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services       FE140‐1                Rack No. HW‐R10‐L6‐A07   HALLIBURTON PUP JOINT (5" 23.20# 13CRS110 VAM TOP HC PIN/PIN 6FT)                      KATMAI #1 & 2     EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services     FE5031‐12                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services     FE5031‐14                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services     FE5031‐16                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services     FE5031‐23                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services     FE5031‐21                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE5031‐4                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE5031‐3                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services     FE5031‐25                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services     FE5031‐19                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services     FE5031‐15                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE5031‐2                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE5031‐9                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services     FE5031‐22                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE5031‐8                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services     FE5031‐17                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE5235‐1                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 VARST‐1) (LEVEL C)                                       TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE5235‐6                Rack No. HW‐R10‐L2‐A05   COUPLING (3.5" 9.20# 13CRM110 VARST‐1) (C‐LEVEL)                                        TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE5235‐5                Rack No. HW‐R10‐L2‐A05   COUPLING (3.5" 9.20# 13CRM110 VARST‐1) (C‐LEVEL)                                        TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE5235‐3                Rack No. HW‐R10‐L2‐A05   COUPLING (3.5" 9.20# 13CRM110 VARST‐1) (C‐LEVEL)                                        TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE5235‐4                Rack No. HW‐R10‐L2‐A05   COUPLING (3.5" 9.20# 13CRM110 VARST‐1) (C‐LEVEL)                                        TROKIA TA‐3      EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services       FE159‐1                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services       FE159‐2                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services       FE159‐3                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services       FE159‐4                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        0           0                    0
OES ‐ Houma   Offshore Energy Services       FE159‐5                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services       FE159‐6                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services       FE159‐7                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services       FE159‐8                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services       FE159‐9                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services      FE159‐10                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services      FE159‐11                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services      FE159‐12                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services      FE159‐13                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services      FE159‐14                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services      FE159‐15                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services      FE159‐16                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services      FE159‐17                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services      FE159‐18                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services      FE159‐19                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services      FE159‐20                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services      FE159‐21                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1           1                    0
OES ‐ Houma   Offshore Energy Services       FE112‐2                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services       FE112‐3                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services       FE112‐4                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services       FE112‐5                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services       FE112‐6                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services       FE112‐7                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services       FE112‐8                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services       FE112‐9                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐10                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐11                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐12                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐13                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐14                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐15                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐16                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐17                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐18                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐19                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐20                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐21                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐22                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐23                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐24                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐25                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐26                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐27                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐28                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐29                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐30                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐31                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐32                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐33                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐34                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐35                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐36                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐37                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐38                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐39                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE112‐40                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services       FE113‐1                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                   GUNFLINT        EA     NEW                        2           1                    0
OES ‐ Houma   Offshore Energy Services       FE113‐2                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                   GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services       FE113‐3                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                   GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services       FE113‐4                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                   GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services       FE113‐5                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                   GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services       FE113‐6                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                   GUNFLINT        EA     NEW                        1           0                    0




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  Facility         Facility Owner        Item Number     Serial No.          Location          Item Description                                                            Project Number    Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
OES ‐ Houma   Offshore Energy Services       FE113‐7                  Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                         GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services       FE113‐8                  Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                         GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services       FE113‐9                  Rack No. HW‐R10‐L2‐A13   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                         GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE113‐10                  Rack No. HW‐R10‐L2‐A13   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                         GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE113‐11                  Rack No. HW‐R10‐L2‐A13   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                         GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE113‐12                  Rack No. HW‐R10‐L2‐A13   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                         GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE113‐13                  Rack No. HW‐R10‐L2‐A13   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                         GUNFLINT        EA     NEW                        1           0                    0
OES ‐ Houma   Offshore Energy Services      FE113‐14                  Rack No. HW‐R10‐L2‐A13   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                         GUNFLINT        EA     NEW                        1           0                    0
                                                                                               CROSSOVER (3 1/2" 9.20# SUP13CR110KSI VARST‐1 BOX X 3 1/2" 9.20# TSH‐511
OES ‐ Houma   Offshore Energy Services    FE5036‐1                    Rack No. HW‐R10‐L2‐A01   PIN 2 FT) (C LEVEL)                                                                           TROKIA TA‐3     EA      NEW                        1          2                     0
                                                                                               CROSSOVER (3 1/2" 9.20# 13CRS110Y VARST‐1 BOX X 3 1/2" 9.20# TSH‐511 BOX
OES ‐ Houma   Offshore Energy Services    FE5036‐2                    Rack No. HW‐R10‐L2‐A01   2FT) (C LEVEL)                                                                                TROKIA TA‐3     EA      NEW                        1          2                     0

OES ‐ Houma   Offshore Energy Services    FE5233‐2                    Rack No. HW‐R10‐L2‐A01   CROSSOVER (5 1/2" 16.87# AF913‐110Y STL BOX X 3.5" 9.20# VARST‐1 PIN 2FT)                     TROKIA TA‐3     EA      NEW                        1          2                     0

OES ‐ Houma   Offshore Energy Services    FE5233‐1                    Rack No. HW‐R10‐L2‐A01   CROSSOVER (5 1/2" 16.87# AF913‐110Y STL BOX X 3.5" 9.20# VARST‐1 PIN 2FT)                     TROKIA TA‐3     EA      NEW                        1          2                     0
                                                                                               CROSSOVER (5" 14.87# STL PIN AF913‐110Y X 3.5" 9.20# VARST‐1 PIN 2FT) (C‐
OES ‐ Houma   Offshore Energy Services    FE5037‐1                    Rack No. HW‐R10‐L2‐A01   LEVEL)                                                                                        TROKIA TA‐3     EA      NEW                        1          2                     0
                                                                                               CROSSOVER (5" 14.87# STL PIN AF913‐110Y X 3.5" 9.20# VARST‐1 PIN 2FT) (C‐
OES ‐ Houma   Offshore Energy Services    FE5037‐2                    Rack No. HW‐R10‐L2‐A01   LEVEL)                                                                                        TROKIA TA‐3     EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services     FE110‐1                    Rack No. HW‐R9‐L6‐A14    FLOW COUPLING (4.5"17.00# VM13CRS110 VAM TOP BOX/PIN 8FT)                                      GUNFLINT       EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE110‐2                    Rack No. HW‐R9‐L6‐A14    FLOW COUPLING (4.5" 17.00# VM13CRS110 VAM TOP BOX/PIN 8FT)                                     GUNFLINT       EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE110‐3                    Rack No. HW‐R9‐L6‐A14    FLOW COUPLING (4.5" 17.00# VM13CRS110 VAM TOP BOX/PIN 8FT)                                     GUNFLINT       EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE110‐4                    Rack No. HW‐R9‐L6‐A14    FLOW COUPLING (4.5" 17.00# VM13CRS110 VAM TOP BOX/PIN 8FT)                                     GUNFLINT       EA      NEW                        1          8                     0

                                                                                               FLOW COUPLING ASSEMBLY (5 1/2" 26# VM13CRS110 VAM TOP HC BOX/PIN 8FT
                                                                                               FLOW CPLG X 5 1/2" 26# VM13CRS110 VAM TOP HC CPLG/CPLG 6FT PUP JT X 5
OES ‐ Houma   Offshore Energy Services     FE105‐1                    Rack No. HW‐R10‐L4‐A01   1/2" 26# VM13CRS110 VAM TOP PIN/PIN 4FT PUP JT)                                                GUNFLINT       EA      NEW                        1         18                     0
                                                                                                C.I.M ASSEMBLY (5 1/2" 26# VM13CRS110 VAM TOP HC CPLG/CPLG 14FT PUP JT
                                                                                               X BOT CHEMICAL INJECTION MANDREL 5 1/2" 26# 13CR110 VAM TOP PIN/PIN
                                                                                               (PN: H308250058RNBI) (S/N: 13743775) X 5 1/2" 26# VM13CRS110 VAM TOP HC
                                                                                               CPLG/CPLG 14FT PUP JT X 5 1/2" 26# VM13CRS110 VAM TOP HC PIN/PIN 6FT PUP
OES ‐ Houma   Offshore Energy Services     FE107‐1                    Rack No. HW‐R10‐L5‐A01   JT)                                                                                            GUNFLINT       EA      NEW                        1         40                     0
                                                                                               C.I.M ASSEMBLY (5 1/2" 26# 13‐5‐2‐110 VAM TOP HC BOX/PIN 8FT FLOW CPLG X
                                                                                               BOT CHEMICAL INJECTION MANDREL 5 1/2" 26# 13CR110 VAM TOP HC
                                                                                               CPLG/CPLG (SN: 13743776) H308250058RNBI) X 5 1/2" 26# VM13CRS110 VAM
OES ‐ Houma   Offshore Energy Services     FE103‐1                    Rack No. HW‐R10‐L4‐A01   TOP HC PIN/CPLG 10FT PUP JT)                                                                   GUNFLINT       EA      NEW                        1         24                     0

                                                                                               HALLIBURTON RPT LANDING NIPPLE 3.437 ASSEMBLY (4 1/2" 17# VM13CRS110
                                                                                               VAM TOP CPLG/PIN 8FT PUP JT X 4 1/2" 17# VM13CRS110 VAM TOP BOX/PIN
                                                                                               10FT FLOW CPLG X HES NIPPLE 4 1/2" 17# 13CRS110 VAM TOP BOX/PIN (SN:
OES ‐ Houma   Offshore Energy Services     FE102‐1                    Rack No. HW‐R10‐L4‐A01   408150‐1) X 4 1/2" 17# VM13CRS110 VAM TOP BOX/PIN 10FT FLOW CPLG)                              GUNFLINT       EA      NEW                        1         30                     0
                                                                                               BAKER PREMIER PACKER (4 1/2" 17.00# 13CRM110 CPLG/PIN VAM TOP 10FT)
OES ‐ Houma   Offshore Energy Services     FE115‐1                    Rack No. HW‐R10‐L1‐A14   (1084890‐02)                                                                                    STOCK         EA      NEW                        1         10                     0
OES ‐ Houma   Offshore Energy Services     FE173‐1                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 4FT)                                      KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE173‐2                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 4FT)                                      KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE173‐3                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 4FT)                                      KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE173‐4                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 4FT)                                      KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE173‐5                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 4FT)                                      KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE173‐6                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 4FT)                                      KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE174‐1                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 6FT)                                      KATMAI # 1 & 2   EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services     FE174‐2                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 6FT)                                      KATMAI # 1 & 2   EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services     FE175‐1                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 2FT)                                                       EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services     FE175‐2                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 2FT)                                                       EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services     FE176‐1                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH511 BOX/PIN 8FT)                                                        EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE176‐2                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH511 BOX/PIN 8FT)                                                        EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE177‐1                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 10FT)                                                      EA      NEW                        1         10                     0
OES ‐ Houma   Offshore Energy Services     FE177‐2                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 10FT)                                                      EA      NEW                        1         10                     0
OES ‐ Houma   Offshore Energy Services     FE178‐1                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 15FT)                                                      EA      NEW                        1         15                     0
OES ‐ Houma   Offshore Energy Services     FE178‐2                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 15FT)                                                      EA      NEW                        1         15                     0
OES ‐ Houma   Offshore Energy Services    FE5019‐1                    Rack No. HW‐R10‐L2‐A03   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 20FT PIN/PIN) (C‐LEVEL)                                               EA      NEW                        1         20                     0
OES ‐ Houma   Offshore Energy Services    FE5019‐2                    Rack No. HW‐R10‐L2‐A03   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 20FT PIN/PIN) (C‐LEVEL)                                               EA      NEW                        1         20                     0
OES ‐ Houma   Offshore Energy Services    FE5019‐3                    Rack No. HW‐R10‐L2‐A03   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 20FT PIN/PIN) (C‐LEVEL)                                               EA      NEW                        1         20                     0
OES ‐ Houma   Offshore Energy Services    FE5019‐4                    Rack No. HW‐R10‐L2‐A03   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 20FT PIN/PIN) (C‐LEVEL)                                               EA      NEW                        1         20                     0
OES ‐ Houma   Offshore Energy Services    FE5030‐1                     Rack No. HW‐FLOOR 2     PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                               EA      NEW                        1         12                     0
OES ‐ Houma   Offshore Energy Services    FE5030‐2                     Rack No. HW‐FLOOR 2     PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                               EA      NEW                        1         12                     0
OES ‐ Houma   Offshore Energy Services    FE5030‐3                    Rack No. HW‐R10‐L2‐A03   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                               EA      NEW                        1         12                     0
OES ‐ Houma   Offshore Energy Services    FE5030‐4                    Rack No. HW‐R10‐L2‐A03   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                               EA      NEW                        1         12                     0
OES ‐ Houma   Offshore Energy Services    FE5030‐5                    Rack No. HW‐R10‐L2‐A03   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 CPLG/PIN 12FT) (C‐LEVEL)                                              EA      NEW                        1         12                     0
OES ‐ Houma   Offshore Energy Services    FE5030‐6                    Rack No. HW‐R10‐L2‐A03   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 CPLG/PIN 12FT) (C‐LEVEL)                                              EA      NEW                        1         12                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐1                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐2                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐3                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐4                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐5                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐6                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐7                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐8                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐9                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5040‐1                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                                EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5040‐2                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                                EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5040‐3                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                                EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5040‐4                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                                EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5040‐5                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                                EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5040‐6                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                                EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5040‐7                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                                EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5238‐1                    Rack No. HW‐R10‐L3‐A04   PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 PIN/PIN 6FT)                                                           EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5238‐2                    Rack No. HW‐R10‐L2‐A04   PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 PIN/PIN 6FT)                                                           EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5239‐1                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 CPLG/PIN 4FT) (C‐LEVEL)                                                EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services    FE5239‐2                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                                 EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services    FE5239‐3                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                                 EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services    FE5239‐4                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                                 EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services    FE5266‐1                       Rack No. RACK #6      RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                                EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services    FE5266‐2                       Rack No. RACK #6      RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                                EA      NEW                        1         30                     0




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  Facility         Facility Owner        Item Number   Serial No.          Location          Item Description                                                            Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
OES ‐ Houma   Offshore Energy Services      FE5038‐1                Rack No. HW‐R10‐L2‐A07   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                              EA     NEW                        1           2                    0
OES ‐ Houma   Offshore Energy Services      FE5039‐1                Rack No. HW‐R10‐L2‐A07   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                              EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services      FE5039‐2                Rack No. HW‐R10‐L2‐A07   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                              EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services      FE5039‐3                Rack No. HW‐R10‐L2‐A07   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                              EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services      FE5042‐1                Rack No. HW‐R10‐L2‐A07   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 10FT) (C‐LEVEL)                                             EA     NEW                        1          10                    0
OES ‐ Houma   Offshore Energy Services      FE5043‐1                Rack No. HW‐R10‐L3‐A01   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 8FT) (C‐LEVEL)                                              EA     NEW                        1           8                    0
OES ‐ Houma   Offshore Energy Services      FE5045‐1                Rack No. HW‐R10‐L2‐A07   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                              EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services      FE5047‐1                Rack No. HW‐R10‐L5‐A07   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 14FT) (C‐LEVEL)                                             EA     NEW                        1          14                    0
OES ‐ Houma   Offshore Energy Services      FE5048‐1                Rack No. HW‐R10‐L3‐A01   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                             EA     NEW                        1          12                    0
OES ‐ Houma   Offshore Energy Services       FE109‐1                Rack No. HW‐R9‐L6‐A12    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 6FT)                                                    EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE109‐2                Rack No. HW‐R9‐L6‐A12    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 6FT)                                                    EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE109‐3                Rack No. HW‐R9‐L6‐A12    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 6FT)                                                    EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE109‐4                Rack No. HW‐R9‐L6‐A12    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 6FT)                                                    EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE109‐5                Rack No. HW‐R9‐L6‐A12    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 6FT)                                                    EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE109‐6                Rack No. HW‐R9‐L5‐A12    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 6FT)                                                    EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE109‐7                Rack No. HW‐R9‐L6‐A12    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 6FT)                                                    EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE108‐1                Rack No. HW‐R9‐L6‐A09    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 14FT)                                                   EA     NEW                        1          14                    0
OES ‐ Houma   Offshore Energy Services       FE108‐2                Rack No. HW‐R9‐L6‐A09    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 14FT)                                                   EA     NEW                        1          14                    0
OES ‐ Houma   Offshore Energy Services       FE108‐3                Rack No. HW‐R9‐L6‐A09    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 14FT)                                                   EA     NEW                        1          14                    0
OES ‐ Houma   Offshore Energy Services       FE108‐4                Rack No. HW‐R9‐L6‐A09    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 14FT)                                                   EA     NEW                        1          14                    0
OES ‐ Houma   Offshore Energy Services       FE108‐5                Rack No. HW‐R9‐L6‐A09    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 14FT)                                                   EA     NEW                        1          14                    0
OES ‐ Houma   Offshore Energy Services       FE117‐1                Rack No. HW‐R9‐L1‐A06    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 2FT)                                                             EA     NEW                        1           2                    0
OES ‐ Houma   Offshore Energy Services       FE118‐1                Rack No. HW‐R9‐L1‐A11    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐2                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐3                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐4                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐5                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐6                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐7                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐8                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐9                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services      FE118‐10                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐2                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE124‐1                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 15FT)                                               EA     NEW                        1          15                    0
OES ‐ Houma   Offshore Energy Services       FE129‐1                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 10FT)                                               EA     NEW                        1          10                    0
OES ‐ Houma   Offshore Energy Services       FE129‐2                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 10FT)                                               EA     NEW                        1          10                    0
OES ‐ Houma   Offshore Energy Services       FE130‐1                Rack No. HW‐R10‐L2‐A15   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 8FT)                                                EA     NEW                        1           8                    0
OES ‐ Houma   Offshore Energy Services       FE130‐2                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 8FT)                                                EA     NEW                        1           8                    0
OES ‐ Houma   Offshore Energy Services       FE131‐1                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 10FT)                                                EA     NEW                        1          10                    0
OES ‐ Houma   Offshore Energy Services       FE131‐2                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 10FT)                                                EA     NEW                        1          10                    0
OES ‐ Houma   Offshore Energy Services       FE132‐1                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 6FT)                                                 EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE132‐2                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 6FT)                                                 EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE133‐1                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 6FT)                                                EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE137‐1                Rack No. HW‐R10‐L2‐A08   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 2FT)                                                EA     NEW                        1           2                    0
OES ‐ Houma   Offshore Energy Services       FE137‐2                Rack No. HW‐R10‐L2‐A08   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 2FT)                                                EA     NEW                        1           2                    0
OES ‐ Houma   Offshore Energy Services       FE138‐1                Rack No. HW‐R10‐L2‐A08   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 4FT)                                                EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE138‐2                Rack No. HW‐R10‐L2‐A08   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 4FT)                                                EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE139‐1                Rack No. HW‐R10‐L2‐A08   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 4FT)                                                 EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE139‐2                Rack No. HW‐R10‐L2‐A08   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 4FT)                                                 EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE139‐3                Rack No. HW‐R10‐L2‐A08   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 4FT)                                                 EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE139‐4                Rack No. HW‐R10‐L2‐A08   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 4FT)                                                 EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE141‐1                Rack No. HW‐R10‐L6‐A07   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 6FT)                                                 EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE141‐2                Rack No. HW‐R10‐L6‐A07   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 6FT)                                                 EA     NEW                        1           6                    0

OES ‐ Houma   Offshore Energy Services      FE166‐1                 Rack No. HW‐R9‐L5‐A12    PUP JOINT (4.5" 18.90# 13CRS110 VAM TOP 9FT CPLG/PIN) (NOTE: CPLG IS 17#)                                   EA      NEW                        1          9                     0
OES ‐ Houma   Offshore Energy Services      FE167‐1                 Rack No. HW‐R10‐L4‐A04   PUP JOINT (4.5" 18.90# 13CRS110 JFE LION PIN/PIN 20FT)                                                      EA      NEW                        1         20                     0
OES ‐ Houma   Offshore Energy Services      FE119‐1                 Rack No. HW‐R9‐L1‐A06    PUP JOINT (5 1/2" 26# VM13CRS110 VAM TOP CPLG/PIN 4FT)                                                      EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services      FE111‐1                 Rack No. HW‐R9‐L6‐A14    PUP JOINT (5 1/2" 26# VM13CRS110 VAM TOP CPLG/PIN 6FT)                                                      EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services      FE120‐1                 Rack No. HW‐R9‐L1‐A11    PUP JOINT (5 1/2" 29.70# 13CR115 HYPTYP2 VAM TOP HC 4FT)                                                    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services      FE121‐1                  Rack No. HW‐FLOOR 2     PUP JOINT (5 1/2" 29.70# 13CR115 VAM TOP HC 4FT)                                                            EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE5240‐1                 Rack No. HW‐R10‐L2‐A07   PUP JOINT (5.5" 17# 13CR110Y HYPTP1 FOX K PIN/PIN 4FT) (C‐LEVEL)                                            EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE5240‐2                 Rack No. HW‐R10‐L2‐A07   PUP JOINT (5.5" 17# 13CR110Y HYPTP1 FOX K PIN/PIN 4FT) (C‐LEVEL)                                            EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services      FE172‐1                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services      FE172‐2                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services      FE172‐3                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services      FE172‐4                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services      FE172‐5                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services      FE172‐6                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services      FE172‐7                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services      FE172‐8                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services      FE172‐9                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐10                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐11                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐12                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐13                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐14                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐15                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐16                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐17                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐18                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐1                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐2                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐3                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐4                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐5                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐6                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐7                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐8                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐9                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services    FE5060‐10                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5063‐1                 Rack No. HW‐R10‐L2‐A06   RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                           EA      NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services     FE5063‐2                 Rack No. HW‐R10‐L2‐A06   RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                           EA      NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services     FE5063‐3                 Rack No. HW‐R10‐L2‐A06   RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                           EA      NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services     FE5063‐4                 Rack No. HW‐R10‐L2‐A06   RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                           EA      NEW                        1          0                     0




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      Facility               Facility Owner           Item Number            Serial No.               Location          Item Description                                                        Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
    OES ‐ Houma         Offshore Energy Services         FE5063‐5                              Rack No. HW‐R10‐L2‐A06   RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                        EA     NEW                        1           0                    0
    OES ‐ Houma         Offshore Energy Services         FE5063‐6                              Rack No. HW‐R10‐L2‐A06   RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                        EA     NEW                        1           0                    0
    OES ‐ Houma         Offshore Energy Services         FE5063‐7                              Rack No. HW‐R10‐L2‐A06   RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                        EA     NEW                        1           0                    0
    OES ‐ Houma         Offshore Energy Services         FE5063‐8                              Rack No. HW‐R10‐L2‐A06   RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                        EA     NEW                        1           0                    0

    OES ‐ Houma         Offshore Energy Services        FE106‐1                                Rack No. HW‐R10‐L3‐A01   RANGE JOINT (5 1/2" 29.70# 13CR115 HYPTYP2 VAM TOP HC CPLG/PIN 40FT)                                    EA      NEW                        1         40                     0

    OES ‐ Houma         Offshore Energy Services        FE106‐2                                Rack No. HW‐R10‐L3‐A01   RANGE JOINT (5 1/2" 29.70# 13CR115 HYPTYP2 VAM TOP HC CPLG/PIN 40FT)                                    EA      NEW                        1         40                     0
                                                                                                                        BAKER IWS ASSEMBLY (4.5" 17# 13CRS110 VAM TOP CPLG/CPLG BAKER GAUGE
                                                                                                                        MANDREL (13694265) X 4.5" 17# 13CRS110 VAM TOP PIN/PIN UPPER SLIDING
                                                                                                                        SLEEVE (1110285‐02) X 4.5" 17# 13CRS110 VAM TOP TIMED CPLG X 4.5" 17#
                                                                                                                        13CRS110 VAM TOP PINXPIN LOWER SLIDING SLEEVE (1110296‐02) X 4.5" 17#
     OES ‐ Houma        Offshore Energy Services          FE101‐1                              Rack No. HW‐R7‐L2‐A01    13CRS110 VAM TOP BOX BAKER QUICK CONNECT (1088638‐01)                                                   EA      NEW                        1          0                     0
     OES ‐ Houma        Offshore Energy Services          FE116‐1                               Rack No. HW‐FLOOR 2     SPLICE SUB (4 1/2" 17.00# VM13CRS110 VAM TOP)                                                           EA      NEW                        1          2                     0
     OES ‐ Houma        Offshore Energy Services          FE104‐1                              Rack No. HW‐R10‐L6‐A04   PUP JOINT (5 1/2" 26# VM13CRS110 VAM TOP HC CPLG/PIN 8FT)                                               EA      NEW                        1         24                     0
 Oil States ‐ Houston   Oil States Energy Services         12117        121824‐03, 121824‐01                            8IN 600 GLC S/N 121824‐03, 121824‐01                                                                    EA      NEW                        1                                0
 Oil States ‐ Houston   Oil States Energy Services         15170              170143‐01                                 2" 900 LRF, S/N 170143‐01                                                                               EA      NEW                        1                                0
 Oil States ‐ Houston   Oil States Energy Services         12117       121824‐03 & 121824‐01                            8IN 600 GLC S/N 121824‐03, 121824‐01                                                                    EA      NEW                        1                                0
 Oil States ‐ Houston   Oil States Energy Services        80025.01        80025.01‐0003‐01                              GA00001436 / 24"‐900 ANSI HYDROTAP ASSY W/VALVE                                                         EA      NEW                        1                                0
One Subsea ‐ Berwick            One Subsea              2035504‐02          961276650350                                ASSY, DEBRIS CAP, 18‐3/8" OD MCPAC                                                                      EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2035804‐07       4503046069‐04‐16                               ASSY, 6"‐10K S‐AX GASKET, W/ TWO DOVE                                                                   EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2124118‐01            11233630‐1                                ASSY, TREE CAP, BP TROIKA                                                                               EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2124123‐01           96101817050                                ASSY, TREE CAP SHIPPING SKID                                                                            EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2124620‐01           11186675‐01                                ASSY, TEST CAP, TREE RUNNING TOOL                                                                       EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2155653‐01      NS6200188076011000                              SHEAR PIN, G2 BORE PROTECTOR,TEFLON                                                                     EA      A‐NU                       6                                0
One Subsea ‐ Berwick            One Subsea              2156132‐01         9523237807220                                ASSY, COMBINATION (TREE/TREE CAP)                                                                       EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2166241‐03      NS6200210363019000                              MECHANICAL SPARES, 4.375 SSR PLUG                                                                       EA      A‐NU                       4                                0
One Subsea ‐ Berwick            One Subsea              2181629‐14          111147559‐01                                ASSEMBLY, PRESSURE CAP, 6"‐10K FLOWLINE                                                                 EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea            2185425‐14‐08           1023229‐39                                GENERIC EL ROV LOOP 7S                                                                                  EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2185425‐14‐08           1023229‐42                                GENERIC EL ROV LOOP 7S                                                                                  EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2197017‐01‐03              478                                    Surface Modem, +‐15V Version, PSK                                                                       EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2197017‐01‐03              503                                    Surface Modem, +‐15V Version, PSK                                                                       EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2197088‐13‐62          1054974‐629                                GENERIC EL ROV PARK 12S W/ INSERT                                                                       EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2197088‐17‐72           1047684‐50                                ROV Test Conn., El. male, fixed 7‐way                                                                   EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2197088‐17‐72           1047684‐51                                ROV Test Conn., El. male, fixed 7‐way                                                                   EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2197091‐47      NS6200213197002000                              TRANSFORMER, 120V IN, 690V OUT / 3000VA                                                                 EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2197091‐47      NS6200215155038000                              TRANSFORMER, 120V IN, 690V OUT / 3000VA                                                                 EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2197095‐47               740                                    PCB, SOP DIPLEXER, SURFACE                                                                              EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2197095‐47               775                                    PCB, SOP DIPLEXER, SURFACE                                                                              EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2216807‐12      NS6200217027001000                              SPLIT LOAD RING, FOR 4.883" NOM RLH‐2                                                                   EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2216807‐34      NS6200217027002000                              UPPER LOAD RING, 5.25 WIRELINE PLUG                                                                     EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea             222255‐01‐32      4511625379‐50‐19                               DUMMY WEIGHT (DIU REPLACEMENT)                                                                          EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea               223026‐73          121419730‐01                                FWEKAT ‐ SPCU 690VAC                                                                                    EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea           223026‐73‐00‐98        121418629‐01                                FWEKAT ‐ SPCU INST & COMM SPARES                                                                        EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea           223026‐73‐00‐98        121458904‐01                                FWEKAT ‐ SPCU INST & COMM SPARES                                                                        EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223055‐11          121384751‐01                                FWEKAT ‐ SCM MC ‐ XT W/ ACCU                                                                            EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223055‐21          121396625‐01                                FWEKAT ‐ DIU                                                                                            EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223055‐21          121458050‐01                                FWEKAT ‐ DIU                                                                                            EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223055‐21          121396627‐01                                FWEKAT ‐ DIU                                                                                            EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223135‐56          121404465‐01                                PETU‐AC‐SOP‐DSL‐ODI                                                                                     EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea             223208‐93‐01         121391157‐02                                IC. CABLE FOR POWER 1200V DC TYPE 2                                                                     EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea             223208‐93‐01         121391157‐01                                IC. CABLE FOR POWER 1200V DC TYPE 2                                                                     EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223210‐21          4502118130‐1                                SCM/ SAM TRANSPORT FRAME                                                                                EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea               223262‐46          112896839‐01                                DUMMY SCM (Noble STMC 15‐02‐C & 15‐03‐C)                                                                EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea               223303‐78                1                                     Ex J.‐Box 690VAC, NEC, 3 Quads, 35mm²                                                                   EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223383‐18          121366058‐01                                SOM ‐ (4HE) ‐ 3A ‐ 2x ETHERNET                                                                          EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223383‐18          121478192‐03                                SOM ‐ (4HE) ‐ 3A ‐ 2x ETHERNET                                                                          EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223388‐89          121366178‐01                                MCS SERVER PC 2U                                                                                        EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223388‐89          121485344‐01                                MCS SERVER PC 2U                                                                                        EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223388‐92          121414591‐01                                Microbox IPC 427D                                                                                       EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223388‐98           9AKCB21948                                 (LAPTOP CF‐31 / RUGGEDIZED)                                                                             EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea               223389‐12           9DTCC26341                                 LAPTOP PANASONIC TOUGHBOOK, CF‐54                                                                       EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea               223389‐12           9DTCC26304                                 LAPTOP PANASONIC TOUGHBOOK, CF‐54                                                                       EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea             223473‐17‐03         121391147‐01                                INTERCONNECTION CABLE ‐ PETU                                                                            EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea             223473‐17‐03         121391147‐02                                INTERCONNECTION CABLE ‐ PETU                                                                            EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea               223518‐69            158437‐001                                GENERIC: T&F PLATE FOR FREE PLATE, 11/3W                                                                EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea               223520‐62           0158389‐001                                GENERIC: T&F PLATE FOR FREE PLATE, 20/0‐                                                                EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223520‐68           0159618‐001                                FWEKAT ‐ LOGIC FREE STAB PLATE 20/0‐WAY                                                                 EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223997‐70          4502094761‐1                                INSPECTION FRAME ASSEMBLY FOR SCM                                                                       EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2244635‐11           121530442‐1                                ASSEMBLY FOR OFFSHORE, INTERNAL TREE CAP                                                                EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2248632‐02      NS6200217027003000                              CC‐SEAL, .888 OD X .640 ID X .124" C.S.                                                                 EA      A‐NU                      192                               0
One Subsea ‐ Berwick            One Subsea              2293251‐05          121370534‐01                                ASSY, INSERT, F/CC40SR SUBSEA CONTROL                                                                   EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2361282‐06      NS6200213197009000                              ANALOG INPUT, AI 8XU/I/RTD/TC ST, 16 BIT                                                                EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2361282‐06      NS6200215155022000                              ANALOG INPUT, AI 8XU/I/RTD/TC ST, 16 BIT                                                                EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2361282‐12      NS6200213197010000                              SIMATIC S7‐1500, DIGITAL INPUT MODULE,                                                                  EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2361282‐12      NS6200215155024000                              SIMATIC S7‐1500, DIGITAL INPUT MODULE,                                                                  EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2394980‐02        4511292813‐10‐2                               ASSY, WIRELINE PLUG, 15K WP,                                                                            EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2394980‐02       4511992677‐120‐1                               ASSY, WIRELINE PLUG, 15K WP,                                                                            EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2394980‐02       4511992677‐110‐1                               ASSY, WIRELINE PLUG, 15K WP,                                                                            EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2394981‐02        4511992677‐90‐1                               ASSY, WIRELINE PLUG, 5.75IN NOM, 15K WP,                                                                EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2394981‐02          120950817‐01                                ASSY, WIRELINE PLUG, 5.75IN NOM, 15K WP,                                                                EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2394981‐02       4512220618‐20‐01                               ASSY, WIRELINE PLUG, 5.75IN NOM, 15K WP,                                                                EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2396182‐02‐02     NS6200219039001000                              SPARES, PERIODIC 1,RECEIVED GOODS REPAIR                                                                EA      A‐NU                       3                                0
One Subsea ‐ Berwick            One Subsea            2400888‐02‐01     NS6200218966001000                              SPARES, ROUTINE, RECEIVED GOODS REPAIR                                                                  EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2400889‐02‐01     NS6200207280001000                              SPARES, ROUTINE, RECEIVED GOODS REPAIR                                                                  EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2604283‐01‐01          121509895‐1                                ASSY, PRODUCTION SPOOLTREE, EFAT, 5‐1/8                                                                 EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2605338‐01          121397669‐01                                CONVERSION ASSY, G3 SPOOLTREE, WITH EFAT                                                                EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               263093‐01       4504320796‐01‐01                               UPPER MANDREL, WEIGHT SET TEST TOOL                                                                     EA      B‐RP                       1                                0
One Subsea ‐ Berwick            One Subsea              2711520‐86      NS6200213197011000                              SIMATIC S7‐1500, CPU 1515‐2 PN                                                                          EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2711520‐86      NS6200215155042000                              SIMATIC S7‐1500, CPU 1515‐2 PN                                                                          EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2731061‐04        11511‐X15384‐06                               GASKET, RING, 18‐3/4 VETCO TYPE ' VX‐2'                                                                 EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2731384‐01         4501291492‐3‐1                               4.767" Tubing Hanger Upper Plug 'HH' tri                                                                EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea            2731384‐02‐01       4504261958‐01‐1                               ASSY, WIRELINE PLUG, UPPER, 4.767 IN                                                                    EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2731385‐01         4504093961‐2‐3                               OBSOLETED & SUPERSEDED BY 2731385‐01‐01                                                                 EA      C‐UR                       1                                0




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                                                     Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 461 of 995        Exhibit D-1 (continued)




      Facility         Facility Owner    Item Number           Serial No.      Location   Item Description                                                          Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
One Subsea ‐ Berwick    One Subsea        2748033‐01        45353783‐01‐01                WIRELINE PLUG, 5.25" DIA, METAL AND                                                                           EA     C‐UR                       1                                0
One Subsea ‐ Berwick    One Subsea        2748158‐01      NS6200210698001000              SPECIAL, BUTTON HD HEX SOC SCREW                                                                              EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea        2762726‐05      NS6200213197005000              DISCONT. (LIGHT, UNIVERSAL, 18 W, 230 V)                                                                      EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea        2762726‐05      NS6200215155032000              DISCONT. (LIGHT, UNIVERSAL, 18 W, 230 V)                                                                      EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea        2788005‐01      NS6200218894001000              MACHINED 'S' SEAL, 8.125" BORE, W/ GROOV                                                                      EA     A‐NU                      18                                0
One Subsea ‐ Berwick    One Subsea        2826264‐02      NS6200213197012000              DIGITAL OUTPUT, DQ 16x 230V AC/2A ST                                                                          EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea        2826264‐02      NS6200215155023000              DIGITAL OUTPUT, DQ 16x 230V AC/2A ST                                                                          EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619044‐01‐08‐09   NS6200202061002000              SPARE FILTER MAT, 289 x 289 x 17 mm                                                                           EA     A‐NU                       2                                0
One Subsea ‐ Berwick    One Subsea       619082‐01‐62     NS6200213197006000              AC CURRENT TRANSMITTER, CT500                                                                                 EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619082‐01‐62     NS6200215155031000              AC CURRENT TRANSMITTER, CT500                                                                                 EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619082‐01‐64     NS6200213197013000              AC VOLTAGE TRANSMITTER, VT500                                                                                 EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619082‐01‐64     NS6200215155030000              AC VOLTAGE TRANSMITTER, VT500                                                                                 EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619088‐10‐11‐03   NS6200213197014000              SOCKET, RAIL MOUNTABLE, 125 V AC, USA                                                                         EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619088‐10‐11‐03   NS6200215155034000              SOCKET, RAIL MOUNTABLE, 125 V AC, USA                                                                         EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619089‐12‐17     NS6200213197015000              SPEED CONTROL, +20°C / +55°C, 230 V                                                                           EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619089‐12‐17     NS6200215155033000              SPEED CONTROL, +20°C / +55°C, 230 V                                                                           EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619089‐28‐10     NS6200213197016000              SWITCH, FLUSH MOUNTING, 63 A, 37 KW                                                                           EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619089‐28‐10     NS6200215155041000              SWITCH, FLUSH MOUNTING, 63 A, 37 KW                                                                           EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619091‐01‐50‐10   NS6200213197017000              POWER SUPPLY UNIT, TRIO, 24 V DC, 10 A                                                                        EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619091‐01‐50‐10   NS6200215155035000              POWER SUPPLY UNIT, TRIO, 24 V DC, 10 A                                                                        EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619091‐02‐49     NS6200213197018000              COIL, INDUCTANCE, 30 MH; MAX 4A                                                                               EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619091‐02‐49     NS6200215155040000              COIL, INDUCTANCE, 30 MH; MAX 4A                                                                               EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619092‐01‐41‐06   NS6200213041001000              CIRCUIT BREAKER, C, 6 A, 2 NO                                                                                 EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619092‐01‐41‐10   NS6200213041002000              CIRCUIT BREAKER, C, 10 A, 2 NO                                                                                EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619092‐01‐41‐50   NS6200213041003000              CIRCUIT BREAKER, C, 50 A, 2 NO                                                                                EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619092‐01‐45‐16   NS6200213041004000              CIRCUIT BREAKER, C, 16 A, 2 NO, UL                                                                            EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619092‐05‐04     NS6200213041005000              AUX. SWITCH FOR CIRCUIT BREAKER                                                                               EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619092‐05‐04     NS6200215155020000              AUX. SWITCH FOR CIRCUIT BREAKER                                                                               EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619092‐14‐14‐02   NS6200213041006000              FUSE GLASS‐TUBE                                                                                               EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619092‐14‐16‐02   NS6200213041007000              FUSE, GLASS, TUBE 1A MIDDLE                                                                                   EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619092‐22‐01     NS6200202061001000              FUSE, 22 x 58, gLB, 400 V DC, 63 A                                                                            EA     A‐NU                       4                                0
One Subsea ‐ Berwick    One Subsea       619093‐08‐03     NS6200213199001000              TEMPERATURE SENSOR, PT100                                                                                     EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619093‐08‐03     NS6200215155029000              TEMPERATURE SENSOR, PT100                                                                                     EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐02‐22     NS6200213199002000              POWER SUPPLY, S7‐1500, 24 V, 1.3 A                                                                            EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐02‐22     NS6200215155043000              POWER SUPPLY, S7‐1500, 24 V, 1.3 A                                                                            EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619095‐11‐34‐01   NS6200213199003000              AUTO‐CONFIGURATION ADAPTER, ACA 21‐USB                                                                        EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619095‐11‐34‐01   NS6200215155026000              AUTO‐CONFIGURATION ADAPTER, ACA 21‐USB                                                                        EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619095‐11‐42‐03   NS6200213199004000              FAST ETHERNET SWITCH, MANAGED, 16 PORTS                                                                       EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619095‐11‐42‐03   NS6200215155027000              FAST ETHERNET SWITCH, MANAGED, 16 PORTS                                                                       EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619095‐11‐63‐01   NS6200213199005000              IND. FIREWALL/SECURITY‐ROUTER, EAGLEOne                                                                       EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619095‐11‐63‐01   NS6200215155025000              IND. FIREWALL/SECURITY‐ROUTER, EAGLEOne                                                                       EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐63‐25     NS6200213199006000              17" FHD RACKMOUNT DISPLAY PANEL, RP‐F617                                                                      EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐63‐25     NS6200215155018000              17" FHD RACKMOUNT DISPLAY PANEL, RP‐F617                                                                      EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐67‐28     NS6200213199007000              Server, LANTIME M600/MRS, 100‐240 VAC                                                                         EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐67‐28     NS6200215155019000              Server, LANTIME M600/MRS, 100‐240 VAC                                                                         EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐69‐02     NS6200213199008000              IEC CONNECTOR, PX0588, 240 V AC                                                                               EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐69‐02     NS6200215155021000              IEC CONNECTOR, PX0588, 240 V AC                                                                               EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐70‐11     NS6200213199009000              KEYBOARD, TKS‐088C‐TOUCH‐SCHUBL‐PS/2‐US                                                                       EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐70‐11     NS6200215155017000              KEYBOARD, TKS‐088C‐TOUCH‐SCHUBL‐PS/2‐US                                                                       EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐77‐04     NS6200212648001000              GRAPHIC CARD, MATROX C680‐E4GBF, 4 GB                                                                         EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea         619097‐31      NS6200213199010000              REDUD. MODULE QUINT‐ORING/24DC/2X10/1X20                                                                      EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea         619097‐31      NS6200215155036000              REDUD. MODULE QUINT‐ORING/24DC/2X10/1X20                                                                      EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea         619098‐17      NS6200213199011000              CAPACITOR, FILM, 1000V AC, 2400V DC, 1µF                                                                      EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea         619098‐17      NS6200215155039000              CAPACITOR, FILM, 1000V AC, 2400V DC, 1µF                                                                      EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       702647‐20‐61     NS6200218893001000              O RING, SIZE AS‐568‐206 .484 ID X                                                                             EA     A‐NU                      78                                0
One Subsea ‐ Berwick    One Subsea         77004494       NS6200213199012000              ROOF MOUNTED CABINET EXHAUST FAN                                                                              EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea         77004494       NS6200215155028000              ROOF MOUNTED CABINET EXHAUST FAN                                                                              EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea         77006739       NS6200213199013000              KVM OVER IP SWITCH, DKX3‐108, 8‐PORT                                                                          EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea         77006739       NS6200215155037000              KVM OVER IP SWITCH, DKX3‐108, 8‐PORT                                                                          EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea        7K‐9034872      NS6200213199014000              S7‐1X00 FLASH MEMORY CARD, 12 MB                                                                              EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       CM‐018106‐15          123658‐1                   MQC, PLATE ASSY, IWOCS, REM 12 WAY/ LINE                                                                      EA     C‐UR                       1                                0
                                                                                          SIMULATOR;MFR:PROSERV,PN:1191‐05,TYP GENERATION 3 GAUGE,EQ                                 MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71606.A                                        MODEL:PTG750                                                                 140528          LONG LEAD       EA                                 1                        10000
                                                                                          FRAME;MFR:PROSERV,PN:065419,TYP SHIPPING,APPLI SUBSEA CONTROL                              MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71612.A                                        MODULE; NOBLE GUNFLINT                                                       140528          LONG LEAD       EA                                 2                        20000
                                                                                          COMPUTER;MFR: HP,TYP MONITOR,RTNG N/A,DISPLAY ELITE LCD,SPEC SIZE: 23                      MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71574.A                                        IN                                                                           140528          LONG LEAD       EA                                 1                         399.3

                                                                                          CABLE;MFR: GISMA,TYP OCH SEM TEST,CONDCTR DIA N/A,CONDCTR QTY                              MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71573.A                                        N/A,VOLT N/A,TERM TYP (61) PIN,SPEC W/ PIG TAILS, CONNECTION TYPE: MALE      140528          LONG LEAD       EA                                 1                         2500
                                                                                          CONNECTOR;MFR: TEST‐TRONIC,TYP TEST,DIM N/A,CONN 1 TYP FEMALE,MATL                         MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71575.A                                        N/A,MATL GR N/A,SPEC TERMINAL TYPE: (12) PIN                                 140528          LONG LEAD       EA                                 1                         2000
                                                                                                                                                                                     MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71604.A                                        SIMULATOR;MFR:PROSERV,PN:033794MFR: SKOFLO                                   140528          LONG LEAD       EA                                 1                         7500
                                                                                          CONNECTOR;MFR:PROSERV,PN:094788,TYP TEST,APPLI UPC TOP ASSEMBLY,EQ                         MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71610.A                                        MODEL:HYDRALIGHT 8FOSM                                                       140528          LONG LEAD       EA                                 2                        36167
                                                                                          VALVE, RELIEF;MFR:PROSERV,PN:008701,PRESS RANGE 2.5‐25000 PSI,SPCL                         MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71617.A                                        FEATRS POWER: 1/4 HP                                                         140528          LONG LEAD       EA                                 6                        411.38
                                                                                          KIT;MFR:PROSERV,PN:094966,TYP PRECHARGE,COMPRISING NITROGEN BOOSTER,
                                                                                          13500 PSI, MANUAL CHARGING PRESSURE SELECTOR, AIR PILOT SHUTDOWN                           MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71614.A                                        SWITCHES, CARBON STEEL OPEN SKID ON ROLL DOLLY                               140528          LONG LEAD       EA                                 1                        10000
                                                                                          KIT;MFR:PROSERV,PN:098953,TYP PRECHARGE,COMPRISING NITROGEN BOOSTER,
                                                                                          4500 PSI MANUAL CHARGING PRESSURE SELECTOR, AIR PILOT SHUTDOWN                             MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71615.A                                        SWITCHES, CARBON STEEL OPEN SKID ON ROLL DOLLY                               140528          LONG LEAD       EA                                 1                        10000
                                                                                          PUMP;MFR:PROSERV,PN:077835,STG QTY 6,FLW RATE 5 GAL/MIN,INLT SZ 1‐1/4
                                                                                          IN,INLET CONN TYP RF FLANGE,OUTLT SZ 1‐1/4 IN,OUTLT CONN TYP RF                            MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71616.A                                        FLANGE,OPRTG PRESS 70 PSI,DRVR MOTOR                                         140528          LONG LEAD       EA                                 1                         5642
                                                                                          BREAKER, CIRCUIT;MFR:PROSERV,PN:ABB‐MCB037‐000,TYP MINI,AMP 10,POLES                       MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          72271.A                                        2P,SPCL FEATRS TRIP CHARACTERISTICS: C                                       140528          LONG LEAD       EA                                 2                         44.08
                                                                                          BREAKER, CIRCUIT;MFR:PROSERV,PN:ABB‐RCB001‐000,TYP RESIDUAL                                MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          72296.A                                        CURRENT,AMP 6,POLES 2P,SPCL FEATRS TRIP CHARACTERISTICS: C, 1P+ N            140528          LONG LEAD       EA                                 2                        141.98
                                                                                          BREAKER, CIRCUIT;MFR:PROSERV,PN:044827,TYP MINI,AMP 16,POLES 2P,SPCL                       MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          72307.A                                        FEATRS TRIP CHARACTERISTICS: D                                               140528          LONG LEAD       EA                                 2                         52.04




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     Facility        Facility Owner   Item Number     Serial No.   Location   Item Description                                                          Project Number    Project Name     UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value   WI% Net Value
                                                                              BREAKER, CIRCUIT;MFR:PROSERV,PN:ABB‐MCB026‐000,TYP MINI,AMP 4,POLES                        MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72317.A                               2P,SPCL FEATRS TRIP CHARACTERISTICS: C                                       140528          LONG LEAD       EA                                 2                         47.64

                                                                              CONTACT, AUXILIARY;MFR:PROSERV,PN:ABB‐AC006‐000MFR: ABB,CNTCT                              MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72328.A                               ARNGEMNT 1NO‐1NC,SPEC SIDE MOUNT,APPLI S200 MINI CIRCUIT BREAKER             140528          LONG LEAD       EA                                 2                         25.96
                                                                              FUSE, CARTRIDGE;MFR:PROSERV,PN:MIS‐ELE290‐000,AMP 1,MATL GLASS,DIM DIA                     MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72333.A                               5 X LG 20 mm,SPEC T LBC,TYP ANTI SURGE,PCKG QTY 10                           140528          LONG LEAD       EA                                 2                           1.3
                                                                              BREAKER, CIRCUIT;MFR:PROSERV,PN:ABB‐MCB038‐000,TYP MINI,AMP 1,POLES                        MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72275.A                               2P,SPCL FEATRS TRIP CHARACTERISTICS: C                                       140528          LONG LEAD       EA                                 3                          51.2
                                                                              BREAKER, CIRCUIT;MFR:PROSERV,PN:ABB‐MCB022‐000,TYP MINI,AMP 2,VOLT
                                                                              400,POLES 2P,WD 35 mm,LG 88 mm,SPCL FEATRS 0.250 KG, DP: 69 MM,                            MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72285.A                               ENCLOSURE: IP20, TRIP CHARACTERISTICS: C                                     140528          LONG LEAD       EA                                 3                         54.34
                                                                                                                                                                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         71613.A                               UNIT;MFR:PROSERV,PN:065405,TYP ELECTRICAL POWER,SPCL FEATRS QTY: 5/BOX       140528          LONG LEAD       EA                                 1                        49231
                                                                              VALVE, BALL;MFR:PROSERV,PN:070578,CONN 1 SZ 1/2 IN,CONN 1 TYP FNPT,CL                      MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         62440.A                               10000 PSI,STYL 2‐WAY                                                         140528          LONG LEAD       EA                                 1                          49.7
                                                                              VALVE, RELIEF;MFR:PROSERV,PN:082577,CONN SZ 1/2 IN,CONN TYP FNPT,PRESS                     MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72305.A                               RANGE 10000 PSI,MN:RL50N                                                     140528          LONG LEAD       EA                                 1                        620.12

                                                                              VALVE, RELIEF;MFR:PROSERV,PN:P000255,CONN SZ 3/8 X 3/8 IN,CONN TYP MP X
                                                                              FNPT,PRESS RANGE 20000 PSI,SET PRESS 16.5K PSI,BDY MATL SS,MATL GR                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72306.A                               316,SFTGDS SEAL: BUNA N,SPCL FEATRS ADJUSTABLE (INTERNAL),MN:RL37            140528          LONG LEAD       EA                                 1                        411.38
                                                                              GAUGE, PRESSURE;MFR:PROSERV,PN:082557,PRESS RANGE 10000 PSI,DIAL SZ 2.5
                                                                              IN,CONN SZ 1/4 IN,CONN TYP MNPT,CONN LCTN LOWER BACK,MNTG FCLTY
                                                                              PANEL,CASE MATL SS 316,FILLED GLYCERINE,SPCL FEATRS BUILT‐IN SNUBBER,                      MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72308.A                               BLOWOUT BACK                                                                 140528          LONG LEAD       EA                                 1                        166.02
                                                                              GAUGE, PRESSURE;MFR:PROSERV,PN:082562,PRESS RANGE 10000 PSI,DIAL SZ 4
                                                                              IN,CONN SZ 1/4 IN,CONN TYP MALE NPT,CONN LCTN LOWER BACK,MNTG FCLTY
                                                                              PANEL,CASE MATL SS 316,FILLED GLYCERINE,SPCL FEATRS BUILT‐IN SNUBBER,                      MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72309.A                               BLOWOUT BACK                                                                 140528          LONG LEAD       EA                                 1                        271.76

                                                                              GAUGE, PRESSURE;MFR:PROSERV,PN:082564,PRESS RANGE 30000 PSI,DIAL SZ 4
                                                                              IN,CONN SZ 1/4 IN,CONN TYP FEMALE HP,CONN LCTN LOWER BACK,MNTG FCLTY                       MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72310.A                               PANEL,CASE MATL SS 316,FILLED GLYCERINE,SPCL FEATRS BLOWOUT BACK             140528          LONG LEAD       EA                                 1                        424.08
                                                                              TRANSMITTER, PRESSURE;MFR:PROSERV,PN:081604,RANGE 330‐10000 PSI,O/P 4‐
                                                                              20 mA,CONN SZ 1/4 IN,CONN TYP FEMALE NPT,DIAPH MATL SS 316,ELEC CONN                       MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72311.A                               1/2 IN MALE NPT,SPCL FEATRS FM APPROVAL EXP                                  140528          LONG LEAD       EA                                 1                       3290.36
                                                                              TRANSMITTER, PRESSURE;MFR:PROSERV,PN:ROS‐PT142‐000,RANGE 660‐20000
                                                                              PSI,O/P 4‐20 mA,CONN SZ 1/4 IN,CONN TYP FEMALE NPT,DIAPH MATL SS                           MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72312.A                               316,ELEC CONN 1/2 IN MALE NPT,SPCL FEATRS EXP                                140528          LONG LEAD       EA                                 1                       4057.44
                                                                              VALVE, BALL;MFR:PROSERV,PN:081862,OPRTD LOCKING HANDLE,CONN 1 SZ 1
                                                                              IN,CONN 1 TYP FEMALE NPT,BDY MATL SS,MATL GR 316,STYL 2 WAY,SFTGDS                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72313.A                               SEAL: PTFE,SPCL FEATRS PRESSURE: 6000 PSI                                    140528          LONG LEAD       EA                                 1                         1220
                                                                              VALVE, BALL;MFR:PROSERV,PN:P000263,CONN 1 SZ 3/8 IN,CONN 1 TYP FEMALE
                                                                              MP,BDY MATL SS,MATL GR 316,STYL 2 WAY,SFTGDS SEAL: BUNA,SPCL FEATRS                        MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72314.A                               PRESSURE: 20000 PSI                                                          140528          LONG LEAD       EA                                 2                        953.82

                                                                              VALVE, NEEDLE;MFR:PROSERV,PN:076589,CONN 1 SZ 1/4 IN,CONN 1 TYP FEMALE                     MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72315.A                               NPT,DSGN RTNG 10000 PSI,MATL SS,MATL GR 316,SFTGDS SEAL: PTFE                140528          LONG LEAD       EA                                 2                           175
                                                                              VALVE, NEEDLE;MFR:PROSERV,PN:081602,CONN 1 SZ 1/4 IN,CONN 1 TYP FEMALE
                                                                              NPT,DSGN RTNG 10000 PSI,MATL SS,MATL GR 316,SFTGDS SEAL: PTFE,SPCL                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72316.A                               FEATRS PANEL MOUNT                                                           140528          LONG LEAD       EA                                 1                           358
                                                                              VALVE, NEEDLE;MFR:PROSERV,PN:P003027,CONN 1 SZ 1/4 IN,CONN 1 TYP
                                                                              FEMALE MP,DSGN RTNG 20000 PSI,MATL SS,MATL GR 316,SFTGDS SEAL:                             MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72318.A                               TEFLON,SPCL FEATRS V STEM                                                    140528          LONG LEAD       EA                                 2                        241.26
                                                                              VALVE, NEEDLE;MFR:PROSERV,PN:NV0504F02M5V10K,TYP DOUBLE BLOCK AND
                                                                              BLEED,CONN 1 SZ 1/4,CONN 1 TYP FEMALE MP,DSGN RTNG 10000 PSI,MATL                          MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72319.A                               SS,MATL GR 316,SFTGDS VITON ELASTOMER                                        140528          LONG LEAD       EA                                 1                           248
                                                                              VALVE, NEEDLE;MFR:PROSERV,PN:082374,TYP DOUBLE BLOCK AND BLEED,
                                                                              BALL,CONN 1 SZ 1/2 IN,CONN 1 TYP FEMALE NPT,CONN 2 SZ 1/4 IN,CONN 2 TYP
                                                                              FEMALE NPT VENT,DSGN RTNG 10000 PSI,MATL SS,MATL GR 316,SFTGDS SEAL:                       MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72320.A                               VITON                                                                        140528          LONG LEAD       EA                                 1                        239.64

                                                                              VALVE, NEEDLE;MFR:PROSERV,PN:082443,TYP DOUBLE BLOCK AND BLEED,CONN
                                                                              1 SZ 1/4 IN,CONN 1 TYP FEMALE MP,CONN 2 SZ 1/4 IN,CONN 2 TYP FEMALE NPT                    MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72321.A                               (VENT),DSGN RTNG 15000 PSI,MATL SS,MATL GR 316,SFTGDS VITON ELASTOMER        140528          LONG LEAD       EA                                 1                        438.66
                                                                              VALVE, BALL;MFR:PROSERV,PN:P003028,CONN 1 SZ 1/4 IN,CONN 1 TYP FEMALE
                                                                              MP,BDY MATL SS,MATL GR 316,STYL 2 WAY,SFTGDS SEAL: VITON,SPCL FEATRS                       MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72322.A                               PRESSURE: 20000 PSI                                                          140528          LONG LEAD       EA                                 1                        654.68

                                                                              FILTER, ELEMENT;MFR:PROSERV,PN:090650,PN:080236,FLTRNG RETN 3                              MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72323.A                               MIC,FLTRNG MATL SS 316,SEAL MATL VITON,DIM 60 mm,PRESS RTNG 6500 PSI         140528          LONG LEAD       EA                                 1                           232

                                                                              FILTER, ELEMENT;MFR:PROSERV,PN:090654,PN:080816,FLTRNG RETN 10                             MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72324.A                               MIC,FLTRNG MATL SS 316,SEAL MATL VITON,DIM 30 mm,PRESS RTNG 6500 PSI         140528          LONG LEAD       EA                                 1                         245.1

                                                                              FILTER, ELEMENT;MFR:PROSERV,PN:090655,PN:080833,FLTRNG RETN 10                             MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72325.A                               MIC,FLTRNG MATL SS 316,SEAL MATL VITON,DIM 60 mm,PRESS RTNG 15000 PSI        140528          LONG LEAD       EA                                 1                         416.1
                                                                              KIT, REPAIR;MFR:PROSERV,PN:107553,PN:077832,APPLI BLADDER ACCUMULATOR                      MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72326.A                               (PRESSURE: 5000 PSI),REF:15 USG                                              140528          LONG LEAD       EA                                 1                           860
                                                                                                                                                                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72327.A                               FUSE;MFR:PROSERV,PN:075350,CL CC,AMP 1/8,VOLT 600 VDC                        140528          LONG LEAD       EA                                 5                          23.9
                                                                                                                                                                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72329.A                               FUSE;MFR:PROSERV,PN:075404,CL CC,AMP 1,VOLT 600 VDC                          140528          LONG LEAD       EA                                 5                         18.68
                                                                                                                                                                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72330.A                               FUSE;MFR:PROSERV,PN:060331,CL CC,AMP 2,VOLT 600 VDC                          140528          LONG LEAD       EA                                 5                        458.16
                                                                                                                                                                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72332.A                               FUSE;MFR:PROSERV,PN:075806,CL CC,AMP 1/2,VOLT 600 VDC                        140528          LONG LEAD       EA                                 5                           5.7
                                                                                                                                                                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72331.A                               FUSE;MFR:PROSERV,PN:078613,CL CC,AMP 10,VOLT 600 VDC                         140528          LONG LEAD       EA                                 5                         19.72
                                                                                                                                                                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         71601.A                               PLATE;MFR:PROSERV,PN:079441,APPLI WELDMENT; SCMMB DEBRIS COVER               140528          LONG LEAD       EA                                 1                         2500




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     Facility             Facility Owner        Item Number     Serial No.   Location   Item Description                                                            Project Number     Project Name    UOM   Condition   Wt. (lbs)          On Hand Qty            Length   Average Cost       Total Value   WI% Net Value
                                                                                        COMPUTER, PERSONAL;MFR:PROSERV,PN:090600,TYP WORKSTATION,DATA STRG
                                                                                        CPCTY RAM 4 GB,HRD DRV 1 TB,OPTIONAL EXTRAS WIN 7 PROF,MFR:HP,MN:Z230                        MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72302.A                               TOWER,REF:15                                                                   140528          LONG LEAD       EA                                         1                                297.66
                                                                                        MONITOR, VIDEO;MFR:PROSERV,PN:090602MFR: HP,SZ 23 IN,SPEC DISPLAY TYPE:                      MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72304.A                               LED ELITE                                                                      140528          LONG LEAD       EA                                         1                                311.91
                                                                                        CARD, ELECTRONIC;MFR:PROSERV,PN:090601,TYP GRAPHICS,APPLI 2 GB,MN:HP                         MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72645.A                               NVIDIA NVS 510                                                                 140528          LONG LEAD       EA                                         1                                159.43
                                                                                                                                                                                     MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72272.A                               DIODE;MFR:PROSERV,PN:ALB‐TEDI0‐000,TYP FORWARD BIAS TERMINAL                   140528          LONG LEAD       EA                                         1                                  11.7
                                                                                        SWITCH, NETWORK;MFR:PROSERV,PN:060330,PORT QTY (2) COPPER, (1)                               MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72273.A                               FIBER,MN:ETAP                                                                  140528          LONG LEAD       EA                                         1                                392.22
                                                                                        SWITCH, NETWORK;MFR:PROSERV,PN:ROU‐HUB8X‐000,TYP ETHERNET,
                                                                                        UNMANAGED,PORT QTY 8,VOLT 9.6‐32 VDC,DIM WD 40 X HT 114 X DP 79                              MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72274.A                               mm,SPCL FEATRS ENCLOSURE: IP30, 10/100TX, 177G                                 140528          LONG LEAD       EA                                         1                                207.06
                                                                                        TRANSMITTER, TEMPERATURE;MFR:PROSERV,PN:PRE‐TMP001‐000,TYP 2 WIRE,
                                                                                        ROOM,RANGE 0‐70 DEG C,O/P 4‐20 mA,SUPPLY 8‐35 VDC,SPCL FEATRS 95G,                           MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72276.A                               ENCLOSURE: IP30, DIMENSIONS: WD 121 X HT 70 X DP 25 MM                         140528          LONG LEAD       EA                                         1                                298.94
                                                                                        RELAY;MFR:PROSERV,PN:044871,COIL VOLT 24 VDC,CNTCT ARNGEMNT 1CO,SPEC
                                                                                        POLE QTY: 2P, POLARITY, FREE WHEELING DIODE, LED, MANUAL OVERRIDE, USE                       MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72277.A                               WITH BASE REL‐RB004‐000 (VPN S‐12)                                             140528          LONG LEAD       EA                                         2                                 19.26
                                                                                                                                                                                     MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72278.A                               BASE, RELAY;MFR:PROSERV,PN:044865,EQ MODEL:SERIES C12                          140528          LONG LEAD       EA                                         2                                  8.26
                                                                                        FILTER;MFR:PROSERV,PN:RIT‐PL004‐010,TYP ASSEMBLY,APPLI BASE PLINTH (800                      MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72279.A                               MM)                                                                            140528          LONG LEAD       EA                                         1                                 41.06
                                                                                        FAN, ELECTRIC;MFR:PROSERV,PN:069274MFR: RITTAL,AIR FLW CPCTY 800
                                                                                        m3/h,VOLT 115,WATT 170/225,AMP 1.5/2.2,HZ 50/60,MNTG FCLTY ROOF,SPCL
                                                                                        FEATRS TEMPERATURE: 10‐50 DEG C, WD 550 X HT 125 X DP 370 MM,APPLI TS                        MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72280.A                               TYPE CABINETS                                                                  140528          LONG LEAD       EA                                         1                                532.34
                                                                                        THERMOSTAT;MFR:PROSERV,PN:RIT‐ELE018‐000MFR: SK,TYP INTERNAL
                                                                                        ENCLOSURE,TEMP RNGE 5‐60 DEG C,VOLT 230/115/60/48/24 VAC, 60/48/24                           MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72281.A                               VDC,SPCL FEATRS 105G, WD 71 X HT 71 X DP 33.5 MM                               140528          LONG LEAD       EA                                         1                                 36.52
                                                                                        LIGHT;MFR:PROSERV,PN:MIS‐ELE330‐000,TYP UNIVERSAL,SPEC MOUNTING:                             MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72282.A                               PANEL                                                                          140528          LONG LEAD       EA                                         1                                236.88

                                                                                        POWER SUPPLY;MFR:PROSERV,PN:RSC‐ELE005‐000,TYP SWITCH MODE,I/P VOLT
                                                                                        230 VAC,O/P VOLT 24‐28 VDC,POWER RTG 360,DIM WD 80 X LG 125 X DP 125                         MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72283.A                               mm,MNTG FCLTY DIN RAIL,SPEC 1.1 KG, REMOTE ON/OFF AND DC OK OPTIONS            140528          LONG LEAD       EA                                         1                                371.26
                                                                                        BLOCK, TERMINAL;MFR:PROSERV,PN:WDM‐TB053‐000,TYP DOUBLE HIGH, FEED                           MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72284.A                               THROUGH,CLR BEIGE,MN:WDK2.5                                                    140528          LONG LEAD       EA                                         5                                  6.16
                                                                                                                                                                                     MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72286.A                               BLOCK, TERMINAL;MFR:PROSERV,PN:WDM‐TE006‐000,MN:WDU4                           140528          LONG LEAD       EA                                         1                                   216
                                                                                        MODULE;MFR:PROSERV,PN:ALB‐CM013‐000MFR: CONTROLLOGIX,TYP                                     MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72287.A                               REDUNDANCY,SPCL FEATRS 0.29 KG, 1 SLOT WIDTH                                   140528          LONG LEAD       EA                                         1                               2931.16
                                                                                        CABLE;MFR:PROSERV,PN:ALB‐CM014‐000MFR: CONTROLLOGIX,TYP                                      MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72288.A                               REDUNDACY,LG 1 m,SPEC USE WITH 1756‐RM REDUNDANCY MODULES                      140528          LONG LEAD       EA                                         1                                 98.02
                                                                                        CARD, ELECTRONIC;MFR:PROSERV,PN:PC40‐30134‐00,TYP ETHERNET,APPLI                             MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72289.A                               PLC,MN:EN2T                                                                    140528          LONG LEAD       EA                                         1                                5116.6
                                                                                                                                                                                     MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72290.A                               MODULE;MFR:PROSERV,PN:ALB‐EI121‐000,TYP DUAL ETHERNET                          140528          LONG LEAD       EA                                         1                               1782.32
                                                                                        PROCESSOR;MFR:PROSERV,PN:ALB‐EI127‐000,MEMORY 8 MB,SPCL FEATRS
                                                                                        COMMUNICATIONS X1 USB, 0.25KG, 1 SLOT                                                        MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72291.A                               WIDTH,MFR:CONTROLLOGIX,MN:5573                                                 140528          LONG LEAD       EA                                         1                               6635.36

                                                                                        POWER SUPPLY;MFR:PROSERV,PN:ALB‐PO006‐000MFR: CONTROLLOGIX,I/P VOLT                          MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72292.A                               120/220 VAC,O/P VOLT 5‐24 VDC,O/P CURRENT 2.8‐10 A,POWER RTG 75 W              140528          LONG LEAD       EA                                         1                                538.98
                                                                                        CONVERTER, SIGNAL;MFR:PROSERV,PN:AMP‐IS003‐000MFR: DIGI ONE,TYP IAP
                                                                                        ETHERNET/SERIAL,I/P 9‐30 VDC,O/P 0.5 A,SPEC 64G, WD 23 X LG 120 X DP 101                     MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72293.A                               mm                                                                             140528          LONG LEAD       EA                                         1                                734.52
                                                                                        MODULE, COMMUNICATION;MFR:PROSERV,PN:ALB‐EI094‐000,TYP (32) WAY
                                                                                        DI,I/P 24 VDC,SPCL FEATRS WD 94 X HT 94 X DP 69 MM,APPLI TB32/TB32S                          MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72294.A                               TERMINAL BASE,BRAND:FLEXLOGIX,BRAND:UNKNOWN                                    140528          LONG LEAD       EA                                         1                                291.42
                                                                                        MODULE, COMMUNICATION;MFR:PROSERV,PN:ALB‐EI095‐000,TYP (32) WAY
                                                                                        DO,I/P 24 VDC,SPCL FEATRS WD 94 X HT 94 X DP 69 MM,APPLI TB32/TB32S                          MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72295.A                               TERMINAL BASE,BRAND:FLEXLOGIX,BRAND:UNKNOWN                                    140528          LONG LEAD       EA                                         1                                328.76
                                                                                        MODULE, COMMUNICATION;MFR:PROSERV,PN:ALB‐EI096‐000,TYP (8) WAY AI,I/P
                                                                                        24 VDC,APPLI TB2/TB3/TB3S/TB3T/TB3TS TERMINAL                                                MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72297.A                               BASE,BRAND:FLEXLOGIX,BRAND:UNKNOWN                                             140528          LONG LEAD       EA                                         1                                 569.6
                                                                                        MODULE;MFR:PROSERV,PN:ALB‐EI122‐000,ETHERNET/IP,24 VDC,SPCL FEATRS                           MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72298.A                               QTY: 8,ADAPTOR,BRAND:FLEXLOGIX,BRAND:UNKNOWN                                   140528          LONG LEAD       EA                                         1                                408.24
                                                                                        21.5" TOUCHSCREEN, MONITOR PANEL MOUNT. FPM‐7211W‐P3AE, PROSERV AX
Proserve ‐ Houston          Proserve              72299.A                               PN :055044                                                                                                     EA                                         1                                        0
                                                                                        COMPUTER, PERSONAL;MFR:PROSERV,PN:079233,MEMORY 8 GB,PROCSR CHIP
                                                                                        TYP INTEL XEON,OPTIONAL EXTRAS 1UI, RACK MOUNT, WINDOWS SERVER 2012,
                                                                                        POWER: 250 W, ,1600MHZ,500GB SATA 3.5‐IN 7.2K RPM HARD DRIVE,2 X NIC RJ45                    MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72300.A                               ETHERNET PORTS,REF:E3‐1270 V3                                                  140528          LONG LEAD       EA                                         1                               4505.26
                                                                                        KEYBOARD;MFR:PROSERV,PN:RSC‐KB002‐000,TYP MICRO,CLR IVORY,WD 292,LG                          MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72301.A                               1.5 m,CNCTR TYP USB,SPEC HT 30 X DP 161 MM, TRACK BALL                         140528          LONG LEAD       EA                                         1                                 122.1

                                                                                        CONTACT, AUXILIARY;MFR:PROSERV,PN:054592,CNTCT ARNGEMNT 1NO,SPEC                             MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72334.A                               BOTTOM FITTED, ON/OFF SIGNAL,APPLI S200 MINI CIRCUIT BREAKER                   140528          LONG LEAD       EA                                         3                                 30.52

                                                                                        ASSEMBLY;P004544 MFR:PROSERV,PN:065417,TYP DUMMY SCMMB FLUSHING                              MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              71605.A                               PLATE,COMPRISING HOSE AND FITTINGS, SHIPPING FRAME AND RUNNING TOOL            140528          LONG LEAD       EA                                         1                               132308
                                                                                        STATION;MFR:PROSERV,PN:075687,TYP TEST MASTER CONTROL,SPCL FEATRS                            MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              71602.A                               1EPU, 1TCPU, SINGLE PLC, W/ TEST LAPTOP,APPLI GUNFLINT                         140528          LONG LEAD       EA                            2 / One at Fieldwood Office                  101685
                                                                                                                                                                                     MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              71611.A                               HUB;MFR:PROSERV,PN:045367,TYP OPEN COMMUNICATION                               140528          LONG LEAD       EA                                         1                               593725
                                                                                        MODULE;MFR:PROSERV,PN:065403,TYP SUBSEA CONTROL,SPCL FEATRS 26                               MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              71599.A                               FUNCTION,APPLI NOBLE GUNFLINT,REF:SCM‐002                                      140528          LONG LEAD       EA                                         1                               728462
                                                                                        STAND;MFR:PROSERV,PN:065416,TYP TEST,SPCL FEATRS 26 FUNCTION, YIELD                          MC 948 GUNFLINT
Proserve ‐ Houston          Proserve               71600.A                              STRENGTH: 15/5 KSI,APPLI SUBSEA CONTROL MODULE                                 140528          LONG LEAD       EA                                         1                               121538
Superior ‐ Houston   Superior Energy Services   TLS‐002928‐10   CS 2654      Storage                                                                                                   EW 826 A19      EA                                         1                                  795
Superior ‐ Houston   Superior Energy Services   TLD‐002360‐35   CS 2645      Storage                                                                                                   GC 200 TA9      EA                                         1                               3494.4
Superior ‐ Houston   Superior Energy Services   TLD‐002385‐6    CS 2638      Storage                                                                                                   GC 200 TA3      EA                                         1                               3494.4




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      Facility             Facility Owner           Item Number    Serial No.   Location   Item Description                                  Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost Total Value   WI% Net Value
Superior ‐ Houston     Superior Energy Services    TLD‐002385‐8     CS 2639      Storage                                                                       GC 200 TA3     EA                                1                        3812.9
Superior ‐ Houston     Superior Energy Services    TLD‐002385‐7     CS 2640      Storage                                                                       GC 200 TA3     EA                                1                        3812.9
Superior ‐ Houston     Superior Energy Services   TLD‐002385‐13     CS 2641      Storage                                                                       GC 200 TA3     EA                                1                        3812.9
Superior ‐ Houston     Superior Energy Services   TLD‐002385‐14     CS 2642      Storage                                                                       GC 200 TA3     EA                                1                        4131.4
Superior ‐ Houston     Superior Energy Services   TLD‐002360‐32     CS 2643      Storage                                                                       GC 200 TA9     EA                                1                        3494.4
Superior ‐ Houston     Superior Energy Services   TLD‐002360‐33     CS 2644      Storage                                                                       GC 200 TA9     EA                                1                        4131.4
Superior ‐ Houston     Superior Energy Services   TLD‐002360‐36     CS 2646      Storage                                                                       GC 200 TA9     EA                                1                        4131.4
Superior ‐ Houston     Superior Energy Services   TLD‐002360‐41     CS 2600      Storage                                                                       GC 200 TA9     EA                                1                        9618.7
Superior ‐ Houston     Superior Energy Services   TLD‐002360‐42     CS 2601      Storage                                                                       GC 200 TA9     EA                                1                        9618.7
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐9    CS 2620      Storage                                                                       EW 826 A19     EA                                1                          6685
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐8    CS 2619      Storage                                                                       EW 826 A19     EA                                1                          9890
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐7    CS 2618      Storage                                                                       EW 826 A19     EA                                1                          9890
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐6    CS 2617      Storage                                                                       EW 826 A19     EA                                1                          1640
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐5    CS 2616      Storage                                                                       EW 826 A19     EA                                1                          3695
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐4    CS 2615      Storage                                                                       EW 826 A19     EA                                1                          9890
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐3    CS 2614      Storage                                                                       EW 826 A19     EA                                1                          1640
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐2    CS 2613      Storage                                                                       EW 826 A19     EA                                1                          1640
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐1    CS 2612      Storage                                                                       EW 826 A19     EA                                1                          1640
Superior ‐ Houston     Superior Energy Services   TLD‐002356‐18     CS 2611      Storage                                                                       GC 200 TA2     EA                                1                       20183.8
Superior ‐ Houston     Superior Energy Services   TLD‐002356‐17     CS 2610      Storage                                                                       GC 200 TA2     EA                                1                       20183.8
Superior ‐ Houston     Superior Energy Services   TLD‐002356‐16     CS 2609      Storage                                                                       GC 200 TA2     EA                                1                       20183.8
Superior ‐ Houston     Superior Energy Services   TLD‐002356‐15     CS 2608      Storage                                                                       GC 200 TA2     EA                                1                       20183.8
Superior ‐ Houston     Superior Energy Services   TLD‐002356‐14     CS 2607      Storage                                                                       GC 200 TA2     EA                                1                        6770.4
Superior ‐ Houston     Superior Energy Services    TLD‐002356‐9     CS 2606      Storage                                                                       GC 200 TA2     EA                                1                       20183.8
Superior ‐ Houston     Superior Energy Services    TLD‐002356‐5     CS 2605      Storage                                                                       GC 200 TA2     EA                                1                        6770.4
Superior ‐ Houston     Superior Energy Services   TLD‐002356‐21     CS 2604      Storage                                                                       GC 200 TA2     EA                                1                        5359.9
Superior ‐ Houston     Superior Energy Services   TLD‐002356‐20     CS 2603      Storage                                                                       GC 200 TA2     EA                                1                        5359.9
Superior ‐ Houston     Superior Energy Services   TLD‐002385‐10     CS 2602      Storage                                                                       GC 200 TA3     EA                                1                       10637.9
Superior ‐ Houston     Superior Energy Services    WO00688365                    Staging                                                                       GC 200 TA2     EA                                1                          2303
Superior ‐ Houston     Superior Energy Services    WO00688370                    Staging                                                                       GC 200 TA2     EA                                2                          2303
Superior ‐ Houston     Superior Energy Services    WO00685576                    Storage                                                                       GC 200 TA9     EA                                1                      291584.5
Superior ‐ Houston     Superior Energy Services     31099117‐01                  Storage                                                                       GC 200 TA9     EA                                1                          4550
Superior ‐ Houston     Superior Energy Services     31102498‐01                  Storage                                                                       GC 200 TA9     EA                                1                          4550
Superior ‐ Houston     Superior Energy Services    WO00685573                    Storage                                                                       GC 200 TA9     EA                                1                       32714.5
Superior ‐ Houston     Superior Energy Services     31090933‐01                  Staging                                                                       GC 200 TA2     EA                                1                          4550
Superior ‐ Houston     Superior Energy Services     31098933‐02                  Staging                                                                       GC 200 TA2     EA                                1                          4550
Superior ‐ Houston     Superior Energy Services    WO00688366                    Staging                                                                       GC 200 TA2     EA                                1                          2303
Superior ‐ Houston     Superior Energy Services    WO00688371                    Staging                                                                       GC 200 TA2     EA                                1                          2303
Superior ‐ Houston     Superior Energy Services    WO00688367                    Staging                                                                       GC 200 TA2     EA                                1                          2303
Superior ‐ Houston     Superior Energy Services    WO00688368                    Staging                                                                       GC 200 TA2     EA                                1                          2303
Superior ‐ Houston     Superior Energy Services    WO00688372                    Staging                                                                       GC 200 TA2     EA                                1                          2303
Superior ‐ Houston     Superior Energy Services    WO00688373                    Staging                                                                       GC 200 TA2     EA                                1                          2303
Superior ‐ Houston     Superior Energy Services    WO00685511                    Storage                                                                       GC 200 TA2     EA                                1                      291854.5
Superior ‐ Houston     Superior Energy Services    WO00685512                    Storage                                                                       GC 200 TA2     EA                                1                      291854.5
Superior ‐ Houston     Superior Energy Services    TLS‐002234‐65   CS 1509       Storage                                                                       GC 109 A32     EA                                1                          6579
Superior ‐ Houston     Superior Energy Services    TLS‐002234‐64   CS 1861       Storage                                                                       GC 109 A32     EA                                1                       2297.55
Superior ‐ Houston     Superior Energy Services    TLS‐002234‐63   CS 1511       Storage                                                                       GC 109 A32     EA                                1                       4594.25
Superior ‐ Houston     Superior Energy Services    TLS‐002234‐56   CS 1507       Storage                                                                       GC 109 A32     EA                                1                          6579
Superior ‐ Houston     Superior Energy Services    TLS‐002234‐55   CS 1508       Storage                                                                       GC 109 A32     EA                                1                          6579
Superior ‐ Houston     Superior Energy Services    TLS‐002102‐15   CS 1538       Storage                                                                         EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services    TLS‐002102‐14   CS 1537       Storage                                                                         EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services    TLS‐002102‐12   CS 1536       Storage                                                                         EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services    TLS‐002102‐11   CS 1540       Storage                                                                         EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services    TLS‐002102‐10   CS 1541       Storage                                                                         EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services     TLS‐002102‐8   CS 1539       Storage                                                                         EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services     TLS‐002102‐7   CS 1535       Storage                                                                         EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services     TLS‐002102‐6   CS 1542       Storage                                                                         EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services     TLS‐002102‐5   CS 1543       Storage                                                                         EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services    TLS‐001891‐21   CS 1615       Storage                                                                         SP 62 D1     EA                                1                          6090
Superior ‐ Houston     Superior Energy Services    TLS‐001891‐20    CS 949       Storage                                                                         SP 62 D1     EA                                1                         13960
Superior ‐ Houston     Superior Energy Services       700151‐01     CS 317       Storage                                                                        SS 258 JB8    EA                                1                         11112
Superior ‐ Houston     Superior Energy Services       700151‐03     CS 316       Storage                                                                        SS 258 JB8    EA                                1                         11112
Superior ‐ Houston     Superior Energy Services       700151‐02     CS 315       Storage                                                                        SS 258 JB8    EA                                1                         11112
Superior ‐ Houston     Superior Energy Services       700151‐04     CS 314       Storage                                                                        SS 258 JB8    EA                                1                         11112
Superior ‐ Houston     Superior Energy Services       700097‐19     CS 111       Storage                                                                         GC 65 41     EA                                1                          5004
Superior ‐ Houston     Superior Energy Services       700097‐02     CS 110       Storage                                                                         GC 65 41     EA                                1                          5004
Superior ‐ Houston     Superior Energy Services       700097‐01     CS 109       Storage                                                                         GC 65 41     EA                                1                          5004
Superior ‐ Houston     Superior Energy Services       700097‐05     CS 100       Storage                                                                        GC 65 A41     EA                                1                           720
Superior ‐ Houston     Superior Energy Services       700097‐04     CS 99        Storage                                                                        GC 65 A41     EA                                1                           720
Superior ‐ Houston     Superior Energy Services       700097‐03     CS 98        Storage                                                                        GC 65 A41     EA                                1                           720
Superior ‐ Houston     Superior Energy Services       700097‐07     CS 106       Storage                                                                        GC 65 A41     EA                                1                           720
Superior ‐ Houston     Superior Energy Services       700097‐06     CS 105       Storage                                                                        GC 65 A41     EA                                1                           720
Superior ‐ Houston     Superior Energy Services       700097‐09     CS 108       Storage                                                                        GC 65 A41     EA                                1                           720
Superior ‐ Houston     Superior Energy Services       700097‐08     CS 107       Storage                                                                        GC 65 A41     EA                                1                           720
Superior ‐ Houston     Superior Energy Services       700097‐13     CS 104       Storage                                                                        GC 65 A41     EA                                1                           702
Superior ‐ Houston     Superior Energy Services       700097‐12     CS 103       Storage                                                                        GC 65 A41     EA                                1                           702
Superior ‐ Houston     Superior Energy Services       700097‐11     CS 102       Storage                                                                        GC 65 A41     EA                                1                           702
Superior ‐ Houston     Superior Energy Services       700097‐10     CS 101       Storage                                                                        GC 65 A41     EA                                1                           702
Superior ‐ Houston     Superior Energy Services       700097‐17     CS 97        Storage                                                                        GC 65 A41     EA                                1                           540
Superior ‐ Houston     Superior Energy Services       700097‐16     CS 96        Storage                                                                        GC 65 A41     EA                                1                           540
Superior ‐ Houston     Superior Energy Services       700097‐15     CS 94        Storage                                                                        GC 65 A41     EA                                1                           540
Superior ‐ Houston     Superior Energy Services       700097‐14     CS 95        Storage                                                                        GC 65 A41     EA                                1                           540
Superior ‐ Houston     Superior Energy Services       700086‐01    CS 2068       Storage                                                                        GC 65 A60     EA                                1                       10237.5
Superior ‐ Houston     Superior Energy Services       700086‐2     CS 1086       Storage                                                                        GC 65 A60     EA                                1                        9652.5
Superior ‐ Houston     Superior Energy Services     TLS‐002872‐6   CS 2483       Storage                                                                        SM 280 H1     EA                                1                          3834
Superior ‐ Lafayette   Superior Energy Services    WO00687151                    Storage                                                                                      EA      A                         1                          4257
Superior ‐ Lafayette   Superior Energy Services    WO00687139                   Assembly                                                                                      EA      B                         2                          3753
Superior ‐ Lafayette   Superior Energy Services   WO00683833 (p)                 Storage                                                                                      EA                                2                          1786
Superior ‐ Lafayette   Superior Energy Services     31099758‐01                  Staging                                                                                      EA                                1                        5470.5
Superior ‐ Lafayette   Superior Energy Services    WO00686995                    Staging                                                                                      EA                                3                        4378.5
Superior ‐ Lafayette   Superior Energy Services    WO00686998                    Staging                                                                                      EA                                3                        4378.5
Superior ‐ Lafayette   Superior Energy Services       683517‐01                  Staging                                                                                      EA                                1                        4595.5
Superior ‐ Lafayette   Superior Energy Services    WO00683872                    Staging                                                                                      EA                                1                        6051.5
Superior ‐ Lafayette   Superior Energy Services    WO00683871                    Staging                                                                                      EA                                1                      124778.5




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      Facility             Facility Owner          Item Number     Serial No.   Location   Item Description                                  Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost Total Value   WI% Net Value
Superior ‐ Lafayette   Superior Energy Services    WO00684280                    Staging                                                                                      EA                                1                       13919.5
Superior ‐ Lafayette   Superior Energy Services    WO00690219                    Staging                                                                                      EA                                1                         18683
Superior ‐ Lafayette   Superior Energy Services    WO00684437                    Staging                                                                                      EA                                1                        1543.5
Superior ‐ Lafayette   Superior Energy Services    WO00683862                    Staging                                                                                      EA                                1                        4378.5
Superior ‐ Lafayette   Superior Energy Services    WO00683878                    Staging                                                                                      EA                                1                         61530
Superior ‐ Lafayette   Superior Energy Services    WO00690218                    Staging                                                                                      EA                                1                         18683
Superior ‐ Lafayette   Superior Energy Services    WO00690781                    Staging                                                                                      EA      B                         1                        5652.5
Superior ‐ Lafayette   Superior Energy Services    WO00690780                    Staging                                                                                      EA      B                         1                         13195
Superior ‐ Lafayette   Superior Energy Services      WO006779                    Staging                                                                                      EA      E                         1                      225697.5
Superior ‐ Lafayette   Superior Energy Services    WO00690778                    Staging                                                                                      EA      A                         1                        6457.5
Superior ‐ Lafayette   Superior Energy Services    WO00690777                    Staging                                                                                      EA      F                         1                          3500
Superior ‐ Lafayette   Superior Energy Services    WO00693130                    Staging                                                                                      EA      A                         1                         22554
Superior ‐ Lafayette   Superior Energy Services      31102812                    Staging                                                                                      EA      E                         8                          2450
Superior ‐ Lafayette   Superior Energy Services    WO00693128                    Staging                                                                                      EA      A                         1                        647500
Superior ‐ Lafayette   Superior Energy Services   WO00688271 (p)                Storage                                                                                       EA                               15                          1786
Superior ‐ Lafayette   Superior Energy Services    31100712‐01                   Staging                                                                                      EA      B                         1                          3009
Superior ‐ Lafayette   Superior Energy Services    WO00687141                    Staging                                                                                      EA      A                         5                          3543
Superior ‐ Lafayette   Superior Energy Services    31100714‐02                   Staging                                                                                      EA      C                         1                          1701
Superior ‐ Lafayette   Superior Energy Services    WO00687138                    Staging                                                                                      EA      B                         1                          3855
Superior ‐ Lafayette   Superior Energy Services   WO00687677‐01                  Staging                                                                                      EA      B                         1                         10548
Superior ‐ Lafayette   Superior Energy Services    WO00687156                    Staging                                                                                      EA      A                         1                          2919
Superior ‐ Lafayette   Superior Energy Services   WO00687676‐02                  Staging                                                                                      EA      B                         1                         14046
Superior ‐ Lafayette   Superior Energy Services    WO00687154                    Staging                                                                                      EA      B                         1                          2124
Superior ‐ Lafayette   Superior Energy Services   WO00687675‐02                  Staging                                                                                      EA      M                         1                          4545
Superior ‐ Lafayette   Superior Energy Services    WO00688066                    Staging                                                                                      EA      A                         1                          5175
Superior ‐ Lafayette   Superior Energy Services    31101741‐02                   Staging                                                                                      EA      A                         1                          7461
Superior ‐ Lafayette   Superior Energy Services    WO00687153                    Staging                                                                                      EA      A                         1                         10320
Superior ‐ Lafayette   Superior Energy Services    31101733‐01                   Staging                                                                                      EA      A                         1                          5196
Superior ‐ Lafayette   Superior Energy Services    WO00687119                    Staging                                                                                      EA      F                         6                          1786
Superior ‐ Lafayette   Superior Energy Services    WO00687133                    Staging                                                                                      EA      A                         1                         17100
Superior ‐ Lafayette   Superior Energy Services    WO00687132                    Staging                                                                                      EA      A                         1                         17100
Superior ‐ Lafayette   Superior Energy Services    31100712‐02                   Staging                                                                                      EA      B                         1                          3009
Superior ‐ Lafayette   Superior Energy Services    WO00687131                    Staging                                                                                      EA      A                         5                          3543
Superior ‐ Lafayette   Superior Energy Services    31100714‐01                   Staging                                                                                      EA      C                         1                          1701
Superior ‐ Lafayette   Superior Energy Services    WO00687128                    Staging                                                                                      EA      B                         1                          3855
Superior ‐ Lafayette   Superior Energy Services    WO00687126                    Staging                                                                                      EA      B                         4                          3855
Superior ‐ Lafayette   Superior Energy Services    WO00687124                    Staging                                                                                      EA      B                         1                          3855
Superior ‐ Lafayette   Superior Energy Services    WO00687125                    Staging                                                                                      EA      H                         1                          9270
Superior ‐ Lafayette   Superior Energy Services   WO00687677‐02                  Staging                                                                                      EA      B                         1                         10548
Superior ‐ Lafayette   Superior Energy Services    WO00687150                    Staging                                                                                      EA      A                         1                          2919
Superior ‐ Lafayette   Superior Energy Services   WO00687676‐01                  Staging                                                                                      EA      B                         1                         14046
Superior ‐ Lafayette   Superior Energy Services    WO00687149                    Staging                                                                                      EA      B                         1                          2124
Superior ‐ Lafayette   Superior Energy Services   WO00687675‐01                  Staging                                                                                      EA      M                         1                          4545
Superior ‐ Lafayette   Superior Energy Services    WO00688062                    Staging                                                                                      EA      A                         1                          5175
Superior ‐ Lafayette   Superior Energy Services      31101741                    Staging                                                                                      EA      A                         1                          7461
Superior ‐ Lafayette   Superior Energy Services    WO00687148                    Staging                                                                                      EA      A                         1                         10320
Superior ‐ Lafayette   Superior Energy Services    31100725‐01                   Staging                                                                                      EA      A                         1                        4490.5
Superior ‐ Lafayette   Superior Energy Services    WO00690721                    Staging                                                                                      EA      E                         3                          3080
Superior ‐ Lafayette   Superior Energy Services    31098789‐11                   Staging                                                                                      EA      P                         1                        1067.5
Superior ‐ Lafayette   Superior Energy Services    31101195‐04                   Staging                                                                                      EA      C                         1                        5568.5
Superior ‐ Lafayette   Superior Energy Services    WO00690720                    Staging                                                                                      EA      D                         1                         10815
Superior ‐ Lafayette   Superior Energy Services    WO00690719                    Staging                                                                                      EA      G                         1                          3920
Superior ‐ Lafayette   Superior Energy Services    WO00690718                    Staging                                                                                      EA      J                         1                        6877.5
Superior ‐ Lafayette   Superior Energy Services    WO00688070                    Staging                                                                                      EA      A                         1                          4368
Superior ‐ Lafayette   Superior Energy Services    31101741‐01                   Staging                                                                                      EA      A                         1                          7293
Superior ‐ Lafayette   Superior Energy Services    31100764‐02                   Staging                                                                                      EA      A                         1                          3078
Superior ‐ Lafayette   Superior Energy Services    WO00687091                    Staging                                                                                      EA      B                         1                          2958
Superior ‐ Lafayette   Superior Energy Services    WO00688068                    Staging                                                                                      EA      A                         1                          5205
Superior ‐ Lafayette   Superior Energy Services    31100721‐01                   Staging                                                                                      EA      C                         1                          4773
Superior ‐ Lafayette   Superior Energy Services    WO00687090                    Staging                                                                                      EA      D                         1                          9720
Superior ‐ Lafayette   Superior Energy Services    WO00687089                    Staging                                                                                      EA      G                        14                          3360
Superior ‐ Lafayette   Superior Energy Services    31100766‐02                   Staging                                                                                      EA      C                         1                          1035
Superior ‐ Lafayette   Superior Energy Services    WO00688072                    Staging                                                                                      EA      B                         1                         46764
Superior ‐ Lafayette   Superior Energy Services    WO00687088                    Staging                                                                                      EA      D                         1                         47871
Superior ‐ Lafayette   Superior Energy Services    WO00687087                    Staging                                                                                      EA      B                         1                         13950
Superior ‐ Lafayette   Superior Energy Services    WO00687086                    Staging                                                                                      EA      B                         1                          8853
Superior ‐ Lafayette   Superior Energy Services   WO00673496‐01                  Staging                                                                                      EA      E                         1                          5916
Superior ‐ Lafayette   Superior Energy Services    WO00687085                    Staging                                                                                      EA      B                         1                         25599
Superior ‐ Lafayette   Superior Energy Services    WO00687084                    Staging                                                                                      EA      B                         1                          5130
Superior ‐ Lafayette   Superior Energy Services    WO00687083                    Staging                                                                                      EA      B                         1                      127228.5
Superior ‐ Lafayette   Superior Energy Services    WO00687082                    Staging                                                                                      EA      B                         1                         17325
Superior ‐ Lafayette   Superior Energy Services    WO00687081                   Storage                                                                                       EA      A                         1                         14133
Superior ‐ Lafayette   Superior Energy Services    WO00687080                    Staging                                                                                      EA      A                         1                         13287
Superior ‐ Lafayette   Superior Energy Services    31100761‐02                   Staging                                                                                      EA      C                         1                          4773
Superior ‐ Lafayette   Superior Energy Services    31098789‐17                   Staging                                                                                      EA      P                         1                           915
Superior ‐ Lafayette   Superior Energy Services    31102937‐01                   Staging                                                                                      EA      A                         1                          3849
Superior ‐ Lafayette   Superior Energy Services    WO00687079                    Staging                                                                                      EA      E                         3                          2640
Superior ‐ Lafayette   Superior Energy Services    WO00687078                    Staging                                                                                      EA      D                         1                          9270
Superior ‐ Lafayette   Superior Energy Services    WO00687077                    Staging                                                                                      EA      G                         3                          3360
Superior ‐ Lafayette   Superior Energy Services    WO00688069                    Staging                                                                                      EA      A                         1                          4368
Superior ‐ Lafayette   Superior Energy Services    31101741‐02                   Staging                                                                                      EA      A                         1                          7293
Superior ‐ Lafayette   Superior Energy Services    31100764‐01                   Staging                                                                                      EA      A                         1                          3078
Superior ‐ Lafayette   Superior Energy Services    WO00687094                    Staging                                                                                      EA      B                         4                          2958
Superior ‐ Lafayette   Superior Energy Services    WO00688067                    Staging                                                                                      EA      A                         1                          5205
Superior ‐ Lafayette   Superior Energy Services    31100761‐01                   Staging                                                                                      EA      C                         1                          4773
Superior ‐ Lafayette   Superior Energy Services    WO00687093                    Staging                                                                                      EA      D                         1                          9270
Superior ‐ Lafayette   Superior Energy Services    WO00688071                    Staging                                                                                      EA      B                         1                         46764
Superior ‐ Lafayette   Superior Energy Services    WO00687092                    Staging                                                                                      EA      G                        14                          3360
Superior ‐ Lafayette   Superior Energy Services    31100766‐01                   Staging                                                                                      EA      1                         1                          1035
Superior ‐ Lafayette   Superior Energy Services    31101349‐01                   Staging                                                                                      EA                                1                        8508.5
Superior ‐ Lafayette   Superior Energy Services    WO00688253                    Staging                                                                                      EA                                1                       29865.5
Superior ‐ Lafayette   Superior Energy Services   WO00684413‐01                  Staging                                                                                      EA                                1                          6902
Superior ‐ Lafayette   Superior Energy Services    31101349‐01                   Staging                                                                                      EA                                1                        5561.5
Superior ‐ Lafayette   Superior Energy Services    31101349‐02                   Staging                                                                                      EA                                1                        5561.5




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      Facility             Facility Owner            Item Number     Serial No.   Location   Item Description                                  Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost Total Value   WI% Net Value
Superior ‐ Lafayette   Superior Energy Services     WO00688800                     Staging                                                                                      EA                                5                          1786
Superior ‐ Lafayette   Superior Energy Services      31101104‐02                   Staging                                                                                      EA                                1                          4018
Superior ‐ Lafayette   Superior Energy Services      31101104‐03                   Staging                                                                                      EA                                1                          4018
Superior ‐ Lafayette   Superior Energy Services      31101104‐01                   Staging                                                                                      EA                                1                          4018
Superior ‐ Lafayette   Superior Energy Services      31100699‐01                   Staging                                                                                      EA                                1                          2905
Superior ‐ Lafayette   Superior Energy Services     WO00688259                     Staging                                                                                      EA                                1                          2401
Superior ‐ Lafayette   Superior Energy Services     WO00688269                     Staging                                                                                      EA                                1                       12477.5
Superior ‐ Lafayette   Superior Energy Services    WO00681355‐01                   Staging                                                                                      EA                                1                       34660.5
Superior ‐ Lafayette   Superior Energy Services     WO00688268                     Staging                                                                                      EA                                1                        4161.5
Superior ‐ Lafayette   Superior Energy Services     WO00688267                     Staging                                                                                      EA                                1                          2625
Superior ‐ Lafayette   Superior Energy Services     WO00688266                     Staging                                                                                      EA                                4                        4658.5
Superior ‐ Lafayette   Superior Energy Services     WO00688265                     Staging                                                                                      EA                                1                          1876
Superior ‐ Lafayette   Superior Energy Services   31068949‐MA498‐7                 Staging                                                                                      EA                                1                        8767.5
Superior ‐ Lafayette   Superior Energy Services     WO00688264                     Staging                                                                                      EA                                1                        4595.5
Superior ‐ Lafayette   Superior Energy Services     WO00688260                     Staging                                                                                      EA                                3                          3920
Superior ‐ Lafayette   Superior Energy Services     WO00688263                     Staging                                                                                      EA                                1                         10815
Superior ‐ Lafayette   Superior Energy Services      31098789‐13                   Staging                                                                                      EA                                1                        5568.5
Superior ‐ Lafayette   Superior Energy Services      31098789‐13                   Staging                                                                                      EA                                1                        1067.5
Superior ‐ Lafayette   Superior Energy Services      31098789‐04                   Staging                                                                                      EA                                1                        1067.5
Superior ‐ Lafayette   Superior Energy Services     WO00688262                     Staging                                                                                      EA                                6                          3080
Superior ‐ Lafayette   Superior Energy Services      31100725‐02                   Staging                                                                                      EA                                1                        4490.5
Superior ‐ Lafayette   Superior Energy Services      31100725‐03                   Staging                                                                                      EA                                1                        4490.5
Superior ‐ Lafayette   Superior Energy Services     WO00688261                     Staging                                                                                      EA                                1                       15501.5
Superior ‐ Lafayette   Superior Energy Services     WO00688258                     Staging                                                                                      EA                                1                       16488.5
Superior ‐ Lafayette   Superior Energy Services     WO00688608                     Staging                                                                                      EA                                1                         14651
Superior ‐ Lafayette   Superior Energy Services     WO00688607                     Staging                                                                                      EA                                1                         14651
Superior ‐ Lafayette   Superior Energy Services     WO00688606                     Staging                                                                                      EA                                1                       13828.5
Superior ‐ Lafayette   Superior Energy Services     WO00688605                     Staging                                                                                      EA                                1                       13828.5
Superior ‐ Lafayette   Superior Energy Services     WO00688257                     Staging                                                                                      EA                                1                         32123
Superior ‐ Lafayette   Superior Energy Services     WO00688256                     Staging                                                                                      EA                                1                         37261
Superior ‐ Lafayette   Superior Energy Services     WO00688255                     Staging                                                                                      EA                                1                         16387
Superior ‐ Lafayette   Superior Energy Services     WO00688254                     Staging                                                                                      EA                                1                       29865.5
Superior ‐ Lafayette   Superior Energy Services     WO00688252                     Staging                                                                                      EA                                1                       10328.5
Superior ‐ Lafayette   Superior Energy Services      31099394‐01                   Staging                                                                                      EA                                1                          6902
Superior ‐ Lafayette   Superior Energy Services     WO00688251                     Staging                                                                                      EA                                1                       10328.5
Superior ‐ Lafayette   Superior Energy Services     WO00688250                     Staging                                                                                      EA                                1                         16275
Superior ‐ Lafayette   Superior Energy Services     WO00688249                     Staging                                                                                      EA                                1                         16275
Superior ‐ Lafayette   Superior Energy Services     WO00688248                     Staging                                                                                      EA                                1                       55849.5
Superior ‐ Lafayette   Superior Energy Services     WO00688247                     Staging                                                                                      EA                                1                       55849.5
Superior ‐ Lafayette   Superior Energy Services     WO00688246                     Staging                                                                                      EA                                1                       55849.5
Superior ‐ Lafayette   Superior Energy Services      31065836‐13                   Staging                                                                                      EA                                1                        1067.5
Superior ‐ Lafayette   Superior Energy Services     WO00687005                     Staging                                                                                      EA                                1                          2401
Superior ‐ Lafayette   Superior Energy Services     WO00687001                     Staging                                                                                      EA                                3                          1786
Superior ‐ Lafayette   Superior Energy Services      31100215‐03                   Staging                                                                                      EA                                1                        8508.5
Superior ‐ Lafayette   Superior Energy Services      31100215‐02                   Staging                                                                                      EA                                1                        8508.5
Superior ‐ Lafayette   Superior Energy Services      31099396‐01                   Staging                                                                                      EA                                1                        5568.5
Superior ‐ Lafayette   Superior Energy Services     WO00687004                     Staging                                                                                      EA                                1                         10815
Superior ‐ Lafayette   Superior Energy Services     WO00687003                     Staging                                                                                      EA                                3                          3920
Superior ‐ Lafayette   Superior Energy Services     WO00686997                     Staging                                                                                      EA                                1                          2401
Superior ‐ Lafayette   Superior Energy Services     WO00686996                     Staging                                                                                      EA                                3                          1786
Superior ‐ Lafayette   Superior Energy Services      31100215‐01                   Staging                                                                                      EA                                1                        8508.5
Superior ‐ Lafayette   Superior Energy Services      31098272‐02                   Staging                                                                                      EA                                1                          5887
Superior ‐ Lafayette   Superior Energy Services     WO00683073                     Staging                                                                                      EA                                6                          1786
Superior ‐ Lafayette   Superior Energy Services     WO00683075                     Staging                                                                                      EA                               10                          1786
Superior ‐ Lafayette   Superior Energy Services     WO00683074                     Staging                                                                                      EA                                6                          1786
Superior ‐ Lafayette   Superior Energy Services     WO00683067                     Staging                                                                                      EA                                6                          1786
Superior ‐ Lafayette   Superior Energy Services     WO00683066                     Staging                                                                                      EA                                6                          1786
Superior ‐ Lafayette   Superior Energy Services     WO00683068                     Staging                                                                                      EA                                6                          1786
Superior ‐ Lafayette   Superior Energy Services     WO00683037                     Staging                                                                                      EA                                1                        5848.5
Superior ‐ Lafayette   Superior Energy Services        611827‐19                   Staging                                                                                      EA                                1                        3307.5
Superior ‐ Lafayette   Superior Energy Services     WO00683064                     Staging                                                                                      EA                                1                         14315
Superior ‐ Lafayette   Superior Energy Services     WO00683035                     Staging                                                                                      EA                                1                       55849.5
Superior ‐ Lafayette   Superior Energy Services     WO00683034                     Staging                                                                                      EA                                1                         16275
Superior ‐ Lafayette   Superior Energy Services     WO00683033                     Staging                                                                                      EA                                1                       32406.5
Superior ‐ Lafayette   Superior Energy Services        673496‐05                   Staging                                                                                      EA                                1                          6902
Superior ‐ Lafayette   Superior Energy Services     WO00683031                     Staging                                                                                      EA                                1                       29865.5
Superior ‐ Lafayette   Superior Energy Services     WO00683032                     Staging                                                                                      EA                                1                          5985
Superior ‐ Lafayette   Superior Energy Services     WO00683030                     Staging                                                                                      EA                                1                      124401.2
Superior ‐ Lafayette   Superior Energy Services     WO00683029                     Staging                                                                                      EA                                1                       20212.5
Superior ‐ Lafayette   Superior Energy Services     WO00683027                     Staging                                                                                      EA                                1                       15501.5
Superior ‐ Lafayette   Superior Energy Services        683500‐01                   Staging                                                                                      EA                                1                        4490.5
Superior ‐ Lafayette   Superior Energy Services     WO00683025                     Staging                                                                                      EA                                3                          3080
Superior ‐ Lafayette   Superior Energy Services     WO00683022                     Staging                                                                                      EA                                1                        4595.5
Superior ‐ Lafayette   Superior Energy Services        683517‐02                   Staging                                                                                      EA                                1                        4595.5
Superior ‐ Lafayette   Superior Energy Services     WO00683021                     Staging                                                                                      EA                                1                        6877.5
Superior ‐ Lafayette   Superior Energy Services     TLD‐002362‐3                   Storage                                                                                      EA                                1                          6585
Superior ‐ Lafayette   Superior Energy Services     TLD‐002362‐2                   Storage                                                                                      EA                                1                          4135
Superior ‐ Lafayette   Superior Energy Services     TLD‐002362‐1                   Storage                                                                                      EA                                1                          4135
Superior ‐ Lafayette   Superior Energy Services      31099788‐02                   Staging                                                                                      EA                                1                          4689
Superior ‐ Lafayette   Superior Energy Services     WO00684293                     Storage                                                                                      EA                                1                        6877.5
Superior ‐ Lafayette   Superior Energy Services     WO00690407                     Storage                                                                                      EA                                1                         16014
Superior ‐ Lafayette   Superior Energy Services     WO00690110                     Staging                                                                                      EA                                1                          1323
Superior ‐ Lafayette   Superior Energy Services     WO00683904                     Storage                                                                                      EA                                1                       10328.5
Superior ‐ Lafayette   Superior Energy Services     WO00683059                    Assembly                                                                                      EA                                1                          5985
Superior ‐ Lafayette   Superior Energy Services     WO00683868                     Storage                                                                                      EA                                1                         19950
Superior ‐ Lafayette   Superior Energy Services     WO00683888                     Storage                                                                                      EA                                1                         19950
Superior ‐ Lafayette   Superior Energy Services     WO00684438                     Storage                                                                                      EA                                1                        1543.5
Superior ‐ Lafayette   Superior Energy Services     WO00683852                     Storage                                                                                      EA                                1                        6051.5
Superior ‐ Lafayette   Superior Energy Services     WO00683851                     Storage                                                                                      EA                                1                      124778.5
Superior ‐ Lafayette   Superior Energy Services     WO00684270                     Storage                                                                                      EA                                1                       13919.5
Superior ‐ Lafayette   Superior Energy Services     WO00684269                     Storage                                                                                      EA                                1                       77199.5
Superior ‐ Lafayette   Superior Energy Services      31099274‐05                   Storage                                                                                      EA                                1                          4144
Superior ‐ Lafayette   Superior Energy Services     WO00683850                     Storage                                                                                      EA                                4                          1786
Superior ‐ Lafayette   Superior Energy Services     WO00683849                     Storage                                                                                      EA                                1                        6877.5




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      Facility             Facility Owner            Item Number       Serial No.             Location          Item Description                                                Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost Total Value   WI% Net Value
Superior ‐ Lafayette   Superior Energy Services     WO00687045                                Storage                                                                                                            EA                                1                         12040
Superior ‐ Lafayette   Superior Energy Services     WO00683848                                Storage                                                                                                            EA                               14                          4095
Superior ‐ Lafayette   Superior Energy Services     WO00687044                                Storage                                                                                                            EA                                1                         10815
Superior ‐ Lafayette   Superior Energy Services     WO00683847                                Storage                                                                                                            EA                                1                       67392.5
Superior ‐ Lafayette   Superior Energy Services     WO00683846                                Storage                                                                                                            EA                                1                         16387
Superior ‐ Lafayette   Superior Energy Services     WO00683845                                Storage                                                                                                            EA                                1                         37261
Superior ‐ Lafayette   Superior Energy Services     WO00684275                                Storage                                                                                                            EA                                1                         32123
Superior ‐ Lafayette   Superior Energy Services     WO00683844                                Storage                                                                                                            EA                                1                        6051.5
Superior ‐ Lafayette   Superior Energy Services     WO00683843                                Storage                                                                                                            EA                                1                      124778.5
Superior ‐ Lafayette   Superior Energy Services     WO00684723                                Storage                                                                                                            EA                                1                       77199.5
Superior ‐ Lafayette   Superior Energy Services     WO00684272                                Storage                                                                                                            EA                                1                       13919.5
Superior ‐ Lafayette   Superior Energy Services     WO00683842                                Storage                                                                                                            EA                                1                         19950
Superior ‐ Lafayette   Superior Energy Services     WO00683834                                Storage                                                                                                            EA                                1                         10815
Superior ‐ Lafayette   Superior Energy Services      31099274‐02                              Storage                                                                                                            EA                                1                          4144
Superior ‐ Lafayette   Superior Energy Services     WO00683831                                Storage                                                                                                            EA                                1                        6877.5
Superior ‐ Lafayette   Superior Energy Services     WO00683832                                Storage                                                                                                            EA                               14                          4095
Superior ‐ Lafayette   Superior Energy Services      31099228‐02                              Storage                                                                                                            EA                                1                        5708.5
Superior ‐ Lafayette   Superior Energy Services     WO00683903                                Storage                                                                                                            EA                                1                       33575.5
Superior ‐ Lafayette   Superior Energy Services     WO00683902                                Storage                                                                                                            EA                                1                        2460.5
Superior ‐ Lafayette   Superior Energy Services     WO00683901                                Storage                                                                                                            EA                                1                         14315
Superior ‐ Lafayette   Superior Energy Services      31099228‐01                              Storage                                                                                                            EA                                1                        5708.5
Superior ‐ Lafayette   Superior Energy Services     WO00683900                                Storage                                                                                                            EA                                1                       33575.5
Superior ‐ Lafayette   Superior Energy Services     WO00683899                                Storage                                                                                                            EA                                1                        2460.5
Superior ‐ Lafayette   Superior Energy Services     WO00683898                                Storage                                                                                                            EA                                1                         14315
Superior ‐ Lafayette   Superior Energy Services     WO00683914                                Storage                                                                                                            EA                                1                      127228.5
Superior ‐ Lafayette   Superior Energy Services     WO00683913                                Storage                                                                                                            EA                                1                       20212.5
Superior ‐ Lafayette   Superior Energy Services     WO00686388                                Storage                                                                                                            EA                                1                        8767.5
Superior ‐ Lafayette   Superior Energy Services     WO00683897                                Storage                                                                                                            EA                                1                          1876
Superior ‐ Lafayette   Superior Energy Services     WO00683109                                 Staging                                                                                                           EA                                1                       13387.5
Superior ‐ Lafayette   Superior Energy Services     WO00683100                                 Staging                                                                                                           EA                                1                       13387.5
Superior ‐ Lafayette   Superior Energy Services     WO00683108                                 Staging                                                                                                           EA                                1                        6037.5
Superior ‐ Lafayette   Superior Energy Services     WO00683099                                 Staging                                                                                                           EA                                1                        6037.5
Superior ‐ Lafayette   Superior Energy Services        683271‐02                               Staging                                                                                                           EA                                1                       34660.5
Superior ‐ Lafayette   Superior Energy Services     WO00683107                                 Staging                                                                                                           EA                                1                        4161.5
Superior ‐ Lafayette   Superior Energy Services     WO00683104                                 Staging                                                                                                           EA                                1                        5848.5
Superior ‐ Lafayette   Superior Energy Services     WO00683101                                 Staging                                                                                                           EA                                4                        4658.5
Superior ‐ Lafayette   Superior Energy Services        683271‐01                               Staging                                                                                                           EA                                1                       34660.5
Superior ‐ Lafayette   Superior Energy Services     WO00683098                                 Staging                                                                                                           EA                                1                        4161.5
Superior ‐ Lafayette   Superior Energy Services        685354‐01                               Staging                                                                                                           EA                                1                         16387
Superior ‐ Lafayette   Superior Energy Services     WO00683097                                 Staging                                                                                                           EA                                1                          4081
Superior ‐ Lafayette   Superior Energy Services     WO00683096                                 Staging                                                                                                           EA                                1                       55849.5
Superior ‐ Lafayette   Superior Energy Services     WO00683095                                 Staging                                                                                                           EA                                1                         14315
Superior ‐ Lafayette   Superior Energy Services        683514‐03                               Staging                                                                                                           EA                                1                        3307.5
Superior ‐ Lafayette   Superior Energy Services     WO00683094                                 Staging                                                                                                           EA                                1                        5848.5
Superior ‐ Lafayette   Superior Energy Services     WO00683093                                 Staging                                                                                                           EA                                4                          1786
Superior ‐ Lafayette   Superior Energy Services     WO00683092                                 Staging                                                                                                           EA                                4                        4658.5
Superior ‐ Lafayette   Superior Energy Services     WO00683056                                 Staging                                                                                                           EA                                1                       16488.5
Superior ‐ Lafayette   Superior Energy Services     WO00683049                                 Staging                                                                                                           EA                                1                        4595.5
Superior ‐ Lafayette   Superior Energy Services   31068948‐MA498‐2                             Staging                                                                                                           EA                                1                        8767.5
Superior ‐ Lafayette   Superior Energy Services     WO00683020                                 Staging                                                                                                           EA                                1                          1876
Superior ‐ Lafayette   Superior Energy Services      TLS‐002872‐8                            Assembly                                                                                                            EA                                1                          6972
Superior ‐ Lafayette   Superior Energy Services      TLS‐002872‐7                            Assembly                                                                                                            EA                                1                         12285
Technip ‐ Broussard         Technip FMC               JO:66490‐02     JO:66490‐02           RMA203008           INSTRUMENT FLANGE BODY, 3 1/16 15K DRILL                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC                PFI‐056577      PFI‐056577    203111 TRNSFR FR FMC HOU   CM‐1, 13 3/8 TIEBACK ADAPTER ASSY, 13 5/                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC             2009‐07‐133T     2009‐07‐133T              203064           TUBING HEAD ASSY, TCM‐ET 9 3/4 HPE BTM P                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC             RMC100984‐L      RMC100984‐L               203027           TERMINATING FLANGE ASSY, 1‐18K BX‐SPCL P                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               RMC99784‐L      RMC99784‐L               203008           TERMINATING FLANGE ASSY, 1‐18K BX‐SPCL P                                                         EA                                1                          3900
Technip ‐ Broussard         Technip FMC               2009‐07‐15T     2009‐07‐15T                               1 13/16"‐15K, Manual GV Assy                                                                     EA                                1                             0
Technip ‐ Broussard         Technip FMC             2005‐07‐801H     2005‐07‐801H             203008            GV ASSY SURFACE, M150 VLT, FE 3 1/16‐15K                                                         EA                                1                          9750
Technip ‐ Broussard         Technip FMC               2006‐06‐62T     2006‐06‐62T             203027            GV ASSY SURFACE, M150 VLT, FE 3 1/16‐15K                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               2006‐06‐61T     2006‐06‐61T             203027            GV ASSY SURFACE, M150 VLT, FE 3 1/16‐15K                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               FF25554‐01       FF25554‐01             203008            BLIND FLANGE, 3 1/16‐15K FLG, FF, PSL 2,                                                         EA                                1                           560
Technip ‐ Broussard         Technip FMC                300024518       300024518              203008            TREE CAP ADAPTER, B‐11‐AO, ASSY, 3 1/16‐                                                         EA                                1                          4980
Technip ‐ Broussard         Technip FMC                 12506‐01        12506‐01              203027            TREE CAP ADAPTER, B‐11‐AO, ASSY, 3 1/16‐                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC             WO#34626‐01      WO#34626‐01              203027            CROSS ASSY, C‐600 (STDD), 3 1/16 15K API                                                         EA                                1                       8994.32
Technip ‐ Broussard         Technip FMC                HT‐5524‐1        HT‐5524‐1             203008            CROSS ASSY, C‐600 (STDD), 3 1/16 15K API                                                         EA                                1                          3166
Technip ‐ Broussard         Technip FMC                 62661‐13        62661‐13     203110 TRNSFR FR FMC HOU   MQC 12 LONG TERM PROTECTION CAP W/OUT RO                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               HO32321‐02      HO32321‐02            RMA203281           TREE CAP ASSY, HES STYLE, SPCL, 7‐1/16                                                           EA                                1                             0
Technip ‐ Broussard         Technip FMC               HO32334‐02      HO32334‐02            RMA203281           17D VALVE ASSY, CM‐1 PRODUCTION TREE, 2X                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC                RB261196         RB261196     203110 TRNSFR FR FMC HOU   CM‐1, 9 5/8 TIEBACK ADAPTER ASSY, 9 5/8                                                          EA                                1                             0
Technip ‐ Broussard         Technip FMC                 98‐1117H        98‐1117H            RMA203281           GV ASSY, S/S, M130, FE, ACTD, 3 1/16 10K                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC                 LAF6711          LAF6711            RMA203281           OBS‐CM‐1, TUBING HEAD ASSY, SUPER PART,                                                          EA                                1                             0
Technip ‐ Broussard         Technip FMC                98‐1209‐H        98‐1209‐H           RMA203281           ANNULUS WING VALVE BLOCK ASSY, SUBSEA M1                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               HO32390‐01      HO32390‐01            RMA203281           OBS‐CM‐1, TUBING HANGER ASSY, 9.295/9.28                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               HO32433‐02      HO32433‐02            RMA203281           OBS‐CM‐1, 13 5/8‐5K CLAMP HUB (MOD) TOP                                                          EA                                1                             0
Technip ‐ Broussard         Technip FMC             MWS84993‐01      MWS84993‐01            RMA203281           BLIND FLANGE, 1‐12.5K FLG, HH, PSL 3, P‐                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC             MWS84993‐09      MWS84993‐09            RMA203281           BLIND FLANGE, 1‐12.5K FLG, HH, PSL 3, P‐                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               H021732‐02      H021732‐02              203059            TEE ASSEMBLY, T‐608, 3 1/16‐10000 X 2 9/                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC              W0‐21575‐01     W0‐21575‐01            RMA203128           TEE ASSEMBLY, T‐608, 3 1/16‐10000 X 2 9/                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC                1054891‐2       1054891‐2     203110 TRNSFR FR FMC HOU   HOSE AND CONNECTOR ASSY, 1 X 1 LEGS, F/                                                          EA                                1                             0
Technip ‐ Broussard         Technip FMC                1054892‐2       1054892‐2     203110 TRNSFR FR FMC HOU   HOSE AND CONNECTOR ASSY, 1 X 2 LEGS, F/                                                          EA                                1                             0
Technip ‐ Broussard         Technip FMC                1054890‐2                     203110 TRNSFR FR FMC HOU   SENSOR ASSY, 4‐20 MA, W/ PRESSURE TRANSD                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC                1054889‐2       1054889‐2     203110 TRNSFR FR FMC HOU   SENSOR ASSY, 4‐20 MA, W/ PT/TT AND 4‐WAY                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC             2008‐10‐0916S    2008‐10‐0916S   203110 TRNSFR FR FMC HOU   CM‐1, COMPOSITE TREE SUPER ASSY, 10K WP,                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               2009‐03‐77T     2009‐03‐77T    203110 TRNSFR FR FMC HOU   CM‐1, TUBING HEAD ASSY, 13 5/8‐5K SL‐II                                                          EA                                1                             0
Technip ‐ Broussard         Technip FMC               AM1252‐01        AM1252‐01     203110 TRNSFR FR FMC HOU   CM‐1, TUBING HANGER ASSY, 3 1/2 (9.3 LB/                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               AD22144‐01      AD22144‐01     203110 TRNSFR FR FMC HOU   CROSSOVER JOINT, 20 API BC THD PIN TOP X                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC                PFI061348       PFI061348              203008            TUBING HANGER ASSY, TC‐1A‐EMS, 11 FLG, 1                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC             030373‐01‐01     030373‐01‐01             203027            TUBING HANGER ASSY, TC‐1A‐EMS, 11 FLG, 3                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC              D0710001‐08      D0710001‐08    203110 TRNSFR FR FMC HOU   SD‐1, BUTTWELD SUB, 30, 26.385 MIN ID, D                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC              AD‐21319‐01      AD‐21319‐01           RMA203237           ADAPTER BODY, A‐4‐M, 11‐15K STDD BTM X 3                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC                PF1058777       PF1058777     203111 TRNSFR FR FMC HOU   CROSSOVER JOINT, 9 5/8 (47.00 LB/FT) BC                                                          EA                                1                             0
Technip ‐ Broussard         Technip FMC                PF1058778       PF1058778     203110 TRNSFR FR FMC HOU   CROSSOVER JOINT, 9 5/8 (47.00 LB/FT) BC                                                          EA                                1                             0
Technip ‐ Broussard         Technip FMC                PFI057990       PFI057990     203111 TRNSFR FR FMC HOU   CROSSOVER JOINT, 13 3/8 (68.00 LB/FT) BC                                                         EA                                1                             0




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       Facility         Facility Owner      Item Number          Serial No.             Location          Item Description                                                                Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
 Technip ‐ Broussard     Technip FMC          PF1057991         PF1057991      203110 TRNSFR FR FMC HOU   CROSSOVER JOINT, 13 3/8 (68.00 LB/FT) BC                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC        HN‐27639‐5B       HN‐27639‐5B      203110 TRNSFR FR FMC HOU   X‐MAS TREE, HYDRAULIC CONTROLS KIT, F/ T                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC        2006‐06‐183T      2006‐06‐183T               203027           GV ASSY SURFACE, M150, FE 3 1/16‐15K, RE                                                                         EA                                1                     18556.69
 Technip ‐ Broussard     Technip FMC        2006‐06‐250T      2006‐06‐250T               203027           GV ASSY SURFACE, M150, FE 3 1/16‐15K, RE                                                                         EA                                1                     18556.69
 Technip ‐ Broussard     Technip FMC         2005‐09‐32T       2005‐09‐32T               203008           GV ASSY SURFACE, M150, FE 3 1/16‐15K, RE                                                                         EA                                1                         6210
 Technip ‐ Broussard     Technip FMC          PFI044523         PFI044523                203027           INSTRUMENT FLANGE BODY, 3 1/16 15K DRILL                                                                         EA                                1                      2185.39
 Technip ‐ Broussard     Technip FMC          PFI044524         PFI044524                203027           INSTRUMENT FLANGE BODY, 3 1/16 15K DRILL                                                                         EA                                1                      2185.39
 Technip ‐ Broussard     Technip FMC       PFI038246‐001     PFI038246‐001               203008           INSTRUMENT FLANGE BODY, 3 1/16 15K DRILL                                                                         EA                                1                          778
 Technip ‐ Broussard     Technip FMC       PFI038246‐003     PFI038246‐003               203008           INSTRUMENT FLANGE BODY, 3 1/16 15K DRILL                                                                         EA                                1                          778
 Technip ‐ Broussard     Technip FMC         2006‐06‐72T       2006‐06‐72T               203027           LOWER MASTER BLOCK VALVE, ASSY, S1, 3 1/                                                                         EA                                1                     65461.23
 Technip ‐ Broussard     Technip FMC        2005‐09‐189T      2005‐09‐189T               203008           LOWER MASTER BLOCK VALVE, ASSY, S1, 3 1/                                                                         EA                                1                        23700
 Technip ‐ Broussard     Technip FMC          HN‐P3576          HN‐P3576                 203008           TUBING HANGER ASSY, TC‐1A‐EMS, 11 FLG, 3                                                                         EA                                1                        18960
 Technip ‐ Broussard     Technip FMC           LAF6589            LAF6589             RMA203122           TUBING HEAD TCM 11" 10K FLG BTM X 7‐1/16                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6590            LAF6590             RMA203122           TUBING HEAD OCT 7‐1/16" 10K X 3‐1/16"                                                                            EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6596           LAF6596              RMA203122           TREE CAP BODY 3" 10K                                                                                             EA                                1                            0
 Technip ‐ Broussard     Technip FMC     GA3186/1501/7/1    GA3186/1501/7/1           RMA203281           PACSON VALVE                                                                                                     EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6712            LAF6712             RMA203281           PACSON VALVE                                                                                                     EA                                1                            0
 Technip ‐ Broussard     Technip FMC     GA3186/1501/1/6    GA3186/1501/1/6           RMA203281           PACSON VALVE                                                                                                     EA                                1                            0
 Technip ‐ Broussard     Technip FMC     GA3186/1501/1/10   GA3186/1501/1/10          RMA203281           PACSON VALVE                                                                                                     EA                                1                            0
 Technip ‐ Broussard     Technip FMC           771965‐1          771965‐1             RMA203122           GATE VALVE ASSY 3‐1/16" 10K WKM M2 MANUA                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC            13530‐4           13530‐4             RMA203122           GATE VALVE ASSY 3‐1/16 10K W/AXELSON ACT                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC            429123             429123             RMA203122           GATE VALVE ASSY 3‐1/16 10K MANUAL WKM M2                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC          5005180‐5         5005180‐5             RMA203122           GATE VALVE ASSY 2‐9/16" 10K MANUAL VETCO                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           480655‐1          480655‐1             RMA203122           GATE VALVE ASSY 2‐9/16 10K MANUAL M1 WKM                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6739            LAF6739             RMA203122           GATE VALVE ASSY 1‐13/16" 10K MANUAL WKM                                                                          EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6738                                RMA203122           GATE VALVE ASSY 1‐13/16" 10K MANUAL OTIS                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6595          LAF6595               RMA203122           DOUBLE STDD ADAPTER 2‐9/16" 10K X                                                                                EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6592          LAF6592               RMA203122           DOUBLE STDD ADAPTER 2‐9/16 10K X                                                                                 EA                                1                            0
 Technip ‐ Broussard     Technip FMC         CC191267/1       CC191267/1                 203018           CHOKE ASSY. POS. 3 1/16 15K FLG INLET X                                                                          EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6496          LAF6496                  203059           CHOKE ASSY. ADJ 2 9/16 10K FLG INLET/ FL                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           AO‐0041          AO‐0041                  203027           CHOKE ASSY,ADJ.3 1/15K FLG.INLET X FLG.O                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6593          LAF6593               RMA203122           CHOKE ASSY POS 1‐13/16" 10K x FLG INLET                                                                          EA                                1                            0
 Technip ‐ Broussard     Technip FMC          95‐02137H       95‐02137H                  155851           OBSOLETE & NOT REPLACED ‐ 14D GV ASSY FE                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC         95‐11193‐H       95‐11193‐H              RMA203128           OBSOLETE & NOT REPLACED ‐ 14D GV ASSY FE                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC          98‐01139H       98‐01139H                  155851           *** OBSOLETE AND REPLACED BY P168609 ***                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC         97‐03106‐H       97‐03106‐H              RMA203128           *** OBSOLETE AND REPLACED BY P168609 ***                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC          95‐03140H       95‐03140H                  155851           GV ASSY MOD130 3‐1/16 FB                                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC         97‐02113‐H       97‐02113‐H              RMA203128           GV ASSY MOD130 3‐1/16 FB                                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC         97‐02114‐H       97‐02114‐H              RMA203128           GV ASSY MOD130 3‐1/16 FB                                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6495          LAF6495                  155851           GV ASSY SURFACE, M130, FE 2 9/16‐10K, PR                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC         97‐02123‐H       97‐02123‐H              RMA203128           GV ASSY SURFACE, M130, FE 2 9/16‐10K, PR                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC       2007‐08‐106H      2007‐08‐106H      203111 TRNSFR FR FMC HOU   MQC6 INBOARD ASSEMBLY MINI (3)PSL NA, 1Q                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC      RMC101750‐A‐01    RMC101750‐A‐01     203111 TRNSFR FR FMC HOU   SD‐1, TIEBACK SUB, ASSY, 9 5/8, 9 5/8 BC                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           HO45569         M6893‐02        203110 TRNSFR FR FMC HOU   SD‐1, TIEBACK SUB, ASSY, 9 5/8, 9 5/8 BC                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC      RMC‐101750‐A02    RMC101750‐A‐02     203110 TRNSFR FR FMC HOU   SD‐1, ASSEMBLY, TIEBACK SUB, 7", W/7" AP                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC       RMC103989‐02      RMC103989‐02      203111 TRNSFR FR FMC HOU   SD‐1, CASING HANGER, ASSY, 9 5/8 X 7, 7                                                                          EA                                1                            0
 Technip ‐ Broussard     Technip FMC       RMC103989‐01      RMC103989‐01      203110 TRNSFR FR FMC HOU   SD‐1, CASING HANGER, ASSY, 9 5/8 X 7, 7                                                                          EA                                1                            0
 Technip ‐ Broussard     Technip FMC       2006‐09‐104‐2    HN:200609104‐2     203111 TRNSFR FR FMC HOU   SD‐1, CASING HANGER, ASSY, 13 3/8 X 9 5/                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC       2006‐09‐096‐7     2006‐09‐096‐7     203111 TRNSFR FR FMC HOU   SD‐1, CASING HANGER, ASSY, 20 X 13 3/8,                                                                          EA                                1                            0
 Technip ‐ Broussard     Technip FMC      HE0612015‐3MT     HE0612015‐3MT      203111 TRNSFR FR FMC HOU   SD‐1, CASING HANGER, ASSY, 30 X 20, 20 B                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           H029400         H029400.               RMA203128           ADPTR ASSY, A‐4‐M, 11 10K STD'D BTM X 3                                                                          EA                                1                            0
   TIW ‐ Houston       TIW Corporation       3‐633156CP        13A00109                 HD A08C           525‐SV FLOAT COLLAR 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN                                                 EA                                1                            0
   TIW ‐ Houston       TIW Corporation       3‐633156CP        13A00110                 HD A08C           525‐SV FLOAT COLLAR 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN                                                 EA                                1                            0
                                                                                                          526‐DV NON‐AUTOFILL SETSHOE 521.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X AL
   TIW ‐ Houston       TIW Corporation      3‐633157CP         13A00111                HD A12D            BLADED NOSE W/SIDE PORTS (1‐PC)                                                                                 EA                                 1                                0
                                                                                                          526‐DV NON‐AUTOFILL SETSHOE 521.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X AL
   TIW ‐ Houston       TIW Corporation      3‐633157CP         13A00112                HD A12D            BLADED NOSE W/SIDE PORTS (1‐PC)                                                                                 EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐108383CP         08E02274                HD A26C            RP SPLINE SUB X‐PAK 5‐1/2 17#P‐110 ULTRA‐FJ BXP W/5.875 OD                                                      EA                                 1                                0
                                                                                                          RP SPLINE SUB X‐PAK 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN F/UPR‐C &
   TIW ‐ Houston       TIW Corporation      3‐119720CP         13A00100                HD A26C            W/5.500 OD                                                                                                      EA                                 1                                0
                                                                                                          X‐PAK LNR HGR 5 21.4# P‐110 EC (125KSI) ULT‐FJ PIN X 7 42.7# *COLLET #110515*
   TIW ‐ Houston       TIW Corporation      3‐633154CP         13A00097                HD A26C            (F/14" STROKE TL)                                                                                               EA                                 1                                0
                                                                                                          X‐PAK LNR HGR 5 21.4# P‐110 EC (125KSI) ULT‐FJ PIN X 7 42.7# *COLLET #110515*
   TIW ‐ Houston       TIW Corporation      3‐633154CP         13A00098                HD A26C            (F/14" STROKE TL)                                                                                               EA                                 1                                0
                                                                                                          DPOB W/GREASE PORT 5‐1/2 17# P‐110 ULTRA‐FJ BOX X 20# STL PIN F/2.594 OD
   TIW ‐ Houston       TIW Corporation      3‐634038CP         14F04050                HD A26C            POL NPL                                                                                                         EA                                 1                                0
                                                                                                          RP SPLINE SUB X‐PAK 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN F/UPR‐C &
   TIW ‐ Houston       TIW Corporation      3‐119720CP         13A00099                HD A26D            W/5.500 OD                                                                                                      EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐119721CP         13A00101                HD A26D            EXT NPL 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN X 48" LG                                                   EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐119721CP         13A00102                HD A26D            EXT NPL 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN X 48" LG                                                   EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐119721CP         13A00103                HD A26D            EXT NPL 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN X 48" LG                                                   EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐119721CP         13A00104                HD A26D            EXT NPL 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN X 48" LG                                                   EA                                 1                                0
                                                                                                          DRILLABLE PO BUSH 5 21.4# P‐110 EC ULTRA‐FJ BOX X PIN W/O‐RG INSERT &
   TIW ‐ Houston       TIW Corporation      3‐633155CP         13A00105                HD A26D            F/2.594 OD POL NPL                                                                                              EA                                 1                                0
                                                                                                          DRILLABLE PO BUSH 5 21.4# P‐110 EC ULTRA‐FJ BOX X PIN W/O‐RG INSERT &
   TIW ‐ Houston       TIW Corporation      3‐633155CP         13A00106                HD A26D            F/2.594 OD POL NPL                                                                                              EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐521973CP         14F04053                HD A30C            226‐DV NON‐AUTO FILL SETSHOE 5‐1/2 20# P‐110 STL BOX X CEMENT NOSE                                              EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐528641CP         14F04051                HD A30C            PDC O‐L LANDING COLLAR 5‐1/2 20# P‐110 STL BOX X PIN                                                            EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐634039CP         14F04052                HD A30C            225‐SV FLOAT COLLAR 5‐1/2 20#P‐110 STL BOX X PIN                                                                EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐528446CP         13A00107                HD A31B            PDC O‐L LANDING COLLAR 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN                                             EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐528446CP         13A00108                HD A31B            PDC O‐L LANDING COLLAR 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN                                             EA                                 1                                0

   TIW ‐ Houston       TIW Corporation      3‐108577CP         13C01637               HDX A27B            TIE BACK EXPANDER X‐PAK LH 5‐1/2 17# X 7‐5/8 29.7# W/5.500 ID X 48" LG RECPT                                    EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐108384CP         13H03696               HDX A35E            EXT NPL 5‐1/2 17# P‐110 ULTRA‐FJ BOX X PIN X 48" LG                                                             EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐119650CP         13A00014               HDX A35E            EXT NPL 5‐1/2 20# P‐110 STL BOX X PIN X 48" LG                                                                  EA                                 1                                0
                                                                                                          TIE‐BACK EXPANDER X‐PAK LH 5 15‐23.2# X 7 42.7# W/4.875 ID X 48" RECPT
   TIW ‐ Houston       TIW Corporation      3‐119718CP         13A00095               HDX A35E            (F/14" STROKE TL)                                                                                               EA                                 1                                0
                                                                                                          TIE‐BACK EXPANDER X‐PAK LH 5 15‐23.2# X 7 42.7# W/4.875 ID X 48" RECPT
   TIW ‐ Houston       TIW Corporation      3‐119718CP         13A00096               HDX A35E            (F/14" STROKE TL)                                                                                               EA                                 1                                0

   TIW ‐ Houston       TIW Corporation      3‐630211CP         08E02273               HDX A35E            X‐PAK LNR HGR 5‐1/2 17# P‐110ULTRA FJ PIN X 7‐5/8 29.7# * COLLET #097434 *                                      EA                                 1                                0
                                                                                                          GENERATOR; 4800KW KATO WITH 2 JUNCTION BOXES, SN‐43589‐01, 4160
Ward Leonard ‐ Houma    Ward Leonard                                                                      VOLTAGE, 1800 RPM                                                                                               EA                                 1                    262037.44




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       Facility             Facility Owner          Item Number     Serial No.    Location   Item Description                                                              Project Number    Project Name     UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value        WI% Net Value
                                                                                             GENERATOR; 1000KW MARATHON WITH JUNCTION BOXES PARTS, SN‐WA‐
Ward Leonard ‐ Houma        Ward Leonard                                                     6002753‐0616                                                                                                     EA                                 1                          0.01
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101603791                  P7010     TECHHOLD PKR,7,32‐35,3.880                                                                         200 TA‐3      EA                                 1                                         5135          1      5135
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101398678                  C019      COMB CPLG,3 1/2‐12 UN‐2B X 3 1/2 API‐NU                                                            200 TA 3      EA                                 1                                          826          1       826
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101522287                  C585      LOC,NO‐GO,3 1/2‐9.20 VARST1 X 3 1/2‐12                                                             200 TA 3      EA                                 1                                       914.85          1    914.85
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101522287                  C585      LOC,NO‐GO,3 1/2‐9.20 VARST1 X 3 1/2‐12                                                             200 TA 3      EA                                 1                                       914.85          1    914.85
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101522287                  C500      LOC,NO‐GO,3 1/2‐9.20 VARST1 X 3 1/2‐12                                                             200 TA 3      EA                                 1                                       914.85          1    914.85
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101603543                  C010      SUB,BOT,MGP,5 1/2‐10 UNS‐2A X 5 1/4‐10                                                             200 TA 3      EA                                 1                                       917.92          1    917.92
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101603791                  P048      TECHHOLD PKR,7,32‐35,3.880                                                                         200 TA 3      EA                                 1                                      4022.68          1   4022.68
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101603791                  C585      TECHHOLD PKR,7,32‐35,3.880                                                                         200 TA 3      EA                                 1                                      4022.68          1   4022.68
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101603791                  C585      TECHHOLD PKR,7,32‐35,3.880                                                                         200 TA 3      EA                                 1                                      4022.68          1   4022.68
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101603791                  P7010     TECHHOLD PKR,7,32‐35,3.880                                                                         200 TA 3      EA                                 1                                      4022.68          1   4022.68
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101652773                  C5006     LN,2.750,S13CR,3 1/2‐9.2 VARST1,B‐P                                                                200 TA 3      EA                                 1                                       728.83          1    728.83
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101858738                  C5011     PKR,7,32‐35,4 1/2‐4 AC‐2G‐LH .SCB                                                                  200 TA 3      EA                                 1                                      6494.54          1   6494.54
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101939766                  C585      LOC,NO‐GO,4‐13.20 VARST1 X 3 1/2‐12 UN‐2                                                           200 TA 3      EA                                 1                                       793.54          1    793.54
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101939766                  C585      LOC,NO‐GO,4‐13.20 VARST1 X 3 1/2‐12 UN‐2                                                           200 TA 3      EA                                 1                                       793.54          1    793.54
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH100008579                  C028      GID,TUBE,WD,5 3/8‐10 UNS,7,32‐38 X 4.00                                                            200 TA 3      EA                                 1                                          493          1       493
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101252847                  C002      MDRL,NWD,4 1/2‐12 UN‐2A X 4 1/2 API‐LC,7                                                           200 TA 3      EA                                 1                                          889          1       889
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101290361                  C027      MULE SHOE GID,3 1/2‐12 UN BOX                                                                      200 TA 3      EA                                 1                                          268          1       268
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101346768                  C358      CLO SLV ASSY,MPT,5 1/4‐10 UNS X 5‐18                                                               200 TA 3      EA                                 1                                         2643          1      2643
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101346768                   P11      CLO SLV ASSY,MPT,5 1/4‐10 UNS X 5‐18                                                               200 TA 3      EA                                 1                                         2643          1      2643
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101555004                  C358      REDCG ADPTR,2 1/4 OTIS‐ST X 2 3/8‐4.60                                                             200 TA 3      EA                                 1                                          415          1       415
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101555004                  C358      REDCG ADPTR,2 1/4 OTIS‐ST X 2 3/8‐4.60                                                             200 TA 3      EA                                 1                                          415          1       415
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101555547                  C046      SEAL ASSY,2.650 X 2 1/4 OTIS‐ST                                                                    200 TA 3      EA                                16                                       468.79          1    468.79
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101575482                  C358      REDCG ADPTR,2 3/8‐4.60 TSH 511 X 2 1/4                                                             200 TA 3      EA                                 1                                          461          1       461
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101575482                  C358      REDCG ADPTR,2 3/8‐4.60 TSH 511 X 2 1/4                                                             200 TA 3      EA                                 1                                          461          1       461
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton           ZCUSSH323456                    C5002     SEAL UNIT EXT,3 1/2‐12 UN,B‐P,3.88                                                                 200 TA 3      EA                                 1                                          813          1       813
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101944453                  C5006     COL SHFT TL,BS1,2.770,41XX LAS                                                                     200 TA 3      EA                                 4                                         1532          1      1532
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102004784                   P11      TRV JT,3 1/2‐9.20 VARST1 B‐P                                                                       200 TA 3      EA                                 1                                          148          1       148
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102127370                  C7012     FLDLOSS DVC,FS2‐L,5.470,2.770,.SCB                                                                 200 TA 3      EA                                 1                                        16617          1     16617
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102132850                  C5006     SEAL ASSY,3.880 X 3 1/2‐12 UN,MLD AFLAS                                                            200 TA 3      EA                                 5                                          595          1       595
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102138028                  C5006     PERF COL LOCTR,4.000 X 2 7/8 API‐EU                                                                200 TA 3      EA                                 1                                         2758          1      2758
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102138040                  C5006     MULESHOE GDE,3 1/4‐8 UN‐2B,BOX,WITH BAF                                                            200 TA 3      EA                                 1                                       374.23          1    374.23
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102154734                  C5006     SHR JT ASSY,3 1/2‐9.20 VARST1,B‐P                                                                  200 TA 3      EA                                 3                                          162          1       162
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102004784                B5‐R1‐RW4   TRV JT,3 1/2‐9.20 VARST1 B‐P                                                                       200 TA 3      EA                                 1                                          162          1       162
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102004784                B5‐R2‐RW4   TRV JT,3 1/2‐9.20 VARST1 B‐P                                                                       200 TA 3      EA                                 1                                          162          1       162
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102127370                  C7011     FLDLOSS DVC,FS2‐L,5.470,2.770,.SCB                                                                 200 TA 3      EA                                 1                                        16617          1     16617
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102134650                  C5006     LOC,NO‐GO,3 1/2‐9.20 VARST1 X 3 1/2‐12                                                             200 TA 3      EA                                 2                                       876.98          1    876.98
                                                                                                                                                                                            SHELL TROIKA GC
   GE ‐ Broussard          GE ‐ Broussard            H10004‐2                                SCREW,CAP,HEX COLLAR, 2.000‐ 8 X 9.000 LG,UN‐2A, LOW TEMPERATURE SERVICE                           200 TA 3      EA                                24                                          697          1       697
                                                                                             3‐WAY SHOOT AROUND(3.5" 9.20# AF913‐110Y VARST‐1 B0X / 5.5" 16.87# STL                         SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5241‐1                                PIN / 3.5" 9.20# VARST‐1 BOX 2FT)                                                                  200 TA 3      EA                                 1                                          500          1       500
                                                                                             3‐WAY SHOOT AROUND(3.5" 9.20# AF913‐110Y VARST‐1 B0X / 5.5" 16.87# STL                         SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5241‐2                                PIN / 3.5" 9.20# VARST‐1 BOX 2FT)                                                                  200 TA 3      EA                                 1                                          500          1       500
                                                                                                                                                                                            SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5235‐6                                COUPLING (3.5" 9.20# 13CRM110 VARST‐1) (C‐LEVEL)                                                   200 TA 3      EA                                 1                                               45      1        45
                                                                                             CROSSOVER (5.5" 16.87# STL BOX / 3.5" 9.20# VARST‐1 PIN AF913‐110Y 2FT) (C‐                    SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5233‐1                                LEVEL)                                                                                             200 TA 3      EA                                 1                                          500          1       500
                                                                                             CROSSOVER (5.5" 16.87# STL BOX / 3.5" 9.20# VARST‐1 PIN AF913‐110Y 2FT) (C‐                    SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5233‐2                                LEVEL)                                                                                             200 TA 3      EA                                 1                                          500          1       500
                                                                                                                                                                                            SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5239‐2                                PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                               45      1        45
                                                                                                                                                                                            SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5239‐3                                PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                               45      1        45
                                                                                                                                                                                            SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5239‐4                                PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                               45      1        45
                                                                                                                                                                                            SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5240‐1                                PUP JOINT (5.5" 17# 13CR110Y HYPTP1 FOX K PIN/PIN 4FT) (C‐LEVEL)                                   200 TA 3      EA                                 1                                               45      1        45




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    Facility           Facility Owner        Item Number   Serial No.   Location   Item Description                                                               Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost   Total Value        WI% Net Value
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5240‐2                             PUP JOINT (5.5" 17# 13CR110Y HYPTP1 FOX K PIN/PIN 4FT) (C‐LEVEL)                                    200 TA 3      EA                                 1                                              45      1        45
                                                                                   CROSSOVER (3.5" 9.20# 13CRS110Y VARST‐1 BOX/ 3.5" 9.20# TSH 511 BOX 2FT) (C‐                    SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5036‐1                             LEVEL)                                                                                              200 TA 3      EA                                 1                                         500          1       500
                                                                                   CROSSOVER (3.5" 9.20# 13CRS110Y VARST‐1 BOX/ 3.5" 9.20# TSH 511 BOX 2FT) (C‐                    SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5036‐2                             LEVEL)                                                                                              200 TA 3      EA                                 1                                         500          1       500
                                                                                   CROSSOVER (5" 14.87# STL PIN AF913‐110Y X 3.5" 9.20# VARST‐1 PIN 2FT) (C‐                       SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5037‐1                             LEVEL)                                                                                              200 TA 3      EA                                 1                                         500          1       500
                                                                                   CROSSOVER (5" 14.87# STL PIN AF913‐110Y X 3.5" 9.20# VARST‐1 PIN 2FT) (C‐                       SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5037‐2                             LEVEL)                                                                                              200 TA 3      EA                                 1                                         500          1       500
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐1                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐2                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐3                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐4                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐5                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐6                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐7                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐8                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐9                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5019‐1                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 20FT PIN/PIN) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5019‐2                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 20FT PIN/PIN) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5019‐3                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 20FT PIN/PIN) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5019‐4                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 20FT PIN/PIN) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5030‐3                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5030‐4                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5030‐5                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5030‐6                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5040‐1                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5040‐2                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5040‐3                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5040‐4                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5040‐5                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5040‐6                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5040‐7                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5042‐1                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 10FT) (C‐LEVEL)                                    200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5048‐1                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                    200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5047‐1                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 14FT) (C‐LEVEL)                                    200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5038‐1                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5039‐1                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5039‐2                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5039‐3                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5045‐1                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5043‐1                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 8FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5063‐1                             RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                   200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5063‐2                             RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                   200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5063‐3                             RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                   200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5063‐4                             RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                   200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5063‐5                             RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                   200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5063‐6                             RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                   200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5063‐7                             RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                   200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5063‐8                             RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                   200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5060‐1                             RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                      200 TA 3      EA                                 1                                              82      1        82




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     Facility              Facility Owner            Item Number       Serial No.   Location   Item Description                                                                  Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost   Total Value        WI% Net Value
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services        GP5060‐10                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5060‐2                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5060‐3                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5060‐4                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5060‐5                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5060‐6                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5060‐7                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5060‐8                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5060‐9                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5266‐1                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5266‐2                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
     Schiever               Weatherford           541R070SLI2Q12A002                           SUB, CENTRALIZER ROT 7 541R Q125 VAM SLIJ‐II 32.0 9.75 OD                                              200 TA 3      EA                                20                                         635          1       635
                                                                                                                                                                                                  SHELL TROIKA GC
     Schiever               Weatherford           M212W70SLI2Q12A002                           SHOE, GUIDE 7 M212W CONC CMPST Q125 VAM SLIJ‐II 32.0                                                   200 TA 3      EA                                 2                                      471.18          1    471.18
                                                                                                                                                                                                  SHELL TROIKA GC
     Schiever               Weatherford           M45AP70SLI2Q12A002                           COLLAR, FLOAT 7 M49AP Q125 NR VAM SLIJ‐II 32.0 2‐4                                                     200 TA 3      EA                                 2                                     1092.48          1   1092.48
                                                                                               1‐Stairway with Handrails, 1‐Caged Access Ladder, & 2‐Small Deck Extension/Work                     Green Canyon
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                                Platofrms                                                                                            Block# 65 "A"   EA                                 1                                         225          1       225




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                                                                Permits

Part 1. Co-Owned Permits

  Block          Lease                                                       Permit
  GI 32          00174                                        No active/pending permits at this time
  GI 39          00126                                        No active/pending permits at this time
  GI 39          00127                                        No active/pending permits at this time
  GI 40          00128                                       APM Well No. M001 - Recomp to PI E1
  GI 41          00129                                      Segment 17191 - Pipeline Repair; In Review
  GI 41          00130                                        No active/pending permits at this time
  GI 42          00131                                        No active/pending permits at this time
  GI 43          00175                                        No active/pending permits at this time
  GI 44          00176                                        No active/pending permits at this time
  GI 46          00132                                        No active/pending permits at this time
  GI 47          00133                                        No active/pending permits at this time
  GI 48          00134                                        No active/pending permits at this time
  GI 52          00177                                        No active/pending permits at this time
  GI 110        G13943                                        No active/pending permits at this time
  GI 116        G13944                                        No active/pending permits at this time
 MC 110         G18192                                        No active/pending permits at this time
  SM 41         G01192                                        No active/pending permits at this time
  SM 48          00786                                        No active/pending permits at this time
 SM 149         G02592                                      C001 (APM for CT Cleanout/Modify Perfs)
  SP 60         G01609                                        No active/pending permits at this time
  ST 53         G04000                                        No active/pending permits at this time
  ST 67          00020                                        No active/pending permits at this time
  WD 67          00179                                        No active/pending permits at this time
  WD 68          00180                                        No active/pending permits at this time



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  Block          Lease                                                                  Permit
  WD 69          00181                                                   No active/pending permits at this time
                                                           APMs for Well Nos. WD70 I002, I007 & L005 - Conductor Repairs
  WD 70          00182                                                Well No. I014 - Install Lower PB Valve
                                                                         Well No. O004 - TTRC to JR Sand

                                                                      APMs for PA Well Nos. E006 & E009
  WD 71          00838                                            WD71 Well Nos. O002 & O007- Conductor Repairs
                                                                       WD71 Well No. O008 - APM for PA
  WD 94          00839                                                   No active/pending permits at this time
  WD 95         G01497                                                   No active/pending permits at this time
  WD 96         G01498                                                   No active/pending permits at this time



Part 2. Other Permits

  Block          Lease                                                                  Permits
 AT 023         G35015                                                   No active/pending permits at this time
 BS 025         G31442                                                   No active/pending permits at this time
 EC 345         G15156                                                   No active/pending permits at this time
 EW 789         G35805                                                   No active/pending permits at this time
 EW 790         G33140                                                   No active/pending permits at this time
 EW 828         G35806                                                   No active/pending permits at this time
 EW 834         G27982                                                   No active/pending permits at this time
 EW 835         G33707                                                   No active/pending permits at this time
EW 1009         G34878             Nothing filed under FW yet (previous Noble submittals need to be re-permitted under FW when operations determined)
EW 1010         G34879             Nothing filed under FW yet (previous Noble submittals need to be re-permitted under FW when operations determined)
EW 1011         G34880             Nothing filed under FW yet (previous Noble submittals need to be re-permitted under FW when operations determined)
 GC 39 A        G34966                                      Approved Revised EP Control No.R-6837 to drill/complete well B
 GC 39 B        G36476                                                   No active/pending permits at this time
 GC 040         G34536                 Revised DWOP in-review w/BSEE; approved Revised EP Control No.R-6837 to drill/complete wells C, F, I, J



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  Block          Lease                                                             Permits
 GC 041         G34537                                                  Nothing pending for any Seller
 GC 064         G34539                                                      No permits are pending
                                                              GC65 A - Proposed Helideck Repair Plan in review.
 GC 065         G05889
                                                               GC65 A037 - Casing Departure Request; pending
 GC 108         G14668                                               No active/pending permits at this time
 GC 109         G05900                                               No active/pending permits at this time
 GC 153         G36814                                               No active/pending permits at this time
 GC 198         G36021                                               No active/pending permits at this time
 GC 200         G12209                  Supplemental EP Control No.S-7931 approved to drill TA010, TA012, TA014, TA016, TA017, TA018
 GC 201         G12210                                               No active/pending permits at this time
 GC 238         G26302                                               No active/pending permits at this time
 GC 243         G20051                                               No active/pending permits at this time
 GC 244         G11043                                               No active/pending permits at this time
 GC 282         G16727                                               No active/pending permits at this time
 GC 679         G21811                                               No active/pending permits at this time
 GC 768         G21817                                               No active/pending permits at this time
  HI 176        G27509                                                APM to PA Well No.'s 002 & 003
 MC 118         G35963                                               No active/pending permits at this time
 MC 119         G36537                                               No active/pending permits at this time
 MC 162         G36880                                               No active/pending permits at this time
 MC 163         G36538                                               No active/pending permits at this time
 MC 171         G34428                                               No active/pending permits at this time
 MC 172         G34429                                               No active/pending permits at this time
 MC 206         G36540                                               No active/pending permits at this time
 MC 297         G34434                                               No active/pending permits at this time
 MC 380         G36544                                               No active/pending permits at this time
 MC 424         G36545                                               No active/pending permits at this time
 MC 435         G36772                                               No active/pending permits at this time
 MC 436         G36773                                               No active/pending permits at this time


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  Block          Lease                                                                   Permits
 MC 474         G35825                                               MC519 #2 - Casing Departure Request; pending
 MC 518         G35828                                                    No active/pending permits at this time
 MC 519         G27278                                            Preparing RDOCD to capture new flowline installation
 MC 562         G19966                                                    No active/pending permits at this time
 MC 563         G21176                                                    No active/pending permits at this time
 MC 691         G36400                                                    No active/pending permits at this time
 MC 697         G28021             Nothing filed under FW yet (previous Noble submittals need to be re-permitted under FW when operations determined)
 MC 698         G28022             Nothing filed under FW yet (previous Noble submittals need to be re-permitted under FW when operations determined)
 MC 742         G32343             Nothing filed under FW yet (previous Noble submittals need to be re-permitted under FW when operations determined)
 MC 743         G36401                                                    No active/pending permits at this time
 MC 782         G33757                         Active departure for #002 well for cycling zones (will continue to be renewed every 4 months)
 MC 789         G36557                                                    No active/pending permits at this time
 MC 793         G33177                                                    No active/pending permits at this time
 MC 904         G36566                                                    No active/pending permits at this time
 MC 905         G36405                                                    No active/pending permits at this time
                               Approved SDOCD Control No. S-8000 for #001 well (SHL in MC948/BHL in MC992) to sidetrack & produce well + install 2 LT
 MC 948         G28030
                                                                                     pipelines
 MC 949         G32363             Nothing filed under FW yet (previous Noble submittals need to be re-permitted under FW when operations determined)
                               Approved SDOCD Control No. S-8000 for #001 well (SHL in MC948/BHL in MC992) to sidetrack & produce well + install 2 LT
 MC 992         G24133
                                                                                     pipelines
 MC 993         G24134             Nothing filed under FW yet (previous Noble submittals need to be re-permitted under FW when operations determined)
 SM 040         G13607                                                    No active/pending permits at this time
  SS 079        G15277                                                    No active/pending permits at this time
                                            SOP Approved with contingency that the A004 recompletion will need to begin by January 31, 2021
  SS 301        G10794
                                                                    Segment 11050 - Temp Cessation; In Review
  ST 287        G24987                                                    No active/pending permits at this time
  ST 308        G21685                                              ST308 A002 - Casing Departure Request; pending
 VR 078         G04421                                                    No active/pending permits at this time
 VR 229         G27070                                                    No active/pending permits at this time



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  Block          Lease                                                                     Permits
 VR 362         G10687                                                     APM for VR362 A003 - Conductor Repair
 VR 363         G09522                                                       No active/pending permits at this time
                                                                                RPM for VR 371 A001 (TA)
 VR 371         G09524
                                                                          Segment 10675 - Temp Cessation; In Review
 WD 57,
 WD 79,         G01449                                                       No active/pending permits at this time
 WD 80
 WD 79,
                G01874                                                       No active/pending permits at this time
 WD 80
  WD 80         G01989                                                       No active/pending permits at this time
  WD 80         G02136                                                       No active/pending permits at this time


    Onshore Lease                                                                   Permits
     SL-LA 15683               No active/pending permits at this time
     SL-LA 17675               No active/pending permits at this time
     SL-LA 17860               No active/pending permits at this time
     SL-LS 19051               No active/pending permits at this time
     SL-LA 19718               No active/pending permits at this time
     SL-MS 23017               No active/pending permits at this time
    SL-MS 170650               No active/pending permits at this time
    SL-MS 230140               No active/pending permits at this time
    SL-MS 230150               No active/pending permits at this time
    SL-MS 231240               No active/pending permits at this time
     SL-TX 5749                No active/pending permits at this time
     SL-TX 5797                No active/pending permits at this time
     SL-TX 24318               No active/pending permits at this time
    SL-TX 106158               No active/pending permits at this time
    SL-TX 106159               No active/pending permits at this time
    SL-TX 114921               No active/pending permits at this time
    SL-TX 172915               No active/pending permits at this time


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    Onshore Lease                                                                  Permits
    SL-TX 172916               No active/pending permits at this time
    SL-TX 178537               No active/pending permits at this time
    SL-TX 183756               No active/pending permits at this time
    SL-TX 185633               No active/pending permits at this time
    SL-TX 186891               No active/pending permits at this time
    SL-TX 191681               No active/pending permits at this time
    SL-TX 207398               No active/pending permits at this time
    SL-TX 227360               No active/pending permits at this time
    SL-TX 234082               No active/pending permits at this time
    SL-TX 255675               No active/pending permits at this time


                                                                        [End of Exhibit E]




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                                  Exhibit I
                 First Lien Exit Facility Commitment Letter




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                                                                                             Execution Version

                                       GOLDMAN SACHS BANK USA
                                        2001 Ross Avenue, Suite 2800
                                            Dallas, Texas 75201

PRIVATE AND CONFIDENTIAL

March 24, 2021

Fieldwood Energy LLC
2000 W. Sam Houston Pkwy. S.,
Suite 1200
Houston, TX 77042
Attention: Mike Dane, Chief Financial Officer

                                                Commitment Letter

Ladies and Gentlemen:

         Fieldwood Energy LLC, a Delaware limited liability company (“you” or the “Company”), has
informed Goldman Sachs Bank USA (“we”, “us” or “GS Bank” and, together with its affiliates, “Goldman
Sachs”) that the Borrower (as defined in Annex B), intends to establish the credit facility having the terms set
forth in Annex B consisting of $118,599,082.31 under a senior secured first lien term loan facility (the “First
Lien Exit Facility”) in connection with the emergence of the Company from proceedings (the “Chapter 11
Cases”) pending under 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) in the United States Bankruptcy
Court for the Southern District of Texas (the “Bankruptcy Court”), in order to implement the Transactions
(as defined below). The proceeds of the First Lien Exit Facility are expected to be used in accordance with and
as provided in the Third Amended Joint Chapter 11 Plan of Fieldwood Energy LLC and its Affiliated Debtors,
a copy of which is attached hereto as Annex C (including any exhibits and schedules thereto and as further
amended, supplemented, or otherwise modified with our consent (not to be unreasonably withheld), the
“Plan”) on the Closing Date (as defined in Annex B).

        “Transactions” means, collectively, the Restructuring Transactions (as defined in the Plan),
including, without limitation, the initial borrowings and other extensions of credit made (or deemed made)
under the First Lien Exit Facility on the Plan Effective Date and the payment of fees and expenses in
connection therewith.

         We are pleased to confirm the arrangements under which (i) GS Bank is exclusively authorized by
Company and the Borrower to act as sole arranger, administrative agent and collateral agent in connection with
the First Lien Exit Facility, and (ii) GS Bank commits to provide the full $118,599,082.31 principal amount of
the First Lien Exit Facility, in each case on the terms and subject to the conditions set forth in this letter and in
the attached Annexes A and B hereto (collectively, the “Commitment Letter”; capitalized terms used but not
defined herein shall have the meanings given to them in the attached Annex A or B, as applicable). You
hereby appoint GS Bank to act in each such role. Certain fees for our services related to the First Lien Exit
Facility are set forth in a separate fee letter (as amended, restated, amended and restated, supplemented or
otherwise modified from time to time, the “Fee Letter”), entered into by the Company and GS Bank on the
date hereof.

         Further, in connection with the Transactions, GS Bank agrees that from the Execution Date to the
earlier of (i) the Termination Date or (ii) the occurrence of any of the events listed on Annex D attached
hereto, it shall (a) support and not object to or support any other person or entity in objecting to or otherwise
opposing the Plan, (b) timely vote or cause to be voted the Allowed FLFO Claims in favor of the Plan by
delivering or causing to be delivered duly executed and completed ballot or ballots to accept such Plan, and (c)
not change or withdraw (or cause or direct to be changed or withdrawn) any such vote in favor of the Plan.
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         Our commitments are subject to the following conditions (a) the accuracy and completeness in all
material respects (but without duplication of materiality) of all representations that the Company, the Borrower
and their respective subsidiaries made to GS Bank in the First Lien Exit Facility Documents (as defined in the
Plan) and the Company’s compliance in all material respects with the terms of this Commitment Letter and the
Fee Letter; and (b) the satisfaction of all conditions precedent set forth in the First Lien Exit Facility
Documents described in Annex B under the Section entitled “Conditions Precedent”.

         The terms of this Commitment Letter are intended as an outline of certain of the material terms of the
First Lien Exit Facility, but do not include all of the terms, covenants, representations, warranties, default
clauses and other provisions that will be contained in the First Lien Exit Facility Documents. The First Lien
Exit Facility Documents shall include, in addition, provisions that are customary or typical for financings of
this type.

         GS Bank reserves the right to syndicate the First Lien Exit Facility to the First Lien Term Lenders.
The Company agrees to cooperate with GS Bank in connection with and promptly respond to requests of GS
Bank with respect to the preparation of an information package regarding the business, operations and
financial projections of the Company, the Borrower and their respective subsidiaries including, without
limitation, the delivery of all information relating to the transactions contemplated hereunder prepared by or on
behalf of the Company or the Borrower deemed reasonably necessary by GS Bank to complete the syndication
of the First Lien Exit Facility, the presentation of an information package acceptable in format and content to
GS Bank in meetings and other communications with prospective First Lien Term Lenders in connection with
the syndication of the First Lien Exit Facility (including, without limitation, direct contact between senior
management and representatives of the Company and the Borrower with prospective First Lien Term Lenders
and participation of such persons in meetings), the preparation and delivery to GS Bank of any and all other
information deemed reasonably necessary by GS Bank to complete the syndication of the First Lien Exit
Facility. The Company shall be solely responsible for the contents of any such information package and
presentation and acknowledges that GS Bank will be using and relying upon the information contained in such
information package and presentation without independent verification thereof. The Company agrees that
information regarding the First Lien Exit Facility and information provided by the Company or its
representatives to us in connection with the First Lien Exit Facility (including, without limitation, the
Information and Projections (each as hereinafter defined), draft and execution versions of the First Lien Exit
Facility Documents), may be disseminated to potential First Lien Term Lenders and other persons through one
or more internet sites (including an IntraLinks, SyndTrak or other electronic workspace (the “Platform”)
created for purposes of syndicating the First Lien Exit Facility or otherwise, in accordance with GS Bank’s
standard syndication practices (including hard copy and via electronic transmissions). Without limiting the
foregoing, the Company authorizes the use of its logo in connection with any such dissemination. The
Company acknowledges that neither GS Bank nor any of its affiliates will be responsible or liable to the
Company or any other person or entity for damages arising from the use by others of the information or other
materials obtained on the Platform, except to the extent that such damages have been found by a final, non-
appealable judgment of a court of competent jurisdiction to have resulted from the gross negligence or willful
misconduct of GS Bank or its affiliates.

         At the request of GS Bank, the Company agrees to prepare a version of the information package and
presentation that does not contain material non-public information concerning the Company, the Borrower,
their affiliates or its or their securities. In addition, the Company agrees that, unless specifically labeled
“Private – Contains Non-Public Information,” no information, documentation or other data disseminated to
prospective First Lien Term Lenders in connection with the syndication of the First Lien Exit Facility, whether
through an internet site (including, without limitation, the Platform), electronically, in presentations at lender
meetings or otherwise, will contain any material non-public information concerning the Company, the
Borrower, their affiliates or its or their securities.

         In addition, the Company represents and covenants that (a) all written information, other than
Projections (defined below) or information of a general economic or industry-specific nature, which has been

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or is hereafter provided directly or indirectly by the Company, the Borrower or any of their respective
representatives to GS Bank or the First Lien Term Lenders in connection with the transactions contemplated
hereunder (the “Information”), when taken as a whole, is and will be complete and correct in all material
respects and does not and will not contain any untrue statement of a material fact or omit to state a material
fact necessary to make the statements contained therein not misleading (after giving effect to all supplements
and updates thereto from time to time) and (b) all financial projections concerning the Company, the Borrower
and their affiliates that have been or will be made available to GS Bank or the First Lien Term Lenders by the
Company or any of its representatives (the “Projections”) have been and will be prepared in good faith based
upon assumptions that are believed by the preparer thereof to be reasonable at the time made; provided that it
is understood and agreed that (i) the projections are not to be viewed as facts, (ii) the Projections are subject to
significant uncertainties and contingencies, many of which are beyond the control of your or the Borrower, (iii)
no assurance can be given that any particular Projections will be realized and (iv) actual results during the
period of periods covered by any such Projections may differ significantly from the projected results and such
differences may be material. You agree that if at any time prior to the initial funding of the First Lien Exit
Facility, any of the representations in the preceding sentence would be incorrect in any material respect if the
Information and Projections were being furnished, and such representations were being made, at such time,
then you will promptly supplement, or cause to be supplemented, the Information and Projections so that such
representations will be correct in all material respects under those circumstances. Notwithstanding anything to
the contrary, neither you nor the Borrower will be required to provide any information to the extent that the
provision thereof would violate any attorney client privilege, law, rule or regulation or any obligation of
confidentiality binding on you, the Borrower or your respective subsidiaries, or waive any attorney client
privilege that may be asserted by you or the Borrower or your respective subsidiaries; provided, that you agree,
to the extent practicable and not prohibited by applicable law, rule or regulation, to promptly notify us that
information is being withheld pursuant to this sentence.

         By executing this Commitment Letter, you agree to reimburse GS Bank from time to time on demand
for all reasonable and documented out-of-pocket fees and expenses (including, but not limited to, the
reasonable fees, disbursements and other charges of all legal counsel to GS Bank (limited to one primary
counsel to GS Bank and, if reasonably necessary, of one local counsel in each relevant jurisdiction and one
additional regulatory or other specialist counsel for each relevant area of expertise (in each case, which may be
a single firm for multiple jurisdictions)) and examiners, search fees, due diligence expenses, transportation
expenses, and appraisal, environmental, audit, and consultant costs and expenses) incurred in connection with
the First Lien Exit Facility, a syndication thereof, the preparation of the definitive documentation therefor and
the other transactions contemplated hereby, regardless of whether any of the transactions contemplated hereby
are consummated.

       In addition, in connection with arrangements such as this, it is GS Bank’s policy to receive
indemnification. You agree to the provisions with respect to indemnity and other matters set forth in
Annex A, which is incorporated by reference into this Commitment Letter.

        GS Bank hereby notifies you that pursuant to the requirements of the USA PATRIOT Act, Title III of
Pub. L. 107-56 (signed into law October 26, 2001) (the “Act”) and the requirements of 31 C.F.R. § 1010.230
(the “Beneficial Ownership Regulation”), GS Bank and each First Lien Term Lender is required to obtain,
verify and record information that identifies each borrower and guarantor under the First Lien Exit Facility,
which information includes the name and address and other information of each such person or entity that will
allow GS Bank and each First Lien Term Lender to identify each such person or entity in accordance with the
Act and the Beneficial Ownership Regulation. This notice is given in accordance with the requirements of the
Act and the Beneficial Ownership Regulation and is effective for GS Bank and each First Lien Term Lender.

        Please note that this Commitment Letter and the Fee Letter and any written or oral advice provided by
us in connection with this arrangement (a) are exclusively for the information of the board of directors (or
equivalent governing body, person or entity) and the senior management of the Company and the Borrower
and (b) may not be disclosed to any third party or circulated or referred to publicly without our prior written

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consent except, after providing written notice to GS Bank, pursuant to a subpoena or order issued by a court of
competent jurisdiction or by a judicial, administrative or legislative body or committee; provided, however,
that we hereby consent to disclosure of (w) this Commitment Letter, the Fee Letter and such advice to the
officers, directors, agents and advisors (including counsel) of the Company and the Borrower who are directly
involved in the consideration of the First Lien Exit Facility to the extent such persons are advised to hold the
same in confidence, (x) this Commitment Letter and the Fee Letter as required by the Bankruptcy Court, other
applicable law or compulsory legal process (in which case you agree to inform us promptly thereof) or
pursuant to the order of any court or administrative agency or in any legal, administrative or judicial
proceeding where disclosure is required by law, rule or regulations (in which case, to the extent practicable and
not prohibited by applicable law you shall notify us promptly thereof prior to such disclosure), (y) the
aggregate fee amounts contained in the Fee Letter (but not the Fee Letter or other terms thereof) as part of
Projections, pro forma information or a generic disclosure of aggregate sources and uses related to fee amounts
related to the Transaction to the extent customary and (z) this Commitment Letter, the Fee Letter and the
contents hereof and thereof to the extent necessary in connection with the exercise of any remedy or
enforcement of any rights hereunder or thereunder or in connection with any defense to any claim of Goldman
Sachs or any Indemnified Person hereunder or thereunder.

         Goldman Sachs shall, until the earlier of (i) two (2) years from the date hereof or (ii) the execution of
definitive documentation for the First Lien Exit Facility, treat confidentially all information received by them
from the Company, the Borrower or their respective representatives in connection with this Commitment
Letter, the Term Sheet or the First Lien Exit Facility contemplated hereby or thereby (the “Confidential
Information”); provided that, upon execution and delivery of the definitive documentation for the First Lien
Exit Facility, the applicable provisions of such definitive documentation shall govern the confidentiality
matters described in this paragraph. Nothing herein shall prevent Goldman Sachs from disclosing any such
Confidential Information: (a) pursuant to the order of any court or administrative agency or in any legal,
administrative or judicial proceeding where disclosure is requested or required by law, rule or regulations (in
which case, to the extent practicable and not prohibited by applicable law and other than with respect to any
audit or examination conducted by bank accountants, any governmental bank, financial, accounting or similar
authority exercising routing examinations or regulatory authority, Goldman Sachs shall notify you promptly
thereof prior to such disclosure), (b) upon the request or demand of any regulatory authority (including any
self-regulatory authority) having jurisdiction over Goldman Sachs or its affiliates (in which case, to the extent
practicable and not prohibited by applicable law and other than with respect to any audit or examination
conducted by bank accountants, any governmental bank, financial, accounting or similar authority exercising
routing examinations or regulatory authority, Goldman Sachs shall notify you promptly thereof prior to such
disclosure), (c) solely in connection with this Commitment Letter, the Term Sheet and the First Lien Exit
Facility contemplated hereby and thereby, to its affiliates and the officers, directors, employees, directors,
officers, legal counsel, advisors, partners, consultants, insurers, and agents of Goldman Sachs or its affiliates
(to the extent such persons receive Confidential Information by or on behalf of Goldman Sachs) (collectively,
“Representatives”) on a need-to-know basis who are informed of the confidential nature of such information
and are or have been advised of their obligation to keep information of this type confidential, (d) to any
potential lender or co-investor or swap counterparty and, in each case, their respective Representatives (to the
extent such Representatives receive Confidential Information by or on behalf of such person) who is informed
of the confidential nature of such information and are or have been advised of their obligation to keep
information of this type confidential, (e) to sources of financing and rating agencies who are informed of the
confidential nature of such information and are or have been advised of their obligation to keep information of
this type confidential, (f) for purposes of establishing a “due diligence” defense or in connection with
exercising any remedy or enforcing Goldman Sachs’ rights with respect to this Commitment Letter or (g) as
expressly permitted by the Company and/or the Borrower. Confidential Information shall not include
information to the extent that such information (w) becomes publicly available other than by reason of a breach
of the confidentiality obligations set forth in this paragraph, (x) becomes available to Goldman Sachs or its
Representatives from a source other than the Company or the Borrower or on its behalf and not knowingly in
violation of any confidentiality agreement or obligation owed to the Company or the Borrower, (y) is
independently developed by Goldman Sachs or its Representatives without reference to any confidential

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information, or (z) was or is in the possession of Goldman Sachs or its Representatives prior to disclosure
hereunder. Notwithstanding anything to the contrary set forth in the foregoing, in no event shall Goldman
Sachs be required to return any materials constituting Confidential Information provided to or on behalf of the
Company or the Borrower or any of their respective subsidiaries.

          As you know, our affiliate, Goldman, Sachs & Co. (“GS & Co”), is a full service securities firm
engaged, either directly or through its affiliates in various activities, including securities trading, investment
management, financing and brokerage activities and financial planning and benefits counseling for both
companies and individuals. In the ordinary course of these activities, GS & Co or its affiliates may actively
trade the debt and equity securities (or related derivative securities) of the Company and other companies
which may be the subject of the arrangements contemplated by this letter, including any of their respective
affiliates, for their own account and for the accounts of their customers and may at any time hold long and
short positions in such securities. GS & Co or its affiliates may also co-invest with, make direct investments
in, and invest or co-invest client monies in or with funds or other investment vehicles managed by other
parties, and such funds or other investment vehicles may trade or make investments in securities or other debt
obligations of the Company or other companies which may be the subject of the arrangements contemplated by
this letter and any of their respective affiliates.

          Goldman Sachs may have economic interests that conflict with those of the Company and/or the
Borrower. You agree that Goldman Sachs will act under this letter as an independent contractor and that
nothing in this Commitment Letter or the Fee Letter or otherwise will be deemed to create an advisory,
fiduciary or agency relationship or fiduciary or other implied duty between Goldman Sachs, on the one hand,
and the Company and/or the Borrower, their respective stockholders or their respective affiliates, on the other.
You acknowledge and agree that (a) the transactions contemplated by this Commitment Letter and the Fee
Letter are arm’s-length commercial transactions between Goldman Sachs, on the one hand, and the Company
and the Borrower, on the other, (b) in connection therewith and with the process leading to such transaction
Goldman Sachs is acting solely as a principal and not the agent or fiduciary of the Company, the Borrower,
their respective management, stockholders, creditors or any other person, (c) Goldman Sachs has not assumed
an advisory or fiduciary responsibility in favor of the Company or the Borrower with respect to the
transactions contemplated hereby or the process leading thereto (irrespective of whether Goldman Sachs or any
of its affiliates has advised or is currently advising the Company on other matters) or any other obligation to
the Company or the Borrower except the obligations expressly set forth in this Commitment Letter and the Fee
Letter and (d) the Company has consulted its own legal and financial advisors to the extent it deemed
appropriate. The Company further acknowledges and agrees that it is responsible for making its own
independent judgment with respect to such transactions and the process leading thereto. The Company agrees
that it will not claim that Goldman Sachs has rendered advisory services of any nature or respect, or owes a
fiduciary or similar duty to the Company, in connection with such transaction or the process leading thereto.
In addition, GS Bank may employ the services of its affiliates in providing certain services hereunder and may
exchange with such affiliates information concerning the Company, the Borrower and other companies that
may be the subject of this arrangement, and such affiliates shall be entitled to the benefits afforded to GS Bank
hereunder.

        The provisions of the immediately preceding seven paragraphs shall remain in full force and effect
regardless of whether any definitive documentation for the First Lien Exit Facility shall be executed and
delivered, and notwithstanding the termination of this Commitment Letter or any commitment or undertaking
hereunder.

         This Commitment Letter may not be assigned by the Company without GS Bank’s prior written
consent (and any purported assignment without such consent shall be null and void), is intended to be solely
for the benefit of the parties hereto and is not intended to confer any benefits upon, or create any rights in favor
of, any person other than the parties hereto; provided that, this Commitment Letter shall be assigned to the
Borrower on the Plan Effective Date in connection with the consummation of the Transactions (and the
Borrower shall assume all obligations of the Company hereunder and under the Fee Letter on the Plan

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Effective Date (and upon the effectiveness of such assignment and assumption, the Company shall have no
further obligations under this Commitment Letter and each reference to “you” or the “Company” contained
herein shall be deemed a reference to the Borrower). GS Bank may assign its commitments hereunder, in
whole or in part (including, for example, our commitment to provide the First Lien Exit Facility), to (a) any of
its affiliates, (b) any fund, investor, entity or account that is managed, sponsored or advised by Goldman
Sachs, (c) any First Lien Term Lender or (d) any limited partner or investor in any of the foregoing persons or
entities described in clauses (a) through (c) (any such person, an “Eligible Assignee”), and upon such
assignment, GS Bank shall be released from the portion of its commitment hereunder that has been assigned.
Neither this Commitment Letter nor the Fee Letter may be amended or any term or provision hereof or thereof
waived or modified except by an instrument in writing signed by each of the parties hereto or thereto, and any
term or provision hereof or thereof may be amended or waived only by a written agreement executed and
delivered by all parties hereto.

         Our commitment hereunder shall terminate upon the first to occur of (a) the conversion of the Chapter
11 Cases to cases under Chapter 7 of the Bankruptcy Code, (b) a trustee or examiner with expanded powers
beyond those set forth in section 1106(a)(3) and (4) of the Bankruptcy Code shall have been appointed in the
Chapter 11 Cases, (c) there having been any occurrence, development or change after the date hereof, that has
had or could be reasonably expected to have a material adverse effect on the business, assets, operations,
properties or financial condition of the Borrower or the Company or their respective subsidiaries (taken as a
whole) or on the value of, or ability to take a security interest in, a material portion of the Collateral (provided
that, for the avoidance of doubt, any change, development or occurrence, arising individually or in the
aggregate, from events that could reasonably be expected to result from the pendency of the Chapter 11 Cases
shall not constitute a material adverse effect); (d) (i) the Company having failed to file a motion with the
Bankruptcy Court seeking approval of this Commitment Letter and the Fee Letter (the “Commitment Letter
Motion”) no later than two days following the Execution Date (or such later date as GS Bank shall agree in its
sole discretion), which motion shall be in form and substance satisfactory to us and (ii) the Bankruptcy Court
having not entered an order approving the Company’s entry into this Commitment Letter and the Fee Letter
and related relief no later than 15 days following the Execution Date (or, if delayed solely by reason of action
of the Bankruptcy Court despite the Company’s best efforts to have such order by the date that is 15 days
following the Execution Date, 30 days following the Execution Date) (or in any case, such later date as GS
Bank shall agree in its sole discretion), which shall be in form and substance satisfactory to us and (e) the
earlier of (i) the Outside Expiration Time (as defined in the Second Lien Backstop Commitment Letter (which
is as defined in the Plan) and (ii) July 31, 2021, in either case, unless such date is extended by us in writing
(including by email) in our discretion or the closing of the First Lien Exit Facility, on the terms and subject to
the conditions contained herein, shall have been consummated on or before such date (the “Termination
Date”).

         Notwithstanding anything in this Commitment Letter or the Fee Letter, in the event of an Opt-In
Election (as defined below), a Benchmark Replacement (determined in accordance with the definition thereof)
will replace LIBOR for all purposes under the Commitment Letter, the Fee Letter and any other First Lien Exit
Facility Document, as of the date of the Opt-in Election, with such modifications as we determine, to cause the
Benchmark Replacement to be the economic equivalent of LIBOR. After an Opt-In Election, the First Lien
Exit Facility Documents will be negotiated in good faith by the Company and the First Lien Exit Facility
Agent to give effect to the agency and administrative requirements of the First Lien Exit Facility Agent to
administer the designated Benchmark Replacement (including implementation of any Benchmark Replacement
Conforming Changes (as defined in the ARRC Approach)), which are intended to achieve equivalent
economics as described in the Commitment Letter and the Fee Letter.

          As used herein:

        “Benchmark Replacement” as defined in the Alternative Reference Rates Committee’s “hard-
wired” approach as issued on June 30, 2020 (with any modifications thereto issued after the date of execution
of the Commitment Letter determined by Goldman Sachs in consultation with the Company, “ARRC

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Approach”), with (i) the Floor (as defined in the ARRC Approach) therein being the economic equivalent of
the “LIBOR Floor” as set forth in the Commitment Letter and (ii) the “Available Tenor” and
“Corresponding Tenor” being determined by the First Lien Exit Facility Agent.

          “Opt-in Election” means the occurrence of: (i) a notification by the First Lien Exit Facility Agent to
the Company that U.S. dollar-denominated syndicated credit facilities are being executed at such time utilizing
a Benchmark Replacement to replace LIBOR (as determined by the First Lien Exit Facility Agent in good
faith), (ii) the mutual election of the First Lien Exit Facility Agent and the Company (such consent not to be
unreasonably withheld or delayed) to declare that an Opt-in Election has occurred or (iii) at any time after June
30, 2021, the election of the First Lien Exit Facility Agent to declare that an Opt-in Election has occurred.

         In addition, please note that Goldman Sachs does not provide accounting, tax or legal advice.
Notwithstanding anything herein to the contrary, the Company (and each employee, representative or other
agent of the Company) may disclose to any and all persons, without limitation of any kind, the tax treatment
and tax structure of this potential transaction and all materials of any kind (including opinions or other tax
analyses) that are provided to the Company relating to such tax treatment and tax structure. However, any
information relating to the tax treatment or tax structure shall remain subject to the confidentiality provisions
hereof (and the foregoing sentence shall not apply) to the extent reasonably necessary to enable the parties
hereto, their respective affiliates, and their respective affiliates’ directors and employees to comply with
applicable securities laws. For this purpose, “tax treatment” means U.S. federal or state income tax
treatment, and “tax structure” is limited to any facts relevant to the U.S. federal income tax treatment of the
transactions contemplated by this Commitment Letter but does not include information relating to the identity
of the parties hereto or any of their respective affiliates.

         This Commitment Letter may be executed in any number of counterparts, each of which when
executed shall be an original, and all of which, when taken together, shall constitute one agreement. Delivery
of an executed counterpart of a signature page of this Commitment Letter and the Fee Letter by facsimile or
other electronic transmission shall be effective as delivery of a manually executed counterpart hereof. Any
party delivering an executed counterpart of this Commitment Letter or the Fee Letter via facsimile or other
electronic transmission shall, at our request, also deliver to us or our counsel a manually executed original, but
the failure to do so does not affect the validity, enforceability or binding effect of this Commitment Letter or
the Fee Letter.

          THIS COMMITMENT LETTER AND THE FEE LETTER SHALL BE GOVERNED BY AND
CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK WITHOUT
REGARD TO PRINCIPLES OF CONFLICTS OF LAWS AND, TO THE EXTENT APPLICABLE,
THE BANKRUPTCY CODE. Each of the parties hereto agrees that any suit or proceeding arising in respect
to this arrangement or any matter referred to in this Commitment Letter or the Fee Letter will be tried
exclusively in the Bankruptcy Court or, if the Chapter 11 Cases have been closed pursuant to Section 350(a) of
the Bankruptcy Code (or in the event that the Bankruptcy Court determines that it does not have jurisdiction),
in the U.S. District Court for the Southern District of New York or, if that court does not have subject matter
jurisdiction, in any state court located in the City of New York and each of the parties hereto agrees to submit
to the jurisdiction of, and to venue in, such courts. ANY RIGHT TO TRIAL BY JURY WITH RESPECT
TO ANY ACTION OR PROCEEDING ARISING IN CONNECTION WITH OR AS A RESULT OF
EITHER OUR COMMITMENT OR ANY MATTER REFERRED TO IN THIS COMMITMENT
LETTER OR THE FEE LETTER IS HEREBY WAIVED BY EACH OF THE PARTIES HERETO.
The provisions of this paragraph shall remain in full force and effect regardless of whether any definitive
documentation for the First Lien Exit Facility shall be executed and delivered, and notwithstanding the
termination of this Commitment Letter or any commitment or undertaking hereunder.

        Notwithstanding anything to the contrary in this Commitment Letter, the obligations of each of the
parties hereto under this Commitment Letter (including our commitments hereunder, the obligations to
indemnify the Indemnified Parties and reimburse GS Bank for its fees and expenses in accordance with the

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terms hereof) shall be subject to the approval of the Bankruptcy Court and such obligations shall not be
enforceable until such Bankruptcy Court approval has been obtained.

      THIS COMMITMENT LETTER AND THE FEE LETTER REPRESENT THE FINAL
AGREEMENT BETWEEN THE PARTIES WITH RESPECT TO THE SPECIFIC MATTERS
HEREOF, SET FORTH THE ENTIRE UNDERSTANDING OF THE PARTIES HERETO,
SUPERSEDE ANY PRIOR AGREEMENTS AMONG THE PARTIES HERETO WITH RESPECT TO
THE FIRST LIEN EXIT FACILITY AND MAY NOT BE CONTRADICTED BY EVIDENCE OF
PRIOR, CONTEMPORANEOUS, OR SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES.
THERE ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN THE PARTIES.

        Please confirm that the foregoing is in accordance with your understanding by signing and returning to
GS Bank the enclosed copy of this Commitment Letter, together, if not previously executed and delivered,
with the Fee Letter, on or before the close of business on March 24, 2021 whereupon this Commitment Letter
and the Fee Letter shall become (subject to the third to final paragraph of this Commitment Letter) binding
agreements between us (such date of execution, the “Execution Date”). If not signed and returned as
described in the preceding sentence by such date, this offer will terminate on such date. We look forward to
working with you on this assignment.

                                 [Remainder of page intentionally left Blank]




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                                    Very truly yours,

                                    GOLDMAN SACHS BANK USA


                                    By:    ________________________________________
                                    Name: Justin Betzen                  E
                                    Title: Authorized Signatory
                                                                         H




                       [Signature Page to Commitment Letter]
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ACCEPTED AS OF THE DATE ABOVE:

FIELDWOOD ENERGY LLC


By:          ______________________________
Name: Michael T. Dane
Title: Senior Vice President and Chief Financial Officer




                                    [Signature Page to Commitment Letter]
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                                                    Annex A

          In the event that Goldman Sachs, any of its affiliates, officers, partners, directors or equivalents,
agents, employees and controlling persons or any Eligible Assignee, as the case may be, of Goldman Sachs
(each, an “Indemnified Person”), becomes involved in any capacity in any action, proceeding or investigation
brought by or against any person or entity, including any of your affiliates, shareholders, partners, members, or
other equity holders, in connection with or as a result of either this arrangement or any matter referred to in this
Commitment Letter or the Fee Letter (together, the “Letters”), you agree to periodically reimburse such
Indemnified Person for its legal and other expenses (including the cost of any investigation and preparation)
incurred in connection therewith (but limited, in the case of legal fees and expenses, to one counsel to such
Indemnified Persons taken as a whole and, solely in the case of a conflict of interest, one additional counsel to
all affected Indemnified Persons, taken as a whole (and, if reasonably necessary, of one local counsel in each
relevant jurisdiction and one additional regulatory or other specialist counsel for each relevant area of expertise
(in each case, which may be a single firm for multiple jurisdictions) to all such persons, taken as a whole and,
solely in the case of any such conflict of interest, one additional local counsel (which may be a single firm for
multiple jurisdictions) to all affected Indemnified Persons, taken as a whole, in each such relevant jurisdiction
(limited, in the case of legal counsel, to one counsel to such Indemnified Persons, taken as a whole, and, if
reasonably necessary, of one local counsel in each relevant jurisdiction and one additional regulatory or other
specialist counsel for each relevant area of expertise (in each case, which may be a single firm for multiple
jurisdictions)). You also will indemnify and hold each Indemnified Person harmless against any and all losses,
claims, damages, penalties, expenses or liabilities to any person or entity arising in connection with or as a
result of either this arrangement or any matter referred to in the Letters, whether brought by you, your affiliates
or any third party and without regard to the exclusive or contributory negligence of any Indemnified
Person, except to the extent that such have been found by a final, non-appealable judgment of a court of
competent jurisdiction that any such loss, claim, damage, penalty, expense or liability results from the gross
negligence or willful misconduct of such Indemnified Person in performing the services that are the subject of
the Letters. If for any reason the foregoing indemnification is unavailable to any Indemnified Person or is
insufficient to hold it harmless, then you shall contribute to the amount paid or payable by such Indemnified
Person as a result of such loss, claim, damage, penalty, expense or liability in such proportion as is appropriate
to reflect the relative economic interests of you and your affiliates and equity holders on the one hand and such
Indemnified Person on the other hand in the matters contemplated by the Letters as well as the relative fault of
you, your affiliates and equity holders, and such Indemnified Person with respect to such loss, claim, damage,
penalty, expense or liability and any other relevant equitable considerations. Your reimbursement, indemnity
and contribution obligations under this paragraph shall be in addition to any liability that you may otherwise
have, shall extend upon the same terms and conditions to any affiliate of any Indemnified Person and the
partners, directors, agents, employees and controlling persons or entities (if any), as the case may be, of such
Indemnified Person and any such affiliate, and shall be binding upon and inure to the benefit of any successors,
assigns, heirs and personal representatives of you, any Indemnified Person, any such affiliate and any such
person. You also agree that neither any Indemnified Person nor any of its affiliates, partners, directors, agents,
employees or controlling persons shall have any liability based on its or their exclusive or contributory
negligence or otherwise to you or any person or entity asserting claims on behalf of or in right of you or any
other person or entity in connection with or as a result of either this arrangement or any matter referred to in
the Letters, except to the extent that any losses, claims, damages, penalties, liabilities or expenses incurred by
you have been found by a final, non-appealable judgment of a court of competent jurisdiction to have resulted
from the gross negligence or willful misconduct of such Indemnified Person in performing the services that are
the subject of the Letters; provided, however, that in no event shall such Indemnified Person or such other
parties have any liability for any indirect, consequential or punitive damages in connection with or as a result
of such Indemnified Person’s or such other parties’ activities related to the Letters. Any right to trial by jury
with respect to any action or proceeding arising in connection with or as a result of either this
arrangement or any matter referred to in the Letters is hereby waived by the parties hereto. You agree
that any suit or proceeding arising in respect to this arrangement or any matter referred to in the
                                                   Annex A-1


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Letters will be tried exclusively in the U.S. District Court for the Southern District of New York or, if
that court does not have subject matter jurisdiction, in any state court located in the City of New York
and you agree to submit to the jurisdiction of, and to venue in, such courts. The provisions of this
Annex A shall survive any termination or completion of the arrangement provided by the Letters, and
this Commitment Letter shall be governed by and construed in accordance with the laws of the State of
New York without regard to principles of conflicts of laws.




                                              Annex A-2


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                                    Annex B

                                   Term Sheet




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                                                           SUBJECT TO FRE 408 & STATE ANALOGUES
                                                                            HIGHLY CONFIDENTIAL

                                                                                                     ANNEX B

                   $118,599,082.31 SENIOR SECURED FIRST LIEN TERM LOAN FACILITY
                               “FIRST LIEN EXIT FACILITY TERM SHEET”

                            SUMMARY OF PRINCIPAL TERMS AND CONDITIONS1



BORROWER:                       A newly formed Delaware limited liability company (“Holdings” in its
                                capacity as borrower, the “Borrower”), wholly-owned, directly, by NewCo
                                (as defined below). Holdings will form and be the direct owner of 100% of
                                the equity interests in a Delaware limited liability company
                                (“Intermediate”), which will form and be the direct owner of 100% of the
                                equity interests in a Delaware limited liability company that will be the
                                “Credit Bid Purchaser” as referenced in the Plan (the “Credit Bid
                                Purchaser”).

AGENT:                          Goldman Sachs Bank USA (“Goldman”) or one or more of its affiliates that
                                is a “United States person” for U.S. federal income tax purposes will act as
                                sole administrative agent and collateral agent (collectively, in such
                                capacities, the “First Lien Exit Facility Agent”).

LENDERS:                        The Prepetition FLFO Lenders (collectively, the “First Lien Term
                                Lenders”) and their successors and permitted assigns from time to time
                                party to the First Lien Exit Facility Credit Agreement and, at the option of
                                Goldman, one or more other financial institutions selected by Goldman and
                                reasonably acceptable to the Borrower.

FIRST LIEN EXIT FACILITY:       A senior secured first lien term loan facility (the “First Lien Exit Facility”
                                and the loans under such First Lien Exit Facility, the “First Lien Term
                                Loans”) that shall become effective upon satisfaction or waiver of the
                                conditions precedent set forth in the First Lien Exit Facility Documents on
                                the effective date of the Plan (the “Plan Effective Date”) in an aggregate
                                principal amount of $118,599,082.31.

                                The First Lien Term Loans shall be deemed funded on the Closing Date (as
                                defined below) via (i) the assumption by the Credit Bid Purchaser of an
                                equivalent principal amount of debt owing to the Prepetition FLFO Lenders
                                and (ii) immediately thereafter, the assignment of such debt to Borrower by
                                Credit Bid Purchaser, in each case, in accordance with the Plan. The First
                                Lien Exit Facility shall be secured (i) on a pari passu basis with any Secured
                                Cash Management Obligations and Secured Hedging Obligations (each as
                                defined below) and (ii) on a senior basis to the Second Lien Exit Facility.

PURPOSE:                        The proceeds of the First Lien Term Loans will be used by the Borrower, on
                                the Plan Effective Date in accordance with and as provided in the Plan.



1
 All capitalized terms used but not defined herein have the meanings given to them in the Plan (as defined in the
Commitment Letter to which this Annex B is attached) or in the Commitment Letter, as context may require.

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AVAILABILITY:          The full amount of the First Lien Exit Facility will be deemed to be drawn
                       in a single drawing on the Closing Date; amounts borrowed thereunder that
                       are repaid or prepaid may not be reborrowed.

AMORTIZATION:          The principal amounts of the First Lien Term Loans shall be repaid:

                       (i) on December 31, 2021, in an amount necessary to ensure that the
                       aggregate principal amount of the First Lien Exit Facility outstanding on
                       December 31, 2021 (after giving effect to such amortization payment) does
                       not exceed $100,000,000; plus

                       (ii) commencing with the fiscal quarter in which the Closing Date occurs, in
                       quarterly installments on the last business day of such fiscal quarter in an
                       amount equal to $3,750,000, plus

                       (iii) commencing with the fiscal quarter in which the first anniversary of the
                       Closing Date occurs, in quarterly installments on the last business day of
                       such fiscal quarter (the last business day of the first such fiscal quarter, the
                       “Variable Amortization Trigger Date”) in an amount equal to the lesser of
                       (x) the Variable Amortization Percentage (as defined below) of
                       Consolidated Excess Cash (as defined below) and (y) the amount necessary
                       to cause the aggregate principal amount of the First Lien Term Loans
                       outstanding under the First Lien Exit Facility to be equal to $75.0 million
                       after giving effect thereto.

                       “Consolidated Excess Cash” shall mean, as of the end of any fiscal quarter,
                       the amount that (x) the average daily balance of unrestricted cash and cash
                       equivalents of the Borrower and Subsidiary Guarantors over the last fiscal
                       month of such fiscal quarter exceeds (y) $130.0 million.

                       “Variable Amortization Percentage” shall mean, as of any date of
                       determination, 15.0%; provided, that, from and after the earlier of (i) the
                       time the Genovesa well has come online and (ii) September 30, 2021, the
                       Variable Amortization Percentage shall be 25.0%; provided, further, that, in
                       the event, as of any date of determination, (a) the aggregate principal
                       amount of First Lien Term Loans outstanding under the First Lien Exit
                       Facility shall be less than $75.0 million and (b) the total gross First Lien
                       Leverage Ratio (to be defined in a manner to be agreed) of the Borrower and
                       Subsidiary Guarantors as of the last day of the most recently ended fiscal
                       quarter for which financial statements have been delivered to the First Lien
                       Exit Facility Agent shall be less than 0.5:1.00, the Variable Amortization
                       Percentage shall be 0.0%.

                       In addition to the foregoing, all amounts outstanding under the First Lien
                       Exit Facility shall be paid in full on the First Lien Term Loan Maturity Date
                       (as defined below).

INTEREST RATES:        Interest rates under the First Lien Exit Facility will be calculated, at the
                       option of the Borrower, at Adjusted LIBOR (to be defined in a manner to be
                       agreed, but in any event subject to a 1.00% floor) plus the Applicable
                       Margin (as defined below) or ABR (to be defined in a manner to be agreed,
                       but in any event subject to a 2.00% floor) plus the Applicable Margin;
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                       provided that if any event of default shall have occurred and be continuing,
                       at the election of the Required Lenders (as defined below) and upon
                       delivery of prior written notice to the First Lien Exit Facility Agent by the
                       Required Lenders, all outstanding First Lien Term Loans bearing interest at
                       Adjusted LIBOR shall be automatically converted to borrowings at ABR
                       upon the end of the then-current interest period for such borrowing at
                       Adjusted LIBOR.

                       “Applicable Margin” is (i) in the case of Adjusted LIBOR loans, 6.00% per
                       annum (or, at any time both (x) the aggregate principal amount of First Lien
                       Term Loans outstanding under the First Lien Exit Facility shall be less than
                       $100.0 million and (y) the Asset Coverage Ratio (as defined below) shall be
                       greater than or equal to 3.00:1.00 (the foregoing (x) and (y), the “pricing
                       conditions”), 5.00% per annum) and (ii) in the case of ABR loans, 5.00%
                       per annum (or, at any time the pricing conditions are satisfied, 4.00% per
                       annum).

                       Interest will be paid quarterly in arrears for loans bearing interest based
                       upon ABR; in arrears on the last day of the applicable interest periods
                       (which will be one, two, three or six months, at the option of the Borrower)
                       for loans bearing interest based upon Adjusted LIBOR (and at the end of
                       every three months, in the case of interest periods longer than three months);
                       and in arrears upon each mandatory and voluntary prepayment on the
                       principal amount prepaid.

                       The First Lien Exit Facility Credit Agreement shall contain replacement
                       mechanics for LIBOR that are acceptable to the First Lien Exit Facility
                       Agent in its sole discretion.

                       Upon the occurrence of (i) any event of default (other than any Specified
                       Events of Default as defined below) and delivery of prior written notice to
                       the First Lien Exit Facility Agent by the Required Lenders or (ii) any event
                       of default due to non-payment or any bankruptcy or insolvency (collectively
                       the defaults in clause (ii), the “Specified Events of Default”), an additional
                       2.00% per annum will be charged on outstanding amounts commencing on
                       the date the relevant event of default occurred. Amounts accruing in
                       accordance with the foregoing sentence shall be payable upon demand.

FEES:                  Administrative Agency fee as set forth in the Fee Letter.

FINAL MATURITY:        The First Lien Exit Facility will mature on the date that is four years after
                       the Closing Date (the “First Lien Term Loan Maturity Date”). The
                       outstanding principal amount of loans under the First Lien Exit Facility and
                       all accrued and unpaid interest thereon shall be due and payable in full on
                       the First Lien Term Loan Maturity Date.

GUARANTEES:            All obligations of (i) the Borrower under the First Lien Exit Facility and (ii)
                       the Borrower and Subsidiary Guarantors (as defined below) in respect of (a)
                       certain cash management and treasury services arrangements (the
                       obligations in respect thereof, “Secured Cash Management Obligations”)
                       with counterparties reasonably acceptable to the First Lien Exit Facility
                       Agent in its sole discretion (it being agreed that (x) the providers of cash
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                       management and treasury services set forth on Part A of Exhibit A hereto
                       and (y) the First Lien Term Lenders and/or affiliates of the First Lien Term
                       Lenders, in each case, are reasonably acceptable to the First Lien Exit
                       Facility Agent) and (b) certain hedging arrangements (the obligations in
                       respect thereof, the “Secured Hedging Obligations”) with counterparties
                       reasonably acceptable to the First Lien Exit Facility Agent in its sole
                       discretion (it being agreed that (x) the hedge counterparties set forth on Part
                       B of Exhibit A hereto and (y) the First Lien Term Lenders and/or affiliates
                       of First Lien Term Lenders, in each case, are reasonably acceptable to the
                       First Lien Exit Facility Agent) (such acceptable hedge counterparties, the
                       “Approved Counterparties”), will be jointly and severally unconditionally
                       guaranteed (the “Guarantees”) by the direct parent company of the
                       Borrower (“NewCo”), and each domestic subsidiary of the Borrower
                       (including, for the avoidance of doubt, Credit Bid Purchaser but excluding
                       any Qualified Receivables Subsidiary (to be defined)), (the “Subsidiary
                       Guarantors” and, together with NewCo, the “Guarantors”; the Guarantors
                       and the Borrower collectively, the “Loan Parties”) (and with respect to
                       obligations of Loan Parties other than the Borrower, the Borrower).

SECURITY:              The obligations of the Borrower under the First Lien Exit Facility and the
                       Guarantees will be secured by perfected first-priority security interests in (i)
                       (x) 100% of the equity interests in the Borrower and (y) the equity interests
                       in each Subsidiary Guarantor and Fieldwood Cooperatief U.A. (the
                       “Closing Date Unrestricted Subsidiary”) in each case, that are held by the
                       Loan Parties, (ii) (x) on the Closing Date, all of the oil and gas properties
                       (and related assets) owned by the Loan Parties on the Closing Date and (y)
                       thereafter, oil and gas properties owned by the Loan Parties representing at
                       least 95% of the PV-10 of the Loan Parties’ total proved reserves (and
                       related assets owned by the Loan Parties) and (iii) all other assets of the
                       Loan Parties, including all personal property assets, but in the case of this
                       clause (iii), excluding certain “excluded assets” to be agreed (and to require,
                       for the avoidance of doubt, control agreements with respect to deposit
                       accounts, securities accounts and commodities accounts of the Loan Parties
                       (subject to usual and customary exceptions)), in each case, whether owned
                       on the Closing Date or thereafter acquired (collectively, the “Collateral”).

UNRESTRICTED           The only unrestricted subsidiary permitted to be designated as such under
SUBSIDIARIES:          the First Lien Exit Facility shall be the Closing Date Unrestricted
                       Subsidiary. The Closing Date Unrestricted Subsidiary will not be subject to
                       the representations and warranties, covenants, events of default or other
                       provisions of the First Lien Exit Facility Documents, and the results of
                       operations, indebtedness and cash of unrestricted subsidiaries will not be
                       taken into account for purposes of calculating any financial metric contained
                       in the First Lien Exit Facility Documents except to the extent of
                       distributions in the form of cash or cash equivalents received by a Loan
                       Party therefrom. The Closing Date Unrestricted Subsidiary must become a
                       restricted subsidiary and Guarantor at any time it is a restricted subsidiary or
                       Guarantor under the Second Lien Exit Facility or any other material
                       indebtedness of the Loan Parties.




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VOLUNTARY              Prepayments of borrowings under the First Lien Exit Facility will be
PREPAYMENTS:           permitted at any time without premium or penalty, in minimum amounts and
                       subject to notice provisions to be agreed.

MANDATORY              In addition to amortization (as described above), the First Lien Exit Facility
PREPAYMENTS:           Documents will contain the following mandatory prepayments:

                       (i) in amounts necessary to eliminate any non-compliance with the
                       Minimum Asset Coverage Ratio (which payments (x) shall cure any event
                       of default arising from a breach of such covenant and (y) solely to the extent
                       the aggregate unrestricted cash and cash equivalents of the Borrower and
                       Subsidiary Guarantors as of the date of such payment on a pro forma basis
                       (after giving effect to such payment) exceed $100.0 million, shall be
                       permitted to be made using internally generated cash, it being understood
                       that if the payment is made using equity proceeds, it shall be subject to the
                       limitations on equity cures described below),

                       (ii) with 100% of the proceeds of hedge unwinds, assets sales (including for
                       the avoidance of doubt, sales of assets (or equity interests in entities owning
                       assets) associated with the Borrower and its subsidiaries’ operations and/or
                       investments in Mexico and including any indirect sales proceeds received by
                       any Loan Party in connection with any such sale whether received as a
                       distribution or otherwise, all of the foregoing, “Mexico Liquidity Events”)
                       (it being understood and agreed that the Closing Date Unrestricted
                       Subsidiary shall distribute any such proceeds received by it to a Loan Party),
                       condemnation events and casualty insurance and extraordinary receipts;
                       provided that (x) with respect to any fiscal year, no such prepayment shall
                       be required during such fiscal year to the extent that (1) with respect to
                       hedge unwinds, the aggregate amount of net cash proceeds received in
                       respect of all such hedge unwinds during such fiscal year does not exceed
                       $5.0 million, (2) with respect to PDP, PDNP and related infrastructure assets
                       (other than sales of assets related to Mexico Liquidity Events, 100% of the
                       net cash proceeds of which shall be required to be prepaid as set forth
                       below), the aggregate amount of net cash proceeds received in respect of all
                       such asset sales and events during such fiscal year does not exceed $15.0
                       million, (3) with respect to sales of other assets not referred to in the
                       foregoing clause (2) and excluding Mexico Liquidity Events, the aggregate
                       amount of net cash proceeds received in respect of all such asset sales
                       during the term of the First Lien Exit Facility does not exceed $50.0 million,
                       and (4) with respect to proceeds of condemnation events and casualty
                       insurance and extraordinary receipts, the aggregate amount of net cash
                       proceeds received in respect of all such events during such fiscal year does
                       not exceed $10.0 million, (y) with respect to proceeds received in excess of
                       the applicable threshold referenced in the foregoing sub-clause (x), at the
                       Borrower’s option and so long as no event of default shall have occurred
                       and be continuing, following the receipt of proceeds from any of the
                       foregoing in this clause (ii) (A) other than from hedge unwinds, Mexico
                       Liquidity Events, and, to the extent set forth in sub-clause (B) below,
                       condemnation events or casualty insurance events, the Borrower may
                       reinvest up to 50% of such net cash proceeds within 365 days of receipt
                       thereof in acquiring additional oil and gas properties (which in the case of
                       proceeds of sales of assets constituting PDP, PDNP and related
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                        infrastructure assets shall be reinvested in additional oil and gas properties
                        constituting PDP and/or capital expenditures on existing oil and gas
                        properties solely to the extent constituting PDP, PDNP, or PDBP (unless
                        otherwise agreed to by the First Lien Exit Facility Agent its sole discretion))
                        and (B) with respect to any condemnation event or casualty insurance event,
                        the Borrower may reinvest up to 100% of such proceeds within 365 days of
                        receipt thereof in replacement and/or repair of the property subject to such
                        condemnation event or casualty insurance event (provided that the proceeds
                        so reinvested shall not exceed the amount necessary to replace and/or repair
                        such property and the remainder shall be prepaid) and (z) such prepayment
                        shall be made within 3 business days of receipt of such net cash proceeds,

                        (iii) with 100% of the proceeds of non-permitted debt, and

                        (iv) with proceeds of equity issuances (without duplication with respect to
                        equity cures and subject to exceptions for equity issued in connection with
                        permitted acquisitions, other permitted investments, and capital
                        expenditures to be agreed and only so long as no event of default has
                        occurred and is continuing immediately prior to or after giving effect to such
                        equity issuances).

REPRESENTATIONS AND     The First Lien Exit Facility Documents will contain usual and customary
WARRANTIES:             representations and warranties for financings of this type, subject to
                        thresholds and materiality qualifiers to be agreed, including, without
                        limitation: valid existence; power and authority; foreign qualifications;
                        binding obligation; compliance with law; no conflict; governmental
                        authorization; enforceability; absence of litigation and other adverse
                        proceedings; material contracts; no default or event of default; ERISA
                        compliance; margin regulations; title to properties; taxes; financial condition
                        (including as to projections and no material adverse change); environmental
                        matters; investment company and other regulated entities; solvency of the
                        Loan Parties on a consolidated basis; labor relations; intellectual property;
                        insurance matters; subsidiaries; jurisdiction of organization; location of
                        chief executive office; deposit and other accounts; status of First Lien Exit
                        Facility as senior debt; hedge agreements; marketing of production; gas
                        imbalances; take or pay arrangements; accuracy of information provided;
                        and compliance with sanctions, OFAC, anti-money laundering, PATRIOT
                        Act and other anti-terrorism laws and anti-corruption laws.

CONDITIONS PRECEDENT:   The closing of the First Lien Exit Facility will be subject to the satisfaction
                        (or waiver by the First Lien Term Lenders) of the following conditions
                        precedent (the date on which such conditions are satisfied or waived and the
                        funding under the First Lien Exit Facility occurs, the “Closing Date”):

                        (i) the execution and delivery by each of the Loan Parties of the First Lien
                        Exit Facility Documents (including all security agreements, control
                        agreements, mortgages and other collateral documents necessary or
                        advisable to create and perfect security interests in the Collateral (subject to
                        appropriate post-closing periods to be agreed; provided that, all mortgages
                        and UCC-1 financing statements shall be executed and/or delivered on the
                        Closing Date), corporate records and documents from public officials,
                        officers’ certificates and the New Intercreditor Agreement in respect of
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                       indebtedness evidenced by the Second Lien Exit Facility) in each case
                       satisfactory to the First Lien Exit Facility Agent (in its sole discretion);

                       (ii) the delivery of other customary closing documents (including, among
                       other things, customary legal opinions, lien searches and evidence of
                       insurance and endorsements (subject to post-closing periods to be agreed) in
                       each case, in form and substance satisfactory to the First Lien Exit Facility
                       Agent;

                       (iii) the simultaneous closing and funding of the Second Lien Term Facility
                       Credit Agreement, which funding shall be in a minimum aggregate principal
                       amount not less than $140.0 million and not more than $185.0 million;

                       (iv) NewCo and its subsidiaries shall have no obligations in respect of, nor
                       any liens or other encumbrances on their assets or equity interests securing,
                       in each case, indebtedness for borrowed money other than in respect of the
                       First Lien Exit Facility and the Second Lien Exit Facility (including, for the
                       avoidance of doubt, indebtedness arising under the existing Prepetition
                       FLTL Loans that is not assumed by the Borrower on the Plan Effective Date
                       and the Prepetition SLTL Loans);

                       (v) the Restructuring Transactions shall have been, or shall substantially
                       simultaneously be, consummated and effective in accordance with the Plan,
                       the Plan Supplement and the Plan of Merger, as applicable and the Plan
                       Effective Date shall have occurred;

                       (vi) the transactions contemplated by the Credit Bid Purchase Agreement
                       shall be consummated, in all material respects, in accordance with the terms
                       of the Credit Bid Purchase Agreement in the version attached to the draft of
                       the Disclosure Statement at Docket No. 1022 (including all annexes,
                       schedules and exhibits thereto, the “Approved Credit Bid Purchase
                       Agreement”); provided that any amendments, modifications and waivers to
                       the Approved Credit Bid Purchase Agreement, and consents granted
                       thereunder, in each case, that (a) individually or in the aggregate, result in a
                       reduction of 10% or more of the total PV-10 of total 2P reserves comprising
                       the assets acquired by the Credit Bid Purchaser (which shall be calculated
                       by reference to the FWE YE2020 Internal Reserve Report (as of 5.1.21)),
                       (b) results in any contract rights constituting material assets not being
                       acquired by the Credit Bid Purchaser, (c) individually or in the aggregate,
                       results in an increase by $40.0 million or more (which, for the avoidance of
                       doubt, in the case of plugging and abandonment liabilities, shall be
                       calculated on a present value basis) in liabilities assumed by the Credit Bid
                       Purchaser, (d) provide for any change in treatment of the Prepetition FLFO
                       Credit Agreement or First Lien Exit Facility, or (e) provide for any
                       differences from the Approved Credit Bid Purchase Agreement that are
                       materially adverse to the interests of the First Lien Exit Facility Agent and
                       the First Lien Exit Facility Lenders, in their capacity as such, in each case,
                       shall require the consent of the First Lien Exit Facility Agent (which, in the
                       case of clauses (b) and (e) above, shall not to be unreasonably withheld);

                       (vii) all material contracts binding on the Loan Parties as of the Plan
                       Effective Date, including all agreements between NewCo and any of its
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                       subsidiaries and FWE I or FWE III or any of their respective affiliates to be
                       entered into on the Plan Effective Date (including, without limitation, any
                       transition services agreements, joint development agreements and net profits
                       interests agreements) shall be in form and substance reasonably acceptable
                       to the First Lien Exit Facility Agent;

                       (viii) the fees and expenses of the First Lien Exit Facility Agent and the
                       First Lien Term Lenders (including the reimbursement of the reasonable and
                       documented fees and expenses of legal counsel) shall have been paid or
                       shall be paid substantially concurrently with the funding of the First Lien
                       Exit Facility;

                       (ix) delivery of a Reserve Report (as defined below) evaluating the Credit
                       Bid Acquired Interests constituting proved reserves of the Loan Parties with
                       a recent “as of” date, in form and substance acceptable to the First Lien Exit
                       Facility Agent;

                       (x) the aggregate unrestricted cash and cash equivalents of the Borrower and
                       Subsidiary Guarantors as of the Closing Date on a pro forma basis
                       (including after payment of Restructuring Expenses) shall not be less than
                       $100.0 million plus additional cash reserves, if any, to be agreed;

                       (xi) compliance on a pro forma basis with the Total Net Leverage Ratio (as
                       defined below) and the Minimum Asset Coverage Ratio (as defined below);

                       (xii) the First Lien Exit Facility Agent shall have received, at least three
                       business days prior to the Closing Date, all documentation and other
                       information required by bank regulatory authorities under applicable “know
                       your customer” and anti-money laundering rules and regulations, including,
                       without limitation, the PATRIOT Act and under the beneficial ownership
                       regulation (including a beneficial ownership certification), that has been
                       requested in writing by the First Lien Exit Facility Agent at least 10 days
                       prior to the Closing Date;

                       (xiii) evidence satisfactory to the First Lien Exit Facility Agent in the form
                       of a solvency certificate from the Borrower that, as of the Closing Date,
                       after giving effect to the Transactions, including, without limitation, the
                       incurrence of indebtedness under the First Lien Exit Facility and the Second
                       Lien Exit Facility, the Loan Parties, on a consolidated basis, are solvent;

                       (xiv) all representations and warranties true and correct in all material
                       respects (or, if qualified by materiality, in all respects);

                       (xv) no default or event of default;

                       (xvi) since the date of the Execution Date (as defined in the Credit Bid
                       Purchase Agreement), no Material Adverse Effect (as defined in the Credit
                       Bid Purchase Agreement) (or any result, event, occurrence, change,
                       circumstance, consequence or development that, individually or in the
                       aggregate would reasonably be expected to result in a Material Adverse
                       Effect) shall have occurred;


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                         (xvii) the First Lien Exit Facility Agent shall be reasonably satisfied with
                         the status of title of the Credit Bid Acquired Interests;

                         (xviii) the First Lien Exit Facility Agent shall have received, in form and
                         substance reasonably satisfactory to it, all other reports, financial statements,
                         budgets, projections, audits or certifications as it may reasonably request
                         within a reasonable period in advance of the Closing Date; and

                         (xix) the Disclosure Statement shall be in form and substance reasonably
                         acceptable to the First Lien Exit Facility Agent and the Plan and
                         Confirmation Order shall be in form and substance acceptable to the First
                         Lien Exit Facility Agent (it being understood that the Plan in the form
                         attached as Annex C to the Commitment Letter is acceptable to the First
                         Lien Exit Facility Agent, as modified with the consent of the First Lien Exit
                         Facility Agent (not to be unreasonably withheld).


AFFIRMATIVE COVENANTS:   The First Lien Exit Facility Documents will contain usual and customary
                         affirmative covenants for financings of this type, subject to thresholds,
                         exceptions and materiality qualifiers to be agreed, including without
                         limitation, delivery of unaudited financial statements for each fiscal quarter
                         in each fiscal year within 45 days after fiscal quarter end, delivery of audited
                         annual financial statements within 105 days after fiscal year end (which
                         shall be accompanied by a certification of an independent certified public
                         accounting firm of recognized national standing, whose opinion shall not be
                         qualified with a scope of audit or “going concern” or like qualification or
                         exception (other than with respect to, or resulting from, the occurrence of an
                         upcoming maturity date of indebtedness within one year of the date of such
                         opinion)), budgets delivered within 60 days after fiscal year end, compliance
                         certificates delivered concurrently with financial statements other than
                         unaudited fourth quarter financial statements (including reasonably detailed
                         calculations of the Asset Coverage Ratio, First Lien Leverage Ratio and
                         Total Net Leverage Ratio), commodity swap agreement certificates and
                         calculations, change in corporate information of the Loan Parties, notice of
                         debt incurrence, asset sale/hedge unwind notice, notices of entry into
                         regulatory agreements and settlements and other material regulatory
                         correspondence, notice opening of deposit accounts, production reports (if
                         requested), lists of purchasers (if requested), certifications of calculations of
                         excess cash, after acquired collateral and guarantees, maintenance of
                         existence, payment of taxes and claims, maintenance of properties and
                         insurance, books and records, inspections, quarterly lender meetings,
                         environmental, further assurances, control agreements, ERISA, compliance
                         with laws, compliance with and policies regarding sanctions, anti-terrorism,
                         anti-corruption and anti-money laundering matters, use of proceeds,
                         compliance with contractual obligations, delivery of reserve reports in
                         compliance with the Reserve Report Requirements below and related
                         reserve report certificates (which shall set forth compliance with the Asset
                         Coverage Ratio financial covenant), semi-annual mortgage updates, delivery
                         of title information reasonably satisfactory to the First Lien Exit Facility
                         Agent (if reasonably requested), and a minimum hedging covenant requiring
                         that on or prior to the date that is 45 days post-closing (i) the Borrower and
                         Subsidiary Guarantors shall have entered into hedging contracts with
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                       Approved Counterparties on terms reasonably satisfactory to the First Lien
                       Exit Facility Agent covering at least (a) 50% of then-current reasonably
                       anticipated 2P PDP volumes, for each month during the first 12 months
                       following the date of determination 45 days after the Closing Date (the
                       “Initial Measurement Period”) and (b) 25% of the then-current reasonably
                       anticipated 2P PDP volumes for each month during the six months
                       immediately following the Initial Measurement Period and (ii) thereafter,
                       the Borrower and Subsidiary Guarantors will maintain, as tested on a semi-
                       annual basis on June 30 and December 31 of each year, hedging contracts
                       with Approved Counterparties on terms reasonably satisfactory to the First
                       Lien Exit Facility Agent covering at least (a) 50% of the reasonably
                       anticipated 2P PDP volumes for each month on a rolling basis for the 12
                       months following the date of determination and (b) 25% of the reasonably
                       anticipated 2P PDP volumes for each month on a rolling basis for months
                       13-18 following the date of determination; provided that reasonably
                       anticipated 2P PDP volumes shall be as set forth in the most recently
                       delivered Reserve Report and all such hedging contracts shall be at market
                       prices at the time entered into; provided, further, that, notwithstanding
                       anything to the contrary set forth above, if the Genovesa and/or Troika TA-3
                       well has come online on or prior to the date that is 45 days after the Closing
                       Date, the volumes associated with such well, as applicable, shall be treated
                       as PDP.

RESERVE REPORT         The Borrower must deliver, on a quarterly basis as of the last day of each
REQUIREMENTS:          fiscal quarter and (i) for the first three fiscal quarters, on or prior to the date
                       on which the compliance certificate relating to such quarter is required to be
                       delivered and (ii) for the fourth fiscal quarter, on or prior to the date that is
                       90 days after fiscal quarter end, to the First Lien Exit Facility Agent a
                       reserve report in form and substance reasonably satisfactory to the First Lien
                       Exit Facility Agent of the Loan Parties’ proved oil and gas properties (each,
                       a “Reserve Report”) prepared and certified by the Borrower’s internal
                       petroleum engineers; provided that at least one Reserve Report per fiscal
                       year shall be prepared or audited by an independent third party reserve
                       engineer (if audited, covering a minimum percentage to be agreed of the
                       value of the Loan Parties’ proved oil and gas properties (the “Minimum
                       Percentage”)) reasonably acceptable to the First Lien Exit Facility Agent.
                       In addition, upon the request of the First Lien Exit Facility Agent in its sole
                       discretion, the Borrower shall deliver to the First Lien Exit Facility Agent a
                       third-party audit of the most recently delivered Reserve Report which is
                       reasonably acceptable to the First Lien Exit Facility Agent and covers the
                       Minimum Percentage (i) once upon request during any calendar year if no
                       event of default has occurred and is continuing under any of the First Lien
                       Exit Facility Documents or (ii) at any time so requested if an event of
                       default has occurred and is continuing under any of the First Lien Exit
                       Facility Documents.

NEGATIVE COVENANTS:    The First Lien Exit Facility Documents will contain usual and customary
                       negative covenants for the Borrower and its restricted subsidiaries,
                       including, without limitation, limitations on liens, debt, fundamental
                       changes, dispositions, restricted payments, investments, prepayments of
                       junior indebtedness, amendments to organizational documents and material
                       contracts in a manner materially adverse to any Loan Party or the First Lien
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                       Term Lenders, changes in nature of business, no foreign subsidiaries (other
                       than the Closing Date Unrestricted Subsidiary and its subsidiaries), changes
                       in fiscal year, burdensome agreements, transactions with affiliates, gas
                       imbalances, take or pay arrangements, marketing of production and deposit
                       accounts and to include a passive holding company covenant for NewCo,
                       subject to thresholds, exceptions and materiality qualifiers to be agreed, but
                       to include the following:

                       (i) with respect to limitations on indebtedness, baskets permitting (a) the
                       Second Lien Exit Facility and any permitted refinancing thereof, (b)
                       purchase money or capital lease indebtedness in an amount not to exceed
                       $10.0 million at any time outstanding, (c) indebtedness incurred in
                       connection with the financing of new equipment in order to reduce near-
                       term capital expenditures associated with deepwater projects not to exceed
                       $80.0 million, provided that such indebtedness is (x) not recourse to any
                       Loan Party and (y) on terms acceptable to the First Lien Exit Facility Agent
                       in its sole discretion, (d) indebtedness incurred by a Qualified Receivables
                       Subsidiary in a Qualified Receivables Financing (to be defined, but to
                       include customary limitations, terms and conditions to be agreed) that is not
                       recourse to any Loan Party (which shall not constitute “indebtedness” for
                       any calculation under the First Lien Exit Facility Documents), (e) letters of
                       credit with a face amount not in excess of $50.0 million and (f) general
                       unsecured debt not to exceed $10.0 million at any time outstanding;

                       (ii) with respect to limitations on liens, baskets permitting (a) liens on debt
                       permitted to be incurred as described in clauses (i)(a), (i)(b) (limited to the
                       assets subject to such indebtedness), (i)(c) (limited to liens on the new
                       equipment so financed), (i)(d), and (i)(e) (limited to liens on cash collateral)
                       above, and (b) liens securing debt (other than debt for borrowed money) not
                       to exceed $10.0 million;

                       (iii) with respect to limitations on dispositions, a basket permitting (a)
                       dispositions of the Loan Parties’ investment in Mexico, (b) dispositions of
                       assets constituting PDP, PDNP and related infrastructure assets in an
                       amount not to exceed $30.0 million during the term of the First Lien Exit
                       Facility, (c) transfer of accounts receivable and related assets in connection
                       with a Qualified Receivables Financing, (d) transfers of assets among Loan
                       Parties and (e) dispositions of other assets in an amount not to exceed
                       $100.0 million during the term of the First Lien Exit Facility, so long as, in
                       each case, (x) 85% of the consideration therefor is in the form of cash and
                       cash equivalents, (y) no event of default shall have occurred and be
                       continuing and (z) the notice and mandatory prepayment provisions are
                       complied with;

                       (iv) with respect to limitations on distributions, a basket permitting (a) tax
                       distributions, (b) payment of other customary corporate and overhead items
                       and (c) distributions of receivables in connection with a Qualified
                       Receivables Financing;

                       (v) with respect to limitations on investments, baskets permitting (a)
                       investments in joint ventures, so long as no event of default shall exist or
                       result therefrom and the aggregate amount of such investments shall not
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                       exceed $5.0 million in any fiscal year, (b) acquisitions of additional oil and
                       gas properties, (c) investments in the Borrower and Subsidiary Guarantors,
                       (d) so long as no event of default shall exist or result therefrom, investments
                       in the Closing Date Unrestricted Subsidiary and its subsidiaries to fund
                       capital calls required pursuant to the organizational documents of Fieldwood
                       Mexico B.V., which investments shall not exceed, in any fiscal year, the
                       sum of (1) an amount equal to G&A reimbursements received in cash by the
                       Loan Parties from the Closing Date Unrestricted Subsidiary during such
                       fiscal year and (2) $5.0 million (provided that the amount pursuant to this
                       clause (2) shall be $10.0 million for the fiscal year ending December 31,
                       2021), (e) investments in or by a Qualified Receivables Subsidiary or other
                       investments, in each case, in connection with a Qualified Receivables
                       Financing and (f) other investments and acquisitions in an amount not to
                       exceed $20.0 million in the aggregate at any time outstanding; and

                       (vi) with respect to limitations on prepayments of junior indebtedness, a
                       basket for a prepayment of indebtedness outstanding under the Second Lien
                       Exit Facility Credit Agreement once in respect of each fiscal quarter,
                       commencing upon the Variable Amortization Trigger Date, in an amount
                       not to exceed 25% of the amount of Consolidated Excess Cash as of the last
                       day of such fiscal quarter so long as (a) the aggregate principal amount of
                       First Lien Term Loans outstanding under the First Lien Exit Facility shall be
                       less than $80.0 million, (b) after giving effect to such payment, the pro
                       forma First Lien Leverage Ratio of the Borrower and Subsidiary Guarantors
                       shall be less than 0.5:1.00, (c) any such prepayments of indebtedness
                       outstanding under the Second Lien Exit Facility Credit Agreement shall be
                       subject to and accompanied by a dollar-for-dollar prepayment of First Lien
                       Term Loans, (d) no event of default has occurred and is continuing
                       immediately prior to or after giving effect to such prepayment of
                       indebtedness and (e) such prepayment of indebtedness is made within 5
                       business days following the end of such fiscal quarter.

                       The First Lien Exit Facility Documents shall also include limitations on
                       commodity swap arrangements, including that:

                       (i) they are limited to a maximum duration of 60 months;

                       (ii) shall cover notional volumes of not more than, at the time such swap
                       agreement is entered into, for each calendar month 85% of reasonably
                       anticipated production from proved developed producing reserves of crude
                       oil, natural gas and natural gas liquids (calculated separately), as set forth in
                       the most recently delivered Reserve Report; provided that, if, after the end
                       of any calendar quarter, commencing with the first calendar quarter ending
                       after the Closing Date, the Borrower determines that the aggregate weighted
                       average of the notional volumes of all swap agreements in respect of
                       commodities for such calendar quarter (other than basis differential swaps
                       on volumes already hedged pursuant to other swap agreements) exceeded
                       100% of actual production of hydrocarbons in such calendar quarter, then
                       the Borrower (i) shall promptly notify the First Lien Exit Facility Agent of
                       such determination and (ii) shall, within 45 days of such determination,
                       terminate (only to the extent such terminations are permitted pursuant to the
                       asset sale and hedge unwind negative covenant), create off-setting positions,
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                       or otherwise unwind or monetize (only to the extent such unwinds or
                       monetizations are permitted pursuant to the asset sale and hedge unwind
                       covenant) existing swap agreements such that, at such time, future hedging
                       volumes will not exceed 100% of reasonably anticipated projected
                       production for the then-current and any succeeding calendar quarters; and

                       (iii) all purchased put options or price floors for hydrocarbons shall be
                       excluded for purposes of the foregoing volume limitations on commodity
                       swap arrangements.

FINANCIAL COVENANTS:   Financial covenants shall consist of the following to be tested quarterly as of
                       the last day of each fiscal quarter:

                       (i) a Maximum Ratio of Total Net Debt (as defined below) to EBITDA (as
                       defined below) of 2.25:1.00 (the “Total Net Leverage Ratio”); and

                       (ii) a minimum asset coverage ratio of at least 2.25:1.00 (the “Minimum
                       Asset Coverage Ratio”) (with “Asset Coverage Ratio” to be defined in a
                       manner to be agreed, but in any event to be the ratio of (a) total 2P
                       Producing PV-10 of the Loan Parties plus solely through and including the
                       last day of the fiscal quarter ending September 30, 2021, the PV-15
                       attributable to the Genovesa and Troika TA-3 wells (which thereafter shall
                       only be included to the extent comprising 2P Producing wells), in each case
                       as set forth in the most recently delivered Reserve Report, plus the present
                       value (positive or negative) of the mark-to-market commodity hedge
                       positions at the time of the most recently delivered Reserve Report
                       discounted at 10% per annum, less the present value of the estimated
                       plugging and abandonment costs of the Borrower and Subsidiary
                       Guarantors’ wells and any related assets at such time, discounted at 10% per
                       annum (provided such estimated costs and timing assumptions shall be
                       consistent with historical practices and otherwise reasonably acceptable to
                       the First Lien Exit Facility Agent) plus any PDNP or PDBP which is
                       capable of producing without incurring any additional capital as well as any
                       PDNP previously included as PDP reserves and anticipated to be returned to
                       PDP within (1) two months of the delivery of the reserve report so long as
                       any capital required to return to production is incorporated in the PV-10
                       values and (2) within three to ten months of the delivery of the reserve
                       report so long as (A) any capital required to return to production is
                       incorporated in the PV-10 values and (B) the total amount of this clause (a)
                       that is attributable to such reserves described in this sub-clause (2) does not
                       exceed more than 10% of such total amount (calculated prior to giving
                       effect to the additions of reserves described in this sub-clause (2)); provided
                       that appropriate deductions shall be made for severance and ad valorem
                       taxes, and for operating, gathering, transportation, marketing costs and other
                       costs required for the production and sale of such oil and gas properties to
                       (b) the outstanding balance of the First Lien Term Loans as of such last day
                       of such fiscal quarter net of Consolidated Excess Cash; provided that for
                       purposes of calculating total 2P Producing PV-10 (and the PV-15
                       attributable to the Genovesa and Troika TA-3 wells, if and when applicable)
                       the price deck and mark-to-market hedge valuation shall utilize the average
                       NYMEX strip calculated during the 30 calendar days preceding the “as of”
                       date of the most recently delivered Reserve Report (held flat after year 5 at
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                       the average 5th year prices) and including basis differentials determined by
                       the Borrower in a manner consistent with historical and customary industry
                       practices, such differentials being subject to the approval of the First Lien
                       Exit Facility Agent).

                       As used herein, “Total Net Debt” means (a) the sum of (without
                       duplication) all debt consisting of Capitalized Lease Obligations (to be
                       defined), all reimbursement obligations (whether contingent or otherwise) in
                       respect of letters of credit (other than to the extent fully cash collateralized
                       or to the extent in respect of undrawn letters of credit with an aggregate face
                       amount not in excess of $25.0 million), debt for borrowed money and debt
                       evidenced by notes, loan agreements, debentures, indentures or similar
                       instruments, disqualified capital stock, accounts payable and liabilities in
                       respect of obligations to pay the deferred purchase price of any assets or
                       services (to the extent greater than 60 days past due, unless disputed in good
                       faith), and any of the foregoing debt of other persons in the amount secured
                       by a lien on the assets of the Borrower or any Subsidiary Guarantor or in the
                       amount guaranteed by the Borrower or any Subsidiary Guarantor, in each
                       case, of the Borrower or any Subsidiary Guarantor on such date (other than
                       intercompany indebtedness) and, to the extent appearing on the balance
                       sheet of the Borrower, determined on a consolidated basis in accordance
                       with GAAP (provided that (x) the amount of any Capitalized Lease
                       Obligations or any such debt issued at a discount to its face value shall be
                       determined in accordance with GAAP and (y) permitted indebtedness
                       incurred in connection with a the financing of new equipment in order to
                       reduce near-term capital expenditures associated with deepwater projects
                       shall be excluded from the definition of Total Net Debt) less (b) the amount
                       that (i) all unrestricted cash on hand of the Borrower and Subsidiary
                       Guarantors (to the extent held in deposit accounts subject to control
                       agreements with the First Lien Exit Facility Agent as secured party) exceeds
                       (ii) $50,000,000.

                       As used herein, “EBITDA” means, of the Borrower and the Subsidiary
                       Guarantors, for any period, the sum of Consolidated Net Income (to be
                       defined, but which shall, in any event, (x) include adjustments for gains
                       and/or losses with respect to hedge unwinds over the applicable period
                       covered by such unwound hedges and (y) include proceeds of any payments
                       from BP related to the Isabela transaction) for such period plus the
                       following expenses or charges to the extent deducted from consolidated net
                       income in such period: interest, income taxes, depreciation, depletion,
                       amortization, exploration expenses, actual costs and expenses of the Loan
                       Parties incurred in connection with the Restructuring Transactions, other
                       noncash charges, and losses from asset dispositions (other than
                       Hydrocarbons produced in the ordinary course of business and other than
                       hedge unwinds), minus (x) all gains from asset dispositions (other than
                       Hydrocarbons produced in the ordinary course of business and other than
                       hedge unwinds), (y) all general and administrative expenses during such
                       period to the extent such expenses were not deducted from consolidated net
                       income in such period (e.g. capitalized general and administrative expenses)
                       and (z) all noncash income, in each case to the extent added to consolidated
                       net income in such period; provided, however, that for the purposes of
                       calculating EBITDA for any period of four consecutive fiscal quarters
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                       (each, a “Reference Period”), if during such Reference Period the Loan
                       Parties shall have made a material disposition or material acquisition (with
                       materiality thresholds to be agreed in the definitive documentation),
                       EBITDA for such Reference Period shall be calculated after giving pro
                       forma effect thereto as if such disposition or acquisition by the Loan Parties
                       occurred on the first day of such Reference Period with such pro forma
                       adjustments being determined in good faith by a financial officer of the
                       Borrower and reasonably acceptable to the First Lien Exit Facility Agent.
                       EBITDA for the first three fiscal quarters following the Closing Date will be
                       annualized on a building basis (i.e. first full quarter multiplied by four, first
                       two fiscal quarters multiplied by 2 and first three fiscal quarters multiplied
                       by 4/3).

                       The First Lien Exit Facility Documents will permit equity cures not more
                       than two times (non-consecutively) per four fiscal quarter period and not
                       more than three times over the life of the First Lien Exit Facility, provided
                       that the proceeds of such equity cure are used to repay First Lien Term
                       Loans in order for the Borrower to be in compliance with the applicable
                       financial covenant.

EVENTS OF DEFAULT:     The First Lien Exit Facility Documents shall contain usual and customary
                       events of default (with customary thresholds and grace periods) for
                       financings of this type, including without limitation: nonpayment of
                       principal, interest, fees or other amounts when due (with a 3 business day
                       grace period for interest, fees and other non-principal amounts); failure to
                       perform affirmative covenants (with exceptions and grace periods to be
                       agreed), negative covenants and the Financial Covenants (and the
                       affirmative covenants to provide notice of default or maintain the
                       Borrower’s corporate existence); any representation or warranty incorrect in
                       any material respect when made or deemed made; cross-default to the
                       Second Lien Exit Facility and other indebtedness having an aggregate
                       principal amount in excess of $10.0 million; bankruptcy or insolvency
                       proceedings of any Loan Party (with a 60-day grace period for involuntary
                       events); final non-appealable monetary judgments to the extent not covered
                       by indemnities or insurance in an amount in excess of $10.0 million; ERISA
                       events, subject to material adverse effect; invalidity of any guarantee or the
                       First Lien Exit Facility Agent’s lien under the security documents; and
                       change of control.

SECOND LIEN            Usual and customary including:
INTERCREDITOR
                       (i) 180 day standstill;
AGREEMENT:
                       (ii) identical (subject to conforming changes) collateral and security
                       instruments (to be based on first lien security documents);
                       (iii) automatic release of second liens upon release of same collateral by
                       First Lien Exit Facility Agent (to the extent such collateral was permitted to
                       be sold under the Second Lien Exit Facility documentation); and
                       (iv) second lien holders prohibited from contesting or proposing a DIP
                       financing (subject to a DIP cap to be agreed) without consent of First Lien
                       Exit Facility Agent except that (a) they may propose a DIP financing that
                       would repay the First Lien Exit Facility in full in cash and (b) they may
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                       propose a DIP financing that is junior in priority to the First Lien Exit
                       Facility in the event that the First Lien Term Lenders have declined to
                       propose a DIP financing or failed to timely propose a DIP financing (such
                       timing to be agreed in the intercreditor agreement).
VOTING:                Amendments, waivers and other modifications to the First Lien Exit Facility
                       Documents shall require the consent of First Lien Term Lenders holding
                       more than 50.0% of First Lien Term Loans (the “Required Lenders”);
                       provided, however, that in the event that at any time there are two or more
                       unaffiliated First Lien Term Lenders, the consent of at least two First Lien
                       Term Lenders shall be required for Required Lenders.
                       Certain amendments, waivers and other modifications shall require the
                       consent of all First Lien Term Lenders, including, without limitation,
                       reduction to the interest rate, extension of maturity, extension or waiver of
                       scheduled repayments, reduction of principal, increasing a commitment,
                       alteration of the pro rata application of repayments, amending or waiving
                       voting or funding conditions, the First Lien Exit Facility Agent’s
                       indemnification, releasing substantially all Collateral or Guarantors,
                       subordinating the obligations under the First Lien Exit Facility or the liens
                       on the Collateral (in each case, subject to customary exceptions) and
                       consenting to the assignment or transfer of the Borrower’s obligations under
                       the First Lien Exit Facility Documents (except in connection with a
                       transaction expressly permitted or not prohibited thereby).

TAXES, RESERVE         All payments are to be made free and clear of any taxes, subject to usual and
REQUIREMENTS AND       customary exceptions.
INDEMNITIES:
                       The Loan Parties will indemnify the First Lien Term Lenders against all
                       increased costs of capital resulting from reserve requirements or otherwise
                       imposed, in each case subject to customary increased costs, capital adequacy
                       and similar provisions to the extent not taken into account in the calculation
                       of ABR or Adjusted LIBOR.
ASSIGNMENTS:           Customary and appropriate provisions relating to assignments and
                       participations by the First Lien Term Lenders; provided that the Borrower
                       shall have the right to consent to any assignment by a First Lien Term
                       Lender (such consent not to be unreasonably withheld, conditioned, or
                       delayed) unless (a) an event of default has occurred and is continuing or (b)
                       such assignment is to another First Lien Term Lender, an affiliate of any
                       First Lien Term Lender or an “approved fund”.
INDEMNIFICATION;       Customary and appropriate provisions relating to indemnity, expense
EXPENSES:              reimbursement and related matters in a form reasonably satisfactory to the
                       First Lien Exit Facility Agent, with standards consistent with those set forth
                       on Annex A to the Commitment Letter to which this Annex B is attached.
CHOICE OF LAW;         The First Lien Exit Facility Documents will be governed by and construed
JURISDICTION:          in accordance with the laws of the State of New York. The Loan Parties
                       will submit to the non-exclusive jurisdiction and venue of the federal and
                       state courts of the State of New York and shall waive any right to trial by
                       jury.
COUNSEL TO THE FIRST   Vinson & Elkins LLP
LIEN EXIT FACILITY

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AGENT:




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                                                                                        EXHIBIT A

                     Part A: Approved Cash Management and Treasury Services Providers

Capital One, National Association and its affiliates


                                    Part B: Approved Hedge Counterparties

J. Aron & Company LLC and its affiliates
Morgan Stanley Capital Group Inc. and its affiliates
Shell Trading Risk Management, LLC and its affiliates
Macquarie Bank Limited and its affiliates
BP Energy Company and its affiliates




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                                    Annex C

                                      Plan




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                                                          SUBJECT TO FRE 408
                                                              CONFIDENTIAL


                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                               §        Chapter 11
                                                     §
FIELDWOOD ENERGY LLC, et al.,                        §        Case No. 20-33948 (MI)
                                                     §
                 Debtors.1                           §        (Jointly Administered)
                                                     §


                    THIRD AMENDED JOINT CHAPTER 11 PLAN OF
               FIELDWOOD ENERGY LLC AND ITS AFFILIATED DEBTORS



WEIL, GOTSHAL & MANGES LLP                                 WEIL, GOTSHAL & MANGES LLP
Alfredo R. Pérez                                           Matthew S. Barr (admitted pro hac vice)
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Attorneys for Debtors
and Debtors in Possession

Dated: March 24, 2021
       Houston, Texas




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778);
Fieldwood Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489);
Fieldwood SD Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf
LLC (8107); Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC
(1971); Galveston Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary
mailing address is 2000 W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.

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                                                             CONFIDENTIAL


               Each of Fieldwood Energy LLC; Fieldwood Energy Inc.; Dynamic Offshore
Resources NS, LLC; Fieldwood Energy Offshore LLC; Fieldwood Onshore LLC; Fieldwood SD
Offshore LLC; Fieldwood Offshore LLC; FW GOM Pipeline, Inc.; GOM Shelf LLC; Bandon
Oil and Gas GP, LLC; Bandon Oil and Gas, LP; Fieldwood Energy SP LLC; Galveston Bay
Pipeline LLC; and Galveston Bay Processing LLC (each, a “Debtor” and collectively,
the “Debtors”) proposes the following joint chapter 11 plan of reorganization pursuant to section
1121(a) of the Bankruptcy Code. Capitalized terms used herein shall have the meanings set forth
in Section 1.1 below.



ARTICLE I.            DEFINITIONS AND INTERPRETATION.

              1.1     Definitions.

              The following terms shall have the respective meanings specified below:

              363 Credit Bid Transaction means the sale of the Credit Bid Acquired Interests to
the Credit Bid Purchaser pursuant to section 363 of the Bankruptcy Code on substantially the
same terms as provided in the Credit Bid Purchase Agreement in accordance with Section 5.2(c)
of this Plan.

               Abandoned Properties means the Debtors’ rights to and interests in executory
contracts and unexpired federal leases, rights-of-way, and right-of-use-and-easements listed on
the Schedule of Abandoned Properties (as amended, supplemented, or otherwise modified from
time to time).

              Accepting Class means a class of Claims or Interests that votes to accept this Plan
in accordance with section 1126 of the Bankruptcy Code.

              Ad Hoc Group of Secured Lenders means the ad hoc group of holders of
Prepetition FLTL Loans and Prepetition SLTL Loans that is represented by the Ad Hoc Group of
Secured Lenders Advisors.

               Ad Hoc Group of Secured Lenders Advisors means Davis Polk & Wardwell
LLP, Haynes and Boone LLP, Gordon, Arata, Montgomery, Barnett, McCollam, Duplantis &
Eagan, LLC, Rothschild & Co US Inc. and Intrepid Financial Partners, LLC and any local or
foreign advisors.

               Ad Hoc Group of Prepetition SLTL Lenders means that certain ad hoc group of
holders of Prepetition SLTL Loans that is represented by the Ad Hoc Group of Prepetition SLTL
Advisors.

              Ad Hoc Group of Prepetition SLTL Lenders Advisors means only Kasowitz
Benson Torres LLP.


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                Additional Predecessor Agreement means any consensual agreement that the
Debtors may enter into prior to the Confirmation Date with any entity or entities in the chain of
title, co-working interest owner(s), or other related party for any of the Abandoned Properties.

             Additional Predecessor Agreement Documents means any agreements or
documents contemplated by and necessary to the consummation of an Additional Predecessor
Agreement.

               Administrative Expense Claim means any Claim constituting a cost or expense of
administration incurred during the Chapter 11 Cases of a kind specified under section 503(b) of
the Bankruptcy Code and entitled to priority under sections 507(a)(2), 507(b), or 1114(e)(2) of
the Bankruptcy Code (other than DIP Claims and Postpetition Hedge Claims), including (a) the
actual and necessary costs and expenses incurred after the Petition Date and through the
Effective Date of preserving the Estates and operating the businesses of the Debtors (such as
wages, salaries, or commissions for services and payments for goods and other services and
leased premises), and (b) Fee Claims.

                Allowed means, with respect to any Claim against or Interest in a Debtor, (a)
(i) that is timely filed by the bar dates established in the Chapter 11 Cases, or (ii) as to which
there exists no requirement for the holder of a Claim to file such Claim under the Plan, the
Bankruptcy Code, the Bankruptcy Rules or a Final Order, (b) (i) that is listed in the Schedules as
not contingent, not unliquidated, and not disputed, and (ii) for which no contrary proof of claim
has been timely filed, or (c) allowed under the Plan or by a Final Order (including the DIP
Order). With respect to any Claim described in clause (a) above, such Claim will be considered
allowed only if, and to the extent that, (A) no objection to the allowance of such Claim has been
asserted, or may be asserted, on or before the time period set forth in the Plan, and no request for
estimation or other challenge, including pursuant to section 502(d) of the Bankruptcy Code or
otherwise, has been interposed and not withdrawn within the applicable period fixed by the Plan
or applicable law, (B) an objection to such Claim is asserted and such Claim is subsequently
allowed pursuant to a Final Order, (C) such Claim is settled pursuant to an order of the
Bankruptcy Court, or (D) such Claim is allowed pursuant to the Plan or any agreements related
thereto and such allowance is approved and authorized by the Bankruptcy Court; provided,
however, that notwithstanding the foregoing, the Post-Effective Date Debtors shall retain all
claims and defenses with respect to Allowed Claims that are reinstated or otherwise unimpaired
pursuant to the Plan. If a Claim is Allowed only in part, any provisions hereunder with respect to
Allowed Claims are applicable solely to the Allowed portion of such Claim. Notwithstanding
the foregoing, unless expressly waived herein, the Allowed amount of Claims or Interests shall
be subject to and shall not exceed the limitations or maximum amounts permitted by the
Bankruptcy Code, including sections 502 or 503 of the Bankruptcy Code, to the extent
applicable.

                 Amended Organizational Documents means the certificates of incorporation,
certificates of formation, bylaws, limited liability company agreements, stockholders agreement,
and the operating agreements or other similar organizational or formation documents, as
applicable, of the Post-Effective Date Debtors.

               Apache means Apache Corporation.


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             Apache Definitive Documents has the meaning set forth in the Apache
Implementation Agreement.

             Apache Fees and Expenses has the meaning set forth in the Apache
Implementation Agreement.

             Apache Implementation Agreement means that certain Implementation
Agreement, dated January 1, 2021, by and among Debtor Fieldwood Energy LLC and Debtor
GOM Shelf LLC, on the one hand, and the Apache PSA Parties on the other hand, as may be
amended, restated, or otherwise modified pursuant to the terms thereof; provided that such
amendment, restatement, or other modification is reasonably acceptable to the Debtors, the
Apache PSA Parties, the Required DIP Lenders and Requisite FLTL Lenders.

               Apache Implementation Costs has the meaning ascribed to “Implementation
Costs” in the Apache Implementation Agreement.

            Apache PSA Parties means, collectively, Apache, Apache Shelf, Inc., Apache
Deepwater LLC, and Apache Shelf Exploration LLC.

               Apache Term Sheet has the meaning set forth in the Restructuring Support
Agreement.

              Asset means all of the rights, title, and interests of a Debtor in and to property of
whatever type or nature (including real, personal, mixed, intellectual, tangible, and intangible
property).

             Assumption Dispute means an unresolved objection regarding assumption or
assumption and assignment of an executory contract or unexpired lease pursuant to section 365
of the Bankruptcy Code, including objections based on the appropriate Cure Amount or
“adequate assurance of future performance” (within the meaning of section 365 of the
Bankruptcy Code).

               Avoidance Actions means all claims and causes of action that may be commenced
by or on behalf of the Debtors pursuant to sections 544, 545, 547, 548, 549, 550 and 551 of the
Bankruptcy Code or similar nonbankruptcy law, including similar or related state or federal
statute and common law.

             Backstop Commitment Premium Equity Interests means the Second Lien
Backstop Commitment Premium Equity Interests, the FLTL ERO Backstop Commitment
Premium Equity Interests, and the SLTL ERO Backstop Commitment Premium Equity Interests.

              Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. §§ 101-
1532, as amended from time to time, as applicable to these Chapter 11 Cases.

              Bankruptcy Court means the United States Bankruptcy Court for the Southern
District of Texas having jurisdiction over the Chapter 11 Cases and, to the extent of any
reference made under section 157 of title 28 of the United States Code or the Bankruptcy Court



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is determined not to have authority to enter a Final Order on an issue, the District Court having
jurisdiction over the Chapter 11 Cases under section 151 of title 28 of the United States Code.

                 Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as
promulgated by the Supreme Court of the United States under section 2075 of title 28 of the
United States Code, as amended from time to time, applicable to the Chapter 11 Cases, and any
local rules of the Bankruptcy Court.

              Business Day means any day other than a Saturday, a Sunday or any other day on
which banking institutions in New York, New York are authorized or required by law or
executive order to close.

               Cash means legal tender of the United States of America.

                Cause of Action means any action, claim, cross-claim, third-party claim, cause of
action, controversy, dispute, demand, right, Lien, indemnity, contribution, guaranty, suit,
obligation, liability, loss, debt, fee or expense, damage, interest, judgment, cost, account,
defense, remedy, offset, power, privilege, proceeding, license, and franchise of any kind or
character whatsoever, known, unknown, foreseen or unforeseen, existing or hereafter arising,
contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
unliquidated, disputed or undisputed, secured or unsecured, assertable directly or derivatively
(including any alter ego theories), whether arising before, on, or after the Petition Date, in
contract or in tort, in law or in equity or pursuant to any other theory of law (including under any
state or federal securities laws). For the avoidance of doubt, Cause of Action also includes
(a) any right of setoff, counterclaim, or recoupment and any claim for breach of contract or for
breach of duties imposed by law or in equity, (b) the right to object to Claims or Interests, (c) any
claim pursuant to section 362 or chapter 5 of the Bankruptcy Code (including claims and causes
of action arising under section 544, 545, 547, 548, 549, 550, and 551 of the Bankruptcy Code),
(d) any claim or defense, including fraud, mistake, duress, and usury and any other defenses set
forth in section 558 of the Bankruptcy Code, and (e) any state law fraudulent transfer or
preferential transfer claim.

               Chapter 11 Case(s) means, with respect to a Debtor, such Debtor’s case under
chapter 11 of the Bankruptcy Code commenced on the Petition Date in the Bankruptcy Court,
jointly administered with all other Debtors’ cases under chapter 11 of the Bankruptcy Code.

              Claim means a “claim,” as defined in section 101(5) of the Bankruptcy Code,
against any Debtor.

                Claims Reserve means one or more segregated accounts not subject to the Liens
of the Prepetition Agents or DIP Agent, which shall be established on or immediately before the
Effective Date and funded on the Effective Date with Cash to pay (or reserve for payment of)
any (i) Allowed Administrative Expense Claims, (ii) Allowed Priority Tax Claims, (iii) Allowed
Priority Non-Tax Claims, (iv) Allowed Other Secured Claims, (v) Allowed Unsecured Trade
Claims, and (vi) Cure Amounts; provided, however, that all Cash remaining in the Claims
Reserve after payment of all relevant Allowed Claims and Cure Amounts in accordance with the
terms of this Plan shall constitute Residual Distributable Value; provided further that the funding


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of the Claims Reserve shall be consistent with the terms of the Second Lien Backstop
Commitment Letter.

                Claims Reserve Amount means the aggregate amount of Cash, as determined by
the Debtors with (i) the consent of the Required DIP Lenders and Requisite FLTL Lenders and
(ii) the reasonable consent of the Creditors’ Committee solely with respect to the amount of the
Claims Reserve on account of Allowed Unsecured Trade Claims, necessary to satisfy all (a)
Allowed Administrative Expense Claims, (b) Allowed Priority Tax Claims, (c) Allowed Priority
Non-Tax Claims, (d) Allowed Other Secured Claims, (e) Allowed Unsecured Trade Claims, and
(f) Cure Amounts, which aggregate amount shall be funded into the Claims Reserve on the
Effective Date.

              Class means any group of Claims or Interests classified under the Plan pursuant to
section 1122 and 1123(a)(1) of the Bankruptcy Code.

              Collateral means any Asset of an Estate that is subject to a Lien securing the
payment or performance of a Claim, which Lien is not invalid, is properly perfected as of the
Petition Date, and is not subject to avoidance under the Bankruptcy Code or applicable
nonbankruptcy law.

               Confirmation Date means the date on which the Clerk of the Bankruptcy Court
enters the Confirmation Order.

              Confirmation Hearing means the hearing to be held by the Bankruptcy Court
regarding confirmation of the Plan, as such hearing may be adjourned or continued from time to
time.

               Confirmation Order means the order of the Bankruptcy Court, in form and
substance acceptable to the Debtors, the Required DIP Lenders, the Requisite FLTL Lenders, the
Prepetition FLFO Administrative Agent, and the Creditors’ Committee, confirming the Plan
pursuant to section 1129 of the Bankruptcy Code.

              Confirmation Outside Date means May 10, 2021 or such later date as may be
mutually agreed between the Debtors, the Required DIP Lenders, and the Requisite FLTL
Lenders.

                Consenting Creditors means the Prepetition FLTL Lenders, together with their
respective successors and permitted assigns, and the Prepetition SLTL Lenders, together with
their respective successors and permitted assigns, that are party to, or have executed a joinder to,
the Restructuring Support Agreement.

                 Credit Bid Acquired Interests has the meaning ascribed to “Acquired Interests”
set forth in the Credit Bid Purchase Agreement.

                 Credit Bid Assumed Liabilities has the meaning ascribed to “Assumed
Liabilities” set forth in the Credit Bid Purchase Agreement.




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                Credit Bid Consent Rights means any right of consent, notice, and other similar
rights, if any, that are applicable to the sale of the Credit Bid Acquired Interests in connection
with the Credit Bid Purchase Agreement.

            Credit Bid Permitted Encumbrances has the meaning ascribed to “Permitted
Encumbrances” set forth in the Credit Bid Purchase Agreement.

                Credit Bid Purchase Agreement means that certain Purchase and Sale
Agreement, by and between Fieldwood Energy LLC, the other seller parties, and the Credit Bid
Purchaser and NewCo, together with any and all related agreements, annexes, exhibits and
schedules in connection therewith, as amended, supplemented or otherwise modified from time
to time, which shall be in form and substance acceptable to the Debtors, the Requisite FLTL
Lenders, and the Required DIP Lenders; provided that any modifications to the Credit Bid
Purchase Agreement from the version attached to the draft of the Disclosure Statement at
Docket No. 1022 shall require the consent of the Prepetition FLFO Administrative Agent (not to
be unreasonably withheld with respect to the following clauses (b) and (e)) to the extent that such
modification (a) individually or in the aggregate, results in a reduction of 10% or more of the
total PV-10 of total 2P reserves comprising the assets acquired by the Credit Bid Purchaser
(which shall be calculated by reference to the FWE YE2020 Internal Reserve Report (as of
5.1.21)), (b) results in any contract rights constituting material assets not being acquired by the
Credit Bid Purchaser, (c) individually or in the aggregate, results in an increase by $40.0 million
or more (which, for the avoidance of doubt, in the case of plugging and abandonment liabilities,
shall be calculated on a present value basis) in liabilities assumed by the Credit Bid Purchaser,
(d) relates to any change in treatment of the Prepetition FLFO Credit Agreement or First Lien
Exit Facility, or (e) provide for any differences from the the draft of the Disclosure Statement at
Docket No. 1022 that are materially adverse to the interests of the First Lien Exit Facility Agent
and the First Lien Exit Facility Lenders.

               Credit Bid Purchaser means [●], a newly formed special purpose bidding entity,
as purchaser of certain of the Debtors’ assets pursuant to and in accordance with the Credit Bid
Purchase Agreement.

               Credit Bid Preferential Purchase Rights has the meaning ascribed to
“Preferential Right” set forth in the Credit Bid Purchase Agreement.

              Credit Bid Transaction means the sale of the Credit Bid Acquired Interests to the
Credit Bid Purchaser pursuant to the Credit Bid Purchase Agreement.

             Credit Bid Transaction Closing means “Closing” as defined in the Credit Bid
Purchase Agreement.

             Creditors’ Committee means the Official Committee of Unsecured Creditors
appointed by the U.S. Trustee in these Chapter 11 Cases pursuant to section 1102 of the
Bankruptcy Code as it may be reconstituted from time to time.

               Cure Amount means the payment of Cash or the distribution of other property (as
the parties may agree or the Bankruptcy Court may order) necessary to (a) cure a monetary
default by the Debtors in accordance with the terms of an executory contract or unexpired lease

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and (b) permit the Debtors to assume such executory contract or unexpired lease under section
365(a) of the Bankruptcy Code.

               Cure Notice means the notice of proposed Cure Amount to be paid in connection
with an executory contract or unexpired lease of the Debtors that may be assumed or assumed
and assigned under the Plan pursuant to section 365 of the Bankruptcy Code, which shall include
(a) procedures for objecting to proposed assumptions or assumptions and assignments of
executory contracts and unexpired leases, (b) any Cure Amount to be paid in connection
therewith, and (c) procedures for resolution by the Bankruptcy Court of any related disputes.

               D&O Policy means any insurance policy, including tail insurance policies, for
directors’, members’, trustees’, and officers’ liability providing coverage to the Debtors and in
effect or purchased as of the Petition Date.

               Debtor(s) has the meaning set forth in the introductory paragraph of the Plan.

                Debtor in Possession means, with respect to a Debtor, that Debtor in its capacity
as a debtor in possession pursuant to sections 1101, 1107(a), and 1108 of the Bankruptcy Code.

                Decommissioning Agreement means that Decommissioning Agreement, dated as
of September 30, 2013, by and among the Apache PSA Parties, Fieldwood Energy LLC, and the
other parties thereto.

             Decommissioning Security has the meaning set forth in the Apache
Implementation Agreement.

               Definitive Documents has the meaning set forth in the Restructuring Support
Agreement.

               DIP Agent means Cantor Fitzgerald Securities, solely in its capacity as
administrative agent and collateral agent under the DIP Facility Credit Agreement, its successors,
assigns, or any replacement agent appointed pursuant to the terms of the DIP Facility Credit
Agreement.

                DIP Claim means any Claim held by the DIP Lenders or the DIP Agent arising
under or relating to the DIP Facility Credit Agreement or the DIP Order, including any and all
fees, interests, and accrued but unpaid interest and fees arising under the DIP Facility Credit
Agreement.

               DIP Documents has the meaning set forth in the DIP Order.

                 DIP Facility means the postpetition senior secured debtor-in-possession term loan
credit facility approved by the DIP Order.

             DIP Facility Credit Agreement means the credit agreement governing the terms
of the DIP Facility, dated as of August 24, 2020, by and among Fieldwood Energy LLC, as
borrower, FWE Parent, as holdings, the DIP Agent, and the DIP Lenders, with any amendments,



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restatements, amendments and restatements, modifications or supplements thereto as permitted
by the DIP Order.

               DIP Lenders means the lenders from time to time party to the DIP Facility Credit
Agreement.

               DIP Order means the Final Order (I) Authorizing Debtors (A) to Obtain
Postpetition Financing Pursuant to 11 U.S.C. §§ 105, 361, 362, 363(b), 364(c)(1), 364(c)(2),
364(c)(3), 364(d)(1) and 364(e) and (B) to Utilize Cash Collateral Pursuant to 11 U.S.C. § 363
and (II) Granting Adequate Protection to Prepetition Secured Parties Pursuant to 11 U.S.C.
§§ 361, 362, 363, 364 and 507(b) [Docket No. 346], authorizing the Debtors to enter into the
DIP Facility Credit Agreement and access the DIP Facility, as may be amended, supplemented or
modified from time to time.

                Disclosure Statement means the disclosure statement in support of the Plan, in
form and substance (i) acceptable to the Debtors, the Required DIP Lenders, the Requisite FLTL
Lenders, (ii) reasonably acceptable to the Creditors’ Committee solely for matters relating to the
treatment of holders of General Unsecured Claims or Unsecured Trade Claims, and
(iii) reasonably acceptable to the Prepetition FLFO Administrative Agent, which is prepared and
distributed in accordance with sections 1125, 1126(b), or 1145 of the Bankruptcy Code,
Bankruptcy Rules 3016 and 3018, or other applicable law, and all exhibits, schedules,
supplements, modifications, amendments, annexes, and attachments to such disclosure statement.

                Disputed means, with respect to a Claim, (a) any Claim, which Claim is disputed
under this Plan (including pursuant to section 7.1 of this Plan) or otherwise or as to which the
Debtors, the Post-Effective Date Debtors, or the Plan Administrator, as applicable, have
interposed and not withdrawn an objection or request for estimation that has not been determined
by a Final Order; (b) any Claim, proof of which was required to be filed by order of the
Bankruptcy Court but as to which a proof of claim was not timely or properly filed; (c) any
Claim that is listed in the Schedules, if any are filed, as unliquidated, contingent, disputed or
undetermined, and as to which no request for payment or proof of claim has been filed; or (d)
any Claim that is otherwise disputed by any of the Debtors or the Post-Effective Date Debtors in
accordance with applicable law or contract, which dispute has not been withdrawn, resolved or
overruled by a Final Order. To the extent the Debtors dispute only the amount of a Claim, such
Claim shall be deemed Allowed in the amount the Debtors do not dispute, if any, and Disputed
as to the balance of such Claim.

              Distribution Date means the date or dates, including the Initial Distribution Date,
as determined by the Plan Administrator in accordance with the terms of this Plan, on which the
Plan Administrator makes a Distribution to holders of Allowed Claims.

                Distribution Record Date means, except as otherwise provided in the Plan, the
date that is two business days before the Effective Date or such other date as is designated by the
Debtors with the consent of the Requisite FLTL Lenders and the Required DIP Lenders.

              Divisive Merger means a divisive merger pursuant to Sections 10.001, 10.002,
10.008 and 10.302 of the Texas Business Organizations Code.


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               Effective Date means the date which is the first Business Day on which (a) all
conditions to the effectiveness of the Plan set forth in Section 9.1 of the Plan have been satisfied
or waived in accordance with the terms of the Plan, and (b) no stay of the Confirmation Order is
in effect.

               Entity means an “entity,” as defined in section 101(15) of the Bankruptcy Code.

             Equity Rights Offerings means, collectively, the FLTL Equity Rights Offering
and the SLTL Equity Rights Offering.

             ERO Backstop Agreements means, collectively, the FLTL ERO Backstop
Agreement and the SLTL ERO Backstop Agreement.

            ERO Backstop Parties means, collectively, the FLTL ERO Backstop Parties and
the SLTL ERO Backstop Parties.

               Estate(s) means individually or collectively, the estate or estates of the Debtors
created under section 541 of the Bankruptcy Code.

                Exculpated Parties means collectively, and in each case in their capacities as
such during the Chapter 11 Cases (a) the Debtors, (b) the Post-Effective Date Debtors, (c)
FWE I, (d) the DIP Agent and DIP Lenders under the DIP Facility, (e) the Prepetition FLFO
Secured Parties, (f) the Consenting Creditors, (g) the Prepetition FLFO Collateral Agent, (h) the
Prepetition FLTL Administrative Agent, (i) the Prepetition SLTL Agent, (j) the Creditors’
Committee and the current and former members of the Creditors’ Committee (solely in their
capacities as such), (k) NewCo and all of its subsidiaries (including the Credit Bid Purchaser), (l)
the Exit Facility Agents, (m) the Exit Facility Lenders, (n) the Second Lien Backstop Parties, (o)
the ERO Backstop Parties, (p) the Apache PSA Parties, and (q) with respect to each of the
foregoing Persons in clauses (a) through (p) each of their current and former affiliates, and each
such Entity’s and its current and former affiliates’ current and former directors, managers,
officers, equity holders (regardless of whether such interests are held directly or indirectly),
predecessors, successors, and assigns, subsidiaries, and each of their current and former officers,
members, managers, directors, equity holders (regardless of whether such interests are held
directly or indirectly), principals, members, employees, agents, managed accounts or funds,
management companies, fund advisors, investment advisors, advisory board members, financial
advisors, partners (including both general and limited partners), attorneys, accountants,
investment bankers, consultants, representatives and other professionals, such Persons’
respective heirs, executors, estates, and nominees, in each case in their capacity as such, and any
and all other persons or entities that may purport to assert any cause of action derivatively, by or
through the foregoing entities.

             Existing Equity Interests means shares of common stock of FWE Parent that
existed immediately before the Effective Date.

               Exit Facilities means the First Lien Exit Facility and the Second Lien Exit
Facility.




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               Exit Facility Agents means the First Lien Exit Facility Agent and the Second
Lien Exit Facility Agent.

             Exit Facility Documents means the First Lien Exit Facility Documents and the
Second Lien Exit Facility Documents.

               Exit Facility Lenders means the First Lien Exit Facility Lenders and the Second
Lien Exit Facility Lenders.

                Fee Claim means a Claim for professional services rendered or costs incurred on
or after the Petition Date through the Effective Date by Professional Persons retained by an order
of the Bankruptcy Court pursuant to sections 327, 328, 329, 330, 331, 503(b), or 1103 of the
Bankruptcy Code in the Chapter 11 Cases.

             Fieldwood U.A. Interests has the meaning ascribed to such term in the Credit Bid
Purchase Agreement.

               Final Order means an order or judgment of the Bankruptcy Court or other court
of competent jurisdiction with respect to the relevant subject matter which has: (a) not been
reversed, stayed, modified or amended, as to which the time to appeal, petition for certiorari or
move for reargument, reconsideration or rehearing has expired and no appeal, petition for
certiorari or motion for reargument, reconsideration or rehearing has been timely filed; or (b) as
to which any appeal, petition for certiorari or motion for reargument, reconsideration or
rehearing that has been or may be filed has been resolved by the highest court to which the order
or judgment was appealed or from which certiorari, reargument, reconsideration or rehearing was
sought; provided, however, that the possibility that a motion under Rules 59 or 60 of the Federal
Rules of Civil Procedure or any analogous Bankruptcy Rule (or any analogous rules applicable
in such other court of competent jurisdiction) may be filed relating to such order or judgment
shall not cause such order or judgment not to be a Final Order.

             First Lien Exit Facility means the facility under the First Lien Exit Facility
Credit Agreement.

               First Lien Exit Facility Agent means the administrative agent under the First
Lien Exit Facility Credit Agreement.

                First Lien Exit Facility Commitment Letter means that certain commitment
letter, in form and substance acceptable to the Required DIP Lenders, the Requisite FLTL
Lenders, the Debtors, the Prepetition FLFO Administrative Agent, and the First Lien Exit
Facility Agent, to be entered into by and among Fieldwood Energy LLC and the First Lien Exit
Facility Agent, as may be amended, supplemented, or modified from time to time, pursuant and
subject to the terms thereof, pursuant to which, among other things, GS Bank (as defined therein)
agreed to act as the sole arranger, administrative agent and collateral agent in connection with the
First Lien Exit Facility and to commit to provide First Lien Exit Facility in accordance with the
terms and conditions set forth therein.




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               First Lien Exit Facility Credit Agreement means that certain credit agreement to
be entered by the Credit Bid Purchaser, the First Lien Exit Facility Agent and the First Lien Exit
Facility Lenders on the Effective Date that shall govern the First Lien Exit Facility which shall
reflect and contain terms, conditions, representations, warranties, and covenants consistent with
the First Lien Exit Facility Term Sheet and otherwise be in form and substance acceptable to the
Prepetition FLFO Administrative Agent, the First Lien Exit Facility Agent, the Debtors, the
Required DIP Lenders, and Requisite FLTL Lenders.

               First Lien Exit Facility Documents means, collectively, the First Lien Exit
Facility Credit Agreement, and any and all other agreements, documents, and instruments
delivered or to be entered into in connection therewith, including any guarantee agreements,
pledge and collateral agreements, intercreditor agreements, and other security documents, the
terms of which documents shall be in form and substance acceptable to the Prepetition FLFO
Administrative Agent, the First Lien Exit Facility Agent, the Debtors, the Required DIP Lenders,
and Requisite FLTL Lenders.

                First Lien Exit Facility Lenders means the lenders party to the First Lien Exit
Facility Credit Agreement.

               First Lien Exit Facility Term Sheet means a term sheet attached to the First Lien
Exit Facility Commitment Letter and to be attached to the Disclosure Statement, as may be
amended, supplemented or modified from time to time with the consent of the Prepetition FLFO
Administrative Agent, the First Lien Exit Facility Agent, the Debtors, the Required DIP Lenders,
and Requisite FLTL Lenders.

             FLFO Claims means all Claims arising from or based upon the Prepetition FLFO
Credit Agreement.

               FLFO Claims Allowed Amount means the aggregate principal amount of
$138,599,082.31 plus any accrued and unpaid interest (accruing at the default rate to the extent
provided under the Prepetition FLFO Credit Agreement), fees, costs, and other expenses arising
under, and payable pursuant to, the Prepetition FLFO Credit Agreement on or before the
Effective Date, which shall not be subject to any avoidance, reduction, setoff, offset,
recharacterization, subordination, counterclaims, cross claims, defenses, disallowance,
impairments, or any other challenges under applicable law or regulation by any Entity.
Notwithstanding the foregoing, on the Effective Date any amount accrued pursuant to Section
2.08(b) of the Prepetition FLFO Credit Agreement and any amounts accrued in respect of Yield
Maintenance Premium or any Prepayment Fee (each as defined in the Prepetition FLFO Credit
Agreement), if any, shall be deemed discharged, released, and waived by all holders of Allowed
FLFO Claims and the FLFO Claims Allowed Amount shall not be increased on account of such
amounts as a result of such discharge, release, and waiver.

                FLFO Distribution Amount means Cash in the amount of the FLFO Claims
Allowed Amount less the initial aggregate principal amount of the First Lien Exit Facility, as set
forth in the First Lien Exit Facility Commitment Letter.




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              FLTL Claims means all Claims, other than Claims subject to subordination in
accordance with section 510(b) of the Bankruptcy Code, arising from or based upon the
Prepetition FLTL Credit Agreement.

               FLTL Claims Allowed Amount means $1,142,688,815.28 in principal plus any
accrued but unpaid interest or fees due under the Prepetition FLTL Credit Agreement as of the
Petition Date.

               FLTL Deficiency Claim means any FLTL Claim or portion thereof that is not
Secured, if any.

                FLTL Equity Rights Offering means that certain rights offering pursuant to
which each holder of Allowed FLTL Claims is entitled to receive FLTL Subscription Rights to
acquire New Equity Interests in the aggregate amount of the FLTL Equity Rights Offering
Amount in accordance with the FLTL Equity Rights Offering Procedures, the terms and
conditions of which shall be (i) acceptable to the Debtors, Required DIP Lenders, and Requisite
FLTL Lenders, (ii) reasonably acceptable to the Prepetition FLFO Administrative Agent and the
First Lien Exit Facility Agent, and (iii) reasonably acceptable to the Requisite SLTL Lenders
solely to the extent that it directly and adversely impacts the holders of Allowed SLTL Claims.

              FLTL Equity Rights Offering Amount means $20,000,000.

             FLTL Equity Rights Offering Procedures means the procedures for the
implementation of the FLTL Equity Rights Offering to be approved by the Bankruptcy Court.

                FLTL ERO Backstop Agreement means that certain [Equity Backstop
Commitment Agreement], in form and substance (i) acceptable to the Debtors, the Required DIP
Lenders, and Requisite FLTL Lenders and (ii) reasonably acceptable to the Prepetition FLFO
Administrative Agent and the First Lien Exit Facility Agent, to be entered into by and among
Fieldwood Energy LLC, NewCo, and the FLTL ERO Backstop Parties, as may be amended,
supplemented, or modified from time to time, pursuant to which the FLTL ERO Backstop Parties
agreed to, among other things, backstop the FLTL Equity Rights Offering with the terms and
conditions set forth therein.

           [FLTL ERO Backstop Commitment Percentage has the meaning set forth in the
FLTL ERO Backstop Agreement.]

               [FLTL ERO Backstop Commitment Premium means a premium equal to 8% of
the FLTL Equity Rights Offering Amount payable to the FLTL ERO Backstop Parties with the
FLTL ERO Backstop Commitment Premium Equity Interests in accordance with the terms set
forth in the FLTL ERO Backstop Agreement.]

                [FLTL ERO Backstop Commitment Premium Equity Interests means an
amount of New Equity Interests equal to the value of the FLTL ERO Backstop Commitment
Premium as further set forth in the FLTL ERO Backstop Agreement; provided that such New
Equity Interests shall be issued at a 30% discount to the equity value of NewCo on the Effective
Date.



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               FLTL ERO Backstop Parties means those parties that agree to backstop the
FLTL Equity Rights Offering pursuant to the FLTL ERO Backstop Agreement, each in its
respective capacity as such.

               FLTL Subscription Rights means the subscription right to acquire New Equity
Interests with an aggregate value equal to the FLTL Rights Offering Amount offered in
accordance with the FLTL Equity Rights Offering Procedures; provided, however, that such New
Equity Interests shall be issued at a 30% discount to the equity value of NewCo on the Effective
Date.

             [FLTL Unsubscribed Shares has the meaning set forth in the FLTL ERO
Backstop Agreement].

              FWE I means an entity formed on the Effective Date by Divisive Merger under
the name Fieldwood Energy I LLC pursuant to the Plan of Merger.

            FWE I LLC Agreement means the limited liability company agreement of
FWE I, which shall be in substantially the form attached to the Apache Implementation
Agreement.

              FWE I Assets has the meaning set forth in the Plan of Merger.

              FWE I Obligations has the meaning set forth in the Plan of Merger.

               FWE I Sole Manager has the meaning ascribed to the term “Sole Manager” in
the FWE I LLC Agreement, and shall include the sole manager appointed to FWE I upon the
Effective Date and any successor thereto.

               FWE III means the surviving entity under the name Fieldwood Energy III LLC
following the Divisive Merger pursuant to the Plan of Merger.

              FWE III LLC Agreement means the limited liability company agreement of
FWE III, a form of which shall be included in the Plan Supplement.

              FWE III Assets has the meaning set forth in the Plan of Merger.

              FWE III Obligations has the meaning set forth in the Plan of Merger.

              FWE Assets means, collectively, the FWE I Assets and FWE III Assets.

              FWE Parent means Debtor Fieldwood Energy Inc.

                General Unsecured Claim means any Claim against a Debtor, other than a DIP
Claim, Postpetition Hedge Claim, Administrative Expense Claim (including a Fee Claim), FLFO
Claim, FLTL Claim, SLTL Claim, Other Secured Claim, Priority Tax Claim, Priority Non-Tax
Claim, Unsecured Trade Claim, Subordinated Securities Claim, or Intercompany Claim that is
not entitled to priority under the Bankruptcy Code or any Final Order of the Bankruptcy Court.



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For the avoidance of doubt, General Unsecured Claims shall not include FLTL Deficiency
Claims or SLTL Deficiency Claims.

               GUC Warrant Agreement means a warrant agreement to be entered into by and
among NewCo and the warrant agent named therein that shall govern the terms of the GUC
Warrants, the form of which shall be acceptable to the Debtors, Required DIP Lenders, Requisite
FLTL Lenders, the Requisite SLTL Lenders and the Creditors’ Committee and which shall
contain provisions as favorable as the provisions in the SLTL Tranche 1 Warrant Agreement or
SLTL Tranche 2 Warrant Agreement.

                GUC Warrants means 8-year warrants for 3.5% of the New Equity Interests
(calculated on a fully diluted basis giving effect to the New Equity Interests to be issued pursuant
to Section 4.4(a)(i) of this Plan, the New Equity Interests issuable upon the exercise of the
Subscription Rights, the Backstop Commitment Premium Equity Interests, and the New Equity
Interests issuable upon the exercise of the New Money Warrants and SLTL Tranche 1 Warrants,
but excluding the effect of any New Equity Interests issuable in connection with the
Management Incentive Plan), with a strike price set at an equity value equal to $1,321,000,000,
the terms of which shall be set forth in the GUC Warrant Agreement; provided, that if the SLTL
Tranche 2 Warrants are exercised, the GUC Warrants shall be subject to adjustment or true-up as
necessary to retain such percentage after giving effect to the exercise of the SLTL Tranche 2
Warrants.

             Governmental Unit has the meaning set forth in section 101(27) of the
Bankruptcy Code.

               Impaired means, with respect to a Claim, Interest, or a Class of Claims or
Interests, “impaired” within the meaning of such term in section 1124 of the Bankruptcy Code.

                Indemnification Obligation means any existing or future obligation of any
Debtor to indemnify current and former directors, officers, members, managers, agents or
employees of any of the Debtors who served in such capacity, with respect to or based upon such
service or any act or omission taken or not taken in any of such capacities, or for or on behalf of
any Debtor, whether pursuant to agreement, the Debtors’ respective memoranda, articles or
certificates of incorporation, corporate charters, bylaws, operating agreements, limited liability
company agreements, or similar corporate or organizational documents or other applicable
contract or law in effect as of the Effective Date.

               Initial Distribution means the first Distribution that the Plan Administrator makes
to holders of Allowed Claims.

               Initial Distribution Date means the date on which the Plan Administrator shall
make the Initial Distribution, which shall not be less than five Business Days after the Effective
Date.

               Intercompany Claim means any Claim against a Debtor held by another Debtor.

               Intercompany Interest means an Interest in a Debtor other than any Existing
Equity Interest.


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                 Interest means any common stock, limited liability company interest, equity
security (as defined in section 101(16) of the Bankruptcy Code), equity, ownership, profit
interests, unit, or share in any Debtor (including all options, warrants, rights, or other securities
or agreements to obtain such an interest or share in such Debtor), whether or not arising under or
in connection with any employment agreement and whether or not certificated, transferable,
preferred, common, voting, or denominated “stock” or a similar security.

                Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

                Management Incentive Plan means the post-Effective Date management
incentive plan of NewCo which shall provide for [up to] 10% of New Equity Interests on a fully
diluted basis or other equity or similar interests in NewCo to be reserved for directors, managers,
officers, and employees of NewCo or a subsidiary of NewCo (including the Credit Bid
Purchaser) to be distributed on terms to be determined by the board of directors of NewCo.

               New Equity Interests means the equity interests of NewCo to be issued (i) on the
Effective Date (including the Backstop Commitment Premium Equity Interests and upon the
exercise of the Subscription Rights), (ii) upon exercise of the New Money Warrants, the SLTL
Warrants, or the GUC Warrants, (iii) under the Management Incentive Plan, or (iv) on or after
the Effective Date as otherwise permitted pursuant to the NewCo Organizational Documents.

               New Intercreditor Agreement means that certain Intercreditor Agreement, to be
dated as of the Effective Date, by and among the First Lien Exit Facility Agent and the Second
Lien Exit Facility Agent and the Credit Bid Purchaser, the form of which shall be contained in
the Plan Supplement, acceptable to the Prepetition FLFO Administrative Agent, the First Lien
Exit Facility Agent, the Requisite FLFO Lenders, the Debtors, the Required DIP Lenders, and
the Requisite FLTL Lenders.

                NewCo means [], which is the direct or indirect owner of 100% of the equity
interests of the Credit Bid Purchaser.

                NewCo Entities means, collectively, NewCo and each of its direct and indirect
subsidiaries.

                NewCo Organizational Documents means the form of certificate of formation,
limited liability company agreement, agreement of limited partnership, articles of incorporation,
bylaws, trust agreements, or such other applicable formation documents of the NewCo and any
of its subsidiaries, including any shareholders’ or stockholders’ agreement, which shall be (i)
acceptable to the Debtors, the Requisite FLTL Lenders, and the Required DIP Lenders and (ii)
(a) if NewCo or any of its subsidiaries are to be formed in a jurisdiction outside of the United
States, reasonably acceptable to the Prepetition FLFO Administrative Agent or (b) if NewCo or
any of its subsidiaries are to be formed in a jurisdiction within the United States, reasonably
acceptable to the Prepetition FLFO Administrative Agent solely to the extent that it directly and
adversely impacts the holders of Allowed FLFO Claims or First Lien Exit Facility Lenders.

               New Money Consideration means, in the aggregate, the amount of Cash provided
to the Debtors by the Credit Bid Purchaser pursuant to the Credit Bid Purchase Agreement.


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              New Money Investment means the investment of up to $85 million in Cash into
Credit Bid Purchaser by the New Money Second Lien Exit Facility Lenders in connection with,
and upon consummation of, the Second Lien Exit Facility, subject to the terms of the Second
Lien Backstop Commitment Letter.

             New Money Second Lien Exit Facility Lenders means the lenders party to the
Second Lien Exit Facility Credit Agreement participating in the New Money Investment.

             New Money Warrant Agreement means a warrant agreement to be entered into
by and among NewCo and the warrant agent named therein that shall govern the terms of the
New Money Warrants, the form of which shall be acceptable to the Debtors, Required DIP
Lenders and Requisite FLTL Lenders.

                New Money Warrants means 7-year warrants for up to 24% of the New Equity
Interests (calculated on a fully diluted basis giving effect to the New Equity Interests to be issued
pursuant to Section 4.4(a)(i) of this Plan, the Backstop Commitment Premium Equity Interests,
and the New Equity Interests issuable upon the exercise of the Subscription Rights, but
excluding the effect of any New Equity Interests issuable upon exercise of the SLTL Warrants
and GUC Warrants and any New Equity Interest issuable pursuant to the Management Incentive
Plan), with a strike price of $0.01, the terms of which shall be set forth in the New Money
Warrant Agreement and which shall be issued and allocated in a manner consistent with the
Second Lien Backstop Commitment Letter.

               Other Secured Claim means any Secured Claim against a Debtor other than a
Priority Tax Claim, FLFO Claim, FLTL Claim, and SLTL Claim.

               Person means an individual, corporation, partnership, joint venture, association,
joint stock company, limited liability company, limited liability partnership, trust, estate,
unincorporated organization, governmental unit (as defined in section 101(27) of the Bankruptcy
Code), or other Entity.

             Petition Date means, with respect to a Debtor, the date on which such Debtor
commenced its Chapter 11 Case.

                Plan means this joint chapter 11 plan, including all appendices, exhibits,
schedules, and supplements hereto (including any appendices, schedules, and supplements to the
Plan contained in the Plan Supplement), as may be amended, supplemented or modified from
time to time in accordance with the Bankruptcy Code and the terms hereof.

               Plan Administrator means a person or entity selected by the Creditors’
Committee, subject to the consent of the Debtors, Required DIP Lenders, and Requisite FLTL
Lenders, with such consent not to be unreasonably withheld, that is charged with overseeing the
tasks outlined in Section 5.9 of this Plan, or any successor thereto. The identity of the Plan
Administrator shall be disclosed to the Bankruptcy Court before the Confirmation Hearing.

             Plan Administrator Agreement means an agreement setting forth the economic
arrangement and terms pursuant to which the Plan Administrator will perform its duties under
this Plan.


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              Plan Administrator Expense Reserve means a segregated account not subject to
the Liens of the Prepetition Agents or DIP Agent established by the Plan Administrator in
accordance with Section 5.15 of this Plan.

              Plan Administrator Expense Reserve Amount means Cash in an amount equal to
$8,000,000 to be funded into the Plan Administrator Expense Reserve on the Effective Date.

               Plan Distribution means any initial or periodic payment or transfer of
consideration to holders of Allowed Claims made under the Plan.

                Plan of Merger means that certain Agreement and Plan of Merger, which shall be
in substantially the form attached to the Apache Implementation Agreement.

                Plan of Merger Consent Rights means any right of consent, notice, and other
similar rights, if any, that are applicable to the vesting of assets in connection with the Plan of
Merger.

                Plan of Merger Preferential Purchase Rights means any preferential right to
purchase, right of first refusal, right of first offer, drag-along rights, tag-along rights, and similar
right the operation of which is triggered by the vesting of the FWE Assets in connection with the
Plan of Merger.

               Plan Settlement means the settlement of certain Claims and controversies
pursuant to Section 5.1 of the Plan.

               Plan Supplement means a supplement or supplements to the Plan containing
certain documents and forms of documents, schedules, and exhibits relevant to the
implementation of the Plan, which shall include: (a) the Amended Organizational Documents (if
any), (b) information regarding the sole manager and independent director to be appointed at
FWE I to the extent known and determined and other information required to be disclosed in
accordance with section 1129(a)(5) of the Bankruptcy Code, (c) a schedule of retained Causes of
Action, (d) the Schedule of Assumed Contracts, (e) the Plan Administrator Agreement; (f) the
Credit Bid Purchase Agreement; (g) the NewCo Organizational Documents; (h) the Apache
Definitive Documents; (i) the First Lien Exit Facility Agreement; (j) the Second Lien Exit
Facility Agreement; (k) the New Intercreditor Agreement; (l) the New Money Warrant
Agreements; (m) the GUC Warrant Agreement; and (n) any Additional Predecessor Agreement;
provided, however, that the Debtors shall have the right to amend documents contained in, and
exhibits thereto, the Plan Supplement in accordance with the terms of this Plan and the
Restructuring Support Agreement (including the consent rights set forth therein).

              Postpetition Hedging Agreements has the meaning set forth in that certain
Emergency Order (I) Authorizing Debtors to (A) Enter Into and Perform Under New
Postpetition Hedging Agreements and (B) Grant Related Liens and Superiority Claims, (II)
Modifying Automatic Stay, and (III) Granting Related Relief entered on August 24, 2020 (ECF
No. 242).

             Postpetition Hedge Claim means a Claim arising pursuant to any Postpetition
Hedging Agreement.


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               Post-Effective Date Debtors means the Debtors, as reorganized as of the Effective
Date in accordance with this Plan, including FWE III. For the avoidance of doubt, the Post-
Effective Date Debtors does not include NewCo or its subsidiaries (including the Credit Bid
Purchaser), or FWE I.

               Post-Effective Date FWE Parent means FWE Parent, as reorganized on the
Effective Date in accordance with this Plan.

                Prepetition Agents means, collectively, the Prepetition FLFO Administrative
Agent, the Prepetition FLFO Collateral Agent, the Prepetition FLTL Administrative Agent, and
the Prepetition SLTL Agent.

                Prepetition FLFO Administrative Agent means Goldman Sachs Bank USA,
solely in its capacity as administrative agent under the Prepetition FLFO Credit Agreement.

                Prepetition FLFO Advisors means Vinson & Elkins, LLP, Shipman & Goodwin
LLP (in its capacity as counsel to the Prepetition FLFO Collateral Agent), Opportune LLP, and
any local or foreign advisors.

                Prepetition FLFO Collateral Agent means Cantor Fitzgerald Securities, solely in
its capacity as collateral agent under the Prepetition FLFO Credit Agreement.

               Prepetition FLFO Credit Agreement means that certain Second Amended and
Restated Credit Agreement- First Out, dated as of June 28, 2019, by and among Fieldwood
Energy LLC, as borrower, Fieldwood Energy Inc., as holdings, the Prepetition FLFO
Administrative Agent, the Prepetition FLFO Collateral Agent, and the Prepetition FLFO
Lenders, and the other parties thereto, as in effect immediately before the Effective Date.

            Prepetition FLFO Lenders means the Lenders (as defined in the Prepetition
FLFO Credit Agreement) holding Prepetition FLFO Loans immediately before the Effective
Date.

              Prepetition FLFO Loans means the Loans (under and as defined in the
Prepetition FLFO Credit Agreement) outstanding immediately before the Effective Date.

                Prepetition FLFO Secured Parties means, collectively, the Prepetition FLFO
Administrative Agent, the Prepetition FLFO Lenders, and the other Secured Parties (as defined
in the Prepetition FLFO Credit Agreement) under the Prepetition FLFO Credit Agreement.

                Prepetition FLTL Administrative Agent means Cantor Fitzgerald Securities,
solely in its capacity as administrative agent and collateral agent under the Prepetition FLTL
Credit Agreement.

               Prepetition FLTL Credit Agreement means that certain Amended and Restated
First Lien Term Loan Agreement, dated as of April 11, 2018, by and among Fieldwood Energy
LLC, as borrower, Fieldwood Energy Inc., as holdings, the Prepetition FLTL Administrative
Agent, and the Prepetition FLTL Lenders, and the other parties thereto, as in effect immediately
before the Effective Date.


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            Prepetition FLTL Lenders means the Lenders (as defined in the Prepetition
FLTL Credit Agreement) holding Prepetition FLTL Loans immediately before the Effective
Date.

              Prepetition FLTL Loans means the Loans (under and as defined in the
Prepetition FLTL Credit Agreement) outstanding immediately before the Effective Date.

              Prepetition SLTL Administrative Agent means Cortland Capital Market Services
LLC, solely in its capacity as administrative agent and collateral agent under the Prepetition
SLTL Credit Agreement.

               Prepetition SLTL Credit Agreement means that certain Amended and Restated
Second Lien Term Loan Agreement, dated as of April 11, 2018, by and among Fieldwood Energy
LLC, as borrower, Fieldwood Energy Inc., as holdings, the Prepetition SLTL Administrative
Agent, and the Prepetition SLTL Lenders, and the other parties thereto, as in effect immediately
before the Effective Date.

             Prepetition SLTL Lenders means the Lenders (as defined in the Prepetition SLTL
Credit Agreement) holding Prepetition SLTL Loans immediately before the Effective Date.

             Prepetition SLTL Loans means the Loans (under and as defined in the Prepetition
SLTL Credit Agreement) outstanding immediately before the Effective Date.

              Principal FLFO Amount has the meaning set forth in Section 4.3.

               Priority Non-Tax Claim means any Claim other than an Administrative Expense
Claim, or a Priority Tax Claim that is entitled to priority of payment as specified in section
507(a) of the Bankruptcy Code.

               Priority Tax Claim means any Secured Claim or unsecured Claim of a
Governmental Unit of the kind entitled to priority of payment as specified in sections 502(i) and
507(a)(8) of the Bankruptcy Code.

               Pro Rata Share means the proportion that an Allowed Claim or Interest in a
particular Class bears to the aggregate amount of all Allowed Claims or Interests in that Class.

                Professional Person(s) means any Person retained by order of the Bankruptcy
Court in connection with these Chapter 11 Cases pursuant to sections 327, 328, 330, 331, 503(b),
or 1103 of the Bankruptcy Code, excluding any ordinary course professional retained pursuant to
an order of the Bankruptcy Court.

               Professional Fee Escrow means an escrow account established and funded
pursuant to section 2.2 of the Plan.

               Professional Fee Escrow Amount means the aggregate unpaid Fee Claims
through the Effective Date as estimated in accordance with section 2.2 of the Plan.




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               Released Parties means, collectively, (a) the Debtors, (b) the Post-Effective Date
Debtors, (c) the DIP Agent and DIP Lenders under the DIP Facility, (d) the Prepetition FLFO
Secured Parties, (e) the Consenting Creditors, (f) the Prepetition FLFO Collateral Agent, (g) the
Prepetition FLTL Administrative Agent, (h) the Prepetition SLTL Agent, (i) the Creditors’
Committee and the current and former members of the Creditors’ Committee (solely in their
capacities as such), (j) NewCo and all of its subsidiaries (including the Credit Bid Purchaser),
(k) the Exit Facility Agents, (l) the Exit Facility Lenders, (m) the Second Lien Backstop Parties,
(n) the ERO Backstop Parties, (o) the Apache PSA Parties, and (p) with respect to each of the
foregoing Persons in clauses (a) through (o), each of their current and former affiliates, and each
such Entity’s and its current and former affiliates’ current and former directors, managers,
officers, equity holders (regardless of whether such interests are held directly or indirectly),
predecessors, successors, and assigns, subsidiaries, and each of their current and former officers,
members, managers, directors, equity holders (regardless of whether such interests are held
directly or indirectly), principals, members, employees, agents, managed accounts or funds,
management companies, fund advisors, investment advisors, advisory board members, financial
advisors, partners (including both general and limited partners), attorneys, accountants,
investment bankers, consultants, representatives and other professionals, such Persons’
respective heirs, executors, estates, and nominees, in each case in their capacity as such, and any
and all other persons or entities that may purport to assert any cause of action derivatively, by or
through the foregoing entities.

                Releasing Parties means collectively, (a) the holders of all Claims or Interests
that vote to accept the Plan, (b) the holders of all Claims or Interests whose vote to accept or
reject the Plan is solicited but that do not vote either to accept or to reject the Plan, (c) the
holders of all Claims or Interests that vote, or are deemed, to reject the Plan but do not opt out of
granting the releases set forth herein, (d) the holders of all Claims and Interests that were given
notice of the opportunity to opt out of granting the releases set forth herein but did not opt out,
and (e) the Released Parties (even if such Released Party purports to opt out of the releases set
forth herein).

               Required DIP Lenders has the meaning set forth in the Restructuring Support
Agreement.

               Requisite FLFO Lenders means, as of the date of determination, Prepetition
FLFO Lenders holding at least a majority of the outstanding Prepetition FLFO Loans (inclusive
of validly executed but unsettled trades) held by the Prepetition FLFO Lenders as of such date.

               Requisite FLTL Lenders has the meaning set forth in the Restructuring Support
Agreement.

               Requisite SLTL Lenders has the meaning set forth in the Restructuring Support
Agreement.

               Residual Distributable Value means any distributable value of the Single Share
of Post-Effective Date FWE Parent held by the Plan Administrator (a) after satisfaction of
Allowed Administrative Expense Claims, Allowed Other Secured Claims, Allowed Priority Tax
Claims, Allowed Priority Non-Tax Claims, all Cure Amounts and (b) after satisfaction of all


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fees, expenses, costs and other amounts pursuant to the Plan and incurred by the Post-Effective
Date Debtors in connection with post-Effective Date operations and wind-down.

               Restructuring means the restructuring of the Debtors, the principal terms of
which are set forth in this Plan and the Plan Supplement.

                Restructuring Expenses means the reasonable and documented fees and expenses
incurred by (i) the Ad Hoc Group of Secured Lenders, (ii) the Prepetition FLFO Secured Parties,
and (iii) the Ad Hoc Group of Prepetition SLTL Lenders in connection with the Chapter 11
Cases, including the fees and expenses of the Ad Hoc Group of Secured Lenders Advisors, the
Prepetition FLFO Advisors, and Ad Hoc Group of Prepetition SLTL Lenders Advisors, in each
case payable in accordance with the terms of any applicable agreements, engagement letters or
fee letters executed with such parties or pursuant to the terms of the DIP Order and without the
requirement for the filing of retention applications, fee applications, or any other application in
the Chapter 11 Cases, which shall not be subject to any offset, defense, counterclaim, reduction,
or creditor credit and, to the extent incurred prior to the Effective Date, shall be Allowed as
Administrative Expense Claims upon incurrence; provided, however, Restructuring Expenses of
the Ad Hoc Group of Prepetition SLTL Lenders shall be limited to and consist solely of the
reasonable fees and expenses incurred by the Ad Hoc Group of Prepetition SLTL Lenders
Advisors in their capacity as counsel to the Ad Hoc Group of Prepetition SLTL Lenders.

                Restructuring Support Agreement means that certain Restructuring Support
Agreement, dated as of August 4, 2020, by and among Debtor Fieldwood Energy LLC, certain of
its affiliates specified therein, the Consenting Creditors, and Apache, as the same may be
amended, restated, or otherwise modified in accordance with its terms.

                Restructuring Transactions means one or more transactions pursuant to
section 1123(a)(5) of the Bankruptcy Code to occur on the Effective Date or as soon as
reasonably practicable thereafter, that may be necessary or appropriate to effect any transaction
described in, approved by, contemplated by, or necessary to effectuate the Plan and the Credit
Bid Transaction, including (a) the consummation of the transactions provided for under or
contemplated by the Plan and any mergers, divisive mergers, amalgamations, consolidations,
arrangements, continuances, transfers, conversions, sales, dispositions, or other corporate
transactions necessary or appropriate to implement the Plan, (b) the execution and delivery of
appropriate agreements or other documents containing terms that are consistent with or
reasonably necessary to implement the terms of the Plan or the Credit Bid Transaction and that
satisfy the requirements of applicable law, (c) the Equity Rights Offerings, (d) the execution and
delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any
property, right, liability, duty, or obligation on terms consistent with the terms of the Plan, and
(d) all other actions that the Debtors, the Post-Effective Date Debtors or NewCo (or any of its
subsidiaries, including the Credit Bid Purchaser), as applicable, determine are necessary or
appropriate and consistent with the Plan or the Credit Bid Transaction. For the avoidance of
doubt, Restructuring Transactions includes the Credit Bid Transaction and the Divisive Merger
effectuated pursuant to the Plan of Merger.

               Schedule of Abandoned Properties means a schedule (as may be amended,
modified, or supplemented from time to time) of the Debtors’ rights to and interests in executory


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contracts and unexpired federal leases, rights-of-way, and right-of-use-and-easements to be
abandoned pursuant to Section 5.14 of this Plan, a copy of which shall be filed with the
Disclosure Statement and included in the Plan Supplement.

              Schedule of Assumed Contracts means the schedule of executory contracts and
unexpired leases to be assumed by the Debtors pursuant to this Plan, if any, as the same may be
amended, modified, or supplemented from time to time.

                Schedule of FWE I Oil & Gas Lease Interests means a schedule (as may be
amended, modified, or supplemented from time to time) of the Debtors’ interests in the oil and
gas leases that shall constitute FWE I Assets, a copy of which shall be filed with the Disclosure
Statement and included in the Plan Supplement.

                Schedule of FWE III Oil & Gas Lease Interests means a schedule (as may be
amended, modified, or supplemented from time to time) of the Debtors’ interests in the oil and
gas leases that shall constitute FWE III Assets, a copy of which shall be filed with the Disclosure
Statement and included in the Plan Supplement.

                Schedule of Purchased Oil & Gas Lease Interests means a schedule (as may be
amended, modified, or supplemented from time to time) of the Debtors’ interests in the oil and
gas leases that will be acquired by the Credit Bid Purchaser pursuant to the Credit Bid Purchase
Agreement, a copy of which shall be filed with the Disclosure Statement and included in the Plan
Supplement.

               Schedules means any schedules of assets and liabilities, schedules of executory
contracts and unexpired leases, and statements of financial affairs filed by the Debtors pursuant
to section 521 of the Bankruptcy Code.

                Second Lien Backstop Commitment Letter means that certain backstop
commitment letter, in form and substance (i) acceptable to the Debtors, the Required DIP
Lenders, and Requisite FLTL Lenders and (ii) reasonably acceptable to the Prepetition FLFO
Administrative Agent and the First Lien Exit Facility Agent, to be entered into by and among
Fieldwood Energy LLC, the Credit Bid Purchaser and the Backstop Parties, as may be amended,
supplemented, or modified from time to time, pursuant to the terms thereof and consistent with
the Restructuring Support Agreement, pursuant to which the Backstop Parties agreed to, among
other things, backstop the Second Lien Exit Facility in accordance with the terms and conditions
set forth therein.

              Second Lien Backstop Commitment Premium means a premium equal to 8% of
the maximum principal amount of the Second Lien Exit Facility (i.e. $185,000,000) payable to
the Backstop Parties with the Second Lien Backstop Commitment Premium Equity Interests in
accordance with the terms set forth in the Second Lien Backstop Commitment Letter.

                Second Lien Backstop Commitment Premium Equity Interests means an amount
of New Equity Interests equal to the value of the Second Lien Backstop Commitment Premium
as further set forth in the Second Lien Backstop Commitment Letter; provided that such New
Equity Interests shall be issued at a 30% discount to the equity value of NewCo on the Effective
Date.

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            Second Lien Backstop Party has the meaning set forth in the Second Lien
Backstop Commitment Letter.

             Second Lien Exit Facility means the facility under the Second Lien Exit Facility
Credit Agreement.

             Second Lien Exit Facility Agent means the administrative agent under the
Second Lien Exit Facility Credit Agreement.

                Second Lien Exit Facility Credit Agreement means that certain credit agreement
to be entered by the Credit Bid Purchaser, the Second Lien Exit Facility Agent and the Second
Lien Exit Facility Lenders on the Effective Date that shall govern the Second Lien Exit Facility,
which shall reflect and contain terms, conditions, representations, warranties, and covenants
consistent with the Second Lien Exit Facility Term Sheet and otherwise be in form and substance
(i) acceptable to the Debtors, the Required DIP Lenders, and Requisite FLTL Lenders and (ii)
reasonably acceptable to the Prepetition FLFO Administrative Agent and the First Lien Exit
Facility Agent.

               Second Lien Exit Facility Documents means, collectively, the Second Lien Exit
Facility Credit Agreement, and any and all other agreements, documents, and instruments
delivered or to be entered into in connection therewith, including any guarantee agreements,
pledge and collateral agreements, intercreditor agreements, and other security documents, the
terms of which documents shall be (i) acceptable to the Debtors, the Required DIP Lenders, and
Requisite FLTL Lenders and (ii) reasonably acceptable to the Prepetition FLFO Administrative
Agent and the First Lien Exit Facility Agent.

               Second Lien Exit Facility Lenders means the lenders party to the Second Lien
Exit Facility Credit Agreement.

               Second Lien Exit Facility Term Sheet means the term sheet filed with the
Disclosure Statement, as may be amended from time to time with (i) the consent of the Required
DIP Lenders and Requisite FLTL Lenders and (ii) the reasonable consent of the Prepetition
FLFO Administrative Agent and First Lien Exit Facility Agent.

                Secured means, when referring to a Claim: (a) secured by a Lien on property of a
Debtor’s Estate, the amount of which is equal to or less than the value of such property as (i) set
forth in the Plan, (ii) agreed to by the holder of such Claim and the Debtors, or (iii) determined
by a Final Order in accordance with section 506(a) of the Bankruptcy Code, or (b) secured by the
amount of any right of setoff of the holder thereof in accordance with section 553 of the
Bankruptcy Code.

             Security means any “security” as such term is defined in section 101(49) of the
Bankruptcy Code.

              SLTL Claims means all Claims, other than Claims subject to subordination in
accordance with section 510(b) of the Bankruptcy Code, arising from or based upon the
Prepetition SLTL Credit Agreement.



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               SLTL Claims Allowed Amount means $517,500,000.00 in principal, plus any
accrued but unpaid interest or fees due under the Prepetition SLTL Credit Agreement as of the
Petition Date.

               SLTL Deficiency Claim means any SLTL Claim or portion thereof that is not
Secured, if any.

                SLTL Equity Rights Offering means that certain rights offering pursuant to
which each holder of Allowed SLTL Claims is entitled to receive SLTL Subscription Rights to
acquire New Equity Interests in the aggregate amount of the SLTL Equity Rights Offering
Amount in accordance with the SLTL Equity Rights Offering Procedures, the terms and
conditions of which shall be reasonably acceptable to the Debtors, Required DIP Lenders,
Requisite FLTL Lenders, Requisite SLTL Lenders, the Prepetition FLFO Administrative Agent,
and the First Lien Exit Facility Agent.

              SLTL Equity Rights Offering Amount means $20,000,000.

             SLTL Equity Rights Offering Procedures means the procedures for the
implementation of the SLTL Equity Rights Offering to be approved by the Bankruptcy Court.

               SLTL ERO Backstop Agreement means that certain [Equity Backstop
Commitment Agreement], in form and substance reasonably acceptable to the Debtors, the
Required DIP Lenders, the Requisite FLTL Lenders, the Requisite SLTL Lenders, the
Prepetition FLFO Administrative Agent, and the First Lien Exit Facility Agent, to be entered into
by and among Fieldwood Energy LLC, NewCo, and the SLTL ERO Backstop Parties, as may be
amended, supplemented, or modified from time to time, pursuant to which the SLTL ERO
Backstop Parties agreed to, among other things, backstop the SLTL Equity Rights Offering with
the terms and conditions set forth therein[; provided that, the form of the [Equity Backstop
Commitment Agreement] attached hereto as Exhibit [] shall be deemed acceptable to the
Debtors, the Required DIP Lenders, Requisite FLTL Lenders and Requisite SLTL Lenders [and
reasonably acceptable to the Prepetition FLFO Administrative Agent and the First Lien Exit
Facility Agent].]

           [SLTL ERO Backstop Commitment Percentage has the meaning set forth in the
SLTL ERO Backstop Agreement.]

               [SLTL ERO Backstop Commitment Premium means a premium equal to 8% of
the SLTL Equity Rights Offering Amount payable to the SLTL ERO Backstop Parties with the
SLTL ERO Backstop Commitment Premium Equity Interests in accordance with the terms set
forth in the SLTL ERO Backstop Agreement.]

                 [SLTL ERO Backstop Commitment Premium Equity Interests means an amount
of New Equity Interests equal to the value of the SLTL ERO Backstop Commitment Premium as
further set forth in the SLTL ERO Backstop Agreement; provided that such New Equity Interests
shall be issued at a 30% discount to the equity value of NewCo on the Effective Date.




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               SLTL ERO Backstop Parties means those parties that agree to backstop the
SLTL Equity Rights Offering pursuant to the SLTL ERO Backstop Agreement, each in its
respective capacity as such.

               SLTL Subscription Rights means the subscription right to acquire New Equity
Interests with an aggregate value equal to the SLTL Rights Offering Amount offered in
accordance with the SLTL Equity Rights Offering Procedures; provided, however, that such New
Equity Interests shall be issued at a 30% discount to the equity value of NewCo on the Effective
Date.

              SLTL Tranche 1 Warrant Agreement means a warrant agreement to be entered
into by and among NewCo and the warrant agent named therein that shall govern the terms of
the SLTL Tranche 1 Warrants, the form of which shall be acceptable to the Debtors, Required
DIP Lenders, Requisite FLTL Lenders, the Creditors’ Committee, and the Requisite SLTL
Lenders.

                 SLTL Tranche 1 Warrants means 8-year warrants for 25% of the New Equity
Interests (calculated on a fully diluted basis giving effect to the New Equity Interests to be issued
pursuant to Section 4.4(a)(i) of this Plan, the New Equity Interests issuable upon the exercise of
the Subscription Rights, the Backstop Commitment Premium Equity Interests, and the New
Equity Interests issuable upon the exercise of the New Money Warrants and GUC Warrants, but
excluding the effect of any New Equity Interests issuable upon exercise of the SLTL Tranche 2
Warrants and any New Equity Interests issuable in connection with the Management Incentive
Plan), with a strike price set at an equity value equal to $1,321,000,000, the terms of which shall
be set forth in the SLTL Tranche 1 Warrant Agreement.

              SLTL Tranche 2 Warrant Agreement means a warrant agreement to be entered
into by and among NewCo and the warrant agent named therein that shall govern the terms of
the SLTL Tranche 2 Warrants, the form of which shall be acceptable to the Debtors, Required
DIP Lenders, Requisite FLTL Lenders, the Creditors’ Committee, and the Requisite SLTL
Lenders.

                SLTL Tranche 2 Warrants means 8-year warrants for 32.50% of the New Equity
Interests (calculated on a fully diluted basis giving effect to the New Equity Interests to be issued
pursuant to Section 4.4(a)(i) of this Plan, the New Equity Interests issuable upon the exercise of
the Subscription Rights, the Backstop Commitment Premium Equity Interests, and the New
Equity Interests issuable upon the exercise of the New Money Warrants, the SLTL Tranche 1
Warrants, and the GUC Warrants (excluding any adjustment or true-up of the GUC Warrants as
described in the definition thereof), but excluding the effect of any New Equity Interests issuable
in connection with the Management Incentive Plan), with a strike price set at an equity value
equal to $1,585,200,000, the terms of which shall be set forth in the SLTL Tranche 2 Warrant
Agreement.

             [SLTL Unsubscribed Shares has the meaning set forth in the SLTL ERO
Backstop Agreement].




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             SLTL Warrants means, collectively, the SLTL Tranche 1 Warrants and the SLTL
Tranche 2 Warrants.

               Specified Administrative Expense Claims means Administrative Expense Claims
other than (a) Administrative Expense Claims that are to be assumed by the Credit Bid Purchaser
pursuant to the Credit Bid Purchase Agreement; (b) Cure Amounts; and (c) Fee Claims,
Restructuring Expenses, any fees and expenses payable pursuant to sections 2.3 and 2.4 of this
Plan, any fees and expenses payable or reimbursable by the Debtors or Post-Effective Date
Debtors pursuant to the Second Lien Backstop Commitment Letter, Credit Bid Purchase
Agreement, or First Lien Exit Facility Commitment Letter (including termination fees, if any),
Apache Fees and Expenses and Apache Implementation Costs, and Statutory Fees.

             Standby Loan Agreement has the meaning set forth in the Apache
Implementation Agreement.

             Standby Credit Facility Documents has the meaning set forth in the Apache
Implementation Agreement.

               Statutory Fees means all fees and charges assessed against the Estates pursuant to
sections 1911 through 1930 of chapter 123 of title 28 of the United States Code.

              Subordinated Securities Claim means a Claim that is subject to subordination in
accordance with sections 510(b) of the Bankruptcy Code or otherwise.

              Subscription Rights means, collectively, the FLTL Subscription Rights and SLTL
Subscription Rights.

               Tax Code means the Internal Revenue Code of 1986, as amended from time to
time.

              Toggle Amount means $35,000,000 or such higher amount as may be mutually
agreed between the Debtors, the Required DIP Lenders, and the Requisite FLTL Lenders.

               Toggle Date has the meaning set forth in Section 5.2(c).

               Toggle Motion has the meaning set forth in Section 5.2(c)(i).

                Trade Agreement means a trade agreement entered into or to be entered into
between the Debtors, [a NewCo Entity], and a Trade Creditor that will be provided by the
Debtors to each Trade Creditor and that provides for, among other things, waiver of any and all
liens against the Debtors, their assets and any co-owned assets, or any other affiliated person or
entity (including any co-working interest owner of the Debtors), or any such person’s or entity’s
respective assets or property (real or personal), regardless of the statute or other legal authority
upon which the lien is asserted, held or asserted by the Trade Creditor relating to the Unsecured
Trade Claim, and an agreement by such Trade Creditor to continue to provide post-Effective
Date trade terms that are no less favorable than the terms provided to the Debtors prior to the
Petition Date



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              Trade Creditor means a third-party provider of goods or services to the Debtors
that holds an Unsecured Trade Claim against the Debtors arising from the provision of such
goods and services.

               Unimpaired means, with respect to a Claim, Interest, or Class of Claims or
Interests, not “impaired” within the meaning of sections 1123(a)(4) and 1124(2) of the
Bankruptcy Code.

               Unsecured Trade Claim means any unsecured claim (or secured claim that
becomes unsecured by agreement, settlement, or order of the Bankruptcy Court) of a Trade
Creditor that is held by a Trade Creditor that has elected such claim to be treated as an
Unsecured Trade Claim under this Plan and enters into or agrees to enter into a Trade
Agreement; provided, however, that in no event shall any claim against the Debtors that arises in
connection with a joint interest billing arrangement constitute an Unsecured Trade Claim.

               U.S. Trustee means the United States Trustee for Region 7.

               Voting Deadline means April 26, 2021 at 4:00 p.m. (Prevailing Central Time), or
such date and time as may set by the Bankruptcy Court.

               1.2     Interpretation; Application of Definitions; Rules of Construction.

                Unless otherwise specified, all section or exhibit references in the Plan are to the
respective section in or exhibit to the Plan, as the same may be amended, waived, or modified
from time to time in accordance with the terms hereof. The words “herein,” “hereof,” “hereto,”
“hereunder,” and other words of similar import refer to the Plan as a whole and not to any
particular section, subsection, or clause contained therein and have the same meaning as “in the
Plan,” “of the Plan,” “to the Plan,” and “under the Plan,” respectively. The words “includes” and
“including” are not limiting. The headings in the Plan are for convenience of reference only and
shall not limit or otherwise affect the provisions hereof. For purposes herein: (a) in the
appropriate context, each term, whether stated in the singular or plural, shall include both the
singular and plural, and pronouns stated in the masculine, feminine, or neuter gender shall
include the masculine, feminine, and the neuter gender; (b) any reference herein to a contract,
lease, instrument, release, indenture, or other agreement or document being in a particular form
or on particular terms and conditions means that the referenced document shall be substantially
in that form or substantially on those terms and conditions; (c) the rules of construction set forth
in section 102 of the Bankruptcy Code shall apply; and (d) any term used in capitalized form
herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy
Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy
Rules, as the case may be.

               1.3     Reference to Monetary Figures.

               All references in the Plan to monetary figures shall refer to the legal tender of the
United States of America unless otherwise expressly provided.




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               1.4     Controlling Document.

                In the event of an inconsistency between the Plan and the Plan Supplement, the
terms of the relevant document in the Plan Supplement shall control unless otherwise specified in
such Plan Supplement document. In the event of an inconsistency between the Plan and the First
Lien Exit Facility Commitment Letter, the First Lien Exit Facility Commitment Letter shall
control. In the event of an inconsistency between the Plan and the Second Lien Backstop
Commitment Letter, the Second Lien Backstop Commitment Letter shall control. The provisions
of the Plan, the First Lien Exit Facility Commitment Letter, the Second Lien Backstop
Commitment Letter, and of the Confirmation Order shall be construed in a manner consistent
with each other so as to effectuate the purposes of each; provided, that if there is determined to
be any inconsistency between (a) any provision of the Plan, the First Lien Exit Facility
Commitment Letter, and any provision of the Confirmation Order that cannot be so reconciled,
or (b) any provision of the Plan, the Second Lien Backstop Commitment Letter, and any
provision of the Confirmation Order that cannot be so reconciled, then, solely to the extent of
such inconsistency, the provisions of the Confirmation Order shall govern.

               1.5     Certain Consent Rights

               Notwithstanding anything herein to the contrary, and without limiting the
Debtors’ fiduciary duties, any and all consent rights of any party set forth in the Restructuring
Support Agreement with respect to the form and substance of this Plan, the Plan Supplement,
any supplement to the Disclosure Statement, any other Definitive Documents and any
agreements or documents referenced in this Plan or the Plan Supplement, including any
amendments, restatements, supplements, or other modifications to such documents, and any
consents, waivers, or other deviations under or from any such documents, shall be incorporated
herein by this reference and fully enforceable as if stated in full herein until such time as the
Restructuring Support Agreement is terminated in accordance with its terms.



ARTICLE II.            ADMINISTRATIVE EXPENSE CLAIMS, FEE CLAIMS, DIP
                       CLAIMS, AND PRIORITY TAX CLAIMS.

               2.1     Treatment of Administrative Expense Claims.

               On (or as soon thereafter as is reasonably practicable) the later of (a) the Effective
Date and (b) the first Business Day after the date that is thirty (30) calendar days after the date
each Administrative Expense Claim becomes an Allowed Administrative Expense Claim, each
holder of an Allowed Administrative Expense Claim (other than a Fee Claim) shall receive in
full and final satisfaction of such Claim, either (x) Cash in an amount equal to the Allowed
amount of such Claim or such other treatment consistent with the provisions of section
1129(a)(9) of the Bankruptcy Code or (y) such other treatment as to which the Debtors, the Post-
Effective Date Debtors, or NewCo and its subsidiaries (including the Credit Bid Purchaser), as
applicable, and the holder of such Allowed Administrative Expense Claim will have agreed upon
in writing; provided, that Allowed Administrative Expense Claims representing liabilities
incurred in the ordinary course of business by the Debtors, as Debtors in Possession, shall be
paid by the Debtors or the Post-Effective Date Debtors, as applicable, in the ordinary course of

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business, consistent with past practice and in accordance with the terms and subject to the
conditions of any orders or agreements governing, instruments evidencing, or other documents
establishing, such liabilities; provided, further, that any Allowed Administrative Expense Claim
assumed by the Credit Bid Purchaser pursuant to the Credit Bid Purchase Agreement shall be
solely an obligation of the Credit Bid Purchaser and the holder of such assumed Claim shall have
no recourse to or Claim against the Debtors or Post-Effective Date Debtors or their assets and
properties.

               2.2    Treatment of Fee Claims.

              (a)     Final Fee Applications. All final requests for the allowance and payment
of Fee Claims shall be filed no later than 45 days after the Effective Date unless such date is
extended by order of the Bankruptcy Court.

               (b)     Professional Fee Escrow Amount. All Professional Persons shall estimate
in good faith their unpaid Fee Claims before and as of the Effective Date and shall deliver such
estimate to the Debtors at least three (3) calendar days before the Effective Date; provided,
however, that such estimate shall not limit or be deemed to limit the amount of the fees and
expenses that are the subject of the Professional Person’s final request for payment of Fee
Claims. If a Professional Person does not provide such estimate, the Debtors and Post-Effective
Date Debtors may estimate the unbilled fees and expenses of such Professional Person; provided,
however, that such estimate shall not be considered an admission or limitation with respect to the
fees and expenses incurred by, or payable to, such Professional Person. The total amount so
estimated as of the Effective Date shall comprise the Professional Fee Escrow Amount.

               (c)     Professional Fee Escrow. If the Professional Fee Escrow Amount is
greater than zero, then as soon as reasonably practicable after the Confirmation Date and no later
than the Effective Date, the Debtors will establish and fund the Professional Fee Escrow with
cash equal to the Professional Fee Escrow Amount and no Liens, Claims, or interests will
encumber the Professional Fee Escrow in any way. The Professional Fee Escrow (including
funds held in the Professional Fee Escrow) will (i) not be and will not be deemed to be property
of the Debtors or the Post-Effective Date Debtors and (ii) will be held in trust for the
Professional Persons; provided, however, that funds remaining in the Professional Fee Escrow
after all Allowed Fee Claims have been irrevocably paid in full will revert to the Post-Effective
Date Debtors. Allowed Fee Claims will be paid in cash to such Professional Persons from funds
held in the Professional Fee Escrow as soon as reasonably practicable after such Claims are
Allowed by an order of the Bankruptcy Court; provided, however, that the Debtors’ obligations
with respect to Fee Claims will not be limited nor deemed to be limited in any way to the balance
of funds held in the Professional Fee Escrow.

               If the amount of funds in the Professional Fee Escrow is insufficient to fund
payment in full of all Allowed Fee Claims and any other Allowed amounts owed to Professional
Persons, the deficiency will be promptly funded to the Professional Fee Escrow from the
Debtors’ estates and/or by Post-Effective Date Debtors without any further action or order of the
Bankruptcy Court.




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                (d)    Post-Effective Date Fees and Expenses. On and after the Effective Date,
the Debtors and the Post-Effective Date Debtors, as applicable, will pay in cash in the ordinary
course of business and without any further action or order of the Bankruptcy Court, the
reasonable legal, professional, or other fees and expenses that are (i) related to implementation of
the Plan and (ii) incurred by the Debtors or Post-Effective Date Debtors, as applicable, on and
after the Effective Date.

               On the Effective Date, any requirement that Professional Persons comply with
sections 327 through 331 and 1103 of the Bankruptcy Code in seeking retention or compensation
for services provided after such date shall terminate, and the Debtors or Post-Effective Date
Debtors may employ and pay any post-Effective Date fees and expenses of any Professional
Person without any further notice to or action, order, or approval of the Bankruptcy Court.

               2.3     Treatment of DIP Claims.

              As of the Effective Date, the DIP Claims shall be Allowed in the full amount
outstanding under the DIP Credit Agreement, including principal, interest, fees, costs, other
charges, and expenses provided for thereunder. In full and final satisfaction, settlement, release,
and discharge of each Allowed DIP Claim, on the Effective Date, each holder of such Allowed
DIP Claim shall receive either (a) payment in full in Cash or (b) such other treatment as to which
the Debtors or the Post-Effective Date Debtors, as applicable, and the holder of such Allowed
DIP Claims will have agreed upon in writing. On the Effective Date, all Liens granted to secure
the Allowed DIP Claims shall be terminated and of no further force and effect.

               2.4     Payment of Fees and Expenses Under DIP Order.

                On the later of (a) the Effective Date and (b) the date on which such fees,
expenses, or disbursements would be required to be paid under the terms of the DIP Order, the
Debtors or the Post-Effective Date Debtors (as applicable) shall pay all fees, expenses, and
disbursements of the DIP Agent and DIP Lenders, in each case that have accrued and are unpaid
as of the Effective Date and are required to be paid under or pursuant to the DIP Order. After the
Effective Date, the Post-Effective Date Debtors shall continue to reimburse the DIP Agent and
the DIP Lenders for the reasonable fees and expenses (including reasonable and documented
legal fees and expenses) incurred by the DIP Agent and the DIP Lenders after the Effective Date
in accordance with the terms of the DIP Documents. The Post-Effective Date Debtors shall pay
all of the amounts that may become payable to the DIP Agent or any of the DIP Lenders in
accordance with the terms of the DIP Documents and the DIP Order.

               2.5     Treatment of Priority Tax Claims.

                On the Effective Date or as soon thereafter as is reasonably practicable (but in no
event later than 30 days after the Effective Date), each holder of an Allowed Priority Tax Claim
shall receive in full and final satisfaction of such Claim, either (a) Cash in an amount equal to the
Allowed amount of such Claim or such other treatment consistent with the provisions of section
1129(a)(9) of the Bankruptcy Code or (b) or such other treatment as to which the Debtors, the
Post-Effective Date Debtors or NewCo and its subsidiaries (including the Credit Bid Purchaser)
as applicable, and the holder of such Allowed Priority Tax Claim will have agreed upon in


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writing; provided, that Allowed Priority Tax Claims representing liabilities incurred in the
ordinary course of business by the Debtors, as Debtors in Possession, shall be paid by the
Debtors or the Post-Effective Date Debtors, as applicable, in the ordinary course of business,
consistent with past practice and in accordance with the terms and subject to the conditions of
any orders or agreements governing, instruments evidencing, or other documents establishing,
such liabilities; provided, further, that any Allowed Priority Tax Claim assumed by the Credit
Bid Purchaser pursuant to the Credit Bid Purchase Agreement shall be solely an obligation of the
Credit Bid Purchaser and the holder of such assumed Claim shall have no recourse to or Claim
against the Debtors or Post-Effective Date Debtors or their assets and properties.

               2.6     Restructuring Expenses.

               On the Effective Date, or as soon as reasonably practicable thereafter, the Debtors
or the Post-Effective Date Debtors, as applicable, shall pay in full in Cash (to the extent not
previously paid during the course of the Chapter 11 Cases) all outstanding Restructuring
Expenses billed through the Effective Date, in accordance with the terms of the applicable
orders, engagement letters, or other applicable contractual arrangements. All parties entitled to
payment pursuant to this Section 2.6 shall estimate their accrued Restructuring Expenses before
and as of the Effective Date and shall deliver such estimates to the Debtors at least three
Business Days before the Effective Date; provided, that such estimate shall not be considered an
admission or limitation with respect to the fees and expenses of such parties. On the Effective
Date, final invoices for all Restructuring Expenses incurred before and as of the Effective Date
shall be submitted to the Debtors. In addition, the Debtors and the Post-Effective Date Debtors
(as applicable) shall continue to pay post-Effective Date, when due and payable in the ordinary
course, Restructuring Expenses related to implementation, consummation and defense of the
Plan.

               2.7     Postpetition Hedge Claims.

                On (or as soon thereafter as is reasonably practicable) the later of (a) the Effective
Date and (b) the first Business Day on which the Allowed Postpetition Hedge Claim becomes
due and owing in accordance with the terms of and subject to the conditions of any orders or
agreements governing, instruments evidencing, or other documents establishing, such liabilities,
each holder of an Allowed Postpetition Hedge Claim shall receive in full and final satisfaction of
such Claim, either (x) Cash in an amount equal to the Allowed amount of such Claim or such
other treatment consistent with the provisions of section 1129(a)(9) of the Bankruptcy Code or
(y) such other treatment as to which the Debtors, the Post-Effective Date Debtors, or NewCo and
its subsidiaries (including the Credit Bid Purchaser), as applicable, and the holder of such
Allowed Postpetition Hedge Claim will have agreed upon in writing; provided, that any Allowed
Postpetition Hedge Claim assumed by the Credit Bid Purchaser in accordance with the foregoing
clause (y) pursuant to the Credit Bid Purchase Agreement shall be solely an obligation of the
Credit Bid Purchaser and the holder of such assumed Claim shall have no recourse to or Claim
against the Debtors or Post-Effective Date Debtors or their assets and properties. Nothing herein
shall modify any of the contractual rights under a Postpetition Hedging Agreement of a holder of
an Allowed Postpetition Hedge Claim in their capacity as a holder of an Allowed Postpetition
Hedge Claim.



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ARTICLE III.           CLASSIFICATION OF CLAIMS AND INTERESTS.

               3.1     Classification in General.

                A Claim or Interest is placed in a particular Class for all purposes, including
voting, confirmation, and distribution under the Plan and under sections 1122 and 1123(a)(1) of
the Bankruptcy Code; provided, however, that a Claim or Interest is placed in a particular Class
for the purpose of receiving distributions pursuant to the Plan only to the extent that such Claim
or Interest is an Allowed Claim or Allowed Interest in that Class and such Claim or Interest has
not been satisfied, released, or otherwise settled before the Effective Date.

               3.2     Formation of Debtor Groups for Convenience Only.

                The Plan groups the Debtors together solely for the purpose of describing
treatment under the Plan, confirmation of the Plan, and making Plan Distributions in respect of
Claims against and Interests in the Debtors under the Plan. Such groupings shall not affect any
Debtor’s status as a separate legal entity, change the organizational structure of the Debtors’
business enterprise, constitute a change of control of any Debtor for any purpose, cause a merger
of consolidation of any legal entities, or cause the transfer of any Assets; and, except as
otherwise provided by or permitted under the Plan, all Debtors shall continue to exist as separate
legal entities.

               3.3     Summary of Classification of Claims and Interests.

                 The following table designates the Classes of Claims against and Interests in the
Debtors and specifies which Classes are: (a) Impaired and Unimpaired under the Plan;
(b) entitled to vote to accept or reject the Plan in accordance with section 1126 of the Bankruptcy
Code; and (c) presumed to accept or deemed to reject the Plan. In accordance with section
1123(a)(1) of the Bankruptcy Code, Administrative Expense Claims and Priority Tax Claims
have not been classified. The classification of Claims and Interests set forth herein shall apply
separately to each Debtor.

   Class             Type of Claim or Interest          Impairment           Entitled to Vote
Class 1      Other Secured Claims                     Impaired          Yes
Class 2      Priority Non-Tax Claims                  Unimpaired        No (Presumed to accept)
Class 3      FLFO Claims                              Impaired          Yes
Class 4      FLTL Claims                              Impaired          Yes
Class 5      SLTL Claims                              Impaired          Yes
Class 6A     Unsecured Trade Claims                   Impaired          Yes
Class 6B     General Unsecured Claims                 Impaired          Yes
Class 7      Intercompany Claims                      Unimpaired        No (Presumed to accept)
Class 8      Subordinated Securities Claims           Impaired          No (Deemed to reject)
Class 9      Intercompany Interests                   Unimpaired        No (Presumed to accept)
Class 10     Existing Equity Interests                Impaired          No (Deemed to reject)




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               3.4     Special Provision Governing Unimpaired Claims.

              Except as otherwise provided in this Plan, nothing under this Plan shall affect the
rights of the Debtors or the Post-Effective Date Debtors, as applicable, in respect of any
Unimpaired Claims, including all rights in respect of legal and equitable defenses to, or setoffs or
recoupments against, any such Unimpaired Claims.

               3.5     Separate Classification of Other Secured Claims.

                Although all Other Secured Claims have been placed in one Class for purposes of
nomenclature within the Plan, each Other Secured Claim, to the extent secured by a Lien on
Collateral different from the Collateral securing a different Other Secured Claim, shall be treated
as being in a separate sub-Class for the purposes of voting to accept or reject the Plan and
receiving Plan Distributions.

               3.6     Elimination of Vacant Classes.

               Any Class that, as of the commencement of the Confirmation Hearing, does not
have at least one holder of a Claim or Interest that is Allowed in an amount greater than zero for
voting purposes that votes on the Plan shall be considered vacant, deemed eliminated from the
Plan for purposes of voting to accept or reject the Plan, and disregarded for purposes of
determining whether the Plan satisfies section 1129(a)(8) of the Bankruptcy Code with respect to
such Class.

               3.7     Voting Classes; Presumed Acceptance by Non-Voting Classes.

               With respect to each Debtor, if a Class contained Claims eligible to vote and no
holder of Claims eligible to vote in such Class votes to accept or reject the Plan, the Plan shall be
presumed accepted by the holders of such Claims in such Class.

               3.8     Voting; Presumptions; Solicitation.

                (a)    Acceptance by Certain Impaired Classes. Only holders of Allowed
Claims in Classes 1, 3, 4, 5, 6A, and 6B are entitled to vote to accept or reject the Plan. An
Impaired Class of Claims shall have accepted the Plan if (i) the holders of at least two-thirds
(2/3) in amount of the Allowed Claims actually voting in such Class have voted to accept the
Plan and (ii) the holders of more than one-half (1/2) in number of the Allowed Claims actually
voting in such Class have voted to accept the Plan.

                (b)     Presumed Acceptance by Unimpaired Classes. Holders of Claims and
Interests in Classes 2, 7 and 9 are conclusively presumed to have accepted the Plan pursuant to
section 1126(f) of the Bankruptcy Code. Accordingly, such holders are not entitled to vote to
accept or reject the Plan.

             (c)     Deemed Rejection by Certain Impaired Classes. Holders of Claims in
Class 8 and Class 10 are deemed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. Accordingly, such holders are not entitled to vote to accept or reject the Plan.



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               3.9     Cramdown.

               If any Class is deemed to reject the Plan or is entitled to vote on the Plan and does
not vote to accept the Plan, the Debtors may (a) seek confirmation of the Plan under section
1129(b) of the Bankruptcy Code or (b) amend or modify the Plan in accordance with the terms
hereof and the Bankruptcy Code. If a controversy arises as to whether any Claims or Interests,
or any class of Claims or Interests, are impaired, the Bankruptcy Court shall, after notice and a
hearing, determine such controversy on or before the Confirmation Date.

               3.10    No Waiver.

                Nothing contained in the Plan shall be construed to waive a Debtor’s or other
Person’s right to object on any basis to any Disputed Claim.



ARTICLE IV.            TREATMENT OF CLAIMS AND INTERESTS.

               4.1     Class 1: Other Secured Claims.

                 (a)    Treatment: Except to the extent that a holder of an Allowed Other
Secured Claim agrees to a less favorable treatment, in full and final satisfaction of such Allowed
Other Secured Claim, at the option of the Debtors or the Post-Effective Date Debtors, such
holder shall receive either (i) payment in full in Cash, payable on the later of the Effective Date
and the date that is ten (10) Business Days after the date on which such Other Secured Claim
becomes an Allowed Other Secured Claim, in each case, or as soon as reasonably practicable
thereafter, (ii) such other treatment so as to render such holder’s Allowed Other Secured Claim
Unimpaired, or (iii) any other treatment consistent with the provisions of section 1129 of the
Bankruptcy Code, including by providing such holder with the “indubitable equivalent” of their
Allowed Other Secured Claim (which, for the avoidance of doubt, may be in the form of a multi-
year promissory note or other financial instrument); provided, that any Allowed Other Secured
Claim assumed by the Credit Bid Purchaser pursuant to the Credit Bid Purchase Agreement shall
be solely an obligation of the Credit Bid Purchaser and the holder of such assumed Claim shall
have no recourse to or Claim against the Debtors or Post-Effective Date Debtors or their assets
and properties.

              (b)   Impairment and Voting: Allowed Other Secured Claims are Impaired.
Holders of Allowed Other Secured Claims are entitled to vote on the Plan.

               4.2     Class 2: Priority Non-Tax Claims.

               (a)    Treatment: Except to the extent that a holder of an Allowed Priority
Non-Tax Claim agrees to a less favorable treatment, in full and final satisfaction of such Allowed
Priority Non-Tax Claim, each holder of an Allowed Priority Non-Tax Claim shall, at the option
of the Debtors or the Post-Effective Date Debtors (i) be paid in full in Cash or (ii) otherwise
receive treatment consistent with the provisions of section 1129(a)(9) of the Bankruptcy Code,
payable on the later of the Effective Date and the date that is ten (10) Business Days after the
date on which such Priority Non-Tax Claim becomes an Allowed Priority Non-Tax Claim, in


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each case, or as soon as reasonably practicable thereafter; provided, that any Allowed Priority
Non-Tax Claim assumed by the Credit Bid Purchaser pursuant to the Credit Bid Purchase
Agreement shall be solely an obligation of the Credit Bid Purchaser and the holder of such
assumed Claim shall have no recourse to or Claim against the Debtors or Post-Effective Date
Debtors or their assets and properties.

               (b)     Impairment and Voting: Allowed Priority Non-Tax Claims are
Unimpaired. In accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed
Priority Non-Tax Claims are conclusively presumed to accept the Plan and are not entitled to
vote to accept or reject the Plan, and the votes of such holders shall not be solicited with respect
to such Allowed Priority Non-Tax Claims.

               4.3      Class 3: FLFO Claims.

                (a)     Treatment: Except to the extent that a holder of an Allowed FLFO Claim
agrees to less favorable treatment, on the Effective Date, in full and final satisfaction of such
Allowed FLFO Claim, (a) each holder of an Allowed FLFO Claim shall receive its Pro Rata
Share of the FLFO Distribution Amount and (b) all remaining Allowed FLFO Claims shall be
assumed by the NewCo Entities as modified to the extent set forth in the First Lien Exit Facility
Documents. The Liens securing the FLFO Claims that attach to the Credit Bid Acquired
Interests shall be retained and deemed assigned to the First Lien Exit Facility Agent upon the
Effective Date to secure the obligations under the First Lien Exit Facility.

            (b)   Impairment and Voting: FLFO Claims are Impaired.                      Holders of
Allowed FLFO Claims are entitled to vote on the Plan.

              (c)    Allowance: The FLFO Claims shall be deemed Allowed on the Effective
Date in the FLFO Claims Allowed Amount.

               4.4      Class 4: FLTL Claims.

                (a)   Treatment: Except to the extent that a holder of an Allowed FLTL Claim
agrees to less favorable treatment, on the Effective Date, in full and final satisfaction of and in
exchange for such Allowed FLTL Claim and in consideration for the Credit Bid Transaction,
each holder of an Allowed FLTL Claim shall receive its Pro Rata Share of:

                     (i)      100% of the New Equity Interests, subject to dilution by (w) the
                              Backstop Commitment Equity Premium Interests, (x) the New
                              Equity Interests issued upon exercise of the Subscription Rights,
                              (y) any New Equity Interests issued upon the exercise of the New
                              Money Warrants, SLTL Warrants, or the GUC Warrants, and (z)
                              any New Equity Interests issued pursuant to the Management
                              Incentive Plan; and

                     (ii)     the FLTL Subscription Rights.

            (b)    Impairment and Voting: FLTL Claims are Impaired.                     Holders of
Allowed FLTL Claims are entitled to vote on the Plan.


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               (c)     Allowance: The FLTL Claims shall be deemed Allowed on the Effective
Date in the aggregate amount of the FLTL Claims Allowed Amount.

               4.5       Class 5: SLTL Claims.

                (d)    Treatment: Except to the extent that a holder of an Allowed SLTL Claim
agrees to less favorable treatment, on the Effective Date, in full and final satisfaction of and in
exchange for such Allowed SLTL Claim, each holder of an Allowed SLTL Claim shall receive
its Pro Rata Share of:

                     (iii)     the SLTL Warrants; and

                     (iv)      the SLTL Subscription Rights.

            (e)    Impairment and Voting: SLTL Claims are Impaired.                    Holders of
Allowed SLTL Claims are entitled to vote on the Plan.

               (f)     Allowance: The SLTL Claims shall be deemed Allowed on the Effective
Date in the aggregate amount of the SLTL Claims Allowed Amount.

               4.6       Class 6A: Unsecured Trade Claims.

               (a)    Treatment: Except to the extent that a holder of an Allowed Unsecured
 Trade Claim agrees to less favorable treatment, on the Effective Date, in full and final
 satisfaction of and in exchange for such Allowed Unsecured Trade Claim, each holder of an
 Allowed Unsecured Trade Claim that has executed a Trade Agreement shall receive:

                      (i)      if 14% of the aggregate amount of all Allowed Unsecured Trade
                               Claims is less than or equal to $8,000,000, Cash in an amount
                               equal to 14% of the Allowed amount of such holder’s Allowed
                               Unsecured Trade Claim; or

                     (ii)      if 14% of the aggregate amount of Allowed Unsecured Trade
                               Claims is greater than $8,000,000, its Pro Rata share of
                               $8,000,000.

             (b)    Impairment and Voting: Unsecured Trade Claims are Impaired. Holders
 of Unsecured Trade Claims are entitled to vote on the Plan.

               4.7       Class 6B: General Unsecured Claims.

               (c)     Treatment: Except to the extent that a holder of an Allowed General
 Unsecured Claim agrees to less favorable treatment, on or after the Effective Date, in full and
 final satisfaction of and in exchange for such Allowed General Unsecured Claim, each holder
 of an Allowed General Unsecured Claim shall receive, up to the full amount of such holder’s
 Allowed General Unsecured Claim, its Pro Rata Share of:

                      (i)      the GUC Warrants; and


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                      (ii)      any Residual Distributable Value.

              (b) Impairment and Voting: General Unsecured Claims are Impaired.
Holders of General Unsecured Claims are entitled to vote on the Plan.

               4.8       Class 7: Intercompany Claims.

                (a)    Treatment: On or after the Effective Date, all Intercompany Claims shall
be adjusted, reinstated, or discharged in the Debtors’ or Post-Effective Date Debtors’ discretion.

               (b)      Impairment and Voting: All Allowed Intercompany Claims are deemed
Unimpaired. In accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed
Intercompany Claims are conclusively presumed to accept the Plan and are not entitled to vote to
accept or reject the Plan, and the votes of such holders shall not be solicited with respect to such
Allowed Intercompany Claims.

               4.9       Class 8: Subordinated Securities Claims.

               (a)     Treatment: All Subordinated Securities Claims, if any, shall be
discharged, cancelled, released, and extinguished as of the Effective Date, and will be of no
further force or effect, and holders of Allowed Subordinated Securities Claims will not receive
any distribution on account of such Allowed Subordinated Securities Claims.

               (b)    Impairment and Voting: Allowed Subordinated Securities Claims are
Impaired. In accordance with section 1126(g) of the Bankruptcy Code, holders of Subordinated
Securities Claims are conclusively presumed to reject the Plan and are not entitled to vote to
accept or reject the Plan, and the votes of such holders shall not be solicited with respect to
Subordinated Securities Claims.

               4.10      Class 9: Intercompany Interests.

               (a)    Treatment: On the Effective Date, all Intercompany Interests, in the
Debtors’ or the Post-Effective Date Debtors’ discretion, shall be adjusted, reinstated, cancelled,
or discharged in the Debtors’ or Post-Effective Date Debtors’ discretion.

                (b)    Impairment and Voting: Intercompany Interests are Unimpaired. In
accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed Intercompany
Interests are conclusively presumed to accept the Plan and are not entitled to vote to accept or
reject the Plan, and the votes of such holders shall not be solicited with respect to such Allowed
Intercompany Interests.

               4.11      Class 10: Existing Equity Interests.

               (a)     Treatment: On the Effective Date, all Existing Equity Interests shall be
canceled, released, and extinguished, and will be of no further force or effect.

             (b)     Impairment and Voting:            Allowed Existing Equity Interests are
Impaired. Holders of Existing Equity Interests are not entitled to vote on the Plan.


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                 4.12   Treatment of Vacant Classes.

                Any Claim or Interest in a Class that is considered vacant under Section 3.6 of the
Plan shall receive no Plan Distribution.



ARTICLE V.              MEANS FOR IMPLEMENTATION.

                 5.1    Plan Settlement; Compromise and Settlement of Claims, Interests, and
Controversies.

                Subject to approval by the Bankruptcy Court in connection with confirmation of
the Plan, the provisions of the Plan and other documents entered into in connection with the Plan
constitute a good faith compromise and settlement among the Debtors, the Consenting Creditors
and the Creditors’ Committee of claims, Causes of Action and controversies among such parties,
including all potential claims, Causes of Action and controversies related to the Challenge Period
(as defined in the DIP Order) and any Challenge under the DIP Order, and are in consideration of
the value provided to the Estates by the Consenting Creditors, including the value being provided
to holders of Unsecured Trade Claims and General Unsecured Claims pursuant to Sections 4.6
and 4.7 hereof. The Plan shall be deemed a motion to approve the Plan Settlement and the good
faith compromise and settlement of all of the claims, Causes of Action and controversies
described in the foregoing sentence pursuant to sections 363 and 1123(b)(3) of the Bankruptcy
Code and Bankruptcy Rule 9019. Entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of the Plan Settlement, as well as a finding by the Bankruptcy
Court that the Plan Settlement is fair, equitable, reasonable, and in the best interests of the
Debtors and their Estates. For the avoidance of doubt, nothing in this Plan or the Disclosure
Statement shall require the Creditors’ Committee to take or refrain from taking any action that it
determines in good faith would be inconsistent with its fiduciary duties under applicable law.
Notwithstanding the foregoing, the Creditors’ Committee acknowledges that its entry into the
Plan Settlement and its support for this Plan is consistent with its fiduciary duties.

                Further, pursuant to sections 363 and 1123(b)(3) of the Bankruptcy Code and
Bankruptcy Rule 9019 and in consideration for the distributions and other benefits provided
pursuant to the Plan, the provisions of the Plan shall constitute a good faith compromise of
Claims, Interests, and controversies relating to the contractual, legal, and subordination rights
that a creditor or an Interest holder may have with respect to any Allowed Claim or Allowed
Interest or any distribution to be made on account of such Allowed Claim or Allowed Interest.
Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of the
compromise or settlement of all such Allowed Claims, Allowed Interests, and controversies, as
well as a finding by the Bankruptcy Court that such compromise or settlement is in the best
interests of the Debtors, their Estates, and holders of such Allowed Claims and Allowed
Interests, and is fair, equitable, and reasonable.

                 5.2    Credit Bid Transaction; Confirmation Outside Date.

              (a)     If the Confirmation Date occurs on or before the Confirmation Outside
Date or the Debtors, the Required DIP Lenders, and Requisite FLTL Lenders do not otherwise


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elect to pursue a 363 Credit Bid Transaction pursuant to Section 5.2(c) of the Plan, then, on the
Effective Date, pursuant to sections 363, 1123, 1141(b) and 1141(c) of the Bankruptcy Code, in
accordance with the Credit Bid Purchase Agreement, subject to the satisfaction or waiver of all
applicable closing conditions under the Credit Bid Purchase Agreement, (i) all Credit Bid
Acquired Interests shall be transferred to, and the Credit Bid Acquired Interests owned by the
Debtors shall vest free and clear of all Liens2 (other than (i) any and all Liens securing the FLFO
Claim or the obligations under the First Lien Exit Facility or (ii) Credit Bid Permitted
Encumbrances except in the case of Fieldwood U.A. Interests, which shall vest free and clear of
all Liens other than Liens described in clause (i) above to the extent contemplated by the First
Lien Exit Facility Documents), Claims, charges, Interests, or other encumbrances, including the
Credit Bid Consent Rights and the Credit Bid Preferential Purchase Rights, and (ii) all Credit Bid
Assumed Liabilities shall be assumed by the Credit Bid Purchaser.

                 (b)    In the event that the transaction pursuant to Section 5.2(a) of the Plan is
consummated and in the event of any conflict whatsoever between the terms of the Plan and the
Credit Bid Purchase Agreement with respect to the Credit Bid Transaction, the terms of the
Credit Bid Purchase Agreement shall control, and the Plan shall be deemed to incorporate in
their entirety the terms, provisions, and conditions of the Credit Bid Purchase Agreement.

              (c)      (x) If the Confirmation Date does not occur before the Confirmation
Outside Date or (y) if the estimated amount of Allowed Specified Administrative Expense
Claims to be satisfied under the Plan on or after the Effective Date is projected at any time prior
to the Confirmation Date to exceed the Toggle Amount (the next Business Day after the
occurrence of (x) or (y), the (“Toggle Date”), then, with the consent of the Required DIP
Lenders and Requisite FLTL Lenders, the Debtors shall:

                       (i)         within 7 days of the Toggle Date, file a motion (the “Toggle
                                   Motion”), in form and substance acceptable to the Debtors, the
                                   Required DIP Lenders and Requisite FLTL Lenders, seeking entry
                                   of an order of the Bankruptcy Court approving a credit bid sale
                                   transaction to the Credit Bid Purchaser (or another special purpose
                                   bidding entity formed by or at the direction of the Prepetition
                                   FLTL Lenders) pursuant to section 363 of the Bankruptcy Code on
                                   substantially the same terms as provided in the Credit Bid Purchase
                                   Agreement (which terms shall be acceptable to the Debtors, the
                                   Requisite FLTL Lenders, and Required DIP Lenders), free and
                                   clear of all Liens (other than (i) any and all Liens securing the
                                   FLFO Claim or the First Lien Exit Facility or (ii) Credit Bid
                                   Permitted Encumbrances except in the case of Fieldwood U.A.
                                   Interests, which shall vest free and clear of all Liens other than
                                   Liens described in clause (i) above to the extent contemplated by
                                   the First Lien Exit Facility Documents), Claims, charges, Interests,
                                   or other encumbrances, the Credit Bid Consent Rights and the


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 Provided that the Retained Properties (as defined in the Apache Implementation Agreement) shall be transferred in
accordance with the Decommissioning Agreement.


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                               Credit Bid Preferential Purchase Rights that are applicable to the
                               Credit Bid Acquired Interests;

                    (ii)       within 15 days of the Toggle Date and subject to the reasonable
                               consent of Apache, the Requisite FLTL Lenders, the Required DIP
                               Lenders and the Debtors, amend the Apache Definitive Documents
                               as reasonably required to effectuate the 363 Credit Bid Transaction
                               to the Credit Bid Purchaser (or another special purpose bidding
                               entity formed by or at the direction of the Prepetition FLTL
                               Lenders); provided that no such actions shall require the Apache
                               PSA Parties to alter the economics of the Apache Definitive
                               Documents without the Apache PSA Parties’ express written
                               consent; and

                   (iii)       within 35 days of the Toggle Date, obtain entry of an order of the
                               Bankruptcy Court approving the 363 Credit Bid Transaction to the
                               Credit Bid Purchaser (or another special purpose bidding entity
                               formed by or at the direction of the Prepetition FLTL Lenders).

                (d)      Notwithstanding anything herein to the contrary, upon the occurrence of
the Toggle Date, if the transactions under the Toggle Motion (i) (a) individually or in the
aggregate, results in a reduction of 10% or more of the total PV-10 of total 2P reserves
comprising the assets acquired by the Credit Bid Purchaser (which shall be calculated by
reference to the FWE YE2020 Internal Reserve Report (as of 5.1.21)), (b) results in any contract
rights constituting material assets not being acquired by the Credit Bid Purchaser, (c)
individually or in the aggregate, results in an increase by $40.0 million or more (which, for the
avoidance of doubt, in the case of plugging and abandonment liabilities, shall be calculated on a
present value basis) in liabilities assumed by the Credit Bid Purchaser, (d) relates to any change
in treatment or recovery of the Prepetition FLFO Credit Agreement or First Lien Exit Facility, or
(e) provide for any differences from the transaction under this Plan that are materially adverse to
the interests of the First Lien Exit Facility Agent and the First Lien Exit Facility Lenders, and (ii)
are not (a) reasonably acceptable to the Prepetition FLFO Agent with respect to the foregoing
clause (i)(b) or (e), or (ii) acceptable to the Prepetition FLFO Agent with respect to the foregoing
clause (i)(a),(c), or (d), then all rights of the Prepetition FLFO Secured Parties set forth in the
Prepetition FLFO Credit Agreement and related documents to object to the Toggle Motion on
any grounds are expressly preserved, and all of the Prepetition FLFO Secured Parties’ claims,
rights, and remedies are reserved for all purposes, including the right to obtain treatment and
transaction structure different than as set forth in the Toggle Motion.

              (e)     Notwithstanding anything in the Credit Bid Purchase Agreement or any
agreement entered into pursuant to Section 5.2(c) of the Plan to the contrary, the Credit Bid
Purchaser shall not be liable for any liability or obligation on account of any Claim or Interest
that is compromised, settled, released or discharged pursuant to this Plan.




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               5.3    Equity Rights Offerings.

               (a)    On the Effective Date, the Debtors shall consummate the Equity Rights
Offerings.

                (b)    [FLTL Equity Rights Offering. The FLTL Equity Rights Offering shall be
fully backstopped by the FLTL ERO Backstop Parties in accordance with and subject to the
terms and conditions of the FLTL ERO Backstop Agreement. The right to participate in the
FLTL Equity Rights Offering may not be sold, transferred, or assigned, except in the
circumstances described in the FLTL ERO Backstop Agreement. In accordance with the FLTL
ERO Backstop Agreement and subject to the terms and conditions thereof, each of the FLTL
ERO Backstop Parties, among other things, has agreed, severally but not jointly, to purchase, on
or prior to the Effective Date, its respective [FLTL ERO Backstop Commitment Percentage] of
the [FLTL Unsubscribed Shares]. In exchange for providing the backstop commitment for the
Equity Rights Offering, the FLTL ERO Backstop Parties shall receive, among other things, the
FLTL ERO Backstop Commitment Premium Equity Interests payable in accordance with the
terms of the FLTL ERO Backstop Agreement.]

                (c)    [SLTL Equity Rights Offering. The SLTL Equity Rights Offering shall be
fully backstopped by the SLTL ERO Backstop Parties in accordance with and subject to the
terms and conditions of the SLTL ERO Backstop Agreement. The right to participate in the
SLTL Equity Rights Offering may not be sold, transferred, or assigned, except in the
circumstances described in the SLTL ERO Backstop Agreement. In accordance with the SLTL
ERO Backstop Agreement and subject to the terms and conditions thereof, each of the SLTL
ERO Backstop Parties, among other things, has agreed, severally but not jointly, to purchase, on
or prior to the Effective Date, its respective [SLTL ERO Backstop Commitment Percentage] of
the [SLTL Unsubscribed Shares]. In exchange for providing the backstop commitment for the
SLTL Equity Rights Offering, the SLTL ERO Backstop Parties shall receive, among other
things, the SLTL ERO Backstop Commitment Premium Equity Interests payable in accordance
with the terms of the SLTL ERO Backstop Agreement.]

               5.4    New Equity Interests.

                (a)    On the Effective Date, NewCo is authorized to issue or cause to be issued
and shall, issue the New Equity Interests for eventual distribution in accordance with the terms of
this Plan without further notice to or order of the Bankruptcy Court, act or action under
applicable law, regulation, order, or rule, or the vote, consent, authorization, or approval of any
Person. The New Equity Interests shall be issued and distributed free and clear of all Liens,
Claims, and other Interests. All of the New Equity Interests issued pursuant to the Plan shall be
duly authorized and validly issued.

                (b)     On the Effective Date, NewCo and all holders of the New Equity Interests
then outstanding shall be deemed to be parties to the NewCo Organizational Documents, where
applicable, substantially in the form, or consistent with the term sheets, contained in the Plan
Supplement, without the need for execution by any such holder. The NewCo Organizational
Documents shall be binding on NewCo and its subsidiaries (including the Credit Bid Purchaser)
and all parties receiving, and all holders of, New Equity Interests.


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               5.5     NewCo Organizational Documents

              The NewCo Organizational Documents will be in form and substance acceptable
to the Debtors, Requisite FLTL Lenders, and the Required DIP Lenders. After the Effective
Date, the NewCo Organizational Documents may be amended or restated as permitted by such
documents and the laws of their respective states, provinces, or countries of incorporation or
organization.

               5.6     New Money Warrants, SLTL Warrants and GUC Warrants

                On or after the Effective Date, NewCo is authorized to issue or cause to be issued
and shall, as provided for in this Plan, issue (i) the New Money Warrants for distribution to the
New Money Second Lien Exit Facility Lenders, the SLTL Warrants to the holders of Allowed
SLTL Claims, and the GUC Warrants to the holders of Allowed General Unsecured Claims, in
each case in accordance with the terms of the Plan and Confirmation Order without further
notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order,
or rule, or the vote, consent, authorization, or approval of any Person and (ii) upon exercise of
the New Money Warrants, New Equity Interests issuable upon exercise of the New Money
Warrants. The New Money Warrants, the SLTL Warrants, and GUC Warrants shall be issued
and distributed free and clear of all Liens, Claims, and other Interests. All of the New Money
Warrants, the SLTL Warrants, and GUC Warrants issued pursuant to the Plan, including as
contemplated by the Credit Bid Transaction and the Second Lien Exit Facility Term Sheet, and
all New Equity Interests issued upon exercise of the New Money Warrants, the SLTL Warrants,
and the GUC Warrants shall be duly authorized and validly issued.

               5.7     Plan of Merger

                (a)     On the Effective Date, but after the consummation of the transactions
contemplated by the Credit Bid Purchase Agreement, Fieldwood Energy LLC shall adopt the
Plan of Merger and, in accordance with the terms thereof and solely to the extent therein, upon
the effective time of the Divisional Merger as provided for in the Plan of Merger, the (i) FWE
Assets will be allocated to and vest in FWE I and FWE III pursuant to the terms of the Plan of
Merger, in each case, free and clear of all Plan of Merger Consent Rights and Plan of Merger
Preferential Purchase Rights; and (ii) the FWE I Obligations shall be allocated to and shall vest
in, and shall constitute liabilities and obligations of, FWE I and the FWE III Obligations shall be
allocated to and shall vest in, and shall constitute liabilities and obligations of, FWE III.
Immediately after the effective time of the Divisive Merger as provided in the Plan of Merger,
the only assets, properties and rights of, and the only liabilities and obligations of, (i) FWE I will
be the FWE I Assets and FWE I Obligations and (ii) FWE III will be the FWE III Assets and
FWE III Obligations.

               (b)   All of the membership interests of FWE I and FWE III shall be owned by
Post-Effective Date FWE Parent.

                (c)     Notwithstanding anything to the contrary in the Plan of Merger, any claim
or interest that is satisfied, compromised, settled, released or discharged pursuant to the Plan
shall not constitute an FWE I Obligation or FWE III Obligation.


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               5.8       Single Share

               (a)    On the Effective Date, one share of Post-Effective Date FWE Parent
common stock (the “Single Share”) shall be issued to the Plan Administrator to hold in trust as
custodian for the benefit of the holders of Allowed General Unsecured Claims and the Single
Share shall be recorded on the books and records maintained by the Plan Administrator.

               (b)     On the date that FWE Parent’s Chapter 11 Case is closed in accordance
with Section 5.25 of this Plan, the Single Share issued on the Effective Date pursuant to the Plan
shall be deemed cancelled and of no further force and effect, provided that such cancellation
does not adversely impact the Debtors’ Estates.

               5.9       Plan Administrator

              (a)     Appointment. The Plan Administrator’s retention shall commence on the
Effective Date and shall continue until: (i) the Bankruptcy Court has entered an order or orders
closing each of the Chapter 11 Cases; (ii) the Bankruptcy Court enters an order removing the
Plan Administrator for cause; or (iii) the Plan Administrator voluntarily resigns, upon notice filed
with the Bankruptcy Court, and a successor Plan Administrator is appointed in accordance with
this Plan.

                (b)     Authority. Subject to Section 5.9(c) of this Plan, the Plan Administrator
shall have all the rights, powers, authority, and duties on behalf of each of the Debtors and Post-
Effective Date Debtors, without the need for Bankruptcy Court approval (unless otherwise
indicated), to carry out and implement all provisions of the Plan, including, without limitation,
to:

                      (i)      subject to Section 7 of the Plan, except to the extent Claims have
                               been previously Allowed, control and effectuate the Claims
                               reconciliation process in accordance with the terms of this Plan,
                               including to object to, seek to subordinate, compromise or settle
                               any and all Claims against the Debtors;

                     (ii)      make Distributions to holders of Allowed Claims and Interests in
                               accordance with this Plan, including distributions from the Claims
                               Reserve, Professional Fee Escrow and Plan Administrator Expense
                               Reserve;

                     (iii)     exercise its reasonable business judgment to direct and control the
                               Debtors or Post-Effective Date Debtors under this Plan and in
                               accordance with applicable law as necessary to maximize
                               Distributions to holders of Allowed Claims;

                     (iv)      prepare, file, and prosecute any necessary filings or pleadings with
                               the Bankruptcy Court to carry out the duties of the Plan
                               Administrator as described herein;




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             (v)    engage in the ownership, operation, plugging and abandonment,
                    and decommissioning of the FWE III Assets, including the FWE
                    III Oil & Gas Lease Interests;

            (vi)    abandon any property determined by the Plan Administrator to be
                    of de minimis value or burdensome to the Estates;

           (vii)    other than any Causes of Action released by the Debtors pursuant
                    to this Plan or otherwise, prosecute all Causes of Action on behalf
                    of the Debtors, elect not to pursue any Causes of Action, and
                    determine whether and when to compromise, settle, abandon,
                    dismiss, or otherwise dispose of any such Causes of Action, as the
                    Plan Administrator may determine is in the best interests of the
                    Debtors and their Estates;

           (viii)   retain, employ, terminate, or replace professionals to assist or
                    represent it in performing its duties under this Plan;

            (ix)    pay all fees, expenses, debts, charges, and liabilities of the Post-
                    Effective Date Debtors, including any Restructuring Expenses,
                    from the Plan Administrator Expense Reserve or otherwise;

             (x)    comply with, and cause the Debtors and Post-Effective Date
                    Debtors to comply with, the Debtors’ or Post-Effective Date
                    Debtors’ continuing obligations under the Credit Bid Purchase
                    Agreement;

            (xi)    maintain the books and records and accounts of the Debtors and
                    Post-Effective Date Debtors;

           (xii)    establish and maintain bank accounts in the name of the Post-
                    Effective Date Debtors;

           (xiii)   incur and pay reasonable and necessary expenses in connection
                    with the performance of duties under this Plan, including the
                    reasonable fees and expenses of professionals retained by the Plan
                    Administrator;

           (xiv)    following the Effective Date, pay any fees and expenses in Cash in
                    accordance with Section 2.4 of this Plan;

           (xv)     administer each Debtor’s and Post-Effective Date Debtors’ tax
                    obligations, including (i) filing tax returns and paying tax
                    obligations and (ii) representing the interest and account of each
                    Debtor, each Debtor’s estate, or each Post-Effective Date Debtor
                    before any taxing authority in all matters including, without
                    limitation, any action, suit, proceeding or audit;



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                 (xvi)        prepare and file any and all informational returns, reports,
                              statements, returns or disclosures relating to the Debtors or Post-
                              Effective Date Debtor that are required hereunder, by any
                              Governmental Unit or applicable law;

                (xvii)        pay statutory fees in accordance with Section 12.1 of this Plan;

                (xviii)       perform other duties and functions that are consistent with the
                              implementation of the Plan or as the Plan Administrator reasonably
                              deems to be necessary and proper to carry out the provisions of this
                              Plan; and

                 (xix)        close the Chapter 11 Cases pursuant to Section 5.25 of this Plan.

              (c)      Board of Directors and Officers.

                    (i)       The officers and directors of the Debtors existing before the
                              Effective Date shall be relieved of any and all duties with the
                              respect to the Debtors as of the Effective Date.

                    (ii)      Upon the Effective Date, the Plan Administrator shall serve as the
                              sole officer, director, or manager of each Post-Effective Date
                              Debtor. The Plan Administrator may also elect such additional
                              managers(s) and officer(s) of each Post-Effective Date Debtor as
                              the Plan Administrator deems necessary to implement this Plan
                              and the actions contemplated herein. The Plan Administrator shall
                              also have the power to act by written consent to remove any officer
                              or manager of any Post-Effective Date Debtor at any time with or
                              without cause.

               (d)  Post-Effective Date Operations. After the Effective Date, pursuant to this
Plan, the Plan Administrator shall operate the Post-Effective Date Debtors without any further
approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
Bankruptcy Rules.

                (e)   Post-Effective Date Expenses. On and after the Effective Date, all costs,
expenses and obligations incurred by the Plan Administrator in administering this Plan, the Post-
Effective Date Debtors, or in any manner connected, incidental, or related thereto, in effecting
distributions from the Post-Effective Date Debtors thereunder (including the reimbursement of
reasonable expenses) shall be incurred and paid from the Plan Administrator Expense Reserve.

               (f)    Indemnification. Each of the Estates and the Post-Effective Date Debtors
shall indemnify and hold harmless the Plan Administrator solely in its capacity as such for any
losses incurred in such capacity, except to the extent such losses were the result of the Plan
Administrator’s gross negligence or willful misconduct.

              (g)    Cooperation. The Debtors, the Post-Effective Date Debtors, the Plan
Administrator, the FWE I Sole Manager, and NewCo and its subsidiaries (including the Credit


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Bid Purchaser) and their respective professionals, as appropriate, shall cooperate with each other
in relation to their respective activities and obligations in respect of this Plan, including objecting
to, settling or otherwise reconciling claims as provided herein, and by providing reasonable,
good-faith access to personnel, systems, and books and records and their respective personnel
and consulting with each other to avoid duplication of effort; provided, however, that the
Debtors, the Post-Effective Date Debtors, the Plan Administrator, the FWE I Sole Manager, and
NewCo and its subsidiaries (including the Credit Bid Purchaser) and including its advisors, if
any) shall enter into a confidentiality agreement before sharing of any such documents and/or
information to the extent deemed reasonably necessary by the Post-Effective Date Debtors, the
Credit Bid Purchaser, or Plan Administrator, as applicable.

               5.10    Plan Funding.

               Plan Distributions of Cash shall be funded from, among other things, the Debtors’
Cash on hand (including the proceeds of the DIP Facility), the New Money Consideration, and
the proceeds of the Equity Rights Offerings.

               5.11    The Exit Facilities

                (a)    On the Effective Date, the Credit Bid Purchaser shall execute and deliver
the Exit Facility Documents and such documents shall become effective in accordance with their
terms. On and after the Effective Date, the Exit Facility Documents shall constitute legal, valid,
and binding obligations of the Credit Bid Purchaser and be enforceable in accordance with their
respective terms and such obligations shall not be enjoined or subject to discharge, impairment,
release, avoidance, recharacterization, or subordination under applicable law, the Plan or the
Confirmation Order, and the Credit Bid Purchaser shall be authorized to incur the loans under the
Exit Facilities and use the proceeds of such loans, in each case, in accordance with the terms of
this Plan and the Exit Facility Documents without further notice to or order of the Bankruptcy
Court, act or action under applicable law, regulation, order, or rule, or the vote, consent,
authorization, or approval of any Person. The terms and conditions of the Exit Facility
Documents shall bind the Credit Bid Purchaser and each other Entity that enters into the Exit
Facility Documents.

                (b)    Confirmation shall be deemed approval of the Exit Facility Documents
(including the transactions and related agreements contemplated thereby, and all actions to be
taken, undertakings to be made, and obligations to be incurred and fees and expenses to be paid
by the Debtors or Post-Effective Date Debtors, as applicable, in connection therewith), the First
Lien Exit Facility Commitment Letter (including the transactions contemplated thereby, and all
actions to be taken, undertakings to be made, and obligations and guarantees to be incurred and
fees paid in connection therewith (including any payments under the First Lien Exit Facility
Commitment Letter)), and the Second Lien Backstop Commitment Letter (including the
transactions contemplated thereby, and all actions to be taken, undertakings to be made, and
obligations and guarantees to be incurred and fees paid in connection therewith (including the
Second Lien Backstop Commitment Premium and any other payments under the Backstop
Agreement)), and, to the extent not approved by the Bankruptcy Court previously, the Credit Bid
Purchaser will be authorized to, without further notice to the Bankruptcy Court, (i) execute and
deliver those documents necessary or appropriate to obtain the Exit Facilities, including the Exit


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Facility Documents, each as applicable, and incur and pay any fees and expenses in connection
therewith, and (ii) make any act or take any action under applicable law, regulation, order or rule
or vote, consent, authorization, or approval of any Person, subject to such modifications as the
Credit Bid Purchaser may deem to be necessary to enter into the Exit Facility Documents.

               (c)     On the Effective Date, all of the claims, liens, and security interests to be
granted in accordance with the terms of the Exit Facility Documents (i) shall be legal, binding,
and enforceable liens on, and security interests in, the collateral granted thereunder in accordance
with the terms of the Exit Facility Documents, (ii) shall be deemed automatically attached and
perfected on the Effective Date, subject only to such liens and security interests as may be
permitted under the Exit Facility Documents with the priorities established in respect thereof
under applicable non-bankruptcy law and the New Intercreditor Agreement, and (iii) shall not be
subject to avoidance, recharacterization, or subordination (including equitable subordination) for
any purposes whatsoever and shall not constitute preferential transfers, fraudulent conveyances,
or other voidable transfers under the Bankruptcy Code, this Plan, the Confirmation Order or
applicable non-bankruptcy law. To the extent provided in the Exit Facility Documents, the Exit
Facility Agents are authorized, but not required, to file with the appropriate authorities
mortgages, financing statements and other documents, and to take any other action in order to
evidence, validate, and perfect such liens or security interests.

              (d)    On the Effective Date, the Credit Bid Purchaser, the First Lien Exit
Facility Agent and the Second Lien Exit Facility Agent shall enter into the New Intercreditor
Agreement substantially in the form contained in the Plan Supplement.

               5.12     Apache Definitive Documents.

                (a)    On the Effective Date following the consummation of the Plan of Merger
and the Effective Time (as defined in the Plan of Merger), FWE I shall be authorized to execute,
deliver, and enter into the Apache Definitive Documents, including the Standby Credit Facility
Documents, without further (i) notice to or order or other approval of the Bankruptcy Court,
(ii) act or omission under applicable law, regulation, order, or rule, (iii) vote, consent,
authorization, or approval of any Person, or (iv) action by the holders of Claims or Interests. The
Standby Loan Agreement shall constitute a legal, valid, binding and authorized obligation of
FWE I, enforceable in accordance with its terms and such obligations shall not be enjoined or
subject to discharge, impairment, release, avoidance, recharacterization, or subordination under
applicable law, the Plan or the Confirmation Order. The financial accommodations to be
extended pursuant to the Standby Loan Agreement (and other definitive documentation related
thereto) are reasonable and are being extended, and shall be deemed to have been extended, in
good faith and for legitimate business purposes.

               (b)      FWE I Sole Manager

                      (i)     Upon the Effective Date, the FWE I Sole Manager shall be
                              appointed. Upon the Effective Date, the new governance structure
                              of FWE I will be set forth in the FWE I LLC Agreement.




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                      (ii)     On and after the Effective Date, the FWE I Sole Manager and Plan
                               Administrator shall mutually cooperate to establish any procedures
                               and protocols as they deem necessary to carry out their respective
                               duties; provided, however, that any such procedures and protocols
                               shall be consistent with the terms of this Plan and the Sole
                               Manager Agreement (as defined in the Apache Implementation
                               Agreement).

                   (iii)       FWE I shall indemnify and hold harmless the FWE I Sole Manager
                               solely in its capacity as such for any losses incurred in such
                               capacity, except to the extent such losses were the result of the
                               FWE I Sole Manager’s gross negligence or willful misconduct.

               5.13      Abandonment of Certain Properties

                Immediately upon the occurrence of the Effective Date, the Debtors’ rights to and
interests in executory contracts and unexpired federal leases, rights-of-way, and right-of-use-and-
easements listed on the Schedule of Abandoned Properties are abandoned pursuant to the Plan
without further notice to or order of the Bankruptcy Court pursuant to Sections 105(a) and 554(a)
of the Bankruptcy Code and/or deemed rejected pursuant to Section 365 of the Bankruptcy Code,
as applicable. The Abandoned Properties shall not be allocated to nor vest in the Post-Effective
Date Debtors or NewCo and its subsidiaries, including the Credit Bid Purchaser. Except as
otherwise provided in this Plan or the Confirmation Order, the Debtors, their Estates, and the
Post-Effective Date Debtors shall not be liable for any obligations whatsoever arising from or
relating to the post-Effective Date period with regards to the Abandoned Properties. Nothing in
this Plan or the Confirmation Order shall be construed as barring, waiving, or limiting the United
States’ rights to assert a claim against the Debtors, the Post-Effective Date Debtors or any co-
lessees or predecessors in interest with respect to the Abandoned Properties for any
decommissioning obligations for the Abandoned Properties.

               5.14      Establishment of Claims Reserve.

               On the Effective Date, the Debtors shall, with the consent of the Requisite FLTL
Lenders and the DIP Lenders, establish and fund the Claims Reserve by depositing Cash, in the
amount of the Claims Reserve Amount into the Claims Reserve. The Claims Reserve shall be
used to pay Allowed Administrative Expense Claims, Allowed Priority Tax Claims, Allowed
Priority Non-Tax Claims, Allowed Other Secured Claims (to the extent such Claims do not
receive other treatment), Allowed Unsecured Trade Claims, and Cure Amounts in accordance
with the terms of this Plan. Any amounts remaining in the Claims Reserve after satisfaction of
all Allowed Administrative Expense Claims, Allowed Priority Tax Claims, Allowed Priority
Non-Tax Claims, Allowed Other Secured Claims, Allowed Unsecured Trade Claims, and Cure
Amounts shall constitute Residual Distributable Value.

               5.15      Plan Administrator Expense Reserve.

              On or before the Effective Date, the Plan Administrator shall establish the Plan
Administrator Expense Reserve. On the Effective Date, the Plan Administrator shall deposit


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Cash in the Plan Administrator Expense Reserve Amount into the Plan Administrator Expense
Reserve. The Plan Administrator Expense Reserve shall be used by the Plan Administrator
solely to satisfy the expenses of the Plan Administrator and the Post-Effective Date Debtors as
set forth in this Plan. Any amount remaining in the Plan Administrator Expense Reserve after
the dissolution of all the Post-Effective Date Debtors shall constitute Residual Distributable
Value. In no event shall the Plan Administrator be required or permitted to use its personal funds
or assets for the purposes of carrying out its duties under this Plan.

                5.16   Continued Corporate Existence; Effectuating Documents; Further
Transactions.

                (a)     Except as otherwise provided in the Plan, the Debtors shall continue to
exist after the Effective Date as Post-Effective Date Debtors in accordance with the applicable
laws of the respective jurisdictions in which they are incorporated or organized and pursuant to
the Amended Organizational Documents.

                 (b)    On or after the Effective Date (in any case, following the consummation
of the Credit Bid Transaction), but subsequent to the consummation of the transactions
contemplated by the Credit Bid Purchase Agreement if the Credit Bid Transaction occurs,
without prejudice to the rights of any party to a contract or other agreement with any Post-
Effective Date Debtor, each Post-Effective Date Debtor may, in the sole discretion of the Plan
Administrator, take such action as permitted by applicable law, the applicable Amended
Organizational Documents or other applicable corporate governance documents, the Apache
Definitive Documents, any Additional Predecessor Agreement Documents, as such Post-
Effective Date Debtor may determine is reasonable and appropriate, including, causing: (i) the
consummation of a Divisional Merger as contemplated by the Plan of Merger, (ii) the taking of
any action contemplated by any Additional Predecessor Agreement Documents and the
consummation thereof (including the formation of a new entity or consummation of a divisional
merger), (iii) a Post-Effective Date Debtor to be merged into another Post-Effective Date Debtor
or an affiliate of a Post-Effective Date Debtor; (iv) a Post-Effective Date Debtor to be dissolved;
(v) the legal name of a Post-Effective Date Debtor to be changed; (vi) a Post-Effective Date
Debtor to convert its form of entity; or (vii) the closure of a Post-Effective Date Debtor’s
Chapter 11 Case on the Effective Date or any time thereafter, and such action and documents are
deemed to require no further action or approval (other than any requisite filings required under
the applicable state, provincial and federal or foreign law).

                (c)    On the Effective Date or as soon thereafter as is reasonably practicable (in
any case, following the consummation of the Credit Bid Transaction), but subsequent to the
consummation of the transactions contemplated by the Credit Bid Purchase Agreement if the
Credit Bid Transaction occurs, the Post-Effective Date Debtors, acting through the Plan
Administrator, may take all actions as may be necessary or appropriate to effect any transaction
described in, approved by, or necessary or appropriate to effectuate the Plan, including, (i) the
execution and delivery of appropriate agreements or other documents of merger, consolidation,
restructuring, conversion, disposition, transfer, dissolution, or liquidation containing terms that
are consistent with the terms of the Plan and the Plan Supplement and that satisfy the
requirements of applicable law and any other terms to which the applicable entities may agree;
(ii) the execution and delivery of appropriate instruments of transfer, assignment, assumption, or


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delegation of any Asset, property, right, liability, debt, or obligation on terms consistent with the
terms of the Plan and having other terms to which the applicable parties agree; (iii) the filing of
appropriate organizational documents governing the Post-Effective Date Debtors, including the
Post-Effective Date Debtors’ respective Amended Organizational Documents, and any
amendments or restatements thereto, or any documents governing any Post-Effective Date
Debtor’s reincorporation, merger, consolidation, conversion, or dissolution pursuant to
applicable law and, as necessary, other constituent documents, including, without limitation, the
organizational documents governing non-Debtor subsidiaries, as permitted by the laws of their
respective states of incorporation; (iv) the Restructuring Transactions; and (v) all other actions
that the applicable entities determine to be necessary or appropriate, including, making filings or
recordings that may be required by applicable law.

               5.17    Corporate Action.

                (a)     Upon the Effective Date, all actions contemplated by this Plan shall be
deemed authorized and approved in all respects, including (i) entry into or execution of the
Credit Bid Purchase Agreement and consummation of the transactions contemplated therein,
(ii) the assumption or assumption and assignment of executory contracts and unexpired leases as
provided herein, (iii) the appointment of the Plan Administrator and the FWE I Sole Manager,
(iv) the entry into or execution of the Apache Definitive Documents and all documentation
relating thereto, including the Plan of Merger and Standby Credit Facility Documents, (v) the
entry into or execution of any Additional Predecessor Agreement Documents and all
documentation relating thereto, including any plan of merger, divisional merger, or the creation
of a new entity, (vi) entry into or execution of the Exit Facility Documents (and any other
documentation related thereto, including the New Intercreditor Agreement), (vii) any other
Restructuring Transaction, and (viii) all other actions contemplated by the Plan (whether to occur
before, on, or after the Effective Date), in each case in accordance with and subject to the terms
hereof. All matters provided for in this Plan involving the corporate or limited liability company
structure of the Debtors or the Post-Effective Date Debtors, and any corporate or limited liability
company action required by the Debtors or the Post-Effective Date Debtors in connection with
this Plan shall be deemed to have occurred and shall be in effect, without any requirement of
further action by the security holders, directors, managers, or officers of the Debtors or the Post-
Effective Date Debtors.

               (b)    On or before (as applicable) the Effective Date, the appropriate directors,
officers, and managers of the Debtors, the Plan Administrator, or the FWE I Sole Manager, as
applicable, shall be authorized and directed to issue, execute, and deliver the agreements,
documents, securities, and instruments contemplated by this Plan (or necessary or desirable to
effect the transactions contemplated by this Plan). The authorizations and approvals
contemplated by this Section 5.17 shall be effective notwithstanding any requirements under
nonbankruptcy law.

               5.18    Cancellation of Existing Securities and Agreements.

                Except for the purpose of evidencing a right to and allowing holders of Claims to
receive a distribution under this Plan, and except as otherwise set forth in the Plan, or in the Plan
Supplement or any related agreement, instrument, or document, on the Effective Date, all


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agreements, instruments, notes, certificates, indentures, mortgages, security documents,
reimbursement obligations, and other instruments or documents evidencing or creating any
prepetition Claim or Interest (collectively, the “Cancelled Agreements”) (except that the
following shall not be Cancelled Agreements: (i) the agreements, instruments, notes, certificates,
indentures, mortgages, security documents, and other instruments or documents governing,
relating to and/or evidencing certain Intercompany Interests not modified by the Plan and any
rights of any holder in respect thereof and (ii) the Decommissioning Agreement, and any and all
bonds and letters of credit constituting Decommissioning Security) shall be deemed cancelled
and of no force or effect and the Debtors shall not have any continuing obligations thereunder;
provided, however, that each of the Cancelled Agreements shall continue in effect solely for the
purposes of, (x) allowing holders of Claims or Interests to receive distributions under the Plan on
account of such Claims or Interests and (y) allowing and preserving the rights of the Prepetition
FLFO Administrative Agent, the Prepetition FLFO Collateral Agent, the Prepetition FLTL
Administrative Agent, the Prepetition SLTL Administrative Agent, and the DIP Agent, as
applicable, to (1) make distributions on account of such Claims or Interests; (2) maintain,
enforce, and exercise their respective liens, including any charging liens, as applicable, under the
terms of the applicable agreements, or any related or ancillary document, instrument, agreement,
or principle of law, against any money or property distributed or allocable on account of such
Claims, as applicable; (3) seek compensation and reimbursement for any reasonable and
documented fees and expenses incurred in connection with the implementation of the Plan
required to be paid pursuant to the applicable agreement; (4) maintain, enforce, and exercise any
right or obligation to compensation, indemnification, expense reimbursement, or contribution, or
any other claim or entitlement that the Prepetition FLFO Administrative Agent, the Prepetition
FLFO Collateral Agent, the Prepetition FLTL Administrative Agent, the Prepetition SLTL
Administrative Agent, and the DIP Agent may have under this Plan, the applicable credit
agreements, collateral agreements, or pledge agreements; and (5) appear and raise issues in these
Chapter 11 Cases or in any proceeding in the Bankruptcy Court or any other court after the
Effective Date on matters relating to this Plan or the applicable credit agreements; provided,
further, that the Prepetition FLFO Administrative Agent, the Prepetition FLFO Collateral Agent,
the Prepetition FLTL Administrative Agent, the Prepetition SLTL Administrative Agent, and the
DIP Agent may take such further action to implement the terms of the Plan, including the
Restructuring Transactions, as agreed to with the Debtors or the Post-Effective Date Debtors, as
applicable to the extent not inconsistent with the Confirmation Order or this Plan.

               5.19    Cancellation of Certain Existing Security Interests.

                Upon the full payment or other satisfaction of an Allowed Other Secured Claim,
or promptly thereafter, the holder of such Allowed Other Secured Claim shall deliver to the
Debtors or the Post-Effective Date Debtors, as applicable, any Collateral or other property of a
Debtor held by such holder, together with any termination statements, instruments of
satisfaction, or releases of all security interests with respect to its Allowed Other Secured Claim
that may be reasonably required to terminate any related financing statements, mortgages,
mechanics’ or other statutory Liens, or lis pendens, or similar interests or documents.

               Except, for the avoidance of doubt, with respect to any mortgages, deeds of trust,
Liens, pledges, and any other security interests of the Prepetition FLFO Administrative Agent or
the Exit Facility Agents, after the Effective Date and in accordance with the terms of the


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Confirmation Order, the Debtors or the Post-Effective Date Debtors, at their expense, may, in
their sole discretion, take any action necessary to terminate, cancel, extinguish, and/or evidence
the release of any and all mortgages, deeds of trust, Liens, pledges, and other security interests
with respect to any Claim or Interest, including, without limitation, the preparation and filing of
any and all documents necessary to terminate, satisfy, or release any mortgages, deeds of trust,
Liens, pledges, and other security interests held by the Prepetition Agents, including, without
limitation, UCC-3 termination statements and mortgage release documentation.

               5.20    Intercompany Interests; Corporate Reorganization.

                To the extent reinstated under the Plan, on the Effective Date, the Intercompany
Interests (a) shall be reinstated for the ultimate benefit of the holders of Claims and Interests as
set forth in the Plan (b) without the need for any further corporate action or approval of any
board of directors, board of managers, managers, management, or stockholders of any Debtor or
Post-Effective Date Debtor, as applicable, the certificates and all other documents representing
the Intercompany Interests shall be deemed to be in full force and effect.

               5.21    Restructuring Transactions.

               On the Effective Date or as soon as reasonably practicable thereafter, the Debtors
or the Post-Effective Date Debtors, acting through the Plan Administrator, or the FWE I Sole
Manager, as applicable, may take all actions consistent with the Plan and the Confirmation
Order, as may be necessary or appropriate to effect any transaction described in, approved by,
contemplated by, or necessary to effectuate the Restructuring Transactions under and in
connection with the Plan.

               5.22    Liquidating Trust.

                In the event the Plan Administrator determines, in its discretion, that to carry out
and implement the provisions of this Plan certain assets should be transferred to a liquidating
trust for the benefit of one or more classes of Claims, (1) the terms of the liquidating trust shall
be set forth in a liquidating trust agreement, (2) the liquidating trust shall be structured to qualify
as a “liquidating trust” within the meaning of Treasury Regulations section 301.7701-4(d) and in
compliance with Revenue Procedure 94-45, 1994-2 C.B. 684, and, thus, as a “grantor trust”
within the meaning of sections 671 through 679 of the Tax Code of which the holders of Claims
who become the liquidating trust beneficiaries (as determined for U.S. federal income tax
purposes) are the owners and grantors, consistent with the terms of the Plan, (3) the sole purpose
of the liquidating trust shall be the liquidation and distribution of the assets transferred to the
liquidating trust in accordance with Treasury Regulations section 301.7701-4(d), including the
resolution of Claims, with no objective to continue or engage in the conduct of a trade or
business, (4) all parties (including the Debtors, holders of Claims, and the trustee of the
liquidating trust) shall report consistently with such treatment (including the deemed receipt of
the underlying assets, subject to applicable liabilities and obligations, by the holders of Allowed
Claims, as applicable, followed by the deemed transfer of such assets to the liquidating trust), (5)
all parties shall report consistently with the valuation of the assets transferred to the liquidating
trust as determined by the trustee of the liquidating trust (or its designee), (6) the trustee of the
liquidating trust shall be responsible for filing returns for the trust as a grantor trust pursuant to


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Treasury Regulations section 1.671-4(a), and (7) the trustee of the liquidating trust shall annually
send to each holder of an interest in the liquidating trust a separate statement regarding the
receipts and expenditures of the trust as relevant for U.S. federal income tax purposes. Subject
to definitive guidance from the Internal Revenue Service or a court of competent jurisdiction to
the contrary (including the receipt by the trustee of the liquidating trust of a private letter ruling
if the trustee so requests one, or the receipt of an adverse determination by the Internal Revenue
Service upon audit if not contested by the trustee), the trustee of the liquidating trust may timely
elect to (y) treat any portion of the liquidating trust allocable to Disputed Claims as a “disputed
ownership fund” governed by Treasury Regulations section 1.468B-9 (and make any appropriate
elections) and (z) to the extent permitted by applicable law, report consistently with the
foregoing for state and local income tax purposes. If a “disputed ownership fund” election is
made, (i) all parties (including the Debtors, holders of Claims, and the trustee of the liquidating
trust) shall report for U.S. federal, state, and local income tax purposes consistently with the
foregoing, and (ii) any tax imposed on the liquidating trust with respect to assets allocable to
Disputed Claims (including any earnings thereon and any gain recognized upon the actual or
deemed disposition of such assets) will be payable out of such assets and, in the event of
insufficient Cash to pay any such taxes, the trustee of the liquidating trust may sell all or part of
such assets to pay the taxes. The trustee of the liquidating trust may request an expedited
determination of taxes of the liquidating trust, including any reserve for Disputed Claims, under
section 505(b) of the Bankruptcy Code for all tax returns filed for, or on behalf of, the liquidating
trust for all taxable periods through the dissolution of the liquidating trust.

               5.23    Securities Exemptions.

                (a)    The offer, issuance, and distribution of the New Equity Interests (other
than the Backstop Commitment Premium Equity Interests, the New Money Warrants, or any
New Equity Interests issued upon exercise of the New Money Warrants or under the
Management Incentive Plan), the Subscription Rights, the SLTL Warrants, and the GUC
Warrants to holders of Allowed FLTL Claims, Allowed SLTL Claims, and General Unsecured
Claims, as applicable, under Article IV of this Plan, and the New Equity Interests issued upon
exercise of the Subscription Rights, the SLTL Warrants, or the GUC Warrants, shall be exempt,
pursuant to section 1145 of the Bankruptcy Code, without further act or actions by any Person,
from registration under the Securities Act, and all rules and regulations promulgated thereunder,
and any other applicable securities laws, to the fullest extent permitted by section 1145 of the
Bankruptcy Code. The New Equity Interests, the Subscription Rights, the SLTL Warrants, and
GUC Warrants issued pursuant to section 1145(a) of the Bankruptcy Code may be resold without
registration under the Securities Act or other federal securities laws pursuant to the exemption
provided by section 4(a)(1) of the Securities Act, unless the holder is an “underwriter” with
respect to such Securities, as that term is defined in section 1145(b) of the Bankruptcy Code. In
addition, such section 1145 exempt Securities generally may be resold without registration under
state securities laws pursuant to various exemptions provided by the respective laws of the
several states.

               (b)   The issuance and sale of the Backstop Commitment Premium Equity
Interests, and the New Money Warrants (including any New Equity Interests issued upon
exercise of the New Money Warrants) under this Plan shall be exempt from registration under
the Securities Act or any other applicable securities laws to the fullest extent permitted by


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section 4(a)(2) of the Securities Act and/or Regulation D thereunder. The Backstop
Commitment Premium Equity Interests, and the New Money Warrants (including any New
Equity Interests issued upon exercise of the New Money Warrants) issued in reliance on the
exemption from registration set forth in section 4(a)(2) of the Securities Act and/or Regulation D
thereunder, will be considered “restricted securities” and may not be transferred except pursuant
to an effective registration statement or under an available exemption from the registration
requirements of the Securities Act, such as, under certain conditions, the resale provisions of
Rule 144 of the Securities Act.

                (c)     None of the Debtors, NewCo and its subsidiaries (including the Credit Bid
Purchaser), or any other Person shall be required to provide any further evidence other than the
Plan or the Confirmation Order with respect to the treatment of the New Equity Interests
(including any New Equity Interests issued upon exercise of the Subscription Rights, the New
Money Warrants, the SLTL Warrants or the GUC Warrants), the Subscription Rights, the New
Money Warrants, the SLTL Warrants, or the GUC Warrants, under applicable securities laws.
DTC and any transfer agent (as applicable) shall be required to accept and conclusively rely
upon the Plan or Confirmation Order in lieu of a legal opinion regarding whether the New Equity
Interests (including any New Equity Interests issued upon exercise of the Subscription Rights,
the New Money Warrants, the SLTL Warrants or the GUC Warrants), the Subscription Rights,
the New Money Warrants, the SLTL Warrants, or the GUC Warrants are exempt from
registration and/or eligible for DTC book-entry delivery, settlement, and depository services (to
the extent applicable).

               (d)     Notwithstanding anything to the contrary in this Plan, no Person
(including DTC and any transfer agent) shall be entitled to require a legal opinion regarding the
validity of any transaction contemplated by the Plan, including whether the New Equity Interests
(including any New Equity Interests issued upon exercise of the Subscription Rights, the New
Money Warrants, the SLTL Warrants or the GUC Warrants), the Subscription Rights, the New
Money Warrants, the SLTL Warrants, or the GUC Warrants are exempt from registration and/or
eligible for DTC book-entry delivery, settlement, and depository services.

               5.24   Closing of Chapter 11 Cases.

               After the Effective Date, the Plan Administrator shall be authorized, but not
directed, to submit an order to Bankruptcy Court under certification of counsel that is in form
and substance acceptable to the U.S. Trustee that closes and issues a final decree for each of the
Chapter 11 Cases.



ARTICLE VI.           DISTRIBUTIONS.

               6.1    Distributions Generally.

             The Plan Administrator shall make all Distributions to the appropriate holders of
Allowed Claims in accordance with the terms of this Plan.




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               6.2     No Postpetition Interest on Claims.

               Except with respect to the FLFO Claims of the Prepetition FLFO Secured Parties
or as otherwise specifically provided for in the Plan, the Confirmation Order, or another order of
the Bankruptcy Court, postpetition interest shall not accrue or be paid on any Claims, and no
holder of a Claim shall be entitled to interest accruing on such Claim on or after the Petition
Date.

               6.3     Date of Distributions.

                Except as otherwise provided in this Plan, the Plan Administrator shall make Plan
Distributions to holders of Allowed Claims after (a) funding of the Professional Fee Escrow and
(b) satisfaction in full or establishment of reserves sufficient to pay claims in the Claims Reserve,
as soon as reasonably practicable after the Effective Date and thereafter, the Plan Administrator
shall from time to time determine the subsequent Distribution Dates.

               6.4     Distribution Record Date.

                As of the close of business on the Distribution Record Date, the various lists of
holders of Claims in each Class as maintained by the Debtors or their agents, shall be deemed
closed, and there shall be no further changes in the record holders of any Claims after the
Distribution Record Date. Neither the Debtors nor the Plan Administrator shall have any
obligation to recognize any transfer of a Claim occurring after the close of business on the
Distribution Record Date. In addition, with respect to payment of any Cure Amounts or disputes
over any Cure Amounts, neither the Debtors nor the Plan Administrator shall have any obligation
to recognize or deal with any party other than the non-Debtor party to the applicable executory
contract or unexpired lease, even if such non-Debtor party has sold, assigned, or otherwise
transferred its Claim for a Cure Amount.

               6.5     Distributions after Effective Date

             Distributions made after the Effective Date to holders of Disputed Claims that are
not Allowed Claims as of the Effective Date but which later become Allowed Claims shall be
deemed to have been made on the Effective Date.

               6.6     Delivery of Distributions.

               Subject to Bankruptcy Rule 9010, the Plan Administrator shall make all
Distributions to any holder of an Allowed Claim as and when required by this Plan at (a) the
address of such holder on the books and records of the Debtors or their agents or (b) at the
address in any written notice of address change delivered to the Debtors or the Plan
Administrator, including any addresses included on any transfers of Claim filed pursuant to
Bankruptcy Rule 3001. In the event that any Distribution to any holder is returned as
undeliverable, no Distribution or payment to such holder shall be made unless and until the Plan
Administrator has been notified of the then-current address of such holder, at which time or as
soon thereafter as reasonably practicable such Distribution shall be made to such holder without
interest.



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               6.7     Unclaimed Property.

                One year from the later of: (a) the Effective Date and (b) the date that is ten (10)
Business Days after the date a Claim is first Allowed, all distributions that remain payable on
account of such Claim shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code and shall revert to the Post-Effective Date Debtors or their successors or
assigns, and all claims of any other Person (including the holder of a Claim in the same Class) to
such distribution shall be discharged and forever barred. The Post-Effective Date Debtors and
the Plan Administrator shall have no obligation to attempt to locate any holder of an Allowed
Claim other than by reviewing the Debtors’ books and records and the Bankruptcy Court’s
filings.

        For the avoidance of doubt, a distribution shall be deemed unclaimed if a holder has not:
(a) accepted a particular distribution or, in the case of distributions made by check, negotiated
such check; (b) given notice to the Post-Effective Date Debtors or the Plan Administrator of an
intent to accept a particular distribution; (c) responded to the Debtors’, the Post-Effective Date
Debtors’, or the Plan Administrator’s requests for information necessary to facilitate a particular
distribution; or (d) taken any other action necessary to facilitate such distribution.

               6.8     Satisfaction of Claims.

              Unless otherwise provided herein, any distributions and deliveries to be made on
account of Allowed Claims under the Plan shall be in complete and final satisfaction, settlement,
and discharge of and exchange for such Allowed Claims.

               6.9     Manner of Payment under Plan.

               Except as specifically provided herein, at the option of the Debtors, the Post-
Effective Date Debtors, or the Plan Administrator, as applicable, any Cash payment to be made
under the Plan may be made by a check or wire transfer or as otherwise required or provided in
applicable agreements or customary practices of the Debtors.

               6.10    De Minimis Cash Distributions.

               The Plan Administrator shall not be required to make any payment to any holder
of an Allowed Claim on any Distribution Date of Cash in an amount less than one-hundred
dollars ($100); provided, however, that if any Plan Distribution is not made pursuant to this
Section 6.10, such Distribution shall be added to any subsequent Plan Distribution to be made on
behalf of the holder’s Allowed Claim. The Plan Administrator shall not be required to make any
final Plan Distributions of Cash in an amount less than fifty dollars ($50) to any holder of an
Allowed Claim. If the amount of any final Plan Distributions to holders of Allowed Claims
would be fifty dollars ($50) or less, then no further Plan Distribution shall be made by the Plan
Administrator and any surplus Cash shall be donated and distributed to a Tax Code § 501(c)(3)
tax-exempt organization selected by the Plan Administrator.




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               6.11    No Distribution in Excess of Amount of Allowed Claim.

              Notwithstanding anything to the contrary in this Plan, no holder of an Allowed
Claim shall receive, on account of such Allowed Claim, Plan Distributions in excess of the
Allowed amount of such Claim.

               6.12    Allocation of Distributions Between Principal and Interest.

                Except with respect to the FLFO Claims of the Prepetition FLFO Secured Parties
or as otherwise required by law, consideration received in respect of an Allowed Claim is
allocable first to the principal amount of the Claim (as determined for U.S. federal income tax
purposes) and then, to the extent of any excess, to the remainder of the Claim, including any
Claim for accrued but unpaid interest.

               6.13    Setoffs and Recoupments.

                Each Post-Effective Date Debtor, or such entity’s designee as instructed by such
Post-Effective Date Debtor or the Plan Administrator, may, pursuant to section 553 of the
Bankruptcy Code or applicable nonbankruptcy law, offset or recoup against any Allowed Claim,
and the distributions to be made pursuant to the Plan on account of such Allowed Claim any and
all claims, rights, and Causes of Action that a Post-Effective Date Debtor or its successors may
hold against the holder of such Allowed Claim after the Effective Date to the extent such setoff
or recoupment is either (a) agreed in amount among the relevant Post-Effective Date Debtor(s),
and holder of the Allowed Claim or (b) otherwise adjudicated by the Bankruptcy Court or
another court of competent jurisdiction; provided, that neither the failure to effect a setoff or
recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by a
Post-Effective Date Debtor or its successor of any claims, rights, or Causes of Action that a Post-
Effective Date Debtor or its successor or assign may possess against such holder.

               6.14    Withholding and Reporting Requirements.

                (a)    Withholding Rights. In connection with this Plan, any party issuing any
instrument or making any Plan Distribution described in this Plan shall comply with all
applicable tax withholding and reporting requirements imposed by any Governmental Unit, and
all Plan Distributions pursuant to this Plan and all related agreements shall be subject to any such
withholding or reporting requirements. Notwithstanding the foregoing, each holder of an
Allowed Claim or any other Person that receives a Plan Distribution pursuant to this Plan shall
have responsibility for any taxes imposed by any Governmental Unit, including, income,
withholding, and other taxes, on account of such Plan Distribution. Any party issuing any
instrument or making any Plan Distribution pursuant to this Plan has the right, but not the
obligation, to not make a Plan Distribution until such holder has made arrangements satisfactory
to such issuing or disbursing party for payment of any such tax obligations. Notwithstanding any
provision in the Plan to the contrary, any party issuing any instrument or making any Plan
Distribution pursuant to this Plan shall be authorized to take all actions necessary or appropriate
to comply with such withholding and reporting requirements, including liquidating a portion of
the distribution to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding distributions pending receipt of information necessary to


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facilitate such distributions or establishing any other mechanisms they believe are reasonable and
appropriate.

               (b)     Forms. Any party entitled to receive any property as an issuance or Plan
Distribution under this Plan shall, upon reasonable request, deliver to the Plan Administrator or
such other Person designated by the Plan Administrator (which entity shall subsequently deliver
to the Plan Administrator or such other Person any applicable IRS Form W-8 or Form W-9
received) an appropriate Form W-9 or (if the payee is a non-U.S. Person) Form W-8, unless such
Person is exempt under the Tax Code and so notifies the Plan Administrator or such other
Person. If such request is made by the Plan Administrator or such other Person designated by the
Plan Administrator and the holder fails to comply before the date that is 210 days after the
request is made, the amount of such Plan Distribution shall irrevocably revert to the Debtors and
any Claim in respect of such Plan Distribution shall be discharged and forever barred from
assertion against any Debtor and its respective property.

               6.15   Claims Paid by Third Parties.

                The Plan Administrator shall reduce in full a Claim, and such Claim shall be
Disallowed without a Claims objection having to be filed and without any further notice to or
action, order, or approval of the Bankruptcy Court, to the extent that the holder of such Claim
receives payment in full on account of such Claim from a party that is not the Debtors or the
Post-Effective Date Debtors. If a holder of a Claim receives a Distribution from the Debtors or
the Post-Effective Date Debtors on account of such Claim and also receives payment from a
third party on account of such Claim, such holder shall, within fourteen (14) days of receipt
thereof, repay or return the Plan Distribution to the Debtors or the Post-Effective Date Debtors,
to the extent the holder’s total recovery on account of such Claim from the third party and under
this Plan exceeds the total Allowed amount of such Claim as of the date of any such Plan
Distribution under this Plan. The failure of such holder to timely repay or return such
Distribution shall result in the holder owing the Post-Effective Date Debtors interest on such
amount owed for each Business Day after the 14-day grace period specified above until the
amount is repaid.

               6.16   Claims Payable by Third Parties.

                No Distributions shall be made on account of an Allowed Claim that is payable
pursuant to one of the insurance policies to which the Debtors’ are a beneficiary until the holder
of such Allowed Claim has exhausted all remedies with respect to such insurance policy;
provided, however, that this Section 6.16 shall not restrict Plan Distributions on an Allowed
Claim that is Allowed in an amount that does not exceed an applicable self-insured retention or
deductible amount under one or more such insurance policies. To the extent that one or more of
the insurers agrees to satisfy a Claim in whole or in part, then immediately upon such insurers’
satisfaction, such Claim may be expunged to the extent of any agreed upon satisfaction on the
Claims register by the Plan Administrator without a Claims objection having to be filed and
without any further notice to or action, order, or approval of the Bankruptcy Court.




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ARTICLE VII.          PROCEDURES FOR DISPUTED CLAIMS.

               7.1    Allowance of Claims.

               Except as expressly provided in the Plan or in any order entered in the Chapter 11
Cases before the Effective Date (including the Confirmation Order), no Claim shall become an
Allowed Claim unless and until such Claim is deemed Allowed pursuant to the Plan or a Final
Order, including the Confirmation Order (when it becomes a Final Order), Allowing such Claim.
On and after the Effective Date, each of the Debtors or the Post-Effective Date Debtors shall
have and retain any and all rights and defenses such Debtor had with respect to any Claim
immediately before the Effective Date.

               7.2    Claims Objections.

               Except insofar as a Claim is Allowed under the Plan, the Debtors or the Post-
Effective Date Debtors (acting through the Plan Administrator), as applicable, shall be entitled to
object to Claims. Except as otherwise expressly provided in the Plan and notwithstanding any
requirements that may be imposed pursuant to Bankruptcy Rule 9019, after the Effective Date,
the Post-Effective Date Debtors and the Plan Administrator shall have the authority (a) to file,
withdraw, or litigate to judgment objections to Claims; (b) to settle or compromise any Disputed
Claim without any further notice to or action, order, or approval by the Bankruptcy Court; and
(c) to administer and adjust the Debtors’ claims register to reflect any such settlements or
compromises without any further notice to or action, order, or approval by the Bankruptcy Court.

               7.3    Estimation of Claims.

                 Before or after the Effective Date, the Debtors, the Post-Effective Date Debtors,
and the Plan Administrator may at any time request that the Bankruptcy Court estimate any
Disputed Claim that is contingent or unliquidated pursuant to section 502(c) of the Bankruptcy
Code for any reason, regardless of whether any party previously has objected to such Claim or
whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall
retain jurisdiction to estimate any such Claim, including during the litigation of any objection to
any Claim or during the appeal relating to such objection. In the event that the Bankruptcy Court
estimates any Disputed, contingent, or unliquidated Claim, that estimated amount shall constitute
either the Allowed amount of such Claim or a maximum limitation on such Claim for all
purposes under the Plan (including for purposes of distributions), as determined by the
Bankruptcy Court. If the estimated amount constitutes a maximum limitation of the amount of
such Claim, the Debtors, the Post-Effective Date Debtors, or the Plan Administrator, as
applicable, may elect to pursue any supplemental proceedings to object to any ultimate
distribution on such Claim. Notwithstanding section 502(j) of the Bankruptcy Code, in no event
shall any holder of a Claim that has been estimated pursuant to section 502(c) of the Bankruptcy
Code or otherwise be entitled to seek reconsideration of such estimation unless such holder has
filed a motion requesting the right to seek such reconsideration on or before 21 days after the
date on which such Claim is estimated.




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               7.4    Adjustment to Claims Register Without Objection.

                Any duplicate Claim or Interest or any Claim or Interest that has been paid or
satisfied, or any Claim that has been amended or superseded, may be adjusted or expunged on
the claims register by the Debtors or the Post-Effective Date Debtors (at the direction of the Plan
Administrator) upon stipulation between the parties in interest without a Claims objection having
to be filed and without any further notice or action, order, or approval of the Bankruptcy Court.

               7.5    Time to File Objections to Claims.

               Any objections to a Claim shall be filed on or before the date that is the later of
(a) 180 days after the Effective Date and (b) such later date as may be fixed by the Bankruptcy
Court, after notice and a hearing, upon a motion by the Post-Effective Date Debtors, as such
deadline may be extended from time to time.

               7.6    Disallowance of Claims.

                Any Claims held by Entities from which property is recoverable under sections
542, 543, 550, or 553 of the Bankruptcy Code or that is a transferee of a transfer avoidable under
sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code, shall be
deemed Disallowed pursuant to section 502(d) of the Bankruptcy Code, and holders of such
Claims may not receive any distributions on account of such Claims until such time as such
Causes of Action against that Entity have been settled or a Bankruptcy Court order with respect
thereto has been entered and all sums due, if any, to the Debtors by that Entity have been turned
over or paid to the Debtors or the Post-Effective Date Debtors.

               7.7    Amendments to Claims.

               On or after the Effective Date, except as provided in the Plan or the Confirmation
Order, a Claim may not be filed or amended without the prior authorization of the Bankruptcy
Court, and the Post-Effective Date Debtors.

               7.8    No Distributions Pending Allowance.

               If an objection, motion to estimate, or other challenge to a Claim is filed, no
payment or distribution provided under the Plan shall be made on account of such Claim unless
and until (and only to the extent that) such Claim becomes an Allowed Claim.

               7.9    Distributions After Allowance.

                To the extent that a Disputed Claim ultimately becomes an Allowed Claim,
distributions (if any) shall be made to the holder of such Allowed Claim in accordance with the
provisions of the Plan. As soon as practicable after the date on which the order or judgment of
the Bankruptcy Court allowing any Disputed Claim becomes a Final Order, the Plan
Administrator shall provide to the holder of such Allowed Claim the distribution (if any) to
which such holder is entitled under the Plan as of the Effective Date, without any interest to be
paid on account of such Claim unless required by the Bankruptcy Code.



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               7.10   Claims Resolution Procedures Cumulative.

              All of the Claims and objection, estimation, and resolution procedures are
cumulative and not exclusive of one another. Claims may be estimated and subsequently
compromised, settled, withdrawn, or resolved in accordance with the Plan or any mechanism
approved by the Bankruptcy Court.



ARTICLE VIII.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

               8.1    General Treatment.

                (a)     As of and subject to the occurrence of the Effective Date, all executory
contracts and unexpired leases to which any of the Debtors are parties shall be deemed rejected,
unless such contract or lease (i) was previously assumed or rejected by the Debtors pursuant to
an order of the Bankruptcy Court; (ii) previously expired or terminated pursuant to its own terms
or by agreement of the parties thereto; (iii) is the subject of a motion to assume filed by the
Debtors on or before the Confirmation Date; (iv) is identified in Sections 8.4 or 8.5 of the Plan;
or (v) is identified for assumption on the Schedule of Assumed Contracts included in the Plan
Supplement, which Schedule of Assumed Contracts will identify executory contracts or
unexpired leases for assumption and assignment to the Credit Bid Purchaser in accordance with
the Credit Bid Purchase Agreement. To the extent the Decommissioning Agreement is an
executory contract, it will be assumed and become the obligation of FWE I under the Plan of
Merger.

               (b)    Subject to the occurrence of the Effective Date, entry of the Confirmation
Order by the Bankruptcy Court shall constitute approval of the assumptions, assumptions and
assignments, or rejections provided for in the Plan pursuant to sections 365(a) and 1123 of the
Bankruptcy Code and a determination by the Bankruptcy Court that the Credit Bid Purchaser or
Post-Effective Date Debtors, as applicable, have provided adequate assurance of future
performance under such assumed executory contracts and unexpired leases. Each executory
contract and unexpired lease assumed or assumed and assigned pursuant to the Plan shall vest in
and be fully enforceable by the Credit Bid Purchaser or Post-Effective Date Debtors, as
applicable, in accordance with its terms, except as modified by the provisions of the Plan, any
order of the Bankruptcy Court authorizing and providing for its assumption, or applicable law.

                (c)    To the maximum extent permitted by law, to the extent any provision in
any executory contract or unexpired lease assumed pursuant to the Plan restricts or prevents, or
purports to restrict or prevent, or is breached or deemed breached by, the assumption of such
executory contract or unexpired lease (including any “change of control” provision), then such
provision shall be deemed modified such that the transactions contemplated by the Plan shall not
entitle the non-Debtor party thereto to terminate such executory contract or unexpired lease or to
exercise any other default-related rights with respect thereto.

               (d)     Subject to the terms of the Credit Bid Purchase Agreement, the Debtors
reserve the right, on or before 5:00 p.m. (prevailing Central Time) on the date that is seven (7)
days before the Confirmation Hearing, or such other time as may be agreed in writing between


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the Debtors and the applicable counterparty, to amend the Schedule of Assumed Contracts to add
or remove any executory contract or unexpired lease; provided that if the Confirmation Hearing
is adjourned or continued, such amendment right shall be extended to 5:00 p.m. (prevailing
Central Time) on the date that is seven (7) days before the rescheduled or continued
Confirmation Hearing, and this provision shall apply in the case of any and all subsequent
adjournments and continuances of the Confirmation Hearing; provided, further that, subject to
the terms of the Credit Bid Purchase Agreement, the Debtors may amend the Schedule of
Assumed Contracts to add or delete any executory contracts or unexpired leases after such date
to the extent agreed with the relevant counterparties and entry of an order of the Bankruptcy
Court.

               8.2     Determination of Cure Amounts and Deemed Consent.

              (a)     Any Cure Amount shall be satisfied, pursuant to section 365(b)(1) of the
Bankruptcy Code, by payment of the Cure Amount, as reflected in the applicable cure notice, in
Cash on the Effective Date in accordance with the terms of the Credit Bid Purchase Agreement
or on such other terms as the parties to such executory contracts or unexpired leases and the
Debtors may otherwise agree.

                (b)     The Debtors shall file, as part of the Plan Supplement, the Schedule of
Assumed Contracts. At least ten (10) days before the Confirmation Hearing, the Debtors shall
serve a notice on parties to executory contracts or unexpired leases to be assumed or assumed
and assigned reflecting the Debtors’ intention to potentially assume or assume and assign to the
Credit Bid Purchaser in accordance with the terms of the Credit Bid Purchase Agreement the
contract or lease in connection with this Plan or the Credit Bid Purchase Agreement and, where
applicable, setting forth the proposed Cure Amount (if any). Any objection by a counterparty
to an executory contract or unexpired lease to the proposed assumption, assumption and
assignment, or related Cure Amount must be filed, served, and actually received by the
Debtors within ten (10) days of the service of the assumption notice, or such shorter period
as agreed to by the parties or authorized by the Bankruptcy Court. Any counterparty to an
executory contract or unexpired lease that does not timely object to the notice of the proposed
assumption of such executory contract or unexpired lease shall be deemed to have assented to
assumption of the applicable executory contract or unexpired lease notwithstanding any
provision thereof that purports to (i) prohibit, restrict, or condition the transfer or assignment of
such contract or lease; (ii) terminate or modify, or permit the termination or modification of, a
contract or lease as a result of any direct or indirect transfer or assignment of the rights of any
Debtor under such contract or lease or a change, if any, in the ownership or control to the extent
contemplated by the Plan; (iii) increase, accelerate, or otherwise alter any obligations or
liabilities of any Debtor, or any Post-Effective Date Debtor, under such executory contract or
unexpired lease; or (iv) create or impose a Lien upon any property or Asset of any Debtor, or
Post-Effective Date Debtor, as applicable. Each such provision shall be deemed to not apply to
the assumption of such executory contract or unexpired lease pursuant to the Plan and
counterparties to assumed executory contracts or unexpired leases that fail to object to the
proposed assumption in accordance with the terms set forth in this Section 8.2(b), shall forever
be barred and enjoined from objecting to the proposed assumption or to the validity of such
assumption (including with respect to any Cure Amounts or the provision of adequate assurance



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of future performance), or taking actions prohibited by the foregoing or the Bankruptcy Code on
account of transactions contemplated by the Plan.

               (c)     If there is an Assumption Dispute pertaining to assumption of an
executory contract or unexpired lease (other than a dispute pertaining to a Cure Amount), such
dispute shall be heard by the Bankruptcy Court before such assumption being effective;
provided, that, subject to the terms of the Credit Bid Purchase Agreement, the Debtors or Post-
Effective Date Debtors, as applicable, may settle any Assumption Dispute without any further
notice to any party or any action, order, or approval of the Bankruptcy Court.

                (d)    To the extent an Assumption Dispute relates solely to the Cure Amount,
subject to the terms of the Credit Bid Purchase Agreement, the Debtors may assume and/or
assume and assign the applicable executory contract or unexpired lease before the resolution of
the Assumption Dispute; provided, that the Post-Effective Date Debtors or Credit Bid Purchaser,
as applicable shall be responsible to pay the determined amount to be Allowed by the
Bankruptcy Court or otherwise agreed to by such non-Debtor party. The Debtors or Post-
Effective Date Debtors, as applicable, subject to the terms of the Credit Bid Purchase
Agreement, may settle any dispute regarding the Cure Amount or the nature thereof without any
further notice to any party or any action, order, or approval of the Bankruptcy Court.

               (e)     Assumption or assumption and assignment of any executory contract or
unexpired lease pursuant to the Plan or otherwise shall result in the full release and satisfaction
of any Claims against any Debtor or defaults by any Debtor, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest
composition or other bankruptcy-related defaults, arising under any assumed executory contract
or unexpired lease at any time before the date that the Debtors assume or assume and assign such
executory contract or unexpired lease. Any proofs of Claim filed with respect to an executory
contract or unexpired lease that has been assumed or assumed and assigned shall be deemed
Disallowed and expunged, without further notice to or action, order, or approval of the
Bankruptcy Court or any other Person, upon the assumption of such executory contract or
unexpired leases.

               8.3    Rejection Damages Claims.

              In the event that the rejection of an executory contract or unexpired lease
hereunder results in damages to the other party or parties to such contract or lease, any
Claim for such damages shall be classified and treated in Class 6B (General Unsecured
Claims). A proof of such Claim must be filed with the Bankruptcy Court and served upon
counsel for the Debtors, Post-Effective Date Debtor, or the Plan Administrator, as
applicable, by the later of (i) thirty (30) days after the filing and service of the notice of the
occurrence of the Effective Date; and (ii) thirty (30) days after entry of an Order rejecting
such contract or lease if such contract or lease is the subject of a pending Assumption
Dispute.




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               8.4     Survival of the Debtors’ Indemnification Obligations.

                Notwithstanding anything in the Plan (including Section 10.3 of the Plan), any
Indemnification Obligation to indemnify current and former officers, directors, members,
managers, agents, or employees with respect to all present and future actions, suits, and
proceedings against the Debtors or such officers, directors, members, managers, agents, or
employees based upon any act or omission for or on behalf of the Debtors shall (a) remain in full
force and effect, (b) not be discharged, impaired, or otherwise affected in any way, including by
the Plan, the Plan Supplement, or the Confirmation Order, (c) not be limited, reduced or
terminated after the Effective Date, and (d) survive unimpaired and unaffected irrespective of
whether such Indemnification Obligation is owed for an act or event occurring before, on or after
the Petition Date, provided, that the Post-Effective Date Debtors shall not indemnify officers,
directors, members, or managers, as applicable, of the Debtors for any claims or Causes of
Action that are not indemnified by such Indemnification Obligation. All such obligations shall
be deemed and treated as executory contracts to be assumed by the Debtors under the Plan and
shall continue as obligations of the Post-Effective Date Debtors. Any claim based on the
Debtors’ obligations under the Plan shall not be a Disputed Claim or subject to any objection, in
either case, by reason of section 502(e)(1)(B) of the Bankruptcy Code.

               8.5     Insurance Policies.

               (a)     All insurance policies to which any Debtor is a party as of the Effective
Date, including any D&O Policy, shall be deemed to be and treated as executory contracts and
shall be assumed by and vest in the applicable Debtors or the Post-Effective Date Debtors and
shall continue in full force and effect thereafter in accordance with their respective terms.
Coverage for defense and indemnity under the D&O Policy shall remain available to all
individuals within the definition of “Insured” in any D&O Policy.

                (b)     In addition, after the Effective Date, the Post-Effective Date Debtors or
Plan Administrator shall not terminate or otherwise reduce the coverage under any D&O Policy
(including any “tail policy”) in effect as of the Petition Date, and any current and former
directors, officers, members, managers, agents or employees of any of the Debtors who served in
such capacity at any time before the Effective Date shall be entitled to the full benefits of any
such D&O Policy for the full term of such policy regardless of whether such members,
managers, directors, and/or officers remain in such positions after the Effective Date to the extent
set forth in such policies.

               8.6     Modifications, Amendments, Supplements, Restatements, or Other
Agreements.

               Unless otherwise provided herein or by separate order of the Bankruptcy Court,
each executory contract and unexpired lease that is assumed shall include any and all
modifications, amendments, supplements, restatements, or other agreements made directly or
indirectly by any agreement, instrument, or other document that in any manner affects such
executory contract or unexpired lease, without regard to whether such agreement, instruments, or
other document is listed in any notices of assumed contracts.



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               8.7    Reservation of Rights.

               (a)     Neither the exclusion nor the inclusion by the Debtors of any contract or
lease on any exhibit, schedule, or other annex to the Plan or in the Plan Supplement, nor anything
contained in the Plan, shall constitute an admission by the Debtors that any such contract or lease
is or is not an executory contract or unexpired lease or that the Debtors or the Post-Effective
Date Debtors or their respective affiliates has any liability thereunder.

                (b)    Except as explicitly provided in the Plan, nothing in the Plan shall waive,
excuse, limit, diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other
rights of the Debtors or the Post-Effective Date Debtors under any executory or non-executory
contract or unexpired or expired lease.

               (c)    Nothing in the Plan shall increase, augment, or add to any of the duties,
obligations, responsibilities, or liabilities of the Debtors or the Post-Effective Date Debtors, as
applicable, under any executory or non-executory contract or unexpired or expired lease.

               (a)    If there is a dispute regarding whether a contract or lease is or was
executory or unexpired at the time of its assumption under the Plan, the Debtors or the Post-
Effective Date Debtors, as applicable, shall have thirty (30) days following entry of a Final Order
resolving such dispute to alter their treatment of such contract or lease.



ARTICLE IX.           CONDITIONS PRECEDENT TO OCCURRENCE OF EFFECTIVE
                      DATE.

               9.1    Conditions Precedent to Effective Date.

               The Effective Date shall not occur unless all of the following conditions precedent
have been satisfied or waived in accordance with the Plan:

               (a)    the Plan Supplement has been filed;

                (b)    the Bankruptcy Court shall have entered the Confirmation Order, which
order shall be a Final Order;

                 (c)   the Definitive Documents shall be (i) consistent with the Restructuring
Support Agreement and otherwise acceptable to the parties thereto consistent with their
respective consent and approval rights as set forth in the Restructuring Support Agreement [and
(ii) acceptable to the Prepetition FLFO Administrative Agent and the First Lien Exit Facility
Agent solely to the extent provided and consistent with their consent and approval rights as set
forth in this Plan;

               (d)      the Restructuring Support Agreement shall not have been terminated and
shall remain in full force and effect;




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             (e)     all conditions precedent to the effectiveness of the Apache Definitive
Documents shall have been satisfied or waived by the party having the right to waive the same;

               (f)    the Debtors shall have implemented the Restructuring Transactions and all
other transactions contemplated by the Plan and the Restructuring Support Agreement in a
manner consistent in all respects with the Plan and Restructuring Support Agreement;

               (g)      the Amended Organizational Documents shall become effective and in full
force and effect as of the Effective Date;

               (h)      the NewCo Organizational Documents shall become effective and in full
force and effect as of the Effective Date;

            (i)     the conditions precedent to the effectiveness of the First Lien Exit Facility
Commitment Letter shall have been satisfied or duly waived in writing;

            (j)     the conditions precedent to the effectiveness of the Second Lien Backstop
Commitment Letter shall have been satisfied or duly waived in writing;

             (k)     the conditions precedent to the effectiveness of the FLTL ERO Backstop
Agreement shall have been satisfied or duly waived in writing;

             (l)     the conditions precedent to the effectiveness of the SLTL ERO Backstop
Agreement shall have been satisfied or duly waived in writing

                (m)    the conditions precedent to the effectiveness of the First Lien Exit Facility
(as determined in the First Lien Exit Facility Documents and the First Lien Exit Facility
Commitment Letter) shall have been satisfied or duly waived in writing and the First Lien Exit
Facility Lenders and the First Lien Exit Facility shall have closed substantially simultaneously
with the effectiveness of the Plan;

               (n)    the conditions precedent to the effectiveness of the Second Lien Exit
Facility (as determined in the Second Lien Exit Facility Documents and the Second Lien
Backstop Commitment Letter) shall have been satisfied or duly waived in writing and the Second
Lien Exit Facility Lenders and the Second Lien Exit Facility shall have closed substantially
simultaneously with the effectiveness of the Plan;

               (o)      the New Intercreditor Agreement shall have been executed and delivered
by each of the parties thereto;

               (p)     the Equity Rights Offerings shall have been consummated;

               (q)   the conditions precedent to the effectiveness of the Credit Bid Purchase
Agreement shall have been satisfied or duly waived in writing in accordance with the terms of
the Credit Bid Purchase Agreement and the Credit Bid Transaction Closing shall have occurred
or will occur simultaneously with the effectiveness of the Plan, including, without limitation,
payment of the New Money Consideration by Buyers to Sellers at Closing pursuant to the terms
thereof;


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               (r)     the Debtors shall have obtained all authorizations, consents, regulatory
approvals, rulings, or documents (other than any such authorization, consent, regulatory
approval, ruling, or document that is customarily obtained or completed after assignment,
conveyance or vesting of an applicable Asset) that, after giving effect to the entry of the
Confirmation Order, are necessary to implement and effectuate the Plan, including Bankruptcy
Court approval, and each of the other transactions contemplated by the Restructuring, and such
authorizations, consents, regulatory approvals, rulings, or documents shall not be subject to
unfulfilled conditions and shall be in full force and effect, and all applicable regulatory waiting
periods shall have expired;

             (s)    no event of default under the DIP Documents shall have occurred or be
continuing and an acceleration of the obligations or termination of the DIP Lenders’
commitments under the DIP Documents shall not have occurred; and

              (t)    all Restructuring Expenses shall have been indefeasibly paid in full in
accordance with Section 2.6.

               9.2     Waiver of Conditions Precedent.

                (a)     With the prior written consent of the Required DIP Lenders, the Requisite
FLTL Lenders, the conditions precedent to the occurrence of the Effective Date set forth in
Section 9.1 of the Plan may be waived, in whole or in part, by the Debtors, without leave of or
order of the Bankruptcy Court; provided that, a waiver of the conditions precedent to the
occurrence of the Effective Date set forth in Sections 9.1(c), (d), (e), and (f) of the Plan shall also
require the prior written consent of the Apache PSA Parties; provided, further, that a waiver of
any of the conditions precedent to the occurrence of the Effective Date in Section 9.1 above shall
also require the prior written (i) consent of the Prepetition FLFO Administrative Agent and the
Exit First Lien Agent for all conditions precedent other than Section 9.1(d),(r), and (s) and (ii)
reasonable consent for the conditions precedent in Section 9.1(r) and (s); provided, further, that a
waiver of the conditions precedent to the occurrence of the Effective Date set forth in Sections
9.1(l), (p) and (t) shall also require the prior written consent of the Requisite SLTL Lenders. If
any such condition precedent is waived pursuant to this section and the Effective Date occurs,
each party agreeing to waive such condition precedent shall be estopped from withdrawing such
waiver after the Effective Date or otherwise challenging the occurrence of the Effective Date on
the basis that such condition was not satisfied, the waiver of such condition precedent shall
benefit from the “equitable mootness” doctrine, and the occurrence of the Effective Date shall
foreclose any ability to challenge the Plan in any court. If the Plan is confirmed for fewer than
all of the Debtors, only the conditions applicable to the Debtor or Debtors for which the Plan is
confirmed must be satisfied or waived for the Effective Date to occur.

               (b)     Except as otherwise provided herein, all actions required to be taken on
the Effective Date shall take place and shall be deemed to have occurred simultaneously and no
such action shall be deemed to have occurred before the taking of any other such action.

               (c)     The stay of the Confirmation Order pursuant to Bankruptcy Rule 3020(e)
shall be deemed waived by and upon the entry of the Confirmation Order, and the Confirmation
Order shall take effect immediately upon its entry.


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               9.3    Effect of Failure of a Condition.

                If the conditions listed in Section 9.1 of the Plan are not satisfied or waived in
accordance with Section 9.2 of the Plan on or before the Effective Date, the Plan shall be null
and void in all respects and nothing contained in the Plan or the Disclosure Statement shall
(a) constitute a waiver or release of any Claims by or against or any Interests in the Debtors,
(b) prejudice in any manner the rights of any Person, or (c) constitute an admission,
acknowledgement, offer, or undertaking by the Debtors, any Consenting Creditors, or any other
Person.



ARTICLE X.            EFFECT OF CONFIRMATION.

               10.1   Binding Effect.

                Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code, and
subject to the occurrence of the Effective Date, on and after the entry of the Confirmation Order,
the provisions of the Plan shall bind every holder of a Claim against or Interest in any Debtor and
inure to the benefit of and be binding on such holder’s respective successors and assigns,
regardless of whether the Claim or Interest of such holder is Impaired under the Plan and
whether such holder has accepted the Plan.

               10.2   Vesting of Assets.

                Except as otherwise provided in the Plan, the Confirmation Order, or any Plan
Supplement, on and after the Effective Date, pursuant to sections 1141(b) and (c) of the
Bankruptcy Code, all Assets of the Estates, including all claims, rights, and Causes of Action and
any property acquired by the Debtors or the Post-Effective Date Debtors during the Chapter 11
Cases or under or in connection with the Plan shall vest in each respective Post-Effective Date
Debtor free and clear of all Claims, Liens, charges, other encumbrances, and interests (other than
any and all Liens securing the FLFO Claims or the obligations under the First Lien Exit Facility).
Subject to the terms of the Plan, on and after the Effective Date, the Post-Effective Date Debtors
and Plan Administrator may operate their businesses and may use, acquire, and dispose of
property and prosecute, compromise, or settle any Claims (including any Administrative
Expense Claims) and Causes of Action without notice to, supervision of or approval by the
Bankruptcy Court and free and clear of any restrictions of the Bankruptcy Code or the
Bankruptcy Rules other than restrictions expressly imposed by the Plan or the Confirmation
Order. Without limiting the foregoing, the Post-Effective Date Debtors may pay the charges that
they incur on or after the Confirmation Date for Professional Persons’ fees, disbursements,
expenses, or related support services without application to the Bankruptcy Court.

               10.3   Discharge of Claims Against and Interests in Debtors.

               Upon the Effective Date, except as otherwise expressly provided in the Plan or in
the Confirmation Order, the distributions, rights and treatment to be made under the Plan, shall
be in complete satisfaction, discharge, and release, effective as of the Effective Date, of Claims,
Interests, and Causes of Action of any nature whatsoever, including any interest accrued on


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Claims or Interests from and after the Petition Date, whether known or unknown, against,
liabilities of, Liens on, obligations of, rights against, and Interests in, the Debtors or any of their
Assets or properties, regardless of whether any property shall have been distributed or retained
pursuant to the Plan on account of such Claims and Interests, including demands, liabilities, and
Causes of Action that arose before the Effective Date, any liability (including withdrawal
liability) to the extent such Claims or Interests relate to services performed by employees of the
Debtors before the Effective Date and that arise from a termination of employment, any
contingent or non-contingent liability on account of representations or warranties issued on or
before the Effective Date, any obligations incurred in connection with or related to bonds and
letters of credit (and any related agreements) issued before the Petition Date on behalf of the
Debtors, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the
Bankruptcy Code, in each case whether or not: (a) a proof of claim based upon such debt or right
is filed or deemed filed pursuant to section 501 of the Bankruptcy Code; (b) a Claim or Interest
based upon such debt, right, or Interest is Allowed pursuant to section 502 of the Bankruptcy
Code; or (c) the holder of such a Claim or Interest has accepted the Plan. Any default or “event
of default” by the Debtors or affiliates with respect to any Claim or Interest that existed
immediately before or on account of the filing of the Chapter 11 Cases shall be deemed cured
(and no longer continuing) as of the Effective Date. The Confirmation Order shall be a judicial
determination of the discharge of all Claims and Interests subject to the Effective Date occurring.

                Each holder (as well as any trustee or agent on behalf of such holder) of a Claim
or Interest, and any affiliate of such holder, shall be deemed to have forever waived, released,
and discharged the Debtors, to the fullest extent permitted by section 1141 of the Bankruptcy
Code, of and from any and all Claims, Interests, rights, and liabilities that arose before the
Effective Date. Except as otherwise provided in the Plan, upon the Effective Date, all such
holders of Claims and Interests and their affiliates shall be forever precluded and enjoined,
pursuant to sections 105, 524, and 1141 of the Bankruptcy Code, from prosecuting or asserting
any such discharged Claim against or terminated Interest in any Debtor or any Post-Effective
Date Debtor

               10.4    Pre-Confirmation Injunctions and Stays.

               Unless otherwise provided in the Plan or a Final Order of the Bankruptcy Court,
all injunctions and stays arising under or entered during the Chapter 11 Cases, whether under
sections 105 or 362 of the Bankruptcy Code or otherwise, and in existence on the date of entry of
the Confirmation Order, shall remain in full force and effect until the later of the Effective Date
and the date indicated in the order providing for such injunction or stay.

               10.5    Injunction Against Interference With Plan.

               Except as otherwise provided in the Plan or in the Confirmation Order, upon the
entry of the Confirmation Order, all holders of Claims and Interests and all other parties in
interest, along with their respective present and former affiliates, employees, agents, officers,
directors, and principals, shall be enjoined from taking any action to interfere with the
implementation or the occurrence of the Effective Date.




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               10.6    Plan Injunction.

                (a)     Except as otherwise provided in the Plan or in the Confirmation Order,
from and after the Effective Date, all Persons who have held, hold, or may hold Claims or
Interests, and other parties in interest, along with their respective present or former employees,
agents, officers, directors, principals, and affiliates, are, with respect to any such Claim or
Interest, permanently enjoined after the entry of the Confirmation Order from: (i) commencing,
conducting, or continuing in any manner, directly or indirectly, any suit, action, or other
proceeding of any kind (including any proceeding in a judicial, arbitral, administrative, or other
forum) against or affecting, directly or indirectly, a Debtor, a Post-Effective Date Debtor, or an
Estate or the property of any of the foregoing, or any direct or indirect transferee of any property
of, or direct or indirect successor in interest to, any of the foregoing Persons mentioned in this
subsection (i) or any property of any such transferee or successor; (ii) enforcing, levying,
attaching (including any prejudgment attachment), collecting, or otherwise recovering in any
manner or by any means, whether directly or indirectly, any judgment, award, decree, or order
against a Debtor, a Post-Effective Date Debtor, or an Estate or its property, or any direct or
indirect transferee of any property of, or direct or indirect successor in interest to, any of the
foregoing Persons mentioned in this subsection (ii) or any property of any such transferee or
successor; (iii) creating, perfecting, or otherwise enforcing in any manner, directly or indirectly,
any encumbrance of any kind against a Debtor, a Post-Effective Date Debtor, or an Estate or any
of its property, or any direct or indirect transferee of any property of, or successor in interest to,
any of the foregoing Persons mentioned in this subsection (iii) or any property of any such
transferee or successor; (iv) acting or proceeding in any manner, in any place whatsoever, that
does not conform to or comply with the provisions of the Plan to the full extent permitted by
applicable law; and (v) commencing or continuing, in any manner or in any place, any action that
does not comply with or is inconsistent with the provisions of the Plan; provided, that nothing
contained in the Plan shall preclude such Persons who have held, hold, or may hold Claims
against, or Interests in, a Debtor, a Post-Effective Date Debtor, or an Estate from exercising their
rights and remedies, or obtaining benefits, pursuant to and consistent with the terms of the Plan.

                (b)    By accepting distributions pursuant to the Plan, each holder of an Allowed
Claim or Interest shall be deemed to have affirmatively and specifically consented to be bound
by the Plan, including the injunctions set forth in Section 10.6 of the Plan.

               10.7    Releases.

         (a)   RELEASES BY THE DEBTORS. AS OF THE EFFECTIVE DATE,
EXCEPT FOR THE RIGHTS AND REMEDIES THAT REMAIN IN EFFECT FROM
AND AFTER THE EFFECTIVE DATE TO ENFORCE THE PLAN, THE
CONFIRMATION ORDER, THE OBLIGATIONS CONTEMPLATED BY THE
DOCUMENTS IN THE PLAN SUPPLEMENT, THE APACHE DEFINITIVE
DOCUMENTS, ANY ADDITIONAL PREDECESSOR AGREEMENT DOCUMENTS,
THE CREDIT BID PURCHASE AGREEMENT, THE FIRST LIEN EXIT FACILITY
COMMITMENT LETTER, THE SECOND LIEN BACKSTOP COMMITMENT
LETTER, THE EQUITY RIGHTS OFFERINGS, THE ERO BACKSTOP
AGREEMENTS, THE EXIT FACILITY DOCUMENTS, AND THE RESTRUCTURING
TRANSACTIONS, ON AND AFTER THE EFFECTIVE DATE, THE RELEASED


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PARTIES    WILL     BE    DEEMED    CONCLUSIVELY,     ABSOLUTELY,
UNCONDITIONALLY, IRREVOCABLY, AND FOREVER RELEASED AND
DISCHARGED, BY THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, AND
THE ESTATES, IN EACH CASE ON BEHALF OF THEMSELVES AND THEIR
RESPECTIVE SUCCESSORS, ASSIGNS, AND REPRESENTATIVES AND ANY AND
ALL OTHER PERSONS THAT MAY PURPORT TO ASSERT ANY CAUSE OF
ACTION DERIVATIVELY, BY OR THROUGH THE FOREGOING PERSONS, FROM
ANY AND ALL CLAIMS, INTERESTS, OBLIGATIONS, SUITS, JUDGMENTS,
DAMAGES, DEMANDS, DEBTS, RIGHTS, AND CAUSES OF ACTION, LOSSES,
REMEDIES, OR LIABILITIES WHATSOEVER (INCLUDING ANY DERIVATIVE
CLAIMS, ASSERTED OR ASSERTABLE ON BEHALF OF THE DEBTORS, THE
POST-EFFECTIVE DATE DEBTORS, OR THE ESTATES), WHETHER LIQUIDATED
OR UNLIQUIDATED, FIXED OR CONTINGENT, MATURED OR UNMATURED,
KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, ACCRUED OR
UNACCRUED, EXISTING OR HEREINAFTER ARISING, WHETHER IN LAW OR
EQUITY, WHETHER SOUNDING IN TORT OR CONTRACT, WHETHER ARISING
UNDER FEDERAL OR STATE STATUTORY OR COMMON LAW, OR ANY OTHER
APPLICABLE INTERNATIONAL, FOREIGN, OR DOMESTIC LAW, RULE,
STATUTE, REGULATION, TREATY, RIGHT, DUTY, REQUIREMENTS OR
OTHERWISE THAT THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, THE
ESTATES, OR THEIR AFFILIATES WOULD HAVE BEEN LEGALLY ENTITLED TO
ASSERT IN THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR
COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF ANY CLAIM OR
INTEREST OR OTHER PERSON, BASED ON OR RELATING TO, OR IN ANY
MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS, THE
CHAPTER 11 CASES, THE RESTRUCTURING, THE PURCHASE, SALE, OR
RESCISSION OF THE PURCHASE OR SALE OF ANY SECURITY OF THE DEBTORS
OR THE POST-EFFECTIVE DATE DEBTORS, THE SUBJECT MATTER OF, OR THE
TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR INTEREST THAT
IS TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL
ARRANGEMENTS BETWEEN ANY DEBTOR AND ANY RELEASED PARTY, THE
RESTRUCTURING OF CLAIMS AND INTERESTS BEFORE OR DURING THE
CHAPTER 11 CASES, THE NEGOTIATION, FORMULATION, PREPARATION, OR
CONSUMMATION OF THE PLAN, THE DOCUMENTS IN THE PLAN
SUPPLEMENT, THE CREDIT BID PURCHASE AGREEMENT, THE EXIT FACILITY
DOCUMENTS, THE APACHE DEFINITIVE DOCUMENTS, ANY ADDITIONAL
PREDECESSOR AGREEMENT DOCUMENTS, THE FIRST LIEN EXIT FACILITY
COMMITMENT LETTER, THE SECOND LIEN BACKSTOP COMMITMENT
LETTER, THE EQUITY RIGHTS OFFERINGS, THE ERO BACKSTOP
AGREEMENTS, THE DECOMMISSIONING AGREEMENT, OR RELATED
AGREEMENTS, INSTRUMENTS, OR OTHER DOCUMENTS RELATING THERETO,
OR THE SOLICITATION OF VOTES WITH RESPECT TO THE PLAN, IN ALL
CASES BASED UPON ANY ACT OR OMISSION, TRANSACTION, AGREEMENT,
EVENT, OR OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE
EFFECTIVE DATE.




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            ENTRY OF THE CONFIRMATION ORDER BY THE BANKRUPTCY
COURT SHALL CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL,
PURSUANT TO BANKRUPTCY RULE 9019, OF THE RELEASES IN SECTION 10.7(a)
OF THE PLAN (the “DEBTOR RELEASES”), WHICH INCLUDES BY REFERENCE
EACH OF THE RELATED PROVISIONS AND DEFINITIONS UNDER THE PLAN,
AND FURTHER, SHALL CONSTITUTE THE BANKRUPTCY COURT’S FINDING
THAT THE DEBTOR RELEASES ARE: (I) IN EXCHANGE FOR THE GOOD,
VALUABLE AND ADEQUATE CONSIDERATION PROVIDED BY THE RELEASED
PARTIES, (II) ESSENTIAL TO THE CONFIRMATION OF THE PLAN, (III) A GOOD
FAITH SETTLEMENT AND COMPROMISE OF THE RELEASED CLAIMS
RELEASED BY THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS AND THE
ESTATES, (IV) IN THE BEST INTERESTS OF THE DEBTORS, THE ESTATES AND
ALL HOLDERS OF CLAIMS AND INTERESTS, (IV) FAIR, EQUITABLE AND
REASONABLE, (V) GIVEN AND MADE AFTER DUE NOTICE AND OPPORTUNITY
FOR HEARING, AND (VII) A BAR TO ANY OF THE DEBTORS, THE POST-
EFFECTIVE DATE DEBTORS, OR THE ESTATES ASSERTING ANY CLAIM OR
CAUSE OF ACTION RELEASED PURSUANT TO THE DEBTOR RELEASE.

           (b)  RELEASES BY HOLDERS OF CLAIMS AND INTERESTS. AS OF
THE EFFECTIVE DATE, EXCEPT FOR THE RIGHTS AND REMEDIES THAT
REMAIN IN EFFECT FROM AND AFTER THE EFFECTIVE DATE TO ENFORCE
THE PLAN, THE CONFIRMATION ORDER, THE OBLIGATIONS CONTEMPLATED
BY THE DOCUMENTS IN THE PLAN SUPPLEMENT, THE APACHE DEFINITIVE
DOCUMENTS, ANY ADDITIONAL PREDECESSOR AGREEMENT DOCUMENTS,
THE FIRST LIEN EXIT FACILITY COMMITMENT LETTER, THE CREDIT BID
PURCHASE AGREEMENT, THE SECOND LIEN BACKSTOP COMMITMENT
LETTER, THE EQUITY RIGHTS OFFERINGS, THE ERO BACKSTOP
AGREEMENTS, THE EXIT FACILITY DOCUMENTS, AND THE RESTRUCTURING
TRANSACTIONS, ON AND AFTER THE EFFECTIVE DATE, THE RELEASED
PARTIES     WILL   BE     DEEMED    CONCLUSIVELY,     ABSOLUTELY,
UNCONDITIONALLY, IRREVOCABLY, AND FOREVER RELEASED AND
DISCHARGED BY THE RELEASING PARTIES, TO THE MAXIMUM EXTENT
PERMITTED BY LAW, AS SUCH LAW MAY BE EXTENDED SUBSEQUENT TO THE
EFFECTIVE DATE BY THE RELEASING PARTIES, FROM ANY AND ALL CLAIMS
AND CAUSES OF ACTION WHATSOEVER (INCLUDING ANY DERIVATIVE
CLAIMS, ASSERTED OR ASSERTABLE ON BEHALF OF THE DEBTORS, THE
POST-EFFECTIVE DATE DEBTORS, OR THEIR ESTATES, INCLUDING ANY
CAUSES OF ACTION ARISING UNDER CHAPTER 5 OF THE BANKRUPTCY
CODE), WHETHER LIQUIDATED OR UNLIQUIDATED, FIXED OR CONTINGENT,
MATURED OR UNMATURED, KNOWN OR UNKNOWN, FORESEEN OR
UNFORESEEN, ASSERTED OR UNASSERTED, ACCRUED OR UNACRUED,
EXISTING OR HEREINAFTER ARISING, IN LAW, EQUITY, CONTRACT, TORT,
OR OTHERWISE BY STATUTE, WHETHER ARISING UNDER FEDERAL OR
STATE, STATUTORY OR COMMON LAW, VIOLATIONS OF FEDERAL OR STATE
SECURITIES LAWS, OR ANY OTHER APPLICABLE INTERNATIONAL, FOREIGN,
OR DOMESTIC LAW, RULE STATUTE, REGULATION, TREATY, RIGHT, DUTY,
REQUIREMENT OR OTHERWISE, THAT THE RELEASING PARTIES OR THEIR

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ESTATES, AFFILIATES, HEIRS, EXECUTORS, ADMINISTRATORS, SUCCESSORS,
ASSIGNS, MANAGERS, ACCOUNTANTS, ATTORNEYS, REPRESENTATIVES,
CONSULTANTS, AGENTS, AND ANY OTHER PERSONS CLAIMING UNDER OR
THROUGH THEM WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT IN
THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR COLLECTIVELY) OR ON
BEHALF OF THE HOLDER OF ANY CLAIM OR INTEREST OR OTHER PERSON,
BASED ON OR RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE
OR IN PART, THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, OR THEIR
ESTATES, THE CHAPTER 11 CASES, THE RESTRUCTURING, THE PURCHASE,
SALE, OR RESCISSION OF THE PURCHASE OR SALE OF ANY SECURITY OF THE
DEBTORS OR THE POST-EFFECTIVE DATE DEBTORS, THE SUBJECT MATTER
OF, OR THE TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR
INTEREST THAT IS TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL
ARRANGEMENTS OR INTERACTIONS BETWEEN ANY DEBTOR AND ANY
RELEASED PARTY, THE RESTRUCTURING, THE RESTRUCTURING OF ANY
CLAIMS OR INTERESTS BEFORE OR DURING THE CHAPTER 11 CASES, THE
NEGOTIATION, FORMULATION, PREPARATION, OR CONSUMMATION OF THE
PLAN, THE DOCUMENTS IN THE PLAN SUPPLEMENT, THE CREDIT BID
PURCHASE AGREEMENT, THE EXIT FACILITY DOCUMENTS, THE APACHE
DEFINITIVE DOCUMENTS, ANY ADDITIONAL PREDECESSOR AGREEMENT
DOCUMENTS, THE FIRST LIEN EXIT FACILITY COMMITMENT LETTER, THE
SECOND LIEN BACKSTOP COMMITMENT LETTER, THE EQUITY RIGHTS
OFFERINGS, THE ERO BACKSTOP AGREEMENTS, THE DECOMMISSIONING
AGREEMENT OR RELATED AGREEMENTS, INSTRUMENTS, OR OTHER
DOCUMENTS, RELATING THERETO, OR THE SOLICITATION OF VOTES WITH
RESPECT TO THE PLAN, IN ALL CASES BASED UPON ANY ACT OR OMISSION,
TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCES TAKING
PLACE ON OR BEFORE THE EFFECTIVE DATE.

            ENTRY OF THE CONFIRMATION ORDER BY THE BANKRUPTCY
COURT SHALL CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL,
PURSUANT TO BANKRUPTCY RULE 9019, OF THE RELEASES IN SECTION 10.7(B)
OF THE PLAN (THE “THIRD-PARTY RELEASE”), WHICH INCLUDES, BY
REFERENCE, EACH OF THE RELATED PROVISIONS AND DEFINITIONS UNDER
THE PLAN, AND, FURTHERMORE, SHALL CONSTITUTE THE BANKRUPTCY
COURT’S FINDING THAT THE THIRD-PARTY RELEASE IS (I) CONSENSUAL,
(II) ESSENTIAL TO THE CONFIRMATION OF THE PLAN, (III) GIVEN IN
EXCHANGE FOR THE GOOD, VALUABLE AND ADEQUATE CONSIDERATION
PROVIDED BY THE RELEASED PARTIES, (IV) A GOOD FAITH SETTLEMENT
AND COMPROMISE OF THE CLAIMS RELEASED BY THE THIRD-PARTY
RELEASE, (V) IN THE BEST INTERESTS OF THE DEBTORS AND THEIR ESTATES,
(VI) FAIR, EQUITABLE AND REASONABLE, (VII) GIVEN AND MADE AFTER DUE
NOTICE AND OPPORTUNITY FOR HEARING, AND (VIII) A BAR TO ANY OF THE
RELEASING PARTIES ASSERTING ANY CLAIM OR CAUSE OF ACTION
RELEASED PURSUANT TO THE THIRD-PARTY RELEASE.




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          NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THIS
SECTION 10.7(B) OF THE PLAN, NO PARTY SHALL BE RELEASED TO THE
EXTENT SUCH RELEASE WOULD IMPAIR THE DECOMMISSIONING SECURITY
OR THE APACHE PSA PARTIES’ ABILITY TO DRAW ON THE
DECOMMISSIONING SECURITY, IN ANY RESPECT. FOR THE AVOIDANCE OF
DOUBT, ANY AND ALL CLAIMS THE APACHE PSA PARTIES MAY HAVE
AGAINST FWE I RELATED TO THE DECOMMISSIONING AGREEMENT ARISING
POST-EFFECTIVE DATE AND ANY SECURITY OBTAINED, PROVIDED, OR
PLEDGED IN CONNECTION WITH THE DECOMMISSIONING AGREEMENT WILL
BE PRESERVED AND ANY AND ALL CLAIMS FWE I MAY HAVE AGAINST THE
APACHE PSA PARTIES RELATED TO THE DECOMMISSIONING AGREEMENT
ARISING POST-EFFECTIVE DATE AND THE DECOMMISSIONING SECURITY
WILL BE PRESERVED.

                (c)     Release of Liens. Except as otherwise specifically provided in the Plan
(including all Liens securing the FLFO Claims or the First Lien Exit Facility) or in any
contract, instrument, release, or other agreement or document contemplated under or
executed in connection with the Plan, on the Effective Date and concurrently with the
applicable distributions made pursuant to the Plan and, in the case of a Secured Claim,
satisfaction in full of the portion of the Secured Claim that is secured and Allowed as of the
Effective Date, all mortgages, deeds of trust, Liens, pledges, or other security interests
against any property of the estates shall be fully released and discharged, and all of the
right, title, and interest of any holder of such mortgages, deeds of trust, Liens, pledges, or
other security interests shall revert to the Post-Effective Date Debtors and their successors
and assigns, in each case, without any further approval or order of the Bankruptcy Court
and without any action or filing being required to be made by the Debtors. For the
avoidance of doubt, all liens and encumbrances on, interests in, and claims against the
Legacy Apache Properties (as defined in the Apache Term Sheet) and the other FWE I
Assets (as defined in Part A of Schedule I of the Plan of Merger) held by the Prepetition
FLFO Secured Parties, Prepetition FLTL Lenders, and Prepetition SLTL Lenders shall be
released, discharged, and of no further force or effect as of the Effective Date.

              10.8   Exculpation.

          TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW,
EXCEPT FOR THE RIGHTS THAT REMAIN IN EFFECT FROM AND AFTER THE
EFFECTIVE DATE TO ENFORCE THE PLAN, THE CONFIRMATION ORDER AND
THE OBLIGATIONS CONTEMPLATED BY THE DOCUMENTS IN THE PLAN
SUPPLEMENT, THE APACHE DEFINITIVE DOCUMENTS, ANY ADDITIONAL
PREDECESSOR AGREEMENT DOCUMENTS, THE FIRST LIEN EXIT FACILITY
COMMITMENT LETTER, THE CREDIT BID PURCHASE AGREEMENT, THE
SECOND LIEN BACKSTOP COMMITMENT LETTER, THE EXIT FACILITY
DOCUMENTS, THE EQUITY RIGHTS OFFERINGS, THE ERO BACKSTOP
AGREEMENTS, AND THE RESTRUCTURING TRANSACTIONS, NO EXCULPATED
PARTY WILL HAVE OR INCUR, AND EACH EXCULPATED PARTY WILL BE
RELEASED AND EXCULPATED FROM, ANY CLAIM, OBLIGATION, SUIT,
JUDGMENT, DAMAGE, DEMAND, DEBT, RIGHT, REMEDY LOSS, LIABILITY AND


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CAUSE OF ACTION IN CONNECTION WITH OR ARISING OUT OF THE
ADMINISTRATION OF THE CHAPTER 11 CASES; THE NEGOTIATION AND
PURSUIT OF THE DIP FACILITY, THE CREDIT BID PURCHASE AGREEMENT,
THE NEW MONEY INVESTMENT, THE EXIT FACILITY DOCUMENTS, THE FIRST
LIEN EXIT FACILITY COMMITMENT LETTER, THE SECOND LIEN BACKSTOP
COMMITMENT LETTER, THE EQUITY RIGHTS OFFERINGS, THE ERO
BACKSTOP AGREEMENTS, THE APACHE DEFINITIVE DOCUMENTS, ANY
ADDITIONAL PREDECESSOR AGREEMENT DOCUMENTS, THE DISCLOSURE
STATEMENT, THE RESTRUCTURING, THE PLAN (INCLUDING THE PLAN
SUPPLEMENT), AND ALL DOCUMENTS RELATING TO THE FOREGOING, OR
THE SOLICITATION OF VOTES FOR, OR CONFIRMATION OF, THE PLAN; THE
FUNDING OF THE PLAN; THE OCCURRENCE OF THE EFFECTIVE DATE; THE
ADMINISTRATION OF THE PLAN OR THE PROPERTY TO BE DISTRIBUTED
UNDER THE PLAN; THE ISSUANCE OF SECURITIES UNDER OR IN CONNECTION
WITH THE PLAN; THE PURCHASE, SALE, OR RESCISSION OF THE PURCHASE
OR SALE OF ANY SECURITY OF THE DEBTORS OR THE POST-EFFECTIVE DATE
DEBTORS; OR THE TRANSACTIONS IN FURTHERANCE OF ANY OF THE
FOREGOING; OTHER THAN CLAIMS OR CAUSES OF ACTION ARISING OUT OF
OR RELATED TO ANY ACT OR OMISSION OF AN EXCULPATED PARTY THAT
CONSTITUTES INTENTIONAL FRAUD, WILLFUL MISCONDUCT, OR GROSS
NEGLIGENCE AS DETERMINED BY A FINAL ORDER, BUT IN ALL RESPECTS
SUCH PERSONS WILL BE ENTITLED TO REASONABLY RELY UPON THE
ADVICE OF COUNSEL WITH RESPECT TO THEIR DUTIES AND
RESPONSIBILITIES PURSUANT TO THE PLAN. THE EXCULPATED PARTIES
HAVE ACTED IN COMPLIANCE WITH THE APPLICABLE PROVISIONS OF THE
BANKRUPTCY CODE WITH REGARD TO THE SOLICITATION OF THE PLAN
AND, THEREFORE, ARE NOT, AND ON ACCOUNT OF SUCH DISTRIBUTIONS
WILL NOT BE, LIABLE AT ANY TIME FOR THE VIOLATION OF ANY
APPLICABLE LAW, RULE, OR REGULATION GOVERNING THE SOLICITATION
OF ACCEPTANCES OR REJECTIONS OF THE PLAN OR SUCH DISTRIBUTIONS
MADE PURSUANT TO THE PLAN. THE EXCULPATION WILL BE IN ADDITION
TO, AND NOT IN LIMITATION OF, ALL OTHER RELEASES, INDEMNITIES,
EXCULPATIONS, AND ANY OTHER APPLICABLE LAW OR RULES PROTECTING
SUCH EXCULPATED PARTIES FROM LIABILITY.

              10.9    Injunction Related to Releases and Exculpation.

                 The Confirmation Order shall permanently enjoin the commencement or
prosecution by any Person or entity, whether directly, derivatively, or otherwise, of any Claims,
obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, losses, or
liabilities released pursuant to the Plan, including the claims, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action, and liabilities released or exculpated in the
Plan or the Confirmation Order.




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               10.10 Subordinated Securities Claims.

                The allowance, classification, and treatment of all Allowed Claims and Interests
and the respective distributions and treatments thereof under the Plan take into account and
conform to the relative priority and rights of the Claims and Interests in each Class in connection
with any contractual, legal, and equitable subordination rights relating thereto, whether arising
under general principles of equitable subordination, sections 510(a), 510(b), or 510(c) of the
Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors
reserve the right to reclassify any Allowed Claim or Interest in accordance with any contractual,
legal, or equitable subordination relating thereto.

               10.11 Retention of Causes of Action and Reservation of Rights.

                (a)     Except as otherwise provided in the DIP Order or Plan, including Sections
10.5, 10.6, 10.7, 10.8 and 10.9, nothing contained in the Plan or the Confirmation Order shall be
deemed to be a waiver or relinquishment of any rights, claims, Causes of Action, rights of setoff
or recoupment, or other legal or equitable defenses that the Debtors had immediately before the
Effective Date on behalf of the Estates or of themselves in accordance with any provision of the
Bankruptcy Code or any applicable nonbankruptcy law. The Post-Effective Date Debtors shall
have, retain, reserve, and be entitled to assert all such claims, Causes of Action, rights of setoff
or recoupment, and other legal or equitable defenses as fully as if the Chapter 11 Cases had not
been commenced, and all of the Debtors’ legal and equitable rights in respect of any Unimpaired
Claim may be asserted after the Confirmation Date and Effective Date to the same extent as if
the Chapter 11 Cases had not been commenced.

               (b)    Notwithstanding Section 10.11(a), on the Effective Date, the Post-
Effective Date Debtors shall be deemed to have released all preference actions pursuant to
section 547 of the Bankruptcy Code against the holders of Unsecured Trade Claims and General
Unsecured Claims (in each case, solely in their capacity as holders of Unsecured Trade Claims
and General Unsecured Claims, as applicable).

               10.12 Ipso Facto and Similar Provisions Ineffective.

                Any term of any prepetition policy, prepetition contract, or other prepetition
obligation applicable to a Debtor shall be void and of no further force or effect with respect to
any Debtor to the extent that such policy, contract, or other obligation is conditioned on, creates
an obligation of the Debtor as a result of, or gives rise to a right of any entity based on any of the
following: (a) the insolvency or financial condition of a Debtor; (b) the commencement of the
Chapter 11 Cases; (c) the confirmation or consummation of the Plan, including any change of
control that shall occur as a result of such consummation; or (d) the Restructuring.

               10.13 Indemnification and Reimbursement Obligations.

                For purposes of the Plan, (a) Indemnification Obligations to current and former
directors, officers, members, managers, agents or employees of any of the Debtors who served in
such capacity before, on or subsequent to the Petition Date shall be assumed by the Post-
Effective Date Debtors and (b) Indemnification Obligations of the Debtors arising from services
as current and former directors, officers, members, managers, agents or employees of any of the

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Debtors who served in such capacity during the period from and after the Petition Date shall be
Administrative Expense Claims. In addition, after the Effective Date, the Post-Effective Date
Debtors shall not terminate or otherwise reduce the coverage under any current and former
directors’, officers’, members’, managers’, agents’ or employees’ insurance policies (including
any “tail policy”) in effect as of the Petition Date, and all current and former directors, officers,
members, managers, agents or employees of any of the Debtors who served in such capacity at
any time before the Effective Date shall be entitled to the full benefits of any such policy for the
full term of such policy regardless of whether such members, managers, directors, and/or officers
remain in such positions after the Effective Date to the extent set forth in such policies.



ARTICLE XI.            RETENTION OF JURISDICTION.

               11.1    Retention of Jurisdiction.

               Pursuant to sections 105(c) and 1142 of the Bankruptcy Code and
notwithstanding entry of the Confirmation Order and the occurrence of the Effective Date, on
and after the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction, pursuant to
28 U.S.C. §§ 1334 and 157, over all matters arising in or related to the Chapter 11 Cases for,
among other things, the following purposes:

                (a)  to hear and determine motions and/or applications for the assumption or
rejection of executory contracts or unexpired leases and any disputes over Cure Amounts
resulting therefrom;

               (b)     to determine any motion, adversary proceeding, application, contested
matter, and other litigated matter pending on or commenced after the entry of the Confirmation
Order;

               (c)   to hear and resolve any disputes arising from or related to (i) any orders of
the Bankruptcy Court granting relief under Bankruptcy Rule 2004 or (ii) any protective orders
entered by the Bankruptcy Court in connection with the foregoing;

               (d)      to ensure that distributions to holders of Allowed Claims are accomplished
as provided in the Plan and the Confirmation Order and to adjudicate any and all disputes arising
from or relating to distributions under the Plan;

               (e)   to consider Claims or the allowance, classification, priority, compromise,
estimation, or payment of any Claim, including any Administrative Expense Claim;

              (f)    to enter, implement, or enforce such orders as may be appropriate in the
event that the Confirmation Order is for any reason stayed, reversed, revoked, modified, or
vacated;

               (g)    to issue and enforce injunctions, enter and implement other orders, and
take such other actions as may be necessary or appropriate to restrain interference by any Person



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or other Entity with the consummation, implementation, or enforcement of the Plan, the
Confirmation Order, or any other order of the Bankruptcy Court;

              (h)      to hear and determine any application to modify the Plan in accordance
with section 1127 of the Bankruptcy Code to remedy any defect or omission or reconcile any
inconsistency in the Plan, the Disclosure Statement, or any order of the Bankruptcy Court,
including the Confirmation Order, in such a manner as may be necessary to carry out the
purposes and effects thereof;

               (i)    to hear and determine all Fee Claims;

               (j)    to resolve disputes concerning any reserves with respect to Disputed
Claims or the administration thereof;

                (k)   to hear and determine disputes arising in connection with the
interpretation, implementation, or enforcement of the Plan, the Confirmation Order, any
transactions or payments in furtherance of either, or any agreement, instrument, or other
document governing or related to any of the foregoing;

               (l)    to take any action and issue such orders, including any such action or
orders as may be necessary after entry of the Confirmation Order or the occurrence of the
Effective Date, as may be necessary to construe, enforce, implement, execute, and consummate
the Plan, including any release, exculpation, or injunction provisions set forth in the Plan,
following the occurrence of the Effective Date;

               (m)    to determine such other matters and for such other purposes as may be
provided in the Confirmation Order;

               (n)    to hear and determine matters concerning state, local, and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including any requests for
expedited determinations under section 505(b) of the Bankruptcy Code);

               (o)    to hear and determine any other matters related to the Chapter 11 Cases
and not inconsistent with the Bankruptcy Code or title 28 of the United States Code;

                (p)     to resolve any disputes concerning whether a Person or entity had
sufficient notice of the Chapter 11 Cases, the Disclosure Statement, any solicitation conducted in
connection with the Chapter 11 Cases, any bar date established in the Chapter 11 Cases, or any
deadline for responding or objecting to a Cure Amount, in each case, for the purpose for
determining whether a Claim or Interest is discharged hereunder or for any other purpose;

               (q)   to hear and determine any rights, Claims, or Causes of Action held by or
accruing to the Debtors pursuant to the Bankruptcy Code or pursuant to any federal statute or
legal theory;

               (r)    to recover all Assets of the Debtors and property of the Estates, wherever
located;



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               (s)    to hear and determine matters related to the DIP Facility and the DIP
Order; and

               (t)    to enter a final decree closing each of the Chapter 11 Cases.

Notwithstanding anything in this Article XI to the contrary, as of the Effective Date, the Exit
Facility Documents and any other documents related thereto, including the New Intercreditor
Agreement, shall be governed by the jurisdictional provisions therein and the Bankruptcy Court
shall not retain jurisdiction with respect thereto.



ARTICLE XII.          MISCELLANEOUS PROVISIONS.

               12.1   Payment of Statutory Fees

                On the Effective Date and thereafter as may be required, the Debtors or the Post-
Effective Date Debtors, as applicable, shall pay all Statutory Fees that are due and payable,
together with interest, if any, pursuant to § 3717 of title 31 of the United States Code for each
Debtor’s case. The obligations under this Section 12.1 shall remain for each Debtor until such
time as a final decree is entered closing the Chapter 11 Case for such Debtor, a Final Order
converting such Debtor’s Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code is
entered, or a Final Order dismissing such Debtor’s Chapter 11 Case is entered.

               12.2   Exemption from Certain Transfer Taxes.

                 Pursuant to and to the fullest extent permitted by section 1146 of the Bankruptcy
Code, (a) the issuance, transfer or exchange of any securities, instruments or documents, (b) the
creation of any Lien, mortgage, deed of trust or other security interest, (c) all sale transactions
consummated by the Debtors and approved by the Bankruptcy Court on and after the
Confirmation Date through and including the Effective Date, including any transfers effectuated
under the Plan, (d) any assumption, assignment, or sale by the Debtors of their interests in
unexpired leases of nonresidential real property or executory contracts pursuant to section 365(a)
of the Bankruptcy Code, (e) the grant of collateral under the Standby Loan Agreement and (f) the
issuance, renewal, modification or securing of indebtedness by such means, and the making,
delivery or recording of any deed or other instrument of transfer under, in furtherance of, or in
connection with, the Plan, including the Confirmation Order, shall not be subject to any
document recording tax, stamp tax, conveyance fee or other similar tax, mortgage tax, real estate
transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee,
regulatory filing or recording fee, sales tax, use tax or other similar tax or governmental
assessment. Consistent with the foregoing, each recorder of deeds or similar official for any
county, parish, city or Governmental Unit in which any instrument hereunder is to be recorded
shall, pursuant to the Confirmation Order, be ordered and directed to accept such instrument
without requiring the payment of any filing fees, documentary stamp tax, deed stamps, stamp
tax, transfer tax, intangible tax or similar tax.




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               12.3    Request for Expedited Determination of Taxes.

                The Debtors shall have the right to request an expedited determination under
section 505(b) of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and
all taxable periods ending after the Petition Date through the Effective Date.

               12.4    Dates of Actions to Implement Plan.

              In the event that any payment or act under the Plan is required to be made or
performed on a date that is not a Business Day, then the making of such payment or the
performance of such act may be completed on or as soon as reasonably practicable after the next
succeeding Business Day but shall be deemed to have been completed as of the required date.

               12.5    Amendments.

               (a)     Plan Modifications. Subject to (i) the consent rights set forth in the
Restructuring Support Agreement, (ii) the reasonable consent of the Creditors’ Committee solely
to the extent that it adversely impacts the holders of General Unsecured Claims or Unsecured
Trade Claims and (iii) the reasonable consent of the Prepetition FLFO Administrative Agent, the
Plan may be amended, modified, or supplemented by the Debtors in the manner provided for by
section 1127 of the Bankruptcy Code or as otherwise permitted by law, without additional
disclosure pursuant to section 1125 of the Bankruptcy Code, except as otherwise ordered by the
Bankruptcy Court. In addition, after the Confirmation Date, so long as such action does not
materially and adversely affect the treatment of holders of Allowed Claims pursuant to the Plan,
the Debtors, with (i) the consent of the Required DIP Lenders, and the Requisite FLTL Lenders,
(ii) the reasonable consent of the Creditors’ Committee solely to the extent that it adversely
impacts the holders of General Unsecured Claims or Unsecured Trade Claims, and (iii) the
reasonable consent of the Prepetition FLFO Administrative Agent, may remedy any defect or
omission or reconcile any inconsistencies in the Plan or the Confirmation Order with respect to
such matters as may be necessary to carry out the purposes of effects of the Plan, and any holder
of a Claim or Interest that has accepted the Plan shall be deemed to have accepted the Plan as
amended, modified, or supplemented. The Debtors, subject to (i) the consent of the Required
DIP Lenders and the Requisite FLTL Lenders and (ii) the applicable consent rights of the
Prepetition FLFO Administrative Agent, shall have the right to amend the documents contained
in, and exhibits to, the Plan Supplement in accordance with the terms of the Plan and the
Restructuring Support Agreement or the First Lien Exit Facility Commitment Letter, as
applicable, through the Effective Date.

              (b)      Certain Technical Amendments. Before the Effective Date, the Debtors,
subject to the consent rights set forth in the Restructuring Support Agreement, may make
appropriate technical adjustments and modifications to the Plan without further order or approval
of the Bankruptcy Court.

               12.6    Revocation or Withdrawal of Plan.

              The Debtors reserve the right to revoke or withdraw the Plan before the Effective
Date as to any or all of the Debtors. If, with respect to a Debtor, the Plan has been revoked or
withdrawn before the Effective Date, or if confirmation or the occurrence of the Effective Date

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as to such Debtor does not occur on the Effective Date, then, with respect to such Debtor: (a) the
Plan shall be null and void in all respects; (b) any settlement or compromise embodied in the
Plan (including the fixing or limiting to an amount any Claim or Interest or Class of Claims or
Interests), assumption or rejection of executory contracts or unexpired leases affected by the
Plan, and any document or agreement executed pursuant to the Plan shall be deemed null and
void; and (c) nothing contained in the Plan shall (i) constitute a waiver or release of any Claim
by or against, or any Interest in, such Debtor or any other Person; (ii) prejudice in any manner
the rights of such Debtor or any other Person; or (iii) constitute an admission of any sort by any
Debtor or any other Person.

               12.7    Severability.

                If, before the entry of the Confirmation Order, any term or provision of the Plan is
held by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the
request of the Debtors shall have the power to alter and interpret such term or provision to make
it valid or enforceable to the maximum extent practicable, consistent with the original purpose of
the term or provision held to be invalid, void, or unenforceable, and such term or provision shall
then be applicable as altered or interpreted. Notwithstanding any such holding, alteration, or
interpretation by the Bankruptcy Court, the remainder of the terms and provisions of the Plan
shall remain in full force and effect and shall in no way be affected, impaired, or invalidated by
such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial
determination and shall provide that each term and provision of the Plan, as it may have been
altered or interpreted in accordance with this section, is (a) valid and enforceable pursuant to its
terms, (b) integral to the Plan and may not be deleted or modified without the consent of the
Debtors or the Post-Effective Date Debtors (as the case may be) and (c) nonseverable and
mutually dependent.

               12.8    Governing Law.

                Except to the extent that the Bankruptcy Code or other federal law is applicable or
to the extent that a Plan Supplement document provides otherwise, the rights, duties, and
obligations arising under the Plan shall be governed by, and construed and enforced in
accordance with, the internal laws of the State of Texas, without giving effect to the principles of
conflicts of laws thereof.

               12.9    Immediate Binding Effect.

               Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon
the occurrence of the Effective Date, the terms of the Plan shall be immediately effective and
enforceable and deemed binding upon and inure to the benefit of the Debtors, the Post-Effective
Date Debtors, the holders of Claims and Interests, the Released Parties, and each of their
respective successors and assigns.

               12.10 Successors and Assigns.

               The rights, benefits, and obligations of any Person named or referred to in the
Plan shall be binding on and shall inure to the benefit of any heir, executor, administrator,
successor, or permitted assign, if any, of each such Person.

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               12.11 Entire Agreement.

              On the Effective Date, the Plan, the Plan Supplement, and the Confirmation Order
shall supersede all previous and contemporaneous negotiations, promises, covenants,
agreements, understandings, and representations on such subjects, all of which have become
merged and integrated into the Plan.

               12.12 Computing Time.

              In computing any period of time prescribed or allowed by the Plan, unless
otherwise set forth in the Plan or determined by the Bankruptcy Court, the provisions of
Bankruptcy Rule 9006 shall apply.

               12.13 Exhibits to Plan.

                All exhibits, schedules, supplements, and appendices to the Plan (including any
other documents to be executed, delivered, assumed, or performed in connection with the
occurrence of the Effective Date) are incorporated into and are a part of the Plan as if set forth in
full in the Plan.

               12.14 Notices.

               All notices, requests, and demands hereunder shall be in writing (including by
facsimile or email transmission) and, unless otherwise provided herein, shall be deemed to have
been duly given or made only when actually delivered or, in the case of notice by facsimile
transmission, when received and telephonically confirmed, addressed as follows:

              (a)      If to the Debtors:

               Fieldwood Energy LLC
               2000 W. Sam Houston Parkway, S. Suite 1200
               Houston, Texas 77042
               Attention: Michael Dane and Thomas R. Lamme

                – and –

               WEIL, GOTSHAL & MANGES LLP
               767 Fifth Avenue
               New York, New York 10153
               Attn: Matthew S. Barr, Esq., Alfredo R. Pérez, Esq., and Jessica Liou, Esq.
               Telephone: (212) 310-8000
               Facsimile: (212) 310-8007

               Attorneys for the Debtors

              (b)      If to the DIP Lenders or FLTL Lenders:

               DAVIS POLK & WARDWELL LLP


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               450 Lexington Avenue
               New York, NY 10017
               Attn: Damian Schaible, Esq. and Natasha Tsiouris, Esq.
               Telephone: (212) 450-4000
               Facsimile: (212) 701-5800

              (c)     If to the Post-Effective Date Debtors:

               [Plan Administrator]
               [Plan Administrator Address]

               – and –

               WEIL, GOTSHAL & MANGES LLP
               767 Fifth Avenue
               New York, New York 10153
               Attn: Matthew S. Barr, Esq., Alfredo R. Pérez, Esq., and Jessica Liou, Esq.
               Telephone: (212) 310-8000
               Facsimile: (212) 310-8007

               Attorneys for Post-Effective Date Debtors

               A notice is deemed to be given and received (a) if sent by first-class mail,
personal delivery, or courier, on the date of delivery if it is a Business Day and the delivery was
made before 4:00 p.m. (local time in place of receipt) and otherwise on the next Business Day, or
(b) if sent by electronic mail, when the sender receives an email from the recipient
acknowledging receipt; provided that an automatic “read receipt” does not constitute
acknowledgment of an email for purposes of this Section. Any party may change its address for
service from time to time by providing a notice in accordance with the foregoing. Any element
of a party’s address that is not specifically changed in a notice will be assumed not to be
changed.

               After the occurrence of the Effective Date, the Post-Effective Date Debtors and
Plan Administrator have authority to send a notice to entities that to continue to receive
documents pursuant to Bankruptcy Rule 2002, such entities must file a renewed request to
receive documents pursuant to Bankruptcy Rule 2002; provided, that the U.S. Trustee need not
file such a renewed request and shall continue to receive documents without any further action
being necessary. After the occurrence of the Effective Date, the Post-Effective Date Debtors are
authorized to limit the list of entities receiving documents pursuant to Bankruptcy Rule 2002 to
the U.S. Trustee and those entities that have filed such renewed requests.

               12.15 Reservation of Rights.

               Except as otherwise provided herein, the Plan shall be of no force or effect unless
the Bankruptcy Court enters the Confirmation Order. None of the filing of the Plan, any
statement or provision of the Plan, or the taking of any action by the Debtors with respect to the
Plan shall be or shall be deemed to be an admission or waiver of any rights of (a) the Debtors



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with respect to any Claims or Interests before the Effective Date or (b) any holder of a Claim or
Interest or other entity before the Effective Date.

               12.16 Dissolution of Creditors’ Committee.

               On the Effective Date, the Creditors’ Committee shall dissolve, and the members
thereof shall be released and discharged from all rights and duties arising from, or related to, the
Chapter 11 Cases, provided that following the Effective Date, the Creditors’ Committee shall
continue in existence and have standing and a right to be heard for the following limited
purposes: (a) Claims and/or applications, and any relief related thereto, for compensation by
Professional Persons retained in the Chapter 11 Cases pursuant to sections 327, 328, 329, 330,
331, 503(b), or 1103 of the Bankruptcy Code and requests for allowance of Administrative
Expense Claims for substantial contribution pursuant to section 503(b)(3)(D) of the Bankruptcy
Code; and (b) any appeals of the Confirmation Order or other appeals to which the Creditors’
Committee is a party.




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                                                     Annex D
                                        Additional Termination Events1

Any of the following shall occur (unless otherwise consented to in writing by GS Bank):
        (a)    the failure of the Debtors to file the Plan before the hearing to consider approval
of the Disclosure Statement;

       (b)    the Plan is withdrawn, amended, or otherwise modified so as to be inconsistent
with the consent rights in this Commitment Letter, the First Lien Exit Facility Term Sheet, or the
Plan;

        (c)     any of the Debtors files, announces, or commits in writing to any party (i) its
intention not to support the Plan or pursue the Restructuring Transactions or (ii) its intention to
support an alternative restructuring proposal or sale which would, without the consent of GS
Bank (which, in the case of clauses (b) and (e) below, shall not to be unreasonably withheld) (a)
individually or in the aggregate, result in a reduction of 10% or more of the total PV-10 of total
2P reserves comprising the assets acquired by the Credit Bid Purchaser (which shall be
calculated by reference to the FWE YE2020 Internal Reserve Report (as of 5.1.21)), (b) result in
any contract rights constituting material assets not being acquired by the Credit Bid Purchaser,
(c) individually or in the aggregate, result in an increase by $40.0 million or more (which, for the
avoidance of doubt, in the case of plugging and abandonment liabilities, shall be calculated on a
present value basis) in liabilities assumed by the Credit Bid Purchaser, (d) provide for any
change in treatment of the Prepetition FLFO Credit Agreement or First Lien Exit Facility, or (e)
provide for any differences from the Approved Credit Bid Purchase Agreement that are
materially adverse to the interests of the First Lien Exit Facility Agent and the First Lien Exit
Facility Lenders, in each case of sub-clauses (a) thru (e) above, relative to as contemplated under
the Plan and/or the Approved Credit Bid Purchase Agreement, as applicable;

        (d)      (i) any of the Debtors (A) file any motion seeking to avoid, disallow, subordinate,
or recharacterize all or any portion of the FLFO Claims or any lien or interest related thereto or
(B) shall have directly or indirectly supported any application, adversary proceeding, motion, or
cause of action referred to in the immediately preceding clause (A) filed by a third party, or
consents to the standing of any such third party to bring such application, adversary proceeding,
motion, or cause of action; or (ii) the Bankruptcy Court enters an order or judgment avoiding,
disallowing, subordinating, or recharacterizing all or any portion of the FLFO Claims or any lien
or interest related thereto;

        (e)    the Bankruptcy Court enters an order denying confirmation of the Plan and such
order remains in effect for 10 days after the entry of such order;

       (f)    the Plan Effective Date does not occur on or before 11:59 p.m. (prevailing Eastern
Time) on the earlier of (i) the Outside Expiration Time (as defined in the Second Lien Backstop
Commitment Letter (which is as defined in the Plan) and (ii) July 31, 2021;

1
 All capitalized terms used but not defined herein have the meanings given to them in the Plan (as defined in the
Commitment Letter to which this Annex D is attached) or in the Commitment Letter, as context may require.


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        (g)    the acceleration of the loans or the termination of the commitments under the DIP
Facility or the termination or expiration of the Debtors’ authority to use Cash Collateral (as
defined in the DIP Order) that has not been waived or timely cured in accordance therewith;

       (h)     the Bankruptcy Court enters an order modifying or terminating the Debtors’
exclusive right to file and/or solicit acceptances of a plan of reorganization;

       (i)   the breach by the Company of its obligations to provide any fee, indemnity, or
expense reimbursement under this Commitment Letter, or any purported assignment of this
Commitment Letter other than as permitted by this Commitment Letter;

       (j)     the issuance by any governmental authority, including any regulatory authority or
court of competent jurisdiction, of any ruling or order that enjoins the consummation of any
portion of the Restructuring Transactions;

        (k)    the Bankruptcy Court grants relief terminating, annulling, or modifying the
automatic stay (as set forth in Section 362 of the Bankruptcy Code) with regard to any assets of
the Company that individually or in the aggregate result in a reduction of 10% or more of the
total PV-10 of total proved reserves that would otherwise comprise assets that are being
transferred to NewCo and its Subsidiaries under the Plan (which shall be calculated by reference
to the FWE YE2020 Internal Reserve Report (as of 5.1.21)) without the prior written consent of
GS Bank;

        (l)     the entry of an order by the Bankruptcy Court, or the filing of a motion or
application by the Debtors seeking an order (without the prior written consent of GS Bank),
(i) dismissing one or more of the Chapter 11 Cases, or (ii) seeking to avoid its obligations under
or reject this Commitment Letter; or

      (m)   any of the following documents or the commitments thereunder have terminated
or expired: (i) the Restructuring Support Agreement, (ii) the Second Lien Backstop
Commitment Letter, or (iii) the ERO Backstop Agreement.




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                                Exhibit J
                   Second Lien Exit Facility Term Sheet




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              UP TO $185.0 MILLION SENIOR SECURED SECOND LIEN TERM LOAN FACILITY
                             “SECOND LIEN EXIT FACILITY TERM SHEET”

                              SUMMARY OF PRINCIPAL TERMS AND CONDITIONS1

Set forth below is a summary of certain principal terms for the Second Lien Exit Facility (as defined
below). This summary of terms is for indicative purposes only and does not purport to summarize all of
the terms of the definitive documentation for the Second Lien Exit Facility. These terms are subject to
change based upon ongoing discussions and final negotiation of definitive documentation.

BORROWER:                           Credit Bid Purchaser (the “Borrower”), a newly formed special purpose
                                    bidding entity, which will be the purchaser of certain of the Debtors’
                                    assets.

AGENT:                              An institution to be mutually agreed will act as sole administrative agent
                                    and collateral agent (collectively, in such capacities, the “Second Lien
                                    Exit Facility Agent”, and as used in this Exhibit J, the “Administrative
                                    Agent”).

LENDERS:                            Each of the Backstop Commitment Parties and certain DIP Lenders (or,
                                    in each case, any of their affiliated or related funds) that elect to provide
                                    a commitment in respect of the Second Lien Exit Facility (collectively,
                                    the “Second Lien Term Lenders”). On the Closing Date (as defined
                                    below), the Second Lien Term Loans may be funded, in full or in part,
                                    by a seasoning institution.

SECOND LIEN EXIT                    A senior secured second lien term loan facility (the “Second Lien Exit
FACILITY:                           Facility”) that shall become effective on the effective date of the Plan
                                    (the “Plan Effective Date”) in an amount of up to $185.0 million
                                    comprised of:

                                    (a) $100.0 million of second lien term loans (the “DIP Replacement
                                    Second Lien Loans”); and

                                    (b) additional second lien term loans (the “New Money Second Lien
                                    Loans” and, together with the DIP Replacement Second Lien Loans, the
                                    “Second Lien Term Loans”) in an amount equal to the lesser of (i) $85.0
                                    million and (ii) the amount necessary to provide the Borrower with no
                                    less than $100.0 million of cash on hand on the Effective Date, after
                                    giving effect to all transactions to occur on the Effective Date (calculated
                                    pursuant to a process and at a time to be mutually agreed).

                                    The Second Lien Term Loans shall be funded in cash on the Closing
                                    Date; provided that any Second Lien Term Lender that is a DIP Lender

1
  All capitalized terms used but not defined herein have the meanings given to them in the Joint Chapter 11 Plan of Fieldwood
Energy LLC and its Affiliated Debtors (the “Plan”) and the Disclosure Statement for Joint Chapter 11 Plan of Fieldwood Energy
LLC and its Affiliated Debtors (the “Disclosure Statement”) to which this Second Lien Exit Facility Term Sheet is attached and
the other exhibits attached to such Disclosure Statement. In the event any such capitalized term is subject to multiple and
differing definitions, the appropriate meaning thereof for purposes of this Exhibit J shall be determined by reference to the
context in which it is used.



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                              may elect to fund its Second Lien Term Loans on the Closing Date on a
                              cashless basis by converting the outstanding principal amount of any of
                              its DIP Loans into Second Lien Term Loans. The Second Lien Exit
                              Facility shall be secured on a junior basis to the First Lien Exit Facility
                              and any permitted hedging obligations.

INCREMENTAL SECOND            The Second Lien Exit Facility Credit Agreement will permit incremental
LIEN TERM FACILITIES:         indebtedness in a manner acceptable to the Second Lien Term Lenders,
                              and, in any event, will permit the Borrower, on up to two occasions, to
                              incur separate classes of additional term loans or increases in existing
                              term loans (the “Incremental Second Lien Term Loans”), in each case,
                              in an aggregate principal amount not less than $25.0 million and, in the
                              case of all incremental term debt incurred pursuant to this “Incremental
                              Second Lien Term Facilities” section, in an aggregate principal amount
                              not to exceed $50.0 million (each, an “Incremental Second Lien Term
                              Facility”), so long as, at the time the Borrower seeks commitments in
                              respect of an Incremental Second Lien Term Facility, either (i) the
                              aggregate cash and cash equivalents of the Borrower and its subsidiaries
                              are less than $80.0 million as of such date (or, in the good faith
                              determination of the board of directors of the Borrower, are anticipated
                              to be less than $80.0 million as of the proposed date of incurrence of
                              such Incremental Second Lien Term Facility) or (ii) the board of
                              directors of the Borrower, in its good faith judgment, determines that the
                              incurrence of such Incremental Second Lien Term Facility is in the best
                              interest of the Borrower and its subsidiaries. Incremental Second Lien
                              Term Loans shall be subject to terms and conditions usual and
                              customary for financings of this type to be agreed, including, without
                              limitation, a “most favored nation” provision pursuant to which, if the
                              all-in yield of any Incremental Second Lien Term Loans exceeds the all-
                              in yield of the initial Second Lien Term Loans by more than 50 bps, the
                              interest rate of initial the Second Lien Term Loans shall be automatically
                              increased by a percentage that would cause such all-in yield differential
                              not to exceed 50 bps. No Second Lien Term Lender will have an
                              obligation to make any Incremental Second Lien Term Loan.

PURPOSE:                      The proceeds of the Second Lien Term Loans will be used by the
                              Borrower on the Plan Effective Date (the “Closing Date”) in accordance
                              with and as provided in the Plan and, after the Closing Date, to finance
                              the working capital needs and other general corporate purposes of the
                              Borrower and its subsidiaries.

AVAILABILITY:                 The full amount of the Second Lien Exit Facility must be drawn in a
                              single drawing on the Closing Date; amounts borrowed thereunder that
                              are repaid or prepaid may not be reborrowed.

AMORTIZATION:                 None.

                              All amounts outstanding under the Second Lien Exit Facility shall be
                              paid in full on the Second Lien Term Loan Maturity Date (as defined
                              below).




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INTEREST RATES AND            Interest rates under the Second Lien Exit Facility will be calculated, at
FEES:                         the option of the Borrower, at Adjusted LIBOR (subject to a 1.00%
                              floor) plus the Applicable Margin (as defined below) or ABR (subject to
                              a 2.00% floor) plus the Applicable Margin.

                              Additionally, on each interest payment date, at any time that the
                              aggregate cash and cash equivalents of the Borrower and its subsidiaries
                              is less than $75.0 million as at the end of the most recently ended fiscal
                              quarter, the Borrower may elect, in its sole discretion, to pay a portion of
                              the accrued interest payable on the Second Lien Term Loans in kind (the
                              “PIK Election”) by adding an amount equal to 5.00% per annum to the
                              outstanding principal amount of the Second Lien Term Loans on such
                              interest payment date.

                              “Applicable Margin” is (i) in the case of Adjusted LIBOR loans, 8.00%
                              per annum (or, at any time that the Borrower shall have made a PIK
                              Election, 4.75% per annum) and (ii) in the case of ABR loans, 7.00% per
                              annum (or, at any time that the Borrower shall have made a PIK
                              Election, 3.75% per annum).

                              The Borrower shall pay an upfront fee (the “Upfront Fee”) equal to
                              2.00% of the funded amount of the Second Lien Exit Facility on the
                              Closing Date to the Second Lien Exit Facility Agent for the ratable
                              account of each Second Lien Term Lender. Other than with respect to
                              DIP Loans which are converted into Second Lien Term Loans (with
                              respect to which the Upfront Fee shall be paid in cash), the Upfront Fee
                              shall be paid in the form of original issue discount by deducting such
                              Upfront Fee from the proceeds of the Second Lien Exit Facility on the
                              Closing Date.

FINAL MATURITY:               The Second Lien Exit Facility will mature on the date that is five years
                              after the Closing Date (the “Second Lien Term Loan Maturity Date”).

GUARANTEES:                   All obligations of the Borrower under the Second Lien Exit Facility will
                              be jointly and severally unconditionally guaranteed on a second lien
                              secured basis (the “Second Lien Guarantees”) by the same guarantors
                              that guarantee the First Lien Exit Facility (it being understood that the
                              subsidiary guarantee requirements under the Second Lien Exit Facility
                              will be consistent with the subsidiary guarantee requirements under the
                              First Lien Exit Facility).

SECURITY:                     The obligations of the Borrower under the Second Lien Exit Facility and
                              the Second Lien Guarantees will be secured by a perfected second lien
                              security interest in the same collateral that secures the First Lien Exit
                              Facility (it being understood that the collateral requirements under the
                              Second Lien Exit Facility will be consistent with the collateral
                              requirements under the First Lien Exit Facility).


VOLUNTARY                     Prepayments of borrowings under the Second Lien Exit Facility will be



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PREPAYMENTS:                  permitted at any time without premium or penalty.

REPRESENTATIONS AND           The Second Lien Exit Facility Documents will contain representations
WARRANTIES:                   and warranties acceptable to the Second Lien Term Lenders and
                              substantially consistent with the corresponding provisions set forth in the
                              First Lien Exit Facility Documents.

CONDITIONS PRECEDENT:         The closing of the Second Lien Exit Facility will be subject to conditions
                              precedent acceptable to the Second Lien Term Lenders and usual and
                              customary for financings of this type and otherwise as set forth in the
                              Backstop Commitment Letter and, with respect to documentary
                              conditions, acceptable to the Second Lien Term Lenders and
                              substantially consistent with the corresponding documentary conditions
                              set forth in the First Lien Exit Facility Documents with appropriate
                              modifications to reflect the second lien status of the Second Lien Exit
                              Facility.

AFFIRMATIVE                   The Second Lien Exit Facility Documents will contain affirmative
COVENANTS:                    covenants acceptable to the Second Lien Term Lenders and substantially
                              consistent with the corresponding provisions set forth in the First Lien
                              Exit Facility Documents, with appropriate modifications to reflect the
                              second lien status of the Second Lien Exit Facility.

NEGATIVE COVENANTS:           The negative covenants shall be acceptable to the Second Lien Term
                              Lenders and substantially consistent with the corresponding provisions
                              set forth in the First Lien Exit Facility Documents, with (a) appropriate
                              modifications to reflect the second lien status of the Second Lien Exit
                              Facility, and (b) monetary baskets and thresholds set at an additional
                              cushion to be agreed against the applicable basket or threshold in the
                              First Lien Exit Facility Documents.

FINANCIAL COVENANT:           None.

EVENTS OF DEFAULT:            The Second Lien Exit Facility Documents will contain events of default
                              acceptable to the Second Lien Term Lenders and substantially consistent
                              with the corresponding provisions set forth in the First Lien Exit Facility
                              Documents, with (a) appropriate modifications to reflect the second lien
                              status of the Second Lien Exit Facility and (b) cross-acceleration (instead
                              of cross-default) and cross-payment event of default at maturity to the
                              First Lien Exit Facility.




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                               Exhibit K
               Apache Term Sheet Implementation Agreement




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               First Amended Apache Term Sheet Implementation Agreement

       This FIRST AMENDED IMPLEMENTATION AGREEMENT (the “Agreement”) is

made and entered into effective as of January 1, 2021, by and among (a) Fieldwood Energy LLC,

a Delaware limited liability company (“FWE”), and GOM Shelf LLC, a Delaware limited liability

company (collectively, the “Fieldwood PSA Parties”) and (b) Apache Corporation (“Apache”),

Apache Shelf, Inc., Apache Deepwater LLC, and Apache Shelf Exploration LLC (collectively, the

“Apache PSA Parties”) (each, a “Party” and collectively, the “Parties”) to implement the

transactions contemplated by or related to the term sheet attached hereto as Exhibit A (the

“Apache Term Sheet”).

                                           RECITALS

       WHEREAS, on July 31, 2020, the Parties executed a letter agreement whereby each of the

Parties agreed (i) to work to implement the terms of the Apache Term Sheet in accordance

therewith and (ii) to execute and support a restructuring support agreement with certain consent

rights for Apache and consistent in all respects with the terms of the Apache Term Sheet;

       WHEREAS, commencing on August 3, 2020 (the “Petition Date”), FWE and certain of

its affiliates each filed with the United States Bankruptcy Court for the Southern District of Texas

(the “Bankruptcy Court”) a voluntary case under chapter 11 of title 11 of the United States Code;

       WHEREAS, Apache asserts that it holds prepetition audit claims against FWE related to

(a) the 2013 audit of WC 72 for 2011-12 for the remaining amount of $10,222.37 which amount

was included on the April 2016 JIB relating to ENI’s debit pay, (b) credits from Noble Energy to

Apache for VK 917 and 962 as shown on the August 2018 JIB in the amount of $11,413.53, and

(c) joint venture expenditure audits #17.2.12 relating to East Breaks 158/159 for 2017, #19.2.11

relating to the Main Pass 302 #B19 Well for 2019, #19.2.12 relating to East Breaks 158/159 for

2019, and #19.2.22 relating to Viosca Knoll 917/961/962 (Swordfish) for 2019 in the aggregate
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net amount of $115,969 (collectively, the “Apache Audit Claims”); Apache, as a beneficiary of

The Fieldwood Decommissioning Trust A (“Trust A”) created pursuant to that certain Trust

Agreement, dated September 30, 2013, by and among the Fieldwood PSA Parties, as Settlors and

Primary Beneficiaries, and the Apache PSA Parties and Apache Shelf Exploration LLC, as

Secondary Beneficiaries, as amended, and pursuant to an audit conducted on behalf of Trust A

relating to the Fourth and Fifth Amendments to the Decommissioning Agreement, asserts that it

holds prepetition claims against FWE relating to funds allegedly improperly withdrawn from Trust

A in the aggregate amount of approximately $1,514,236.00 (the “Apache Trust A Claims”); and

Apache asserts that it holds claims against FWE related to FWE’s obligations under the

Decommissioning Agreement 1 (the “Decommissioning Claims” and, together with the Apache

Audit Claims, the Apache Trust A Claims, and any other prepetition claim Apache may assert, the

“Apache Claims”);

        WHEREAS, the Bankruptcy Court has established a general bar date of 5:00 p.m. (Central

Time) on November 25, 2020 (the “General Bar Date”) for filing proofs of claim against the

Fieldwood PSA Parties; the Parties hereto entered into that certain stipulation, dated as of

November 24, 2020, thereby agreeing to extend the General Bar Date as to the Apache Claims in

contemplation of the resolution of the Apache Claims as set forth in the RSA (as defined below),

the Apache Term Sheet, and the Apache Definitive Documents (as defined below);




1
  Specifically, per the terms of the Decommissioning Agreement (each capitalized term used herein without definition
is as defined in the Decommissioning Agreement), FWE’s Required Spend for decommissioning the Legacy Apache
Properties for Plan Year 2020 was $80,000,000.00. According to FWE’s records, only approximately $31,730,441.00
was spent by FWE in Plan Year 2020 on such decommissioning obligations, creating a shortfall of the Required Spend
of approximately $48,269,559 (the “2020 Shortfall”). Upon Apache’s information and belief, FWE has not funded
the 2020 Shortfall into Trust A, as required pursuant to the terms of the Decommissioning Agreement. Accordingly,
one of the Decommissioning Claims Apache asserts it holds against FWE is for the 2020 Shortfall.




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        WHEREAS, that certain Restructuring Support Agreement, dated as of August 4, 2020 (as

amended, 2 the “RSA”), was entered into by and among (i) the Company 3 (including the Fieldwood

PSA Parties); (ii) the Consenting FLTL Lenders; (iii) the Consenting SLTL Lenders (together with

the Consenting FLTL Lenders, the “Consenting Creditors”); and (iv) Apache (collectively, the

“RSA Parties”), pursuant to which the RSA Parties agreed to support a financial restructuring of

the Company as provided therein;

        WHEREAS, the Company and the Consenting Creditors have agreed that certain interests

in certain non-Legacy Apache Properties and the properties included in the fields listed on

Schedule A to the Apache Term Sheet as “Ownership and Operatorship” (the “Retained

Properties”) (such non-Legacy Apache Properties and the Retained Properties, collectively, the

“Credit Bid Acquired Interests”) will be sold and conveyed to, and certain liabilities and

obligations of the Debtors will be assumed by and will constitute liabilities and obligations of

(such liabilities and obligations, collectively, the “Credit Bid Assumed Liabilities”), an entity to

be formed for purposes of consummating the transactions under the Credit Bid Purchase

Agreement (“Credit Bid Purchaser”), pursuant to a purchase and sale agreement (the “Credit

Bid Purchase Agreement”);

        WHEREAS, pursuant to the RSA, the Company agreed to, among other things:

(i) negotiate in good faith the definitive documents implementing the transactions contemplated

by or relating to the Apache Term Sheet (the “Apache Definitive Documents”); (ii) use

commercially reasonable efforts to execute and deliver the Apache Definitive Documents; and


2
  Since the RSA was executed on August 4, 2020, additional lenders holding FLTL Claims and/or SLTL Claims
have executed joinders to the RSA, including members of the ad hoc group of holders of Prepetition SLTL Loans
that is represented by the Ad Hoc Group of SLTL Advisors (each as defined in the Plan (as defined below)).
3
  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the RSA, unless
indicated otherwise.




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(iii) use commercially reasonable efforts to consummate the transactions contemplated under the

Apache Definitive Documents;

       WHEREAS, pursuant to the RSA, Apache agreed to, among other things: (i) support and

take all actions necessary or reasonably requested by the Company to facilitate the finalization of

the Apache Definitive Documents; and (ii) support and take all actions necessary or reasonably

requested by the Company to facilitate the transactions contemplated under the Apache Definitive

Documents;

       WHEREAS, pursuant to the RSA, the Apache Definitive Documents shall be in a form

reasonably acceptable to the Company, Apache, the Requisite DIP Commitment Parties, and the

Requisite FLTL Lenders;

       WHEREAS, pursuant to the Apache Term Sheet, Apache acknowledged and agreed that

the Apache Definitive Documents shall be subject to the approval of holders of consent rights as

set forth in the RSA, which approval shall not be unreasonably withheld, it being understood that

good faith negotiations with respect to matters not addressed in the Apache Term Sheet or the

Restructuring Term Sheet shall not be considered unreasonably withholding approval;

       WHEREAS, the Apache Term Sheet provides that the parties thereto agree to negotiate

mutually agreeable Apache Definitive Documents no later than 45 days after the Petition Date,

which deadline the Parties have mutually agreed to extend to January 1, 2021;

       WHEREAS, the RSA provides that it shall be a DIP Commitment Parties Termination

Event if the Company shall not have complied with the deadline requiring the finalization of the

Apache Definitive Documents by no later than 75 days after the Petition Date, which deadline has

been extended to January 1, 2021;




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       WHEREAS, pursuant to that certain Senior Secured Debtor-In-Possession Term Loan

Credit Agreement, dated as of August 24, 2020, among Fieldwood Energy Inc., Fieldwood Energy

LLC, the Several Lenders, from time to time, and Cantor Fitzgerald Securities, the Apache

Definitive Documents shall be finalized no later than 75 days after the Petition Date, which

deadline has been extended to January 1, 2021;

       NOW, THEREFORE, in consideration of the mutual covenants and agreements set forth

in this Agreement, and for other good and valuable consideration, the receipt and sufficiency of

which are hereby acknowledged, the parties, intending to be legally bound, agree as follows:

                 1.      Apache Definitive Documents.      The documents below comprise the

Apache Definitive Documents as contemplated in the RSA and the Apache Term Sheet:

       a.        Conversion of FWE into a Texas Limited Liability Company.

                 (i)     Certificate of Conversion (DE) (FWE). Annexed hereto as Exhibit 1.

                 (ii)    Certificate of Conversion (TX) (FWE). Annexed hereto as Exhibit 2.

                 (iii)   Plan of Conversion (TX) (FWE). Annexed hereto as Exhibit 3.

                 (iv)    Certificate of Formation (TX) (FWE). Annexed hereto as Exhibit 4.

       b.        Divisional Merger Documents.

                 (i)     Agreement and Plan of Merger (TX) (FWE) (the “Plan of Merger”).

Annexed hereto as Exhibit 5.

                 (ii)    Certificate of Merger (TX) (FWE). Annexed hereto as Exhibit 5A.

                 (iii)   Certificate of Formation (TX) (Fieldwood Energy I LLC). Annexed hereto

as Exhibit 5B.

       c.        Fieldwood Energy I LLC Agreement. Annexed hereto as Exhibit 6.

       d.        ST 308 Bond Form. Annexed hereto as Exhibit 7.




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       e.      Standby Credit Facility Documents (collectively, the “Standby Credit Facility

Documents”).

               (i)     Standby Loan Agreement. Annexed hereto as Exhibit 8.

               (ii)    Security Agreement. Annexed hereto as Exhibit 9.

               (iii)   Guarantee (Fieldwood Energy I LLC). Annexed hereto as Exhibit 10.

               (iv)    Guarantee (GOM Shelf LLC). Annexed hereto as Exhibit 11.

               (v)     Form of Mortgages. Annexed hereto as Exhibit 12.

       f.      Form of Amendment to Unit Operating Agreement. Annexed hereto as Exhibit 13,

the form of which shall be modified in a manner consistent with the Apache Term Sheet and this

Agreement to amend each operating agreement with respect to the properties included in the fields

listed on Schedule A to the Apache Term Sheet as solely “Operatorship” for which Credit Bid

Purchaser shall become operator, which amendments shall be subject to the same consent rights

of the Required DIP Lenders and Requisite FLTL Lenders as for the Apache Definitive

Documents, and the Parties shall enter into such amendments prior to the closing of the transactions

contemplated by the Credit Bid Purchase Agreement.

       g.      Farmout Agreement. Annexed hereto as Exhibit 14.

       h.      Transition Services Agreement. Annexed hereto as Exhibit 15.

       i.      SEMS Bridging Agreement. Annexed hereto as Exhibit 16.

       j.      Amended BriarLake Sublease. Annexed hereto as Exhibit 17.

       k.      Certification of Rights. Annexed hereto as Exhibit 18.

               2.      Execution of Apache Definitive Documents; Good Faith Cooperation.

Each Party agrees, and Apache expressly acknowledges, that the Company and the Apache PSA

Parties have satisfied the requirements under the Apache Term Sheet and the RSA to negotiate




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mutually agreeable Apache Definitive Documents by the relevant deadlines set forth therein.

Subject to and in accordance with the terms of the RSA and Apache Term Sheet, each of the Parties

shall negotiate any exhibits, amendments, modifications or supplements to the Apache Definitive

Documents in good faith and agree to exercise commercially reasonable efforts with respect to the

negotiation, pursuit, approval, execution, delivery, implementation, and consummation of the

Apache Definitive Documents. The Parties may, by mutual agreement, amend, modify, or

supplement the forms of the Apache Definitive Documents attached hereto or negotiate to add

additional documents to the list of Apache Definitive Documents, consistent with the terms and

conditions herein, in the RSA, and in the Apache Term Sheet, and subject to the consent rights of

the Parties in the RSA and the Apache Term Sheet, as necessary or desirable to effectuate the

Apache Term Sheet and a chapter 11 plan of reorganization that incorporates the transactions

contemplated in the Apache Definitive Documents (the “Plan”). Subject to the immediately

preceding sentence, the Parties shall execute and deliver the Apache Definitive Documents on or

before the effective date of the Plan (the “Effective Date”). Each Party agrees to use commercially

reasonable efforts to execute and deliver the instruments, forms and filings (including any BOEM

designation of operator forms and designated applicant Oil Spill Financial Responsibility

(“OSFR”) form designations and any instruments, forms and filings required by BSEE) that are

necessary to designate and appoint under all applicable laws and contracts the Credit Bid Purchaser

as operator (and, as applicable, the designated applicant under OSFR for) the Credit Bid Acquired

Interests as promptly as practicable following the closing of the Credit Bid Purchase Agreement,

and in any case, prior to the execution and delivery of the instruments, forms and filings (including

any BOEM designation of operator forms and designated applicant OSFR form designations and




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any instruments, forms and filings required by BSEE) that may be required in connection with the

implementation of the Divisive Merger (as defined below).

               3.     FWE I Exhibits to the Plan of Merger. Exhibits I-A(i) through I-K(iii) to

Schedule I to the Plan of Merger (collectively, the “FWE I Exhibits”) set forth a list of Legacy

Apache Properties, which FWE I Exhibits the Apache PSA Parties and the Fieldwood PSA Parties

hereto respectively acknowledge are subject to the ongoing review and consent rights of the

Consenting Creditors under the RSA (which consent has not yet been provided), and the Apache

PSA Parties and Fieldwood PSA Parties agree that the FWE I Exhibits are subject to modification

based on such review to be consistent with the Apache Term Sheet.

               4.     Plan and Confirmation Order. As provided in the RSA, provisions in the

Plan and Confirmation Order that directly affect the structure of FWE I outlined in the Apache

Term Sheet or the economic treatment of Apache remain subject to Apache’s review and must be

in form and substance reasonably acceptable to Apache, and the Plan and Confirmation Order shall

be in form and substance reasonably acceptable to the Debtors, the Requisite DIP Commitment

Parties, and the Requisite FLTL Lenders at all times. To facilitate the implementation of the

Apache Term Sheet and the Apache Definitive Documents pursuant to the Plan as contemplated

in the RSA and the Apache Term Sheet, the Parties agree that subject to the negotiation of mutually

agreeable definitive language, any order of the Bankruptcy Court confirming the Plan (the

“Confirmation Order”) shall provide for the following:

               (i)    FWE shall pay up to $5.5 million of reasonable and documented fees and

expenses of Apache related to the formation of Fieldwood Energy I LLC (“FWE I”) and FWE’s

restructuring, including the negotiation and preparation of the Apache Definitive Documents

(collectively, the “Apache Fees and Expenses”); provided that amounts paid to Apache on




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account of the Apache Fees and Expenses shall not be subject to disgorgement unless the

transactions contemplated in the Apache Definitive Documents fail to close as a result of Apache’s

breach of the RSA.

                (ii)    The Prepetition FLFO Lenders, Prepetition FLTL Lenders, and Prepetition

SLTL Lenders shall release (and/or cause the applicable administrative agent or collateral agent to

release) all liens and encumbrances on, interests in, and claims against the Legacy Apache

Properties (as defined in the Apache Term Sheet) and the other FWE I Assets (as defined in Part

A of Schedule I to the Plan of Merger) and the Consenting Creditors shall release the Apache PSA

Parties from any and all causes of action and claims of any kind related to the Legacy Apache

Properties arising prior to the date of the Apache Term Sheet Implementation Agreement.

                (iii)   FWE’s assets to be allocated to, possessed by, assumed by, and vested in

FWE I and Fieldwood Energy III LLC (“FWE III”), respectively, pursuant to the transactions

contemplated by and in accordance with the Plan of Merger (the “Divisive Merger”), including

contracts, leases, oil and gas leases and assets constituting real property interests (including all fee

surface interests in land, surface leases, easements, rights of way, servitudes, licenses, franchises,

road, railroad, and other surface use permits or agreements), shall be (a) free and clear of (i) any

right of consent, notice, and other similar rights, if any, that are applicable to the vesting of the

assets in connection with the Divisive Merger (such rights, the “Consent Rights”) and (ii) all

preferential purchase rights, rights of first refusal, drag-along rights, tag-along rights, and other

similar rights, if any, that are applicable to the vesting of the assets in connection with the Divisive

Merger (such rights, the “Preferential Purchase Rights”), but (b) subject to and burdened by

(x) the liabilities and obligations allocated to and vested in, respectively, FWE I or FWE III, as

specified in the Plan of Merger, pursuant to the Divisive Merger (collectively, “Allocated




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Obligations”) and (y) Permitted Post-Closing Liens (as defined in the Schedule of Defined Terms

for Required Confirmation Order Provisions, attached hereto as Exhibit B).

               (iv)    Entities (as defined under section 101(15) of the Bankruptcy Code) or

Parties that fail to timely file an objection are (a) forever barred from objecting to the allocation

and vesting of the assets in connection with the Divisive Merger free and clear of all Consent

Rights and Preferential Purchase Rights, and from asserting any alleged Consent Rights or

Preferential Purchase Rights with respect to the Divisive Merger, and (b) deemed to consent to

and approve the allocation and vesting of the assets free and clear of all Consent Rights and

Preferential Purchase Rights, regardless of whether such consent must be in writing pursuant to

the terms of any agreement.

               (v)     Subject to the Implementation Costs Cap (as defined below), FWE III shall,

and shall cause its debtor affiliates in the above-captioned chapter 11 cases to, on the Effective

Date, provide for the payment of any and all documentary, filing, recording, stamp, and registration

fees, costs, taxes, and expenses (including all reasonable and documented attorneys’ fees and

regulatory consultant fees) incurred or imposed after the Effective Time (as defined in the Plan of

Merger) in connection with the filing of record by or on behalf of FWE I or GOM Shelf LLC of

any instrument or instruments with the appropriate records office of any county, parish, state,

federal, or other governmental unit (including BOEM) that may be required in connection with the

implementation of the Divisive Merger or that either FWE I or GOM Shelf LLC determines in its

respective sole discretion to be necessary or appropriate to reflect in the appropriate records of any

governmental unit that as a result of the Divisive Merger (a) ownership of the FWE I Assets have

been allocated to and are vested in FWE I (and to the extent appropriate to reflect ownership of

the GOM Shelf Properties (as defined in the Plan of Merger) in GOM Shelf LLC), and (b) the




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Allocated Obligations have been allocated to and vested in, and constitute liabilities and

obligations of, FWE I and FWE III, respectively (collectively, the “Implementation Costs”). For

the avoidance of doubt, the documentary, filing, recording, stamp, and registration fees of FWE I

or GOM Shelf LLC, shall include such costs and expenses required to file or to cause to be filed

of record in the records office, as determined by Apache to be appropriate, of any county, parish,

state, federal, or other governmental unit (including BOEM) of the mortgages, security interests

and similar security documentation as is contemplated by the Standby Loan Agreement and the

Standby Credit Facility Documents to secure the obligations of FWE I and GOM Shelf LLC

thereunder. Any Implementation Costs that exceed the Implementation Costs Cap shall be the sole

responsibility of and paid for by FWE I.

               (vi)    Upon the Effective Date of the Plan, the Decommissioning Agreement shall

be assumed, with the consent of the Apache PSA Parties, by the Fieldwood PSA Parties and, upon

consummation of the transactions provided for in the Plan of Merger, become the obligation of

FWE I. Any Cure Amounts payable as a result of assumption of the Decommissioning Agreement,

which amount will be mutually agreed between the Parties prior to confirmation of the Plan and

scheduled as a Cure Amount, shall include any amounts relating to the Apache Claims (including

the Apache Trust A Claims and the Decommissioning Claims) and shall be paid into Trust A on

the Effective Date or as soon as reasonably practicable thereafter but in no event later than ten (10)

business days following the Effective Date. Payment of any mutually agreed Cure Amount as a

result of assumption of the Decommissioning Agreement does not constitute an admission by any

Party that a default exists or existed at any time under the Decommissioning Agreement.

               (vii)   Except for the rights and remedies to enforce (a) the Decommissioning

Agreement against GOM Shelf LLC and FWE I following the Divisive Merger (which agreement




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shall be allocated to FWE I and GOM Shelf LLC under the Divisive Merger), (b) the Plan, (c) the

Confirmation Order, and (d) the obligations contemplated by the Apache Definitive Documents,

the Apache PSA Parties shall be deemed Releasing Parties (as defined in the Plan) under the Plan

and waive and release any and all pre-Effective Date claims of any kind (including, without

limitation, the Apache Audit Claims, the Apache Trust A Claims and any claims that could qualify

as administrative expense claims) against the Debtors, their estates and any other Released Party

(as defined in the Plan), in all circumstances only to the extent such claims accrued on or prior to

the Effective Date and only to the extent such releases do not impair the Decommissioning

Security, or Apache’s ability to draw on the Decommissioning Security in any respect. For the

avoidance of doubt, any and all claims the Apache PSA Parties may have against FWE I related

to the Decommissioning Agreement arising post-Effective Date and any security obtained,

provided,   or     pledged   in   connection   with    the   Decommissioning      Agreement     (the

“Decommissioning Security”) will be preserved.

                 (viii) Except for the rights and remedies to enforce (a) the Decommissioning

Agreement against the Apache PSA Parties following the Divisive Merger, (b) the Plan, (c) the

Confirmation Order, and (d) the obligations contemplated by the Apache Definitive Documents,

the Debtors shall waive and release any and all pre-Effective Date claims of any kind against the

Apache PSA Parties, in all circumstances only to the extent such claims accrued on or prior to the

Effective Date. For the avoidance of doubt, any and all claims FWE I may have against the Apache

PSA Parties related to the Decommissioning Agreement arising post-Effective Date and the

Decommissioning Security will be preserved.

                 (ix)   With respect to all bonds and letters of credit constituting Decommissioning

Security, all claims for premiums, fees, reimbursement, indemnification, or any other claims,




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fixed, contingent, liquidated, unliquidated, or otherwise against the Debtors held by the companies

issuing the bonds or letters of credit, shall neither be allocated to nor become the obligations of

FWE I under the Plan of Merger. Notwithstanding the foregoing, all rights of the Apache PSA

Parties with respect to such bonds and letters of credit shall be preserved as against such bonding

companies and letter of credit issuers in all respects. The Debtors shall not terminate any bonds

issued on behalf of the Debtors relating to the Legacy Apache Properties under which any federal,

state or local governmental entity is an obligee.

               (x)     With respect to the agreements and memberships relating, in whole or in

part, to well containment/control, clean-up of spills, or other pollution, or the gathering of data

relating to certifications required to be made to a governmental unit with respect to the FWE I

Assets (as defined in the Plan of Merger) or GOM Shelf Oil and Gas Properties (as defined in the

Plan of Merger), to the extent any such agreements or memberships are also needed in respect to

any Credit Bid Acquired Interests or FWE III Assets (as defined in the Plan of Merger) that are set

forth on Exhibit 23 hereto, then on or before the Effective Date, FWE shall obtain new agreements

and membership for such use with respect to the Credit Bid Acquired Interests or FWE III Assets.

With respect to any Excluded Contracts (as defined in the Plan of Merger), FWE shall, on or before

the Effective Date, prepare and negotiate replacement agreements with the counterparties to such

Excluded Contracts upon substantially the same terms as such Excluded Contracts which may be

executed by FWE I immediately following the Effective Date.

               (xi)    The Fieldwood PSA Parties and the Apache PSA Parties may, by mutual

agreement, amend and modify, without the consent of the Consenting Creditors, the forms of the

agreements governing the terms of employment of the Independent Director (as defined in the

Apache Term Sheet) of FWE I and of the “sole manager” (as that term is used in the Apache Term




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Sheet) of FWE I (the “Sole Manager”), and the form of the agreement with the “service provider”

(as that term is used in the Apache Term Sheet) of FWE I (the “Contract Services Provider”) to

be included in the bid package for the Contract Services Provider (collectively, such forms of

agreement comprise the “Fieldwood I Administrative Documents”).

               (xii)   The Bankruptcy Court (i) approves the Apache Definitive Documents and

all transactions contemplated by the Apache Term Sheet Implementation Agreement, including

the Plan of Merger and Standby Credit Facility Documents, and all actions to be taken,

undertakings to be made, and obligations to be incurred by FWE I contemplated thereby; and

(ii) following the consummation of the Plan of Merger, authorizes FWE I, without further notice

to or action, order, or approval of this Bankruptcy Court and without the need for any further

corporate or shareholder action, to enter into, deliver, and fully perform its obligations under the

Apache Definitive Documents, including without limitation, the Standby Credit Facility

Documents. Upon entry of the Confirmation Order, FWE I or the Sole Manager, as applicable,

shall be authorized and empowered, without further approval of the Bankruptcy Court or any other

party, to take such actions and perform such acts as may be necessary, convenient, desirable, or

appropriate to execute and deliver the Apache Definitive Documents in accordance with the Plan

and to execute and deliver all documents relating thereto and to perform all of their obligations

thereunder. On the Effective Date, the Apache Definitive Documents shall constitute legal, valid,

binding, and authorized obligations of FWE I, enforceable in accordance with their terms, and

such obligations of FWE I shall not be enjoined or subject to discharge, impairment, release,

avoidance, recharacterization, or subordination by FWE I or the Post-Effective Date Debtors (as

defined in the Plan) under applicable law, the Plan, or the Confirmation Order. On the Effective

Date, all liens granted pursuant to, or in connection with, the Apache Definitive Documents shall




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be deemed granted by FWE I and/or GOM Shelf LLC, in each case, pursuant to the Apache

Definitive Documents. On the Effective Date, all liens granted pursuant to, or in connection with

Apache Definitive Documents, as applicable, (i) shall be valid, binding, perfected, enforceable

liens and security interests in the property described in the applicable Apache Definitive

Documents granted by FWE I and/or GOM Shelf LLC pursuant to the Apache Definitive

Documents, as applicable, with the priorities established in respect thereof under applicable non-

bankruptcy law and the Apache Definitive Documents, including, but not limited to, the

Mortgages, Security Agreement or Standby Loan Agreement and (ii) shall not be enjoined or

subject to discharge, impairment, release, avoidance, recharacterization, or subordination by

FWE I and/or GOM Shelf LLC under applicable law, the Plan, or the Confirmation Order. For

the avoidance of doubt, the liens granted to Apache pursuant to the Recharacterization Mortgages

(as such term is defined in the Decommissioning Agreement, as amended from time to time, and

as supplemented by the Recharacterization Mortgages) upon any recharacterization of the Trust A

or Trust A-1 NPIs (as such terms are defined in the Decommissioning Agreement, as amended

from time to time, and as supplemented by the Recharacterization Mortgages) shall be senior in

all respects to any other liens.

                5.      Implementation Costs Cap. No later than twenty-one (21) days after the

effective date of this Agreement (as such date may be extended upon mutual written consent by

the Parties including via email), the Parties shall mutually agree in good faith on the estimated

amount of Implementation Costs to be funded by the Debtors (such amount, the “Implementation

Costs Cap”).     In the event the Parties are unable to reach a mutual agreement as to the

Implementation Costs Cap, the determination shall be submitted to and determined by the law firm

of Geiger Laborde & Laperouse, LLC (the “Referee”). If the Referee shall be responsible for




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determining the Implementation Costs Cap, each Party will be required to submit its respective

estimate regarding the Implementation Costs Cap to the Referee. The Referee will then conduct

its own investigation and issue its decision regarding the Implementation Costs Cap, where such

amount shall not be (i) higher than the highest estimate submitted by a Party, or (ii) lower than the

lowest estimate submitted by a Party. The Referee’s decision shall be considered final and binding.

Moreover, the Parties will each pay half of the total costs relating to the Referee’s determination

of the Implementation Costs Cap. The Apache PSA Parties’ portion of such costs shall not be

considered Apache Fees and Expenses.

               6.      Fieldwood I Administrative Documents. The documents below comprise

the Fieldwood I Administrative Documents:

               (i)     Sole Manager Agreement. Annexed hereto as Exhibit 19.

               (ii)    Independent Director Agreement. Annexed hereto as Exhibit 20.

               (iii)   Form of Contract Services Agreement, to be included in the bid package for

the Contract Services Provider. Annexed hereto as Exhibit 21.

               (a)     Any waivers, amendments, or modifications made to the Fieldwood I

Administrative Documents or any provisions contained therein shall be made by mutual agreement

between the Fieldwood PSA Parties and the Apache PSA Parties without the consent of the

Consenting Lenders.

               7.      Termination of Agreement and Tolling of General Bar Date.

               (a)     This Agreement shall terminate upon the earlier to occur of (i) the

termination of the RSA and (ii) the termination of Apache as a party to the RSA. Upon termination

of this Agreement, each Party shall be immediately released from its obligations, commitments,

undertakings and agreements under or related to this Agreement; provided that in no event shall




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any such termination relieve a Party from liability for its breach or non-performance of its

obligations hereunder prior to the date of such termination.

               (b)     Notwithstanding the General Bar Date, the Parties agree that Apache shall

not file a proof of claim against the Debtors on account of the Apache Claims until after the earliest

to occur of the following (the date of the earliest to occur of the following, the “Apache POC

Filing Date”): (i) the date that this Agreement is terminated, (ii) the date that FWE, without

Apache’s express, written consent, files a plan of reorganization materially inconsistent with the

RSA, the Apache Term Sheet, or the Apache Definitive Documents, (iii) the date that FWE’s

chapter 11 case is converted to a case under chapter 7, and (iv) January 15, 2021 if the RSA has

not been amended to modify or remove the requirement that Apache timely vote its Claims and

Interests to accept the Plan contemplated by the RSA. Following the occurrence of the Apache

POC Initial Filing Date, at any time within the period of thirty (30) days after the Apache POC

Initial Filing Date, Apache shall have the right to file a proof of claim or proofs of claim against

the Debtors on account of the Apache Claims. The terms of this paragraph 7(b) shall survive the

termination of this Agreement.

               8.      363 Credit Bid Transaction. In the event the credit bid sale transaction to

Credit Bid Purchaser (or another special purpose bidding entity formed by or at the direction of

the Prepetition FLTL Lenders) is pursued pursuant to section 363 of the Bankruptcy Code as

contemplated in the Plan (the “363 Credit Bid Transaction”), the Apache PSA Parties agree,

consistent with their obligations under the RSA, to support and take reasonable actions to facilitate

the 363 Credit Bid Transaction, and cooperate in good faith with Debtors, the Required DIP

Lenders and Requisite FLTL Lenders to facilitate the 363 Credit Bid Transaction, including,

without limitation, by making any amendments to the Apache Definitive Documents; provided




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that no such actions shall require the Apache PSA Parties to alter the economics of the Apache

Definitive Documents without the Apache PSA Parties’ express written consent.

                 9.       Credit Bid Purchase Agreement Terms. 4

                 (a)      The terms of the Credit Bid Purchase Agreement (or an alternative purchase

and sale agreement conveying the Credit Bid Acquired Interests to a buyer) that relate to (i) the

scope of Credit Bid Assumed Liabilities (including payables with respect to the Legacy Apache

Properties and the Retained Properties) to be assumed by the buyer thereunder and any indemnities

with respect thereto and (ii) the scope of receivables with respect to the Legacy Apache Properties

to be assigned to the buyer and the obligations that may be imposed on FWE I with respect to the

collection of such receivables ((i) and (ii), collectively, the “Specified Credit Bid Terms”) shall

be in form and substance acceptable to Apache and the Debtors.

                 (b)      The Parties agree that the terms as set forth on Exhibit 22 that relate to the

Specified Credit Bid Terms are acceptable to Apache and the Debtors to address the Specified

Credit Bid Terms in the Credit Bid Purchase Agreement (or an alternative purchase and sale

agreement conveying the Credit Bid Acquired Interests to a buyer), and any terms contained in the

Credit Bid Purchase Agreement (or an alternative purchase and sale agreement conveying the




4
  The Consenting Creditors agreed under the Apache Term Sheet that “any outstanding accounts receivable and
accounts payable associated with the Legacy Apache Properties as of the effective date of Fieldwood’s plan of
reorganization shall be retained by [Credit Bid Purchaser].” However, for the avoidance of doubt, any language in
Paragraph 9 or Exhibit 22 of this Agreement that differs from, supplements, modifies or is otherwise inconsistent
with the foregoing language in the Apache Term Sheet (including, without limitation, any language that relates to
items that are not accounts payable associated with the Legacy Apache Properties as of the effective date of
Fieldwood’s plan of reorganization being retained by Credit Bid Purchaser or any language that relates to items that
are accounts receivable associated with the Legacy Apache Properties as of the effective date of Fieldwood’s plan of
reorganization not being retained by Credit Bid Purchaser) has not been agreed to by the Consenting Creditors, and
the Consenting Creditors reserve all rights with respect to any such difference, supplement, modification or
inconsistency.




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Credit Bid Acquired Interests to a buyer) that relate to the Specified Credit Bid Terms, other than

as set forth on Exhibit 22, must be in form and substance acceptable to Apache and the Debtors.

               10.     Transfer of Retained Properties.           Notwithstanding anything to the

contrary herein, any Retained Properties transferred to Credit Bid Purchaser (or another special

purpose bidding entity formed by or at the direction of the Prepetition FLTL Lenders) in a credit

bid sale transaction shall be conveyed in accordance with the Decommissioning Agreement. Any

amounts payable to Trust A on account of such transfer shall be the obligation of FWE I. Apache

agrees to work with FWE and the Trust A trustee to obtain the required releases from Trust A and

conveyances of such interest to Credit Bid Purchaser in connection with this transfer.

               11.     Effectiveness; Counterparts. This Agreement shall become effective and

binding upon each Party upon the execution and delivery by such Party of an executed signature

page hereto and shall become effective and binding on all Parties on the date when all Parties have

executed and delivered a signature page hereto. This Agreement may be executed in several

counterparts, each of which shall be deemed to be an original, and all of which together shall be

deemed to be one and the same agreement. Execution copies of this Agreement may be delivered

by electronic mail, or otherwise, which shall be deemed to be an original for the purposes of this

paragraph.

               12.     Governing Law; Jurisdiction; Waiver of Jury Trial. To the maximum

extent permitted by applicable law, this Agreement is governed by and is to be construed in

accordance with the internal laws of the State of Texas, without giving effect to any principles of

conflicts of law thereunder that would result in the application of the laws of any other jurisdiction.

Each Party irrevocably agrees that any legal action, suit, or proceeding arising out of or relating to

this Agreement brought by any party or its successors or assigns shall be brought and determined




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in the Bankruptcy Court and each Party hereby irrevocably submits to the exclusive jurisdiction of

the Bankruptcy Court, and if the Bankruptcy Court does not have (or abstains from) jurisdiction,

Courts of the State of Texas and of the United States District Court of the Southern District of

Texas, and any appellate court from any thereof, for itself and with respect to its property, generally

and unconditionally, with regard to any such proceeding arising out of or relating to this

Agreement. Each Party further agrees that notice as provided herein shall constitute sufficient

service of process and the Parties further waive any argument that such service is insufficient.

Each Party hereby irrevocably and unconditionally waives, and agrees not to assert, by way of

motion or as a defense, counterclaim or otherwise, in any proceeding arising out of or relating to

this Agreement, (a) any claim that it is not personally subject to the jurisdiction of the Bankruptcy

Court as described herein for any reason, (b) that it or its property is exempt or immune from

jurisdiction of such court or from any legal process commenced in such court (whether through

service of notice, attachment prior to judgment, attachment in aid of execution of judgment,

execution of judgment, or otherwise) and (c) that (1) the proceeding in such court is brought in an

inconvenient forum, (2) the venue of such proceeding is improper, or (3) this Agreement, or the

subject matter hereof, may not be enforced in or by such court. EACH OF THE PARTIES

HERETO HEREBY IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED

BY APPLICABLE LAW, ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY ACTION OR

PROCEEDING ARISING OUT OF RELATING TO THIS AGREEMENT. EACH PARTY

CERTIFIES THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER

PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER

PARTY WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE

FOREGOING WAIVER.




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               13.     Notices. All notices hereunder shall be deemed given if in writing and

delivered, if contemporaneously sent by electronic mail, courier or by registered or certified mail

(return receipt requested) to the following addresses:

                (1)    If to the Fieldwood PSA Parties, to:

                Fieldwood Energy LLC
                2000 W. Sam Houston Parkway S., Suite 1200
                Houston, Texas 77042
                Attention: Thomas R. Lamme

                With a copy to:

                Weil, Gotshal & Manges LLP
                767 Fifth Avenue
                New York, NY 10153
                Attention: Matt Barr, Esq. (matt.barr@weil.com)
                           Alfredo Peréz, Esq. (alfredo.perez@weil.com)
                           Jessica Liou, Esq. (jessica.liou@weil.com)

                (2)    If to the Apache PSA Parties, to:

                Apache Corporation
                2000 Post Oak Boulevard, Suite 100
                Houston, Texas 77056-4400
                Attention: Anthony Lannie and Brett Cupit

                With a copy to:

                Hunton Andrews Kurth LLP
                600 Travis Street
                Suite 4200
                Houston, Texas 77002
                Attention: Robin Russell, Esq. (RRussell@andrewskurth.com)
                           Catherine Diktaban, Esq. (CDiktaban@hunton.com)

               14.     Amendments. Neither this Agreement nor any provision hereof may be

waived, amended, or modified except pursuant to an agreement or agreements in writing entered

into by the Fieldwood PSA Parties and the Apache PSA Parties.

                                   [Signature Pages to Follow]




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                                     Exhibit A

                           The “Apache Term Sheet”




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                                      Exhibit 1

                     Certificate of Conversion (DE) (FWE)




                [Exhibit to Apache Term Sheet Implementation Agreement]
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                    STATE OF DELAWARE
               CERTIFICATE OF CONVERSION
       FROM A DELAWARE LIMITED LIABILITY COMPANY
                TO A NON-DELAWARE ENTITY
              PURSUANT TO SECTION 18-216 OF
           THE LIMITED LIABILITY COMPANY ACT


1.) The name of the Limited Liability Company is ____________________________
  Fieldwood Energy LLC
  ________________________________________________________________.

   (If changed, the name under which it’s certificate of formation was originally
   filed: _______________________________________________________________)

2.) The date of filing of its original certificate of formation with the Secretary of
         11/5/2012
State is _______________________________________________________________.

3.) The jurisdiction in which the business form, to which the limited liability company
                                                       Texas
shall be converted, is organized, formed or created is ___________________________.

4.) The conversion has been approved in accordance with this section;

5.) The limited liability company may be served with process in the State of Delaware in
any action, suit or proceeding for enforcement of any obligation of the limited liability
company arising while it was a limited liability company of the State of Delaware, and
that it irrevocably appoints the Secretary of State as its agent to accept service of process
in any such action, suit or proceeding.

6.) The address to which a copy of the process shall be mailed to by the Secretary of State
is
    CAPITOL CORPORATE SERVICES, INC.
    206 E. 9TH STREET, SUITE 1300 AUSTIN, TX 78701



In Witness Whereof, the undersigned have executed this Certificate of Conversion on this
________ day of ________________, A.D. ______________.


                                                         By: _________________________
                                                                Authorized Person

                                                     Name: _________________________
                                                                Print or Type
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                                      Exhibit 2

                     Certificate of Conversion (TX) (FWE)




                [Exhibit to Apache Term Sheet Implementation Agreement]
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                                         STATE OF TEXAS
                                   CERTIFICATE OF CONVERSION
                                              OF A
                              DELAWARE LIMITED LIABILITY COMPANY
                                              TO A
                                TEXAS LIMITED LIABILITY COMPANY

               This Certificate of Conversion (this “Certificate”), dated as of [•], 2021, has been
duly executed and is being filed by Fieldwood Energy LLC, a Delaware limited liability
company, to convert to Fieldwood Energy LLC, a Texas limited liability company under Section
10.102 of the Texas Business Organizations Code (the “TBOC”).

          1.        The name of the converting entity is Fieldwood Energy LLC, a Delaware limited
                    liability company (the “Converting Entity”).

          2.        The jurisdiction of formation of the Converting Entity is the State of Delaware
                    and the date of formation of the Converting Entity is November 5, 2012.

          3.        The Converting Entity is converting from a limited liability company formed
                    under the laws of the State of Delaware to a Texas limited liability company
                    formed under the laws of the State of Texas. The name of the Texas limited
                    liability company is “Fieldwood Energy LLC” (the “Company”).

          4.        The file number issued to the Converting Entity by the Secretary of State is
                    0801715506.

          5.        The plan of conversion (the “Plan”) as required under Section 10.103 of the
                    TBOC is attached hereto as Exhibit A.

          6.        The Certificate of Formation of the Company is attached to the Certificate of
                    Conversion as Exhibit A to the Plan.

          7.        The Plan has been approved as required by the laws of the jurisdiction of
                    formation and the governing documents of the Converting Entity.

          8.        The Company will be responsible for the payment of any required franchise taxes
                    of the Converting Entity.

          9.        This document shall become effective upon its acceptance and filing by the
                    Secretary of State of the State of Texas.




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                IN WITNESS WHEREOF, the undersigned has executed this Certificate as of the
date first above written.

                                         FIELDWOOD ENERGY LLC


                                         By:
                                               Name: [•]
                                               Title: [•]




      [SIGNATURE PAGE TO CERTIFICATE OF CONVERSION OF FIELDWOOD ENERGY LLC]




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                                  Exhibit A

                              Plan of Conversion


                                 See attached.




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                                      Exhibit 3

                        Plan of Conversion (TX) (FWE)




                [Exhibit to Apache Term Sheet Implementation Agreement]
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                                    PLAN OF CONVERSION
                                                OF
                                     Fieldwood Energy LLC
                              (a Delaware limited liability company)
                                              INTO
                                     Fieldwood Energy LLC
                                (a Texas limited liability company)

                                       Adopted on [•], 2021

      Pursuant to the provisions of Section 18-216 of the Delaware Limited Liability Company
Act and Section 10.103 of the Texas Business Organizations Code, Fieldwood Energy LLC, a
Delaware limited liability company (“Fieldwood”), hereby adopts the following Plan of
Conversion:

       1. The name of the converting entity is “Fieldwood Energy LLC”, a Delaware
limited liability company, and the name of the converted entity is “Fieldwood Energy LLC”, a
Texas limited liability company (the “Company”).

      2. Fieldwood is continuing its existence in the organizational form of a Texas
limited liability company.

         3. The Company is to be a limited liability company under the laws of the State of
Texas.

       4. 100% of the membership interests of Fieldwood outstanding immediately prior to
the conversion shall by virtue of the conversion and without any action on the part of the holders
thereof, automatically be converted into 100% of the issued and outstanding membership
interests of the Company.

       5. The conversion shall become effective upon (a) the filing and acceptance of a
Certificate of Conversion with the Secretary of State of the State of Texas and (b) the filing and
acceptance of a Certificate of Conversion with the Secretary of State of the State of Delaware.

     6. The Company will be responsible for the payment of all fees and franchise taxes
and will be obligated to pay such fees and taxes if they are not timely paid.

     7. Attached as Exhibit A to this Plan of Conversion is the Texas Certificate of
Formation of the Company.

     8. The Plan of Conversion has been approved as required by the laws of the
Corporation’s jurisdiction of formation and governing document.

                                [SIGNATURE PAGE FOLLOWS]



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        IN WITNESS WHEREOF, the undersigned has executed this Plan of Conversion as of
the date first written above.

                                                   FIELDWOOD ENERGY LLC


                                                   By:
                                                   Name:        [•]
                                                   Title:       [•]




                             Signature Page to Plan of Conversion




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                                 EXHIBIT A

                       CERTIFICATE OF FORMATION



                                 See attached.




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                                      Exhibit 4

                     Certificate of Formation (TX) (FWE)




                [Exhibit to Apache Term Sheet Implementation Agreement]
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                                                                                                                          This space reserved for office use.
                  Form 205
                  (Revised 05/11)

                  Submit in duplicate to:
                  Secretary of State
                  P.O. Box 13697                                       Certificate of Formation
                  Austin, TX 78711-3697                                Limited Liability Company
                  512 463-5555
                  FAX: 512 463-5709
                  Filing Fee: $300

                                                                     Article 1 – Entity Name and Type

                  The filing entity being formed is a limited liability company. The name of the entity is:

                 FIELDWOOD ENERGY LLC
                  The name must contain the words “limited liability company,” “limited company,” or an abbreviation of one of these phrases.

                                                          Article 2 – Registered Agent and Registered Office
                                                           (See instructions. Select and complete either A or B and complete C.)
                         A. The initial registered agent is an organization (cannot be entity named above) by the name of:
                 CAPITOL CORPORATE SERVICES, INC.
                  OR
                         B. The initial registered agent is an individual resident of the state whose name is set forth below:

                  First Name                                             M.I.                     Last Name                                         Suffix

                  C. The business address of the registered agent and the registered office address is:
                 206 E. 9TH STREET, SUITE 1300                                  AUSTIN                                         TX        78701
                  Street Address                                                City                                           State         Zip Code

                                                                      Article 3—Governing Authority
                                              (Select and complete either A or B and provide the name and address of each governing person.)

                     A. The limited liability company will have managers. The name and address of each initial
                  manager are set forth below.
                     B. The limited liability company will not have managers. The company will be governed by its
                  members, and the name and address of each initial member are set forth below.
                  GOVERNING PERSON 1
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                            M.I.          Last Name                                            Suffix
                          OR
                          IF ORGANIZATION

                         FIELDWOOD ENERGY INC.
                     Organization Name
                  ADDRESS
                  2000 W. SAM HOUSTON PKWY S., SUITE 1200                              HOUSTON                              TX         USA       77042-3623
                  Street or Mailing Address                                            City                                State    Country      Zip Code

                Form 205                                                                      4

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                  GOVERNING PERSON 2
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                        M.I.            Last Name                       Suffix
                          OR
                          IF ORGANIZATION



                     Organization Name
                  ADDRESS


                  Street or Mailing Address                                         City                State   Country   Zip Code

                  GOVERNING PERSON 3
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                        M.I.            Last Name                       Suffix
                          OR
                          IF ORGANIZATION



                     Organization Name
                  ADDRESS


                  Street or Mailing Address                                         City                State   Country   Zip Code


                                                                             Article 4 – Purpose

                  The purpose for which the company is formed is for the transaction of any and all lawful purposes for
                  which a limited liability company may be organized under the Texas Business Organizations Code.

                                                               Supplemental Provisions/Information
                  Text Area: [The attached addendum, if any, is incorporated herein by reference.]

                 The entity is formed under a plan of conversion. The name of the converting entity is Fieldwood Energy LLC. The address
                 of the converting entity is 2000 W. Sam Houston Pkwy. S., Suite 1200, Houston, Texas 77042. The converting entity was
                 formed on 11/5/2012 under the laws of the State of Delaware, USA. The converting entity was previously a Delaware
                 limited liability company. The converting entity is registered as a foreign entity under the Texas Secretary of State file
                 number 0801715506.




                Form 205                                                                   5

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                                                                        Organizer

                  The name and address of the organizer:


                  Name



                  Street or Mailing Address                                          City                            State    Zip Code


                                                     Effectiveness of Filing (Select either A, B, or C.)

                  A.         This document becomes effective when the document is filed by the secretary of state.
                  B.     This document becomes effective at a later date, which is not more than ninety (90) days from
                  the date of signing. The delayed effective date is:
                  C.     This document takes effect upon the occurrence of the future event or fact, other than the
                  passage of time. The 90th day after the date of signing is:
                  The following event or fact will cause the document to take effect in the manner described below:
                 the filing of the certificate of conversion of Fieldwood Energy LLC with the Secretary of State of Texas .




                                                                        Execution

                The undersigned affirms that the person designated as registered agent has consented to the
                appointment. The undersigned signs this document subject to the penalties imposed by law for the
                submission of a materially false or fraudulent instrument and certifies under penalty of perjury that the
                undersigned is authorized to execute the filing instrument.

                Date:


                                                                          Signature of organizer


                                                                          Printed or typed name of organizer




                Form 205                                                       6

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                                      Exhibit 5

                  Agreement and Plan of Merger (TX) (FWE)




                [Exhibit to Apache Term Sheet Implementation Agreement]
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                               AGREEMENT AND PLAN OF MERGER
                                              OF
                                    FIELDWOOD ENERGY LLC
                                            INTO
                                   FIELDWOOD ENERGY I LLC
                                             AND
                                  FIELDWOOD ENERGY III LLC


      This AGREEMENT AND PLAN OF MERGER, dated as of [●], 2021 (this “Plan of
Merger”), is adopted by Fieldwood Energy LLC, a Texas limited liability company (“FWE”).

        WHEREAS, commencing August 3, 2020, FWE and certain other affiliates of FWE (each,
a “Debtor” and collectively, the “Debtors”) filed voluntary petitions with the United States
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) initiating their
respective cases pending under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”) styled In re Fieldwood Energy LLC, et al., jointly administered under Case No. 20-33948
(MI) (each case of a Debtor, a “Case” and collectively, the “Chapter 11 Cases”);

        WHEREAS, in connection with the Chapter 11 Cases, the Debtors filed the [Joint Chapter
11 Plan of Fieldwood Energy LLC and Its Affiliated Debtors at Docket No. [●]] (as may be
amended, restated, amended and restated, supplemented, or otherwise modified from time to time,
the “Plan of Reorganization”), which was confirmed by order of the Bankruptcy Court entered on
[●], 2021 at Docket No. [●] (as may be amended, modified, and supplemented, the “Confirmation
Order”);

        [WHEREAS, in accordance with the Plan of Reorganization and Confirmation Order,
pursuant to the Credit Bid Purchase Agreement certain assets and properties of the Debtors
(defined in the Plan of Reorganization as the “Credit Bid Acquired Interests”) were sold and
conveyed to, and certain liabilities and obligations of Debtors (defined in the Plan of
Reorganization as the “Credit Bid Assumed Liabilities”) were assumed by, FWE II prior to the
Effective Time (the “Credit Bid Transaction”);]

       WHEREAS, pursuant to the Plan of Reorganization, and as authorized by the Confirmation
Order, FWE converted from a Delaware limited liability company to a Texas limited liability
company on [●], 2021;

       WHEREAS, pursuant to the Plan of Reorganization, and as authorized by the Confirmation
Order, FWE is to effect a divisional merger as set forth in this Plan of Merger (the “Merger”),
pursuant to which, among other things:

    a) FWE shall maintain its separate existence and continue as a surviving entity under the name
       “Fieldwood Energy III LLC” (as such entity exists from and after the Effective Time,
       “FWE III”);

    b) a new Texas limited liability company shall be formed under the name “Fieldwood Energy
       I LLC” (“FWE I”);



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    c) all of the FWE I Assets (as defined below) shall be allocated to, possessed by, and vested
       in FWE I, and all of the FWE I Obligations (as defined below) shall be allocated to and
       shall vest in, and shall constitute liabilities and obligations of, FWE I;

    d) all of the assets of FWE (other than the FWE I Assets and the Credit Bid Acquired Assets)
       shall be allocated to, possessed by, and vested in FWE III; and

    e) all of the liabilities and obligations of FWE (other than the FWE I Obligations and the
       Credit Bid Assumed Liabilities) shall be allocated to and shall vest in, and shall constitute
       liabilities and obligations of, FWE III; and

        WHEREAS, this Plan of Merger has been authorized by the Confirmation Order, which
provides such approval of the transactions contemplated hereby as required for purposes of
Sections 10.001, 10.002, and 10.302 of the Texas Business Organizations Code (the “TBOC”),
and, in accordance with Section 10.008 of TBOC, the Merger shall be consummated without any
transfer or assignment having occurred.

       NOW, THEREFORE, in consideration of the premises and the mutual covenants and
agreements herein contained, and for the purpose of prescribing the terms and conditions of the
Merger, the mode of carrying it into effect, the manner and basis of allocating ownership interests
of each of the resulting entities and such other details and provisions of the Merger as are deemed
necessary or desirable, FWE has agreed and covenanted, and does hereby agree and covenant, as
follows:

        1.       Subject to the provisions of this Plan of Merger, FWE shall cause the Merger to be
consummated by filing a certificate of merger with the Secretary of State of the State of Texas in
such form as is required by, and executed in accordance with, the relevant provisions of the TBOC,
in substantially the form attached as Exhibit A (the “Certificate of Merger”), together with a
certificate of formation of FWE I in substantially the form attached as Exhibit B. The Certificate
of Merger shall provide that the Merger shall be effective on the date the Certificate of Merger is
accepted and filed with the Secretary of State of the State of Texas (the “Effective Time”).

         2.        At the Effective Time:

                (a)    FWE shall be divisionally merged in accordance with the TBOC with
(i) FWE I being formed as a Texas limited liability company separate from FWE III and continuing
as a surviving business entity of the Merger as to the FWE I Assets and the FWE I Obligations in
accordance with the TBOC under the name “Fieldwood Energy I LLC” and (ii) FWE continuing
as a surviving business entity of the Merger as to all assets and liabilities of FWE (other than the
FWE I Assets, the FWE I Obligations, the Credit Bid Acquired Assets, and the Credit Bid Assumed
Liabilities) in accordance with the TBOC under the name “Fieldwood Energy III LLC.” The
Merger will have the effect set forth below and in Section 10.008 of the TBOC.

              (b)    There shall be no change (through conversion, exchange, or otherwise) to
the membership interests of FWE, which membership interest in FWE III will continue to be
owned by Fieldwood Energy Inc. as of immediately following the Effective Time.




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               (c)   All of the membership interests of FWE I shall be owned by Fieldwood
Energy Inc. as of immediately following the Effective Time

               (d)    All of the rights, assets, and properties of FWE described in Part A of
Schedule I attached hereto (the “FWE I Assets”) shall be allocated to, possessed by, and vested in
FWE I without reversion or impairment, without further act or deed, and without transfer or
assignment having occurred.

                (e)      All of the liabilities and obligations of FWE described in Part B of Schedule
I attached hereto (the “FWE I Obligations”) shall be allocated to and shall vest in, and shall
constitute liabilities and obligations of, FWE I. For the avoidance of doubt, the FWE I Obligations
exclude all Credit Bid Assumed Liabilities (including all Closing Date Payables and all FWE II
Retained Properties Payables).

                 (f)     All of the rights, assets, and properties of FWE other than the FWE I Assets
and the Credit Bid Acquired Assets (collectively, the “FWE III Assets”), including (i) those rights,
assets, and properties of FWE described in Part A of Schedule II attached hereto (collectively, the
“Wind Down Assets”) and (ii) those rights, assets, and properties described in Part A of Schedule
III (collectively, the “Predecessor Assets”), shall be allocated to, possessed by, and vested in FWE
III without reversion or impairment, without further act or deed, and without transfer or assignment
having occurred.

                (g)      All of the liabilities and obligations of FWE other than the FWE I
Obligations and the Credit Bid Assumed Liabilities (collectively, the “FWE III Obligations”),
including (i) all liabilities and obligations to the extent relating to the Wind Down Assets and all
liabilities and obligations described in Part B of Schedule II attached hereto (collectively, the
“Wind Down Obligations”), (ii) all of the liabilities and obligations of FWE retained by FWE upon
consummation of the Credit Bid Transaction, as well as (except as provided in Section 3(b)(i))
obligations of FWE under the Credit Bid Purchase Agreement, and (iii) all liabilities and
obligations relating to the Predecessor Assets and all liabilities and obligations described in Part
B of Schedule III attached hereto (collectively, the “Predecessor Obligations”), shall be allocated
to and shall vest in, and shall constitute liabilities and obligations of, FWE III.

         3.        Post-Merger Covenants.

                (a)     Each of FWE I and FWE III shall, at any time and from time to time from
and after the Effective Time as and when requested by FWE I or FWE III, or by their respective
successors or assigns, execute and deliver, or cause to be executed and delivered in its name by its
authorized officers, all such conveyances, transfers, deeds, or other instruments as FWE I or FWE
III, as applicable, or such successors or assigns, may reasonably deem necessary in order to
evidence (i) the allocation to and vesting in FWE I of the FWE I Assets, and the allocation to and
vesting in FWE I of, and the liability and obligation of FWE I for, the FWE I Obligations as a
result of the Merger and (ii) the allocation to and vesting in FWE III of the FWE III Assets, and
the allocation to and vesting in FWE III of, and the liability and obligation of FWE III for, the
FWE III Obligations as a result of the Merger. Without limiting the foregoing, FWE III shall take
such actions as necessary to effect a transfer from [insert applicable bank account] to an account




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designated in writing by FWE I of (i) the FWE I Cash Amount, (ii) the FWE I Suspense Funds,
and (iii) the Prepaid JIB Cash Amount.

                (b)     From and after the Effective Time (i) FWE I shall, and shall cause the FWE
I Subsidiaries controlled by FWE I to, perform the obligations of FWE under Section [●]1 of the
Credit Bid Purchase Agreement with respect to Closing Accounts Receivable to the extent
attributable to FWE I Assets or any assets held by such FWE I Subsidiaries as of the Effective
Time (provided FWE I shall have no obligation to incur any cost or expense in performing such
obligations) and (ii) FWE III shall, and shall cause its subsidiaries to, perform the obligations of
FWE under Section [●] of the Credit Bid Purchase Agreement with respect to Closing Accounts
Receivable to the extent attributable to FWE III Assets or any assets held by subsidiaries of FWE
III as of the Effective Time.

        4.      As a result of the consummation of the Merger in accordance with this Plan of
Merger, FWE I shall only be allocated, shall only possess, and shall only be vested in and receive
the FWE I Assets, and shall only be allocated and vested in, shall only possess, and shall only be
subject to the FWE I Obligations, and FWE I shall have no rights or obligations relating to any of
the FWE III Assets or the FWE III Obligations, except as may be expressly set forth in Section 6
or a separate agreement, which is entered into at or after the Effective Time, between FWE I and
FWE III with respect to such other Assets or Obligations; and FWE I shall not be deemed to be a
predecessor in interest to any of the FWE III Assets or the FWE III Obligations.

        5.      As a result of the consummation of the Merger in accordance with this Plan of
Merger, FWE III shall only be allocated, shall only possess, and shall only be vested in and receive
the FWE III Assets and shall only be allocated and vested in, shall only possess, and shall only be
subject to the FWE III Obligations, and FWE III shall have no rights or obligations relating to any
of the FWE I Assets or the FWE I Obligations, except as may be expressly set forth in Section 6
or in a separate agreement, which is entered into at or after the Effective Time, between FWE III
and FWE I with respect to such other Assets or Obligations; and FWE III shall not be deemed to
be a predecessor in interest to any of the FWE I Assets or the FWE I Obligations.

        6.     If immediately prior to the Effective Time, FWE owned an interest or right in assets
(other than Predecessor Oil and Gas Properties or Wind Down Oil and Gas Properties) which FWE
did not acquire under or pursuant to the Apache PSA and which2, immediately prior to the
Effective Time, was used in connection with or held for use in connection both with (a) FWE I Oil
and Gas Properties or FWE I Rights of Way, on the one hand, and any of (b)(i) Wind Down Oil
and Gas Properties or Wind Down Rights of Way or (ii) Predecessor Oil and Gas Properties or
Predecessor Rights of Way, on the other hand (individually, a “Fieldwood Joint Use Property”
and, collectively, the “Fieldwood Joint Use Properties”), then FWE I shall own such Fieldwood
Joint Use Property as an FWE I Asset and such Fieldwood Joint Use Property shall not be a Wind

1
 Note to Draft: This is to reference the provision of the Credit Bid Purchase Agreement providing for collection of
Closing Accounts Receivable post sale to FWE II.
2
  Note to Draft: FWE confirming there are no Legacy Apache Assets that are also used for any other interests/assets.
To the extent any Legacy Apache Assets are also used for any other interests/assets, such assets will be identified and
will either be added to the assets governed by Section 6 or FWE I and FWE III will enter into a letter agreement
regarding the joint use of such assets consistent with Section 6 or as otherwise agreed to by FWE I and FWE III.



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Down Asset or a FWE III Asset or owned by FWE III; provided, however, that FWE III shall have,
and FWE I shall provide FWE III with, access, use, and economic benefit with respect to such
Fieldwood Joint Use Property to the extent, and only to the extent, such Fieldwood Joint Use
Property was used or held for use in connection with the applicable Wind Down Oil and Gas
Properties, Wind Down Rights of Way, Predecessor Oil and Gas Properties, or Predecessor Rights
of Way immediately prior to the Effective Time; provided, further, that any obligation or liability
incurred by FWE I to the extent arising from, related to, or connected with such access, use, or
economic benefit by or on behalf of FWE III, (1) shall not constitute an FWE I Obligation, (2)
shall be FWE III Obligations and the obligations and liabilities of FWE III, and (3) FWE III shall
indemnify and hold harmless FWE I and the FWE Subsidiaries from and against all such
obligations and liabilities allocated to FWE III pursuant to this Section 6.

        7.       Certain Definitions. As used herein and in the Schedules and Exhibits attached
hereto, (i) the terms set forth below have the meanings ascribed to such terms below and (ii) the
terms defined in the Schedules and Exhibits attached hereto have the meanings ascribed to such
terms in such Schedules and Exhibits.

                   (a)         “Apache” means Apache Corporation, a Delaware corporation.

               (b)    “Apache PSA” means that certain Purchase and Sale Agreement, dated as
of July 18, 2013, by and among Apache, Apache Deepwater LLC, Apache Shelf, Inc., Apache
Shelf Exploration LLC, GOM Shelf, and FWE, as amended from time to time, and the transaction
documents executed in connection therewith.

              (c)     “Asset” means any individual asset, property, right, or interest in any of the
FWE I Assets or the FWE III Assets; “Assets” means, collectively, the FWE I Assets and the FWE
III Assets.

                   (d)         “Bankruptcy Code” has the meaning ascribed to such term in the recitals
hereto.

                   (e)         “Bankruptcy Court” has the meaning ascribed to such term in the recitals
hereto.

                   (f)         “Case” has the meaning ascribed to such term in the recitals hereto.

               (g)   “Casualty” means an event in which any portion of the Assets is damaged
or destroyed or otherwise impaired by fire, explosion, tornado, hurricane, earthquake, earth
movement, flood, water damage, or other similar casualty or is taken in condemnation or under
right of eminent domain.

                   (h)         “Certificate of Merger” has the meaning ascribed to such term in Section 1
hereto.

                   (i)         “Chapter 11 Cases” has the meaning ascribed to such term in the recitals
hereto.




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               (j)    “Closing Accounts Receivable” has the meaning ascribed to such term in
the Credit Bid Purchase Agreement.

              (k)   “Closing Date Payable” has the meaning ascribed to such term in the Credit
Bid Purchase Agreement.

                   (l)         “Confirmation Order” has the meaning ascribed to such term in the recitals
hereto.

                (m)    “Contract” means any contract, lease, license, purchase order, sales order,
indenture, note, bond, loan, instrument, obligation, promise, grant, or other agreement,
arrangement, understanding or commitment, whether or not in written form, that is binding upon
a Person or its property.

               (n)     “Conveyed” means conveyed, assigned, or sold pursuant to the Apache
PSA, regardless of whether such conveyance, assignment, or bill of sale was recorded in the
appropriate records of, or approved or recognized by, the applicable Governmental Authority.

                (o)            “Credit Bid Acquired Interests” has the meaning ascribed to such term in
the recitals hereto.

                (p)            “Credit Bid Assumed Liabilities” has the meaning ascribed to such term in
the recitals hereto.

               (q)    “Credit Bid Purchase Agreement” means the Purchase and Sale Agreement,
[dated [●], [●], by and among FWE, [FWE Affiliates] and FWE II].

                   (r)         “Credit Bid Transaction” has the meaning ascribed to such term in the
recitals hereto.

                   (s)         “Debtor” and “Debtors” has the meaning ascribed to such term in the
recitals hereto.

            (t)    “Decommissioning” has the meaning ascribed to such term in the
Decommissioning Agreement.

                (u)    “Decommissioning Agreement” has the meaning ascribed to such term
clause (xix) in Part A of Schedule I attached hereto.

                   (v)         “Effective Time” has the meaning ascribed to such term in Section 1 hereto.

               (w)    “Environmental Laws” means, the Comprehensive Environmental
Response, Compensation and Liability Act, 42 U.S.C. § 9601 et seq. (“CERCLA”); the Resource
Conservation and Recovery Act, 42 U.S.C. § 6901 et seq.; the Federal Water Pollution Control
Act, 33 U.S.C. § 1251 et seq.; the Clean Air Act, 42 U.S.C. § 7401 et seq.; the Hazardous Materials
Transportation Act, 49 U.S.C. § 5101 et seq.; the Toxic Substances Control Act, 15 U.S.C. §§ 2601
through 2629; the Oil Pollution Act, 33 U.S.C. § 2701 et seq.; the Emergency Planning and
Community Right to Know Act, 42 U.S.C. § 11001 et seq.; the Endangered Species Act, 16 U.S.C.



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§ 1531 et seq.; and the Safe Drinking Water Act, 42 U.S.C. §§ 300f through 300j, in each case as
amended in effect as of the Effective Time, and all similar laws in effect as of the Effective Time
of any Governmental Authority having jurisdiction over the property in question addressing
pollution, protection of the environment, biological resources, Hazardous Substances, or P&A
Obligations.

                (x)      “Environmental Liabilities” means any and all damages, remediation,
obligations, liabilities, environmental response costs, costs to cure, cost to investigate or monitor,
restoration costs, costs of remediation or removal, settlements, penalties, fines, and attorneys’ and
consultants fees and expenses arising out of or related to any violations or non-compliance with
any Environmental Laws, including any contribution obligation under CERCLA or any other
Environmental Law or matters incurred or imposed pursuant to any claim or cause of action by a
Governmental Authority or other Person, attributable to any environmental liabilities, any Release
of Hazardous Substances, or any other environmental condition with respect to the ownership or
operation of the Assets, including conditions of Facilities not in compliance with Laws
promulgated by the Bureau of Ocean Energy Management (“BOEM”), the Bureau of Safety and
Environmental Enforcement (“BSEE”), or the United States Coast Guard.

              (y)      “Facilities” means the FWE I Facilities, the Wind Down Facilities, or the
Predecessor Facilities, as applicable.

               (z)             “Fieldwood Joint Use Property” has the meaning ascribed to such term in
Section 6 hereto.

                   (aa)        “FWE” has the meaning ascribed to such term in the recitals hereto.

                   (bb)        “FWE I” has the meaning ascribed to such term in the recitals hereto.

                   (cc)        “FWE I Assets” has the meaning ascribed to such term in Section 2(d)
hereto.

                (dd) “FWE I Cash Amount” has the meaning ascribed to such term in clause
(xxiii) of Part A of Schedule I hereto.

              (ee) “FWE I Contracts” has the meaning ascribed to such term in clause (x) in
Part A of Schedule I attached hereto.

              (ff)     “FWE I Facilities” has the meaning ascribed to such term in clause (iii) in
Part A of Schedule I attached hereto.

              (gg) “FWE I Lands” has the meaning ascribed to such term in clause (i) in Part
A of Schedule I attached hereto.

              (hh) “FWE I Leases” has the meaning ascribed to such term in clause (i) in Part
A of Schedule I attached hereto.

              (ii)     “FWE I Permits” has the meaning ascribed to such term in clause (vi) in
Part A of Schedule I attached hereto.



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                   (jj)        “FWE I Obligations” has the meaning ascribed to such term in Section 2(e)
hereto.

               (kk) “FWE I Rights of Way” has the meaning ascribed to such term in clause (v)
in Part A of Schedule I attached hereto.

                   (ll)        “FWE I Subsidiaries” means GOM Shelf and the other entities listed on
Exhibit I-I.

              (mm) “FWE I Units” has the meaning ascribed to such term in clause (i) in Part
A of Schedule I attached hereto.

              (nn) “FWE I Wells” has the meaning ascribed to such term in clause (ii) in Part
A of Schedule I attached hereto.

                   (oo)        “FWE II” means [insert Buyer under the Credit Bid Purchase
Agreement].

              (pp) “FWE II Retained Properties” has the meaning ascribed to such term in Part
A of Schedule I attached hereto.

               (qq) “FWE II Retained Properties Payables” has the meaning ascribed to such
term in the Credit Bid Purchase Agreement.

                   (rr)        “FWE III” has the meaning ascribed to such term in the recitals hereto.

                   (ss)        “FWE III Assets” has the meaning ascribed to such term in Section 2(f)
hereto.

                   (tt)        “FWE III Obligations” has the meaning ascribed to such term in Section
2(g) hereto.

                   (uu)        “GOM Shelf” means GOM Shelf LLC, a Delaware limited liability
company.

                (vv) “GOM Shelf Oil and Gas Properties” means the ownership interests held by
GOM Shelf immediately prior to the closing of the transactions under the Apache PSA in (i) the
oil, gas, other Hydrocarbon, and mineral leases, subleases, operating rights, record title interests,
carried interests, royalties, overriding royalty interests, net profits interests, production payments,
reversionary interests, and other rights or interests of any kind or character in Hydrocarbons in
place and mineral interests or servitudes of every nature in, on, under, and that may be produced
from or attributable to any of the lands covered by such leases, subleases, interests, and rights,
whether legal or equitable, vested or contingent, and regardless of whether the same are expired
or terminated, including those described on Exhibit I-A attached hereto that are identified as GOM
Shelf Leases thereon (collectively, the “GOM Shelf Leases”), (ii) all pooled, communitized, or
unitized acreage that includes all or part of any GOM Shelf Leases (the “GOM Shelf Units”), (iii)
all tenements, hereditaments, and appurtenances belonging to the GOM Shelf Leases and the GOM
Shelf Units (collectively with the GOM Shelf Leases and GOM Shelf Units, the “GOM Shelf



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Lands”), and (iv) any and all Hydrocarbon, water, CO2, injection wells or other wells completed
on, drilled from, or otherwise located, in whole or in part, on, under, or within the GOM Shelf
Lands, in each case whether producing, non-producing, shut in, or permanently or temporarily
Plugged and Abandoned, including the wells set forth on Exhibit I-B attached hereto that are
identified as GOM Shelf Wells thereon and all wellbores spudded prior to the Effective Time
located on the GOM Shelf Lands (the “GOM Shelf Wells”); for the avoidance of doubt, (x) the
GOM Shelf Oil and Gas Properties shall not include any of the FWE II Retained Properties, (y)
the GOM Shelf Lands shall include only the ownership interests therein held by GOM Shelf
immediately prior to the closing of the transactions under the Apache PSA and the descriptions in
Exhibit I-A shall reference only such ownership interests, and (z) the GOM Shelf Wells shall
include only the ownership interests therein held by GOM Shelf immediately prior to the closing
of the transactions under the Apache PSA and the descriptions in Exhibit I-B shall reference only
such ownership interests.

                   (ww) “GOM Shelf Properties” means those assets or properties owned by GOM
Shelf.

               (xx) “Governmental Authority” means any federal, state, municipal, tribal, local,
or similar governmental authority, regulatory, or administrative agency, court, or arbitral body, or
any subdivision of any of the foregoing.

               (yy) “Hazardous Substances” means any pollutant, contaminant, dangerous or
toxic substance, hazardous or extremely hazardous substance or chemical, or otherwise hazardous
material or waste defined as “hazardous waste”, “hazardous substance” or “hazardous material”
under applicable Environmental Laws, including chemicals, pollutants, contaminants, wastes, or
toxic substances that are classified as hazardous, toxic, radioactive, or otherwise are regulated by,
or form the basis for Liability under, any applicable Environmental Law, including hazardous
substances under CERCLA.

               (zz) “Hydrocarbons” means oil and gas and other hydrocarbons produced or
processed in association therewith (regardless of whether such item is in liquid or gaseous form),
or any combination thereof, and any minerals (whether in liquid or gaseous form) produced in
association therewith, including all crude oil, gas, casinghead gas, condensate, natural gas liquids,
and other gaseous or liquid hydrocarbons (including ethane, propane, iso-butane, nor-butane,
gasoline, and scrubber liquids) of any type and chemical composition.

               (aaa) “Imbalance” means any over-production, under-production, over-delivery,
under-delivery, or similar imbalance of Hydrocarbons produced from or allocated to the FWE I
Assets or the FWE III Assets, as applicable, regardless of whether such over-production, under-
production, over-delivery, under-delivery, or similar imbalance arises at the wellhead, pipeline,
gathering system, transportation system, processing plant, or other location, including any
imbalances under gas balancing or similar agreements, imbalances under processing agreements,
and imbalances under gathering or transportation agreements.




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                   (bbb) “Implementation Cost Cap” shall be an amount equal to $[●].3

                (ccc) “Interim Unpaid P&A Expenses” has the meaning ascribed to such term in
clause (ix) in Part B of Schedule I attached hereto.

              (ddd) “JIB Advance AR” has the meaning ascribed to such term in clause (xvi) in
Part A of Schedule I attached hereto.

               (eee) “Laws” means all laws (including common law), statutes, rules,
regulations, ordinances, orders, decrees, requirements, judgments, and codes of Governmental
Authorities.

                   (fff)       “Merger” has the meaning ascribed to such term in the recitals hereto.

              (ggg) “Obligation” means any individual liability or obligation in any of the FWE
I Obligations or the FWE III Obligations; “Obligations” means, collectively, the FWE I
Obligations and the FWE III Obligations.

                (hhh) “P&A Obligations” means any and all obligations, liabilities, damages,
losses, and claims arising out of or attributable to the payment or performance of all Plugging and
Abandonment.

              (iii) “Person” means any individual, corporation, partnership, limited liability
company, trust, estate, Governmental Authority, or any other entity.

              (jjj) “Plan Effective Date” means the date on which the [Plan of
Reorganization/Confirmation Order becomes effective].

                   (kkk) “Plan of Merger” has the meaning ascribed to such term in the recitals
hereto.

                   (lll)       “Plan of Reorganization” has the meaning ascribed to such term in the
recitals hereto.

                (mmm)“Plugging and Abandonment” and “Plug and Abandon” and its derivatives
mean all plugging, replugging, abandonment, re-plugging and re-abandonment, equipment
removal, disposal, or restoration associated with the properties and assets included in or burdened
by the FWE I Assets or the FWE III Assets, as applicable, including all plugging and abandonment,
removal, dismantling, decommissioning, surface and subsurface restoration, site clearance, and
disposal of the FWE I Wells, the Wind Down Wells, or the Predecessor Wells, as applicable, or
the FWE I Facilities, the Wind Down Facilities, and the Predecessor Facilities, as applicable, well
cellars, fixtures, platforms, caissons, flowlines, pipelines, structures, and personal property of
whatever kind located on or under, related to, or associated with operations and activities
conducted by whomever with respect to each of the FWE I Assets and the FWE III Assets, as
applicable, the flushing, pickling, burial, removal, and capping of all associated flowlines, field

3
  Note to Draft: Implementation Costs Cap amount to be inserted once determined in accordance with Section 4 of
the Apache Term Sheet Implementation Agreement.



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transmission and gathering lines, pit closures, the restoration of the surface, site clearance, any
disposal of related waste materials and Hazardous Substances and obligations to obtain plugging
exceptions for any of the FWE I Wells, the Wind Down Wells, and the Predecessor Wells, as
applicable, with a current plugging exception, all in accordance with all applicable Laws, the terms
and conditions of each of the FWE I Leases, the Wind Down Leases, and the Predecessor Leases,
as applicable, or similar leasehold interests, beneficial interests, easements and the FWE I Leases,
the Wind Down Leases, and the Predecessor Leases, as applicable.

                   (nnn) “Predecessor Assets” has the meaning ascribed to such term in Section 2(f)
hereto.

               (ooo) “Predecessor Contracts” has the meaning ascribed to such term in clause (x)
in Part A of Schedule III attached hereto.

                 (ppp) “Predecessor Facilities” has the meaning ascribed to such term in clause
(iii) in Part A of Schedule III attached hereto.

              (qqq) “Predecessor Lands” has the meaning ascribed to such term in clause (i) in
Part A of Schedule III attached hereto.

              (rrr) “Predecessor Leases” has the meaning ascribed to such term in clause (i) in
Part A of Schedule III attached hereto.

                   (sss)       “Predecessor Obligations” has the meaning ascribed to such term in Section
2(g) hereto.

                 (ttt) “Predecessor Oil and Gas Properties” has the meaning ascribed to such term
in clause (ii) in Part A of Schedule III attached hereto.

               (uuu) “Predecessor Permits” has the meaning ascribed to such term in clause (vi)
in Part A of Schedule III attached hereto.

                (vvv) “Predecessor Rights of Way” has the meaning ascribed to such term in
clause (v) in Part A of Schedule III attached hereto.

                (www) “Predecessor Suspense Funds” has the meaning ascribed to such term in
clause (xvii) in Part A of Schedule III attached hereto.

              (xxx) “Predecessor Units” has the meaning ascribed to such term in clause (i) in
Part A of Schedule III attached hereto.

              (yyy) “Predecessor Wells” has the meaning ascribed to such term in clause (ii) in
Part A of Schedule III attached hereto.

                (zzz) “Prepaid JIB Cash Amount” has the meaning ascribed to such term in clause
(xvi) in Part A of Schedule I attached hereto.




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              (aaaa) “Proprietary Seismic Data” means any and all proprietary Seismic Data
owned (but not licensed) by FWE related to the FWE I Assets and/or the FWE III Assets.

                 (bbbb) “Records” means all books, records, files, data, information, drawings,
maps, corporate, financial, tax, and legal data and records to the extent (and only to the extent)
related to the FWE I Assets, the FWE I Obligations, the FWE III Assets, and/or the FWE III
Obligations, as applicable, including electronic copies of all computer records where available,
contract files, lease files, well logs, division order files, title opinions and other title information
(including abstracts, evidences of rental payments, maps, surveys, and data sheets), hazard data
and surveys, production records, SEMS Documentation and Procedures, Proprietary Seismic Data,
engineering files, and environmental records.

                (cccc) “Release” means any discharge, emission, spilling, leaking, pumping,
pouring, injecting, dumping, burying, leaching, migrating, abandoning, or disposing into or
through the environment of any Hazardous Substance, including the abandonment or discarding
of barrels, containers, and other closed receptacles containing any Hazardous Substance.

                 (dddd) “Royalties” means all rentals, minimum royalties, shut in payments,
royalties, overriding royalties, reversionary interests, net profits interests, production payments,
carried interests, non-participating royalty interests, reversionary interests, and other royalty
burdens and other interests payable out of production of Hydrocarbons from or allocated to the
FWE I Oil and Gas Properties, the GOM Shelf Oil and Gas Properties, the Wind Down Oil and
Gas Properties, or the Predecessor Oil and Gas Properties, as applicable, or the proceeds thereof
to third parties.

               (eeee) “Seismic Data” means any and all seismic, geological, geochemical, and
geophysical data (including core and fluid samples and other engineering, geological, and/or
geophysical studies (including seismic data, studies, and information)), all licensed or proprietary
or confidential geologic, seismic, geophysical, and interpretative data, records, and analyses,
including any and all interpretations, derivative data, and other work products of any of the
foregoing, and other similar information and records, in each case relating to the Assets or the
regional area surrounding the Assets.

              (ffff) “SEMS Documentation and Procedures” means all documents and
procedures in place by FWE to comply with BSEE’s Safety and Environmental Management
System (SEMS) 30 CFR 250 Subpart S with respect to the FWE I Assets and/or the FWE III
Assets.

                (gggg) “Standby Facility” means a secured line of credit to be provided by Apache
to FWE I and GOM Shelf to fund the ongoing Plugging and Abandonment of the Legacy Apache
Properties (as such term is defined in the FWE I LLC Agreement) and the GOM Shelf Properties,
which shall become available to advance funds to FWE I and for use in accordance with the
Standby Credit Facility Documents. The Standby Facility shall be secured by a first-priority lien
on all the assets of FWE I (including all of the equity interests of GOM Shelf) and on all the GOM
Shelf Properties, provided that such lien shall also secure the obligations of FWE I to Apache
under the Decommissioning Agreement.




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                (hhhh) “Standby Credit Facility Documents” means the Standby Loan Agreement,
to be entered into promptly after the Effective Time, by and between FWE I and GOM Shelf, as
borrowers, and Apache, as lender, and all of the other agreements, documents, and instruments
related thereto governing or setting forth terms and conditions of the Standby Facility or of the
loans/borrowings made thereunder.

              (iiii) “Suspense Funds” means any and all funds held in suspense by FWE at the
Effective Time, and any interest accrued in escrow accounts for such suspended funds.

                   (jjjj)      “TBOC” has the meaning ascribed to such term in the recitals hereto.

                   (kkkk) “Wind Down Assets” has the meaning ascribed to such term in Section 2(f)
hereto.

                (llll) “Wind Down Contracts” has the meaning ascribed to such term in clause
(x) in Part A of Schedule II attached hereto.

                 (mmmm)        “Wind Down Facilities” has the meaning ascribed to such term in
clause (iii) in Part A of Schedule II attached hereto.

              (nnnn) “Wind Down Lands” has the meaning ascribed to such term in clause (i) in
Part A of Schedule II attached hereto.

              (oooo) “Wind Down Leases” has the meaning ascribed to such term in clause (i) in
Part A of Schedule II attached hereto.

                   (pppp) “Wind Down Obligations” has the meaning ascribed to such term in Section
2(g) hereto.

                 (qqqq) “Wind Down Oil and Gas Properties” has the meaning ascribed to such term
in clause (ii) in Part A of Schedule II attached hereto.

               (rrrr) “Wind Down Permits” has the meaning ascribed to such term in clause (vi)
in Part A of Schedule II attached hereto.

                (ssss) “Wind Down Rights of Way” has the meaning ascribed to such term in
clause (v) in Part A of Schedule II attached hereto.

                (tttt) “Wind Down Suspense Funds” has the meaning ascribed to such term in
clause (xvii) in Part A of Schedule II attached hereto.

              (uuuu) “Wind Down Units” has the meaning ascribed to such term in clause (i) in
Part A of Schedule II attached hereto.

              (vvvv) “Wind Down Wells” has the meaning ascribed to such term in clause (ii) in
Part A of Schedule II attached hereto.




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        8.      Choice of Law. This Plan of Merger shall be governed by and construed in
accordance with the laws of the State of Texas, without giving effect to any choice or conflict of
law provision or rule (whether of the State of Texas or any other jurisdiction) that would cause the
application of the Laws of any jurisdiction other than the State of Texas and without regard to any
borrowing statute that would result in the application of the statutes of limitations or repose of any
other jurisdiction. In furtherance of the foregoing, the laws of the State of Texas will control even
if under such jurisdiction’s choice of law or conflict of law analysis, the substantive or procedural
law of some other jurisdiction would ordinarily or necessarily apply.

         9.      FWE III Obligation to Pay Recording Expenses. Subject to the Implementation
Costs Cap, FWE III shall, and shall cause its debtor affiliates in the Chapter 11 Cases to, on the
Plan Effective Date, provide for the payment of any and all documentary, filing, recording, stamp,
and registration fees, costs, taxes, and expenses (including all reasonable and documented
attorneys’ fees and regulatory consultant fees) incurred or imposed after the Effective Time in
connection with the filing of record by or on behalf of FWE I or GOM Shelf of any instrument or
instruments with the appropriate records office of any county, parish, state, federal, or other
governmental unit (including BOEM) that may be required in connection with the implementation
of the Merger or that either FWE I or GOM Shelf determines in its respective sole discretion to be
necessary or appropriate to reflect in the appropriate records of any governmental unit that as a
result of the Merger (a) ownership of the FWE I Assets have been allocated to and are vested in
FWE I (and to the extent appropriate to reflect ownership of the GOM Shelf Properties in GOM
Shelf), and (b) the liabilities and obligations to be allocated to and vested in, respectively, FWE I
or FWE III pursuant to the Merger have been allocated to and vested in, and constitute liabilities
and obligations of, FWE I and FWE III, respectively (collectively, the “Implementation Costs”).
For the avoidance of doubt, the documentary, filing, recording, stamp, and registration fees of
FWE I or GOM Shelf shall include such costs and expenses required to file or to cause to be filed
of record in the records office, as determined by Apache to be appropriate, of any county, parish,
state, federal, or other governmental unit (including BOEM) of the mortgages, security interests,
and similar security documentation as is contemplated by the Standby Facility and the Standby
Facility Documents to secure the obligations of FWE I and GOM Shelf thereunder. Any
Implementation Costs that exceed the Implementation Costs Cap shall be the sole responsibility
of and paid for by FWE I.

        10.    Interpretation. The captions herein are included for convenience of reference only
and shall be ignored in the construction or interpretation hereof. As used herein, the words
“include,” “includes,” and “including” shall be deemed to be followed by the words “without
limitation” and will not be construed to limit any general statement that it follows to the specific
or similar items or matters immediately following it. Words such as “herein,” “hereinafter,”
“hereof,” and “hereunder” refer to this Plan of Merger as a whole and not merely to a subdivision
in which such words appear unless the context otherwise requires. All Exhibits and Schedules
annexed hereto or referred to in this Plan of Merger are hereby incorporated in and made a part of
this Plan of Merger as if set forth in full in this Plan of Merger, and definitions therein shall apply
herein. Any capitalized terms used in any Schedule or Exhibit but not otherwise defined therein
will be defined as set forth in this Plan of Merger, and vice-versa. A reference to any legislation
or to any provision of any legislation shall include any modification or re-enactment thereof, any
legislative provision substituted therefor, and all regulations and statutory instruments issued
thereunder or pursuant thereto.


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       11.      Rejected Contracts. Any Contract rejected pursuant to Section 365 of the
Bankruptcy Code in the Chapter 11 Cases shall be deemed to be excluded and removed from any
Exhibit or Schedule attached hereto, and any such Contract shall not be allocated to any of FWE I
or FWE III, and any liabilities or obligations of such Contract shall be treated in accordance with
the Plan of Reorganization and Confirmation Order or otherwise satisfied, compromised, settled,
released, or discharged pursuant to the Plan of Reorganization and Confirmation Order.

                                          * * * * * *




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        IN WITNESS WHEREOF, the undersigned has duly executed this Plan of Merger as of
the date first written above.

                                                 FIELDWOOD ENERGY LLC,
                                                 a Texas limited liability company


                                                 By:
                                                 Name:
                                                 Title:




                               Signature Page to Agreement and Plan of Merger
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                                      Exhibit A

                                Certificate of Merger

                                    [see attached]




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                                           Exhibit B

                                Certificate of Formation – FWE I

                                         [see attached]




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                                                   Schedule I 4

                                  FWE I Assets and FWE I Obligations

Part A:

“FWE I Assets” means all of FWE’s right, title, and interest in, to, or under the following, less
and except any FWE II Retained Properties:

            (i)    the ownership interests Conveyed5 to FWE pursuant to the Apache PSA in the oil,
    gas, other Hydrocarbon, and mineral leases, subleases, operating rights, record title interests,
    carried interests, royalties, overriding royalty interests, net profits interests, production payments,
    reversionary interests, and other rights or interests of any kind or character in or to Hydrocarbons
    in place and mineral interests or servitudes of every nature, in, on, under, and that may be
    produced from or attributable to any of the lands covered by such leases, subleases, interests, and
    rights, whether legal or equitable, vested or contingent, and regardless of whether the same are
    expired or terminated, including those described on Exhibit I-A attached hereto that are identified
    as FWE I Leases thereon (collectively, the “FWE I Leases”), together with all pooled,
    communitized, or unitized acreage that includes all or part of any of the FWE I Leases (the “FWE
    I Units”), and all tenements, hereditaments, and appurtenances belonging to the FWE I Leases
    and the FWE I Units (collectively with the FWE I Leases and FWE I Units, the “FWE I Lands”);
    for the avoidance of doubt, the FWE I Lands shall only include the ownership interests therein
    Conveyed to FWE pursuant to the Apache PSA and the descriptions in Exhibit I-A shall only
    reference such ownership interests;

            (ii) the ownership interests Conveyed to FWE pursuant to the Apache PSA in any and
    all Hydrocarbon, water, CO2, injection, disposal wells or other wells completed on, drilled from,
    or otherwise located, in whole or in part,6 on, under, or within the FWE I Lands, in each case
    whether producing, non-producing, shut in, or temporarily or permanently Plugged and
    Abandoned, including the wells set forth on Exhibit I-B attached hereto that are identified as FWE
    I Wells thereon and all wellbores spudded prior to the Effective Time located on the FWE I Lands
    (the “FWE I Wells” and, together with the FWE I Leases and the FWE I Units, but excluding the
    FWE II Retained Properties, the “FWE I Oil and Gas Properties”); for the avoidance of doubt,
    the FWE I Wells shall only include the ownership interests therein Conveyed to FWE pursuant



4
  Note to Draft: In the event an asset not included on the schedules hereto is identified after the parties have agreed
to the final form of this Plan of Merger, but prior to the Effective Time, subject to the agreement of the parties, the
applicable schedule shall be updated to include and provide for the allocation of such asset.
5
  Note to Draft: Any additional interests in the FWE I Assets acquired by FWE other than under the Apache PSA
(“Add-On Interests”) are to be identified by FWE and if, upon being identified, Apache agrees to the inclusion of such
interest in the FWE I Assets Schedule I will be modified to include such interests and if Apache does not agree then
such interests will be allocated to and vested in FWE III to the extent held by FWE as of the Effective Time.
6
  Note to Draft: FWE to confirm whether there are any wells that are not Legacy Apache Properties that would
otherwise fall within this description, and, if so, expressly exclude those wells and allocate them to FWE III.




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    to the Apache PSA and the descriptions in Exhibit I-B shall only reference such ownership
    interests;

             (iii) all platforms and facilities, including all associated processing systems, buildings,
    compressors, meters, tanks, machinery, tools, personal property, equipment (including spars,
    trees, PLETs, jumpers, flowlines, risers, umbilicals, control assemblies, and production handling
    equipment), pipelines, gathering lines, water lines, tank batteries, pipeline capacity, other water
    gathering, transportation, or disposal infrastructure and equipment, frac tanks, ponds, metering
    facilities, interconnections, and other inventory, boats, vehicles, fixtures, improvements, and
    other property (whether real, immovable, personal, movable, mixed or otherwise) that (a) are
    located on or appurtenant to any of the FWE I Leases, the FWE I Lands, the FWE I Rights of
    Way, the FWE I Wells, or the GOM Shelf Oil and Gas Properties, (b) are used or held for use in
    whole or in part in connection with any of the FWE I Wells or the GOM Shelf Wells and the
    operation of any of the FWE I Leases, or the GOM Shelf Leases (whether located on or
    appurtenant to any of the FWE I Leases, the FWE I Lands, the FWE I Rights of Way, the FWE I
    Wells, the GOM Shelf Leases, the GOM Shelf Lands, the GOM Shelf Wells, or stored at a
    different location (onshore or offshore)), or (c) were acquired by FWE pursuant to the
    Apache PSA, but in such event only as to the interests so acquired by FWE under and pursuant
    to such Apache PSA, and such flowlines, pipelines, gathering lines, and/or pipeline capacity that
    either (1) are used or held for use in whole or in part in connection with any of the FWE I Leases,
    the FWE I Wells or the FWE I Units operations or the production, transportation, or processing
    of Hydrocarbons produced from any of the FWE I Oil and Gas Properties, or (2) were acquired
    by FWE pursuant to the Apache PSA, but in such event only as to the interests so acquired by
    FWE under and pursuant to such Apache PSA, including all platforms identified on Exhibit I-
    C(i) attached hereto and all facilities identified on Exhibit I-C(ii) attached hereto (the “FWE I
    Facilities”);

             (iv) the Proprietary Seismic Data and licensed Seismic Data relating, in whole or in
    part, to the FWE I Oil and Gas Properties or the GOM Shelf Oil and Gas Properties; 7

            (v) all surface fee interests, easements, right-of-use easements, licenses, servitudes,
    rights-of-way, surface leases, authorizations, permits, and other rights to use the surface or seabed
    appurtenant to, and held for use in whole or in part in connection with, the ownership or operation
    of any or all of the GOM Shelf Oil and Gas Properties or any or all of the properties, rights, titles,
    and interests described in clauses (i) through (iii) and (vi) of this Schedule I, Part A, but only to
    the extent such either (i) are used or held for use exclusively in connection with the ownership or
    operation of such properties, rights, titles, and interests, or (ii) were acquired by FWE pursuant to
    the Apache PSA, but in such event only as to the interests so acquired by FWE under and pursuant
    to such Apache PSA, including the property described on Exhibit I-D(i) attached hereto and
    Exhibit I-D(ii) attached hereto (the “FWE I Rights of Way”);

            (vi) all environmental and other governmental (whether federal, state, or local) permits
    (including all plans filed with or approved by applicable Government Authorities), licenses,
    orders, authorizations, franchises, and related instruments or rights to the extent relating in whole
    or in part to the ownership, operation, or use of any or all of the GOM Shelf Oil and Gas Properties

7
    Note to Draft: No proprietary seismic (remains under review).


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Schedule I – FWE Wind Down
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    or any or all of the properties, rights, titles, and interests described in clauses (i) through (iii), (v)
    and (viii) of this Schedule I, Part A (the “FWE I Permits”);8

           (vii) Service Agreement, dated April 1, 2015, applicable to Firm Transportation Service
    under FT-2 Rate Schedule by and between Discovery Gas Transmission LLC as Transporter and
    Fieldwood Energy LLC as Shipper;

            (viii) all Hydrocarbons in, on, under, or that may be produced from or attributable to the
    FWE I Leases, the FWE I Units, or the FWE I Wells, including all oil, condensate, and scrubber
    liquids inventories and ethane, propane, iso-butane, nor-butane, and gasoline inventories of FWE
    from the FWE I Oil and Gas Properties in storage or constituting linefill and Imbalances;

            (ix)   the FCC licenses associated with the call signs listed on Exhibit I-E attached
    hereto;9

            (x) all contracts, agreements, leases, licenses, commitments, sales and purchase orders,
    and other instruments that relate, in whole or in part, to the ownership or operation of any or all
    of the FWE I Oil and Gas Properties or the GOM Shelf Oil and Gas Properties (and including any
    insurance contract if such insurance contract provides coverage for any incident that occurs on
    any FWE I Asset(s) or the GOM Shelf Oil and Gas Properties at, before, or after the Effective
    Time, but excluding all derivative or hedge agreements (including any ISDAs) or rights
    thereunder) or any other properties, rights, titles, and interests described in the clauses of this
    Schedule I, Part A, including operating agreements, unitization, pooling, and communitization
    agreements, declarations and orders, area of mutual interest agreements, exploration agreements,
    joint venture agreements, farmin and farmout agreements, exchange agreements, purchase and
    sale agreements, and other contracts relating to the FWE I Assets (but expressly excluding any
    such agreements pursuant to which FWE acquired interests in or to any other FWE I Assets in
    addition to the rights, title, and interests acquired by FWE under the Apache PSA), transportation
    agreements, agreements for the sale and purchase of Hydrocarbons, processing agreements, and
    service agreements (together with the agreements referenced in clause (xxii) below), including
    the contracts listed on Exhibit I-F attached hereto (the “FWE I Contracts”);

           (xi) originals of the Records that relate, in whole or in part, to any one or more of the
    FWE I Assets, the FWE I Obligations, or the GOM Shelf Oil and Gas Properties (whether or not
    such Records also relate to any one or more of the FWE III Obligations or the FWE III Assets);

           (xii) inventory, equipment, machinery, tools, and other personal property, to the extent
    located on the FWE I Facilities or, if located elsewhere, used or held for use, in whole or part, in
    connection with the FWE I Oil and Gas Properties, the FWE I Facilities, or the GOM Shelf Oil
    and Gas Properties, or charged to the joint account pursuant to the applicable FWE I Contracts,
    including those items listed on Exhibit I-G attached hereto;


8
  Note to Draft: To be determined if there are Permits used for the FWE I Assets and also FWE III such that FWE
III will need to obtain its own permits.
9
 Note to Draft: To include licenses for GOM Shelf if not held by GOM Shelf directly. FWE confirming there are
only 5 licenses relating to all of the FWE I and GOM Shelf properties.


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         (xiii) FWE-owned SCADA equipment and all automation systems, including meters and
 related telemetry, licensed radio frequencies, and associated communications infrastructure
 including towers, antennas, data links, and network circuits used or held for use, in whole or in
 part, in connection with the FWE I Oil and Gas Properties, the FWE I Facilities, or the GOM
 Shelf Oil and Gas Properties, or for the production of Hydrocarbons therefrom;

         (xiv) all deposits with third parties, escrow accounts, guarantees, letters of credit,
 treasury securities, insurance policies relating, in whole or in part, to the FWE I Assets, surety
 bonds, all Oil Spill Financial Responsibility coverage (whether consisting of one or more
 insurance policies) and other forms of credit assurances or credit support provided by a third party
 for the benefit of FWE for financial assurance for the obligations and liabilities arising out of or
 related to the FWE I Assets, the GOM Shelf Oil and Gas Properties, or GOM Shelf, including the
 Plugging and Abandonment Obligations arising out of or related to the FWE I Assets or the GOM
 Shelf Oil and Gas Properties, including those items listed on Exhibit I-H attached hereto;

         (xv) all agreements and memberships relating, in whole or in part, to well
 containment/control, clean-up of spills, or other pollution, or the gathering of data relating to
 certifications required to be made to Governmental Authorities with respect to the FWE I Assets
 or GOM Shelf Oil and Gas Properties;10

         (xvi) all (i) accounts receivable as of the Effective Time associated with the FWE I Oil
 and Gas Properties or the GOM Shelf Oil and Gas Properties other than the Closing Accounts
 Receivable, (ii) instruments and general intangibles (as such terms are defined in the Uniform
 Commercial Code of the applicable jurisdictions in which the FWE I Oil and Gas Properties or
 GOM Shelf Oil and Gas Properties to which such assets relate are located) and other economic
 benefits in each case attributable to the FWE I Oil and Gas Properties or the GOM Shelf Oil and
 Gas Properties (excluding only the Closing Accounts Receivable); provided, that, for the
 avoidance of doubt, nothing in the preceding clauses (i) or (ii) shall be interpreted to limit the
 scope of “Closing Accounts Receivable” as that term is defined in the Credit Bid Purchase
 Agreement, (iii) claims of indemnity, contribution, or reimbursement of FWE or of GOM Shelf,
 in each case, relating to the FWE I Obligations or obligations of GOM Shelf, (iv) Imbalances
 receivables of FWE or of GOM Shelf, in each case, attributable to the FWE I Oil and Gas
 Properties or the GOM Shelf Oil and Gas Properties, (v) rights to insurance proceeds or other
 claims of recovery, indemnity, contribution, or reimbursement of FWE attributable to the FWE I
 Assets or the GOM Shelf Oil and Gas Properties due to casualty or other damage or destruction
 of or to the FWE I Oil and Gas Properties or the GOM Shelf Oil and Gas Properties, (vi) cash in
 the amount of advance payments on account of third party working interest owners in the FWE I
 Oil and Gas Properties or the GOM Shelf Oil and Gas Properties (“Prepaid JIB Cash Amount”),
 to the extent such Prepaid JIB Cash Amount is associated with FWE I Obligations, and (vii) rights
 to receive and collect cash and advance payments pursuant to cash calls associated with the FWE
 I Oil and Gas Properties or the GOM Shelf Oil and Gas Properties (“JIB Advance AR”), to the
 extent such JIB Advance AR is associated with FWE I Obligations;



10
 Note to Draft: There are not any memberships that are specific to the FWE I Assets; may need new agreements.
Under further review.


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       (xvii) all Suspense Funds (i) of FWE to the extent attributable to any of the FWE I Oil
 and Gas Properties or the GOM Shelf Oil and Gas Properties, and (ii) of GOM Shelf (collectively,
 “FWE I Suspense Funds”);

           (xviii) all equity interests set forth on Exhibit I-I (“FWE I Subsidiaries”);

          (xix) the Decommissioning Agreement, dated as of September 30, 2013, by and among
 Apache Corporation, Apache Shelf, Inc., Apache Deepwater LLC, Apache Shelf Exploration
 LLC, FWE and GOM Shelf LLC, as amended by (i) the First Amendment thereto, dated as of
 September 30, 2013, (ii) the Second Amendment thereto, dated as of September 30, 2013,
 (iii) the Third Amendment thereto, dated effective as of April 25, 2017, (iv) the Fourth
 Amendment thereto dated effective as of September 1, 2017, as amended by that certain Letter
 Agreement, dated January 3, 2018, and (v) the Fifth Amendment thereto, dated effective as of
 April 11, 2018 (the “Decommissioning Agreement”);

        (xx) the Apache PSA and the transaction documents entered into in connection with the
 consummation of the transactions contemplated thereby, including the Joint Exploration
 Agreement (as defined in the Apache PSA), the Master Facilities Use, Access, Production
 Handling and Transportation Agreement (as defined in the Apache PSA), and the Fully Paid Up
 Turnkey Removal Contract (as defined in the Apache PSA);

        (xxi) all rights [to the BOEM qualification held by FWE immediately prior to the
 Effective Time and its BOEM operator number (GOM #3295), and]11 all area-wide operator
 bonds, supplemental bonds, or other securities, or any authorization or permission from, the
 BOEM, BSEE, or any other Governmental Authority, held by FWE (a) in whole or in part for
 any FWE I Assets (which, for the avoidance of doubt, include all rights of FWE in any area-wide
 bonds)12 or (b) with respect to GOM Shelf, in whole or in part for any of the GOM Shelf Oil and
 Gas Properties;

      (xxii) beneficial ownership of The Trust established by that certain Fieldwood
 Decommissioning Trust A Trust Agreement dated September 30, 2013;

         (xxiii) cash in an amount (the “FWE I Cash Amount”) equal to $50.0 million minus the
 sum of (a) the actual cash expenditures paid by FWE for Plugging and Abandonment costs and
 expenses on the FWE I Assets between the filing on August 3, 2020 of the Chapter 11 Cases and
 the Effective Time and (b) the actual cash payments made by FWE between January 4, 2021 and
 the Effective Time to the individual engaged as the sole manager of FWE I;

           (xxiv) the Fieldwood Joint Use Properties as specified in Section 6 of the Plan of Merger;
 and


11
  Note to Draft: Now that FWE I is no longer the surviving entity under the divisive merger, to confirm whether
BOEM qualification will be permitted to “vest” in FWE I or whether FWE I will be required to obtain its own
qualification separate from FWE’s qualification (which will inure to FWE III instead).
12
  Note to Draft: to confirm if area-wide bonds will be permitted to be split between FWE I and FWE III per the
divisive merger. If not and FWE I gets such bonds, then FWE III may need to post its own separate area-wide bonds.
Who will pay for such?


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         (xxv) the specific interests in and to the wells, pipelines, platforms, and facilities set forth
 on Exhibit I-K which were acquired or assumed by FWE as a result of co-owner actions under
 applicable joint or unit operating agreements or as a result of a recalculation determined in
 accordance with the terms of a FWE I Contract, and such interests will be deemed to be included
 in the FWE I Leases, FWE I Units, FWE I Lands , FWE I Wells , FWE I Facilities , and FWE I
 Rights-of-Way, as applicable.13

         For the avoidance of doubt, the FWE I Assets do not include any of the leases, rights of
way, or other assets specified in Exhibit I-J14 attached hereto (such assets, collectively, the “FWE
II Retained Properties”), which FWE II Retained Properties were conveyed to FWE II pursuant to
the Credit Bid Purchase Agreement, and the FWE I Obligations shall not include any obligations
attributable to such FWE II Retained Properties.

Part B:

“FWE I Obligations” means (A) all of the obligations and liabilities (contractual or otherwise) of
FWE, without duplication, of any kind, character, or description (whether known or unknown,
accrued, absolute, contingent, or otherwise) relating to, arising out of, or with respect to any of the
FWE I Assets, the GOM Shelf Oil and Gas Properties, or FWE I’s ownership interest in GOM
Shelf, including obligations and liabilities of FWE: (i) relating to the furnishing of makeup gas
according to the terms of applicable gas sales, gathering, or transportation FWE I Contracts and
all obligations with respect to Imbalances arising out of, related to, or attributable to FWE I’s
ownership interests in any of the FWE I Oil and Gas Properties or in GOM Shelf; (ii) with respect
to Royalties arising out of, related to, or attributable to any of the FWE I Oil and Gas Properties,
FWE I Suspense Funds, and Prepaid JIB Cash Amounts, including any reporting and/or mis-
reporting, and payment and/or mis-payment of such Royalties, FWE I Suspense Funds, or Prepaid
JIB Cash Amounts; (iii) constituting or related to Environmental Liabilities arising out of, related
to, or attributable to any of the FWE I Assets; (iv) applicable to or imposed on the lessee, owner,
operator, holder, responsible party, payor or designated applicant under or with respect to any of
the FWE I Assets or GOM Shelf Oil and Gas Properties; (v) constituting or relating to any and all
P&A Obligations related to FWE I’s or GOM Shelf’s, as the case may be, ownership interests in,
or operation of, any of the FWE I Assets or GOM Shelf Oil and Gas Properties; (vi) relating to
the FWE I Suspense Funds; (vii) relating to the Decommissioning Agreement and the
Decommissioning obligations thereunder; (viii) relating to the Apache PSA or any of the
agreements entered into in connection with the consummation of the transactions contemplated

13
   Note to Draft: If the parties agree to include Add-On Interests in the FWE I Assets, Exhibit I-K will be added to
specifically identify the interests agreed upon to be included. If the parties do not agree to include Add-On Interests
in the FWE I Assets, item (xxv) will be deleted.
14
   Note to Draft: Exhibit I-J should list as FWE II Retained Properties the properties included in the fields which are
identified to be owned and operated by FWE II on Schedule A to the Term Sheet dated July 31, 2020. [NTD: per
HAK, FWE to confirm these properties consist of only the following properties: Oil and Gas Lease bearing Serial No.
OCS-G 21685 covering South Timbalier 308, Oil and Gas Lease bearing Serial No. OCS-G24987 covering South
Timbalier 287, Oil and Gas Lease bearing Serial No. OCS-G10687 covering Vermilion 287, Oil and Gas Lease bearing
Serial No. OCS-G09522 covering Vermilion 363, Oil and Gas Lease bearing Serial No. OCS-G09524 covering
Vermilion 371, Oil and Gas Lease bearing Serial No. OCS-G04421 covering Vermilion 78, Right of Way bearing
Serial No. OCS-G29427 for Pipeline Segment No. 20278 pertaining to South Timbalier 308, and Right of Way bearing
Serial No. OCS-G15047 for Pipeline Segment No. 10675 pertaining to Vermilion 371].


                                                          6
Schedule I – FWE Wind Down
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thereby, including the Joint Exploration Agreement (as defined in the Apache PSA), the Master
Facilities Use, Access, Production Handling and Transportation Agreement (as defined in the
Apache PSA), and the Fully Paid Up Turnkey Removal Contract (as defined in the Apache PSA);
and (ix) expenses incurred by FWE for Plugging and Abandonment costs and expenses on the
FWE I Assets between the filing on August 3, 2020, of the Chapter 11 Cases and the Effective
Time to the extent not paid as of the Effective Time (such incurred but unpaid expenses, the
“Interim Unpaid P&A Expenses”); and (B) the obligations of FWE I under Section 3(b)(i) of the
Plan of Merger; provided, however, that, subject to the foregoing clause (B), the FWE I
Obligations do not include (1) any of the FWE III Obligations, (2) any of the Credit Bid Assumed
Liabilities, (3) obligations for personal injury or damage to property arising from the ownership or
operation of any property that is not included in the FWE I Assets or GOM Shelf Oil and Gas
Properties, and (4) any claims, liabilities, or obligations satisfied, compromised, settled, released,
or discharged pursuant to the Plan of Reorganization and Confirmation Order.




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Schedule I – FWE Wind Down
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                                                   Schedule II15

                               Wind Down Assets and Wind Down Obligations

Part A:

“Wind Down Assets” means all of FWE’s right, title, and interest in, to, or under the following,
subject to Section 6 of the Plan of Merger:

         (i)     the oil, gas, other Hydrocarbon, and mineral leases, subleases, operating rights,
 record title interests, carried interests, royalties, overriding royalty interests, net profits interests,
 production payments, reversionary interests, and other rights or interests of any kind or character
 in and to Hydrocarbons in place and mineral interests or servitudes of every nature, in, on, under,
 and that may be produced from or attributable to any of the lands covered by the leases, subleases,
 interests, and rights described on Exhibit II-A attached hereto, whether legal or equitable, vested
 or contingent, and regardless of whether the same are expired or terminated (collectively, the
 “Wind Down Leases”), together with all pooled, communitized, or unitized acreage that includes
 all or part of any of the Wind Down Leases (the “Wind Down Units”), and all tenements,
 hereditaments, and appurtenances belonging to the Wind Down Leases and the Wind Down Units
 (collectively with the Wind Down Leases and Wind Down Units, the “Wind Down Lands”);

         (ii) any and all Hydrocarbon, water, CO2, injection, disposal wells or other wells
 located on, under, or within the Wind Down Lands described on Exhibit II-B attached hereto, in
 each case whether producing, non-producing, shut-ins, or temporarily or permanently Plugged
 and Abandoned, including the wells set forth on Exhibit II-B attached hereto and all wellbores
 spudded prior to the Effective Time located on the Wind Down Lands (the “Wind Down Wells”
 and, together with the Wind Down Leases and Wind Down Units, the “Wind Down Oil and Gas
 Properties”);

          (iii) all platforms and facilities, including all associated processing systems, buildings,
 compressors, meters, tanks, machinery, tools, personal property, equipment (including spars,
 trees, PLETs, jumpers, flowlines, risers, umbilicals, control assemblies, and production handling
 equipment), pipelines, gathering lines, water lines, tank batteries, pipeline capacity, other water
 gathering, transportation, or disposal infrastructure and equipment, frac tanks, ponds, metering
 facilities, interconnections, and other inventory, boats, vehicles, fixtures, improvements, and
 other property (whether real, immovable, personal, movable, and mixed or otherwise) that is
 located on or appurtenant to any of the Wind Down Leases, the Wind Down Lands, the Wind
 Down Rights of Way, or the Wind Down Wells or used or held for use exclusively in connection
 with any of the Wind Down Wells and the operation of any of the Wind Down Leases (whether
 located on or appurtenant to any of the Wind Down Leases, the Wind Down Lands, the Wind
 Down Rights of Way, or the Wind Down Wells, or stored at a different location (onshore or
 offshore)), and such flowlines, pipelines, gathering lines, and/or pipeline capacity that are used
 or held for use exclusively in connection with any of the Wind Down Leases, the Wind Down

15
  Note to Draft: In the event an asset not included on the schedules hereto is identified after the parties have agreed
to the final form of this Plan of Merger, but prior to the Effective Time, subject to the agreement of the parties, the
applicable schedule shall be updated to include and provide for the allocation of such asset.




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 Wells, or the Wind Down Units operations or the production, transportation, or processing of
 Hydrocarbons produced from any of the Wind Down Oil and Gas Properties, including all
 platforms identified on Exhibit II-C(i) attached hereto and all facilities identified on Exhibit II-
 C(ii) attached hereto, but excluding any FWE I Facilities (the “Wind Down Facilities”);

       (iv) Proprietary Seismic Data and licensed Seismic Data relating exclusively to the
 Wind Down Oil and Gas Properties;

         (v) all surface fee interests, easements, right-of-use easements, licenses, servitudes,
 rights-of-way, surface leases, authorizations, permits, and other rights to use the surface or seabed
 appurtenant to, and used or held for use exclusively in connection with, the ownership or
 operation of any or all of the properties, rights, titles, and interests described in clauses (i) through
 (iii) and (vi) of this Schedule II, Part A, including the property described on Exhibit II-D(i)
 attached hereto and Exhibit II-D(ii) attached hereto (the “Wind Down Rights of Way”);

         (vi) all environmental and other governmental (whether federal, state, or local) permits
 (including all plans filed with or approval by applicable Governmental Authorities), licenses,
 orders, authorizations, franchises, and related instruments or rights relating exclusively to the
 ownership, operation, or use of the properties, rights, titles, and interests described in clauses (i)
 through (iii), (v) and (viii) of this Schedule II, Part A (the “Wind Down Permits”);

            (vii)   all transportation agreements described on Exhibit II-F attached hereto;16

         (viii) all Hydrocarbons in, on, under, or that may be produced from or attributable to the
 Wind Down Leases, the Wind Down Units, or the Wind Down Wells, including all oil,
 condensate, and scrubber liquids inventories and ethane, propane, iso-butane, nor-butane, and
 gasoline inventories of FWE from the Wind Down Oil and Gas Properties in storage or
 constituting linefill and Imbalances;

            (ix)    the FCC licenses associated with the call signs listed on Exhibit II-E attached
 hereto;

         (x) all contracts, agreements, leases, licenses, commitments, sales and purchase orders,
 and other instruments that relate exclusively to the ownership or operation of any or all of the
 Wind Down Oil and Gas Properties or any other properties, rights, titles, and interests described
 in the clauses of this Schedule II, Part A, including operating agreements, unitization, pooling,
 and communitization agreements, declarations and orders, area of mutual interest agreements,
 exploration agreements, joint venture agreements, farmin and farmout agreements, exchange
 agreements, purchase and sale agreements, and other contracts in which FWE acquired interests
 in any other Wind Down Assets, transportation agreements, agreements for the sale and purchase
 of Hydrocarbons, processing agreements, and service agreements, including the contracts listed
 on Exhibit II-F attached hereto (the “Wind Down Contracts”);




16
     Note to Draft: To be determined if any FERC regulated transportation agreements need FERC waivers.


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Schedule II – FWE Wind Down
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        (xi) originals of the Records that relate solely to the Wind Down Assets or the Wind
 Down Obligations, or both, and copies of the Records that constitute FWE I Assets or Predecessor
 Assets and also relate to either or both of the Wind Down Assets or the Wind Down Obligations;

          (xii) inventory, equipment, machinery, tools, and other personal property, to the extent
 located on the Wind Down Facilities or, if located elsewhere, used or held for use exclusively in
 connection with the Wind Down Oil and Gas Properties or the Wind Down Facilities or charged
 to the joint account pursuant to the applicable Wind Down Contracts, including those items listed
 on Exhibit II-G attached hereto;

         (xiii) FWE-owned SCADA equipment and all automation systems, including meters and
 related telemetry, licensed radio frequencies, and associated communications infrastructure
 including towers, antennas, data links, and network circuits used or held for use exclusively in
 connection with the Wind Down Oil and Gas Properties and the Wind Down Facilities or for the
 production of Hydrocarbons therefrom;

         (xiv) all cash (subject to the obligation of FWE to deliver the FWE I Cash Amount, the
 FWE I Suspense Funds, and the Prepaid JIB Cash Amount to FWE I), and all third party deposits,
 escrow accounts, guarantees, letters of credit, treasury securities, surety bonds, and other forms
 of credit assurances or credit support provided by a third party for the benefit of FWE for financial
 assurance for the obligations and liabilities arising out of or related to any other Wind Down
 Assets (but not also in part any FWE I Assets), including the Plugging and Abandonment
 Obligations arising out of or related to any other Wind Down Assets (but not also in part any
 FWE I Assets);

        (xv) all agreements and memberships relating exclusively to well containment/control,
 clean-up of spills, or other pollution, or the gathering of data relating to certifications required to
 be made to Governmental Authorities with respect to the Wind Down Assets; and

          (xvi) all (i) accounts receivable attributable to the Wind Down Oil and Gas Properties
 with respect to any period of time, (ii) rights to any payout or recovery for any Casualty occurring
 on or at any Wind Down Asset, whether occurring prior to, on or after Plan Effective Date,
 (iii) instruments and general intangibles (as such terms are defined in the Uniform Commercial
 Code of the applicable jurisdictions in which the Wind Down Oil and Gas Properties to which
 such assets relate are located), and other economic benefits attributable to the Wind Down Oil
 and Gas Properties, (iv) claims of indemnity, contribution, or reimbursement relating to the Wind
 Down Obligations and (v) Imbalances receivables of FWE attributable to the Wind Down Oil and
 Gas Properties;

       (xvii) all Suspense Funds of FWE to the extent attributable to any of the Wind Down Oil
 and Gas Properties (the “Wind Down Suspense Funds”); and

        (xviii) all rights to any supplemental bonds or other securities (excluding area-wide bonds)
 held by, or any authorization or permission from, the BOEM, BSEE, or any other Governmental
 Authority with respect to FWE exclusively for other Wind Down Assets.

Part B:


                                                   3
Schedule II – FWE Wind Down
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“Wind Down Obligations” means: all of the obligations and liabilities (contractual or otherwise)
of FWE of any kind, character or description (whether known or unknown, accrued, absolute,
contingent, or otherwise) relating to, arising out of, or with respect to any of the Wind Down
Assets, including obligations and liabilities of FWE: (i)(a) relating to the furnishing of makeup
gas according to the terms of applicable gas sales, gathering, or transportation Wind Down
Contracts and all obligations with respect to Imbalances attributable to the FWE III’s ownership
interests in any of the Wind Down Oil and Gas Properties; (b) with respect to Royalties arising out
of, related to, or attributable to any of the Wind Down Oil and Gas Properties and Wind Down
Suspense Funds, including any reporting and/or mis-reporting, and payment and/or mis-payment
of such Royalties or the Wind Down Suspense Funds; (c) constituting or related to Environmental
Liabilities arising out of, related to, or attributable to any of the Wind Down Assets; (d) applicable
to or imposed on the lessee, owner, operator, holder, responsible party, payor or designated
applicant under or with respect to any of the Wind Down Assets, or as required by applicable
Laws; and (e) constituting or relating to any and all P&A Obligations related to the FWE III’s
ownership interests in, or operation of, any of the Wind Down Assets; and (ii) the liabilities and
obligations of the FWE III specified in Section 6 of the Plan of Merger to the extent attributable
to use of the Joint Use Properties with respect to the Wind Down Assets; provided, however, that
the Wind Down Obligations do not include any claims, liabilities or obligations satisfied,
compromised, settled, released or discharged pursuant to the Plan of Reorganization and
Confirmation Order.




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Schedule II – FWE Wind Down
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                                                   Schedule III17

                               Predecessor Assets and Predecessor Obligations

Part A:

“Predecessor Assets” means all of FWE’s right, title, and interest in, to, or under the following,
subject to Section 6 of the Plan of Merger:18

         (i)     the oil, gas, other Hydrocarbon, and mineral leases, subleases, operating rights,
 record title interests, carried interests, royalties, overriding royalty interests, net profits interests,
 production payments, reversionary interests, and other rights or interests of any kind or character
 in or to Hydrocarbons in place and mineral interests or servitudes of every nature, in, on, under,
 and that may be produced from or attributable to any of the lands covered by the leases, subleases,
 interests, and rights described on Exhibit III-A attached hereto, whether legal or equitable, vested
 or contingent, and regardless of whether the same are expired or terminated (collectively, the
 “Predecessor Leases”), together with all pooled, communitized, or unitized acreage that includes
 all or part of any of the Predecessor Leases (the “Predecessor Units”), and all tenements,
 hereditaments, and appurtenances belonging to the Predecessor Leases and the Predecessor Units
 (collectively with the Predecessor Leases and Predecessor Units, the “Predecessor Lands”);

        (ii) any and all Hydrocarbon, water, CO2, injection, disposal wells or other wells
 located on, under, or within the Predecessor Lands described on Exhibit III-B attached hereto, in
 each case whether producing, non-producing, shut-in, or temporarily or permanently Plugged and
 Abandoned, including the wells set forth on Exhibit III-B attached hereto and all wellbores
 spudded prior to the Effective Time located on the Predecessor Lands (the “Predecessor Wells”
 and, together with the Predecessor Leases and the Predecessor Units, the “Predecessor Oil and
 Gas Properties”);

         (iii) all platforms and facilities, including all associated processing systems, buildings,
compressors, meters, tanks, machinery, tools, personal property, equipment (including spars, trees,
PLETs, jumpers, flowlines, risers, umbilicals, control assemblies, and production handling
equipment), pipelines, gathering lines, water lines, tank batteries, pipeline capacity, other water
gathering, transportation, or disposal infrastructure and equipment, frac tanks, ponds, metering
facilities, interconnections, and other inventory, boats, vehicles, fixtures, improvements, and other
property (whether real, immovable, personal, movable, mixed, or otherwise) that is located on or
appurtenant to any of the Predecessor Leases, the Predecessor Lands, the Predecessor Rights of
Way, or the Predecessor Wells or used or held for use exclusively in connection with the any of
Predecessor Wells and the operation of any of the Predecessor Leases (whether located on or
appurtenant to any of the Predecessor Leases, the Predecessor Lands, Predecessor Rights of Way,

17
  Note to Draft: In the event an asset not included on the schedules hereto is identified after the parties have agreed
to the final form of this Plan of Merger, but prior to the Effective Time, subject to the agreement of the parties, the
applicable schedule shall be updated to include and provide for the allocation of such asset.
18
   Note to Draft: To be determined if any Predecessor Assets constitute assets in which FWE I will also own an
interest and, as to such assets, modify Schedule III as necessary to cover only the applicable interest in such assets to
be allocated to and vest in FWE III as Predecessor Assets.




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or the Predecessor Wells, or stored at a different location (onshore or offshore)), and such
flowlines, pipelines, gathering lines, and/or pipeline capacity that are used or held for use
exclusively in connection with any of the Predecessor Leases, the Predecessor Wells or the
Predecessor Units operations or the production, transportation, or processing of Hydrocarbons
produced from any of the Predecessor Oil and Gas Properties, including all platforms identified
on Exhibit III-C(i) attached hereto and all facilities identified on Exhibit III-C(ii) attached hereto,
but excluding any FWE I Facilities (the “Predecessor Facilities”);

       (iv)    Proprietary Seismic Data and licensed Seismic Data relating exclusively to the
Predecessor Oil and Gas Properties;

        (v)     all surface fee interests, easements, right-of-use easements, licenses, servitudes,
rights-of-way, surface leases and other rights to use the surface or seabed appurtenant to, and used
or held for use exclusively in connection with, the ownership or operation of any or all of the
properties, rights, titles, and interests described in clauses (i) through (iii) and (vi) of this Schedule
III, Part A, including the property described on Exhibit III-D(i) attached hereto and Exhibit III-
D(ii) attached hereto (the “Predecessor Rights of Way”);

        (vi)     all environmental and other governmental (whether federal, state, or local) permits
(including all plans filed with or approval by applicable Governmental Authorities), licenses,
orders, authorizations, franchises, and related instruments or rights relating exclusively to the
ownership, operation, or use of the properties, rights, titles, and interests described in clauses (i)
through (iii), (v) and (viii) of this Schedule III, Part A (the “Predecessor Permits”);

           (vii)   all transportation agreements described on Exhibit III-F attached hereto;19

       (viii) all Hydrocarbons in, on, under, or that may be produced from or attributable to the
Predecessor Leases, the Predecessor Units, or the Predecessor Wells, including all oil, condensate,
and scrubber liquids inventories and ethane, propane, iso-butane, nor-butane, and gasoline
inventories of FWE from the Predecessor Oil and Gas Properties in storage or constituting linefill
and Imbalances;

           (ix)    the FCC licenses associated with the call signs listed on Exhibit III-E attached
hereto;

       (x)     all contracts, agreements, leases, licenses, commitments, sales and purchase orders,
and other instruments that relate exclusively to the ownership or operation of any or all of the
Predecessor Oil and Gas Properties or any other properties, rights, titles, and interests described in
this Schedule III, Part A, including operating agreements, unitization, pooling, and
communitization agreements, declarations and orders, area of mutual interest agreements,
exploration agreements, joint venture agreements, farmin and farmout agreements, exchange
agreements, purchase and sale agreements, and other contracts in which FWE acquired interests
in any Predecessor Assets, transportation agreements, agreements for the sale and purchase of



19
     Note to Draft: To be determined if any FERC regulated transportation agreements need FERC waivers.


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Schedule III – FWE III
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Hydrocarbons, processing agreements, and service agreements, including the contracts listed on
Exhibit III-F attached hereto (the “Predecessor Contracts”);

        (xi)    originals of the Records that relate (i) solely to the Predecessor Assets or the
Predecessor Obligations, or both, or (ii) to the Predecessor Assets or the Predecessor Obligations,
or both, and also to the Wind Down Assets or Wind Down Obligations, or both, and copies of the
Records that constitute FWE I Assets and also relate to either or both of the Predecessor Assets
or the Predecessor Obligations;

        (xii) inventory, equipment, machinery, tools, and other personal property, to the extent
located on the Predecessor Facilities or, if located elsewhere, used or held for use exclusively in
connection with the Predecessor Oil and Gas Properties or the Predecessor Facilities or charged to
the joint account pursuant to the applicable Predecessor Contracts, including those items listed on
Exhibit III-G attached thereto;

       (xiii) FWE-owned SCADA equipment and all automation systems, including meters and
related telemetry, licensed radio frequencies, and associated communications infrastructure
including towers, antennas, data links, and network circuits used or held for use exclusively in
connection with the Predecessor Oil and Gas Properties and the Predecessor Facilities or for the
production of Hydrocarbons therefrom;

        (xiv) all cash (subject to the obligation of FWE to deliver the FWE I Cash Amount, the
FWE I Suspense Funds, and the Prepaid JIB Cash Amount to FWE I), and all third party deposits,
escrow accounts, guarantees, letters of credit, treasury securities, surety bonds, and other forms of
credit assurances or credit support provided by a third party for the benefit of FWE for financial
assurance exclusively for the obligations and liabilities arising out of or related to any other
Predecessor Assets (but not also in part any FWE I Assets), including the Plugging and
Abandonment Obligations arising out of or related to any other Predecessor Assets (but not also
in part any FWE I Assets), including those items listed on Exhibit III-H attached hereto;

        (xv) all agreements and memberships relating solely to well containment/control, clean-
up of spills, or other pollution, or the gathering of data relating to certifications required to be made
to Governmental Authorities with respect to the Predecessor Assets; and

         (xvi) all (i) accounts receivable attributable to the Predecessor Oil and Gas Properties
with respect to any period of time, (ii) rights to any payout or recovery for any Casualty occurring
on or at any Predecessor Asset, whether occurring prior to, on or after the Plan Effective Date,
(iii) instruments and general intangibles (as such terms are defined in the Uniform Commercial
Code of the applicable jurisdictions in which the Predecessor Oil and Gas Properties to which such
assets relate are located), and other economic benefits attributable to the Predecessor Oil and Gas
Properties, (iv) claims of indemnity, contribution, or reimbursement relating to the Predecessor
Obligations and (v) Imbalances receivables of FWE attributable to the Predecessor Oil and Gas
Properties;

       (xvii) all Suspense Funds of FWE to the extent attributable to the Predecessor Oil and
Gas Properties (the “Predecessor Suspense Funds”);



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Schedule III – FWE III
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       (xviii) all rights to any supplemental bonds or other securities (excluding area-wide bonds)
held by, or any authorization or permission from, the BOEM, BSEE, or any other Governmental
Authority with respect to FWE exclusively for other Predecessor Assets; and

          (xix)    all other assets and rights of FWE other than FWE I Assets and Wind Down Assets.

        Notwithstanding the foregoing, the Predecessor Assets shall include all assets and rights of
FWE not expressly included in the FWE I Assets or the Wind Down Assets, but shall exclude any
assets expressly allocated to FWE I pursuant to the Plan of Merger.

Part B:

“Predecessor Obligations” means: all of the obligations and liabilities (contractual or otherwise)
of FWE of any kind, character or description (whether know or unknown, accrued, absolute,
contingent, or otherwise) relating to, arising out of, or with respect to any of the Predecessor
Assets, including (i) obligations and liabilities of FWE: (a) relating to the furnishing of makeup
gas according to the terms of applicable gas sales, gathering, or transportation Predecessor
Contracts and all obligations with respect to Imbalances attributable to FWE III’s ownership
interests in any of the Predecessor Oil and Gas Properties; (b) with respect to Royalties arising out
of, related to, or attributable to any of the Predecessor Oil and Gas Properties and the Predecessor
Suspense Funds, including any reporting and/or mis-reporting, and payment and/or mis-payment
of such Royalties or the Predecessor Suspense Funds; (c) constituting or related to Environmental
Liabilities arising out of, related to, or attributable to any of the Predecessor Assets; (d) applicable
to or imposed on the lessee, owner, operator, holder, responsible party, payor or designated
applicant under or with respect to any of the Predecessor Assets, or as required by applicable Laws;
(e) constituting or relating to any and all P&A Obligations related to FWE III’s ownership interests
in, or operation of, any of the Predecessor Assets; and (f) any and all liabilities and obligations of
FWE not expressly included in the FWE I Obligations or the Wind Down Obligations; and (ii) the
obligations and liabilities of FWE III specified in Section 6 of the Plan of Merger to the extent
attributable to use of the Joint Use Properties with respect to the Predecessor Assets; provided,
however, that the Predecessor Obligations do not include any claims, liabilities or obligations
satisfied, compromised, settled, released or discharged pursuant to the Plan of Reorganization and
Confirmation Order.




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Schedule III – FWE III
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                                              Schedule of Exhibits20

Exhibit A:                     Certificate of Merger

Exhibit B:                     Certificate of Formation – FWE I

Exhibit I-A(i):                FWE I Leases

Exhibit I-A(ii):               FWE I Deep Rights

Exhibit I-B:                   FWE I Wells

Exhibit I-C(i)                 FWE I Platforms

Exhibit I-C(ii)                FWE I Facilities

Exhibit I-D(i)                 FWE I Rights of Way Acquired Pursuant to Apache PSA

Exhibit I-D(ii)                FWE I RUEs

Exhibit I-E                    FWE I FCC Licenses

Exhibit I-F                    FWE I Contracts

Exhibit I-G                    FWE I Inventory

Exhibit I-H                    FWE I Deposits/Escrows/Credit Support

Exhibit I-I                    Subsidiaries and Equity Interests

Exhibit I-J                    FWE II Retained Properties

Exhibit I-K(i)                 Incremental Interests – Leases

Exhibit I-K(ii)                Incremental Interests – Wells

Exhibit I-K(iii)               Incremental Interests – Platforms and Facilities

Exhibit II-A:                  Wind Down Leases21



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  Note to Draft: FWE I Exhibits to the Plan of Merger. Exhibits I-A(i) through I-K(iii) to Schedule 1 to the Plan
of Merger (collectively, the “FWE I Exhibits”) set forth a list of Legacy Apache Properties, which FWE I Exhibits the
Apache PSA Parties and the Fieldwood PSA Parties hereto respectively acknowledge are subject to the ongoing review
and consent rights of the Consenting Creditors under the RSA (which consent has not yet been provided), and the
Apache PSA Parties and Fieldwood PSA Parties agree that the FWE I Exhibits are subject to modification based on
such review to be consistent with the Apache Term Sheet.
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     Note to Draft: Exhibits II-A – II-G to be attached to Executed Plan of Merger.




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 Exhibit II-B:                  Wind Down Wells

 Exhibit II-C(i)                Wind Down Platforms

 Exhibit II-C(ii)               Wind Down Facilities

 Exhibit II-D(i)                Wind Down Rights of Way

 Exhibit II-D(ii)               Wind Down RUEs

 Exhibit II-E                   Wind Down FCC Licenses

 Exhibit II-F                   Wind Down Contracts

 Exhibit II-G                   Wind Down Inventory

 Exhibit III-A:                 Predecessor Leases22

 Exhibit III-B:                 Predecessor Wells

 Exhibit III-C(i)               Predecessor Platforms

 Exhibit III-C(ii)              Predecessor Facilities

 Exhibit III-D(i)               Predecessor Rights of Way

 Exhibit III-D(ii)              Predecessor RUEs

 Exhibit III-E                  Predecessor FCC Licenses

 Exhibit III-F                  Predecessor Contracts

 Exhibit III-G                  Predecessor Inventory

 Exhibit III-H                  Predecessor Deposits/Escrows/Credit Support

                                           [End of Schedule of Exhibits]




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      Note to Draft: Exhibits III-A – III-H to be attached to Executed Plan of Merger



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                                                 Exhibit I-A(i)




Exhibit I‐A(i)
                 Field                                       Block     Lease       Type       Rights      Date Le Eff   Date Le Exp   Le Cur Acres        Operator          WI           Lease Status
                 LOUISIANA NON‐OPERATED                         –      12503       SL‐ LA      ORRI           –             –              –                   –                 0.6%      TERMIN
                 LOUISIANA NON‐OPERATED                         –      06618       SL‐ LA      ORRI           –             –              –                   –                 5.2%         –
                 BRAZOS 491                                 BA 491    G06069      Federal       RT        10/1/1983                      5,760          Fieldwood En           100.0%      TERMIN
                 BRAZOS A‐102/A‐105                        BA A105    G01757      Federal       RT         7/1/1968                      5,760          Fieldwood En            12.5%       PROD
                 BRAZOS A‐102/A‐105                        BA A‐105   G01757      Federal      RT A        7/1/1968                      5,760          Fieldwood En            12.5%       PROD
                 BRAZOS A‐133                              BA A133    G02665      Federal       OP         7/1/1974                      5,760            GOM Shelf             12.5%       PROD
                 BRAZOS A‐133                              BA A‐133   G02665      Federal       RT         7/1/1974                      5,760            GOM Shelf             25.0%       PROD
                 $0 Liability                               BA A19    G33399      Federal       RT         1/1/2010     12/31/2014       5,760        Apache Shelf Exp         100.0%       EXPIR
                 $0 Liability                               BA A47    G03940      Federal       RT         3/1/1979      9/21/2014       5,760          Fieldwood En            33.3%      TERMIN
                 $0 Liability                               BA A47    G03940      Federal       OP         3/1/1979      9/21/2014       5,760          Fieldwood En           100.0%      TERMIN
                 $0 Liability                               BA A69    G32733      Federal       RT        11/1/2008     10/31/2013       5,760        Apache Shelf Exp         100.0%       EXPIR
                 $0 Liability                                BS 39    G33683      Federal       RT         7/1/2010      5/20/2015       1,237            Petsec En             18.8%      RELINQ
                 BRETON SOUND 41                             BS 41    G21142      Federal      OP 2        5/1/1999      1/26/2014       4,995        Fieldwood En Off          13.1%      TERMIN
                 BRETON SOUND 41                             BS 41    G21142      Federal   Contractual    5/1/1999      1/26/2014       4,995        Fieldwood En Off            TBD      TERMIN
                 $0 Liability                                BS 42    G33684      Federal       RT         7/1/2010      5/13/2015       4,552        Apache Shelf Exp          37.5%      RELINQ
                 CHANDELEUR 42/43                            CA 42    G32267      Federal      OP 1        7/1/2008     6/21/2019        5,000          Fieldwood En            50.0%      RELINQ
                 CHANDELEUR 42/43                            CA 43    G32268      Federal      OP 1        7/1/2008                      5,000          Fieldwood En            50.0%       PROD
                 $0 Liability                               DD 253    G10426      Federal       RT         6/1/1990       9/8/2014       5,760        Apache Shelf Exp         100.0%       EXPIR
                 $0 Liability                               DD 297    G10427      Federal       RT         6/1/1990       9/8/2014       5,760        Apache Shelf Exp         100.0%       EXPIR
                 $0 Liability                               EB 128    G34034      Federal       RT         4/1/2012      3/15/2016        165         Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EB 172    G34035      Federal       RT         4/1/2012      3/15/2016       5,760        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                                EC 12    G34220      Federal       RT         8/1/2012       7/7/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 EAST CAMERON 9/14                           EC 14    G13572      Federal       RT         7/1/1992      5/16/2005       2,544          Fieldwood En           100.0%      TERMIN
                 $0 Liability                               EC 171    G34228      Federal       RT         9/1/2012      8/17/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 172    G17858      Federal       RT         7/1/1997      1/22/2016       5,000          Fieldwood En           100.0%      TERMIN
                 $0 Liability                               EC 178    G34229      Federal       RT        10/1/2012      7/24/2015       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 179    G34230      Federal       RT        10/1/2012      7/24/2015       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 185    G34796      Federal       RT         6/1/2013     5/25/2017        5,000          Fieldwood En           100.0%      RELINQ
                 EAST CAMERON 2 ‐ (SL LA)                     EC 2    18121        SL‐ LA       WI        5/12/2004       1/0/1900        220             Fieldwood             50.0%      ACTIVE
                 EAST CAMERON 2 ‐ (SL LA)                    EC 2     16473        SL‐ LA      WI         7/13/1999     7/15/2015         148              Apache               89.1%      RELINQ
                 EAST CAMERON 2 ‐ (SL LA)                    EC 2      16475       SL‐ LA       WI        7/19/1999          –           134.75            Apache               89.1%      ACTIVE
                 $0 Liability                               EC 222    G02037      Federal      OP 1        2/1/1971     11/24/2015       5,000               Talos              17.9%      TERMIN
                 $0 Liability                               EC 222    G02037      Federal      OP 2        2/1/1971     11/24/2015       5,000               Talos              17.9%      TERMIN
                 $0 Liability                               EC 229    G34232      Federal       RT        10/1/2012      9/16/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 230    G34233      Federal       RT        10/1/2012      9/16/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                                EC 24    G04098      Federal       RT        10/1/1979      2/12/2014       5,000            Apex O&G              18.0%      TERMIN
                 $0 Liability                                EC 24    G04098      Federal      OP 2       10/1/1979     2/12/2014        5,000            Apex O&G              31.3%      TERMIN
                 $0 Liability                                EC 24    G04098      Federal      OP 3       10/1/1979     2/12/2014        5,000            Apex O&G              30.3%      TERMIN
                 $0 Liability                               EC 242    G34234      Federal       RT        10/1/2012     9/16/2016        5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 243    G34235      Federal       RT        10/1/2012     9/16/2016        5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 261    G00971      Federal       RT         6/1/1962     1/14/2016        5,000          Fieldwood En           100.0%      TERMIN
                 $0 Liability                               EC 263    G33072      Federal       RT         6/1/2009     5/31/2014        5,000        Apache Shelf Exp         100.0%       EXPIR
                 $0 Liability                               EC 264    G01880      Federal       RT         3/1/1969      7/11/2016       5,000          Fieldwood En           100.0%      TERMIN
                 EAST CAMERON 265 / 278                     EC 265    G00972      Federal       RT         6/1/1962      1/30/2019       5,000          Fieldwood En            50.0%      RELINQ
                 $0 Liability                               EC 270    G02045      Federal       RT         1/1/1971       6/7/2013       2,500              Apache              70.0%      TERMIN
                 EAST CAMERON 265 / 278                     EC 278    G00974      Federal       RT         6/1/1962      10/3/2016       5,000          Fieldwood En            50.0%      TERMIN
                 $0 Liability                               EC 292    G34237      Federal       RT         9/1/2012      8/23/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 293    G34238      Federal       RT         9/1/2012      8/23/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 294    G34239      Federal       RT         9/1/2012     8/23/2016        5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 310    G34240      Federal       RT        11/1/2012     10/4/2016        5,000        Apache Shelf Exp         100.0%      RELINQ
                 *No FW lease ownership                     EC 328    G10638      Federal       RT         5/1/1989                      5,000            Arena Off            100.0%       PROD
                 $0 Liability                                EC 33    G01972      Federal       OP         9/1/1970     2/15/2016        1,250             Merit En             15.6%      TERMIN
                 *No FW asset ownership                     EC 335    G02439      Federal       OP         8/1/1973      6/6/2015        5,000        Energy XXI GOM            14.0%      TERMIN
                 EAST CAMERON 338                           EC 338    G02063      Federal       RT         2/1/1971                      5,000        Anadarko US Off           15.7%       PROD
                 EAST CAMERON 37                             EC 37    G25933      Federal       RT         5/1/2004     9/27/2014        2,608          Probe Res US           100.0%      TERMIN
                 $0 Liability                               EC 370    G33073      Federal       RT         6/1/2009     5/31/2014        5,000        Apache Shelf Exp         100.0%       EXPIR
                 *No FW asset ownership                      EC 71    G13576      Federal       RT         9/1/1992                      5,000           EC Off Prop           100.0%        SOP
                 EAST CAMERON 14                            EC 9/14   G01440      Federal       RT         4/1/1966                      3,152          Fieldwood En           100.0%       PROD
                 EAST CAMERON 9/14                          EC 9/14   G01440      Federal      OP 1        4/1/1966                      3,152          Fieldwood En           100.0%       PROD
                 EUGENE ISLAND 010                            EI 10   G23851      Federal       RT         7/1/2002                      2,303          Contango Op             50.0%       PROD
                 EUGENE ISLAND 010                            EI 10   G23851      Federal      OP 2        7/1/2002                      2,303          Contango Op             50.0%       PROD
                 $0 Liability                                EI 105    00797      Federal       RT         5/1/1960      12/9/2013       5,000          Fieldwood En           100.0%      TERMIN
                 EUGENE ISLAND 105/106                       EI 106   G17966      Federal      RT A        7/1/1997      8/4/2013        5,000              Apache              50.0%      TERMIN
                 EUGENE ISLAND 105/106                       EI 106   G17966      Federal      RT B        7/1/1997       8/4/2013       5,000              Apache             100.0%      TERMIN
                 $0 Liability                                EI 107   G15241      Federal       RT         9/1/1995       9/1/2013       5,000              Apache              75.0%      TERMIN
                 $0 Liability                                EI 108   G03811      Federal      OP 1        6/1/1978     11/22/2015       5,000          Fieldwood En            60.0%      TERMIN
                 $0 Liability                                EI 108   G03811      Federal      RT A        6/1/1978     11/22/2015       5,000          Fieldwood En            60.0%      TERMIN
                 $0 Liability                                EI 108   G03811      Federal      RT B        6/1/1978     11/22/2015       5,000          Fieldwood En            71.3%      TERMIN
                 $0 Liability                                EI 116   G34292      Federal       RT         9/1/2012      8/31/2017       5,000        Apache Shelf Exp         100.0%       EXPIR
                 $0 Liability                                EI 117   G34293      Federal       RT        10/1/2012      9/16/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                                EI 118   G15242      Federal      RT A        7/1/1995     12/17/2015       5,000       Black Elk En Off Op        25.0%      TERMIN
                 $0 Liability                                EI 118   G15242      Federal      RT B        7/1/1995     12/17/2015       5,000          Fieldwood En            75.0%      TERMIN
                 EUGENE IS. 119/120/125/126                  EI 119    00049      Federal      RT A       8/28/1945                      5,000          Fieldwood En            50.0%       PROD
                 EUGENE IS. 119/120/125/126                  EI 119    00049      Federal      RT B       8/28/1945                      5,000          Fieldwood En           100.0%       PROD
                 EUGENE IS. 119/120/125/126                  EI 120    00050      Federal       RT        8/28/1945                      5,000          Fieldwood En           100.0%       PROD
                 EUGENE IS. 119/120/125/126                  EI 125    00051      Federal       RT        8/28/1945         –            5,000          Fieldwood En           100.0%      OPERNS
                 EUGENE IS. 119/120/125/126                  EI 126    00052      Federal       RT        8/28/1945                      5,000          Fieldwood En           100.0%       PROD
                 EUGENE IS. 119/120/125/126                  EI 126    00052      Federal       OP        8/28/1945                      5,000          Fieldwood En            75.0%       PROD
                 $0 Liability                                EI 128   G34294      Federal       RT        10/1/2012     9/16/2016        3,427        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                                EI 131   G33625      Federal       RT         6/1/2010     4/30/2015        5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                                EI 132   G33626      Federal       RT         6/1/2010     4/30/2015        5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                                EI 135   G34296      Federal       RT        10/1/2012     8/26/2015        5,000        Apache Shelf Exp         100.0%      RELINQ
                 EUGENE IS. 136/158                          EI 136   G03152      Federal       RT         7/1/1975                      5,000          Fieldwood En           100.0%       PROD
                 $0 Liability                                EI 156   G16353      Federal       OP         6/1/1996     8/24/2014        5,000       Black Elk En Off Op        50.0%      TERMIN
                 EUGENE IS. 136/158                          EI 158   G01220      Federal       RT         6/1/1962                      5,000          Fieldwood En           100.0%       PROD
                 EUGENE IS. 173/174/175                      EI 173   G13622      Federal       RT         7/1/1992                      5,000          Fieldwood En           100.0%       PROD
                 EUGENE IS. 173/174/175                      EI 174   G03782      Federal       RT         6/1/1978                      5,000            Arena Off            100.0%       PROD
                 EUGENE IS. 173/174/175                      EI 174   G03782      Federal       OP         6/1/1978                      5,000            Arena Off             30.0%       PROD
                 EUGENE IS. 173/174/175                      EI 175    00438      Federal      OP 1       12/1/1954         –            5,000          Fieldwood En            75.0%       PROD
                 EUGENE IS. 187/189                          EI 187   G10736      Federal       RT         7/1/1989                      5,000          Fieldwood En           100.0%       PROD
                 EUGENE ISLAND 188                           EI 188    00443      Federal       RT         1/1/1955     4/30/2010        5,000              Apache             100.0%      TERMIN
                 EUGENE ISLAND 188                           EI 189    00423      Federal       RT        12/1/1954         –            3,750          Fieldwood En           100.0%       PROD
                 $0 Liability                                EI 196    00802      Federal       RT         5/1/1960     3/25/2019        3,516          Fieldwood En            50.0%      RELINQ
                 $0 Liability                                EI 196    00802      Federal       OP         5/1/1960     3/25/2019        3,516          Fieldwood En           100.0%      RELINQ
                 $0 Liability                                EI 196   G13821      Federal      OP 2        5/1/1960     3/22/2019        1,484            Arena Off            100.0%      RELINQ
                 $0 Liability                                EI 196   G13821      Federal      OP 4        5/1/1960     3/22/2019        1,484            Arena Off            100.0%      RELINQ
                 $0 Liability                                 EI 20   G34286      Federal       RT        10/1/2012     8/19/2016        3,582            Castex Off            50.0%      RELINQ
                 $0 Liability                                EI 207   G34301      Federal       RT         8/1/2012      7/7/2016        5,000        Apache Shelf Exp         100.0%      RELINQ
                 *No FW asset ownership                      EI 208    00577      Federal       OP         9/1/1955                      2,500            ANKOR En             100.0%       PROD
                 EUGENE IS. 211/212 / SHIP SHOAL 175/176     EI 211   G05502      Federal      RT B        7/1/1983                      5,000          Fieldwood En            66.7%       UNIT
                 EUGENE IS. 211/212 / SHIP SHOAL 175/176     EI 211   G05502      Federal       OP         7/1/1983                      5,000          Chevron USA             66.7%       UNIT
                 EUGENE IS. 211/212 / SHIP SHOAL 175/176     EI 212   G05503      Federal      RT B        7/1/1983                      5,000          Fieldwood En            66.7%       UNIT
                 EUGENE IS. 211/212 / SHIP SHOAL 175/176     EI 212   G05503      Federal       OP         7/1/1983                      5,000          Chevron USA             66.7%       UNIT
                 $0 Liability                                EI 216   G34303      Federal       RT         8/1/2012      7/7/2016        5,000        Apache Shelf Exp         100.0%      RELINQ
                 EUGENE ISLAND 196/217/227                   EI 217   G00978      Federal       RT         5/1/1962     3/22/2019        5,000            Arena Off             25.0%      RELINQ
                 EUGENE IS. 266                              EI 224   G05504      Federal      ORRI        7/1/1983                      5,000            Castex Off       10.0%            PROD
                 EUGENE IS. 266                              EI 224   G05504      Federal       RT         7/1/1983                      5,000            Castex Off           100.0%       PROD
                 EUGENE ISLAND 196/217/227                   EI 227    00809      Federal       RT         5/1/1960     3/25/2019        5,000            Arena Off             50.0%      RELINQ
                 EUGENE ISLAND 196/217/227                   EI 227   G36745      Federal      ORRI       11/1/2019                      5,000            Arena Off              6.25%     PRIMRY
                 EUGENE ISLAND 196/217/227                   EI 227   G36745      Federal      ORRI       11/1/2019                      5,000            Arena Off              4.17%     PRIMRY
                 EUGENE ISLAND 224/266                       EI 246    00810      Federal      OP 1        5/1/1960                      5,000          Fieldwood En            25.0%       UNIT

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                               Exhibit I-A(i)




Field                                       Block     Lease    Type       Rights      Date Le Eff   Date Le Exp   Le Cur Acres        Operator         WI        Lease Status
EUGENE ISLAND 224/266                       EI 246    00810   Federal      OP 2         5/1/1960                     5,000          Fieldwood En         75.0%      UNIT
EUGENE ISLAND 224/266                       EI 246    00810   Federal       RT          5/1/1960                     5,000          Fieldwood En         75.0%      UNIT
EUGENE ISLAND 224/266                       EI 246    00810   Federal      ORRI         5/1/1960        –            5,000         Sanare En Part         6.3%      UNIT
EUGENE ISLAND 255                           EI 255   G01958   Federal       RT          1/1/1970                     2,500             Cox Op             2.0%      PROD
EUGENE ISLAND 255                           EI 255   G01958   Federal      OP 3         1/1/1970                     2,500             Cox Op            77.2%      PROD
EUGENE ISLAND 255                           EI 255   G01958   Federal      OP 4         1/1/1970                     2,500             Cox Op            38.6%      PROD
$0 Liability                                EI 266    00811   Federal      OP 1         5/1/1960                     5,000          Fieldwood En         25.0%      UNIT
$0 Liability                                EI 266    00811   Federal      OP 2         5/1/1960                     5,000          Fieldwood En         75.0%      UNIT
$0 Liability                                EI 266    00811   Federal       RT          5/1/1960                     5,000          Fieldwood En         75.0%      UNIT
$0 Liability                                EI 267    00812   Federal       OP          5/1/1960                     5,000          Fieldwood En         25.0%      UNIT
$0 Liability                                EI 267    00812   Federal      OP 2         5/1/1960                     5,000          Fieldwood En         75.0%      UNIT
$0 Liability                                EI 267    00812   Federal       RT          5/1/1960                     5,000          Fieldwood En         75.0%      UNIT
$0 Liability                                EI 269    00813   Federal      OP 1         5/1/1960                     5,000          Fieldwood En         25.0%      UNIT
$0 Liability                                EI 269    00813   Federal      OP 2         5/1/1960                     5,000          Fieldwood En         75.0%      UNIT
$0 Liability                                EI 269    00813   Federal       RT          5/1/1960                     5,000          Fieldwood En         75.0%      UNIT
$0 Liability                                EI 280   G23876   Federal       RT          5/1/2002     1/19/2014       5,000        Energy XXI GOM         18.8%     TERMIN
$0 Liability                                EI 281   G09591   Federal       RT          5/1/1988      7/5/2016       5,000           Bennu O&G           90.5%     TERMIN
$0 Liability                                EI 281   G09591   Federal      OP 1         5/1/1988      7/5/2016       5,000           Bennu O&G           45.3%     TERMIN
$0 Liability                                EI 281   G09591   Federal      OP 2         5/1/1988      7/5/2016       5,000           Bennu O&G           45.3%     TERMIN
$0 Liability                                EI 281   G09591   Federal      OP 3         5/1/1988      7/5/2016       5,000           Bennu O&G           45.3%     TERMIN
$0 Liability                                EI 282   G09592   Federal       RT          6/1/1988      7/5/2016       5,000             Apache            75.0%     TERMIN
$0 Liability                                EI 282   G09592   Federal      OP 1         6/1/1988      7/5/2016       5,000             Apache            75.0%     TERMIN
$0 Liability                                EI 282   G09592   Federal      OP 2         6/1/1988      7/5/2016       5,000             Apache            75.0%     TERMIN
$0 Liability                                 EI 29   G34287   Federal       RT         12/1/2012    11/22/2016       5,000        Apache Shelf Exp       50.0%     RELINQ
EUGENE IS. 307                              EI 307   G02110   Federal       OP          2/1/1971     11/4/2019       2,500        Fieldwood En Off       25.0%     TERMIN
SOUTH MARSH IS. 142 / EUGENE IS. 312        EI 312   G22679   Federal       RT          6/1/2001      8/7/2020       5,000          Fieldwood En        100.0%     TERMIN
SOUTH MARSH IS. 142 / EUGENE IS. 312        EI 312   G22679   Federal      ORRI         6/1/2001      8/7/2020       5,000          Fieldwood En          8.3%     TERMIN
$0 Liability                                EI 313   G02608   Federal       RT          5/1/1974     6/23/2016       5,000            Arena Off          50.0%     TERMIN
$0 Liability                                EI 313   G02608   Federal      OP 1         5/1/1974     6/23/2016       5,000            Arena Off          50.0%     TERMIN
$0 Liability                                EI 313   G02608   Federal      OP 2         5/1/1974     6/23/2016       5,000            Arena Off          50.0%     TERMIN
EUGENE IS. 315/316/329                      EI 315   G02112   Federal       RT          8/1/1974                     2,500          Fieldwood En         50.0%     TERMIN
EUGENE IS. 315/316/329                      EI 315   G02112   Federal       OP          8/1/1974                     2,500          Fieldwood En         50.0%     TERMIN
EUGENE IS. 315/316/329                      EI 315   G24912   Federal       RT          5/1/2003                     2,500          Fieldwood En        100.0%      PROD
EUGENE IS. 315/316/329                      EI 316   G05040   Federal       RT          4/1/1982                     5,000          Fieldwood En        100.0%      PROD
EUGENE IS. 315/316/329                      EI 329   G02912   Federal       RT         12/1/1974                     5,000          Fieldwood En        100.0%     TERMIN
EUGENE IS. 330                              EI 330   G02115   Federal   Contractual     1/1/1971                     5,000          Fieldwood En         63.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 7         1/1/1971                     5,000          Fieldwood En         47.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 6         1/1/1971                     5,000          Fieldwood En         47.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 5         1/1/1971                     5,000          Fieldwood En         47.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 4         1/1/1971                     5,000          Fieldwood En         47.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 3         1/1/1971                     5,000          Fieldwood En         47.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 2         1/1/1971                     5,000          Fieldwood En         47.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal       RT          1/1/1971                     5,000          Fieldwood En         42.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal       RT          1/1/1971                     5,000          Fieldwood En         23.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 7         1/1/1971                     5,000          Fieldwood En         23.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 6         1/1/1971                     5,000          Fieldwood En         23.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 5         1/1/1971                     5,000          Fieldwood En         23.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 4         1/1/1971                     5,000          Fieldwood En         23.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 3         1/1/1971                     5,000          Fieldwood En         23.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 2         1/1/1971                     5,000          Fieldwood En         23.0%      UNIT
EUGENE IS. 333/334                          EI 333   G02317   Federal       RT          2/1/1973    8/29/2020        5,000          Fieldwood En        100.0%     TERMIN
EUGENE IS. 333/334                          EI 334   G15263   Federal       RT          7/1/1995    8/29/2020        5,000          Fieldwood En        100.0%     TERMIN
EUGENE IS. 337                              EI 337   G03332   Federal       RT          3/1/1976                     5,000          Fieldwood En        100.0%      UNIT
EUGENE IS. 337                              EI 337   G3332    Federal      ORRI         3/1/1976                                    Fieldwood En          0.1%      UNIT
EUGENE IS. 337                              EI 337   G03332   Federal      OP 4         3/1/1976                    5,000           Fieldwood En         98.0%      UNIT
EUGENE IS. 337                              EI 337   G03332   Federal      OP 1         3/1/1976                    5,000           Fieldwood En        100.0%      UNIT
EUGENE IS. 337                              EI 337   G03332   Federal      OP 3         3/1/1976                    5,000           Fieldwood En        100.0%      UNIT
EUGENE IS. 342/343                          EI 342   G02319   Federal      RT A         2/1/1973                    5,000           Fieldwood En         50.0%     TERMIN
EUGENE IS. 342/343                          EI 342   G02319   Federal      RT B         2/1/1973                    5,000           Fieldwood En         75.0%     TERMIN
EUGENE IS. 342/343                          EI 342   G02319   Federal      OP 1         2/1/1973                    5,000           Fieldwood En         75.0%     TERMIN
EUGENE IS. 342/343                          EI 342   G02319   Federal      OP 2         2/1/1973                    5,000           Fieldwood En         61.8%     TERMIN
EUGENE IS. 345/346                          EI 345   G21647   Federal       RT          7/1/2000    8/21/2019       5,000           Fieldwood En         50.0%     TERMIN
EUGENE IS. 345/346                          EI 346   G14482   Federal       RT          6/1/1994                    5,000             Arena Off         100.0%      PROD
EUGENE IS. 353/354                          EI 353   G03783   Federal       OP          6/1/1978    8/26/2020       5,000           Fieldwood En        100.0%     TERMIN
EUGENE IS. 337                              EI 354   G10752   Federal       RT          5/1/1989                    5,000           Fieldwood En        100.0%      PROD
EUGENE IS. 337                              EI 354   G10752   Federal       OP          5/1/1989                    5,000           Fieldwood En         67.0%      PROD
EUGENE IS. 353/354                          EI 361   G02324   Federal       RT          2/1/1973                    5,000              Cox Op            12.4%      PROD
EUGENE IS. 53                                EI 53    00479   Federal      OP 1        12/1/1954                    5,000          EnVen En Vent         66.7%      PROD
EUGENE IS. 53                                EI 53    00479   Federal       OP         12/1/1954                    5,000          EnVen En Vent        100.0%      PROD
EUGENE ISLAND 57/58                          EI 57   G02601   Federal      OP 2         5/1/1974    3/27/2020       5,000               Talos            31.7%     TERMIN
EUGENE ISLAND 57/58                          EI 57   G02601   Federal      OP 4         5/1/1974    3/27/2020       5,000             ANKOR En           15.8%     TERMIN
$0 Liability                                 EI 88   G10721   Federal       OP          7/1/1989    2/22/2016       5,000           Fieldwood En         75.0%     TERMIN
EUGENE ISLAND 88/89/90/93/94/95              EI 89   00044    Federal       OP         8/28/1945    2/22/2016       5,000           Fieldwood En         75.0%     TERMIN
EUGENE ISLAND 88/89/90/93/94/95              EI 89   00044    Federal      OP 2        8/28/1945    2/22/2016       5,000           Fieldwood En         75.0%     TERMIN
*No FW asset ownership                       EI 90   00229    Federal       OP        11/19/1948    2/22/2016       1,250           Fieldwood En         75.0%     TERMIN
$0 Liability                                 EI 93   00228    Federal       OP        11/19/1948    2/22/2016       2,500           Fieldwood En         75.0%     TERMIN
$0 Liability                                 EI 94   G05488   Federal       OP          7/1/1983    2/22/2016       5,000           Fieldwood En         75.0%     TERMIN
$0 Liability                                 EI 95   00046    Federal       OP         8/28/1945    2/22/2016       5,000           Fieldwood En         75.0%     TERMIN
$0 Liability                               EW 525    G33704   Federal       RT          7/1/2010    6/19/2015       2,420         Apache Shelf Exp       46.9%     RELINQ
$0 Liability                               EW 526    G33134   Federal       RT          6/1/2009    5/31/2014       3,517         Apache Shelf Exp      100.0%      EXPIR
$0 Liability                               EW 781    G33137   Federal       RT         6/1/2009     5/31/2014        309          Apache Shelf Exp      100.0%      EXPIR
EWING BANK 826/782 / SOUTH TIMBALIER 291   EW 782    G31470   Federal       RT         12/1/2007                    1,093           Fieldwood En        100.0%      PROD
$0 Liability                               EW 789    G33139   Federal       RT          7/1/2009    4/30/2015       5,760         Apache Shelf Exp      100.0%     RELINQ
EWING BANK 826/782 / SOUTH TIMBALIER 291   EW 826    G05800   Federal       RT          7/1/1983                    5,760              BP E&P           100.0%      PROD
$0 Liability                               EW 905    G34415   Federal       RT          8/1/2012     7/7/2016       1,007         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                               EW 906    G33708   Federal       RT          6/1/2010     4/7/2016       1,084         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                               EW 949    G34877   Federal       RT          8/1/2013     7/7/2016       5,760         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                               EW 950    G33709   Federal       RT          6/1/2010     4/7/2016       5,760         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                               FM 411    G08361   Federal       RT         8/1/1986     1/30/2015       5,760           Chevron USA          24.3%      EXPIR
$0 Liability                               FM 412    G08362   Federal       RT         8/1/1986     1/30/2015       5,760           Chevron USA          16.0%      EXPIR
$0 Liability                               FM 455    G08363   Federal       RT         8/1/1986     1/30/2015       5,760           Chevron USA          24.2%      EXPIR
$0 Liability                               FM 456    G08364   Federal       RT         8/1/1986     1/30/2015       5,760           Chevron USA          24.3%      EXPIR
$0 Liability                               FM 499    G08365   Federal       RT         8/1/1986     1/30/2015       5,760           Chevron USA          24.3%      EXPIR
$0 Liability                               FM 500    G08366   Federal       RT          8/1/1986    1/30/2015       5,760           Chevron USA          16.0%      EXPIR
$0 Liability                               FM 543    G08367   Federal       RT          8/1/1986    1/30/2015       5,760           Chevron USA          24.3%      EXPIR
$0 Liability                               FM 587    G08368   Federal       RT          8/1/1986    1/30/2015       5,760           Chevron USA          24.3%      EXPIR
GALVESTON 151                              GA 151    G15740   Federal       RT         11/1/1995    4/12/2016       4,804           Fieldwood En         33.3%     TERMIN
HIGH IS. 179 / GA 180                      GA 180    G03228   Federal       RT          9/1/1975                    5,760           Fieldwood En        100.0%      UNIT
HIGH ISLAND 179                            GA 192    G03229   Federal     CONT          9/1/1975                    5,760             Arena Off          90.0%      UNIT
GALVESTON 210                              GA 210    G25524   Federal      OP 1        12/1/2003                    5,760           Fieldwood En         83.3%      PROD
GALVESTON 210                              GA 210    G25524   Federal      OP 3        12/1/2003                    5,760           Fieldwood En         66.7%      PROD
GALVESTON 210                              GA 210    G25524   Federal       RT         12/1/2003                    5,760           Fieldwood En         66.7%      PROD
GALVESTON 210                              GA 210    G25524   Federal       OP         12/1/2003                    5,760           Fieldwood En         83.3%      PROD
$0 Liability                               GA 343    G06105   Federal       RT         10/1/1983    1/19/2014       5,760        Black Elk En Off Op     12.5%     TERMIN
$0 Liability                               GA 343    G06105   Federal       OP         10/1/1983    1/19/2014       5,760        Black Elk En Off Op     37.5%     TERMIN
$0 Liability                                GB 85    G34515   Federal       RT          8/1/2012     7/7/2016       4,450         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                               GI 104    G33671   Federal       RT          7/1/2010    6/10/2015       5,000         Apache Shelf Exp       46.9%     RELINQ
GRAND ISLE 110/116                         GI 110    G13943   Federal       RT          8/1/1993                    5,000           Fieldwood En         50.0%      UNIT
GRAND ISLE 110/116                         GI 116    G13944   Federal       RT          7/1/1993                    5,000           Fieldwood En         50.0%      UNIT
$0 Liability                               GI 117    G32232   Federal       RT          8/1/2008    7/31/2013       4,540              Apache           100.0%      EXPIR
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)     GI 32    00174    Federal       RT         7/17/1948                    2,500             GOM Shelf          75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)     GI 32    00174    Federal      OP 2       7/17/1948                     2,500            GOM Shelf           37.5%      UNIT

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                               Exhibit I-A(i)




Field                                      Block       Lease     Type       Rights     Date Le Eff   Date Le Exp   Le Cur Acres        Operator         WI        Lease Status
$0 Liability                               GI 32      G01580    Federal       RT        7/1/1967     3/15/2016        2,500           BP Am Prod          75.0%     TERMIN
$0 Liability                               GI 32      G01580    Federal       OP        7/1/1967     3/15/2016        2,500           BP Am Prod          37.5%     TERMIN
$0 Liability                               GI 33      G04002    Federal       RT        3/1/1979     2/24/2017        5,000          Fieldwood En        100.0%     RELINQ
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 39       00127    Federal       RT       4/21/1947                      2,500           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 39       00127    Federal      OP 2      4/21/1947                      2,500           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 39       00126    Federal       RT       4/21/1947                      2,500           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 39       00126    Federal      OP 2      4/21/1947                      2,500           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 40       00128    Federal       RT       4/21/1947                      5,000           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 40       00128    Federal      OP 2      4/21/1947                      5,000           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 41       00129    Federal       RT       4/21/1947                      2,500           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 41       00129    Federal      OP 2      4/21/1947                      2,500           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 41       00130    Federal       RT       4/21/1947                      2,500           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 41       00130    Federal      OP 2      4/21/1947                      2,500           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 42       00131    Federal       RT       4/21/1947                      5,000           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 42       00131    Federal      OP 2      4/21/1947                      5,000           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 43       00175    Federal       RT       7/17/1948         –            5,000           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 43       00175    Federal      OP 2      7/17/1948         –            5,000           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 44       00176    Federal       RT       7/17/1948                      2,500           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 44       00176    Federal      OP 2      7/17/1948                      2,500           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 46       00132    Federal       RT       4/21/1947                      5,000           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 46       00132    Federal      OP 2      4/21/1947                      5,000           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 47       00133    Federal       RT       4/21/1947                      5,000           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 47       00133    Federal      OP 2      4/21/1947                      5,000           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 48       00134    Federal       RT       4/21/1947                      5,000           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 48       00134    Federal      OP 2      4/21/1947                      5,000           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 52       00177    Federal       RT       7/17/1948                      2,500           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 52       00177    Federal      OP 1      7/17/1948                      2,500           GOM Shelf           50.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 52       00177    Federal      OP 1      7/17/1948                      2,500           GOM Shelf           50.0%      UNIT
$0 Liability                               GI 54      G27173    Federal       RT        7/1/2005     2/12/2017        5,000          Fieldwood En         50.0%     TERMIN
GRAND ISLE 76                              GI 76      G02161    Federal       RT       10/1/1972     9/18/2019        5,000          Fieldwood En         95.8%     RELINQ
$0 Liability                               GI 90      G04003    Federal       RT        3/1/1979      4/18/2016       5,000          Fieldwood En        100.0%     TERMIN
$0 Liability                               GI 90      G04003    Federal      OP 1       3/1/1979     4/18/2016        5,000          Fieldwood En        100.0%     TERMIN
$0 Liability                               GI 90      G04003    Federal      OP 2       3/1/1979     4/18/2016        5,000          Fieldwood En         50.0%     TERMIN
$0 Liability                               GI 90      G04003    Federal      OP 4       3/1/1979     4/18/2016        5,000          Fieldwood En         50.0%     TERMIN
$0 Liability                               GI 90      G04003    Federal      OP 5       3/1/1979     4/18/2016        5,000          Fieldwood En        100.0%     TERMIN
$0 Liability                               GI 90      G04003    Federal      OP 6       3/1/1979     4/18/2016        5,000          Fieldwood En        100.0%     TERMIN
$0 Liability                               GI 93      G02628    Federal       RT        5/1/1974     12/4/2014        5,000              BP E&P          100.0%     TERMIN
$0 Liability                               GI 93      G02628    Federal       OP        5/1/1974     12/4/2014        5,000              BP E&P          100.0%     TERMIN
GRAND ISLE 90/94                           GI 94      G02163    Federal       RT       11/1/1972     7/27/2017        4,540          Fieldwood En        100.0%     RELINQ
GRAND ISLE 90/94                           GI 94      G02163    Federal       OP       11/1/1972     7/27/2017        4,540          Fieldwood En        100.0%     RELINQ
$0 Liability                               GI 98      G34354    Federal       RT        8/1/2012      7/7/2016        5,000        Apache Shelf Exp      100.0%     RELINQ
HIGH IS. 110/111                           HI 110     G02353    Federal       RT        8/1/1973     5/31/2019        5,760            W & T Off          20.0%     TERMIN
HIGH IS. 110/111                           HI 111     G02354    Federal       RT        8/1/1973      4/30/2019       5,760            W & T Off          20.0%     TERMIN
$0 Liability                               HI 114     G32747    Federal       RT       12/1/2008     11/30/2013       5,760        Apache Shelf Exp      100.0%      EXPIR
HIGH IS. 116                               HI 116     G06156    Federal       RT       10/1/1983      2/25/2015       5,760          Fieldwood En        100.0%     TERMIN
HIGH IS. 129                               HI 129     G01848    Federal       RT        6/1/1968                      5,760          Fieldwood En         90.0%      PROD
HIGH IS. 129                               HI 129     G01848    Federal      ORRI       6/1/1968                                     Fieldwood En         10.4%      PROD
$0 Liability                               HI 132     G32748    Federal       RT       12/1/2008     11/30/2013      5,760         Apache Shelf Exp      100.0%      EXPIR
$0 Liability                               HI 140      00518    Federal       OP        1/1/1955      2/10/2015      5,760        Black Elk En Off Op     50.0%     TERMIN
$0 Liability                               HI 163     G22236    Federal       RT       12/1/2000      5/31/2015      5,760           Fieldwood En         70.0%     TERMIN
HIGH ISLAND 176                            HI 176     G06164    Federal   OPRTS Cont   10/1/1983      12/1/2002      5,760               Apache           49.5%     TERMIN
HIGH IS. 179 / GA 180                      HI 179     G03236    Federal       RT        9/1/1975                     5,760               Cox Op          100.0%      UNIT
HIGH ISLAND 179                            HI 193     G03237    Federal     CONT        9/1/1975                     5,760             Arena Off          90.0%      UNIT
$0 Liability                               HI 194     G06166    Federal       RT       10/1/1983     7/21/2013       5,760               Apache          100.0%     TERMIN
$0 Liability                               HI 194     G06166    Federal       OP       10/1/1983     7/21/2013       5,760               Apache           45.0%     TERMIN
$0 Liability                               HI 201     G23199    Federal       OP       12/1/2001     10/5/2014       5,760           Apache Shelf         37.6%     TERMIN
HIGH IS. 206                               HI 206     G20660    Federal       RT        1/1/1999                     5,760           Fieldwood En        100.0%      PROD
HIGH ISLAND 45                             HI 45      G12564    Federal       RT       10/1/1990       3/8/2015      4,367           Fieldwood En         16.7%     TERMIN
HIGH ISLAND 45                             HI 45      G12564    Federal      OP 1      10/1/1990       3/8/2015      4,367           Fieldwood En         15.0%     TERMIN
HIGH ISLAND 45                             HI 45      G12564    Federal      OP 2      10/1/1990       3/8/2015      4,367           Fieldwood En         33.3%     TERMIN
$0 Liability                               HI 52       00508    Federal       RT        1/1/1955      9/24/2013      1,440         SandRidge En Off       75.0%     TERMIN
$0 Liability                               HI 52       00509    Federal       RT        1/1/1955      9/24/2013      1,440               Apache           75.0%     TERMIN
$0 Liability                               HI 52       00511    Federal       RT        1/1/1955      9/24/2013      1,440               Apache           75.0%     TERMIN
$0 Liability                               HI 53       00513    Federal       RT        1/1/1955      9/24/2013       180             Phoenix Exp         75.0%     TERMIN
$0 Liability                               HI 53       00740    Federal       RT        4/1/1960      9/24/2013      1,440               Apache           75.0%     TERMIN
$0 Liability                              HI A‐133    G32760    Federal       RT       11/1/2008     10/31/2013      5,760               Apache          100.0%      EXPIR
$0 Liability                              HI A‐145    G32761    Federal       RT       11/1/2008     10/31/2013      5,760               Apache          100.0%      EXPIR
$0 Liability                              HI A‐146    G32762    Federal       RT       11/1/2008     10/31/2013      5,760         Apache Shelf Exp      100.0%      EXPIR
$0 Liability                              HI A‐148    G32763    Federal       RT       11/1/2008     10/31/2013      5,760               Apache          100.0%      EXPIR
$0 Liability                              HI A‐160    G32764    Federal       RT       11/1/2008     10/31/2013      5,760               Apache          100.0%      EXPIR
$0 Liability                              HI A‐171    G30679    Federal       RT       12/1/2006       8/9/2014      5,760           Walter O&G           33.3%     TERMIN
$0 Liability                              HI A‐326    G32777    Federal       RT       11/1/2008     10/31/2013      5,760               Apache          100.0%      EXPIR
HIGH IS. A‐334                            HI A‐334    G02423    Federal       RT        8/1/1973      2/27/2014      5,760           Fieldwood En         38.9%     TERMIN
HIGH IS. A‐341                            HI A‐341    G25605    Federal       RT       12/1/2003                     5,760           Fieldwood En         60.0%      PROD
$0 Liability                              HI A‐350    G02428    Federal       RT        8/1/1973     7/24/2013       4,345               Apache          100.0%     RELINQ
$0 Liability                              HI A360     G34677    Federal       RT        3/1/2013     2/18/2016       5,760         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                              HI A361     G34678    Federal       RT        3/1/2013     2/24/2017       5,760           Fieldwood En        100.0%     RELINQ
$0 Liability                              HI A363     G33413    Federal       RT       10/1/2009     9/30/2014       5,760         Apache Shelf Exp      100.0%      EXPIR
HIGH IS. A‐365/A‐376                      HI A‐365    G02750    Federal       RT        7/1/1974                     5,760           Fieldwood En         53.1%      PROD
HIGH IS. A‐365/A‐376                      HI A‐376    G02754    Federal      OP 1       7/1/1974                     5,760           Fieldwood En        100.0%      PROD
HIGH IS. A‐365/A‐376                      HI A‐376    G02754    Federal       RT        7/1/1974                     5,760           Fieldwood En         44.4%      PROD
HIGH IS. A‐365/A‐376                      HI A‐376     G2754    Federal      ORRI       7/1/1974                                     Fieldwood En          1.2%      PROD
HIGH IS. A‐365/A‐376                      HI A‐376     G2754    Federal      ORRI       7/1/1974                                     Fieldwood En          6.0%      PROD
HIGH IS. A‐573 (382/572/573/595/596)      HI A‐382    G02757    Federal       RT        7/1/1974                     5,760           Fieldwood En         72.4%      PROD
$0 Liability                              HI A406     G32767    Federal       RT       11/1/2008     10/31/2013      5,760               Apache          100.0%      EXPIR
$0 Liability                              HI A430     G33412    Federal       RT       10/1/2009      9/30/2014      5,760         Apache Shelf Exp      100.0%      EXPIR
HIGH ISLAND A‐442                         HI A442     G11383    Federal       OP       11/1/1989      3/27/2017      5,760        Northstar Off Grp       22.7%     TERMIN
$0 Liability                              HI A454     G32769    Federal       RT       11/1/2008     10/31/2013      5,760               Apache          100.0%      EXPIR
$0 Liability                              HI A457     G32770    Federal       RT       11/1/2008     10/31/2013      5,760               Apache          100.0%      EXPIR
HIGH IS. A‐474                            HI A‐474    G02366    Federal       RT        8/1/1973      2/28/2017      5,760          McMoRan O&G           10.0%     TERMIN
HIGH ISLAND A‐474/489                     HI A‐475    G02367    Federal     CONT        8/1/1973     12/25/1999      5,760          McMoRan O&G           10.0%     TERMIN
HIGH IS. A‐474                            HI A‐489    G02372    Federal       RT        8/1/1973      2/28/2017      5,760          McMoRan O&G            8.5%     TERMIN
Ex N                                      HI A537     G02698    Federal     CONT       5/29/1974      11/2/2016                     McMoRan O&G                     TERMIN
HIGH IS. A‐545                            HI A545     G17199    Federal       OP        1/1/1997      6/30/2019      5,760           Fieldwood En         60.0%     TERMIN
HIGH IS. A‐573 (382/572/573/595/596)      HI A‐572    G02392    Federal       RT        8/1/1973      5/18/2006      5,760               Apache           72.4%     TERMIN
HIGH IS. A‐573 (382/572/573/595/596)      HI A‐573    G02393    Federal       RT        8/1/1973                     5,760           Fieldwood En         72.4%      PROD
HIGH IS. A‐563 (563/564/581/582)          HI A‐581    G18959    Federal     CONT       8/27/1997      7/1/2005                           Cox Op           24.7%     TERMIN
HIGH IS. A‐563 (563/564/581/582)          HI A582     G02719    Federal       RT        7/1/1974                     5,760               Cox Op           24.7%      PROD
HIGH IS. A‐563 (563/564/581/582)          HI A‐582    G02719    Federal      OP 1       7/1/1974                     5,760               Cox Op           15.5%      PROD
HIGH IS. A‐573 (382/572/573/595/596)      HI A‐595    G02721    Federal       RT        7/1/1974                     5,760           Fieldwood En         72.4%      PROD
HIGH IS. A‐573 (382/572/573/595/596)      HI A‐596    G02722    Federal       RT        7/1/1974                     5,760           Fieldwood En         72.4%      PROD
MISSISSIPPI CANYON 109                    MC 108      G09777    Federal       RT        7/1/1988                     5,760               BP E&P           75.2%      PROD
MISSISSIPPI CANYON 109                    MC 108      G09777    Federal       OP        7/1/1988                     5,760               BP E&P           75.2%      PROD
MISSISSIPPI CANYON 109                    MC 110      G18192    Federal       RT        8/1/1997                     5,760           Fieldwood En         50.0%      PROD
MISSISSIPPI CANYON 109                    MC 110      G18192    Federal      ORRI       8/1/1997                                     Fieldwood En          3.9%      PROD
MISSISSIPPI CANYON 21/65                   MC 21      G28351    Federal      ORRI       7/1/1995                     4,445             ANKOR En            3.0%      PROD
MISSISSIPPI CANYON 311                    MC 311      G02968    Federal       RT       12/1/1974                     5,760           Fieldwood En        100.0%      PROD
MISSISSIPPI CANYON 21/65                   MC 65      G21742    Federal       RT        6/1/2000                     5,760             ANKOR En          100.0%      PROD
MISSISSIPPI CANYON 21/65                   MC 65      G21742    Federal      ORRI       6/1/2000                                       ANKOR En           13.0%      PROD
MATAGORDA ISLAND 519 FED / SL TX           MI 486    MF88560    SL ‐ TX       WI       10/5/1982      9/1/2019       1,440             Fieldwood         100.0%     EXPIRED
MATAGORDA ISLAND 519 FED / SL TX           MI 487    MF‐88562   SL ‐ TX      WI        10/5/1982         –           1,305             Fieldwood         100.0%        SI
MATAGORDA ISLAND 519 FED / SL TX           MI 518     G05169    Federal       RT        1/1/1983     9/30/2019       5,675           Fieldwood En        100.0%     TERMIN

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Field                                             Block           Lease            Type     Rights   Date Le Eff   Date Le Exp   Le Cur Acres       Operator       WI         Lease Status
MATAGORDA ISLAND 519 FED / SL TX                 MI 518          MF80522          SL ‐ TX     WI     10/2/1979       9/1/2019         85            Fieldwood       100.0%      EXPIRED
MATAGORDA ISLAND 519 FED / SL TX                 MI 519         MF-79413          SL ‐ TX    WI       2/6/1979          –            739            Fieldwood       100.0%         SI
MATAGORDA IS. 622/623/635/636                    MI 622           G05000          Federal     RT      4/1/1982      8/23/2018       5,760         Fieldwood En        81.0%     TERMIN
MATAGORDA IS. 622/623/635/636                    MI 622           G05000          Federal     OP      4/1/1982      8/23/2018       5,760             BP E&P          37.5%     TERMIN
MATAGORDA IS. 622/623/635/636                    MI 623           G03088          Federal     RT      4/1/1975      8/23/2018       5,760         Fieldwood En        81.0%     TERMIN
MATAGORDA IS. 622/623/635/636                    MI 623           G03088          Federal     OP      4/1/1975      8/23/2018       5,760             BP E&P          37.5%     TERMIN
MATAGORDA IS. 622/623/635/636                    MI 635           G06043          Federal     RT     10/1/1983      8/23/2018       5,760         Fieldwood En        81.0%     TERMIN
MATAGORDA IS. 622/623/635/636                    MI 635           G06043          Federal     OP     10/1/1983      8/23/2018       5,760             BP E&P          37.5%     TERMIN
$0 Liability                                     MI 636           G34670          Federal     RT      4/1/2013      3/25/2016       5,760       Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MI 652           G34022          Federal     RT      2/1/2012      1/31/2017       5,760       Apache Shelf Exp    100.0%       EXPIR
$0 Liability                                     MI 681           G04703          Federal     RT      9/1/1981      2/25/2014       5,760         Fieldwood En      100.0%      TERMIN
$0 Liability                                     MI 685           G04548          Federal     RT      1/1/1981     12/22/2014       5,760            EOG Res          50.0%     TERMIN
$0 Liability                                     MI 685           G04548          Federal     OP      1/1/1981     12/22/2014       5,760            EOG Res           2.5%     TERMIN
$0 Liability                                     MI 703           G03733          Federal     RT      6/1/1978      2/26/2014       5,760         Fieldwood En      100.0%      TERMIN
$0 Liability                                     MI 703           G03733          Federal    OP 1     6/1/1978      2/26/2014       5,760         Fieldwood En      100.0%      TERMIN
$0 Liability                                     MI 703           G03733          Federal    OP 2     6/1/1978      2/26/2014       5,760         Fieldwood En      100.0%      TERMIN
                                                 MI 772           MF93351         SL ‐ TX     WI      2/7/1989       1/1/2017        704            Fieldwood       100.0%    TERMINATED
$0 Liability                                     MO 820           G34403          Federal     RT      8/1/2012       7/7/2016       3,347       Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MO 821           G05058          Federal     RT      4/1/1982      9/19/2014       4,028         Fieldwood En      100.0%      TERMIN
                                                 MO 821    STATE OF ALABAMA 627   SL ‐ AL     WI     8/14/1984       1/1/2019       2,511           Fieldwood       100.0%    TERMINATED
MOBILE BAY 826                                   MO 826           G26176          Federal     RT      7/1/2004                      1,430         Fieldwood En        75.0%      PROD
$0 Liability                                     MO 871           G32272          Federal     RT      8/1/2008     7/31/2013        5,760             Apache        100.0%       EXPIR
$0 Liability                                     MO 913           G33131          Federal     RT      6/1/2009     5/31/2014        5,760       Apache Shelf Exp      75.0%      EXPIR
$0 Liability                                     MO 914           G33132          Federal     RT      6/1/2009     5/31/2014        5,760       Apache Shelf Exp      75.0%      EXPIR
                                                 MP 120            G3197          Federal   ORRI      7/1/1975                                      Arena Off          2.0%      PROD
                                                 MP 120           G03197          Federal   ORRI     5/28/1975                                      Arena Off          2.0%      PROD
$0 Liability                                     MP 134           G34375          Federal     RT     10/1/2012     9/16/2016       4,995        Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MP 135           G34376          Federal     RT     10/1/2012     9/16/2016       4,995        Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MP 136           G34377          Federal     RT     10/1/2012     9/16/2016       4,995        Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MP 137           G34378          Federal     RT     10/1/2012     9/16/2016       4,995        Apache Shelf Exp    100.0%      RELINQ
MAIN PASS 140                                    MP 140           G02193          Federal     RT     10/1/1972                     4,995          Fieldwood En        65.0%      PROD
$0 Liability                                     MP 143           G34380          Federal     RT     10/1/2012     9/16/2016       4,995        Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MP 146           G34860          Federal     RT      7/1/2013     6/21/2017       4,561        Apache Shelf Exp      75.0%     RELINQ
$0 Liability                                     MP 147           G34861          Federal     RT      7/1/2013     6/21/2017       4,561        Apache Shelf Exp      75.0%     RELINQ
$0 Liability                                     MP 148           G34381          Federal     RT     11/1/2012     10/4/2016       5,000        Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MP 149           G34382          Federal     RT     11/1/2012     10/4/2016       5,000        Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MP 150           G34862          Federal     RT      7/1/2013     6/21/2017       5,000        Apache Shelf Exp      75.0%     RELINQ
SOUTH PASS 64/65 / MAIN PASS 152/153             MP 152           G01966          Federal     RT      1/1/1970                     4,978          Fieldwood En        50.0%      UNIT
SOUTH PASS 64/65 / MAIN PASS 152/153             MP 152           G01966          Federal     OP      1/1/1970                     4,978          Fieldwood En        75.0%      UNIT
SOUTH PASS 64/65 / MAIN PASS 152/153             MP 153           G01967          Federal     RT      1/1/1970                     5,000          Fieldwood En        50.0%      UNIT
SOUTH PASS 64/65 / MAIN PASS 152/153             MP 153           G01967          Federal     OP      1/1/1970                     5,000          Fieldwood En        75.0%      UNIT
$0 Liability                                     MP 166           G26152          Federal     RT      7/1/2004     11/3/2014       4,995          Fieldwood En      100.0%      TERMIN
$0 Liability                                     MP 175           G08753          Federal     OP      8/1/1987      9/1/2013       4,995             Tana Exp         21.2%     TERMIN
$0 Liability                                     MP 255           G07825          Federal     RT      8/1/1985      3/9/2014       4,995          Fieldwood En        52.4%     TERMIN
MAIN PASS 259/260 / VIOSCA KNOLL 693/694         MP 259           G07827          Federal     RT      9/1/1985     7/11/2020       4,995          Fieldwood En        56.9%     TERMIN
MAIN PASS 259/260 / VIOSCA KNOLL 693/694         MP 260           G07828          Federal     RT      9/1/1985     7/11/2020       4,995          Fieldwood En        56.9%     TERMIN
MAIN PASS 270                                    MP 270           G22812          Federal   ORRI      7/1/2001                     4,995            Castex Off         1.0%      UNIT
$0 Liability                                     MP 271           G34388          Federal     RT     10/1/2012     9/30/2017       4,995        Apache Shelf Exp    100.0%       EXPIR
$0 Liability                                     MP 272           G34865          Federal     RT      7/1/2013     6/21/2017       4,995        Apache Shelf Exp      75.0%     RELINQ
*No FW lease ownership                           MP 273           G33690          Federal     RT      7/1/2010                     4,995            Castex Off        37.5%      UNIT
$0 Liability                                     MP 274           G33691          Federal     RT      7/1/2010     6/30/2015       4,995            Castex Off        37.5%      EXPIR
MAIN PASS 270/275/289/290                        MP 275           G15395          Federal     RT      9/1/1995                     4,995          Fieldwood En      100.0%       PROD
MAIN PASS 270/275/289/290                        MP 275           G15395          Federal   ORRI      9/1/1995                                    Fieldwood En         8.3%      PROD
*No FW asset ownership                           MP 281           G10910          Federal     RT      7/1/1989                     4,995         EnVen En Vent        50.0%      PROD
*No FW asset ownership                           MP 281           G10910          Federal     OP      7/1/1989                     4,995         EnVen En Vent        30.0%      PROD
                                                 MP 281           G10910          Federal    ORRI     7/1/1989                                   EnVen En Vent         3.1%      PROD
MAIN PASS 270/275/289/290                        MP 289           G01666          Federal     RT      7/1/1967                     4,561          Fieldwood En      100.0%       PROD
$0 Liability                                     MP 290           G34866          Federal     RT      7/1/2013      6/21/2017      4,561        Apache Shelf Exp      75.0%     RELINQ
MAIN PASS 275/289/290                            MP 290           G01667          Federal     RT      7/1/1967     11/22/2012      4,561              Apache        100.0%      TERMIN
$0 Liability                                     MP 291           G34391          Federal     RT     11/1/2012     10/31/2017      4,561        Apache Shelf Exp    100.0%       EXPIR
$0 Liability                                     MP 292           G34392          Federal     RT     11/1/2012      10/4/2016      4,561        Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MP 293           G34393          Federal     RT     11/1/2012     10/31/2017      4,561        Apache Shelf Exp    100.0%       EXPIR
$0 Liability                                     MP 294           G34394          Federal     RT     11/1/2012      10/4/2016      4,561        Apache Shelf Exp    100.0%      RELINQ
MAIN PASS 295                                    MP 295           G32263          Federal   CONT      8/1/2008      7/31/2015      4,561          Fieldwood En        37.5%     TERMIN
MAIN PASS 296/303/304                            MP 296           G01673          Federal     RT      6/1/1967                     4,561            GOM Shelf         50.0%      UNIT
MAIN PASS 296/303/304                            MP 296           G01673          Federal     OP      6/1/1967                     4,561            GOM Shelf         25.0%      UNIT
$0 Liability                                     MP 297           G34395          Federal     RT     11/1/2012     10/4/2016       4,561        Apache Shelf Exp    100.0%      RELINQ
MAIN PASS 300/301                                MP 300           G01317          Federal     OP      6/1/1962                     4,561             Cantium          10.4%      UNIT
MAIN PASS 300/301                                MP 301           G04486          Federal    OP 1    11/1/1980     8/23/2019       5,000           Walter O&G         10.4%     TERMIN
MAIN PASS 300/301                                MP 301           G04486          Federal    OP 2    11/1/1980     8/23/2019       5,000           Walter O&G          6.3%     TERMIN
MAIN PASS 300/301                                MP 301           G04486          Federal    OP 3    11/1/1980     8/23/2019       5,000           Walter O&G         10.4%     TERMIN
MAIN PASS 300/301                                MP 301           G04486          Federal     RT     11/1/1980     8/23/2019       5,000           Walter O&G         10.4%     TERMIN
MAIN PASS 311/312                                MP 302           G32264          Federal     RT      7/1/2008                     5,000            GOM Shelf       100.0%       PROD
MAIN PASS 296/303/304                            MP 303           G04253          Federal    OP 1    12/1/1979                     5,000          Fieldwood En        25.0%      UNIT
MAIN PASS 296/303/304                            MP 303           G04253          Federal     RT     12/1/1979                     5,000          Fieldwood En      100.0%       UNIT
MAIN PASS 308/309/310                            MP 304           G03339          Federal     OP      4/1/1976                     5,000         ConocoPhillips     100.0%       UNIT
$0 Liability                                     MP 305           G34396          Federal     RT     12/1/2012     11/22/2016      5,000        Apache Shelf Exp    100.0%      RELINQ
MAIN PASS 308/309/310                            MP 308           G32265          Federal     RT      8/1/2008                     5,000          Fieldwood En      100.0%       PROD
MAIN PASS 308/309/310                            MP 309           G08760          Federal     RT      6/1/1987                     5,000          Fieldwood En      100.0%       PROD
MAIN PASS 308/309/310                            MP 310           G04126          Federal     RT     10/1/1979                     5,000          Fieldwood En      100.0%       UNIT
MAIN PASS 311/312                                MP 311           G02213          Federal     RT     11/1/1972                     5,000            GOM Shelf         50.0%      PROD
MAIN PASS 311/312                                MP 311           G02213          Federal     OP     11/1/1972                     5,000            GOM Shelf         25.0%      PROD
MAIN PASS 311/312                                MP 312           G16520          Federal     RT      7/1/1996                     5,000          Fieldwood En      100.0%       PROD
MAIN PASS 311/312                                MP 314           G33693          Federal     OP      7/1/2010     6/30/2015       5,000        Apache Shelf Exp      80.0%      EXPIR
MAIN PASS 308/309/310                            MP 315           G08467          Federal     RT      7/1/1986                     5,000          Fieldwood En      100.0%       PROD
MAIN PASS 308/309/310                            MP 315           G08467          Federal    OP 3     7/1/1986                     5,000          Fieldwood En      100.0%       PROD
MAIN PASS 308/309/310                            MP 315           G08467          Federal    OP 1     7/1/1986                     5,000          Fieldwood En        80.0%      PROD
                                                  MP 5            SL13890          SL‐ LA     WI                                     26               Apache          50.0%     TERMIN
MAIN PASS 59                                     MP 59            G03194          Federal     OP      7/1/1975                     1,406             Cantium          37.5%      UNIT
MAIN PASS 59                                     MP 59            G08461          Federal     OP      7/1/1986                     2,340             Cantium          37.5%      UNIT
                                                  MP 6            SL03771          SL‐ LA     WI     4/26/1961     6/28/2012       1,067              Apache          50.0%     TERMIN
                                                  MP 6            SL13580          SL‐ LA     WI                                    287               Apache          50.0%     TERMIN
                                                  MP 6            SL13891          SL‐ LA     WI                                    270               Apache          50.0%     TERMIN
MAIN PASS 64                                     MP 64            G04909          Federal   ORRI     12/1/1981                     4,988         Sanare En Part        4.2%      UNIT
                                                  MP 7            SL03773          SL‐ LA     WI     4/26/1961     6/28/2012          –               Apache          50.0%     TERMIN
                                                  MP 7            SL13892          SL‐ LA     WI                                     44               Apache          50.0%     TERMIN
$0 Liability                                     MP 74            G34857          Federal     RT      8/1/2013      7/7/2016       1,733        Apache Shelf Exp      75.0%     RELINQ
MAIN PASS 77                                     MP 77            G04481          Federal     RT     11/1/1980                     4,655        Fieldwood En Off      26.2%     RELINQ
MAIN PASS 77                                    MP 77/78          G04481          Federal     OP     11/1/1980                     4,655        Fieldwood En Off      23.5%     RELINQ
MAIN PASS 6/7 FED / SL LA                        MP 91            G14576          Federal     RT      5/1/1994     3/18/2008       1,017              Apache        100.0%      TERMIN
                                                 MU 883           MF98761         SL ‐ TX     WI                   10/1/2012                          Apache        100.0%      TERMIN
MUSTANG ISLAND A‐111                            MU A‐111          G03068          Federal     RT      4/1/1975      1/12/2013      5,760              Apache        100.0%      TERMIN
$0 Liability                                    MU A133           G33392          Federal     RT     10/1/2009      9/30/2014      5,760        Apache Shelf Exp    100.0%       EXPIR
$0 Liability                                    MU A134           G32724          Federal     RT     11/1/2008     10/31/2013      5,760              Apache        100.0%       EXPIR
MUSTANG ISLAND A‐85                             MU A85            G03061          Federal     RT      4/1/1975                     5,760         EnVen En Vent        53.3%      PROD
$0 Liability                                     PE 881           G06390          Federal     OP      2/1/1984     10/17/2013      5,760         ConocoPhillips       18.8%     TERMIN
SOUTH PELTO 20 / PL 1/9/10/11 / SHIP SHOAL 68      PL 1           G04234          Federal     RT      1/1/1980      7/10/2020      1,568          Fieldwood En      100.0%      TERMIN
SOUTH PELTO 20 / PL 1/9/10/11 / SHIP SHOAL 68     PL 10           G02925          Federal     RT     12/1/1974      7/26/2020      5,000          Fieldwood En      100.0%      TERMIN
SOUTH PELTO 20 / PL 1/9/10/11 / SHIP SHOAL 68     PL 11            00071          Federal     RT     9/12/1946       9/8/2020      5,000          Fieldwood En      100.0%      RELINQ
SOUTH PELTO 13                                    PL 13           G03171          Federal     RT      7/1/1975     5/23/2018       5,000            ANKOR En          12.5%     TERMIN
SOUTH PELTO 13                                    PL 13           G03171          Federal    OP 1    7/1/1975      5/23/2018        391             ANKOR En          12.5%     TERMIN
SOUTH PELTO 13                                    PL 13           G03171          Federal    OP 2    7/1/1975      5/23/2018       3,906            ANKOR En          12.5%     TERMIN

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Field                                            Block      Lease     Type     Rights   Date Le Eff   Date Le Exp   Le Cur Acres        Operator         WI        Lease Status
SOUTH PELTO 13                                    PL 13    G03171    Federal    OP 3      7/1/1975    5/23/2018         703             ANKOR En            4.4%     TERMIN
SOUTH PELTO 13                                    PL 13    G03171    Federal    OP 5     7/1/1975     5/23/2018         391             ANKOR En           12.5%     TERMIN
SOUTH PELTO 25                                    PL 25    G14535    Federal     RT      7/1/1994     7/30/2019        5,000          Fieldwood En        100.0%     TERMIN
*No FW asset ownership                             PL 5    G12027    Federal     RT      6/1/1990     5/13/2019        5,000           Talos En Off       100.0%     RELINQ
$0 Liability                                       PL 6    G09651    Federal     RT      5/1/1988     7/12/2017        5,000          Walter O&G          100.0%     RELINQ
$0 Liability                                       PL 6    G09651    Federal    OP 1     5/1/1988     7/12/2017        5,000          Walter O&G           35.0%     RELINQ
$0 Liability                                       PL 6    G09651    Federal    OP 2     5/1/1988     7/12/2017        5,000          Walter O&G           65.0%     RELINQ
$0 Liability                                       PL 8    G03587    Federal     RT      8/1/1977     6/19/2018        5,000            ANKOR En           12.5%     TERMIN
SOUTH PELTO 20 / PL 1/9/10/11 / SHIP SHOAL 68      PL 9    G02924    Federal     RT      12/1/1974    7/26/2020        5,000          Fieldwood En        100.0%     TERMIN
SOUTH PELTO 20 / PL 1/9/10/11 / SHIP SHOAL 68      PL 9    G02924    Federal     OP      12/1/1974    7/26/2020        5,000          Fieldwood En         50.0%     TERMIN
                                                PN 883    MF100410   SL ‐ TX     WI     10/6/1998      1/0/1900         720             Fieldwood          35.0%     ACTIVE
                                                PN 883    MF100411   SL ‐ TX     WI     10/6/1998      1/0/1900         720             Fieldwood          35.0%     ACTIVE
                                                PN 883    MF100412   SL ‐ TX     WI     10/6/1998      1/0/1900         720             Fieldwood          35.0%     ACTIVE
                                                PN 883    MF101898   SL ‐ TX     WI     10/6/1998                                         Apache           35.0%     TERMIN
                                                PN 883    MF96146    SL ‐ TX     WI     10/4/1994       1/0/1900       720              Fieldwood          35.0%     ACTIVE
                                                PN 883    MF96147    SL ‐ TX     WI     10/4/1994      1/0/1900        720              Fieldwood          35.0%     ACTIVE
                                                PN 883     SL96146   SL ‐ TX     WI     10/4/1994      1/0/1900        720              Fieldwood          35.0%     ACTIVE
                                                PN 899L   MF100413   SL ‐ TX     WI     10/6/1998      1/0/1900        375              Fieldwood          35.0%     ACTIVE
                                                PN 899L   MF100414   SL ‐ TX     WI     10/6/1998      1/0/1900        360              Fieldwood          35.0%     ACTIVE
NORTH PADRE ISLAND 969                          PN 969     G05953    Federal     RT     10/1/1983     6/30/2015       5,760         Peregrine O&G II        8.3%     TERMIN
NORTH PADRE ISLAND 969                          PN 976     G05954    Federal     RT      10/1/1983     6/30/2015      5,760         Peregrine O&G II        8.3%     TERMIN
$0 Liability                                     SA 10     G03958    Federal     RT       3/1/1979    12/29/2017      3,144           Fieldwood En         92.3%     TERMIN
$0 Liability                                     SA 10     G03958    Federal     OP       3/1/1979    12/29/2017      3,144           Fieldwood En         20.0%     TERMIN
*No FW asset ownership                           SA 13     G03959    Federal     OP       3/1/1979     1/16/2020      5,000          Renaissance Off       50.0%     TERMIN
SOUTH MARSH IS. 10/18                            SM 10     G01181    Federal     RT      4/1/1962       1/6/2019      5,000           Fieldwood En        100.0%     TERMIN
SOUTH MARSH IS. 105/106                         SM 105     G17938    Federal     RT      8/1/1997                     5,000           Fieldwood En        100.0%      PROD
SOUTH MARSH IS. 105/106                         SM 106     G02279    Federal     RT       2/1/1973    11/19/2015      2,500           Fieldwood En        100.0%     TERMIN
SOUTH MARSH IS. 105/106                         SM 106     G03776    Federal     RT       6/1/1978                    2,500           Fieldwood En        100.0%      PROD
SOUTH MARSH ISLAND 107/108                      SM 108      00792    Federal     RT       5/1/1960        –           5,000            Talos En Off        25.0%      PROD
SOUTH MARSH ISLAND 107/108                      SM 108      00792    Federal     OP       5/1/1960        –           5,000            Talos En Off        12.5%      PROD
SOUTH MARSH IS. 10/18                            SM 11     G01182    Federal     RT       3/1/1962                    5,000           Fieldwood En        100.0%     TERMIN
SOUTH MARSH IS. 127/128                         SM 127     G02883    Federal     RT      12/1/1974                    2,784           Fieldwood En         66.7%      PROD
SOUTH MARSH IS. 127/128                         SM 127     G02883    Federal    OP 2    12/1/1974                     2,784           Fieldwood En         33.3%      PROD
SOUTH MARSH IS. 127/128                         SM 127     G02883    Federal     RT      12/1/1974                    2,784           Fieldwood En         17.3%      PROD
SOUTH MARSH IS. 127/128                         SM 127     G02883    Federal    OP 2    12/1/1974                     2,784           Fieldwood En          8.7%      PROD
SOUTH MARSH IS. 127/128                         SM 128     G02587    Federal     RT       5/1/1974                    5,000           Fieldwood En         66.7%      PROD
SOUTH MARSH IS. 127/128                         SM 128     G02587    Federal     RT       5/1/1974                    5,000           Fieldwood En         17.3%      PROD
SOUTH MARSH IS. 132                             SM 132     G02282    Federal     RT       2/1/1973     4/1/2016       5,000           Fieldwood En         50.0%     TERMIN
SOUTH MARSH IS. 136/137/149/150                 SM 135     G19776    Federal     RT       5/1/1998    2/18/2012       3,293           Fieldwood En         50.0%     TERMIN
SOUTH MARSH IS. 136/137/149/150                 SM 136     G02588    Federal     RT       5/1/1974     8/4/2019       2,500           Fieldwood En         50.0%     TERMIN
SOUTH MARSH IS. 136/137/149/150                 SM 137     G02589    Federal     RT       5/1/1974    6/30/2015       5,000           Fieldwood En         50.0%     TERMIN
SOUTH MARSH ISLAND 141                          SM 141     G02885    Federal    OP 2    12/1/1974      4/1/2016       5,000           Fieldwood En         66.7%     TERMIN
SOUTH MARSH ISLAND 141                          SM 141     G02885    Federal     RT     12/1/1974      4/1/2016       5,000           Fieldwood En         77.6%     TERMIN
SOUTH MARSH ISLAND 141                          SM 141     G02885    Federal    OP 2    12/1/1974     4/1/2016        5,000           Fieldwood En         17.3%     TERMIN
SOUTH MARSH IS. 136/137/149/150                 SM 149     G02592    Federal     RT      5/1/1974                     2,500           Fieldwood En         50.0%      PROD
SOUTH MARSH IS. 136/137/149/150                 SM 150     G16325    Federal     RT      6/1/1996     5/22/2018       3,329           Fieldwood En         50.0%     RELINQ
SOUTH MARSH ISLAND 161                          SM 161     G04809    Federal     RT      9/1/1981                     5,000           Fieldwood En        100.0%      PROD
$0 Liability                                    SM 171     G34273    Federal     RT      9/1/2012      8/31/2017      5,000         Apache Shelf Exp      100.0%      EXPIR
$0 Liability                                    SM 172     G34274    Federal     RT       9/1/2012     8/23/2016      5,000         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                                    SM 177     G34275    Federal     RT       9/1/2012     8/23/2016      5,000         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                                    SM 178     G34276    Federal     RT      9/1/2012      8/31/2017      5,000         Apache Shelf Exp      100.0%      EXPIR
SOUTH MARSH IS. 10/18                            SM 18     G08680    Federal     RT      6/1/1987      11/3/2019      5,000           Fieldwood En         50.0%     TERMIN
SOUTH MARSH IS. 10/18                            SM 18     G08680    Federal     OP      6/1/1987      11/3/2019      5,000           Fieldwood En        100.0%     TERMIN
$0 Liability                                    SM 188     G34277    Federal     RT      9/1/2012      8/23/2016      5,000         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                                    SM 189     G34278    Federal     RT      9/1/2012      8/23/2016      5,000         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                                    SM 193     G34279    Federal     RT      9/1/2012      8/23/2016      5,000         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                                    SM 195     G21108    Federal   ORRI      6/1/1999     12/27/2015                      Tarpon O&D            4.0%     TERMIN
                                                SM 236      G4437    Federal   ORRI     11/1/1980                                         Cox Op            4.4%      UNIT
SOUTH MARSH IS. 241                             SM 241      00310    Federal     RT      2/7/1936         –          114,601              Cox Op           60.0%      UNIT
SOUTH MARSH IS. 241                             SM 241      00310    Federal     OP       2/7/1936        –          114,601              Cox Op           60.0%      UNIT
SOUTH MARSH IS. 241                             SM 241      00310    Federal    Unit      2/7/1936        –          114,601              Cox Op           16.0%      UNIT
Ex N                                            SM 268     G02310    Federal   CONT     12/19/1972     9/7/2009                           Apache           69.9%     TERMIN
$0 Liability                                    SM 268     G34284    Federal     RT       8/1/2012    7/31/2017       3,237         Apache Shelf Exp      100.0%      EXPIR
SOUTH MARSH IS. 268/269/280/281                 SM 269     G02311    Federal     RT       1/1/1973                    5,000           Fieldwood En         72.8%      PROD
SOUTH MARSH IS. 268/269/280/281                 SM 280     G14456    Federal    OP 1      6/1/1994                    5,000           Fieldwood En         50.0%      PROD
SOUTH MARSH IS. 268/269/280/281                 SM 280     G14456    Federal    OP 3      6/1/1994                    5,000           Fieldwood En         50.0%      PROD
SOUTH MARSH IS. 268/269/280/281                 SM 280     G14456    Federal     RT       6/1/1994                    5,000           Fieldwood En         50.0%      PROD
SOUTH MARSH IS. 268/269/280/281                 SM 281     G02600    Federal     RT       4/1/1974                    3,214           Fieldwood En         68.1%      PROD
$0 Liability                                     SM 34     G13897    Federal     OP       5/1/1993    8/24/2014       5,000        Black Elk En Off Op     50.0%     TERMIN
$0 Liability                                     SM 44     G23840    Federal     RT       5/1/2002    3/25/2014       5,000         SandRidge En Off      100.0%     TERMIN
SOUTH MARSH IS. 39                               SM 48      00786    Federal     RT       5/1/1960        –           5,000           Fieldwood En        100.0%      PROD
SOUTH MARSH ISLAND 58                            SM 58     G01194    Federal     RT       5/1/1962                    5,000             ANKOR En          100.0%      PROD
SOUTH MARSH IS. 66                               SM 66     G01198    Federal     RT       6/1/1962    9/25/2019       5,000           Fieldwood En         50.0%     TERMIN
$0 Liability                                      SM 7     G33610    Federal     RT       7/1/2010    4/30/2015       5,000         Apache Shelf Exp      100.0%     RELINQ
SOUTH MARSH IS. 76                               SM 76     G01208    Federal     RT       6/1/1962    1/26/2020       5,000           Fieldwood En         50.0%     TERMIN
SOUTH MARSH IS. 93                               SM 93     G21618    Federal     RT       5/1/2000                    5,000             Talos ERT          12.5%      PROD
$0 Liability                                     SM 97     G32159    Federal     RT       8/1/2008    7/31/2013       5,000               Apache          100.0%      EXPIR
SOUTH PASS 60                                     SP 61    G01609    Federal     OP       7/1/1967                    5,000           Fieldwood En        100.0%      UNIT
SOUTH PASS 62                                    SP 62     G01294    Federal     RT      6/1/1962                     5,000           Fieldwood En        100.0%      PROD
$0 Liability                                     SP 63     G34365    Federal     RT       8/1/2012    7/31/2017       5,000         Apache Shelf Exp      100.0%      EXPIR
SOUTH PASS 64/65 / MAIN PASS 152/153              SP 64    G01901    Federal     RT       1/1/1969                    5,000           Fieldwood En         50.0%      UNIT
SOUTH PASS 64/65 / MAIN PASS 152/153              SP 64    G01901    Federal     OP       1/1/1969                    5,000           Fieldwood En         75.0%      UNIT
SOUTH PASS 64/65 / MAIN PASS 152/153              SP 65    G01610    Federal     RT       7/1/1967                    5,000           Fieldwood En         50.0%      UNIT
SOUTH PASS 64/65 / MAIN PASS 152/153              SP 65    G01610    Federal     OP       7/1/1967                    5,000           Fieldwood En         75.0%      UNIT
SOUTH PASS 64/65 / MAIN PASS 152/153             SP 66      G1611    Federal   ORRI       6/1/1967                                    Fieldwood En          8.3%      UNIT
$0 Liability                                     SP 68     G34366    Federal     RT      8/1/2012      7/7/2016       5,000         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                                      SP 69    G34367    Federal     RT       8/1/2012     7/7/2016       5,000         Apache Shelf Exp      100.0%     RELINQ
SOUTH PASS 61/70                                  SP 70    G01614    Federal     RT       6/1/1967                    5,000           Fieldwood En        100.0%      PROD
SOUTH PASS 75                                     SP 75    G05051    Federal    OP 2      4/1/1982    1/23/2016       5,000             GOM Shelf          28.8%     TERMIN
SOUTH PASS 75                                     SP 75    G05051    Federal     RT       4/1/1982    1/23/2016       5,000             GOM Shelf          71.2%     TERMIN
SOUTH PASS 75                                     SP 75    G05051    Federal    OP 2     4/1/1982     1/23/2016       5,000             GOM Shelf          71.2%     TERMIN
SOUTH PASS 83                                    SP 83     G05052    Federal   ORRI      4/1/1982     2/27/2020       5,000             Arena Off           0.7%     RELINQ
SOUTH PASS 87/89 / WEST DELTA 128                 SP 87    G07799    Federal     RT       9/1/1985     8/2/2020       3,540           Fieldwood En         33.3%     TERMIN
SOUTH PASS 87/89 / WEST DELTA 128                 SP 87    G07799    Federal     RT       9/1/1985     8/2/2020       3,540           Fieldwood En         33.3%     TERMIN
SOUTH PASS 87/89 / WD 128                         SP 88    G10894    Federal     RT       6/1/1989     5/2/2012       3,540               Apache          100.0%     RELINQ
SOUTH PASS 87/89 / WEST DELTA 128                 SP 89    G01618    Federal     RT       7/1/1967                    5,000           Fieldwood En         50.0%      PROD
$0 Liability                                      SP 96    G31431    Federal     RT       3/1/2008    2/21/2014       5,000              Stone En          50.0%     RELINQ
SHIP SHOAL 105/126/129                           SS 105    G09614    Federal     RT       8/1/1988                    5,000            Bennu O&G          100.0%      PROD
SHIP SHOAL 105/126/129                           SS 105    G09614    Federal    OP 2      8/1/1988                    5,000            Bennu O&G          100.0%      PROD
SHIP SHOAL 105/126/129                           SS 105    G09614    Federal    OP 3      8/1/1988                    5,000            Bennu O&G          100.0%      PROD
SHIP SHOAL 105/126/129                           SS 126    G12940    Federal     RT       5/1/1991    2/16/2020       5,000           Fieldwood En        100.0%     TERMIN
SHIP SHOAL 105/126/129                           SS 126    G12940    Federal     OP       5/1/1991    2/16/2020       5,000           Fieldwood En        100.0%     TERMIN
SHIP SHOAL 105/126/129                           SS 129    G12941    Federal     RT       5/1/1991                    5,000           Fieldwood En        100.0%      PROD
SHIP SHOAL 105/126/129                           SS 129    G12941    Federal   ORRI       5/1/1991                                    Fieldwood En          3.3%      PROD
SHIP SHOAL 130                                   SS 130     00453    Federal   ORRI       1/1/1955     2/25/2020      5,000              W&T Off            3.0%     TERMIN
SHIP SHOAL 145                                   SS 145    G34831    Federal   CONT       9/1/2013    10/31/2019      5,000           Hoactzin Part        25.0%     TERMIN
SHIP SHOAL 150                                   SS 150     00419    Federal    ORRI     11/1/1954         –          5,000           Ridgelake En          5.0%      PROD
SHIP SHOAL 151                                   SS 151    G15282    Federal     RT       7/1/1995                    5,000          EnVen En Vent        100.0%      PROD
$0 Liability                                     SS 153    G18011    Federal     RT       7/1/1997     7/5/2016       5,000           Fieldwood En         33.3%     TERMIN
                                                 SS 154     00420    Federal    ORRI     11/1/1954                                    Ridgelake En          8.0%      PROD
SHIP SHOAL 159                                   SS 159    G11984    Federal     OP       7/1/1990    10/31/2019      5,000           Hoactzin Part        15.5%     TERMIN
SHIP SHOAL 169/182/193/194                       SS 169     00820    Federal     RT       4/1/1960                    5,000           Fieldwood En         66.7%      PROD

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                               Exhibit I-A(i)




Field                                            Block    Lease    Type     Rights   Date Le Eff   Date Le Exp   Le Cur Acres        Operator         WI        Lease Status
EUGENE IS. 211/212 / SHIP SHOAL 175/176         SS 175   G05550   Federal     RT      7/1/1983                      5,000          Chevron USA          66.7%      UNIT
EUGENE IS. 211/212 / SHIP SHOAL 175/176         SS 176   G33646   Federal     RT      7/1/2010                      5,000          Fieldwood En         40.0%      PROD
SHIP SHOAL 178                                  SS 178   G05551   Federal     RT      7/1/1983                      5,000          Fieldwood En        100.0%      PROD
SHIP SHOAL 169/182/193/194                      SS 182   G03998   Federal     RT      3/1/1979                      2,500          Fieldwood En        100.0%      PROD
SHIP SHOAL 189                                  SS 188   G05203   Federal   CONT      1/1/1983     12/30/1991       5,027          Fieldwood En        100.0%     TERMIN
SHIP SHOAL 189                                  SS 189   G04232   Federal    OP 5    12/1/1979                      5,000          Fieldwood En         99.0%      PROD
SHIP SHOAL 189                                  SS 189   G04232   Federal     RT     12/1/1979                      5,000          Fieldwood En         99.0%      PROD
SHIP SHOAL 189                                  SS 189   G4232    Federal    ORRI    12/1/1979                                     Fieldwood En          8.0%      PROD
SHIP SHOAL 190/206/207/216                      SS 190   G10775   Federal     RT      4/1/1989     8/10/2019       5,000           Fieldwood En         60.0%     TERMIN
SHIP SHOAL 190/206/207/216                      SS 190   G10775   Federal     OP      4/1/1989     8/10/2019       5,000           Fieldwood En        100.0%     TERMIN
SHIP SHOAL 169/182/193/194                      SS 193   G13917   Federal     RT      5/1/1993                     5,000           Fieldwood En        100.0%      PROD
SHIP SHOAL 169/182/193/194                      SS 194   G15288   Federal     RT      7/1/1995                     5,000           Fieldwood En        100.0%      PROD
SHIP SHOAL 198/199                              SS 198    00593   Federal     RT      9/1/1955                     2,969          Renaissance Off       50.0%      PROD
SHIP SHOAL 198/199                              SS 198   G12355   Federal     OP      9/1/1955                     2,031          Renaissance Off       25.0%      PROD
$0 Liability                                    SS 199    00594   Federal     RT      9/1/1955                     3,516            Talos En Off        50.0%      PROD
SHIP SHOAL 198/199                              SS 199   G12358   Federal     OP      9/1/1955                     1,484          Renaissance Off       50.0%      PROD
SHIP SHOAL 204                                  SS 204   G01520   Federal     RT      7/1/1967                     5,000           Fieldwood En         55.2%      PROD
SHIP SHOAL 190/206/216                          SS 206   G01522   Federal     RT      7/1/1967                     5,000           Fieldwood En         60.0%      UNIT
SHIP SHOAL 190/206/216                          SS 207   G01523   Federal     RT      7/1/1967                     5,000           Fieldwood En         72.2%      UNIT
SHIP SHOAL 190/206/216                          SS 207   G01523   Federal     OP      7/1/1967                     5,000           Fieldwood En         47.6%      UNIT
SHIP SHOAL 189                                  SS 210   G05204   Federal   CONT      1/1/1983     12/26/1990      5,000           Fieldwood En        100.0%     RELINQ
SHIP SHOAL 190/206/216                          SS 216   G01524   Federal     RT      7/1/1967                     5,000           Fieldwood En         80.0%      PROD
SHIP SHOAL 243                                  SS 243   G10780   Federal     RT      7/1/1989                     5,000           Fieldwood En         50.0%      PROD
SHIP SHOAL 243                                  SS 243   G10780   Federal    ORRI     7/1/1989                                     Fieldwood En          4.2%      PROD
SHIP SHOAL 246/247/248/270/271                  SS 249   G01030   Federal    OP 1     6/1/1962                     5,000         Fieldwood En Off        5.3%      UNIT
SHIP SHOAL 246/247/248/270/271                  SS 249   G1030    Federal    ORRI     6/1/1962                                   Fieldwood En Off        0.2%      UNIT
$0 Liability                                    SS 258   G05560   Federal     RT      7/1/1983      4/1/2016       5,000             Castex Off        100.0%     TERMIN
$0 Liability                                    SS 258   G05560   Federal     OP      7/1/1983      4/1/2016       5,000             Castex Off          7.4%     TERMIN
SHIP SHOAL 258/259                              SS 259   G05044   Federal     RT      4/1/1982      3/1/2018       5,141           Fieldwood En        100.0%     TERMIN
SHIP SHOAL 258/259                              SS 259   G05044   Federal     OP      4/1/1982      3/1/2018       5,141           Fieldwood En          7.4%     TERMIN
$0 Liability                                    SS 271   G01038   Federal     RT      6/1/1962                     5,000         Fieldwood En Off       20.0%      UNIT
SHIP SHOAL 274                                  SS 274   G01039   Federal     RT      6/1/1962                     5,000           Fieldwood En        100.0%      PROD
SHIP SHOAL 274                                  SS 276   G10785   Federal     RT      5/1/1989     10/31/2007      5,000             Monforte           66.7%     TERMIN
SHIP SHOAL 274                                  SS 277   G09627   Federal     RT      5/1/1988                     5,000           Fieldwood En          1.0%       SOP
SHIP SHOAL 274                                  SS 277   G09627   Federal     OP      5/1/1988                     5,000           Fieldwood En        100.0%       SOP
$0 Liability                                    SS 278   G32206   Federal     RT      8/1/2008     7/31/2013       5,000              Apache           100.0%      EXPIR
SHIP SHOAL 300/314/315                          SS 291   G02923   Federal     OP     12/1/1974                     3,750           Fieldwood En         67.9%     OPERNS
SHIP SHOAL 30/31/32/33                           SS 30    00333   Federal     RT     9/12/1946                     5,000             W & T Off          37.5%      UNIT
                                                SS 301   G10794   Federal    ORRI     5/1/1989                                     Fieldwood En          1.5%       SOP
SHIP SHOAL 30/31/32/33                           SS 31    00334   Federal     RT     9/12/1946                     5,000             W & T Off          37.5%      UNIT
SHIP SHOAL 300/314/315                          SS 314   G26074   Federal    OP 4     5/1/2004                     5,000           Fieldwood En         37.5%      PROD
SHIP SHOAL 300/314/315                          SS 314   G26074   Federal     RT      5/1/2004                     5,000           Fieldwood En         75.0%      PROD
SHIP SHOAL 300/314/315                          SS 314   G26074   Federal    ORRI     5/1/2004                                     Fieldwood En          4.5%      PROD
SHIP SHOAL 30/31/32/33                           SS 32    00335   Federal     RT     9/12/1946                     5,000             W & T Off          37.5%      UNIT
SHIP SHOAL 30/31/32/33                           SS 33    00336   Federal   CONT     9/12/1946         –           5,000              W&T Off           28.9%      UNIT
SHIP SHOAL 30/31/32/33                           SS 33    00336   Federal   ORRI     9/12/1946         –           5,000              W&T Off            0.8%      UNIT
SHIP SHOAL 354                                  SS 354   G15312   Federal     RT      7/1/1995                     5,000           Fieldwood En        100.0%      PROD
$0 Liability                                    SS 355   G33650   Federal     RT      6/1/2010      4/7/2016       5,323         Apache Shelf Exp      100.0%     RELINQ
SHIP SHOAL 58                                    SS 58   G07746   Federal   ORRI      7/1/1985                     5,000          Talos Third Cst       10.5%      PROD
SOUTH PELTO 20 / PL 1/9/10/11 / SHIP SHOAL 68    SS 68   G02917   Federal     RT     12/1/1974     11/15/2019      5,000           Fieldwood En        100.0%     RELINQ
SHIP SHOAL 87                                    SS 87   G12349   Federal    ORRI    9/12/1946                     1,953          Sanare En Part         1.0%      UNIT
SHIP SHOAL 91                                    SS 91   G02919   Federal     RT     12/1/1974                     5,000           Fieldwood En         87.5%      PROD
SHIP SHOAL 91                                    SS 91   G02919   Federal    OP 2    12/1/1974                     5,000           Fieldwood En         87.5%      PROD
SHIP SHOAL 91                                    SS 91   G02919   Federal    OP 2    12/1/1974                     5,000           Fieldwood En         12.5%      PROD
SHIP SHOAL 91                                    SS 91   G02919   Federal     RT     12/1/1974                     5,000           Fieldwood En         12.5%      PROD
$0 Liability                                    ST 146   G33110   Federal     RT      7/1/2009     6/30/2014       3,772         Apache Shelf Exp      100.0%      EXPIR
SOUTH TIMBALIER 148                             ST 148   G01960   Federal     RT      2/1/1970                     2,500             Arena Off          15.6%      PROD
SOUTH TIMBALIER 148                             ST 148   G01960   Federal     OP      2/1/1970                     2,500             Arena Off          15.6%      PROD
SOUTH TIMBALIER 176                             ST 161   G01248   Federal     OP      6/1/1962                     5,000             Arena Off          25.0%      PROD
$0 Liability                                    ST 166   G01252   Federal     OP      6/1/1962     8/27/2013       5,000              Apache           100.0%     TERMIN
$0 Liability                                    ST 173   G04001   Federal     RT      3/1/1979     8/27/2013       5,000              Apache           100.0%     TERMIN
$0 Liability                                    ST 179   G12020   Federal     RT      6/1/1990     8/27/2015       5,000         Fieldwood En Off       50.0%     TERMIN
$0 Liability                                    ST 179   G12020   Federal     OP      6/1/1990     8/27/2015       5,000         Fieldwood En Off       68.8%     TERMIN
$0 Liability                                    ST 190   G01261   Federal     RT      6/1/1962     9/27/2014       5,000        Black Elk En Off Op     40.0%     TERMIN
$0 Liability                                    ST 190   G01261   Federal     OP      6/1/1962     9/27/2014       5,000        Black Elk En Off Op     40.0%     TERMIN
$0 Liability                                    ST 194   G05610   Federal     RT      7/1/1983      1/5/2015       5,000           Fieldwood En        100.0%     TERMIN
$0 Liability                                    ST 203   G01269   Federal    OP 1     6/1/1962     5/25/2014       5,000        Black Elk En Off Op     40.0%     TERMIN
$0 Liability                                    ST 203   G01269   Federal    OP 2     6/1/1962     5/25/2014       5,000        Black Elk En Off Op     20.0%     TERMIN
$0 Liability                                    ST 203   G01269   Federal     RT      6/1/1962     5/25/2014       5,000        Black Elk En Off Op     40.0%     TERMIN
SOUTH TIMBALIER 205/206                         ST 205   G05612   Federal     RT      7/1/1983                     5,000           Fieldwood En         50.0%      PROD
SOUTH TIMBALIER 205/206                         ST 205   G05612   Federal    OP 3     7/1/1983                     5,000           Fieldwood En         75.0%      PROD
SOUTH TIMBALIER 205/206                         ST 205   G05612   Federal    OP 4     7/1/1983                     5,000           Fieldwood En        100.0%      PROD
SOUTH TIMBALIER 205/206                         ST 205   G05612   Federal    OP 7     7/1/1983                     5,000           Fieldwood En         50.0%      PROD
SOUTH TIMBALIER 205/206                         ST 205   G05612   Federal    OP 6     7/1/1983                     5,000           Fieldwood En         75.0%      PROD
SOUTH TIMBALIER 205/206                         ST 205   G05612   Federal    OP 5     7/1/1983                     5,000           Fieldwood En         50.0%      PROD
SOUTH TIMBALIER 205/206                         ST 206   G05613   Federal     RT      7/1/1983     1/31/2015       5,000           Fieldwood En         50.0%     TERMIN
$0 Liability                                    ST 228   G32217   Federal     RT      8/1/2008     7/31/2013       5,000             Eni US Op          40.0%      EXPIR
SOUTH TIMBALIER 229                             ST 229   G13938   Federal     OP      7/1/1993                     2,148             W & T Off          33.3%      PROD
$0 Liability                                    ST 244   G34341   Federal     RT     10/1/2012     9/16/2016       4,572         Apache Shelf Exp      100.0%     RELINQ
*No FW lease ownership                           ST 26   G01361   Federal     RT      5/1/1964                      625               Cox Op            50.0%      UNIT
*No FW lease ownership                           ST 26   G01870   Federal     RT     11/1/1968                     1,875              Cox Op            50.0%      UNIT
*No FW lease ownership                           ST 26   G02620   Federal     RT      5/1/1974                     2,500              Cox Op            50.0%      UNIT
SOUTH TIMBALIER 276/295/296                     ST 276   G07780   Federal     RT      8/1/1985                     5,000             Eni US Op         100.0%      UNIT
SOUTH TIMBALIER 276/295/296                     ST 276   G07780   Federal     OP      8/1/1985                     5,000             Eni US Op         100.0%      UNIT
EWING BANK 826/782 / SOUTH TIMBALIER 291        ST 290   G16454   Federal     RT     4/24/1996      1/5/2010       5,000              Apache           100.0%     TERMIN
EWING BANK 826/782 / SOUTH TIMBALIER 291        ST 291   G16455   Federal     RT      9/1/1996                     5,000           Fieldwood En        100.0%      PROD
EWING BANK 826/782 / SOUTH TIMBALIER 291        ST 291   G16455   Federal     OP      9/1/1996                     5,000           Fieldwood En        100.0%      PROD
SOUTH TIMBALIER 276/295/296                     ST 295   G05646   Federal     RT      7/1/1983                     5,000           Fieldwood En        100.0%      UNIT
SOUTH TIMBALIER 276/295/296                     ST 296   G12981   Federal     RT      5/1/1991                     5,000           Fieldwood En        100.0%      UNIT
SOUTH TIMBALIER 276/295/296                     ST 296   G12981   Federal     OP      5/1/1991                     5,000           Fieldwood En        100.0%      UNIT
SOUTH TIMBALIER 311                             ST 311   G31418   Federal     RT      3/1/2008                     5,000            Walter O&G          45.0%      PROD
SOUTH TIMBALIER 316                             ST 316   G22762   Federal     RT      6/1/2001                     4,435             W & T Off          20.0%      PROD
SOUTH TIMBALIER 311                             ST 320   G24990   Federal     RT      5/1/2003                     5,000             W & T Off          11.3%      PROD
$0 Liability                                     ST 47   G33652   Federal     RT      7/1/2010     4/30/2015       5,000         Apache Shelf Exp      100.0%     RELINQ
SOUTH TIMBALIER 49                               ST 49   G24956   Federal     RT      6/1/2003                     5,000           Fieldwood En        100.0%      PROD
SOUTH TIMBALIER 49                               ST 49   G24956   Federal     OP      6/1/2003                     5,000           Fieldwood En        100.0%      PROD
$0 Liability                                     ST 50   G34331   Federal     RT      8/1/2012      7/7/2016       5,000         Apache Shelf Exp      100.0%     RELINQ
SOUTH TIMBALIER 53/67/68                         ST 53   G04000   Federal     RT      3/1/1979                     5,000           Fieldwood En         50.0%      PROD
SOUTH TIMBALIER 53/67/68                         ST 53   G04000   Federal    OP 1     3/1/1979                     5,000           Fieldwood En         50.0%      PROD
$0 Liability                                     ST 59   G31404   Federal     RT      2/1/2008     1/17/2014       5,000           LLOG Exp Off         25.0%     RELINQ
$0 Liability                                     ST 64   G33106   Federal     RT      7/1/2009     6/30/2014       5,000         Apache Shelf Exp      100.0%      EXPIR
SOUTH TIMBALIER 53/67/68                         ST 67   00020    Federal   CONT     4/25/1947                                     Fieldwood En         79.7%      UNIT
SABINE PASS 10                                   SX 17   G04143   Federal     RT     10/1/1979      9/30/2013      2,042              Apache            92.3%     RELINQ
SABINE PASS 10                                   SX 17   G04143   Federal     OP     10/1/1979      9/30/2013      2,042              Apache            20.0%     RELINQ
$0 Liability                                    VK 118   G33697   Federal     RT      5/1/2010      4/30/2015      5,760         Apache Shelf Exp       75.0%      EXPIR
VIOSCA KNOLL 203/204                            VK 203   G07890   Federal     RT      7/1/1985     11/29/2019      5,760             Talos ERT          33.3%     TERMIN
VIOSCA KNOLL 203/204                            VK 203   G07890   Federal     OP      7/1/1985     11/29/2019      5,760             Talos ERT          33.3%     TERMIN
VIOSCA KNOLL 203/204                            VK 204   G04921   Federal     RT     12/1/1981     11/29/2019      5,760             Talos ERT          33.3%     TERMIN
VIOSCA KNOLL 203/204                            VK 204   G04921   Federal     OP     12/1/1981     11/29/2019      5,760             Talos ERT          33.3%     TERMIN
VIOSCA KNOLL 251/340/384                        VK 251   G10930   Federal     OP      7/1/1989                     5,760         Fieldwood En Off        7.5%      UNIT
VIOSCA KNOLL 251/340/384                        VK 340   G10933   Federal     OP      7/1/1989                     5,760         Fieldwood En Off        7.5%      UNIT
$0 Liability                                    VK 384   G16541   Federal     OP      6/1/1996      2/8/2014       5,760           Chevron USA          20.0%     TERMIN

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Field                                          Block      Lease    Type     Rights   Date Le Eff   Date Le Exp   Le Cur Acres       Operator       WI        Lease Status
MAIN PASS 259/260 / VIOSCA KNOLL 693/694    VK 692/693   G07898   Federal     RT       9/1/1985     7/11/2020       4,773         Fieldwood En       56.9%     TERMIN
MAIN PASS 259/260 / VIOSCA KNOLL 693/694      VK 694     G13055   Federal     RT       7/1/1991     7/11/2020       3,214         Fieldwood En       53.1%     TERMIN
MAIN PASS 259/260 / VIOSCA KNOLL 693/694      VK 694     G13055   Federal     OP       7/1/1991     7/11/2020       3,214         Fieldwood En       92.1%     TERMIN
$0 Liability                                  VK 698     G07901   Federal     RT       8/1/1985     2/20/2014       4,996         Fieldwood En       52.4%     TERMIN
$0 Liability                                  VK 736     G13987   Federal     RT       7/1/1993    12/12/2013       4,742         Fieldwood En      100.0%     TERMIN
VIOSCA KNOLL 780                              VK 780     G06884   Federal     RT       6/1/1984    12/12/2013       5,760         Fieldwood En      100.0%     TERMIN
VIOSCA KNOLL 780                              VK 824     G15436   Federal     RT       9/1/1995     8/20/2013       5,760            Apache         100.0%     RELINQ
$0 Liability                                  VK 856     G34872   Federal     RT       7/1/2013     6/21/2017        877        Apache Shelf Exp     75.0%     RELINQ
$0 Liability                                  VK 899     G34408   Federal     RT       8/1/2012     7/31/2017       1,553       Apache Shelf Exp    100.0%      EXPIR
$0 Liability                                  VR 115     G33593   Federal     RT       6/1/2010     4/30/2015       5,000       Apache Shelf Exp    100.0%     RELINQ
$0 Liability                                  VR 128     G33594   Federal     RT       6/1/2010     4/30/2015       5,000       Apache Shelf Exp    100.0%     RELINQ
*No FW lease ownership                        VR 131     00775    Federal     OP       5/1/1960     7/20/2020       4,923          Talos En Off      72.5%     TERMIN
$0 Liability                                  VR 146     G33084   Federal     RT       7/1/2009    6/30/2014        5,000       Apache Shelf Exp    100.0%      EXPIR
$0 Liability                                  VR 156     G34251   Federal     RT      10/1/2012    7/24/2015        5,000       Apache Shelf Exp    100.0%     RELINQ
$0 Liability                                  VR 160     G34252   Federal     RT      10/1/2012    7/24/2015        5,000       Apache Shelf Exp    100.0%     RELINQ
$0 Liability                                  VR 161     G34253   Federal     RT      10/1/2012    7/24/2015        4,868       Apache Shelf Exp    100.0%     RELINQ
VERMILION 252                                 VR 252     G05431   Federal   ORRI       7/1/1983                     4,454           Castex Off        2.0%      PROD
VERMILION 253                                 VR 253     G17912   Federal   ORRI       7/1/1997                     5,000           Castex Off        0.6%      PROD
$0 Liability                                  VR 26      00297    Federal    OP 1    11/26/1946    9/12/2013        4,646         Apache Shelf      100.0%     TERMIN
$0 Liability                                   VR 26      00297   Federal    OP 2    11/26/1946    9/12/2013        4,646         Apache Shelf       25.0%     TERMIN
$0 Liability                                   VR 26      00297   Federal     RT     11/26/1946    9/12/2013        4,646         Apache Shelf       50.0%     TERMIN
VERMILION 261/262                             VR 261     G03328   Federal     RT       4/1/1976    8/10/2020        5,429         Fieldwood En       75.0%     TERMIN
VERMILION 261/262                             VR 261     G03328   Federal    OP 2      4/1/1976    8/10/2020        5,429         Fieldwood En       37.5%     TERMIN
VERMILION 261/262                             VR 261     G03328   Federal    ORRI      4/1/1976                                   Fieldwood En        6.3%     TERMIN
VERMILION 261/262                             VR 262     G34257   Federal     RT      10/1/2012     7/7/2017       5,485          Fieldwood En       75.0%     RELINQ
VERMILION 265                                 VR 265     G01955   Federal     RT       1/1/1970                    5,000          Fieldwood En      100.0%       SOP
$0 Liability                                   VR 27     G01329   Federal    OP 2     12/1/1962    6/16/2013       1,902          Apache Shelf      100.0%     TERMIN
$0 Liability                                   VR 27     G01329   Federal    OP 1     12/1/1962    6/16/2013       1,902          Apache Shelf       25.0%     TERMIN
$0 Liability                                   VR 27     G01329   Federal     RT      12/1/1962    6/16/2013       1,902          Apache Shelf       50.0%     TERMIN
VERMILION 271/272 / SMI 87/102                VR 271     G04800   Federal     OP       9/1/1981                    4,418            Castex Off       12.5%      PROD
VERMILION 326                                 VR 326     G21096   Federal     RT       6/1/1999    8/21/2020       5,000          Fieldwood En       70.3%     TERMIN
                                              VR 332     G09514   Federal   CONT      3/30/1988                                   Fieldwood En       50.0%      PROD
$0 Liability                                   VR 34     G01356   Federal    OP 1      6/1/1964    6/16/2013        625           Apache Shelf      100.0%     TERMIN
$0 Liability                                   VR 34     G01356   Federal    OP 2      6/1/1964    6/16/2013        625           Apache Shelf       75.0%     TERMIN
$0 Liability                                   VR 34     G01356   Federal     RT       6/1/1964    6/16/2013        625           Apache Shelf      100.0%     TERMIN
$0 Liability                                   VR 35      00548   Federal    OP 1      9/1/1955    6/16/2013       2,500          Apache Shelf      100.0%     TERMIN
$0 Liability                                   VR 35      00548   Federal    OP 2      9/1/1955    6/16/2013       2,500          Apache Shelf       75.0%     TERMIN
$0 Liability                                   VR 35      00549   Federal    OP 1      9/1/1955    6/16/2013       2,500          Apache Shelf      100.0%     TERMIN
$0 Liability                                   VR 35      00549   Federal    OP 2      9/1/1955    6/16/2013       2,500          Apache Shelf       75.0%     TERMIN
$0 Liability                                   VR 35      00548   Federal     RT       9/1/1955    6/16/2013       2,500          Apache Shelf      100.0%     TERMIN
$0 Liability                                   VR 35      00549   Federal     RT       9/1/1955    6/16/2013       2,500          Apache Shelf      100.0%     TERMIN
VERMILION 356                                 VR 356     G17921   Federal    ORRI      8/1/1997                    4,093         EnVen En Vent        2.6%      PROD
$0 Liability                                   VR 36     G01357   Federal    OP 2      6/1/1964    6/16/2013        625           Apache Shelf       75.0%     TERMIN
$0 Liability                                   VR 36     G01357   Federal    OP 1      6/1/1964    6/16/2013        625           Apache Shelf      100.0%     TERMIN
$0 Liability                                   VR 36     G01357   Federal     RT       6/1/1964    6/16/2013        625           Apache Shelf      100.0%     TERMIN
Other (TBD)                                   VR 369     G02274   Federal    OP 4      2/1/1973                    5,000         Renaissance Off     23.2%      UNIT
Other (TBD)                                   VR 369     G02274   Federal    OP 3      2/1/1973                    5,000         Renaissance Off     23.2%      UNIT
Other (TBD)                                   VR 369     G02274   Federal     RT       2/1/1973                    5,000         Renaissance Off     23.2%      UNIT
Other (TBD)                                   VR 369     G02274   Federal    Unit      2/1/1973                    5,000         Renaissance Off     23.2%      UNIT
$0 Liability                                  VR 374     G32153   Federal     RT       8/1/2008    7/31/2013       5,000             Apache         100.0%      EXPIR
VERMILION 380/381                             VR 380     G02580   Federal     RT       5/1/1974                    5,000          Fieldwood En      100.0%      PROD
VERMILION 380/381                             VR 381     G16314   Federal     RT       9/1/1996    10/27/2015      5,000          Apache Shelf      100.0%     TERMIN
VERMILION 380/381                             VR 381     G16314   Federal     OP       9/1/1996    10/27/2015      5,000          Apache Shelf       80.0%     TERMIN
$0 Liability                                  VR 386     G02278   Federal    RT A      2/1/1973                    5,000          Marathon Oil       30.2%      UNIT
$0 Liability                                  VR 386     G02278   Federal    RT B      2/1/1973                    5,000          Marathon Oil       29.0%      UNIT
VERMILION 408                                 VR 408     G15212   Federal     RT       7/1/1995                    5,000          Fieldwood En       12.5%      PROD
VERMILION 408                                 VR 408     G15212   Federal     OP       7/1/1995                    5,000          Fieldwood En      100.0%      PROD
WEST CAMERON 71/72/102                        WC 102      00247   Federal     RT       9/9/1946                    5,000          Fieldwood En      100.0%     TERMIN
WEST CAMERON 110                              WC 110      00081   Federal     RT      6/10/1947                    5,000             BP E&P         100.0%      PROD
WEST CAMERON 110                              WC 110      00081   Federal     OP      6/10/1947                    5,000             BP E&P          37.5%      PROD
WEST CAMERON 110/111                          WC 111      00082   Federal     RT      6/10/1947                    1,250             BP E&P         100.0%      PROD
WEST CAMERON 110/111                          WC 111      00082   Federal     OP      6/10/1947                    1,250             BP E&P          37.5%      PROD
$0 Liability                                  WC 111     G33046   Federal     RT       8/1/2009     7/31/2014      3,750            Eni US Op        25.0%      EXPIR
$0 Liability                                  WC 130     G12761   Federal     RT       5/1/1991      4/1/2015      5,000            Eni US Op        25.0%     TERMIN
WEST CAMERON 144                              WC 144     G01953   Federal     RT       2/1/1970      4/1/2016      5,000          Fieldwood En       62.5%     TERMIN
$0 Liability                                  WC 155     G32114   Federal     RT       8/1/2008    7/31/2013       5,000             Apache         100.0%      EXPIR
WEST CAMERON 163                              WC 163     G05299   Federal    RT A      7/1/1983    12/1/2015       5,000          Fieldwood En       61.0%     TERMIN
WEST CAMERON 163                              WC 163     G05299   Federal    RT B      7/1/1983    12/1/2015       5,000          Fieldwood En       56.2%     TERMIN
$0 Liability                                  WC 165      00758   Federal     RT       4/1/1960    12/30/2017      5,000          Fieldwood En      100.0%     TERMIN
$0 Liability                                  WC 172     G01998   Federal    OP 1      2/1/1971    10/18/2014      5,000          Apache Shelf       22.5%     TERMIN
$0 Liability                                  WC 172     G01998   Federal    OP 2      2/1/1971    10/18/2014      5,000          Apache Shelf       22.5%     TERMIN
$0 Liability                                  WC 172     G01998   Federal    OP 3      2/1/1971    10/18/2014      5,000          Apache Shelf       22.5%     TERMIN
$0 Liability                                  WC 172     G01998   Federal    OP 4      2/1/1971    10/18/2014      5,000          Apache Shelf       22.5%     TERMIN
$0 Liability                                  WC 172     G01998   Federal   OP 10      2/1/1971    10/18/2014      5,000          Apache Shelf       25.0%     TERMIN
$0 Liability                                  WC 172     G01998   Federal   OP 11      2/1/1971    10/18/2014      5,000          Apache Shelf       25.0%     TERMIN
$0 Liability                                  WC 172     G01998   Federal   OP 12      2/1/1971    10/18/2014      5,000          Apache Shelf       25.0%     TERMIN
$0 Liability                                  WC 181     G33558   Federal     RT       6/1/2010     4/30/2015      2,500        Apache Shelf Exp    100.0%     RELINQ
$0 Liability                                  WC 196     G05292   Federal     RT       7/1/1983     8/27/2013      5,000          Union Oil CA        8.3%     TERMIN
*No FW asset ownership                        WC 20       00680   Federal     OP       8/1/1959                    1,873         Sanare En Part      50.0%      PROD
$0 Liability                                  WC 210     G34216   Federal     RT      10/1/2012     3/3/2014       5,000             Apache         100.0%     RELINQ
$0 Liability                                  WC 225     G00900   Federal    OP 1      4/1/1962    3/14/2018       5,000           Tarpon O&D        26.7%     TERMIN
WEST CAMERON 269                              WC 269     G13563   Federal     OP       8/1/1992    8/11/2020       5,000         Sanare En Part      33.8%     TERMIN
WEST CAMERON 289/290/294                      WC 290     G04818   Federal    OP 1      9/1/1981    7/21/2020       5,000        Fieldwood En Off     10.4%     TERMIN
WEST CAMERON 289/290/294                      WC 290     G04818   Federal     RT       9/1/1981    7/21/2020       5,000        Fieldwood En Off     16.7%     TERMIN
$0 Liability                                  WC 291     G04397   Federal     RT      11/1/1980    7/16/2013       5,000             Apache         100.0%     TERMIN
$0 Liability                                  WC 291     G04397   Federal     OP      11/1/1980    7/16/2013       5,000             Apache          60.0%     TERMIN
WEST CAMERON 295                              WC 295     G24730   Federal    OP 1      5/1/2003                    5,000          Fieldwood En       20.6%      PROD
$0 Liability                                  WC 300     G15078   Federal     RT       7/1/1995    12/21/2013      5,000        SandRidge En Off     14.0%     TERMIN
$0 Liability                                  WC 300     G15078   Federal     OP       7/1/1995    12/21/2013      5,000        SandRidge En Off     24.4%     TERMIN
$0 Liability                                  WC 310     G17789   Federal     RT       8/1/1997     6/3/2016       5,000          Fieldwood En      100.0%     TERMIN
$0 Liability                                  WC 310     G17789   Federal     OP       8/1/1997     6/3/2016       5,000          Fieldwood En       73.7%     TERMIN
WEST CAMERON 33                               WC 33      G15050   Federal     RT       7/1/1995                    2,891          Fieldwood En      100.0%      PROD
WEST CAMERON 35/65/66                         WC 34      G03251   Federal     RT       9/1/1975     6/1/2012       4,506             Apache         100.0%     TERMIN
WEST CAMERON 35/65/66                         WC 35      G02819   Federal     RT      12/1/1974    11/3/2013       4,688             Apache         100.0%     TERMIN
WEST CAMERON 35/65/66                         WC 35      G02819   Federal     OP      12/1/1974    11/3/2013       4,688             Apache         100.0%     TERMIN
WEST CAMERON 35/65/66                      WC 35, WC 6   G01860   Federal    OP 2      1/1/1969                    1,563             BP E&P         100.0%      PROD
WEST CAMERON 35/65/66                        WC 35/66    G01860   Federal     RT       1/1/1969                    1,563             BP E&P         100.0%      PROD
$0 Liability                                  WC 401     G07619   Federal     RT       7/1/1985    9/27/2015       5,000         ConocoPhillips      33.3%     TERMIN
$0 Liability                                  WC 576     G33061   Federal     RT       6/1/2009    5/31/2014       5,000        Apache Shelf Exp    100.0%      EXPIR
$0 Liability                                  WC 624     G33064   Federal     RT       6/1/2009    5/31/2014       5,000        Apache Shelf Exp    100.0%      EXPIR
WEST CAMERON 35/65/66                         WC 65      G02825   Federal    OP 4     12/1/1974                    5,000             BP E&P          81.3%      PROD
WEST CAMERON 35/65/66                         WC 65      G02825   Federal     RT      12/1/1974                    5,000             BP E&P         100.0%      PROD
WEST CAMERON 35/65/66                         WC 65      G02825   Federal     OP      12/1/1974                    5,000             BP E&P         100.0%      PROD
$0 Liability                                  WC 650     G34217   Federal     RT      10/1/2012    9/19/2016       5,000        Apache Shelf Exp    100.0%     RELINQ
$0 Liability                                  WC 656     G34218   Federal     RT      10/1/2012    9/19/2016       5,000        Apache Shelf Exp    100.0%     RELINQ
$0 Liability                                  WC 657     G34219   Federal     RT      10/1/2012    9/19/2016       5,000        Apache Shelf Exp    100.0%     RELINQ
WEST CAMERON 35/65/66                         WC 66      G02826   Federal    OP 2     12/1/1974                    3,750          Fieldwood En       75.0%      PROD
WEST CAMERON 35/65/66                         WC 66      G02826   Federal     OP      12/1/1974                    3,750          Fieldwood En      100.0%      PROD
WEST CAMERON 35/65/66                         WC 67      G03256   Federal    OP 1      9/1/1975     2/8/2008       5,000             Apache         100.0%     TERMIN
WEST CAMERON 35/65/66                         WC 67      G03256   Federal    OP 2      9/1/1975     2/8/2008       5,000             Apache          66.6%     TERMIN
$0 Liability                                  WC 68       00526   Federal     RT       9/1/1955     9/3/2014       2,500           BP Am Prod       100.0%     TERMIN
WEST CAMERON 35/65/66                         WC 71       00244   Federal     RT       9/9/1946    12/19/2019      5,000          Fieldwood En      100.0%     TERMIN

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Field                                      Block    Lease    Type     Rights   Date Le Eff   Date Le Exp   Le Cur Acres       Operator       WI        Lease Status
WEST CAMERON 71/72/102                    WC 72    G23735   Federal     RT       7/1/2002                     5,000       Fieldwood En Off     25.0%      PROD
*No FW asset ownership                    WC 73    G23736   Federal     OP       7/1/2002                     5,000           Castex Off       25.0%      PROD
$0 Liability                              WC 99    G34213   Federal     RT       8/1/2012     7/7/2016        5,000       Apache Shelf Exp    100.0%     RELINQ
WEST DELTA 90/103                         WD 103    00840   Federal     RT       5/1/1960                     3,984         Fieldwood En      100.0%      PROD
WEST DELTA 90/103                         WD 103   G12360   Federal    OP 1      5/1/1960                     1,016         Fieldwood En       81.3%      PROD
WEST DELTA 104/105                        WD 104    00841   Federal     RT       5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 104    00841   Federal    OP 1      5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 104    00841   Federal    OP 2      5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 104    00841   Federal    OP 3      5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 104    00841   Federal    OP 5      5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 105    00842   Federal     RT       5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 105    00842   Federal    OP 3      5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 105    00842   Federal    OP 4      5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 105    00842   Federal    OP 5      5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 105    00842   Federal    OP 6      5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 121/122                        WD 121   G19843   Federal    OP 1      8/1/1998                     5,000         Fieldwood En       84.0%      PROD
WEST DELTA 121/122                        WD 122   G13645   Federal    OP 1      8/1/1992                     5,000         Fieldwood En       84.0%      PROD
WEST DELTA 121/122                        WD 122   G13645   Federal    OP 2      8/1/1992                     5,000         Fieldwood En       84.0%      PROD
WEST DELTA 121/122                        WD 122   G13645   Federal     RT       8/1/1992                     5,000         Fieldwood En      100.0%      PROD
SOUTH PASS 87/89 / WEST DELTA 128         WD 128   G10883   Federal     RT       6/1/1989     8/2/2020        5,000         Fieldwood En      100.0%     TERMIN
WEST DELTA 133                            WD 133   G1106    Federal   ORRI       5/1/1962                                     Arena Off         1.0%      PROD
WEST DELTA 133                            WD 133   G1106    Federal   ORRI       5/1/1962                                     Arena Off         7.2%      PROD
WEST DELTA 133                            WD 133   G01106   Federal     RT       5/1/1962                    5,000            Arena Off       100.0%      PROD
$0 Liability                              WD 34    G03414   Federal     RT       1/1/1977     3/20/2017      2,500          Fieldwood En       76.7%     TERMIN
$0 Liability                              WD 34    G03414   Federal     OP       1/1/1977     3/20/2017      2,500          Fieldwood En       46.7%     TERMIN
$0 Liability                              WD 38    G22772   Federal     RT      5/1/2001      9/13/2013      1,796             Apache          87.5%     TERMIN
$0 Liability                              WD 38    G22772   Federal     OP      5/1/2001      9/13/2013      1,796             Apache          43.8%     TERMIN
$0 Liability                              WD 41    G01073   Federal     RT      3/1/1962     10/25/2013      5,000             Apache         100.0%     TERMIN
$0 Liability                              WD 41    G01073   Federal     OP      3/1/1962     10/25/2013      5,000             Apache          50.0%     TERMIN
$0 Liability                              WD 42    G16470   Federal     RT      9/1/1996      1/26/2014      5,000          Fieldwood En      100.0%     TERMIN
$0 Liability                              WD 42    G16470   Federal     OP      9/1/1996     1/26/2014       5,000          Fieldwood En       50.0%     TERMIN
                                          WD 53     17935    SL‐ LA     WI     10/13/2003     1/27/2015        –             Whitney Oil       33.3%     TERMIN
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 67     00179   Federal     RT      7/17/1948                    2,500            GOM Shelf        75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 67     00179   Federal    OP 2     7/17/1948                    2,500            GOM Shelf        37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 68     00180   Federal     RT      7/17/1948                    1,833            GOM Shelf        75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 68     00180   Federal    OP 2     7/17/1948                    1,833            GOM Shelf        37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 69     00181   Federal     RT      7/17/1948                    3,665            GOM Shelf        75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 69     00181   Federal    OP 2     7/17/1948                    3,665            GOM Shelf        37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 70     00182   Federal     RT      7/17/1948                    5,000            GOM Shelf        75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 70     00182   Federal    OP 2     7/17/1948                    5,000            GOM Shelf        37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 71     00838   Federal     RT       4/1/1960                    5,000            GOM Shelf        75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 71     00838   Federal    OP 2      4/1/1960                    5,000            GOM Shelf        37.5%      UNIT
WEST DELTA 75/90                          WD 75    G01085   Federal     RT       6/1/1962                    5,000          Fieldwood En      100.0%      PROD
WEST DELTA 90/103                         WD 90    G01089   Federal    OP 3      6/1/1962                    5,000          Fieldwood En       81.3%      PROD
WEST DELTA 90/103                         WD 90    G01089   Federal     RT       6/1/1962                    5,000          Fieldwood En      100.0%      PROD
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 94     00839   Federal     RT       5/1/1960                    5,000            GOM Shelf        75.0%      PROD
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 94     00839   Federal    OP 2      5/1/1960                    5,000            GOM Shelf        37.5%      PROD
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 95    G01497   Federal     RT      12/1/1966                    5,000            GOM Shelf        75.0%      PROD
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 95    G01497   Federal    OP 1     12/1/1966                    5,000            GOM Shelf        75.0%      PROD
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 96    G01498   Federal     RT      12/1/1966                    3,665            GOM Shelf        75.0%      PROD
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 96    G01498   Federal    OP 2    12/1/1966                     3,665            GOM Shelf        37.5%      PROD




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Lease / ROW / RUE    Status           Area    Block                            Depths                                                Area / Aliquot                     Leasehold            WI
     G06069         TERMIN    Brazos Area      491                         6891 to 99999                                                   All                        Operating Rights   50.00000%
     G01757          PROD     Brazos Area     A0105                        14090 to 99999                                               NE/4;S/2                      Operating Rights    6.25000%
     G02665          PROD     Brazos Area     A‐133                       Below 13,840' MD                                                SE/4                        Operating Rights   12.50000%
     G13576           SOP     East Cameron     71                         14,645’ to 99,999’                        N/2N/2, N/2S/2N/2, S/2SW/4NW/4, SW/4SE/4NW/4,     Operating Rights   50.00000%
                                                                                                                   W/2SW/4, W/2E/2SW/4, SE/4SE/4SW/4 and S/2S/2SE/4

     G13576          SOP      East Cameron     71                         10,400’ to 99,999’                         N/2SE/4, N/2S/2SE/4, S/2S/2NE/4, SE/4SE/4NW/4,   Operating Rights   100.00000%
                                                                                                                              E/2NE/4SW/4, NE/4SE/4SW/4
     G02063          PROD     East Cameron     338                       7,244’ TVDSS to 99,999’                                                                      Operating Rights    7.83469%
     G01440          PROD     East Cameron    9 & 14                         15199 to 99999                                        SE/4;E/2SW/4                       Operating Rights   50.00000%
       49            PROD     Eugene Island    119                      15,410’ TVDSS to 99,999’                                       NW/4                           Operating Rights   25.00000%
       49            PROD     Eugene Island    119                      15,410’ TVDSS to 99,999’                                     SW/4; E/2                        Operating Rights   20.00000%
       50            PROD     Eugene Island    120                          14,136’ to 99,999                                           All                           Operating Rights   50.00000%
       51           OPERNS    Eugene Island    125                          13,334’ to 99,999                                           All                           Operating Rights   50.00000%
       52            PROD     Eugene Island    126                           9,400 to 99,999                                     SE/4NE/4;NE/4SE/4                    Operating Rights   100.00000%
       52            PROD     Eugene Island    126                           12,056 to 99,999                               W/2;W/2E/2;NE/4NE/4;SE/4SE/4              Operating Rights   50.00000%
     G03152          PROD     Eugene Island    136                          19,135’ to 99,999                                           All                           Operating Rights   50.00000%
     G01220          PROD     Eugene Island    158                           17,588 to 99,999                                                                         Operating Rights   50.00000%
     G13622          PROD     Eugene Island    173                          14,097’ to 99,999                                             All                         Operating Rights   50.00000%
     G03782          PROD     Eugene Island    174       from the stratigraphic equivalent of 100' below a true                          SW/4                         Operating Rights   100.00000%
                                                       vertical depth of 10,960' as encountered in the Newfield
                                                       Exploration Company OCSG 3782 Well No. A10 to 99,999’
                                                                                  TVDSS
     G03782         PROD      Eugene Island    174                      12,431’ TVDSS to 99,999’                                       N/2;SE/5                       Operating Rights   50.00000%
      438           PROD      Eugene Island    175                           13,032 to 99,999                                             All                         Operating Rights   37.50000%
     G10736         PROD      Eugene Island    187                          17,170’ to 99,999                                             All                         Operating Rights   50.00000%
      423           PROD      Eugene Island    189                          13,638’ to 99,999                                        W/2;W/2E/2                       Operating Rights   50.00000%
     G05502         UNIT      Eugene Island    211                          surface to 99,999’                                         SE/4SE/4;                      Operating Rights   66.66667%
                                                                                                                                     E/2SW/4SE/4
     G05504          PROD     Eugene Island    224                         18,000’ to 99,999’                                             All                         Operating Rights   15.00000%
     G22679         TERMIN    Eugene Island    312                    9,000’ TVD to 99,999’ TVDSS                                 E/2NW/4;W/2NE/4                     Operating Rights   50.00000%
     G22679         TERMIN    Eugene Island    312                      9,015’ TVDSS to 99,999’                                  W/2NW/4;E/2NE/4;S/3                  Operating Rights   50.00000%
     G02112         TERMIN    Eugene Island    315                  25,000' SS TVD down to 99,999'                                        S/2                         Operating Rights   25.00000%
     G24912          PROD     Eugene Island    315                      8,000’ subsea to 99,999’                                          N/2                         Operating Rights   50.00000%
     G05040          PROD     Eugene Island    316                      7,739’ TVDSS to 99,999’                                           All                         Operating Rights   50.00000%
     G02912         TERMIN    Eugene Island    329                   from 7,871’ TVDSS to 99,999’                                                                     Operating Rights   50.00000%
     G02115          UNIT     Eugene Island    330                      8,329’ TVDSS to 99,999’                    SW/4, SW/4NW/4, S/2NW/4NW/4, NW/4NW/4NW/4,         Operating Rights   21.00000%
                                                                                                                        S/2SE/4NW/4, NW/4SE/4NW/4, SW/4SE/4,
                                                                                                                     S/2NW/4SE/4, NW/4NW/4SE/4, S/2SE/4SE/4 and
                                                                                                                                   NW/4SE/4SE/4
     G02115          UNIT     Eugene Island    330                      8,329’ TVDSS to 99,999’                    SW/4, SW/4NW/4, S/2NW/4NW/4, NW/4NW/4NW/4,         Operating Rights   11.51246%
                                                                                                                        S/2SE/4NW/4, NW/4SE/4NW/4, SW/4SE/4,
                                                                                                                     S/2NW/4SE/4, NW/4NW/4SE/4, S/2SE/4SE/4 and
                                                                                                                                   NW/4SE/4SE/4
     G02317         TERMIN    Eugene Island    333                 12,629’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights   50.00000%
     G15263         TERMIN    Eugene Island    334                 12,629’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights   50.00000%
     G03332          UNIT     Eugene Island    337                   7,026' TVD to 99,999’ TVDSS.                                   NE/4NE/4NE/4                      Operating Rights   98.00000%
     G03332          UNIT     Eugene Island    337                  6,020' TVDSS to 99,999' TVDSS                            SW/4SE/4SE/4; S/2SW/4SW/4                Operating Rights   100.00000%
     G03332          UNIT     Eugene Island    337                     12,455’ TVDSS to 99,999’                           SE/4SW/4, W/2SE/4, and SW/4NE/4             Operating Rights   50.00000%
     G14482          PROD     Eugene Island    346                 13,469’ TVDSS to 99,999’ TVDSS                    N/2NW/4, SE/4NW/4, NE/4SW/4NW/4, E/2SW/4,        Operating Rights   50.00000%
                                                                                                                                E/2SW/4SW/4 and SE/4
     G14482         PROD      Eugene Island    346                    7,511’ TVD to 99,999’ TVDSS                                       NE/4                          Operating Rights   100.00000%
     G14482         PROD      Eugene Island    346      from the stratigraphic equivalent of 12,890’ TVD, being      W/2SW/4NW/4, SE/4SW/4NW/4, NW/4SW/4, and         Operating Rights   100.00000%
                                                        the total depth drilled in the Eugene Island Area, South                    W/2SW/4SW/4
                                                        Addition, Block 346, OCSG 14482, B1 Well plus 100 feet
                                                                  being 12,990’ TVD to 99,999’ TVDSS

     G10752         PROD      Eugene Island    354                     9,669’ TVDSS to 99,999’                                 S/2, S/2N/2 and NE/4NE/4               Operating Rights   50.00000%
     G02324         PROD      Eugene Island    361                 5,220’ TVDSS to 99,999’ TVDSS                                          All                         Operating Rights    6.17647%
     G31470         PROD      Ewing Bank       782                     12,960’ TVDSS to 99,999                                             All                        Operating Rights   50.00000%
     G03228         UNIT      Galveston        180                         8,900’ to 99,999                                                                           Operating Rights   50.00000%
     G25524         PROD      Galveston        210     100’ below the stratigraphic equivalent of 10,200’ TD to                        N/2NE/4                        Operating Rights   33.34000%
                                                                            99,999’ TVDSS
     G25524         PROD      Galveston        210                         9,636’ to 99,999                                      S/2NE/4, NW/4 and S/2                Operating Rights   33.34000%
      174           UNIT      Grand Isle       32       depths below 18,000’ subsea (TVDS) to 99,999’ subsea                              S/2                         Operating Rights   18.75000%
                                                                               (TVDS).
      126           UNIT      Grand Isle       39       below 18,000’ subsea (TVDS) to 99,999’ subsea (TVDS                              E/2                          Operating Rights   18.75000%
      127           UNIT      Grand Isle       39       below 18,000’ subsea (TVDS) to 99,999’ subsea (TVDS                              W/2                          Operating Rights   18.75000%
      128           UNIT      Grand Isle       40                 18,000’ subsea (TVDS) to 99,999’                                                                    Operating Rights   18.75000%
      129           UNIT      Grand Isle       41       below 18,000’ subsea (TVDS) to 99,999’ subsea (TVDS                              E/2                          Operating Rights   18.75000%
      130           UNIT      Grand Isle       41          18,000’ subsea (TVDS) to 99,999’ subsea (TVDS                                 W/2                          Operating Rights   18.75000%
      131           UNIT      Grand Isle       42              below 18,000’ subsea (TVDS) to 99,999’                                                                 Operating Rights   18.75000%
      175           UNIT      Grand Isle       43                 18,000’ subsea (TVDS) to 99,999’                                                                    Operating Rights   18.75000%
      176           UNIT      Grand Isle       44                 18,000’ subsea (TVDS) to 99,999’                                        N/2                         Operating Rights   18.75000%
      132           UNIT      Grand Isle       46                 18,000’ subsea (TVDS) to 99,999’                                                                    Operating Rights   18.75000%
      133           UNIT      Grand Isle       47                 18,000’ subsea (TVDS) to 99,999’                                                                    Operating Rights   18.75000%
      134           UNIT      Grand Isle       48                 18,000’ subsea (TVDS) to 99,999’                                                                    Operating Rights   18.75000%
      177           UNIT      Grand Isle       52        depths below 17,651’ TVDSS down to 99,999’ TVDSS                                 N/2                         Operating Rights   18.75000%
     G13944         UNIT      Grand Isle       116                 19,402’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights   25.00000%
     G01848         PROD      High Island      129                    15,418’ TVDSS to 99,999’                          W/2NW/4, SE/4NW/4, W/2NE/4NW/4;S/2            Operating Rights   45.00000%
     G03236         UNIT      High Island      179                     9,839’ TVDSS to 99,999’                                       W/2NW/4;S/2                      Operating Rights   50.00000%
     G03236         UNIT      High Island      179                    10,036’ TVDSS to 99,999’                                    E/2N/2;E/2W/2N/2                    Operating Rights   50.00000%
     G20660         PROD      High Island      206                    12,145’ TVDSS to 99,999’                                             All                        Operating Rights   50.00000%
     G25605         PROD      High Island     A0341                    8,847’ TVDSS to 99,999’                                             All                        Operating Rights   30.00000%
     G02750         PROD      High Island     A0365                    5,659’ TVDSS to 99,999’                                             All                        Operating Rights   26.54255%
     G02754         PROD      High Island     A0376                   11,850’ TVDSS to 99,999’                       N/2, SW/4, W/2SE/4, SE/4SE/4, W/2NE/4SE/4 and    Operating Rights   22.28723%
                                                                                                                                     SE/4NE/4SE/4
     G02757          PROD     High Island     A0382                    11,025’ TVDSS to 99,999’                                            All                        Operating Rights   36.20529%
     G02721          PROD     High Island     A0595                    10,827’ TVDSS to 99,999’                                            All                        Operating Rights   36.20510%
     G02722          PROD     High Island     A0596                    13,264’ TVDSS to 99,999’                                            All                        Operating Rights   36.20510%
     G02393          PROD     High Island     A0573                        7,795' to 99,999'                                                                          Operating Rights   36.20510%
     G04481         RELINQ    Main Pass        77        depths below the stratigraphic equivalent of 13,040'                                                         Operating Rights   11.76468%
                                                       measured depth on the Schlumberger IFS/Sonic wireline
                                                        log (RUN 4) dated 7/12/81 for the Chevron U.S.A. Inc.
                                                       State of La. Lease 8693 Well No. 4 (API # 1772520242),
                                                              Main Pass Block 77 field down to 99,999'

     G02193          PROD     Main Pass        140                      8,959’ TVDSS to 99,999’                                                                       Operating Rights   32.50000%
     G07827         TERMIN    Main Pass        259                  11,636’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights   28.45078%
     G07828         TERMIN    Main Pass        260               from 12,072’ TVDSS to 99,999’ TVDSS                                                                  Operating Rights   28.45078%
     G15395          PROD     Main Pass        275                  11,278’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights   50.00000%
     G01666          PROD     Main Pass        289                  9,077’ TVDSS to 99,999’ TVDSS                             N/2, SW/4 and W/2W/2SE/4                Operating Rights   50.00000%
     G01673          UNIT     Main Pass        296            below 9,500’ TVDSS down to 99,999’ TVDSS                                                                Operating Rights   16.66667%
     G04253          UNIT     Main Pass        303                      6,060’ TVDSS to 99,999’                                     N/2 and N/2S/2                    Operating Rights   93.10100%

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Lease / ROW / RUE   Status           Area          Block                            Depths                                                Area / Aliquot                     Leasehold            WI
     G32265         PROD      Main Pass             308              from 6,284’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights   50.00000%
     G08760         PROD      Main Pass             309                     6,510’ TVDSS to 99,999’                                                                        Operating Rights   50.00000%
     G04126          UNIT     Main Pass             310                 6,944’ TVDSS to 99,999’ TVDSS                                                                      Operating Rights   50.00000%
     G02213         PROD      Main Pass             311          below 12,000’ TVDSS down to 99,999’ TVDSS                                                                 Operating Rights   16.66666%
     G16520         PROD      Main Pass             312                 10,989’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights   50.00000%
     G08467         PROD      Main Pass             315     from the stratigraphic equivalent of the deepest depth                 W/2NW/4 and W/2E/2NW/4                  Operating Rights   100.00000%
                                                               found production (7,830’ MD/TVD) in the Apache
                                                            Corporation OCS‐G 8467 No 2 Well plus 100’ to 99,999’

     G08467         PROD      Main Pass            315               from 7,760’ TVDSS to 99,999’ TVDSS                             S/2, NE/4 and E/2E/2NW/4               Operating Rights   50.00000%
     G01966         UNIT      Main Pass            152      from the stratigraphic equivalent of 10,700' Measured                                                          Operating Rights   37.50000%
                                                           Depth as seen in the OCSG 1967 #3 Well down to a depth
                                                                                   of 50,000'
    G01967           UNIT     Main Pass            153           10,700' MD down to a depth of 50,000' TVD                                                                 Operating Rights   37.50000%
    MF88562         Shut‐In   Matagorda Is         487                 4 below the base of the MF Sand                                        SW/4                           Leasehold        50.00000%
    MF88560         Shut‐In   Matagorda Is         487                  below the base of the MF Sand                                         SE/4                           Leasehold        50.00000%
    MF80522         Shut‐In   Matagorda Is         518                below the base of the 15600 Sand                                        NW/4                           Leasehold        50.00000%
    MF79413         Shut‐In   Matagorda Is         519                below the base of the 16950 Sand                                        NE/4                           Leasehold        50.00000%
    G09777           PROD     Mississippi Canyon   108     below 20,000' true vertical depth subsea down to 99,999'                            All                         Operating RIghts   37.59399%

     G18192         PROD      Mississippi Canyon   110                       6,688’ TVDSS to 99,999’                                           All                         Operating Rights   25.00000%
     G02968         PROD      Mississippi Canyon   311                      11,860’ TVDSS to 99,999’                                           All                         Operating RIghts   50.00000%
     G26176         PROD      Mobile               826                      21,730’ TVDSS to 99,999’                                                                       Operating RIghts   37.50000%
      333           UNIT      Ship Shoal           30                    17,478’ TVDSS to 99,999’ TVDSS                                        All                         Operating RIghts   18.75000%
     G02919         PROD      Ship Shoal           91                    11,148’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights    6.25000%
     G02919         PROD      Ship Shoal           91                    11,148’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights   28.12500%
     G12941         PROD      Ship Shoal           129                   17,446’ TVDSS to 99,999’ TVDSS                                        All                         Operating Rights   50.00000%
     G15282         PROD      Ship Shoal           151     from the stratigraphic equivalent of 12,612’ MD as seen in                          All                         Operating Rights   50.00000%
                                                            the Zilkha OCS‐G 15282 Well No. 1 (said depth being 100’
                                                           below the total depth drilled and logged in the Zilkha OCS‐
                                                                   G 15282 Well No. 1), down to 99,999’ TVDSS

      820           PROD      Ship Shoal           169                  10,658’ TVDSS to 99,999’ TVDSS                                         All                         Operating Rights   33.33000%
     G05550         UNIT      Ship Shoal           175                      surface to 99,999’ TVD                                  S/2SW/4NW/4; NW/4SW/4                  Operating Rights   66.66667%
     G33646         PROD      Ship Shoal           176                  12,274’ TVDSS to 99,999’ TVDSS                                         All                         Operating Rights   20.00000%
     G05551         PROD      Ship Shoal           178                  10,031’ TVDSS to 99,999’ TVDSS                                         All                         Operating Rights   50.00000%
     G03998         PROD      Ship Shoal           182                  11,825’ TVDSS to 99,999’ TVDSS                                        W/2                          Operating Rights   50.00000%
     G04232         PROD      Ship Shoal           189                  19,077’ TVDSS to 99,999’ TVDSS                      W/2, SE/4, N/2N/2NE/4 and SW/4NW/4NE/4         Operating Rights   49.47915%
     G04232         PROD      Ship Shoal           189                   19,000’ TVD to 99,999’ TVDSS                       S/2NE/4, SE/4NW/4NE/4 and S/2NE/4NE/4          Operating Rights   49.47915%
     G13917         PROD      Ship Shoal           193                  12,901’ TVDSS to 99,999’ TVDSS                                         All                         Operating Rights   50.00000%
     G15288         PROD      Ship Shoal           194                  13,619’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights   50.00000%
     G12355         PROD      Ship Shoal           198                     12,072’ TVDSS to 99,999’                      NW/4, W/2W/2NE/4, N/2NE/4SW/4, NW/4SW/4SW/4       Operating Rights   25.00000%

      593           PROD      Ship Shoal           198                     12,072’ TVDSS to 99,999’                      E/2NE/4; E/2W/2NE/4; S/2NE/4SW/4; S/2SW/4; SE/4   Operating Rights   25.00000%
      594                     Ship Shoal           199                  10,440’ TVDSS to 99,999’ TVDSS                   W/2, W/2W/2NE/4, W/2NW/4SE/4, SE/4NW/4SE/4,       Operating Rights   25.00000%
                     PROD                                                                                                             SW/4SE/4, S/2SE/4SE/4
     G01520          PROD     Ship Shoal           204                   12,791’ TVDSS to 99,999’ TVDSS                                        All                         Operating Rights   27.58165%
     G01522          UNIT     Ship Shoal           206                   12,355’ TVDSS to 99,999’ TVDSS                                        All                         Operating Rights   30.00000%
     G01523          UNIT     Ship Shoal           207                 below 15,000' down to 99,999' TVD                                       All                         Operating Rights   23.95873%
     G01524          PROD     Ship Shoal           216                   14,088’ TVDSS to 99,999’ TVDSS                                        All                         Operating Rights   27.77814%
     G10780          PROD     Ship Shoal           243                from 15,858’ TVDSS to 99,999’ TVDSS                                      E/2                         Operating Rights   25.00000%
     G10780          PROD     Ship Shoal           243                   20,000’ TVDSS to 99,999’ TVDSS                                        W/2                         Operating Rights   25.00000%
     G01038          UNIT     Ship Shoal           271                   7,810’ TVDSS to 99,999’ TVDSS                                         All                         Operating Rights   10.00000%
     G01039          PROD     Ship Shoal           274                   8,525’ TVDSS to 99,999’ TVDSS                                          All                        Operating Rights   50.00000%
     G26074          PROD     Ship Shoal           314                   10,750’ TVDSS to 99,999’ TVDSS                                     W/2W/2                         Operating Rights   37.50000%
     G26074          PROD     Ship Shoal           314                   10,950’ TVDSS to 99,999’ TVDSS                                  E/2W/2 and E/2                    Operating Rights   37.50000%
     G15312          PROD     Ship Shoal           354                   14,853’ TVDSS to 99,999’ TVDSS                                        All                         Operating Rights   50.00000%
      334            UNIT     Ship Shoal           31                          15,320' to 99,999'                                                                          Operating Rights   18.75000%
      335            UNIT     Ship Shoal           32                          11,315' to 99,999'                                                                          Operating Rights   18.75000%
     G09627           SOP     Ship Shoal           277         10,000’ TVD down to a depth of 50,000’ TVD subsea                               All                         Operating Rights   50.00000%
     G01182         TERMIN    South Marsh Is       11                    13,007’ TVDSS to 99,999’ TVDSS                                        All                         Operating Rights   50.00000%
     G01194          PROD     South Marsh Is       58                    13,639’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights   50.00000%
     G17938          PROD     South Marsh Is       105                   9,220’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights   50.00000%
     G03776          PROD     South Marsh Is       106                   9,368’ TVDSS to 99,999’ TVDSS                                         S/2                         Operating Rights   50.00000%
     G02883          PROD     South Marsh Is       127     all depths below 18,000’ (TVDSS) down to 99,999’ (TVDSS                                                         Operating Rights    8.67331%

     G02587         PROD      South Marsh Is       128               from 9,016’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights    8.67331%
     G02587         PROD      South Marsh Is       128               from 9,016’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights   33.33334%
     G02592         PROD      South Marsh Is       149                  7,386’ TVDSS to 99,999’ TVDSS                                         All                          Operating Rights   25.00000%
     G04809         PROD      South Marsh Is       161                 10,576’ TVDSS to 99,999’ TVDSS                                   W/2 and W/2E/2                     Operating Rights   50.00000%
     G04809         PROD      South Marsh Is       161       from the stratigraphic equivalent of the true vertical                         E/2E/2                         Operating Rights   100.00000%
                                                           depth of 9,782.5’ (being the true vertical depth drilled in
                                                           the OCS‐G 4809 #14 Well plus 100 feet) to 99,999’ SSTVD

     G02311         PROD      South Marsh Is       269                  11,719’ TVDSS to 99,999’ TVDSS                                         All                         Operating Rights   36.41794%
     G14456         PROD      South Marsh Is       280                  14,115’ TVDSS to 99,999’ TVDSS                              W/2, NE/4 and E/2E/2SE/4               Operating Rights   25.00000%
     G14456         PROD      South Marsh Is       280        from 100' below the stratigraphic equivalent of that                  W/2SE/4 and W/2E/2SE/4                 Operating Rights   50.00000%
                                                           certain zone encountered between the interval of 13,814'
                                                              and 13,920' TVD on the electric log from the Norcen
                                                            Explorer, Inc. OCS‐G 14456 Well No. 3 to 99,999’ TVDSS

     G02600          PROD     South Marsh Is       281                  16,062’ TVDSS to 99,999’ TVDSS                                         All                         Operating Rights   34.06318%
     G21618          PROD     South Marsh Is       93                           13,299' to 99,999'                                                                         Operating Rights    6.25000%
      792            PROD     South Marsh Is       108                    all depths below 14,000’ TVD                                                                     Operating Rights   16.66667%
     G01192          PROD     South Marsh Is       41             15,000' TVD down to a depth of 50,000' TVD                                  W/2                          Operating Rights   25.00000%
     G01192          PROD     South Marsh Is       41             11,500' TVD down to a depth of 50,000' TVD                                  E/2                          Operating Rights   50.00000%
      786            PROD     South Marsh Is       48           13,000' TVD down to a depth of 50,000' Subsea                                 All                          Operating Rights   50.00000%
     G01294          PROD     South Pass           62                   18,247’ TVDSS to 99,999’ TVDSS                                        All                          Operating Rights   50.00000%
     G01614          PROD     South Pass           70                    8,480’ TVDSS to 99,999’ TVDSS                                        All                          Operating Rights   50.00000%
     G07799         TERMIN    South Pass           87                   18,001’ TVDSS to 99,999’ TVDSS                                        All                          Operating Rights   16.68000%
     G07799         TERMIN    South Pass           87                    18,001’ TVDSS to 99,999’ TVDSS                                       All                          Operating Rights   16.67000%
     G01618          PROD     South Pass           89                    16,802’ TVDSS to 99,999’ TVDSS                                       All                          Operating Rights   25.00000%
     G01901          UNIT     South Pass           64      from 10,700' Measured Depth down to a depth of 50,000'                                                          Operating Rights   37.50000%
                                                                                   TVD subsea
     G01610          UNIT     South Pass            65     from 10,700' Measured Depth down to a depth of 50,000'                              All                         Operating Rights   37.50000%
                                                                                   TVD subsea
     G04234         TERMIN    South Pelto           1                   12,460’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights   50.00000%
     G02924         TERMIN    South Pelto           9      100' below the stratigraphic equivalent of 17,397' TVD as                          NE/4                         Operating Rights   50.00000%
                                                            seen in the Newfield Exploration Company OCS‐G 02924
                                                             Well No. 10 (API No. 177134025300) to 99,999’ TVDSS

     G02924         TERMIN    South Pelto            9                  16,992’ TVDSS to 99,999’ TVDSS                                     S/2; NW/4                       Operating Rights   50.00000%
     G02925         TERMIN    South Pelto           10                  13,261’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights       –
       71           RELINQ    South Pelto           11                  11,705’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights       –

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Lease / ROW / RUE   Status           Area      Block                           Depths                                                 Area / Aliquot                       Leasehold            WI
     G24956         PROD     South Timbalier    49                   18,800’ TVD to 99,999’ TVDSS                                           All                          Operating Rights   50.00000%
     G04000         PROD     South Timbalier    53                  6,782’ TVDSS to 99,999’ TVDSS                                           All                          Operating Rights   25.00000%
     G01960         PROD     South Timbalier    148                 17,777’ TVDSS to 99,999’ TVDSS                   NE/4, N/2NE/4SE/4, SE/4NE/4SE/4 and NE/4SE/4SE/4    Operating Rights    7.77500%

     G05612          PROD    South Timbalier   205                  18,640’ TVDSS to 99,999’ TVDSS                                      SE/4SW/4                         Operating Rights   25.00000%
     G16455          PROD    South Timbalier   291                  9,669’ TVDSS to 99,999’ TVDSS                                      N/2 and SE/4                      Operating Rights   50.00000%
     G16455          PROD    South Timbalier   291                  7,461’ TVDSS to 99,999’ TVDSS                                          SW/4                          Operating Rights   100.00000%
     G05646          UNIT    South Timbalier   295                  14,293’ TVDSS to 99,999’ TVDSS                                          All                          Operating Rights   50.00000%
     G31418          PROD    South Timbalier   311                      12,251’ TVD to 99,999’                                              All                          Operating Rights   22.50000%
     G22762          PROD    South Timbalier   316                  12,520’ TVDSS to 99,999’ TVDSS                                          All                          Operating Rights   10.00000%
     G03328         TERMIN   Vermilion         261     9,241’ TVD as identified in the Stone Energy Corporation’s               S/2S/2NE/4 and N/2NE/4SE/4               Operating Rights   37.50000%
                                                              OCS‐G 3328 Well No A‐3 ST to 99,999’ TVDSS

     G03328         TERMIN   Vermilion         261                   9,304’ TVDSS to 99,999’ TVDSS                    W/2, N/2NE/4, N/2S/2NE/4, W/2SE/4, SE/4SE/4 and    Operating Rights   37.50000%
                                                                                                                                       S/2NE/4SE/4
     G01955           SOP    Vermilion         265                  10,465’ TVDSS to 99,999’ TVDSS                                          All                          Operating Rights   50.00000%
     G21096         TERMIN   Vermilion         326                  8,447’ TVDSS to 99,999’ TVDSS                                           All                          Operating Rights   35.15742%
     G02274          UNIT    Vermilion         369                  below 10,000’ down to 99,999’                                NW/4, W/2E/2, NE/4NE/4                  Operating Rights   11.58535%
     G02580          PROD    Vermilion         380                  10,245’ TVDSS to 99,999’ TVDSS                                          All                          Operating Rights   50.00000%
     G02278          UNIT    Vermilion         386                  5,175’ TVDSS to 99,999’ TVDSS                       NW/4NE/4NE/4, S/2NE/4NE/4, E/2NW/4NE/4,          Operating Rights   15.08620%
                                                                                                                              NW/4SE/4NE/4 and N/2SW/4NE/4
     G02278          UNIT    Vermilion         386                   5,175’ TVDSS to 99,999’ TVDSS                      S/2, SW/4NW/4, S/2S/2NE/4, W/2NW/4NE/4,          Operating Rights   14.48210%
                                                                                                                              NE/4SE/4NE/4 and NE/4NE/4NE/4
     G04800         PROD     Vermilion         271           6,103' TVD down to a depth of 50,000' TVD subsea                               All                          Operating Rights    6.25000%
     G15212         PROD     Vermilion         408                             below 9,000’ TVD                                             All                          Operating Rights   50.00000%
     G10930         UNIT     Viosca Knoll      251       depths below the stratigraphic equivalent of the subsea                            All                          Operating Rights    3.75000%
                                                         depth of 15,083 to and including 99,999' as encountered
                                                       in Samedan Oil Corporation’s OCS‐G 13982 #1 well located
                                                                           in Viosca Knoll Block 252
     G10933          UNIT    Viosca Knoll      340       depths below the stratigraphic equivalent of the subsea                            All                          Operating Rights   3.75000%
                                                         depth of 15,083 to and including 99,999' as encountered
                                                       in Samedan Oil Corporation’s OCS‐G 13982 #1 well located
                                                                           in Viosca Knoll Block 252
     G07898         TERMIN   Viosca Knoll      693                     11,636’ TVDSS to 99,999’ TVDSS                                      All                           Operating Rights   28.45078%
     G13055         TERMIN   Viosca Knoll      694                     10,774’ TVDSS to 99,999’ TVDSS                             W/2, NE/4 and N/2SE/4                  Operating Rights   26.53745%
     G13055         TERMIN   Viosca Knoll      694                     11,714’ TVDSS to 99,999’ TVDSS                                    S/2SE/4                         Operating Rights   26.53745%
     G15050          PROD    West Cameron      33                      15,055’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights   50.00000%
     G02825          PROD    West Cameron      65           all depths below the stratigraphic equivalent of the         E/2E/2SW/4; W/2W/2SE/4; and E/2SW/4SE/5         Operating Rights   100.00000%
                                                        vertical depth of 13,679' as seen in the OCS‐G 02825 Well
                                                                  No. 4, down to a vertical depth of 99,999'
     G02825         PROD     West Cameron       65       depths below 100’ below the stratigraphic equivalent of                           NE/4                          Operating Rights   81.25000%
                                                         the base of the IT Sand as present in The Continental Oil
                                                             Company’s West Cameron Block 66 B‐14 Well at a
                                                         measured depth of 9,580 feet on the ISF‐Sonic Log down
                                                                             to 99,999 feet TVDSS
     G23735          PROD    West Cameron      72                      15,126’ TVDSS to 99,999’ TVDSS                                    All                             Operating Rights   12.50000%
      247           TERMIN   West Cameron      102                      14,150’ TVD to 99,999’ TVDSS                          N/2SW/4NW/4, NW/4SE/4NW/4                  Operating Rights   100.00000%
       81                    West Cameron      110      all depths below 15,000’ (TVDSS) down to 99,999’ (TVDSS)                         All                             Operating Rights   18.75000%
                     PROD
       82            PROD    West Cameron      111          below 15,000’ (TVDSS) down to 99,999’ (TVDSS)                                  SE/4                          Operating Rights   18.75000%
     G04818         TERMIN   West Cameron      290                   9,500’ TVD to 99,999’ TVDSS                                                                         Operating Rights    8.33334%
      680            PROD    West Cameron      20                    13,500’ TVD to 50,000’ TVD                                            All                           Operating Rights   25.00000%
     G02826          PROD    West Cameron       66                        13,590' to 99,999'                                         W1/2; N1/2SE1/4                     Operating Rights   37.50000%
     G02826          PROD    West Cameron       66                         9,216' to 99,999'                                           S1/2SE1/4                         Operating Rights   75.00000%
      179                    West Delta        67        below 18,000’ subsea (TVDS) to 99,999’ subsea (TVDS)                              S/2                           Operating Rights   18.75000%
                     UNIT
      180                    West Delta         68       below 18,000’ subsea (TVDS) to 99,999’ subsea (TVDS)                              S/2                           Operating Rights   18.75000%
                     UNIT
      181            UNIT    West Delta         69          18,000’ subsea (TVDS) to 99,999’ subsea (TVDS)                                  All                          Operating Rights   18.75000%
      182            UNIT    West Delta         70          18,000’ subsea (TVDS) to 99,999’ subsea (TVDS)                                  All                          Operating Rights   18.75000%
      838                    West Delta         71       depths below 18,000’ subsea (TVDS) to 99,999’ subsea                               All                          Operating Rights   18.75000%
                    UNIT                                                        (TVDS)
     G01085         PROD     West Delta        75                   17,844’ TVDSS to 99,999’ TVDSS                                          All                          Operating Rights   50.00000%
     G01089         PROD     West Delta        90                   13,199’ TVDSS to 99,999’ TVDSS                                    N/2 and N/2S/2                     Operating Rights   50.00000%
     G01089         PROD     West Delta        90                   13,199’ TVDSS to 99,999’ TVDSS                                        S/2S/2                         Operating Rights   40.62500%
      839           PROD     West Delta        94                   13,159’ TVDSS to 99,999; TVDSS                                                                       Operating Rights   37.50000%
     G01497         PROD     West Delta        95                   13,601’ TVDSS to 99,999’ TVDSS                       N/2, N/2N/2SE/4, N/2SE/4 and N/2SW/4SW/4        Operating Rights   37.50000%
     G12360         PROD     West Delta        103                  13,279’ TVDSS to 99,999’ TVDSS                       NW/4NW/4, NE/4NW/4, N/2N/2SW/4NW/4,             Operating Rights   40.62500%
                                                                                                                      N/2NW/4NE/4, N/2S/2NW/4NE/4, N/2N/2NE/4NE/4

      840                    West Delta        103                  13,279’ TVDSS to 99,999’ TVDSS                   S/2, S/2NE/4, SE/4NW/4, S/2SW/4NW/4, S/2NE/4NE/4,   Operating Rights   50.00000%
                                                                                                                             S/2N/2NE/4NE/4, S/2S/2NW/4NE/4 and
                    PROD                                                                                                               S/2N/2SW/4NW/4
      841           PROD     West Delta        104                  11,970’ TVDSS to 99,999’ TVDSS                            NW4, N2NE4, SW4NE4 and N2SE4NE4            Operating Rights   50.00000%
      842           PROD     West Delta        105                  12,149’ TVDSS to 99,999’ TVDSS                                         N2S2N2                        Operating Rights   50.00000%




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Asset Name                       FWE Acct. Code   Lease Number        API
BRAZOS 491 #004                  BA49100400          G06069      427044034300
BRAZOS 491 #005                  BA49100500          G06069      427044035700
BRAZOS 491 #A001                 BA491A0100          G06069      427044018200
BRAZOS 491 #A002                 BA491A0200          G06069      427044018300
BRAZOS 491 #A003                 BA491A0300          G06069      427044032900
BRAZOS A‐105 #B001               BAA105B010          G01757      427054012200
BRAZOS A‐105 #B002               BAA105B020          G01757      427054012600
BRAZOS A‐105 #B003               BAA105B030          G01757      427054012800
BRAZOS A‐105 #B004               BAA105B040          G01757      427054013000
BRAZOS A‐105 #B005               BAA105B050          G01757      427054013300
BRAZOS A‐133 #A001               BAA133A010          G02665      427054002400
BRAZOS A‐133 #A002               BAA133A020          G02665      427054003300
BRAZOS A‐133 #A003               BAA133A030          G02665      427054003500
BRAZOS A‐133 #A004 ST1           BAA133A041          G02665      427054004301
BRAZOS A‐133 #A005 ST1           BAA133A051          G02665      427054004001
BRAZOS A‐133 #A006               BAA133A060          G02665      427054004500
BRAZOS A‐133 #A007               BAA133A070          G02665      427054004800
BRAZOS A‐133 #A008               BAA133A080          G02665      427054005200
BRAZOS A‐133 #A009               BAA133A090          G02665      427054005400
BRAZOS A‐133 #A010               BAA133A100          G02665      427054013100
BRAZOS A‐133 #C001               BAA133C010          G02665      427054007800
BRAZOS A‐133 #C002               BAA133C020          G02665      427054008200
BRAZOS A‐133 #C003               BAA133C030          G02665      427054010700
BRAZOS A‐133 #C004               BAA133C040          G02665      427054013500
BRAZOS A‐133 #D001 ST1           BAA133D011          G02665      427054009201
BRAZOS A‐133 #D003               BAA133D030          G02665      427054012700
CHANDELEUR 042 #A002             CA042A0200          G32267      177294001500
CHANDELEUR 043 #A001             CA043A0100          G32268      177294001400
CHANDELEUR 043 #A003             CA043A0300          G32268      177294001600
EAST CAMERON 002 #001 SL 18121   SL18121010           18121      177032013600
EAST CAMERON 002 #001AL 16475    SL16475010           16475      177032012000
EAST CAMERON 002 #002AL 16475    SL16475020           16475      177032012200
EAST CAMERON 002 #003 SL16475    SL16475030           16475      177032012300
EAST CAMERON 002 #004AL 16475    SL16475040           16475      177032012400
EAST CAMERON 002 #005AL 16475    SL16475050           16475      177032012500
EAST CAMERON 009 #B009           EC009B0900          G01440      177032004300
EAST CAMERON 014 #012            EC01401200          G01440      177034060600
EAST CAMERON 014 #013            EC01401300          G01440      177034101300
EAST CAMERON 014 #B006           EC014B0600          G01440      177032003700
EAST CAMERON 014 #B007           EC014B0700          G01440      177032004000
EAST CAMERON 014 #B008           EC014B0800          G01440      177032004200
EAST CAMERON 014 #B010 ST1       EC014B1001          G01440      177032004601
EAST CAMERON 014 #B011           EC014B1100          G01440      177034006900
EAST CAMERON 014 #B013           EC014B13            G13572      177034094700
EAST CAMERON 014 #CF001          EC014CF010          G01440      177030032800
EAST CAMERON 014 #CF002          EC014CF020          G13572      177034068600
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Asset Name                   FWE Acct. Code   Lease Number        API
EAST CAMERON 037 #A002       EC037A0200          G25933      177034101700
EAST CAMERON 265 #D001       EC265D0100          G00972      177044105100
EAST CAMERON 265 #D002       EC265D0200          G00972      177044106200
EAST CAMERON 265 #D003       EC265D0300          G00972      177044106300
EAST CAMERON 265 #D004       EC265D0400          G00972      177044106400
EAST CAMERON 265 #D005       EC265D0500          G00972      177044106500
EAST CAMERON 278 #B009       EC278B0900          G00974      177044071700
EAST CAMERON 278 #C001       EC278C0100          G00974      177044058500
EAST CAMERON 278 #C002       EC278C0204          G00974      177044070000
EAST CAMERON 278 #C003       EC278C0300          G00974      177044071800
EAST CAMERON 278 #C004 ST2   EC278C0401          G00974      177044072101
EAST CAMERON 278 #C005       EC278C0500          G00974      177044069700
EAST CAMERON 278 #C006       EC278C0600          G00974      177044071400
EAST CAMERON 278 #C007       EC278C0700          G00974      177044094800
EAST CAMERON 278 #C008       EC278C0800          G00974      177044109800
EAST CAMERON 278 #C009       EC278C0900          G00974      177044109901
EAST CAMERON 338 #A002       EC338A0200          G02063      177044024700
EAST CAMERON 338 #A003       EC338A0300          G02063      177044025000
EAST CAMERON 338 #A011       EC338A1100          G02063      177044028800
EAST CAMERON 338 #A015       EC338A1500          G02063      177044032000
EAST CAMERON 338 #A016       EC338A1601          G02063      177044034601
EAST CAMERON 338 #A022       EC338A2200          G02063      177044025101
EUGENE IS 053 #008D          EI053008D0           00479      177094086200
EUGENE IS 053 #009           EI05300900           00479      177094094000
EUGENE IS 053 #010 ST1       EI05301001           00479      177094113001
EUGENE IS 053 #012 ST1       EI05301201           00479      177094115301
EUGENE IS 053 #015 BP1       EI05301501           00479      177094127601
EUGENE IS 053 #B001D         EI053B01D0           00479      177094085900
EUGENE IS 053 #C001          EI053C0101           00479      177094121101
EUGENE IS 053 #C002          EI053C0200           00479      177094122600
EUGENE IS 053 #G001 ST1      EI053G01D2           00479      177094144201
EUGENE IS 119 #030 ST1       EI11903001           00049      177094079801
EUGENE IS 119 #033 ST2       EI11903302           00049      177094117002
EUGENE IS 119 #034           EI11903400           00049      177094118700
EUGENE IS 119 #035 ST1       EI11903501           00049      177094120301
EUGENE IS 119 #037 ST1       EI11903701           00049      177094129001
EUGENE IS 119 #F001D         EI119F01D0           00049      177090026700
EUGENE IS 119 #F002 ST1      EI119F0201           00049      177090026801
EUGENE IS 119 #F003          EI119F0300           00049      177090026900
EUGENE IS 119 #F005 ST1      EI119F0501           00049      177090027101
EUGENE IS 119 #F006          EI119F0600           00049      177090027200
EUGENE IS 119 #F007          EI119F0700           00049      177094137900
EUGENE IS 119 #F008 ST1      EI119F0801           00049      177094138401
EUGENE IS 119 #K001          EI119K0100           00049      177090028900
EUGENE IS 119 #K002          EI119K0200           00049      177090029000
EUGENE IS 119 #K003          EI119K0300           00049      177090029100
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Asset Name                  FWE Acct. Code   Lease Number        API
EUGENE IS 119 #K004         EI119K0400           00049      177090029200
EUGENE IS 119 #K005         EI119K0500           00049      177090029300
EUGENE IS 119 #K006         EI119K0600           00049      177090029400
EUGENE IS 119 #K007         EI119K0700           00049      177090029500
EUGENE IS 119 #M004         EI119M0400           00049      177090029900
EUGENE IS 119 #M007         EI119M0700           00049      177092009000
EUGENE IS 120 #009 ST1      EI12000901           00050      177094026101
EUGENE IS 120 #011          EI12001100           00050      177094078000
EUGENE IS 120 #012 ST1      EI12001201           00050      177094113901
EUGENE IS 120 #013          EI12001300           00050      177094114100
EUGENE IS 120 #014          EI12001400           00050      177094115200
EUGENE IS 120 #015 ST2      EI12001502           00050      177094116702
EUGENE IS 120 #017          EI12001700           00050      177094121700
EUGENE IS 120 #019 ST2      EI12001902           00050      177094126102
EUGENE IS 120 #020          EI12002000           00050      177094138300
EUGENE IS 120 #I008         EI120I0800           00050      177094137000
EUGENE IS 125 #002B ST2     EI125002B2           00051      177090022902
EUGENE IS 125 #A003 ST1     EI125A0301           00051      177090022601
EUGENE IS 125 #R001         EI125R0100           00051      177094080201
EUGENE IS 125 #R002         EI125R0201           00051      177094141301
EUGENE IS 126 #012          EI12601201           00052      177094131501
EUGENE IS 126 #031 ST2      EI12603102           00052      177094086702
EUGENE IS 126 #A002         EI126A0200           00052      177090022500
EUGENE IS 126 #A004D        EI126A04D0           00052      177090022700
EUGENE IS 126 #A005         EI126A0501           00052      177094092903
EUGENE IS 126 #A006         EI126A0600           00052      177094151000
EUGENE IS 136 #001          EI13600100          G03152      177094115700
EUGENE IS 136 #JA001        EI136JA100          G03152      177094028300
EUGENE IS 136 #JA002        EI136JA200          G03152      177094117501
EUGENE IS 136 #JA003 BP1    EI136JA301          G03152      177094140601
EUGENE IS 136 #JA004        EI136JA400          G03152      177094151101
EUGENE IS 158 #014B         EI158014B0          G01220      177090094300
EUGENE IS 158 #016          EI15801600          G01220      177092000402
EUGENE IS 158 #017A         EI158017A0          G01220      177092000900
EUGENE IS 158 #027 ST1      EI15802701          G01220      177092006501
EUGENE IS 158 #028 ST1BP1   EI15802802          G01220      177092009702
EUGENE IS 158 #029          EI15802900          G01220      177092008200
EUGENE IS 158 #032          EI15803200          G01220      177094111400
EUGENE IS 158 #034          EI15803400          G01220      177094147600
EUGENE IS 158 #B003A        EI158B03A2          G01220      177090066202
EUGENE IS 158 #B004B        EI158B04B0          G01220      177090063700
EUGENE IS 158 #B005E        EI158B05E0          G01220      177090070400
EUGENE IS 158 #B007         EI158B0703          G01220      177090094803
EUGENE IS 158 #B008         EI158B0800          G01220      177092001500
EUGENE IS 158 #B010F        EI158B1100          G01220      177092001800
EUGENE IS 158 #B011 ST2     EI158B1102          G01220      177094104902
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Asset Name                   FWE Acct. Code   Lease Number        API
EUGENE IS 158 #B012          EI158B1200          G01220      177094105000
EUGENE IS 158 #B013          EI158B1302          G01220      177094143502
EUGENE IS 158 #C001          EI158C0100          G01220      177092014700
EUGENE IS 158 #C002          EI158C0200          G01220      177092015200
EUGENE IS 158 #C003C         EI158C03C0          G01220      177092015300
EUGENE IS 158 #C005A         EI158C05A0          G01220      177094002200
EUGENE IS 158 #C006          EI158C0600          G01220      177094001900
EUGENE IS 158 #C007F         EI158C07F0          G01220      177094004700
EUGENE IS 158 #C008C         EI158C08C0          G01220      177094005100
EUGENE IS 158 #C009          EI158C0900          G01220      177094005700
EUGENE IS 158 #C010B         EI158C10B0          G01220      177094006000
EUGENE IS 158 #C011A         EI158C11A0          G01220      177094006300
EUGENE IS 158 #C012D         EI158C12D0          G01220      177094007100
EUGENE IS 158 #C013D         EI158C13D0          G01220      177094008000
EUGENE IS 158 #C014          EI158C1400          G01220      177094008100
EUGENE IS 158 #JB008         EI158JB801          G01220      177090091401
EUGENE IS 158 #JB009         EI158JB900          G01220      177090090200
EUGENE IS 158 #JB013         EI158JB130          G01220      177090094102
EUGENE IS 158 #JB019         EI158JB190          G01220      177092002101
EUGENE IS 158 #JB022         EI158JB220          G01220      177092003300
EUGENE IS 158 #JB024         EI158JB240          G01220      177092003900
EUGENE IS 158 #JB030 (D04)   EI158JB300          G01220      177094100300
EUGENE IS 158 #JB033         EI158JB330          G01220      177094111100
EUGENE IS 173 #G002          EI173G0200          G13622      177094074701
EUGENE IS 174 #A010          EI174A1000          G03782      177094101100
EUGENE IS 174 #G001 ST1      EI174G0101          G03782      177094065601
EUGENE IS 174 #G003 ST2      EI174G0302          G03782      177094084402
EUGENE IS 174 #G004 ST1      EI174G0402          G03782      177094116502
EUGENE IS 175 #D006 ST1      EI175D0601           00438      177094003301
EUGENE IS 175 #D008          EI175D0800           00438      177094003900
EUGENE IS 175 #D009 ST1      EI175D0901           00438      177094005401
EUGENE IS 175 #D012 ST       EI175D1201           00438      177094010601
EUGENE IS 175 #D021 ST3      EI175D2103           00438      177092012603
EUGENE IS 175 #F001 ST1      EI175F0101           00438      177094035401
EUGENE IS 175 #F002 ST1      EI175F0201           00438      177094039601
EUGENE IS 175 #F003 ST       EI175F0302           00438      177094039702
EUGENE IS 175 #F004 ST       EI175F0401           00438      177094041001
EUGENE IS 175 #F005          EI175F0500           00438      177094042900
EUGENE IS 175 #F007          EI175F0700           00438      177094048900
EUGENE IS 175 #F009          EI175F0901           00438      177094087601
EUGENE IS 175 #H001          EI175H0100           00438      177094104700
EUGENE IS 175 #H002          EI175H0200           00438      177094106700
EUGENE IS 175 #H003          EI175H0300           00438      177094110800
EUGENE IS 175 #H004          EI175H0400           00438      177094110900
EUGENE IS 175 #H005 ST1BP1   EI175H0502           00438      177094112002
EUGENE IS 175 #I002          EI175I0201           00438      177094107101
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Asset Name                    FWE Acct. Code   Lease Number        API
EUGENE IS 175 #I003           EI175I0300           00438      177094107200
EUGENE IS 175 #I004           EI175I0400           00438      177094109200
EUGENE IS 175 #I005           EI175I0500           00438      177094109300
EUGENE IS 175 #J001 ST1       EI175J0101           00438      177094122301
EUGENE IS 175 #J002 ST1       EI175J0201           00438      177094123201
EUGENE IS 175 #J003 ST1       EI175J0301           00438      177094123501
EUGENE IS 175 #J004           EI175J0400           00438      177094128300
EUGENE IS 187 #002            EI18700200          G10736      177094151601
EUGENE IS 187 #JC001          EI187JC101          G10736      177094091101
EUGENE IS 187 #JD001          EI187JD201          G10736      177094092801
EUGENE IS 187 #JD002          EI187JD200          G10736      177094131900
EUGENE IS 187 #JE002          EI187JE020          G10736      177094109700
EUGENE IS 188 #JE001          EI188JE100           00443      177094096500
EUGENE IS 189 #020            EI18902000           00423      177094099500
EUGENE IS 189 #B001           EI189B0100           00423      177090062500
EUGENE IS 189 #B003 ST1       EI189B0300           00423      177090062601
EUGENE IS 189 #B014           EI189B1400           00423      177090075200
EUGENE IS 189 #B016B          EI189B16B3           00423      177090075103
EUGENE IS 189 #B020           EI189B2001           00423      177090079001
EUGENE IS 189 #B025           EI189B2501           00423      177090078501
EUGENE IS 189 #B027           EI189B2701           00423      177094059001
EUGENE IS 211 #A003           EI211A0300          G05502      177094071500
EUGENE IS 211 #A005           EI211A0500          G05502      177094083400
EUGENE IS 211 #A006           EI211A0600          G05502      177094083601
EUGENE IS 212 #A001 BP1       EI212A0100          G05503      177094063200
EUGENE IS 212 #A002           EI212A0200          G05503      177094070700
EUGENE IS 212 #A007           EI212A0700          G05503      177094097400
EUGENE IS 224 #A001           EI224A0101          G05504      177094074001
EUGENE IS 224 #A002           EI224A0201          G05504      177094082501
EUGENE IS 224 #A003           EI224A0300          G05504      177094083200
EUGENE IS 224 #A004           EI224A0400          G05504      177094089100
EUGENE IS 224 #A005           EI224A0503          G05504      177094089403
EUGENE IS 224 #A006           EI224A0600          G05504      177094103600
EUGENE IS 224 #A007           EI224A0700          G05504      177094106800
EUGENE IS 224 #A008           EI224A0800          G05504      177094111600
EUGENE IS 224 #A009           EI224A0900          G05504      177094121900
EUGENE IS 224 #A010           EI224A1000          G05504      177094135200
EUGENE IS 224 #C001           EI224C01            G05504      177094112501
EUGENE IS 224 #G002 (ORRI)    EI224G02            G05504      177094150801
EUGENE IS 224 #SS006 (ORRI)   EI224SS06           G05504      177094149000
EUGENE IS 312 #D001           EI312D0100          G22679      177104160900
EUGENE IS 312 #D002           EI312D0200          G22679      177104161900
EUGENE IS 315 #A001 ST1       EI315A0101          G02112      177104099001
EUGENE IS 315 #A003           EI315A0300          G02112      177104099500
EUGENE IS 315 #A005           EI315A0500          G02112      177104099800
EUGENE IS 315 #A006           EI315A0600          G02112      177104101700
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Asset Name                      FWE Acct. Code   Lease Number        API
EUGENE IS 315 #A007 ST1         EI315A0701          G02112      177104103001
EUGENE IS 315 #A010             EI315A1000          G02112      177104103700
EUGENE IS 315 #A012             EI315A1200          G02112      177104104000
EUGENE IS 315 #A016             EI315A1600          G02112      177104127000
EUGENE IS 315 #A017             EI315A1700          G02112      177104152000
EUGENE IS 315 #C001 (TANA)      EI315C0100          G24912      177104160800
EUGENE IS 315 #C002 (TANA)      EI315C0200          G24912      177104162300
EUGENE IS 316 #A001             EI316A0101          G05040      177104100701
EUGENE IS 316 #A002 ST1         EI316A0200          G05040      177104106400
EUGENE IS 316 #A003 ST3         EI316A0302          G05040      177104111302
EUGENE IS 316 #A005 ST5         EI316A0505          G05040      177104112905
EUGENE IS 316 #A007             EI316A0700          G05040      177104117000
EUGENE IS 316 #A008             EI316A0800          G05040      177104117300
EUGENE IS 316 #A010             EI316A1000          G05040      177104118300
EUGENE IS 316 #A011             EI316A1100          G05040      177104137500
EUGENE IS 316 #A012             EI316A1200          G05040      177104138400
EUGENE IS 316 #A013 ST1 (S01)   EI316A13S1          G05040      177104107601
EUGENE IS 329 #A002             EI329A0200          G02912      177104099101
EUGENE IS 329 #A004             EI329A0400          G02912      177104099400
EUGENE IS 329 #A008             EI329A0800          G02912      177104103500
EUGENE IS 329 #A011             EI329A1100          G02912      177104103800
EUGENE IS 329 #A014             EI329A1400          G02912      177104106800
EUGENE IS 329 #A015             EI329A1500          G02912      177104108001
EUGENE IS 329 #A018             EI329A1800          G02912      177104151700
EUGENE IS 330 #B001             EI330B0101          G02115      177104004301
EUGENE IS 330 #B003 ST1         EI330B0301          G02115      177104008001
EUGENE IS 330 #B004 ST1         EI330B0401          G02115      177104008701
EUGENE IS 330 #B005 ST2         EI330B0502          G02115      177104009502
EUGENE IS 330 #B006 ST3         EI330B0603          G02115      177104010503
EUGENE IS 330 #B007 ST1         EI330B0701          G02115      177104011601
EUGENE IS 330 #B008 ST1 LF      EI330B0801          G02115      177104013001
EUGENE IS 330 #B009 ST1         EI330B0901          G02115      177104016301
EUGENE IS 330 #B010 ST1         EI330B1001          G02115      177104017101
EUGENE IS 330 #B011             EI330B1100          G02115      177104025200
EUGENE IS 330 #B012 ST1         EI330B1201          G02115      177104021001
EUGENE IS 330 #B014 ST1         EI330B1401          G02115      177104027401
EUGENE IS 330 #B015 ST1         EI330B1501          G02115      177104028601
EUGENE IS 330 #B016 ST1         EI330B1601          G02115      177104030201
EUGENE IS 330 #B018             EI330B1800          G02115      177104031200
EUGENE IS 330 #D001             EI330D0100          G02115      177104105600
EUGENE IS 330 #D002             EI330D0200          G02115      177104116900
EUGENE IS 330 #D003 ST2         EI330D0302          G02115      177104117802
EUGENE IS 330 #D004             EI330D0400          G02115      177104118400
EUGENE IS 330 #D005 ST1         EI330D0502          G02115      177104118702
EUGENE IS 330 #D006 ST          EI330D0602          G02115      177104119102
EUGENE IS 330 #D008 ST1         EI330D0801          G02115      177104119602
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Asset Name                   FWE Acct. Code   Lease Number        API
EUGENE IS 330 #D009 ST1      EI330D0901          G02115      177104138201
EUGENE IS 330 #D011          EI330D1100          G02115      177104138700
EUGENE IS 330 #D012 ST1      EI330D1201          G02115      177104138801
EUGENE IS 330 #D013          EI330D1301          G02115      177104164301
EUGENE IS 330 #D014          EI330D1401          G02115      177104164401
EUGENE IS 330 #D015          EI330D1500          G02115      177104164500
EUGENE IS 330 #D016          EI330D1602          G02115      177104164702
EUGENE IS 330 #D017          EI330D1700          G02115      177104164800
EUGENE IS 330 #D018          EI330D1801          G02115      177104165101
EUGENE IS 330 #D019          EI330D1900          G02115      177104165200
EUGENE IS 330 #D020          EI330D2000          G02115      177104165300
EUGENE IS 333 #B012          EI333B1200          G02317      177104145204
EUGENE IS 334 #B013 ST1      EI334B1301          G15263      177104152201
EUGENE IS 334 #D001 BP1      EI334D0100          G15263      177104159300
EUGENE IS 334 #D003 BP1      EI334D0301          G15263      177104161401
EUGENE IS 337 #A001 ST2      EI337A0102          G03332      177104054002
EUGENE IS 337 #A003 ST1      EI337A0301          G03332      177104101101
EUGENE IS 337 #A005 ST1      EI337A0501          G03332      177104102201
EUGENE IS 337 #A007          EI337A0700          G03332      177104104600
EUGENE IS 337 #A008 ST2      EI337A0802          G03332      177104104902
EUGENE IS 337 #A010          EI337A1000          G03332      177104161000
EUGENE IS 337 #A011          EI337A1103          G03332      177104163803
EUGENE IS 342 #004           EI34200400          G02319      177104113000
EUGENE IS 342 #C002 ST1      EI342C0201          G02319      177104110601
EUGENE IS 342 #C003          EI342C0300          G02319      177104114000
EUGENE IS 342 #C004          EI342C0401          G02319      177104120101
EUGENE IS 342 #C005          EI342C0502          G02319      177104120202
EUGENE IS 342 #C006          EI342C0600          G02319      177104120300
EUGENE IS 342 #C007          EI342C0700          G02319      177104120800
EUGENE IS 342 #C008          EI342C0800          G02319      177104121000
EUGENE IS 342 #C009          EI342C0900          G02319      177104121300
EUGENE IS 342 #C010          EI342C1000          G02319      177104121500
EUGENE IS 342 #C011          EI342C1100          G02319      177104122000
EUGENE IS 342 #C012          EI342C1200          G02319      177104122200
EUGENE IS 342 #C013          EI342C1300          G02319      177104122700
EUGENE IS 342 #C014          EI342C1400          G02319      177104135800
EUGENE IS 342 #C015          EI342C1501          G02319      177104162101
EUGENE IS 342 #C016          EI342C1601          G02319      177104162201
EUGENE IS 342 #C017 BP1      EI342C1701          G02319      177104162501
EUGENE IS 345 #A004          EI345A0401          G21647      177104159201
EUGENE IS 346 #004           EI34600400          G14482      177104150500
EUGENE IS 346 #005           EI34600500          G14482      177104151900
EUGENE IS 346 #A001          EI346A0100          G14482      177104149101
EUGENE IS 346 #A002 ST3      EI346A0203          G14482      177104149603
EUGENE IS 346 #A003          EI346A0300          G14482      177104155100
EUGENE IS 346 #B001 (ORRI)   EI346B0100          G14482      177104161700
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Asset Name                   FWE Acct. Code   Lease Number        API
EUGENE IS 346 #B003 (ORRI)   EI346B0300          G14482      177104162800
EUGENE IS 353 #D017 ST2      EI353D1702          G03783      177104143402
EUGENE IS 353(354) #D3 ST    EI353D0300          G03783      177104138501
EUGENE IS 354 #A006          EI354A0602          G10752      177104104302
EUGENE IS 354 #D001          EI354D0101          G10752      177104142101
EUGENE IS 354 #D002          EI354D0200          G10752      177104138100
EUGENE IS 354 #D004          EI354D0400          G10752      177104142900
EUGENE IS 354 #D005          EI354D0500          G10752      177104142800
EUGENE IS 354 #D006          EI354D0600          G10752      177104143500
EUGENE IS 354 #D008          EI354D0800          G10752      177104144000
EUGENE IS 354 #D009 ST4      EI354D0904          G10752      177104145604
EUGENE IS 354 #D010          EI354D1000          G10752      177104144700
EUGENE IS 354 #D011          EI354D1100          G10752      177104144900
EUGENE IS 354 #D012          EI354D1200          G10752      177104146400
EUGENE IS 354 #D014 ST1      EI354D1401          G02324      177104147201
EUGENE IS 354 #D015          EI354D1500          G10752      177104147700
EUGENE IS 354 #D016 ST1      EI354D1601          G10752      177104147901
EUGENE IS 361 #A001          EI361A0100          G02324      177104095200
EUGENE IS 361 #A002          EI361A0200          G02324      177104095600
EUGENE IS 361 #A006          EI361A0600          G02324       1771040979
EUGENE IS 361 #A007          EI361A0700          G02324      177104098500
EUGENE IS 361 #A008          EI361A0800          G02324       1771040992
EUGENE IS 361 #A010          EI361A1000          G02324       1771041012
EUGENE IS 361 #A011          EI361A1102          G02324      177104103402
EUGENE IS 361 #A013          EI361A1300          G02324      177104104400
EUGENE IS 361 #A014          EI361A1400          G02324      177104104700
EUGENE IS 361 #A015          EI361A1500          G02324      177104105300
EUGENE IS 361 #A016          EI361A1600          G02324       1771041057
EUGENE IS 361 #A017          EI361A1700          G02324      177104105800
EUGENE IS 361 #A018          EI361A1800          G02324      177104106600
EUGENE IS 361 #A019          EI361A1900          G02324      177104107500
EUGENE IS 361 #A020          EI361A2000          G02324       1771041079
EUGENE IS 361 #A021          EI361A2101          G02324      177104108101
EUGENE IS 361 #A022          EI361A2200          G02324      177104144600
EUGENE IS 361 #A023          EI361A2300          G02324       1771041454
EUGENE IS 361 #A024          EI361A2400          G02324      177104157900
EUGENE IS 361 #C003          EI361C0300          G02324      177104112401
EUGENE IS 361 #C012          EI361C1202          G02324      177104118002
EUGENE IS 361 #C015          EI361C1500          G02324      177104119500
EUGENE IS 361 #C016          EI361C1600          G02324      177104119800
EUGENE IS 361 #D001          EI361D0102          G02324      177104111102
EUGENE IS 361 #D004          EI361D0400          G02324       1771041135
EUGENE IS 361 #D010          EI361D1000          G02324       1771041171
EUGENE IS 361 #D014          EI361D1400          G02324       1771041193
EUGENE IS 361 #D015          EI361D1501          G02324      177104134601
EUGENE IS 361 #D017          EI361D1701          G02324      177104152401
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Asset Name                       FWE Acct. Code   Lease Number        API
EWING BANK 782 #A011 ST1 EW826   EW782A1101          G31470      608105002901
EWING BANK 782 #A022 (EW826)     EW782A2200          G31470      608104014400
EWING BANK 782 #A026             EW782A2600          G31470      608104015003
EWING BANK 826 #A001             EW826A0100          G05800      608105000100
EWING BANK 826 #A002 ST2         EW826A0202          G05800      608105000202
EWING BANK 826 #A003 ST2         EW826A0302          G05800      608105000402
EWING BANK 826 #A004             EW826A0400          G05800      608105000500
EWING BANK 826 #A005 ST3         EW826A0503          G05800      608105001303
EWING BANK 826 #A006             EW826A0600          G05800      608105001200
EWING BANK 826 #A007             EW826A0700          G05800      608105002000
EWING BANK 826 #A008             EW826A0800          G05800      608105001400
EWING BANK 826 #A009             EW826A0900          G05800      608105002800
EWING BANK 826 #A010             EW826A1000          G05800      608105001700
EWING BANK 826 #A013             EW826A1300          G05800      608105003000
EWING BANK 826 #A015             EW826A1501          G05800      608105003501
EWING BANK 826 #A016             EW826A1600          G05800      608105002100
EWING BANK 826 #A017             EW826A1700          G05800      608104013600
EWING BANK 826 #A018             EW826A1800          G05800      608104013700
EWING BANK 826 #A019 BP1         EW826A1901          G05800      608104013801
EWING BANK 826 #A020             EW826A2000          G05800      608104014000
EWING BANK 826 #A021 BP3         EW826A2103          G05800      608104014103
EWING BANK 826 #A024 ST1         EW826A2401          G05800      608104014801
GALVESTON 151 #005               GA15100500          G15740      427064044200
GALVESTON 180 #A002              GA180A0200          G03228      427084005600
GALVESTON 180 #A004 ST1          GA180A0401          G03228      427084005801
GALVESTON 180 #A007B             GA180A7B0           G03228      427084005900
GALVESTON 180 #A017              GA180A1700          G03228      427084007600
GALVESTON 192 #A014C             GA192A14C1          G03229      427084006701
GALVESTON 210 #001               GA21000100          G25524      427064044300
GALVESTON 210 #002               GA21000200          G25524      427064044800
GRAND ISLE 032 #U012 ST1         GI032U1201           00174      177192014502
GRAND ISLE 039 #P002 ST2         GI039P0202           00127      177174097802
GRAND ISLE 039 #Q001 ST3         GI039Q0103           00127      177174037903
GRAND ISLE 040 #E007D            GI040E07D0           00128      177170077500
GRAND ISLE 040 #E009             GI040E0900           00128      177170078700
GRAND ISLE 040 #G001             GI040G0100           00128      177170070400
GRAND ISLE 040 #G002             GI040G0200           00128      177170076200
GRAND ISLE 040 #G006             GI040G0600           00133      177174012600
GRAND ISLE 040 #G010             GI040G1000           00128      177174037200
GRAND ISLE 040 #G011             GI040G1100           00128      177174037300
GRAND ISLE 040 #G013             GI040G1300           00128      177174098600
GRAND ISLE 040 #M001             GI040M0100           00128      177174037000
GRAND ISLE 040 #M002D            GI040M02D0           00128      177174038600
GRAND ISLE 040 #M003             GI040M0300           00128      177174043600
GRAND ISLE 040 #O005             GI040O0500           00128      177174097100
GRAND ISLE 041 #D002             GI041D0200           00129      177170075300
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Asset Name                  FWE Acct. Code   Lease Number        API
GRAND ISLE 041 #D003        GI041D0300           00129      177170076700
GRAND ISLE 041 #D004        GI041D0400           00130      177170080500
GRAND ISLE 041 #D007        GI041D0700           00129      177172000000
GRAND ISLE 041 #D008 ST     GI041D0801           00130      177172000801
GRAND ISLE 041 #D009        GI041D0900           00129      177172001500
GRAND ISLE 041 #D010ST      GI041D1000           00129      177174017801
GRAND ISLE 041 #D011E       GI041D1100           00129      177174018400
GRAND ISLE 041 #E001 ST1    GI041E0101           00130      177170069401
GRAND ISLE 041 #E002 ST1    GI041E0201           00130      177170074701
GRAND ISLE 041 #E003D       GI041E03D0           00130      177170075000
GRAND ISLE 041 #E004 ST1    GI041E0401           00130      177170075201
GRAND ISLE 041 #E005        GI041E0500           00129      177170075400
GRAND ISLE 041 #E006D       GI041E06D0           00130      177170077300
GRAND ISLE 041 #E008        GI041E0800           00130      177170079800
GRAND ISLE 041 #E010        GI041E1001           00130      177172000301
GRAND ISLE 041 #E012D       GI041E12D0           00130      177174011500
GRAND ISLE 041 #E013        GI041E1300           00130      177174012900
GRAND ISLE 041 #F003 ST1    GI041F0301           00129      177174006401
GRAND ISLE 041 #F005 ST2    GI041F0502           00129      177174017302
GRAND ISLE 041 #G007        GI041G0700           00130      177174022400
GRAND ISLE 041 #G008        GI041G0800           00130      177174026400
GRAND ISLE 041 #H001        GI041H0100           00130      177174020300
GRAND ISLE 041 #H002        GI041H0200           00129      177174028100
GRAND ISLE 041 #H003 ST     GI041H0301           00130      177174028601
GRAND ISLE 041 #H004        GI041H0400           00130      177174038000
GRAND ISLE 041 #H005        GI041H0500           00129      177174038100
GRAND ISLE 041 #H006 ST1    GI041H0601           00129      177174098301
GRAND ISLE 041 #H007        GI041H0700           00130      177174098400
GRAND ISLE 042 #C001        GI042C0100           00131      177170067000
GRAND ISLE 042 #C002        GI042C0200           00131      177170072100
GRAND ISLE 042 #F001        GI042F0100           00131      177174005100
GRAND ISLE 042 #F002        GI042F0200           00131      177174006000
GRAND ISLE 042 #F004        GI042F0400           00131      177174007100
GRAND ISLE 046 #001 ST1     GI04600101           00132      177174042801
GRAND ISLE 046 #G009 ST1    GI046G0901           00132      177174026101
GRAND ISLE 047 #E006        GI047E0600           00133      177170078100
GRAND ISLE 047 #E008        GI047E0800           00133      177170079500
GRAND ISLE 047 #E017        GI047E1700           00133      177174039900
GRAND ISLE 047 #G004 ST     GI047G0401           00133      177170079601
GRAND ISLE 047 #G005 ST     GI047G0501           00133      177170080301
GRAND ISLE 047 #G012        GI047G1200           00133      177174037500
GRAND ISLE 047 #L001        GI047L0100           00133      177174012800
GRAND ISLE 047 #L002 ST     GI047L0201           00133      177174015901
GRAND ISLE 047 #L003        GI047L0300           00133      177174020500
GRAND ISLE 047 #L004        GI047L0400           00133      177174017000
GRAND ISLE 047 #L005        GI047L0500           00133      177174017900
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Asset Name                     FWE Acct. Code   Lease Number        API
GRAND ISLE 047 #L006D          GI047L0600           00133      177174036300
GRAND ISLE 047 #L007 ST        GI047L0701           00177      177174039101
GRAND ISLE 047 #L009 ST1       GI047L0901           00133      177174039201
GRAND ISLE 047 #L011 ST2       GI047L1102           00133      177174039602
GRAND ISLE 047 #O001 BP2       GI047O01D3           00133      177174096102
GRAND ISLE 047 #O002           GI047002D1           00133      177174096600
GRAND ISLE 047 #O003           GI04700300           00133      177174096700
GRAND ISLE 047 #O004           GI047O0400           00133      177174096900
GRAND ISLE 047 #O006           GI047O0600           00133      177174097200
GRAND ISLE 047 #O007 ST1       GI047O0701           00133      177174097301
GRAND ISLE 047 #O008           GI047O0800           00133      177174097600
GRAND ISLE 047 #O009           GI047O09D1           00133      177174097700
GRAND ISLE 048 #E001           GI048E0100           00134      177170045400
GRAND ISLE 048 #E014           GI048E1400           00134      177172003900
GRAND ISLE 048 #E018 ST        GI048E1801           00134      177174043501
GRAND ISLE 048 #J002 ST1       GI048J0201           00134      177174003201
GRAND ISLE 048 #J003 ST        GI048J0302           00134      177174004502
GRAND ISLE 048 #J004 ST2       GI048J0403           00134      177174004803
GRAND ISLE 048 #J005 ST        GI048J0501           00134      177174011601
GRAND ISLE 048 #J006           GI048J0600           00134      177174012000
GRAND ISLE 048 #J007           GI048J0700           00134      177174012200
GRAND ISLE 048 #J008           GI048J0800           00134      177174016900
GRAND ISLE 048 #J009           GI048J0900           00134      177174044200
GRAND ISLE 048 #J010 ST        GI048J1001           00134      177174044401
GRAND ISLE 048 #P001 FKA #14   GI048P0100           00134      177174015300
GRAND ISLE 052 #L008 ST        GI052L0801           00177      177174019501
GRAND ISLE 052 #L010           GI052L1001           00177      177174043901
GRAND ISLE 052 #L012           GI052L1200           00177      177174044604
GRAND ISLE 076 #A001           GI076A0100          G02161      177174004600
GRAND ISLE 076 #A002           GI076A0200          G02161      177174004700
GRAND ISLE 076 #A003           GI076A0300          G02161      177174004900
GRAND ISLE 076 #A005           GI076A0500          G02161      177174005200
GRAND ISLE 076 #A006           GI076A0601          G02161      177174005001
GRAND ISLE 076 #A008           GI076A0800          G02161      177174005400
GRAND ISLE 076 #A009           GI076A0900          G02161      177174005500
GRAND ISLE 076 #A010           GI076A1001          G02161      177174005301
GRAND ISLE 076 #A011           GI076A1100          G02161      177174005600
GRAND ISLE 076 #A013           GI076A1300          G02161      177174005800
GRAND ISLE 076 #A014           GI076A1400          G02161      177174006100
GRAND ISLE 076 #A015           GI076A1500          G02161      177174005900
GRAND ISLE 076 #A018           GI076A1800          G02161      177174006500
GRAND ISLE 076 #A022           GI076A2201          G02161      177174006601
GRAND ISLE 076 #A023 ST1       GI076A2301          G02161      177174044101
GRAND ISLE 076 #A024 ST1BP1    GI076A2401          G02161      177174095502
GRAND ISLE 110 #A002           GI110A0200          G13943      177184008900
GRAND ISLE 110 #A005 BP2       GI110A0502          G13943      177184010402
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Asset Name                     FWE Acct. Code   Lease Number        API
GRAND ISLE 116 #A001           GI116A0100          G13944      177184008700
GRAND ISLE 116 #A003           GI116A0300          G13944      177184009200
GRAND ISLE 116 #A004           GI116A0401          G13944      177184009501
GRAND ISLE 116 #A006           GI116A0601          G13944      177184010601
GRAND ISLE 116 #A007           GI116A0700          G13944      177184011100
HIGH ISLAND 110 #A001          HI110A0100          G02353      427084001700
HIGH ISLAND 110 #A002          HI110A0200          G02353      427084002300
HIGH ISLAND 110 #A004          HI110A0400          G02353      427084003300
HIGH ISLAND 110 #A005          HI110A0500          G02353      427084003500
HIGH ISLAND 110 #A006          HI110A0600          G02353      427084003700
HIGH ISLAND 110 #A008          HI110A0800          G02353      427084004900
HIGH ISLAND 110 #A009          HI110A0900          G02353      427084039400
HIGH ISLAND 110 #B002          HI110B0200          G02353      427084004300
HIGH ISLAND 110 #B004          HI110B0400          G02353      427084006100
HIGH ISLAND 110 #B009          HI110B0900          G02353      427084035000
HIGH ISLAND 110 #B010          HI110B1000          G02353      427084039600
HIGH ISLAND 111 #003           HI11100300          G02354      427084046200
HIGH ISLAND 111 #A003          HI111A0300          G02354      427084002600
HIGH ISLAND 111 #A010          HI111A1000          G02354      427084040101
HIGH ISLAND 116 #A001          HI116A0100          G06156      427084016400
HIGH ISLAND 116 #A002D         HI116A02D0          G06156      427084017600
HIGH ISLAND 116 #A003          HI116A0300          G06156      427084018300
HIGH ISLAND 129 #005           HI129005            G01848      427104000700
HIGH ISLAND 129 #006           HI12900600          G01848      427104000800
HIGH ISLAND 129 #013           HI12901300          G01848      427104009600
HIGH ISLAND 129 #017           HI12901702          G01848      427104015302
HIGH ISLAND 129 #018 (HELIS)   HI12901800          G01848      427104015400
HIGH ISLAND 176 #002           HI17600200          G06164      427084030200
HIGH ISLAND 176 #003           HI17603             G06164      427084031300
HIGH ISLAND 179 #A001          HI179A0100          G03236      427084005500
HIGH ISLAND 179 #A003          HI179A0300          G03236      427084005700
HIGH ISLAND 179 #A006 ST2      HI179A0602          G03236      427084006002
HIGH ISLAND 179 #A008B         HI179A08B0          G03236      427084006200
HIGH ISLAND 179 #A009          HI179A0900          G03236      427084006300
HIGH ISLAND 179 #A010          HI179A1000          G03236      427084006400
HIGH ISLAND 179 #A016          HI179A1600          G03236      427084007300
HIGH ISLAND 179 #A018E         HI179A18E0          G03236      427084008000
HIGH ISLAND 179 #A019          HI179A1900          G03236      427084007800
HIGH ISLAND 193 #A015          HI193A1500          G03237      427084006801
HIGH ISLAND 206 #B001 ST1      HI206B0101          G20660      427084056501
HIGH ISLAND 206 #B002 ST1      HI206B0201          G20660      427084059201
HIGH ISLAND 206 #B003 ST1      HI206B0301          G20660      427084063501
HIGH ISLAND A‐341 #B001        HIA341B010          G25605      427114085900
HIGH ISLAND A‐341 #B002        HIA341B020          G25605      427114087101
HIGH ISLAND A‐365 #A001        HIA365A010          G02750      427114052200
HIGH ISLAND A‐365 #A004        HIA365A040          G02750      427114053700
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Asset Name                    FWE Acct. Code   Lease Number        API
HIGH ISLAND A‐365 #A006       HIA365A060          G02750      427114053100
HIGH ISLAND A‐365 #A007       HIA365A070          G02750      427114054100
HIGH ISLAND A‐365 #A008       HIA365A080          G02750      427114054800
HIGH ISLAND A‐365 #A010       HIA365A100          G02750      427114055200
HIGH ISLAND A‐365 #A012       HIA365A120          G02750      427114055600
HIGH ISLAND A‐365 #A013 ST1   HIA365A131          G02750      427114055801
HIGH ISLAND A‐365 #A016       HIA365A160          G02750      427114056700
HIGH ISLAND A‐365 #A020       HIA365A200          G02750      427114057500
HIGH ISLAND A‐365 #A021       HIA365A210          G02750      427114057600
HIGH ISLAND A‐365 #A024       HIA365A240          G02750      427114066300
HIGH ISLAND A‐365 #A025       HIA365A250          G02750      427114066500
HIGH ISLAND A‐376 #A002 ST1   HIA376A021          G02754      427114052601
HIGH ISLAND A‐376 #A003       HIA376A030          G02754      427114052700
HIGH ISLAND A‐376 #A005       HIA376A050          G02754      427114053500
HIGH ISLAND A‐376 #A009       HIA376A090          G02754      427114054400
HIGH ISLAND A‐376 #A011       HIA376A110          G02754      427114055000
HIGH ISLAND A‐376 #A014 ST2   HIA376A142          G02754      427114056002
HIGH ISLAND A‐376 #A015       HIA376A150          G02754      427114056200
HIGH ISLAND A‐376 #A017       HIA376A170          G02754      427114057200
HIGH ISLAND A‐376 #A018       HIA376A180          G02754      427114057300
HIGH ISLAND A‐376 #A019       HIA376A190          G02754      427114057400
HIGH ISLAND A‐376 #A022       HIA376A220          G02754      427114057700
HIGH ISLAND A‐376 #B001       HIA376B010          G02754      427114068700
HIGH ISLAND A‐376 #B002       HIA376B020          G02754      427114068900
HIGH ISLAND A‐376 #B003       HIA376B031          G02754      427114078701
HIGH ISLAND A‐376 #B004       HIA376B041          G02754      427114079001
HIGH ISLAND A‐376 #B005       HIA376B050          G02754      427114079600
HIGH ISLAND A‐376 #C001       HIA376C010          G02754      427114088900
HIGH ISLAND A‐376 #C002       HIA376C020          G02754      427114089600
HIGH ISLAND A‐376 #C003       HIA376C030          G02754      427114089500
HIGH ISLAND A‐376 #C004       HIA376C040          G02754      427114089400
HIGH ISLAND A‐382 #A009       HIA382A090          G02757      427094018600
HIGH ISLAND A‐382 #B013       HIA382B130          G02757      427094025500
HIGH ISLAND A‐382 #F001 ST1   HIA382F011          G02757      427114059401
HIGH ISLAND A‐382 #F002       HIA382F020          G02757      427114059800
HIGH ISLAND A‐382 #F003       HIA382F031          G02757      427114059901
HIGH ISLAND A‐382 #F004       HIA382F040          G02757      427114060600
HIGH ISLAND A‐382 #F005       HIA382F050          G02757      427114060900
HIGH ISLAND A‐382 #F006       HIA382F061          G02757      427114061001
HIGH ISLAND A‐382 #F008       HIA382F080          G02757      427114061700
HIGH ISLAND A‐382 #F010 ST5   HIA382F105          G02757      427114062605
HIGH ISLAND A‐382 #F011       HIA382F110          G02757      427114063100
HIGH ISLAND A‐382 #F012       HIA382F121          G02757      427114063601
HIGH ISLAND A‐382 #F013       HIA382F130          G02757      427114063800
HIGH ISLAND A‐382 #F014       HIA382F140          G02757      427114063900
HIGH ISLAND A‐382 #F015       HIA382F151          G02757      427114064701
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Asset Name                       FWE Acct. Code   Lease Number        API
HIGH ISLAND A‐382 #F017          HIA382F171          G02757      427114066701
HIGH ISLAND A‐382 #F019          HIA382F190          G02757      427114067100
HIGH ISLAND A‐382 #F020          HIA382F200          G02757      427114067500
HIGH ISLAND A‐382 #F021          HIA382F211          G02757      427114067801
HIGH ISLAND A‐442 #A001 (ORRI)   HIA442A010          G11383      427094096101
HIGH ISLAND A‐442 #A003 (ORRI)   HIA442A03           G11383      427094098101
HIGH ISLAND A‐442 #A004 (ORRI)   HIA442A040          G11383      427094099000
HIGH ISLAND A‐442 #B001 (ORRI)   HIA442B01           G11383      427094108900
HIGH ISLAND A‐474 #A001          HIA474A010          G02366      427094017100
HIGH ISLAND A‐474 #A002          HIA474A020          G02366      427094017200
HIGH ISLAND A‐474 #A003          HIA474A030          G02366      427094019900
HIGH ISLAND A‐474 #A004          HIA474A040          G02366      427094022800
HIGH ISLAND A‐474 #A005          HIA474A050          G02366      427094023500
HIGH ISLAND A‐474 #A006          HIA474A060          G02366      427094024300
HIGH ISLAND A‐474 #A007          HIA474A070          G02366      427094027702
HIGH ISLAND A‐474 #A008          HIA474A080          G02366      427094026100
HIGH ISLAND A‐474 #A010          HIA474A100          G02366      427094029400
HIGH ISLAND A‐474 #A011          HIA474A110          G02366      427094030000
HIGH ISLAND A‐474 #A012          HIA474A120          G02366      427094030801
HIGH ISLAND A‐474 #A013          HIA474A130          G02366      427094036104
HIGH ISLAND A‐474 #A014          HIA474A140          G02366      427094035000
HIGH ISLAND A‐474 #A017          HIA474A170          G02366      427094032500
HIGH ISLAND A‐474 #A020          HIA474A200          G02366      427094038500
HIGH ISLAND A‐474 #A021          HIA474A210          G02366      427094040700
HIGH ISLAND A‐474 #B023          HIA474B230          G02366      427094037200
HIGH ISLAND A‐475 #A016          HIA475A16           G02367      427094035500
HIGH ISLAND A‐475 #A018          HIA475A18           G02367      427094033100
HIGH ISLAND A‐489 #A009          HIA489A090          G02372      427094028500
HIGH ISLAND A‐489 #A015          HIA489A150          G02372      427094037000
HIGH ISLAND A‐489 #B002          HIA489B020          G02372      427094021000
HIGH ISLAND A‐489 #B003          HIA489B030          G02372      427094020901
HIGH ISLAND A‐489 #B005 ST       HIA489B050          G02372      427094024601
HIGH ISLAND A‐489 #B007          HIA489B070          G02372      427094027601
HIGH ISLAND A‐489 #B009          HIA489B090          G02372      427094026500
HIGH ISLAND A‐489 #B010          HIA489B100          G02372      427094028800
HIGH ISLAND A‐489 #B012          HIA489B120          G02372      427094031400
HIGH ISLAND A‐489 #B013          HIA489B130          G02372      427094028600
HIGH ISLAND A‐489 #B014          HIA489B140          G02372      427094029700
HIGH ISLAND A‐489 #B015          HIA489B150          G02372      427094030400
HIGH ISLAND A‐489 #B016          HIA489B160          G02372      427094029800
HIGH ISLAND A‐489 #B017          HIA489B170          G02372      427094023802
HIGH ISLAND A‐489 #B020          HIA489B200          G02372      427094028101
HIGH ISLAND A‐489 #B021          HIA489B210          G02372      427094026202
HIGH ISLAND A‐489 #B022          HIA489B220          G02372      427094036000
HIGH ISLAND A‐489 #B024          HIA489B240          G02372      427094035400
HIGH ISLAND A‐489 #B025          HIA489B250          G02372      427094041400
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Asset Name                    FWE Acct. Code   Lease Number        API
HIGH ISLAND A‐489 #B026       HIA489B260          G02372      427094043100
HIGH ISLAND A‐489 #B027       HIA489B270          G02372      427094042501
HIGH ISLAND A‐489 #B028       HIA489B280          G02372      427094054500
HIGH ISLAND A‐489 #B029       HIA489B290          G02372      427094111100
HIGH ISLAND A‐545 #JA001      HIA545JA01          G17199      427094104000
HIGH ISLAND A‐545 #JA002      HIA545JA02          G17199      427094112401
HIGH ISLAND A‐545 #JA003      HIA545JA03          G17199      427094113700
HIGH ISLAND A‐572 #A003 ST1   HIA572A031          G02392      427094012901
HIGH ISLAND A‐572(573)A014    HIA572A140          G02392      427094034100
HIGH ISLAND A‐573 #006        HIA5730060          G02393      427094053700
HIGH ISLAND A‐573 #A001 ST2   HIA573A012          G02393      427094007102
HIGH ISLAND A‐573 #A002 ST3   HIA573A023          G02393      427094013803
HIGH ISLAND A‐573 #A004       HIA573A040          G02393      427094015000
HIGH ISLAND A‐573 #A005 ST1   HIA573A051          G02393      427094015501
HIGH ISLAND A‐573 #A008       HIA573A080          G02393      427094018000
HIGH ISLAND A‐573 #A010       HIA573A100          G02393      427094020500
HIGH ISLAND A‐573 #A015       HIA573A150          G02393      427094034200
HIGH ISLAND A‐573 #A016       HIA573A160          G02393      427094034300
HIGH ISLAND A‐573 #A017       HIA573A170          G02393      427094036500
HIGH ISLAND A‐573 #A019 ST1   HIA573A191          G02393      427094038001
HIGH ISLAND A‐573 #B001       HIA573B010          G02393      427094012800
HIGH ISLAND A‐573 #B002       HIA573B020          G02393      427094014100
HIGH ISLAND A‐573 #B005       HIA573B050          G02393      427094016400
HIGH ISLAND A‐573 #B006       HIA573B060          G02393      427094017000
HIGH ISLAND A‐573 #B008       HIA573B080          G02393      427094017900
HIGH ISLAND A‐573 #B010       HIA573B100          G02393      427094021100
HIGH ISLAND A‐573 #B012       HIA573B120          G02393      427094022700
HIGH ISLAND A‐573 #E007       HIA573E070          G02393      427094098200
HIGH ISLAND A‐573 #E012       HIA573E120          G02393      427094115000
HIGH ISLAND A‐573 #F007       HIA573F070          G02393      427114061200
HIGH ISLAND A‐573 #F009       HIA573F090          G02393      427114062000
HIGH ISLAND A‐573 #F016 ST5   HIA573F165          G02393      427114066805
HIGH ISLAND A‐573 #F018 ST1   HIA573F181          G02393      427114067301
HIGH ISLAND A‐573 #F022       HIA573F220          G02393      427114068400
HIGH ISLAND A‐573 #F023 ST2   HIA573F232          G02393      427114069302
HIGH ISLAND A‐581 #D004       HIA581D040          G18959      427094112200
HIGH ISLAND A‐582 #C001       HIA582C010          G02719      427094061500
HIGH ISLAND A‐582 #C002       HIA582C020          G02719      427094061900
HIGH ISLAND A‐582 #C003       HIA582C030          G02719      427094058000
HIGH ISLAND A‐582 #C006       HIA582C060          G02719      427094063400
HIGH ISLAND A‐582 #C007       HIA582C070          G02719      427094063900
HIGH ISLAND A‐582 #C010       HIA582C100          G02719      427094070200
HIGH ISLAND A‐582 #C011       HIA582C110          G02719      427094071400
HIGH ISLAND A‐582 #C012       HIA582C120          G02719      427094074900
HIGH ISLAND A‐582 #C013       HIA582C130          G02719      427094072700
HIGH ISLAND A‐582 #C014       HIA582C140          G02719      427094073800
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Asset Name                    FWE Acct. Code   Lease Number        API
HIGH ISLAND A‐582 #C015       HIA582C150          G02719      427094075800
HIGH ISLAND A‐582 #C019       HIA582C190          G02719      427094108200
HIGH ISLAND A‐582 #D002 ST1   HIA582D021          G02719      427094110801
HIGH ISLAND A‐582 #D003 ST    HIA582D031          G02719      427094111401
HIGH ISLAND A‐582 #D005       HIA582D050          G02719      427094114300
HIGH ISLAND A‐582 #D006       HIA582D060          G02719      427094114700
HIGH ISLAND A‐595 #D001 ST2   HIA595D1D2          G02721      427094055302
HIGH ISLAND A‐595 #D003       HIA595D03           G02721      427094058500
HIGH ISLAND A‐595 #D005       HIA595D050          G02721      427094092900
HIGH ISLAND A‐595 #D006       HIA595D063          G02721      427094063205
HIGH ISLAND A‐595 #D010       HIA595D100          G02721      427094070500
HIGH ISLAND A‐595 #D012       HIA595D120          G02721      427094077000
HIGH ISLAND A‐595 #D017 ST2   HIA595D172          G02721      427094083702
HIGH ISLAND A‐595 #D018       HIA595D181          G02721      427094093501
HIGH ISLAND A‐595 #E011       HIA595E110          G02721      427094114501
HIGH ISLAND A‐596 #B014       HIA596B140          G02722      427094025800
HIGH ISLAND A‐596 #D002       HIA596D020          G02722      427094056901
HIGH ISLAND A‐596 #D004       HIA596D040          G02722      427094060500
HIGH ISLAND A‐596 #D007 ST4   HIA596D074          G02722      427094064304
HIGH ISLAND A‐596 #D008 ST1   HIA596D081          G02722      427094067001
HIGH ISLAND A‐596 #D009       HIA596D090          G02722      427094068400
HIGH ISLAND A‐596 #D011       HIA596D110          G02722      427094075700
HIGH ISLAND A‐596 #D013 ST2   HIA596D132          G02722      427094079502
HIGH ISLAND A‐596 #D014       HIA596D140          G02722      427094080100
HIGH ISLAND A‐596 #D016       HIA596D160          G02722      427094082400
HIGH ISLAND A‐596 #E005       HIA596E050          G02722      427094085900
HIGH ISLAND A‐596 #E008       HIA596E080          G02722      427094112801
HIGH ISLAND A‐596 #E009       HIA596E090          G02722      427094114200
MAIN PASS 077 #A001           MP077A0100          G04481      177254033800
MAIN PASS 077 #A002           MP077A0201          G04481      177254043101
MAIN PASS 077 #A003           MP077A0300          G04481      177254036100
MAIN PASS 077 #A004           MP077A0400          G04481      177254036900
MAIN PASS 077 #A005           MP077A0500          G04481      177254038000
MAIN PASS 077 #A006 ST2       MP077A0602          G04481      177254036402
MAIN PASS 077 #A010           MP077A1000          G04481      177254039600
MAIN PASS 077 #A011           MP077A1100          G04481      177254042400
MAIN PASS 077 #A012           MP077A1200          G04481      177254039700
MAIN PASS 077 #A013           MP077A1300          G04481      177254044900
MAIN PASS 077 #A014           MP077A1400          G04481      177254044500
MAIN PASS 077 #A015           MP077A1501          G04481      177254045101
MAIN PASS 077 #A016           MP077A1600          G04481      177254045900
MAIN PASS 077 #A017           MP077A1700          G04481      177254046200
MAIN PASS 077 #A018           MP077A1800          G04481      177254046800
MAIN PASS 077 #A019           MP077A1900          G04481      177254048200
MAIN PASS 077 #A020           MP077A2001          G04481      177254048501
MAIN PASS 077 #A021 ST        MP077A2100          G04481      177254067002
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Asset Name                  FWE Acct. Code   Lease Number        API
MAIN PASS 077 #A022         MP077A2201          G04481      177254067401
MAIN PASS 077 #A023         MP077A23            G04481      177254067601
MAIN PASS 077 #A07          MP077A0700          G04481      177254041000
MAIN PASS 077 #A08          MP077A0800          G04481      177254038200
MAIN PASS 077 #A09          MP077A0900          G04481      177254039000
MAIN PASS 091 #A001         MP091A0100          G14576      177254060600
MAIN PASS 091 #A002         MP091A0200          G14576      177254062200
MAIN PASS 091 #A003         MP091A0300          G14576      177254065000
MAIN PASS 140 #A001         MP140A0100          G02193      177254006400
MAIN PASS 140 #A002         MP140A0200          G02193      177254007700
MAIN PASS 140 #A003         MP140A0300          G02193      177254007800
MAIN PASS 140 #A004         MP140A0400          G02193      177254008200
MAIN PASS 140 #A005 ST1     MP140A0501          G02193      177254008301
MAIN PASS 140 #A008 ST2     MP140A0802          G02193      177254009202
MAIN PASS 140 #A009         MP140A0900          G02193      177254009400
MAIN PASS 140 #A010 ST2     MP140A1002          G02193      177254009502
MAIN PASS 140 #A011         MP140A1100          G02193      177254010000
MAIN PASS 140 #A012 ST2     MP140A1202          G02193      177254010102
MAIN PASS 140 #A013 ST1     MP140A1301          G02193      177254010401
MAIN PASS 140 #A014         MP140A1400          G02193      177254010500
MAIN PASS 140 #A015         MP140A1500          G02193      177254010600
MAIN PASS 140 #A016 ST3     MP140A1603          G02193      177254008603
MAIN PASS 140 #A017         MP140A1700          G02193      177254011000
MAIN PASS 140 #A018 ST3     MP140A1803          G02193      177254008803
MAIN PASS 140 #A020         MP140A2000          G02193      177254065700
MAIN PASS 140 #A021         MP140A2100          G02193      177254065500
MAIN PASS 140 #B001         MP140B0100          G02193      177254006600
MAIN PASS 140 #B003 ST1     MP140B0301          G02193      177254008001
MAIN PASS 140 #B004 ST3     MP140B0403          G02193      177254008103
MAIN PASS 140 #B007 ST1     MP140B0701          G02193      177254009001
MAIN PASS 140 #B008 ST2     MP140B0802          G02193      177254009102
MAIN PASS 140 #B011 ST1     MP140B1101          G02193      177254009801
MAIN PASS 140 #B012 ST2     MP140B1202          G02193      177254008902
MAIN PASS 140 #B013         MP140B1300          G02193      177254010200
MAIN PASS 140 #B014 ST      MP140B1401          G02193      177254010301
MAIN PASS 140 #B015 ST2     MP140B1502          G02193      177254010702
MAIN PASS 140 #B017         MP140B1701          G02193      177254010901
MAIN PASS 140 #B018         MP140B1800          G02193      177254062600
MAIN PASS 140 #B019         MP140B1900          G02193      177254063000
MAIN PASS 140 #B020         MP140B2000          G02193      177254063100
MAIN PASS 140 #B021 ST      MP140B2101          G02193      177254073301
MAIN PASS 140 #B022         MP140B2200          G02193      177254077300
MAIN PASS 140 #B023         MP140B2300          G02193      177254077500
MAIN PASS 152 #A015         MP152A1500          G01966      177232005300
MAIN PASS 152 #A020B        MP152A20B0          G01966      177232006200
MAIN PASS 152 #B004A        MP152B04A0          G01966      177254000900
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Asset Name                  FWE Acct. Code   Lease Number        API
MAIN PASS 152 #B012         MP152B1200          G01966      177254002700
MAIN PASS 152 #B015         MP152B1500          G01966      177254002300
MAIN PASS 152 #B020 ST      MP152B2002          G01966      177254002802
MAIN PASS 152 #B022A        MP152B22A0          G01966      177254003500
MAIN PASS 152 #B030         MP152B3000          G01966      177254004500
MAIN PASS 152 #B031A        MP152B31A0          G01966      177254004700
MAIN PASS 152 #C002         MP152C0200          G01966      177254040800
MAIN PASS 152 #C005         MP152C0500          G01966      177254042000
MAIN PASS 152 #C006         MP152C0600          G01966      177254042100
MAIN PASS 152 #C008         MP152C0800          G01966      177254042500
MAIN PASS 152 #C011         MP152C1100          G01966      177254043200
MAIN PASS 152 #C031         MP152C3100          G01966      177254048100
MAIN PASS 152 #C032         MP152C3200          G01966      177254049000
MAIN PASS 153 #A017B        MP153A17B0          G01967      177232005400
MAIN PASS 153 #B001         MP153B0100          G01967      177252010300
MAIN PASS 153 #B003A        MP153B03A0          G01967      177254000302
MAIN PASS 153 #B010 ST2     MP153B1002          G01967      177254001803
MAIN PASS 153 #B017         MP153B1700          G01967      177254002500
MAIN PASS 153 #B018         MP153B1800          G01967      177254002900
MAIN PASS 153 #B025         MP153B2500          G01967      177254004000
MAIN PASS 153 #B027         MP153B2700          G01967      177254004200
MAIN PASS 153 #C009         MP153C0900          G01967      177254042701
MAIN PASS 153 #C012         MP153C1200          G01967      177254043300
MAIN PASS 153 #C013 ST      MP153C1301          G01967      177254043501
MAIN PASS 153 #C014         MP153C1400          G01967      177254043902
MAIN PASS 153 #C017         MP153C1700          G01967      177254044200
MAIN PASS 153 #C018         MP153C1800          G01967      177254044300
MAIN PASS 153 #C020         MP153C2000          G01967      177254045400
MAIN PASS 153 #C021         MP153C2100          G01967      177254045500
MAIN PASS 153 #C024         MP153C2400          G01967      177254046100
MAIN PASS 153 #C026         MP153C2600          G01967      177254046900
MAIN PASS 153 #C027         MP153C2700          G01967      177254047400
MAIN PASS 153 #C028         MP153C2800          G01967      177254048400
MAIN PASS 153 #C029         MP153C2901          G01967      177254047501
MAIN PASS 153 #C030         MP153C3002          G01967      177254047802
MAIN PASS 259 #001          MP25900101          G07827      177244048801
MAIN PASS 259 #002          MP25900200          G07827      177244050000
MAIN PASS 259 #003          MP25900300          G07827      608164015800
MAIN PASS 259 #004          MP25900400          G07827      177244050500
MAIN PASS 259 #005          MP25900500          G07827      608164016400
MAIN PASS 259 #A001         MP259A0100          G07827      177244069700
MAIN PASS 259 #A002         MP259A0200          G07827      177244070200
MAIN PASS 259 #A003         MP259A0300          G07827      177244070800
MAIN PASS 259 #A004         MP259A0400          G07827      177244071000
MAIN PASS 259 #A005         MP259A0500          G07827      177244071300
MAIN PASS 259 #A006         MP259A0600          G07827      177244071600
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Asset Name                  FWE Acct. Code   Lease Number        API
MAIN PASS 259 #A007         MP259A0700          G07827      177244071800
MAIN PASS 259 #A008 ST1     MP259A0801          G07827      177244072401
MAIN PASS 259 #A010 ST1     MP259A1001          G07827      177244074601
MAIN PASS 259 #A011 ST1     MP259A1101          G07827      177244074901
MAIN PASS 259 #A012 ST1     MP259A1201          G07828      177244076801
MAIN PASS 275 #A001 ST1     MP275A0101          G15395      177244085701
MAIN PASS 275 #A002 ST1     MP275A0201          G15395      177244086101
MAIN PASS 275 #A003         MP275A0300          G15395      177244093300
MAIN PASS 289 #013          MP28901300          G01666      177244004700
MAIN PASS 289 #B001         MP289B0100          G01666      177240007800
MAIN PASS 289 #B005         MP289B0501          G01666      177240011701
MAIN PASS 289 #B014A        MP289B1400          G01666      177242000100
MAIN PASS 289 #B015         MP289B1500          G01666      177240014800
MAIN PASS 289 #B016 WIW     MP289B1600          G01666      177242003100
MAIN PASS 289 #B018 WIW     MP289B1800          G01666      177242003200
MAIN PASS 289 #C001         MP289C0100          G01666      177244048100
MAIN PASS 289 #C002         MP289C0200          G01666      177244047600
MAIN PASS 289 #C003A        MP289C0300          G01666      177244047800
MAIN PASS 289 #C004A        MP289C0402          G01666      177244047902
MAIN PASS 289 #C005         MP289C0500          G01666      177244048000
MAIN PASS 289 #C007         MP289C0700          G01666      177244048400
MAIN PASS 289 #C008         MP289C0800          G01666      177244048500
MAIN PASS 289 #C009         MP289C0901          G01666      177244048301
MAIN PASS 289 #C010         MP289C1000          G01666      177244048200
MAIN PASS 289 #C011         MP289C1100          G01666      177244048700
MAIN PASS 289 #C012         MP289C1203          G01666      177244049203
MAIN PASS 289 #C013 WSW     MP289C1300          G01666      177244052400
MAIN PASS 289 #C014         MP289C1400          G01666      177244049900
MAIN PASS 289 #C015         MP289C1500          G01666      177244048900
MAIN PASS 289 #C017         MP289C1700          G01666      177244053900
MAIN PASS 289 #C019         MP289C1900          G01666      177244049400
MAIN PASS 289 #C020         MP289C2000          G01666      177244050100
MAIN PASS 289 #C021         MP289C2100          G01666      177244049100
MAIN PASS 289 #C022 WIW     MP289C2200          G01666      177244049300
MAIN PASS 289 #C023         MP289C2301          G01666      177244053801
MAIN PASS 289 #C024         MP289C2401          G01666      177244051901
MAIN PASS 289 #C025 WIW     MP289C2500          G01666      177244051400
MAIN PASS 289 #C026         MP289C2600          G01666      177244052700
MAIN PASS 289 #C027         MP289C2700          G01666      177244053100
MAIN PASS 289 #C028         MP289C2801          G01666      177244051501
MAIN PASS 289 #C029D        MP289C29D1          G01666      177244051801
MAIN PASS 289 #C030         MP289C3000          G01666      177244053300
MAIN PASS 289 #C031         MP289C3100          G01666      177244090200
MAIN PASS 289 #C032         MP289C3200          G01666      177244090300
MAIN PASS 290 #C006         MP290C0600          G01667      177244050400
MAIN PASS 290 #C016         MP290C1600          G01667      177244051000
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Asset Name                     FWE Acct. Code   Lease Number        API
MAIN PASS 290 #C018 ST2        MP290C1802          G01667      177244051302
MAIN PASS 295 #001             MP29500100          G32263      177244097001
MAIN PASS 295 #003             MP29500300          G32263      177244097500
MAIN PASS 296 #B001            MP296B0100          G01673      177244022300
MAIN PASS 296 #B003            MP296B0300          G01673      177244022700
MAIN PASS 296 #B004            MP296B0400          G01673      177244022900
MAIN PASS 296 #B008            MP296B0800          G01673      177244023600
MAIN PASS 296 #B013 ST         MP296B1301          G01673      177244024501
MAIN PASS 296 #B014 ST1        MP296B1401          G01673      177244024401
MAIN PASS 296 #B018            MP296B1800          G01673      177244025300
MAIN PASS 296 #B019 ST2        MP296B1902          G01673      177244027302
MAIN PASS 296 #C001            MP296C0100          G01673      177244016100
MAIN PASS 296 #C002            MP296C0200          G01673      177244021100
MAIN PASS 296 #C004 ST3        MP296C0403          G01673      177244021403
MAIN PASS 296 #C005            MP296C0500          G01673      177244021700
MAIN PASS 296 #C006            MP296C0603          G01673      177244021503
MAIN PASS 296 #C007A           MP296C07A0          G01673      177244021600
MAIN PASS 296 #C013            MP296C1301          G01673      177244022401
MAIN PASS 296 #C014            MP296C1402          G01673      177244030702
MAIN PASS 296 #C015            MP296C1500          G01673      177244031300
MAIN PASS 296 #C018 ST         MP296C1801          G01673      177244089101
MAIN PASS 296 #C019            MP296C1900          G01673      177244089400
MAIN PASS 300 #B002            MP300B0200          G01317      177244067200
MAIN PASS 301 #A002            MP301A0200          G04486      177244034600
MAIN PASS 301 #A003            MP301A0300          G04486      177244035101
MAIN PASS 301 #A004            MP301A0400          G04486      177244039501
MAIN PASS 301 #B001            MP301B0100          G04486      177244063000
MAIN PASS 302 #B004            MP302B0400          G32264      177244018801
MAIN PASS 302 #B019            MP302B1900          G32264      177244097401
MAIN PASS 303 #A005D (MP310)   MP303A05D1          G04253      177244030600
MAIN PASS 303 #A017            MP303A1700          G04253      177244094700
MAIN PASS 303 #B005            MP303B0500          G04253      177244023000
MAIN PASS 303 #B007            MP303B0700          G04253      177244023400
MAIN PASS 303 #B009            MP303B0900          G04253      177244023800
MAIN PASS 303 #B015            MP303B1500          G04253      177244024800
MAIN PASS 304 #A007            MP304A0700          G03339      177244030800
MAIN PASS 304 #A009            MP304A0900          G03339      177244030500
MAIN PASS 304 #B012            MP304B1200          G03339      177244024300
MAIN PASS 308 #A001            MP308A0100          G32265      177244095600
MAIN PASS 308 #A002            MP308A0200          G32265      177244095700
MAIN PASS 308 #A003            MP308A0300          G32265      177244096500
MAIN PASS 308 #A004 ST         MP308A0401          G32265      177244096201
MAIN PASS 308 #A006            MP308A0600          G32265      177244095900
MAIN PASS 308 #A007            MP308A0700          G32265      177244096700
MAIN PASS 308 #A008            MP308A0801          G32265      177244096601
MAIN PASS 309 #A005            MP309A0500          G08760      177244096301
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Asset Name                  FWE Acct. Code   Lease Number        API
MAIN PASS 309 #A009         MP309A0900          G08760      177244096900
MAIN PASS 309 #JA001        MP309JA010          G08760      177244063500
MAIN PASS 309 #JA002        MP309JA200          G08760      177244064600
MAIN PASS 309 #JA006        MP309JA600          G08760      177244065100
MAIN PASS 309 #JA007        MP309JA700          G08760      177244065000
MAIN PASS 309 #JA008        MP309JA800          G08760      177244065200
MAIN PASS 309 #JA010        MP309JA100          G08760      177244072700
MAIN PASS 309 #JA05A        MP309JA5A0          G08760      177244064800
MAIN PASS 310 #A001         MP310A0100          G04126      177244028700
MAIN PASS 310 #A002 ST2     MP310A0202          G04126      177244029502
MAIN PASS 310 #A003         MP310A0301          G04126      177244029401
MAIN PASS 310 #A004         MP310A0400          G04126      177244030000
MAIN PASS 310 #A006         MP310A0603          G04126      177244030103
MAIN PASS 310 #A008A        MP310A0800          G04126      177244029700
MAIN PASS 310 #A010         MP310A1000          G04126      177244029800
MAIN PASS 310 #A011 ST      MP310A1102          G04126      177244041702
MAIN PASS 310 #A012         MP310A1200          G04126      177244041900
MAIN PASS 310 #A013         MP310A1300          G04126      177244042400
MAIN PASS 310 #A014         MP310A1401          G04126      177244042601
MAIN PASS 310 #A015         MP310A1500          G04126      177244042500
MAIN PASS 310 #A016 ST      MP310A1601          G04126      177244043301
MAIN PASS 310 #JA009        MP310JA902          G04126      177244065602
MAIN PASS 311 #A001         MP311A0100          G02213      177244013600
MAIN PASS 311 #A002         MP311A0200          G02213      177244013900
MAIN PASS 311 #A003         MP311A0300          G02213      177244014100
MAIN PASS 311 #A005         MP311A0500          G02213      177244014500
MAIN PASS 311 #A006         MP311A0600          G02213      177244014800
MAIN PASS 311 #A007         MP311A0700          G02213      177244014900
MAIN PASS 311 #A008         MP311A0800          G02213      177244015200
MAIN PASS 311 #A009         MP311A0900          G02213      177244015300
MAIN PASS 311 #A010         MP311A1000          G02213      177244015500
MAIN PASS 311 #A011A        MP311A1100          G02213      177244016400
MAIN PASS 311 #A012         MP311A1200          G02213      177244016300
MAIN PASS 311 #A013         MP311A1301          G02213      177244017202
MAIN PASS 311 #A014         MP311A1400          G02213      177244017800
MAIN PASS 311 #A015         MP311A1500          G02213      177244017600
MAIN PASS 311 #A016         MP311A1600          G02213      177244018000
MAIN PASS 311 #A017         MP311A1700          G02213      177244017900
MAIN PASS 311 #A020 ST      MP311A2001          G02213      177244089301
MAIN PASS 311 #A024         MP311A2400          G02213      177244096400
MAIN PASS 311 #B001         MP311B0100          G02213      177244015900
MAIN PASS 311 #B002D        MP311B02D0          G02213      177244018300
MAIN PASS 311 #B006         MP311B0600          G02213      177244019200
MAIN PASS 311 #B007         MP311B0700          G02213      177244019300
MAIN PASS 311 #B008         MP311B0801          G02213      177244019001
MAIN PASS 311 #B009         MP311B0900          G02213      177244019400
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Asset Name                       FWE Acct. Code   Lease Number        API
MAIN PASS 311 #B010              MP311B1000          G02213      177244019500
MAIN PASS 311 #B012              MP311B1200          G02213      177244020001
MAIN PASS 311 #B013D             MP311B13D0          G02213      177244035600
MAIN PASS 311 #B014              MP311B1401          G02213      177244036201
MAIN PASS 311 #B015              MP311B1500          G02213      177244036700
MAIN PASS 311 #B017              MP311B1700          G02213      177244036400
MAIN PASS 311 #B018 ST           MP311B1801          G02213      177244089201
MAIN PASS 312 #A021              MP312A2100          G16520      177244093200
MAIN PASS 312 #A022              MP312A2200          G16520      177244093400
MAIN PASS 314 #A023 (MP311A)     MP314A2300          G33693      177244096100
MAIN PASS 315 #JA003 ST          MP315JA302          G08467      177244064502
MAIN PASS 315 #JA004             MP315JA400          G08467      177244064700
MAIN PASS 315 #SS002             MP31500200          G08467      177244095500
MATAGORDA IS 519 #L001           MI519L1SL0         MF-79413     427033030000
MATAGORDA IS 519 #L002           MI519L2SL0         MF-79413     427033034000
MATAGORDA IS 519 #L003           MI519L3SL0         MF-79413     427033039500
MATAGORDA IS 519 #L004           MI519L4SL0         MF-79413     427033039700
MATAGORDA IS 622 #C001           MI622C01               G05000   427034013800
MATAGORDA IS 622 #C002 ST1       MI622C0201             G05000   427034018901
MATAGORDA IS 622 #C008           MI622C0800             G05000   427034052700
MATAGORDA IS 622 #D001           MI622D0100             G05000   427034048400
MATAGORDA IS 622 #D003           MI622D0300             G05000   427034053000
MATAGORDA IS 622 #D004           MI622D0400             G05000   427034054700
MATAGORDA IS 622 #G002           MI622G0200             G05000   427034053700
MATAGORDA IS 623 #B001           MI623B0100             G03088   427034010600
MATAGORDA IS 623 #B003 ST1       MI623B0301             G03088   427034014401
MATAGORDA IS 623 #B006           MI623B0600             G03088   427034018400
MATAGORDA IS 623 #B008           MI623B0800             G03088   427034051300
MATAGORDA IS 623 #C007           MI623C0700             G03088   427034052400
MATAGORDA IS 623 #F002           MI623F0200             G03088   427034051100
MATAGORDA IS 623 #F003           MI623F0300             G03088   427034053800
MATAGORDA IS 623 #H001 (#6)      MI623H0100             G03088   427034058100
MATAGORDA IS 623 #H002 (#7)      MI623H0200             G03088   427034058200
MATAGORDA IS 623(622) #C004      MI623C0400             G05000   427034021400
MATAGORDA IS 635 #F001           MI635F0100             G06043   427034048800
MISSISSIPPI CANYON 065 #B004     MC065B0400             G21742   608174106300
MISSISSIPPI CANYON 065 #B015     MC065B1500             G21742   608174111500
MISSISSIPPI CANYON 108 #A027     MC108A2703             G09777   608174045703
MISSISSIPPI CANYON 108 #A032     MC108A3203             G09777   608174088503
MISSISSIPPI CANYON 110 #001      MC1100100              G18192   608174060500
MISSISSIPPI CANYON 110 #A009     MC110A0900             G18192   608174042501
MISSISSIPPI CANYON 110 #A011ST   MC110A1101             G18192   608174042801
MISSISSIPPI CANYON 110 #A031     MC110A3100             G18192   608174087900
MISSISSIPPI CANYON 311 #A001ST   MC311A0102             G02968   608174006502
MISSISSIPPI CANYON 311 #A005     MC311A0500             G02968   608174011700
MISSISSIPPI CANYON 311 #A006ST   MC311A0601             G02968   608174010901
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Asset Name                       FWE Acct. Code   Lease Number        API
MISSISSIPPI CANYON 311 #A011ST   MC311A1101          G02968      608174014201
MISSISSIPPI CANYON 311 #A012     MC311A1200          G02968      608174015000
MISSISSIPPI CANYON 311 #A013     MC311A1300          G02968      608174015600
MISSISSIPPI CANYON 311 #A014     MC311A1400          G02968      608174016200
MISSISSIPPI CANYON 311 #A015ST   MC311A1501          G02968      608174017801
MISSISSIPPI CANYON 311 #A016     MC311A1600          G02968      608174016300
MISSISSIPPI CANYON 311 #A020ST   MC311A2001          G02968      608174033901
MISSISSIPPI CANYON 311 #A022ST   MC311A2201          G02968      608174034801
MISSISSIPPI CANYON 311 #A024ST   MC311A2401          G02968      608174035301
MOBILE 826 #001                  MO826D0100          G26176      608154014900
NORTH PADRE IS 969 #A001         PN969A0100          G05953      427134003400
NORTH PADRE IS 969 #A004         PN969A0400          G05953      427134005600
NORTH PADRE IS 969 #A006         PN969A0600          G05953      427134005700
NORTH PADRE IS 969 #A007         PN969A0700          G05953      427134005800
NORTH PADRE IS 969 #JA002        PN969JA020          G05953      427014003000
NORTH PADRE IS 976 #A002         PN976A0200          G05954      427134005000
NORTH PADRE IS 976 #A003         PN976A03            G05954      427134005101
NORTH PADRE IS 976 #A005         PN976A0500          G05954      427134005500
NORTH PADRE IS 976 #A008         PN976A0800          G05954      427134005900
NORTH PADRE IS 976 #A009         PN976A0900          G05954      427134006000
SHIP SHOAL 030 #011              SS03001100           00333      177114093000
SHIP SHOAL 030 #013              SS03001300           00333      177114109400
SHIP SHOAL 030 #014D             SS030014D0           00333      177114111900
SHIP SHOAL 030 #A001             SS030A0100           00333      177114113000
SHIP SHOAL 032 #024              SS03202401           00335      177114131701
SHIP SHOAL 033 #005              SS03300500           00336      177114030900
SHIP SHOAL 068 #002 ST1          SS06800201          G02917      177114096701
SHIP SHOAL 068 #003              SS06800301          G02925      177114101301
SHIP SHOAL 068 #004              SS06800402          G02917      177114101802
SHIP SHOAL 068 #005 ST1          SS06800501          G02917      177114101401
SHIP SHOAL 068 #009              SS06800900          G02917      177114126000
SHIP SHOAL 068 #010              SS06801000          G02917      177114135200
SHIP SHOAL 068 #G001 (ORR)       SS068G0100          G02917      177114119400
SHIP SHOAL 068 #G002             SS068G0200          G02917      177114121200
SHIP SHOAL 091 #A001             SS091A0100          G02919      177114044300
SHIP SHOAL 091 #A003             SS091A0300          G02919      177114056800
SHIP SHOAL 091 #A004 ST1         SS091A0401          G02919      177114062501
SHIP SHOAL 091 #A005 ST1         SS091A0501          G02919      177114058201
SHIP SHOAL 091 #A006 ST2         SS091A0602          G02919      177114059202
SHIP SHOAL 091 #B001 ST1         SS091B0101          G02919      177114066401
SHIP SHOAL 091 #B002 ST1         SS091B0201          G02919      177114065701
SHIP SHOAL 091 #B003             SS091B0300          G02919      177114068400
SHIP SHOAL 091 #B004 ST1         SS091B0401          G02919      177114072101
SHIP SHOAL 091 #B005             SS091B0500          G02919      177114110800
SHIP SHOAL 105 #007              SS10500700          G09614      177114130800
SHIP SHOAL 105 #A001 ST1         SS105A0101          G09614      177114124501
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Asset Name                    FWE Acct. Code   Lease Number        API
SHIP SHOAL 105 #B004          SS105B0400          G09614      177114122400
SHIP SHOAL 105 #B006          SS105B0600          G09614      177114130201
SHIP SHOAL 126 #B001          SS126B0100          G12940      177114121000
SHIP SHOAL 126 #B002          SS126B0200          G12940      177114134203
SHIP SHOAL 126 #B003 ST1      SS126B0301          G12940      177114135401
SHIP SHOAL 129 #A002 ST1      SS129A0201          G12941      177114117201
SHIP SHOAL 129 #A003          SS129A0300          G12941      177114120100
SHIP SHOAL 129 #B001 ST1      SS129B0101          G12941      177114135301
SHIP SHOAL 129 #B002 ST1      SS129B0201          G12941      177114145501
SHIP SHOAL 129 #L001          SS129L0100          G12941      177114150000
SHIP SHOAL 129 #L002          SS129L0200          G12941      177114150300
SHIP SHOAL 145 #E001          SS145E01            G34831      177114140501
SHIP SHOAL 151 #A001 (ORRI)   SS151A0100          G15282      177114125702
SHIP SHOAL 151 #A002 (ORRI)   SS151A0200          G15282      177114154300
SHIP SHOAL 159 #001           SS15900100          G11984      177114143701
SHIP SHOAL 169 #BB001         SS169BB010           00820      177114048100
SHIP SHOAL 169 #BB002         SS169BB020           00820      177114055501
SHIP SHOAL 169 #BB003         SS169BB030           00820      177114057800
SHIP SHOAL 169 #BB004         SS169BB040           00820      177114056500
SHIP SHOAL 169 #BB005         SS169BB050           00820      177114059600
SHIP SHOAL 169 #BB006         SS169BB060           00820      177114060101
SHIP SHOAL 169 #C001          SS169C0100           00820      177114075600
SHIP SHOAL 169 #C003          SS169C0300           00820      177114078500
SHIP SHOAL 169 #C004          SS169C0400           00820      177114077400
SHIP SHOAL 169 #C006          SS169C0600           00820      177114080201
SHIP SHOAL 169 #C007          SS169C0700           00820      177114080601
SHIP SHOAL 169 #C008          SS169C0800           00820      177114081300
SHIP SHOAL 169 #C009          SS169C0900           00820      177114144400
SHIP SHOAL 169 #C010          SS169C1000           00820      177114144800
SHIP SHOAL 169 #G001          SS169G0100           00820      177114127400
SHIP SHOAL 169 #G002          SS169G0200           00820      177114128500
SHIP SHOAL 169 #G003          SS169G0300           00820      177114156600
SHIP SHOAL 175 #A004          SS175A0400          G05550      177094078900
SHIP SHOAL 176 #001           SS17600100          G33646      177114155400
SHIP SHOAL 178 #A001          SS178A0100          G05551      177114076800
SHIP SHOAL 178 #A002A         SS178A0200          G05551      177114080800
SHIP SHOAL 178 #A003          SS178A0302          G05551      177114081902
SHIP SHOAL 178 #A004          SS178A0400          G05551      177114082900
SHIP SHOAL 178 #A005          SS178A0500          G05551      177114082300
SHIP SHOAL 178 #A006          SS178A0600          G05551      177114113900
SHIP SHOAL 182 #A001          SS182A0100          G03998      177114059400
SHIP SHOAL 182 #A002 ST1      SS182A0201          G03998      177114060601
SHIP SHOAL 182 #A003          SS182A0300          G03998      177114063100
SHIP SHOAL 182 #A004          SS182A0400          G03998      177114065500
SHIP SHOAL 182 #B001          SS182B0101          G03998      177114066001
SHIP SHOAL 182 #B002          SS182B0201          G03998      177114074501
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Asset Name                    FWE Acct. Code   Lease Number        API
SHIP SHOAL 182 #B003 ST2      SS182B0402          G03998      177114090502
SHIP SHOAL 182 #B004          SS182B0400          G03998      177114090800
SHIP SHOAL 182 #B005          SS182B0500          G03998      177114113600
SHIP SHOAL 182 #B006          SS182B0600          G03998      177114130500
SHIP SHOAL 182 #C001D ST1     SS182C01D0          G03998      177114087501
SHIP SHOAL 182 #C002          SS182C0200          G03998      177114088500
SHIP SHOAL 182 #C003          SS182C0300          G03998      177114087800
SHIP SHOAL 182 #C004          SS182C0400          G03998      177114132000
SHIP SHOAL 189 #A001A         SS189A01A0          G04232      177114062000
SHIP SHOAL 189 #A002          SS189A0201          G04232      177114085301
SHIP SHOAL 189 #A003A         SS189A03A0          G04232      177114085200
SHIP SHOAL 189 #A005          SS189A0500          G04232      177114088400
SHIP SHOAL 189 #A007 ST2      SS189A0702          G04232      177114129502
SHIP SHOAL 189 #A008          SS189A0800          G04232      177114130900
SHIP SHOAL 189 #A009 ST1      SS189A0901          G04232      177114139801
SHIP SHOAL 189 #A010BP1       SS189A1001          G04232      177114154701
SHIP SHOAL 189 #A4 (SS210)    SS189A04            G05204      177114086801
SHIP SHOAL 189 #A6 (SS188)    SS189A06            G05203      177114088900
SHIP SHOAL 189 #B001 (ORRI)   SS189B0100          G04232      177114151001
SHIP SHOAL 189 #B002 (ORRI)   SS189B0200          G04232      177114152300
SHIP SHOAL 189 #C001          SS189C0101          G04232      177114153901
SHIP SHOAL 189 #D001          SS189D0100          G04232      177114154402
SHIP SHOAL 190 #B001 ST2      SS190B0103          G10775      177114114803
SHIP SHOAL 190 #B002          SS190B0200          G10775      177114134700
SHIP SHOAL 193 #A001 ST1      SS193A0101          G13917      177114112301
SHIP SHOAL 193 #A002 ST1      SS193A0201          G13917      177114112601
SHIP SHOAL 193 #A003          SS193A0300          G13917      177114115300
SHIP SHOAL 193 #A004 ST1      SS193A0401          G13917      177114116001
SHIP SHOAL 193 #A005 ST1      SS193A0501          G13917      177114117301
SHIP SHOAL 193 #A006 ST5      SS193A0605          G13917      177114123005
SHIP SHOAL 193 #A007 ST1      SS193A0701          G13917      177114139501
SHIP SHOAL 193 #M001          SS193M0100          G13917      177114148500
SHIP SHOAL 194 #A001          SS194A0100          G15288      177114121300
SHIP SHOAL 194 #A002 ST1      SS194A0201          G15288      177114121701
SHIP SHOAL 198 #J011          SS198J1100           00593      177114147800
SHIP SHOAL 204 #A008          SS204A0800          G01520      177110083000
SHIP SHOAL 204 #A015 ST1      SS204A1501          G01520      177112003401
SHIP SHOAL 204 #A016          SS204A1601          G01520      177112005401
SHIP SHOAL 204 #A020          SS204A2000          G01520      177112012600
SHIP SHOAL 204 #A024 ST1      SS204A2401          G01520      177112017701
SHIP SHOAL 204 #A028 ST3      SS204A2803          G01520      177110071003
SHIP SHOAL 204 #A030A         SS204A30A1          G01520      177114002801
SHIP SHOAL 204 #A031          SS204A3101          G01520      177110084201
SHIP SHOAL 204 #A034          SS204A3400          G01520      177114146700
SHIP SHOAL 204 #A035          SS204A3502          G01520      177114147402
SHIP SHOAL 204 #A036 ST1      SS204A3603          G01520      177114146803
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Asset Name                  FWE Acct. Code   Lease Number        API
SHIP SHOAL 206 #E002        SS206E0201          G01522      177114118101
SHIP SHOAL 206 #E003        SS206E0301          G01522      177114118201
SHIP SHOAL 206 #E004        SS206E0400          G01522      177114141800
SHIP SHOAL 206 #E005        SS206E0500          G01522      177114142000
SHIP SHOAL 207 #A003 ST1    SS207A0301          G01523      177110072801
SHIP SHOAL 207 #A004B       SS207A04B0          G01523      177110075500
SHIP SHOAL 207 #A006D       SS207A06D0          G01523      177110078200
SHIP SHOAL 207 #A008B       SS207A08B0          G01523      177110080700
SHIP SHOAL 207 #A009        SS207A0900          G01523      177110082400
SHIP SHOAL 207 #A010D       SS207A10D0          G01523      177110083900
SHIP SHOAL 207 #A013        SS207A1300          G01523      177112002500
SHIP SHOAL 207 #A015 ST1    SS207A1501          G01523      177112010601
SHIP SHOAL 207 #A016 ST1    SS207A1601          G01523      177112011401
SHIP SHOAL 207 #A018        SS207A1800          G01523      177112005000
SHIP SHOAL 207 #A019ST      SS207A1901          G01523      177114009401
SHIP SHOAL 207 #A020        SS207A2000          G01523      177114010300
SHIP SHOAL 207 #A022 ST1    SS207A2201          G01523      177114011301
SHIP SHOAL 207 #A023B       SS207A23B0          G01523      177114013500
SHIP SHOAL 207 #A024        SS207A2400          G01523      177114014300
SHIP SHOAL 207 #A025        SS207A2500          G01523      177114015500
SHIP SHOAL 207 #A026        SS207A2601          G01523      177112001101
SHIP SHOAL 207 #A027        SS207A2701          G01523      177110079401
SHIP SHOAL 207 #A028        SS207A2801          G01523      177110077301
SHIP SHOAL 207 #A029 ST     SS207A2901          G01523      177112001901
SHIP SHOAL 207 #A030        SS207A3001          G01523      177110071501
SHIP SHOAL 207 #A031 ST2    SS207A3102          G01523      177114117702
SHIP SHOAL 207 #A032        SS207A3201          G01523      177114119701
SHIP SHOAL 207 #A033 ST1    SS207A3301          G01523      177114121901
SHIP SHOAL 207 #A034        SS207A3400          G01523      177114122200
SHIP SHOAL 207 #A035 ST1    SS207A3501          G01523      177114133301
SHIP SHOAL 207 #A036        SS207A3600          G01523      177114137700
SHIP SHOAL 207 #D002        SS207D0200          G01523      177114025400
SHIP SHOAL 207 #D007        SS207D0700          G01523      177114030300
SHIP SHOAL 207 #D008        SS207D0800          G01523      177114032300
SHIP SHOAL 207 #D009        SS207D0900          G01523      177114116400
SHIP SHOAL 207 #D010 ST1    SS207D1001          G01523      177114116501
SHIP SHOAL 216 #C004 ST1    SS216C0401          G01524      177112014901
SHIP SHOAL 216 #C005A       SS216C05A0          G01524      177112017400
SHIP SHOAL 216 #C007 ST1    SS216C0701          G01524      177114001201
SHIP SHOAL 216 #C009 ST1    SS216C0901          G01524      177114003801
SHIP SHOAL 216 #C010        SS216C1000          G01524      177114004900
SHIP SHOAL 216 #C012C       SS216C12C0          G01524      177114006700
SHIP SHOAL 216 #C013        SS216C1300          G01524      177114007700
SHIP SHOAL 216 #C015        SS216C1500          G01524      177114009000
SHIP SHOAL 216 #C016        SS216C1601          G01524      177114000101
SHIP SHOAL 216 #C017A       SS216C17A1          G01524      177114003001
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Asset Name                    FWE Acct. Code   Lease Number        API
SHIP SHOAL 216 #C019          SS216C1900          G01524      177114031900
SHIP SHOAL 216 #C023          SS216C2300          G01524      177114134600
SHIP SHOAL 216 #C024 ST2      SS216C2402          G01524      177114135102
SHIP SHOAL 243 #A001 (ORRI)   SS243A0100          G10780      177124051700
SHIP SHOAL 243 #A004 (ORRI)   SS243A0400          G10780      177124059402
SHIP SHOAL 243 #A006 (ORRI)   SS243A0600          G10780      177124064901
SHIP SHOAL 249 #D017          SS249D1700          G01030      177124020800
SHIP SHOAL 259 #001           SS25900100          G05044      177124028500
SHIP SHOAL 259 #JA001 ST2     SS259JA102          G05044      177124035002
SHIP SHOAL 259 #JA002         SS259JA201          G05044      177124035301
SHIP SHOAL 259 #JA003 ST2     SS259JA302          G05044      177124035402
SHIP SHOAL 259 #JA004         SS259JA400          G05044      177124035600
SHIP SHOAL 259 #JA005 ST1     SS259JA501          G05044      177124035801
SHIP SHOAL 259 #JA006         SS259JA600          G05044      177124035900
SHIP SHOAL 259 #JA007         SS259JA700          G05044      177124064200
SHIP SHOAL 259 #JA008 ST2     SS259JA802          G05044      177124064402
SHIP SHOAL 259 #JA009         SS259JA900          G05044      177124064500
SHIP SHOAL 259 #JA010 ST1     SS259JA101          G05044      177124065501
SHIP SHOAL 274 #A001          SS274A0100          G01039      177120001500
SHIP SHOAL 274 #A002          SS274A0200          G01039      177120001600
SHIP SHOAL 274 #A003          SS274A0300          G01039      177120001700
SHIP SHOAL 274 #A004          SS274A0400          G01039      177120001800
SHIP SHOAL 274 #A006          SS274A0601          G01039      177120002001
SHIP SHOAL 274 #A008          SS274A0800          G01039      177120002200
SHIP SHOAL 274 #A010          SS274A1001          G01039      177120002401
SHIP SHOAL 274 #A012          SS274A1201          G01039      177120002601
SHIP SHOAL 274 #A013          SS274A1300          G01039      177120002700
SHIP SHOAL 274 #A014          SS274A1403          G01039      177120001903
SHIP SHOAL 274 #A016          SS274A1602          G01039      177120010202
SHIP SHOAL 274 #C001          SS274C0100          G01039      177124038900
SHIP SHOAL 274 #C002          SS274C0200          G01039      177124038800
SHIP SHOAL 274 #C003          SS274C0300          G01039      177124039000
SHIP SHOAL 274 #C004          SS274C0400          G01039      177124039100
SHIP SHOAL 274 #C005 WIW      SS274C0500          G01039      177124039200
SHIP SHOAL 274 #C006 WSW      SS274C0600          G01039      177124039300
SHIP SHOAL 274 #C007          SS274C0700          G01039      177124039900
SHIP SHOAL 274 #C008          SS274C0800          G01039      177124040300
SHIP SHOAL 274 #C009          SS274C0900          G01039      177124040200
SHIP SHOAL 274 #C010 WIW      SS274C1000          G01039      177124040000
SHIP SHOAL 274 #C011          SS274C1100          G01039      177124040100
SHIP SHOAL 274 #C012          SS274C1200          G01039      177124040700
SHIP SHOAL 274 #C013          SS274C1300          G01039      177124040800
SHIP SHOAL 274 #C014          SS274C1400          G01039      177124040900
SHIP SHOAL 274 #C015          SS274C1500          G01039      177124041400
SHIP SHOAL 274 #C016          SS274C1600          G01039      177124041300
SHIP SHOAL 274 #C017          SS274C1701          G01039      177124041501
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Asset Name                       FWE Acct. Code   Lease Number        API
SHIP SHOAL 274 #C018             SS274C1800          G01039      177124041800
SHIP SHOAL 274 #C019 WSW         SS274C1900          G01039      177124042000
SHIP SHOAL 274 #C020             SS274C2000          G01039      177124041900
SHIP SHOAL 274 #C021             SS274C2100          G01039      177124042600
SHIP SHOAL 274 #C022             SS274C2201          G01039      177124056102
SHIP SHOAL 274 #C023             SS274C2300          G01039      177124059600
SHIP SHOAL 274 #C024             SS274C2400          G01039      177124060100
SHIP SHOAL 276 #A6               ‐                   G10785      177124042500
SHIP SHOAL 276 #A7               ‐                   G10785      177124043000
SHIP SHOAL 314 #A002             SS314A0200          G26074      177124047202
SHIP SHOAL 314 #A004 (ORRI)      SS314A0400          G26074      177124047502
SHIP SHOAL 354 #A001 ST2         SS354A0102          G15312      177124055202
SHIP SHOAL 354 #A002 ST2         SS354A0202          G15312      177124056002
SHIP SHOAL 354 #A003 ST1         SS354A0301          G15312      177124057901
SHIP SHOAL 354 #A004 ST1         SS354A0401          G15312      177124057701
SHIP SHOAL 354 #A005             SS354A0500          G15312      177124065600
SHIP SHOAL 354 #A006             SS354A0600          G15312      177124066000
SHIP SHOAL 354 #A007 ST1         SS354A0701          G15312      177124066101
SHIP SHOAL 354 #A008             SS354A0800          G15312      177124066200
SHIP SHOAL206#E001(SS207E1       SS207E0100          G01523      177114115500
SOUTH MARSH IS 010 #004          SM01000400          G01181      177074089700
SOUTH MARSH IS 010 #A002         SM010A0200          G01181      177070050200
SOUTH MARSH IS 010 #A003         SM010A0300          G01181      177074043200
SOUTH MARSH IS 010 #A004         SM010A0400          G01181      177070050600
SOUTH MARSH IS 010 #A007         SM010A0700          G01181      177070051300
SOUTH MARSH IS 010 #A008         SM010A0800          G01181      177070052100
SOUTH MARSH IS 010 #A009E        SM010A09E0          G01181      177072000000
SOUTH MARSH IS 010 #A011         SM010A1100          G01181      177072000500
SOUTH MARSH IS 010 #A012         SM010A1200          G01181      177072001100
SOUTH MARSH IS 010 #A013 ST1     SM010A1301          G01181      177072000401
SOUTH MARSH IS 010 #A017         SM010A1700          G01181      177074032300
SOUTH MARSH IS 010 #A019         SM010A1901          G01181      177074046301
SOUTH MARSH IS 010 #A021         SM010A2100          G01181      177074075200
SOUTH MARSH IS 011 #034          SM01103400          G01182      177072004300
SOUTH MARSH IS 011 #058 BP2      SM01105802          G01182      177074090702
SOUTH MARSH IS 018 #A001 ST1     SM018A0101          G08680      177074057701
SOUTH MARSH IS 018 #A002         SM018A0200          G08680      177074064900
SOUTH MARSH IS 018 #A003         SM018A0300          G08680      177074070300
SOUTH MARSH IS 048 #E002         SM048E0201           00786      177072002801
SOUTH MARSH IS 048 #E003 ST1BP   SM048E0302           00786      177072003302
SOUTH MARSH IS 048 #E004         SM048E0401           00786      177072004001
SOUTH MARSH IS 048 #E005         SM048E005            00786      177072004800
SOUTH MARSH IS 048 #E007         SM048E07             00786      177074092300
SOUTH MARSH IS 066 #C001         SM066C0100          G01198      177070041200
SOUTH MARSH IS 066 #C002         SM066C0200          G01198      177070049000
SOUTH MARSH IS 066 #C003         SM066C0300          G01198      177074005800
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Asset Name                       FWE Acct. Code   Lease Number        API
SOUTH MARSH IS 066 #C004         SM066C0400          G01198      177070050000
SOUTH MARSH IS 066 #C005         SM066C0500          G01198      177070050700
SOUTH MARSH IS 066 #C006         SM066C0600          G01198      177072018700
SOUTH MARSH IS 066 #C007         SM066C0700          G01198      177070052800
SOUTH MARSH IS 066 #C009B        SM066C09B0          G01198      177072001200
SOUTH MARSH IS 066 #C010 ST2     SM066C1002          G01198      177072002502
SOUTH MARSH IS 066 #C011         SM066C1100          G01198      177074072900
SOUTH MARSH IS 066 #C012         SM066C1200          G01198      177074073500
SOUTH MARSH IS 066 #D001         SM066D0100          G01198      177074025400
SOUTH MARSH IS 066 #D003         SM066D0300          G01198      177074029000
SOUTH MARSH IS 066 #D004         SM066D0400          G01198      177074032000
SOUTH MARSH IS 066 #D005         SM066D0500          G01198      177074032600
SOUTH MARSH IS 066 #D006 ST      SM066D0601          G01198      177074031201
SOUTH MARSH IS 066 #D007 ST1BP   SM066D0701          G01198      177074027401
SOUTH MARSH IS 076 #F001 BP2     SM076F0102          G01208      177084095402
SOUTH MARSH IS 076 #F002         SM076F0200          G01208      177084095500
SOUTH MARSH IS 105 #A001         SM105A0100          G17938      177084089700
SOUTH MARSH IS 105 #A002 ST1     SM105A0201          G17938      177084089901
SOUTH MARSH IS 106 #A001N        SM106A01N0          G03776      177084038200
SOUTH MARSH IS 106 #A002 ST      SM106A02N1          G03776      177084038701
SOUTH MARSH IS 106 #A003N        SM106A03N0          G03776      177084039100
SOUTH MARSH IS 106 #A004         SM106A04N0          G03776      177084040600
SOUTH MARSH IS 106 #A005 ST2     SM106A05N2          G03776      177084047202
SOUTH MARSH IS 106 #A006 ST1     SM106A06N1          G03776      177084048401
SOUTH MARSH IS 106 #A007         SM106A07N0          G03776      177084048600
SOUTH MARSH IS 106 #A008         SM106A08N0          G03776      177084049100
SOUTH MARSH IS 106 #A009 ST1     SM106A09N1          G03776      177084049801
SOUTH MARSH IS 106 #A010         SM106A10N0          G03776      177084051300
SOUTH MARSH IS 106 #A011 ST2     SM106A11N2          G03776      177084052302
SOUTH MARSH IS 106 #A013         SM106A13N0          G03776      177084081200
SOUTH MARSH IS 106 #A014         SM106A14N0          G03776      177084082000
SOUTH MARSH IS 106 #A015         SM106A15N0          G03776      177084082600
SOUTH MARSH IS 106 #A016         SM106A16N0          G03776      177084082700
SOUTH MARSH IS 106 #A017         SM106A17N0          G03776      177084082800
SOUTH MARSH IS 106 #A020         SM106A20S0          G02279      177084082200
SOUTH MARSH IS 106#A012ST2       SM106A12S2          G02279      177084053602
SOUTH MARSH IS 108 #A018         SM108A1800           00792      177084094500
SOUTH MARSH IS 127 #B011         SM127B1100          G02883      177084015800
SOUTH MARSH IS 127 #B017         SM127B17S1          G02883      177084025801
SOUTH MARSH IS 127 #B022 ST1     SM127B2201          G02883      177084078501
SOUTH MARSH IS 128 #A002         SM128A0200          G02587      177084014300
SOUTH MARSH IS 128 #A003         SM128A0300          G02587      177084013400
SOUTH MARSH IS 128 #A004C ST1    SM128A04C1          G02587      177084014601
SOUTH MARSH IS 128 #A005         SM128A0500          G02587      177084015000
SOUTH MARSH IS 128 #A006 ST1     SM128A0601          G02587      177084016101
SOUTH MARSH IS 128 #A007         SM128A0700          G02587      177084015500
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Asset Name                     FWE Acct. Code   Lease Number        API
SOUTH MARSH IS 128 #A009       SM128A0900          G02587      177084019100
SOUTH MARSH IS 128 #A010       SM128A1002          G02587      177084019302
SOUTH MARSH IS 128 #A011 ST3   SM128A1103          G02587      177084017103
SOUTH MARSH IS 128 #A012       SM128A1200          G02587      177084023600
SOUTH MARSH IS 128 #A013 ST2   SM128A1302          G02587      177084024002
SOUTH MARSH IS 128 #A014       SM128A1400          G02587      177084026100
SOUTH MARSH IS 128 #A015 ST2   SM128A1502          G02587      177084012902
SOUTH MARSH IS 128 #A016 ST1   SM128A1601          G02587      177084033301
SOUTH MARSH IS 128 #A017 ST1   SM128A1702          G02587      177084028202
SOUTH MARSH IS 128 #A018       SM128A1800          G02587      177084030300
SOUTH MARSH IS 128 #A019       SM128A1900          G02587      177084035100
SOUTH MARSH IS 128 #A021       SM128A2100          G02587      177084035200
SOUTH MARSH IS 128 #A022 ST2   SM128A2202          G02587      177084034402
SOUTH MARSH IS 128 #A023 ST1   SM128A2301          G02587      177084037601
SOUTH MARSH IS 128 #A024       SM128A2400          G02587      177084039700
SOUTH MARSH IS 128 #A025       SM128A2500          G02587      177084040000
SOUTH MARSH IS 128 #A026       SM128A2600          G02587      177084039900
SOUTH MARSH IS 128 #B001A      SM128B01D0          G02587      177084011000
SOUTH MARSH IS 128 #B002 ST1   SM128B0201          G02587      177084014401
SOUTH MARSH IS 128 #B003 ST1   SM128B0301          G02587      177084011601
SOUTH MARSH IS 128 #B005D      SM128B05D0          G02587      177084012700
SOUTH MARSH IS 128 #B006 ST2   SM128B0602          G02587      177084012202
SOUTH MARSH IS 128 #B007 ST2   SM128B0702          G02587      177084014502
SOUTH MARSH IS 128 #B008A      SM128B08A0          G02587      177084014700
SOUTH MARSH IS 128 #B009       SM128B0900          G02587      177084014900
SOUTH MARSH IS 128 #B010       SM128B1000          G02587      177084015600
SOUTH MARSH IS 128 #B012 ST1   SM128B1201          G02587      177084016401
SOUTH MARSH IS 128 #B013       SM128B1300          G02587      177084023500
SOUTH MARSH IS 128 #B015       SM128B1500          G02587      177084024700
SOUTH MARSH IS 128 #B016       SM128B1600          G02587      177084025300
SOUTH MARSH IS 128 #B018       SM128B1800          G02587      177084029200
SOUTH MARSH IS 128 #B019       SM128B1900          G02587      177084030600
SOUTH MARSH IS 128 #B020       SM128B2000          G02587      177084063300
SOUTH MARSH IS 128 #B021       SM128B2100          G02587      177084078200
SOUTH MARSH IS 128 #B024       SM128B2400          G02587      177084088600
SOUTH MARSH IS 128 #C001       SM128C0100          G02587      177084028600
SOUTH MARSH IS 128 #C002       SM128C0200          G02587      177084027300
SOUTH MARSH IS 128 #C003       SM128C0300          G02587      177084029600
SOUTH MARSH IS 128 #C004A      SM128C04A0          G02587      177084030000
SOUTH MARSH IS 128 #C005A      SM128C05A0          G02587      177084030700
SOUTH MARSH IS 128 #C006A      SM128C06A0          G02587      177084031300
SOUTH MARSH IS 128 #C007       SM128C0700          G02587      177084031700
SOUTH MARSH IS 128 #C008       SM128C0800          G02587      177084032000
SOUTH MARSH IS 128 #C009       SM128C0900          G02587      177084034900
SOUTH MARSH IS 128 #C010D      SM128C10D0          G02587      177084035000
SOUTH MARSH IS 128 #C011       SM128C1100          G02587      177084036400
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Asset Name                      FWE Acct. Code   Lease Number        API
SOUTH MARSH IS 128 #C012A       SM128C12A0          G02587      177084037300
SOUTH MARSH IS 128 #C013        SM128C1300          G02587      177084037700
SOUTH MARSH IS 128 #C014        SM128C1400          G02587      177084038900
SOUTH MARSH IS 128 #C015A       SM128C15A0          G02587      177084039300
SOUTH MARSH IS 128 #C016        SM128C1600          G02587      177084062000
SOUTH MARSH IS 128 #C017A       SM128C17A0          G02587      177084062600
SOUTH MARSH IS 128 #C018D       SM128C18D0          G02587      177084062900
SOUTH MARSH IS 128 #C019        SM128C1900          G02587      177084088000
SOUTH MARSH IS 128 #C020        SM128C2000          G02587      177084088100
SOUTH MARSH IS 128 #C021        SM128C2101          G02587      177084088201
SOUTH MARSH IS 132 #B002        SM132B0200          G02282      177084031800
SOUTH MARSH IS 132 #B003 ST1    SM132B0301          G02282      177084031601
SOUTH MARSH IS 132 #B004        SM132B0400          G02282      177084033000
SOUTH MARSH IS 132 #B005        SM132B0500          G02282      177084033500
SOUTH MARSH IS 132 #B006        SM132B0600          G02282      177084033900
SOUTH MARSH IS 132 #B007        SM132B0700          G02282      177084034100
SOUTH MARSH IS 132 #B008        SM132B0800          G02282      177084035500
SOUTH MARSH IS 132 #B009        SM132B0900          G02282      177084036200
SOUTH MARSH IS 132 #B010        SM132B1000          G02282      177084036500
SOUTH MARSH IS 132 #B011        SM132B1100          G02282      177084037800
SOUTH MARSH IS 135 #C003 BP1    SM135C0301          G19776      177084089401
SOUTH MARSH IS 136 #A004        SM136A0400          G02588      177084021900
SOUTH MARSH IS 136 #A008        SM136A08            G02588      177084032401
SOUTH MARSH IS 136 #A010        SM136A1000          G02588      177084035700
SOUTH MARSH IS 136 #A015        SM136A1500          G02588      177084071200
SOUTH MARSH IS 136 #C007        SM136C0700          G02588      177084091900
SOUTH MARSH IS 137 #A001        SM137A0100          G02589      177084007700
SOUTH MARSH IS 137 #A003        SM137A0300          G02589      177084020400
SOUTH MARSH IS 137 #A005        SM137A0500          G02589      177084024100
SOUTH MARSH IS 137 #A009        SM137A0900          G02589      177084034600
SOUTH MARSH IS 137 #A011 ST1    SM137A1101          G02589      177084030201
SOUTH MARSH IS 137 #A012        SM137A1200          G02589      177084040400
SOUTH MARSH IS 137 #A013        SM137A1300          G02589      177084042900
SOUTH MARSH IS 137 #A014        SM137A1400          G02589      177084045000
SOUTH MARSH IS 137 #A018        SM137A1800          G02589      177084072800
SOUTH MARSH IS 141 #B014C       SM141B14C1          G02885      177084025701
SOUTH MARSH IS 141 #B023A       SM141B23A0          G02885      177084079100
SOUTH MARSH IS 149 #C001 ST1    SM149C0101          G02592      177084088901
SOUTH MARSH IS 149 #C002        SM149C0200          G02592      177084089100
SOUTH MARSH IS 149 #C004        SM149C0400          G02592      177084090300
SOUTH MARSH IS 149 #C005        SM149C0500          G02592      177084090400
SOUTH MARSH IS 149 #D001        SM149D0101          G02592      177084094401
SOUTH MARSH IS 150 #C006 BP2    SM150C0600          G16325      177084091802
SOUTH MARSH IS 150 #D002        SM150D0200          G16325      177084095700
SOUTH MARSH IS 150 #D003        SM150D0301          G16325      177084096401
SOUTH MARSH IS 161 #A014 ORRI   SM161A1400          G04809      177084061401
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Asset Name                       FWE Acct. Code   Lease Number        API
SOUTH MARSH IS 161 #A015 ORRI    SM161A1500          G04809      177084090501
SOUTH MARSH IS 236 #139 (ORRI)   SM23613900           00310      177074053802
SOUTH MARSH IS 236 #144 ORRI     SM23614400           00310      177074058600
SOUTH MARSH IS 236 #160 (ORRI)   SM23616000           00310      177074058700
SOUTH MARSH IS 236 #A001 ORRI    SM236A0100           00310      177074037700
SOUTH MARSH IS 236 #A003 ORRI    SM236A0300           00310      177074040800
SOUTH MARSH IS 236 #A005 ORRI    SM236A0500           00310      177074041100
SOUTH MARSH IS 236 #A009 ORRI    SM236A0900           00310      177074044000
SOUTH MARSH IS 240 #0200         SM24020000           00310      177074078800
SOUTH MARSH IS 240 #153          SM240153             00310      177074061100
SOUTH MARSH IS 240 #156          SM24015600           00310      177074061800
SOUTH MARSH IS 240 #191          SM24019101           00310      177074073600
SOUTH MARSH IS 240 #196          SM24019600           00310      177074075800
SOUTH MARSH IS 240 #E001         SM240E0100           00310      177074060900
SOUTH MARSH IS 240 #E002         SM240E0200           00310      177074065600
SOUTH MARSH IS 241 #302          SM241302             00310      177074042001
SOUTH MARSH IS 268 #A002C        SM268A02C0          G02310      177074007600
SOUTH MARSH IS 268 #A007A        SM268A07A0          G02310      177074013600
SOUTH MARSH IS 268 #A017B        SM268A17B0          G02310      177074016800
SOUTH MARSH IS 268 #D001         SM268D0100          G02310      177074020600
SOUTH MARSH IS 268 #D003D        SM268D03D0          G02310      177074021600
SOUTH MARSH IS 268 #D004         SM268D0400          G02310      177074022500
SOUTH MARSH IS 268 #D006         SM268D0600          G02310      177074024700
SOUTH MARSH IS 268 #D007         SM268D0700          G02310      177074025700
SOUTH MARSH IS 268 #D012         SM268D1200          G02310      177074028700
SOUTH MARSH IS 268 #D016D        SM268D16D1          G02310      177074029901
SOUTH MARSH IS 269 #A021B        SM269A21B0          G02311      177074018100
SOUTH MARSH IS 269 #B002         SM269B0200          G02311      177074008100
SOUTH MARSH IS 269 #B017 ST1     SM269B1701          G02311      177074075701
SOUTH MARSH IS 269 #B019 BP1     SM269B1901          G02311      177074088501
SOUTH MARSH IS 269 #F001 ST1     SM269F0101          G02311      177074080401
SOUTH MARSH IS 280 #G001         SM280G0100          G14456      177074071400
SOUTH MARSH IS 280 #G002         SM280G0200          G14456      177074080700
SOUTH MARSH IS 280 #H001 ST1     SM280H0102          G14456      177074081802
SOUTH MARSH IS 280 #H002 STB     SM280H0203          G14456      177074082303
SOUTH MARSH IS 281 #C001         SM281C0100          G02600      177074012500
SOUTH MARSH IS 281 #C003A        SM281C03A0          G02600      177074013900
SOUTH MARSH IS 281 #C005A        SM281C05A0          G02600      177074015300
SOUTH MARSH IS 281 #C006         SM281C0600          G02600      177074015800
SOUTH MARSH IS 281 #C008 ST1     SM281C0801          G02600      177074017701
SOUTH MARSH IS 281 #C010 ST      SM281C1001          G02600      177074020701
SOUTH MARSH IS 281 #C011 ST1     SM281C1101          G02600      177074022401
SOUTH MARSH IS 281 #C012A        SM281C12A0          G02600      177074024100
SOUTH MARSH IS 281 #C014 ST      SM281C1401          G02600      177074026901
SOUTH MARSH IS 281 #C015         SM281C1500          G02600      177074028300
SOUTH MARSH IS 281 #C016C        SM281C16C0          G02600      177074029600
                                   DEBTORS' EX. NO. 5
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Asset Name                     FWE Acct. Code   Lease Number        API
SOUTH MARSH IS 281 #C017       SM281C1700          G02600      177074030500
SOUTH MARSH IS 281 #C019B      SM281C19B0          G02600      177074034400
SOUTH MARSH IS 281 #C020 ST1   SM281C2001          G02600      177074034901
SOUTH MARSH IS 281 #C021B      SM281C21B0          G02600      177074035500
SOUTH MARSH IS 281 #C023 ST2   SM281C2302          G02600      177074036802
SOUTH MARSH IS 281 #C024       SM281C2400          G02600      177074037300
SOUTH MARSH IS 281 #C025       SM281C2500          G02600      177074083500
SOUTH MARSH IS 281 #C026       SM281C2600          G02600      177074083700
SOUTH MARSH IS 281 #C027       SM281C2700          G02600      177074085200
SOUTH MARSH IS 281 #C028 BP2   SM281C2802          G02600      177074089402
SOUTH MARSH IS 281 #D002       SM281D0200          G02600      177074021100
SOUTH MARSH IS 281 #D009       SM281D0900          G02600      177074027100
SOUTH MARSH IS 281 #D010A      SM281D10A0          G02600      177074027500
SOUTH MARSH IS 281 #D011       SM281D1100          G02600      177074028000
SOUTH MARSH IS 281 #D013       SM281D1300          G02600      177074029100
SOUTH MARSH IS 281 #D014A      SM281D14A0          G02600      177074029700
SOUTH MARSH IS 281 #D05A       SM281D05A0          G02600      177074023200
SOUTH MARSH IS 281 #D08A       SM281D08A0          G02600      177074026600
SOUTH MARSH IS 281 #E001D      SM281E01D0          G02600      177074018500
SOUTH MARSH IS 281 #E002A      SM281E02A0          G02600      177074024600
SOUTH MARSH IS 281 #E003       SM281E0300          G02600      177074027800
SOUTH MARSH IS 281 #E004       SM281E0400          G02600      177074028500
SOUTH MARSH IS 281 #E005A      SM281E05A0          G02600      177074029300
SOUTH MARSH IS 281 #E006       SM281E0601          G02600      177074030101
SOUTH MARSH IS 281 #E007       SM281E0700          G02600      177074031600
SOUTH MARSH IS 281 #E008A      SM281E08A1          G02600      177074033101
SOUTH MARSH IS 281 #E009A      SM281E09A0          G02600      177074033800
SOUTH MARSH IS 281 #E010A      SM281E10A0          G02600      177074034800
SOUTH MARSH IS 281 #E011 ST    SM281E1101          G02600      177074035601
SOUTH MARSH IS 281 #E012       SM281E1200          G02600      177074036000
SOUTH MARSH IS 281 #E013       SM281E1300          G02600      177074036600
SOUTH MARSH IS 281 #E014       SM281E1400          G02600      177074038600
SOUTH MARSH IS 281 #I001       SM281I0101          G02600      177074082601
SOUTH MARSH IS 281 #I002 ST1   SM281I0201          G02600      177074082701
SOUTH MARSH IS 281 #I003       SM281I0300          G02600      177074082800
SOUTH MARSH IS 48 # E 6        SM048E06             00786      177074066702
SOUTH PASS 061 #D004 ST2       SP061D0402          G01609      177234006302
SOUTH PASS 061 #D023           SP061D2300          G01609      177234008200
SOUTH PASS 061 #D024 ST1       SP061D2401          G01609      177234007701
SOUTH PASS 061 #D025           SP061D2500          G01609      177234008300
SOUTH PASS 061 #D026           SP061D2600          G01609      177234008400
SOUTH PASS 061 #D033 ST2       SP061D3302          G01609      177234008702
SOUTH PASS 061 #D034 ST1       SP061D3401          G01609      177234009001
SOUTH PASS 061 #D035 ST2       SP061D3502          G01609      177234009102
SOUTH PASS 061 #D036 ST1       SP061D3601          G01609      177234009201
SOUTH PASS 061 #D038           SP061D38            G01609      177234009702
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Asset Name                  FWE Acct. Code   Lease Number        API
SOUTH PASS 061 #D039 ST1    SP061D3901          G01609      177234009801
SOUTH PASS 061 #D040 ST2    SP061D4002          G01609      177234009502
SOUTH PASS 061 #D043 ST2    SP061D4302          G01609      177234009602
SOUTH PASS 062 #C001        SP062C0101          G01294      177230007901
SOUTH PASS 062 #C004        SP062C0401          G01294      177232000101
SOUTH PASS 062 #C005        SP062C0500          G01294      177230008600
SOUTH PASS 062 #C006        SP062C0601          G01294      177232000301
SOUTH PASS 062 #C007 ST3    SP062C0703          G01294      177234000803
SOUTH PASS 062 #C009        SP062C0900          G01294      177232000800
SOUTH PASS 062 #C011 ST1    SP062C1101          G01294      177232001501
SOUTH PASS 062 #C013B       SP062C13B0          G01294      177232002100
SOUTH PASS 062 #C016        SP062C1600          G01294      177232003000
SOUTH PASS 062 #C017        SP062C1702          G01294      177232003102
SOUTH PASS 062 #C018        SP062C1800          G01294      177232003200
SOUTH PASS 062 #C021        SP062C2105          G01294      177230008005
SOUTH PASS 062 #D001        SP062D0100          G01294      177234012300
SOUTH PASS 062 #D002        SP062D0200          G01294      177234011900
SOUTH PASS 062 #D003        SP062D0300          G01294      177234012000
SOUTH PASS 062 #D004        SP062D0401          G01294      177234012901
SOUTH PASS 062 #D005        SP062D0500          G01294      177234012100
SOUTH PASS 062 #D007        SP062D0700          G01294      177234012200
SOUTH PASS 062 #D008        SP062D0800          G01294      177234012500
SOUTH PASS 062 #D009        SP062D0900          G01294      177234013000
SOUTH PASS 062 #D010 ST1    SP062D1001          G01294      177234012801
SOUTH PASS 062 #D012        SP062D1200          G01294      177234013200
SOUTH PASS 062 #D014        SP062D1400          G01294      177234014100
SOUTH PASS 062 #D019        SP062D1900          G01294      177234012400
SOUTH PASS 062 #D020 ST1    SP062D2001          G01294      177234014001
SOUTH PASS 062 #D021        SP062D2100          G01294      177234013700
SOUTH PASS 062 #D022        SP062D2201          G01294      177234013801
SOUTH PASS 062 #D023        SP062D2300          G01294      177234014300
SOUTH PASS 062 #D027        SP062D2700          G01294      177234014500
SOUTH PASS 062 #D028        SP062D2800          G01294      177234014601
SOUTH PASS 062 #D029        SP062D2900          G01294      177234014900
SOUTH PASS 062 #D030        SP062D3000          G01294      177234014700
SOUTH PASS 062 #D031        SP062D3100          G01294      177234014800
SOUTH PASS 062 #D032        SP062D3201          G01294      177234015001
SOUTH PASS 062 #D033        SP062D3300          G01294      177234016300
SOUTH PASS 062 #D034A       SP062D34A0          G01294      177234016600
SOUTH PASS 062 #D035        SP062D3500          G01294      177234016900
SOUTH PASS 062 #D036        SP062D3600          G01294      177234016400
SOUTH PASS 064 #A003A       SP064A0300          G01901      177232001700
SOUTH PASS 064 #A013 ST1    SP064A1300          G01901      177232004800
SOUTH PASS 064 #B014 ST     SP064B1401          G01901      177254002601
SOUTH PASS 064 #B021        SP064B2100          G01901      177254003300
SOUTH PASS 064 #B023        SP064B2300          G01901      177254003600
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Asset Name                  FWE Acct. Code   Lease Number        API
SOUTH PASS 064 #B034        SP064B3400          G01901      177254005100
SOUTH PASS 064 #C001        SP064C0100          G01901      177254039900
SOUTH PASS 065 #A001        SP065A0101          G01610      177232001001
SOUTH PASS 065 #A009        SP065A0900          G01610      177232004400
SOUTH PASS 065 #A012        SP065A1200          G01610      177232004700
SOUTH PASS 065 #A016A       SP065A1600          G01610      177232005100
SOUTH PASS 065 #A018        SP065A1800          G01610      177232005600
SOUTH PASS 065 #A024        SP065A2400          G01610      177232006700
SOUTH PASS 065 #A027        SP065A2700          G01610      177232007100
SOUTH PASS 065 #A028        SP065A2800          G01610      177232007200
SOUTH PASS 065 #A029        SP065A2900          G01610      177232007400
SOUTH PASS 065 #A030 ST     SP065A3001          G01610      177232007501
SOUTH PASS 065 #A034        SP065A3400          G01610      177232007900
SOUTH PASS 065 #A036 ST     SP065A3602          G01610      177232007802
SOUTH PASS 065 #B011        SP065B1100          G01610      177254001900
SOUTH PASS 065 #B019        SP065B1900          G01610      177254003000
SOUTH PASS 065 #B033 ST2    SP065B3302          G01610      177254005002
SOUTH PASS 065 #C003        SP065C0300          G01610      177254040900
SOUTH PASS 065 #C010        SP065C1000          G01610      177254042800
SOUTH PASS 065 #C022        SP065C2200          G01610      177254045800
SOUTH PASS 065 #C023        SP065C2300          G01610      177254046700
SOUTH PASS 070 #C001        SP070C0100          G01614      177234001200
SOUTH PASS 070 #C002        SP070C0200          G01614      177234001400
SOUTH PASS 070 #C003        SP070C0300          G01614      177234001500
SOUTH PASS 070 #C004        SP070C0400          G01614      177234001600
SOUTH PASS 070 #C006        SP070C0600          G01614      177234001800
SOUTH PASS 070 #C009        SP070C0900          G01614      177234002000
SOUTH PASS 070 #C010        SP070C1000          G01614      177234002200
SOUTH PASS 070 #C011        SP070C1100          G01614      177234002300
SOUTH PASS 070 #C014        SP070C1400          G01614      177234002500
SOUTH PASS 070 #C015        SP070C1500          G01614      177234002600
SOUTH PASS 070 #C017        SP070C1700          G01614      177234002800
SOUTH PASS 070 #C018        SP070C1800          G01614      177234002900
SOUTH PASS 070 #C019        SP070C1900          G01614      177234003000
SOUTH PASS 070 #C021        SP070C2100          G01614      177234003200
SOUTH PASS 070 #C022        SP070C2200          G01614      177234003300
SOUTH PASS 070 #C024        SP070C2400          G01614      177234003500
SOUTH PASS 070 #C025        SP070C2500          G01614      177234003700
SOUTH PASS 070 #C026        SP070C2600          G01614      177234003800
SOUTH PASS 070 #C028        SP070C2800          G01614      177234004000
SOUTH PASS 070 #C029 ST2    SP070C2902          G01614      177234004402
SOUTH PASS 070 #C031        SP070C3100          G01614      177234004500
SOUTH PASS 070 #C032        SP070C3200          G01614      177234004600
SOUTH PASS 070 #C034        SP070C3400          G01614      177234004700
SOUTH PASS 070 #C038        SP070C3800          G01614      177234005100
SOUTH PASS 070 #C039 ST1    SP070C3901          G01614      177234004901
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Asset Name                  FWE Acct. Code   Lease Number        API
SOUTH PASS 070 #C041        SP070C4100          G01614      177234005400
SOUTH PASS 070 #C042        SP070C4200          G01614      177234005500
SOUTH PASS 070 #C045        SP070C4500          G01614      177234005700
SOUTH PASS 070 #C046 ST3    SP070C4603          G01614      177234005003
SOUTH PASS 070 #C047        SP070C4700          G01614      177234005800
SOUTH PASS 070 #C048        SP070C4800          G01614      177234005900
SOUTH PASS 070 #D001        SP070D0100          G01614      177234006000
SOUTH PASS 070 #D002        SP070D0200          G01614      177234006100
SOUTH PASS 070 #D003        SP070D0300          G01614      177234006200
SOUTH PASS 070 #D005        SP070D0500          G01614      177234006400
SOUTH PASS 070 #D006 ST1    SP070D0600          G01614      177234006501
SOUTH PASS 070 #D007        SP070D0700          G01614      177234006600
SOUTH PASS 070 #D008        SP070D0800          G01614      177234006700
SOUTH PASS 070 #D012        SP070D1200          G01614      177234007100
SOUTH PASS 070 #D013        SP070D130           G01614      177234007200
SOUTH PASS 070 #D014        SP070D1400          G01614      177234007300
SOUTH PASS 070 #D015 ST1    SP070D1501          G01614      177234007401
SOUTH PASS 070 #D016        SP070D1600          G01614      177234007500
SOUTH PASS 070 #D018        SP070D1800          G01614      177234007600
SOUTH PASS 070 #D020        SP070D2000          G01614      177234007800
SOUTH PASS 070 #D021        SP070D2100          G01614      177234007900
SOUTH PASS 070 #D027        SP070D2700          G01614      177234008500
SOUTH PASS 070 #D028        SP070D2800          G01614      177234008600
SOUTH PASS 070 #D030        SP070D3000          G01614      177234008800
SOUTH PASS 070 #D037        SP070D3700          G01614      177234009300
SOUTH PASS 070 #D042 ST1    SP070D4201          G01614      177234009901
SOUTH PASS 070 #D044 ST1    SP070D4401          G01614      177234016201
SOUTH PASS 087 #006         SP08700602          G07799      177224023102
SOUTH PASS 087 #D002 ST     SP087D0201          G07799      177224021001
SOUTH PASS 087 #D003        SP087D0202          G07799      177224021202
SOUTH PASS 087 #D008        SP087D0800          G07799      177224020803
SOUTH PASS 087 #D009        SP087D0900          G07799      177224022600
SOUTH PASS 087 #D011        SP087D1101          G07799      177224022801
SOUTH PASS 087 #D07A        SP087D0700          G07799      177224020900
SOUTH PASS 088 #D005 ST     SP088D0501          G10894      177224021901
SOUTH PASS 088 #D006        SP088D0601          G10894      177224022201
SOUTH PASS 088 #D010        SP088D1001          G10894      177224022701
SOUTH PASS 089 #013         SP08901300          G01618      177224015100
SOUTH PASS 089 #014         SP08901400          G01618      177224017500
SOUTH PASS 089 #B001A       SP089B01A0          G01618      177224005300
SOUTH PASS 089 #B002A       SP089B02A0          G01618      177224005700
SOUTH PASS 089 #B003        SP089B0300          G01618      177224006400
SOUTH PASS 089 #B004A       SP089B04A0          G01618      177224006800
SOUTH PASS 089 #B005        SP089B0500          G01618      177224008400
SOUTH PASS 089 #B006D       SP089B06D0          G01618      177224009500
SOUTH PASS 089 #B007        SP089B0700          G01618      177224008501
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Asset Name                  FWE Acct. Code   Lease Number        API
SOUTH PASS 089 #B008 ST1    SP089B0801          G01618      177224009901
SOUTH PASS 089 #B009 ST1    SP089B0901          G01618      177224008601
SOUTH PASS 089 #B010        SP089B1000          G01618      177224010900
SOUTH PASS 089 #B011 ST     SP089B1101          G01618      177224010403
SOUTH PASS 089 #B012        SP089B1200          G01618      177224011200
SOUTH PASS 089 #B013        SP089B1300          G01618      177224011704
SOUTH PASS 089 #B014        SP089B1400          G01618      177224011601
SOUTH PASS 089 #B015 ST3    SP089B1503          G01618      177224012703
SOUTH PASS 089 #B016 ST2    SP089B1602          G01618      177224014702
SOUTH PASS 089 #B017 ST     SP089B1701          G01618      177224015901
SOUTH PASS 089 #B018 ST2    SP089B1802          G01618      177224017602
SOUTH PASS 089 #B019 ST     SP089B1901          G01618      177224017901
SOUTH PASS 089 #B020 ST3    SP089B2003          G01618      177224016203
SOUTH PASS 089 #B022        SP089B2200          G01618      177224017800
SOUTH PELTO 001 #A002 ST1   PL001A0201          G04234      177134009201
SOUTH PELTO 001 #A004       PL001A0400          G04234      177134015600
SOUTH PELTO 001 #A005       PL001A0500          G04234      177134009800
SOUTH PELTO 001 #A006       PL001A0600          G04234      177134016100
SOUTH PELTO 009 #001        PL00900100          G02924      177134001300
SOUTH PELTO 009 #002        PL00900200          G02924      177134002300
SOUTH PELTO 009 #005        PL00900500          G02924      177134018700
SOUTH PELTO 009 #006        PL00900600          G02924      177134006100
SOUTH PELTO 009 #007        PL00900700          G02924      177134007800
SOUTH PELTO 009 #010        PL00901000          G02924      177134025300
SOUTH PELTO 010 #002        PL01000200          G02925      177134001000
SOUTH PELTO 010 #003        PL01000300          G02925      177134001400
SOUTH PELTO 010 #004        PL01000400          G02925      177134001600
SOUTH PELTO 010 #005        PL01000500          G02917      177114098000
SOUTH PELTO 010 #006 ST1    PL01000601          G02925      177134002101
SOUTH PELTO 010 #007        PL01000700          G02925      177134002200
SOUTH PELTO 010 #009 ST3    PL01000903          G02925      177134003303
SOUTH PELTO 010 #010        PL01001000          G02925      177134007200
SOUTH PELTO 010 #011 ST2    PL01001102          G02925      177134005102
SOUTH PELTO 010 #012 ST5    PL01001205          G02925      177134006705
SOUTH PELTO 010 #013 ST1    PL01001301          G02925      177134007402
SOUTH PELTO 010 #014        PL01001400          G02925      177134009400
SOUTH PELTO 010 #016 ST2    PL01001602          G02925      177134011802
SOUTH PELTO 010 #017 ST1    PL01001701          G02925      177134012301
SOUTH PELTO 010 #019 ST1    PL01001901          G02925      177134010601
SOUTH PELTO 010 #020        PL01002000          G02925      177134015800
SOUTH PELTO 010 #022 ST1    PL01002201          G02925      177134018201
SOUTH PELTO 010 #023 ST1    PL01002301          G02925      177134016601
SOUTH PELTO 010 #026        PL01002600          G02925      177134018000
SOUTH PELTO 010 #B025       PL010B2501          G02925      177134018301
SOUTH PELTO 011 #017        PL01101700           00071      177134003102
SOUTH PELTO 011 #019 ST1    PL01101901           00071      177134004501
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Asset Name                      FWE Acct. Code    Lease Number        API
SOUTH PELTO 011 #022            PL01102200            00071      177134012000
SOUTH PELTO 011 #025            PL01102500            00071      177134018900
SOUTH PELTO 011 #031            PL01103100            00071      177134022701
SOUTH PELTO 011 #032            PL01103200            00071      177134022600
SOUTH PELTO 011 #F001           PL011F0100            00071      177130000300
SOUTH PELTO 011 #F002           PL011F0200            00071      177134000500
SOUTH PELTO 011 #F003 ST        PL011F0300            00071      177134001700
SOUTH PELTO 013 #009            PL01300900           G03171      177134019701
SOUTH PELTO 025 #005 (ORRI)     PL02500502           G14535      177134024303
SOUTH PELTO 025 #006 (ORRI)     PL02500600           G14535      177134025003
SOUTH PELTO 025 #JA001          PL025JA01            G14535      177134019800
SOUTH PELTO 025 #JB001 (ORRI)   PL025JB012           G14535      177134020302
SOUTH TIMBALIER 049 #A001 ST2   ST049A0102           G24956      177154123902
SOUTH TIMBALIER 053 #004        ST05300401           G04000      177154043101
SOUTH TIMBALIER 053 #006        ST05300601           G04000      177154083500
SOUTH TIMBALIER 053 #A001       ST053A0101           G04000      177154034402
SOUTH TIMBALIER 053 #A002       ST053A0201           G04000      177154037601
SOUTH TIMBALIER 053 #A003       ST053A0301           G04000      177154038401
SOUTH TIMBALIER 053 #A004       ST053A0400           G04000      177154038500
SOUTH TIMBALIER 053 #A006       ST053A0601           G04000      177154039201
SOUTH TIMBALIER 053 #A007       ST053A0700           G04000      177154040400
SOUTH TIMBALIER 053 #A008       ST053A0800           G04000      177154040500
SOUTH TIMBALIER 053 #A009       ST053A0900           G04000      177154041500
SOUTH TIMBALIER 053 #A010       ST053A1001           G04000      177154043501
SOUTH TIMBALIER 053 #A011       ST053A1100           G04000      177154042400
SOUTH TIMBALIER 053 #A012       ST053A1201           G04000      177154042301
SOUTH TIMBALIER 053 #A013       ST053A1300           G04000      177154044000
SOUTH TIMBALIER 053 #A014       ST053A1400           G04000      177154042900
SOUTH TIMBALIER 053 #A015       ST053A1501           G04000      177154076901
SOUTH TIMBALIER 053 #A016       ST053A1601           G04000      177154043601
SOUTH TIMBALIER 053 #A017       ST053A1701           G04000      177154061101
SOUTH TIMBALIER 053 #A018       ST053A1801           G04000      177154061201
SOUTH TIMBALIER 053 #A019       ST053A1900           G04000      177154077200
SOUTH TIMBALIER 053 #A020       ST053A2001           G04000      177154077101
SOUTH TIMBALIER 053 #A021       ST053A2100           G04000      177154111000
SOUTH TIMBALIER 053 #C001       ST053C0100           G04000      177154067200
SOUTH TIMBALIER 053 #C002       ST053C0200           G04000      177154107300
SOUTH TIMBALIER 053 #I001       ST053I0100           G04000      177154031200
SOUTH TIMBALIER 067 #006        ST06700602       00020         177154078404
SOUTH TIMBALIER 148 #A001       ST148A0100           G01960      177154009400
SOUTH TIMBALIER 148 #A002       ST148A0200           G01960      177154013200
SOUTH TIMBALIER 148 #A003       ST148A0300           G01960      177154015800
SOUTH TIMBALIER 148 #A004       ST148A04             G01960      177154039700
SOUTH TIMBALIER 148 #A005       ST148A05             G01960      177154041100
SOUTH TIMBALIER 148 #A006       ST148A0600           G01960      177154074603
SOUTH TIMBALIER 148 #A007       ST148A0700           G01960       1771540890
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Asset Name                       FWE Acct. Code   Lease Number        API
SOUTH TIMBALIER 148 #A008        ST148A0801          G01960      177154090501
SOUTH TIMBALIER 148 #A009        ST148A0903          G01960      177154095103
SOUTH TIMBALIER 205 #B001 ST1    ST205B0101          G05612      177154059001
SOUTH TIMBALIER 205 #B002A ST1   ST205B02A1          G05612      177154062901
SOUTH TIMBALIER 205 #B004 ST1    ST205B0401          G05612      177154081601
SOUTH TIMBALIER 205 #B005A       ST205B05A0          G05612      177154103300
SOUTH TIMBALIER 205 #G001 ST1    ST205G0101          G05612      177154106701
SOUTH TIMBALIER 205 #G003 ST1    ST205G0301          G05612      177154115301
SOUTH TIMBALIER 206 #A001 ST1    ST206A0101          G05613      177154057801
SOUTH TIMBALIER 206 #A002 ST1    ST206A0201          G05613      177154060101
SOUTH TIMBALIER 206 #A003        ST206A0300          G05613      177154061000
SOUTH TIMBALIER 206 #A004A       ST206A04A0          G05613      177154074300
SOUTH TIMBALIER 206 #A006        ST206A0600          G05613      177154075100
SOUTH TIMBALIER 206 #A007        ST206A0700          G05613      177154075200
SOUTH TIMBALIER 206 #A008        ST206A0800          G05613      177154075300
SOUTH TIMBALIER 206 #A009        ST206A0900          G05613      177154075400
SOUTH TIMBALIER 206 #A010ST2BP   ST206A1002          G05613      177154075702
SOUTH TIMBALIER 206 #B003 ST1    ST206B0301          G05613      177154074001
SOUTH TIMBALIER 206 #B006        ST206B0600          G05613      177154103000
SOUTH TIMBALIER 276 #A010 ST1    ST276A1001          G07780      177164013301
SOUTH TIMBALIER 276 #A019        ST276A1900          G07780      177164014500
SOUTH TIMBALIER 276 #A029        ST276A2900          G07780      177164022300
SOUTH TIMBALIER 290 #A025        ‐                   G16454      608104014901
SOUTH TIMBALIER 291 #A023        ST291A2300          G16455      608104014700
SOUTH TIMBALIER 295 #A001        ST295A0102          G05646      177164010302
SOUTH TIMBALIER 295 #A002        ST295A0200          G05646      177164005500
SOUTH TIMBALIER 295 #A003        ST295A0300          G05646      177164010400
SOUTH TIMBALIER 295 #A004        ST295A0400          G05646      177164011300
SOUTH TIMBALIER 295 #A005        ST295A0500          G05646      177164011600
SOUTH TIMBALIER 295 #A006        ST295A0600          G05646      177164011800
SOUTH TIMBALIER 295 #A007        ST295A0700          G05646      177164012000
SOUTH TIMBALIER 295 #A008        ST295A0800          G05646      177164012200
SOUTH TIMBALIER 295 #A009        ST295A0900          G05646      177164012300
SOUTH TIMBALIER 295 #A011        ST295A1100          G05646      177164012700
SOUTH TIMBALIER 295 #A012        ST295A1200          G05646      177164012400
SOUTH TIMBALIER 295 #A013 ST1    ST295A1301          G05646      177164012901
SOUTH TIMBALIER 295 #A014        ST295A1400          G05646      177164013400
SOUTH TIMBALIER 295 #A015        ST295A1500          G05646      177164013700
SOUTH TIMBALIER 295 #A016 ST1    ST295A1601          G05646      177164013901
SOUTH TIMBALIER 295 #A017        ST295A1700          G05646      177164014000
SOUTH TIMBALIER 295 #A018        ST295A1800          G05646      177164014400
SOUTH TIMBALIER 295 #A020        ST295A2000          G05646      177164014700
SOUTH TIMBALIER 295 #A021 ST2    ST295A2102          G05646      177164014902
SOUTH TIMBALIER 295 #A022 ST3    ST295A2203          G05646      177164017703
SOUTH TIMBALIER 295 #A023        ST295A2300          G05646      177164018000
SOUTH TIMBALIER 295 #A024        ST295A2400          G05646      177164018300
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Asset Name                      FWE Acct. Code   Lease Number        API
SOUTH TIMBALIER 295 #A025D      ST295A25D0          G05646      177164018100
SOUTH TIMBALIER 295 #A026       ST295A2600          G05646      177164018400
SOUTH TIMBALIER 295 #A027       ST295A2700          G05646      177164018500
SOUTH TIMBALIER 295 #A030       ST295A3000          G05646      177164022600
SOUTH TIMBALIER 295 #A031       ST295A3100          G05646      177164026100
SOUTH TIMBALIER 295 #A032       ST295A3200          G05646      177164027800
SOUTH TIMBALIER 295 #B001       ST295B0100          G05646      177164028900
SOUTH TIMBALIER 295 #B002 ST1   ST295B0201          G05646      177164029301
SOUTH TIMBALIER 295 #B003       ST295B0302          G05646      177164029202
SOUTH TIMBALIER 295 #B004 ST1   ST295B0401          G05646      177164029101
SOUTH TIMBALIER 295 #B005       ST295B0500          G05646      177164030000
SOUTH TIMBALIER 295 #B006 ST3   ST295B0603          G05646      177164030403
SOUTH TIMBALIER 296 #001        ST29600100          G12981      177164020900
SOUTH TIMBALIER 296 #A028       ST296A2800          G12981      177164021700
SOUTH TIMBALIER 311 # A 1       ST311A01            G31418      177164035500
SOUTH TIMBALIER 311 # A‐4       ST311A04            G31418      177164036400
SOUTH TIMBALIER 316 #A001       ST316A0100          G22762      177164028600
SOUTH TIMBALIER 316 #A002       ST316A0200          G22762      177164028800
SOUTH TIMBALIER 316 #A006       ST316A0602          G22762      177164035302
SOUTH TIMBALIER 320 #A002       ST320A02            G24990      177164036200
SOUTH TIMBALIER 320 #A003       ST320A03            G24990      177164036300
SOUTH TIMBALIER 320 #A005 ST    ST320A05            G24990      608104010401
tEAST CAMERON 278 #C010         EC278C1001          G00974      177044110001
VERMILION 261 #A001             VR261A0100          G03328      177064029000
VERMILION 261 #A002             VR261A0200          G03328      177064033000
VERMILION 261 #A004             VR261A0402          G03328      177064032902
VERMILION 261 #A005             VR261A0500          G03328      177064034600
VERMILION 261 #A007             VR261A0700          G03328      177064035400
VERMILION 261 #A008             VR261A0800          G03328      177064084900
VERMILION 262 #A006             VR262A06            G34257      177064035201
VERMILION 265 #A001 ST          VR265A0101          G01955      177064003101
VERMILION 265 #A002 ST1         VR265A0201          G01955      177064004701
VERMILION 265 #A003 ST1         VR265A0301          G01955      177064003201
VERMILION 265 #A006             VR265A0600          G01955      177064005300
VERMILION 265 #A007 ST1         VR265A0701          G01955      177064005501
VERMILION 265 #A010             VR265A1000          G01955      177064006200
VERMILION 265 #A014ST1          VR265A1401          G01955      177064029101
VERMILION 265 #A016ST1          VR265A1601          G01955      177064029301
VERMILION 265 #A017ST1          VR265A1701          G01955      177064033201
VERMILION 265 #A021             VR265A2100          G01955      177064057100
VERMILION 265 #A025             VR265A2500          G01955      177064057400
VERMILION 265 #A027ST1          VR265A2701          G01955      177064058101
VERMILION 271 #I003             VR271I0300          G04800      177064098100
VERMILION 326 #A001             VR326A0100          G21096      177064085000
VERMILION 369 #A014             VR369A1400          G02274      177064073400
VERMILION 369 #D001             VR369D01            G02274      177064087000
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Asset Name                      FWE Acct. Code   Lease Number        API
VERMILION 380 #009              VR38000900          G02580      177064080100
VERMILION 380 #A001 ST1         VR380A0101          G02580      177064044301
VERMILION 380 #A003 ST1         VR380A0301          G02580      177064044901
VERMILION 380 #A005             VR380A0500          G02580      177064046300
VERMILION 380 #A006 ST2         VR380A0602          G02580      177064046402
VERMILION 380 #A008 ST1         VR380A0801          G02580      177064046901
VERMILION 380 #A010             VR380A1000          G02580      177064047600
VERMILION 380 #A011             VR380A1100          G02580      177064048000
VERMILION 380 #A012             VR380A1200          G02580      177064048700
VERMILION 380 #A015 ST4         VR380A1504          G02580      177064049004
VERMILION 380 #A016 ST2         VR380A1602          G02580      177064084702
VERMILION 380 #A020 ST1         VR380A2001          G02580      177064095601
VERMILION 381 #A017             VR381A1700          G16314      177064085500
VERMILION 381 #A018 ST2         VR381A1802          G16314      177064085702
VERMILION 381 #A021 ST1         VR381A2101          G16314      177064095801
VIOSCA KNOLL 693 #001           VK69300100          G07898      608164015700
VIOSCA KNOLL 693 #002           VK69300200          G07898      608164016000
VIOSCA KNOLL 694 #001           VK69400100          G13055      608164016600
VIOSCA KNOLL 694 #002           VK69400200          G13055      608164016700
VIOSCA KNOLL 694 #003 ST1       VK69400301          G13055      608164036701
VIOSCA KNOLL 694 #004           VK69400400          G13055      608164039700
VIOSCA KNOLL 694 #A009          VK694A0900          G13055      177244073300
VIOSCA KNOLL 824 #004           VK82400402          G15436      608164032902
WEST CAMERON 033 #001           WC03300100          G15050      177004105100
WEST CAMERON 033 #001 SL16473   SL16473010           16473      177002024400
WEST CAMERON 033 #002 SL16473   SL16473020           16473      177002024500
WEST CAMERON 033 #N001 (EC2)    WC033N0100          G15050      177004124000
WEST CAMERON 033 #N002 (EC2)    WC033N0200          G15050      177004124600
WEST CAMERON 033 #N003 (EC2)    WC033N0300          G15050      177004125400
WEST CAMERON 033 #N004 (EC2)    WC033N0400          G15050      177004125500
WEST CAMERON 033 #O001          WC033O0100          G15050      177004126500
WEST CAMERON 033 #O002          WC033O0200          G15050      177004126600
WEST CAMERON 033 #O003          WC033O0300          G15050      177004126800
WEST CAMERON 033 #O004          WC033O0400          G15050      177004126900
WEST CAMERON 035 #A014          WC035A1400          G02819      177004017000
WEST CAMERON 035 #B005          WC035B0500          G02819      177004018600
WEST CAMERON 035 #B013          WC035B1300          G02819      177004024300
WEST CAMERON 035 #C003          WC035C0300          G02819      177004037600
WEST CAMERON 035 #C004          WC035C0401          G02819      177004038701
WEST CAMERON 035 #D005          WC035D0500          G01860      177004039101
WEST CAMERON 065 #008           WC06500801          G02825      177004103701
WEST CAMERON 065 #009           WC06500900          G02825      177004105500
WEST CAMERON 065 #B018          WC065B1800          G02825      177004098900
WEST CAMERON 065 #B019          WC065B1901          G02825      177004099501
WEST CAMERON 065 #B020 ST2      WC065B2001          G02825      177004099701
WEST CAMERON 065 #E007          WC065E0700          G02825      177004129600
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Asset Name                      FWE Acct. Code   Lease Number        API
WEST CAMERON 065 #JA001         WC065JA100          G02825      177004023300
WEST CAMERON 065 #JA002         WC065JA200          G02825      177004024600
WEST CAMERON 065 #JA003         WC065JA300          G02825      177004040400
WEST CAMERON 065 #JA004         WC065JA400          G02825      177004041500
WEST CAMERON 065 #JA005         WC065JA500          G02825      177004075400
WEST CAMERON 066 #A001          WC066A0100          G01860      177004011300
WEST CAMERON 066 #A002          WC066A0200          G01860      177004011800
WEST CAMERON 066 #A003          WC066A0300          G01860      177004012400
WEST CAMERON 066 #A004          WC066A0400          G01860      177004012600
WEST CAMERON 066 #A005          WC066A0500          G01860      177004012800
WEST CAMERON 066 #A006          WC066A0600          G01860      177004013200
WEST CAMERON 066 #A007 (WC35)   WC035A0700          G01860      177004013500
WEST CAMERON 066 #A008          WC066A0800          G01860      177004014100
WEST CAMERON 066 #A009          WC066A0900          G01860      177004014500
WEST CAMERON 066 #A010          WC066A1000          G01860      177004014700
WEST CAMERON 066 #A011          WC066A1100          G01860      177004014900
WEST CAMERON 066 #A012 (WC35)   WC035A1200          G01860      177004015700
WEST CAMERON 066 #A015          WC066A1500          G01860      177004096100
WEST CAMERON 066 #A016          WC066A1601          G01860      177004096601
WEST CAMERON 066 #A017          WC066A1700          G02826      177004100600
WEST CAMERON 066 #B002          WC066B0200          G02826      177004017600
WEST CAMERON 066 #B003          WC066B0300          G02826      177004017800
WEST CAMERON 066 #B004          WC066B0400          G02826      177004018300
WEST CAMERON 066 #B006          WC066B0600          G02826      177004019100
WEST CAMERON 066 #B007          WC066B0700          G02826      177004019600
WEST CAMERON 066 #B008D         WC066B08D0          G02826      177004020400
WEST CAMERON 066 #B009          WC066B0900          G02826      177004020801
WEST CAMERON 066 #B010          WC066B1000          G02826      177004021400
WEST CAMERON 066 #B012          WC066B1200          G02826      177004023000
WEST CAMERON 066 #B014          WC066B1401          G02826      177004022001
WEST CAMERON 066 #B015          WC066B1500          G02826      177004087600
WEST CAMERON 066 #B016          WC066B1601          G02826      177004097101
WEST CAMERON 066 #B017          WC066B1700          G02826      177004098700
WEST CAMERON 066 #C001          WC066C0102          G01860      177004010502
WEST CAMERON 066 #C002 ST3      WC066C0203          G01860      177004036603
WEST CAMERON 066 #C005 ST2      WC066C0502          G01860      177004098302
WEST CAMERON 066 #D007          WC066D0702          G01860      177004042902
WEST CAMERON 066 #E001          WC066E0100          G02826      177004034700
WEST CAMERON 066 #E002          WC066E0200          G02826      177004043400
WEST CAMERON 066 #E003          WC066E0300          G02826      177004047900
WEST CAMERON 066 #E004          WC066E0400          G02826      177004051500
WEST CAMERON 066 #E006          WC066E0600          G02826      177004087900
WEST CAMERON 071 #018           WC07101800           00244      177004029400
WEST CAMERON 071 #023           WC07102300           00244      177004040500
WEST CAMERON 071 #026           WC07102600           00244      177004067600
WEST CAMERON 071 #027           WC07102700           00244      177004069700
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Asset Name                  FWE Acct. Code   Lease Number        API
WEST CAMERON 071 #028       WC07102800           00244      177004071000
WEST CAMERON 071 #031       WC07103100           00244      177004118900
WEST CAMERON 071 #D001      WC071D0100           00244      177002000100
WEST CAMERON 071 #D003      WC071D0300           00244      177002004800
WEST CAMERON 071 #D005      WC071D0501           00244      177002004101
WEST CAMERON 071 #D006      WC071D0600           00244      177002006900
WEST CAMERON 071 #D009      WC071D0900           00244      177002008000
WEST CAMERON 071 #F001      WC071F0100           00244      177004102400
WEST CAMERON 071 #F002      WC071F0200           00244      177004102600
WEST CAMERON 072 #001       WC07200100          G23735      177004114900
WEST CAMERON 072 #002       WC07200200          G23735      177004119400
WEST CAMERON 072 #003       WC07200301          G23735      177004125001
WEST CAMERON 102 #002       WC10200200           00247      177002009300
WEST CAMERON 102 #005       WC10200500           00247      177004006800
WEST CAMERON 102 #007       WC10200700           00247      177004008600
WEST CAMERON 102 #008       WC10200800           00247      177004009400
WEST CAMERON 102 #022       WC10202200           00247      177004064300
WEST CAMERON 102 #024       WC10202400           00247      177004062500
WEST CAMERON 102 #H001      WC102H0100           00247      177004103400
WEST CAMERON 102 #H002      WC102H0202           00247      177004104402
WEST CAMERON 110 #006       WC11000600           00081      177002002700
WEST CAMERON 110 #007       WC11000700           00081      177002003000
WEST CAMERON 110 #010 ST1   WC11001001           00081      177004025001
WEST CAMERON 110 #011       WC11001100           00081      177004083400
WEST CAMERON 110 #012 ST2   WC11001202           00081      177004086302
WEST CAMERON 110 #014 ST2   WC11001402           00081      177004090002
WEST CAMERON 110 #015 ST1   WC11001501           00081      177004106501
WEST CAMERON 110 #018 ST2   WC11001802           00081      177004127002
WEST CAMERON 110 #019 ST1   WC11001901           00081      177004127801
WEST CAMERON 110 #05A       WC1105AD64           00081      177002002200
WEST CAMERON 110 #A001      WC110A0100           00081      177000013100
WEST CAMERON 110 #A002C     WC110A02C0           00081      177000013200
WEST CAMERON 110 #A003      WC110A0300           00081      177000013300
WEST CAMERON 110 #A004      WC110A0400           00081      177000013400
WEST CAMERON 110 #A005      WC110A0500           00081      177000038900
WEST CAMERON 110 #A006      WC110A0600           00081      177002004000
WEST CAMERON 110 #C001      WC110C0100           00081      177004112500
WEST CAMERON 110 #F001      WC110F0100           00081      177004107300
WEST CAMERON 110 #F002      WC110F0200           00081      177004119300
WEST CAMERON 290 #002       WC29002             G04818      177014018400
WEST CAMERON 290 #A001      WC290A0100          G04818      177014020700
WEST CAMERON 290 #A002      WC290A0200          G04818      177014024200
WEST CAMERON 290 #A003      WC290A0300          G04818      177014029100
WEST CAMERON 295 #A001      WC295A0101          G24730      177014037501
WEST CAMERON 295 #A002      WC295A0201          G24730      177014039001
WEST CAMERON 67 #D1         WC067D0100          G03256      177004031600
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Asset Name                   FWE Acct. Code   Lease Number        API
WEST CAMERON 67 #D10         ‐                   G03256      177004098501
WEST CAMERON 67 #D6          ‐                   G03256      177004040700
WEST CAMERON 67 #D9          WC067D0900          G03256      177004078600
WEST DELTA 053 #001          WD05300100           17935      170752037400
WEST DELTA 068 #U001         WD068U0100           00180      177190136200
WEST DELTA 068 #U004         WD068U0400           00180      177192007000
WEST DELTA 068 #U005 ST2     WD068U0502           00180      177192007502
WEST DELTA 068 #U006         WD068U0600           00180      177192008600
WEST DELTA 068 #U009         WD068U0900           00180      177192011401
WEST DELTA 068 #U011         WD068U11             00180      177192013603
WEST DELTA 068 #U013 ST2     WD068U1302           00180      177194065102
WEST DELTA 068 #U014         WD068U1400           00180      177194065300
WEST DELTA 069 #D007 ST2     WD069D0702           00181      177190063802
WEST DELTA 070 #D001D        WD070D0100           00182      177190063300
WEST DELTA 070 #D005         WD070D0500           00182      177190063600
WEST DELTA 070 #D008         WD070D0800           00182      177190063900
WEST DELTA 070 #D009         WD070D0900           00182      177190064000
WEST DELTA 070 #D010         WD070D1000           00182      177190066700
WEST DELTA 070 #D011         WD070D1100           00182      177194036800
WEST DELTA 070 #D012         WD070D1200           00182      177194037200
WEST DELTA 070 #D013         WD070D1300           00182      177194057000
WEST DELTA 070 #D014         WD070D1400           00182      177194057200
WEST DELTA 070 #E001 ST1     WD070E0101           00182      177190108201
WEST DELTA 070 #E002         WD070E0200           00182      177190067800
WEST DELTA 070 #E003         WD070E0300           00182      177190066500
WEST DELTA 070 #FF001        WD070FF100           00182      177194084200
WEST DELTA 070 #FF002        WD070FF200           00182      177194084300
WEST DELTA 070 #FF003        WD070FF300           00182      177194084400
WEST DELTA 070 #I003 ST1     WD070I0301           00182      177190091301
WEST DELTA 070 #I004         WD070I0400           00182      177190091500
WEST DELTA 070 #I005 ST1     WD070I0501           00182      177190095001
WEST DELTA 070 #I006 ST      WD070I0601           00182      177190095101
WEST DELTA 070 #I008 ST1     WD070I0801           00182      177190102101
WEST DELTA 070 #I010 ST1     WD070I1001           00182      177190105701
WEST DELTA 070 #I012 STBP2   WD070I1202           00182      177194010702
WEST DELTA 070 #I013         WD070I1300           00182      177194038400
WEST DELTA 070 #I014         WD070I1400           00182      177194061100
WEST DELTA 070 #I015         WD070I1500           00182      177194061300
WEST DELTA 070 #I016 ST      WD070I1601           00182      177194064201
WEST DELTA 070 #I017         WD070I1700           00182      177194064600
WEST DELTA 070 #L003         WD070L0300           00182      177190113800
WEST DELTA 070 #L004         WD070L0400           00182      177190115100
WEST DELTA 070 #L005         WD070L0500           00182      177190115500
WEST DELTA 070 #L006         WD070L0600           00182      177190115000
WEST DELTA 070 #L010         WD070L1000           00182      177190119500
WEST DELTA 070 #L011         WD070L1100           00182      177190121400
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Asset Name                    FWE Acct. Code   Lease Number        API
WEST DELTA 071 #E006          WD071E0600           00838      177190073200
WEST DELTA 071 #E007 ST1      WD071E0701           00838      177190095601
WEST DELTA 071 #E009 ST1      WD071E0901           00838      177190091701
WEST DELTA 071 #E010          WD071E1000           00838      177190095700
WEST DELTA 071 #O001 ST2      WD071O0102           00838      177190118502
WEST DELTA 071 #O003          WD071O0300           00838      177190121500
WEST DELTA 071 #O004 ST1      WD071O0401           00838      177190124301
WEST DELTA 071 #O005          WD071O0501           00838      177190125001
WEST DELTA 071 #O006          WD071O0601           00838      177190127101
WEST DELTA 071 #O007          WD071O0702           00838      177190129602
WEST DELTA 071 #O009          WD071O0900           00838      177190133600
WEST DELTA 071 #O010          WD071O1000           00838      177194002500
WEST DELTA 071 #O013          WD071O1303           00838      177192001102
WEST DELTA 075 #A004B         WD075A04B0          G01085      177190074300
WEST DELTA 075 #A010D         WD075A10D0          G01085      177190082700
WEST DELTA 075 #A015          WD075A1500          G01085      177194030300
WEST DELTA 075 #B002          WD075B0201          G01085      177190131301
WEST DELTA 075 #B009          WD075B0900          G01085      177190136800
WEST DELTA 075 #B017 ST       WD075B1701          G01085      177194019501
WEST DELTA 075 #B024          WD075B2400          G01085      177194045700
WEST DELTA 075 #B026 ST       WD075B2601          G01085      177194046601
WEST DELTA 075 #F002 ST2      WD075F0200          G01085      177194042800
WEST DELTA 075 #G002          WD075G0200          G01085      177194056600
WEST DELTA 090 #A001          WD090A0100          G01089      177190061600
WEST DELTA 090 #A005          WD090A0500          G01089      177190128700
WEST DELTA 090 #A009D         WD090A09D0          G01089      177190077300
WEST DELTA 090 #B004 ST1      WD090B0401          G01089      177190132101
WEST DELTA 090 #B011 ST       WD090B1101          G01089      177192000801
WEST DELTA 090 #B018          WD090B1800          G01089      177194040400
WEST DELTA 090 #B020          WD090B2001          G01089      177190135901
WEST DELTA 090 #B021          WD090B2100          G01089      177194041500
WEST DELTA 090 #B027          WD090B2700          G01089      177194046700
WEST DELTA 090 #F004          WD090F0400          G01089      177194057700
WEST DELTA 090 #F005 ST2      WD090F0502          G01089      177194057902
WEST DELTA 090 #F006          WD090F0600          G01089      177194058601
WEST DELTA 094 #V001          WD094V0100           00839      177192005700
WEST DELTA 094 #V002          WD094V0200           00839      177192011600
WEST DELTA 094 #V003          WD094V0300           00839      177192014900
WEST DELTA 094 #V004          WD094V0400           00839      177192015500
WEST DELTA 094 #V014          WD094V1400           00839      177194039000
WEST DELTA 094 #V015          WD094V1500           00839      177194064000
WEST DELTA 094 #V016          WD094V1602           00839      177194063902
WEST DELTA 095 #S005 ST1BP1   WD095S0502          G01497      177190126202
WEST DELTA 095 #S006          WD095S0600          G01497      177190135400
WEST DELTA 095 #S008          WD095S0800          G01497      177190127700
WEST DELTA 095 #S010 ST1      WD095S1001          G01497      177192000101
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Asset Name                    FWE Acct. Code   Lease Number        API
WEST DELTA 095 #S012 ST       WD095S1201          G01497      177192002301
WEST DELTA 095 #X001 ST       WD095X0101          G01497      177194002901
WEST DELTA 095 #X003          WD095X0300          G01497      177194003200
WEST DELTA 095 #X007 ST1      WD095X0701          G01497      177194003701
WEST DELTA 095 #X010 ST2      WD095X1001          G01497      177194055301
WEST DELTA 095 #X011          WD095X1100          G01497      177194055700
WEST DELTA 095 #X012D         WD095X12D0          G01497      177194055900
WEST DELTA 096 #S002 ST1BP1   WD096S0202          G01498      177190123402
WEST DELTA 096 #S007 ST1      WD096S0701          G01498      177190132901
WEST DELTA 096 #X004 ST1      WD096X0401          G01498      177194003301
WEST DELTA 096 #X006 ST2      WD096X0602          G01498      177194003502
WEST DELTA 096 #X009          WD096X0900          G01498      177194004000
WEST DELTA 103 #F001 ST1      WD103F0101          G12360      177194054801
WEST DELTA 103 #F002          WD103F0200          G12360      177194055100
WEST DELTA 103 #F003          WD103F0300          G12360      177194058200
WEST DELTA 103 #F007          WD103F0700           00840      177194083800
WEST DELTA 104 #D005          WD104D0500           00841      177190116200
WEST DELTA 104 #D009          WD104D0900           00841      177190118400
WEST DELTA 104 #D010 ST       WD104D1001           00841      177190119801
WEST DELTA 104 #D011          WD104D1100           00841      177190119900
WEST DELTA 104 #D012          WD104D1200           00841      177190120500
WEST DELTA 104 #D013          WD104D1300           00841      177194068900
WEST DELTA 104 #D014          WD104D1400           00841      177194083900
WEST DELTA 104 #E004          WD104E0401           00841      177194040901
WEST DELTA 104 #E009          WD104E0901           00841      177194041601
WEST DELTA 104 #E010          WD104E1002           00841      177194040702
WEST DELTA 104 #E015          WD104E1504           00841      177194042504
WEST DELTA 104 #E020          WD104E2001           00841      177194064901
WEST DELTA 105 #D003          WD105D0300           00842      177190114300
WEST DELTA 105 #E001 ST3      WD105E0103           00842      177194039803
WEST DELTA 105 #E002 ST1      WD105E0201           00842      177194039901
WEST DELTA 105 #E003          WD105E0301           00842      177194040001
WEST DELTA 105 #E005A         WD105E05A0           00842      177194040500
WEST DELTA 105 #E006          WD105E0600           00842      177194041000
WEST DELTA 105 #E007          WD105E0700           00842      177194040600
WEST DELTA 105 #E008 ST1      WD105E0801           00842      177194041101
WEST DELTA 105 #E011          WD105E1101           00842      177194041401
WEST DELTA 105 #E012          WD105E1200           00842      177194041800
WEST DELTA 105 #E013 ST1      WD105E1301           00842      177194042001
WEST DELTA 105 #E014          WD105E1400           00842      177194043200



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Asset Name                       FWE Acct. Code    Lease Number   Area/Block       WI
BRAZOS 491 P/F‐4                 BA4914CAS           G06069         BA491           100.0%
BRAZOS 491 P/F‐5                 BA4915CAS           G06069         BA491           100.0%
BRAZOS 491 P/F‐A                 BA491AWP            G06069         BA491           100.0%
BRAZOS A‐105 P/F‐A               BAA105PFA           G01757        BAA105            12.5%
BRAZOS A‐105 P/F‐B               BAA105PFB           G01757        BAA105            12.5%
BRAZOS A‐133 P/F‐A               BAA133APLT          G02665        BAA133            25.0%
BRAZOS A‐133 P/F‐B               BAA133BPLT          G02665        BAA133            25.0%
BRAZOS A‐133 P/F‐C‐AUX           BAA133CAUX          G02665        BAA133            25.0%
BRAZOS A‐133 P/F‐D               BAA133DPLT          G02665        BAA133            25.0%
BRAZOS A‐133 P/F‐E               BAA133EPLT          G02665        BAA133            25.0%
CHANDELEUR 043 P/F‐A             CA43APLT            G32268         CA043        50.00%
EAST CAMERON 002 P/F‐1 SL16475   SL164751PT           16475         EC002       89.0625%
EAST CAMERON 002 P/F‐1 SL18121   SL181211PT           18121         EC002       50.0000%
EAST CAMERON 002 P/F‐1/1D16473   SL164731PT           16473         EC002       89.0625%
EAST CAMERON 002 P/F‐2 SL16475   SL164752PT           16475         EC002       89.0625%
EAST CAMERON 002 P/F‐2/2D16473   SL164732PT           16473         EC002       89.0625%
EAST CAMERON 002 P/F‐3/3D16475   SL164753PT           16475         EC002       89.0625%
EAST CAMERON 002 P/F‐4/4D16475   SL164754PT           16475         EC002       89.0625%
EAST CAMERON 002 P/F‐5 SL16475   SL164755PT           16475         EC002       89.0625%
EAST CAMERON 002 P/F‐B (SL)      EC2BSL                  16475      EC002       89.0625%
EAST CAMERON 002 P/F‐C SL16475   EC2CPLT              16475         EC002       89.0625%
EAST CAMERON 014 P/F‐12          EC1412CAS           G01440         EC014      100.0000%
EAST CAMERON 014 P/F‐13          EC1413CAS           G01440         EC014      100.0000%
EAST CAMERON 014 P/F‐B           EC014PFB            G13572         EC014      100.0000%
EAST CAMERON 014 P/F‐CF          EC14CFPLT           G01440         EC014      100.0000%
EAST CAMERON 014 P/F‐CF‐2        EC14CF2PLT          G01440         EC014      100.0000%
EAST CAMERON 265 P/F‐D           EC265DPLT           G00972         EC265       50.0000%
EAST CAMERON 278 P/F‐B           EC278BPLT           G00974         EC278       50.0000%
EAST CAMERON 278 P/F‐C           EC278CPLT           G00974         EC278       50.0000%
EAST CAMERON 338 P/F‐A           EC338PFA            G02063         EC338       15.6694%
EUGENE IS 053 P/F‐10             EI5310CAS            00479         EI053      100.0000%
EUGENE IS 053 P/F‐12             EI5312CAS            00479         EI053      100.0000%
EUGENE IS 053 P/F‐8              EI538CAS             00479         EI053       66.6667%
EUGENE IS 053 P/F‐9              EI539PLT             00479         EI053       66.6667%
EUGENE IS 053 P/F‐B              EI53BPLT             00479         EI053       66.6667%
EUGENE IS 053 P/F‐C              EI53CPLT             00479         EI053       83.3334%
EUGENE IS 053 P/F‐D              EI53DCAS             00479         EI053      100.0000%
EUGENE IS 053 P/F‐G              EI53GCAS             00479         EI053       66.6667%
EUGENE IS 089 P/F‐23             EI089PF23            00044         EI089       75.0000%
EUGENE IS 119 P/F‐13             EI11913CAS           00050         EI119      100.0000%
EUGENE IS 119 P/F‐30             EI11930WP            00049         EI119      100.0000%
EUGENE IS 119 P/F‐33             EI11933CAS           00049         EI119      100.0000%
EUGENE IS 119 P/F‐33‐AUX         EI11933AUX           00049         EI119      100.0000%
EUGENE IS 119 P/F‐34             EI11934CAS           00049         EI119      100.0000%
EUGENE IS 119 P/F‐35             EI11935CAS           00049         EI119      100.0000%
EUGENE IS 119 P/F‐37             EI11937CAS           00049         EI119       50.0000%
EUGENE IS 119 P/F‐37 H           EI11937HCA           00049         EI119       50.0000%
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Asset Name                      FWE Acct. Code   Lease Number   Area/Block       WI
EUGENE IS 119 P/F‐F             EI119FPLT              00049      EI119      100.0000%
EUGENE IS 119 P/F‐I             EI119IPLT              00049      EI119      100.0000%
EUGENE IS 119 P/F‐I‐8           EI119I8CAS             00050      EI119      100.0000%
EUGENE IS 119 P/F‐K             EI119KPLT              00049      EI119      100.0000%
EUGENE IS 119 P/F‐M‐4           EI119M4WP              00049      EI119      100.0000%
EUGENE IS 119 P/F‐M‐7           EI119M7CAS             00049      EI119      100.0000%
EUGENE IS 120 P/F‐11            EI12011CAS             00050      EI120      100.0000%
EUGENE IS 120 P/F‐12            EI12012CAS             00050      EI120      100.0000%
EUGENE IS 120 P/F‐14            EI12014CAS             00050      EI120      100.0000%
EUGENE IS 120 P/F‐15            EI12015CAS             00050      EI120      100.0000%
EUGENE IS 120 P/F‐17            EI12017CAS             00050      EI120      100.0000%
EUGENE IS 120 P/F‐19            EI12019CAS             00050      EI120      100.0000%
EUGENE IS 120 P/F‐20            EI12020CAS             00050      EI120      100.0000%
EUGENE IS 120 P/F‐9             EI1209CAS              00050      EI120      100.0000%
EUGENE IS 120 P/F‐CF‐QTRS       EI120CFQTR             00050      EI120      100.0000%
EUGENE IS 120 P/F‐CMP1          EI120CMP1              00050      EI120      100.0000%
EUGENE IS 120 P/F‐CMP2          EI120CMP2              00050      EI120      100.0000%
EUGENE IS 120 P/F‐FIRE STA      EI120FIRE              00050      EI120      100.0000%
EUGENE IS 120 P/F‐PROD          EI120PRD               00050      EI120      100.0000%
EUGENE IS 120 P/F‐SC            EI120SCPLT             00050      EI120      100.0000%
EUGENE IS 125 P/F‐2             EI1252CAS              00051      EI125      100.0000%
EUGENE IS 125 P/F‐A             EI125APLT              00051      EI125      100.0000%
EUGENE IS 125 P/F‐R             EI125RPLT              00051      EI125      100.0000%
EUGENE IS 126 P/F‐12            EI12612CAS              00052     EI126      100.0000%
EUGENE IS 126 P/F‐31            EI12631CAS              00052     EI126      100.0000%
EUGENE IS 136 P/F‐1             EI1361CAS              G03152     EI136      100.0000%
EUGENE IS 136 P/F‐JA            EI136JAPLT             G03152     EI136      100.0000%
EUGENE IS 158 P/F‐14            EI15814CAS             G01220     EI158      100.0000%
EUGENE IS 158 P/F‐B             EI158BPLT              G01220     EI158      100.0000%
EUGENE IS 158 P/F‐C             EI158CPLT              G01220     EI158      100.0000%
EUGENE IS 158 P/F‐C‐QRT         EI158CQTR              G01220     EI158      100.0000%
EUGENE IS 158 P/F‐JB            EI158JBPLT             G01220     EI158      100.0000%
EUGENE IS 173 P/F‐G             EI173GPLT              G13622     EI173      100.0000%
EUGENE IS 175 P/F‐C‐PROD        EI175CPRD                438      EI175       75.0000%
EUGENE IS 175 P/F‐D             EI175DPLT                438      EI175       75.0000%
EUGENE IS 175 P/F‐F             EI175FPLT                438      EI175       75.0000%
EUGENE IS 175 P/F‐H             EI175HCAS                438      EI175       75.0000%
EUGENE IS 175 P/F‐I             EI175ICAS                438      EI175       75.0000%
EUGENE IS 175 P/F‐J             EI175JPLT                438      EI175       75.0000%
EUGENE IS 187 P/F‐2             EI187PF2               G10736     EI187      100.0000%
EUGENE IS 187 P/F‐JC            EI187JCPLT             G10736     EI187      100.0000%
EUGENE IS 187 P/F‐JD            EI187JDPLT             G10736     EI187      100.0000%
EUGENE IS 188 P/F‐A             EI188APLT               00443     EI188      100.0000%
EUGENE IS 188 P/F‐JE            EI188JEPLT             G10736     EI188      100.0000%
EUGENE IS 188 P/F‐P‐VALVE       EI188PVALV              00443     EI188      100.0000%
EUGENE IS 189 P/F‐B             EI189BPLT                423      EI189      100.0000%
EUGENE IS 189 P/F‐JG            EI189JGPLT               423      EI189      100.0000%
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Asset Name                      FWE Acct. Code   Lease Number   Area/Block        WI
EUGENE IS 212 P/F‐A             EI212APLT           G05503         EI212      66.6667%
EUGENE IS 224 P/F‐A             EI224APLT           G05504         EI224     100.0000%
EUGENE IS 224 P/F‐C             EI224CPLT           G05504         EI224     100.0000%
EUGENE IS 296 P/F‐B             EI296PFB           G01687M        EI 296      85.5270%
EUGENE IS 307 P/F‐A             EI307PFA            G02110         EI307       0.0000%
EUGENE IS 307 P/F‐B             EI307PFB            G02110         EI307       0.0000%
EUGENE IS 312 P/F‐D             EI312PFD            G22679         EI312       0.0000%
EUGENE IS 315 P/F‐A             EI315APLT           G24912         EI315      75.2917%
EUGENE IS 315 P/F‐C             EI315PFC            G24912         EI315      25.0000%
EUGENE IS 316 P/F‐A             EI316APLT           G05040         EI316     100.0000%
EUGENE IS 330 P/F A C S         EI330ACSPF          G02115         EI330      27.0000%
EUGENE IS 330 P/F‐B             EI330BPLT           G02115         EI330      65.0249%
EUGENE IS 330 P/F‐D             EI330DPLT           G02115         EI330      70.0249%
EUGENE IS 333 P/F‐B             EI333BPLT           G02317         EI333     100.0000%
EUGENE IS 334 P/F‐D             EI334DPLT           G15263         EI334     100.0000%
EUGENE IS 337 P/F‐A             EI337APLT           G03332         EI337     100.0000%
EUGENE IS 342 P/F‐C             EI342CPLT           G02319         EI342      67.4286%
EUGENE IS 346 P/F‐A             EI346APLT           G14482         EI346     100.0000%
EUGENE IS 353 P/F‐D             EI353PFD            G02324         EI353       3.7850%
EUGENE IS 354 P/F‐D             EI354DPLT           G10752         EI354     100.0000%
EUGENE IS 360 P/F‐C             EI360PFC            G02324         EI360       3.2730%
EUGENE IS 360 P/F‐E             EI360PFE            G02324         EI360       4.3730%
EUGENE IS 361 P/F‐A             EI361PFA            G02324         EI361       6.7568%
EWING BANK 826 P/F‐A            EW826APLT           G05800        EW826      100.0000%
GALVESTON 210 P/F‐1             GA2101CAS           G25524        GA210       66.6700%
GALVESTON 210 P/F‐2             GA2102CAS           G25524        GA210       66.6700%
GALVESTON 210 P/F‐B             GA210BPLT           G25524        GA210       66.6700%
GRAND ISLE 039 P/F‐Q            GI39QPLT             00127         GI039      75.0000%
GRAND ISLE 040 P/F‐G            GI40GPLT             00128         GI040      75.0000%
GRAND ISLE 040 P/F‐M            GI40MPLT             00128         GI040      75.0000%
GRAND ISLE 041 P/F‐B            GI41BPLT             00129         GI041      75.0000%
GRAND ISLE 041 P/F‐D            GI041PFD             00129         GI041      75.0000%
GRAND ISLE 041 P/F‐E            GI41EPLT             00130         GI041      75.0000%
GRAND ISLE 041 P/F‐H            GI41HPLT             00130         GI041      75.0000%
GRAND ISLE 041 P/F‐I            GI41ICAS             00132         GI041      75.0000%
GRAND ISLE 042 P/F‐C            GI42CPLT             00131         GI042      75.0000%
GRAND ISLE 042 P/F‐F            GI42FPLT             00131         GI042      75.0000%
GRAND ISLE 043 P/F‐AC‐CMP       GI043PFAC            00175         GI043      75.0000%
GRAND ISLE 043 P/F‐AP‐QRT       GI43APPLT            00175         GI043      75.0000%
GRAND ISLE 043 P/F‐AQ‐QRT       GI43AQPLT            00175         GI043      75.0000%
GRAND ISLE 043 P/F‐AR‐RSR       GI43ARPLT            00175         GI043      75.0000%
GRAND ISLE 043 P/F‐AS‐SEP       GI43ASPLT            00175         GI043      75.0000%
GRAND ISLE 047 P/F‐A            GI47APLT             00133         GI047      75.0000%
GRAND ISLE 047 P/F‐AP           GI47APPLT            00133         GI047      75.0000%
GRAND ISLE 047 P/F‐AQ‐QTRS      GI47AQPLT            00133         GI047      75.0000%
GRAND ISLE 047 P/F‐AX (BRACE)   GI47AXPLT            00133         GI047      75.0000%
GRAND ISLE 047 P/F‐L            GI47LPLT             00133         GI047      75.0000%
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Asset Name                      FWE Acct. Code   Lease Number   Area/Block        WI
GRAND ISLE 047 P/F‐O            GI47OPLT                00133     GI047       75.0000%
GRAND ISLE 048 P/F‐E            GI48EPLT                00134     GI048       75.0000%
GRAND ISLE 048 P/F‐J            GI48JPLT                00134     GI048       75.0000%
GRAND ISLE 048 P/F‐P            GI48PPLT                00134     GI048       75.0000%
GRAND ISLE 054 P/F‐A            GI54APLT               G27173     GI054       50.0000%
GRAND ISLE 076 P/F‐A            GI076PFA               G02161     GI076       95.8333%
GRAND ISLE 116 P/F‐A            GI116APLT              G13944     GI116       50.0000%
HIGH ISLAND 110 P/F‐A           HI110PFA               G02353     HI110       20.0000%
HIGH ISLAND 110 P/F‐B           HI110PFB               G02353     HI110       20.0000%
HIGH ISLAND 120 P/F‐A‐PROCESS   HI120APROC             G01848     HI120         34.33%
HIGH ISLAND 129 P/F‐1           HI1291CAS              G01848     HI129        0.0000%
HIGH ISLAND 129 P/F‐16          HI12916CAS             G01848     HI129        0.0000%
HIGH ISLAND 129 P/F‐17          HI12917CAS             G01848     HI129       90.0000%
HIGH ISLAND 129 P/F‐18          HI129PF18              G01848     HI129       27.0000%
HIGH ISLAND 129 P/F‐5/6         HI1295PLT              G01848     HI129       90.0000%
HIGH ISLAND 129 P/F‐CPF         HI129CPF               G01848     HI129        0.0000%
HIGH ISLAND 179 P/F‐A           HI179APLT              G03236     HI179       69.0750%
HIGH ISLAND 206 P/F‐B           HI206BPLT              G20660     HI206      100.0000%
HIGH ISLAND A‐341 P/F‐B         HIA341BPLT             G25605     HIA341      60.0000%
HIGH ISLAND A‐376 P/F‐A         HIA376APLT             G02754     HIA376      48.8298%
HIGH ISLAND A‐376 P/F‐B         HIA376BPLT             G02754     HIA376      48.8298%
HIGH ISLAND A‐376 P/F‐C         HIA376CPLT             G02754     HIA376      48.8298%
HIGH ISLAND A‐382 P/F‐F         HIA382FPLT             G02757     HIA382      72.4106%
HIGH ISLAND A‐474 P/F‐A         HIA474PFA              G02366     HIA474      10.0000%
HIGH ISLAND A‐489 P/F‐B         HIA489PFB              G02372     HIA489       8.5000%
HIGH ISLAND A‐545 P/F‐JA        HIA545JAPT             G17199     HIA545      60.0000%
HIGH ISLAND A‐573 P/F‐A         HIA573APLT             G02393     HIA573      72.4102%
HIGH ISLAND A‐573 P/F‐B         HIA573BPLT             G02393     HIA573      72.4102%
HIGH ISLAND A‐582 P/F‐C         HIA582PFC              G02719     HIA582      18.0975%
HIGH ISLAND A‐582 P/F‐D         HIA582PFD              G02719     HIA582      36.5786%
HIGH ISLAND A‐595 P/F‐CF        HIA595CFPT             G02721     HIA595      72.4102%
HIGH ISLAND A‐595 P/F‐D         HIA595DPLT             G02721     HIA595      72.4102%
HIGH ISLAND A‐596 P/F‐E         HIA596EPLT             G02722     HIA596      72.4102%
MAIN PASS 077 P/F‐A             MP077PFA               G04481     MP077       26.1683%
MAIN PASS 140 P/F‐A             MP140APLT              G02193     MP140       65.0000%
MAIN PASS 140 P/F‐B             MP140BPLT              G02193     MP140       65.0000%
MAIN PASS 153 P/F‐B             MP153BPLT              G01967     MP153       50.0000%
MAIN PASS 153 P/F‐C             MP153CPLT              G01967     MP153       50.0000%
MAIN PASS 259 P/F‐A             MP259APLT              G07827     MP259       56.9016%
MAIN PASS 275 P/F‐A             MP275APLT              G15395     MP275      100.0000%
MAIN PASS 289 P/F‐B             MP289BPLT              G01666     MP289      100.0000%
MAIN PASS 289 P/F‐C             MP289CPLT              G01666     MP289      100.0000%
MAIN PASS 296 P/F‐B             MP296BPLT              G01673     MP296       55.0343%
MAIN PASS 296 P/F‐C             MP296CPLT              G01673     MP296       50.4846%
MAIN PASS 301 P/F‐A             MP301PFA               G04486     MP301       22.7793%
MAIN PASS 301 P/F‐B             MP301PFB               G04486     MP301       22.7793%
MAIN PASS 308 P/F‐A             MP308APLT              G32265     MP308      100.0000%
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Asset Name                       FWE Acct. Code   Lease Number   Area/Block        WI
MAIN PASS 310 P/F‐A              MP310APLT              G04126     MP310      100.0000%
MAIN PASS 310 P/F‐JA             MP310JAPT              G04126     MP310      100.0000%
MAIN PASS 311 P/F‐A              MP311APLT              G02213     MP311       50.0000%
MAIN PASS 311 P/F‐B              MP311BPLT              G02213     MP311       50.0000%
MATAGORDA IS 622 P/F‐C           MI622CPLT              G05000     MI622       81.0000%
MATAGORDA IS 622 P/F‐C‐COMPRES   MI622CCMP              G05000     MI622       81.0000%
MATAGORDA IS 622 P/F‐C‐PRD       MI622CPRD              G05000     MI622       81.0000%
MATAGORDA IS 622 P/F‐C‐QRT       MI622CQTR              G05000     MI622       81.0000%
MATAGORDA IS 622 P/F‐D           MI622DPLT              G05000     MI622       81.0000%
MATAGORDA IS 623 P/F‐B‐DRIL      MI623BPLT              G03088     MI623       81.0000%
MATAGORDA IS 623 P/F‐B‐PRD       MI623BPRD              G03088     MI623       81.0000%
MATAGORDA IS 623 P/F‐H           MI623HPLT              G03088     MI623      100.0000%
MATAGORDA IS 635 P/F‐F           MI635FPLT              G06043     MI635       81.0000%
MATAGORDA IS 635 P/F‐G           MI635GPLT              G05000     MI635       81.0000%
MISSISSIPPI CANYON 311 P/F‐A     MC311APLT              G02968     MC311      100.0000%
MOBILE 821 P/F‐A‐QRT             MO821AQTR              G05058     MO821      100.0000%
MOBILE 826 P/F‐D                 MO826DPLT              G26176     MO826       75.0000%
NORTH PADRE IS 969 P/F‐JA        PN969PFJA              G05953     PN969        1.2500%
NORTH PADRE IS 975 P/F‐A         PN975PFA               G05953     PN969        1.2500%
SHIP SHOAL 030 #011 CAS P/F      SS030PF11               00333     SS030       28.9474%
SHIP SHOAL 030 #013 CAS P/F      SS030PF13               00333     SS030       28.9474%
SHIP SHOAL 030 P/F‐14            SS030PF14               00333     SS030       28.9474%
SHIP SHOAL 031 P/F‐10            SS031PF10               00334     SS031       28.9474%
SHIP SHOAL 031 P/F‐A             SS031PFA                00333     SS031       28.9474%
SHIP SHOAL 032 P/F‐18            SS032PF18               00335     SS032       28.9474%
SHIP SHOAL 032 P/F‐20            SS032PF20               00335     SS032       28.9474%
SHIP SHOAL 032 P/F‐24            SS032PF24               00335     SS032       28.9474%
SHIP SHOAL 032 P/F‐E‐1           SS032PFE                00335     SS032       28.9474%
SHIP SHOAL 033 #005 CAS P/F      SS033PF05               00336     SS033       28.9474%
SHIP SHOAL 033 P/F‐C‐1           SS033PFC1               00336     SS033       28.9474%
SHIP SHOAL 033 P/F‐C‐2           SS033PFC2               00336     SS033       28.9474%
SHIP SHOAL 033 P/F‐C‐3(PROD)     SS033PFC3               00336     SS033       28.9474%
SHIP SHOAL 068 P/F‐05            SS685CAS               G02917     SS068      100.0000%
SHIP SHOAL 068 P/F‐10            SS6810CAS              G02917     SS068      100.0000%
SHIP SHOAL 068 P/F‐2             SS682CAS               G02917     SS068      100.0000%
SHIP SHOAL 068 P/F‐4             SS684CAS               G02917     SS068      100.0000%
SHIP SHOAL 068 P/F‐9             SS689CAS               G02917     SS068      100.0000%
SHIP SHOAL 068 P/F‐F             SS68FPLT               G02925     SS068      100.0000%
SHIP SHOAL 091 P/F‐A             SS91APLT               G02919     SS091      100.0000%
SHIP SHOAL 091 P/F‐B             SS91BPLT               G02919     SS091      100.0000%
SHIP SHOAL 105 P/F‐A             SS105APLT              G09614     SS105      100.0000%
SHIP SHOAL 105 P/F‐B             SS105BPLT              G09614     SS105      100.0000%
SHIP SHOAL 126 P/F‐B             SS126BPLT              G12940     SS126      100.0000%
SHIP SHOAL 129 P/F‐A             SS129APLT              G12941     SS129      100.0000%
SHIP SHOAL 129 P/F‐A‐AUX         SS129AAUX              G12941     SS129      100.0000%
SHIP SHOAL 129 P/F‐B             SS129BPLT              G12941     SS129      100.0000%
SHIP SHOAL 129 P/F‐L             SS129LCAS              G12941     SS129      100.0000%
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Asset Name                      FWE Acct. Code   Lease Number   Area/Block        WI
SHIP SHOAL 144 PF 1             ‐                      G30275     SS 144      15.5400%
SHIP SHOAL 169 P/F‐BB           SS169PFBB               00820     SS169       66.6667%
SHIP SHOAL 169 P/F‐C            SS169PFC                00820     SS169       66.6667%
SHIP SHOAL 169 P/F‐G            SS169PFG                00820     SS169       66.6667%
SHIP SHOAL 176 P/F‐1            SS1761PLT              G33646     SS176       57.1429%
SHIP SHOAL 178 P/F‐A            SS178APLT              G05551     SS178      100.0000%
SHIP SHOAL 182 P/F‐A            SS182APLT              G03998     SS182      100.0000%
SHIP SHOAL 182 P/F‐A‐AUX        SS182AAUX              G03998     SS182      100.0000%
SHIP SHOAL 182 P/F‐B            SS182BPLT              G03998     SS182      100.0000%
SHIP SHOAL 182 P/F‐C            SS182CPLT              G03998     SS182      100.0000%
SHIP SHOAL 189 P/F‐A            SS189APLT              G04232     SS189       99.0000%
SHIP SHOAL 189 P/F‐C            SS189PFC               G04232     SS189       24.7396%
SHIP SHOAL 190 P/F‐B            SS190BPLT              G10775     SS190      100.0000%
SHIP SHOAL 193 P/F‐A            SS193APLT              G13917     SS193      100.0000%
SHIP SHOAL 193 P/F‐A‐PROD       SS193APRD              G13917     SS193      100.0000%
SHIP SHOAL 193 P/F‐M            SS193MPLT              G13917     SS193      100.0000%
SHIP SHOAL 194 P/F‐A            SS194APLT              G15288     SS194      100.0000%
SHIP SHOAL 198 P/F‐G            SS198PFG                00593     SS198       50.0000%
SHIP SHOAL 198 P/F‐G‐QTRS       SS198PFGQR              00593     SS198       50.0000%
SHIP SHOAL 198 P/F‐K            SS198PFK                00593     SS198       50.0000%
SHIP SHOAL 204 P/F‐A            SS204APLT              G01520     SS204       55.2000%
SHIP SHOAL 204 P/F‐A‐GEN        SS204AGEN              G01520     SS204       55.2000%
SHIP SHOAL 204 P/F‐A‐PROD       SS204APRD              G01520     SS204       55.2000%
SHIP SHOAL 206 P/F‐E            SS206EPLT              G01522     SS206       60.0000%
SHIP SHOAL 207 P/F‐A‐CMP        SS207ACOMP             G01523     SS207       52.4000%
SHIP SHOAL 207 P/F‐A‐DRILL      SS207ADRL              G01523     SS207       52.4000%
SHIP SHOAL 207 P/F‐A‐MANTIS     SS207PFAMA             G01523     SS207       52.4000%
SHIP SHOAL 207 P/F‐A‐PROD       SS207APRD              G01523     SS207       52.4000%
SHIP SHOAL 207 P/F‐D            SS207DPLT              G01523     SS207       52.8000%
SHIP SHOAL 207 P/F‐DWPF         SS207PFDWP             G01523     SS207        0.0000%
SHIP SHOAL 216 P/F‐C            SS216CPLT              G01524     SS216       70.0000%
SHIP SHOAL 259 P/F‐JA           SS259JAPLT             G05044     SS259       93.7130%
SHIP SHOAL 274 P/F‐A            SS274APLT              G01039     SS274      100.0000%
SHIP SHOAL 274 P/F‐C            SS274CPLT              G01039     SS274      100.0000%
SHIP SHOAL 291 P/F‐A            SS291PFA               G02923     SS291        0.0000%
SHIP SHOAL 354 P/F‐A            SS354APLT              G15312     SS354      100.0000%
SOUTH MARSH IS 010 P/F‐4        SM010PF4               G01181     SM010      100.0000%
SOUTH MARSH IS 010 P/F‐A        SM10APLT               G01181     SM010      100.0000%
SOUTH MARSH IS 011 P/F‐34       SM011PF34              G01182     SM011      100.0000%
SOUTH MARSH IS 011 P/F‐58       SM011PF58              G01182     SM011      100.0000%
SOUTH MARSH IS 018 P/F‐A        SM018PFA               G08680     SM018      100.0000%
SOUTH MARSH IS 048 P/F‐E        SM048PFE                 786      SM048      100.0000%
SOUTH MARSH IS 066 P/F‐C        SM66CPLT               G01198     SM058       50.0000%
SOUTH MARSH IS 066 P/F‐D        SM66DPLT               G01198     SM066       50.0000%
SOUTH MARSH IS 076 P/F‐F        SM76FPLT               G01208     SM076      100.0000%
SOUTH MARSH IS 093 P/F‐A        SM093PFA               G21618     SM093       12.5000%
SOUTH MARSH IS 105 P/F‐A        SM105APLT              G17938     SM105      100.0000%
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Asset Name                       FWE Acct. Code   Lease Number   Area/Block       WI
SOUTH MARSH IS 106 P/F‐A‐NORTH   SM106ANPLT             G03776     SM106      100.0000%
SOUTH MARSH IS 106 P/F‐JUNCTIO   SM106JCT               G02279     SM106      100.0000%
SOUTH MARSH IS 128 P/F‐A         SM128APLT              G02587     SM128       84.0133%
SOUTH MARSH IS 128 P/F‐B         SM128BPLT              G02587     SM128       84.0133%
SOUTH MARSH IS 128 P/F‐C         SM128CPLT              G02587     SM128       84.0133%
SOUTH MARSH IS 128 P/F‐SA‐2      SM128SADPT             G02587     SM128       84.0133%
SOUTH MARSH IS 132 P/F‐B         SM132BPLT              G02282     SM132       50.0000%
SOUTH MARSH IS 137 P/F‐A         SM137APLT              G02589     SM137       50.0000%
SOUTH MARSH IS 149 P/F‐C         SM149CPLT              G02592     SM149       50.0000%
SOUTH MARSH IS 149 P/F‐D         SM149DPLT              G02592     SM149      100.0000%
SOUTH MARSH IS 239 156 CAIS      SM239PF156              00310     SM240       16.0000%
SOUTH MARSH IS 239 191 CAIS      SM239PF191              00310     SM240       16.0000%
SOUTH MARSH IS 240 1 CAIS        SM240PF1                 310      SM240       16.0000%
SOUTH MARSH IS 240 153 CAIS      SM240PF153               310      SM240       16.0000%
SOUTH MARSH IS 240 192 CAIS      SM240PF192               310      SM240       16.0000%
SOUTH MARSH IS 240 196 CAIS      SM240PF196               310      SM240       16.0000%
SOUTH MARSH IS 240 2 CAIS        SM240PF2                 310      SM240       16.0000%
SOUTH MARSH IS 240 E DOLPHIN     SM240PF0E                310      SM240       16.0000%
SOUTH MARSH IS 240 P/F‐E‐PRD     SM240PFE                 310      SM240       16.0000%
SOUTH MARSH IS 241 CAS 149 P/F   SM241PF149               310      SM241       16.0000%
SOUTH MARSH IS 241 CAS 200 P/F   SM241PF200              00310     SM241       16.0000%
SOUTH MARSH IS 241 CAS 302 P/F   SM241PF302              00310     SM241       16.0000%
SOUTH MARSH IS 268 P/F‐A‐DRL     SM268APLT              G02310     SM268       69.4185%
SOUTH MARSH IS 268 P/F‐A‐PRD     SM268APRD              G02310     SM268       69.4185%
SOUTH MARSH IS 268 P/F‐D         SM268DPLT              G02310     SM268       69.4185%
SOUTH MARSH IS 269 P/F‐B         SM269BPLT              G02311     SM269       72.8000%
SOUTH MARSH IS 269 P/F‐F         SM269FCAS              G02311     SM269       87.7000%
SOUTH MARSH IS 280 P/F‐G         SM280GPLT              G14456     SM280       50.0000%
SOUTH MARSH IS 280 P/F‐H         SM280HPLT              G14456     SM280       50.0000%
SOUTH MARSH IS 280 P/F‐I         SM280IPLT              G02600     SM280       58.4000%
SOUTH MARSH IS 281 P/F‐C         SM281PFC               G02600     SM281       68.1000%
SOUTH MARSH IS 281 P/F‐E         SM281EPLT              G02600     SM281       68.1000%
SOUTH PASS 062 P/F‐A             SP62APLT               G01294     SP062      100.0000%
SOUTH PASS 062 P/F‐B             SP62BPLT               G01294     SP062      100.0000%
SOUTH PASS 062 P/F‐C             SP062PFC               G01294     SP062      100.0000%
SOUTH PASS 062 P/F‐D             SP062PFD               G01294     SP062      100.0000%
SOUTH PASS 065 P/F‐A             SP65APLT               G01610     SP065       50.0000%
SOUTH PASS 070 P/F‐C             SP070PFC               G01614     SP070      100.0000%
SOUTH PASS 070 P/F‐D             SP070PFD               G01614     SP070      100.0000%
SOUTH PASS 075 P/F‐A             SP75APLT               G05051     SP075      100.0000%
SOUTH PASS 087 P/F‐D             SP87DPLT               G07799     SP087       86.1125%
SOUTH PASS 089 P/F‐B             SP89BPLT               G01618     SP089       50.0000%
SOUTH PELTO 001 P/F‐A            PL001PFA               G04234     PL001      100.0000%
SOUTH PELTO 009 P/F‐10           PL009PF10              G02924     PL009       50.0000%
SOUTH PELTO 009 P/F‐5            PL009PF05              G02924     PL009      100.0000%
SOUTH PELTO 009 P/F‐6            PL009PF06              G02924     PL009      100.0000%
SOUTH PELTO 009 P/F‐7            PL009PF07              G02924     PL009      100.0000%
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Asset Name                      FWE Acct. Code   Lease Number   Area/Block       WI
SOUTH PELTO 010 #2 (2924)CAIS   PL0102CAS              G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐10          PL1010CAS              G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐10‐8        PL10108CAS             G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐11          PL1011CAS              G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐12          PL1012WP               G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐14          PL1014CAS              G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐16          PL1016CAS              G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐17          PL1017CAS              G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐19          PL1019CAS              G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐20          PL1020CAS              G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐22          PL1022CAS              G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐23          PL1023CAS              G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐26          PL1026CAS              G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐2A          PL102ACAS              G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐3A          PL103ACAS              G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐4           PL104WP                G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐7           PL107CAS               G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐9‐1‐A       PL1091ACAS             G02925     PL010       50.0000%
SOUTH PELTO 010 P/F‐A           PL10APLT               G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐B           PL10BPLT               G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐B25         PL10B25CAS             G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐B‐AUX       PL10BAUXPT             G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐C           PL10CPLT               G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐D           PL10DPLT               G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐E           PL10EPLT               G02925     PL010      100.0000%
SOUTH PELTO 010 P/F‐LQ          PL10LQPLT              G02925     PL010      100.0000%
SOUTH PELTO 011 P/F‐17          PL1117CAS               00071     PL011      100.0000%
SOUTH PELTO 011 P/F‐19          PL1119CAS               00071     PL011      100.0000%
SOUTH PELTO 011 P/F‐22          PL1122CAS               00071     PL011      100.0000%
SOUTH PELTO 011 P/F‐25          PL1125CAS               00071     PL011      100.0000%
SOUTH PELTO 011 P/F‐F           PL11FPLT                00071     PL011      100.0000%
SOUTH PELTO 011 P/F‐F‐3         PL11F3CAS               00071     PL011      100.0000%
SOUTH PELTO 011 P/F‐G           PL11GCAS                00071     PL011      100.0000%
SOUTH PELTO 025 JA PF           PL025PFJA              G14535     PL025      100.0000%
SOUTH PELTO 025 JB PF           PL025PFJB              G14535     PL025      100.0000%
SOUTH TIMBALIER 049 P/F‐A       ST49APLT               G24956     ST049      100.0000%
SOUTH TIMBALIER 053 P/F‐4       ST053PF4               G04000     ST053       50.0000%
SOUTH TIMBALIER 053 P/F‐6       ST053PF6               G04000     ST053       50.0000%
SOUTH TIMBALIER 053 P/F‐A       ST053PFA               G04000     ST053       50.0000%
SOUTH TIMBALIER 053 P/F‐A‐AUX   ST053PFAAX             G04000     ST053       50.0000%
SOUTH TIMBALIER 053 P/F‐C (5)   ST053PFC5              G04000     ST053       50.0000%
SOUTH TIMBALIER 053 P/F‐I       ST053PFI               G04000     ST053       50.0000%
SOUTH TIMBALIER 068 P/F‐1       ST681CAS                00020     ST068       79.6666%
SOUTH TIMBALIER 148 P/F‐A       ST148PFA               G01960     ST148       15.5500%
SOUTH TIMBALIER 161 P/F‐C       ST161PFC               G01248     ST161      100.0000%
SOUTH TIMBALIER 203 P/F‐B       ST203PFB               G01269     ST203       40.0000%
SOUTH TIMBALIER 205 P/F‐B       ST205BPLT              G05612     ST205       50.0000%
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SOUTH TIMBALIER 205 P/F‐G        ST205GPLT              G05612     ST205      100.0000%
SOUTH TIMBALIER 206 P/F‐A        ST206APLT              G05612     ST206       50.0000%
SOUTH TIMBALIER 291 P/F‐A        ST291APLT              G16455     ST291       35.0000%
SOUTH TIMBALIER 295 P/F‐A        ST295APLT              G05646     ST295       92.9167%
SOUTH TIMBALIER 295 P/F‐B        ST295BPLT              G05646     ST295       92.9167%
SOUTH TIMBALIER 311 P/F‐A        ST311APLT              G31418     ST311       22.5000%
SOUTH TIMBALIER 316 P/F‐A        ST316PFA               G22762     ST316       20.0000%
VERMILION 261 P/F‐A              VR261APLT              G03328     VR261       75.0000%
VERMILION 261 P/F‐A‐AUX          VR261AAUX              G03328     VR261       75.0000%
VERMILION 265 P/F‐A‐DRL          VR265ADRL              G01955     VR265      100.0000%
VERMILION 265 P/F‐A‐PRD          VR265APRD              G01955     VR265      100.0000%
VERMILION 326 P/F‐A              VR326APLT              G21096     VR326       70.3148%
VERMILION 369 P/F‐A              VR369PFA               G02274     VR369       10.9700%
VERMILION 369 P/F‐D              VR369PFD               G02274     VR369       23.1707%
VERMILION 380 P/F‐A              VR380APLT              G02580     VR380      100.0000%
VERMILION 408 P/F‐A              VR408PF                G15212     VR408       50.0000%
VIOSCA KNOLL 203 P/F‐A           VK203PFA               G07890     VK203       33.3333%
VIOSCA KNOLL 203 P/F‐B           VK203PFB               G07890     VK203       33.3333%
VIOSCA KNOLL 204 P/F‐3           VK204PF3               G04921     VK204       33.3333%
VIOSCA KNOLL 204 P/F‐C           VK204PFC               G04921     VK204       33.3333%
VIOSCA KNOLL 780 P/F‐A           VK780APLT              G15436     VK780      100.0000%
WEST CAMERON 033 P/F‐1           WC033PF1               G15050     WC033      100.0000%
WEST CAMERON 033 P/F‐N           WC033PFN               G15050     WC033      100.0000%
WEST CAMERON 033 P/F‐O           WC033PFO               G15050     WC033      100.0000%
WEST CAMERON 065 P/F‐8           WC065CAIS8             G02825     WC065      100.0000%
WEST CAMERON 065 P/F‐9           WC065CAIS9             G02825     WC065      100.0000%
WEST CAMERON 065 P/F‐JA          WC65JAPLT              G02825     WC065      100.0000%
WEST CAMERON 065 P/F‐JA‐AUX      WC65JAAUX              G02825     WC065      100.0000%
WEST CAMERON 066 P/F‐A           WC66APLT               G01860     WC066       91.0585%
WEST CAMERON 066 P/F‐B           WC066PFB               G02826     WC066       82.9104%
WEST CAMERON 066 P/F‐C           WC066PFC               G01860     WC066       75.0000%
WEST CAMERON 066 P/F‐E           WC066PFE               G02826     WC066       75.0000%
WEST CAMERON 066 P/F‐F(FMR31)    WC066PFF31              00244     WC066      100.0000%
WEST CAMERON 071 P/F‐28          WC071PF28               00244     WC071      100.0000%
WEST CAMERON 071 P/F‐D           WC071PFD                00244     WC071      100.0000%
WEST CAMERON 071 P/F‐D‐AUX       WC071PFDAX              00244     WC071      100.0000%
WEST CAMERON 071 P/F‐F (FMR18)   WC71FPLT                00244     WC071      100.0000%
WEST CAMERON 071 P/F‐QTR         WC71QTR                 00244     WC071      100.0000%
WEST CAMERON 072 P/F‐1           WC072PF1               G23735     WC072       25.0000%
WEST CAMERON 072 P/F‐2           WC072PF2               G23735     WC072       25.0000%
WEST CAMERON 072 P/F‐3           WC072PF3               G23735     WC072       25.0000%
WEST CAMERON 102 P/F‐2           WC102PF2                00247     WC102      100.0000%
WEST CAMERON 102 P/F‐G           WC102GPLT               00247     WC102      100.0000%
WEST CAMERON 102 P/F‐G‐AUX       WC102GAUX               00247     WC102      100.0000%
WEST CAMERON 102 P/F‐H           WC102HPLT               00247     WC102      100.0000%
WEST CAMERON 110 P/F‐10          WC11010CAS              00081     WC110      100.0000%
WEST CAMERON 110 P/F‐11          WC11011CAS              00081     WC110      100.0000%
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WEST CAMERON 110 P/F‐12          WC11012CAS              00081     WC110      100.0000%
WEST CAMERON 110 P/F‐15          WC11015CAS              00081     WC110      100.0000%
WEST CAMERON 110 P/F‐18          WC11018CAS              00081     WC110      100.0000%
WEST CAMERON 110 P/F‐19          WC11019CAS              00081     WC110      100.0000%
WEST CAMERON 110 P/F‐A           WC110APLT               00081     WC110      100.0000%
WEST CAMERON 110 P/F‐A‐AUX1      WC110AAUX1              00081     WC110      100.0000%
WEST CAMERON 110 P/F‐E           WC110EPLT               00081     WC110      100.0000%
WEST CAMERON 110 P/F‐H           WC110HPLT               00081     WC110      100.0000%
WEST CAMERON 111 P/F‐C           WC111CCAS               00081     WC111      100.0000%
WEST CAMERON 111 P/F‐F           WC111FCAS               00081     WC111      100.0000%
WEST CAMERON 144 P/F‐B           WC144BPLT              G01953     WC144      100.0000%
WEST CAMERON 225 P/F‐C           WC225PFC               G00900     WC225       26.6675%
WEST CAMERON 289 P/F‐A‐PROCESS   WC289APROC             G04818     WC289      100.0000%
WEST CAMERON 290 P/F‐A           WC290PFA               G04818     WC290       10.3759%
WEST CAMERON 295 P/F‐A           WC295ACAS              G24730     WC295        20.60%
WEST DELTA 068 P/F‐U             WD68UPLT                00180     WD068       75.0000%
WEST DELTA 070 P/F‐D             WD070PFD                00182     WD070       75.0000%
WEST DELTA 070 P/F‐FF            WD070PFFF               00182     WD070       75.0000%
WEST DELTA 070 P/F‐I             WD070PFI                00182     WD070       75.0000%
WEST DELTA 070 P/F‐L             WD070PFL                00182     WD070       75.0000%
WEST DELTA 071 P/F‐E             WD71EPLT                00838     WD071       75.0000%
WEST DELTA 071 P/F‐O             WD071OPLT               00838     WD071       75.0000%
WEST DELTA 075 P/F‐D             WD075PFD               G01085     WD075      100.0000%
WEST DELTA 075 P/F‐F             WD075PFF               G01085     WD075      100.0000%
WEST DELTA 075 P/F‐G             WD075PFG               G01085     WD075      100.0000%
WEST DELTA 090 P/F‐A             WD090PFA               G01089     WD090      100.0000%
WEST DELTA 090 P/F‐B             WD090PFB               G01089     WD090      100.0000%
WEST DELTA 090 P/F‐E             WD090PFE               G01089     WD090      100.0000%




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                            Name                                 State       County/Parish                Ownership %
Blue Water Gas Plant                                           Louisiana                                    0.1000%
Galveston 300/301 Facility                                       Texas            Galveston                100.0000%
Gibbstown Separation Station                                   Louisiana           Cameron                 100.0000%
Grand Bay Receiving Station                                    Louisiana         Plaquemines                65.0000%
Grand Chenier Separation Facility                              Louisiana           Cameron                    5.4%
Grand Chenier Tank Battery                                     Louisiana           Cameron                 100.0000%
Grand Isle Fuel Line (supply line for municipality)            Louisiana           Jefferson               100.0000%
Grand Isle Tank Bat                                            Louisiana           Jefferson                75.0000%
Johnson Bayou Onshore Separation Facility                      Louisiana           Cameron       24.31% of Co‐Owned Equipment
Johnson Bayou Onshore Separation Facility                      Louisiana           Cameron      54.875% of Producers' Equipment
MI 519 Bay City Compressor Station                               Texas            Matagorda                 81.8979%
North Terrebonne Gas Processing Plant                          Louisiana         Terrebonne                 0.0000%
Sea Robin Condensate Separation Facility
                                                               Louisiana          Vermilion                8.0000%
(aka "Henry Hub")
Sea Robin Gas Plant                                            Louisiana          Vermilion                23.7285%
Stingray Onshore Separation Facility (Cameron Onshore
                                                               Louisiana          Cameron                  11.1300%
Commingling Facility)
Targa Venice                                                   Louisiana         Plaquemines              100.0000%
Thousand Square Mile Area (TASMA)                              Louisiana           Vermilion              100.0000%
Tivoli Plant                                                     Texas              Refugio                56.1394%
TOCA Gas Processing Plant                                      Louisiana          St. bernard              4.2900%
Venice Dehydration Facility (South Pass Dehydration Station)   Louisiana         Plaquemines               35.2000%
Vermilion 76 Onshore Scrubber                                  Louisiana          Vermilion                 93.9%




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SEGMENTNUMBER            COMPANYNAME             ORGAREA   ORGBLOCK    ORGNAME        RECAREA   RECBLOCK        RECNAME          SIZE PRODUCT                  STATUS                ROWNUMBER FW Lease:
     15213            Fieldwood Energy, LLC         BS        41              B          BS         42            24" SSTI        10     G/C               Partial Abandon             G25383   G21142
     17938            Fieldwood Energy, LLC         CA        43              A          VK        247             24"SSTI        6     GAS                     Active                 G29431   G32268
      3519            Fieldwood Energy, LLC         EC        14              CF         EC          9                F/S         4    COND                 Out of Service             G13721   G01440
     13104            Fieldwood Energy, LLC         EC         2             F/S         EC          2             6" SSTI        4     GAS         Permitted for Abandonment          G22383   G15050
     17801            Fieldwood Energy, LLC         EC        14              CF         WC         69             30 SSTI        12    GAS         Permitted for Abandonment          G28556   G01440
       44             Fieldwood Energy, LLC          EI       175              C          EI       176            12" SSTI        8      OIL                Out of Service             G13445    00438
      1128            Fieldwood Energy, LLC          EI       330      flanged end        EI       306          14‐inch SSTI      14     OIL                    Active                 G02139A  G02115
      6818            Fieldwood Energy, LLC          EI       337             A           EI       330                 B          6     GAS                 Out of Service              G05932  G03332
      6819            Fieldwood Energy, LLC          EI       337             A           EI       330             14 SSTI        6      OIL                Out of Service              G05931  G03332
      6852            Fieldwood Energy, LLC          EI       315             A           EI        330            14 SSTI        6      OIL                Out of Service              G13447  G02112
      7290            Fieldwood Energy, LLC          EI       316             A           EI       330             14 SSTI        8      OIL                    Active                  G07537  G05040
      7347            Fieldwood Energy, LLC          EI       316             A           EI       330             8" SSTI        6     GAS                     Active                  G07555  G05040
      7914            Fieldwood Energy, LLC          EI       212             A          SS        152             24 SSTI        6     GAS                 Out of Service              G08530  G05503
      7915            Fieldwood Energy, LLC          EI       212             A           EI        213            12 SSTI        6      OIL                Out of Service              G08531  G05503
      7943            Fieldwood Energy, LLC          EI       342              C          EI        327            08 SSTI        4      OIL                Out of Service              G08541  G02319
      9211            Fieldwood Energy, LLC          EI       53              B           EI        64             22 SSTI        6      G/C               Partial Abandon              G12373   00479
      9376            Fieldwood Energy, LLC          EI       142             A           EI        141            10 SSTI        4      OIL                Out of Service              G12734   00052
     11923            Fieldwood Energy, LLC          EI       53               C          EI        64             22 SSTI        10     G/C                Out of Service              G20539   00479
     14073            Fieldwood Energy, LLC          EI       188             JE          EI        188            06 SSTI        4     BLKG                Out of Service              G29056   00443
     14479            Fieldwood Energy, LLC          EI       158              C          EI        176            12"SSTI        6      OIL                Out of Service              G13702  G01220
     15906            Fieldwood Energy, LLC          EI       173             G           EI       175                 C          4     BLKO                Out of Service             G28239   G13622
     16225            Fieldwood Energy, LLC          EI       354             D           EI       337                 A          4      OIL                Out of Service             G28598   G10752
     16226            Fieldwood Energy, LLC          EI       354             D           EI       337                 A          4     GAS                 Out of Service             G28599   G10752
     16243            Fieldwood Energy, LLC          EI       189             B           EI       188                 A          4     GAS                 Out of Service             G29057    00423
     18493            Fieldwood Energy, LLC          EI       342              C          EI       343               SSTI         6     GAS                 Out of Service             G29108   G02319
     19960            Fieldwood Energy LLC           EI       342              C          EI       342          Blind Flange      6      OIL                Out of Service              G29471  G02319
        ‐             Fieldwood Energy, LLC          EI       187              2          EI       187                 2                                        Active                 G30283   G10736
      8487            Fieldwood Energy, LLC         EW        826             A          ST        300             12 SSTI        12    OIL                 Out of Service              G10110  G05800
     15298            Fieldwood Energy, LLC         GA        210             B          GA        239             12 SSTI        8     G/C                     Active                 G26931   G25524
      7866            Fieldwood Energy, LLC          GI       33              A          GI         22                  L         8     GAS     Permitted for Abandonment Approved     G08514   G04002
      9084                GOM Shelf, LLC             GI       43              AS         GI         19                F/S         10    OIL                     Active                 G12304    00175
     17673            Fieldwood Energy, LLC          GI       54              #2         GI         47                  L         4    BLKO     Permitted for Abandonment Approved      G28528  G27173
      5470            Fieldwood Energy, LLC          HI      A356          Valve         HI        A343              HIOS         12    GAS                 Out of Service              G04050  G02754
      6504            Fieldwood Energy, LLC          HI      A595             D          HI         573                B          8     OIL                 Out of Service              G28525  G02721
      6669            Fieldwood Energy, LLC          HI      A 376            A          HI       A 356            12 SSTI        10    GAS                 Out of Service              G05238  G02754
      6669            Fieldwood Energy LLC           HI      A 376      Platform A       HI       A 356    12 SSTI W/PSN 10882    10    GAS                 Out of Service              G05238  G02754
     10882            Fieldwood Energy, LLC          HI      A356          10SST         HI        A356             12SSTI        12    GAS                 Out of Service              G04051  G02754
     11841            Fieldwood Energy, LLC          HI      A 545            JA         HI       A 547                B          6    BLKG         Permitted for Abandonment           G20510  G17199
     14650            Fieldwood Energy, LLC          HI       201             #1         HI         199                A          6    BLKG                Partial Abandon              G25397  G23199
     15401            Fieldwood Energy, LLC          HI      A 341            B          HI       A 340           30" SSTI       812    G/C                     Active                  G26938  G25605
     15581            Fieldwood Energy, LLC          HI       120             A          HI        128               SSTI         6     G/C                 Out of Service              G26968  G24730
     16077            Fieldwood Energy, LLC          HI       130             #2         HI        165           8‐inch SSTI      8    BLGH                Partial Abandon             G28284   G25579
     18789            Fieldwood Energy LLC           HI       116       Platform A       HI         71          16‐inch SSTI      16    G/C                     PABN                    G28649  G06156
      9032            Fieldwood Energy, LLC         MC        311             A          MC        312              8 SSTI        8     OIL                     Active                  G11747  G02968
      3472            Fieldwood Energy, LLC         MP        140             B          MP         56                F/S         18   BLKG                 Out of Service              G13511  G02193
      5917                GOM Shelf, LLC            MP        311             A          MP         313            12 SSTI        8     OIL                 Out of Service              G13466  G02213
      7143            Fieldwood Energy, LLC         MP        310             A          MP         297            12 SSTI        6     OIL                 Out of Service              G07100  G04126
     13100            Fieldwood Energy, LLC         MP        259             A          VK         739               #01         5    UMB                  Out of Service              G22377  G07827
     15818       Fieldwood Energy Offshore LLC      MP        77              A          MP         151            18"SSTI        8     GAS                 Out of Service              G28221  G04481
      5408            Fieldwood Energy, LLC         PL        10              B          PL         13             20 SSTI        8     OIL                 Out of Service              G09317  G02925
     16044            Fieldwood Energy, LLC         PL         9             #10         PL         10                 B          6    BLKG                 Out of Service              G28276  G02924
      4008            Fieldwood Energy, LLC         SM        268             A          SS         28                 A          12    OIL                 Out of Service              G02816  G34284
      4647            Fieldwood Energy, LLC         SM        149          6"SSTI        SM        132                 B          6    BLKO                 Out of Service              G03432  G02592
      5427            Fieldwood Energy, LLC         SM        281              E         SM        268                 A          12   SPLY                 Out of Service              G02817  G02600
      5429            Fieldwood Energy, LLC         SM        281              C         SM        281             12 SSTI        10   SPLY                 Out of Service              G02817  G02600
      6512            Fieldwood Energy, LLC         SM        281              C         SM        268                 D          10   BLKO                 Out of Service              G29131  G02600
      6513            Fieldwood Energy, LLC         SM        268             D          SM        268                 A          10   BLKO                 Out of Service              G29132  G02310
     10977            Fieldwood Energy, LLC         SM        268             A          SM        280                #03         3    BLKG                     Active                  G28756  G14456
     11046            Fieldwood Energy, LLC         SM        11       Well No.34        SM         10                 A          6    BLKG                 Out of Service              G28813  G01182
     11047            Fieldwood Energy, LLC         SM        10              A          SM         11                 34         3     LIFT                Out of Service              G28812  G01181
     11986            Fieldwood Energy, LLC         SM        39              A          SM         33             30 SSTI        8     GAS                 Out of Service              G20565  G16320
     11987            Fieldwood Energy, LLC         SM        39              A          SM         40             10 SSTI        6     OIL                 Out of Service              G20566  G16320
     13642            Fieldwood Energy, LLC         SM        280             H          SM        268                 A          10   BLKG         Permitted for Abandonment          G28758   G14456
     17499            Fieldwood Energy, LLC         SM        269             B          SM        268                 A          10    GAS                     Active                  G28484  G02311
     18057            Fieldwood Energy, LLC         SM        11      No.58 Caisson      SM         10                 A          4    BLKG                 Out of Service             G28815   G01182
     18510            Fieldwood Energy, LLC         SM        10              A          SM        287               SSTI         6     GAS                 Out of Service             G29113   G01181
     18563            Fieldwood Energy, LLC         SM        48               E         SM         39                 A          6     G/C                 Out of Service             G29128    00786
     18583            Fieldwood Energy, LLC         SM        10              A          SM         11               SSTI         4     OIL                 Out of Service             G28814   G01181
     18802            Fieldwood Energy, LLC         SM        39              A          SM         48                 E          3     LIFT                Out of Service             G29182   G16320
      4716            Fieldwood Energy, LLC         SP        70               C         SP         60                 B          8     GAS                     Active                 G03436   G01614
     15064            FW GOM Pipeline, Inc.         SP        49              A          SP         27         F/S Boundary       10   G/O                      Active                 G07561   G05051
     15598            Fieldwood Energy, LLC         SP        70               C         SP         60                 E          6     OIL                 Out of Service             G26860   G01614
     15626            Fieldwood Energy, LLC         SP        65              A          SP         62             18 SSTI        8     OIL                 Out of Service             G01686A  G01610
      1137            Fieldwood Energy, LLC          SS       207       A Platform       SS        204                 A          4     GAS                 Out of Service              G13489  G01523
      1138            Fieldwood Energy, LLC          SS       204             A          SS        207                 A          6    G/O                  Out of Service              G13491  G01520
      1147            Fieldwood Energy, LLC          SS       207             A          SS        208             F‐Pump         12    OIL                 Out of Service              G13492  G01523
      6432            Fieldwood Energy, LLC          SS       182             A          SS        169             18 SSTI        6     OIL                     Active                 G09321   G03998
      6538            Fieldwood Energy, LLC          SS       91              A          PL         11             08 SSTI        6     OIL                 Out of Service              G05146  G02919
      6748            Fieldwood Energy, LLC          SS       169       C Platform       SS        169          18‐inch SSTI      6     OIL                 Out of Service              G09322   00820
      7650            Fieldwood Energy, LLC          SS       178             A          SS        169             18 SSTI        6     OIL                 Out of Service              G08054  G05551
     10406            Fieldwood Energy, LLC          SS       274             A           EI       259                 A          8     OIL                     Active                  G14731  G01039
     10780            Fieldwood Energy, LLC          SS       193             A          SS        183             18 SSTI        6     OIL                     Active                  G15683  G13917
     10781            Fieldwood Energy, LLC          SS       193             A          SS        183             10 SSTI        6     GAS                     Active                 G15684   G13917
     11137            Fieldwood Energy, LLC          SS       129             A          SS        122             18 SSTI        6     OIL                 Out of Service              G16084  G12941
     11145            Fieldwood Energy, LLC          SS       129             A          SS        149              6 SSTI        6     G/C                 Out of Service             G16087   G12941
     11480            Fieldwood Energy, LLC          SS       105             A           EI       165             30 SSTI        10    GAS                 Out of Service             G18801   G09614
     11544            Fieldwood Energy, LLC          SS       126             B          SS        105                 A          6    BLKG                 Out of Service             G18820   G12940
     12778            Fieldwood Energy, LLC          SS       189             A          SS        185             26"SSTI        8     G/C                 Out of Service             G22139   G04232
     15530            Fieldwood Energy, LLC          SS       183         Flange         SS        169              Flange        10    GAS                 Out of Service             G01460   G13917
     16036            Fieldwood Energy, LLC          SS       190      Capped End        SS        207                 A          4    BLKO         Permitted for Abandonment          G14734   G10775
     18837            Fieldwood Energy, LLC          SS       176              C          EI       212                 A          6    BLKG                 Out of Service             G29190   G33646
     20050            Fieldwood Energy, LLC          SS       168            SSTI        SS        168               SSTI         6                           Proposed                 G28788    00820
      5890            Fieldwood Energy, LLC         ST        53              A          ST         52                 A          6     OIL                 Out of Service             G09319   G04000
      7802            Fieldwood Energy, LLC         ST        295             A          ST        296             SS 8487        8     OIL                     Active                 G08385   G05646
      8676            Fieldwood Energy, LLC         ST        206             A          ST        175               T‐22         16    G/C                 Out of Service              G11146  G05613
      9313            Fieldwood Energy, LLC         ST        295             A          ST        295             24 SSTI        8     GAS                     Active                  G12709  G05646
     13462            Fieldwood Energy, LLC         ST        205             G          ST        206                 A          8    BLKG                 Out of Service             G028821  G05612
     13462            Fieldwood Energy LLC          ST        205             G          ST        206                 A          8    BLKG                 Out of Service              G29451  G05612
     17265            Fieldwood Energy, LLC         ST        68      Caisson No. 1      ST         53                 A          6    BLKO                 Out of Service             G28385   G04000
     17898            Fieldwood Energy, LLC         ST        49        Platfrom A       ST         35           6‐inch SSTI      4     OIL                 Out of Service             G28577   G24956
     19776            Fieldwood Energy, LLC         ST        295        24" SSTI        ST        292                 A          24    GAS                     Active                 G29376   G05646
     13098            Fieldwood Energy, LLC         VK        694            #04         MP        259                 A          4    BLKG                 Out of Service             G22376   G13055
     13099            Fieldwood Energy, LLC         VK        739           SS #3        MP        259                 A          4    BLKG                 Out of Service             G22377   G07827
     13720            Fieldwood Energy, LLC         VK        340         8"SSTI         VK        251                 A          8    BLGH                     Active                 G28221   G04481
     13720       Fieldwood Energy Offshore LLC      VK        340       8‐inch SSTI      VK        251           Platform A       8    BLGH                     Active                 G28703   G10933
     13721            Fieldwood Energy, LLC         VK        251             A          VK        340                 A          3     AIR                     Active                  G28704  G10930
     14876            Fieldwood Energy, LLC         VK        251             A          MP        154                 A          4    H2O                      Active                  G22465  G10930
      6113            Fieldwood Energy, LLC         VR        380             A          VR        397             24 SSTI        12    GAS                 Out of Service              G04645  G02580
     12502            Fieldwood Energy, LLC         VR        326       A Platform       VR        321          22‐inch SSTI      6     G/C                 Out of Service              G21523  G21096
     17090            Fieldwood Energy, LLC         VR        261             A          VR        265                 A          8    BLKO                 Out of Service              G28347  G03328
     18502            Fieldwood Energy, LLC         VR        380             A          VR        398            16" SSTI        6     OIL                 Out of Service              G02919  G02580
     18502            Fieldwood Energy LLC          VR        380       Platform A       VR        398          16‐inch SSTI      6     OIL                 Out of Service             G29109   G02580
      2698            Fieldwood Energy, LLC         WC        102          flange        WC        102                 G          8     GAS                 Out of Service             G02124D   00247
      3763            Fieldwood Energy, LLC         WC        102            #02         WC        102             08 SSTI        8     GAS                 Out of Service             G02124D   00247
      3986            Fieldwood Energy, LLC         WC        66              A          WC         31                F/S         10   G/O                      Active                  G03345  G01860

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SEGMENTNUMBER            COMPANYNAME             ORGAREA   ORGBLOCK   ORGNAME     RECAREA   RECBLOCK   RECNAME     SIZE PRODUCT     STATUS         ROWNUMBER FW Lease:
      5343            Fieldwood Energy, LLC         WC        34           D         WC         35       10 SSTI    8     G/O     Out of Service     G28659   G01860
      8621           Bandon Oil and Gas, LP         WC        290          A         WC        289          A       6     BLKG    Out of Service     G10532   G04818
      9504            Fieldwood Energy, LLC         WC        71        12 SSTI      WC         71       12 SSTI    12    GAS     Out of Service     G04346    00244
     14251       Fieldwood Energy Offshore LLC      WC        72          #1         WC         65         JA       4     BLKG    Out of Service     G25275   G23735
     15210            Fieldwood Energy, LLC         WC        295          2         HI        120     A‐PROCESS    6     BLKG    Out of Service     G26886   G24730
     15952            Fieldwood Energy, LLC         WC        33          O          WC         34          D       4     G/O     Out of Service     G28657   G15050




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Area   Block No.    Structure   Complex ID No. Authority No. FW Lease        Operator          Approval Date             Associated Assets
EI       188           JE           26052         G30268     G10736     Fieldwood Energy LLC     04/18/14      EI 187 JC001, JD001, JD002, 002 & JE002
HI       120       A-PROCESS        10450         G30270     G01848     Fieldwood Energy LLC     08/06/14               WC 295 A001 & A002
SM       132           B            21982         G30329     G02588     Fieldwood Energy LLC     05/06/19      SM 136 C007, SM 149 C001, C002 & C004
ST       206           A            23851         G30291     G05612     Fieldwood Energy LLC     12/11/15                ST 205 G001 & G003
SM       10            A            20706         G30365     G01181     Fieldwood Energy LLC




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Call Sign:
KKS457
WQFI654
WQGX432
WPSH741
KNDQ614
WPXX340




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Contract Type     Contract Date              Contract Title                                                    Contract Description
    Land            8/7/1953                      UA                      HI 179 Unit Agreement
    Land           10/27/1954     Unit Agreement No. 14‐08‐001‐20221      Grand Isle CATCO Unit Agreement, dated October 27, 1954, between Continental Oil Company
                                                                          and The Atlantic Refining Company, Tide Water Associated Oil Company and Cities Service Oil
                                                                          Company.; Unit No. 891002021

    Land            5/1/1995           Unit Operating Agreement
                                                                          Amendment‐to Unit Operating Agreement, dated effective May 1, 1995, by and between Conoco
                                                                          Inc.,Vastar Resources, Inc., Texaco Exploration and Production Inc. and Oxy USA Inc.

    Land           11/21/1955      Unit Agreement No. 14‐08‐001‐2454      West Delta‐Grand Isle Unit Agreement, dated November 21,1955, between Continental Oil
                                                                          Company, as unit operator, and The Atlantic Refining Company, Tidewater Associated Oil
                                                                          Company and.Cities Service
                                                                          Production Company, as non‐operators, as amended ; Unit No. 891002454
    Land           4/10/1956               Unit Agreement                 Unit No. 891002891 ‐ SS 32
    Land           12/4/1958            OPERATING AGREEMENT               OPERATING AGREEMENT BY AND BETWEEN THE TEXAS COMPANY AND PAN AMERICAN
                                                                          PETROLEUM CORPORATION , AS AMENDED
    Land           12/4/1958              Operating Agreement             Operating Agreement eff. 12/4/58
    Land           7/25/1960              Operating Agreement             Operating Agreement, dated effective July 25,1960, as amended, between Second Mobil Oil
                                                                          Company, Inc., Gulf Oil 'Corporation, and Humble Oil & Refining Company, as amended, SS 169
                                                                          Field.
    Land           8/3/1964                       UOA                     Operating Agreement eff. 8‐3‐64
    Land           11/2/1964                       UA                     EI 266 Unit Agreement
    Land           1/12/1965           Joint Operating Agreement          Main Agreement, dated effective January 12,1965, between Cities Service Oil Company, Skelly Oil
                                                                          Company, Sunray DX Oil Company and Tidewater Oil Company, governing operations on the
                                                                          contract area. The Operating Agreement contained in Exhibit "C" of the Main Agreement was
                                                                          superseded by the Joint Operating Agreement eff. 1/1/97


    Land           1/21/1966       Unit Agreement No. 14‐08‐001‐8784      Unit No. 891008784 ‐ SS 271
    Land           2/26/1966         Offshore Operating Agreement         Operating Agreement by and between Hardy Oil & Gas USA Inc., As Operator and British‐Borneo
                                                                          Exploration, Inc. and Zilkha Energy Company, As Non‐Operators
    Land           6/10/1966      Unit Operating Agreement Ship Shoal     SS 271 Unit Operating Agreement (Unit#891008784) As Amended, originally by and between
                                                                          Forest Oil Corp. as Operator, and Texas Gas Exploration Corp. et al as Non‐Operators


    Land            2/6/1967           Joint Operating Agreement          OPERATING AGREEMENT BY AND BETWEEN CONTINENTAL OIL COMPANY AND TENNECO OIL
                                                                          COMPANY ET AL, AS AMENDED
    Land            1/1/1971           Joint Operating Agreement          PENNZOIL OFFSHORE GAS OPERATORS, INC., MESA PETROLEUM CO., ET AL.
    Land            2/1/1971           Joint Operating Agreement          Operating Agreement, dated February 1,1971, between Tenneco Oil Company and Texaco Inc.
                                                                          Amendment to Operating Agreement, dated effective May 1,1974, between Tenneco Oil
                                                                          Company, Texaco Inc. and Tenneco Exploration 11, Ltd., whereby Tenneco Exploration II became
                                                                          a party to, and ratified, the operating agreement.
    Land            1/1/1972           Joint Operating Agreement          OPERATING AGREEMENT BY AN D BETWEEN SIGNAL OIL AND GAS COMPANY AND THE
                                                                          LOUISIANA LAND AND EXPLORATION COMPANY, ET AL.
    Land           3/24/1972                Unit Agreement                SP 65 G G‐1 Unit Res B Unit Agreement ‐891012327
    Land           5/18/1972                Unit Agreement                SP 65 G G‐1 Unit Res A Unit Agreement‐891012332
    Land           5/18/1972                Unit Agreement                SP 65 G2‐G3 Unit Agreement‐891012333
    Land           1/1/1973          Offshore Operating Agreement         Offshore Operating Agreement* (VR 369/386+)
                                                                          *Unit Operating Agreement supersedes JOperating Agreement 1/1/1973
    Land            8/1/1973           Joint Operating Agreement          OPERATING AGREEMENT BY AND BETWEEN MOBIL OIL CORPORATION AND UNION OIL
                                                                          COMPANY OF CALIFORNIA ET AL
    Land            8/1/1973         Offshore Operating Agreement         Operating Agreement eff. 8‐1‐73
    Land            8/1/1973         Offshore Operating Agreement         Operating Agreement eff. 8‐1‐73
    Land            8/1/1973         Offshore Operating Agreement         Operating Agreement eff. 8/1/73
    Land            8/1/1973         Offshore Operating Agreement         Operating Agreement eff. 8/1/73
    Land            5/1/1974           Joint Operating Agreement          OPERATING AGREEMENT BY AND BETWEEN PENNZOIL OFFSHORE GAS OPERATORS, INC. AND
                                                                          PENNZOIL LOUISIANA AND TEXAS OFFSHORE, INC. ET AL
    Land            7/1/1974           Joint Operating Agreement          OPERATING AGREEMENT DATED JULY 1, 1974, BY AND BETWEEN MOBIL OIL CORPORATION,
                                                                          UNION OIL COMPANY OF CALIFORNIA, TEXAS GAS EXPLORATION CORPORATION, AMOCO
                                                                          PRODUCTION COMPANY AND NORTHWEST MUTUAL LIFE INSURANCE COMPANY, AS AMENDED.

    Land            7/1/1974           Joint Operating Agreement          OPERATING AGREEMENT DATED JULY 1, 1974, BY AND BETWEEN MOBIL OIL CORPORATION,
                                                                          UNION OIL COMPANY OF CALIFORNIA, TEXAS GAS EXPLORATION CORPORATION, AMOCO
                                                                          PRODUCTION COMPANY AND NORTHWEST MUTUAL LIFE INSURANCE COMPANY, AS AMENDED.

    Land            7/1/1974           Joint Operating Agreement          OPERATING AGREEMENT DATED JULY 1, 1974, BY AND BETWEEN MOBIL OIL CORPORATION,
                                                                          UNION OIL COMPANY OF CALIFORNIA, TEXAS GAS EXPLORATION CORPORATION, AMOCO
                                                                          PRODUCTION COMPANY AND NORTHWEST MUTUAL LIFE INSURANCE COMPANY, AS AMENDED.

    Land            9/3/1974                       FO                 Farmout Agreement by and between CNG Producing Company, Columbia Gas Development
                                                                      Corporation and Forest Oil Corporation
    Land           12/1/1974           Joint Operating Agreement      PENNZOIL OFFSHORE GAS OPERATORS, INC. AND PENNZOIL LOUISIANA AND TEXAS OFFSHORE,
                                                                      INC. ET AL
    Land           4/23/1975            Joint Operating Agreement     Operating Agreement eff. 4‐23‐75
                                                                      Operating Agreement eff. 7/1/75 by and between Mesa Petroleum as Operator and American
    Land            7/1/1975            Joint Operating Agreement     Natural Gas Production Co, et al
    Land            3/1/1976            Joint Operating Agreement     Operating Agreement eff. 3‐1‐76 b/b POGO, Mesa and Mobil, et al
    Land            4/1/1976            Joint Operating Agreement     Operating Agreement eff. 4‐1‐76 as amended
    Land            4/1/1977            Unit Operating Agreement      UNIT OPERATING AGREEMENT BY AND BETWEEN DEVON ENERGY PRODUCTION , APACHE
                                                                      CORPORATION, ET AL.
    Land            4/1/1977      Unit Agreement No. 14‐08‐0001‐16943 Unit Agreement, JD Sand, Reservoir A, Eugene Isiand Block 330 Field (Unit Number 891016943),
                                                                      dated effective April 1,1977, naming Pennzoil Oil & Gas, Inc., as Operator, and Texaco Inc. and
                                                                      Shell Oil Company, as sub‐operators
    Land           12/12/1977                 Unit Agreement          Unit Agreement (VR 369 Unit Area) 12/12/1977
    Land           12/23/1977           Unit Operating Agreement      Unit Operating Agreement* (VR 369 Unit Area)
                                                                      *UOperating Agreement supersedes JOperating Agreement 12/23/1977
    Land            1/1/1978                        UOA               HI 179 Unit Operating Agreement
    Land            5/2/1978                         FO               FARMOUT AGREEMENT EFFECTIVE MAY 2, 1978, BY AND BETWEEN ENSERCH, FARMOR, AND
                                                                      ANADARKO, FARMEE.
    Land           11/1/1978                         OA               Operating Agreement eff. 11/1/78
    Land           11/17/1978                        FO               Farmout Agreement dated November 17,1978 between Gulf Oil Corporation and Shell Oi!
                                                                      Company covering the Northeast Quarter (NE/4) of that certain Oil and Gas Lease dated July
                                                                      1,1967 bearing Serial No. OCS‐G 1609, South Pass Area Block 61.
    Land            3/1/1979            Joint Operating Agreement
                                                                      OPERATING AGREEMENT DATED MARCH 1, 1979, BY AND BETWEEN UNION OIL COMPANY OF
                                                                      CALIFORNIA AND MOBIL OIL EXPLORATION & PRODUCTION SOUTHEAST INC.
    Land           9/15/1979            Joint Operating Agreement     OPERATING AGREEMENT EFFECTIVE SEPTEMBER 15, 1979, BY AND BETWEEN ANADARKO
                                                                      PRODUCTION CO, AS OPERATOR, AND PAN EASTERN EXPLORATION COMPANY, DIAMOND
                                                                      SHAMROCK CORPORATION, COLUMBIA GAS DEVELOPMENT CORPORATION, TEXASGULF, INC,
                                                                      AND SAMEDAN OIL CORPORATION, NON‐OPERATORS.
    Land           12/1/1979       OFFSHORE OPERATING AGREEMENT       OFFSHORE OPERATING AGREEMENT b/b SHELL OIL COMPANYand FLORIDA EXPLORATION
                                                                      COMPANY, ET AL
    Land            4/1/1981            Unit Operating Agreement      Unit Operating Agreement; dated April 1,1981, by and between Conoco Inc., Atlantic Richfield
                                                                      Company, Getty Oil Company, Cities Service Company, Placid Oil Company, Hamilton Brother Oil
                                                                      Company, Mobil Oil Exploration and Producing S.E., Inc., Gulf Oil Corporation, Hunt Oil Company,
                                                                      Highland Resources, Inc., Hunt Industries and Prosper Energy Corporation, comprising all working
                                                                      interest owners in the Ship ShOperating Agreementl Blocks 206, 207„OCS‐G:i523:ahd OCS‐G
                                                                      1523, respectively.
    Land            9/1/1981            Joint Operating Agreement     Operating Agreement 9/1/1981
    Land            9/1/1981            Joint Operating Agreement     Offshore Operating Agreement 9/1/1981
    Land            1/1/1982            Joint Operating Agreement     OPERATING AGREEMENT BY AND BETWEEN SOHIO PETROLEUM COMPANY AND EXXON
                                                                      CORPORATION
    Land           4/28/1982                 Letter Agreement         Letter Agreement dated April 28,1982 between Gulf Oil Corporation and Shell Oil Company
                                                                      evidencing an agreement for Gulf Oil Company to install a Drilling Platform in the Northeast
                                                                      Quarter (NE/4) South Pass Area Block 61.
    Land           11/1/1982          UNIT AGREEMENT FOR OUTER
                                     CONTINENTAL SHELF, 'N' SERIES    UNIT AGREEMENT BY AND BETWEEN CONOCO INC. AND CITIES SERVICE COMPANY ET AL
    Land            1/1/1983                        ORRI              Conveyance of Overriding Royalty Interests, dated effective January 1,1983, creating the Tel
                                                                      Offshore Trust, and granting an overriding royalty interest, equivalent to 25% net profits interest,
                                                                      in all of Tenneco Exploration, Ltd.'s oil and gas properties

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 Land           7/1/1983                    UOA                   EI 212 Unit Operating Agreement
 Land           8/4/1983      Area of Mutual Interest Agreement
                                                                  Area of Mutual Interest Agreement effective August 4, 1984 BY AND BETWEEN APACHE
                                                                  CORPORATION AND SHELL OFFSHORE CONTIGUOUS BLOCK TO SHELL VENTURE PROPERTY THAT
                                                                  MAY TRIGGER AMI RESPONSIBILITY REGARDING FUTURE PURCHASE OR BID OF TRACTS
                                                                  COVERING GEOLOGIC STRUCTURE COMMON TO EXISTING SHELL VENTURE PROPERTY
 Land           7/1/1984               Unit Agreement             UNIT AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC. AND FLORIDA EXPLORATION
                                                                  COMPANY ET AL
 Land           7/1/1984                   UOA                    MP 310 Unit Operating Agreement
 Land           1/1/1985                    OA                    Operating Agreement eff. 1/1/85
 Land           6/3/1985              Consent to Assign           Consent to Assignment of Interest, dated June 3,1985, between Tenneco Exploration, Ltd. and
                                                                  Texaco Inc., as Grantors of Consent, and Huffco Petroleum, as Assignor, and L. S. Holding
                                                                  Company, AE Investments, Inc., Colton Gulf COperating Agreementst, Inc., and Huffco 1982
                                                                  Exploration Limited Partnership, as Assignees, assigning all of Huffco Petroleum's record title
                                                                  interest to the Assignees.
 Land           5/1/1986                 Assignment               Assignment, dated effective May 1,1986, whereby Tenneco Exploration, Ltd. transferred all of its
                                                                  interests in Block 342, Eugene Island Area, Official Leasing Map No. 4A, to Plumb Offshore, Inc.,
                                                                  subject to the reservation of an overriding royalty interest.

 Land           7/2/1986           FARMOUT AGREEMENT              Farmout Agreement 7/2/1986
 Land          10/31/1986              Assignment                 Assignment of Interest, dated effective October 31,1986, whereby Tenneco Exploration, Ltd.
                                                                  transferred all of its interests in Block 342, Eugene Island Area, Official Leasing Map No. 4A, to
                                                                  Tenneco Oi! Company.
 Land          11/2/1987    SIMULTANEOUS EXCHANGE AGREEMENT
                                                                  EXCHANGE AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC AND CONOCO INC
 Land           3/3/1988                     PA                   PARTICIPATION AGREEMENT EFFECTIVE MARCH 3, 1988, BY AND BETWEEN WESTPORT OIL AND
                                                                  GAS COMPANY, INC, AND BASIN EXPLORATION, INC.
 Land           6/7/1988                   UA                     EI 212 Unit Agreement
 Land          10/31/1988                  FO                     Farmout Agreement 10/31/1988
 Land           1/1/1989          OPERATING AGREEMENT             WD/GI UOA ‐ CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC
                                                                  RICHFIELD COMPANY ET AL
 Land           1/1/1989          OPERATING AGREEMENT             GI CATCO UOA ‐ CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND
                                                                  ATLANTIC RICHFIELD COMPANY ET AL Unit No. 891002021
 Land           1/1/1989          OPERATING AGREEMENT             CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                                  COMPANY ET AL
 Land           1/1/1989          OPERATING AGREEMENT             CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                                  COMPANY ET AL
 Land           1/1/1989          OPERATING AGREEMENT             CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                                  COMPANY ET AL
 Land           1/1/1989          OPERATING AGREEMENT             CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                                  COMPANY ET AL
 Land           1/1/1989          OPERATING AGREEMENT             CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                                  COMPANY ET AL
 Land           1/1/1989          OPERATING AGREEMENT             CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                                  COMPANY ET AL
 Land           1/1/1989                    UOA                   EI 266 Unit Operating Agreement
 Land           1/1/1989                     OA
                                                                  CATCO Operating Agreement eff. 1/1/89 by and between Conoco, Richfield , Texaco, et al
 Land           1/1/1989                      OA                  Operating Agreement 1/1/89
 Land          3/10/1989                      FO                  Ratification of Farmout Agreement 3/10/1989
 Land          5/2/1989               Letter Agreement            Letter Agreement, dated May 2, 1989, between Southern Natural Gas Company and Chevron
                                                                  U:S.A. Inc.,concerning the "Construction, Installation, Operation and Maintenance of
                                                                  Measurement and Pipeline Facilities "
                                                                  for receipt points at various locations on the OCS, including Main Pass 77 'A' platform (as
                                                                  amended). Consent Sec. 1O.
 Land           7/1/1989                     OA                   Operating Agreement eff. 7/1/89
 Land          12/15/1989                    FO                   FARMOUT AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC., ET AL. AND CNG PRODUCING
                                                                  COMPANY
 Land          7/1/1990                  UA & UOA                 MP 259 Unit Agreement and Unit Operating Agreement
 Land          10/1/1990         Joint Operating Agreement        RATIFICATION AND AMENDMENT NUMBER 1 TO JOINT OPERATING AGREEMENT DATED
                                                                  OCTOBER 1, 1990, BY AND BETWEEN CONOCO INC. AND TEXAS PRODUCING INC.
 Land           1/1/1991                     PA                   Offshore Participation Agreement, dated effectiveJanuary 1,1991, between Unocal Exploration
                                                                  Corporation, The Northwestern Mutual Life Insurance Company, and Hardy Oil & Gas USA Inc.,
                                                                  BA A105.
 Land          4/15/1991                     OA                   Operating Agreement eff. 4‐15‐91 b/b Conoco and Shell
 Land          5/1/1991          Joint Operating Agreement        JOINT OPERATING AGREEMENT BY AND BETWEEN TEXACO EXPLORATION AND PRODUCTION
                                                                  INC., MOBIL OIL EXPLORATION & PRODUCING SOUTHEAST ET AL
 Land           6/1/1991                     UA                   UNIT AGREEMENT, SOUTH TIMBALIER BLOCK 295 FIELD UNIT BY AND BETWEEN SHELL
                                                                  OFFSHORE INC. AND APACHE CORPORATION, ET AL.
 Land          7/1/1983                      UOA                  ST 295 UOA. As amended
 Land          8/15/1991                      OA                  HI A442 Operating Agreement C‐02‐0004194
 Land          9/10/1991              Letter Agreement            LETTER AGREEMENT BY AND BETWEEN ATLANTIC RICHFIELD COMPANY AND EXXON
                                                                  CORPORATION
 Land          10/1/1991                     FO                   FO and Operating Agreement dated 10/1/91 between Torch Energy Advisors Inc etal and Hall‐
                                                                  Hosuton Oil Company
 Land           4/1/1992               Unit Agreement             Unit Agreement for Outer Continental Shelf Exploration, Development and. Production
                                                                  Operations on the South Pass Block 60 Unit (Blocks.6,17, 59, 60, 66 and 67) South Pass Area,
                                                                  Offshore Louisiana Outer Continental Shelf, Contract No. 754394018, as amended

 Land           4/1/1992               Unit Agreement             Amendment to Unit Agreement. For Outer Continental Shelf Exploration, Development and
                                                                  Production Operations on the South Pass Block 60 Unit (Blocks 6,17, 59, 60, 66 and 67) South
                                                                  Pass Area, Offshore Louisiana Outer Continental Shelf (Contract No. 754394018) to expand the
                                                                  Unit Agreement to include the NE/4 of the NW/4 of Block 61, OCS‐G 1609, South. Pass Area.

 Land           5/2/1992                   ABOS                   Agreement and Bill of Sale, dated effective May 2,1992, between Union Oil Company of
                                                                  California, as Seller, and The Northwestern Mutual Life Insurance Company and Hardy Oil & Gas
                                                                  USA Inc., as Buyers, selling 43.75% interest in the BA A‐105 "A" Platform, equipment arid
                                                                  pipeline, to NW Mutual 31.25%, and Hardy 12.50%.
 Land          6/25/1992              Letter Agreement            Letter Agreement, dated June 25, 1992, between Chevron U.S.A. Inc. ("Chevron") and Southern
                                                                  Natural Gas Company ("Southern"), concerning the "Interconnection of Pneumatic Chart
                                                                  Recorders Permit ‐ Various Meter Stations, Offshore Louisiana ", whereby Chevron obtained
                                                                  consent from Southern for Chevron to connect, operate and maintain pneumatic chart recorders
                                                                  on various of Southern's existing meter stations, offshore, Louisiana (including Main Pass Area
                                                                  Block 77 "A" platform).
 Land           7/1/1992         Joint Operating Agreement        JOINT OPERATNG AGREEMENT BY AND BETWEEN ATLANTIC RICHFIELD COMPANY AND
                                                                  SAMEDAN OIL CORPORATION
 Land          7/1/1992                       OA                  Operating Agreement 7‐1‐92 b/b Kerr‐McGee and Samedan
 Land          1/1/1993           Unit Operating Agreement        Unit Operating Agreement eff. 1‐1‐93
 Land          2/15/1993              Letter Agreement            Letter Agreement, dated effective February 15, 1993, between Chevron U.S.A. Inc. ("Chevron")
                                                                  and Southern Natural Gas Company ("Southern"), concerning the "Interconnection of Pneumatic
                                                                  Chart Recorders Permit ‐
                                                                  Various Meter Stations, Offshore Louisiana", whereby Chevron and Southern agree to amend
                                                                  and replace Exhibit "A" to that certain Letter Agreement, dated June 25, 1992 (described
                                                                  hereinabove).
 Land           4/2/1993                   ABOS                   Bill of Sale, dated April 2, 1993, from Southern Natural Gas Company ("Southern") to Chevron
                                                                  U.S.A. Inc.("Purchaser"), whereby Southern sells to Purchaser certain Barton chart recorders and
                                                                  appurtenant equipment
                                                                  located at various on various of Southern's existing meter stations, offshore, Louisiana (including
                                                                  Main Pass Area Block 77 "A" platform).
 Land           5/7/1993              Letter Agreement            Letter Agmt. dated 5‐7‐1993 b/b Shell Offshore Inc. and Freeport McMoRan Oil and Gas
                                                                  Company.
 Land          6/1/1993                      FO                   Farmout Agmt. eff. 6‐1‐1993 b/b Shell Offshore Inc. and Samedan Oil Coporation.
 Land          6/11/1993         Joint Operating Agreement        Operating Agreement eff. 6‐11‐1993 b/b Samedan Oil Corporation and British Borneo
                                                                  Exploration Inc., et al
 Land           8/1/1993                 Assignment
                                                                  Assignment of Interest in Oil and Gas Lease (OCS‐G 13944) effective date 08/01/93 from
                                                                  Anadarko Petroleum Corporation, Assignor, to Phillips Petroleum Company,Assignee, 50% of its
                                                                  right, title and interest in OCS‐G 13944, GI Block 116, South Addition.
 Land          8/16/1993         Joint Operating Agreement        Amendment to'Operating Agreement, dated August 16, 1993, between Express Acquisition
                                                                  Company and Torch EnergyAdvisors Inc.
 Land          12/30/1993                    OA                   WD 90, WD 103 Operating AgreementS 12‐30‐1993

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Land           1/1/1994       Joint Operating Agreement          BP EXPLORATION & OIL INC. AND SHELL OFFSHORE INC ET AL
Land           1/1/1994     Co‐Development Agreement and         Co‐Development Agreement and Amendment to Unit Operating Agreement originally by and
                             Amendment to Unit Operating         between CNG Producing Company & Columbia Gas Development Corp., et al
                                      Agreement
Land          1/21/1994        Unit Operating Agreement
                                                                 Unit Operating Agreement for the Viosca Knoll .252 Unit, by and between Samedan Oil
                                                                 Corporation, as Operator, and Continental Land &"Fur Co., Inc., dated effective January 21,1994.
                                                                 Preferential Right to Purchase ‐ 15 Days. (Section 26.2)
Land          2/1/1994                    JOA                    JOperating Agreement eff. 2/1/94
Land          2/10/1994                   JDA                    JOINT DEVELOPMENT AGREEMENT DATED FEBRUARY 10, 1994, BY AND BETWEEN PENNZOIL
                                                                 EXPLORATION AND PRODUCTION COMPANY, SONAT EXPLORATION COMPANY AND UNION OIL
                                                                 COMPANY OF CALIFORNIA ‐ TERMINATED BY LETTER AGREEMENT DATED MARCH 10, 1999.

Land          2/11/1994             Unit Agreement               Unit Agreement For Outer Continental Shelf Exploration, Development and Production
                                                                 Operations on theViosca Knoll 252 Unit designated Contract No. 754394013, by the Minerals
                                                                 Management Service, dated
                                                                 effective February 11, 1994, executed by Samedan Oil Corporation (as Unit Operator) and
                                                                 Chevron U.S.A. Inc.(as a working interest owner).
Land           6/1/1994        Joint Operating Agreement         OPERATING AGREEMENT DATED JUNE 1, 1994, BY AND BETWEEN NORCEN EXPLORER, INC,
                                                                 OPERATOR, AND DALEN RESOURCES OIL & GAS CO.
Land           6/6/1994            Letter Agreement              Letter Agreement, dated June 6, 1994, whereby Chevron U.S.A. Inc. approves, adopts
                                                                 and.recognizes the Unit Operating Agreement, dated January 21, 1994 for the Viosca Knoll 252
                                                                 Unit
Land           6/9/1994            Letter Agreement              Letter Agreement, dated June 9, 1994, by and between Chevron U.S.A. Inc., Samedan Oil
                                                                 Corporation and Continental Land & Fur Co., Inc.
Land          6/24/1994                    OA                    Operating Agreement eff. 6‐24‐94
Land          7/1/1994                     OA                    Operating Agreement 7/1/1974
Land          7/7/1994             Letter Agreement              LETTER AGREEMENT BY AND BETWEEN POGO PRODUCING COMPANY AND COCKRELL OIL AND
                                                                 GAS, L.P., ET AL
Land          7/15/1994            Letter Agreement              LETTER AGREEMENT DATED JULY 15, 1994 BY AND BETWEEN STONE ENERGY CORPORATION
                                                                 AND DAVID U. MELOY.
Land           9/1/1994               UOA                        EI 89 Field UOperating Agreement 9/1/94
Land           9/1/1994         FARMOUT AGREEMENT                Farmout Agmt Eff. 9‐1‐94
Land          10/19/1994               JDA                       Joint Venture Development Agreement, dated October 19,1994',,between Norcen Explorer, Inc.
                                                                 and Texaco Exploration and Production, Inc. forming a working‐interest unit comprising portions
                                                                 of'Ship .ShOperating Agreementl Block 206 and OCS‐G 1523,‐Ship ShOperating Agreementl Block
                                                                 207;
Land          11/16/1994                  JDA                    Joint Venture Development Agreement, dated November 16><1994, between Norcen.Explorer,
                                                                 Inc.,
                                                                 Texaco Exploration and1
                                                                  Production, Inc,, Industries, TheiGeorge R. Brown Partnership, JOC
                                                                 Venture, LamarHunt Trust Estate, Mobil Oil Exploration SoProducingiSoutheast Inc.,‐and Hunt Oil
                                                                 Company,.covering all of Blocks 206 and 207 Ship ShOperating Agreementl Area.

Land          11/30/1994                  JDA                    Amendment to Joint Venture Development Agreement, dated November'30,1994, between
                                                                 iNorcen Explorer,.'lnc., Texaco Exploration, and Production; Inc., Hunt Industries, The
                                                                 George.R..Brown Partnership, JOG Venture, Laniar Hunt Trust Estate, Mobil Oil Exploration
                                                                 &«Producing Southeast Inc., and Hunt Oil Company, covering all of Blocks 206 and 207 Ship
                                                                 ShOperating Agreementl Area.
Land          3/28/1995            Letter Agreement              LETTER AGREEMENT DATED MARCH 28,1995, BY AND BETWEEN STONE ENERGY CORPORATION
                                                                 AND DAVID U. MELOY, ET AL.
Land           4/6/1995                   JDA                    Amendment tp Joint Venture Development Agreement, dated April 6, 1995, between Norcen.
                                                                 Explorer, Inc., Texaco Exploration and Production; Inc., Hunt Industries, The George R. Brown,
                                                                 Partnership; JOC Venture, Lamar Hunt Trust Estate, Mobil Oil Exploration 8i Producing Southeast
                                                                 Inc., and Hunt Oil Company, covering; all of'Blocks.206 and 207 Ship ShOperating Agreementl
                                                                 Area.
Land           5/1/1995        Joint Operating Agreement         AMENDMENT TO OPERATING AGREEMENT DATED MAY 1, 1995, BY AND BETWEEN CONOCO
                                                                 INC. AND VASTAR RESOURCES, INC., ET AL.
Land           7/1/1995        Joint Operating Agreement         OFFSHORE OPERATING AGREEMENT EFFECTIVE JULY 1, 1995, BY AND BETWEEN NORCEN
                                                                 EXPLORER, INC, OPERATOR, DALEN RESOURCES OIL & GAS CO AND GLOBAL NATURAL
                                                                 RESOURCES CORPORATION OF NEVADA COVERING PORTIONS OF BLOCK 117 AND 118, EUGENE
                                                                 ISLAND, AS AMENDED TO EXCLUDE JOINT DEVELOPMENT ACREAGE.
Land          10/1/1995        Joint Operating Agreement         JOINT OPERATING AGREEMENT BY AND BETWEEN AMERADA HESS CORPORATION AND VASTAR
                                                                 RESOURCES INC.
Land          11/8/1995            Letter Agreement              LETTER AGREEMENT BY AND BETWEEN FORCENERGY GAS EXPLORATION INC. AND ENERGY
                                                                 INVESTMENTS INC.
Land          12/14/1995                  LOI                    REVISED LETTER OF INTENT (FARMOUT) DATED DECEMBER 14, 1995, BY AND BETWEEN
                                                                 ENSERCH EXPLORATION, INC, AND PETROBRAS AMERICA, INC.
Land          2/23/1996    JOINT DEVELOPMENT AGREEMENT           JOINT DEVELOPMENT AGREEMENT BY AND BETWEEN APACHE CORPORATION, W & T, DEVON,
                                                                 NCX
Land           3/7/1996    Conditional Letter of Acceptance to   Letter Agreement by and between Hardy Oil & Gas USA, Inc., British‐Borneo Exploration by
                                Exploration Agreement            Hardy Oil & Gas USA, inc., British Borneo Exploration, Inc. and Zilkha Energy Company

Land           3/7/1996                   JDA                    JOINT DEVELOPMENT AREA AGREEMENT DATED MARCH 7, 1996, BY AND BETWEEN LOUISIANA
                                                                 LAND AND EXPLORATION COMPANY AND ENSERCH EXPLORATION, INC, ET AL COVERING
                                                                 PORTIONS OF BLOCKS 107, 108, 118 AND 117, EUGENE ISLAND.
Land           9/1/1996        Joint Operating Agreement         JOA BY AND BETWEEN CAIRNE ENERGY USA, INC. AND NORCEN EXPLORER, INC. ET AL.
Land           9/1/1996                    OA                    Offshore Operating Agreement 9/1/1996
Land           9/3/1996                    OA
                                                                 Operating Agreement (depths below 9000' on VR 392 & VR 408; and all depths VR 407) 9/3/1996
Land          12/15/1996                   OA                    Operating Agreement eff. 12‐15‐96 b/b Vastar and Union
Land           1/3/1997        Joint Operating Agreement
                                                                 Operating Agreement eff. 1‐3‐1977 b/b Transco Exploration Company, as Operator, and Freeport
                                                                 Oil Company, Energy Development Corporation, Pioneer Production Corporation, et al
Land          1/21/1997               Assignment
                                                                 Assignment of Record Title effective date 01/21/97 from Phillips Petroleum Company to SOI. SOI
                                                                 will acquire a 50.0% of 6/6ths interest in OCS‐G 13944, GI Block 116, South Addition.
Land          1/21/1997                   PSA                    Purchase and Sale Agreement between Phillips Petroleum Company ("Seller") and SOI
                                                                 ("Purchaser"), whereby Phillips reserves a prop01tionately reduced 10% of 6/6ths Overriding
                                                                 Royalty Interest in OCS‐G 13944, effective date 01/21197
Land           5/1/1997        Joint Operating Agreement         Amendment to Operating Agreement, dated effective May 1,1997, between GOM Shelf, LLC, and
                                                                 ChevronTexaco and Kerr‐McGee Oil & Gas Corporation, amending Exhibit "A" to reflect a new
                                                                 division of interest.
Land           7/7/1997            Letter Agreement              Letter Agreement, dated July 7, 1997, by and between Chevron U.S.A. Inc. and Samedan Oil
                                                                 Corporation,concerning of the OCSTG 10930 Well #1 in Viosca Knoll Block 251 to a proposed
                                                                 depth of 22,500' and certain
                                                                 earning and assignment provisions, more fully described therein.
Land          10/1/1997                   UOA                    MI 623 Unit Operating Agreement
Land          10/1/1997                   UOA                    SP 65 G G‐1 Unit Res A UOperating Agreement
Land          10/1/1997                   UOA                    SP 65 G G‐1 Unit Res B UOperating Agreement
Land          10/1/1997                   UOA                    SP 65 G2‐G3 UOperating Agreement
Land          10/1/1997                    OA                    SP 61, 70 Joint Operating Agreement eff. 10‐1‐97
Land          12/18/1997                   PA                    PARTICIPATION AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC. AND WESTPORT OIL AND
                                                                 GAS COMPANY INC.
Land           2/1/1998        Joint Operating Agreement         OPERATING AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC. AND WESTPORT OIL AND
                                                                 GAS COMPANY INC
Land          2/28/1998            Letter Agreement
                                                                 Letter Agreement dated 02/28/98 between CNG Producing Company, et al, and SOI and
                                                                 Anadarko Petroleum Corporation, whereby SOI acquires 50% working interest in GI
                                                                 Block 110.
Land           3/1/1998        Unit Operating Agreement          UNIT OPERATING AGREEMENT DATED MARCH 1, 1998, BY AND BETWEEN ANADARKO
                                                                 PETROLEUM CORPORATION AND SHELL OFFSHORE INC.
                                                                 UNIT NO.754398019
Land           3/1/1998             Unit Agreement               UNIT AGREEMENT FOR OUTER CONTINENTAL SHELF EXPLORATION, DEVELOPMENT, AND
                                                                 PRODUCTION OPERATIONS ON THE GRAND ISLE BLOCK 116 UNIT, DATED MARCH 1, 1998, BY
                                                                 AND BETWEEN ANADARKO PETROLEUM CORPORATION, AND SHELL OFFSORE INC. UNIT
                                                                 NO.754398019
Land           3/1/1998                  ORRI                    Assignment of Overriding Royalty Interest, dated effective 03/01/98, whereby ANADARKO and
                                                                 SOI assigns 1 % (of 6/6ths) ORRI to BHP, CNG and Amoco, re: GI
                                                                 111OCS‐G18069, GI 116 OCS‐G 13944, GI 110OCS‐G13943.

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Land           3/1/1998           Assignment            Record Title Assignment of Oil and Gas Lease (OCS‐G 13943) effective date 03/01/98 whereby
                                                        BHP Petroleum {GOM) Inc., (Assignor) assigns to SOI and Anadarko
                                                        Petroleum Corporation (Assignees) a 25% of 6/6ths, equally to Assignees, being of all right, title
                                                        and interest, covering OCS‐G 13943, GI Block 110, South Addition.
Land           3/1/1998              ORRI               Assignment of Overriding Royalty Interest, dated effective 03/01/98, whereby ANADARKO and
                                                        SOI assigns 1 % (of 6/6ths) ORRI to BHP, CNG and Amoco, re: GI 111OCS‐G18069, GI 116 OCS‐G
                                                        13944, GI 110OCS‐G13943.
Land           3/2/1998               LA                LETTER AGREEMENT DATED MARCH 2, 1998, BY AND BETWEEN ANADARKO PETROLEUM
                                                        CORPORATION, ET AL, AND AMOCO PRODUCTION COMPANY, ET AL.
Land           3/3/1998               PA                PARTICIPATION AGREEMENT BY AND BETWEEN WESTPORT OIL AND GAS COMPANY INC. AND
                                                        BASIN EXPLORATION INC
Land          3/13/1998    Joint Operating Agreement    AMENDMENT TO OPERATING AGREEMENT DATED MARCH 13, 1998, BY AND BETWEEN TEXACO
                                                        EXPLORATION AND PRODUCTION INC. AND VASTAR RESOURCES, INC.
Land           4/1/1998              JVA                JOINT VENTURE AGREEMENT ‐ SPECTER PROSPECT DATED APRIL 1, 1998 BY AND BETWEEN
                                                        SHELL OFFSHORE, INC. AND ELF EXPLORATION INC. ET AL., as amended.
Land           4/1/1998    Joint Operating Agreement    OFFSHORE OPERATING AGREEMENT DATED APRIL 1, 1998, BY AND BETWEEN SHELL OFFSHORE
                                                        INC. AND SNYDER OIL CORPORATION, ET AL.
Land           4/6/1998        Letter Agreement         LETTER (ELF OFFERS NIPPON PART OF THE COperating AgreementSTAL INTEREST) DATED APRIL
                                                        6, 1998, BY AND BETWEEN ELF EXPLORATION INC. AND NIPPON OIL EXPLORATION U.S.A.
                                                        LIMITED
Land           4/6/1998              JVA                AMENDMENT TO JOINT VENTURE AGREEMENT‐ ELF ASSUMES COperating AgreementSTAL
                                                        POSISTION DATED APRIL 6, 1998 ELF EXPLORATION INC. AND COperating AgreementSTAL O&G
                                                        CORPORATION.
Land           4/7/1998           Assignment            Assignment of Record Title Interest, dated 4/7/98, whereby SOI assigns 12.5% Record Title to OBI
                                                        regarding GI 116, OCS‐G 13944.
Land          4/10/1998               FO                FARMOUT AGREEMENT DATED APRIL 10, 1998, BY AND BETWEEN COperating AgreementSTAL
                                                        O&G CORPORATION AND NIPPON OIL EXPLORATION U.S.A. LIMITED.
Land          4/13/1998        Letter Agreement
                                                        LETTER‐ NIPPON TAKES ITS SHARE OF COperating AgreementSTAL F/O & SHARE OF ELF'S
                                                        INTEREST DATED APRIL 13, 1998, BY AND BETWEEN ELF EXPLORATION INC., COperating
                                                        AgreementSTAL O&G CORPORATION AND NIPPON OIL EXPLORATION U.S.A. LIMITED.
Land          7/1/1998         Farmout Agreement        FO by and between Energy Development Corp & Juniper Energy Kp
Land          7/12/1998    Joint Operating Agreement
                                                        JOINT OPERATING AGREEMENT DATED JULY 12, 1998 BY AND BETWEEN RANGER OIL COMPANY,
                                                        THE HOUSTON EXPLORATION COMPANY AND SPINNAKER EXPLORATION COMPANY, L.L.C.
Land          11/5/1998              JVA                ADDENDUM TO JOINT VENTURE AGREEMENT DATED NOVEMBER 5, 1998, BY AND BETWEEN
                                                        SHELL OFSSHORE INC. AND NIPPON OIL EXPLORATION U.S.A. LIMITED, ET AL.
Land          2/11/1999              OA                 Operating Agreement eff. 2‐11‐99
Land          6/1/1999     AREA OF MUTUAL INTEREST      AREA OF MUTUAL INTEREST BY AND BETWEEN OCEAN ENERGY INC. AND DUKE ENERGY
                                                        HYDROCARBONS, LLC
Land           8/5/1999               EA
                                                        EXPLORATION AGREEMENT DATED AUGUST 5, 1999 BY AND BETWEEN RANGER OIL COMPANY,
                                                        THE HOUSTON EXPLORATION COMPANY AND SPINNAKER EXPLORATION COMPANY, L.L.C.
Land          11/18/1999       Letter Agreement         Letter Agreement, dated November. 18, 1999, by and between Chevron U.S.A. tic. and Samedan
                                                        Oil Corporatidri being a COPAS Amendment to Unit Operating Agreement for the Viosca Knoll
                                                        252 Unit concerning
                                                        Subpart (i;) of Section m. "Overhead", andimade effective January 1,2000.
Land          12/1/1999    Joint Operating Agreement    JOINT OPERATING AGREEMENT BY AND BETWEEN FORCENERGY INC. AND MAKO OFFSHORE
                                                        EXPLORATION, INC., ET AL.
Land          11/1/1980    Joint Operating Agreement    Operating Agreement, Main Pass Area, Blocks 77 and 78, Gulf of Meidco, dated effective
                                                        November 1, 1980,between Gulf Oil Corporation, Texoma Production'Company, The Anschutz
                                                        Corporation, NICOR Exploration
                                                        Company, and The Superior Oil Company, covering the federal Oil and Gas Lease OCS‐G 4481,
                                                        Blocks 77>and78 Main Pass Area, Offshore Louisiana, a true copy of the original is recorded in
                                                        C.O.B. 592, Folio 658,
                                                        Plaquemines Parish, Louisiana.
Land          12/15/1999       Letter Agreement         Letter Agreement, dated December 15, 1999, between Apache Corporation, Chevron U.S.A.
                                                        Production Company, Kelley Oil Corporation, Key Production Company, Mobil Exploration &
                                                        Producing U.S. Inc. and
                                                        Sabco Oil and Gas Corporation, regarding the OCS‐G 4481 #A‐23 Well, Main Pass Block 77, Main
                                                        Pass Block 151 Field, Offshore. LA. Note: only have Key's executed cop
Land           1/1/2000    Joint Operating Agreement    JOINT OPERATING AGREEMENT BY AND BETWEEN OCEAN ENERGY, INC., MCMORAN OIL & GAS
                                                        LLC., ET AL.
Land          1/31/2000                FO               Farmout Letter Agreement 1/31/2000
Land           2/7/2000                OA               Operating Agreement eff. 2‐7‐00
Land           5/1/2000                OA               Operating Agreement eff. 5/1/00
Land           8/4/2000                FO               Farmout Agreement 8/4/2000
Land          11/17/2000               PA               Participation Agreement and Operating Agreement 11‐17‐00 b/b Samedan and Stone
Land          12/8/2000        Letter Agreement         Letter Agreement, dated December 8, 2000 (effective December 1, 2000), by and between
                                                        Chevron U.S.A. Inc.and Williams Field Services ‐ Gulf COperating Agreementst Company, L.P.,
                                                        whereby Chevron U.S.A. Inc. consents to an
                                                        assignment by Williams Field Services ‐ Gulf COperating Agreementst Company, L.P., to its
                                                        affiliate, Williams Mobile Bay Producer Services, L.L.C.

Land          1/11/2001       LETTER AGREEMENT
                                                        Letter, dated January 11, 2001, from the United States Department of the Interior, Minerals
                                                        Management Serviceto Chevron U.S.A. Inc., approving the initial participating area plat and
                                                        Exhibit C for the Viosca Knoll 252 Unit,Agreement No. 754394013, effective November 8, 2000
Land          6/1/2001                 OA               Offshore Operating Agreement 6/1/2001
Land          6/15/2001    Joint Operating Agreement    JOINT OPERATING AGREEMENT BY AND BETWEEN TEXACO EXPLORATION AND RWE
                                                        PERTROLEUM COMPANY ET AL
Land          6/15/2001              JDA                JOINT DEVELOPMENT AGREEMENT EFFECTIVE JUNE 15, 2001, BY AND BETWEEN RME
                                                        PETROLEUM COMPANY AND W&T OFFSHORE, INC, "SM280 OWNERS" AND RME ET AL "SM 281
                                                        OWNERS" AND THAT CERTAIN JOINT OPERATING AGREEMENT ATTACHED THERETO AS EXHIBIT
                                                        "B".
Land          10/1/2001               OA                Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                        California and Forest Oil Corporation, covering SM 66
Land          10/1/2001               OA                Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                        California and Forest Oil Corporation, covering OCS‐G 2282, South Marsh Island Block 132.

Land          10/1/2001               OA                Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                        California and Forest Oil Corporation, covering SM 135
Land          10/1/2001               OA                Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                        California and Forest Oil Corporation, covering SM 136
Land          10/1/2001               OA                Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                        California and Forest Oil Corporation, covering SM 137
Land          10/1/2001               OA                Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                        California and Forest Oil Corporation, covering SM 149
Land          10/1/2001               OA                Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                        California and Forest Oil Corporation, covering SM 150
Land          10/1/2001                OA               Operating Agreement eff. 10‐1‐01 b/b Union and Forest
Land          10/1/2001                OA               Operating Agreement eff. 10‐1‐01 b/b Union and Forest
Land          11/3/2001        Letter Agreement         Letter Agreement, dated November 3, 2011, executed between Chevron U.S.A. Inc. (granting
                                                        party) and Phoenix Exploration Company, LP, Apache Corporation and Castex Offshore, Inc.
                                                        (grantees), being a conditional
                                                        consent to assign.
Land           1/9/2002        Letter Agreement         Letter, dated January 9, 2002, from the United States Department of the Interior, Minerals
                                                        Management Service to Chevron U.S:A. Inc., approving.a revision to the participating area plat
                                                        and Exhibit C for the Viosca Knoll 252 Unit, Agreement No. 754394bl'3, effective December 1,
                                                        2001.
Land           3/1/2002               FO                Farmout Agmt. eff. 3‐1‐2002 b/b Samedan Oil Corporation (Farmor) and Pure Resources, L.P.
                                                        (Farmee)
Land          8/23/2002    Joint Operating Agreement    Joint Operating Agreement by and between Dominion Exploration & Production, Inc., as
                                                        Operator, and Spinnaker Exploration Company, L.L.C., as Non‐Operator
Land          8/30/2002           Assignment            Assignment of Record Title Interest, approved 8/30/2002, whereby SOI assigns unto OBJ,
                                                        covering GI 110 OCS‐G 13943.
Land          9/20/2002           Assignment            Assignment of Operating Rights, approved 9/20/2002, whereby SOI assigns unto OEI, covering GI
                                                        110, OCS‐G 13943.
Land          12/18/2002      Pooling Agreement         POOLING AGREEMENT DATED DECEMBER 18, 2002, BY AND BETWEEN THE STATE OF TEXAS
                                                        AND SPINNAKER EXPLORATION COMPANY, L.L.C.

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 Land          12/20/2002       Joint Operating Agreement        Joint Operating Agreement by and between Dominion Exploration & Production, Inc. and
                                                                 Spinnaker Exploration Company, LLC
 Land          3/31/2003             Letter Agreement            Letter Agreement, dated March 31, 2003, between Chevron U.S.A. Inc., Sabco Oil and Gas
                                                                 Corporation, Apache Corporation, ExxonMobil Production Company, Key Production Company
                                                                 and Contour Energy
                                                                 Company regarding Second Opportunity to Participate ‐ Election to Acquire^Non‐Participating
                                                                 Interest, in the MP77 OCS‐G 4481 A‐6 TTPG, Project No. UWGHP‐R3011, Cost Center UCP170500,
                                                                 Main Pass Block 77.
                                                                 Key Production Company election.
 Land           5/1/2003        Joint Operating Agreement        Offshore Operating Agreement dated May 1, 2003 between Magnum Hunter Production,Inc, and
                                                                 Westport Resourcs Corporation et al
 Land          5/19/2003                    JOA                  JOperating Agreement eff. 5/19/03
 Land          5/19/2003     Area of Mutual Interest Agreement   Area of Mutual Interest Agreement by and between FIELDWOOD ENERGY OFFSHORE
                                                                 LLC(SUCCESSOR TO GRYPHON EXPLORATION COMPANY) ANDAPACHE CORPORATION
                                                                 (SUCCESSOR TO SPINNAKER EXPLORATION COMPANY, L.L.C.)
 Land           6/9/2003                    PA                   Participation Agmt. eff. 6‐9‐2003 b/b Samedan Oil Corporation and CLK Company
 Land           8/7/2003                    PA                   Exploration Participation Agreement, dated August 7, 2003, by and between Chevron U.S.A. Inc.
                                                                 and'Westport Resources Corporation, as amended, concerning certain Offshore Continental
                                                                 Shelf properties, all as is
                                                                 more fully, provided'for and described therein.
 Land          9/25/2003     Area of Mutual Interest Agreement   Area of Mutual Interest Agreement by and between Apache Corporation and Chevron USA

 Land           1/1/2004                    FO                   FARMOUT AGREEMENT DATED JANUARY 21, 2004, BY AND BETWEEN CHEVRON USA INC. AND
                                                                 BP AMERICA PRODUCTION COMPANY.
 Land           1/7/2004     Area of Mutual Interest Agreement
                                                                 Area of Mutual Interest Agreement by and between Apache Corporation and Shell Offshore et al
 Land          2/25/2004                    FO                   Farmout Agmt eff. 2‐25‐2004 b/b Forest Oil Corporation, Texas Standard Oil Company, Noble
                                                                 Energy, Inc. and Pioneer Natural Resources USA, Inc., as Farmors, and Houston Energy, L.P., as
                                                                 Farmee
 Land          2/25/2004        Joint Operating Agreement
                                                                 Ratification and Amdt. Of Operating Agreement eff. 2‐25‐2004 b/b Forest Oil Corporation et al
 Land          3/18/2004                   PSA                   PSA dated 3‐18‐04 but eff. 9‐1‐2003 b/b Noble Energy, Inc. and Northstar Gulfsands, LLC
 Land          3/25/2004                   JVA                   Amendment to Joint Venture Development Agreement, dated. March 25, 2004 between
                                                                 Anadarko E 8t P Company LP: Chevron U.S.A. Inc.; Hunt Oil Company, Hunt Petroleum, the
                                                                 George,R..Brown Partnership LP, Offshore Investment ,Cov and the'Lamar Hunt Trust Estate,,
                                                                 whereby the Unit 'was expanded
 Land           4/1/2004        Joint Operating Agreement        AMENDMENT OF JOINT OPERATING AGREEMENT DATED APRIL 1, 2004, BY AND BETWEEN BP
                                                                 AMERICA PRODUCTION COMPANY AND STONE ENERGY CORPORATION.
 Land           4/2/2004                Divestiture              ASSET SALE AGREEMENT DATED APRIL 2, 2004, BY AND BETWEEN CHEVRON USA INC. AND
                                                                 STONE ENERGY CORPORATION.
 Land          4/19/2004                    FO                   Farmout Agreement by and between Newfield Exploration Company and Westport Resources
                                                                 Company, as Owners of WC 73, and Dominion Exploration & Production, Inc. and Spinnaker
                                                                 Exploration Company, LLC as Owners of WC 72
 Land          5/28/2004             Letter Agreement            Letter, dated May 28, 2004, from the United States Department of the Interior, Minerals
                                                                 Management Service to Chevron U.S.A. Inc., approving a revision to the participating area plat
                                                                 and Exhibit Cfor theiViosca Knoll 252
                                                                 Unit, Agreement No. 754394013, effective December 1, 2003.
 Land           6/1/2004                    OA
                                                                 Operating Agreement eff. 6‐1‐04 by and between Newfield Exploration Co & Triumph Energy LLC
 Land          6/29/2004             Letter Agreement            LETTER AGREEMENT DATED JUNE 29, 2004, BY AND BETWEEN STONE ENERGY CORPORATION
                                                                 AND BP AMERICA PRODUCTION COMPANY.
 Land          7/20/2004                   PHA                   PHA eff. 7‐20‐2004 b/b Forest Oil Corporation, as operator and co‐owner of the WD 34 A PF and
                                                                 Red Willow Offshore, LLC, et al, as producers
 Land          7/27/2004         Confidentiality Agreement       Confidentiality Agreement by and between Apache Corporation and Applied Drilling Technology,
                                                                 Inc.
 Land           8/1/2004         Unit Operating Agreement        Amendment and Supplement to?Unit Operating Agreement for the Viosca Knoll 252 Unit, dated
                                                                 August 1,2004, by and between Chevron UiS.A. Inc. and‐Noble Energy, Inc
 Land          8/1/2004                    OA                    Operating Agreement 8/1/04
 Land          8/11/2004                  Notice                 NOTICE OF ASSIGNMENT DATED AUGUST 11, 2004, BY AND BETWEEN CHEVRON USA INC. AND
                                                                 STONE ENERGY CORPORATION.
 Land          8/24/2004             Letter Agreement            Letter Agreement dated August 24, 2004, between Chevron U.S.A. Inc. and Williams Field
                                                                 Services‐ Gulf COperating Agreementst Company, L.P.
 Land           9/7/2004    Settlement and Release Agreement     SETTLEMENT AND RELEASE AGREEMENT DATED SEPTEMBER 7, 2004, BY AND BETWEEN BP
                                                                 AMERICA PRODUCTION COMPANY AND STONE ENERGY CORPORATION.
 Land          10/1/2004                   OA                    Operating Agreement eff. 10‐1‐04
 Land          10/6/2004                   LOI                   LETTER OF INTENT DATED OCTOBER 6, 2004, BY AND BETWEEN THE HOUSTON EXPLORATION
                                                                 COMPANY AND SPINNAKER EXPLORATION COMPANY, L.L.C.
 Land          10/7/2004                    EA                   EXPLORATION AGREEMENT DATED OCTOBER 7, 2004, BY AND BETWEEN THE HOUSTON
                                                                 EXPLORATION COMPANY AND SPINNAKER EXPLORATION COMPANY, L.L.C.
 Land          10/14/2004            Letter Agreement            Letter Agreement, dated October. 14, 2004, between Ghevron U.S.A. Inc. and Noble Energy,.Inc.
                                                                 concerning Production Handling Agreement Terin's, Viosca Knoll 251 "A'
                                                                 PlatfomvCadillacProspect and any Other Future
                                                                 Non‐unit Production
 Land          10/28/2004                  PSA
                                                                 PSA dated 10‐28‐2004 but eff. 7‐1‐2004 B/B Eni Deepwater LLC and Northstar Gulfsands, LLC
 Land          11/1/2004                    PA                   Exploration Participation Agreement, dated November 1, 2004, by and between Chevron U.S.A.
                                                                 Inc. and Newfield Exploration Company, concerning certain Offshore Continental Shelf
                                                                 properties, all as is more fully
                                                                 provided for and described therein
 Land          11/18/2004            Letter Agreement            Letter Agreement, dated November 18; 2004, between Chevron U.S.A. Inc. and Newfield
                                                                 Exploration Company, amendihg'the;terms of Letter Agreement•,dated October f4, 2004,
                                                                 between Chevron U.S.A. Inc. and
                                                                 Noble Energy, Inc. concerning Production Handling Agreement Terms, Viosca knoll.251 "A"'
                                                                 Platform, Cadillac Prospect and any Other Future Non‐unit Production:
 Land           1/1/2005                   VUA                   VOLUNTARY UNIT AGREEMENT DATED JANUARY 1, 2005, BY AND BETWEEN SPINNAKER
                                                                 EXPLORATION COMPANY, L.L.C. AND THE HOUSTON EXPLORATION COMPANY AND GRYPHON
                                                                 EXPLORATION COMPANY.
 Land          1/1/2005            Operating Agreement           Operating Agreement 1‐1‐05 by an between Maritech and Arena
 Land          1/25/2005            Letter Agreement             Letter Agreement for the Operation and Ownership Transfer of Certain South Marsh Island Block
                                                                 66 Facilities, dated effective January 25, 2005, between Transcontinental Gas Pipeline
                                                                 Corporation,;as Seller> and Union Oil "Company‐of California and Forest Oil Corporation, as
                                                                 Purchasers, for facilities and pipeline associated with "A" and "C" Platforms'. NEVER
                                                                 CONSOMATED.
 Land           2/1/2005             Letter Agreement            Letter Agreement, dated February 1, 2005, between Union Oil Company of California and Forest
                                                                 Oil , covering OCS‐G 2589, South Marsh Island Block 137, asthe Unit Operating Agreement for
                                                                 South Marsh Island Block 137 Unit, identified as Unit Agreement No. 14‐08‐001‐20237, replacing
                                                                 and superseding, effective October 1, 2001, that certain Unit Operating Agreement dated
                                                                 January 1,1989 between Conoco Inc., Texaco Producing Inc. and CanadianOXY Offshore
                                                                 Production Company.
 Land          3/28/2005                    PA                   PARTICIPATION AGREEMENT BY AND BETWEEN GOM SHELF LLC BY APACHE CORPORATION AND
                                                                 RIDGEWOOD ENERGY CORPORATION
 Land          5/27/2005        Joint Operating Agreement
                                                                 Operating Agmt eff. 5‐27‐2005 b/b BP Exploration & Production Inc. and EOG Resources, Inc.
 Land          5/28/2005                    PA
                                                                 Participation Agmt eff. 5‐28‐2005 b/b BP Exploration & Production Inc. and EOG Resources, Inc.
 Land           8/2/2005                   PSA                   PURCHASE AND SALE AGREEMENT DATED AUGUST 2, 2005, BY AND BETWEEN BP AMERICA
                                                                 PRODUCTION COMPANY AND STONE ENERGY CORPORATION.
 Land          10/25/2005                  OA                    Operating Agreement 10‐25‐05
 Land          11/1/2005                   JDA                   JOINT DEVELOPMENT AGREEMENT BY AND BETWEEN MERIT ENERGY COMPANY AND STONE
                                                                 ENERGY CORPORATION ET AL
 Land          11/1/2005    Partition and Redemption Agreement   Partitiion and Redemption Agmt. dated 11‐1‐2005 b/b Northstar Gulfsands, LLC and Gulfsands
                                                                 Petroleum USA, Inc.
 Land          11/7/2005              Unit Agreement
                                                                 Amendment to Unit Agreement, Viosca Knoll Block 252 Unit, Contract No. 754394013, dated
                                                                 November 7, 2005 (effective November 1, 2005) as approved by the Minerals Management
                                                                 Service by letter dated January 10,2007, but made effective November 8, 2006, replacing Exhibits
                                                                 "A", "B" and "C" and Article 13.1 in its entirety (reduction of Unit Area)
 Land          12/20/2005            Letter Agreement            Letter Agreement, dated December 20, 2005, between Noble Energy, Inc. and Ghevron U.S.A.
                                                                 Inc., being a consent.to.disclose confidential data
 Land          2/22/2006                    FO                   Farmout Proposal Letter Agreement between The Houston Exploration Company
                                                                 and Noble Energy Inc. 2/22/2006

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Land           3/1/2006                ABOS
                                                             ABOS eff. 3‐1‐2006 b/b Noble Energy, Inc. as Assignor and Coldren Resources LP as Assignee.
Land           4/4/2006     Joint Operating Agreement        STONE ENERGY CORPORATION AND GOM SHELF LLC, ET AL
Land          6/28/2006                 OA                   JOperating Agreement eff. 6‐28‐86
Land          7/24/2006                 OA                   Operating Agreement eff. 7‐24‐06
Land          10/17/2006               JOA                   Operating Agreement eff. 10‐17‐06
Land          10/30/2006                FO
                                                             Farmout Agreement, dated effective October 30, 2006, between Chevron U.S.A. Inc., as‐Farmor,
                                                             and Mariner Energy Resources, Inc., as farmee, covering S/2 of SM 149 (OCS‐G 2592) and S/2 of
                                                             SM 150 (005‐016325) and limited to depths from the surface.to the stratigraphic equivalent of
                                                             100' below the deepest depth drilled in the #1 Well as proposed.
Land          1/10/2007          Letter Agreement            Letter dated January 10, 2007, from the.United States Department of the Interior, Minerals
                                                             Management Service to Chevron U.S.A. Inc., approving a revision Exhibits "A", "B" and "C"
                                                             reflecting a change in the Unit Area due to contraction provisions in the Viosca Knoll 252 Unit,
                                                             Agreement No. 754394013.
Land          2/28/2007                FO                    FO eff. 2/28/07 by and between Newfield and Apache
Land          4/3/2007      Confidentiality Agreement        Confidentiality Agreement by and between Apache Coporation, Samson Contour Energy and
                                                             Shell Offshore
Land          5/17/2007     Joint Operating Agreement        JOINT OPERATING AGREEMENT BY AND BETWEEN DEVON ENERGY PRODUCTION COMPANY,
                                                             L.P. AND HUNT PETROLEUM CORPORATION, ET AL.
Land          9/21/2007      FARMOUT AGREEMENT               FARMOUT AGREEMENT b/b APACHE CORPORATIONand SENECA RESOURCES CORPORATION

Land          12/31/2007                PSA                  PURCHASE AND SALE AGREEMENT BY AND BETWEEN GOM SHELF LLC AND WILD WELL
                                                             CONTROL INC.
Land          12/31/2007       Company Agreement             Company Agreement, dated effective December 31, 2007, between BP America Production
                                                             Company,Chevron USA Inc. and GOM Shelf LLC, amending the Operating Agreements for certain
                                                             jointly‐owned
                                                             Facilities and Wells in GI 40, 41, 47, 48 and WD 69 and 70 damaged by Hurricane Katrina.
Land          12/31/2007                PSA                  Agreement for Purchase and Sale, effective December 31, 2007, between Chevron U.S.A. Inc., as
                                                             Seller, and Wild Well Control, Inc., as Buyer, conveying Chevron's undivided interest in certain
                                                             Facilities and
                                                             Wells in Gl 40, 41, 47, 48 and WD 69 and 70 to Wild Well Control for the purpose of
                                                             decommissioning
Land           5/1/2008     Joint Operating Agreement        JOINT OPERATING AGREEMENT BY AND BETWEEN MARINER ENERGY, INC. AND APACHE
                                                             CORPORATION
Land           7/7/2008             Acquisition              Stock Purchase Agmt dated July 7, 2008 b/b Northstar E&P, LP and Dynamic Offshore Resources,
                                                             LLC
Land           7/7/2008          Letter Agreement            VR 332 A5 Letter Agmt dated July 7, 2008 b/b Northstar Interests, L.C. and Dynamic Offshore
                                                             Resources, LLC
LAND          7/15/2008      Participation Agreement         ST 311 Participation Agreement‐Walter & APA‐7‐15‐2008
LAND          7/15/2008        Assignment of ORRI            ST 311 Walter ORRI Assign.
Land          8/27/2008                  FO
                                                             FARMOUT AGREEMENT BY AND BETWEEN PIESCES ENERGY LLC AND APACHE CORPORATION
Land          12/8/2008            Platform Sale             Platform Sale Agreement, WD 94 G Auxiliary Platform„dated:effective December 8, 2008
                                                             between BP America'Production Company and GOM Shelf LLC, as‐sellers, and Chevron USA Inc.,
                                                             as buyer.

Land          4/30/2009                 OA                   Operating Agreement eff. 4‐30‐09 Chevron USA, et al
Land          6/1/2009                  FO                   Farmout Agreement dated effective June 1, 2009, between Chevron U.S.A. Inc., and Phoenix
                                                             Exploration Company, LP and Challenger Minerals Inc., covering OCS‐G 32267, Chandeleur Block
                                                             42 and OCS‐G 32268, Chandeleur Block 43, INSOFAR AND ONLY INSOFAR as they cover those
                                                             depths from the surface to one hundred feet (100') below the deepest depth drilled and logged
                                                             in the earning well.
Land           6/1/2009                OA                    JOperating Agreement CA 42/43
Land           6/1/2009                OA                    Operating Agreement eff. 6‐1‐09 Chevron USA, et al
Land           8/7/2009     Confidentiality Agreement
                                                             Confidentiality Agreement by and between Apache Corporaiton and Houston Energy, L.P.
Land          12/14/2009       OPTION AGREEMENT              OPTION AGREEMENT b/b APACHE CORPORATIONand WALTER OIL & GAS CORPORATION, ET AL

Land           2/1/2010      FARMOUT AGREEMENT               FARMOUT AGREEMENT b/b APACHE CORPORATIONand WALTER OIL & GAS CORPORATION, ET
                                                             AL
Land          2/25/2010                  OA                  Operating Agreement eff. 2‐25‐10
Land          4/8/2010           Letter Agreement
                                                             Letter Agreement, dated 4/8/2010 between Shell Offshore Inc., Apache Corporation and Nippon
                                                             Oil Exploration U.S.A. Limited amending the Unit Operating Agreement, dated
                                                             March 1, 1998.
Land           6/1/2010                 PA                   Approval.of Revision of Participation Area, effective June 1, 2010, whereby the Grand Isle CATCO
                                                             Unit was revised.

Land           6/1/2010                ABOS                  Bill of Sale and Conveyance, effective June 1, 2010, whereby Chevron U.S.A. Inc. transferred
                                                             certain Interests in Grand Isle Block 46, OCS‐G 00132 N‐l well/API No. 17‐717‐40959‐00, certain
                                                             interests in Grand Isle Block 46, OCS‐G 00132 Platform, the line fill as of the effective date, and
                                                             the Minerals Management Segment Number 15732 Pipeline as well as its associated Right of
                                                             Way, equipment and facilities to GOM Shelf
Land          7/23/2010     Confidentiality Agreement
                                                              Confidentiality Agreement by and between Apache Corporaotion and W & T Offshore Inc.
LAND          9/1/2010       OCS Exploration Venture          mp‐295‐Joint Venture Letter Agreement
Land          9/14/2010        Letter Agreement               CHEVRON USA INC. AND GOM SHELF LLC
Land          2/1/2011                ABOS                    Assignment and Conveyance, dated effective February 1, 2011, between Harrigan Energy
                                                              Partners, Inc.,Assignor, and Chevron U.S.A. Inc^ as Assignee, covering Assignor's right, title and
                                                              interest in the Lease, together
                                                              with Assignor's interest in certain wells, facilities; pipelines, equipment, contracts,, etc:, all as
                                                              more fully described therein.
Land          3/15/2011     Joint Operating Agreement         JOINT OPERATING AGREEMENT BY AND BETWEEN APACHE CORPORATION AND STONE ENERGY
                                                              OFFSHORE LLC
Land          4/21/2011                 PSA                   Asset Purchase and Sale Agreement, dated April 21, 2011, but made effective February 1, 2011,
                                                              between SabcoOil and Gas Corporation, as Seller, and Chevron U.S.A. Inc., as Purchaser, whereby
                                                              Purchaser acquired
                                                              0.63149% of 0.83922% of 8/8ths of Seller's right title and interest in the Lease, together with
                                                              Seller's interest in certain wells, facilities, pipelines, equipment, contracts, etc., all as more fully
                                                              described therein.
Land          4/21/2011                ABOS                   Assignment and BUI of.Sale, dated April 21, 2011, but made effective February 1, 2011, between
                                                              Sabco Oil and Gas Corporation, as Assignor/and Chevron U.S.A. Inc., as Assignee, covering
                                                              Assignor's right, title and interest in the Lease, together with Assignor's interest in certain wells,
                                                              facilities, pipelines, equipment, contracts, etc., all
                                                              as more fully described therein
Land          8/1/2011               ABOS                    OS eff. 8‐1‐2011 b/b XTO Offshore Inc. ("Assingor") and Dynamic Offshore Resources, LLC ("Assignee")
Land          8/25/2011    PARTICIPATION AGREEMENT            PARTICIPATION AGREEMENT b/b APACHE CORPORATIONand CASTEX OFFSHORE, INC., ET AL

LAND          9/20/2011    Slot and Well Bore Acquisition    MP 296 MP 296 B‐19 Slot, Wellbore Acquisition Agreement
Land          11/3/2011          Letter Agreement
                                                             Letter Agreement dated November 3, 2011 evidencing Chevron U.S.A. Inc.'s consent to an
                                                             assignment of interest from Phoenix Exploration Company LP in that certain Farmout Agreement
                                                             dated and made effective June 1, 2009, to Apache Corporation and Castex Offshore, Inc.
Land          11/3/2011          Letter Agreement            Letter Agreement, dated November 3, 2011, executed between Chevron U.S.A. Inc. (granting
                                                             party) and Phoenix Exploration Company, LP, Apache Corporation and Castex Offshore, Inc.
                                                             (grantees), being a conditional
                                                             consent to assign.
LAND          11/17/2011     Assignment and Bill of Sale     MP 295, MP 296, MP 303, MP 304, MP 311, MP 312, MP 313 ABOS Stone to EPL 11‐1‐2011
LAND          12/1/2011       Participation Agreement        ST 311 Participation Agreement‐Walter & APA & Castex‐12‐1‐2011
LAND          12/15/2011   Slot and Well Bore Acquisition    MP 296 MP 296 B19 ST2 Slot & Well Bore Acq Agmt
Land           4/1/2012                   PA                 Approval of. Revision of Participation Area, effective April 1, 2012, whereby the Grand, Isle
                                                             CATCO Unit was revised.

Land           5/1/2012    CONDENSATE TRANSPORT &            CONDENSATE TRANSPORT & SEPARATION AGREEMENT b/b APACHE CORPORATIONand CASTEX
                            SEPARATION AGREEMENT             OFFSHORE, INC., ET AL
Land           5/2/2012         Letter Agreement             Letter, dated May 2, 2012 between Newfield Exploration Company and Chevron U.S.A. Inc.,
                                                             being a waiver of confidentiality provision grant by Chevron in favor of Newfield;


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Land           6/1/2012                      PSA                     Ratification of Purchase and Sale Agreement by Holders of Preferential Right to Purchase, dated
                                                                     effective June l , 2012, between Key Production Company, Inc., as Seller, and Chevron U.S.A. Inc.
                                                                     and Dynamic Offshore Resources, LLC, as Preferential Right Purchasers, affecting that certain
                                                                     Purchase and Sale Agreement, dated June 27, 2012 but made effective June 1, 2012, between
                                                                     Key Production Company, Inc., as Seller, and Chevron U.S.A.
                                                                     Inc., as Buyer.

Land           6/1/2012                      ABOS                    Conveyance, Assignment and Bill of Sale, dated June 27,.2012 but made effective June 1, 2012,
                                                                     between Key Production Company, Inc., as Assignor, and Chevron U.S.A. be. and Dynamic
                                                                     Offshore Resources, LLC, as Assignees, covering an undivided 0.83922% right, title and.interest in
                                                                     certain property described in Exhibit "A" attached thereto, assigning 75.247% thereof to Chevron
                                                                     (0.63149% net) and 24.753% thereof to Dynamic
                                                                     (0.207.73%.net).
Land          6/27/2012                      PSA                     Purchase and Sale Agreement, dated June 27, 2012 but made.effective June I , 2012, between
                                                                     Key Production Company, Inc.,. as'Seller, and Chevron U.S.A. Inc., as Buyer, covering all of
                                                                     Seller's.right, title and interest in that certain Oil & Gas Lease bearing Serial No. OCS‐G 448,1, ),
                                                                     together with Seller's interest in certain wells, facilities, pipelines, equipment contracts, etc, all as
                                                                     more.fully described therein.
Land           7/9/2012           Joint Operating Agreement          Offshore Operating Agreement (Ship ShOperating Agreementl 176 Prospect OCS‐G 33646)
                                                                     Originally by and between Hall‐Houston Exploration IV, L.P, as Operator and GOM Offshore
                                                                     Exploration I, LLC and Apache Corporation as Non‐Operators
Land           8/1/2012      Throughput Capacity Lease Agreement
                                                                     Fieldwood leases capacity to Arena for Barnacle Pipeline
Land          9/17/2012                       PA                     PARTICIPATION AGREEMENT BY AND BETWEEN APACHE CORPORATION AND WALTER OIL & GAS
                                                                     CORPORATION
LAND          12/20/2012     Farmout Agreement Extension Letter      MP 295 Extension 12‐20‐12
Land           2/1/2013          AREA OF MUTUAL INTEREST             AREA OF MUTUAL INTEREST AGREEMENT BY AND BETWEEN APACHE CORPORATION AND
                                                                     ENERGY XXI GOM, LLC
Land           2/1/2013           Joint Operating Agreement          JOINT OPERATING AGREEMENT BY AND BETWEEN APACHE CORPORATION AND ENERGY XXI
                                                                     GOM, LLC
Land           2/1/2013                Data Agreement                Data Agreement effective 2‐1‐2013 by and between Fieldwood Energy LLC, GOM Shelf LLC,
                                                                     Apache Corporation and EXXI
LAND           2/1/2013       Memorandum of OA and Financing
                                        Statement                    Primary Term Lands ‐ MOA Recorded 01‐2015 Revision
LAND           2/1/2013           Exploration Agreement              MP 296 EXXI Exploration Agreement\Exploration Agreement Apache & Energy XXI 2‐1‐2013 with
                                                                     Exhibits (less B)
LAND          2/22/2013          Exploration Agreement Letter        Heron Prospect (MP 295) Letter of Agreement 2‐22‐13
Land          3/15/2013               Exploration Venture            Exploration Venture for portions of VR 271 SM 87 by and between Fieldwood Energy Offshore
                                                                     LLC, Apache Corporation and Pisces Energy LLC
Land           6/1/2013                      OA                      Operating Agreement eff. 6‐1‐13 Castex, et al
Land           7/1/2013                   Acquisition                PURCHASE AND SALE AGREEMENT by and among APACHE CORPORATION,APACHE SHELF, INC.,
                                                                     and
                                                                     APACHE DEEPWATER LLC collectively as the Sellers, and FIELDWOOD ENERGY LLCas Buyer and
                                                                     GOM SHELF LLC Dated as of July 18, 2013

Land           7/1/2013                    Acquisition               Acquistion by and between Fieldwood Energy LLC and Callon Petroleum Operating Co.
Land           7/1/2013                       MOA                    EI 136 Recorded Memorandum of Operating Agreement and Financing Statement
Land           7/1/2013            Joint Operating Agreement         EI 136 Operating Agreement covering depths below 19,135' SSTVD
Land           7/1/2013            Joint Operating Agreement         JOperating Agreement covering OCS‐G 32264 MP 302
Land           7/1/2013      Stipulation and Corrective Assignment   Stipulates the interest held by Apache Offshore Petroleum Limited Partnership, Fieldwood
                                                                     Energy LLC and Third parties
Land           7/1/2013     Assignment of Federal OCS Pipeline Right
                                              of Way                 Assignment of Pipeline ROW Apache to Fieldwood LLC
Land           9/9/2013     Amendment No. 1 Bar Prospect Offshore
                                       Operating Agreement           Amends certain JOperating Agreement dated 02/01/2013
Land          9/30/2013                     Acquisition              Purchased GOM Shelf as a company from Apache
                                                                     Election Letter Agreement by and between Fieldwood Energy LLC and Enven Energy Ventures
Land          10/7/2013    lection Letter Agreement PL 13 007 ST2 WeLLC
LAND          10/16/2013              Fabrication Agreement
                                                                     ST 311 A Platform Construction Contract Gulf Island LLC and Walter Oil and Gas dtd 10‐16‐13
Land          10/25/2013                Letter Agreement             Letter Agreement dated October 25, 2013 evidencing Chevron U.S.A. Inc.'s consent to an
                                                                     assignment of interest from Apache Corporation in that‐certain Farmout Agreement dated and
                                                                     made effective June 1, 2009, to Fieldwood Energy LLC.

                                                                          Equity Purchase Agreement between Sandridge Energy, Inc., Sandridge Holdings, Inc. and
                                                                     Fieldwood Energy LLC: Fieldwood purchased all companies listed with their assets which included
Land          12/1/2013                   Acquisition                              Offshore and SandRidge Legacy South Texas and South Louisiana assets.
Land          12/4/2013         Extension Request ‐ Slot Rental      by and between Fieldwood Energy LLC, GOM Shelf LLC and EPL Oil & Gas, LLC ‐ Amends certain
                                          Agreement                  Slot Rental Agreement dated 12/26/2012
Land          12/4/2013         Extension Request ‐ Slot Rental      by and between Fieldwood Energy LLC, GOM Shelf LLC and Apache Shelf Exploration LLC ‐
                                          Agreement                  Amends certain Slot Rental Agreement dated 12/26/2012
Land          12/16/2013          Joint Operating Agreement          TANA EXPLORATION COMPANY LLC AND APACHE CORPORATION
Land          12/28/2013                 Well Proposal               Letter proposing well B‐19 MP 302 well by and between Fieldwood Energy LLC, GOM Shelf LLC,
                                                                     Apache Corporation and Apache Shelf Exploration LLC
Land          12/30/2013            Withdrawal Agreement             Withdrawal Agreement by and between Fieldwood Energy LLC and Chevron U.S.A. Inc.
Land          1/10/2014                Prospect Proposal             Gilligan & Bingo: Stone offering of prospects to Fieldwood Fieldwood election
Land          1/10/2014                Prospect Proposal             Gilligan & Bingo: Stone offering of prospects to Fieldwood Fieldwood election
Land           2/5/2014                Prospect Proposal             Gilligan & Bingo: Stone requesting extension and fieldowood's election
Land           2/5/2014                Prospect Proposal             Gilligan & Bingo: Stone requesting extension and fieldowood's election
Land           3/1/2014                    Acquisition               by and between Fieldwood Energy Offshore LLC and Black Elk Energy Offshore Operations, LLC:
                                                                     Leases where Fieldwood was the operator and Black Elk held interest. Exception is ST 53 where
                                                                     Black Elk was the Operator.
LAND          3/1/2014           Contract Operating Agreement        ST 320 Contract Operating Agreement dtd 3‐1‐14
Land          3/13/2014     Casing Point Election Letter MP 302 B‐19 by and between Fieldwood Energy LLC, GOM Shelf LLC and Apache Shelf Exploration LLC:
                                               Well                  Proposal to run casing and election by Apache
Land          3/13/2014         Contract Operations Agreement        Pursuant to change in operatorship per that PSA btw SandRidge and Black Elk
Land          3/24/2014                Prospect Proposal             Gilligan & Bingo: Stone requesting extension and fieldowood's election
Land          3/24/2014                Prospect Proposal             Gilligan & Bingo: Stone requesting extension and fieldowood's election
Land          3/28/2014                Prospect Proposal
                                                                     Proposal Amendment and Various requests for extension from Stone and election by Fieldwood
Land          3/28/2014                Prospect Proposal
                                                                     Proposal Amendment and Various requests for extension from Stone and election by Fieldwood
Land           4/1/2014                         FO                   Farmout Agreement: OCS‐G 13576; East Cameron Block 71 (Limited to the NE/4 of the block and
                                                                     a Contract Area created to include the Farmout Area and EC 58 S/2)
Land          4/16/2014        Settlment Agreement and Release       Settlement Agreementa nd Release ‐ SS 198/VR 369/VR 408/ SP 8/13
Land          4/23/2014             Letters of No Objection          Letters of No Objection, Lease & Pipeline Crossings: Appies to ST 276, 296 & 311, includes
                                                                     indemnification
Land          4/28/2014                 Letter Agreement             Letter Agreement, dated April 28, 2014, between Chevron U.S.A. Inc. and Samson Contour
                                                                     Energy E&P, LLC,
                                                                     regarding Main Pass 77 Oil Imbalance Claim
Land           5/2/2014         Letter Agreement Well Proposal       Set forth the agreement between Apache Shelf and Fieldwood for the drilling of the EI 126 A‐5
                                                                     well
Land           6/1/2014                    Acquisition               by and between Fieldwood Energy Offshore LLC, NW Pipeline, Inc. and Northwestern Mutual
                                                                     Life Ins. Co:HIPS 13‐III
LAND           6/1/2014       Memorandum of OA and Financing
                                            Statement                Heron Prospect MOA amd. No.2 6‐1‐14
Land           7/2/2014            Assignment and Bill of Sale       by and between Fieldwood Energy LLC and Castex Offshore, Inc. : Fieldwood Divestiture of HI
                                                                     116 Platform and pipelines

Land          7/21/2014         Contract Operation Agreement         Castex is named as operator of HI 167 Platform
Land           8/7/2014         Recompletion Proposal Election       MP 259 A‐7 Recompletion Proposal Election: McMoRan elects not to participate in A‐7 welll to
                                                                     Tex W‐5 Sand
Land          8/15/2014           Assignment and Bill of Sale        by and between Fieldwood Energy LLC and W & T Offshore, Inc. : Assignment of interest in HI
                                                                     129#16 well
Land          8/15/2014                Letter Agreement              by and between Fieldwood Energy LLC and W & T Offshore, Inc. : RE: High Island 129 No. 12 Well
                                                                     Assignment
Land          10/1/2014                   Divestiture                by and between Fieldwood Energy Offshore LLC, Renaissance Offshore LLC and Apache
                                                                     Corporation: Assignment of Contractual interest Main Pass 76 SL 13287 #1 Well
Land          10/15/2014       Release and Settlment Agreement       by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, Prime Offshore L.L.C.,
                                                                     Tammany Oil and Gas LLC and Castex Offshore, Inc.

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 Land          11/5/2014         Request for extneion of Timely        MP 259 A‐7 Recompletion Request for extneion of Timely Operations: Request timely operations
                                           Operations                  extension for propoed A‐7 well
 Land          11/7/2014      Stipulation of Interest and Corrective   by and between Fieldwood Energy LLC, Apache Shelf Exploration LLC, Apache Offshore
                                           Assignment                  Petroleum Limited Partnership and Apache Corporation
 Land          11/7/2014      Stipulation of Interest and Corrective   by and between Fieldwood Energy LLC, Apache Shelf Exploration LLC, Apache Offshore
                                           Assignment                  Petroleum Limited Partnership and Apache Corporation
 Land          11/7/2014      Stipulation of Interest and Corrective   by and between Fieldwood Energy LLC, Apache Shelf Exploration LLC, Apache Offshore
                                           Assignment                  Petroleum Limited Partnership and Apache Corporation
 Land          11/7/2014      Stipulation of Interest and Corrective   by and between Fieldwood Energy LLC, Apache Shelf Exploration LLC, Apache Offshore
                                           Assignment                  Petroleum Limited Partnership and Apache Corporation
 Land           1/1/2015                   Acquisition                 by and between Fieldwood Energy Offshore LLC UNOCAL, and Chevron U.S.A. Inc. : GOM NOJV ‐
                                                                       Grand Isle/West Delta etc.
 Land           1/1/2015                   Acquisition                 by and between Fieldwood Energy Offshore LLC and Shell Offshore Inc.: Hickory Unit ‐ GI
                                                                       110/116
 Land           1/1/2015                   Acquisition                 by and between Fieldwood Energy Offshore LLC and Japex (U.S.) Corp.: WD 90 & WD 103

 LAND          1/13/2015                  Letter Agreement              Heron Prospect (MP 295) Letter Agmt 1‐13‐15
 Land          4/1/2015      Assignment of Operating Rights Interest by and between Fieldwood Energy Offshore LLC, Peregrine Oil & Gas, LLC RTR Fund I, L.P, and
                                          in Oil & Gas Lease            Hall‐Houston Exploration II, L.P.: Assignment of Operating Rights Interest in Oil & Gas Lease ‐ GA
                                                                        151 Operating Rights
 LAND           4/1/2015    Gas Dedication and Gathering Agreement
                                                                        ST 311 Gas Dedication and Gathering Agreement eff 04012015
 LAND           4/1/2015    Liquids Separation, Handling, Stabilization
                                     and Redelivery Agreement
                                                                        ST 311 Liquids Separation, Handling, Stabilization and Redeliv Agreement eff 04012015
 LAND           4/1/2015        Liquids Transportation Agreement        ST 311 Liquids Transportation Agreement eff 04012015
 Land           4/2/2015          Consent to Disclose Confidential      by and between Filedwood Energy LLC, Bandon Oil and Gas, LP and Chevron U.S.A. Inc.: VK 252
                                             Information                Unit Area
 Land          4/30/2015       Settlement Agreement and Release         by and between Fieldwood Energy Offshore LLC, Black Elk Energy Offshore Operations LLC and
                                                                        Northstar Offshore Group, LLC:
 Land           5/1/2015                      Divestiture               by and between Fieldwood Energy LLC and Discvovery Producer Services LLC: ST 311 Pipeline
                                                                        Divestiture
 Land          5/14/2015     Second Amendment to the Participation by and between Fieldwood Energy LLC and Monforte Exploration L.L.C.: Second Amendment to
                                              Agreement                 the Participation Agreement OCS‐G0786, South Marsh Island Area, Block 48 Offshore Federal
                                                                        Waters
 Land          6/15/2015      Election and Designation of Successor by and between Fieldwood Energy LLC, Chevron U.S.A. Inc., Wichita Partnership, Ltd., W & T
                                           Operator Letter              Energy VI, LLC and W&T Offshore, L.L.C.: In furtherance of April 14, 2015 letter Areana earned
                                                                        assignment from Chevron Chevron to resign as operator
 Land          6/18/2015          Memorandum of Understanding           Pursuant to that certain assignment and bill of sale dated 01/01/2015
 Land          6/18/2015          Memorandum of Understanding           Pursuant to that certain assignment and bill of sale dated 01/01/2015
 Land          6/29/2015                      Settlement                by and between Fieldwood Energy LLC and Discvovery Producer Services LLC: ST 311 Pipeline
                                                                        Divestiture
 Land          6/30/2015                  Consent to Assign             Consent to Assign ROW ‐ Martin O. Miller II, LLC Sec. 11, T15S‐R6W Cameron Parish LA
 Land          7/1/2015         Settlment Agreement and Release         by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, ENI Petroleum US LLC
                                                                        and ENI US Operating Co. Inc.: SS 249 D‐5 RIG Incident
 LAND           7/2/2015     Bill of Sale, Assignment and Assumption
                                              Agreement                 By and between Walter Oil & Gas Corporation, Castex Offshore, Inc., Fieldwood Energy LLC and
                                                                        Apache Shelf Exploration LLC as "Seller" and Discovery Producer Services LLC as "Buyer"
 LAND          7/10/2015       Termination of Farmout Agreement         MP 295 9‐18‐2012 Farmout Termination Ltr dtd 7‐10‐15
 Land          8/1/2015                       Acquisition               by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc. : MP 77, 78 and VK 251,
                                                                        252, 340 Fields
 Land           8/3/2015       Release and Settlement Agreement         Release and Settlement Agreement by and between Fieldwood Energy Offshore and Browning
                                                                        Offshore Partners, Inc.
 Land           9/1/2015             Assignment and Bill of Sale        by and between Fieldwood Energy Offshore LLC and JOC Venture: JOC Venture withdrawal

 Land           9/1/2015           Assignment and Bill of Sale         by and between Fieldwood Energy Offshore LLC and JOC Venture: JOC Venture withdrawal

 Land           9/1/2015           Assignment and Bill of Sale         by and between Fieldwood Energy Offshore LLC and JOC Venture: JOC Venture withdrawal

 Land           9/9/2015       Supplemental Bonding Agreement          by and between Fieldwood Energy LLC, SEO A LLC, Stone Energy Corporation and Stone Energy
                                                                       Offshore, L.L.C.: Fieldwood will apply own Supp Bonding
 Land           9/9/2015      Transmittal of Supplemental Bonding      by and between Fieldwood Energy LLC and Stone Energy Corporation: Stone acknowledgement
                                                                       of reciept of Bond
 Land          9/16/2015             Withdrawal Agreement              by and between Fieldwood Energy LLC and JOC Venture: JOC Venture withdrawal
 Land          9/16/2015             Withdrawal Agreement              by and between Fieldwood Energy LLC and JOC Venture: JOC Venture withdrawal
 Land          9/16/2015             Withdrawal Agreement              by and between Fieldwood Energy LLC and JOC Venture: JOC Venture withdrawal
 Land          9/17/2015      Election and Designation of Successor    In furtherance of April 14, 2015 and June 15, 2015 letters, Areana earned assignment from
                                         Operator Letter               Chevron Chevron to resign as operator, clarifying Working Interests, etc.
 Land          10/15/2015      Release and Settlement Agreement        by and between Fieldwood Energy LLC and Fairways Offshore Exploration, Inc. : Release and
                                                                       Settlement Agreement
 Land          10/19/2015       Contract Operations Agreement          by and between Fieldwood Energy LLC and Helis Oil and Gas Company L.L.C.: Contract
                                                                       Operations Agreement #18 Helis well
 Land          11/19/2015    Production Handling Agreement SM10
                                                                       PHA between Fieldwood and Byron for Byron's SM 6 production
 Land          12/1/2015                   Acquisition                 by and between Fieldwood Energy Offshore LLC, ENI US Operating Inc, and ENI Petroleum US
                                                                       LLC: GA 151, SS 246, SS 247, SS 248, SS 249, SS 270, SS 271, VR 78, VR 313, WC 72, WC 100, WC
                                                                       130
 Land          12/1/2015       Release and Settlement Agreement        by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, ENI US Operating Inc.
                                                                       and ENI Petrolem US LLC: Release and Settlement Agreement
 Land           2/2/2016             Correction Assignment             by and between Fieldwood Energy LLC and Chevron U.S.A. Inc.: Correction Assignment of
                                                                       Operating Rights EI 353
 Land          2/22/2016              Withdrawal Election
                                                                     by and between Fieldwood Energy LLC, Apache Shelf Exploration LLC, Hall‐Houston Exploration
                                                                     IV, L.P. and GOM Offshore Exploration I, LLC: Hall Houston withdrawal Election
 Land           3/1/2016    Ratification and Amendment to Farmout by and between Fieldwood Energy LLC, Walter Oil and Gas Corporation and Cairn Energy USA:
                                            Agreement                Ratify and amend that certain Farmout dated 12/31/1984
 Land           3/2/2016              Withdrawal Agreement           by and between Fieldwood Energy LLC and Hall‐Houston Exploration IV, L.P.: Hall Houston
                                                                     withdrawal Agreement
 Land          3/11/2016    Waiver of Confidentiality and Consent to
                                              Disclose               by and between Fieldwood Energy LLC and W&T Offshore, Inc.: applies to HIE 129 and ST 229
 Land          4/13/2016     Recommendation to Add Compression by and between Fieldwood Energy LLC, Chevron U.S.A. Inc., Peregrine Oil and Gas II, LLC and
                                              Services               Castex Offshore, Inc.: Requests changre to compression standards in that certain Processing &
                                                                     Contract Operating Services Agreement dated 07/01/2011
 Land          4/25/2016      Release and Settlement Agreement       by and between Fieldwood Energy LLC, Peregrine Oil & Gas, LP and Peregrine Oil & Gas II, LLC:
                                                                     Release and Settlement Agreement
 Land          5/31/2016          Election to Continue or Cease
                                       Compression Services          by and between Fieldwood Energy LLC, Chevron U.S.A. Inc., Peregrine Oil & Gas II, LLC and
                                                                     Castex Offshore, Inc.: increases to continue compression services past orignal test period
 Land          6/29/2016       Election to elect out of Badger Tax   by and between Fieldwood Energy LLC, Chevron U.S.A. Inc., Peregrine Oil & Gas II, LLC and
                                            Partnership              Castex Offshore, Inc.:
 Land           7/1/2016                    Acquisition
                                                                     by and between Fieldwood Energy LLC and Monforte Exploration, LLC: 3% ORRI SM 48 E wells
 Land           7/1/2016            Assignment and Bill of Sale      by and between Fieldwood Energy LLC and All Aboard Development Corporation: Assignment All
                                                                     Aboard to Fieldwood
 Land           7/8/2016                 Letter Agreement            by and between Fieldwood Energy LLC and W&T Offshore, Inc.: Fieldwood's response to W&T
                                                                     Letter Agreement ‐ HI 129 #16 Well ‐ Final Agreement
 Land          7/21/2016        Contract Operations Agreement        by and between Fieldwood Energy LLC and W&T Offshore, Inc. : Contract Operating Agreement
                                                                     eff. 7‐21‐16
 Land          7/21/2016        Contract Operations Agreement        by and between Fieldwood Energy LLC and W&T Offshore, Inc.: Contract Operating Agreement ‐
                                                                     #16 well
 Land           8/1/2016                 Letter Agreement            by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: RUE No. OCS‐G 22052
                                                                     for MP 154 surface wells used as disposal wells for VK 252 Unit
 Land           8/1/2016                 Letter Agreement            by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: RUE No. OCS‐G 22052
                                                                     for MP 154 surface wells used as disposal wells for VK 252 Unit
 Land           8/4/2016              Letter of No Objection         by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: submitted new RUE to
                                                                     rpelace OCS ‐G 22052, consent by chevron to issuance of new RUE
 Land           8/4/2016              Letter of No Objection         by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: submitted new RUE to
                                                                     rpelace OCS ‐G 22052, consent by chevron to issuance of new RUE
 Land          8/25/2016         Amendment and Ratification of       by and between Fieldwood Energy LLC, CL&F Resources, L.P, Houston Energy LP., Helis Oil and
                                Production Handling Agreement        Gas Company LLC and W&T Offshore, Inc.: Amendment and Ratification of Production Handling
                                                                     Agreement (High Island, East Addition Block 129)

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Land          9/13/2016      Agreement for Payment of Insurance     by and between Fieldwood Energy LLC and Monforte Exploration L.L.C.: Fieldwood agrees to pay
                                          Charges                   Monforte's insurance charges
Land          10/1/2016                     ABOS                    by and between Fieldwood Energy Offshore LLC and GS E&R America Offshore, LLC:
Land          11/9/2016           Confidentiality Agreement         Confidentiality Agreement:BY AND BETWEEN FIELDWOOD ENERGY LLC AND LLOG EXPLORATION
                                                                    OFFSHORE, L.L.C.
Land          11/21/2016              Offer to Purchase
                                                                    by and between Fieldwood Energy Offshore LLC and GS E&R America Offshore, LLC: Offer to
                                                                    Purchase GS E &R America Offshore, LLC's Interest in GI 94, SS 79, VR 332 and WD 34
Land          12/14/2016       Surrener of Interest Agreement       by and between Fieldwood Energy LLC and All Aboard Development Corporation: All Aboard
                                                                    Development Corp. surrender of interest
Land           1/1/2017                   Acquisition               by and between Fieldwood Energy Offshore LLC and GOM Offshore Exploration I, LLC: SS 176
                                                                    Lease, Well and facilities
Land           1/1/2017                     ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                    of Withdrawl from Operating Agreement
Land           1/1/2017            Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                    Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017                     ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                    of Withdrawl from Operating Agreement
Land           1/1/2017                     ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                    of Withdrawl from Operating Agreement
Land           1/1/2017            Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                    Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017            Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                    Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017                     ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                    of Withdrawl from Operating Agreement
Land           1/1/2017            Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                    Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017                     ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                    of Withdrawl from Operating Agreement
Land           1/1/2017            Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                    Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017                     ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                    of Withdrawl from Operating Agreement
Land           1/1/2017            Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                    Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017                     ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                    of Withdrawl from Operating Agreement
Land           1/1/2017                     ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                    of Withdrawl from Operating Agreement
Land           1/1/2017            Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                    Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017            Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                    Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           3/1/2017           Reinbursement Agreement           by and between Fieldwood Energy LLC, W & T Offshore, Inc., Renaissance Offshore LLC,
                                                                    Transcontinental Gas Pipe Line and Chevron U.S.A. Inc.: Transco Facilities Subseaq Modification ‐
                                                                    Shell owned ST 300 Platform
Land          3/27/2017           Offshore Tie‐in Agreement
                                                                    by and between Fieldwood Energy Offshore LLC, Fieldwood Energy LLC and Amberjack Pipeline
                                                                    Company LLC: Consent of PSA between Empire and Amberjack subject to addendum
Land          3/30/2017             Letter of No Objection          Fieldwood agreed to COX request/letter of no objectin to allow cox to produce its EI 64# 9 well.
                                                                    Fieldwood is the operator of SW/4 of EI 53
Land           6/8/2017     Bill of Sale and Assumption Agreement   by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering, L.L.C.: Manta Ray
                                                                    sells to Fieldood pursuant to reverse of gas flow in ST 295 block to direct flow of gas to ST 292
                                                                    Platform
Land           6/8/2017       Interconnection and Measurement       by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering, L.L.C.: Fieldwood
                                           Agreement                desires to connect with Mata Ray's ST 292 platform and piping, etc.
Land           6/8/2017    Lease of Offshore Platform Space ‐ ST 292
                                             Platform                by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering, L.L.C.:
Land          7/28/2017       Indemnity and Release Agreement
                                                                     by and between Fieldwood Energy LLC and Chevron U.S.A. Inc.: Chevron sold to Cantium and
                                                                     needed DOO from Fieldood, Fieldwood required this Agreement to allow DOO
Land          8/1/2017                        ABOS                   by and between Fieldwood Energy Offshore LLC and SCL Resources, LLC:
Land          8/1/2017                        ABOS                   by and between Fieldwood Energy Offshore LLC and SCL Resources, LLC:
Land          8/1/2017                        ABOS                   by and between Fieldwood Energy Offshore LLC and SCL Resources, LLC:
LAND          9/15/2017       Memorandum of OA and Financing
                                            Statement                ST 311 320 UCC_Mortgage and Conveyance
LAND          9/15/2017         Offshore Operating Agreement         ST 311‐320 JDA Offshore Operating Agreement dtd 9‐15‐17, as amended
LAND          9/15/2017             Participation Agreement          ST 311‐320 JDA Participation Agreement dtd 9‐15‐17
Land          9/19/2017                Offer to Purchase             by and between Fieldwood Energy Offshore LLC and SCL Resources, LLC: Offer to Purchase SCL
                                                                     Resources, LLC'S Interest in GI 94, SS 79, VR 332 and WD 34
Land          11/7/2017               Modification to PHA            Enhancement and modification to test separator MBD ‐4010 at HI 547 B Platform ‐ PHA
                                                                     Agreement dated May 8, 1998
Land          4/6/2018       Notification of Withdrawal ‐ WC 269 Withdrawal Election
Land          4/17/2018                   Amendment                  by and between Fieldwood Energy LLC and Arena Energy, LP: Amendment to Production
                                                                     Handling Service Agreement dated May 8, 1988
Land           5/1/2018     Assignment Conveyance and Bill of Sale By and between Fieldwood Energy LLC, Peregrine Oil & Gas II, LLC and Castex Offshore, Inc. as
                                                                     "Assignor" and Northstar Offshore Ventures LLC as "Assignee"
Land          5/15/2018                    Divestiture               Divestiture of Interests in Mustang Island to TR Offhsore. L.L.C.
Land          6/1/2018          Property Exchange Agreement
                                                                     Property Exchange Letter Agreement dated June 1, 2018 ‐ BS 25 (OCS‐G 31442; St. of LA Lease
                                                                     No. 19718) EI Area, South Addition, North Half of Block 315 (OCS‐G 24912) Offshore Louisiana
Land          6/14/2018               Performance Bond
                                                                     Sanare Energy Partners, LLC is the new principal replacing Northstar Offshore Ventures LLC
Land          7/11/2018        Assignment of Operating Interest      Assignment of Operatring Rights Interest from Apaceh to Fieldwood and GOM Shelf
Land          7/23/2018       Amendment to Property Exchange         Amendment to Property Exchange Letter Agreement dated June 1, 2018 ‐ BS 25 (OCS‐G 31442;
                                           Agreement                 St. of LA Lease No. 19718) EI Area, South Addition, North Half of Block 315 (OCS‐G 24912)
                                                                     Offshore Louisiana
Land           8/1/2018                    Acquisition               by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech's Interest in
                                                                     the SS 271 Unit (SS 247,248,249)
Land           8/1/2018             Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Withdraws
                                                                     from SS 271 Unit
Land           8/1/2018           Assignment and Bill of Sale        by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Assignment
                                                                     and Bill of Sale
Land           8/1/2018           Assignment and Bill of Sale        by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Assignment
                                                                     and Bill of Sale
Land           8/8/2018      Take Over Election Letter Agreement In accordance with certain Farmout Agreeements dated 12/17/2002, 05/19/2003 and
                                                                     02/13/2004, Fieldwood elects to decline
Land          8/13/2018           Confidentiality Agreement          Confidentiality Agreement: GOM SHELF ‐ DEEPWATER PROPERTIES
Land          8/27/2018      Withdrawal & Settlement Agreement by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Withdrawal
                                                                     and settlement
Land          8/27/2018      Withdrawal & Settlement Agreement by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Withdrawal
                                                                     and settlement
Land          10/1/2018                    Acquisition               Assignment of Hall‐Houston overriding royalty interest in SS 176
Land          10/18/2018           Abandonment Agreement             pursuant to that certain PHA for MC 496 produced at SP B Platform dated 11/1/2002
Land          12/4/2018           Confidentiality Agreement
                                                                     Confidentiality Agreement by and between Fieldwood Energy LLC and Byron Energy Inc.
Land          12/10/2018          Confidentiality Agreement
                                                                     Confidentiality Agreement by and between Fielwdood Energy LLC and Exxon Mobil Corporation
Land          12/20/2018                 Letter of Intent            by and between Fieldwood Energy LLC and TR Offhsore. L.L.C.: Contemplation of Contract
                                                                     Operating Agreement, Transportation Agreement
Land           2/4/2019      Termination of Exchange Agreement Termination of Property Exchange Letter Agreement dated June 1, 2018 ‐ BS 25 (OCS‐G 31442;
                                                                     St. of LA Lease No. 19718) EI Area, South Addition, North Half of Block 315 (OCS‐G 24912)
                                                                     Offshore Louisiana
LAND          2/22/2019          Exploration Agreement Letter        APA ‐ EXXI MP 295 Side Ltr Agrmnt dtd 2‐22‐13
Land          3/5/2019                  Relinquishment               by and between GOM Shelf LLC and Arena Energy, LP: Relinquishment of OCS G0978
Land          3/19/2019           Confidentiality Agreement          Confidentiality Agreement by and between Fieldwood Energy LLC and ANKOR
Land          3/19/2019           Confidentiality Agreement          Confidentiality Agreement by and between Fieldwood Energy LLC and Sa nare
Land          4/1/2019                 PHA Amendment                 First Amendment to that certain Production Handling Agreement, dated September 1, 2009 ‐
                                                                     Eiugene Island 224 "A" Platform ‐ Federal Offshore Louisiana

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          Land                  5/1/2019                 Confidentiality Agreement        Confidentiality Agreement: BY AND BETWEEN FIELDWOOD ENERGY LLC AND CIBCO RESOURCES,
                                                                                          LLC
          Land                  5/16/2019                    Letter Agreement             by and between Fieldwood Energy LLC and Panther Pipeline, LLC: Letter Agreement Matagorda
                                                                                          Operating Agreement MI 518/519 with regard to natural gas pipeline work.
          Land                  6/10/2019                Confidentiality Agreement        by and between Fieldwood Energy LLC and TRANSCONTINENTAL GAS PIPELINE COMPANY:
                                                                                          Confidentiality Agreement:
          Land                  7/25/2019           Letter Agreement OCS‐G 14535 JB1ST2
                                                                      Well                Pursuant to that certain Farmout dated 12/17/2002. Reassignment to Arena and P&A liabilitiy
          LAND                  7/25/2019                    Exploration Agreement        Exploration Venture Agreement by and between Fieldwood Energy LLC and Juneau Oil & Gas LLC
                                                                                          (terminated 6‐23‐20)
          Land                  11/5/2019                  Confidentiality Agreement
                                                                                          by and between Fieldwood Energy LLC and W&T OFFSHORE, INC: Confidentiality Agreement:
          LAND                  11/5/2019                        Transfer Notice
          Land                  11/8/2019                  Confidentiality Agreement      by and between Fieldwood Energy LLC and PROMETHEAN ENERGY CORPORATION:
                                                                                          Confidentiality Agreement:
          Land                  11/8/2019                  Confidentiality Agreement
                                                                                          by and between Fieldwood Energy LLC and ROC OIL PTY LTD: Confidentiality Agreement:
          Land                 11/12/2019                  Confidentiality Agreement
                                                                                          by and between Fieldwood Energy LLC and CASTEX ENERGY, INC: Confidentiality Agreement:
          Land                 11/14/2019                  Confidentiality Agreement
                                                                                          by and between Fieldwood Energy LLC and COX OIL OFFSHORE, LLC: Confidentiality Agreement:
          Land                 11/21/2019                    Withdrawal Agreement         by and between Fieldwood Energy LLC and W&T Offshore, Inc.: W&T Wihdrawal from EC 2 SL
                                                                                          18121 ‐ W&T did not prepay abandonment
          Land                 11/21/2019                      Letter Agreement
                                                                                          Letter Agreement SS 198 J‐11 Well zone shift: Zone shift recommended and election fron HO to
                                                                                          HG sand by and between GOM Shelf Offshore LLC and Talos Energy Offshore LLC
          Land                 11/21/2019                      Letter Agreement
                                                                                          Letter Agreement SS 198 J‐11 Well zone shift: Zone shift recommended and election fron HO to
                                                                                          HG sand by and between GOM Shelf Offshore LLC and Renaissance Offshore LLC
          Land                 12/10/2019                         Non‐Consent
                                                                                          by and between Fieldwood Energy LLC and W&T Offshore, Inc.: W&T Non‐consent lease saving
                                                                                          ovperation on EC 2 SL 18121 for failure to respond to lease number FW194042
          Land                 12/12/2019          Purchase of Pipeline ROW OCS‐G 14731 by and between Fieldwood Energy LLC and Monforte Exploration L.L.C.: SS 274 A Platform to EI
                                                                 Seg. No. 10406           259 A Platform
          Land                  1/22/2020                  Confidentiality Agreement      by and between Fieldwood Energy LLC and WERRUS AQUAMARINE, LLC: Confidentiality
                                                                                          Agreement:
          Land                  1/27/2020                          Acquisition            by and between Fieldwood Energy LLC, Castex Offshore, Inc., GOME 12711 LLC and Dorado Deep
                                                                                          GP, LLC : Assignment of Interest in MP 275 A‐3 Well
          Land                  3/2/2020                   Confidentiality Agreement      Confidentiality Agreement BY AND BETWEEN FIELDWOOD ENERGY LLC AND ODYSSEY PIPELINE
                                                                                          LLC = MP 289 "C" PF
          Land                   3/4/2020                  Confidentiality Agreement      Confidentiality Agreement by and between Fieldwood Energy LLC and Arena Energy
          Land            01/01/1994, 04/08/1994           Unit Operating Agreement       U nit Operating Agreement by and between CNG Producing Company, Columbia Gas
                                                                                          Development Corporation, Total Minatome Corporation, Energy Development Corporation,
                                                                                          Murphy Exploration and Production Company and Anadarko Petroleum Corporation; and Forest
                                                                                          Oil Corporation and Timbuck Company/The Hat Creek Production Company, Limited Partnership
                                                                                          (referred to as “Override Parties”)
          Land                 12//31/2013           First Amendment to the Participation First Amendment to the Participation Agreement OCS‐G0786, South Marsh Island Area, Block 48
                                                                   Agreement              Offshore Federal Waters
    Pipeline Transport         10/31/2013           Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Arena Offshore LP and Arena Offshore LP
    Pipeline Transport         10/31/2013           Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Arena Offshore LP and Arena Offshore LP
    Pipeline Transport         10/31/2013           Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Arena Offshore LP and Arena Offshore LP
    Pipeline Transport          7/31/2013           Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
    Pipeline Transport          7/31/2013           Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
    Pipeline Transport          7/31/2013           Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
    Pipeline Transport          6/3/2015            Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
    Pipeline Transport          6/3/2015            Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
    Pipeline Transport          6/3/2015            Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
    Pipeline Transport          7/8/2013            Barnacle Pipeline Throughput Capacity Capacity Agreement by and between Fieldwood and Tana Exploration Company, LLC and Tana
                                                                   Agreement              Exploration Company, LLC
    Pipeline Transport          7/8/2013            Barnacle Pipeline Throughput Capacity Capacity Agreement by and between Fieldwood and Tana Exploration Company, LLC and Tana
                                                                   Agreement              Exploration Company, LLC
    Pipeline Transport          7/8/2013            Barnacle Pipeline Throughput Capacity Capacity Agreement by and between Fieldwood and Tana Exploration Company, LLC and Tana
                                                                   Agreement              Exploration Company, LLC
    Pipeline Transport          8/1/2015            Cheetah Pipeline Throughput Capacity Capacity Agreement by and between Fieldwood and Talos Energy Offshore, LLC and Talos Energy
                                                                                          Offshore, LLC
    Pipeline Transport          8/1/2015            Cheetah Pipeline Throughput Capacity Capacity Agreement by and between Fieldwood and Talos Energy Offshore, LLC and Talos Energy
                                                                                          Offshore, LLC
    Pipeline Transport         11/12/2013          THROUGHPUT CAPACITY LEASE AND TIE Capacity Agreement by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil
                                                                IN AGREEMENT              & Gas Corporation
    Pipeline Transport          12/1/2018          EWING BANK FLOWLINE THROUGHPUT
                                                         CAPACITY LEASE AGREEMENT         Capacity Agreement by and between Fieldwood and Apache Shelf Exploration LLC and Apache
                                                                                          Shelf Exploration LLC
    Pipeline Transport          12/1/2018          EWING BANK FLOWLINE THROUGHPUT
                                                         CAPACITY LEASE AGREEMENT         Capacity Agreement by and between Fieldwood and W & T OFFSHORE INC and W & T OFFSHORE
                                                                                          INC
    Pipeline Transport          12/1/2018          EWING BANK FLOWLINE THROUGHPUT
                                                         CAPACITY LEASE AGREEMENT         Capacity Agreement by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil
                                                                                          & Gas Corporation
    Pipeline Transport          2/2/1996                    GATHERING AGREEMENT           Gathering Agreement by and between Fieldwood and CMA Pipeline and CMA Pipeline
    Pipeline Transport          9/30/2015                AMENDMENT TO GATHERING           Gathering Agreement by and between Fieldwood and CMPA PIPELINE PARTNERSHIP, LLC and
                                                                  AGREEMENT               CMPA PIPELINE PARTNERSHIP, LLC
    PHA SS182/SS170             5/1/2013                PRODUCTION HANDLING AGMT          PHA by and between Fieldwood and BOIS D'ARC EXPLORATION, LLC and BOIS D'ARC
                                                                                          EXPLORATION, LLC
   PHA EI316A/EI 315C           7/14/2008               PRODUCTION HANDLING AGMT          PHA EI 3316A/EI 315C by and between Fieldwood and TANA EXPLORATION COMPANY LLC and
                                                                                          TANA EXPLORATION COMPANY LLC
  PHA for EB165A/EB430          9/30/2004               PRODUCTION HANDLING AGMT          PHA for EB165A/EB430 by and between Fieldwood and WALTER OIL & GAS CORPORATION and
                                                                                          WALTER OIL & GAS CORPORATION
   PHA for SP10B/ST72           12/1/2014               PRODUCTION HANDLING AGMT          PHA for SP10B/ST72 by and between Fieldwood and WALTER OIL & GAS CORPORATION and
                                                                                          WALTER OIL & GAS CORPORATION
   PHA GI 116A/ST 229           6/1/2005                PRODUCTION HANDLING AGMT          PHA for GI 116A/ST229 by and between Fieldwood and W & T OFFSHORE INC and W & T
                                                                                          OFFSHORE INC
PHA SS178A/SS177#7A‐4ST         8/25/1998               PRODUCTION HANDLING AGMT          PHA SS178A/SS177#7A‐4ST by and between Fieldwood and W & T OFFSHORE INC and W & T
                                                                                          OFFSHORE INC
  PHA MP 310A/MP 315           11/30/2015               PRODUCTION HANDLING AGMT          PHA MP 310A/MP315 by and between Fieldwood and TALOS ENERGY OFFSHORE, LLC and TALOS
                                                                                          ENERGY OFFSHORE, LLC
  PHA MP 310A/MP 315           11/30/2015               PRODUCTION HANDLING AGMT          PHA MP 310A/MP315 by and between Fieldwood and HE&D OFFSHORE LP and HE&D OFFSHORE
                                                                                          LP
   Service Agreements           4/1/2009                      SERVICE CONTRACT            Allocation of quality bank by and between Fieldwood and Allocation Specialists, LLC and
                                                                                          Allocation Specialists, LLC
LEASE OF PLATFORM SPACE         2/1/1990                     Access and Right of Use      A‐LOPS‐WD075 by and between Fieldwood and American Panther, LLC and American Panther,
                                                        Agreement3/1/2020 ‐ 2/28/2021     LLC
LEASE OF PLATFORM SPACE        10/10/1984           Platform Space Rental Agreement SMI A‐LOPS‐ SM268A by and between Fieldwood and American Panther, LLC and American Panther,
                                                   268A Platform10/01/2020 ‐ 11/30/2021 LLC

LEASE OF PLATFORM SPACE        11/29/2009          Amendment to Lease of Platform Space
                                                   Agreement Main Pass 289 C8/1/2020 ‐
                                                        7/31/2021(Horn Mountain)         A‐LOPS‐MP289C(Horn Mountain) by and between Fieldwood and Anadarko US Offshore LLC and
                                                                                         Anadarko US Offshore LLC
LEASE OF PLATFORM SPACE         7/12/2016           Marathon Pipeline Facilities Exxon's A‐LOPS‐AccessSvc by and between Fieldwood and East Cameron Gathering LLC and East
                                                      vermilion Block 265 Platform A     Cameron Gathering LLC


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 LEASE OF PLATFORM SPACE   4/15/1988      Amendment of SMI Gathering System
                                          (Vermillion Block 265 Platform) Access
                                             and Services Agreement1/1/2020‐     Annual LOPS‐VR 265 P/F‐A‐DRL by and between Fieldwood and Crimson Gulf Accounts Payable
                                                         12/31/2020              and Crimson Gulf Accounts Payable
 LEASE OF PLATFORM SPACE    8/1/1996         Lease of Platform Space5/1/2020 ‐   ALOPS‐ODYSSEY by and between Fieldwood and Shell Pipeline Company LP and Shell Pipeline
                                                          4/30/2021              Company LP
 LEASE OF PLATFORM SPACE   11/1/2001        Lease of Platform Space11/1/2020 ‐   A‐LOPS‐SM128SA2 by and between Fieldwood and Shell Pipeline Company LP and Shell Pipeline
                                                         10/30/2021              Company LP
 LEASE OF PLATFORM SPACE   4/27/1977    FIRST AMENDMENT AND RATIAFICATION
                                                      TO TIE‐IN SERVICE          A‐LOPS‐MP288‐MP289FWE0240 by and between Fieldwood and Stone Energy Corpration and
                                            AGREEMENT04/01/2020‐3/31/2021        Stone Energy Corpration
 LEASE OF PLATFORM SPACE   11/15/1996       Lease of Platform space Agreement    ALOPS‐RAM POWELL by and between Fieldwood and Stone Energy Corpration and Stone Energy
                                                                                 Corpration
 LEASE OF PLATFORM SPACE   10/25/1985                 PLATFORM SPACE             A‐LOPS‐SP89B by and between Fieldwood and Texas Eastern Transmission and Texas Eastern
                                           AGREEMENT10/25/2020 ‐ 9/24/2021 Transmission
 LEASE OF PLATFORM SPACE    3/1/1980                4/1/2020 ‐ 3/31/2021         A‐LOPS‐HI179A by and between Fieldwood and Transcontinental Gas Pipeline Corporation and
                                                                                 Transcontinental Gas Pipeline Corporation
 LEASE OF PLATFORM SPACE    9/5/1981    Receipt and Measurement Facilaity LOPS
                                              EI Block 158 Platform4/1/2020 ‐    A‐LOPS‐EI158B by and between Fieldwood and Transcontinental Gas Pipeline Corporation and
                                                          3/31/2021              Transcontinental Gas Pipeline Corporation
 LEASE OF PLATFORM SPACE   9/15/1981     Receipt and Measurement Facility LOPS
                                            EI Block 135 "JA" Platform4/1/2020 ‐ A‐LOPS‐EI136JA by and between Fieldwood and Transcontinental Gas Pipeline Corporation and
                                                          3/31/2021              Transcontinental Gas Pipeline Corporation
 LEASE OF PLATFORM SPACE    7/1/1997       Lease of Offshore Platform Space Gas
                                            Measurement Facility, Pipeline Rise, A‐LOPS‐SM128 by and between Fieldwood and Trunkline Gas Company LLC and Trunkline Gas
                                                   Liquids Scrubber Facility     Company LLC
 LEASE OF PLATFORM SPACE    3/1/1998                3/01/2020 ‐ 2/28/2021        A‐LOPS‐SS354A by and between Fieldwood and Williams Field Services and Williams Field
                                                                                 Services
 LEASE OF PLATFORM SPACE   11/29/2001             03/01/2020 ‐ 02/28/2021        A‐LOPS‐ MP289C by and between Fieldwood and W & T OFFSHORE INC and W & T OFFSHORE
                                                                                 INC
 LEASE OF PLATFORM SPACE   11/29/2001            LEASE OF PLATFORM SPACE         ANA103‐LOPS (Horn Mountain Monthly) by and between Fieldwood and Anadarko US Offshore
                                                                                 LLC and Anadarko US Offshore LLC
 LEASE OF PLATFORM SPACE   12/21/2002          PLATFORM OPERATIONS AGMT          ARE101‐LOPS ‐ PL25 by and between Fieldwood and ARENA OFFSHORE LP and ARENA
                                                                                 OFFSHORE LP
 LEASE OF PLATFORM SPACE    1/1/2011             LEASE OF PLATFORM SPACE         BRI116‐LOPS by and between Fieldwood and BRISTOW U.S. LLC and BRISTOW U.S. LLC
 LEASE OF PLATFORM SPACE    1/1/2011             LEASE OF PLATFORM SPACE         BRI116‐LOPS by and between Fieldwood and BRISTOW U.S. LLC and BRISTOW U.S. LLC
 LEASE OF PLATFORM SPACE    1/1/2011             LEASE OF PLATFORM SPACE         BRI116‐LOPS by and between Fieldwood and BRISTOW U.S. LLC and BRISTOW U.S. LLC
 LEASE OF PLATFORM SPACE    1/1/2011             LEASE OF PLATFORM SPACE         BRI116‐LOPS by and between Fieldwood and BRISTOW U.S. LLC and BRISTOW U.S. LLC
 LEASE OF PLATFORM SPACE    1/1/2018                 SERVICES CONTRACT           EAS101 VR265ADRL by and between Fieldwood and EAST CAMERON GATHERING LLC and EAST
                                                                                 CAMERON GATHERING LLC
 LEASE OF PLATFORM SPACE   11/1/2006             LEASE OF PLATFORM SPACE         ERA100‐LOPS by and between Fieldwood and ERA Helicopters LLC and ERA Helicopters LLC

 LEASE OF PLATFORM SPACE   11/1/2006          LEASE OF PLATFORM SPACE
                                                                               ERA100‐LOPS by and between Fieldwood and ERA Helicopters LLC and ERA Helicopters LLC
 LEASE OF PLATFORM SPACE   11/1/2006          LEASE OF PLATFORM SPACE
                                                                               ERA100‐LOPS by and between Fieldwood and ERA Helicopters LLC and ERA Helicopters LLC
 LEASE OF PLATFORM SPACE   11/1/2006          LEASE OF PLATFORM SPACE
                                                                               ERA100‐LOPS by and between Fieldwood and ERA Helicopters LLC and ERA Helicopters LLC
 LEASE OF PLATFORM SPACE   11/1/2006          LEASE OF PLATFORM SPACE
                                                                               ERA100‐LOPS by and between Fieldwood and ERA Helicopters LLC and ERA Helicopters LLC
 LEASE OF PLATFORM SPACE   4/28/2009          LEASE OF PLATFORM SPACE          ROT101‐LOPS EI 189P/F B by and between Fieldwood and Rotocraft Leasing Company, LLC and
                                                                               Rotocraft Leasing Company, LLC
 LEASE OF PLATFORM SPACE   4/28/2009          LEASE OF PLATFORM SPACE          ROT101‐LOPS MATAGORDA ISLAND 622C by and between Fieldwood and Rotocraft Leasing
                                                                               Company, LLC and Rotocraft Leasing Company, LLC
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐1 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐2 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐3 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐4 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐5 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐6 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐7 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐8 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐9 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐12 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐12 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐13 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐17 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐18 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐12 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐14 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐15 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐15 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐16 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐20 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐24 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐25 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐26 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   4/15/1968          LEASE OF PLATFORM SPACE          KIN129‐LOPS by and between Fieldwood and KINETICA DEEPWATER EXPRESS, LLC and KINETICA
                                                                               DEEPWATER EXPRESS, LLC
 LEASE OF PLATFORM SPACE   6/14/2000         FACILITIES OPERATING AND          WIL174 OP&MN FEE‐VK251A by and between Fieldwood and WILLIAMS FIELD SERVICES and
                                               MAINTENANCE AGMT                WILLIAMS FIELD SERVICES
PRODUCTION HANDLING AGMT    1/1/2007     PRODUCTION HANDLING AGREEMENT         PHA EI312‐SM142 by and between Fieldwood and EPL OIL & GAS, LLC               and EPL OIL
          (JIB)‐2                                                              & GAS, LLC
PRODUCTION HANDLING AGMT    1/1/2007     PRODUCTION HANDLING AGREEMENT         PHA EI312‐SM142 by and between Fieldwood and EPL OIL & GAS, LLC               and EPL OIL
          (JIB)‐2                                                              & GAS, LLC
PRODUCTION HANDLING AGMT    3/1/2007     PRODUCTION HANDLING AGREEMENT         PHA PL009‐PL010B by and between Fieldwood and MCMORAN OIL & GAS LLC                  and
          (JIB)‐3                                                              MCMORAN OIL & GAS LLC
PRODUCTION HANDLING AGMT    3/1/2007     PRODUCTION HANDLING AGREEMENT         PHA PL009‐PL010B by and between Fieldwood and RIDGEWOOD ENERGY CORPORATION
          (JIB)‐3                                                              and RIDGEWOOD ENERGY CORPORATION
PRODUCTION HANDLING AGMT    3/1/2007     PRODUCTION HANDLING AGREEMENT
          (JIB)‐3                                                              PHA PL009‐PL010B by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT   8/14/1995     PRODUCTION HANDLING AGREEMENT         PHA SM280‐SM268A by and between Fieldwood and MP GULF OF MEXICO, LLC                   and
          (JIB)‐4                                                              MP GULF OF MEXICO, LLC
PRODUCTION HANDLING AGMT   8/14/1995     PRODUCTION HANDLING AGREEMENT         PHA SM280‐SM268A by and between Fieldwood and MP GULF OF MEXICO, LLC                   and
          (JIB)‐4                                                              MP GULF OF MEXICO, LLC
PRODUCTION HANDLING AGMT   8/14/1995     PRODUCTION HANDLING AGREEMENT         PHA SM280‐SM268A by and between Fieldwood and FWE and FWE
          (JIB)‐4
PRODUCTION HANDLING AGMT    6/9/2008             JIB PHA EC 2C/EC2#1
          (JIB)‐5                                                              PHA EC002‐EC002C by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT    6/9/2008             JIB PHA EC 2C/EC2#1           PHA EC002‐EC002C by and between Fieldwood and C/O FAIRFIELD‐MAXWELL LTD                   and
          (JIB)‐5                                                              C/O FAIRFIELD‐MAXWELL LTD
PRODUCTION HANDLING AGMT    6/9/2008             JIB PHA EC 2C/EC2#1           PHA EC002‐EC002C by and between Fieldwood and HILCORP ENERGY 1 LP                   and
          (JIB)‐5                                                              HILCORP ENERGY 1 LP
PRODUCTION HANDLING AGMT    5/1/2012          JIB PHA EI 354#A6/EI337A10
          (JIB)‐6                                                              PHA EI354‐EI337A by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT    5/1/2012          JIB PHA EI 354#A6/EI337A10
          (JIB)‐6                                                              PHA EI354‐EI337A by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT    5/1/2012          JIB PHA EI 354#A6/EI337A10
          (JIB)‐6                                                              PHA EI354‐EI337A by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT    1/1/2001        PHA VK694‐MP0259A‐FWE0313          PHA VK694‐MP0259A‐FWE0313 by and between Fieldwood and MCMORAN OIL & GAS LLC
          (JIB)‐7                                                              and MCMORAN OIL & GAS LLC
PRODUCTION HANDLING AGMT    1/1/2001        PHA VK694‐MP0259A‐FWE0313          PHA VK694‐MP0259A‐FWE0313 by and between Fieldwood and PIQUANT INC
          (JIB)‐7                                                              and PIQUANT INC
PRODUCTION HANDLING AGMT    1/1/2001     PRODUCTION HANDLING AGREEMENT
          (JIB)‐7                                                              PHA VK694‐MP0259A‐FWE0313 by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT    1/1/2001     PRODUCTION HANDLING AGREEMENT         PHA VK694‐MP0259A‐FWE0313 by and between Fieldwood and MCMORAN OIL & GAS LLC
          (JIB)‐7                                                              and MCMORAN OIL & GAS LLC
PRODUCTION HANDLING AGMT   10/1/2002     PRODUCTION HANDLING AGREEMENT
          (JIB)‐8                                                              PHA ST205‐ST206A by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT   10/1/2002     PRODUCTION HANDLING AGREEMENT
          (JIB)‐8                                                              PHA ST205‐ST206A by and between Fieldwood and FWE and FWE

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 PRODUCTION HANDLING AGMT      10/1/2002    PRODUCTION HANDLING AGREEMENT        PHA ST205‐ST206A by and between Fieldwood and MARATHON OIL COMPANY                     and
           (JIB)‐8                                                               MARATHON OIL COMPANY
 PRODUCTION HANDLING AGMT       9/1/2002         FLOWLINE USE AGREEMENT
           (JIB)‐9                                                               PHA VK694‐MP0259A‐FWE0317 by and between Fieldwood and FWE and FWE
 PRODUCTION HANDLING AGMT       9/1/2002         FLOWLINE USE AGREEMENT          PHA VK694‐MP0259A‐FWE0317 by and between Fieldwood and MCMORAN OIL & GAS LLC
           (JIB)‐9                                                               and MCMORAN OIL & GAS LLC
 PRODUCTION HANDLING AGMT       9/1/2002         FLOWLINE USE AGREEMENT          PHA VK694‐MP0259A‐FWE0317 by and between Fieldwood and PIQUANT INC
           (JIB)‐9                                                               and PIQUANT INC
 PRODUCTION HANDLING AGMT       9/1/2002         FLOWLINE USE AGREEMENT          PHA VK694‐MP0259A‐FWE0317 by and between Fieldwood and MCMORAN OIL & GAS LLC
           (JIB)‐9                                                               and MCMORAN OIL & GAS LLC
 PRODUCTION HANDLING AGMT      4/28/2014    PRODUCTION HANDLING AGREEMENT
          (JIB)‐10                                                               PHA MP312‐MP311A by and between Fieldwood and FWE and FWE
 PRODUCTION HANDLING AGMT      4/28/2014    PRODUCTION HANDLING AGREEMENT
          (JIB)‐10                                                               PHA MP312‐MP311A by and between Fieldwood and FWE and FWE
 PRODUCTION HANDLING AGMT      4/28/2014    PRODUCTION HANDLING AGREEMENT        PHA MP312‐MP311A by and between Fieldwood and EPL OIL & GAS, LLC                   and EPL
          (JIB)‐10                                                               OIL & GAS, LLC
 PRODUCTION HANDLING AGMT      12/19/2003   PRODUCTION PROCESSING HANDLING       PHA EI342C‐EI342C by and between Fieldwood and FWE and FWE
          (JIB)‐11                               AND OPERATING AGMT
 PRODUCTION HANDLING AGMT      12/19/2003   PRODUCTION PROCESSING HANDLING       PHA EI342C‐EI342C by and between Fieldwood and FWE and FWE
          (JIB)‐11                               AND OPERATING AGMT
 PRODUCTION HANDLING AGMT      12/19/2003   PRODUCTION PROCESSING HANDLING       PHA EI342C‐EI342C by and between Fieldwood and TANA EXPLORATION COMPANY LLC
          (JIB)‐11                               AND OPERATING AGMT              and TANA EXPLORATION COMPANY LLC
 PRODUCTION HANDLING AGMT      4/28/2014    PRODUCTION HANDLING AGREEMENT        PHA MP311B‐MP302B19 by and between Fieldwood and APACHE SHELF EXPLORATION LLC
          (JIB)‐12                                                               and APACHE SHELF EXPLORATION LLC
 PRODUCTION HANDLING AGMT      4/28/2014    PRODUCTION HANDLING AGREEMENT        PHA MP311B‐MP302B19 by and between Fieldwood and EPL OIL & GAS, LLC           and
          (JIB)‐12                                                               EPL OIL & GAS, LLC
 PRODUCTION HANDLING AGMT       4/1/2007    PRODUCTION HANDLING AGREEMENT        RID108101‐MP289C‐MP275 by and between Fieldwood and RIDGEWOOD ENERGY
          (JIB)‐13                                                               CORPORATION            and RIDGEWOOD ENERGY CORPORATION
 PRODUCTION HANDLING AGMT       4/1/2007    PRODUCTION HANDLING AGREEMENT
          (JIB)‐13                                                           RID108101‐MP289C‐MP275 by and between Fieldwood and FWE and FWE
 PRODUCTION HANDLING AGMT      10/23/2018   AGREEMENT FOR THE GATHERING AND
            (JIB)                            PROCESSING OF MO 826 ("SLEEPING
                                                         BEAR")              MO826‐VK251 by and between Fieldwood and W& T Offshore and W& T Offshore
 PRODUCTION HANDLING AGMT                   PRODUCTION HANDLING AGREEMENT
          (Non‐Op)                                                           ST 320 A‐5ST1 by and between Fieldwood and W&T Offshore, Inc. and W&T Offshore, Inc.
 PRODUCTION HANDLING AGMT      6/30/1999    PRODUCTION HANDLING AGREEMENT
          (Non‐Op)                                                           MC 108/MC 109 by and between Fieldwood and Talos Energy LLC and Talos Energy LLC
 PRODUCTION HANDLING AGMT                   PRODUCTION HANDLING AGREEMENT ST 311 A1 by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil & Gas
          (Non‐Op)                                                           Corporation
 PRODUCTION HANDLING AGMT      7/18/2002    PRODUCTION HANDLING AGREEMENT HI A‐582 by and between Fieldwood and Cox Operating, LLC and Cox Operating, LLC
          (Non‐Op)
 PRODUCTION HANDLING AGMT      10/21/2018   PRODUCTION HANDLING AGREEMENT        ST 320 A02 by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil & Gas
          (Non‐Op)                                                               Corporation
 PRODUCTION HANDLING AGMT      5/20/2019    PRODUCTION HANDLING AGREEMENT        ST 320 A03 by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil & Gas
          (Non‐Op)                                                               Corporation
 PRODUCTION HANDLING AGMT      6/13/1996    PRODUCTION HANDLING AGREEMENT
          (Non‐Op)                                                            SS 300 B/SS301 by and between Fieldwood and W & T Offshore, Inc. and W & T Offshore, Inc.
 PRODUCTION HANDLING AGMT      6/30/1999         PLATFORM ACCESS, OPERATING
          (Non‐Op)                          SERVICES AND PRODUCTION HANDLING
                                                      AGREEMENT(ORION)        MC 109/MC110 by and between Fieldwood and Talos Energy and Talos Energy
 PRODUCTION HANDLING AGMT       5/5/2009     PRODUCTION HANDLING AGREEMENT SS 189 C‐1 by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil & Gas
          (Non‐Op)                                                            Corporation
 PRODUCTION HANDLING AGMT       3/1/2007     PRODUCTION HANDLING AGREEMENT
          (Non‐Op)                                                            SM 107 by and between Fieldwood and Talos Energy and Talos Energy
 PRODUCTION HANDLING AGMT       7/1/2014     PRODUCTION HANDLING AND FACILITY
          (Non‐Op)                                      USE AGREEMENT         VR 271 by and between Fieldwood and Castex Offshore Inc and Castex Offshore Inc
 PRODUCTION HANDLING AGMT       8/1/1997     PRODUCTION HANDLING AGREEMENT
          (Non‐Op)                                                            ST 176/ST 148 by and between Fieldwood and Arena Offshore LLC and Arena Offshore LLC
 PRODUCTION HANDLING AGMT       8/1/1997     PRODUCTION HANDLING AGREEMENT
          (Non‐Op)                                                            ST 176/ST 148 by and between Fieldwood and Arena Offshore LLC and Arena Offshore LLC
CONNECTION AGREEMENT EI 342C   9/17/1986      PIPELINE CONNECTION & OPERATION
                                             AGREEMENT EUGENE ISLAND PIPELINE Interconnect Agreement EI 346 by and between Fieldwood and GEL Offshore Pipeline, LLC and
                                                             SYSTEM           GEL Offshore Pipeline, LLC
CONNECTION AGREEMENT EI 342C    1/1/2010      RATIFICATION OF & SUPPLEMENT TO
                                            PIPELINE CONNECTION AND OPERATION Interconnect Agreement EI 346 by and between Fieldwood and GEL Offshore Pipeline, LLC and
                                                           AGREEMENT          GEL Offshore Pipeline, LLC
CONNECTION AGREEMENT EI 342C    8/7/2018        AMENDMENT NO. 1 TO PIPELINE
                                                 CONNECTION AND OPERATION     Interconnect Agreement EI 346 by and between Fieldwood and GEL Offshore Pipeline, LLC and
                                                           AGREEMENT          GEL Offshore Pipeline, LLC
CONNECTION AGREEMENT EI 342    10/26/2011        FACILITIES LETTER AGREEMENT  Agreement for Gas Connection at EI 346 by and between Fieldwood and ANR Pipeline Company
                                                                              and ANR Pipeline Company
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
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   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
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   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013                  ISCT Contract       ISCT Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013                  ISCT Contract       ISCT Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas
                                                                              Eastern
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas
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   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas
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   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas
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   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas
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   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas
                                                                              Eastern

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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   9/13/2011          IT Transport Contract
                                                                             Chandeleur IT Transportation ‐ Fieldwood interest in MP 59 was sold to Cantium by and between
                                                                             Fieldwood Energy LLC and Chandeleur Pipeline, LLC, now owned by Third Coast Midstream and
                                                                             Chandeleur Pipeline, LLC, now owned by Third Coast Midstream
Marketing Gas ‐ Transport   4/1/2015              FT ‐2 Transport            Disocvery Gas ‐ FT2 agreement; by and between Fieldwood Energy LLC and Discovery Gas
                                                                             Transmission and Discovery Gas Transmission
Marketing Gas ‐ Transport   2/1/2019             Pool Agreement              Pool Agreement by and between Fieldwood Energy LLC and Gulf South Pipeline Company, LP and
                                                                             Gulf South Pipeline Company, LP

Marketing Gas ‐ Transport   11/1/1995          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                             SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                             SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                             SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                             SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
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Marketing Gas ‐ Transport   11/1/1995          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
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Marketing Gas ‐ Transport   11/1/1995          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
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Marketing Gas ‐ Transport   11/1/1995          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                             SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Gathering   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Gathering   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Gathering   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Gathering   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
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Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
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Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
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Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
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Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
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Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
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Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
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Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
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Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
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Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
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Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
                                                                             and Kinetica Energy Express, LLC
Marketing Gas ‐ Transport   12/1/2003      IT Transport Contract‐ Reserve    Stingray Reserve Dedication VR Block 326 $.10 by and between Fieldwood Energy LLC and
                                        Dedicaation and Discount Commodity   Stingray Pipeline Company LLC (MCP Operating) and Stingray Pipeline Company LLC (MCP
                                                  Rate Agreement             Operating)
Marketing Gas ‐ Transport   10/1/2014               IT Gathering             IT Gathering by and between Fieldwood Energy LLC and Targa Midstream Services and Targa
                                                                             Midstream Services
Marketing Gas ‐ Transport   10/1/2014              IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Targa Midstream Services and Targa
                                                                             Midstream Services
Marketing Gas ‐ Transport   10/1/2019             FT ‐2 Transport            FT ‐2 Transport by and between Fieldwood Energy LLC and Venice Gathering and Venice
                                                                             Gathering
Marketing Gas ‐ Transport   10/1/2014              IT Gathering              Pelican Pipeline by and between Fieldwood Energy LLC and Targa Midstream Services and Targa
                                                                             Midstream Services
Marketing Gas ‐ Transport   10/1/2014              IT Gathering              Pelican Pipeline by and between Fieldwood Energy LLC and Targa Midstream Services and Targa
                                                                             Midstream Services
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC

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Marketing Gas ‐ Transport   12/1/2013                  IT Gathering               IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                                  LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013             IT Transport Contract           IT Transport Contract by and between Fieldwood Energy LLC and High Point Gas Transmission,
                                                                                  LLC and High Point Gas Transmission, LLC
Marketing Gas ‐ Transport   12/1/2013               IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and High Point Gas Transmission,
                                                                                  LLC and High Point Gas Transmission, LLC
Marketing Gas ‐ Transport   12/1/2013               IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and High Point Gas Transmission,
                                                                                  LLC and High Point Gas Transmission, LLC
Marketing Gas ‐ Transport   12/1/2013               IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and High Point Gas Transmission,
                                                                                  LLC and High Point Gas Transmission, LLC
Marketing Gas ‐ Transport    4/1/2000           Firm Gathering & Dedication       Manta Ray firm Gatheing and Dedicaiton , Disount Rate of $.06 by and between Fieldwood
                                                                                  Energy LLC and Manta Ray Offshore Gathering Company and Manta Ray Offshore Gathering
                                                                                  Company
Marketing Gas ‐ Transport   12/1/2015                  Firm ‐ Gathering           Firm ‐ Gathering by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering
                                                                                  Company and Manta Ray Offshore Gathering Company
Marketing Gas ‐ Transport   12/1/1992           Firm Gathering & Dedication       Manta Ray firm Gatheing and Dedicaiton , Disount Rate of $.032 by and between Fieldwood
                                                                                  Energy LLC and Manta Ray Offshore Gathering Company and Manta Ray Offshore Gathering
                                                                                  Company
Marketing Gas ‐ Transport    4/1/2010           Firm Gathering & Dedication       Manta Ray firm Gatheing and Dedicaiton , Disount Rate of $.12 by and between Fieldwood
                                                                                  Energy LLC and Manta Ray Offshore Gathering Company and Manta Ray Offshore Gathering
                                                                                  Company
Marketing Gas ‐ Transport    4/1/2010           Firm Gathering & Dedication       Manta Ray firm Gatheing and Dedicaiton , Disount Rate of $.12 by and between Fieldwood
                                                                                  Energy Offshore, LLC and Manta Ray Offshore Gathering Company and Manta Ray Offshore
                                                                                  Gathering Company
Marketing Gas ‐ Transport    4/1/2010           Firm Gathering & Dedication       Manta Ray firm Gatheing and Dedicaiton , Disount Rate of $.12 by and between Fieldwood
                                                                                  Energy Offshore, LLC and Manta Ray Offshore Gathering Company and Manta Ray Offshore
                                                                                  Gathering Company
Marketing Gas ‐ Transport   10/30/2017                  FT ‐2 Transport           EW 910 / ST 320 by and between Fieldwood Energy, LLC and Nautilus Pipeline Company and
                                                                                  Nautilus Pipeline Company
Marketing Gas ‐ Transport    4/1/2010                   FT ‐2 Transport           FT ‐2 Transport by and between Fieldwood Energy Offshore, LLC and Nautilus Pipeline Company
                                                                                  and Nautilus Pipeline Company
Marketing Gas ‐ Transport   12/12013                IT Transport Contract         Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/12013                IT Transport Contract         Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/12013                IT Transport Contract         Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/12013                IT Transport Contract         Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/12013                IT Transport Contract         Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/12013                IT Transport Contract         Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/12013                IT Transport Contract         Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/12013              IT PR Transport Contract        Searobin West PTR Transprt, max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013             IT‐Retrograde Transport         Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013             IT‐Retrograde Transport         Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013             IT‐Retrograde Transport         Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013             IT‐Retrograde Transport         Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013             IT‐Retrograde Transport         Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013             IT‐Retrograde Transport         Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                  IT‐PTR Transport           Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                  Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                  IT‐PTR Transport           Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                  Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                  IT‐PTR Transport           Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                  Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                  IT‐PTR Transport           Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                  Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                  IT‐PTR Transport           Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                  Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                  IT‐PTR Transport           Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                  Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                  IT‐PTR Transport           Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                  Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                  IT‐PTR Transport           Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                  Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                     IT‐Transport            Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                     IT‐Transport            Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                     IT‐Transport            Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                     IT‐Transport            Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                     IT‐Transport            Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                     IT‐Transport            Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                     IT‐Transport            Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013         IT‐Retrograde ‐Flash‐Transport      Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013         IT‐Retrograde ‐Flash‐Transport      Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013         IT‐Retrograde ‐Flash‐Transport      Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013         IT‐Retrograde ‐Flash‐Transport      Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013         IT‐Retrograde ‐Flash‐Transport      Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   10/1/2011                  IT‐PTR Transport
                                                                                  Searobin Pipeline ‐ sandridge /Dynamic IT transport by and between Fieldwood Energy Offshore,
                                                                                  LLC and Sea Robin Pipeline Company and Sea Robin Pipeline Company

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  Marketing Gas ‐ Transport                 10/1/2011                       IT‐Retrograde Transport
                                                                                                           SearobinWest Pipeline ‐ sandridge /Dynamic IT Retrograde by and between Fieldwood Energy
                                                                                                           Offshore, LLC and Sea Robin Pipeline Company and Sea Robin Pipeline Company
  Marketing Gas ‐ Transport                  4/1/2015                   FT‐2 Discount Letter Agreement     Discovery Gas FT2 Discount letter by and between Fieldwood Energy LLC and Discovery Gas
                                                                                                           Transmission and Discovery Gas Transmission
Marketing Gas ‐ Gathering and                4/1/2015              Gas Dedication and Gathering Agrement Discovery Gas Gathering and Gas Dedication by and between Fieldwood Energy LLC and
         Dedication                                                                                        Discovery Gas Transmission and Discovery Gas Transmission
 Marketing Gas ‐ Transport                   1/1/2012                   IT Transport Contract ‐ Reserve    Stinray ‐ HI 350, WC 144 WC269 $.10 discount. Reserve Dedicaton agreement 310074 by and
                                                                         Dedication and Discount Rate      between Fieldwood Energy LLC and Stingray Pipeline Company LLC (MCP Operating) and Stingray
                                                                                                           Pipeline Company LLC (MCP Operating)
  Marketing Gas ‐ Transport                  1/1/2012                   IT Transport Contract ‐ Reserve    Stinray ‐ HI 350, WC 144 WC269 $.10 discount. Reserve Dedicaton agreement 310074 by and
                                                                         Dedication and Discount Rate      between Fieldwood Energy LLC and Stingray Pipeline Company LLC (MCP Operating) and Stingray
                                                                                                           Pipeline Company LLC (MCP Operating)
  Marketing Gas ‐ Transport                  1/1/2012                   IT Transport Contract ‐ Reserve    Stinray ‐ HI 350, WC 144 WC269 $.10 discount. Reserve Dedicaton agreement 310074 by and
                                                                         Dedication and Discount Rate      between Fieldwood Energy LLC and Stingray Pipeline Company LLC (MCP Operating) and Stingray
                                                                                                           Pipeline Company LLC (MCP Operating)
  Marketing Gas ‐ Transport                  1/1/2017                     IT‐Transport‐ Discount Letter    Searobin East ‐ Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST 295)
                                                                                                           by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin Pipeline
                                                                                                           Company
  Marketing Gas ‐ Transport                  1/1/2017                     IT‐Transport‐ Discount Letter    Searobin East ‐ Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST 295)
                                                                                                           by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin Pipeline
                                                                                                           Company
  Marketing Gas ‐ Transport                  1/1/2017                           IT‐PTR Transport           Searobin East ‐ PTR Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST
                                                                                                           295) by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin
                                                                                                           Pipeline Company
  Marketing Gas ‐ Transport                  1/1/2017                           IT‐PTR Transport           Searobin East ‐ PTR Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST
                                                                                                           295) by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin
                                                                                                           Pipeline Company
  Marketing Gas ‐ Transport                 12/1/2013                  IT‐PTR Transport‐ Discount Letter   Searobin East ‐ PTR Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST
                                                                                                           295) by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin
                                                                                                           Pipeline Company
  Marketing Gas ‐ Transport                 12/1/2013                  IT‐PTR Transport‐ Discount Letter   Searobin East ‐ PTR Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST
                                                                                                           295) by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin
                                                                                                           Pipeline Company
  Marketing Gas‐Transport                   12/17/1997                            FT ‐ Transport           Venice Gatheing Firm Transport with Disount $.05, ST‐148 by and between Fieldwood Energy
                                                                                                           LLC and Venice Gatheering System, L.L.C. and Venice Gatheering System, L.L.C.
  Marketing Gas‐Transport                   8/13/1997              Precedent Agreement for Transportation
                                                                     of Gas and Non‐Juriscitional Services Venice Gatheing Firm Transport with Disount $.05, ST‐148 by and between Fieldwood Energy
                                                                                                           LLC and Venice Gatheering System, L.L.C. and Venice Gatheering System, L.L.C.
  Marketing Gas‐Transport                   12/15/1997                 Reserve Commitment Agreement        Venice Gatheing Firm Transport with Disount $.05, ST‐148 by and between Fieldwood Energy
                                                                                                           LLC and Venice Gathering System, L.L.C. and Venice Gathering System, L.L.C.
  Marketing Gas‐Gathering                    4/1/2003                              IT Transport            GC 45, WD 41 by and between Fieldwood Energy LLC and Venice Gathering System, L.L.C. and
                                                                                                           Venice Gathering System, L.L.C.
  Marketing Gas‐Gathering                   11/1/2010                              IT Transport
                                                                                                           Venice Gathiering, Max Rate,WD 41 Effective date 11/1/2010 by and between Fieldwood Energy
                                                                                                           LLC and Venice Gathering System, L.L.C. and Venice Gathering System, L.L.C.
  Marketing Gas‐Gathering                   6/14/2000                       Gas Gathering Agreement        Gas Gathering Agreement by and between Fieldwood Energy LLC and Carbonate Trend and
                                                                                                           Carbonate Trend
  Marketing‐Gas Gathering                   6/14/2000                       Gas Gathering Agreement        Gas Gathering Agreement by and between Fieldwood Energy LLC and Carbonate Trend and
                                                                                                           Carbonate Trend
  Marketing‐Gas Gathering                   9/10/1990                       Gas Gathering Agreement        Gathering Agreement ‐ Discount for BA 491 by and between Fieldwood Energy LLC and WFS and
                                                                                                           WFS
 Operating and Management                    6/1/2015               Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as
         Agreement                                                 Panther Operating Company (Third Coast) the management and administrative functions for the System by and between Fieldwood Energy
                                                                                                           LLC and Panther Operating Company, LLC (Third Coast Midstream) and Panther Operating
                                                                                                           Company, LLC (Third Coast Midstream)
 Operating and Management                    6/1/2015               Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as
         Agreement                                                 Panther Operating Company (Third Coast) the management and administrative functions for the System by and between Fieldwood Energy
                                                                                                           LLC and Panther Operating Company, LLC (Third Coast Midstream) and Panther Operating
                                                                                                           Company, LLC (Third Coast Midstream)
 Operating and Management                   1/17/1963               Conveyance and Operating Agreement Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
         Agreement                                                    Grand Chenier Separation Facilities
                                                                            Cameron Parish, Louisiana

 Operating and Management                   1/17/1963                Conveyance and Operating Agreement      Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
         Agreement                                                    Grand Chenier Separation Facilities
                                                                          Cameron Parish, Louisiana

 Operating and Management                   1/17/1963                Conveyance and Operating Agreement      Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
         Agreement                                                    Grand Chenier Separation Facilities
                                                                          Cameron Parish, Louisiana

 Operating and Management                   1/17/1963                Conveyance and Operating Agreement
         Agreement                                                    Grand Chenier Separation Facilities
                                                                          Cameron Parish, Louisiana
                                                                                                             Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                          from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                             between Fieldwood Energy LLC and and
 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                          from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                             between Fieldwood Energy LLC and and
 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                          from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                             between Fieldwood Energy LLC and and
 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                          from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                             between Fieldwood Energy LLC and and
 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                          from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                             between Fieldwood Energy LLC and and
 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                          from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                             between Fieldwood Energy LLC and and
 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                          from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                             between Fieldwood Energy LLC and and
 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                          from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                             between Fieldwood Energy LLC and and
 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                          from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                             between Fieldwood Energy LLC and and
 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                          from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                             between Fieldwood Energy LLC and and
 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                          from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                             between Fieldwood Energy LLC and and

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 Operating and Management     des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                               of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                        from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                           between Fieldwood Energy LLC and and
 Operating and Management     des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                               of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                        from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                           between Fieldwood Energy LLC and and
 Operating and Management     des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                               of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                        from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                           between Fieldwood Energy LLC and and
 Operating and Management     des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                               of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                        from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                           between Fieldwood Energy LLC and and
 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                 Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                               Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                                                           and and
 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                 Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                               Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                                                           and and
 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                 Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                               Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                                                           and and
 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                 Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                               Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                                                           and and
 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                 Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                               Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                                                           and and
 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                 Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                               Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                                                           and and
 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                 Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                               Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                                                           and and
 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                 Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                               Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                                                           and and
 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
        Agreement                                                  the Construction and Operation of the Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                 Sea Robin Gas Processing Plant Vermilion Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                               Parish, Louisiana           and and

 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                  Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                             Parish, Louisiana             Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                                                           and and
 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
        Agreement                                                  the Construction and Operation of the Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                  Sea Robin Gas Processing Plant Vermilion Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                             Parish, Louisiana             and and

 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                   the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                  Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                                Parish, Louisiana          Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                                                           and and
 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                   the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                  Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                                Parish, Louisiana          Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                                                           and and
  Ownership and Operating                 10/1/1982                Construction, Ownership and Operating
        Agreement                                                                  Agreement               Governs the Ownership and Operations of the Facility. The Facility is co‐owned by two groups,
                                                                                                           Owners and Producers. Facility assets are owned in three different classes: either solely owned
                                                                                                           by Owners, co‐owned by Owners and Producers or soley owned by Pr by and between
                                                                                                           Fieldwood Energy LLC and Kinetica Partners LLC and Kinetica Partners LLC
   Ownership Agreement                    12/2/1985               Ownership Agreement for the Producers' Governs the Ownership and Operations of the Producers' Facility. The Producers' Facility consists
                                                                       Facility Sabine Pass, as amended    of assets owned by Producers, as well as those assets co‐owned by the Producers and Owners.
                                                                                                           Fieldwood, as the designated Producers' Representive, reprents th by and between Fieldwood
                                                                                                           Energy LLC and and
  Ownership and Operating                 9/26/1982                Venice Dehydration Station Operations
        Agreement                                                        and Maintenance Agreement         Provides for the use of the Venice Dehydration Station by the Venice Dehydration Station
                                                                                                           Owners by and between Fieldwood Energy LLC and and
  Ownership and Operating                 9/26/1982                Venice Dehydration Station Operations
        Agreement                                                        and Maintenance Agreement         Provides for the use of the Venice Dehydration Station by the Venice Dehydration Station
                                                                                                           Owners by and between Fieldwood Energy LLC and and
  Ownership and Operating                 9/26/1982                Venice Dehydration Station Operations
        Agreement                                                        and Maintenance Agreement         Provides for the use of the Venice Dehydration Station by the Venice Dehydration Station
                                                                                                           Owners by and between Fieldwood Energy LLC and and
     Service Agreement                    11/1/2015                    South Pass Dehydration Service
                                                                            Agreement as amended           Provides for certain monitoring, maintenance and repais for the South Pass Dehydration Station
                                                                                                           on behalf of Owners by and between Fieldwood Energy LLC and Venice Energy Services
                                                                                                           Company LLC (Targa Resources) and Venice Energy Services Company LLC (Targa Resources)
     Service Agreement                    11/1/2015                    South Pass Dehydration Service
                                                                            Agreement as amended           Provides for certain monitoring, maintenance and repais for the South Pass Dehydration Station
                                                                                                           on behalf of Owners by and between Fieldwood Energy LLC and Venice Energy Services
                                                                                                           Company LLC (Targa Resources) and Venice Energy Services Company LLC (Targa Resources)
     Service Agreement                    11/1/2015                    South Pass Dehydration Service
                                                                            Agreement as amended           Provides for certain monitoring, maintenance and repais for the South Pass Dehydration Station
                                                                                                           on behalf of Owners by and between Fieldwood Energy LLC and Venice Energy Services
                                                                                                           Company LLC (Targa Resources) and Venice Energy Services Company LLC (Targa Resources)
  Ownership and Operating                  3/6/1974                Construction and Operating Agreement
        Agreement                                                       for Onshore Separation Facility    Provides for the construction and operation of the onshore separation facility which is connected
                                                                   Cameron Parish, Louisiana as amended to the facilites of Stingray Pipeline Company and which separates condensate from the natural
                                                                                                           gas injected into and transported by Stinray by and between Fieldwood Energy LLC and Stingray
                                                                                                           Pipeline Company LLC (MCP Operating) and Stingray Pipeline Company LLC (MCP Operating)
Construction and Management               10/1/1981                     Construction and Management
         Agreement                                                    Agreement South Pass West Delta      Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                                                Gathering System           and N/A and N/A


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Construction and Management   10/1/1981       Construction and Management
         Agreement                           Agreement South Pass West Delta        Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                     Gathering System               and N/A and N/A
Construction and Management   10/1/1981       Construction and Management
         Agreement                           Agreement South Pass West Delta        Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                     Gathering System               and N/A and N/A
Construction and Management   10/1/1981       Construction and Management
         Agreement                           Agreement South Pass West Delta        Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                     Gathering System               and N/A and N/A
Construction and Management   10/1/1981       Construction and Management
         Agreement                           Agreement South Pass West Delta        Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                     Gathering System               and N/A and N/A
Construction and Management   10/1/1981       Construction and Management           Provides for the construction management of the Facility by and between Fieldwood Energy LLC
         Agreement                           Agreement South Pass West Delta        and N/A and N/A
                                                     Gathering System
Construction and Management   10/1/1981       Construction and Management           Provides for the construction management of the Facility by and between Fieldwood Energy LLC
         Agreement                           Agreement South Pass West Delta        and N/A and N/A
                                                     Gathering System
Construction and Management   10/1/1981       Construction and Management
         Agreement                           Agreement South Pass West Delta        Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                     Gathering System               and N/A and N/A
Construction and Management   10/1/1981       Construction and Management
         Agreement                           Agreement South Pass West Delta        Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                     Gathering System               and N/A and N/A
Construction and Management   10/1/1981       Construction and Management
         Agreement                           Agreement South Pass West Delta        Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                     Gathering System               and N/A and N/A
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
 Contribution Ageement (LLC   11/2/2010          Contribution Agreement             SP 49 Pipeline LLC (the “Entity”), an limited liability company, was formed on November 2, 2010
         formation)                                                                 by Apache GOM Pipeline, Inc, (succeeded by FW GOM Pipeline, Inc), Energy XXI GOM LLC, and
                                                                                    Stone Energy Offshore, LLC (succeeded by Talos Resources LLC). The e by and between
                                                                                    Fieldwood Energy LLC and Talos Resources LLC and Energy XXI GOM, LLC and Talos Resources LLC
                                                                                    and Energy XXI GOM, LLC
    Operating Agreement       11/2/2010    Operating Agreement South Pass Block     The Operator is responsible for the entity’s operations, accounting, and reporting detailed in the
                                           49 & Southwest Pass 24 Pipeline System   Operating Agreement, including pipeline operation, repair, and maintenance, as well as
                                                                                    admintistative functios such as paying expenses and maintaing records by and between
                                                                                    Fieldwood Energy LLC and and
    Operating Agreement       11/2/2010    Operating Agreement South Pass Block     The Operator is responsible for the entity’s operations, accounting, and reporting detailed in the
                                           49 & Southwest Pass 24 Pipeline System   Operating Agreement, including pipeline operation, repair, and maintenance, as well as
                                                                                    admintistative functios such as paying expenses and maintaing records by and between
                                                                                    Fieldwood Energy LLC and and
    Operating Agreement        7/1/1970     Agreement for the Construction and      The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                           Operation of the TOCA Gas Processing     each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                             Plant St. Bernard Parish, Louisiana    agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                    Enterprise Gas Processing LLC
    Operating Agreement        7/1/1970     Agreement for the Construction and      The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                           Operation of the TOCA Gas Processing     each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                             Plant St. Bernard Parish, Louisiana    agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                    Enterprise Gas Processing LLC
    Operating Agreement        7/1/1970     Agreement for the Construction and      The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                           Operation of the TOCA Gas Processing     each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                             Plant St. Bernard Parish, Louisiana    agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                    Enterprise Gas Processing LLC
    Operating Agreement        7/1/1970     Agreement for the Construction and      The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                           Operation of the TOCA Gas Processing     each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                             Plant St. Bernard Parish, Louisiana    agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                    Enterprise Gas Processing LLC
    Operating Agreement        7/1/1970     Agreement for the Construction and      The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                           Operation of the TOCA Gas Processing     each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                             Plant St. Bernard Parish, Louisiana    agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                    Enterprise Gas Processing LLC
    Operating Agreement        7/1/1970     Agreement for the Construction and      The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                           Operation of the TOCA Gas Processing     each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                             Plant St. Bernard Parish, Louisiana    agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                    Enterprise Gas Processing LLC
    Operating Agreement        7/1/1970     Agreement for the Construction and      The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                           Operation of the TOCA Gas Processing     each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                             Plant St. Bernard Parish, Louisiana    agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                    Enterprise Gas Processing LLC
    Operating Agreement        7/1/1970     Agreement for the Construction and      The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                           Operation of the TOCA Gas Processing     each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                             Plant St. Bernard Parish, Louisiana    agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                    Enterprise Gas Processing LLC
 Construction and Operating   10/22/1976     Agreement for the Construction and     Processing of Owners' gas all in accordance with agreements by and between Fieldwood Energy
        Agreement                           Operation of the Blue Water Gas Plant   LLC and EnLink Midstream Operating, LP and EnLink Midstream Operating, LP
                                                   Acadia Parish, Louisiana
    Operating Agreement                       Lateral Line Operating Agreement      Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                              Between Apache Corporation and        Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                             Enterprise GTM Offshore Operating      sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                         Company, LLC               Energy LLC and and
    Operating Agreement                       Lateral Line Operating Agreement      Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                              Between Apache Corporation and        Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                             Enterprise GTM Offshore Operating      sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                         Company, LLC               Energy LLC and and
    Operating Agreement                       Lateral Line Operating Agreement      Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                              Between Apache Corporation and        Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                             Enterprise GTM Offshore Operating      sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                         Company, LLC               Energy LLC and and
    Operating Agreement                       Lateral Line Operating Agreement      Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                              Between Apache Corporation and        Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                             Enterprise GTM Offshore Operating      sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                         Company, LLC               Energy LLC and and
    Operating Agreement                       Lateral Line Operating Agreement      Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                              Between Apache Corporation and        Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                             Enterprise GTM Offshore Operating      sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                         Company, LLC               Energy LLC and and
Construction, Ownership and   10/1/1984        Eugene Island Block 361 Pipeline     Provides for the construction and operation of the EI 361 Pipeline. Originating from the EI 361 A
   Operating Agreement                     Construction, Ownership and Operating    Platform to the Bonito Pipeline System by and between Fieldwood Energy LLC and Chevron
                                                          Agreement                 Pipeline Company and Chevron Pipeline Company
Construction, Ownership and   10/1/1984        Eugene Island Block 361 Pipeline     Provides for the construction and operation of the EI 361 Pipeline. Originating from the EI 361 A
   Operating Agreement                     Construction, Ownership and Operating    Platform to the Bonito Pipeline System by and between Fieldwood Energy LLC and Chevron
                                                          Agreement                 Pipeline Company and Chevron Pipeline Company

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  Construction, Ownership and   10/1/1984       Eugene Island Block 361 Pipeline     Provides for the construction and operation of the EI 361 Pipeline. Originating from the EI 361 A
     Operating Agreement                     Construction, Ownership and Operating   Platform to the Bonito Pipeline System by and between Fieldwood Energy LLC and Chevron
                                                           Agreement                 Pipeline Company and Chevron Pipeline Company
  Construction, Ownership and   10/1/1984       Eugene Island Block 361 Pipeline     Provides for the construction and operation of the EI 361 Pipeline. Originating from the EI 361 A
     Operating Agreement                     Construction, Ownership and Operating   Platform to the Bonito Pipeline System by and between Fieldwood Energy LLC and Chevron
                                                           Agreement                 Pipeline Company and Chevron Pipeline Company
  Construction, Ownership and   2/25/2011              Amendment No. 2               Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                   Eugene Island Block 361 Pipeline     (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                            Construction, Ownership and Operating   was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                           Agreement                 Company and Chevron Pipeline Company
  Construction, Ownership and   2/25/2011              Amendment No. 2               Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                   Eugene Island Block 361 Pipeline     (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                            Construction, Ownership and Operating   was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                           Agreement                 Company and Chevron Pipeline Company
  Construction, Ownership and   2/25/2011              Amendment No. 2               Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                   Eugene Island Block 361 Pipeline     (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                            Construction, Ownership and Operating   was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                           Agreement                 Company and Chevron Pipeline Company
  Construction, Ownership and   2/25/2011              Amendment No. 2               Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                   Eugene Island Block 361 Pipeline     (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                            Construction, Ownership and Operating   was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                           Agreement                 Company and Chevron Pipeline Company
  Construction, Ownership and   2/25/2011              Amendment No. 2               Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                   Eugene Island Block 361 Pipeline     (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                            Construction, Ownership and Operating   was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                           Agreement                 Company and Chevron Pipeline Company
  Construction, Ownership and   2/25/2011              Amendment No. 2               Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                   Eugene Island Block 361 Pipeline     (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                            Construction, Ownership and Operating   was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                           Agreement                 Company and Chevron Pipeline Company
  Construction, Ownership and   2/25/2011              Amendment No. 2               Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                   Eugene Island Block 361 Pipeline     (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                            Construction, Ownership and Operating   was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                           Agreement                 Company and Chevron Pipeline Company
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
     Operating Agreement         5/1/1996        Pipeline Operating Agreement        To provide for the use, maintenance, operation, administration and removal of the Seagate
                                                                                     Pipeline. by and between Fieldwood Energy LLC / Fieldwood Energy Offshoe LLC and and

     Operating Agreement         5/1/1996        Pipeline Operating Agreement        To provide for the use, maintenance, operation, administration and removal of the Seagate
                                                                                     Pipeline. by and between Fieldwood Energy LLC / Fieldwood Energy Offshoe LLC and and

     Operating Agreement         5/1/1996        Pipeline Operating Agreement        To provide for the use, maintenance, operation, administration and removal of the Seagate
                                                                                     Pipeline. by and between Fieldwood Energy LLC / Fieldwood Energy Offshoe LLC and and

Proposed Ownership Agreement    7/11/2009       Letter of Intent Amberjack Pipeline
                                               Repair ‐ Mississippi Canyon Block 109
                                               Area and Chevron Pipe Line Company Proposes that the producers utilizing the Amberjack Pipeline, collectively, “the Producers”,
                                                    Valve Project ‐ South Pass 50    become owners in the Amberjack Pipeline. by and between Fieldwood Energy LLC and and
Proposed Ownership Agreement    7/11/2009       Letter of Intent Amberjack Pipeline
                                               Repair ‐ Mississippi Canyon Block 109
                                               Area and Chevron Pipe Line Company Proposes that the producers utilizing the Amberjack Pipeline, collectively, “the Producers”,
                                                    Valve Project ‐ South Pass 50    become owners in the Amberjack Pipeline. by and between Fieldwood Energy LLC and and
Proposed Ownership Agreement    7/11/2009       Letter of Intent Amberjack Pipeline
                                               Repair ‐ Mississippi Canyon Block 109
                                               Area and Chevron Pipe Line Company Proposes that the producers utilizing the Amberjack Pipeline, collectively, “the Producers”,
                                                    Valve Project ‐ South Pass 50    become owners in the Amberjack Pipeline. by and between Fieldwood Energy LLC and and
     Oil Purchase and Sale      12/23/1995       Oil Purchase and Sale Agreement
     Agreement/Transport                           Between Anadarko Petroleum
                                               Corporation and Texaco Trading and
                                               Transportation INC               (now Crude Oil Purchase and Sale/Transport by and between Fieldwood Energy LLC and Poseidon Oil
                                                Poseidon Oil Pipeline Company LLC)   Pipeline Company LLC and Poseidon Oil Pipeline Company LLC
    Oil Gathering Agreement      6/1/2003             Oil Gathering Agreement        Crude Oil Transport. by and between Fieldwood Energy LLC and Manta Ray Gathering Co.,LLC
                                                               Between               and Manta Ray Gathering Co.,LLC
                                                 Westport Resources Corporation
                                                           Noble Energy Inc
                                                                   M
     Oil Purchase and Sale      7/15/2003        Oil Purchase and Sale Agreement     Crude Oil Purchase and Sale/Transport by and between Fieldwood Energy LLC and Poseidon Oil
     Agreement/Transport                           Between Westport Resources        Pipeline Company LLC and Poseidon Oil Pipeline Company LLC
                                              Corporation Mariner Energy Inc Noble
                                               Energy Inc and Poseidon Oil Pipeline
                                                             Company LLC
     Oil Purchase and Sale      4/10/2012        Oil Purchase and Sale Agreement
     Agreement/Transport                     Between Apache Shelf Inc and Poseidon Crude Oil Purchase and Sale/Transport by and between Fieldwood Energy LLC and Poseidon Oil
                                                      Oil Pipeline Company LLC       Pipeline Company LLC and Poseidon Oil Pipeline Company LLC
    Oil Gathering Agreement      3/6/2020      Oil Gathering and Reserve Dedication
                                              Agreement Between Rosefield Pipeline
                                             Company, LLC and Fieldwood Energy LLC Crude Oil Transport. by and between Fieldwood Energy LLC and Rosefield Pipeline Company LLC
                                                              as Producer            and Rosefield Pipeline Company LLC
    Oil Gathering Agreement      3/6/2020      Oil Gathering and Reserve Dedication
                                              Agreement Between Rosefield Pipeline
                                             Company, LLC and Fieldwood Energy LLC Crude Oil Transport. by and between Fieldwood Energy LLC and Rosefield Pipeline Company LLC
                                                              as Producer            and Rosefield Pipeline Company LLC

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    Oil Gathering Agreement         3/6/2020       Oil Gathering and Reserve Dedication
                                                  Agreement Between Rosefield Pipeline
                                                 Company, LLC and Fieldwood Energy LLC Crude Oil Transport. by and between Fieldwood Energy LLC and Rosefield Pipeline Company LLC
                                                                as Producer              and Rosefield Pipeline Company LLC
 Oil Pipeline Connection Agreeet   7/23/2020      ST 53/67 Connection Agreement ST 52
                                                "A" Topsides Work‐Connecting Fieldwood
                                                 Energy LLC Pipeline Segment No 5890 to
                                                  Rosefield Pipeline System 10" Pipeline Connection Agreement by and between Fieldwood Energy LLC and Rosefield Pipeline Company
                                                                                         LLC and Rosefield Pipeline Company LLC
 Oil Pipeline Connection Agreeet   7/23/2020      ST 53/67 Connection Agreement ST 52
                                                "A" Topsides Work‐Connecting Fieldwood
                                                 Energy LLC Pipeline Segment No 5890 to
                                                  Rosefield Pipeline System 10" Pipeline Connection Agreement by and between Fieldwood Energy LLC and Rosefield Pipeline Company
                                                                                         LLC and Rosefield Pipeline Company LLC
          Oil Transport             8/1/2009     High Island Pipeline System Throughput Oil Transport by and between Fieldwood Energy LLC and McMoRan Oil & Gas LLC and McMoRan
                                                         Capacity Lease Agreement        Oil & Gas LLC

          Oil Transport             8/1/2009    High Island Pipeline System Throughput Oil Transport by and between Fieldwood Energy LLC and McMoRan Oil & Gas LLC and McMoRan
                                                       Capacity Lease Agreement        Oil & Gas LLC

          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                                   Transportation Services Agreement
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                                   Transportation Services Agreement
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                                   Transportation Services Agreement
          Oil Transport            11/30/2018          Crimson Gulf Dedication and     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                                   Transportation Services Agreement
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                                   Transportation Services Agreement
Liquids Transportation Agreement    4/1/2015     Liquids Transportation Agreement (ST
                                                    311‐"Megalodon") By and Among
                                                   Discovery Gas Transmission LLC and  Liquids Transportation Agreement by and between Fieldwood Energy LLC and Discovery Gas
                                                          Fieldwood Energy LLC         Transmission LLC and Discovery Gas Transmission LLC
    Injected and Retrograde        2/10/2014      Injected and Retrograde Condensate Injected and Retrograde Condensate Transportation and Btu Reduction Make‐up Agreement by
 Condensate Transportation and                  Transportation and Btu Reduction Make‐ and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line Company LLC and
     Btu Reduction Make‐up                                    up Agreement             Transcontinental Gas Pipe Line Company LLC
           Agreement
    Injected and Retrograde        2/10/2014      Injected and Retrograde Condensate Injected and Retrograde Condensate Transportation and Btu Reduction Make‐up Agreement by
 Condensate Transportation and                  Transportation and Btu Reduction Make‐ and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line Company LLC and
     Btu Reduction Make‐up                                   up Agreement              Transcontinental Gas Pipe Line Company LLC
           Agreement
    Injected and Retrograde        2/10/2014       Injected and Retrograde Condensate
 Condensate Transportation and                  Transportation and Btu Reduction Make‐ Injected and Retrograde Condensate Transportation and Btu Reduction Make‐up Agreement by
     Btu Reduction Make‐up                                     up Agreement               and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line Company LLC and
           Agreement                                                                      Transcontinental Gas Pipe Line Company LLC
Agreement For Measurement and       7/1/2001       Central Texas Gathering System (1st)    Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
    Allocation of Condensate                     Amended and Restated Agreement for Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                                      Measurement and Allocation of
                                                                Condensate
Agreement For Measurement and       7/1/2001       Central Texas Gathering System (1st)    Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
    Allocation of Condensate                     Amended and Restated Agreement for Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                                      Measurement and Allocation of
                                                                Condensate
Agreement For Measurement and       7/1/2001       Central Texas Gathering System (1st)
    Allocation of Condensate                     Amended and Restated Agreement for
                                                      Measurement and Allocation of        Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
                                                                Condensate                Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
Agreement For Measurement and       7/1/2014     Central Texas Gathering System Second Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
    Allocation of Condensate                     Amended and Restated Agreement for Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                                      Measurement and Allocation of
                                                                Condensate
Agreement For Measurement and       7/1/2014     Central Texas Gathering System Second Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
    Allocation of Condensate                     Amended and Restated Agreement for Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                                      Measurement and Allocation of
                                                                Condensate
Agreement For Measurement and       7/1/2014     Central Texas Gathering System Second
    Allocation of Condensate                     Amended and Restated Agreement for
                                                      Measurement and Allocation of        Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
                                                                Condensate                Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
      Liquid Transportation        9/27/1993         Liquid Transportation Nouth High     Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                  Island/Johnson Bayou, Markham Plant Corporation and Transcontinental Gas Pipe Line Corporation
                                                     Tailgate, Bayou Black & Vermilion
                                                  Separation Facility. Contract # 94 0674

      Liquid Transportation        9/27/1993        Liquid Transportation Nouth High     Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                 Island/Johnson Bayou, Markham Plant Corporation and Transcontinental Gas Pipe Line Corporation
                                                    Tailgate, Bayou Black & Vermilion
                                                 Separation Facility. Contract # 94 0674

      Liquid Transportation        9/27/1993        Liquid Transportation Nouth High
                                                 Island/Johnson Bayou, Markham Plant
                                                    Tailgate, Bayou Black & Vermilion
                                                 Separation Facility. Contract # 94 0674 Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                         Corporation and Transcontinental Gas Pipe Line Corporation
      Liquid Transportation        9/27/1993        Liquid Transportation Nouth High     Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                 Island/Johnson Bayou, Markham Plant Corporation and Transcontinental Gas Pipe Line Corporation
                                                    Tailgate, Bayou Black & Vermilion
                                                 Separation Facility. Contract # 94 0674

      Liquid Transportation        9/27/1993        Liquid Transportation Nouth High
                                                 Island/Johnson Bayou, Markham Plant
                                                    Tailgate, Bayou Black & Vermilion
                                                 Separation Facility. Contract # 94 0674 Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                         Corporation and Transcontinental Gas Pipe Line Corporation


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      Liquid Transportation        9/27/1993       Liquid Transportation Nouth High
                                                Island/Johnson Bayou, Markham Plant
                                                   Tailgate, Bayou Black & Vermilion
                                                Separation Facility. Contract # 94 0674 Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                        Corporation and Transcontinental Gas Pipe Line Corporation
      Liquid Transportation        9/27/1993       Liquid Transportation Nouth High
                                                Island/Johnson Bayou, Markham Plant
                                                   Tailgate, Bayou Black & Vermilion
                                                Separation Facility. Contract # 94 0674 Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                        Corporation and Transcontinental Gas Pipe Line Corporation
      Liquid Transportation        9/27/1993       Liquid Transportation Nouth High
                                                Island/Johnson Bayou, Markham Plant
                                                   Tailgate, Bayou Black & Vermilion
                                                Separation Facility. Contract # 94 0674 Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                        Corporation and Transcontinental Gas Pipe Line Corporation
Amendment Liquid Transportation    11/1/2007     Amendment to Liquid Transportation Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                Agreement Between Transcontinental Corporation and Transcontinental Gas Pipe Line Corporation
                                                 Gas Pipe Line Corporatio and Apache
                                                      Corp Contract # 94 0674 001

Amendment Liquid Transportation    11/1/2007    Amendment to Liquid Transportation     Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                Agreement Between Transcontinental     Corporation and Transcontinental Gas Pipe Line Corporation
                                                Gas Pipe Line Corporatio and Apache
                                                    Corp Contract # 94 0674 001

Amendment Liquid Transportation    11/1/2007    Amendment to Liquid Transportation
                                                Agreement Between Transcontinental
                                                Gas Pipe Line Corporatio and Apache
                                                    Corp Contract # 94 0674 001        Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                       Corporation and Transcontinental Gas Pipe Line Corporation
Amendment Liquid Transportation    11/1/2007    Amendment to Liquid Transportation     Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                Agreement Between Transcontinental     Corporation and Transcontinental Gas Pipe Line Corporation
                                                Gas Pipe Line Corporatio and Apache
                                                    Corp Contract # 94 0674 001

Amendment Liquid Transportation    11/1/2007    Amendment to Liquid Transportation
                                                Agreement Between Transcontinental
                                                Gas Pipe Line Corporatio and Apache
                                                    Corp Contract # 94 0674 001        Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                       Corporation and Transcontinental Gas Pipe Line Corporation
Amendment Liquid Transportation    11/1/2007    Amendment to Liquid Transportation
                                                Agreement Between Transcontinental
                                                Gas Pipe Line Corporatio and Apache
                                                    Corp Contract # 94 0674 001        Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                       Corporation and Transcontinental Gas Pipe Line Corporation
Amendment Liquid Transportation    11/1/2007    Amendment to Liquid Transportation
                                                Agreement Between Transcontinental
                                                Gas Pipe Line Corporatio and Apache
                                                    Corp Contract # 94 0674 001        Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                       Corporation and Transcontinental Gas Pipe Line Corporation
Amendment Liquid Transportation    1/22/2013    Amendment to Liquid Transportation     Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                Agreement Between Transcontinental     Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                Gas Pipe Line Corporatio and Apache    Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
                                                Corp Contract # 94 0674 001/1005198

Amendment Liquid Transportation    1/22/2013    Amendment to Liquid Transportation     Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                Agreement Between Transcontinental     Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                Gas Pipe Line Corporatio and Apache    Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
                                                Corp Contract # 94 0674 001/1005198

Amendment Liquid Transportation    1/22/2013    Amendment to Liquid Transportation
                                                Agreement Between Transcontinental
                                                Gas Pipe Line Corporatio and Apache    Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                Corp Contract # 94 0674 001/1005198    Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                                                       Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
Amendment Liquid Transportation    1/22/2013    Amendment to Liquid Transportation     Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                Agreement Between Transcontinental     Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                Gas Pipe Line Corporatio and Apache    Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
                                                Corp Contract # 94 0674 001/1005198

Amendment Liquid Transportation    1/22/2013    Amendment to Liquid Transportation
                                                Agreement Between Transcontinental
                                                Gas Pipe Line Corporatio and Apache    Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                Corp Contract # 94 0674 001/1005198    Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                                                       Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
Amendment Liquid Transportation    1/22/2013    Amendment to Liquid Transportation
                                                Agreement Between Transcontinental
                                                Gas Pipe Line Corporatio and Apache    Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                Corp Contract # 94 0674 001/1005198    Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                                                       Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
Amendment Liquid Transportation    1/22/2013    Amendment to Liquid Transportation
                                                Agreement Between Transcontinental
                                                Gas Pipe Line Corporatio and Apache    Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                Corp Contract # 94 0674 001/1005198    Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                                                       Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
Liquid Transportation BTU Makeup   11/1/2007     Injected and Retrograde Condensate
                                               Transportation and Btu Reduction Make‐
                                                 up Agreement‐Southeast Lateral (into Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                       Bayou Black) 28 0008 000       Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
Liquid Transportation BTU Makeup   11/1/2007     Injected and Retrograde Condensate
                                               Transportation and Btu Reduction Make‐
                                                 up Agreement‐Southeast Lateral (into Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                       Bayou Black) 28 0008 000       Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
Liquid Transportation BTU Makeup   11/1/2007     Injected and Retrograde Condensate
                                               Transportation and Btu Reduction Make‐
                                                 up Agreement‐Southeast Lateral (into Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                       Bayou Black) 28 0008 000       Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
Liquid Transportation BTU Makeup   11/1/2007     Injected and Retrograde Condensate Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                               Transportation and Btu Reduction Make‐ Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
                                                 up Agreement‐Southeast Lateral (into
                                                       Bayou Black) 28 0008 000
Liquid Transportation BTU Makeup   11/1/2007     Injected and Retrograde Condensate
                                               Transportation and Btu Reduction Make‐
                                                 up Agreement‐Southeast Lateral (into Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                       Bayou Black) 28 0008 000       Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
Liquid Transportation BTU Makeup   11/1/2007     Injected and Retrograde Condensate
                                               Transportation and Btu Reduction Make‐
                                                 up Agreement‐Southeast Lateral (into Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                       Bayou Black) 28 0008 000       Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
      Liquid Transportation        4/8/2010               Amendment Liquid
                                                HydrocarbonTransportation Agreement Liquid Transportation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                               (NHI/Johnson Bayou) Cont. No. 1022772, Company LLC( formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                           Doc. No. 97 0515           Pipe Line Company LLC( formerly Transcontinental Gas Pipe Line Corporation)
      Liquid Transportation        8/6/1997       Liquid Hydrocarbon Transportation   Liquid Transportation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                              Agreement               Corporation and Transcontinental Gas Pipe Line Corporation
Liquid Transportation BTU Makeup   7/1/2008      Injected and Retrograde Condensate
                                               Transportation and Btu Reduction Make‐
                                                up Agreement Central Texas Gathering Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                          System 28 0384 000          Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation


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    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
                                                                                                           Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
    Terminalling Agreement                    9/1/2009            reement Between WFS‐Liquids Company anWFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                    Liquids Company and Mariner Energy inc WFS‐Liquid Company

    Terminalling Agreement                    9/1/2009                  Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                       Liquids Company and Mariner Energy inc WFS‐Liquid Company

    Terminalling Agreement                    9/1/2009                  Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                       Liquids Company and Mariner Energy inc WFS‐Liquid Company

    Terminalling Agreement                    9/1/2009                  Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Mariner Energy inc Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                               WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009                  Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Mariner Energy inc Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                               WFS‐Liquid Company
    Terminalling Agreement                    2/1/2014                  Terminalling Agreement Between WFS‐
                                                                         Liquidsllc and Fieldwood Energy LLC ‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                                     Contract BB111            Liquid LLC
    Terminalling Agreement                    2/1/2014                  Terminalling Agreement Between WFS‐
                                                                         Liquidsllc and Fieldwood Energy LLC ‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                                     Contract BB111            Liquid LLC
    Terminalling Agreement                    2/1/2014                  Terminalling Agreement Between WFS‐
                                                                         Liquidsllc and Fieldwood Energy LLC ‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                                     Contract BB111            Liquid LLC
    Terminalling Agreement                    2/1/2014                  Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                         Liquidsllc and Fieldwood Energy LLC ‐ Liquid LLC
                                                                                     Contract BB111
    Terminalling Agreement                    2/1/2014                  Terminalling Agreement Between WFS‐
                                                                         Liquidsllc and Fieldwood Energy LLC ‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                                     Contract BB111            Liquid LLC
    Terminalling Agreement                    2/1/2014                  Terminalling Agreement Between WFS‐
                                                                         Liquidsllc and Fieldwood Energy LLC ‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                                     Contract BB111            Liquid LLC
   Oil Liquids Transportation                 9/1/1997                 Agreement Cocodrie/Pecan Island Plants Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
           Agreement                                                                                           LLC and Kinetica Energy Express, LLC
   Oil Liquids Transportation                10/22/2009                   Liquids Transportation Agreement     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Agreement for Bluewater System                                                  #51169 dated 2/1/2007          LLC and Kinetica Energy Express, LLC

 Oil Liquids Transportation for            9/30/2009                      Liquids Transportation Agreement     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
  Bluewater Pipeline System                                                     #51169 dated 2/1/2007          LLC and Kinetica Energy Express, LLC
 Oil Liquids Transportation for            4/1/2004                       Liquids Transportation Agreement     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
  Bluewater Pipeline System                                                            #51051                  LLC and Kinetica Energy Express, LLC
 Oil Liquids Transportation for            9/30/2009                      Liquids Transportation Agreement     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
  Bluewater Pipeline System                                                     #51051 dated 4/1/2004          LLC and Kinetica Energy Express, LLC
 Oil Liquids Transportation for            2/25/2010                    Liquids Transportation Agreement No.   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Grand Chenier Offshore Pipeline                                                         50031                  LLC and Kinetica Energy Express, LLC
             System
 Oil Liquids Transportation for            2/25/2010                    Liquids Transportation Agreement No.   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Grand Chenier Offshore Pipeline                                                         50031                  LLC and Kinetica Energy Express, LLC
             System
 Oil Liquids Transportation for            2/25/2010                    Liquids Transportation Agreement No.   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Grand Chenier Offshore Pipeline                                                         50031                  LLC and Kinetica Energy Express, LLC
             System
 Oil Liquids Transportation for            2/25/2010                    Liquids Transportation Agreement No.
Grand Chenier Offshore Pipeline                                                         50031                  Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
             System                                                                                            LLC and Kinetica Energy Express, LLC
 Oil Liquids Amendment No. 6 riginal Contract; Amendment Effecti          Amendment No. 6 to the Liquids       Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
                                                                              Transportation Contract          LLC and Kinetica Energy Express, LLC
  Oil Liquids Amendment No. 6      /1992, Amendment Effective 1/1/20      Amendment No. 6 to the Liquids       Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
                                                                              Transportation Contract          LLC and Kinetica Energy Express, LLC
   Oil Amendment to Liquids      ment date 8/1/2014 contract date 11     Amendment to Associated Liquids
     Transport Agreement                                                Transportation Agreement Patterson
                                                                                     Terminal                  Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
   Oil Amendment to Liquids      ment date 8/1/2014 contract date 11     Amendment to Associated Liquids
     Transport Agreement                                                Transportation Agreement Patterson
                                                                                     Terminal                  Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
   Oil Amendment to Liquids      ment date 8/1/2014 contract date 11     Amendment to Associated Liquids
     Transport Agreement                                                Transportation Agreement Patterson
                                                                                     Terminal                  Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
 Oil Liquid Handling Agreement                5/1/2008                      Liquid Handling Agreement          Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica

Amendment to Oil Liquid Handling              3/1/2011                              Amendment                  Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
           Agreement
Amendment to Oil Liquid Handling    11/1/2012 amended 12/1/2013                     Amendment                  Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
  Agreement to transfer from
 Apache Shelf, Inc. to Fieldwood
            Energy LLC
     Oil Liquids Agreement                    3/1/2011                           Liquids Agreement
                                                                                                               Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
     Oil Liquids Agreement                    3/1/2011                           Liquids Agreement
                                                                                                               Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
     Oil Liquids Agreement                    3/1/2011                           Liquids Agreement
                                                                                                               Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
     Oil Liquids Agreement                    11/1/2012                   Associated Liquids Transporation
                                                                         Agreement Grand Chenier Terminal      Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
     Oil Liquids Agreement                    11/1/2012                   Associated Liquids Transporation     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
                                                                         Agreement Grand Chenier Terminal
     Oil Liquids Agreement                    11/1/2012                   Associated Liquids Transporation     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
                                                                         Agreement Grand Chenier Terminal

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     Oil Liquids Agreement                11/1/2012                   Associated Liquids Transporation
                                                                     Agreement Grand Chenier Terminal     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
     Oil Liquids Agreement                11/1/2012                   Associated Liquids Transporation
                                                                     Agreement Grand Chenier Terminal     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Oil Liquids Agreement Amendment/1/2012 Amended effective 12/1/20                Amendment                 Oil Liquids Transportation transferring agreement from apache Corporation to Fieldwood Energy
                                                                                                          LLC by and between Fieldwood Energy LLC and Kinetica and Kinetica
Oil Liquids Agreement Amendment/1/2012 Amended effective 12/1/20                Amendment                 Oil Liquids Transportation transferring agreement from apache Corporation to Fieldwood Energy
                                                                                                          LLC by and between Fieldwood Energy LLC and Kinetica and Kinetica
  Assignment, Assumption and               7/1/2013                 Assignment, Assumption and Consent    Consent to assign liquids separation 7 stabilization agreement as amended dated 1/17/2001
       Consent Agreement                                                        Agreement                 between Manta Ray and Apache (Contract Nos. 101939, 310225 and 106968) by and between
                                                                                                          Fieldwood Energy LLC and Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray
                                                                                                          Offshore Gathering Company, L.L.C.
  Assignment, Assumption and               7/1/2013                 Assignment, Assumption and Consent    Consent to assign liquids separation 7 stabilization agreement as amended dated 1/17/2001
       Consent Agreement                                                        Agreement                 between Manta Ray and Apache (Contract Nos. 101939, 310225 and 106968) by and between
                                                                                                          Fieldwood Energy LLC and Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray
                                                                                                          Offshore Gathering Company, L.L.C.
    Oil Liquids Separtion and             11/1/2010                 Liquids Separtion and Stabilization   LSA by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering Company, L.L.C.
     Stabilization Agreement                                                     Agreement                and Manta Ray Offshore Gathering Company, L.L.C.
    Oil Liquids Separation and             6/1/2014             Third Amendment to Manta Ray Liquids
     Stabilization Agreement                                    Separation and Stabilization Agreement Separation and Stabilization Agreement by and between Fieldwood Energy LLC and Manta Ray
                                                                                                          Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
    Oil Liquids Separation and             6/1/2014             Third Amendment to Manta Ray Liquids
     Stabilization Agreement                                    Separation and Stabilization Agreement Separation and Stabilization Agreement by and between Fieldwood Energy LLC and Manta Ray
                                                                                                          Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
    Oil Liquids Separation and            11/1/2000                 Manta Ray Liquids Separation and      Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
     Stabilization Agreement                                              Stabilization Agreement         Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and            11/1/2000                 Manta Ray Liquids Separation and      Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
     Stabilization Agreement                                              Stabilization Agreement         Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and             3/1/2008              First Amendment to Liquids Separation Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
     Stabilization Agreement                                            and Stailization Agreement        Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and             3/1/2008              First Amendment to Liquids Separation Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
     Stabilization Agreement                                            and Stailization Agreement        Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and            11/1/2000            Second Amendment to Manta Ray Liquids Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
     Stabilization Agreement                                    Separation and Stabilization Agreement Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and            11/1/2000            Second Amendment to Manta Ray Liquids Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
     Stabilization Agreement                                    Separation and Stabilization Agreement Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and            4/27/2004                 Manta Ray Liquids Separation and      Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
     Stabilization Agreement                                              Stabilization Agreement         Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and             3/1/2014            Second Amendment to Liquids Separation LSSA putting all Block on one contract by and between Fieldwood Energy Offshore LLC and
     Stabilization Agreement                                           and Stabilization Agreement        Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and             3/1/2014            Second Amendment to Liquids Separation LSSA putting all Block on one contract by and between Fieldwood Energy Offshore LLC and
     Stabilization Agreement                                           and Stabilization Agreement        Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and             6/1/2014             Third Amendment to Liquids Separation LSSA putting all Blocks on one contract by and between Fieldwood Energy Offshore LLC and
     Stabilization Agreement                                           and Stabilization Agreement        Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
   Oil Liquids and Stabilization           6/1/2014             Third Amendment to Liquids Separation LSSA putting all Blocks on one contract by and between Fieldwood Energy Offshore LLC and
            Agreement                                                  and Stabilization Agreement        Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and             1/1/2015            Fourth Amendment to Liquids Separation LSSA putting all Blocks on one contract by and between Fieldwood Energy Offshore LLC and
     Stabilization Agreement                                           and Stabilization Agreement        Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and             1/1/2015            Fourth Amendment to Liquids Separation LSSA putting all Blocks on one contract by and between Fieldwood Energy Offshore LLC and
     Stabilization Agreement                                           and Stabilization Agreement        Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and             4/1/2018                    Liquids Separtion Agreement        Contract for ST 320 by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering
     Stabilization Agreement                                                                              Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
    Oil Liquids Transporation              4/1/2018             Nautilus Pipeline Company, L.L.C. Liquids LTA for ST 320 by and between Fieldwood Energy LLC and Nautilus Pipeline Company, L.L.C. and
            Agreement                                                   Transportation Agreement          Nautilus Pipeline Company, L.L.C.
    Oil Liquids Transporation              3/1/2014                     First Amendment to Liquids        LTA by and between Fieldwood Energy Offshore LLC and Nautilus Pipeline Company, L.L.C. and
            Agreement                                                   Transportation Agreement          Nautilus Pipeline Company, L.L.C.
    Oil Liquids Transporation              1/1/2015                   Second Amendment to Liquids         LTA by and between Fieldwood Energy Offshore LLC and Nautilus Pipeline Company, L.L.C. and
            Agreement                                                    Transporation Agreement          Nautilus Pipeline Company, L.L.C.
    Oil Liquids Transporation              1/1/2015                   Second Amendment to Liquids         LTA by and between Fieldwood Energy Offshore LLC and Nautilus Pipeline Company, L.L.C. and
            Agreement                                                    Transporation Agreement          Nautilus Pipeline Company, L.L.C.
    Oil Liquids Transporation             11/1/2010                     First Amendment to Liquids        LTA by and between Fieldwood Energy LLC and Nautilus Pipeline Company, L.L.C. and Nautilus
            Agreement                                                   Transportation Agreement          Pipeline Company, L.L.C.
    Oil Liquids Transporation             11/1/2010                     First Amendment to Liquids        LTA by and between Fieldwood Energy LLC and Nautilus Pipeline Company, L.L.C. and Nautilus
            Agreement                                                   Transportation Agreement          Pipeline Company, L.L.C.
    Oil Liquids Transporation              5/1/2015                   Amendment to Transportation         LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
            Agreement                                                            Agreement                Pipeline Company, LLC
    Oil Liquids Transporation              5/1/2015                   Amendment to Transportation         LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
            Agreement                                                            Agreement                Pipeline Company, LLC
    Oil Liquids Transporation              5/1/2015                   Amendment to Transportation         LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
            Agreement                                                            Agreement                Pipeline Company, LLC
    Oil LiquidsTransportation              5/1/2015                   Transportation Agreement for
            Agreement                                                Interruptible Service Under Rate
                                                               Schedule ITS Between Sea Robin Pipeline
                                                                Company, LLC and Fieldwood Energy LLC LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                                          Pipeline Company, LLC
    Oil Liquids Transporation              5/1/2015                   Transportation Agreement for
           Agreement                                                 Interruptible Service Under Rate
                                                               Schedule ITS Between Sea Robin Pipeline
                                                                Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                                          Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Transporation              5/1/2015                   Transportation Agreement for        Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
           Agreement                                                 Interruptible Service Under Rate     Company, LLC and Sea Robin Pipeline Company, LLC
                                                               Schedule ITS Between Sea Robin Pipeline
                                                                Company, LLC and Fieldwood Energy LLC

    Oil Liquids Transporation              5/1/2015                     Transportation Agreement for
           Agreement                                                   Interruptible Service Under Rate
                                                                   Schedule ITS Between Sea Robin Pipeline
                                                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Transporation              5/1/2015                     Transportation Agreement for
           Agreement                                                   Interruptible Service Under Rate
                                                                   Schedule ITS Between Sea Robin Pipeline
                                                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Transporation              5/1/2015                     Transportation Agreement for       Amendment No. 2 by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC
           Agreement                                                   Interruptible Service Under Rate    and Sea Robin Pipeline Company, LLC
                                                                   Schedule ITS Between Sea Robin Pipeline
                                                                   Company, LLC and Fieldwood Energy LLC

    Oil Liquids Transporation              5/1/2015                     Transportation Agreement for
           Agreement                                                   Interruptible Service Under Rate
                                                                   Schedule ITS Between Sea Robin Pipeline
                                                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                                           Company, LLC and Sea Robin Pipeline Company, LLC


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Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                      for Interruptible Service Under Rate Company, LLC and Sea Robin Pipeline Company, LLC
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC

Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                      for Interruptible Service Under Rate Company, LLC and Sea Robin Pipeline Company, LLC
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC

Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                      for Interruptible Service Under Rate Company, LLC and Sea Robin Pipeline Company, LLC
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC

Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                      for Interruptible Service Under Rate Company, LLC and Sea Robin Pipeline Company, LLC
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC

Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                    Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                             Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                    Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                             Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/5/2006           Amendment No. 1 to Liquid
                                      Transportation Agreement No. 1389
                                     between Sea Robin Pipeline company,
                                       LLC and Apache Corporation dated      LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                    5/1/2003                 Pipeline Company, LLC
Oil Liquids Transport   5/5/2006           Amendment No. 1 to Liquid
                                      Transportation Agreement No. 1389
                                     between Sea Robin Pipeline company,
                                       LLC and Apache Corporation dated      LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                    5/1/2003                 Pipeline Company, LLC
Oil Liquids Transport   5/1/2003      Liquid Hydrocarbons Transportation     LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                   Agreement                 Pipeline Company, LLC
Oil Liquids Transport   7/1/2010           Amendment No. 2 to Liquid
                                      Transportation Agreement No. 1389
                                     between Sea Robin Pipeline company,
                                       LLC and Apache Corporation dated      LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                    5/1/2003                 Pipeline Company, LLC
Oil Liquids Transport   7/1/2010           Amendment No. 2 to Liquid
                                      Transportation Agreement No. 1389
                                     between Sea Robin Pipeline company,
                                       LLC and Apache Corporation dated      LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                    5/1/2003                 Pipeline Company, LLC
Oil Liquids Transport   7/1/2010           Amendment No. 2 to Liquid
                                      Transportation Agreement No. 1389
                                     between Sea Robin Pipeline company,
                                       LLC and Apache Corporation dated      LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                    5/1/2003                 Pipeline Company, LLC
Oil Liquids Transport   2/1/2018   Amendment No. 1 to Liquid Hydrocarbon
                                    Separation Agreement dated October 1,
                                   2004 between Trunkline field Services LLC
                                     and Fieldwood Energy LLC‐Agreement
                                                    No. 2430                 LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                             Pipeline Company, LLC
Oil Liquids Transport   2/1/2018   Amendment No. 1 to Liquid Hydrocarbon LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                    Separation Agreement dated October 1, Pipeline Company, LLC
                                   2004 between Trunkline field Services LLC
                                     and Fieldwood Energy LLC‐Agreement
                                                    No. 2430



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      Oil Liquids Transport        2/1/2018    Amendment No. 1 to Liquid Hydrocarbon
                                                Separation Agreement dated October 1,
                                               2004 between Trunkline field Services LLC
                                                 and Fieldwood Energy LLC‐Agreement
                                                               No. 2430                  LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                         Pipeline Company, LLC
      Oil Liquids Transport        2/1/2018    Amendment No. 1 to Liquid Hydrocarbon
                                                Separation Agreement dated October 1,
                                               2004 between Trunkline field Services LLC
                                                 and Fieldwood Energy LLC‐Agreement
                                                               No. 2430                  LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                         Pipeline Company, LLC
      Oil Liquids Transport        2/1/2018    Amendment No. 1 to Liquid Hydrocarbon LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                Separation Agreement dated October 1, Pipeline Company, LLC
                                               2004 between Trunkline field Services LLC
                                                 and Fieldwood Energy LLC‐Agreement
                                                               No. 2430

      Oil Liquids Transport        2/1/2018    Amendment No. 1 to Liquid Hydrocarbon
                                                Separation Agreement dated October 1,
                                               2004 between Trunkline field Services LLC
                                                 and Fieldwood Energy LLC‐Agreement
                                                                No. 2430                 LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                         Pipeline Company, LLC
Oil Liquids Separation Agreement   10/1/2004        Liquid Hydrocarbons Separation       LSA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                              Agreement                  Pipeline Company, LLC
Oil Liquids Separation Agreement   10/1/2004        Liquid Hydrocarbons Separation       LSA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                              Agreement                  Pipeline Company, LLC
    Oil Liquids Hydrocarbon        1/19/2012   Amendment No. 4 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        1/19/2012   Amendment No. 4 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        1/19/2012   Amendment No. 4 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        6/1/2011    Amendment No. 3 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        6/1/2011    Amendment No. 3 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        6/1/2011    Amendment No. 3 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        1/1/2011    Amendment No. 2 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        1/1/2011    Amendment No. 2 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        1/1/2011    Amendment No. 2 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        5/1/2009    Amendment No. 1 to Liquid Hydrocarbon
    Separation Agreement                       Separatiaon Agreement dated 10/1/2004
                                               between Trunkline Field Services, LLC and
                                                          Apache Corporation             Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                                         Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        5/1/2009    Amendment No. 1 to Liquid Hydrocarbon
    Separation Agreement                       Separatiaon Agreement dated 10/1/2004
                                               between Trunkline Field Services, LLC and
                                                          Apache Corporation             Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                                         Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        5/1/2009    Amendment No. 1 to Liquid Hydrocarbon
    Separation Agreement                       Separatiaon Agreement dated 10/1/2004
                                               between Trunkline Field Services, LLC and
                                                          Apache Corporation             Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                                         Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        2/1/2018           Amendment No. 1 to Liquids
                                                Hydrocarbon Transportation Agreement
                                                  Dated October 1, 2004 between Sea
                                                    Robin Pipeline Company, LLC and
                                                 Fieldwood Energy LLC‐Agreement No. Liquid Hydrocarbon Transportation Agreement by and between Fieldwood Energy LLC and Sea
                                                                  2431                   Robin Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        2/1/2018           Amendment No. 1 to Liquids         Liquid Hydrocarbon Transportation Agreement by and between Fieldwood Energy LLC and Sea
                                                Hydrocarbon Transportation Agreement Robin Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                                                  Dated October 1, 2004 between Sea
                                                    Robin Pipeline Company, LLC and
                                                 Fieldwood Energy LLC‐Agreement No.
                                                                  2431
    Oil Liquids Hydrocarbon        2/1/2018           Amendment No. 1 to Liquids
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    Oil Liquids Hydrocarbon        2/1/2018           Amendment No. 1 to Liquids
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       Facility      Facility Owner   Item Number   Serial No.         Location               Item Description      Project Name   UOM   Wt. (lbs) On Hand Qty Total Value   WI%    Net Value
North Warehouse        Fieldwood         54401                        WH/B42/S1          LINER: PWR CYL                             EA                     1     3,975.83    100.0%  3,975.83
North Warehouse        Fieldwood         54402                        WH/B42/FLR         PSTN/ROD ASSY: 10‐1/2",                    EA                     1 15,303.69       100.0% 15,303.69
                                                                                         GMWA,
North Warehouse       Fieldwood         54403                         WH/B42/FLR         PSTN/ROD ASSY: 28",                       EA                      1    21,498.05    100.0%   21,498.05
                                                                                         GMWA, ROD
North Warehouse       Fieldwood         54406                         WH/B42/S1          PSTN: 18", PISTON, GMVC                   EA                      1    19,676.18    100.0%   19,676.18
                                                                                         1ST STGE
North Warehouse       Fieldwood         54407                          B3/B3/S2          LINER: 2ND STGE CYL                       EA                      1     2,542.05    100.0%    2,542.05
North Warehouse       Fieldwood         54408                         WH/B41/S2          LINER: GMVC 1ST STGE                      EA                      1     2,186.24    100.0%    2,186.24
North Warehouse       Fieldwood         54409                         WH/B37/FL          HD: 2ND STGE CRNKEND                      EA                      1     4,372.48    100.0%    4,372.48

North Warehouse       Fieldwood         54411                       WH/SE Wall/FLR       CRNKSHFT: GMVA/GMVC‐                      EA                      1    82,650.64    100.0%   82,650.64
                                                                                         12
North Warehouse       Fieldwood         54412                       WH/SE Wall/FLR       CRNKSHFT: GMVA/GMVC‐                      EA                      2    81,082.47    100.0%   81,082.47
                                                                                         12
North Warehouse       Fieldwood         54419                          B3/B3/S2          PMP: GMVA LUBE OIL                        EA                      1     5,829.98    100.0%    5,829.98
North Warehouse       Fieldwood         54420                           WH/FL            CRSSHD ASSY:                              EA                      1     6,095.65    100.0%    6,095.65
                                                                                         GMVA/VC/VH
North Warehouse       Fieldwood         54421                         WH/B41/FL          CRSSHD ASSY:                              EA                      1     6,095.65    100.0%    6,095.65
                                                                                         GMVA/VC/VH
North Warehouse       Fieldwood         54422                           WH/FL            CRSSHD ASSY:                              EA                      1     7,703.92    100.0%    7,703.92
                                                                                         GMVA/VC/VH
North Warehouse       Fieldwood         54445                          B3/B3/S2          GEAR: GMVC BLOWER                         EA                      1     3,352.24    100.0%    3,352.24
                                                                                         DRV
North Warehouse       Fieldwood         54447                         WH/B42/FLR         PSTN/ROD ASSY: 18", 1ST                   EA                      1    14,956.39    100.0%   14,956.39
                                                                                         STGE
North Warehouse       Fieldwood         54448                         WH/B42/S1          LINER: 18", 1ST STGE                      EA                      1     1,967.62    100.0%    1,967.62
                                                                                         COMPRSSR
North Warehouse       Fieldwood         54449                         WH/B42/S1          LINER: 15", 2ND STGE                      EA                      1     1,785.43    100.0%    1,785.43
                                                                                         COMPRSSR
North Warehouse       Fieldwood         54450                         WH/B41/S2          LINER: 9‐3/4", 3RD STGE                   EA                      1     1,909.90    100.0%    1,909.90
                                                                                         COMPRSSR
North Warehouse       Fieldwood         54452                          B3/B1/S1          GEAR: GMV3‐FB, PARTCO                     EA                      1    16,032.44    100.0%   16,032.44
                                                                                         BLOWER W/HUB

North Warehouse       Fieldwood         54456                         WH/B42/FLR         PSTN/ROD ASSY: 9‐3/4",                    EA                      1     2,399.73    100.0%    2,399.73
                                                                                         3RD STGE
North Warehouse       Fieldwood         54457                         WH/B43/S1          PSTN/ROD ASSY: 9‐5/8",                    EA                      1    16,032.44    100.0%   16,032.44
                                                                                         GMWA,
North Warehouse       Fieldwood         54458                         WH/B43/FLR         PSTN/ROD ASSY: 17‐1/4",                   EA                      1    18,636.17    100.0%   18,636.17
                                                                                         GMVA‐8 1ST S TGE

North Warehouse       Fieldwood         54460                          B3/B2/FLR         ROD: ALL GMV PWR                          EA                      2     1,821.87    100.0%    1,821.87
                                                                                         PISTON
North Warehouse       Fieldwood         54468                          B3/B2/S3          PMP: GMVA H2O                             EA                      1    13,481.83    100.0%   13,481.83
                                                                                         W/GSKTS
North Warehouse       Fieldwood         54469                         WH/B41/FLR         CRSSHD ASSY:                              EA                      1    13,051.81    100.0%   13,051.81
                                                                                         GMVA/VC/VH
North Warehouse       Fieldwood         54480                         WH/B43/FLR         PSTN/ ROD ASSY: 16‐1/4",                  EA                      1    18,408.45    100.0%   18,408.45
                                                                                         2ND STGE,
North Warehouse       Fieldwood         54481                       Bay3/N Wall/FLR      PSTN/ROD ASSY: GMWE                       EA                      1     3,223.36    100.0%    3,223.36
                                                                                         PWR,FITS GMWE‐12

North Warehouse       Fieldwood         54486                         WH/B43/FLR         PSTN/ROD ASSY: GMWA                       EA                      1    21,945.24    100.0%   21,945.24

North Warehouse       Fieldwood         56001                         WH/B41/S1          BEARING: TLA COMPRSSR                     EA                      5       725.83    100.0%     725.83
                                                                                         RD, BEARING

North Warehouse       Fieldwood         56002                         WH/B41/S1          BEARING: TLA MAIN                         EA                      7       635.76    100.0%      635.76
North Warehouse       Fieldwood         56633                         B3/B5BS3           KT: RPR CYL, TLA PWR                      EA                      5       725.10    100.0%      725.10
North Warehouse       Fieldwood         56644                          B3/B4/S2          SPRCKT: TLA CRNKSHFT                      EA                      1     6,085.04    100.0%    6,085.04

North Warehouse       Fieldwood         56645                          B3/B4/S3          SPRCKT: TLA                               EA                      1     3,377.74    100.0%    3,377.74
North Warehouse       Fieldwood         56646                          B3/B3/S2          SPRCKT: HYD PUMP &                        EA                      1     2,135.23    100.0%    2,135.23
                                                                                         DRV
North Warehouse       Fieldwood         56648                         WH/B41/S1          LINE: CYL, TLA 2ND STG                    EA                      1     7,817.91    100.0%    7,817.91
North Warehouse       Fieldwood         56653                    WH/B43/S2,TOP IN BACK   PSTN: TLA 2ND STGE                        EA                      1    20,689.57    100.0%   20,689.57
North Warehouse       Fieldwood         56654                         WH/B44/S1          PSTN: TLA 1ST STGE                        EA                      1    22,170.79    100.0%   22,170.79
North Warehouse       Fieldwood         56657                         B3/B4/FLR          PMP: SHFT, TLA IDLER                      EA                      1     1,136.85    100.0%    1,136.85
North Warehouse       Fieldwood         56658                          B3/B4/S3          PMP: SHFT, TLA DRIVE                      EA                      1     3,188.27    100.0%    3,188.27
North Warehouse       Fieldwood         56659                          B3/B4/S3          PMP: SHFT, TLA WATER                      EA                      1     1,789.07    100.0%    1,789.07
                                                                                         PUMP
North Warehouse       Fieldwood         56663                         WH/B41/S2          SHOE: TLA TPE XHD                         EA                      1     2,514.18    100.0%    2,514.18
                                                                                         SLIPPER
North Warehouse       Fieldwood         56695                          B3/B4/FLR         NUT: TLA CONNECTING                       EA                      4       397.17    100.0%     397.17
                                                                                         ROD
North Warehouse       Fieldwood         56744                          B3/B4/FLR         GEAR: TLA BULL TIMING                     EA                      1     1,898.39    100.0%    1,898.39
                                                                                         CNTRL
North Warehouse       Fieldwood         56746                          B3/B4/S3          GEAR: TLA OIL PUMP                        EA                      2     3,800.42    100.0%    3,800.42
North Warehouse       Fieldwood         56771                          B3/B4/FLR         LABYRINTH: TLA TURBINE                    EA                      1     1,745.35    100.0%    1,745.35

North Warehouse       Fieldwood         56772                          B3/B4/FLR         LABYRINTH: TLA                            EA                      2       626.73    100.0%      626.73
North Warehouse       Fieldwood         56779                          B3/B4/FLR         CARRIER: TLA BULL GEAR                    EA                      3     1,286.24    100.0%    1,286.24

North Warehouse       Fieldwood         56780                          B3/B4/FLR         CARRIER: TLA IDLER GEAR                   EA                      3     1,187.86    100.0%    1,187.86

North Warehouse       Fieldwood         56782                          B3/B4/FLR         LINKAGE: TLA LWR/CNTRL                    EA                      2     1,435.63    100.0%    1,435.63

North Warehouse       Fieldwood         56788                          B3/B4/FLR         SHFT COMPRSSR: TLA                        EA                      2       739.68    100.0%     739.68
                                                                                         TIMER DR
North Warehouse       Fieldwood         56799                          B3/B4/S3          VLV: TLA FUEL                             EA                      6     2,288.27    100.0%    2,288.27
North Warehouse       Fieldwood         56800                          B3/B5/S3          SPRCKT: TLA CRNKSHFT                      EA                      1     6,512.01    100.0%    6,512.01

North Warehouse       Fieldwood         56802                         WH/B44/S2          PSTN/ROD ASSY: TLA                        EA                      1     9,300.03    100.0%    9,300.03
                                                                                         MATL NO DRAW TYP E
North Warehouse       Fieldwood         56806                          B3/B6/S1          ROD: TLA W/LCKNG                          EA                      1    24,799.27    100.0%   24,799.27
                                                                                         STDDS & PN SZ W/RD CAP

North Warehouse       Fieldwood         56808                          B3/B3/S2          WHEEL: TLA TRBN                           EA                      1    23,760.81    100.0%   23,760.81
North Warehouse       Fieldwood         56809                         WH/B30/S1          SCRN ASSY: TLA DWG                        EA                      1     3,917.02    100.0%    3,917.02
North Warehouse       Fieldwood         56810                          B3/B4/S3          JT: EXPNSN, TLA                           EA                      2     1,435.63    100.0%    1,435.63
North Warehouse       Fieldwood         56811                          B3/B1/S2          JT: EXPNSN, TLA EXHAUST                   EA                      1       980.17    100.0%      980.17

North Warehouse       Fieldwood         56815                          B3/B10/S2         INTCLR ASSY: TLA SCAV                     EA                      6     4,339.69    100.0%    4,339.69
                                                                                         AIR
North Warehouse       Fieldwood         56816                          B3/B4/FLR         NUT: TLA ROD ALL STGS                     EA                      1     1,012.96    100.0%    1,012.96

North Warehouse       Fieldwood         56817                         B3/B4/S3           RING: TLA TURB NZZLE                      EA                      2     8,435.25    100.0%    8,435.25
North Warehouse       Fieldwood         58585                       WH/SE Wall/FLR       CRNKSHFT                                  EA                      1    15,303.69    100.0%   15,303.69
North Warehouse       Fieldwood         59286                        WH/B43/S1           PSTN/ROD ASSY: 9‐3/4",                    EA                      1    12,227.14    100.0%   12,227.14
                                                                                         GMV, W/ 3" ROD

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       Facility      Facility Owner   Item Number   Serial No.        Location            Item Description     Project Name   UOM   Wt. (lbs) On Hand Qty Total Value   WI%    Net Value
North Warehouse        Fieldwood         71926                     Bay3/N Wall/FLR   STDDS: STEP, CYL. W/                      EA                    24         72.87   100.0%     72.87
                                                                                     NUTS 4 SUCT
North Warehouse       Fieldwood         71936                         B2/B1/S2       CYL: HYD, I/BRD, UNRPRD                  EA                      1     1,020.25    100.0%    1,020.25

North Warehouse       Fieldwood         71937                         B2/B1/S2       CYL, HYD, I/BRD, UNRPRD                  EA                      1     1,020.25    100.0%    1,020.25

North Warehouse       Fieldwood         71939                         B2/B4/IS       CYL: COMPRSSR, 8", W/                    EA                      1     6,558.73    100.0%    6,558.73
                                                                                     ALL HD STDDS & NTS

North Warehouse       Fieldwood         71948                         B2/B5/S1       VLV CHR: UNRPR'D                         EA                      8       153.04    100.0%      153.04
North Warehouse       Fieldwood         71952                         B2/B1/S2       CYL: CMPRSSR, 8", W/ IB                  EA                      1     3,497.99    100.0%    3,497.99
                                                                                     HEAD & P. GL ND
North Warehouse       Fieldwood         71955                         B2/B4/S1       PSTN: COMP, C.I., W/2                    EA                      1     1,311.75    100.0%    1,311.75
                                                                                     STEEL DONUTS
North Warehouse       Fieldwood         71971                         B2/B1/S2       PSTN/ ROD ASSY: X 2",                    EA                      1     1,289.88    100.0%    1,289.88
                                                                                     NO RINGS, TUNGSTEN
North Warehouse       Fieldwood         71975                         B2/B1/S2       CRSSHD: GUIDE, WBF‐74,                   EA                      1     3,279.36    100.0%    3,279.36
                                                                                     BORE
North Warehouse       Fieldwood         71977                         B2/B1/S2       DIST PC: WBF‐74, NEW                     EA                      1     2,040.49    100.0%    2,040.49
                                                                                     OEM 14" CYL
North Warehouse       Fieldwood         71980                        WH/B29/S1       FAN ASSY: 7 BLADE 132"                   EA                      1     2,186.24    100.0%    2,186.24
                                                                                     DIA AIR‐X‐CHANGER

North Warehouse       Fieldwood         71983                        WH/B29/S1       FAN BLDES: FIBERGLASS                    EA                      6       364.37    100.0%     364.37
                                                                                     62" L X 11‐1/1 4" W

North Warehouse       Fieldwood         72001                        WH/B8/S2        PMP ASSY: LUBE, MVS,                     EA                      1     2,186.24    100.0%    2,186.24
                                                                                     W/ ATMOS IND. &
North Warehouse       Fieldwood         72002                        WH/B8/S2        PMP ASSY: LUBE, MVS,                     EA                      1     2,186.24    100.0%    2,186.24
                                                                                     W/ ATMOS IND. &
North Warehouse       Fieldwood         72013                        WH/B8/FLR       HD: CYL, PWR, RECOND                     EA                      2     1,311.75    100.0%    1,311.75

North Warehouse       Fieldwood         72025                        WH/B38/S1       MANIFOLD: INTAKE                         EA                      2       728.75    100.0%     728.75
North Warehouse       Fieldwood         72027                        WH/B36/S1       MANIFOLD: EXHST,                         EA                      3       655.87    100.0%     655.87
                                                                                     P9390, SECTIONS
North Warehouse       Fieldwood         72037                        WH/B6/S2        ROD: CONN, P9390, US'D                   EA                     16       510.12    100.0%     510.12

North Warehouse       Fieldwood         81982                        B3/B2/FLR       ROD: ARTIC'LD, GMVC                      EA                      1     1,366.40    100.0%    1,366.40
North Warehouse       Fieldwood         81984                        B3/B4/S3        SPRCKT: TLA SGL SPLIT                    EA                      1     6,635.24    100.0%    6,635.24
North Warehouse       Fieldwood         81985                        B3/B4/FLR       SPRCKT: TLA IDLER                        EA                      1     1,923.89    100.0%    1,923.89
                                                                                     W/PUMP
North Warehouse       Fieldwood         81987                        WH/B41/S2       SHOE: GMVC XHD                           EA                      1     1,689.76    100.0%    1,689.76
North Warehouse       Fieldwood         89087                        WH/B43/S1       PSTN/ROD ASSY: SZ 28"                    EA                      1     9,838.09    100.0%    9,838.09
                                                                                     US'D C7120‐3A 3172

North Warehouse       Fieldwood          96073                       WH/B8/S2        PMP,HYD: 5.2gpm                          EA                      1     9,793.64    100.0%    9,793.64
North Warehouse       Fieldwood          96074                       WH/B8/S2        PMP,HYD: 1.9gpm                          EA                      1     9,793.64    100.0%    9,793.64
North Warehouse       Fieldwood         112605                       B3/B8/FLR       KT: RPR VRA                              EA                      3       852.63    100.0%      852.63
North Warehouse       Fieldwood         112606                       B3/B10/S1       VLV                                      EA                      3     1,093.12    100.0%    1,093.12
North Warehouse       Fieldwood         112608                       B3/B10/S1       VLV                                      EA                      6       655.87    100.0%      655.87
North Warehouse       Fieldwood         197167                       WH/B25/S2       TRBCHRGR: VTC254 BBC                     EA                      1    33,066.91    100.0%   33,066.91
                                                                                     W/MNTNG GSKT
North Warehouse       Fieldwood         200368                      WH/B30/FLR       ROTOR ASSY, DEEPWELL                     EA                      1     7,651.85    100.0%    7,651.85
                                                                                     PUMP
North Warehouse       Fieldwood         200371                       B2/B10/FLR      CYL: WRTHGTN SIZE 9‐                     EA                      1    10,931.21    100.0%   10,931.21
                                                                                     1/4"
North Warehouse       Fieldwood         200372                       B2/B11/FLR      CYL: WRTHGTN, SIZE 7"                    EA                      1     8,744.97    100.0%    8,744.97
North Warehouse       Fieldwood         200379                       B2/B11/FLR      CYL: WRTHGTN SIZE 7.007                  EA                      1     9,838.09    100.0%    9,838.09

North Warehouse       Fieldwood         200380                       WH/B5/S2        IMPELLER: TURBINE                        EA                      1    16,560.78    100.0%   16,560.78
North Warehouse       Fieldwood         200381                       WH/B5/S2        IMPELLER: 'C30' B STG,                   EA                      1    17,289.53    100.0%   17,289.53
                                                                                     SOLAR
North Warehouse       Fieldwood         200387                       WH/B11/S1       COMPR: AIR                               EA                      1     6,194.35    100.0%    6,194.35
North Warehouse       Fieldwood         200390                       WH/B27/S2       GEAR: BX TYPE, 206HS,                    EA                      1    29,149.89    100.0%   29,149.89
                                                                                     RAT 1.262‐1
North Warehouse       Fieldwood         200400                       WH/B5/S2        BEARING ASSY: C30 SLR                    EA                      1    21,060.80    100.0%   21,060.80
                                                                                     GC DMPR SUCT
North Warehouse       Fieldwood         200401                       WH/B5/S2        BEARING ASSY: C30 DIS                    EA                      1    18,346.21    100.0%   18,346.21
                                                                                     SLR GC TILT PAD
North Warehouse       Fieldwood         200414                        B2/B7/S1       CYL: 6, WRTHGTN                          EA                      1     8,744.97    100.0%    8,744.97
                                                                                     COMPRSSR
North Warehouse       Fieldwood         200421                       B2/B9/FLR       CYL: 15", COMPRSSR, NO                   EA                      1    14,574.95    100.0%   14,574.95
                                                                                     STDDS F/VLV CAPS
North Warehouse       Fieldwood         200422                        B2/B5/S1       CYL: 9", COMPRSSR                        EA                      1    10,931.21    100.0%   10,931.21
                                                                                     #10674‐E I/R ‐RDS
North Warehouse       Fieldwood         200423                       B2/B11/S1       CYL: 11‐1/4", COMPRSSR                   EA                      1    13,117.45    100.0%   13,117.45
                                                                                     W/ 11.287 BORE

North Warehouse       Fieldwood         200424                        B2/B5/S2       CYL: 5", COMPRSSR I/R‐                   EA                      1     9,327.97    100.0%    9,327.97
                                                                                     RDS
North Warehouse       Fieldwood         200426                      WH/B20/S1        TURBINE                                  EA                      1     3,643.74    100.0%    3,643.74
North Warehouse       Fieldwood         202849                        YD/R4          HEAT EXCHNGR                             EA                      1    22,226.79    100.0%   22,226.79
North Warehouse       Fieldwood         202850                      WH/B38/FLR       PMP: CMSD 4X6X10.5                       EA                      1    65,000.00    100.0%   65,000.00
North Warehouse       Fieldwood         202854                         Bay 6         COMPR: PKG                               EA                      1    22,117.48    100.0%   22,117.48
North Warehouse       Fieldwood         202876                        YD/R4          ENG: NG 399                              EA                      1          ‐      100.0%         ‐
North Warehouse       Fieldwood         227188                       B3/B6/S1        CYL: CPR GMWA‐9‐1A                       EA                      1     7,651.85    100.0%    7,651.85
                                                                                     PWR CYLINDERS
North Warehouse       Fieldwood         228011                          Bay 2        PSTN/ROD ASSY: 29‐1/2",                  EA                      1          ‐      100.0%         ‐
                                                                                     CPR F/ V250 COM
North Warehouse       Fieldwood         228012                        B2/B2/S1       PSTN ROD: I/R RDS 2.125                  EA                      1     2,379.02    100.0%    2,379.02
                                                                                     IN CRBDE CTD
North Warehouse       Fieldwood         229324                       WH/B44/S1       PSTN/ROD ASSY: TLA                       EA                      1     4,733.25    100.0%    4,733.25
                                                                                     COMPRSSR
North Warehouse       Fieldwood         233282                     Linear Controls   ENG:NG,235hp,1200rpm                     EA                      1    26,909.80    100.0%   26,909.80

North Warehouse       Fieldwood         233305                        B1/Floor       ENG:DIESEL,318hp,8,2100                  EA                      1    13,481.83    100.0%   13,481.83
                                                                                     rpm
North Warehouse       Fieldwood         233453                       Yard/Row 3      GEN:DIESEL,30kW,208/48                   EA                      1     9,291.53    100.0%    9,291.53
                                                                                     0V,AC,1800rpm, 3ph
North Warehouse       Fieldwood         241167                       B2/B6/FLR       CYL: 28", VRA CLRK                       EA                      1     3,079.21    100.0%    3,079.21
                                                                                     COMPRSSR
North Warehouse       Fieldwood         241168                       B2/B7/FLR       CYL: 17", VRA CLRK                       EA                      1     2,309.41    100.0%    2,309.41
                                                                                     COMPRSSR
North Warehouse       Fieldwood         241169                       B2/B2/FLR       CYL: 9, VRA CLRK                         EA                      1     1,539.61    100.0%    1,539.61
                                                                                     COMPRSSR
North Warehouse       Fieldwood         241173                       WH/B44/FL       PSTN/ROD ASSY: VRA                       EA                      1     1,539.61    100.0%    1,539.61
                                                                                     CLRK COMPRSSR
North Warehouse       Fieldwood         241179                      WH/B1/Floor      HD: VRA CLRK O/BRD                       EA                      1     3,849.02    100.0%    3,849.02
                                                                                     UNLDR
North Warehouse       Fieldwood         241181                      B10K/B36/S1      VLV CHR: VRA CLRK VLV                    EA                     12       173.21    100.0%     173.21
                                                                                     CHRS F/13"

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       Facility             Facility Owner         Item Number   Serial No.         Location             Item Description          Project Name        UOM   Wt. (lbs) On Hand Qty Total Value   WI%    Net Value
North Warehouse               Fieldwood               241182                    B3/B10,11,12/FLR   PSTN: VRA CLRK PWR                                   EA                     6     2,169.33    100.0%  2,169.33
North Warehouse               Fieldwood               241185                        B3/B9/S1       ROD: VRA CLRK ART                                    EA                     1 11,708.19       100.0% 11,708.19
                                                                                                   CONN
North Warehouse               Fieldwood              241189                        B3/B10/S3       PIN: WRIST, VRA CLRK                                EA                      4     1,255.26    100.0%    1,255.26
                                                                                                   PWR PISTON
North Warehouse               Fieldwood              241191                        B3/B8/S1        TENSIONER: VRA CLRK                                 EA                      2     1,196.78    100.0%    1,196.78
                                                                                                   CHAIN
North Warehouse               Fieldwood              241202                        B3/B2/S2        GVRNR: GMVC‐12                                      EA                      1     8,409.66    100.0%    8,409.66
North Warehouse               Fieldwood              241203                        B3/B1/FLR       JUMPER: H2O, GMVC‐12                                EA                     12       148.50    100.0%      148.50
                                                                                                   HD TO CYL
North Warehouse               Fieldwood              241205                        B3/B3/S2        JUMPER: H2O, GMVC‐12                                EA                      6       111.47    100.0%     111.47
                                                                                                   CYL TO RAIL
North Warehouse               Fieldwood              241216                        B3/B3/S3        EXHST: ELBOW, GMVC‐                                 EA                      4       857.27    100.0%     857.27
                                                                                                   12, GMVA‐34‐2C
North Warehouse               Fieldwood              251608                         B2/Yard        ENG                                                 EA                      1          ‐      100.0%         ‐
North Warehouse               Fieldwood              252667                        B2/B5/S2        CYL: 6", WHT SUPR                                   EA                      1     4,862.67    100.0%    4,862.67
                                                                                                   COMPRSSR CMPLT
North Warehouse               Fieldwood              323171                       WH/B41/S1        PSTN: RING FOR 23.00"                               EA                      2       238.14    100.0%     238.14
                                                                                                   PISTON
North Warehouse               Fieldwood              323172                       WH/B41/S1        PSTN: RING FOR 16.50"                               EA                      2       223.27    100.0%     223.27
                                                                                                   PISTON
North Warehouse               Fieldwood              323173                       WH/B41/S1        PSTN: RING FOR 10.50"                               EA                      3       139.85    100.0%     139.85
                                                                                                   PISTON
North Warehouse               Fieldwood              326861                       WH/B41/FLR       PSTN: 10.50", PART #579‐                            EA                      1     6,451.03    100.0%    6,451.03
                                                                                                   062‐001
North Warehouse               Fieldwood              326862                       WH/B44/FLR       PSTN: ROD FOR 10.50",                               EA                      1     3,373.74    100.0%    3,373.74
                                                                                                   PISTON
North Warehouse               Fieldwood              326863                       WH/B44/FLR       PSTN: ROD FOR 23.00",                               EA                      1     3,373.74    100.0%    3,373.74
                                                                                                   PISTON
North Warehouse               Fieldwood              326864                       WH/B44/FLR       PSTN: ROD FOR 16.50",                               EA                      1     3,373.74    100.0%    3,373.74
                                                                                                   PISTON
North Warehouse               Fieldwood              328243                       WH/B41/FLR       PSTN: 16.50", PART #579‐                            EA                      1    18,426.94    100.0%   18,426.94
                                                                                                   082‐201
North Warehouse               Fieldwood              329558                      Linear Controls   ENG:NG,423hp,12,7in,H2                              EA                      1    84,000.00    100.0%   84,000.00
                                                                                                   0,900rpm
North Warehouse               Fieldwood              333387                       WH/B41/FLR       PSTN: 23.00", PART #579‐                            EA                      1    33,442.43    100.0%   33,442.43
                                                                                                   303‐201
North Warehouse               Fieldwood              348619                        B1/B1/S1        MTR,ELEC:TEFC,3600rpm,                              EA                      1     7,220.06    100.0%    7,220.06
                                                                                                   150hp,445LP
North Warehouse               Fieldwood              370132                      Linear Controls   ENG:NG,85‐                                          EA                      1    60,750.95    100.0%   60,750.95
                                                                                                   220hp,1905in3,6,7IN
North Warehouse               Fieldwood              500133                        Fluid Crane     SUMP                                                EA                      1    26,250.00    100.0%   26,250.00
                                                                                                   TANK,4'WX10'LX4'H,ATM
                                                                                                   OS,EXT,16" PFLA
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                   Lot No. 61      1‐48" X 15' X 230 WP L.P.             ?             EA                      1     4,850.00    100.0%    4,850.00
                                                                                                   Horizontal Separator (No
                                                                                                   Skid)
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                   Lot No. 64      24" X 10' Vertical H.P.        Eugene Island        EA                      1     1,770.00    100.0%    1,770.00
                                                                                                   Separator w/Skid                Block#266-B
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                   Lot No. 65      12" X 6' Vertical LP Fuel            ?              EA                      1     1,235.00    100.0%    1,235.00
                                                                                                   Gas Scrubber (No Skid)

Acadian ‐ Lafayette    Acadian Contractors, Inc.                                   Lot No. 66      12" X 6' Vertical LP Fuel    South Marsh Island     EA                      1     1,235.00    100.0%    1,235.00
                                                                                                   Gas Scrubber w/Skid                11-N

Acadian ‐ Lafayette    Acadian Contractors, Inc.                                   Lot No. 70      1‐120 Degree Boat            South Marsh Island     EA                      1       820.00    100.0%     820.00
                                                                                                   Landing with 48" Plate              11
                                                                                                   Doublers
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                   Lot No. 73      24" X 10' Vertical H.P.               ?             EA                      1     1,625.00    100.0%    1,625.00
                                                                                                   Separator w/Skid
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                   Lot No. 74      30" X 10' Vertical LP Test            ?             EA                      1     1,895.00    100.0%    1,895.00
                                                                                                   Separator w/Skid
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                   Lot No. 77      16" X 8' Vertical LP         South Marsh Island     EA                      1     1,455.00    100.0%    1,455.00
                                                                                                   Separator (No Skid)                 10
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                   Lot No. 90      1‐48" X 10' X 275 WP L.P.    South Marsh island     EA                      1     4,120.00    100.0%    4,120.00
                                                                                                   Horizontal Scrubber             Block# 48 E
                                                                                                   Vessel NO SKID

Acadian ‐ Lafayette    Acadian Contractors, Inc.                                   Lot No. 96      1‐Glycol Reboiler with         High Island Block#   EA                      1     8,145.00    100.0%    8,145.00
                                                                                                   Stack & Stihl Column                  467 A
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                  Lot No. 100      48" X 10' X 275# W.P.                  N/A          EA                      1     4,175.00    100.0%    4,175.00
                                                                                                   Horizontal Water
                                                                                                   Skimmer with Skid
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                  Lot No. 101      42" X 15' X 1440# W.P.                 N/A          EA                      1     3,895.00    100.0%    3,895.00
                                                                                                   Horizontal 3‐Phase
                                                                                                   Separator "No Skid"
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                  Lot No. 102      42" X 12' 6" X 125# W.P.               N/A          EA                      1     3,215.00    100.0%    3,215.00
                                                                                                   Horizontal Skimmer with
                                                                                                   Skid
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                  Lot No. 103      20" X 7' 6" X 275 W.P.                 N/A          EA                      1     1,210.00    100.0%    1,210.00
                                                                                                   Vertical Separator with
                                                                                                   Skid
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                  Lot No. 104      30" X 10' X 1480 W.P.                  N/A          EA                      1     2,150.00    100.0%    2,150.00
                                                                                                   Horizontal Separator with
                                                                                                   Skid
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                  Lot No. 105      One Dual Meter Run Skid                N/A          EA                      1     1,385.00    100.0%    1,385.00
                                                                                                   with Pig Traps
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                  Lot No. 106      30" X 6' X 150# W.P.                   N/A          EA                      1     1,665.00    100.0%    1,665.00
                                                                                                   Vertical Scrubber Vessel
                                                                                                   with Skid
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                   Lot No. KK      30" X 4' X 250 WP Vertical       From Offshore      EA                      1     1,570.00    100.0%    1,570.00
                                                                                                   Scrubber Vessel w/Skid              Specialty
                                                                                                                                    Fabricators in
                                                                                                                                        Houma
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                  Lot No. CCC      Line Heater/Reboiler             Eugene Island      EA                      1    12,275.00    100.0%   12,275.00
                                                                                                   Package 8' W X 22' 6"L X         Block# 212 "A"
                                                                                                   10' 1" T
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                  Lot No. DDD      3‐Vapor Recovery Stands          Eugene Island      EA                      1       235.00    100.0%     235.00
                                                                                                                                    Block# 212 "A"
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                  Lot No. EEE      1‐Heater Stack, 1‐Still          Eugene Island      EA                      1       355.00    100.0%     355.00
                                                                                                   Column, and Misc Pipe            Block# 212 "A"
                                                                                                   and Hardware for Line
                                                                                                   Heater/Reboiler
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                  Lot No. 107      1‐Pallet of Used Spool          West Cameron        EA                      1       295.00    100.0%     295.00
                                                                                                   Piping                           Block# 165 "A"
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                  Lot No. 109      1‐Filter Separator with        High Island Block#   EA                      1     1,155.00    100.0%    1,155.00
                                                                                                   Skid (5' X 12' X 8' Tall) Est.       A376 B
                                                                                                   10,000#
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                  Lot No. 110      1‐Float Cell with Skid (7' X High Island Block#     EA                      1     1,490.00    100.0%    1,490.00
                                                                                                   12' X 9' Tall) Est. 10,000#          A376 B


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       Facility              Facility Owner         Item Number        Serial No.            Location             Item Description         Project Name      UOM   Wt. (lbs) On Hand Qty Total Value   WI%    Net Value
Acadian ‐ Lafayette     Acadian Contractors, Inc.                                           Lot No. 111      Two (2) Plate Heat         High Island Block#    EA                     1       475.00    100.0%    475.00
                                                                                                             Exchanger Skids                A595 "CF"
Acadian ‐ Lafayette     Acadian Contractors, Inc.                                           Lot No. 112      1‐Piggy‐Back Water         Main Pass Block#     EA                      1     5,025.00    100.0%    5,025.00
                                                                                                             Skimmer & Float Cell             140-A
                                                                                                             Package (Newly
                                                                                                             Fabricated)
Acadian ‐ Lafayette     Acadian Contractors, Inc.                                           Lot No. 113      1‐Verticle Water Skimmer Vermilion Block# 60-   EA                      1     3,375.00    100.0%    3,375.00
                                                                                                             Vessel with Skid (60" X             A
                                                                                                             12" X 15,000#) (MBM‐
                                                                                                             1800)
Acadian ‐ Lafayette     Acadian Contractors, Inc.                                           Lot No. 114      1‐Verticle Floatation Unit  West Cameron        EA                      1       655.00    100.0%     655.00
                                                                                                             (4M Spinsep) with Skid        Block# 68-A
                                                                                                             (ABM‐1908) (10,150#)
                                                                                                             (Monosep Corporation‐
                                                                                                             Serial# MCO‐2076)

Acadian ‐ Lafayette     Acadian Contractors, Inc.                                           Lot No. 115      1‐Verticle Test Separator   West Cameron        EA                      1       865.00    100.0%     865.00
                                                                                                             with Skid (MBD‐4501) (36     Block# 68-A
                                                                                                             X 10 Foot X 17,000#)
                                                                                                             (2,000 WP @ 100 deg,
                                                                                                             MFG 1982)

Acadian ‐ Lafayette     Acadian Contractors, Inc.                                           Lot No. 116      1‐Horizontal 3‐Phase H.P.   West Cameron        EA                      1     1,435.00    100.0%    1,435.00
                                                                                                             Production Separator         Block# 68-A
                                                                                                             with Skid (MBD‐4502)
                                                                                                             (60" X 15') (1440 @ 100
                                                                                                             Deg‐Yr Built 1982)

Acadian ‐ Lafayette     Acadian Contractors, Inc.                                           Lot No. 117      1‐Vertical Vent Scrubber    West Cameron        EA                      1     1,775.00    100.0%    1,775.00
                                                                                                             Package with Skid (MBF‐      Block# 68-A
                                                                                                             2401) (30" X 10' X
                                                                                                             22,000#)
Acadian ‐ Lafayette     Acadian Contractors, Inc.                                           Lot No. 118      1‐Horizontal 2‐Phase Vent   East cameron        EA                      1     3,545.00    100.0%    3,545.00
                                                                                                             Scrubber Vessel W/Skid      Block# 320-A
                                                                                                             (48" X 10' X 150# @ 100
                                                                                                             Deg) Built 1987

Viking ‐ Henderson       Viking Fabricators, LLC                                                             Handrails                                       EA                    179       315.00    100.0%     315.00
Viking ‐ Youngsville     Viking Fabricators, LLC                                                             10 FT. LONG LADDER                              EA                      1       763.87    100.0%     763.87
                                                                                                             CAGES
Viking ‐ Youngsville     Viking Fabricators, LLC                                                             12'‐6" LONG LADDER                              EA                     84     1,291.85    100.0%    1,291.85
                                                                                                             CAGES
Viking ‐ Youngsville     Viking Fabricators, LLC                                                             10 FT. LONG LADDERS                             EA                     81       622.75    100.0%      622.75
Viking ‐ Youngsville     Viking Fabricators, LLC                                                             20 FT. LONG LADDERS                             EA                    107     1,236.43    100.0%    1,236.43
Linear ‐ Lafayette           Linear Controls         2124118‐01       11233630‐1          ATS ‐ OUTDOOR      ASSY, TREE CAP, BP                              EA       7,155          1     5,545.13    100.0%    5,545.13
                                                                                                             TROIKA
Linear ‐ Lafayette          Linear Controls          2124617‐01       2659561170          ATS ‐ OUTDOOR      ASSY, RIG TEST SKID,                            EA     11,000           1     8,525.00    100.0%    8,525.00
                                                                                                             SUBSEA TREE,
Linear ‐ Lafayette          Linear Controls          2124117‐07      400257303‐01         ATS ‐ OUTDOOR      CONV. ASSY, SUBSEA                              EA     80,000           1    62,000.00    100.0%   62,000.00
                                                                                                             TREE, 4" X 2"‐10M,
Linear ‐ Lafayette          Linear Controls          2273013‐01     110598733‐1(RR1)      ATS ‐ OUTDOOR      ASSEMBLY, 5" X 2"‐10M                           EA     66,000           1    51,150.00    100.0%   51,150.00
                                                                                                             SPOOLTREE.
Linear ‐ Lafayette          Linear Controls          2124123‐01       96101817050         ATS ‐ OUTDOOR      ASSY, TREE CAP SHIPPING                         EA       1,850          1     1,433.75    100.0%    1,433.75
                                                                                                             SKID
Linear ‐ Lafayette          Linear Controls          2124145‐01       45256012‐5          ATS ‐ OUTDOOR      ASSY, HUB, 4" WELL                              EA       1,400          1     1,085.00    100.0%    1,085.00
                                                                                                             TERMINATION,
Linear ‐ Lafayette          Linear Controls          2141833‐01       11227730‐01         ATS ‐ OUTDOOR      ASSY, TREE                                      EA       5,800          1     4,495.00    100.0%    4,495.00
                                                                                                             TRANSPORTATION SKID,
                                                                                                             BP
Linear ‐ Lafayette          Linear Controls          2124836‐01       11171617‐1          ATS ‐ OUTDOOR      TEST STUMP BODY, TREE                           EA       6,200          1     4,805.00    100.0%    4,805.00
                                                                                                             FAT SKID,
Linear ‐ Lafayette          Linear Controls          2124641‐01       11384318‐1          ATS ‐ OUTDOOR      ASSY, COMPLETION                                EA     20,500           1    15,887.50    100.0%   15,887.50
                                                                                                             GUIDE BASE, STM‐15
Linear ‐ Lafayette          Linear Controls          2098861‐02       11197244‐1          ATS ‐ OUTDOOR      ASSY, MCPAC                                     EA     11,000           1     8,525.00    100.0%    8,525.00
                                                                                                             CONNECTION TOOL,
                                                                                                             SHELL
Linear ‐ Lafayette          Linear Controls          2098861‐02       11199037‐1          ATS ‐ OUTDOOR      ASSY, MCPAC                                     EA     11,000           1     8,525.00    100.0%    8,525.00
                                                                                                             CONNECTION TOOL,
                                                                                                             SHELL
Linear ‐ Lafayette          Linear Controls          2124119‐01        964534560          ATS ‐ OUTDOOR      ASSY, TREE RUNNING                              EA     11,000           1     8,525.00    100.0%    8,525.00
                                                                                                             TOOL
Linear ‐ Lafayette          Linear Controls          2124129‐01        265340930        TOOLSKID ‐ OUTDOOR   ASSY, TUBING HANGER                             EA       1,500          1     1,162.50    100.0%    1,162.50
                                                                                                             RUNNING TOOL
Linear ‐ Lafayette          Linear Controls          2124128‐01       11286013‐17       TOOLSKID ‐ OUTDOOR   ASSY, TUBING HANGER,                            EA       1,000          1       775.00    100.0%     775.00
                                                                                                             STM‐15,
Linear ‐ Lafayette          Linear Controls          2124135‐01       2659561200        TOOLSKID ‐ OUTDOOR   ASSY, TUBING HANGER                             EA        300           1       232.50    100.0%     232.50
                                                                                                             HANDLING / TEST
Linear ‐ Lafayette          Linear Controls          2124135‐01       2659561190        TOOLSKID ‐ OUTDOOR   ASSY, TUBING HANGER                             EA        300           1       232.50    100.0%     232.50
                                                                                                             HANDLING / TEST
Linear ‐ Lafayette          Linear Controls          2018904‐01     265956120(RR2)      TOOLSKID ‐ OUTDOOR   ASSY, LEAD IMPRESSION                           EA        900           1       697.50    100.0%     697.50
                                                                                                             TOOL
Linear ‐ Lafayette          Linear Controls          2124129‐01        266013010        TOOLSKID ‐ OUTDOOR   ASSY, TUBING HANGER                             EA       1,500          1     1,162.50    100.0%    1,162.50
                                                                                                             RUNNING TOOL
Linear ‐ Lafayette          Linear Controls          2124139‐01       11186901‐01       TOOLSKID ‐ OUTDOOR   ASSY, DUMMY TBG HGR,                            EA       1,000          1       775.00    100.0%     775.00
                                                                                                             STM‐15, 4.06"
Linear ‐ Lafayette          Linear Controls          2055294‐12      110357224‐01        CPB 077 ‐ INDOOR    ASSEMBLY, TUBING                                EA       2,500          1     1,937.50    100.0%    1,937.50
                                                                                                             HANGER, 5 IN NOM.
Linear ‐ Lafayette          Linear Controls          2748033‐01     45353783‐01‐01       CPB 077 ‐ INDOOR    WIRELINE PLUG, 5.25"                            EA          50          1        38.75    100.0%      38.75
                                                                                                             DIA, METAL AND
Linear ‐ Lafayette          Linear Controls          2749898‐01     4500436775‐2‐1       CPB 077 ‐ INDOOR    5.250" WIRELINE PLUG                            EA          50          1        38.75    100.0%      38.75
                                                                                                             'HH' TRIM WITH
Linear ‐ Lafayette          Linear Controls         2055296‐02‐01     110407008‐1        CPB 078 ‐ INDOOR    ASSEMBLY, INTERNAL                              EA       1,500          1     1,162.50    100.0%    1,162.50
                                                                                                             TREE CAP, 10K WP
Linear ‐ Lafayette          Linear Controls           60007268        96953428110       SF‐YARD ‐ OUTDOOR    TROIKA TOOL SHED                                EA                      1    15,000.00    100.0%   15,000.00
Linear ‐ Lafayette          Linear Controls          2124147‐04        111802674         TRI 168 ‐ INDOOR    ASSY, CLAMP, W/ SEAL                            EA       2,000          1     1,550.00    100.0%    1,550.00
                                                                                                             PLATE, 10"
Linear ‐ Lafayette          Linear Controls          2124581‐01       11170112‐05        TRI 170 ‐ INDOOR    SEAL PLATE, 4" WELL &                           EA        200           1       155.00    100.0%     155.00
                                                                                                             MANIFOLD
Linear ‐ Lafayette          Linear Controls          2124581‐01       11170112‐06        TRI 170 ‐ INDOOR    SEAL PLATE, 4" WELL &                           EA        200           1       155.00    100.0%     155.00
                                                                                                             MANIFOLD
Linear ‐ Lafayette          Linear Controls          2124581‐01       11170113‐05        TRI 170 ‐ INDOOR    SEAL PLATE, 4" WELL &                           EA        200           1       155.00    100.0%     155.00
                                                                                                             MANIFOLD
Linear ‐ Lafayette          Linear Controls          2124581‐01       11363037‐01        TRI 170 ‐ INDOOR    SEAL PLATE, 4" WELL &                           EA        200           1       155.00    100.0%     155.00
                                                                                                             MANIFOLD
Linear ‐ Lafayette          Linear Controls          2124581‐01       11170113‐04        TRI 170 ‐ INDOOR    SEAL PLATE, 4" WELL &                           EA        200           1       155.00    100.0%     155.00
                                                                                                             MANIFOLD
Linear ‐ Lafayette          Linear Controls          2124159‐01       45284821‐04        TRI 171 ‐ INDOOR    BODY, HUB, 10"                                  EA        250           1       193.75    100.0%     193.75
                                                                                                             FLOWLINE TEST STAND
Linear ‐ Lafayette          Linear Controls          2124159‐01       45284821‐01        TRI 171 ‐ INDOOR    BODY, HUB, 10"                                  EA        250           1       193.75    100.0%     193.75
                                                                                                             FLOWLINE TEST STAND

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         Facility       Facility Owner    Item Number          Serial No.            Location           Item Description     Project Name   UOM   Wt. (lbs) On Hand Qty Total Value   WI%    Net Value
Linear ‐ Lafayette      Linear Controls     041700‐47       4503010723‐1‐1      TRI 171 ‐ INDOOR    GASKET, AX ‐ 18‐3/4"                     EA        110          1         85.25   100.0%     85.25
                                                                                                    10/15M 316 SS
Linear ‐ Lafayette      Linear Controls    2124147‐01        96111219520        TRI 172 ‐ INDOOR    ASSY, CLAMP, W/SEAL                     EA       2,000          1     1,550.00    100.0%   1,550.00
                                                                                                    PLATE, 4" WELL
Linear ‐ Lafayette      Linear Controls    2124147‐01        96111219570        TRI 172 ‐ INDOOR    ASSY, CLAMP, W/SEAL                     EA       2,000          1     1,550.00    100.0%   1,550.00
                                                                                                    PLATE, 4" WELL
Linear ‐ Lafayette      Linear Controls    2141279‐01      4502534448‐01‐01     TRI 172 ‐ INDOOR    CLAMP, 10" FLOWLINE/                    EA       1,500          1     1,162.50    100.0%   1,162.50
                                                                                                    PIGGING LOOP/

Linear ‐ Lafayette      Linear Controls   2124581‐06‐02    4504055507‐02‐01     TRI 174 ‐ INDOOR    CONVERSION BLANKING                     EA        180           1       139.50    100.0%    139.50
                                                                                                    SEAL PLATE, 4" WELL

Linear ‐ Lafayette      Linear Controls   2124581‐06‐02    4504055507‐01‐01     TRI 174 ‐ INDOOR    CONVERSION BLANKING                     EA        180           1       139.50    100.0%    139.50
                                                                                                    SEAL PLATE, 4" WELL

Linear ‐ Lafayette      Linear Controls   2124581‐06‐02    4504055507‐03‐01     TRI 174 ‐ INDOOR    CONVERSION BLANKING                     EA        180           1       139.50    100.0%    139.50
                                                                                                    SEAL PLATE, 4" WELL

Linear ‐ Lafayette      Linear Controls    2142930‐01       4501742451‐1‐2      TRI 174 ‐ INDOOR    ACCESS STAND, G2                        EA        200           1       155.00    100.0%    155.00
                                                                                                    TUBING HANGER
                                                                                                    RUNNING
Linear ‐ Lafayette      Linear Controls    2124581‐01        11170113‐01        TRI 174 ‐ INDOOR    SEAL PLATE, 4" WELL &                   EA        150           1       116.25    100.0%    116.25
                                                                                                    MANIFOLD
Linear ‐ Lafayette      Linear Controls    2124581‐01        11410124‐01        TRI 174 ‐ INDOOR    SEAL PLATE, 4" WELL &                   EA        150           1       116.25    100.0%    116.25
                                                                                                    MANIFOLD
Linear ‐ Lafayette      Linear Controls    2124581‐01        11170112‐02        TRI 174 ‐ INDOOR    SEAL PLATE, 4" WELL &                   EA        150           1       116.25    100.0%    116.25
                                                                                                    MANIFOLD
Linear ‐ Lafayette      Linear Controls    2124581‐07      4503345734‐01‐02     TRI 174 ‐ INDOOR    SEAL PLATE, COATING ON                  EA        150           1       116.25    100.0%    116.25
                                                                                                    OD ONLY
Linear ‐ Lafayette      Linear Controls    2124581‐07      4503345734‐01‐03     TRI 174 ‐ INDOOR    SEAL PLATE, COATING ON                  EA        150           1       116.25    100.0%    116.25
                                                                                                    OD ONLY
Linear ‐ Lafayette      Linear Controls    2124581‐07      4503345734‐01‐04     TRI 174 ‐ INDOOR    SEAL PLATE, COATING ON                  EA        150           1       116.25    100.0%    116.25
                                                                                                    OD ONLY
Linear ‐ Lafayette      Linear Controls    2124581‐07      4503345734‐01‐01     TRI 174 ‐ INDOOR    SEAL PLATE, COATING ON                  EA        150           1       116.25    100.0%    116.25
                                                                                                    OD ONLY
Linear ‐ Lafayette      Linear Controls    2124581‐03      4502533058‐01‐01     TRI 174 ‐ INDOOR    SEAL PLATE, 10"                         EA        150           1       116.25    100.0%    116.25
                                                                                                    FLOWLINE JUMPER
Linear ‐ Lafayette      Linear Controls    2124581‐01        11251434‐01        TRI 174 ‐ INDOOR    SEAL PLATE, 4" WELL &                   EA        150           1       116.25    100.0%    116.25
                                                                                                    MANIFOLD
Linear ‐ Lafayette      Linear Controls    2124586‐01        450605865‐1        TRI 175 ‐ INDOOR    END PLATE, MANDREL                      EA        500           1       387.50    100.0%    387.50
                                                                                                    RETAINER,
Linear ‐ Lafayette      Linear Controls    2124584‐01       450605849‐1‐1       TRI 175 ‐ INDOOR    MANDREL, RETAINER                       EA        400           1       310.00    100.0%    310.00
                                                                                                    SLEEVE,
Linear ‐ Lafayette      Linear Controls    2124535‐01     NS201604020729021     TRI 175 ‐ INDOOR    ANNULUS LOOP, 2.875                     EA        300           4       232.50    100.0%    232.50
                                                                                                    O.D. X 2.125
Linear ‐ Lafayette      Linear Controls    2124624‐01        450604006‐1        TRI 175 ‐ INDOOR    BODY, 4" PRODUCTION                     EA        150           1       116.25    100.0%    116.25
                                                                                                    STAB,
Linear ‐ Lafayette      Linear Controls    2124585‐01        450605858‐1        TRI 175 ‐ INDOOR    RETAINER PLATE, MASTER                  EA        150           1       116.25    100.0%    116.25
                                                                                                    VALVE BLOCK
Linear ‐ Lafayette      Linear Controls    2156742‐01        11328834‐01        TRI 175 ‐ INDOOR    SUB‐ASSY, BOP SPANNER                   EA        200           1       155.00    100.0%    155.00
                                                                                                    JOINT, 7.625"

Linear ‐ Lafayette      Linear Controls    2156773‐02        11322641‐01        TRI 175 ‐ INDOOR    UPPER ADAPTER, BOP                      EA        200           1       155.00    100.0%    155.00
                                                                                                    SPANNER JOINT,
Linear ‐ Lafayette      Linear Controls    2124147‐01         400297648         TRI 176 ‐ INDOOR    ASSY, CLAMP, W/SEAL                     EA       2,000          1     1,550.00    100.0%   1,550.00
                                                                                                    PLATE, 4" WELL
Linear ‐ Lafayette      Linear Controls    2124147‐01        11213146‐1         TRI 176 ‐ INDOOR    ASSY, CLAMP, W/SEAL                     EA       2,000          1     1,550.00    100.0%   1,550.00
                                                                                                    PLATE, 4" WELL
Linear ‐ Lafayette      Linear Controls   041700‐09‐01        400133273         TRI 178 ‐ INDOOR    AX GASKET, 11"‐                         EA          30          1        23.25    100.0%     23.25
                                                                                                    5M/10M#, ST/STL WITH

Linear ‐ Lafayette      Linear Controls   041700‐09‐01        400133274         TRI 178 ‐ INDOOR    AX GASKET, 11"‐                         EA          30          1        23.25    100.0%     23.25
                                                                                                    5M/10M#, ST/STL WITH

Linear ‐ Lafayette      Linear Controls    2098477‐01         175670‐1          TRI 178 ‐ INDOOR    AX‐VX GASKET                            EA        110           1        85.25    100.0%     85.25
Linear ‐ Lafayette      Linear Controls    2098477‐01         175670‐2          TRI 178 ‐ INDOOR    AX‐VX GASKET                            EA        110           1        85.25    100.0%     85.25
Linear ‐ Lafayette      Linear Controls    2124579‐02        45434247‐8         TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA         20           1        15.50    100.0%     15.50
                                                                                                    PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45434247‐6         TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                    PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45434247‐3         TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                    PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45434247‐11        TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                    PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45445642‐3         TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                    PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45445642‐2         TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                    PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45445642‐1         TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                    PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45438628‐1         TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                    PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45445642‐4         TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                    PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls     501040‐1        961276244180        TRI 178 ‐ INDOOR    6" Gasket Sealing Ring                  EA          20          1        15.50    100.0%     15.50
Linear ‐ Lafayette      Linear Controls    2124579‐04        45424496‐2         TRI 178 ‐ INDOOR    GASKET W/ O‐RING, 10"‐                  EA          20          1        15.50    100.0%     15.50
                                                                                                    15M SEAL
Linear ‐ Lafayette      Linear Controls    2124579‐02        45434247‐01        TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                    PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45424796‐01        TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                    PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45424796‐06        TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                    PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45434274‐02        TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                    PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45424796‐04        TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                    PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45424796‐03        TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                    PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45445642‐04        TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                    PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124134‐01        2659561110         TRI 180 ‐ INDOOR    ASSY, TUBING HANGER                     EA        600           1       465.00    100.0%    465.00
                                                                                                    ADJUSTMENT STAN
Linear ‐ Lafayette      Linear Controls    2099720‐02          26‐1567         TRI FLOOR ‐ INDOOR   ASSY, TREE CAP RUNNING                  EA       5,000          1     3,875.00    100.0%   3,875.00
                                                                                                    TOOL, BP
Linear ‐ Lafayette      Linear Controls     60031311        9523237807360      TRI SHED ‐ INDOOR    Troika Dummy Control                    EA       3,000          1     2,325.00    100.0%   2,325.00
                                                                                                    Pod
Linear ‐ Lafayette      Linear Controls     60031470        9523237807390      TRI SHED ‐ INDOOR    SHELL DUMMY CONTROL                     EA       1,000          1       775.00    100.0%    775.00
                                                                                                    POD SHIPPING SKID



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         Facility         Facility Owner        Item Number      Serial No.             Location             Item Description      Project Name   UOM   Wt. (lbs) On Hand Qty Total Value    WI%    Net Value
Linear ‐ Lafayette        Linear Controls        2123000‐01     9624280360        TRI‐SHELL ‐ OUTDOOR   HANDLING TOOL ASSY,                        EA        150          1       116.25     100.0%    116.25
                                                                                                        TREE CAP & TREE
Linear ‐ Lafayette        Linear Controls       2123000‐01      2657807220        TRI‐SHELL ‐ OUTDOOR   HANDLING TOOL ASSY,                       EA        150              1     116.25    100.0%     116.25
                                                                                                        TREE CAP & TREE
Linear ‐ Lafayette        Linear Controls       2123738‐01      9624280370        TRI‐SHELL ‐ OUTDOOR   LIFT SUB, 1.50" NOM                       EA          50             1       38.75   100.0%       38.75
                                                                                                        SHACKLE X
Linear ‐ Lafayette        Linear Controls       2099099‐03      11196376‐1        TRI‐SHELL ‐ OUTDOOR   ASSY, TEST HUB, 10"                       EA        350              1     271.25    100.0%     271.25
                                                                                                        FLOWLINE /
Linear ‐ Lafayette        Linear Controls       2099099‐03      11210778‐1        TRI‐SHELL ‐ OUTDOOR   ASSY, TEST HUB, 10"                       EA        350              1     271.25    100.0%     271.25
                                                                                                        FLOWLINE /
Linear ‐ Lafayette        Linear Controls       2035504‐02     961276650350       TRI‐SHELL ‐ OUTDOOR   ASSY, DEBRIS CAP, 18‐                     EA        100              1       77.50   100.0%       77.50
                                                                                                        3/8" OD MCPAC
Linear ‐ Lafayette        Linear Controls       2035519‐01      1276650650        TRI‐SHELL ‐ OUTDOOR   ASSY, ROV RETRIEVABLE                     EA          50             1      38.75    100.0%      38.75
                                                                                                        DEBRIS/TEST

Linear ‐ Lafayette        Linear Controls       2035519‐01      1276650660        TRI‐SHELL ‐ OUTDOOR   ASSY, ROV RETRIEVABLE                     EA          50             1      38.75    100.0%      38.75
                                                                                                        DEBRIS/TEST

Linear ‐ Lafayette        Linear Controls       2156132‐01    9523237807220       TRI‐SHELL ‐ OUTDOOR   ASSY, COMBINATION                         EA        500              1     387.50    100.0%     387.50
                                                                                                        (TREE/TREE CAP)
Linear ‐ Lafayette        Linear Controls       2156145‐01     11324065‐01        TRI‐SHELL ‐ OUTDOOR   ASSY, 3‐1/16‐15M                          EA       8,500             1    6,587.50   100.0%    6,587.50
                                                                                                        MONOBORE TUBING
Linear ‐ Lafayette        Linear Controls       2124137‐01    9523237807330       TRI‐SHELL ‐ OUTDOOR   ASSY, TOOL STORAGE &                      EA       2,000             1    1,550.00   100.0%    1,550.00
                                                                                                        SHIPPING SKID
Linear ‐ Lafayette        Linear Controls       2124137‐01    9523237807340       TRI‐SHELL ‐ OUTDOOR   ASSY, TOOL STORAGE &                      EA       2,000             1    1,550.00   100.0%    1,550.00
                                                                                                        SHIPPING SKID
Linear ‐ Lafayette        Linear Controls       2124118‐01      11278658‐1        TRI‐SHELL ‐ OUTDOOR   ASSY, TREE CAP, BP                        EA       8,000             1    6,200.00   100.0%    6,200.00
                                                                                                        TROIKA
Linear ‐ Lafayette        Linear Controls                     Serial.# WPI317                           Waukesha Engine L7042                     EA                         1   82,625.00   100.0%   82,625.00
                                                                                                        GSI
Linear ‐ Lafayette        Linear Controls                      Serial.# 48799                           Waukesha Engine L3711                     EA                         1   51,250.00   100.0%   51,250.00

Linear ‐ Lafayette        Linear Controls                     Serial.# 1029776                          Waukesha Engine F1905                     EA                         1   43,765.00   100.0%   43,765.00

Linear ‐ Lafayette        Linear Controls                     Serial.# 218794                           Waukesha Engine F1905                     EA                         1   43,765.00   100.0%   43,765.00

Linear ‐ Lafayette        Linear Controls                      Serial.#396632                           Waukesha Engine F1197                     EA                         1   24,315.00   100.0%   24,315.00

Linear ‐ Lafayette        Linear Controls                     Serial.# 362530                           Waukesha Engine F1197                     EA                         1   24,315.00   100.0%   24,315.00

Whitco ‐ Broussard        Whitco Supply           357501                                                1" x 3' x 20' Galvanized                  EA                    106        395.00    100.0%     395.00
                                                                                                        Grating
Whitco ‐ Broussard        Whitco Supply           333963                                                1‐1/2" x 3' x 20'                         EA                    ‐          598.00    100.0%     598.00
                                                                                                        Galvanized Grating
Express ‐ Fourchon     Express Supply & Steel                                                           1" x 3‐1/16" x 36" x 20'                  EA                        10     400.65    100.0%     400.65
                                                                                                        Serrated Galvanized
                                                                                                        Domestic Grating
Express ‐ Fourchon     Express Supply & Steel                                                           1‐1/2" x 3‐1/16" x 36" x                  EA                        35     555.67    100.0%     555.67
                                                                                                        20' Serrated Galvanized
                                                                                                        Domestic Grating




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Cash and other balances to be determined at effective date

Surety Bonds in favor of FWE I:
    DATE   BOND NO.               Amount           Lease                                               PARTIES                                                         SURETY                            BENEFICIARY
   3/6/19 B011964               $300,000        OCS‐G 01194                             Fieldwood Energy LLC; Byron Energy Inc.                          U.S. Specialty Insurance Company           Fieldwood Energy LLC
   3/6/19 B011963               $450,000        OCS‐G 01194                         Fieldwood Energy LLC; Byron Energy Inc.;BOEM                         U.S. Specialty Insurance Company       Fieldwood Energy LLC; BOEM
 11/29/18 N‐7001005           $2,366,855     OCS‐0810; OCS‐0812    Northstar Oﬀshore Ventures LLC; SanareEnergy Partners, LLC; Fieldwood Energy LLC   Indemnity National Insurance Company          Fieldwood Energy LLC
   3/9/18 N‐7000930           $2,640,126        OCS‐G11691                        Monforte Explora on L.L.C.; FieldwoodEnergy LLC                     Indemnity National Insurance Company          Fieldwood Energy LLC
  2/13/18 1149835               $250,000        OCS‐G03587                                  Northstar Offshore Ventures LLC                                  Lexon Insurance Company                Fieldwood Energy LLC
  2/13/18 1149836             $1,000,000        OCS‐G03171                                  Northstar Offshore Ventures LLC                                  Lexon Insurance Company                Fieldwood Energy LLC
  2/13/18 1149838             $2,500,000 OCS‐G01216;OCS‐G01217                              Northstar Offshore Ventures LLC                                  Lexon Insurance Company                Fieldwood Energy LLC
   5/1/16 RLB0016261          $1,514,600 2 A; ROW G12732;ROW G13              Whitney Oil & Gas, LLC; Apache Corporation; GOM Shelf LLC                        RLI Insurance Company         Apache Corporation; GOM Shelf LLC




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Subsidiaries:
GOM Shelf LLC
FW GOM Pipeline Inc.

Equity Interests:
Paloma Pipeline Company - 9.65%
SP 49 LLC - 33.33% (owned by FW GOM Pipeline Inc.)




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Exhibit I‐J
              Field                                                     Block              Lease            Type       Rights           Date Le Eff        Date Le Exp   Le Cur Acres (Ac)       Operator        WI      Lease Status
              SOUTH TIMBALIER 308 / EWING BANK 873                     ST 287             G24987           Federal       RT              5/1/2003                              5000            Fieldwood En     100.0%      PROD
              SOUTH TIMBALIER 308 / EWING BANK 873                     ST 287             G24987           Federal      OP 1             5/1/2003                              5000            Fieldwood En     100.0%      PROD
              SOUTH TIMBALIER 308 / EWING BANK 873                     ST 287             G24987           Federal      OP 2             5/1/2003                              5000            Fieldwood En      50.0%      PROD
              SOUTH TIMBALIER 308 / EWING BANK 873                     ST 308             G21685           Federal       RT              6/1/2000                              5000            Fieldwood En     100.0%      PROD
              SOUTH TIMBALIER 308 / EWING BANK 873                     ST 308             G21685           Federal      OP 1             6/1/2000                              5000            Fieldwood En     100.0%      PROD
              SOUTH TIMBALIER 308 / EWING BANK 873                     ST 308             G21685           Federal      OP 2             6/1/2000                              5000            Fieldwood En      50.0%      PROD
              VERMILION 362/371                                        VR 362             G10687           Federal       RT              6/1/1989                             5,000          Fieldwood En Off   100.0%      UNIT
              VERMILION 362/371                                        VR 362             G10687           Federal       OP              6/1/1989                             5,000          Fieldwood En Off    16.7%      UNIT
              VERMILION 362/371                                        VR 363             G09522           Federal       RT              5/1/1988                             5,000            Fieldwood En     100.0%     ACTIVE
              VERMILION 362/371                                        VR 363             G09522           Federal      OP 1             5/1/1988                             5,000            Fieldwood En     100.0%     ACTIVE
              VERMILION 362/371                                        VR 363             G09522           Federal      OP 2             5/1/1988                             5,000          Fieldwood En Off    33.3%     ACTIVE
              VERMILION 362/371                                        VR 363             G09522           Federal      OP 3             5/1/1988                             5,000            Fieldwood En      50.0%     ACTIVE
              VERMILION 362/371                                        VR 371             G09524           Federal       RT              7/1/1988                             5,000          Fieldwood En Off   100.0%     ACTIVE
              VERMILION 362/371                                        VR 371             G09524           Federal       OP              7/1/1988                             5,000          Fieldwood En Off    16.7%     ACTIVE
              VERMILION 78                                             VR 78              G04421           Federal       RT             11/1/1980                             5,000            Fieldwood En      37.5%     ACTIVE
              VERMILION 78                                             VR 78              G04421           Federal       OP             11/1/1980                             5,000            Fieldwood En      18.8%     ACTIVE

              Right of Way bearing Serial No. OCS‐G29427 for Pipeline Segment No. 20278 pertaining to South Timbalier 308
              Right of Way bearing Serial No. OCS‐G15047 for Pipeline Segment No. 10675 pertaining to Vermilion 371
              All other right, title and interest of FWE in any assets to the extent such assets relate to any of the foregoing leases or rights of way.




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Exhibit I‐K(i)
                 Field                             Block    Lease     Type     Rights   Date Le Eff   Date Le ExpLe Cur Acre Operator     WI      Lease Status
                 EAST CAMERON 2 ‐ (SL LA)          EC 2    SL18121   SL ‐ LA     WI     5/12/2004     11/6/2020      220     Fieldwood   50.0%      RELINQ
                 CHANDELEUR 42/43                 CA 43    G32268    Federal    OP 1     7/1/2008                   5,000 ieldwood E      7.69%      PROD      Knight Default
                 CHANDELEUR 42/43                 CA 42    G32267    Federal    OP 1     7/1/2008     6/21/2019     5,000 ieldwood E      7.69%     RELINQ     Knight Default
                 WEST CAMERON 295                 WC 295   G24730    Federal    OP 1     5/1/2003                   5,000 ieldwood E      6.00%      PROD      Tammany Default
                 SHIP SHOAL 246/247/248/270/271   SS 249   G01030    Federal    OP 1     6/1/1962                   5,000 ldwood En      0.042%      UNIT      Hillcrest GOM Default in Unit
                 SHIP SHOAL 246/247/248/270/271   SS 248   G01029    Federal    RT B     6/1/1962                   5,000 ldwood En       0.04%      UNIT      Hillcrest GOM Default in Unit
                 SOUTH TIMBALIER 205/206          ST 205   G05612    Federal    ORRI     7/1/1983                   5,000 ieldwood E       2.0%      PROD




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Exhibit I‐K(ii)
                  Asset Name                       FWE Acct. Code   Lease Number      API        WI       NRI
                  CHANDELEUR 042 #A002             CA042A0200          G32267    177294001500      7.7%     5.4%
                  CHANDELEUR 043 #A001             CA043A0100          G32268    177294001400      7.7%     5.4%
                  CHANDELEUR 043 #A003             CA043A0300          G32268    177294001600      7.7%     5.4%
                  EAST CAMERON 002 #001 SL 18121   SL18121010           18121    177032013600    50.0%     37.3%
                  EUGENE IS 330 #B003 ST1          EI330B0301          G02115    177104008001    35.0%     29.1%
                  MAIN PASS 259 #A007              MP259A0700          G07827    177244071800    43.1%     29.7%
                  MAIN PASS 303 #B015              MP303B1500          G04253    177244024800    42.9%     35.7%
                  MATAGORDA IS 519 #L001           MI519L1SL0         MF-79413   427033030000    15.8%     12.2%
                  MATAGORDA IS 519 #L002           MI519L2SL0         MF-79413   427033034000    15.8%     12.2%
                  MATAGORDA IS 519 #L003           MI519L3SL0         MF-79413   427033039500    15.8%     12.2%
                  MATAGORDA IS 519 #L004           MI519L4SL0         MF-79413   427033039700    15.8%     12.2%
                  SHIP SHOAL 249 #D017             SS249D1700          G01030    177124020800   0.042%        TA
                  SOUTH TIMBALIER 205 #B002A ST1   ST205B02A1          G05612    177154062901    25.0%     20.8%
                  SOUTH TIMBALIER 205 #B004 ST1    ST205B0401          G05612    177154081601    25.0%     20.8%
                  SOUTH TIMBALIER 206 #A002 ST1    ST206A0201          G05613    177154060101    25.0%        TA
                  SOUTH TIMBALIER 206 #A003        ST206A0300          G05613    177154061000    25.0%        TA
                  SOUTH TIMBALIER 206 #A004A       ST206A04A0          G05613    177154074300    25.0%        TA
                  SOUTH TIMBALIER 206 #A006        ST206A0600          G05613    177154075100    25.0%        TA
                  SOUTH TIMBALIER 206 #A007        ST206A0700          G05613    177154075200    25.0%        TA
                  SOUTH TIMBALIER 206 #A008        ST206A0800          G05613    177154075300    25.0%        TA
                  SOUTH TIMBALIER 206 #A009        ST206A0900          G05613    177154075400    25.0%        TA
                  SOUTH TIMBALIER 206 #A010ST2BP   ST206A1002          G05613    177154075702    25.0%        TA
                  SOUTH TIMBALIER 206 #B003 ST1    ST206B0301          G05613    177154074001    25.0%     20.8%
                  SOUTH TIMBALIER 206 #B006        ST206B0600          G05613    177154103000    25.0%     20.8%
                  WEST CAMERON 295 #A002           WC295A0201          G24730    177014039001      6.0%     4.9%
                  SOUTH TIMBALIER 205 #G001 ST1    ST205G0101          G05612    177154106701     0.0%      2.0%
                  SOUTH TIMBALIER 205 #G003 ST1    ST205G0301          G05612    177154115301      0.0%     2.0%




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Exhibit I‐K(iii)
                   Asset Name                                                     FWE Acct. Code ease NumbeArea/Block    WI
                   CHANDELEUR 043 P/F‐A                                           CA43APLT         G32268    CA043       7.69%
                   HIGH ISLAND 120 P/F‐A‐PROCESS                                  HI120APROC       G01848    HI120       6.00%
                   WEST CAMERON 295 P/F‐A                                         WC295ACAS        G24730    WC295       6.00%
                   SHIP SHOAL 248 P/F‐G                                           SS248PFG         G01029    SS248       0.04%
                   SOUTH TIMBALIER 206 P/F‐A                                      ST206APLT        G05612    ST206      25.00%
                   SOUTH TIMBALIER 205 P/F‐B                                      ST205BPLT        G05612    ST205      25.00%
                   MATAGORDA IS 487 P/F‐L(SL)                                     MI487LSL        MF‐88562 MI487        15.80%
                   MATAGORDA IS 519 P/F‐L ‐ SL                                    MI519LSL        MF‐88562 MI519        15.80%
                   Venice Dehydration Facility (South Pass Dehydration Station)   VENICEDHYD                            64.80%
                   Tivoli Plant                                                   TIVOLIPL                              43.86%
                   MI 519 Bay City Compressor Station                             MI519BAY                              18.10%
                   Vermilion 76 Onshore Scrubber                                  VR76SCRUB                              6.08%
                   Grand Chenier Separation Facility                              GRCHENPF                              72.08%
                   EAST CAMERON 002 P/F‐1 SL18121                                 SL181211PT        18121    EC002      50.00%




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                                               Exhibit II-A




Exhibit II‐A
                Field                                Block     Lease    Type       Rights      Date Le Eff   Date Le Exp   Le Cur Acres (Ac)       Operator            WI Lease Status
                BRETON SOUND 41                      BS 41    G21142   Federal      OP 2        5/1/1999     1/26/2014          4,995          Fieldwood En Off    10.0%    TERMIN
                BRETON SOUND 41                      BS 41    G21142   Federal   Contractual    5/1/1999     1/26/2014          4,995          Fieldwood En Off    25.0%    TERMIN
                EAST CAMERON 257                    EC 257    G21580   Federal      OP 1        7/1/2000      2/2/2018          5,000          Fieldwood En Off   100.0%    TERMIN
                GALVESTON 241                      GA 241     G01772   Federal      OP 1        7/1/1968      8/2/2014          1,440          Fieldwood En Off   100.0%    TERMIN
                GALVESTON 241                      GA 241     G01773   Federal       RT         7/1/1968      8/2/2014          1,440          Fieldwood En Off   100.0%    TERMIN
                GALVESTON 241                      GA 255     G01777   Federal       RT         7/1/1968      4/3/1998          5,760          Fieldwood En Off   100.0%    TERMIN
                GRAND ISLE 83                        GI 83    G03793   Federal       RT         6/1/1978     11/26/2019         5,000          Fieldwood En Off   100.0%    TERMIN
                HIGH IS. A‐446                     HI A‐446   G02359   Federal       RT         8/1/1973     4/12/2016          5,760            Bandon O&G       100.0%    TERMIN
                HIGH ISLAND A‐446                  HI A‐447   G02360   Federal       RT         8/1/1973      9/4/2010          5,760            Bandon O&G       100.0%    TERMIN
                MAIN PASS 154                      MP 154     G10902   Federal       RT         7/1/1989     7/29/2000          4,995          Fieldwood En Off   100.0%    TERMIN
                MAIN PASS 29/112/114/116/118/125   MP 112     G09707   Federal       RT         6/1/1988     4/19/2017          4,995          Fieldwood En Off   100.0%    RELINQ
                SOUTH MARSH IS. 39                  SM 39     G16320   Federal       RT         7/1/1996                        5,000          Fieldwood En Off    50.0%     PROD
                SOUTH TIMBALIER 242                 ST 242    G23933   Federal       RT         6/1/2002      5/7/2019          5,000          Fieldwood En Off    60.0%    TERMIN
                VERMILION 315/332                   VR 314    G05438   Federal      OP 2        7/1/1983                        5,000          Fieldwood En Off    50.0%     PROD
                VERMILION 315/332                   VR 315    G04215   Federal      OP 1        1/1/1980      3/7/2012          5,000          Dynamic Off Res     50.0%    TERMIN
                VERMILION 315/332                   VR 332    G09514   Federal      OP 1        7/1/1988                        5,000            Fieldwood En      67.0%     PROD
                VERMILION 315/332                   VR 332    G09514   Federal       RT         7/1/1988                        5,000            Fieldwood En     100.0%     PROD
                VERMILION 315/332                   VR 333    G14417   Federal       RT         7/1/1994     11/29/1999         4,201          Fieldwood En Off    67.0%    TERMIN
                VIOSCA KNOLL 113                    VK 113    G16535   Federal       RT         6/1/1996     2/23/2020          5,760          Fieldwood En Off   100.0%    TERMIN
                VIOSCA KNOLL 251/340/384            VK 251    G10930   Federal      OP 1        7/1/1989                        5,760          Fieldwood En Off   100.0%     UNIT
                VIOSCA KNOLL 251/340/384            VK 340    G10933   Federal      OP 1        7/1/1989                        5,760          Fieldwood En Off   100.0%     UNIT
                WEST CAMERON 100                   WC 100     G22510   Federal       RT         7/1/2001     6/13/2018          5,000          Fieldwood En Off   100.0%    RELINQ
                WEST CAMERON 289/290/294           WC 290     G04818   Federal      OP 1        9/1/1981     7/21/2020          5,000          Fieldwood En Off    50.0%    TERMIN




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Exhibit II‐B
               Asset Name                     FWE Acct. Code   Lease Number        API
               EAST CAMERON 257 #001          EC25701             G21580      177044102500
               GALVESTON 241 #A005            GA241A05            G01772      427064001500
               GALVESTON 241 #A006            GA241A06            G01773      427064001700
               GALVESTON 241 #A010            GA241A10            G01773      427064001402
               GALVESTON 255 #A002            GA255A02            G01777      427063002300
               GALVESTON 255 #A003            GA255A03            G01777      427064000500
               GRAND ISLE 083 #A002           GI083A02            G03793      177174011002
               GRAND ISLE 083 #A003           GI083A03            G03793      177174030200
               GRAND ISLE 083 #B001           GI083B01            G03793      177174097400
               GRAND ISLE 083 #B002           GI083B02            G03793      177174098000
               GRAND ISLE 083 #B003           GI083B03            G03793      177174098100
               HIGH ISLAND A‐446 #A001        HIA446A01           G02359      427094055400
               HIGH ISLAND A‐446 #A002B       HIA446A02           G02360      427094055700
               HIGH ISLAND A‐446 #A004        HIA446A04           G02359      427094056300
               HIGH ISLAND A‐446 #A005        HIA446A05           G02359      427094057700
               HIGH ISLAND A‐446 #A006        HIA446A06           G02359      427094056700
               HIGH ISLAND A‐446 #A007        HIA446A07           G02359      427094056800
               HIGH ISLAND A‐446 #A008        HIA446A08           G02359      427094057400
               HIGH ISLAND A‐446 #A009        HIA446A09           G02359      427094060200
               HIGH ISLAND A‐446 #A010        HIA446A10           G02359      427094058300
               HIGH ISLAND A‐446 #A011        HIA446A11           G02359      427094058700
               HIGH ISLAND A‐446 #A012        HIA446A12           G02359      427094059400
               HIGH ISLAND A‐446 #A014        HIA446A14           G02359      427094060900
               HIGH ISLAND A‐446 #A015        HIA446A15           G02359      427094061300
               HIGH ISLAND A‐446 #A016        HIA446A16           G02359      427094062300
               MAIN PASS 154 #A001            MP154A01            G10902      177244060400
               MAIN PASS 154 #A002            MP154A02            G10902      177244069000
               SOUTH MARSH IS 039 #A001       SM039A01            G16320      177074077000
               SOUTH MARSH IS 039 #B001       SM039B01            G16320      177074074702
               SOUTH MARSH IS 039 #B002       SM039B02            G16320      177074076102
               SOUTH MARSH IS 039 #C001       SM039C01            G16320      177074077900
               SOUTH MARSH IS 039 #C002       SM039C02            G16320      177074078000
               SOUTH MARSH IS 039 #C003       SM039C03            G16320      177074078200
               SOUTH MARSH IS 039 #C004       SM039C04            G16320      177074810200
               SOUTH TIMBALIER 242 #A001      ST242A01            G23933      177164032800
               VERMILION 314 #A009            VR314A09            G05438      177064076900
               VERMILION 332 #A001            VR332A01            G09514      177064069400
               VERMILION 332 #A002            VR332A02            G09514      177064069900
               VERMILION 332 #A003            VR332A03            G09514      177064072300
               VERMILION 332 #A005            VR332A05            G09514      177064077802
               VERMILION 332 #A006            VR332A06            G09514      177064077901
               VERMILION 333 #A004            VR333A04            G14417      177064072600
               VIOSCA KNOLL 113 #A001         VK113A01            G16535      608164039101
               VIOSCA KNOLL 251 #A001         VK251A001           G10930      608164029800
               VIOSCA KNOLL 251 #A002         VK251A002           G10930      608164034501
               VIOSCA KNOLL 251 #A003         VK251A003           G10930      608164041500
               VIOSCA KNOLL 251 #A004         VK251A004           G10930      608164042101
               VIOSCA KNOLL 340 #A001         VK340A01            G10933      608164038800
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                               Exhibit II-B

      Asset Name                   FWE Acct. Code   Lease Number        API
      VIOSCA KNOLL 340 #A002       VK340A02            G10933      608164044400
      WEST CAMERON 100 #A001       WC100A01            G22510      177004112100
      WEST CAMERON 100 #A002       WC100A02            G22510      177004112602
      WEST CAMERON 100 #A003       WC100A03            G22510      177004117102
      WEST CAMERON 100 #A004       WC100A04            G22510      177004118100
      WEST CAMERON 290 #002        WC29002             G04818      177014018400
      WEST CAMERON 290 #A001       WC290A0100          G04818      177014020700
      WEST CAMERON 290 #A002       WC290A0200          G04818      177014024200
      WEST CAMERON 290 #A003       WC290A0300          G04818      177014029100




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                                  Exhibit II-C(i)

            Asset Name              FWE Acct. Code    Lease Number   Area/Block    WI
EAST CAMERON 257 P/F‐A           EC257PFA                  G21580      EC257      100.0%
GALVESTON 255 P/F‐A              GA255PFA                  G01777      GA255      100.0%
GRAND ISLE 083 P/F‐A             GI083PFA                  G03793      GI083      100.0%
GRAND ISLE 083 P/F‐B             GI083PFB                  G03793      GI083      100.0%
HIGH ISLAND A‐446 P/F‐A          HIA446PFA                 G02359      HIA446     100.0%
MAIN PASS 154 P/F‐A              MP154PFA                  G10902      MP154      100.0%
SOUTH MARSH IS 039 P/F‐A         SM039PFA                  G16320      SM039      100.0%
SOUTH MARSH IS 039 P/F‐B         SM039PFB                  G16320      SM039      100.0%
SOUTH MARSH IS 039 P/F‐C         SM039PFC                  G16320      SM039      100.0%
SOUTH TIMBALIER 242 P/F‐A        ST242PFA                  G23933      ST242       60.0%
VERMILION 315 P/F‐A              VR315PFA                  G04215      VR315      100.0%
VERMILION 315 P/F‐A‐AUX          VR315PFAAU                G04215      VR315      100.0%
VERMILION 332 P/F‐A              VR332PFA                  G09514      VR332       80.2%
VIOSCA KNOLL 113 P/F‐A           VK113PFA                  G16535      VK113      100.0%
VIOSCA KNOLL 251 P/F‐A           VK251PFA                  G10930      VK251      100.0%
VIOSCA KNOLL 251 P/F‐A‐AUX       VK251PFAAU                G10930      VK251      100.0%
VIOSCA KNOLL 340 P/F‐A           VK340PFA                  G10933      VK340      100.0%
WEST CAMERON 100 P/F‐A           WC100APLT                 G22510      WC100      100.0%
WEST CAMERON 289 P/F‐A‐PROCESS   WC289APROC                G04818      WC289        0.0%




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                                  Exhibit II-C(ii)

None




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SEGMENTNUMBER          COMPANYNAME              ORGAREA   ORGBLOCK   ORGNAME       RECAREA   RECBLOCK   RECNAME      SIZE   PRODUCT          STATUS          ROWNUMBER FW Lease:
     15213          Fieldwood Energy, LLC          BS        41         B             BS         42      24" SSTI     10      G/C        Partial Abandon       G25383   G21142
                                                                                                                                          Permitted for
     5911          Bandon Oil and Gas, LP          GI        83          A            GI        82       16 SSTI      6      GAS                               G04355    G03793
                                                                                                                                          Abandonment
                                                                                                                                          Permitted for
     9006           Fieldwood Energy, LLC         MP         112        #02          MP         117      08 SSTI      6      BLKG                              G11738    G09707
                                                                                                                                      Abandonment Approved
                                                                                                                                          Permitted for
    15220       Fieldwood Energy Offshore LLC      ST        242         A            SS        283      24 SSTI      8       G/C                              G26891    G23933
                                                                                                                                          Abandonment
    19427           Fieldwood Energy, LLC         VK         113         A           CA         43          A         4      BLKG         Out of Service       G29321    G16535
    13721           Fieldwood Energy, LLC         VK         251         A           VK         340         A         3       AIR            Active            G28704    G10930
    14876           Fieldwood Energy, LLC         VK         251         A           MP         154         A         4      H2O             Active            G22465    G10930
    13720       Fieldwood Energy Offshore LLC     VK         340     8‐inch SSTI     VK         251     Platform A    8      BLGH            Active            G28703    G10933
    7298           Dynamic Industries, Inc        VR         315         A           VR         331      06 SSTI      6       OIL         Out of Service       G07545    G04215
    10736          Dynamic Industries, Inc        VR         332         A           VR         315         A         8      BLKG         Out of Service       G15672    G09514
    10737          Dynamic Industries, Inc        VR         332         A           VR         315         A         6      LIFT         Out of Service       G15673    G09514
                                                                                                                                          Permitted for
    14210       Fieldwood Energy Offshore LLC     WC         100         A           WC         102      30" SSTI     8       G/C                              G24699    G22510
                                                                                                                                      Abandonment Approved

                                                                                                                                          Permitted for
    13864           Fieldwood Energy, LLC         WC         100         A           WC         102      30 SSTI      8       G/C                              G24253    G22510
                                                                                                                                      Abandonment Approved
     8621          Bandon Oil and Gas, LP         WC         290         A           WC         289         A         6      BLKG         Out of Service       G10532    G04818




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Area   Block No. Structure Complex ID No. Authority No. FW Lease             Operator              Approval Date Associated Assets
                                                                                                                   GA 241 A005 &
GA       255        A          10050        G30195       G01777    Fieldwood Energy Offshore LLC     06/12/13
                                                                                                                       B004
                                                                                                                   MP 154 A001 &
MP       154        A          24171        G30337       G10902    Fieldwood Energy Offshore LLC     02/03/17
                                                                                                                       A002
                                                                                                                   VR 332 A001,
VR       315        A          22981        G30213       G04215    Fieldwood Energy Offshore LLC     11/26/13
                                                                                                                 A002, A005 & A006
                                                                                                                 Production from VR
VR       315     A-AUX         22981        G30213       G04215    Fieldwood Energy Offshore LLC     11/26/13
                                                                                                                     315 A RUE
                   A-                                                                                            ROW accessory PF
WC       289                   23036        G14262       G04818         Fieldwood Energy LLC         12/03/93
                PROCESS                                                                                              WC 289 A




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                                    Exhibit II-E

None




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Contract Type           Contract Date   Contract Title              Contract Description
Land                    9/1/1981        Joint Operating Agreement   Offshore Operating Agreement 9/1/1981
Land                    7/2/1986        FARMOUT AGREEMENT           Farmout Agreement 7/2/1986
Land                    1/1/1987        Joint Operating Agreement   Joint Operating Agreement 1‐1‐87
Land                    5/7/1993        Letter Agreement            Letter Agmt. dated 5‐7‐1993 b/b Shell Offshore Inc. and Freeport McMoRan Oil and Gas
                                                                    Company.
Land                    6/1/1993        FO                          Farmout Agmt. eff. 6‐1‐1993 b/b Shell Offshore Inc. and Samedan Oil Coporation.
Land                    6/11/1993       Joint Operating Agreement   Operating Agreement eff. 6‐11‐1993 b/b Samedan Oil Corporation and British Borneo
                                                                    Exploration Inc., et al
Land                    1/21/1994       Unit Operating Agreement    Unit Operating Agreement for the Viosca Knoll .252 Unit, by and between Samedan Oil
                                                                    Corporation, as Operator, and Continental Land &"Fur Co., Inc., dated effective January 21,1994.
                                                                    Preferential Right to Purchase ‐ 15 Days. (Section 26.2)

Land                    2/11/1994       Unit Agreement              Unit Agreement For Outer Continental Shelf Exploration, Development and Production
                                                                    Operations on theViosca Knoll 252 Unit designated Contract No. 754394013, by the Minerals
                                                                    Management Service, dated
                                                                    effective February 11, 1994, executed by Samedan Oil Corporation (as Unit Operator) and
                                                                    Chevron U.S.A. Inc.(as a working interest owner).
Land                    6/6/1994        Letter Agreement            Letter Agreement, dated June 6, 1994, whereby Chevron U.S.A. Inc. approves, adopts
                                                                    and.recognizes the Unit Operating Agreement, dated January 21, 1994 for the Viosca Knoll 252
                                                                    Unit
Land                    6/9/1994        Letter Agreement            Letter Agreement, dated June 9, 1994, by and between Chevron U.S.A. Inc., Samedan Oil
                                                                    Corporation and Continental Land & Fur Co., Inc.
Land                    9/20/1995       OA                          Operating Agreement eff. 9‐20‐95 b/b Samedan and Walter
Land                    7/1/1996        JOA                         7.1.1996 SM 39 Joint Operating Agreement, as amended
Land                    7/7/1997        Letter Agreement            Letter Agreement, dated July 7, 1997, by and between Chevron U.S.A. Inc. and Samedan Oil
                                                                    Corporation,concerning of the OCSTG 10930 Well #1 in Viosca Knoll Block 251 to a proposed
                                                                    depth of 22,500' and certain
                                                                    earning and assignment provisions, more fully described therein.
Land                    11/18/1999      Letter Agreement            Letter Agreement, dated November. 18, 1999, by and between Chevron U.S.A. tic. and Samedan
                                                                    Oil Corporatidri being a COPAS Amendment to Unit Operating Agreement for the Viosca Knoll
                                                                    252 Unit concerning
                                                                    Subpart (i;) of Section m. "Overhead", andimade effective January 1,2000.
Land                    8/5/2000        Transfer Agreement          Transfer of Ownership and Title Agreement, made and entered into August 5, 2000, by and
                                                                    between Bonray,Inc.; Energen Resources Corporation; Forcenergy Inc; Gardner Offshore
                                                                    Corporation; Guifstar Energy, Inc;;
                                                                    Gulfstream Energy Services, Inc.; Liberty Energy Gulf Corporation; Range Energy Ventures
                                                                    Corporation; and V.Saia Energy Interests, Inc., as Seller, to Range Resources Corporation and
                                                                    Chevron U.S.A. Inc., concerning the sale of the Main Pass Block 154 Platform "A" and the wells
                                                                    OCS‐G 10902 No. A001 and OCS‐G 10902 No.
                                                                    A002, all as more fully described in said document.
Land                    8/5/2000        ABOS                        Bill of Sale, Conveyance and Quit Claim, dated'effective August 5, 2000, from Energen Resources
                                                                    Corporation to Chevron •U.S.A. Inc., covering Energeh's right, title 'and interests in and to
                                                                    the.'Main Pass Block 154 Platform"A" and the wells OCS‐G 10902. No. A001 and OCS‐G 10902
                                                                    No. A002. all as more fully described in said
                                                                    document.
Land                    10/23/2000      Letter Agreement            Letter Agreement, dated October 23, 2000, between Range Resources Corporation and Chevron
                                                                    U.S.A. Inc.,entitled "Annual Reciprocity Notice Regarding Conveyance to Chevron U.S.A. Inc. of
                                                                    Main Pass Black 154,
                                                                    South and East Addition Platform "A" arid Two'Wells Thereon, Federal OCS, Offshore Alabama."

Land                    12/8/2000       Letter Agreement            Letter Agreement, dated December 8, 2000 (effective December 1, 2000), by and between
                                                                    Chevron U.S.A. Inc.and Williams Field Services ‐ Gulf COperating Agreementst Company, L.P.,
                                                                    whereby Chevron U.S.A. Inc. consents to an
                                                                    assignment by Williams Field Services ‐ Gulf COperating Agreementst Company, L.P., to its
                                                                    affiliate, Williams Mobile Bay Producer Services, L.L.C.

Land                    1/11/2001       LETTER AGREEMENT            Letter, dated January 11, 2001, from the United States Department of the Interior, Minerals
                                                                    Management Serviceto Chevron U.S.A. Inc., approving the initial participating area plat and
                                                                    Exhibit C for the Viosca Knoll 252 Unit,Agreement No. 754394013, effective November 8, 2000

Land                    11/1/2001       Letter Agreement            Letter Agreement, dated November 1, 2001, between Range Resources Corporation and Chevron
                                                                    U.S^A. Inc.,entitled "Satisfaction and Accord of Seller's P&A Obligation, Release and Discharge of
                                                                    Surety Bond
                                                                    Requirement, Amwest Surety Bond No. 15005293, Main Pass Block 154, So. and East Add."


Land                    11/3/2001       Letter Agreement            Letter Agreement, dated November 3, 2011, executed between Chevron U.S.A. Inc. (granting
                                                                    party) and Phoenix Exploration Company, LP, Apache Corporation and Castex Offshore, Inc.
                                                                    (grantees), being a conditional
                                                                    consent to assign.
Land                    1/9/2002        Letter Agreement            Letter, dated January 9, 2002, from the United States Department of the Interior, Minerals
                                                                    Management Service to Chevron U.S:A. Inc., approving.a revision to the participating area plat
                                                                    and Exhibit C for the Viosca Knoll 252 Unit, Agreement No. 754394bl'3, effective December 1,
                                                                    2001.
Land                    3/1/2002        FO                          Farmout Agmt. eff. 3‐1‐2002 b/b Samedan Oil Corporation (Farmor) and Pure Resources, L.P.
                                                                    (Farmee)
Land                    6/9/2003        PA                          Participation Agmt. eff. 6‐9‐2003 b/b Samedan Oil Corporation and CLK Company
Land                    8/7/2003        PA                          Exploration Participation Agreement, dated August 7, 2003, by and between Chevron U.S.A. Inc.
                                                                    and'Westport Resources Corporation, as amended, concerning certain Offshore Continental
                                                                    Shelf properties, all as is
                                                                    more fully, provided'for and described therein.
Land                    3/18/2004       PSA                         PSA dated 3‐18‐04 but eff. 9‐1‐2003 b/b Noble Energy, Inc. and Northstar Gulfsands, LLC
Land                    5/28/2004       Letter Agreement            Letter, dated May 28, 2004, from the United States Department of the Interior, Minerals
                                                                    Management Service to Chevron U.S.A. Inc., approving a revision to the participating area plat
                                                                    and Exhibit Cfor theiViosca Knoll 252
                                                                    Unit, Agreement No. 754394013, effective December 1, 2003.
Land                    8/1/2004        Unit Operating Agreement    Amendment and Supplement to?Unit Operating Agreement for the Viosca Knoll 252 Unit, dated
                                                                    August 1,2004, by and between Chevron UiS.A. Inc. and‐Noble Energy, Inc
Land                    9/1/2004        JOA                         Operating Agreement eff. 9‐1‐04

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Land                          10/14/2004   Letter Agreement                     Letter Agreement, dated October. 14, 2004, between Ghevron U.S.A. Inc. and Noble Energy,.Inc.
                                                                                concerning Production Handling Agreement Terin's, Viosca Knoll 251 "A'
                                                                                PlatfomvCadillacProspect and any Other Future
                                                                                Non‐unit Production
Land                          10/28/2004   PSA                                  PSA dated 10‐28‐2004 but eff. 7‐1‐2004 B/B Eni Deepwater LLC and Northstar Gulfsands, LLC

Land                          11/1/2004    PA                                   Exploration Participation Agreement, dated November 1, 2004, by and between Chevron U.S.A.
                                                                                Inc. and Newfield Exploration Company, concerning certain Offshore Continental Shelf
                                                                                properties, all as is more fully
                                                                                provided for and described therein
Land                          11/18/2004   Letter Agreement                     Letter Agreement, dated November 18; 2004, between Chevron U.S.A. Inc. and Newfield
                                                                                Exploration Company, amendihg'the;terms of Letter Agreement•,dated October f4, 2004,
                                                                                between Chevron U.S.A. Inc. and
                                                                                Noble Energy, Inc. concerning Production Handling Agreement Terms, Viosca knoll.251 "A"'
                                                                                Platform, Cadillac Prospect and any Other Future Non‐unit Production:
Land                          11/1/2005    Partition and Redemption Agreement   Partitiion and Redemption Agmt. dated 11‐1‐2005 b/b Northstar Gulfsands, LLC and Gulfsands
                                                                                Petroleum USA, Inc.
Land                          11/7/2005    Unit Agreement                       Amendment to Unit Agreement, Viosca Knoll Block 252 Unit, Contract No. 754394013, dated
                                                                                November 7, 2005 (effective November 1, 2005) as approved by the Minerals Management
                                                                                Service by letter dated January 10,2007, but made effective November 8, 2006, replacing Exhibits
                                                                                "A", "B" and "C" and Article 13.1 in its entirety (reduction of Unit Area)

Land                          12/20/2005   Letter Agreement                     Letter Agreement, dated December 20, 2005, between Noble Energy, Inc. and Ghevron U.S.A.
                                                                                Inc., being a consent.to.disclose confidential data
Land                          3/1/2006     ABOS                                 ABOS eff. 3‐1‐2006 b/b Noble Energy, Inc. as Assignor and Coldren Resources LP as Assignee.

Land                          1/10/2007    Letter Agreement                     Letter dated January 10, 2007, from the.United States Department of the Interior, Minerals
                                                                                Management Service to Chevron U.S.A. Inc., approving a revision Exhibits "A", "B" and "C"
                                                                                reflecting a change in the Unit Area due to contraction provisions in the Viosca Knoll 252 Unit,
                                                                                Agreement No. 754394013.
Land                          7/7/2008     Acquisition                          Stock Purchase Agmt dated July 7, 2008 b/b Northstar E&P, LP and Dynamic Offshore Resources,
                                                                                LLC
Land                          7/7/2008     Letter Agreement                     VR 332 A5 Letter Agmt dated July 7, 2008 b/b Northstar Interests, L.C. and Dynamic Offshore
                                                                                Resources, LLC
Land                          8/1/2011     ABOS                                 ABOS eff. 8‐1‐2011 b/b XTO Offshore Inc. ("Assingor") and Dynamic Offshore Resources, LLC
                                                                                ("Assignee")
Land                          11/3/2011    Letter Agreement                     Letter Agreement, dated November 3, 2011, executed between Chevron U.S.A. Inc. (granting
                                                                                party) and Phoenix Exploration Company, LP, Apache Corporation and Castex Offshore, Inc.
                                                                                (grantees), being a conditional
                                                                                consent to assign.
Land                          5/2/2012     Letter Agreement                     Letter, dated May 2, 2012 between Newfield Exploration Company and Chevron U.S.A. Inc.,
                                                                                being a waiver of confidentiality provision grant by Chevron in favor of Newfield;
Land                          7/1/2013     Acquisition                          PURCHASE AND SALE AGREEMENT by and among APACHE CORPORATION,APACHE SHELF, INC.,
                                                                                and
                                                                                APACHE DEEPWATER LLC collectively as the Sellers, and FIELDWOOD ENERGY LLCas Buyer and
                                                                                GOM SHELF LLC Dated as of July 18, 2013

Land                          12/1/2013    Acquisition                          Equity Purchase Agreement between Sandridge Energy, Inc., Sandridge Holdings, Inc. and
                                                                                Fieldwood Energy LLC: Fieldwood purchased all companies listed with their assets which included
                                                                                Offshore and SandRidge Legacy South Texas and South Louisiana assets.

Land                          10/15/2014   Release and Settlment Agreement      by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, Prime Offshore L.L.C.,
                                                                                Tammany Oil and Gas LLC and Castex Offshore, Inc.
Land                          4/2/2015     Consent to Disclose Confidential     by and between Filedwood Energy LLC, Bandon Oil and Gas, LP and Chevron U.S.A. Inc.: VK 252
                                           Information                          Unit Area
Land                          8/1/2015     Acquisition                          by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc. : MP 77, 78 and VK 251,
                                                                                252, 340 Fields
Land                          10/15/2015   Release and Settlement Agreement     by and between Fieldwood Energy LLC and Fairways Offshore Exploration, Inc. : Release and
                                                                                Settlement Agreement
Land                          12/1/2015    Acquisition                          by and between Fieldwood Energy Offshore LLC, ENI US Operating Inc, and ENI Petroleum US
                                                                                LLC: GA 151, SS 246, SS 247, SS 248, SS 249, SS 270, SS 271, VR 78, VR 313, WC 72, WC 100, WC
                                                                                130
Land                          12/1/2015    Release and Settlement Agreement     by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, ENI US Operating Inc.
                                                                                and ENI Petrolem US LLC: Release and Settlement Agreement
Land                          8/1/2016     Letter Agreement                     by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: RUE No. OCS‐G 22052
                                                                                for MP 154 surface wells used as disposal wells for VK 252 Unit
Land                          8/1/2016     Letter Agreement                     by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: RUE No. OCS‐G 22052
                                                                                for MP 154 surface wells used as disposal wells for VK 252 Unit
Land                          8/4/2016     Letter of No Objection               by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: submitted new RUE to
                                                                                rpelace OCS ‐G 22052, consent by chevron to issuance of new RUE
Land                          8/4/2016     Letter of No Objection               by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: submitted new RUE to
                                                                                rpelace OCS ‐G 22052, consent by chevron to issuance of new RUE
Land                          10/1/2016    ABOS                                 by and between Fieldwood Energy Offshore LLC and GS E&R America Offshore, LLC:
Land                          11/21/2016   Offer to Purchase                    by and between Fieldwood Energy Offshore LLC and GS E&R America Offshore, LLC: Offer to
                                                                                Purchase GS E &R America Offshore, LLC's Interest in GI 94, SS 79, VR 332 and WD 34

Land                          8/1/2017     ABOS                                 by and between Fieldwood Energy Offshore LLC and SCL Resources, LLC:
Land                          9/19/2017    Offer to Purchase                    by and between Fieldwood Energy Offshore LLC and SCL Resources, LLC: Offer to Purchase SCL
                                                                                Resources, LLC'S Interest in GI 94, SS 79, VR 332 and WD 34
PHA VR 315/VR 332 A01and VR   10/15/1995   PRODUCTION HANDLING AGMT             PHA VR 315/VR 332 and VR 333 by and between Fieldwood and CANNAT ENERGY INC. and
333                                                                             CANNAT ENERGY INC.
PHA VR 315/VR 332A02 and VR   10/15/1995   PRODUCTION HANDLING AGMT             PHA VR 315/VR 332 and VR 333 by and between Fieldwood and CANNAT ENERGY INC. and
333                                                                             CANNAT ENERGY INC.
PHA VR 315/VR 332A05          10/15/1995   PRODUCTION HANDLING AGMT             PHA VR 315/VR 332 and VR 333 by and between Fieldwood and ANKOR E&P HOLDINGS
                                                                                CORPORATION and ANKOR E&P HOLDINGS CORPORATION
LEASE OF PLATFORM SPACE       8/12/2019    LEASE OF PLATFORM SPACE              TAM102‐LOPS‐22 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE       6/14/2000    FACILITIES OPERATING AND             WIL174 OP&MN FEE‐VK251A by and between Fieldwood and WILLIAMS FIELD SERVICES and
                                           MAINTENANCE AGMT                     WILLIAMS FIELD SERVICES
Marketing Gas ‐ Transport     12/1/2013    IT Transport Contract                IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport     12/1/2013    IT Transport Contract                IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco

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Marketing Gas ‐ Transport       12/1/2013                         IT Transport Contract                     IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport       12/1/2013                         ISCT Contract                             ISCT Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport       12/1/2013                         IT Transport Contract                     IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas
                                                                                                            Eastern
Marketing Gas ‐ Transport       10/1/2014                         IT Gathering                              Pelican Pipeline by and between Fieldwood Energy LLC and Targa Midstream Services and Targa
                                                                                                            Midstream Services
Marketing Gas ‐ Transport       12/12013                          IT Transport Contract                     Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                                            and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport       12/1/2013                         IT‐Retrograde Transport                   Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                                            Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport       8/1/2012                          IT Transport & Discount Letter            Searobin West Discounted Trans =.1758 plus Discounted Gathering .0642 = total discounted rate ‐
                                                                                                            $.24 ‐ Discount only for SMI 39 & EI 337 by and between Fieldwood Energy Offshore, LLC and Sea
                                                                                                            Robin Pipeline Company and Sea Robin Pipeline Company

Marketing Gas ‐ Transport       8/1/2012                          IT Retrograde & Discount Letter           Searobin West Discounted Trans =.1758 plus Discounted Gathering .0642 = total discounted rate ‐
                                                                                                            $.24 ‐ Discount only for SMI 39 & EI 337 by and between Fieldwood Energy Offshore, LLC and Sea
                                                                                                            Robin Pipeline Company and Sea Robin Pipeline Company

Marketing Gas ‐ Transport       8/1/2012                          IT PTR & Discount Letter                  Searobin West Discounted Trans =.1758 plus Discounted Gathering .0642 = total discounted rate ‐
                                                                                                            $.24 ‐ Discount only for SMI 39 & EI 337 by and between Fieldwood Energy Offshore, LLC and Sea
                                                                                                            Robin Pipeline Company and Sea Robin Pipeline Company

Marketing Gas‐Gathering         6/14/2000                         Gas Gathering Agreement                 Gas Gathering Agreement by and between Fieldwood Energy LLC and Carbonate Trend and
                                                                                                          Carbonate Trend
Marketing‐Gas Gathering         6/14/2000                         Gas Gathering Agreement                 Gas Gathering Agreement by and between Fieldwood Energy LLC and Carbonate Trend and
                                                                                                          Carbonate Trend
Operating and Management        6/1/2015                          Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as
Agreement                                                         Panther Operating Company (Third Coast) the management and administrative functions for the System by and between Fieldwood Energy
                                                                                                          Offshore LLC and Third Coast Midstream LLC (formerly Panther Operating Company, LLC) and
                                                                                                          Third Coast Midstream LLC (formerly Panther Operating Company, LLC)

Operating and Management        1/1/2014 (Amends and            Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
Agreement                       supercedes the Construction and of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                Operations Agreement dated June from the Sea Robin Pipeline               administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                1, 1972.                                                                  between Fieldwood Energy LLC and and
Construction and Operation      10/1/1995                       Restated and Amendment Agreement fo The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
Agreement                                                       the Construction and Operation of the     Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                Sea Robin Gas Processing Plant Vermilion Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                Parish, Louisiana                         and and

Operating Agreement                                               Lateral Line Operating Agreement          Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                                                  Between Apache Corporation and            Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                                                  Enterprise GTM Offshore Operating         sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                                  Company, LLC                              Energy LLC and and
Operating Agreement                                               Lateral Line Operating Agreement          Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                                                  Between Dynamic Offshore Resources,       Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                                                  LLC and Enterprise GTM Offshore           sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                                  Operating Company, LLC                    Energy Offshore LLC and and
Operating Agreement                                               Lateral Line Operating Agreement          Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                                                  Between Dynamic Offshore Resources,       Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                                                  LLC and Enterprise GTM Offshore           sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                                  Operating Company, LLC                    Energy Offshore LLC and and
Liquid Transportation BTU Makeup 11/1/2007                        Injected and Retrograde Condensate        Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                                  Transportation and Btu Reduction Make‐ Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
                                                                  up Agreement‐Southeast Lateral (into
                                                                  Bayou Black) 28 0008 000
Terminalling Agreement          2/1/2014                          Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                  Liquidsllc and Fieldwood Energy LLC ‐     Liquid LLC
                                                                  Contract BB111
Oil Liquids Transporation       5/1/2015                          Transportation Agreement for              Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
Agreement                                                         Interruptible Service Under Rate Schedule Company, LLC and Sea Robin Pipeline Company, LLC
                                                                  ITS Between Sea Robin Pipeline Company,
                                                                  LLC and Fieldwood Energy LLC

Oil Liquids Transport           5/1/2015                          Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                  for Interruptible Service Under Rate    Company, LLC and Sea Robin Pipeline Company, LLC
                                                                  Schedule ITS between Sea Robin Pipeline
                                                                  Company, LLC and Fieldwood Energy LLC

Oil Retrograde Condensate       9/1/2012                          Amendment No. 3 to Retrograde             Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                              Condensate Separation Agreement           Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate       3/1/2018                          Amendment No. 5 to Retrograde             Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                              Condensate Separation Agreement No.       Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                                                                  2393
Crude Sales                     8/19/2020                         STUSCO CONTRACT REF. NO. ‐                STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                  CL69LP0065                                Trading (US) Company and Shell Trading (US) Company
Crude Sales                     8/19/2020                         STUSCO CONTRACT REF. NO. ‐                STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                  CL69LP0069                                Trading (US) Company and Shell Trading (US) Company
Crude Sales                     8/19/2020                         STUSCO CONTRACT REF. NO. ‐                STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                  CL69LP0071                                Trading (US) Company and Shell Trading (US) Company
Crude Sales                     8/19/2020                         STUSCO CONTRACT REF. NO. ‐                STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                  CL69LP0071                                Trading (US) Company and Shell Trading (US) Company
Crude Sales                     8/19/2020                         STUSCO CONTRACT REF. NO. ‐                STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                  CL69LP0071                                Trading (US) Company and Shell Trading (US) Company
Crude Sales                     8/11/2020                         STUSCO CONTRACT REF. NO. ‐                STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                  CLP0003964                                Trading (US) Company and Shell Trading (US) Company
Crude Sales                     1/31/2014                         Term Evergreen Lease Purchase             Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                                                            Chevron Products Company and Chevron Products Company
MARKETING ‐ GAS PROCESSING      4/1/2020                          PROCESSING‐POL‐THEORETICAL                POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                                            LIG LIQUIDS, LLC

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MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL            POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL            POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   10/1/2010    PROCESSING AGREEMENT‐GREATER of       GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                          Fee or POL                            Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING   11/1/2010    PROCESSING AGREEMENT‐ 1ST             GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                          AMENDMENT‐GREATER of Fee or POL       Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING   7/24/2012    PROCESSING AGREEMENT‐ 2ND             GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                          AMENDMENT‐GREATER of Fee or POL       Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING   10/1/1995    CONTRUCTION/OPERATING (NI)            CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   9/1/2010     EXHIBIT B‐1 COMMITMENT FORM TO        EXHIBIT B‐1 COMMITMENT FORM TO C&O AGREEMENT by and between Fieldwood Energy LLC
                                          C&O AGREEMENT                         and Enterprise Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   10/18/2010   BALLOT TO EXTEND MCMORAN GPA          BALLOT TO EXTEND MCMORAN GPA THORUGH 12/31/2011 by and between Fieldwood Energy
                                          THORUGH 12/31/2011                    LLC and Enterprise Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   12/1/2010    BALLOT TO AMEND EXHIBIT E TO C&O      BALLOT TO AMEND EXHIBIT E TO C&O AGREEMENT by and between Fieldwood Energy LLC and
                                          AGREEMENT                             Enterprise Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   6/1/2012     EXHIBIT B‐1 COMMITMENT FORM TO        EXHIBIT B‐1 COMMITMENT FORM TO C&O AGREEMENT by and between Fieldwood Energy LLC
                                          C&O AGREEMENT                         and Enterprise Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   7/1/2012     BALLOT TO APPROVE ENTERPRISE AS       BALLOT TO APPROVE ENTERPRISE AS PLANT OPERATOR TO C&O AGREEMENT by and between
                                          PLANT OPERATOR TO C&O AGREEMENT       Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas Processing LLC

MARKETING ‐ GAS PROCESSING   7/1/2012     APPROVAL OF AFES TO C&O AGREEMENT APPROVAL OF AFES TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                             Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   9/25/2013    BALLOT TO C&O AGREEMENT            BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                             Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                             Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   12/1/2000    SERVICE‐DEHYDRATION (NI)           SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                             Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   2/1/2000     SERVICE‐FRACTIONATION (NI)         SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                             Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/1/1992     BASE                               BASE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                             Gas Processing LLC
MARKETING ‐ GAS PROCESSING   10/1/1995    CONSTRUCTION/OPERATING (NI)        CONSTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                             Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   10/13/1998   RAW MAKE                           RAW MAKE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                             Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   11/13/1998   AMENDMEMT                          AMENDMEMT by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                             Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/31/2001    LIQ EXCHANGE                       LIQ EXCHANGE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                             Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   2/1/2005     GAS PROCESSING AGREEMENT           88/12% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                             Gas Processing LLC
MARKETING ‐ GAS PROCESSING   2/20/2008    FIRST AMENDMENT TO GAS PROCESSING 88/12% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                          AGREEMENT                          Gas Processing LLC
Environmental/Govt           6/24/2019    Master Services Contract           – IT and Consulting Support for the HWCG ‐ Fieldwood Portal for Various Exercises
Environmental/Govt           10/2/2019    Software License Agreement         IT and Consulting Support for the HWCG ‐ Fieldwood Portal for Various Exercises
Environmental/Govt           11/19/2018   Master Service Contract            Regulatory
Environmental/Govt           11/1/2013    Master Services Contract           Platform Audits / BSEE Drawings
Environmental/Govt           10/30/2019   Master Client Agreement            Industry Standards, Analytics, and Research / Subscription Service
Environmental/Govt           11/15/2019   Order Form                         Industry Standards, Analytics, and Research / Subscription Service
Land                         10/1/2003    PSA                                By and Between UNOCAL, Pure Resources, L.P., Pure Partners, L.P. and SPN Resources, LLC
                                                                             (Fieldwood SP)
Land                         5/16/2001    JOA                                Unocal and Callon dated 5/16/2001 but effective 2/14/2001
Land                         8/1/2010     JOA                                Amdt to JOA dated 5/16/2001 by and between Unocal and Callon
Land                         11/28/1979   OA                                 McMoRan et al
Land                         2/18/2000    OA                                 b/b Chevron and Samedan




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None




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Exhibit III‐A
                 Field                                      Block              Lease                Type       Rights      Date Le Eff   Date Le Exp   Le Cur Acres (Ac)            Operator               WI        Lease Status
                 MYETTE POINT ‐ ONSHORE                       –                14519               SL ‐ TX      WI             –             –                –                        –                    50.0%        UNIT
                 MYETTE POINT ‐ ONSHORE                       –                14520               SL ‐ TX      WI             –             –                –                        –                    50.0%        UNIT
                 MYETTE POINT ‐ ONSHORE                       –                14914               SL ‐ TX      WI             –             –                –                        –                    65.6%        UNIT
                 SOUTH PASS 42/43 FED / SL LA                 –                16869               SL‐ LA       WI             –             –                –                        –                   100.0%        PROD
                 EUGENE ISLAND 010 (SL 19269) ‐ (SL LA)       –                19266               SL‐ LA       WI             –             –                –                        –                    17.3%       ACTIVE
                 FRANKLIN GAP                                 –          JMB Partnership          Onshore                   2/6/2019                                                                       100.0%         –
                 FRANKLIN GAP                                 –          JMB Partnership          Onshore                  2/25/2018                                                                       100.0%         –
                 FRANKLIN GAP                                 –      Richardson A Caffery et al   Onshore                   2/1/2016                                                                       100.0%         –
                 FRANKLIN GAP                                 –      Caroline Baker Trust No 1    Onshore                  1/22/2016                                                                       100.0%         –
                 ONSHORE/ STATE LEASE                         –                19051               SL‐ LA       ORRI        8/9/2006                                         Southern Oil of Louisiana        0.2%       UNIT
                 WEST CAMERON 009 (SL LA)                     –                18287               SL‐ LA       WI             –             –                –                        –                    44.2%         –
                                                              –                17072               SL‐ LA       WI             –             –                –                                             37.8%       ACTIVE
                                                              –                42450               SL‐ LA       WI             –             –                –                 Fieldwood Onshore           62.5%    TERMINATED
                                                              –               490100               SL‐ LA       WI             –             –                –            dRidge Exploration & Produc      100.0%     SCOPING
                 STATE TRACT 773                              –               111650               SL ‐ TX                                                                        TR Offshore, LLC            7.2%     ACTIVE
                 STATE TRACT 773                              –               115727               SL ‐ TX                                                                        TR Offshore, LLC            7.0%     ACTIVE
                 STATE TRACT 773                              –               114988               SL ‐ TX                                                                        TR Offshore, LLC            7.0%     ACTIVE
                                                              –                19334               SL ‐ TX      WI             –             –                –             Elliott Oil & Gas Operating     75.0%     INJECTION
                                                              –               136449               SL ‐ TX      WI             –             –                –                   TR Offshore, LLC            7.0%      ACTIVE
                                                              –                09061               SL ‐ TX      WI             –             –                –                  Landon Browning            33.3%      TERMIN
                                                              –               168986               SL ‐ TX      WI             –             –                –                 Fieldwood Onshore          100.0%      TERMIN
                                                              –               189098               SL ‐ TX      WI             –             –                –                 Fieldwood Onshore          100.0%      TERMIN
                                                              –               206882               SL ‐ TX      WI             –             –                –                 Fieldwood Onshore          100.0%      TERMIN
                 BRETON SOUND 52/53 FED / SL LA               –                03770               SL‐ LA       WI             –             –                –                           –                 50.0%        UNIT
                 BRAZOS A‐102/A‐105                       BA A‐102            G01754              Federal        RT         6/1/1968     6/14/2020          5,760                   Fieldwood En           100.0%      TERMIN
                 BRAZOS A‐102/A‐105                       BA A‐105            G01757              Federal       RT A        7/1/1968                        5,760                   Fieldwood En            87.5%        PROD
                 BRAZOS A‐102/A‐105                       BA A‐105            G01757              Federal       RT B        7/1/1968                        5,760                   Fieldwood En           100.0%        PROD
                 BRAZOS A‐133                             BA A‐133            G02665              Federal        RT         7/1/1974                        5,760                    GOM Shelf              25.0%        PROD
                 EAST BREAKS 158/159/160/161               EB 158             G02645              Federal        RT         7/1/1974                        5,760                Fieldwood SD Off           66.0%        PROD
                 EAST BREAKS 158/159/160/161               EB 159             G02646              Federal        RT         7/1/1974                        5,760                Fieldwood SD Off           66.0%        PROD
                 EAST BREAKS 158/159/160/161               EB 160             G02647              Federal        RT         7/1/1974                        5,760                Fieldwood SD Off          100.0%        PROD
                 EAST BREAKS 158/159/160/161               EB 161             G02648              Federal        RT         7/1/1974                        5,760                Fieldwood SD Off          100.0%        PROD
                 EAST BREAKS 165                           EB 165             G06280              Federal        RT        10/1/1983                        5,760                Fieldwood SD Off          100.0%        UNIT
                 EAST BREAKS 165                           EB 209             G07397              Federal        RT         9/1/1984                        5,760                Fieldwood SD Off          100.0%        UNIT
                 EAST CAMERON 330                          EC 330             G03540              Federal       OP 1        8/1/1977      2/8/2017          5,000                Fieldwood En Off           50.0%      TERMIN
                 EAST CAMERON 331/332                      EC 331             G08658              Federal       OP 1        8/1/1987                        5,000                Fieldwood En Off           92.8%      TERMIN
                 EAST CAMERON 331/332                      EC 331             G08658              Federal       OP 2        8/1/1987                        5,000                Fieldwood En Off           92.8%      TERMIN
                 EAST CAMERON 331/332                      EC 332             G09478              Federal        RT         5/1/1988                        5,000                Fieldwood En Off           88.0%      TERMIN
                 EAST CAMERON 331/332                      EC 332             G09478              Federal       OP 1        5/1/1988                        5,000                Fieldwood En Off           88.0%      TERMIN
                 EAST CAMERON 349                          EC 349             G14385              Federal       OP 1        5/1/1994                        5,000                     W & T Off             25.0%        PROD
                 EAST CAMERON 349                          EC 350             G15157              Federal       OP 1        9/1/1995     12/27/2001         5,000                     W & T Off             25.0%      TERMIN
                 EAST CAMERON 349                          EC 356             G13592              Federal        RT         9/1/1992     12/29/1999         5,000                     W & T Off             25.0%       RELINQ
                 EAST CAMERON 371                          EC 371             G02267              Federal      CONT         2/1/1973      3/31/2010         5,000                     Talos ERT                25%     TERMIN
                 EUGENE IS. 100                             EI 100             00796              Federal    Contractual    5/1/1960          –             5,000                   Fieldwood En           100.0%        PROD
                 EUGENE IS. 173/174/175                     EI 175             00438              Federal       OP 1       12/1/1954          –             5,000                   Fieldwood En            25.0%        PROD
                 EUGENE IS. 307                             EI 307            G02110              Federal        RT         2/1/1971      11/4/2019         2,500                Fieldwood En Off           25.0%      TERMIN
                 SOUTH MARSH IS. 142 / EUGENE IS. 312       EI 311            G27918              Federal        RT         7/1/2006      9/27/2012         5,000                 Dynamic Off Res           60.0%      TERMIN
                 SOUTH MARSH IS. 142 / EUGENE IS. 312       EI 312            G22679              Federal       OP 1        6/1/2001      8/7/2020          5,000                   Fieldwood En            60.0%      TERMIN
                 EUGENE IS. 32                               EI 32             00196              Federal       OP 1       11/26/1946                       5,000                       Cox Op              23.7%        PROD
                 EUGENE IS. 330                             EI 330            G02115              Federal    Contractual    1/1/1971                        5,000                   Fieldwood En            17.0%        UNIT
                 EUGENE IS. 342/343                         EI 342            G02319              Federal       RT A        2/1/1973                        5,000                   Fieldwood En            50.0%      TERMIN
                 EUGENE IS. 53                               EI 53             00479              Federal       OP 1       12/1/1954                        5,000                   Fieldwood En            11.1%        PROD
                 EUGENE IS. 62/63/77                         EI 63             00425              Federal        RT        12/1/1954     10/20/2003         5,000                Fieldwood En Off          100.0%      TERMIN
                 EWING BANK 782/826 / ST 291               EW 782             G05793              Federal      CONT         7/1/1983     3/25/1994           1093                   Fieldwood En           100.0%      TERMIN
                 GALVESTON 151                             GA 151             G15740              Federal        RT        11/1/1995     4/12/2016          4,804                   Fieldwood En            33.0%      TERMIN
                 GALVESTON 210                             GA 210             G25524              Federal       OP 1       12/1/2003                        5,760                   Fieldwood En            16.7%        PROD
                 GALVESTON 210                             GA 210             G25524              Federal       OP 3       12/1/2003                        5,760                   Fieldwood En            33.0%        PROD
                 GALVESTON A‐155                          GA A‐155            G30654              Federal        RT        10/1/2006     5/14/2018          5,760                  Peregrine O&G            10.8%      TERMIN
                 GREEN CANYON 157                          GC 157             G24154              Federal        RT         6/1/2002     8/15/2020           5760                   LLOG Exp Off            15.0%      TERMIN
                 GREEN CANYON 157                          GC 201             G12210              Federal        OP         5/1/1990                         5760                Fieldwood En Off           15.0%        UNIT
                 GREEN CANYON 200 (Troika)                 GC 245             G05916              Federal      CONT         7/1/1983                         5760                Fieldwood En Off         100.00%      TERMIN
                 GREEN CANYON 64/65/108/109/243             GC 64             G07005              Federal      CONT         6/1/1984     5/29/1998           5760                Fieldwood En Off           49.0%       RELINQ
                 HIGH IS. A‐341                           HI A‐341            G25605              Federal        RT        12/1/2003                        5,760                   Fieldwood En            40.0%        PROD
                 HIGH IS. A‐365/A‐376                     HI A‐365            G02750              Federal        RT         7/1/1974                        5,760                   Fieldwood En            49.6%        PROD
                 HIGH IS. A‐365/A‐376                     HI A‐376            G02754              Federal        RT         7/1/1974                        5,760                   Fieldwood En            55.4%        PROD
                 HIGH IS. A‐573 (382/572/573/595/596)     HI A‐382            G02757              Federal        RT         7/1/1974                        5,760                   Fieldwood En            27.6%        PROD
                 HIGH IS. A‐474                           HI A‐474            G02366              Federal        RT         8/1/1973     2/28/2017          5,760                 McMoRan O&G               12.0%      TERMIN
                 HIGH ISLAND A‐474/489                    HI A‐475            G02367              Federal      CONT         8/1/1973     12/25/1999         5,760                 McMoRan O&G               12.0%      TERMIN
                 HIGH IS. A‐474                           HI A‐489            G02372              Federal        RT         8/1/1973     2/28/2017          5,760                 McMoRan O&G               12.0%      TERMIN
                 HIGH ISLAND A‐510                        HI A‐531            G02696              Federal       OP 1        7/1/1974     11/6/2016          5,760                Fieldwood En Off           75.0%      TERMIN
                 HIGH IS. A‐550                           HI A‐550            G04081              Federal        RT        10/1/1979                        5,760                Fieldwood En Off          100.0%        PROD
                 HIGH IS. A‐550                           HI A‐550            G04081              Federal       OP 1       10/1/1979                        5,760                Fieldwood En Off          100.0%        PROD
                 HIGH IS. A‐550                           HI A‐550            G04081              Federal       OP 2       10/1/1979                        5,760                Fieldwood En Off          100.0%        PROD
                 HIGH IS. A‐563 (563/564/581/582)         HI A‐563            G02388              Federal       OP 1        8/1/1973                        5,760                       Cox Op                2.0%       PROD
                 HIGH IS. A‐563 (563/564/581/582)         HI A‐564            G02389              Federal       OP 1        8/1/1973     4/18/1998          5,760                       Cox Op                2.0%     TERMIN
                 HIGH IS. A‐573 (382/572/573/595/596)     HI A‐572            G02392              Federal        RT         8/1/1973     5/18/2006          5,760                   Fieldwood En            24.1%      TERMIN
                 HIGH IS. A‐573 (382/572/573/595/596)     HI A‐573            G02393              Federal        RT         8/1/1973                        5,760                   Fieldwood En            27.6%        PROD
                 HIGH IS. A‐563 (563/564/581/582)         HI A‐581            G18959              Federal        RT        12/1/1997      7/1/2005          5,760                       Cox Op                2.0%     TERMIN
                 HIGH IS. A‐563 (563/564/581/582)         HI A‐582            G02719              Federal       OP 1        7/1/1974                        5,760                       Cox Op                2.3%       PROD
                 HIGH IS. A‐573 (382/572/573/595/596)     HI A‐595            G02721              Federal        RT         7/1/1974                        5,760                   Fieldwood En            27.6%        PROD
                 HIGH IS. A‐573 (382/572/573/595/596)     HI A‐596            G02722              Federal        RT         7/1/1974                        5,760                   Fieldwood En            27.6%        PROD
                 MOBILE BAY 861                           MO 861              G05062              Federal        RT         4/1/1982     10/13/2009         5,198             Providence Res GOM 2         100.0%      TERMIN
                 MOBILE BAY 861                           MO 861              G05062              Federal       OP 1        4/1/1982     10/13/2009         5,198             Providence Res GOM 2          50.0%      TERMIN
                 MAIN PASS 101                             MP 101             G22792              Federal        RT         7/1/2001      9/5/2014          4,995                Fieldwood En Off           77.5%      TERMIN
                 MAIN PASS 109                             MP 109             G22794              Federal       OP 1        5/1/2001      4/1/2016          4,995                     W & T Off             33.3%      TERMIN
                 MAIN PASS 109                             MP 109             G22794              Federal       OP 2        5/1/2001      4/1/2016          4,995                     W & T Off             33.3%      TERMIN
                 MAIN PASS 77                               MP 77             G04481              Federal        RT        11/1/1980                        4,655                Fieldwood En Off           73.8%       RELINQ
                 SOUTH PELTO 13                             PL 13             G03171              Federal       OP 3        7/1/1975     5/23/2018          5,000                     ANKOR En                2.0%     TERMIN
                 VERMILION 272 / SOUTH MARSH 102           SM 102             G24872              Federal        RT         5/1/2003                        3,113                Fieldwood En Off          100.0%        PROD
                 SOUTH MARSH IS. 132                       SM 132             G02282              Federal        RT         2/1/1973     4/1/2016           5,000                   Fieldwood En            50.0%      TERMIN
                 SOUTH MARSH IS. 136/137/149/150           SM 135             G19776              Federal        RT         5/1/1998     2/18/2012          3,293                   Fieldwood En            50.0%      TERMIN
                 SOUTH MARSH IS. 136/137/149/150           SM 136             G02588              Federal        RT         5/1/1974     8/4/2019           2,500                   Fieldwood En            50.0%      TERMIN
                 SOUTH MARSH IS. 136/137/149/150           SM 137             G02589              Federal        RT         5/1/1974     6/30/2015          5,000                   Fieldwood En            50.0%      TERMIN
                 SOUTH MARSH IS. 147                       SM 139             G21106              Federal       OP 1        7/1/1999     8/22/2020          5,000                Fieldwood En Off          100.0%      TERMIN
                 SOUTH MARSH IS. 142 / EUGENE IS. 312      SM 142             G01216              Federal        RT         6/1/1962     8/7/2020           2,761                Fieldwood En Off           86.1%      TERMIN
                 SOUTH MARSH IS. 142 / EUGENE IS. 312      SM 142             G01216              Federal       OP 1        6/1/1962     8/7/2020           2,761                Fieldwood En Off           86.1%      TERMIN
                 SOUTH MARSH IS. 142 / EUGENE IS. 312      SM 143             G01217              Federal      CONT         5/1/1962     7/17/1997          2,738                Fieldwood En Off           16.0%      TERMIN
                 SOUTH MARSH IS. 147                       SM 146             G09546              Federal        RT         7/1/1988     6/1/2012           5,000                 Dynamic Off Res          100.0%      TERMIN
                 SOUTH MARSH IS. 147                       SM 147             G06693              Federal        RT         7/1/1984     1/14/2011          5,000                Fieldwood En Off          100.0%      TERMIN
                 SOUTH MARSH IS. 136/137/149/150           SM 150             G16325              Federal        RT         6/1/1996     5/22/2018          3,329                   Fieldwood En            50.0%       RELINQ
                 SOUTH MARSH IS. 268/269/280/281           SM 268             G02310              Federal        RT         1/1/1973     9/7/2009           3,237                   Fieldwood En            30.1%      TERMIN
                 SOUTH MARSH IS. 268/269/280/281           SM 269             G02311              Federal        RT         1/1/1973                        5,000                   Fieldwood En            17.7%        PROD
                 SOUTH MARSH IS. 268/269/280/281           SM 269             G02311              Federal        RT         1/1/1973                        5,000                   Fieldwood En              9.1%       PROD
                 SOUTH MARSH IS. 268/269/280/281           SM 269             G02311              Federal        RT         1/1/1973                        5,000                   Fieldwood En              0.4%       PROD
                 SOUTH MARSH IS. 268/269/280/281           SM 280             G14456              Federal       OP 1        6/1/1994                        5,000                   Fieldwood En            50.0%        PROD
                 SOUTH MARSH IS. 268/269/280/281           SM 280             G14456              Federal       OP 3        6/1/1994                        5,000                   Fieldwood En            50.0%        PROD
                 SOUTH MARSH IS. 268/269/280/281           SM 281             G02600              Federal        RT         4/1/1974                        3,214                   Fieldwood En            31.9%        PROD

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                               Exhibit III-A




Field                                      Block       Lease    Type     Rights   Date Le Eff   Date Le Exp   Le Cur Acres (Ac)       Operator       WI        Lease Status
SOUTH MARSH IS. 66                        SM 66       G01198   Federal     RT      6/1/1962     9/25/2019          5,000            Fieldwood En      50.0%      TERMIN
VERMILION 272 / SOUTH MARSH 102           SM 87       G24870   Federal     RT      5/1/2003                        3,077              Castex Off     100.0%       PROD
SOUTH PASS 60                              SP 17      G02938   Federal     RT     11/1/1974                         962           Fieldwood En Off   100.0%       UNIT
SOUTH PASS 37                              SP 37       00697   Federal    OP 1    10/1/1959         –              2,500            Whitney O&G       44.0%       PROD
SOUTH PASS 42/43 FED / SL LA              SP 42        03011    SL‐ LA    WI          –             –                –                    –          100.0%        SOP
SOUTH PASS 60                              SP 59      G02942   Federal     RT     11/1/1974                        1,657          Fieldwood En Off   100.0%       UNIT
SOUTH PASS 60                              SP 59      G02943   Federal     RT     11/1/1974                         907           Fieldwood En Off   100.0%       UNIT
SOUTH PASS 60                          SP 59, SP 60   G01608   Federal     RT      7/1/1967                        3,510          Fieldwood En Off   100.0%       UNIT
SOUTH PASS 60                              SP 6       G03337   Federal    RT       4/1/1976                         318           Fieldwood En Off   100.0%       UNIT
SOUTH PASS 60                              SP 6       G03337   Federal    OP       4/1/1976                         318           Fieldwood En Off   100.0%       UNIT
SOUTH PASS 60                              SP 60      G02137   Federal     RT     11/1/1971                        1,762          Fieldwood En Off   100.0%       UNIT
SOUTH PASS 60                              SP 61      G01609   Federal     RT      7/1/1967                        5,000            Fieldwood En     100.0%       UNIT
SOUTH PASS 60                              SP 61      G01609   Federal    OP 1     7/1/1967                        5,000            Fieldwood En     100.0%       UNIT
SOUTH PASS 60                              SP 66      G01611   Federal     RT      6/1/1967                        4,310          Fieldwood En Off   100.0%       UNIT
SOUTH PASS 60                              SP 67      G01612   Federal     RT      7/1/1967                        5,000          Fieldwood En Off   100.0%       UNIT
SHIP SHOAL 149                            SS 149       00434   Federal    OP 1     1/1/1955     2/25/2020          5,000              W & T Off         3.0%     TERMIN
SHIP SHOAL 149                            SS 149       00434   Federal    OP 2     1/1/1955     2/25/2020          5,000              W & T Off         3.0%     TERMIN
SHIP SHOAL 149                            SS 149       00434   Federal    OP 1     1/1/1955     2/25/2020          5,000               W&T Off          3.0%     TERMIN
SHIP SHOAL 149                            SS 149       00434   Federal    OP 2     1/1/1955     2/25/2020          5,000               W&T Off          3.0%     TERMIN
SHIP SHOAL 169/182/193/194                SS 169       00820   Federal     RT      4/1/1960                        5,000            Fieldwood En      33.3%       PROD
SHIP SHOAL 177                            SS 177       00590   Federal     RT      9/1/1955                        5,000              W & T Off       25.0%       PROD
SHIP SHOAL 189                            SS 189      G04232   Federal    OP 5    12/1/1979                        5,000            Fieldwood En        1.0%      PROD
SHIP SHOAL 204                            SS 204      G01520   Federal     RT      7/1/1967                        5,000            Fieldwood En      20.9%       PROD
SHIP SHOAL 204                            SS 204      G01520   Federal     RT      7/1/1967                        5,000            Fieldwood En        0.2%      PROD
SHIP SHOAL 190/206/216                    SS 206      G01522   Federal     RT      7/1/1967                        5,000            Fieldwood En      40.0%       UNIT
SHIP SHOAL 190/206/216                    SS 207      G01523   Federal     RT      7/1/1967                        5,000            Fieldwood En      27.5%       UNIT
SHIP SHOAL 190/206/216                    SS 207      G01523   Federal     RT      7/1/1967                        5,000            Fieldwood En        0.3%      UNIT
SHIP SHOAL 190/206/216                    SS 207      G01523   Federal     OP      7/1/1967                        5,000            Fieldwood En        0.3%      UNIT
SHIP SHOAL 214                            SS 214       00828   Federal     RT      5/1/1960                        5,000              W & T Off       35.5%       PROD
SHIP SHOAL 214                            SS 214       00828   Federal    OP 1     5/1/1960                        5,000              W & T Off       13.5%       PROD
SHIP SHOAL 190/206/216                    SS 216      G01524   Federal     RT      7/1/1967                        5,000            Fieldwood En      19.7%       PROD
SHIP SHOAL 190/206/216                    SS 216      G01524   Federal     RT      7/1/1967                        5,000            Fieldwood En        0.3%      PROD
SHIP SHOAL 233/238                        SS 232      G15293   Federal     RT      9/1/1995     2/10/2012          5,000              W & T Off       33.8%      TERMIN
SHIP SHOAL 214                            SS 233      G01528   Federal     RT      7/1/1967                        5,000              W & T Off       33.8%       PROD
SHIP SHOAL 233/238                        SS 238      G03169   Federal     RT      7/1/1975                        5,000              W & T Off       34.5%       PROD
SHIP SHOAL 233/238                        SS 238      G03169   Federal    OP 2     7/1/1975                        5,000          Peregrine O&G II    34.5%       PROD
SHIP SHOAL 246/247/248/270/271            SS 246      G01027   Federal   OP 11     6/1/1962                        5,000          Fieldwood En Off    80.7%      TERMIN
SHIP SHOAL 246/247/248/270/271            SS 246      G01027   Federal   OP 13     6/1/1962                        5,000          Fieldwood En Off    76.8%      TERMIN
SHIP SHOAL 246/247/248/270/271            SS 247      G01028   Federal    RT B     6/1/1962                        5,000          Fieldwood En Off    89.2%       UNIT
SHIP SHOAL 246/247/248/270/271            SS 247      G01028   Federal    RT C     6/1/1962                        5,000          Fieldwood En Off    77.3%       UNIT
SHIP SHOAL 246/247/248/270/271            SS 248      G01029   Federal    RT B     6/1/1962                        5,000          Fieldwood En Off    77.3%       UNIT
SHIP SHOAL 246/247/248/270/271            SS 249      G01030   Federal    OP 1     6/1/1962                        5,000          Fieldwood En Off    79.7%       UNIT
SHIP SHOAL 246/247/248/270/271            SS 249      G01030   Federal    OP 2     6/1/1962                        5,000          Fieldwood En Off    68.8%       UNIT
SHIP SHOAL 252/253                        SS 252      G01529   Federal     RT      7/1/1967                        5,000          Fieldwood En Off   100.0%       PROD
SHIP SHOAL 252/253                        SS 252      G01529   Federal    OP 1     7/1/1967                        5,000          Fieldwood En Off   100.0%       PROD
SHIP SHOAL 252/253                        SS 252      G01529   Federal    OP 2     7/1/1967                        5,000          Fieldwood En Off    31.9%       PROD
SHIP SHOAL 252/253                        SS 253      G01031   Federal     RT      6/1/1962                        5,000          Fieldwood En Off   100.0%       PROD
SHIP SHOAL 252/253                        SS 253      G01031   Federal    OP 1     6/1/1962                        5,000          Fieldwood En Off   100.0%       PROD
SHIP SHOAL 252/253                        SS 253      G01031   Federal    OP 2     6/1/1962                        5,000          Fieldwood En Off   100.0%       PROD
SHIP SHOAL 252/253                        SS 253      G01031   Federal    OP 4     6/1/1962                        5,000          Fieldwood En Off   100.0%       PROD
SHIP SHOAL 252/253                        SS 253      G01031   Federal    OP 5     6/1/1962                        5,000          Fieldwood En Off   100.0%       PROD
SHIP SHOAL 246/247/248/270/271            SS 270      G01037   Federal     RT     3/13/1962                        5,000          Fieldwood En Off    89.2%       UNIT
SHIP SHOAL 246/247/248/270/271            SS 271      G01038   Federal     RT     3/13/1962                        5,000          Fieldwood En Off    72.3%       UNIT
SHIP SHOAL 246/247/248/270/271            SS 271      G01038   Federal     OP     3/13/1962                        5,000          Fieldwood En Off    72.3%       UNIT
SHIP SHOAL 300/314/315                    SS 291      G02923   Federal    RT B    12/1/1974                        3,750            Fieldwood En      15.4%      OPERNS
SHIP SHOAL 300/314/315                    SS 300      G07760   Federal     RT      8/1/1985                        5,000              W & T Off       24.3%       PROD
SHIP SHOAL 300/314/315                    SS 315      G09631   Federal     RT      6/1/1988                        5,000              W & T Off       25.0%       PROD
                                          ST 169      G01253   Federal     RT      6/1/1962      1/8/2010          4,708              Beryl O&G      100.0%      TERMIN
SOUTH TIMBALIER 195                       ST 195      G03593   Federal     RT      8/1/1977      2/5/2019          5,000          Fieldwood En Off   100.0%      TERMIN
SOUTH TIMBALIER 316                       ST 315      G23946   Federal     RT      7/1/2002                        4,458              W & T Off       50.0%       PROD
SOUTH TIMBALIER 316                       ST 316      G22762   Federal     RT      6/1/2001                        4,435              W & T Off       40.0%       PROD
VIOSCA KNOLL 780                          VK 824      G15436   Federal   CONT      9/1/1995     8/20/2013          5,760            Fieldwood En        6.1%     RELINQ
VIOSCA KNOLL 826 (NEPTUNE)                VK 826      G06888   Federal     RT      6/1/1984     5/16/2018           5760            Fieldwood En     100.0%      TERMIN
VK0826‐VIOSCA KNOLL 826 (NEPTUNE) SWO     VK 917      G15441   Federal     OP      7/1/1995                         5760            Fieldwood En      85.0%       PROD
VIOSCA KNOLL 917 / 962 (SWORDFISH)        VK 962      G15445   Federal    OP 1     7/1/1995      8/4/2019           5760            Fieldwood En      85.0%      TERMIN
VERMILION 196                             VR 196      G19760   Federal    OP 1     8/1/1998                        5,000          Fieldwood En Off    63.1%      TERMIN
VERMILION 196                             VR 207      G19761   Federal    OP 1     8/1/1998     7/27/2009          5,000          Fieldwood En Off    46.4%      RELINQ
VERMILION 261/262                         VR 261      G03328   Federal     RT      4/1/1976     8/10/2020          5,429            Fieldwood En      25.0%      TERMIN
VERMILION 261/262                         VR 261      G03328   Federal    OP 1     4/1/1976     8/10/2020          5,429            Fieldwood En      25.0%      TERMIN
VERMILION 261/262                         VR 262      G34257   Federal     RT     10/1/2012     7/7/2017           5,485            Fieldwood En      25.0%      RELINQ
VERMILION 272 / SOUTH MARSH 102           VR 272      G23829   Federal     RT      6/1/2002                        4,381          Fieldwood En Off   100.0%       PROD
VERMILION 272 / SOUTH MARSH 102           VR 273      G14412   Federal    OP 3     5/1/1994      6/1/2010          5,000          Fieldwood En Off   100.0%      TERMIN
VERMILION 279                             VR 279      G11881   Federal    OP 1     5/1/1990                        5,000             Talos En Off     50.0%      TERMIN
VERMILION 313                             VR 313      G01172   Federal    OP 1     6/1/1962                        5,000          Fieldwood En Off   100.0%      TERMIN
VERMILION 313                             VR 313      G01172   Federal    OP 2     6/1/1962                        5,000          Fieldwood En Off   100.0%      TERMIN
VERMILION 408                             VR 408      G15212   Federal   CONT      7/1/1995                        5,000            Fieldwood En      33.2%       PROD
WEST CAMERON 171                         WC 171       G01997   Federal     RT      1/1/1971     1/31/2014          5,000                 XTO          33.5%      TERMIN
WEST CAMERON 295                         WC 295       G24730   Federal    OP 1     5/1/2003                        5,000            Fieldwood En      13.8%       PROD
WEST CAMERON 485/507                     WC 485       G02220   Federal     RT      2/1/1973                        5,000          Fieldwood En Off   100.0%       UNIT
WEST CAMERON 498                         WC 498       G03520   Federal     RT      8/1/1977                        5,000                Cox Op          3.7%      PROD
WEST CAMERON 485/507                     WC 507       G02549   Federal     RT      4/1/1974                        2,500          Fieldwood En Off   100.0%       UNIT
WEST CAMERON 485/507                     WC 507       G02549   Federal    OP 1     4/1/1974                        2,500          Fieldwood En Off    50.0%       UNIT
WEST CAMERON 485/507                     WC 507       G10594   Federal     RT      6/1/1989                        2,500          Fieldwood En Off   100.0%       UNIT
WEST CAMERON 35/65/66                     WC 65       G02825   Federal    OP 4    12/1/1974                        5,000            Fieldwood En      18.8%       PROD
WEST CAMERON 35/65/66                     WC 66       G02826   Federal    OP 2    12/1/1974                        3,750            Fieldwood En      25.0%       PROD
                                          WC 67       G03256   Federal   CONT      9/1/1975                        5,000            Fieldwood En       17.5%     TERMIN
WEST CAMERON 71/72/102                    WC 72       G23735   Federal     RT      7/1/2002                        5,000          Fieldwood En Off    75.0%       PROD
                                          WC 96       G23740   Federal    OP 1     5/1/2002                        5,000                 Talos        25.0%       UNIT
WEST DELTA 90/103                        WD 103       G12360   Federal    OP 1     5/1/1960                        1,016            Fieldwood En      18.8%       PROD
WEST DELTA 121/122                       WD 121       G19843   Federal    OP 1     8/1/1998                        5,000            Fieldwood En      16.0%       PROD
WEST DELTA 121/122                       WD 122       G13645   Federal    OP 1     8/1/1992                        5,000            Fieldwood En      16.0%       PROD
WEST DELTA 121/122                       WD 122       G13645   Federal    OP 2     8/1/1992                        5,000            Fieldwood En      16.0%       PROD
WEST DELTA 27                             WD 27       G04473   Federal    RT B    11/1/1980                        5,000                Cox Op        13.8%       PROD
WEST DELTA 79/80                    D 57, WD 79, WD   G01449   Federal     RT      5/1/1966                        3,125          Fieldwood En Off   100.0%       UNIT
WEST DELTA 63/64                          WD 63       G19839   Federal    OP 1     6/1/1998     5/25/2016          5,000           Peregrine O&G      12.5%      RELINQ
WEST DELTA 63/64                          WD 64       G25008   Federal     RT      5/1/2003     2/21/2017          5,000           Peregrine O&G        5.9%     TERMIN
WEST DELTA 73/74                          WD 73       G01083   Federal    OP 2     6/1/1962                        5,000                Cox Op          5.9%      UNIT
WEST DELTA 73/74                          WD 74       G01084   Federal    OP 1     6/1/1962                        5,000                Cox Op          5.9%      UNIT
WEST DELTA 79/80                      WD 79, WD 80    G01874   Federal     RT     12/1/1968                        3,438          Fieldwood En Off   100.0%       UNIT
WEST DELTA 79/80                          WD 80       G01989   Federal     RT      8/1/1970                        1,875          Fieldwood En Off   100.0%       UNIT
WEST DELTA 79/80                          WD 80       G02136   Federal     RT      1/1/1972                         938           Fieldwood En Off   100.0%       UNIT
WEST DELTA 86                             WD 85       G04895   Federal     RT     12/1/1981     5/9/2019           2,630          Fieldwood En Off   100.0%      TERMIN
WEST DELTA 86                             WD 85       G04895   Federal    OP 1    12/1/1981     5/9/2019           2,630          Fieldwood En Off   100.0%      TERMIN
WEST DELTA 86                             WD 86       G02934   Federal     RT     12/1/1974     8/30/2010          2,500               SPN Res       100.0%      TERMIN
WEST DELTA 86                             WD 86       G04243   Federal     RT      1/1/1980     6/27/2020          2,500          Fieldwood En Off   100.0%      TERMIN
WEST DELTA 86                             WD 86       G04243   Federal    OP 1     1/1/1980     6/27/2020          2,500          Fieldwood En Off   100.0%      TERMIN
WEST DELTA 86                             WD 86       G04243   Federal    OP 2     1/1/1980     6/27/2020          2,500          Fieldwood En Off   100.0%      TERMIN
WEST DELTA 86                             WD 86       G04243   Federal    OP 3     1/1/1980     6/27/2020          2,500          Fieldwood En Off   100.0%      TERMIN

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Field                       Block     Lease    Type     Rights   Date Le Eff   Date Le Exp   Le Cur Acres (Ac)       Operator       WI       Lease Status
WEST DELTA 90/103           WD 90    G01089   Federal    OP 3     6/1/1962                        5,000            Fieldwood En      18.8%      PROD
GREEN CANYON 200 (Troika)   GC 201   G12210   Federal   RT NE4    5/1/1990                         5760          Fieldwood En Off   100.0%      UNIT




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Asset Name                      FWE Acct. Code            Lease Number         API
ACOM O H EST GU 3R              ACOMGU3                      168986       42071321150
ARCO SANGER EST 5               ARCOSANG5                     09061      422973358000
BRAZOS A‐102 #A002              BAA102A02                    G01754      427054002500
BRAZOS A‐105 #002               BAA105002                    G01757      427054000400
BRAZOS A‐105 #A001              BAA105A01                    G01757      427054003100
BRAZOS A‐105 #A003              BAA105A03                    G01757      427054002900
BRAZOS A‐105 #A004              BAA105A04                    G01757      427054003000
BRAZOS A‐105 #A005              BAA105A05                    G01757      427054003200
BRAZOS A‐105 #B001              BAA105B010                   G01757      427054012200
BRAZOS A‐105 #B002              BAA105B020                   G01757      427054012600
BRAZOS A‐105 #B003              BAA105B030                   G01757      427054012800
BRAZOS A‐105 #B004              BAA105B040                   G01757      427054013000
BRAZOS A‐105 #B005              BAA105B050                   G01757      427054013300
BRAZOS A‐133 #A001              BAA133A010                   G02665      427054002400
BRAZOS A‐133 #A002              BAA133A020                   G02665      427054003300
BRAZOS A‐133 #A003              BAA133A030                   G02665      427054003500
BRAZOS A‐133 #A004 ST1          BAA133A041                   G02665      427054004301
BRAZOS A‐133 #A005 ST1          BAA133A051                   G02665      427054004001
BRAZOS A‐133 #A006              BAA133A060                   G02665      427054004500
BRAZOS A‐133 #A007              BAA133A070                   G02665      427054004800
BRAZOS A‐133 #A008              BAA133A080                   G02665      427054005200
BRAZOS A‐133 #A009              BAA133A090                   G02665      427054005400
BRAZOS A‐133 #A010              BAA133A100                   G02665      427054013100
BRAZOS A‐133 #C001              BAA133C010                   G02665      427054007800
BRAZOS A‐133 #C002              BAA133C020                   G02665      427054008200
BRAZOS A‐133 #C003              BAA133C030                   G02665      427054010700
BRAZOS A‐133 #C004              BAA133C040                   G02665      427054013500
BRAZOS A‐133 #D001 ST1          BAA133D011                   G02665      427054009201
BRAZOS A‐133 #D003              BAA133D030                   G02665      427054012700
BRETON SOUND 053 #001 SL3770    SL0377001                     03770        1.7726E+11
BRETON SOUND 053 #007 SL 3770   SL0377007                     03770      177262015800
BRETON SOUND 053 #008 SL 3770   SL0377008                     03770      177262016300
EAST BREAKS 158 #A003           EB158A03                     G02645      608044004104
EAST BREAKS 158 #A007           EB158A07                     G02645      608044005100
EAST BREAKS 158 #A012           EB158A12                     G02645      608044005601
EAST BREAKS 158 #A014           EB158A14                     G02645      608044005901
EAST BREAKS 159 #A002           EB159A02                     G02646      608044003800
EAST BREAKS 159 #A005           EB159A05                     G02646      608044004503
EAST BREAKS 159 #A006           EB159A06                     G02646      608044004401
EAST BREAKS 159 #A009           EB159A09                     G02646      608044005200
EAST BREAKS 159 #A011           EB159A11                     G02646      608044005400
EAST BREAKS 159 #A017           EB159A17                     G02646      608044018300
EAST BREAKS 160 #A005 HB‐2      EB160A05                     G02647      608044003700
EAST BREAKS 160 #A009 HB2       EB160A09                     G02647      608044005800
EAST BREAKS 160 #A010 GA1       EB160A10                     G02647      608044008702
EAST BREAKS 160 #A016           EB160A16                     G02647      608044006000
EAST BREAKS 160 #A018 ST4       EB160A18                     G02647      608044006904
EAST BREAKS 160 #A023           EB160A23                     G02647      608044003900
EAST BREAKS 160 #A025           EB160A25                     G02647      608044004600
EAST BREAKS 160 #A027 HB2       EB160A27                     G02647      608044004900
EAST BREAKS 160 #A031 HB2       EB160A31                     G02647      608044008400
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Asset Name                      FWE Acct. Code            Lease Number        API
EAST BREAKS 160 #A033 ST TA     EB160A33                     G02647      608044007002
EAST BREAKS 161 #002 (CORONA)   EB16102                      G02648      608044022600
EAST BREAKS 161 #A001 ST        EB161A01                     G02648      608044002801
EAST BREAKS 161 #A002           EB161A02                     G02648      608044003100
EAST BREAKS 161 #A003 HB4       EB161A03                     G02648      608044002900
EAST BREAKS 161 #A007 GM1       EB161A07                     G02648      608044004300
EAST BREAKS 161 #A008 HB2       EB161A08                     G02648      608044004800
EAST BREAKS 161 #A013 ST        EB161A13                     G02648      608044024501
EAST BREAKS 161 #A029 GA3       EB161A29                     G02648      608044005300
EAST BREAKS 165 #A001           EB165A01                     G06280      608044010800
EAST BREAKS 165 #A002           EB165A02                     G06280      608044010900
EAST BREAKS 165 #A003           EB165A03                     G06280      608044011100
EAST BREAKS 165 #A004           EB165A04                     G06280      608044011200
EAST BREAKS 165 #A005           EB165A05                     G06280      608044011300
EAST BREAKS 165 #A007           EB165A07                     G06280      608044011700
EAST BREAKS 165 #A008           EB165A08                     G06280      608044011600
EAST BREAKS 165 #A009           EB165A09                     G06280      608044011900
EAST BREAKS 165 #A010           EB165A10                     G06280      608044011802
EAST BREAKS 165 #A011           EB165A11                     G06280      608044012300
EAST BREAKS 165 #A012           EB165A12                     G06280      608044012200
EAST BREAKS 165 #A014           EB165A14                     G06280      608044012501
EAST BREAKS 165 #A015           EB165A15                     G06280      608044012800
EAST BREAKS 165 #A017           EB165A17                     G06280      608044013100
EAST BREAKS 165 #A018           EB165A18                     G06280      608044013201
EAST BREAKS 165 #A019           EB165A19                     G06280      608044013302
EAST BREAKS 165 #A020           EB165A20                     G06280      608044013501
EAST BREAKS 165 #A021           EB165A21                     G06280      608044013400
EAST BREAKS 165 #A022           EB165A22                     G06280      608044013700
EAST BREAKS 165 #A023           EB165A23                     G06280      608044013600
EAST BREAKS 165 #A024           EB165A24                     G06280      608044014000
EAST BREAKS 165 #A025           EB165A25                     G06280      608044013900
EAST BREAKS 165 #A026           EB165A26                     G06280      608044014100
EAST BREAKS 165 #A029           EB165A29                     G06280      608044014401
EAST BREAKS 165 #A030           EB165A30                     G06280      608044014501
EAST BREAKS 209 #A013 GA RA13   EB209A13                     G07397      608044012400
EAST CAMERON 330 #B003          EC330B03                     G03540      177044055600
EAST CAMERON 330 #B004          EC330B04                     G03540      177044055800
EAST CAMERON 330 #B005          EC330B05                     G03540      177044056100
EAST CAMERON 330 #B006          EC330B06                     G03540      177044056200
EAST CAMERON 330 #B008          EC330B08                     G03540      177044056800
EAST CAMERON 331 #A001          EC331A01                     G08658      177044076300
EAST CAMERON 331 #A003          EC331A03                     G08658      177044076400
EAST CAMERON 331 #A004          EC331A04                     G08658      177044076700
EAST CAMERON 331 #A009          EC331A09                     G08658      177044079400
EAST CAMERON 331 #A010          EC331A10                     G08658      177044079500
EAST CAMERON 331 #A012          EC331A12                     G08658      177044083300
EAST CAMERON 331 #A013          EC331A13                     G08658      177044083400
EAST CAMERON 332 #A002          EC332A02                     G09478      177044076200
EAST CAMERON 332 #A005          EC332A05                     G09478      177044076800
EAST CAMERON 332 #A006          EC332A06                     G09478      177044077301
EAST CAMERON 332 #A007          EC332A07                     G09478      177044077400
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Asset Name                   FWE Acct. Code            Lease Number        API
EAST CAMERON 332 #A008       EC332A08                     G09478      177044077700
EAST CAMERON 332 #A011       EC332A11                     G09478      177044083101
EAST CAMERON 332 #A014       EC332A14                     G09478      177044094600
EAST CAMERON 332 #A016       EC332A16                     G09478      177044097901
EAST CAMERON 332 #A017       EC332A17                     G09478      177044078103
EAST CAMERON 349 #A001       EC349A01                     G15157      177044082700
EAST CAMERON 349 #A002U      EC349A02U                    G13592      177044081400
EAST CAMERON 349 #A004       EC349A04                     G14385      177044097700
EAST CAMERON 350 #A005 S04   EC350A05                     G15157      177044098200
EAST CAMERON 356 #A003       EC356A03                     G13592      177044097301
EAST CAMERON 371 #A002       EC371A02                     G02267      177044094300
EUGENE IS 032 #008           EI03208                       00196      177090061800
EUGENE IS 032 #010           EI03210                       00196      177090072400
EUGENE IS 032 #011           EI03211                       00196      177090054400
EUGENE IS 032 #012           EI03212                       00196      177090054500
EUGENE IS 032 #016           EI03216                       00196      177090061500
EUGENE IS 032 #020           EI03220                       00196      177092019100
EUGENE IS 032 #022           EI03222                       00196      177094014800
EUGENE IS 032 #024           EI03224                       00196      177094032800
EUGENE IS 032 #026           EI03226                       00196      177094097200
EUGENE IS 032 #028           EI03228                       00196      177094098601
EUGENE IS 032 #029           EI03229                       00196      177094110003
EUGENE IS 032 #030           EI03230                       00196      177094116401
EUGENE IS 032 #031           EI03231                       00196      177094126501
EUGENE IS 032 #032           EI03232                       00196      177094126700
EUGENE IS 032 #033           EI03233                       00196      177094136900
EUGENE IS 032 #A001          EI032A01                      00196      177090052800
EUGENE IS 032 #A002          EI032A02                      00196      177090052901
EUGENE IS 032 #A003          EI032A03                      00196      177090053000
EUGENE IS 032 #A005          EI032A05                      00196      177090053200
EUGENE IS 032 #A006          EI032A06                      00196       1770900533
EUGENE IS 032 #E001          EI032E01                      00196      177090053800
EUGENE IS 032 #E002          EI032E02                      00196      177090053900
EUGENE IS 032 #E003          EI032E03                      00196      177090054000
EUGENE IS 032 #E004          EI032E04                      00196      177090054100
EUGENE IS 032 #F001          EI032F01                      00196      177090054200
EUGENE IS 053 #008D          EI053008D0                    00479      177094086200
EUGENE IS 053 #009           EI05300900                    00479      177094094000
EUGENE IS 053 #B001D         EI053B01D0                    00479      177094085900
EUGENE IS 053 #C002          EI053C0200                    00479      177094122600
EUGENE IS 053 #G001 ST1      EI053G01D2                    00479      177094144201
EUGENE IS 100 #013           EI10013                       00796      177090032601
EUGENE IS 100 #020           EI10020                       00796      177090088800
EUGENE IS 100 #024           EI10024                       00796      177092019204
EUGENE IS 100 #027           EI10027                       00796      177092018602
EUGENE IS 100 #030           EI10030                       00796      177094052700
EUGENE IS 100 #031           EI10031                       00796      177094091603
EUGENE IS 100 #033           EI10033                       00796      177094093001
EUGENE IS 100 #041           EI10041                       00796      177094115601
EUGENE IS 175 #D008          EI175D0800                    00438      177094003900
EUGENE IS 175 #F001 ST1      EI175F0101                    00438      177094035401
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Asset Name                    FWE Acct. Code            Lease Number         API
EUGENE IS 175 #F003 ST        EI175F0302                    00438      177094039702
EUGENE IS 175 #F004 ST        EI175F0401                    00438      177094041001
EUGENE IS 175 #F005           EI175F0500                    00438      177094042900
EUGENE IS 175 #F007           EI175F0700                    00438      177094048900
EUGENE IS 175 #F009           EI175F0901                    00438      177094087601
EUGENE IS 175 #H002           EI175H0200                    00438      177094106700
EUGENE IS 175 #H003           EI175H0300                    00438      177094110800
EUGENE IS 175 #H004           EI175H0400                    00438      177094110900
EUGENE IS 175 #H005 ST1BP1    EI175H0502                    00438      177094112002
EUGENE IS 175 #I002           EI175I0201                    00438      177094107101
EUGENE IS 175 #I004           EI175I0400                    00438      177094109200
EUGENE IS 175 #J002 ST1       EI175J0201                    00438      177094123201
EUGENE IS 307 #A001           EI307A01                     G02110      177104007400
EUGENE IS 307 #A002           EI307A02                     G02110      177104042401
EUGENE IS 307 #A003           EI307A03                     G02110      177104059300
EUGENE IS 307 #A004           EI307A04                     G02110      177104060900
EUGENE IS 307 #A005           EI307A05                     G02110      177104062000
EUGENE IS 307 #A006           EI307A06                     G02110      177104065900
EUGENE IS 307 #A007           EI307A07                     G02110      177104067100
EUGENE IS 307 #A008           EI307A08                     G02110      177104164600
EUGENE IS 307 #B001           EI307B01                     G02110      177104078501
EUGENE IS 307 #B003           EI307B03                     G02110      177104113302
EUGENE IS 307 #B008           EI307B08                     G02110      177104153802
EUGENE IS 311 #D003           EI311D03                     G27918      177104162000
EUGENE IS 312 #D001           EI312D0100                   G22679      177104160900
EUGENE IS 312 #D002           EI312D0200                   G22679      177104161900
EUGENE IS 330 #B015 ST1       EI330B1501                   G02115      177104028601
EUGENE IS 342 #004            EI34200400                   G02319      177104113000
EUGENE IS 342 #C002 ST1       EI342C0201                   G02319      177104110601
EUGENE IS 342 #C003           EI342C0300                   G02319      177104114000
EUGENE IS 342 #C004           EI342C0401                   G02319      177104120101
EUGENE IS 342 #C005           EI342C0502                   G02319      177104120202
EUGENE IS 342 #C006           EI342C0600                   G02319      177104120300
EUGENE IS 342 #C007           EI342C0700                   G02319      177104120800
EUGENE IS 342 #C008           EI342C0800                   G02319      177104121000
EUGENE IS 342 #C009           EI342C0900                   G02319      177104121300
EUGENE IS 342 #C011           EI342C1100                   G02319      177104122000
EUGENE IS 342 #C012           EI342C1200                   G02319      177104122200
EUGENE IS 342 #C013           EI342C1300                   G02319      177104122700
EUGENE IS 342 #C014           EI342C1400                   G02319      177104135800
EUGENE IS 342 #C015           EI342C1501                   G02319      177104162101
EUGENE IS 342 #C016           EI342C1601                   G02319      177104162201
EUGENE IS 342 #C017 BP1       EI342C1701                   G02319      177104162501
EVANS GAS UNIT 1              EVANSGASU1                    19334        4216701288
EVANS OIL UNIT 1              EVANSOILU1                    19334        4216701288
EWING BANK 782 #A012          EW826A1200                   G05793      608105001800
FROST ‐ ACOM GU 1             FROSTAC1                     189098       42071320621
FROST ‐ ACOM GU 2             FROSTAC2                     206882       42071320921
GALVESTON 151 #005            GA15100500                   G15740      427064044200
GALVESTON 210 #001            GA21000100                   G25524      427064044300
GALVESTON 210 #002            GA21000200                   G25524      427064044800
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Asset Name                       FWE Acct. Code            Lease Number         API
GALVESTON A‐155 #A001            GAA155A01                    G30654      427074010800
GREEN CANYON 064 #A040           GC064A40                     G07005      608114016202
GREEN CANYON 157 SS003           GC157003                     G24154      608114043901
GREEN CANYON 201 #001 ST2        GC201001                     G12210      608114043802
GREEN CANYON 201 SS001           GC157001                     G12210      608114043802
GREEN CANYON 245 # TA 8 TROIKA   ‐                            G05916      608114032900
HAYES LUMBER 1 ‐ HBY 4 RC SUA    HAYESLUM1                     42450       17053212861
HAYES LUMBER CO 28 2             HAYESLUM02                   Onshore     170532123800
HAYES LUMBER HBY 4 RA SUA 1ALT   HAYESLUM01                    42450      170532122800
HAYES MINERALS 29 001            HAYESMIN29                    42450      170532130600
HELIS 2                          HELIS2                        17072        1704520888
HIGH ISLAND A‐341 #B001          HIA341B010                   G25605      427114085900
HIGH ISLAND A‐341 #B002          HIA341B020                   G25605      427114087101
HIGH ISLAND A‐365 #A001          HIA365A010                   G02750      427114052200
HIGH ISLAND A‐365 #A004          HIA365A040                   G02750      427114053700
HIGH ISLAND A‐365 #A006          HIA365A060                   G02750      427114053100
HIGH ISLAND A‐365 #A007          HIA365A070                   G02750      427114054100
HIGH ISLAND A‐365 #A008          HIA365A080                   G02750      427114054800
HIGH ISLAND A‐365 #A010          HIA365A100                   G02750      427114055200
HIGH ISLAND A‐365 #A012          HIA365A120                   G02750      427114055600
HIGH ISLAND A‐365 #A013 ST1      HIA365A131                   G02750      427114055801
HIGH ISLAND A‐365 #A016          HIA365A160                   G02750      427114056700
HIGH ISLAND A‐365 #A020          HIA365A200                   G02750      427114057500
HIGH ISLAND A‐365 #A021          HIA365A210                   G02750      427114057600
HIGH ISLAND A‐365 #A024          HIA365A240                   G02750      427114066300
HIGH ISLAND A‐365 #A025          HIA365A250                   G02750      427114066500
HIGH ISLAND A‐376 #A002 ST1      HIA376A021                   G02754      427114052601
HIGH ISLAND A‐376 #A003          HIA376A030                   G02754      427114052700
HIGH ISLAND A‐376 #A005          HIA376A050                   G02754      427114053500
HIGH ISLAND A‐376 #A009          HIA376A090                   G02754      427114054400
HIGH ISLAND A‐376 #A011          HIA376A110                   G02754      427114055000
HIGH ISLAND A‐376 #A014 ST2      HIA376A142                   G02754      427114056002
HIGH ISLAND A‐376 #A015          HIA376A150                   G02754      427114056200
HIGH ISLAND A‐376 #A017          HIA376A170                   G02754      427114057200
HIGH ISLAND A‐376 #A018          HIA376A180                   G02754      427114057300
HIGH ISLAND A‐376 #A019          HIA376A190                   G02754      427114057400
HIGH ISLAND A‐376 #A022          HIA376A220                   G02754      427114057700
HIGH ISLAND A‐376 #B001          HIA376B010                   G02754      427114068700
HIGH ISLAND A‐376 #B002          HIA376B020                   G02754      427114068900
HIGH ISLAND A‐376 #B003          HIA376B031                   G02754      427114078701
HIGH ISLAND A‐376 #B004          HIA376B041                   G02754      427114079001
HIGH ISLAND A‐376 #B005          HIA376B050                   G02754      427114079600
HIGH ISLAND A‐376 #C001          HIA376C010                   G02754      427114088900
HIGH ISLAND A‐376 #C002          HIA376C020                   G02754      427114089600
HIGH ISLAND A‐376 #C003          HIA376C030                   G02754      427114089500
HIGH ISLAND A‐376 #C004          HIA376C040                   G02754      427114089400
HIGH ISLAND A‐382 #A009          HIA382A090                   G02757      427094018600
HIGH ISLAND A‐382 #B013          HIA382B130                   G02757      427094025500
HIGH ISLAND A‐382 #F001 ST1      HIA382F011                   G02757      427114059401
HIGH ISLAND A‐382 #F002          HIA382F020                   G02757      427114059800
HIGH ISLAND A‐382 #F003          HIA382F031                   G02757      427114059901
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Asset Name                    FWE Acct. Code            Lease Number        API
HIGH ISLAND A‐382 #F004       HIA382F040                   G02757      427114060600
HIGH ISLAND A‐382 #F005       HIA382F050                   G02757      427114060900
HIGH ISLAND A‐382 #F006       HIA382F061                   G02757      427114061001
HIGH ISLAND A‐382 #F008       HIA382F080                   G02757      427114061700
HIGH ISLAND A‐382 #F010 ST5   HIA382F105                   G02757      427114062605
HIGH ISLAND A‐382 #F011       HIA382F110                   G02757      427114063100
HIGH ISLAND A‐382 #F012       HIA382F121                   G02757      427114063601
HIGH ISLAND A‐382 #F013       HIA382F130                   G02757      427114063800
HIGH ISLAND A‐382 #F014       HIA382F140                   G02757      427114063900
HIGH ISLAND A‐382 #F015       HIA382F151                   G02757      427114064701
HIGH ISLAND A‐382 #F017       HIA382F171                   G02757      427114066701
HIGH ISLAND A‐382 #F019       HIA382F190                   G02757      427114067100
HIGH ISLAND A‐382 #F020       HIA382F200                   G02757      427114067500
HIGH ISLAND A‐382 #F021       HIA382F211                   G02757      427114067801
HIGH ISLAND A‐474 #A001       HIA474A010                   G02366      427094017100
HIGH ISLAND A‐474 #A002       HIA474A020                   G02366      427094017200
HIGH ISLAND A‐474 #A003       HIA474A030                   G02366      427094019900
HIGH ISLAND A‐474 #A004       HIA474A040                   G02366      427094022800
HIGH ISLAND A‐474 #A005       HIA474A050                   G02366      427094023500
HIGH ISLAND A‐474 #A006       HIA474A060                   G02366      427094024300
HIGH ISLAND A‐474 #A007       HIA474A070                   G02366      427094027702
HIGH ISLAND A‐474 #A008       HIA474A080                   G02366      427094026100
HIGH ISLAND A‐474 #A010       HIA474A100                   G02366      427094029400
HIGH ISLAND A‐474 #A011       HIA474A110                   G02366      427094030000
HIGH ISLAND A‐474 #A012       HIA474A120                   G02366      427094030801
HIGH ISLAND A‐474 #A013       HIA474A130                   G02366      427094036104
HIGH ISLAND A‐474 #A014       HIA474A140                   G02366      427094035000
HIGH ISLAND A‐474 #A017       HIA474A170                   G02366      427094032500
HIGH ISLAND A‐474 #A020       HIA474A200                   G02366      427094038500
HIGH ISLAND A‐474 #A021       HIA474A210                   G02366      427094040700
HIGH ISLAND A‐474 #B023       HIA474B230                   G02366      427094037200
HIGH ISLAND A‐475 #A016       HIA475A16                    G02367      427094035500
HIGH ISLAND A‐489 #A009       HIA489A090                   G02372      427094028500
HIGH ISLAND A‐489 #A015       HIA489A150                   G02372      427094037000
HIGH ISLAND A‐489 #B002       HIA489B020                   G02372      427094021000
HIGH ISLAND A‐489 #B003       HIA489B030                   G02372      427094020901
HIGH ISLAND A‐489 #B007       HIA489B070                   G02372      427094027601
HIGH ISLAND A‐489 #B009       HIA489B090                   G02372      427094026500
HIGH ISLAND A‐489 #B010       HIA489B100                   G02372      427094028800
HIGH ISLAND A‐489 #B012       HIA489B120                   G02372      427094031400
HIGH ISLAND A‐489 #B013       HIA489B130                   G02372      427094028600
HIGH ISLAND A‐489 #B014       HIA489B140                   G02372      427094029700
HIGH ISLAND A‐489 #B015       HIA489B150                   G02372      427094030400
HIGH ISLAND A‐489 #B016       HIA489B160                   G02372      427094029800
HIGH ISLAND A‐489 #B017       HIA489B170                   G02372      427094023802
HIGH ISLAND A‐489 #B018       HIA489B180                   G02372      427094032801
HIGH ISLAND A‐489 #B020       HIA489B200                   G02372      427094028101
HIGH ISLAND A‐489 #B021       HIA489B210                   G02372      427094026202
HIGH ISLAND A‐489 #B022       HIA489B220                   G02372      427094036000
HIGH ISLAND A‐489 #B024       HIA489B240                   G02372      427094035400
HIGH ISLAND A‐489 #B025       HIA489B250                   G02372      427094041400
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Asset Name                    FWE Acct. Code            Lease Number        API
HIGH ISLAND A‐489 #B026       HIA489B260                   G02372      427094043100
HIGH ISLAND A‐489 #B027       HIA489B270                   G02372      427094042501
HIGH ISLAND A‐489 #B028       HIA489B280                   G02372      427094054500
HIGH ISLAND A‐489 #B029       HIA489B290                   G02372      427094111100
HIGH ISLAND A‐550 #002        HIA55002                     G04081      427094062700
HIGH ISLAND A‐550 #003        HIA55003                     G04081      427094063700
HIGH ISLAND A‐550 #A001       HIA550A01                    G04081      427094057004
HIGH ISLAND A‐550 #A002       HIA550A02                    G04081      427094074101
HIGH ISLAND A‐550 #A003       HIA550A03                    G04081      427094076000
HIGH ISLAND A‐550 #A004       HIA550A04                    G04081      427094099501
HIGH ISLAND A‐550 #A005       HIA550A05                    G04081      427094099801
HIGH ISLAND A‐550 #A006       HIA550A06                    G04081      427094104801
HIGH ISLAND A‐563 #B001       HIA563B01                    G02388      427094029900
HIGH ISLAND A‐563 #B004       HIA563B04                    G02388      427094034402
HIGH ISLAND A‐563 #B005       HIA563B05                    G02388      427094037100
HIGH ISLAND A‐563 #B007       HIA563B07                    G02388      427094038600
HIGH ISLAND A‐563 #B008       HIA563B08                    G02388      427094038900
HIGH ISLAND A‐563 #B009       HIA563B09                    G02388      427094039601
HIGH ISLAND A‐563 #B010       HIA563B10                    G02388      427094040000
HIGH ISLAND A‐563 #B012       HIA563B12                    G02388      427094043502
HIGH ISLAND A‐563 #B013       HIA563B13                    G02388      427094040501
HIGH ISLAND A‐563 #B015       HIA563B15                    G02388      427094048000
HIGH ISLAND A‐563 #B016       HIA563B16                    G02388      427094048102
HIGH ISLAND A‐563 #B017       HIA563B17                    G02388      427094045804
HIGH ISLAND A‐563 #B018       HIA563B18                    G02388      427094052501
HIGH ISLAND A‐563 #B019       HIA563B19                    G02388      427094052000
HIGH ISLAND A‐563 #B022       HIA563B22                    G02388      427094055000
HIGH ISLAND A‐563 #B023       HIA563B23                    G02388      427094056400
HIGH ISLAND A‐563 #B024       HIA563B24                    G02388      427094056601
HIGH ISLAND A‐563 #B025       HIA563B25                    G02388      427094059300
HIGH ISLAND A‐563 #B026       HIA563B26                    G02388      427094066801
HIGH ISLAND A‐563 #B027       HIA563B27                    G02388      427094068100
HIGH ISLAND A‐563 #C004       HIA563C04                    G02388      427094059602
HIGH ISLAND A‐563 #C005       HIA563C05                    G02388      427094062800
HIGH ISLAND A‐563 #C008       HIA563C08                    G02388      427094069400
HIGH ISLAND A‐563 #C009       HIA563C09                    G02388      427094064600
HIGH ISLAND A‐564 #B006       HIA563B06                    G02389      427094033801
HIGH ISLAND A‐564 #B020       HIA564B20                    G02389      427094053102
HIGH ISLAND A‐564 #B021       HIA563B21                    G02389      427094053900
HIGH ISLAND A‐572 #A003 ST1   HIA572A031                   G02392      427094012901
HIGH ISLAND A‐572(573)A014    HIA572A140                   G02392      427094034100
HIGH ISLAND A‐573 #006        HIA5730060                   G02393      427094053700
HIGH ISLAND A‐573 #A001 ST2   HIA573A012                   G02393      427094007102
HIGH ISLAND A‐573 #A002 ST3   HIA573A023                   G02393      427094013803
HIGH ISLAND A‐573 #A004       HIA573A040                   G02393      427094015000
HIGH ISLAND A‐573 #A005 ST1   HIA573A051                   G02393      427094015501
HIGH ISLAND A‐573 #A008       HIA573A080                   G02393      427094018000
HIGH ISLAND A‐573 #A010       HIA573A100                   G02393      427094020500
HIGH ISLAND A‐573 #A015       HIA573A150                   G02393      427094034200
HIGH ISLAND A‐573 #A016       HIA573A160                   G02393      427094034300
HIGH ISLAND A‐573 #A017       HIA573A170                   G02393      427094036500
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Asset Name                    FWE Acct. Code            Lease Number        API
HIGH ISLAND A‐573 #A019 ST1   HIA573A191                   G02393      427094038001
HIGH ISLAND A‐573 #B001       HIA573B010                   G02393      427094012800
HIGH ISLAND A‐573 #B002       HIA573B020                   G02393      427094014100
HIGH ISLAND A‐573 #B005       HIA573B050                   G02393      427094016400
HIGH ISLAND A‐573 #B006       HIA573B060                   G02393      427094017000
HIGH ISLAND A‐573 #B008       HIA573B080                   G02393      427094017900
HIGH ISLAND A‐573 #B010       HIA573B100                   G02393      427094021100
HIGH ISLAND A‐573 #B012       HIA573B120                   G02393      427094022700
HIGH ISLAND A‐573 #E007       HIA573E070                   G02393      427094098200
HIGH ISLAND A‐573 #E012       HIA573E120                   G02393      427094115000
HIGH ISLAND A‐573 #F007       HIA573F070                   G02393      427114061200
HIGH ISLAND A‐573 #F009       HIA573F090                   G02393      427114062000
HIGH ISLAND A‐573 #F016 ST5   HIA573F165                   G02393      427114066805
HIGH ISLAND A‐573 #F018 ST1   HIA573F181                   G02393      427114067301
HIGH ISLAND A‐573 #F022       HIA573F220                   G02393      427114068400
HIGH ISLAND A‐573 #F023 ST2   HIA573F232                   G02393      427114069302
HIGH ISLAND A‐581 #D004       HIA581D040                   G18959      427094112200
HIGH ISLAND A‐581 #D004       HIA581D040                   G18959      427094112200
HIGH ISLAND A‐582 #C001       HIA582C010                   G02719      427094061500
HIGH ISLAND A‐582 #C002       HIA582C020                   G02719      427094061900
HIGH ISLAND A‐582 #C003       HIA582C030                   G02719      427094058000
HIGH ISLAND A‐582 #C006       HIA582C060                   G02719      427094063400
HIGH ISLAND A‐582 #C007       HIA582C070                   G02719      427094063900
HIGH ISLAND A‐582 #C010       HIA582C100                   G02719      427094070200
HIGH ISLAND A‐582 #C011       HIA582C110                   G02719      427094071400
HIGH ISLAND A‐582 #C012       HIA582C120                   G02719      427094074900
HIGH ISLAND A‐582 #C013       HIA582C130                   G02719      427094072700
HIGH ISLAND A‐582 #C014       HIA582C140                   G02719      427094073800
HIGH ISLAND A‐582 #C015       HIA582C150                   G02719      427094075800
HIGH ISLAND A‐582 #C019       HIA582C190                   G02719      427094108200
HIGH ISLAND A‐582 #D001       HIA582D010                   G18959       42094110200
HIGH ISLAND A‐582 #D002 ST1   HIA582D021                   G02719      427094110801
HIGH ISLAND A‐582 #D003 ST    HIA582D031                   G02719      427094111401
HIGH ISLAND A‐582 #D005       HIA582D050                   G02719      427094114300
HIGH ISLAND A‐582 #D006       HIA582D060                   G02719      427094114700
HIGH ISLAND A‐595 #D001 ST2   HIA595D1D2                   G02721      427094055302
HIGH ISLAND A‐595 #D003       HIA595D03                    G02721      427094058500
HIGH ISLAND A‐595 #D005       HIA595D050                   G02721      427094092900
HIGH ISLAND A‐595 #D006       HIA595D063                   G02721      427094063205
HIGH ISLAND A‐595 #D010       HIA595D100                   G02721      427094070500
HIGH ISLAND A‐595 #D012       HIA595D120                   G02721      427094077000
HIGH ISLAND A‐595 #D017 ST2   HIA595D172                   G02721      427094083702
HIGH ISLAND A‐595 #D018       HIA595D181                   G02721      427094093501
HIGH ISLAND A‐595 #E011       HIA595E110                   G02721      427094114501
HIGH ISLAND A‐596 #B014       HIA596B140                   G02722      427094025800
HIGH ISLAND A‐596 #D002       HIA596D020                   G02722      427094056901
HIGH ISLAND A‐596 #D004       HIA596D040                   G02722      427094060500
HIGH ISLAND A‐596 #D007 ST4   HIA596D074                   G02722      427094064304
HIGH ISLAND A‐596 #D008 ST1   HIA596D081                   G02722      427094067001
HIGH ISLAND A‐596 #D009       HIA596D090                   G02722      427094068400
HIGH ISLAND A‐596 #D011       HIA596D110                   G02722      427094075700
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Asset Name                       FWE Acct. Code            Lease Number        API
HIGH ISLAND A‐596 #D013 ST2      HIA596D132                   G02722      427094079502
HIGH ISLAND A‐596 #D014          HIA596D140                   G02722      427094080100
HIGH ISLAND A‐596 #D016          HIA596D160                   G02722      427094082400
HIGH ISLAND A‐596 #E005          HIA596E050                   G02722      427094085900
HIGH ISLAND A‐596 #E008          HIA596E080                   G02722      427094112801
HIGH ISLAND A‐596 #E009          HIA596E090                   G02722      427094114200
LA ST LSE 3011 1 SWD BURRWOOD    BURWOOD                       03011      177210074800
LANDREAU ET UX 1                 LANDREAU1                    490100       UNKNOWN
MAIN PASS 077 #A001              MP077A0100                   G04481      177254033800
MAIN PASS 077 #A002              MP077A0201                   G04481      177254043101
MAIN PASS 077 #A003              MP077A0300                   G04481      177254036100
MAIN PASS 077 #A004              MP077A0400                   G04481      177254036900
MAIN PASS 077 #A005              MP077A0500                   G04481      177254038000
MAIN PASS 077 #A006 ST2          MP077A0602                   G04481      177254036402
MAIN PASS 077 #A010              MP077A1000                   G04481      177254039600
MAIN PASS 077 #A011              MP077A1100                   G04481      177254042400
MAIN PASS 077 #A012              MP077A1200                   G04481      177254039700
MAIN PASS 077 #A013              MP077A1300                   G04481      177254044900
MAIN PASS 077 #A014              MP077A1400                   G04481      177254044500
MAIN PASS 077 #A015              MP077A1501                   G04481      177254045101
MAIN PASS 077 #A016              MP077A1600                   G04481      177254045900
MAIN PASS 077 #A017              MP077A1700                   G04481      177254046200
MAIN PASS 077 #A018              MP077A1800                   G04481      177254046800
MAIN PASS 077 #A019              MP077A1900                   G04481      177254048200
MAIN PASS 077 #A020              MP077A2001                   G04481      177254048501
MAIN PASS 077 #A021 ST           MP077A2100                   G04481      177254067002
MAIN PASS 077 #A022              MP077A2201                   G04481      177254067401
MAIN PASS 077 #A023              MP077A23                     G04481      177254067601
MAIN PASS 077 #A07               MP077A0700                   G04481      177254041000
MAIN PASS 077 #A08               MP077A0800                   G04481      177254038200
MAIN PASS 077 #A09               MP077A0900                   G04481      177254039000
NW MYETTE POINT SL 14519 #001    SL1451901                     14519      171012195100
NW MYETTE POINT SL 14519 #002    SL1451902                     14519      171012200800
NW MYETTE POINT SL 14520 #002    SL1452002                     14520      171012201500
NW MYETTE POINT SL 14914 #002    SL1491402                     14914      171012206300
NW MYETTE POINT SL 14914 #003    SL1491403                     14914      171012239600
NW MYETTE POINT SL14519 #1 SWD   SL14519SWD                    14519      171018805900
SHIP SHOAL 149 #A017 (ORRI)      SS149A17                      00434      177114131300
SHIP SHOAL 149 #C001             SS149C01                      00434      177114005500
SHIP SHOAL 149 #C002             SS149C02                      00434      177114007002
SHIP SHOAL 149 #C003             SS149C03                      00434      177114016000
SHIP SHOAL 149 #C004             SS149C04                      00434      177114024301
SHIP SHOAL 149 #C005             SS149C05                      00434      177114025800
SHIP SHOAL 149 #C019 (ORRI)      SS149C19                      00434      177114132300
SHIP SHOAL 149 #E007             SS149E07                      00434      177114113100
SHIP SHOAL 169 #BB001            SS169BB010                    00820      177114048100
SHIP SHOAL 169 #BB002            SS169BB020                    00820      177114055501
SHIP SHOAL 169 #BB003            SS169BB030                    00820      177114057800
SHIP SHOAL 169 #BB004            SS169BB040                    00820      177114056500
SHIP SHOAL 169 #BB005            SS169BB050                    00820      177114059600
SHIP SHOAL 169 #BB006            SS169BB060                    00820      177114060101
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Asset Name                    FWE Acct. Code            Lease Number        API
SHIP SHOAL 169 #C001          SS169C0100                    00820      177114075600
SHIP SHOAL 169 #C003          SS169C0300                    00820      177114078500
SHIP SHOAL 169 #C004          SS169C0400                    00820      177114077400
SHIP SHOAL 169 #C006          SS169C0600                    00820      177114080201
SHIP SHOAL 169 #C007          SS169C0700                    00820      177114080601
SHIP SHOAL 169 #C008          SS169C0800                    00820      177114081300
SHIP SHOAL 169 #C009          SS169C0900                    00820      177114144400
SHIP SHOAL 169 #C010          SS169C1000                    00820      177114144800
SHIP SHOAL 169 #G001          SS169G0100                    00820      177114127400
SHIP SHOAL 169 #G002          SS169G0200                    00820      177114128500
SHIP SHOAL 169 #G003          SS169G0300                    00820      177114156600
SHIP SHOAL 177 #007           SS17700700                    00590      177114101100
SHIP SHOAL 177 #A001          SS177A01                      00590      177114056300
SHIP SHOAL 177 #A002          SS177A02                      00590      177114055000
SHIP SHOAL 177 #A003          SS177A03                      00590      177114056100
SHIP SHOAL 177 #A005          SS177A05                      00590      177114119301
SHIP SHOAL 189 #A001A         SS189A01A0                   G04232      177114062000
SHIP SHOAL 189 #A003A         SS189A03A0                   G04232      177114085200
SHIP SHOAL 189 #A005          SS189A0500                   G04232      177114088400
SHIP SHOAL 189 #A007 ST2      SS189A0702                   G04232      177114129502
SHIP SHOAL 189 #A008          SS189A0800                   G04232      177114130900
SHIP SHOAL 189 #A009 ST1      SS189A0901                   G04232      177114139801
SHIP SHOAL 189 #A010BP1       SS189A1001                   G04232      177114154701
SHIP SHOAL 189 #A4 (SS210)    SS189A04                     G04232      177114086801
SHIP SHOAL 189 #A6 (SS188)    SS189A06                     G04232      177114088900
SHIP SHOAL 204 #A008          SS204A0800                   G01520      177110083000
SHIP SHOAL 204 #A015 ST1      SS204A1501                   G01520      177112003401
SHIP SHOAL 204 #A016          SS204A1601                   G01520      177112005401
SHIP SHOAL 204 #A020          SS204A2000                   G01520      177112012600
SHIP SHOAL 204 #A024 ST1      SS204A2401                   G01520      177112017701
SHIP SHOAL 204 #A028 ST3      SS204A2803                   G01520      177110071003
SHIP SHOAL 204 #A030A         SS204A30A1                   G01520      177114002801
SHIP SHOAL 204 #A031          SS204A3101                   G01520      177110084201
SHIP SHOAL 204 #A034          SS204A3400                   G01520      177114146700
SHIP SHOAL 204 #A035          SS204A3502                   G01520      177114147402
SHIP SHOAL 204 #A036 ST1      SS204A3603                   G01520      177114146803
SHIP SHOAL 206 #E002          SS206E0201                   G01522      177114118101
SHIP SHOAL 206 #E003          SS206E0301                   G01522      177114118201
SHIP SHOAL 206 #E004          SS206E0400                   G01522      177114141800
SHIP SHOAL 206 #E005          SS206E0500                   G01522      177114142000
SHIP SHOAL 207 #A003 ST1      SS207A0301                   G01523      177110072801
SHIP SHOAL 207 #A004B         SS207A04B0                   G01523      177110075500
SHIP SHOAL 207 #A006D         SS207A06D0                   G01523      177110078200
SHIP SHOAL 207 #A008B         SS207A08B0                   G01523      177110080700
SHIP SHOAL 207 #A009          SS207A0900                   G01523      177110082400
SHIP SHOAL 207 #A010D         SS207A10D0                   G01523      177110083900
SHIP SHOAL 207 #A013          SS207A1300                   G01523      177112002500
SHIP SHOAL 207 #A015 ST1      SS207A1501                   G01523      177112010601
SHIP SHOAL 207 #A016 ST1      SS207A1601                   G01523      177112011401
SHIP SHOAL 207 #A018          SS207A1800                   G01523      177112005000
SHIP SHOAL 207 #A019ST        SS207A1901                   G01523      177114009401
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Asset Name                    FWE Acct. Code            Lease Number        API
SHIP SHOAL 207 #A020          SS207A2000                   G01523      177114010300
SHIP SHOAL 207 #A022 ST1      SS207A2201                   G01523      177114011301
SHIP SHOAL 207 #A023B         SS207A23B0                   G01523      177114013500
SHIP SHOAL 207 #A024          SS207A2400                   G01523      177114014300
SHIP SHOAL 207 #A025          SS207A2500                   G01523      177114015500
SHIP SHOAL 207 #A026          SS207A2601                   G01523      177112001101
SHIP SHOAL 207 #A027          SS207A2701                   G01523      177110079401
SHIP SHOAL 207 #A028          SS207A2801                   G01523      177110077301
SHIP SHOAL 207 #A029 ST       SS207A2901                   G01523      177112001901
SHIP SHOAL 207 #A030          SS207A3001                   G01523      177110071501
SHIP SHOAL 207 #A031 ST2      SS207A3102                   G01523      177114117702
SHIP SHOAL 207 #A032          SS207A3201                   G01523      177114119701
SHIP SHOAL 207 #A033 ST1      SS207A3301                   G01523      177114121901
SHIP SHOAL 207 #A034          SS207A3400                   G01523      177114122200
SHIP SHOAL 207 #A035 ST1      SS207A3501                   G01523      177114133301
SHIP SHOAL 207 #A036          SS207A3600                   G01523      177114137700
SHIP SHOAL 207 #D002          SS207D0200                   G01523      177114025400
SHIP SHOAL 207 #D007          SS207D0700                   G01523      177114030300
SHIP SHOAL 207 #D008          SS207D0800                   G01523      177114032300
SHIP SHOAL 207 #D009          SS207D0900                   G01523      177114116400
SHIP SHOAL 207 #D010 ST1      SS207D1001                   G01523      177114116501
SHIP SHOAL 214 #004           SS21404                       00828      177110060600
SHIP SHOAL 214 #E003          SS214E03                      00828      177110071100
SHIP SHOAL 214 #E004          SS214E04                      00828      177110073500
SHIP SHOAL 214 #E007          SS214E07                      00828      177110070200
SHIP SHOAL 214 #E014          SS214E14                      00828      177110076400
SHIP SHOAL 214 #F003          SS214F03                      00828      177110069900
SHIP SHOAL 214 #F005          SS214F05                      00828      177110073600
SHIP SHOAL 214 #F006          SS214F06                      00828      177110075600
SHIP SHOAL 214 #F007          SS214F07                      00828      177110075801
SHIP SHOAL 214 #F008          SS214F08                      00828      177110077200
SHIP SHOAL 214 #F009          SS214F09                      00828      177110078000
SHIP SHOAL 214 #F014          SS214F14                      00828      177110078600
SHIP SHOAL 214 #H004          SS214H04                      00828      177112017100
SHIP SHOAL 214 #H007          SS214H07                      00828      177114000900
SHIP SHOAL 214 #H008          SS214H08                      00828      177114002100
SHIP SHOAL 214 #H009          SS214H09                      00828      177114002600
SHIP SHOAL 214 #H011          SS214H11                      00828      177114003500
SHIP SHOAL 214 #H012          SS214H12                      00828      177114004000
SHIP SHOAL 214 #K001          SS214K01                      00828      177114053900
SHIP SHOAL 214 #K002          SS214K02                      00828      177114054000
SHIP SHOAL 214 #K008          SS214K08                      00828      177114145700
SHIP SHOAL 214 #K010          SS214K10                      00828      177114144300
SHIP SHOAL 214 #K011          SS214K11                      00828      177114147300
SHIP SHOAL 214 #L001          SS214L01                      00828      177114066500
SHIP SHOAL 214 #L002          SS214L02                      00828      177114068100
SHIP SHOAL 214 #L003          SS214L03                      00828      177114068300
SHIP SHOAL 214 #L004          SS214L04                      00828      177114070100
SHIP SHOAL 214 #L005          SS214L05                      00828      177114070200
SHIP SHOAL 214 #L006          SS214L06                      00828      177114074601
SHIP SHOAL 214 #L007          SS214L07                      00828      177114075500
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Asset Name                     FWE Acct. Code            Lease Number        API
SHIP SHOAL 214 #L008           SS214L08                      00828      177114076101
SHIP SHOAL 216 #C004 ST1       SS216C0401                   G01524      177112014901
SHIP SHOAL 216 #C005A          SS216C05A0                   G01524      177112017400
SHIP SHOAL 216 #C007 ST1       SS216C0701                   G01524      177114001201
SHIP SHOAL 216 #C009 ST1       SS216C0901                   G01524      177114003801
SHIP SHOAL 216 #C010           SS216C1000                   G01524      177114004900
SHIP SHOAL 216 #C012C          SS216C12C0                   G01524      177114006700
SHIP SHOAL 216 #C013           SS216C1300                   G01524      177114007700
SHIP SHOAL 216 #C015           SS216C1500                   G01524      177114009000
SHIP SHOAL 216 #C016           SS216C1601                   G01524      177114000101
SHIP SHOAL 216 #C017A          SS216C17A1                   G01524      177114003001
SHIP SHOAL 216 #C019           SS216C1900                   G01524      177114031900
SHIP SHOAL 216 #C023           SS216C2300                   G01524      177114134600
SHIP SHOAL 216 #C024 ST2       SS216C2402                   G01524      177114135102
SHIP SHOAL 232 #B012           SS233B12                     G15293       1771141070
SHIP SHOAL 232 #B02            SS233002                     G15293       1771140371
SHIP SHOAL 233 #B001           SS233B01                     G01528      177114028700
SHIP SHOAL 233 #B003           SS233B03                     G01528      177114059800
SHIP SHOAL 233 #B004           SS233B04                     G01528      177114060400
SHIP SHOAL 233 #B006           SS233B06                     G01528      177114063500
SHIP SHOAL 233 #B007           SS233B07                     G01528      177114065400
SHIP SHOAL 233 #B010           SS233B10                     G01528      177114069901
SHIP SHOAL 233 #B011           SS233B11                     G01528      177114073201
SHIP SHOAL 233 #E006           SS233E06                     G01528      177110071900
SHIP SHOAL 233 #H005           SS233H05                     G01528      177112017800
SHIP SHOAL 238 #A001           SS238A01                     G03169      177124023400
SHIP SHOAL 238 #A003           SS238A03                     G03169      177124025701
SHIP SHOAL 238 #A005           SS238A05                     G03169      177124027200
SHIP SHOAL 238 #B005           SS238B05                     G03169      177114061400
SHIP SHOAL 238 #B008           SS238B08                     G03169      177114086600
SHIP SHOAL 238 #C001 ( ORRI)   SS238C01                     G03169      177124068100
SHIP SHOAL 238 #C002           SS238C02                     G03169      177124068400
SHIP SHOAL 246 #A001           SS246A01                     G01027      177124005700
SHIP SHOAL 246 #A002           SS246A02                     G01027      177124007400
SHIP SHOAL 246 #A004           SS246A04                     G01027      177124008200
SHIP SHOAL 246 #A005           SS246A05                     G01027      177124008300
SHIP SHOAL 246 #A006           SS246A06                     G01027      177124009000
SHIP SHOAL 246 #A007           SS246A07                     G01027      177124009100
SHIP SHOAL 246 #A009           SS246A09                     G01027      177124010200
SHIP SHOAL 246 #A011           SS246A11                     G01027      177124011500
SHIP SHOAL 246 #A014           SS246A14                     G01027      177124014600
SHIP SHOAL 246 #A019           SS246A19                     G01027      177124016100
SHIP SHOAL 246 #A020           SS246A20                     G01027      177124012901
SHIP SHOAL 246 #J001           SS246J01                     G01027      177124061800
SHIP SHOAL 247 #D003           SS247D03                     G01028      177124013100
SHIP SHOAL 247 #D007           SS247D07                     G01028      177124015600
SHIP SHOAL 247 #D009           SS247D09                     G01028      177124016600
SHIP SHOAL 247 #D012           SS247D12                     G01028      177124017903
SHIP SHOAL 247 #F002           SS247F02                     G01028      177124019702
SHIP SHOAL 247 #F010           SS247F10                     G01028      177124022400
SHIP SHOAL 247 #F014           SS247F14                     G01028      177124022301
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Asset Name                    FWE Acct. Code            Lease Number        API
SHIP SHOAL 247 #F017          SS247F17                     G01028      177124022901
SHIP SHOAL 247 #F018          SS247F18                     G01028      177124023201
SHIP SHOAL 247 #F019          SS247F19                     G01028      177124052500
SHIP SHOAL 248 #D006          SS248D06                     G01029      177124015000
SHIP SHOAL 248 #D015          SS248D15                     G01029      177124020600
SHIP SHOAL 248 #D016          SS248D16                     G01029      177124021000
SHIP SHOAL 248 #D018          SS248D18                     G01029      177124021100
SHIP SHOAL 248 #D020          SS248D2000                   G01029      177124022000
SHIP SHOAL 248 #F008          SS248F08                     G01029      177124022100
SHIP SHOAL 248 #G001          SS248G01                     G01029      177124049500
SHIP SHOAL 248 #G002          SS248G02                     G01029      177124053000
SHIP SHOAL 248 #G003          SS248G03                     G01029      177124053300
SHIP SHOAL 249 #006           SS24906                      G01030      177124062200
SHIP SHOAL 249 #D002          SS249D02                     G01030      177124012000
SHIP SHOAL 249 #D004          SS249D04                     G01030      177124017100
SHIP SHOAL 249 #D005          SS249D05                     G01030      177124014200
SHIP SHOAL 249 #D008          SS249D08                     G01030      177124015900
SHIP SHOAL 249 #D011          SS249D11                     G01030      177124018500
SHIP SHOAL 249 #D014          SS249D14                     G01030      177124019200
SHIP SHOAL 249 #D017          SS249D1700                   G01030      177124020800
SHIP SHOAL 249 #D019          SS249D19                     G01030      177124021500
SHIP SHOAL 252 #C004          SS252C04                     G01529      177122001500
SHIP SHOAL 252 #C005          SS252C05                     G01529      177122002000
SHIP SHOAL 252 #C009          SS252C09                     G01529      177124029401
SHIP SHOAL 252 #C012          SS252C12                     G01529      177124047300
SHIP SHOAL 252 #F001          SS252F01                     G01529      177124052000
SHIP SHOAL 252 #F003          SS252F03                     G01529      177124052200
SHIP SHOAL 252 #F004          SS252F04                     G01529      177124067400
SHIP SHOAL 253 #C001          SS253C01                     G01031      177122000100
SHIP SHOAL 253 #C002          SS253C02                     G01031      177122006700
SHIP SHOAL 253 #C003          SS253C03                     G01031      177122001400
SHIP SHOAL 253 #C006          SS253C06                     G01031      177122002100
SHIP SHOAL 253 #C007          SS253C07                     G01031      177122002300
SHIP SHOAL 253 #C008          SS253C08                     G01031      177124030000
SHIP SHOAL 253 #C010          SS253C10                     G01031      177124029300
SHIP SHOAL 253 #C011          SS253C11                     G01031      177124030900
SHIP SHOAL 253 #D001          SS253D01                     G01031      177122004200
SHIP SHOAL 253 #D003          SS253D03                     G01031      177124000400
SHIP SHOAL 253 #D004          SS253D04                     G01031      177124001100
SHIP SHOAL 253 #D005          SS253D05                     G01031      177124001200
SHIP SHOAL 253 #D006          SS253D06                     G01031      177124001300
SHIP SHOAL 253 #D007          SS253D07                     G01031      177124001401
SHIP SHOAL 253 #D008          SS253D08                     G01031      177124001600
SHIP SHOAL 253 #D009          SS253D09                     G01031      177124001800
SHIP SHOAL 253 #D010          SS253D10                     G01031      177124002001
SHIP SHOAL 253 #D013          SS253D13                     G01031      177124002600
SHIP SHOAL 253 #D014          SS253D14                     G01031      177124002701
SHIP SHOAL 253 #E001          SS253E01                     G01031      177124024200
SHIP SHOAL 253 #E002          SS253E02                     G01031      177124024600
SHIP SHOAL 253 #E003          SS253E03                     G01031      177124025301
SHIP SHOAL 253 #E004          SS253E04                     G01031      177124025400
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Asset Name                       FWE Acct. Code            Lease Number        API
SHIP SHOAL 253 #E005             SS253E05                     G01031      177124025500
SHIP SHOAL 253 #E006             SS253E06                     G01031      177124026600
SHIP SHOAL 253 #E007             SS253E07                     G01031      177124026800
SHIP SHOAL 253 #E008             SS253E08                     G01031      177124027600
SHIP SHOAL 253 #E009             SS253E09                     G01031      177124027701
SHIP SHOAL 253 #E010             SS253E10                     G01031      177124027800
SHIP SHOAL 253 #E011             SS253E11                     G01031      177124028200
SHIP SHOAL 253 #E012             SS253E12                     G01031      177124028400
SHIP SHOAL 253 #E013             SS253E13                     G01031      177124037500
SHIP SHOAL 253 #E014             SS253E14                     G01031      177124042100
SHIP SHOAL 253 #E015             SS253E15                     G01031      177124044401
SHIP SHOAL 253 #F002             SS253F02                     G01031      177124052100
SHIP SHOAL 300 #A001             SS300A01                     G07760      177124037401
SHIP SHOAL 300 #A003             SS300A03                     G07760      177124041602
SHIP SHOAL 300 #A004             SS300A04                     G07760      177124043100
SHIP SHOAL 300 #A005             SS300A05                     G07760      177124053600
SHIP SHOAL 300 #A006             SS300A06                     G07760      177124053700
SHIP SHOAL 300 #B001             SS300B01                     G07760      177124044100
SHIP SHOAL 300 #B002             SS300B02                     G07760      177124044800
SHIP SHOAL 300 #B003             SS300B03                     G07760      177124045600
SHIP SHOAL 300 #B004             SS300B04                     G07760      177124045700
SHIP SHOAL 300 #B005             SS300B05                     G07760      177124045900
SHIP SHOAL 315 #A001             SS315A01                     G09631      177124046901
SHIP SHOAL 315 #A003             SS315A03                     G09631      177124047402
SHIP SHOAL206#E001(SS207E1       SS207E0100                   G01523      177114115500
SOUTH MARSH IS 066 #C001         SM066C0100                   G01198      177070041200
SOUTH MARSH IS 066 #C002         SM066C0200                   G01198      177070049000
SOUTH MARSH IS 066 #C003         SM066C0300                   G01198      177074005800
SOUTH MARSH IS 066 #C004         SM066C0400                   G01198      177070050000
SOUTH MARSH IS 066 #C005         SM066C0500                   G01198      177070050700
SOUTH MARSH IS 066 #C006         SM066C0600                   G01198      177072018700
SOUTH MARSH IS 066 #C007         SM066C0700                   G01198      177070052800
SOUTH MARSH IS 066 #C009B        SM066C09B0                   G01198      177072001200
SOUTH MARSH IS 066 #C011         SM066C1100                   G01198      177074072900
SOUTH MARSH IS 066 #C012         SM066C1200                   G01198      177074073500
SOUTH MARSH IS 066 #D001         SM066D0100                   G01198      177074025400
SOUTH MARSH IS 066 #D003         SM066D0300                   G01198      177074029000
SOUTH MARSH IS 066 #D004         SM066D0400                   G01198      177074032000
SOUTH MARSH IS 066 #D005         SM066D0500                   G01198      177074032600
SOUTH MARSH IS 066 #D006 ST      SM066D0601                   G01198      177074031201
SOUTH MARSH IS 066 #D007 ST1BP   SM066D0701                   G01198      177074027401
SOUTH MARSH IS 087 #A002         SM087A02                     G24870      177084092201
SOUTH MARSH IS 087 #A004         SM087A04                     G24870      177084093704
SOUTH MARSH IS 087 #A005         SM087A05                     G24870      177084093802
SOUTH MARSH IS 087 #I002         SM087I02                     G24870      177064097900
SOUTH MARSH IS 102 #A001         SM102A01                     G24872      177084091200
SOUTH MARSH IS 102 #A006         SM102A06                     G24872      177084094101
SOUTH MARSH IS 132 #B002         SM132B0200                   G02282      177084031800
SOUTH MARSH IS 132 #B003 ST1     SM132B0301                   G02282      177084031601
SOUTH MARSH IS 132 #B004         SM132B0400                   G02282      177084033000
SOUTH MARSH IS 132 #B005         SM132B0500                   G02282      177084033500
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Asset Name                     FWE Acct. Code            Lease Number        API
SOUTH MARSH IS 132 #B006       SM132B0600                   G02282      177084033900
SOUTH MARSH IS 132 #B007       SM132B0700                   G02282      177084034100
SOUTH MARSH IS 132 #B008       SM132B0800                   G02282      177084035500
SOUTH MARSH IS 132 #B009       SM132B0900                   G02282      177084036200
SOUTH MARSH IS 132 #B010       SM132B1000                   G02282      177084036500
SOUTH MARSH IS 132 #B011       SM132B1100                   G02282      177084037800
SOUTH MARSH IS 135 #C003 BP1   SM135C0301                   G19776      177084089401
SOUTH MARSH IS 136 #A004       SM136A0400                   G02588      177084021900
SOUTH MARSH IS 136 #A008       SM136A08                     G02588      177084032401
SOUTH MARSH IS 136 #A010       SM136A1000                   G02588      177084035700
SOUTH MARSH IS 136 #A015       SM136A1500                   G02588      177084071200
SOUTH MARSH IS 136 #C007       SM136C0700                   G02588      177084091900
SOUTH MARSH IS 137 #A001       SM137A0100                   G02589      177084007700
SOUTH MARSH IS 137 #A003       SM137A0300                   G02589      177084020400
SOUTH MARSH IS 137 #A005       SM137A0500                   G02589      177084024100
SOUTH MARSH IS 137 #A009       SM137A0900                   G02589      177084034600
SOUTH MARSH IS 137 #A011 ST1   SM137A1101                   G02589      177084030201
SOUTH MARSH IS 137 #A012       SM137A1200                   G02589      177084040400
SOUTH MARSH IS 137 #A013       SM137A1300                   G02589      177084042900
SOUTH MARSH IS 137 #A014       SM137A1400                   G02589      177084045000
SOUTH MARSH IS 137 #A018       SM137A1800                   G02589      177084072800
SOUTH MARSH IS 139 #B001       SM139B01                     G21106      177084092300
SOUTH MARSH IS 139 #B002       SM139B02                     G21106      177084093501
SOUTH MARSH IS 142 #A001       SM142A01                     G01216      177084014100
SOUTH MARSH IS 142 #A002       SM142A02                     G01216      177084014800
SOUTH MARSH IS 142 #A003       SM142A03                     G01216      177084016500
SOUTH MARSH IS 142 #A004       SM142A04                     G01216      177084017900
SOUTH MARSH IS 142 #A005       SM142A05                     G01216      177084019200
SOUTH MARSH IS 142 #A006       SM142A06                     G01216      177084020300
SOUTH MARSH IS 142 #A007       SM142A07                     G01216      177084021000
SOUTH MARSH IS 142 #A008       SM143A08                     G01216      177084023000
SOUTH MARSH IS 142 #A009       SM142A09                     G01216      177084026300
SOUTH MARSH IS 142 #A010       SM142A10                     G01216      177084077000
SOUTH MARSH IS 142 #A011       SM142A11                     G01216      177084091100
SOUTH MARSH IS 142 #C001       SM142C01                     G01216      177084082900
SOUTH MARSH IS 142 #C002       SM142C02                     G01216      177084084201
SOUTH MARSH IS 142 #C003       SM142C03                     G01216      177084085000
SOUTH MARSH IS 142 #C004       SM142C04                     G01216      177084085400
SOUTH MARSH IS 142 #C005       SM142C05                     G01216      177084091301
SOUTH MARSH IS 146 #A008       SM146A08                     G09546      177084077102
SOUTH MARSH IS 150 #C006 BP2   SM150C0600                   G16325      177084091802
SOUTH MARSH IS 150 #D003       SM150D0301                   G16325      177084096401
SOUTH MARSH IS 268 #A002C      SM268A02C0                   G02310      177074007600
SOUTH MARSH IS 268 #A007A      SM268A07A0                   G02310      177074013600
SOUTH MARSH IS 268 #A017B      SM268A17B0                   G02310      177074016800
SOUTH MARSH IS 268 #D001       SM268D0100                   G02310      177074020600
SOUTH MARSH IS 268 #D003D      SM268D03D0                   G02310      177074021600
SOUTH MARSH IS 268 #D004       SM268D0400                   G02310      177074022500
SOUTH MARSH IS 268 #D006       SM268D0600                   G02310      177074024700
SOUTH MARSH IS 268 #D007       SM268D0700                   G02310      177074025700
SOUTH MARSH IS 268 #D012       SM268D1200                   G02310      177074028700
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Asset Name                     FWE Acct. Code            Lease Number        API
SOUTH MARSH IS 268 #D016D      SM268D16D1                   G02310      177074029901
SOUTH MARSH IS 269 #A021B      SM269A21B0                   G02311      177074018100
SOUTH MARSH IS 269 #B002       SM269B0200                   G02311      177074008100
SOUTH MARSH IS 269 #B017 ST1   SM269B1701                   G02311      177074075701
SOUTH MARSH IS 269 #B019 BP1   SM269B1901                   G02311      177074088501
SOUTH MARSH IS 269 #F001 ST1   SM269F0101                   G02311      177074080401
SOUTH MARSH IS 280 #G001       SM280G0100                   G14456      177074071400
SOUTH MARSH IS 280 #G002       SM280G0200                   G14456      177074080700
SOUTH MARSH IS 280 #H001 ST1   SM280H0102                   G14456      177074081802
SOUTH MARSH IS 280 #H002 STB   SM280H0203                   G14456      177074082303
SOUTH MARSH IS 281 #C001       SM281C0100                   G02600      177074012500
SOUTH MARSH IS 281 #C003A      SM281C03A0                   G02600      177074013900
SOUTH MARSH IS 281 #C005A      SM281C05A0                   G02600      177074015300
SOUTH MARSH IS 281 #C006       SM281C0600                   G02600      177074015800
SOUTH MARSH IS 281 #C008 ST1   SM281C0801                   G02600      177074017701
SOUTH MARSH IS 281 #C010 ST    SM281C1001                   G02600      177074020701
SOUTH MARSH IS 281 #C011 ST1   SM281C1101                   G02600      177074022401
SOUTH MARSH IS 281 #C012A      SM281C12A0                   G02600      177074024100
SOUTH MARSH IS 281 #C014 ST    SM281C1401                   G02600      177074026901
SOUTH MARSH IS 281 #C016C      SM281C16C0                   G02600      177074029600
SOUTH MARSH IS 281 #C017       SM281C1700                   G02600      177074030500
SOUTH MARSH IS 281 #C019B      SM281C19B0                   G02600      177074034400
SOUTH MARSH IS 281 #C020 ST1   SM281C2001                   G02600      177074034901
SOUTH MARSH IS 281 #C021B      SM281C21B0                   G02600      177074035500
SOUTH MARSH IS 281 #C023 ST2   SM281C2302                   G02600      177074036802
SOUTH MARSH IS 281 #C024       SM281C2400                   G02600      177074037300
SOUTH MARSH IS 281 #C025       SM281C2500                   G02600      177074083500
SOUTH MARSH IS 281 #C026       SM281C2600                   G02600      177074083700
SOUTH MARSH IS 281 #C027       SM281C2700                   G02600      177074085200
SOUTH MARSH IS 281 #C028 BP2   SM281C2802                   G02600      177074089402
SOUTH MARSH IS 281 #D002       SM281D0200                   G02600      177074021100
SOUTH MARSH IS 281 #D009       SM281D0900                   G02600      177074027100
SOUTH MARSH IS 281 #D010A      SM281D10A0                   G02600      177074027500
SOUTH MARSH IS 281 #D011       SM281D1100                   G02600      177074028000
SOUTH MARSH IS 281 #D013       SM281D1300                   G02600      177074029100
SOUTH MARSH IS 281 #D014A      SM281D14A0                   G02600      177074029700
SOUTH MARSH IS 281 #D05A       SM281D05A0                   G02600      177074023200
SOUTH MARSH IS 281 #D08A       SM281D08A0                   G02600      177074026600
SOUTH MARSH IS 281 #E001D      SM281E01D0                   G02600      177074018500
SOUTH MARSH IS 281 #E002A      SM281E02A0                   G02600      177074024600
SOUTH MARSH IS 281 #E003       SM281E0300                   G02600      177074027800
SOUTH MARSH IS 281 #E004       SM281E0400                   G02600      177074028500
SOUTH MARSH IS 281 #E005A      SM281E05A0                   G02600      177074029300
SOUTH MARSH IS 281 #E006       SM281E0601                   G02600      177074030101
SOUTH MARSH IS 281 #E007       SM281E0700                   G02600      177074031600
SOUTH MARSH IS 281 #E008A      SM281E08A1                   G02600      177074033101
SOUTH MARSH IS 281 #E009A      SM281E09A0                   G02600      177074033800
SOUTH MARSH IS 281 #E010A      SM281E10A0                   G02600      177074034800
SOUTH MARSH IS 281 #E011 ST    SM281E1101                   G02600      177074035601
SOUTH MARSH IS 281 #E012       SM281E1200                   G02600      177074036000
SOUTH MARSH IS 281 #E013       SM281E1300                   G02600      177074036600
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Asset Name                     FWE Acct. Code            Lease Number        API
SOUTH MARSH IS 281 #E014       SM281E1400                   G02600      177074038600
SOUTH MARSH IS 281 #I001       SM281I0101                   G02600      177074082601
SOUTH MARSH IS 281 #I002 ST1   SM281I0201                   G02600      177074082701
SOUTH MARSH IS 281 #I003       SM281I0300                   G02600      177074082800
SOUTH PASS 017 #A023           SP017A23                     G02938      177212022601
SOUTH PASS 017 #D006           SP017D06                     G02938      177214012901
SOUTH PASS 017 #D009           SP017D09                     G02938      177214013303
SOUTH PASS 017 #D029           SP017D29                     G02938      177214012203
SOUTH PASS 017 #D032           SP017D32                     G02938      177214030101
SOUTH PASS 017 #E004           SP017E04                     G02938      177214020300
SOUTH PASS 017 #E006           SP017E06                     G02938      177214020101
SOUTH PASS 017 #G016           SP017G16                     G02938      177214035501
SOUTH PASS 017 #G026           SP017G26                     G02938      177214037203
SOUTH PASS 017 #G029           SP017G29                     G02938      177214037504
SOUTH PASS 037 #003            SP03703                       00697      177214045700
SOUTH PASS 042 SWD 1           SL301101                      03011       UNKNOWN
SOUTH PASS 059 #A018           SP059A18                     G01608      177234015204
SOUTH PASS 059 #C007           SP059C07                     G02943      177212021402
SOUTH PASS 059 #C008           SP059C08                     G01608      177212022502
SOUTH PASS 059 #C017           SP059C17                     G02943      177212022802
SOUTH PASS 059 #C018           SP059C18                     G02943      177212024601
SOUTH PASS 059 #C019           SP059C19                     G01608      177214006906
SOUTH PASS 059 #C020           SP059C20                     G02943      177214007004
SOUTH PASS 059 #C022           SP059C22                     G02943      177214009002
SOUTH PASS 059 #C026           SP059C26                     G02943      177214010400
SOUTH PASS 059 #C027           SP059C27                     G02943      177214011302
SOUTH PASS 059 #C030           SP059C30                     G01608      177214005703
SOUTH PASS 059 #C037           SP059C37                     G02942      177212022701
SOUTH PASS 059 #C039           SP059C39                     G02943      177214006201
SOUTH PASS 059 #C040           SP059C40                     G01608      177214032304
SOUTH PASS 059 #C041           SP059C41                     G02942      177214032602
SOUTH PASS 059 #C042           SP059C42                     G02943      177214039603
SOUTH PASS 059 #D023           SP059D23                     G02942      177214017802
SOUTH PASS 059 #D025           SP059D25                     G02943      177214018403
SOUTH PASS 059 #D026           SP059D26                     G02942      177214019302
SOUTH PASS 059 #D027           SP059D27                     G02942      177214020500
SOUTH PASS 059 #D033           SP059D33                     G02942      177214031102
SOUTH PASS 059 #D034           SP059D34                     G02943      177214030901
SOUTH PASS 059 #G002           SP059G02                     G02943      177214033500
SOUTH PASS 059 #G005           SP059G05                     G02943      177214034000
SOUTH PASS 059 #G012           SP059G12                     G02943      177214035100
SOUTH PASS 059 #G018           SP059G18                     G02943      177214035601
SOUTH PASS 059 #G020           SP059G20                     G02943      177214036101
SOUTH PASS 060 #A003           SP060A03                     G02137      177214001501
SOUTH PASS 060 #A004           SP060A04                     G02137      177214001601
SOUTH PASS 060 #A005           SP060A05                     G02137      177212012400
SOUTH PASS 060 #A006           SP060A06                     G02137      177214001801
SOUTH PASS 060 #A007           SP060A07                     G02137      177212012700
SOUTH PASS 060 #A009           SP060A09                     G02137      177212014702
SOUTH PASS 060 #A010           SP060A10                     G02137      177214002902
SOUTH PASS 060 #A012           SP060A12                     G02137      177212017600
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Asset Name                   FWE Acct. Code            Lease Number        API
SOUTH PASS 060 #A013         SP060A13                     G01608      177214004000
SOUTH PASS 060 #A017         SP060A17                     G01608      177214004901
SOUTH PASS 060 #A018         SP060A18                     G02137      177212020600
SOUTH PASS 060 #A019         SP060A19                     G02137      177212020802
SOUTH PASS 060 #A021         SP060A21                     G02137      177212022201
SOUTH PASS 060 #A025         SP060A25                     G02938      177212024501
SOUTH PASS 060 #A028         SP060A28                     G02137      177212025003
SOUTH PASS 060 #A029         SP060A29                     G01608      177214008101
SOUTH PASS 060 #A031         SP060A31                     G01608      177214007106
SOUTH PASS 060 #A032         SP060A32                     G01608      177212018702
SOUTH PASS 060 #A033         SP060A33                     G02137      177214001303
SOUTH PASS 060 #A034         SP060A34                     G01608      177212017501
SOUTH PASS 060 #A035         SP060A35                     G02137      177212019302
SOUTH PASS 060 #A036         SP060A36                     G01608      177214001202
SOUTH PASS 060 #A037         SP060A37                     G02137      177212013701
SOUTH PASS 060 #B001         SP060B01                     G01608      177214002001
SOUTH PASS 060 #B003         SP060B03                     G01608      177214002302
SOUTH PASS 060 #B004         SP060B04                     G02137      177214002402
SOUTH PASS 060 #B006         SP060B06                     G01608      177214003001
SOUTH PASS 060 #B007         SP060B07                     G01608      177214003601
SOUTH PASS 060 #B008         SP060B08                     G01608      177214003701
SOUTH PASS 060 #B012         SP060B12                     G01608      177214004202
SOUTH PASS 060 #B013         SP060B13                     G01608      177214003904
SOUTH PASS 060 #B014         SP060B14                     G01608      177214004403
SOUTH PASS 060 #B015         SP060B15                     G01608      177214004502
SOUTH PASS 060 #B017         SP060B17                     G01608      177214004703
SOUTH PASS 060 #B020         SP060B20                     G01608      177214005101
SOUTH PASS 060 #B021         SP060B21                     G01608      177214002502
SOUTH PASS 060 #B022         SP060B22                     G01608      177214004106
SOUTH PASS 060 #B026         SP060B26                     G01608      177214005003
SOUTH PASS 060 #C006         SP060C06                     G02137      177212021100
SOUTH PASS 060 #C023         SP060C23                     G02137      177214009200
SOUTH PASS 060 #C031         SP060C31                     G02137      177214011806
SOUTH PASS 060 #C038         SP060C38                     G01608      177214005502
SOUTH PASS 060 #D002         SP060D02                     G02137      177214011601
SOUTH PASS 060 #D010         SP060D10                     G02137      177214013902
SOUTH PASS 060 #D012         SP060D12                     G02137      177214014301
SOUTH PASS 060 #D014         SP060D14                     G01608      177214014401
SOUTH PASS 060 #D015         SP060D15                     G01608      177214015102
SOUTH PASS 060 #D016         SP060D16                     G02137      177214016101
SOUTH PASS 060 #D017         SP060D17                     G02137      177214016202
SOUTH PASS 060 #D018         SP060D18                     G02137      177214016501
SOUTH PASS 060 #D021         SP060D21                     G02137      177214016703
SOUTH PASS 060 #D022         SP060D22                     G02137      177214015802
SOUTH PASS 060 #D024         SP060D24                     G02137      177214018200
SOUTH PASS 060 #D025         SP060D25                     G02137      177214038901
SOUTH PASS 060 #D031         SP060D31                     G02137      177214028901
SOUTH PASS 060 #D035         SP060D35                     G02137      177214022703
SOUTH PASS 060 #E001         SP060E01                     G01608      177214019202
SOUTH PASS 060 #E002         SP060E02                     G01608      177214021602
SOUTH PASS 060 #E003         SP060E03                     G01608      177214022201
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Asset Name                   FWE Acct. Code            Lease Number        API
SOUTH PASS 060 #E005         SP060E05                     G01608      177214022902
SOUTH PASS 060 #E008         SP060E08                     G01608      177214023900
SOUTH PASS 060 #E009         SP060E09                     G01608      177214024405
SOUTH PASS 060 #E011         SP060E11                     G01608      177214027500
SOUTH PASS 060 #E012         SP060E12                     G01608      177214025100
SOUTH PASS 060 #E013         SP060E13                     G01608      177214025601
SOUTH PASS 060 #E014         SP060E14                     G01608      177214025903
SOUTH PASS 060 #E015         SP060E15                     G01608      177214026300
SOUTH PASS 060 #E016         SP060E16                     G01608      177214026603
SOUTH PASS 060 #E019         SP060E19                     G01608      177214027400
SOUTH PASS 060 #E021         SP060E21                     G01608      177214027802
SOUTH PASS 060 #E022         SP060E22                     G02137      177214028700
SOUTH PASS 060 #E023         SP060E23                     G01608      177214029302
SOUTH PASS 060 #E024         SP060E24                     G01608      177214029403
SOUTH PASS 060 #E025         SP060E25                     G01608      177214031301
SOUTH PASS 060 #E026         SP060E26                     G01608      177214031501
SOUTH PASS 060 #E028         SP060E28                     G01608      177214032201
SOUTH PASS 060 #G001         SP060G01                     G02137      177214032901
SOUTH PASS 060 #G003         SP060G03                     G02137      177214033400
SOUTH PASS 060 #G004         SP060G04                     G02137      177214033700
SOUTH PASS 060 #G006         SP060G06                     G02137      177214033801
SOUTH PASS 060 #G007         SP060G07                     G01608      177214034102
SOUTH PASS 060 #G008         SP060G08                     G02137      177214034200
SOUTH PASS 060 #G009         SP060G09                     G01608      177214034600
SOUTH PASS 060 #G010         SP060G10                     G02137      177214034900
SOUTH PASS 060 #G011         SP060G11                     G01608      177214035000
SOUTH PASS 060 #G013         SP060G13                     G01608      177214034803
SOUTH PASS 060 #G014         SP060G14                     G02137      177214035301
SOUTH PASS 060 #G015         SP060G15                     G02137      177214035404
SOUTH PASS 060 #G017         SP060G17                     G01608      177214035701
SOUTH PASS 060 #G019         SP060G19                     G02137      177214035903
SOUTH PASS 060 #G021         SP060G21                     G02137      177214036201
SOUTH PASS 060 #G022         SP060G22                     G01608      177214036501
SOUTH PASS 060 #G023         SP060G23                     G01608      177214036700
SOUTH PASS 060 #G024         SP060G24                     G01608      177214036900
SOUTH PASS 060 #G025         SP060G25                     G02137      177214037001
SOUTH PASS 060 #G027         SP060G27                     G01608      177214037100
SOUTH PASS 060 #G028         SP060G28                     G01608      177214037301
SOUTH PASS 060 #G031         SP060G31                     G02137      177214038101
SOUTH PASS 060 #G032         SP060G32                     G02137      177214038302
SOUTH PASS 060 #G033         SP060G33                     G01608      177214037700
SOUTH PASS 060 #G034         SP060G34                     G02137      177214038901
SOUTH PASS 060 #G035         SP060G35                     G02137      177214039200
SOUTH PASS 060 #G036         SP060G36                     G02137      177214039301
SOUTH PASS 061 #B018         SP061B18                     G01609      177214004802
SOUTH PASS 061 #E029         SP061E29                     G01609      177214031802
SOUTH PASS 066 #A012         SP066A1200                   G01611      177234011401
SOUTH PASS 066 #A015         SP066A15                     G01611      177234011702
SOUTH PASS 066 #C001         SP066C0100                   G01611      177212019402
SOUTH PASS 066 #C013         SP066C1300                   G01611      177214005803
SOUTH PASS 066 #C021         SP066C2100                   G01611      177214008303
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Asset Name                     FWE Acct. Code            Lease Number        API
SOUTH PASS 066 #C025           SP066C2500                   G01611      177214010301
SOUTH PASS 066 #C029           SP066C29                     G01611      177214012702
SOUTH PASS 066 #C036           SP066C3600                   G01611      177214005305
SOUTH PASS 067 #A001           SP067A01                     G01612      177234010501
SOUTH PASS 067 #A004           SP067A04                     G01612      177234010603
SOUTH PASS 067 #A005           SP067A05                     G01612      177234010702
SOUTH PASS 067 #A008           SP067A08                     G01612      177234010901
SOUTH PASS 067 #A009           SP067A09                     G01612      177234011001
SOUTH PASS 067 #A010           SP067A10                     G01612      177234011100
SOUTH PASS 067 #A011           SP067A11                     G01612      177234011200
SOUTH PASS 067 #A013           SP067A13                     G01612      177234011502
SOUTH PASS 067 #A014           SP067A14                     G01612      177234011601
SOUTH PASS 067 #A016           SP067A16                     G01612      177234015101
SOUTH PASS 067 #A019           SP067A19                     G01612      177234015700
SOUTH PASS 067 #A020           SP067A20                     G01612      177234015301
SOUTH PASS 067 #A021           SP067A21                     G01612      177234015600
SOUTH PASS 067 #A022           SP067A22                     G01612      177234015900
SOUTH PASS 067 #A023           SP067A23                     G01612      177234015801
SOUTH PASS 067 #A024           SP067A24                     G01612      177234016000
SOUTH PASS 067 #A025           SP067A25                     G01612      177234017400
SOUTH PELTO 013 #009           PL01300900                   G03171      177134019701
SOUTH TIMBALIER 195 #B001      ST195B01                     G03593      177154091400
SOUTH TIMBALIER 195 #B002      ST195B02                     G03593      177154092500
SOUTH TIMBALIER 195 #B003      ST195B03                     G03593      177154117901
SOUTH TIMBALIER 315 #A003      ST315A03                     G23946      177164029004
SOUTH TIMBALIER 316 #A001      ST316A0100                   G22762      177164028600
SOUTH TIMBALIER 316 #A002      ST316A0200                   G22762      177164028800
STATE TRACT 773 #L001 (NW/4)   ST773L1N                     111650      427023021000
STATE TRACT 773 #L001 (SW/4)   ST773L1S                     136449      426023016700
STATE TRACT 773 #L002          ST773L2                      115727      427023021800
STATE TRACT 773 #L003          ST773L3                      114988      427023022000
VERMILION 196 #A001            VR196A01                     G19760      177054112300
VERMILION 196 #A002            VR196A02                     G19760      177054116700
VERMILION 196 #A004            VR196A04                     G19760      177054127900
VERMILION 207 #A003            VR207A03                     G19761      177054117600
VERMILION 261 #A001            VR261A0100                   G03328      177064029000
VERMILION 261 #A002            VR261A0200                   G03328      177064033000
VERMILION 261 #A004            VR261A0402                   G03328      177064032902
VERMILION 261 #A005            VR261A0500                   G03328      177064034600
VERMILION 261 #A007            VR261A0700                   G03328      177064035400
VERMILION 261 #A008            VR261A0800                   G03328      177064084900
VERMILION 262 #A006            VR262A06                     G34257      177064035201
VERMILION 272 #A001            VR272A01                     G23829      177064091300
VERMILION 272 #A002            VR272A02                     G23829      177064091400
VERMILION 272 #A003            VR272A03                     G23829      177084093603
VERMILION 272 #A004            VR272A04                     G23829      177064091602
VERMILION 272 #A005            VR272A05                     G23829      177064091700
VERMILION 272 #A006            VR272A06                     G23829      177064096100
VERMILION 272 #A007            VR272A07                     G23829      177064096200
VERMILION 272 #B001            VR272B01                     G23829      177064091800
VERMILION 272 #B002            VR272B02                     G23829      177064092502
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Asset Name                    FWE Acct. Code            Lease Number            API
VERMILION 272 #C001           VR272C01                     G23829          177064096001
VERMILION 273 #B003           VR273B03                     G14412          177064092600
VERMILION 279 #A001           VR279A01                     G11881          177064074701
VERMILION 279 #A002           VR279A02                     G11881          177064075701
VERMILION 279 #A003           VR279A03                     G11881          177064076601
VERMILION 279 #A004           VR279A04                     G11881          177064087600
VERMILION 279 #A005           VR279A05                     G11881          177064075802
VERMILION 279 #A006           VR279A06                     G11881          177064079900
VERMILION 279 #A007           VR279A07                     G11881          177064078800
VERMILION 279 #A008           VR279A08                     G11881          177064079600
VERMILION 279 #A009           VR279A09                     G11881          177064080400
VERMILION 279 #A010           VR279A10                     G11881          177064080700
VERMILION 279 #A011           VR279A11                     G11881          177064080802
VERMILION 279 #A012           VR279A12                     G11881          177064087100
VERMILION 313 #B001           VR313B01                     G01172          177064028100
VERMILION 313 #B002           VR313B02                     G01172          177064029700
VERMILION 313 #B003           VR313B03                     G01172          177064030100
VERMILION 313 #B005           VR313B05                     G01172          177064032800
VERMILION 313 #B006           VR313B06                     G01172          177064031900
VERMILION 313 #B007           VR313B07                     G01172          177064032700
VERMILION 313 #B009           VR313B09                     G01172          177064033801
VERMILION 313 #B010           VR313B10                     G01172          177064035700
VERMILION 313 #B011           VR313B11                     G01172          177064037100
VERMILION 313 #B012           VR313B12                     G01172          177064036200
VERMILION 313 #C001           VR313C01                     G01172          177064071700
VERMILION 313 #C002           VR313C02                     G01172          177064071900
VERMILION 313 #C003           VR313C03                     G01172          177064072200
VERMILION 313 #C004           VR313C04                     G01172          177064072000
VERMILION 313 #D001           VR313D01                     G01172          177064090000
VERMILION 313 #D002           VR313D02                     G01172          177064090201
VERMILION 313 #D003           VR313D03                     G01172          177064090300
VERMILION 313 #D004           VR313D04                     G01172          177064090501
VERMILION 313 #D005           VR313D05                     G01172          177064090701
VERMILION 408 #A001           VR408A01            G15212               177064084401
VERMILION 408 #A002           VR408A02            G15212               177064086600
VERMILION 408 #A003           VR408A03            G15212               177064089900
VIOSCA KNOLL 824 #004         VK82400402                   G15436          608164032902
VIOSCA KNOLL 826 A‐10 ST1     VK826A1001                   G06888          608164032601
VIOSCA KNOLL 826 A‐12 BP1     VK826A1201                   G06888          608164038101
VIOSCA KNOLL 826 A‐13         VK826A13                     G06888          608164038200
VIOSCA KNOLL 826 A‐14 ST1     VK826A1401                   G06888          608164038001
VIOSCA KNOLL 826 A‐3          VK826A03                     G06888          608164022000
VIOSCA KNOLL 826 A‐4          VK826A04                     G06888          608164020500
VIOSCA KNOLL 826 A‐5          VK826A05                     G06888          608164022100
VIOSCA KNOLL 826 A‐6          VK826A06                     G06888          608164022200
VIOSCA KNOLL 826 A‐7          VK826A07                     G06888          608164023600
VIOSCA KNOLL 826 A‐8          VK826A08                     G06888          608164032400
VIOSCA KNOLL 826 A‐9 ST1      VK826A0901                   G06888          608164032501
VIOSCA KNOLL 826 A‐1 ST       VK826A0101                   G06888          608164019401
VIOSCA KNOLL 826 A‐2          VK826A02                     G06888          608164021900
VIOSCA KNOLL 826 SS12         VK826SS012                   G06888          608164035800
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Asset Name                       FWE Acct. Code            Lease Number        API
VIOSCA KNOLL 917 SS01 ST2        VK917SS102                   G15441      608164040002
VIOSCA KNOLL 962 SS01            VK962SS01                    G15445      608164039901
WEST CAMERON 009 #001 SL 18287   SL1828701                     18287      177002025000
WEST CAMERON 065 #B018           WC065B1800                   G02825      177004098900
WEST CAMERON 065 #B019           WC065B1901                   G02825      177004099501
WEST CAMERON 065 #B020 ST2       WC065B2001                   G02825      177004099701
WEST CAMERON 066 #A017           WC066A1700                   G02826      177004100600
WEST CAMERON 066 #B002           WC066B0200                   G02826      177004017600
WEST CAMERON 066 #B003           WC066B0300                   G02826      177004017800
WEST CAMERON 066 #B004           WC066B0400                   G02826      177004018300
WEST CAMERON 066 #B006           WC066B0600                   G02826      177004019100
WEST CAMERON 066 #B007           WC066B0700                   G02826      177004019600
WEST CAMERON 066 #B008D          WC066B08D0                   G02826      177004020400
WEST CAMERON 066 #B009           WC066B0900                   G02826      177004020801
WEST CAMERON 066 #B010           WC066B1000                   G02826      177004021400
WEST CAMERON 066 #B012           WC066B1200                   G02826      177004023000
WEST CAMERON 066 #B014           WC066B1401                   G02826      177004022001
WEST CAMERON 066 #B015           WC066B1500                   G02826      177004087600
WEST CAMERON 066 #B016           WC066B1601                   G02826      177004097101
WEST CAMERON 066 #B017           WC066B1700                   G02826      177004098700
WEST CAMERON 066 #E001           WC066E0100                   G02826      177004034700
WEST CAMERON 066 #E002           WC066E0200                   G02826      177004043400
WEST CAMERON 066 #E003           WC066E0300                   G02826      177004047900
WEST CAMERON 066 #E004           WC066E0400                   G02826      177004051500
WEST CAMERON 072 #001            WC07200100                   G23735      177004114900
WEST CAMERON 072 #002            WC07200200                   G23735      177004119400
WEST CAMERON 072 #003            WC07200301                   G23735      177004125001
WEST CAMERON 295 #A001           WC295A0101                   G24730      177014037501
WEST CAMERON 295 #A002           WC295A0201                   G24730      177014039001
WEST CAMERON 485 #A001           WC485A01                     G02220      177024010002
WEST CAMERON 485 #A010           WC485A10                     G02220      177024117800
WEST CAMERON 485 #A011           WC485A11                     G02220      177024118300
WEST CAMERON 485 #B006           WC485B06                     G02220      177024108300
WEST CAMERON 498 #B001           WC498B01                     G03520      177024106500
WEST CAMERON 498 #B002           WC498B02                     G03520      177024106901
WEST CAMERON 498 #B003           WC498B03                     G03520      177024109002
WEST CAMERON 498 #B004           WC498B04                     G03520      177024109400
WEST CAMERON 498 #B005           WC498B05                     G03520      177024116001
WEST CAMERON 498 #B006           WC498B06                     G03520      177024116100
WEST CAMERON 498 #B007           WC498B07                     G03520      177024116200
WEST CAMERON 498 #B008           WC498B08                     G03520      177024118801
WEST CAMERON 498 #B009           WC498B09                     G03520      177024120201
WEST CAMERON 498 #B010           WC498B10                     G03520      177024121000
WEST CAMERON 498 #B011           WC498B11                     G03520      177024131700
WEST CAMERON 507 #A002           WC507A02                     G02549      177024018200
WEST CAMERON 507 #A003           WC507A03                     G02549      177024020101
WEST CAMERON 507 #A004           WC507A04                     G10594      177024023002
WEST CAMERON 507 #A005           WC507A05                     G02549      177024023500
WEST CAMERON 507 #A006           WC507A06                     G02549      177024024902
WEST CAMERON 507 #A007           WC507A07                     G02549      177024094900
WEST CAMERON 507 #A008           WC507A08                     G02549      177024094400
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Asset Name                   FWE Acct. Code            Lease Number        API
WEST CAMERON 507 #A009       WC507A09                     G02549      177024094700
WEST CAMERON 507 #B001       WC507B01                     G02549      177024098304
WEST CAMERON 507 #B002       WC507B02                     G02549      177024099001
WEST CAMERON 507 #B003       WC507B03                     G02549      177024100201
WEST CAMERON 507 #B004       WC507B04                     G02549      177024108202
WEST CAMERON 507 #B005       WC507B05                     G02549      177024101200
WEST CAMERON 507 #C001       WC507C01                     G02549      177024130300
WEST CAMERON 67 #D1          WC067D0100                   G03256      177004031600
WEST CAMERON 67 #D10         ‐                            G03256      177004098501
WEST CAMERON 67 #D6          ‐                            G03256      177004040700
WEST CAMERON 67 #D9          WC067D0900                   G03256      177004078600
WEST DELTA 027 #008          WD02708                      G04473      177194065801




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Asset Name                   FWE Acct. Code       Lease Number   Area/Block      WI
BRAZOS A‐105 P/F‐A           BAA105PFA                 G01757     BAA105         87.5%
BRAZOS A‐105 P/F‐B           BAA105PFB                 G01757     BAA105         87.5%
BRAZOS A‐133 P/F‐A           BAA133APLT                G02665     BAA133         25.0%
BRAZOS A‐133 P/F‐B           BAA133BPLT                G02665     BAA133         25.0%
BRAZOS A‐133 P/F‐C‐AUX       BAA133CAUX                G02665     BAA133         25.0%
BRAZOS A‐133 P/F‐D           BAA133DPLT                G02665     BAA133         25.0%
BRAZOS A‐133 P/F‐E           BAA133EPLT                G02665     BAA133         25.0%
EAST BREAKS 159 P/F‐A        EB159PFA                  G02646      EB159         66.7%
EAST BREAKS 160 P/F‐A        EB160PFA                  G02647      EB160        100.0%
EAST BREAKS 165 P/F‐A        EB165PFA                  G06280      EB165        100.0%
EAST CAMERON 330 P/F‐B       EC330PFB                  G03540      EC330         95.0%
EAST CAMERON 332 P/F‐A       EC332PFA                  G09478      EC332         90.4%
EAST CAMERON 349 P/F‐A       EC349PFA                  G14385      EC349         25.0%
EUGENE IS 032 #012 CAS P/F   EI032PF12                 00196       EI032         23.7%
EUGENE IS 032 #016 CAS P/F   EI032PF16                 00196       EI032         23.7%
EUGENE IS 032 #020 CAS P/F   EI032PF20                 00196       EI032         23.7%
EUGENE IS 032 #029 CAS P/F   EI032PF29                 00196       EI032         23.7%
EUGENE IS 032 #8 CAS P/F     EI032PF08                 00196       EI032         23.7%
EUGENE IS 032 P/F‐10         EI032PF10                 00196       EI032         23.7%
EUGENE IS 032 P/F‐22         EI032PF22                 00196       EI032         23.7%
EUGENE IS 032 P/F‐23         EI032PF23                 00196       EI032         23.7%
EUGENE IS 032 P/F‐24         EI032PF24                 00196       EI032         23.7%
EUGENE IS 032 P/F‐25         EI032PF25                 00196       EI032         23.7%
EUGENE IS 032 P/F‐26         EI032PF26                 00196       EI032         23.7%
EUGENE IS 032 P/F‐27         EI032PF27                 00196       EI032         23.7%
EUGENE IS 032 P/F‐28         EI032PF28                 00196       EI032         23.7%
EUGENE IS 032 P/F‐30         EI032PF30                 00196       EI032         23.7%
EUGENE IS 032 P/F‐5          EI032PF5                  00196       EI032         23.7%
EUGENE IS 032 P/F‐A          EI032PFA                  00196       EI032         23.7%
EUGENE IS 032 P/F‐A‐PRD      EI032PFAPR                00196       EI032         23.7%
EUGENE IS 032 P/F‐A‐QRT      EI032PFAQR                00196       EI032         23.7%
EUGENE IS 032 P/F‐A‐TNK      EI032PFATN                00196       EI032         23.7%
EUGENE IS 032 P/F‐E          EI032PFE                  00196       EI032         23.7%
EUGENE IS 032 P/F‐E‐PRD      EI032PFEPR                00196       EI032         23.7%
EUGENE IS 032 P/F‐F‐CMP      EI032PFFCM                00196       EI032         23.7%
EUGENE IS 032 P/F‐F‐PROD     EI032PFFPR                00196       EI032         23.7%
EUGENE IS 032 P/F‐F‐TANK     EI032PFFTN                00196       EI032         23.7%
EUGENE IS 032 P/F‐F‐TRT      EI032PFFTR                00196       EI032         23.7%
EUGENE IS 032 P/F‐GM‐VALVE   EI032PFGMV                00196       EI032         23.7%
EUGENE IS 032 P/F‐H          EI032PFH                  00196       EI032         23.7%
EUGENE IS 053 P/F‐10         EI5310CAS                 00479       EI053          0.0%
EUGENE IS 053 P/F‐12         EI5312CAS                 00479       EI053          0.0%
EUGENE IS 053 P/F‐8          EI538CAS                  00479       EI053         11.1%
EUGENE IS 053 P/F‐9          EI539PLT                  00479       EI053         11.1%
EUGENE IS 053 P/F‐B          EI53BPLT                  00479       EI053         11.1%
EUGENE IS 053 P/F‐C          EI53CPLT                  00479       EI053          5.6%
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Asset Name                   FWE Acct. Code       Lease Number   Area/Block      WI
EUGENE IS 053 P/F‐D          EI53DCAS                   00479       EI053         0.0%
EUGENE IS 053 P/F‐G          EI53GCAS                   00479       EI053        11.1%
EUGENE IS 063 P/F‐A          EI063PFA                    00425      EI062       140.0%
EUGENE IS 063 P/F‐B          EI063PFB                    00425      EI062       140.0%
EUGENE IS 063 P/F‐C‐QTR      EI063PFC                    00425      EI062       140.0%
EUGENE IS 100 P/F‐D‐QTR      EI100PFD                   00796       EI100       100.0%
EUGENE IS 175 P/F‐C‐PROD     EI175CPRD                    438       EI175        25.0%
EUGENE IS 175 P/F‐D          EI175DPLT                    438       EI175        25.0%
EUGENE IS 175 P/F‐F          EI175FPLT                    438       EI175        25.0%
EUGENE IS 175 P/F‐H          EI175HCAS                    438       EI175        25.0%
EUGENE IS 175 P/F‐I          EI175ICAS                    438       EI175        25.0%
EUGENE IS 175 P/F‐J          EI175JPLT                    438       EI175        25.0%
EUGENE IS 296 P/F‐B          EI296PFB                  G01687M     EI 296        14.5%
EUGENE IS 307 P/F‐A          EI307PFA                   G02110      EI307       100.0%
EUGENE IS 307 P/F‐B          EI307PFB                   G02110      EI307       100.0%
EUGENE IS 312 P/F‐D          EI312PFD                   G22679      EI312        60.0%
EUGENE IS 330 P/F A C S      EI330ACSPF                 G02115      EI330         0.0%
EUGENE IS 330 P/F‐B          EI330BPLT                  G02115      EI330         0.0%
EUGENE IS 330 P/F‐D          EI330DPLT                  G02115      EI330         0.0%
EUGENE IS 342 P/F‐C          EI342CPLT                  G02319      EI342         0.0%
GALVESTON 210 P/F‐1          GA2101CAS                  G25524     GA210         33.3%
GALVESTON 210 P/F‐2          GA2102CAS                  G25524     GA210         33.3%
GALVESTON 210 P/F‐B          GA210BPLT                  G25524     GA210         33.3%
GALVESTON A‐155 P/F‐A        GAA155PFA                  G30654    GAA155          8.1%
HIGH ISLAND A‐341 P/F‐B      HIA341BPLT                 G25605     HIA341        40.0%
HIGH ISLAND A‐376 P/F‐A      HIA376APLT                 G02754     HIA376        51.2%
HIGH ISLAND A‐376 P/F‐B      HIA376BPLT                 G02754     HIA376        51.2%
HIGH ISLAND A‐376 P/F‐C      HIA376CPLT                 G02754     HIA376        51.2%
HIGH ISLAND A‐382 P/F‐F      HIA382FPLT                 G02757     HIA382        27.6%
HIGH ISLAND A‐474 P/F‐A      HIA474PFA                  G02366     HIA474        12.0%
HIGH ISLAND A‐489 P/F‐B      HIA489PFB                  G02372     HIA489        12.0%
HIGH ISLAND A‐550 P/F‐A      HIA550PFA                  G04081     HIA550       100.0%
HIGH ISLAND A‐563 P/F‐B      HIA563PFB                  G02388     HIA563         2.7%
HIGH ISLAND A‐573 P/F‐A      HIA573APLT                 G02393     HIA573        27.6%
HIGH ISLAND A‐573 P/F‐B      HIA573BPLT                 G02393     HIA573        27.6%
HIGH ISLAND A‐582 P/F‐C      HIA582PFC                  G02719     HIA582         3.0%
HIGH ISLAND A‐582 P/F‐D      HIA582PFD                  G02719     HIA582         2.6%
HIGH ISLAND A‐595 P/F‐CF     HIA595CFPT                 G02721     HIA595        27.6%
HIGH ISLAND A‐595 P/F‐D      HIA595DPLT                 G02721     HIA595        27.6%
HIGH ISLAND A‐596 P/F‐E      HIA596EPLT                 G02722     HIA596        27.6%
MAIN PASS 077 P/F‐A          MP077PFA                   G04481     MP077         73.8%
SHIP SHOAL 149 P/F‐C         SS149PFC                     434      SS149          3.0%
SHIP SHOAL 169 P/F‐BB        SS169PFBB                  00820      SS169         33.3%
SHIP SHOAL 169 P/F‐C         SS169PFC                   00820      SS169         33.3%
SHIP SHOAL 169 P/F‐G         SS169PFG                   00820      SS169         33.3%
SHIP SHOAL 177 P/F‐7         SS177PF7                   00590      SS177         25.0%
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Asset Name                    FWE Acct. Code       Lease Number   Area/Block     WI
SHIP SHOAL 177 P/F‐A          SS177PFA                  00590       SS177        25.0%
SHIP SHOAL 189 P/F‐A          SS189APLT                 G04232      SS189         0.0%
SHIP SHOAL 189 P/F‐A          SS189APLT                 G04232      SS189         1.0%
SHIP SHOAL 189 P/F‐A          SS189APLT                 G04232      SS189         1.0%
SHIP SHOAL 189 P/F‐C          SS189PFC                  G04232      SS189         0.0%
SHIP SHOAL 204 P/F‐A          SS204APLT                 G01520      SS204        20.9%
SHIP SHOAL 204 P/F‐A          SS204APLT                 G01520      SS204         0.2%
SHIP SHOAL 204 P/F‐A‐GEN      SS204AGEN                 G01520      SS204        20.9%
SHIP SHOAL 204 P/F‐A‐GEN      SS204AGEN                 G01520      SS204         0.2%
SHIP SHOAL 204 P/F‐A‐PROD     SS204APRD                 G01520      SS204        20.9%
SHIP SHOAL 204 P/F‐A‐PROD     SS204APRD                 G01520      SS204         0.2%
SHIP SHOAL 206 P/F‐E          SS206EPLT                 G01522      SS206        40.0%
SHIP SHOAL 207 P/F‐A‐CMP      SS207ACOMP                G01523      SS207        47.3%
SHIP SHOAL 207 P/F‐A‐CMP      SS207ACOMP                G01523      SS207         0.3%
SHIP SHOAL 207 P/F‐A‐DRILL    SS207ADRL                 G01523      SS207        47.3%
SHIP SHOAL 207 P/F‐A‐DRILL    SS207ADRL                 G01523      SS207         0.3%
SHIP SHOAL 207 P/F‐A‐MANTIS   SS207PFAMA                G01523      SS207        47.3%
SHIP SHOAL 207 P/F‐A‐MANTIS   SS207PFAMA                G01523      SS207         0.3%
SHIP SHOAL 207 P/F‐A‐PROD     SS207APRD                 G01523      SS207        47.3%
SHIP SHOAL 207 P/F‐A‐PROD     SS207APRD                 G01523      SS207         0.3%
SHIP SHOAL 207 P/F‐D          SS207DPLT                 G01523      SS207        47.0%
SHIP SHOAL 207 P/F‐D          SS207DPLT                 G01523      SS207         0.3%
SHIP SHOAL 207 P/F‐DWPF       SS207PFDWP                G01523      SS207        19.8%
SHIP SHOAL 214 P/F‐4          SS214PF4                  00828       SS214        35.5%
SHIP SHOAL 214 P/F‐E          SS214PFE                  00828       SS214        35.5%
SHIP SHOAL 214 P/F‐F          SS214PFF                  00828       SS214        35.5%
SHIP SHOAL 214 P/F‐H          SS214PFH                  00828       SS214        35.5%
SHIP SHOAL 214 P/F‐K          SS214PFK                  00828       SS214        35.5%
SHIP SHOAL 214 P/F‐L          SS214PFL                  00828       SS214        35.5%
SHIP SHOAL 216 P/F‐C          SS216CPLT                 G01524      SS216         5.2%
SHIP SHOAL 216 P/F‐C          SS216CPLT                 G01524      SS216         0.3%
SHIP SHOAL 233 P/F‐A          SS233PFA                  G15293      SS233        33.8%
SHIP SHOAL 233 P/F‐B          SS233PFB                  G01528      SS233        33.8%
SHIP SHOAL 238 P/F‐A          SS238PFA                  G03169      SS238        34.5%
SHIP SHOAL 238 P/F‐B          SS238PFB                  G03169      SS238        34.5%
SHIP SHOAL 246 P/F‐A          SS246PFA                  G01027      SS246        78.7%
SHIP SHOAL 246 P/F‐E          SS246PFE                  G01027      SS246        78.7%
SHIP SHOAL 246 P/F‐J          SS246PFJ                  G01027      SS246       100.0%
SHIP SHOAL 247 P/F‐F          SS247PFF                  G01028      SS247        87.0%
SHIP SHOAL 248 P/F‐D          SS248PFD                  G01029      SS248        83.3%
SHIP SHOAL 248 P/F‐G          SS248PFG                  G01029      SS248        83.3%
SHIP SHOAL 253 P/F‐C          SS253PFC                  G01031      SS253       100.0%
SHIP SHOAL 253 P/F‐D          SS253PFD                  G01031      SS253       100.0%
SHIP SHOAL 253 P/F‐E          SS253PFE                  G01031      SS253       100.0%
SHIP SHOAL 253 P/F‐F          SS253PFF                  G01031      SS253       100.0%
SHIP SHOAL 291 P/F‐A          SS291PFA                  G02923      SS291       100.0%
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Asset Name                     FWE Acct. Code       Lease Number   Area/Block    WI
SHIP SHOAL 300 P/F‐A           SS300PFA                  G07760      SS300       24.3%
SHIP SHOAL 300 P/F‐B           SS300PFB                  G07760      SS300       21.8%
SHIP SHOAL 315 P/F‐A           SS315PFA                  G09631      SS315       25.0%
SOUTH MARSH IS 066 P/F‐C       SM66CPLT                  G01198      SM058       50.0%
SOUTH MARSH IS 066 P/F‐D       SM66DPLT                  G01198      SM066       50.0%
SOUTH MARSH IS 102 P/F‐A       SM102PFA                  G24872      SM102      100.0%
SOUTH MARSH IS 132 P/F‐B       SM132BPLT                 G02282      SM132       50.0%
SOUTH MARSH IS 137 P/F‐A       SM137APLT                 G02589      SM137       50.0%
SOUTH MARSH IS 142 P/F‐A       SM142PFA                  G01216      SM142      100.0%
SOUTH MARSH IS 142 P/F‐C       SM142PFC                  G01216      SM142      100.0%
SOUTH MARSH IS 146 P/F‐B       SM146PFB                  G09546      SM146      100.0%
SOUTH MARSH IS 147 P/F‐A       SM147PFA                  G06693      SM147      100.0%
SOUTH MARSH IS 268 P/F‐A‐DRL   SM268APLT                 G02310      SM268       30.1%
SOUTH MARSH IS 268 P/F‐A‐DRL   SM268APLT                 G02310      SM268        0.4%
SOUTH MARSH IS 268 P/F‐A‐PRD   SM268APRD                 G02310      SM268       30.1%
SOUTH MARSH IS 268 P/F‐A‐PRD   SM268APRD                 G02310      SM268        0.4%
SOUTH MARSH IS 268 P/F‐D       SM268DPLT                 G02310      SM268       30.1%
SOUTH MARSH IS 268 P/F‐D       SM268DPLT                 G02310      SM268        0.4%
SOUTH MARSH IS 269 P/F‐B       SM269BPLT                 G02311      SM269       26.8%
SOUTH MARSH IS 269 P/F‐B       SM269BPLT                 G02311      SM269        0.4%
SOUTH MARSH IS 269 P/F‐F       SM269FCAS                 G02311      SM269       11.9%
SOUTH MARSH IS 269 P/F‐F       SM269FCAS                 G02311      SM269        0.4%
SOUTH MARSH IS 280 P/F‐G       SM280GPLT                 G14456      SM280        0.0%
SOUTH MARSH IS 280 P/F‐H       SM280HPLT                 G14456      SM280       50.0%
SOUTH MARSH IS 280 P/F‐I       SM280IPLT                 G02600      SM280       41.2%
SOUTH MARSH IS 280 P/F‐I       SM280IPLT                 G02600      SM280        0.3%
SOUTH MARSH IS 281 P/F‐C       SM281PFC                  G02600      SM281       31.4%
SOUTH MARSH IS 281 P/F‐C       SM281PFC                  G02600      SM281        0.5%
SOUTH MARSH IS 281 P/F‐E       SM281EPLT                 G02600      SM281       31.4%
SOUTH MARSH IS 281 P/F‐E       SM281EPLT                 G02600      SM281        0.5%
SOUTH PASS 060 P/F‐A           SP060PFA                  G01608      SP060      100.0%
SOUTH PASS 060 P/F‐B           SP060PFB                  G01608      SP060      100.0%
SOUTH PASS 060 P/F‐C           SP060PFC                  G01608      SP060      100.0%
SOUTH PASS 060 P/F‐D           SP60PFD                   G01608      SP60P      100.0%
SOUTH PASS 060 P/F‐E           SP060PFE                  G01608      SP060      100.0%
SOUTH PASS 060 P/F‐F           SP060PFF                  G01608      SP060      100.0%
SOUTH PASS 060 P/F‐G           SP60PFG                   G01608      SP60P      100.0%
SOUTH PASS 067 P/F‐A           SP067PFA                  G01612      SP067      100.0%
SOUTH PELTO 013 P/F‐7          PL013PF7                  G03171      PL013        2.0%
SOUTH PELTO 013 P/F‐9          PL013PF9                  G03171      PL013        2.0%
SOUTH PELTO 013 P/F‐A          PL013PFA                  G03171      PL013        0.0%
SOUTH PELTO 013 P/F‐B          PL013PFB                  G03171      PL013        0.0%
SOUTH PELTO 013 P/F‐S          PL013PFS                  G03171      PL013        0.0%
SOUTH TIMBALIER 195 P/F‐B      ST195PFB                  G03593      ST195      100.0%
SOUTH TIMBALIER 316 P/F‐A      ST316PFA                  G22762      ST316       40.0%
VERMILION 196 P/F‐A            VR196PFA                  G19760      VR196      100.0%
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Asset Name                      FWE Acct. Code        Lease Number   Area/Block      WI
VERMILION 261 P/F‐A             VR261APLT                  G03328      VR261         25.0%
VERMILION 261 P/F‐A‐AUX         VR261AAUX                  G03328      VR261         25.0%
VERMILION 272 P/F‐A             VR272PFA                   G23829      VR272        100.0%
VERMILION 272 P/F‐B             VR272PFB                   G23829      VR272        100.0%
VERMILION 272 P/F‐C             VR272PFC                   G23829      VR272        100.0%
VERMILION 313 P/F‐B             VR313PFB                   G01172      VR313        100.0%
VERMILION 313 P/F‐C             VR313PFC                   G01172      VR313        100.0%
VERMILION 313 P/F‐D             VR313PFD                   G01172      VR313        100.0%
VERMILION 408 P/F‐A             VR408PF                    G15212      VR408      0.331868
VIOSCA KNOLL 826 NEPTUNE SPAR   VK826NEP                   G15441      VK826       100.0%
WEST CAMERON 065 P/F‐8          WC065CAIS8                 G02825      WC065          0.0%
WEST CAMERON 065 P/F‐9          WC065CAIS9                 G02825      WC065          0.0%
WEST CAMERON 065 P/F‐JA         WC65JAPLT                  G02825      WC065          0.0%
WEST CAMERON 065 P/F‐JA‐AUX     WC65JAAUX                  G02825      WC065          0.0%
WEST CAMERON 066 P/F‐B          WC066PFB                   G02826      WC066         17.1%
WEST CAMERON 066 P/F‐E          WC066PFE                   G02826      WC066         25.0%
WEST CAMERON 072 P/F‐1          WC072PF1                   G23735      WC072         75.0%
WEST CAMERON 072 P/F‐2          WC072PF2                   G23735      WC072         75.0%
WEST CAMERON 072 P/F‐3          WC072PF3                   G23735      WC072         75.0%
WEST CAMERON 171 P/F‐A          WC171PFA                   G01997      WC171         21.2%
WEST CAMERON 171 P/F‐A‐AUX1     WC171PFAA1                 G01997      WC171         21.2%




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Exhibit III‐C(ii)
                        Name         State    County/Parish
                      BURRWOOD     Louisiana Plaquemines
                    HAYES LUMBER   Louisiana Jefferson Davis
                       HELIS 2     Louisiana      Iberia
                    MYETTE POINT   Louisiana     St. Mary




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SEGMENTNUMBER       COMPANYNAME             ORGAREA   ORGBLOCK   ORGNAME        RECAREA   RECBLOCK   RECNAME        SIZE   PRODUCT     STATUS          ROWNUMBER FW Lease:
      7912       Fieldwood Energy, LLC         EB        160        A              HI        A582       SSTI         12      GAS     Out of Service      G08528   G02647
      7923       Fieldwood Energy, LLC         EB        165        A              HI       A 582      30 SSTI       12      GAS        Active           G08536   G06280
     10301       Bandon Oil and Gas, LP        EC        332        A              EC         330      08 SSTI       6       OIL     Out of Service      G14699   G09478
       44        Fieldwood Energy, LLC         EI        175        C              EI         176     12" SSTI       8       OIL     Out of Service      G13445    00438
     1128         Fieldwood Energy, LLC        EI        330     flanged end       EI        306     14‐inch SSTI   14       OIL     Out of Service      G02139A   G02115
     7943         Fieldwood Energy, LLC        EI        342          C            EI        327       08 SSTI       4       OIL     Out of Service      G08541    G02319
    18493         Fieldwood Energy, LLC        EI        342          C            EI        343        SSTI         6       GAS     Out of Service      G29108    G02319
    19960         Fieldwood Energy LLC         EI        342          C            EI        342     Blind Flange    6       OIL     Out of Service                G02319
                                                                                                                                                         G29471
    11923         Fieldwood Energy, LLC       EI         53          C            EI         64        22 SSTI       10      G/C      Out of Service     G20539     00479
     9211         Fieldwood Energy, LLC       EI         53          B            EI         64        22 SSTI       6       G/C     Partial Abandon     G12373     00479
    15298         Fieldwood Energy, LLC       GA         210         B            GA         239       12 SSTI       8       G/C          Active         G26931    G25524
    16077         Fieldwood Energy, LLC       HI         130         #2           HI         165     8‐inch SSTI     8      BLGH     Partial Abandon     G28284    G25579
    15401         Fieldwood Energy, LLC       HI        A 341        B            HI        A 340     30" SSTI      812      G/C          Active         G26938    G25605
     6669         Fieldwood Energy, LLC       HI        A 376        A            HI        A 356      12 SSTI       10      GAS      Out of Service     G05238    G02754
                                                                                                       12 SSTI
     6669         Fieldwood Energy LLC         HI       A 376    Platform A        HI       A 356      W/PSN        10       GAS     Out of Service      G05238    G02754
                                                                                                        10882
     7684         Fieldwood Energy, LLC        HI       A 550        A             HI       A 568      20 SSTI      10       GAS     Out of Service      G08276    G04081
                                                                  Subsea
     6340         Fieldwood Energy, LLC        HI       A 568                      HI       A 539      20 SSTI      20       G/C     Out of Service      G04974    G04081
                                                                   Valve
     5470         Fieldwood Energy, LLC        HI       A356       Valve           HI       A343        HIOS        12       GAS     Out of Service      G04050    G02754
    10882         Fieldwood Energy, LLC        HI       A356       10SST           HI       A356       12SSTI       12       GAS     Out of Service      G04051    G02754
     6504         Fieldwood Energy, LLC        HI       A595         D             HI        573         B          8        OIL     Out of Service      G28525    G02721
                                                                    SSTI
    14304         Fieldwood Energy, LLC       MP         101                      MP         102        Plat A       8      BLKG     Partial Abandon     G24687    G22792
                                                                  Manifold
                Fieldwood Energy Offshore
    15810                                     MP         29      Well No. 1       MP         118     Platform A      6      BLKG     Out of Service      G28216    G27196
                           LLC
                Fieldwood Energy Offshore
    15818                                     MP         77           A           MP         151       18"SSTI       8       GAS     Out of Service      G28221    G04481
                           LLC
                Fieldwood Energy Offshore
     4733                                     SM         142          A           SM         127       24 SSTI      10       G/C     Out of Service      G03441    G01216
                           LLC
                Fieldwood Energy Offshore
    15106                                     SM         146          B           SM         147          A          6      BLKG     Out of Service      G26837    G09546
                           LLC
    15107          Fieldwood Energy, LLC      SM         146          B           SM         147          A          4      BLKG     Out of Service      G26838    G09546
    15108          Fieldwood Energy, LLC      SM         147          A           SM         146          B          2      LIFT     Out of Service      G26839    G09546
                Fieldwood Energy Offshore
    19363                                     SM         147          A           SM         130       12 SSTI       6      BLKO     Out of Service      G14093    G06693
                           LLC
                Fieldwood Energy Offshore
    19363                                     SM         147          A           SM         130       12 SSTI       6      BLKO     Out of Service      G29316    G06693
                           LLC
    10977          Fieldwood Energy, LLC      SM         268          A           SM         280         #03        3       BLKG     Out of Service      G28756    G14456
    17499          Fieldwood Energy, LLC      SM         269          B           SM         268          A         10      GAS      Out of Service      G28484    G02311
                                                                                                                                     Permitted for
    13642         Fieldwood Energy, LLC       SM         280          H           SM         268          A         10      BLKG                         G28758    G14456
                                                                                                                                     Abandonment
     5427         Fieldwood Energy, LLC       SM         281         E            SM         268          A         12      SPLY     Out of Service      G02817    G02600
     5429         Fieldwood Energy, LLC       SM         281         C            SM         281       12 SSTI      10      SPLY     Out of Service      G02817    G02600
     6512         Fieldwood Energy, LLC       SM         281         C            SM         268          D         10      BLKO     Out of Service      G29131    G02600
    10268        Fieldwood Energy SP LLC      SP         60          A            SP          6          F/S        10       OIL     Out of Service      G14679    G02137
    20050         Fieldwood Energy, LLC       SS         168        SSTI          SS         168        SSTI        6                  Proposed          G28788     00820
     6748         Fieldwood Energy, LLC        SS        169     C Platform        SS        169     18‐inch SSTI    6       OIL     Out of Service      G09322     00820
    12778         Fieldwood Energy, LLC        SS        189          A            SS        185       26"SSTI      8        G/C     Out of Service      G22139    G04232
     1138         Fieldwood Energy, LLC        SS        204          A            SS        207          A         6        G/O     Out of Service      G13491    G01520
     1137         Fieldwood Energy, LLC        SS        207     A Platform        SS        204          A         4        GAS     Out of Service      G13489    G01523
     1147         Fieldwood Energy, LLC        SS        207          A            SS        208       F‐Pump       12       OIL     Out of Service      G13492    G01523
    17775         Fieldwood Energy, LLC        SS        253          C            SS        208       F‐Pump       4        OIL     Out of Service      G01691C   G01031
                                                                                                                                     Permitted for
    18094        Bandon Oil and Gas, LP        ST        195          B            ST        196        SSTI         6       G/C     Abandonment         G29005    G03593
                                                                                                                                       Approved
                                                                                                                                     Permitted for
    11107        Bandon Oil and Gas, LP        ST        196     06‐inch SSTI      SS        208          F          6       OIL     Abandonment         G05120    G03593
                                                                                                                                       Approved
    13720          Fieldwood Energy, LLC      VK         340       8"SSTI         VK         251          A         8       BLGH        Active           G28221    G04481
    13193         Bandon Oil and Gas, LP      VR         196         A            VR         206      12 SSTI       8        G/C     Out of Service      G22418    G19760
    18591          Fieldwood Energy, LLC      VR         196         A            VR         215          A         4       BLKO     Out of Service      G29137    G19760
    18588          Fieldwood Energy, LLC      VR         215         A            VR         196          A         4        GAS        Active           G29136    G19760
    17090          Fieldwood Energy, LLC      VR         261         A            VR         265          A         8       BLKO     Out of Service      G28347    G03328
    14609          Fieldwood Energy, LLC      VR         272        "A"           VR         250       8" SSTI      4        OIL     Out of Service      G25384    G23829
    14277          Fieldwood Energy, LLC      VR         272         A            SM         116      20" SSTI      10       G/C     Out of Service      G25288    G23829
                Fieldwood Energy Offshore
     5440                                     VR         313          B           VR         313       20 SSTI      10       GAS     Out of Service      G04044    G01172
                           LLC
    15136          Fieldwood Energy, LLC      VR         313          B           VR         313       6" SSTI       6       OIL     Out of Service      G03879    G01172
                Fieldwood Energy Offshore
     4289                                     WC         485          A           WC         509         GP         12       GAS     Out of Service      G02122E   G02220
                           LLC
                Fieldwood Energy Offshore
    14251                                     WC         72          #1           WC         65          JA          4      BLKG     Out of Service      G25275    G23735
                           LLC
    16088          Fieldwood Energy, LLC      WD         122          A           WD         105         E           6       GAS     Out of Service      G28289    G13645
    16089          Fieldwood Energy, LLC      WD         122          A           WD         105         E           3       OIL     Out of Service      G28290    G13645
    15960          Fieldwood Energy, LLC      WD         90           A           WD         73         SSTI         4       OIL     Out of Service      G28260    G01089




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Area   Block No.   Structure   Complex ID No. Authority No. FW Lease             Operator              Approval Date        Associated Assets
                                                                                                                       EI 63 002,003, EI 62 and 005,
 EI       63          A            21515        G30244       00425     Fieldwood Energy Offshore LLC     12/02/13
                                                                                                                        006, 008, 009, 010 and 011
EI       63           B            21515        G30244       00425     Fieldwood Energy Offshore LLC     12/02/13         Production from EI 63 A
EI       63         C-QTR          21515        G30244       00425     Fieldwood Energy Offshore LLC     12/02/13         Production from EI 63 A
SM       146          B            1663         G30248      G09546     Fieldwood Energy Offshore LLC     08/21/13          SM 139 B001 & B002
SM       147          A            23389        G30200      G06693     Fieldwood Energy Offshore LLC     09/12/13      SM 139 B001, B002 & B002D
WD       86           A            22593        G30173      G04243     Fieldwood Energy Offshore LLC     06/20/13       WD 86 B001, B002 & B005
                   A-Neptune
VK       826                       24235        G30353      G15441         Fieldwood Energy LLC          07/03/18      VK 917 SS001 & VK 962 SS001
                     Spar




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Call Signs:
WQBQ549
WQRK423




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Contract Type           Contract Date   Contract Title                        Contract Description
Land                    8/29/1956       Operating Agreement                   Operating Agreement eff. 8‐29‐1956
Land                    12/4/1958       Operating Agreement                   Operating Agreement eff. 12‐4‐58
Land                    7/25/1960       Operating Agreement                   Operating Agreement, dated effective July 25,1960, as amended, between Second Mobil Oil
                                                                              Company, Inc., Gulf Oil 'Corporation, and Humble Oil & Refining Company, as amended, SS 169
                                                                              Field.
Land                    3/1/1961        Operating Agreement                   SS 214 Operating Agreement eff. 3‐1‐61
Land                    3/13/1962       Operating Agreement                   Operating Agreement dated 3/13/62 between The Pure Oil Company and The Ohio Oil Company

Land                    7/3/1962        Operating Agreement                   Operating Agreement eff 7‐3‐62 as amended
Land                    1/12/1965       Joint Operating Agreement             Main Agreement, dated effective January 12,1965, between Cities Service Oil Company, Skelly
                                                                              Oil Company, Sunray DX Oil Company and Tidewater Oil Company, governing operations on the
                                                                              contract area. The Operating Agreement contained in Exhibit "C" of the Main Agreement was
                                                                              superseded by the Joint Operating Agreement eff. 1/1/97


Land                    1/21/1966       Unit Agreement No. 14‐08‐001‐8784     Unit No. 891008784 ‐ SS 271
Land                    2/26/1966       Offshore Operating Agreement          Operating Agreement by and between Hardy Oil & Gas USA Inc., As Operator and British‐Borneo
                                                                              Exploration, Inc. and Zilkha Energy Company, As Non‐Operators
Land                    6/10/1966       Unit Operating Agreement Ship Shoal   SS 271 Unit Operating Agreement (Unit#891008784) As Amended, originally by and between
                                                                              Forest Oil Corp. as Operator, and Texas Gas Exploration Corp. et al as Non‐Operators


Land                    12/23/1966      Joint Operating Agreement             Operating Agreement by and between American Petrofina Exploration Company (Operator),
                                                                              Chambers & Kennedy, COperating Agreementstal Production Company, Waymon G. Peavy,
                                                                              Harbert Construction Company, Jenney Manufacturing Company, Kirby Petroleum Co., HC Price
                                                                              Co., States Marine Lines, Inc., Pan American Petroleum Corporation

Land                    1/1/1971        Joint Operating Agreement             PENNZOIL OFFSHORE GAS OPERATORS, INC., MESA PETROLEUM CO., ET AL.
Land                    2/1/1971        Joint Operating Agreement             Operating Agreement, dated February 1,1971, between Tenneco Oil Company and Texaco Inc.
                                                                              Amendment to Operating Agreement, dated effective May 1,1974, between Tenneco Oil
                                                                              Company, Texaco Inc. and Tenneco Exploration 11, Ltd., whereby Tenneco Exploration II became
                                                                              a party to, and ratified, the operating agreement.
Land                    8/1/1973        Joint Operating Agreement             OPERATING AGREEMENT BY AND BETWEEN MOBIL OIL CORPORATION AND UNION OIL
                                                                              COMPANY OF CALIFORNIA ET AL
Land                    8/1/1973        Offshore Operating Agreement          Operating Agreement 8/1/1973
Land                    8/1/1973        Offshore Operating Agreement          Operating Agreement eff. 8‐1‐73
Land                    8/1/1973        Offshore Operating Agreement          Operating Agreement eff. 8‐1‐73
Land                    7/1/1974        Joint Operating Agreement             OPERATING AGREEMENT DATED JULY 1, 1974, BY AND BETWEEN MOBIL OIL CORPORATION,
                                                                              UNION OIL COMPANY OF CALIFORNIA, TEXAS GAS EXPLORATION CORPORATION, AMOCO
                                                                              PRODUCTION COMPANY AND NORTHWEST MUTUAL LIFE INSURANCE COMPANY, AS AMENDED.

Land                    7/1/1974        Joint Operating Agreement             OPERATING AGREEMENT DATED JULY 1, 1974, BY AND BETWEEN MOBIL OIL CORPORATION,
                                                                              UNION OIL COMPANY OF CALIFORNIA, TEXAS GAS EXPLORATION CORPORATION, AMOCO
                                                                              PRODUCTION COMPANY AND NORTHWEST MUTUAL LIFE INSURANCE COMPANY, AS AMENDED.

Land                    7/1/1974        Joint Operating Agreement             OPERATING AGREEMENT DATED JULY 1, 1974, BY AND BETWEEN MOBIL OIL CORPORATION,
                                                                              UNION OIL COMPANY OF CALIFORNIA, TEXAS GAS EXPLORATION CORPORATION, AMOCO
                                                                              PRODUCTION COMPANY AND NORTHWEST MUTUAL LIFE INSURANCE COMPANY, AS AMENDED.

Land                    7/1/1974        Joint Operating Agreement             Operating Agreement originally by and between Mobil Oil Corporation, Union Oil Company of
                                                                              Califomia and Amoco Production Company, as amended
Land                    7/1/1974        Joint Operating Agreement             Operating Agreement originally by and between Mobil Oil Corporation, Union Oil Company of
                                                                              Califomia and Amoco Production Company, as amended
Land                    7/1/1974        Joint Operating Agreement             Operating Agreement originally by and between Mobil Oil Corporation, Union Oil Company of
                                                                              Califomia and Amoco Production Company, as amended
Land                    7/1/1974        Joint Operating Agreement             Operating Agreement originally by and between Mobil Oil Corporation, Union Oil Company of
                                                                              Califomia and Amoco Production Company, as amended
Land                    9/3/1974        FO                                    Farmout Agreement by and between CNG Producing Company, Columbia Gas Development
                                                                              Corporation and Forest Oil Corporation
Land                    7/1/1975        Joint Operating Agreement             Operating Agreement eff. 7/1/75 by and between Mesa Petroleum as Operator and American
                                                                              Natural Gas Production Co, et al
Land                    9/1/1975        Joint Operating Agreement             First Amendment to Operating. Agreements, dated effective September 1, 1975, between Mobil
                                                                              Oil Corporation, Amoco Production Company, and 'Union Oil Company of Califomia.

Land                    3/17/1976       Joint Operating Agreement             Unit Operating Agreement 3/17/76 between Forest Oil Corp and Columbia Gas Development
                                                                              Corp, etal
Land                    4/1/1976        Joint Operating Agreement             Operating Agreement eff. 4‐1‐76 as amended
Land                    4/1/1977        Unit Operating Agreement              UNIT OPERATING AGREEMENT BY AND BETWEEN DEVON ENERGY PRODUCTION , APACHE
                                                                              CORPORATION, ET AL.
Land                    4/1/1977        Unit Agreement No. 14‐08‐0001‐16943   Unit Agreement, JD Sand, Reservoir A, Eugene Isiand Block 330 Field (Unit Number 891016943),
                                                                              dated effective April 1,1977, naming Pennzoil Oil & Gas, Inc., as Operator, and Texaco Inc. and
                                                                              Shell Oil Company, as sub‐operators
Land                    8/1/1977        Joint Operating Agreement             Operating Agreement eff. 8‐1‐77 b/b Transco et al
Land                    5/2/1978        FO                                    FARMOUT AGREEMENT EFFECTIVE MAY 2, 1978, BY AND BETWEEN ENSERCH, FARMOR, AND
                                                                              ANADARKO, FARMEE.
Land                    8/17/1978       Ownership Agreement “F” Platform      Platform Ownership Agreement by and between CNG Producing Company, Columbia Gas
                                                                              Development Corporation, Texas Gas Exploration Corporation, Pelto Oil Company, Ocean
                                                                              Production Company, Ocean Oil and Gas Company
Land                    9/15/1978       Joint Operating Agreement             Amendment of Operating Agreement, dated September 15, 1978, between Amoco Production
                                                                              Company, Mobil Oil Corporation, and 'Union Oil Company of California.
Land                    11/13/1978      Joint Operating Agreement             Second Amendment to Operating Agreements, dated effective; November 13, 1978,.between
                                                                              Mobil Oil Corporation, Amoco Production Company, and Union Oil Company of Califomia

Land                    11/13/1978      Joint Operating Agreement             Fourth Amendment to Operating Agreements, dated effective; November 13, 1978,.between
                                                                              Mobil Oil Corporation, Amoco Production Company, and Union Oil Company of Califomia

Land                    11/17/1978      FO                                    Farmout Agreement dated November 17,1978 between Gulf Oil Corporation and Shell Oi!
                                                                              Company covering the Northeast Quarter (NE/4) of that certain Oil and Gas Lease dated July
                                                                              1,1967 bearing Serial No. OCS‐G 1609, South Pass Area Block 61.

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Land           5/2/1979      Proposed Installation and Operating      Installation and Operating Agreement by and between CNG Producing Company, Consolidated
                             Agreement of Ship Shoal Area Block 246   Gas Supply Corporation
                             Field (“A” Platform)
Land           9/15/1979     Joint Operating Agreement                OPERATING AGREEMENT EFFECTIVE SEPTEMBER 15, 1979, BY AND BETWEEN ANADARKO
                                                                      PRODUCTION CO, AS OPERATOR, AND PAN EASTERN EXPLORATION COMPANY, DIAMOND
                                                                      SHAMROCK CORPORATION, COLUMBIA GAS DEVELOPMENT CORPORATION, TEXASGULF, INC,
                                                                      AND SAMEDAN OIL CORPORATION, NON‐OPERATORS.
Land           12/1/1979     OFFSHORE OPERATING AGREEMENT             OFFSHORE OPERATING AGREEMENT b/b SHELL OIL COMPANYand FLORIDA EXPLORATION
                                                                      COMPANY, ET AL
Land           1/1/1980      Joint Operating Agreement                Third Amendment to Operating Agreements, dated effective January 1, 1980, between Mobil Oil
                                                                      Corporation, Amoco Production Company, and Union Oil Company bf Califomia.

Land           4/1/1981      Unit Operating Agreement                 Unit Operating Agreement; dated April 1,1981, by and between Conoco Inc., Atlantic Richfield
                                                                      Company, Getty Oil Company, Cities Service Company, Placid Oil Company, Hamilton Brother Oil
                                                                      Company, Mobil Oil Exploration and Producing S.E., Inc., Gulf Oil Corporation, Hunt Oil Company,
                                                                      Highland Resources, Inc., Hunt Industries and Prosper Energy Corporation, comprising all working
                                                                      interest owners in the Ship ShOperating Agreementl Blocks 206, 207„OCS‐G:i523:ahd OCS‐G
                                                                      1523, respectively.
Land           4/22/1980     Joint Operating Agreement                Amendment to Operating Agreement, dated April 22, 1980, between Union Oil Company, of
                                                                      Califomia and,Amoco;Production Company.
Land           9/1/1981      Joint Operating Agreement                Offshore Operating Agreement (MP 108+) 9/1/1981
Land           4/28/1982     Letter Agreement                         Letter Agreement dated April 28,1982 between Gulf Oil Corporation and Shell Oil Company
                                                                      evidencing an agreement for Gulf Oil Company to install a Drilling Platform in the Northeast
                                                                      Quarter (NE/4) South Pass Area Block 61.
Land           1/1/1983      ORRI                                     Conveyance of Overriding Royalty Interests, dated effective January 1,1983, creating the Tel
                                                                      Offshore Trust, and granting an overriding royalty interest, equivalent to 25% net profits interest,
                                                                      in all of Tenneco Exploration, Ltd.'s oil and gas properties
Land           8/4/1983      Area of Mutual Interest Agreement        Area of Mutual Interest Agreement effective August 4, 1984 BY AND BETWEEN APACHE
                                                                      CORPORATION AND SHELL OFFSHORE CONTIGUOUS BLOCK TO SHELL VENTURE PROPERTY THAT
                                                                      MAY TRIGGER AMI RESPONSIBILITY REGARDING FUTURE PURCHASE OR BID OF TRACTS
                                                                      COVERING GEOLOGIC STRUCTURE COMMON TO EXISTING SHELL VENTURE PROPERTY

Land           4/13/1984     Unit Operating Agreement                 WD 27 28 Unit Operating Agreement Tenneco OP & Samedan et al as amended
Land           6/3/1985      Consent to Assign                        Consent to Assignment of Interest, dated June 3,1985, between Tenneco Exploration, Ltd. and
                                                                      Texaco Inc., as Grantors of Consent, and Huffco Petroleum, as Assignor, and L. S. Holding
                                                                      Company, AE Investments, Inc., Colton Gulf COperating Agreementst, Inc., and Huffco 1982
                                                                      Exploration Limited Partnership, as Assignees, assigning all of Huffco Petroleum's record title
                                                                      interest to the Assignees.
Land           3/3/1986      OA                                       Offshore Operating Agreement (All of Block 300 ‐ A Wells) 3/3/1986
Land           5/1/1986      Assignment                               Assignment, dated effective May 1,1986, whereby Tenneco Exploration, Ltd. transferred all of its
                                                                      interests in Block 342, Eugene Island Area, Official Leasing Map No. 4A, to Plumb Offshore, Inc.,
                                                                      subject to the reservation of an overriding royalty interest.

Land           7/1/1986      Joint Operating Agreement                Amendment to Operating Agreement, dated effective July 1, 1986,, between Amoco Production
                                                                      Company; Union Oil Company of California, and Mobil ProducingTexas & New Mexico, Inc.

Land           10/20/1986    UA                                       Unit Agreement 10/20/86 between Chevron USA Inc., Union Exploraiton partners, LTD, and
                                                                      Pennzoil Producing Company
Land           10/31/1986    Assignment                               Assignment of Interest, dated effective October 31,1986, whereby Tenneco Exploration, Ltd.
                                                                      transferred all of its interests in Block 342, Eugene Island Area, Official Leasing Map No. 4A, to
                                                                      Tenneco Oi! Company.
Land           1/1/1989      OPERATING AGREEMENT                      CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                                      COMPANY ET AL
Land           1/1/1989      OPERATING AGREEMENT                      CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                                      COMPANY ET AL
Land           1/1/1989      OA                                       Operating Agreement 1/1/89
Land           5/2/1989      Letter Agreement                         Letter Agreement, dated May 2, 1989, between Southern Natural Gas Company and Chevron
                                                                      U:S.A. Inc.,concerning the "Construction, Installation, Operation and Maintenance of
                                                                      Measurement and Pipeline Facilities "
                                                                      for receipt points at various locations on the OCS, including Main Pass 77 'A' platform (as
                                                                      amended). Consent Sec. 1O.
Land           9/10/1990     FO                                       Farmout Agreement (Forest ‐ SS 291/300) 9/10/1990
Land           9/15/1990     OA                                       Offshore Operating Agreement (NW/4 NW/4 Blk 300 ‐ B Wells) 9/15/1990
Land           10/1/1990     Joint Operating Agreement                RATIFICATION AND AMENDMENT NUMBER 1 TO JOINT OPERATING AGREEMENT DATED
                                                                      OCTOBER 1, 1990, BY AND BETWEEN CONOCO INC. AND TEXAS PRODUCING INC.
Land           10/1/1990     UOA                                      UA and Unit Operating Agreement dated 10/1/90 between Marathon Oil Co and Phillips
                                                                      Petroleum etal
Land           1/1/1991      PA                                       Offshore Participation Agreement, dated effectiveJanuary 1,1991, between Unocal Exploration
                                                                      Corporation, The Northwestern Mutual Life Insurance Company, and Hardy Oil & Gas USA Inc.,
                                                                      BA A105.
Land           5/1/1991      Joint Operating Agreement                JOINT OPERATING AGREEMENT BY AND BETWEEN TEXACO EXPLORATION AND PRODUCTION
                                                                      INC., MOBIL OIL EXPLORATION & PRODUCING SOUTHEAST ET AL
Land           10/1/1991     FO                                       FO and Operating Agreement dated 10/1/91 between Torch Energy Advisors Inc etal and Hall‐
                                                                      Hosuton Oil Company
Land           4/1/1992      Unit Agreement                           Unit Agreement for Outer Continental Shelf Exploration, Development and. Production
                                                                      Operations on the South Pass Block 60 Unit (Blocks.6,17, 59, 60, 66 and 67) South Pass Area,
                                                                      Offshore Louisiana Outer Continental Shelf, Contract No. 754394018, as amended

Land           4/1/1992      Unit Agreement                           Amendment to Unit Agreement. For Outer Continental Shelf Exploration, Development and
                                                                      Production Operations on the South Pass Block 60 Unit (Blocks 6,17, 59, 60, 66 and 67) South
                                                                      Pass Area, Offshore Louisiana Outer Continental Shelf (Contract No. 754394018) to expand the
                                                                      Unit Agreement to include the NE/4 of the NW/4 of Block 61, OCS‐G 1609, South. Pass Area.

Land           5/2/1992      ABOS                                     Agreement and Bill of Sale, dated effective May 2,1992, between Union Oil Company of
                                                                      California, as Seller, and The Northwestern Mutual Life Insurance Company and Hardy Oil & Gas
                                                                      USA Inc., as Buyers, selling 43.75% interest in the BA A‐105 "A" Platform, equipment arid
                                                                      pipeline, to NW Mutual 31.25%, and Hardy 12.50%.
Land           5/15/1992     Unit Agreement                           EC 331/332 Unit Agreement


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Land            6/25/1992     Letter Agreement                      Letter Agreement, dated June 25, 1992, between Chevron U.S.A. Inc. ("Chevron") and Southern
                                                                    Natural Gas Company ("Southern"), concerning the "Interconnection of Pneumatic Chart
                                                                    Recorders Permit ‐ Various Meter Stations, Offshore Louisiana ", whereby Chevron obtained
                                                                    consent from Southern for Chevron to connect, operate and maintain pneumatic chart recorders
                                                                    on various of Southern's existing meter stations, offshore, Louisiana (including Main Pass Area
                                                                    Block 77 "A" platform).
Land            7/1/1992      FO                                    Farmout Agreement 7/1/1992
Land            7/1/1992      OA                                    Offshore Operating Agreement 7/1/1992
Land            1/1/1993      OA                                    Operating Agreement 1/1/1993
Land            2/15/1993     Letter Agreement                      Letter Agreement, dated effective February 15, 1993, between Chevron U.S.A. Inc. ("Chevron")
                                                                    and Southern Natural Gas Company ("Southern"), concerning the "Interconnection of Pneumatic
                                                                    Chart Recorders Permit ‐
                                                                    Various Meter Stations, Offshore Louisiana", whereby Chevron and Southern agree to amend
                                                                    and replace Exhibit "A" to that certain Letter Agreement, dated June 25, 1992 (described
                                                                    hereinabove).
Land            4/2/1993      ABOS                                  Bill of Sale, dated April 2, 1993, from Southern Natural Gas Company ("Southern") to Chevron
                                                                    U.S.A. Inc.("Purchaser"), whereby Southern sells to Purchaser certain Barton chart recorders and
                                                                    appurtenant equipment
                                                                    located at various on various of Southern's existing meter stations, offshore, Louisiana (including
                                                                    Main Pass Area Block 77 "A" platform).
Land            6/15/1993     GC 244 Unit Agreement                 Unit Agreement for Outer Continental Shelf Exploration, Development, and Production
                                                                    Operations on the Green Canyon Block 244 Unit (Contract No. 754393016) dated effective June
                                                                    15, 1993, covering OCS‐G 11043 (Green Canyon Block 244), OCS‐G 12209 (Green Canyon
                                                                    Block 200), and OCS‐G 12210 (Green Canyon Block 201).


Land            6/15/1993     Unit Operating Agreement              Unit Operating Agreement dated effective June 15, 1993 between Shell Offshore Inc and
                                                                    Marathon Oil Company, as successors in interest.

Land            8/16/1993     Joint Operating Agreement             Amendment to'Operating Agreement, dated August 16, 1993, between Express Acquisition
                                                                    Company and Torch EnergyAdvisors Inc.
Land            12/30/1993    OA                                    WD 90, WD 103 Operating AgreementS 12‐30‐1993
Land            1/1/1994      Co‐Development Agreement and          Co‐Development Agreement and Amendment to Unit Operating Agreement originally by and
                              Amendment to Unit Operating           between CNG Producing Company & Columbia Gas Development Corp., et al
                              Agreement
Land            2/10/1994     JDA                                   JOINT DEVELOPMENT AGREEMENT DATED FEBRUARY 10, 1994, BY AND BETWEEN PENNZOIL
                                                                    EXPLORATION AND PRODUCTION COMPANY, SONAT EXPLORATION COMPANY AND UNION OIL
                                                                    COMPANY OF CALIFORNIA ‐ TERMINATED BY LETTER AGREEMENT DATED MARCH 10, 1999.

Land            5/12/1994     Letter Agreement                      Letter Agreement by and between CNG Producing Company and Columbia Gas Development
                                                                    Corporation
Land            6/1/1994      Joint Operating Agreement             OPERATING AGREEMENT DATED JUNE 1, 1994, BY AND BETWEEN NORCEN EXPLORER, INC,
                                                                    OPERATOR, AND DALEN RESOURCES OIL & GAS CO.
Land            7/1/1994      OA                                    Operating Agreement 7/1/1974
Land            7/7/1994      Letter Agreement                      LETTER AGREEMENT BY AND BETWEEN POGO PRODUCING COMPANY AND COCKRELL OIL AND
                                                                    GAS, L.P., ET AL
Land            7/15/1994     Letter Agreement                      LETTER AGREEMENT DATED JULY 15, 1994 BY AND BETWEEN STONE ENERGY CORPORATION AND
                                                                    DAVID U. MELOY.
Land            10/19/1994    JDA                                   Joint Venture Development Agreement, dated October 19,1994',,between Norcen Explorer, Inc.
                                                                    and Texaco Exploration and Production, Inc. forming a working‐interest unit comprising portions
                                                                    of'Ship .ShOperating Agreementl Block 206 and OCS‐G 1523,‐Ship ShOperating Agreementl Block
                                                                    207;
Land            11/16/1994    JDA                                   Joint Venture Development Agreement, dated November 16><1994, between Norcen.Explorer,
                                                                    Inc.,
                                                                    Texaco Exploration and1
                                                                     Production, Inc,, Industries, TheiGeorge R. Brown Partnership, JOC
                                                                    Venture, LamarHunt Trust Estate, Mobil Oil Exploration SoProducingiSoutheast Inc.,‐and Hunt Oil
                                                                    Company,.covering all of Blocks 206 and 207 Ship ShOperating Agreementl Area.

Land            11/30/1994    JDA                                   Amendment to Joint Venture Development Agreement, dated November'30,1994, between
                                                                    iNorcen Explorer,.'lnc., Texaco Exploration, and Production; Inc., Hunt Industries, The
                                                                    George.R..Brown Partnership, JOG Venture, Laniar Hunt Trust Estate, Mobil Oil Exploration
                                                                    &«Producing Southeast Inc., and Hunt Oil Company, covering all of Blocks 206 and 207 Ship
                                                                    ShOperating Agreementl Area.
Land            3/28/1995     Letter Agreement                      LETTER AGREEMENT DATED MARCH 28,1995, BY AND BETWEEN STONE ENERGY CORPORATION
                                                                    AND DAVID U. MELOY, ET AL.
Land            4/6/1995      JDA                                   Amendment tp Joint Venture Development Agreement, dated April 6, 1995, between Norcen.
                                                                    Explorer, Inc., Texaco Exploration and Production; Inc., Hunt Industries, The George R. Brown,
                                                                    Partnership; JOC Venture, Lamar Hunt Trust Estate, Mobil Oil Exploration 8i Producing Southeast
                                                                    Inc., and Hunt Oil Company, covering; all of'Blocks.206 and 207 Ship ShOperating Agreementl
                                                                    Area.
Land            5/1/1995      Joint Operating Agreement             AMENDMENT TO OPERATING AGREEMENT DATED MAY 1, 1995, BY AND BETWEEN CONOCO INC.
                                                                    AND VASTAR RESOURCES, INC., ET AL.
Land            8/16/1995     Letter Agreement                      Letter Agreement by and between Columbia Gas Development and CNG Producing Company

Land            10/1/1995     Joint Operating Agreement             JOINT OPERATING AGREEMENT BY AND BETWEEN AMERADA HESS CORPORATION AND VASTAR
                                                                    RESOURCES INC.
Land            12/14/1995    LOI                                   REVISED LETTER OF INTENT (FARMOUT) DATED DECEMBER 14, 1995, BY AND BETWEEN ENSERCH
                                                                    EXPLORATION, INC, AND PETROBRAS AMERICA, INC.
Land            3/7/1996      Conditional Letter of Acceptance to   Letter Agreement by and between Hardy Oil & Gas USA, Inc., British‐Borneo Exploration by
                              Exploration Agreement                 Hardy Oil & Gas USA, inc., British Borneo Exploration, Inc. and Zilkha Energy Company

Land            4/17/1996     Plan of Development                   Plan of Development by and between Shell Offshore Inc, BP Exploration and Oil, Inc and
                                                                    marathon oil compnay dated effective 17 Apr 1996.




Land            8/26/1996     PSA                                   Purchase and Sale Agreement, dated August 26, 1996, between Amoco Production Company and
                                                                    Union Oil Company of California, EB 158/EB 159.
Land            9/1/1996      OA                                    Offshore Operating Agreement 9/1/1996

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Land            9/3/1996      OA                          Operating Agreement (depths below 9000' on VR 392 & VR 408; and all depths VR 407) 9/3/1996

Land            1/1/1997      OA                          Operating Agreement eff. 1‐1‐97
Land            5/1/1997      Joint Operating Agreement   Amendment to Operating Agreement, dated effective May 1,1997, between GOM Shelf, LLC, and
                                                          ChevronTexaco and Kerr‐McGee Oil & Gas Corporation, amending Exhibit "A" to reflect a new
                                                          division of interest.
Land            8/1/1997      UOA                         EC 331/332 Unit Operating Agreement
Land            3/13/1998     Joint Operating Agreement   AMENDMENT TO OPERATING AGREEMENT DATED MARCH 13, 1998, BY AND BETWEEN TEXACO
                                                          EXPLORATION AND PRODUCTION INC. AND VASTAR RESOURCES, INC.
Land            4/1/1998      JVA                         JOINT VENTURE AGREEMENT ‐ SPECTER PROSPECT DATED APRIL 1, 1998 BY AND BETWEEN SHELL
                                                          OFFSHORE, INC. AND ELF EXPLORATION INC. ET AL., as amended.
Land            4/1/1998      Joint Operating Agreement   OFFSHORE OPERATING AGREEMENT DATED APRIL 1, 1998, BY AND BETWEEN SHELL OFFSHORE
                                                          INC. AND SNYDER OIL CORPORATION, ET AL.
Land            4/6/1998      Letter Agreement            LETTER (ELF OFFERS NIPPON PART OF THE COperating AgreementSTAL INTEREST) DATED APRIL 6,
                                                          1998, BY AND BETWEEN ELF EXPLORATION INC. AND NIPPON OIL EXPLORATION U.S.A. LIMITED

Land            4/6/1998      JVA                         AMENDMENT TO JOINT VENTURE AGREEMENT‐ ELF ASSUMES COperating AgreementSTAL
                                                          POSISTION DATED APRIL 6, 1998 ELF EXPLORATION INC. AND COperating AgreementSTAL O&G
                                                          CORPORATION.
Land            4/10/1998     FO                          FARMOUT AGREEMENT DATED APRIL 10, 1998, BY AND BETWEEN COperating AgreementSTAL
                                                          O&G CORPORATION AND NIPPON OIL EXPLORATION U.S.A. LIMITED.
Land            4/13/1998     Letter Agreement            LETTER‐ NIPPON TAKES ITS SHARE OF COperating AgreementSTAL F/O & SHARE OF ELF'S
                                                          INTEREST DATED APRIL 13, 1998, BY AND BETWEEN ELF EXPLORATION INC., COperating
                                                          AgreementSTAL O&G CORPORATION AND NIPPON OIL EXPLORATION U.S.A. LIMITED.

Land            11/5/1998     JVA                         ADDENDUM TO JOINT VENTURE AGREEMENT DATED NOVEMBER 5, 1998, BY AND BETWEEN
                                                          SHELL OFSSHORE INC. AND NIPPON OIL EXPLORATION U.S.A. LIMITED, ET AL.
Land            2/9/1999      Joint Operating Agreement   Offshore Operating Agreement, dated February 9, 1999, between Ocean Energy, Inc. and Shell
                                                          Offshore Inc., covering Vermilion 195, 196 and 207, as amended December 23, 1999 by that
                                                          certain Letter Agreement regarding the sale of properties to McMoran Oil & Gas LLC, and further
                                                          amended August 22, 2000, December 31, 2001 and September 15, 2010.

Land            12/1/1999     Assignment                  Assignment of Record Title Leasehold Interest dated effective December 1, 1999
                                                          between Shell Offshore Inc., as Assignor, and McMoRan Oil & Gas LLC, as Assignee,
                                                          covering OCS‐G 19760, Vermilion Block 196
Land            11/1/1980     Joint Operating Agreement   Operating Agreement, Main Pass Area, Blocks 77 and 78, Gulf of Meidco, dated effective
                                                          November 1, 1980,between Gulf Oil Corporation, Texoma Production'Company, The Anschutz
                                                          Corporation, NICOR Exploration
                                                          Company, and The Superior Oil Company, covering the federal Oil and Gas Lease OCS‐G 4481,
                                                          Blocks 77>and78 Main Pass Area, Offshore Louisiana, a true copy of the original is recorded in
                                                          C.O.B. 592, Folio 658,
                                                          Plaquemines Parish, Louisiana.
Land            12/15/1999    Letter Agreement            Letter Agreement, dated December 15, 1999, between Apache Corporation, Chevron U.S.A.
                                                          Production Company, Kelley Oil Corporation, Key Production Company, Mobil Exploration &
                                                          Producing U.S. Inc. and
                                                          Sabco Oil and Gas Corporation, regarding the OCS‐G 4481 #A‐23 Well, Main Pass Block 77, Main
                                                          Pass Block 151 Field, Offshore. LA. Note: only have Key's executed cop
Land            1/31/2000     FO                          Farmout Letter Agreement 1/31/2000
Land            8/4/2000      FO                          Farmout Agreement 8/4/2000
Land            1/1/2001      Joint Operating Agreement   Fifth Amendment to Operating Agreements, dated effective January 1,, 2001, between Union Oil
                                                          Company of Califomia and 'Vastar Offshore,Inc
Land            1/15/2001     Joint Operating Agreement   Amendment to Operating Agreement,, dated January 15, .2001, between Union Oil Company,
                                                          Amoco Production Company, and Vastar Offshore,'Inc
Land            11/17/2000    PA                          Participation Agreement and Operating Agreement 11‐17‐00 b/b Samedan and Stone
Land            3/1/2001      JDA                         Joint Development Agreement with Operating Agreement, dated March 1, 2001, between Union
                                                          Oil Company of Califomia, Vastar Offshore, Inc. and Panaco, Inc., parts of EB 161 and 205.

Land            6/1/2001      OA                          Offshore Operating Agreement 6/1/2001
Land            6/15/2001     Joint Operating Agreement   JOINT OPERATING AGREEMENT BY AND BETWEEN TEXACO EXPLORATION AND RWE
                                                          PERTROLEUM COMPANY ET AL
Land            6/15/2001     JDA                         JOINT DEVELOPMENT AGREEMENT EFFECTIVE JUNE 15, 2001, BY AND BETWEEN RME
                                                          PETROLEUM COMPANY AND W&T OFFSHORE, INC, "SM280 OWNERS" AND RME ET AL "SM 281
                                                          OWNERS" AND THAT CERTAIN JOINT OPERATING AGREEMENT ATTACHED THERETO AS EXHIBIT
                                                          "B".
Land            9/17/2001     Joint Operating Agreement   Joint Operating Agreement attached to and made part of that certain Farmout Agreement dated
                                                          September 17, 2001 by and between Amoco Production Company (Samedan Oil Corporation was
                                                          successor‐in‐interest to Amoco Production Company and subsequently merged with Noble
                                                          Energy, Inc.; Fieldwood is successor‐in‐interest to Noble Energy, Inc.) and Mariner Energy, Inc.

Land            10/1/2001     OA                          Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                          California and Forest Oil Corporation, covering SM 66
Land            10/1/2001     OA                          Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                          California and Forest Oil Corporation, covering OCS‐G 2282, South Marsh Island Block 132.

Land            10/1/2001     OA                          Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                          California and Forest Oil Corporation, covering SM 135
Land            10/1/2001     OA                          Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                          California and Forest Oil Corporation, covering SM 136
Land            10/1/2001     OA                          Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                          California and Forest Oil Corporation, covering SM 137
Land            10/1/2001     OA                          Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                          California and Forest Oil Corporation, covering SM 150
Land            11/1/2001     Joint Operating Agreement   Operating Agreement by and between Dominion Exploration & Production, Inc., as Operator, and
                                                          Aviara Energy Corporation
Land            11/1/2001     PA                          Participation Agreement by and between Dominion Exploration & Production, Inc. and Aviara
                                                          Energy Corporation
Land            3/15/2002     Bidding Agreement           BIDDING AGREEMENT BY AND BETWEEN DAVIS OFFSHORE, L.P. AND LLOG EXPLORATION
                                                          OFFSHORE, INC.
Land            8/23/2002     Joint Operating Agreement   Joint Operating Agreement by and between Dominion Exploration & Production, Inc., as
                                                          Operator, and Spinnaker Exploration Company, L.L.C., as Non‐Operator

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Land            8/30/2002     OA                                  SP 42 43 Operating Agreement LLOG and Pure et al
Land            9/1/2002      Operating Agreement                 Operating Agreement by and between Union Oil and Northstar Gulfsands
Land            12/12/2002    PA                                  PARTICIPATION AGREEMENT BY AND BETWEEN LLOG EXPLORATION OFFSHORE, INC. AND DAVIS
                                                                  OFFSHORE, L.P.
Land            12/12/2002    MOA                                 MEMORANDUM OF OPERATING AGREEMENT LLOG EXPLORATION OFFSHORE, INC. AND DAVIS
                                                                  OFFSHORE, L.P.
Land            12/12/2002    Joint Operating Agreement           Joint Operating Agreement by and between Llog Exploraiton Offshore, Inc and Davis Offshore
                                                                  L.P. dated 12 Dec 02
Land            3/24/2003     FO                                  FARMOUT AGREEMENT BY AND BETWEEN NOBLE / KERR‐MCGEE FARMOUT (MP 109) 3/24/2003

Land            3/31/2003     Letter Agreement                    Letter Agreement, dated March 31, 2003, between Chevron U.S.A. Inc., Sabco Oil and Gas
                                                                  Corporation, Apache Corporation, ExxonMobil Production Company, Key Production Company
                                                                  and Contour Energy
                                                                  Company regarding Second Opportunity to Participate ‐ Election to Acquire^Non‐Participating
                                                                  Interest, in the MP77 OCS‐G 4481 A‐6 TTPG, Project No. UWGHP‐R3011, Cost Center UCP170500,
                                                                  Main Pass Block 77.
                                                                  Key Production Company election.
Land            5/1/2003      Joint Operating Agreement           Offshore Operating Agreement dated May 1, 2003 between Magnum Hunter Production,Inc, and
                                                                  Westport Resourcs Corporation et al
Land            9/25/2003     Area of Mutual Interest Agreement   Area of Mutual Interest Agreement by and between Apache Corporation and Chevron USA

Land            1/1/2004      FO                                  FARMOUT AGREEMENT DATED JANUARY 21, 2004, BY AND BETWEEN CHEVRON USA INC. AND
                                                                  BP AMERICA PRODUCTION COMPANY.
Land            1/1/2004      Assignments                         Assignment from BP Exploration and Production to Noble Energy Inc dated effective 1 Jan 04
                                                                  (Relevant PSA was excluded from NBL ‐ FW Deal)
Land            2/1/2004      OA                                  VR 272 Operating Agreement eff/ 2‐1‐04 LLOG and ST Mary
Land            3/18/2004     PSA                                 PSA dated 3‐18‐04 but eff. 9‐1‐2003 b/b Noble Energy, Inc. and Northstar Gulfsands, LLC
Land            3/25/2004     JVA                                 Amendment to Joint Venture Development Agreement, dated. March 25, 2004 between
                                                                  Anadarko E 8t P Company LP: Chevron U.S.A. Inc.; Hunt Oil Company, Hunt Petroleum, the
                                                                  George,R..Brown Partnership LP, Offshore Investment ,Cov and the'Lamar Hunt Trust Estate,,
                                                                  whereby the Unit 'was expanded
Land            4/1/2004      Joint Operating Agreement           AMENDMENT OF JOINT OPERATING AGREEMENT DATED APRIL 1, 2004, BY AND BETWEEN BP
                                                                  AMERICA PRODUCTION COMPANY AND STONE ENERGY CORPORATION.
Land            4/1/2004      OA                                  Operating Agreement dated 4/1/04 between Newfield Exploration Co and Hunt Petroleum (AEC)
                                                                  Inc
Land            4/2/2004      Divestiture                         ASSET SALE AGREEMENT DATED APRIL 2, 2004, BY AND BETWEEN CHEVRON USA INC. AND
                                                                  STONE ENERGY CORPORATION.
Land            4/19/2004     FO                                  Farmout Agreement by and between Newfield Exploration Company and Westport Resources
                                                                  Company, as Owners of WC 73, and Dominion Exploration & Production, Inc. and Spinnaker
                                                                  Exploration Company, LLC as Owners of WC 72
Land            5/26/2004     Production Handling Agreement       Production Handling Agreement by and between Shell Offshore Inc, LLOG Exploration Offshore,
                                                                  Inc and Davis Offshore L.P. dated 26 May 2004 and as amended by
                                                                  (a) 1st Amendment dated 27 Jun 2005
                                                                  (b) 2nd Amendment dated 6 Feb 2006
                                                                  © 3rd Amendment dated 30 Jan 2008

Land            6/29/2004     Letter Agreement                    LETTER AGREEMENT DATED JUNE 29, 2004, BY AND BETWEEN STONE ENERGY CORPORATION
                                                                  AND BP AMERICA PRODUCTION COMPANY.
Land            8/1/2004      OA                                  Operating Agreement 8/1/04
Land            8/11/2004     Notice                              NOTICE OF ASSIGNMENT DATED AUGUST 11, 2004, BY AND BETWEEN CHEVRON USA INC. AND
                                                                  STONE ENERGY CORPORATION.
Land            8/24/2004     Letter Agreement                    Letter Agreement dated August 24, 2004, between Chevron U.S.A. Inc. and Williams Field
                                                                  Services‐ Gulf COperating Agreementst Company, L.P.
Land            9/7/2004      Settlement and Release Agreement    SETTLEMENT AND RELEASE AGREEMENT DATED SEPTEMBER 7, 2004, BY AND BETWEEN BP
                                                                  AMERICA PRODUCTION COMPANY AND STONE ENERGY CORPORATION.
Land            10/6/2004     LOI                                 LETTER OF INTENT DATED OCTOBER 6, 2004, BY AND BETWEEN THE HOUSTON EXPLORATION
                                                                  COMPANY AND SPINNAKER EXPLORATION COMPANY, L.L.C.
Land            10/7/2004     EA                                  EXPLORATION AGREEMENT DATED OCTOBER 7, 2004, BY AND BETWEEN THE HOUSTON
                                                                  EXPLORATION COMPANY AND SPINNAKER EXPLORATION COMPANY, L.L.C.
Land            11/1/2004     FO                                  FO eff. 11/1/04 as Amended, between Newfield Exploration Company, Continental Land & Fur
                                                                  Co., Inc., KCS Resources, Inc., and Fidelity Oil Co., as Farmors, and Explore Offshore LLC as
                                                                  Farmee
Land            12/20/2004    Preferential Right Agreement        Purchase and Sale agreement by and between BP Exploration and Production Inc and Marathon
                                                                  Oil Company dated 20 Dec 2004
Land            1/1/2005      VUA                                 VOLUNTARY UNIT AGREEMENT DATED JANUARY 1, 2005, BY AND BETWEEN SPINNAKER
                                                                  EXPLORATION COMPANY, L.L.C. AND THE HOUSTON EXPLORATION COMPANY AND GRYPHON
                                                                  EXPLORATION COMPANY.
Land            1/11/2005     Pref Right                          Preferential Right Agreement dated 01/11/05 between BP and SOI for the acquisition of
                                                                  49.999985% ofBP's 33.33333% interest at Troika.

Land            1/25/2005     Letter Agreement                    Letter Agreement for the Operation and Ownership Transfer of Certain South Marsh Island Block
                                                                  66 Facilities, dated effective January 25, 2005, between Transcontinental Gas Pipeline
                                                                  Corporation,;as Seller> and Union Oil "Company‐of California and Forest Oil Corporation, as
                                                                  Purchasers, for facilities and pipeline associated with "A" and "C" Platforms'. NEVER
                                                                  CONSOMATED.
Land            2/1/2005      Letter Agreement                    Letter Agreement, dated February 1, 2005, between Union Oil Company of California and Forest
                                                                  Oil , covering OCS‐G 2589, South Marsh Island Block 137, asthe Unit Operating Agreement for
                                                                  South Marsh Island Block 137 Unit, identified as Unit Agreement No. 14‐08‐001‐20237, replacing
                                                                  and superseding, effective October 1, 2001, that certain Unit Operating Agreement dated
                                                                  January 1,1989 between Conoco Inc., Texaco Producing Inc. and CanadianOXY Offshore
                                                                  Production Company.
Land            2/28/2005     OA                                  JOperating Agreement eff. 2‐28‐05 b/b Peregrine O&G and Chroma Energy, et al; as amended

Land            8/2/2005      PSA                                 PURCHASE AND SALE AGREEMENT DATED AUGUST 2, 2005, BY AND BETWEEN BP AMERICA
                                                                  PRODUCTION COMPANY AND STONE ENERGY CORPORATION.
Land            9/12/2005     Notice                              NOTICE AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC AND DAVIS OFFSHORE, L.P.

Land            10/25/2005    OA                                  Operating Agreement 10‐25‐05
Land            1/19/2006     Letter Agreement                    Letter Agreement, ‐ dated January 19, 2006, between BP Exploration & Production Inc. and
                                                                  Union Oil Company of California:

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Land            2/22/2006     FO                                      Farmout Proposal Letter Agreement between The Houston Exploration Company
                                                                      and Noble Energy Inc. 2/22/2006
Land            3/1/2006      ABOS                                    ABOS eff. 3‐1‐2006 b/b Noble Energy, Inc. as Assignor and Coldren Resources LP as Assignee.

Land            10/30/2006    FO                                      Farmout Agreement, dated effective October 30, 2006, between Chevron U.S.A. Inc., as‐Farmor,
                                                                      and Mariner Energy Resources, Inc., as farmee, covering S/2 of SM 149 (OCS‐G 2592) and S/2 of
                                                                      SM 150 (005‐016325) and limited to depths from the surface.to the stratigraphic equivalent of
                                                                      100' below the deepest depth drilled in the #1 Well as proposed.

Land            4/3/2007      Confidentiality Agreement               Confidentiality Agreement by and between Apache Coporation, Samson Contour Energy and
                                                                      Shell Offshore
Land            9/21/2007     FARMOUT AGREEMENT                       FARMOUT AGREEMENT b/b APACHE CORPORATIONand SENECA RESOURCES CORPORATION

Land            11/10/2007    Purchase and Sale Agreement             Purchase and Sale agreement by and between BP Exploration and Production Inc and W+T
                                                                      Offshore, Inc dated9 Nov 2004 (Preempted by Shell and Marathon)
Land            5/14/2008     Notice                                  Final Notification Letter Memo‐Well Payout, elated May 14, 2008, EB 160 #A‐13 well paid out on
                                                                      March 3, 2008.
Land            10/1/2008     ORRI                                    OVERRIDING ROYALTY INTEREST AGREEMENT BY AND BETWEEN LLOG EXPLORATION OFFSHORE
                                                                      INC AND DAVIS OFFSHORE, L.P. TO SHELL OFFSHORE INC AND MARATHON OIL COMPANY

Land            10/1/2008     Farmout Agreement                       Farmout Agreement by and between Shell Offshore, Marathon Oil Company, Llog Exploraiton
                                                                      Offshore, Inc and Davis Offshore L.P. dated 1 Oct 2008
Land            2/15/2009     FO                                      Farmout Agreement dated February 15, 2009 between SPN Resources LLC and
                                                                      Moreno Offshore Resources, L.L.C., Farmors, and Houston Energy, L.P., Farmee
Land            2/17/2009     Letter Agreement                        LETTER AGREEMENT BY AND BETWEEN DAVIS OFFSHORE, L.P. AND LLOG EXPLORATION
                                                                      OFFSHORE, INC.
Land            3/6/2009      Letter Agreement                        LETTER AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC., LLOG EXPLORATION OFFSHORE,
                                                                      INC. AND DAVIS OFFSHORE, L.P.
Land            3/30/2009     PA                                      Participation Agreement dated March 30, 2009 between Helis Oil & Gas
                                                                      Company, L.L.C. , et al and Challenger Minerals Inc.
Land            3/30/2009     Joint Operating Agreement               Offshore Operating Agreement dated March 30 2009 between Helis Oil & Gas
                                                                      Company, L.L.C., Operator, and Houston Energy, LP, et al, Non‐operators; as
                                                                      Ratified and Amended by Ratification And Amendment of Operating Agreement
                                                                      dated March 16, 2012
Land            3/30/2009     MOA                                     Memorandum of Offshore Operating Agreement and Financing Agreement dated
                                                                      March 30, 2009 between Helis Oil & Gas Company, L.L.C. et al
Land            12/14/2009    OPTION AGREEMENT                        OPTION AGREEMENT b/b APACHE CORPORATIONand WALTER OIL & GAS CORPORATION, ET AL

Land            2/1/2010      FARMOUT AGREEMENT                       FARMOUT AGREEMENT b/b APACHE CORPORATIONand WALTER OIL & GAS CORPORATION, ET
                                                                      AL
Land            3/30/2010     Marketing Election                      Ship ShOperating Agreementl 252 Marketing Election Letter dated March 30, 2010 (Helis Oil &
                                                                      Gas
                                                                      Company, L.L.C.)
Land            2/1/2011      ABOS                                    Assignment and Conveyance, dated effective February 1, 2011, between Harrigan Energy
                                                                      Partners, Inc.,Assignor, and Chevron U.S.A. Inc^ as Assignee, covering Assignor's right, title and
                                                                      interest in the Lease, together
                                                                      with Assignor's interest in certain wells, facilities; pipelines, equipment, contracts,, etc:, all as
                                                                      more fully described therein.
Land            4/21/2011     PSA                                     Asset Purchase and Sale Agreement, dated April 21, 2011, but made effective February 1, 2011,
                                                                      between SabcoOil and Gas Corporation, as Seller, and Chevron U.S.A. Inc., as Purchaser, whereby
                                                                      Purchaser acquired
                                                                      0.63149% of 0.83922% of 8/8ths of Seller's right title and interest in the Lease, together with
                                                                      Seller's interest in certain wells, facilities, pipelines, equipment, contracts, etc., all as more fully
                                                                      described therein.
Land            4/21/2011     ABOS                                    Assignment and BUI of.Sale, dated April 21, 2011, but made effective February 1, 2011, between
                                                                      Sabco Oil and Gas Corporation, as Assignor/and Chevron U.S.A. Inc., as Assignee, covering
                                                                      Assignor's right, title and interest in the Lease, together with Assignor's interest in certain wells,
                                                                      facilities, pipelines, equipment, contracts, etc., all
                                                                      as more fully described therein
Land            5/31/2011     Tolling Agreement                       Tolling Agreement by and between Shell Offshore Inc, LLOG Exploration Offshore, Inc and Davis
                                                                      Offshore L.P. dated 31 May 2011 and as extended by
                                                                      (a) 1st Extension dated 30 Jun 2012
                                                                      (b) 2nd Extension dated 30 Sept 2012
Land            6/3/2011      Notice                                  Apache Notice Letter, dated June 3, 2011, non‐consented EB 159 #A‐9 Well, Thru Tubing Gravel
                                                                      Pack GM 2‐2.
Land            8/1/2011      ABOS                                    ABOS eff. 8‐1‐2011 b/b XTO Offshore Inc. ("Assingor") and Dynamic Offshore Resources, LLC
                                                                      ("Assignee")
Land            8/25/2011     PARTICIPATION AGREEMENT                 PARTICIPATION AGREEMENT b/b APACHE CORPORATIONand CASTEX OFFSHORE, INC., ET AL

Land            3/20/2012     Notice                            Chevron's Notice to Apache Letter, dated March 20, 2012, EB 159 #A‐I5 Well (GM‐2‐2 Sand)
                                                                conductor removal.
Land            4/27/2012     PHA                               Production Handling Agreement dated August 1, 2009 between SPN Resources,
                                                                LLC and Moreno Offshore Resources, L.L.C., Platform Owners, and Helis Oil &
                                                                Gas Company, L.L.C., et al, Producers; as amended by agreement on April 27,
                                                                2012.
Land            5/1/2012      CONDENSATE TRANSPORT & SEPARATION CONDENSATE TRANSPORT & SEPARATION AGREEMENT b/b APACHE CORPORATIONand CASTEX
                              AGREEMENT                         OFFSHORE, INC., ET AL
Land            6/1/2012      PSA                               Ratification of Purchase and Sale Agreement by Holders of Preferential Right to Purchase, dated
                                                                effective June l , 2012, between Key Production Company, Inc., as Seller, and Chevron U.S.A. Inc.
                                                                and Dynamic Offshore Resources, LLC, as Preferential Right Purchasers, affecting that certain
                                                                Purchase and Sale Agreement, dated June 27, 2012 but made effective June 1, 2012, between
                                                                Key Production Company, Inc., as Seller, and Chevron U.S.A.
                                                                Inc., as Buyer.

Land            6/1/2012      ABOS                                    Conveyance, Assignment and Bill of Sale, dated June 27,.2012 but made effective June 1, 2012,
                                                                      between Key Production Company, Inc., as Assignor, and Chevron U.S.A. be. and Dynamic
                                                                      Offshore Resources, LLC, as Assignees, covering an undivided 0.83922% right, title and.interest in
                                                                      certain property described in Exhibit "A" attached thereto, assigning 75.247% thereof to Chevron
                                                                      (0.63149% net) and 24.753% thereof to Dynamic
                                                                      (0.207.73%.net).

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Land            6/27/2012     PSA                                       Purchase and Sale Agreement, dated June 27, 2012 but made.effective June I , 2012, between
                                                                        Key Production Company, Inc.,. as'Seller, and Chevron U.S.A. Inc., as Buyer, covering all of
                                                                        Seller's.right, title and interest in that certain Oil & Gas Lease bearing Serial No. OCS‐G 448,1, ),
                                                                        together with Seller's interest in certain wells, facilities, pipelines, equipment contracts, etc, all as
                                                                        more.fully described therein.
Land            8/1/2012      Throughput Capacity Lease Agreement       Fieldwood leases capacity to Arena for Barnacle Pipeline

Land            11/30/2012    Permit Agmt(incl Seismic)                 Seismic Reprocessing and Data Use Agreement by and between Noble Energy, Inc and Apache
                                                                        Deepwater LLC dated 30 Nov 12
Land            2/6/2013      Letter Agreement                          Letter Agreement by and between Shell Offshore Inc, LLOG Exploration Offshore, Inc and Davis
                                                                        Offshore L.P. dated 6 Feb 2013 re system upgrades
Land            3/15/2013     Exploration Venture                       Exploration Venture for portions of VR 271 SM 87 by and between Fieldwood Energy Offshore
                                                                        LLC, Apache Corporation and Pisces Energy LLC
Land            5/1/2013      Transportation Agreement                   Transportation Agreement by and between Dynamic Offshore Resources NS, LLC, W&T
                                                                        Offshore, Inc., Hall‐Houston Exploration IV, L.P., GOM Offshore Exploration I, LLC and PetroQuest
                                                                        Energy, LLC
Land            7/1/2013      Acquisition                               PURCHASE AND SALE AGREEMENT by and among APACHE CORPORATION,APACHE SHELF, INC.,
                                                                        and
                                                                        APACHE DEEPWATER LLC collectively as the Sellers, and FIELDWOOD ENERGY LLCas Buyer and
                                                                        GOM SHELF LLC Dated as of July 18, 2013

Land            7/1/2013      Acquisition                               Acquistion by and between Fieldwood Energy LLC and Callon Petroleum Operating Co.
Land            9/12/2013     Amendemnbt of Exhibit "D" to Unit         Amends UOperating Agreement dated 04/13/1984 as amended 09/08/2011
                              Operating Agreement
Land            9/30/2013     Acquisition                               Purchased GOM Shelf as a company from Apache
Land            10/7/2013     Election Letter Agreement PL 13 007 ST2   Election Letter Agreement by and between Fieldwood Energy LLC and Enven Energy Ventures LLC
                              Well
Land            11/1/2013     Purchase & Sale Agreement                 Purchase and Sale Agreement by and between Noble Energy, Inc, Anadarko Petroleum, Anadarko
                                                                        US Offshore Corp and Eni Petroleum US LLC dated 1 Nov 13 as amended 21 July 2016 (but
                                                                        effective 1 Oct 14)
Land            12/1/2013     Acquisition                               Equity Purchase Agreement between Sandridge Energy, Inc., Sandridge Holdings, Inc. and
                                                                        Fieldwood Energy LLC: Fieldwood purchased all companies listed with their assets which included
                                                                        Offshore and SandRidge Legacy South Texas and South Louisiana assets.

Land            12/30/2013    Withdrawal Agreement                      Withdrawal Agreement by and between Fieldwood Energy LLC and Chevron U.S.A. Inc.
Land            1/20/2014     Letter Agreement                          Letter Agreement by and between Shell Offshore Inc, LLOG Exploration Offshore, Inc and Davis
                                                                        Offshore L.P. dated 20 Jan 2014 re settlement of reallOperating Agreementction

Land            3/1/2014      Acquisition                               by and between Fieldwood Energy Offshore LLC and Black Elk Energy Offshore Operations, LLC:
                                                                        Leases where Fieldwood was the operator and Black Elk held interest. Exception is ST 53 where
                                                                        Black Elk was the Operator.
Land            4/16/2014     Settlment Agreement and Release           Settlement Agreementa nd Release ‐ SS 198/VR 369/VR 408/ SP 8/13
Land            4/21/2014     Production Handling Agreement             For WD 27 "A" platform hadnling WD 28 production
Land            4/28/2014     Letter Agreement                          Letter Agreement, dated April 28, 2014, between Chevron U.S.A. Inc. and Samson Contour
                                                                        Energy E&P, LLC,
                                                                        regarding Main Pass 77 Oil Imbalance Claim
Land            5/16/2014     Termination of Farmout Agreements         Terminates Farmouts dated 05.01.13 and 06.01.13
Land            6/1/2014      Acquisition                               by and between Fieldwood Energy Offshore LLC and Davis Offshore L.P.
Land            6/1/2014      Acquisition                               by and between Fieldwood Energy Offshore LLC, NW Pipeline, Inc. and Northwestern Mutual
                                                                        Life Ins. Co:HIPS 13‐III
Land            7/25/2014     Amendment and Ratification of             Amend PHA for WD 27 "A" platform handling WD 28 production dated 04/21/14
                              Production Handling Agreement
Land            8/5/2014      Purchase and Sale Agreement               Equity Purchase Agreement by and between Davis Petroleum Acquisition Corp, Davis Offshore
                                                                        Partners, LLC< and Davis Offshore, L.P. and Fieldwood Energy Offshore dated 5 Aug 2014

Land            1/1/2015      Acquisition                               by and between Fieldwood Energy SP LLC, Paul G. Hendershott and C. Gordon Lindsey:
                                                                        Conversion of NPI to ORI for the WD 79/80/85/86 ‐ fields
Land            1/1/2015      Acquisition                               by and between Fieldwood SD Offshore LLC, Unocal Pipeline Companyand Union Oil Company of
                                                                        California : East Breaks 158/160 Fields
Land            1/1/2015      Acquisition                               by and between Fieldwood Energy Offshore LLC UNOCAL, and Chevron U.S.A. Inc. : GOM NOJV ‐
                                                                        Grand Isle/West Delta etc.
Land            1/1/2015      Acquisition                               by and between Fieldwood Energy Offshore LLC and Shell Offshore Inc.: Troika Unit ‐ GC 244,
                                                                        200, 201
Land            1/1/2015      Acquisition                               by and between Fieldwood Energy Offshore LLC and Japex (U.S.) Corp.: WD 90 & WD 103

Land            1/1/2015      Assignment and Bill of Sale               by and between Fieldwood Energy SP LLC, Paul G. Hendershott and C. Gordon Lindsey, : Net
                                                                        Profits Interest
Land            1/1/2015      Confidential Mutual Release and           by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, Fieldwood Energy SP
                              Settlement Agreement                      LLC, Paul G. Hendershott and C. Gordon Lindsey,
Land            1/1/2015      Overriding Royalty Assignment             by and between Fieldwood Energy Offshore LLC and Shell Offshore Inc: Overridign Royalty
                                                                        Assignment
Land            1/13/2015     Acquisition                               by and between Fieldwood Onshore LLC and Energy XXI Onshore, LLC: relative to (1) the transfer
                                                                        and ownership of certain existing leasehold rights, (2) the acquisition of additional
                                                                        leasehold rights, (3) the conduct of a 3‐D geophysical survey and (4) the drilling,
                                                                        completion and operation of oil and/or gas wells relative to the lands outlined in
                                                                        Red on Exhibit "B" (the "Contract Area").


Land            4/1/2015      Assignment of Operating Rights Interest   by and between Fieldwood Energy Offshore LLC, Peregrine Oil & Gas, LLC RTR Fund I, L.P, and
                              in Oil & Gas Lease                        Hall‐Houston Exploration II, L.P.: Assignment of Operating Rights Interest in Oil & Gas Lease ‐ GA
                                                                        151 Operating Rights
Land            4/1/2015      Production Handling Agreement             by and between Bandon Oil and Gas, LP, Tana Exploration Company LLC, CSL Exploration LLC,
                                                                        GCER Offshore LLC and W&T Offshore, INC.: PHA
Land            5/14/2015     ORRI                                      Assignment of Overriding Royalty Interest from Knight Resources, LLC, in favor
                                                                        of Stat Energy & Consulting, Inc. dated May 14, 2015
Land            5/14/2015     ORRI                                      Assignment of Overriding Royalty Interest from Knight Resources, LLC, in favor
                                                                        of James A. Bibby dated May 14, 2015
Land            5/14/2015     ORRI                                      Assignment of Overriding Royalty Interest from Knight Resources, LLC, in favor
                                                                        of Clifford T. Crowe dated May 14, 2015
Land            6/18/2015     Memorandum of Understanding               Pursuant to that certain assignment and bill of sale dated 01/01/2015

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Land            6/18/2015     Memorandum of Understanding          Pursuant to that certain assignment and bill of sale dated 01/01/2015
Land            7/1/2015      Settlment Agreement and Release      by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, ENI Petroleum US LLC
                                                                   and ENI US Operating Co. Inc.: SS 249 D‐5 RIG Incident
Land            8/1/2015      Acquisition                          by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc. : MP 77, 78 and VK 251,
                                                                   252, 340 Fields
Land            8/12/2015     Pipeline Modification Agreement      Relative to pipelines near SS 208 Seg #1849 and #882
Land            9/1/2015      Assignment and Bill of Sale          by and between Fieldwood Energy Offshore LLC and JOC Venture: JOC Venture withdrawal

Land            9/1/2015      Assignment and Bill of Sale          by and between Fieldwood Energy Offshore LLC and JOC Venture: JOC Venture withdrawal

Land            9/1/2015      Assignment and Bill of Sale          by and between Fieldwood Energy Offshore LLC and JOC Venture: JOC Venture withdrawal

Land            9/16/2015     Withdrawal Agreement                 by and between Fieldwood Energy LLC and JOC Venture: JOC Venture withdrawal
Land            9/16/2015     Withdrawal Agreement                 by and between Fieldwood Energy LLC and JOC Venture: JOC Venture withdrawal
Land            9/16/2015     Withdrawal Agreement                 by and between Fieldwood Energy LLC and JOC Venture: JOC Venture withdrawal
Land            12/1/2015     Acquisition                          by and between Fieldwood Energy Offshore LLC, ENI US Operating Inc, and ENI Petroleum US
                                                                   LLC: GA 151, SS 246, SS 247, SS 248, SS 249, SS 270, SS 271, VR 78, VR 313, WC 72, WC 100, WC
                                                                   130
Land            12/1/2015     Release and Settlement Agreement     by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, ENI US Operating Inc.
                                                                   and ENI Petrolem US LLC: Release and Settlement Agreement
Land            12/18/2015    Welll Operations Agreement           by and between Fieldwood Enegy Offshore LLC, Fieldwood Energy SP LLC, Arena Energy, LP,
                                                                   Arena Energy GP, LLC and Arena Energy Offshore, LP : WD 86 B‐3 well
Land            3/14/2016     Completions Letter Agreement         by and between Fieldwood Energy Offshore LLC and Whitney Oil & Gas, LLC: SP #37 #3 well
                                                                   dually completed and no longer economic for Feildwood
Land            4/1/2016      Divestiture                          by and between Fieldwood Energy Offshore LLC and Whitney Oil & Gas, LLC: Assignment of
                                                                   interest in the SP 37#3 J1 and J2 sands
Land            4/1/2016      Second Amendment of Production       by and between Fieldwood Energy Offshore LLC and Walter Oil & Gas Corporation : Second
                              Handling Agreement                   Amendment of Production Handling Agreement ‐ East Breaks 165 A Platform
Land            4/25/2016     Release and Settlement Agreement     by and between Fieldwood Energy LLC, Peregrine Oil & Gas, LP and Peregrine Oil & Gas II, LLC:
                                                                   Release and Settlement Agreement
Land            7/1/2016      Acquisition                          by and between Fieldwood Energy Offshore LLC and JOC Venture: SS 246 JOC Withdrawal

Land            7/1/2016      Assignment and Bill of Sale          by and between Fieldwood Energy LLC and All Aboard Development Corporation: Assignment All
                                                                   Aboard to Fieldwood
Land            7/1/2016      Assignment and Bill of Sale          by and between Fieldwood Energy Offshore LLC and JOC Venture: ABOS pursuant to JOC
                                                                   Venture withdrawal
Land            8/8/2016      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and JOC Venture: JOC Venture Withdrawal

Land            9/13/2016     Agreement for Payment of Insurance   by and between Fieldwood Energy LLC and Monforte Exploration L.L.C.: Fieldwood agrees to pay
                              Charges                              Monforte's insurance charges
Land            12/14/2016    Surrener of Interest Agreement       by and between Fieldwood Energy LLC and All Aboard Development Corporation: All Aboard
                                                                   Development Corp. surrender of interest
Land            1/1/2017      ABOS                                 by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                   of Withdrawl from Operating Agreement
Land            1/1/2017      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                   Agreement dated 6‐15‐2017 but effective 1/1/2017
Land            1/1/2017      ABOS                                 by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                   of Withdrawl from Operating Agreement
Land            1/1/2017      ABOS                                 by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                   of Withdrawl from Operating Agreement
Land            1/1/2017      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                   Agreement dated 6‐15‐2017 but effective 1/1/2017
Land            1/1/2017      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                   Agreement dated 6‐15‐2017 but effective 1/1/2017
Land            1/1/2017      ABOS                                 by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                   of Withdrawl from Operating Agreement
Land            1/1/2017      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                   Agreement dated 6‐15‐2017 but effective 1/1/2017
Land            1/1/2017      ABOS                                 by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                   of Withdrawl from Operating Agreement
Land            1/1/2017      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                   Agreement dated 6‐15‐2017 but effective 1/1/2017
Land            1/1/2017      ABOS                                 by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                   of Withdrawl from Operating Agreement
Land            1/1/2017      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                   Agreement dated 6‐15‐2017 but effective 1/1/2017
Land            1/1/2017      ABOS                                 by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                   of Withdrawl from Operating Agreement
Land            1/1/2017      ABOS                                 by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                   of Withdrawl from Operating Agreement
Land            1/1/2017      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                   Agreement dated 6‐15‐2017 but effective 1/1/2017
Land            1/1/2017      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                   Agreement dated 6‐15‐2017 but effective 1/1/2017
Land            3/1/2017      Reinbursement Agreement              by and between Fieldwood Energy LLC, W & T Offshore, Inc., Renaissance Offshore LLC,
                                                                   Transcontinental Gas Pipe Line and Chevron U.S.A. Inc.: Transco Facilities Subseaq Modification ‐
                                                                   Shell owned ST 300 Platform
Land            3/1/2017      Reinbursement Agreement              by and between Fieldwood Energy LLC, W & T Offshore, Inc., Renaissance Offshore LLC,
                                                                   Transcontinental Gas Pipe Line and Chevron U.S.A. Inc.: Transco Facilities Subseaq Modification ‐
                                                                   Shell owned ST 300 Platform
Land            3/30/2017     Letter of No Objection               Fieldwood agreed to COX request/letter of no objectin to allow cox to produce its EI 64# 9 well.
                                                                   Fieldwood is the operator of SW/4 of EI 53
Land            1/1/2018      Acquisition                          by and between Fieldwood Energy SP LLC and Knight Resources LLC: Acquisition of Knight's
                                                                   interest in the SS 252 #F‐4
Land            1/2/2018      Letter Agreement                     by and between Fieldwood Energy LLC and EXXI GOM, LLC: Governs particpation in WD 73 C‐27
                                                                   McCloud drill well
Land            4/1/2018      Purchase and Sale Agreement          Purchase and Sale agreement by and between Fieldwood Energy LLC and Marathon Oil Company
                                                                   dated 20 June 2018 and effective 1 April 2018
Land            4/11/2018     F40 Cost Memorialization Agreement   by and between Fieldwood Energy LLC and EXXI GOM, LLC: WD 73 C‐27 Well McCloud F‐40
                                                                   Reservoir memorialization of drilling costs, etc.

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Land                      4/11/2018                West Delta 73 C‐27 "MCCLOUD" F‐40         by and between Fieldwood Energy LLC and Energy XXI GOM, LLC: West Delta 73 C‐27
                                                   Sand Reservoir A                          "MCCLOUD" F‐40 Sand Reservoir A ‐ Letter Agreement
Land                      5/21/2018                Consent to Assign                         Consent to Assignment by and Between Fieldwood Energy, Noble Energy and Eni Petroleum 21
                                                                                             May 2018 governing transition from NBL to Fieldwood Ownership of Neptune

Land                      5/22/2018                Consent to Assign                         Consent to Assignment by and Between Fieldwood Energy, Noble Energy andAnadarko
                                                                                             Petroleum Corporation dated 22 May 2018 governing transition from NBL to Fieldwood
                                                                                             Ownership of Neptune
Land                      8/1/2018                 Acquisition                               by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech's Interest in
                                                                                             the SS 271 Unit (SS 247,248,249)
Land                      8/1/2018                 Withdrawal Agreement                      by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Withdraws
                                                                                             from SS 271 Unit
Land                      8/1/2018                 Assignment and Bill of Sale               by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Assignment
                                                                                             and Bill of Sale
Land                      8/1/2018                 Assignment and Bill of Sale               by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Assignment
                                                                                             and Bill of Sale
Land                      8/1/2018                 Assignment and Bill of Sale               by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: ABOS pursuant to
                                                                                             Entech Enterprises Withdrawal
Land                      8/1/2018                 Assignment and Bill of Sale               by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: ABOS pursuant to
                                                                                             Entech Enterprises Withdrawal
Land                      8/27/2018                Withdrawal & Settlement Agreement         by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Withdrawal
                                                                                             and settlement
Land                      8/27/2018                Withdrawal & Settlement Agreement         by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Withdrawal
                                                                                             and settlement
Land                      8/27/2018                Withdrawal & Settlement Agreement         by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Enterprises
                                                                                             withdrawal & settlemnet
Land                      8/27/2018                Withdrawal & Settlement Agreement         by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Enterprises
                                                                                             withdrawal & settlemnet
Land                      9/18/2018                Constuction and Operating Agreement for
                                                   the Interconnect Pipeline

Land                      12/5/2018                Escrow Agreement                          Escrow Agreement by and between Anadarko Offshore LLC, Eni Petroleum US LLC and Noble
                                                                                             Energy, Inc dated 5 December 2013 and amended by that first amendment dated 5 Dec 2018

Land                      12/10/2018               Confidentiality Agreement                 Confidentiality Agreement by and between Fielwdood Energy LLC and Exxon Mobil Corporation

Land                      2/8/2019                 Assignment and Bill of Sale               by and between Fieldwood Energy LLC and Richard Schmidt, as Trustee for the Black Elk
                                                                                             Litigation Trust and the Black Elk Liquidating Trust: Pursuant to that certain Stipulation and
                                                                                             Agreed Order including Terra Point Petroleum LLC
Land                      3/19/2019                Confidentiality Agreement                 Confidentiality Agreement by and between Fieldwood Energy LLC and ANKOR
Land                      3/19/2019                Confidentiality Agreement                 Confidentiality Agreement by and between Fieldwood Energy LLC and Sa nare
Land                      4/30/2019                CPHTA Extension Letter Agreement          by and between Fieldwood Energy Offshore LLC, ANKOR E&P Holidng Corporation and Orinoco
                                                                                             Natural Resources LLC :Ankors production from MC 21 processed at SP 60
Land                      6/10/2019                Confidentiality Agreement                 by and between Fieldwood Energy LLC and TRANSCONTINENTAL GAS PIPELINE COMPANY:
                                                                                             Confidentiality Agreement:
Land                      7/1/2019                 Divestiture                               by and between Fieldwood Energy LLC and Energy XXI GOM, LLC: Fieldwood Divestiture of WD
                                                                                             73 Field Interests in the F40 Sands
Land                      7/1/2019                 Farmout Agreement                         By and between W & T Offshore, Inc. and Dynamic Offshore Resources NS, LLC and Peregrine Oil
                                                                                             and Gas II, LLC and GOM Energy Venture I, LLC
Land                      7/1/2019                 Assignment and Bill of Sale               by and between Fieldwood Energy LLC and Energy XXI GOM, LLC: Assignment and Bill of Sale

Land                      7/1/2019                 Assignment and Bill of Sale               by and between Fieldwood Energy LLC and Energy XXI GOM, LLC: Assignment and Bill of Sale

Land                      7/2/2019                 Letter Agreement                          By and between W & T Offshore, Inc. and Dynamic Offshore Resources NS, LLC and Peregrine Oil
                                                                                             and Gas II, LLC and GOM Energy Venture I, LLC
Land                      8/28/2019                CPHTA Extension Letter Agreement          Extension to 04/30/2019 Letter Agreement. Ankors production from MC 21 processed at SP 60

Land                      11/1/2019                Amendment No. 3 to CPHYA, PHA and         by and between Fieldwood Energy Offshore LLC and Fieldwood Energy Offshore LLC as
                                                   Transportation Agreement                  Processor and ANKOR Energy LLC, ANKOR E&P Holdings Coporation, KOA Energy LP and Sanare
                                                                                             Energy Partners, LLC as Producer
Land                      2/13/2020                CPHTA Subsea Tie‐in Deadline Extension    by and between Sanare Energy Partners, Fieldwood Energy LLC, ANKOR E&P Holidngs
                                                   Letter Agreement                          Corporation and KOA Energy LP
Land                      4/23/2020                CPHTA Subsea Tie‐in Deadline Extension    by and between Sanare Energy Partners, Fieldwood Energy LLC, ANKOR E&P Holidngs
                                                   Letter Agreement                          Corporation and KOA Energy LP
Land                      01/01/1994, 04/08/1994   Unit Operating Agreement                  U nit Operating Agreement by and between CNG Producing Company, Columbia Gas
                                                                                             Development Corporation, Total Minatome Corporation, Energy Development Corporation,
                                                                                             Murphy Exploration and Production Company and Anadarko Petroleum Corporation; and Forest
                                                                                             Oil Corporation and Timbuck Company/The Hat Creek Production Company, Limited Partnership
                                                                                             (referred to as “Override Parties”)
PHA SP 60F/MC 21          4/29/2005                CONSTRUCTION, PRODUCTION                  PHA by and between Fieldwood and ANKOR E&P HOLDINGS CORPORATION and ANKOR E&P
                                                   HANDLING AND TRANSPORTATION               HOLDINGS CORPORATION
                                                   AGREEMENT
PHA SM 278/SM 257         1/1/2008                 PRODUCTION HANDLING AGMT                  PHA by and between Fieldwood and HELIS OIL & GAS CO and HELIS OIL & GAS CO
LEASE OF PLATFORM SPACE   10/10/1984               Platform Space Rental Agreement SMI       A‐LOPS‐ SM268A by and between Fieldwood and American Panther, LLC and American Panther,
                                                   268A Platform10/01/2020 ‐ 11/30/2021      LLC

LEASE OF PLATFORM SPACE   10/25/1985               Lease of Platform Space                   ALOPS‐WD86A by and between Fieldwood and Texas Eastern Transmission and Texas Eastern
                                                                                             Transmission
LEASE OF PLATFORM SPACE   9/1/1997                 09/01/2020 ‐ 8/30/2021                    A‐LOPS‐WD79A by and between Fieldwood and PANTHER AS COUNTRACT OPERATOR FOR
                                                                                             VENICE GATHERING SYSTEM and PANTHER AS COUNTRACT OPERATOR FOR VENICE GATHERING
                                                                                             SYSTEM
LEASE OF PLATFORM SPACE   1/1/2011                 LEASE OF PLATFORM SPACE                   BRI116‐LOPS by and between Fieldwood and BRISTOW U.S. LLC and BRISTOW U.S. LLC
LEASE OF PLATFORM SPACE   11/1/2006                LEASE OF PLATFORM SPACE                   ERA100‐LOPS by and between Fieldwood and ERA Helicopters LLC and ERA Helicopters LLC

LEASE OF PLATFORM SPACE   8/12/2019                LEASE OF PLATFORM SPACE                   TAM102‐LOPS‐1 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE   8/12/2019                LEASE OF PLATFORM SPACE                   TAM102‐LOPS‐11 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE   8/12/2019                LEASE OF PLATFORM SPACE                   TAM102‐LOPS‐12 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE   8/12/2019                LEASE OF PLATFORM SPACE                   TAM102‐LOPS‐17 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE   8/12/2019                LEASE OF PLATFORM SPACE                   TAM102‐LOPS‐14 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE   8/12/2019                LEASE OF PLATFORM SPACE                   TAM102‐LOPS‐15 by and between Fieldwood and TAMPNET and TAMPNET

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LEASE OF PLATFORM SPACE     8/12/2019    LEASE OF PLATFORM SPACE          TAM102‐LOPS‐15 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE     8/12/2019    LEASE OF PLATFORM SPACE          TAM102‐LOPS‐21 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE     8/12/2019    LEASE OF PLATFORM SPACE          TAM102‐LOPS‐27 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE     8/12/2019    LEASE OF PLATFORM SPACE          TAM102‐LOPS‐26 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE     9/1/1997     LEASE OF PLATFORM SPACE          VEN104‐LOPS by and between Fieldwood and Panther as Contract Operator for Venice Gathering
                                                                          System and Panther as Contract Operator for Venice Gathering System
LEASE OF PLATFORM SPACE     4/15/1968    LEASE OF PLATFORM SPACE          KIN129‐LOPS by and between Fieldwood and KINETICA DEEPWATER EXPRESS, LLC and KINETICA
                                                                          DEEPWATER EXPRESS, LLC
PRODUCTION HANDLING AGMT    1/1/2007     PRODUCTION HANDLING AGREEMENT    PHA EI312‐SM142 by and between Fieldwood and EPL OIL & GAS, LLC                and EPL OIL
(JIB)‐2                                                                   & GAS, LLC
PRODUCTION HANDLING AGMT    1/1/2007     PRODUCTION HANDLING AGREEMENT    PHA EI312‐SM142 by and between Fieldwood and EPL OIL & GAS, LLC                and EPL OIL
(JIB)‐2                                                                   & GAS, LLC
PRODUCTION HANDLING AGMT    1/1/2007     PRODUCTION HANDLING AGREEMENT    PHA EI312‐SM142 by and between Fieldwood and FWE and FWE
(JIB)‐2
PRODUCTION HANDLING AGMT    8/14/1995    PRODUCTION HANDLING AGREEMENT    PHA SM280‐SM268A by and between Fieldwood and MP GULF OF MEXICO, LLC                    and
(JIB)‐4                                                                   MP GULF OF MEXICO, LLC
PRODUCTION HANDLING AGMT    8/14/1995    PRODUCTION HANDLING AGREEMENT    PHA SM280‐SM268A by and between Fieldwood and MP GULF OF MEXICO, LLC                    and
(JIB)‐4                                                                   MP GULF OF MEXICO, LLC
PRODUCTION HANDLING AGMT    8/14/1995    PRODUCTION HANDLING AGREEMENT    PHA SM280‐SM268A by and between Fieldwood and FWE and FWE
(JIB)‐4
PRODUCTION HANDLING AGMT    12/19/2003   PRODUCTION PROCESSING HANDLING   PHA EI342C‐EI342C by and between Fieldwood and FWE and FWE
(JIB)‐11                                 AND OPERATING AGMT
PRODUCTION HANDLING AGMT    12/19/2003   PRODUCTION PROCESSING HANDLING   PHA EI342C‐EI342C by and between Fieldwood and FWE and FWE
(JIB)‐11                                 AND OPERATING AGMT
PRODUCTION HANDLING AGMT    12/19/2003   PRODUCTION PROCESSING HANDLING   PHA EI342C‐EI342C by and between Fieldwood and TANA EXPLORATION COMPANY LLC
(JIB)‐11                                 AND OPERATING AGMT               and TANA EXPLORATION COMPANY LLC
PRODUCTION HANDLING AGMT    1/31/2005    PRODUCTION HANDLING              VK826NEP by and between Fieldwood and Apache Deepwater LLC and Apache Deepwater LLC
(JIB)                                    AGREEMENT(NEPTUNE)Swordfish
                                         Producers
PRODUCTION HANDLING AGMT    7/18/2002    PRODUCTION HANDLING AGREEMENT    HI A‐582 by and between Fieldwood and Cox Operating, LLC and Cox Operating, LLC
(Non‐Op)
PRODUCTION HANDLING AGMT    11/14/1996   PRODUCTION HANDLING AGREEMENT    EC 349 by and between Fieldwood and W & T Offshore, Inc. and W & T Offshore, Inc.
(Non‐Op)
PRODUCTION HANDLING AGMT                 PRODUCTION HANDLING AGREEMENT    SS 315A3/ST 314 by and between Fieldwood and W & T Offshore, Inc. and W & T Offshore, Inc.
(Non‐Op)
PRODUCTION HANDLING AGMT                 PRODUCTION HANDLING AGREEMENT    SS 315A3/ST 314 by and between Fieldwood and W & T Offshore, Inc. and W & T Offshore, Inc.
(Non‐Op)
PRODUCTION HANDLING AGMT    6/13/1996    PRODUCTION HANDLING AGREEMENT    SS 300 B/SS301 by and between Fieldwood and W & T Offshore, Inc. and W & T Offshore, Inc.
(Non‐Op)
PRODUCTION HANDLING AGMT    5/5/2009     PRODUCTION HANDLING AGREEMENT    SS 189 C‐1 by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil & Gas
(Non‐Op)                                                                  Corporation
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   8/1/2005     Gas Gathering Agreement          DIGS Gatheirng Agreement for Swordfish‐Neptune by and between Fieldwood Energy LLC and
                                                                          DCP Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island
                                                                          Gathering Partners
Marketing Gas ‐ Transport   8/1/2005     Gas Gathering Agreement          DIGS Gatheirng Agreement for Swordfish‐Neptune by and between Fieldwood Energy LLC and
                                                                          DCP Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island
                                                                          Gathering Partners
Marketing Gas ‐ Transport   8/1/2005     Gas Gathering Agreement          DIGS Gatheirng Agreement for Swordfish‐Neptune by and between Fieldwood Energy LLC and
                                                                          DCP Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island
                                                                          Gathering Partners
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas
                                                                          Eastern
Marketing Gas ‐ Transport   4/1/2020     IT Gathering                     IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                          Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020     IT Gathering                     IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                          Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020     IT Gathering                     IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                          Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020     IT Gathering                     IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                          Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   2/1/2019     Pool Agreement                   Pool Agreement by and between Fieldwood Energy LLC and Gulf South Pipeline Company, LP and
                                                                          Gulf South Pipeline Company, LP

Marketing Gas ‐ Transport   11/1/1995    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                          SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                          SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                          SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                          SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                          SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                          SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc

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Marketing Gas ‐ Transport   11/1/1995                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                                                      SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                                                      SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                                                      SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                                                      SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                                                      SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                                                      SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Gathering   4/1/2020                     IT Gathering                                 IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                                      Kinetica Midstream Energy, LLC
Marketing Gas ‐ Gathering   4/1/2020                     IT Gathering                                 IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                                      Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   12/1/2013                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
                                                                                                      and Kinetica Energy Express, LLC
Marketing Gas ‐ Transport   12/1/2013                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
                                                                                                      and Kinetica Energy Express, LLC
Marketing Gas ‐ Transport   12/1/2013                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
                                                                                                      and Kinetica Energy Express, LLC
Marketing Gas ‐ Transport   8/7/2009                     IT Transport Contract ‐ "IT Discount Life of Stingray ‐ WC 485, WC 507 $.13 discount Life Of Reserve Dedicaiton by and between Fieldwood
                                                         Reserves"                                    Energy LLC and Stingray Pipeline Company LLC (MCP Operating) and Stingray Pipeline Company
                                                                                                      LLC (MCP Operating)
Marketing Gas ‐ Transport   10/1/2019                    FT ‐2 Transport                              FT ‐2 Transport by and between Fieldwood Energy LLC and Venice Gathering and Venice
                                                                                                      Gathering
Marketing Gas ‐ Transport   12/1/2013                    IT Gathering                                 IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                                                      LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   4/1/2010                     FT ‐2 Transport                              FT ‐2 Transport by and between Fieldwood Energy Offshore, LLC and Nautilus Pipeline Company
                                                                                                      and Nautilus Pipeline Company
Marketing Gas ‐ Transport   12/12013                     IT Transport Contract                        Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                                      and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/12013                     IT PR Transport Contract                     Searobin West PTR Transprt, max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                                      and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐Retrograde Transport                      Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐PTR Transport                             Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                                      Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐PTR Transport                             Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                                      Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐Transport                                 Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐Transport                                 Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐Transport                                 Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐Transport                                 Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐Retrograde ‐Flash‐Transport               Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                                      and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐Retrograde ‐Flash‐Transport               Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                                      and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐Retrograde ‐Flash‐Transport               Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                                      and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering   8/1/2018                     IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering   8/1/2018                     IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering   8/1/2018                     IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering   8/1/2018                     IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   10/1/2011, disoucnt letter   IT‐PTR Transport plus discount letter        Searobin WestIT PTR Contract for Discount SMI 142 and SMI 140 by and between Fieldwood
                            9/16/2011                    letter                                       Energy Offshore, LLC and Sea Robin Pipeline Company and Sea Robin Pipeline Company

Marketing Gas ‐ Transport   10/1/2011                    IT Transport Contract                     Searobin West Pipeline ‐ sandridge /Dynamic IT transport plus Discount letter for SMI 142 and
                                                                                                   SMI 40 by and between Fieldwood Energy Offshore, LLC and Sea Robin Pipeline Company and
                                                                                                   Sea Robin Pipeline Company
Marketing Gas ‐ Transport   10/1/2011                    IT‐Retrograde Transport                   SearobinWest Pipeline ‐ sandridge /Dynamic IT Retrograde by and between Fieldwood Energy
                                                                                                   Offshore, LLC and Sea Robin Pipeline Company and Sea Robin Pipeline Company

Marketing Gas ‐ Transport   8/1/2008                     Gas Gathering Agreement‐Amendment         DIGS Gatheirng Agreement for Swordfish‐Neptune ‐ Amendment adds Burlingtion Resources WI
                                                                                                   by and between Fieldwood Energy LLC and DCP Midstream, Daulphin Island Gathering Partners
                                                                                                   and DCP Midstream, Daulphin Island Gathering Partners
Marketing Gas ‐ Transport   8/1/2008                     Gas Gathering Agreement‐Amendment         DIGS Gatheirng Agreement for Swordfish‐Neptune ‐ Amendment adds Burlingtion Resources WI
                                                                                                   by and between Fieldwood Energy LLC and DCP Midstream, Daulphin Island Gathering Partners
                                                                                                   and DCP Midstream, Daulphin Island Gathering Partners
Marketing Gas ‐ Transport   8/1/2008                     Gas Gathering Agreement‐Amendment         DIGS Gatheirng Agreement for Swordfish‐Neptune ‐ Amendment adds Burlingtion Resources WI
                                                                                                   by and between Fieldwood Energy LLC and DCP Midstream, Daulphin Island Gathering Partners
                                                                                                   and DCP Midstream, Daulphin Island Gathering Partners
Marketing Gas ‐ Transport   8/1/2005                     FT‐2 (MP) Reserve Commitment              DIGP ‐ FT2 & Reserve Dedication ‐ Swordfish Neptune by and between Fieldwood Energy LLC and
                                                         Agreement                                 DCP Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island
                                                                                                   Gathering Partners
Marketing Gas ‐ Transport   8/1/2005                     FT‐2 (MP) Reserve Commitment              DIGP ‐ FT2 & Reserve Dedication ‐ Swordfish Neptune by and between Fieldwood Energy LLC and
                                                         Agreement                                 DCP Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island
                                                                                                   Gathering Partners
Marketing Gas ‐ Transport   8/1/2005                     FT‐2 (MP) Reserve Commitment              DIGP ‐ FT2 & Reserve Dedication ‐ Swordfish Neptune by and between Fieldwood Energy LLC and
                                                         Agreement                                 DCP Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island
                                                                                                   Gathering Partners

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Marketing Gas ‐ Transport    8/1/2005                          FT‐2 (MP) Reserve Commitment                 DIGP ‐ FT2 & Reserve Dedication ‐ Swordfish Neptune ‐ Amendment Adds Burlington Resourses
                                                               Agreement ‐ Amendment                        WI; plus 2 more amendments Revising MDQ by and between Fieldwood Energy LLC and DCP
                                                                                                            Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island Gathering
                                                                                                            Partners
Marketing Gas ‐ Transport    8/1/2005                          FT‐2 (MP) Reserve Commitment                 DIGP ‐ FT2 & Reserve Dedication ‐ Swordfish Neptune ‐ Amendment Adds Burlington Resourses
                                                               Agreement ‐ Amendment                        WI; plus 2 more amendments Revising MDQ by and between Fieldwood Energy LLC and DCP
                                                                                                            Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island Gathering
                                                                                                            Partners
Marketing Gas ‐ Transport    8/1/2005                          FT‐2 (MP) Reserve Commitment                 DIGP ‐ FT2 & Reserve Dedication ‐ Swordfish Neptune ‐ Amendment Adds Burlington Resourses
                                                               Agreement ‐ Amendment                        WI; plus 2 more amendments Revising MDQ by and between Fieldwood Energy LLC and DCP
                                                                                                            Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island Gathering
                                                                                                            Partners
Marketing Gas ‐ Transport    8/7/2009                          IT Transport Contract ‐ "IT Discount Life of Stingray ‐ WC 485, WC 507 $.13 discount Life Of Reserve Dedicaiton by and between Fieldwood
                                                               Reserves"                                    Energy LLC and Stingray Pipeline Company LLC (MCP Operating) and Stingray Pipeline Company
                                                                                                            LLC (MCP Operating)
Marketing Gas‐Transport      12/18/1997                        FT ‐ Transport                               Venice Gatheing Firm Transport with Disount $.05, WD 79 by and between Fieldwood Energy
                                                                                                            LLC and Venice Gathering System, L.L.C. and Venice Gathering System, L.L.C.
Marketing Gas‐Transport      1/1/2001                          FT ‐ Transport                               Venice Gatheing Firm transport Max rate WD 79 by and between Fieldwood Energy LLC and
                                                                                                            Venice Gathering System, L.L.C. and Venice Gathering System, L.L.C.
Marketing Gas‐Gathering      11/1/2006                         IT Transport                                 Venice Gathering, WD 39 Effective date 11/1/2006 WD 64 Effective 11/1/2010 by and between
                                                                                                            Fieldwood Energy LLC and Venice Gathering System, L.L.C. and Venice Gathering System, L.L.C.

Operating and Management     6/1/2015                          Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as
Agreement                                                      Panther Operating Company (Third Coast) the management and administrative functions for the System by and between Fieldwood Energy
                                                                                                       LLC and Panther Operating Company, LLC (Third Coast Midstream) and Panther Operating
                                                                                                       Company, LLC (Third Coast Midstream)
Operating and Management     6/1/2015                          Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as
Agreement                                                      Panther Operating Company (Third Coast) the management and administrative functions for the System by and between Fieldwood Energy
                                                                                                       LLC and Panther Operating Company, LLC (Third Coast Midstream) and Panther Operating
                                                                                                       Company, LLC (Third Coast Midstream)
Operating and Management     6/1/2015                          Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as
Agreement                                                      Panther Operating Company (Third Coast) the management and administrative functions for the System by and between Fieldwood Energy
                                                                                                       LLC and Panther Operating Company, LLC (Third Coast Midstream) and Panther Operating
                                                                                                       Company, LLC (Third Coast Midstream)
Operating and Management     6/1/2015                          Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as
Agreement                                                      Panther Operating Company (Third Coast) the management and administrative functions for the System by and between Fieldwood Energy
                                                                                                       Offshore LLC and Panther Operating Company, LLC (Third Coast Midstream) and Panther
                                                                                                       Operating Company, LLC (Third Coast Midstream)
Operating and Management     6/1/2015                          Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as
Agreement                                                      Panther Operating Company (Third Coast) the management and administrative functions for the System by and between Fieldwood Energy
                                                                                                       Offshore LLC and Panther Operating Company, LLC (Third Coast Midstream) and Panther
                                                                                                       Operating Company, LLC (Third Coast Midstream)
Operating and Management     1/17/1963                         Conveyance and Operating Agreement      Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
Agreement                                                      Grand Chenier Separation Facilities
                                                               Cameron Parish, Louisiana

Operating and Management     1/17/1963                         Conveyance and Operating Agreement        Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
Agreement                                                      Grand Chenier Separation Facilities
                                                               Cameron Parish, Louisiana

Operating and Management     1/17/1963                         Conveyance and Operating Agreement        Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
Agreement                                                      Grand Chenier Separation Facilities
                                                               Cameron Parish, Louisiana

Operating and Management     1/1/2014 (Amends and            Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
Agreement                    supercedes the Construction and of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                             Operations Agreement dated June from the Sea Robin Pipeline               administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                             1, 1972.                                                                  between Fieldwood Energy LLC and and
Operating and Management     1/1/2014 (Amends and            Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
Agreement                    supercedes the Construction and of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                             Operations Agreement dated June from the Sea Robin Pipeline               administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                             1, 1972.                                                                  between Fieldwood Energy LLC and and
Operating and Management     1/1/2014 (Amends and            Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
Agreement                    supercedes the Construction and of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                             Operations Agreement dated June from the Sea Robin Pipeline               administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                             1, 1972.                                                                  between Fieldwood Energy LLC and and
Operating and Management     1/1/2014 (Amends and            Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
Agreement                    supercedes the Construction and of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                             Operations Agreement dated June from the Sea Robin Pipeline               administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                             1, 1972.                                                                  between Fieldwood Energy LLC and and
Operating and Management     1/1/2014 (Amends and            Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
Agreement                    supercedes the Construction and of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                             Operations Agreement dated June from the Sea Robin Pipeline               administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                             1, 1972.                                                                  between Fieldwood Energy LLC and and
Construction and Operation   10/1/1995                       Restated and Amendment Agreement fo The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
Agreement                                                    the Construction and Operation of the     Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                             Sea Robin Gas Processing Plant Vermilion Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                             Parish, Louisiana                         and and

Construction and Operation   10/1/1995                         Restated and Amendment Agreement fo The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
Agreement                                                      the Construction and Operation of the    Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                               Sea Robin Gas Processing Plant Vermilion Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                               Parish, Louisiana                        and and

Ownership and Operating      9/26/1982                         Venice Dehydration Station Operations     Provides for the use of the Venice Dehydration Station by the Venice Dehydration Station
Agreement                                                      and Maintenance Agreement                 Owners by and between Fieldwood Energy LLC and and



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Service Agreement             11/1/2015    South Pass Dehydration Service          Provides for certain monitoring, maintenance and repais for the South Pass Dehydration Station
                                           Agreement as amended                    on behalf of Owners by and between Fieldwood Energy LLC and Venice Energy Services
                                                                                   Company LLC (Targa Resources) and Venice Energy Services Company LLC (Targa Resources)

Ownership and Operating       3/6/1974     Construction and Operating Agreement    Provides for the construction and operation of the onshore separation facility which is connected
Agreement                                  for Onshore Separation Facility         to the facilites of Stingray Pipeline Company and which separates condensate from the natural
                                           Cameron Parish, Louisiana as amended    gas injected into and transported by Stinray by and between Fieldwood Energy LLC and Stingray
                                                                                   Pipeline Company LLC (MCP Operating) and Stingray Pipeline Company LLC (MCP Operating)

Ownership and Operating       3/6/1974     Construction and Operating Agreement    Provides for the construction and operation of the onshore separation facility which is connected
Agreement                                  for Onshore Separation Facility         to the facilites of Stingray Pipeline Company and which separates condensate from the natural
                                           Cameron Parish, Louisiana as amended    gas injected into and transported by Stinray by and between Fieldwood Energy LLC and Stingray
                                                                                   Pipeline Company LLC (MCP Operating) and Stingray Pipeline Company LLC (MCP Operating)

Construction and Management   10/1/1981    Construction and Management             Provides for the construction management of the Facility by and between Fieldwood Energy LLC
Agreement                                  Agreement South Pass West Delta         and N/A and N/A
                                           Gathering System
Construction and Management   10/1/1981    Construction and Management             Provides for the construction management of the Facility by and between Fieldwood Energy LLC
Agreement                                  Agreement South Pass West Delta         and N/A and N/A
                                           Gathering System
Construction and Management   10/1/1981    Construction and Management             Provides for the construction management of the Facility by and between Fieldwood Energy LLC
Agreement                                  Agreement South Pass West Delta         and N/A and N/A
                                           Gathering System
Owners' Agreement             10/1/1981    Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                           Delta Gathering System                  LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
Owners' Agreement             10/1/1981    Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                           Delta Gathering System                  LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
Owners' Agreement             10/1/1981    Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                           Delta Gathering System                  LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
Owners' Agreement             10/1/1981    Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                           Delta Gathering System                  LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
Owners' Agreement             10/1/1981    Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                           Delta Gathering System                  LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
Construction and Operating    10/22/1976   Agreement for the Construction and      Processing of Owners' gas all in accordance with agreements by and between Fieldwood Energy
Agreement                                  Operation of the Blue Water Gas Plant   LLC and EnLink Midstream Operating, LP and EnLink Midstream Operating, LP
                                           Acadia Parish, Louisiana
Operating Agreement                        Lateral Line Operating Agreement        Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                           Between Apache Corporation and          Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                           Enterprise GTM Offshore Operating       sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                           Company, LLC                            Energy LLC and and
Operating Agreement                        Lateral Line Operating Agreement        Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                           Between Apache Corporation and          Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                           Enterprise GTM Offshore Operating       sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                           Company, LLC                            Energy LLC and and
Operating Agreement                        Lateral Line Operating Agreement        Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                           Between Apache Corporation and          Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                           Enterprise GTM Offshore Operating       sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                           Company, LLC                            Energy LLC and and
Operating Agreement                        Lateral Line Operating Agreement        Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                           Between Dynamic Offshore Resources,     Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                           LLC and Enterprise GTM Offshore         sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                           Operating Company, LLC                  Energy Offshore LLC and and
Operating Agreement                        Lateral Line Operating Agreement        Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                           Between Sandridge Offshore, LLC and     Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                           Enterprise GTM Offshore Operating       sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                           Company, LLC                            Energy Offshore LLC and and
Operating Agreement                        Lateral Line Operating Agreement        Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                           Between Sandridge Offshore, LLC and     Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                           Enterprise GTM Offshore Operating       sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                           Company, LLC                            Energy Offshore LLC and and
Construction, Ownership and   2/25/2011    Amendment No. 2                         Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment              Eugene Island Block 361 Pipeline        (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
2                                          Construction, Ownership and Operating   was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                           Agreement                               Company and Chevron Pipeline Company
Assignment                                 Eugene Island Block 361 Pipeline        The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                           Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                           Agreement                               Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                   Energy LLC and and
Operating Agreement           5/1/1996     Pipeline Operating Agreement            To provide for the use, maintenance, operation, administration and removal of the Seagate
                                                                                   Pipeline. by and between Fieldwood Energy LLC / Fieldwood Energy Offshoe LLC and and

Operating Agreement           5/1/1996     Pipeline Operating Agreement            To provide for the use, maintenance, operation, administration and removal of the Seagate
                                                                                   Pipeline. by and between Fieldwood Energy LLC / Fieldwood Energy Offshoe LLC and and

Operating Agreement           5/1/1996     Pipeline Operating Agreement            To provide for the use, maintenance, operation, administration and removal of the Seagate
                                                                                   Pipeline. by and between Fieldwood Energy LLC / Fieldwood Energy Offshoe LLC and and

Oil Purchase and Sale         8/1/2018     Oil Purchase and Sale Agreement       Crude Oil Purchase and Sale/Transport by and between Fieldwood Energy LLC and Poseidon Oil
Agreement/Transport                        between Fieldwood Energy Offshore LLC Pipeline Company LLC and Poseidon Oil Pipeline Company LLC
                                           and Poseidon Oil Pipeline Company LLC

Memorandum of Agreement       8/1/2020     Memorandum of Agreement Between         Memorandum of Agreement by and between Fieldwood Energy LLC and Poseidon Oil Pipeline
                                           Fieldwood Energy Offshore LLC and       Company LLC and Poseidon Oil Pipeline Company LLC
                                           Poseidon Oil Pipeline Company LLC

Oil Gathering Agreement       6/1/2003     Oil Gathering Agreement                 Crude Oil Transport. by and between Fieldwood Energy LLC and Manta Ray Gathering Co.,LLC
                                           Between                                 and Manta Ray Gathering Co.,LLC
                                           Westport Resources Corporation
                                           Noble Energy Inc
                                           M

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Oil Purchase and Sale          7/15/2003    Oil Purchase and Sale Agreement           Crude Oil Purchase and Sale/Transport by and between Fieldwood Energy LLC and Poseidon Oil
Agreement/Transport                         Between Westport Resources                Pipeline Company LLC and Poseidon Oil Pipeline Company LLC
                                            Corporation Mariner Energy Inc Noble
                                            Energy Inc and Poseidon Oil Pipeline
                                            Company LLC
Oil Gathering Agreement        7/1/2005     Oil Gathering Agreement                   Crude Oil Transport. by and between Fieldwood Energy LLC and Main Pass Oil Gathering
                                                                                      Company and Main Pass Oil Gathering Company
Oil Gathering Agreement        7/1/2005     Oil Gathering Agreement                   Crude Oil Transport. by and between Fieldwood Energy LLC and Main Pass Oil Gathering
                                                                                      Company and Main Pass Oil Gathering Company
Oil Gathering Agreement        7/1/2005     Oil Gathering Agreement                   Crude Oil Transport. by and between Fieldwood Energy LLC and Main Pass Oil Gathering
                                                                                      Company and Main Pass Oil Gathering Company
Reimbursement Agreement        1/21/2019    Pigging Service Reimbursement             Reimbursement Agreement by and between Fieldwood Energy LLC and Main Pass Oil Gatherind
                                            Agreement                                 LLC and Main Pass Oil Gatherind LLC
Reimbursement Agreement        1/21/2019    Pigging Service Reimbursement             Reimbursement Agreement by and between Fieldwood Energy LLC and Main Pass Oil Gatherind
                                            Agreement                                 LLC and Main Pass Oil Gatherind LLC
Reimbursement Agreement        1/21/2019    Pigging Service Reimbursement             Reimbursement Agreement by and between Fieldwood Energy LLC and Main Pass Oil Gatherind
                                            Agreement                                 LLC and Main Pass Oil Gatherind LLC
Oil Transport                  8/1/2009     High Island Pipeline System Throughput    Oil Transport by and between Fieldwood Energy LLC and McMoRan Oil & Gas LLC and McMoRan
                                            Capacity Lease Agreement                  Oil & Gas LLC

Oil Transport                  8/1/2009     High Island Pipeline System Throughput    Oil Transport by and between Fieldwood Energy LLC and McMoRan Oil & Gas LLC and McMoRan
                                            Capacity Lease Agreement                  Oil & Gas LLC

Oil Transport                  11/30/2018   Crimson Gulf Dedication and               Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                            Transportation Services Agreement
Oil Transport                  11/30/2018   Crimson Gulf Dedication and               Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                            Transportation Services Agreement
Oil Transport                  11/30/2018   Crimson Gulf Dedication and               Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                            Transportation Services Agreement
Oil Transport                  11/30/2018   Crimson Gulf Dedication and               Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                            Transportation Services Agreement
Oil Transport                  11/30/2018   Crimson Gulf Dedication and               Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                            Transportation Services Agreement
Oil Transport                  11/30/2018   Crimson Gulf Dedication and               Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                            Transportation Services Agreement
Oil Transport                  11/30/2018   Crimson Gulf Dedication and               Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                            Transportation Services Agreement
Injected and Retrograde       2/10/2014     Injected and Retrograde Condensate        Injected and Retrograde Condensate Transportation and Btu Reduction Make‐up Agreement by
Condensate Transportation and               Transportation and Btu Reduction Make‐    and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line Company LLC and
Btu Reduction Make‐up                       up Agreement                              Transcontinental Gas Pipe Line Company LLC
Agreement
Injected and Retrograde       2/10/2014     Injected and Retrograde Condensate     Injected and Retrograde Condensate Transportation and Btu Reduction Make‐up Agreement by
Condensate Transportation and               Transportation and Btu Reduction Make‐ and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line Company LLC and
Btu Reduction Make‐up                       up Agreement                           Transcontinental Gas Pipe Line Company LLC
Agreement
Agreement For Measurement and 7/1/2001      Central Texas Gathering System (1st)      Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
Allocation of Condensate                    Amended and Restated Agreement for        Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                            Measurement and Allocation of
                                            Condensate
Agreement For Measurement and 7/1/2001      Central Texas Gathering System (1st)      Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
Allocation of Condensate                    Amended and Restated Agreement for        Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                            Measurement and Allocation of
                                            Condensate
Agreement For Measurement and 7/1/2014      Central Texas Gathering System Second     Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
Allocation of Condensate                    Amended and Restated Agreement for        Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                            Measurement and Allocation of
                                            Condensate
Agreement For Measurement and 7/1/2014      Central Texas Gathering System Second     Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
Allocation of Condensate                    Amended and Restated Agreement for        Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                            Measurement and Allocation of
                                            Condensate
Liquid Transportation          9/27/1993    Liquid Transportation Nouth High          Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                            Island/Johnson Bayou, Markham Plant       Corporation and Transcontinental Gas Pipe Line Corporation
                                            Tailgate, Bayou Black & Vermilion
                                            Separation Facility. Contract # 94 0674

Liquid Transportation          9/27/1993    Liquid Transportation Nouth High          Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                            Island/Johnson Bayou, Markham Plant       Corporation and Transcontinental Gas Pipe Line Corporation
                                            Tailgate, Bayou Black & Vermilion
                                            Separation Facility. Contract # 94 0674

Liquid Transportation          9/27/1993    Liquid Transportation Nouth High          Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                            Island/Johnson Bayou, Markham Plant       Corporation and Transcontinental Gas Pipe Line Corporation
                                            Tailgate, Bayou Black & Vermilion
                                            Separation Facility. Contract # 94 0674

Amendment Liquid Transportation 11/1/2007   Amendment to Liquid Transportation        Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                            Agreement Between Transcontinental        Corporation and Transcontinental Gas Pipe Line Corporation
                                            Gas Pipe Line Corporatio and Apache
                                            Corp Contract # 94 0674 001

Amendment Liquid Transportation 11/1/2007   Amendment to Liquid Transportation        Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                            Agreement Between Transcontinental        Corporation and Transcontinental Gas Pipe Line Corporation
                                            Gas Pipe Line Corporatio and Apache
                                            Corp Contract # 94 0674 001




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Amendment Liquid Transportation 11/1/2007      Amendment to Liquid Transportation       Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                               Agreement Between Transcontinental       Corporation and Transcontinental Gas Pipe Line Corporation
                                               Gas Pipe Line Corporatio and Apache
                                               Corp Contract # 94 0674 001

Amendment Liquid Transportation 1/22/2013      Amendment to Liquid Transportation       Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                               Agreement Between Transcontinental       Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                               Gas Pipe Line Corporatio and Apache      Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
                                               Corp Contract # 94 0674 001/1005198

Amendment Liquid Transportation 1/22/2013      Amendment to Liquid Transportation       Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                               Agreement Between Transcontinental       Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                               Gas Pipe Line Corporatio and Apache      Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
                                               Corp Contract # 94 0674 001/1005198

Amendment Liquid Transportation 1/22/2013      Amendment to Liquid Transportation       Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                               Agreement Between Transcontinental       Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                               Gas Pipe Line Corporatio and Apache      Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
                                               Corp Contract # 94 0674 001/1005198

Liquid Transportation BTU Makeup 11/1/2007     Injected and Retrograde Condensate       Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                               Transportation and Btu Reduction Make‐   Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
                                               up Agreement‐Southeast Lateral (into
                                               Bayou Black) 28 0008 000
Liquid Transportation BTU Makeup 11/1/2007     Injected and Retrograde Condensate       Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                               Transportation and Btu Reduction Make‐   Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
                                               up Agreement‐Southeast Lateral (into
                                               Bayou Black) 28 0008 000
Liquid Transportation BTU Makeup 11/1/2007     Injected and Retrograde Condensate       Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                               Transportation and Btu Reduction Make‐   Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
                                               up Agreement‐Southeast Lateral (into
                                               Bayou Black) 28 0008 000
Liquid Transportation BTU Makeup 11/1/2007     Injected and Retrograde Condensate       Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                               Transportation and Btu Reduction Make‐   Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
                                               up Agreement‐Southeast Lateral (into
                                               Bayou Black) 28 0008 000
Liquid Transportation BTU Makeup 11/1/2007     Injected and Retrograde Condensate       Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                               Transportation and Btu Reduction Make‐   Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
                                               up Agreement‐Southeast Lateral (into
                                               Bayou Black) 28 0008 000
Liquid Transportation BTU Makeup 11/1/2007     Injected and Retrograde Condensate       Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                               Transportation and Btu Reduction Make‐   Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
                                               up Agreement‐Southeast Lateral (into
                                               Bayou Black) 28 0008 000
Terminalling Agreement            9/1/2009     Terminalling Agreement Between WFS‐      Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                               Liquids Company and Apache Corp.         WFS‐Liquid Company

Terminalling Agreement            9/1/2009     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                               Liquids Company and Mariner Energy inc WFS‐Liquid Company

Terminalling Agreement            9/1/2009     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                               Liquids Company and Mariner Energy inc WFS‐Liquid Company

Terminalling Agreement            9/1/2009     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                               Liquids Company and Mariner Energy inc WFS‐Liquid Company

Terminalling Agreement            2/1/2014     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                               Liquidsllc and Fieldwood Energy LLC ‐   Liquid LLC
                                               Contract BB111
Terminalling Agreement            2/1/2014     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                               Liquidsllc and Fieldwood Energy LLC ‐   Liquid LLC
                                               Contract BB111
Terminalling Agreement            2/1/2014     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                               Liquidsllc and Fieldwood Energy LLC ‐   Liquid LLC
                                               Contract BB111
Terminalling Agreement            2/1/2014     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                               Liquidsllc and Fieldwood Energy LLC ‐   Liquid LLC
                                               Contract BB111
Terminalling Agreement            2/1/2014     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                               Liquidsllc and Fieldwood Energy LLC ‐   Liquid LLC
                                               Contract BB111
Terminalling Agreement            2/1/2014     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                               Liquidsllc and Fieldwood Energy LLC ‐   Liquid LLC
                                               Contract BB111
Oil Liquids Transportation        10/22/2009   Liquids Transportation Agreement #51169 Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Agreement for Bluewater System                 dated 2/1/2007                          LLC and Kinetica Energy Express, LLC

Oil Liquids Transportation for    9/30/2009    Liquids Transportation Agreement #51169 Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Bluewater Pipeline System                      dated 2/1/2007                          LLC and Kinetica Energy Express, LLC
Oil Liquids Transportation for    4/1/2004     Liquids Transportation Agreement #51051 Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Bluewater Pipeline System                                                              LLC and Kinetica Energy Express, LLC
Oil Liquids Transportation for    9/30/2009    Liquids Transportation Agreement #51051 Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Bluewater Pipeline System                      dated 4/1/2004                          LLC and Kinetica Energy Express, LLC
Oil Liquids Transportation for    2/25/2010    Liquids Transportation Agreement No.    Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Grand Chenier Offshore Pipeline                50031                                   LLC and Kinetica Energy Express, LLC
System
Oil Liquids Transportation for    2/25/2010    Liquids Transportation Agreement No.     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Grand Chenier Offshore Pipeline                50031                                    LLC and Kinetica Energy Express, LLC
System

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Oil Liquids Transportation for    2/25/2010                       Liquids Transportation Agreement No.     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Grand Chenier Offshore Pipeline                                   50031                                    LLC and Kinetica Energy Express, LLC
System
Oil Liquids Amendment No. 6       1/1/2007 Original Contract;     Amendment No. 6 to the Liquids           Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
                                  Amendment Effective 1/1/2007    Transportation Contract                  LLC and Kinetica Energy Express, LLC

Oil Liquids Amendment No. 6       8/1/1992, Amendment Effective   Amendment No. 6 to the Liquids           Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
                                  1/1/2007                        Transportation Contract                  LLC and Kinetica Energy Express, LLC
Oil Liquids Transportation        3/3/2011                        Associated Liquids Transportation        Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Deepwater
                                                                  Agreement #117842                        Express, LLC and Kinetica Deepwater Express, LLC
Oil Liquids Transportation        3/3/2011                        Associated Liquids Transportation        Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Deepwater
                                                                  Agreement #117842                        Express, LLC and Kinetica Deepwater Express, LLC
Oil Liquids Transportation      11/1/2012 Amendment Date:         Amendment No. 1                          Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Deepwater
                                8/1/2014                                                                   Express, LLC and Kinetica Deepwater Express, LLC
Oil Amendment transferring from 12/1/2013                         Amendment                                Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Apache to Fieldwood Energy LLC

Oil Rate Amendment to Liquid      Amendment effective 1/1/2011    Agreement for the Allocation of Liquid   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Transportation Agreement                                          Hydrocarbons at the Patterson Terminal
                                                                  effective 7/1/2007
Oil Rate Amendment to Liquid      Amendment effective 1/1/2011    Agreement for the Allocation of Liquid   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Transportation Agreement                                          Hydrocarbons at the Patterson Terminal
                                                                  effective 7/1/2007
Oil Rate Amendment to Liquid      Amendment effective 1/1/2011    Agreement for the Allocation of Liquid   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Transportation Agreement                                          Hydrocarbons at the Patterson Terminal
                                                                  effective 7/1/2007
Oil Rate Amendment to Liquid      Amendment effective 1/1/2011    Agreement for the Allocation of Liquid   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Transportation Agreement                                          Hydrocarbons at the Patterson Terminal
                                                                  effective 7/1/2007
Oil Rate Amendment to Liquid      Amendment effective 1/1/2011    Agreement for the Allocation of Liquid   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Transportation Agreement                                          Hydrocarbons at the Patterson Terminal
                                                                  effective 7/1/2007
Oil Rate Amendment to Liquid      Amendment effective 1/1/2011    Agreement for the Allocation of Liquid   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Transportation Agreement                                          Hydrocarbons at the Patterson Terminal
                                                                  effective 7/1/2007
Oil Liquid Handling Agreement     5/1/2008                        Liquid Handling Agreement                Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica

Amendment to Oil Liquid Handling 3/1/2011                         Amendment                                Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Agreement
Amendment to Oil Liquid Handling 11/1/2012 amended 12/1/2013      Amendment                                Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Agreement to transfer from
Apache Shelf, Inc. to Fieldwood
Energy LLC
Oil Liquids Agreement transferring 11/2/2010 amended effective    Amendment                                Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
from Apache Shelf, Inc. to         12/1/2014
Fieldwood Energy LLC
Oil Liquids Agreement transferring 11/2/2010 amended effective    Amendment                                Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
from Apache Shelf, Inc. to         12/1/2014
Fieldwood Energy LLC
Oil Liquids Agreement              11/1/2012                      Associated Liquids Transporation         Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
                                                                  Agreement Grand Chenier Terminal
Oil Liquids Agreement             11/1/2012                       Associated Liquids Transporation         Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
                                                                  Agreement Grand Chenier Terminal
Oil Liquids Separation and        6/1/2014                        Third Amendment to Liquids Separation     LSSA putting all Block on one contract by and between Fieldwood Energy Offshore LLC and
Stabilization Agreement                                           and Stabilization Agreement               Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                            L.L.C.
Oil Liquids Separation and        1/1/2015                        Fourth Amendment to Liquids Separation LSSA putting all Blocks on one contract by and between Fieldwood Energy Offshore LLC and
Stabilization Agreement                                           and Stabilization Agreement               Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                            L.L.C.
Oil Liquids Separation and        1/1/2015                        Fourth Amendment to Liquids Separation LSSA putting all Blocks on one contract by and between Fieldwood Energy Offshore LLC and
Stabilization Agreement                                           and Stabilization Agreement               Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                            L.L.C.
Oil Liquids Transporation         1/1/2015                        Second Amendment to Liquids               LTA by and between Fieldwood Energy Offshore LLC and Nautilus Pipeline Company, L.L.C. and
Agreement                                                         Transporation Agreement                   Nautilus Pipeline Company, L.L.C.
Oil Liquids Transporation         5/1/2015                        Amendment to Transportation               LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
Agreement                                                         Agreement                                 Pipeline Company, LLC
Oil Liquids Transporation         5/1/2015                        Transportation Agreement for              Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
Agreement                                                         Interruptible Service Under Rate Schedule Company, LLC and Sea Robin Pipeline Company, LLC
                                                                  ITS Between Sea Robin Pipeline Company,
                                                                  LLC and Fieldwood Energy LLC

Oil Liquids Transporation         5/1/2015                        Transportation Agreement for              Amendment No. 2 by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC
Agreement                                                         Interruptible Service Under Rate Schedule and Sea Robin Pipeline Company, LLC
                                                                  ITS Between Sea Robin Pipeline Company,
                                                                  LLC and Fieldwood Energy LLC

Oil Liquids Transporation         5/1/2015                        Transportation Agreement for              Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
Agreement                                                         Interruptible Service Under Rate Schedule Company, LLC and Sea Robin Pipeline Company, LLC
                                                                  ITS Between Sea Robin Pipeline Company,
                                                                  LLC and Fieldwood Energy LLC

Oil Liquids Transport             5/1/2015                        Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                  for Interruptible Service Under Rate    Company, LLC and Sea Robin Pipeline Company, LLC
                                                                  Schedule ITS between Sea Robin Pipeline
                                                                  Company, LLC and Fieldwood Energy LLC




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Oil Liquids Transport        5/1/2015                        Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                             for Interruptible Service Under Rate    Company, LLC and Sea Robin Pipeline Company, LLC
                                                             Schedule ITS between Sea Robin Pipeline
                                                             Company, LLC and Fieldwood Energy LLC

Oil Liquids Transport        5/1/2015                        Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                             for Interruptible Service Under Rate    Company, LLC and Sea Robin Pipeline Company, LLC
                                                             Schedule ITS between Sea Robin Pipeline
                                                             Company, LLC and Fieldwood Energy LLC

Oil Liquids Transport        5/1/2015                        Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                             for Interruptible Service Under Rate    Company, LLC and Sea Robin Pipeline Company, LLC
                                                             Schedule ITS between Sea Robin Pipeline
                                                             Company, LLC and Fieldwood Energy LLC

Oil Liquids Transport        5/1/2015                        Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                             for Interruptible Service Under Rate    Company, LLC and Sea Robin Pipeline Company, LLC
                                                             Schedule ITS between Sea Robin Pipeline
                                                             Company, LLC and Fieldwood Energy LLC

Oil Liquids Transport        2/1/2018                        Amendment No. 1 to Liquid Hydrocarbon LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                             Separation Agreement dated October 1, Pipeline Company, LLC
                                                             2004 between Trunkline field Services LLC
                                                             and Fieldwood Energy LLC‐Agreement No.
                                                             2430

Oil Liquids Transport        2/1/2018                        Amendment No. 1 to Liquid Hydrocarbon LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                             Separation Agreement dated October 1, Pipeline Company, LLC
                                                             2004 between Trunkline field Services LLC
                                                             and Fieldwood Energy LLC‐Agreement No.
                                                             2430

Oil Liquids Hydrocarbon      2/1/2018                        Amendment No. 1 to Liquids Hydrocarbon Liquid Hydrocarbon Transportation Agreement by and between Fieldwood Energy LLC and Sea
                                                             Transportation Agreement Dated October Robin Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                                                             1, 2004 between Sea Robin Pipeline
                                                             Company, LLC and Fieldwood Energy LLC‐
                                                             Agreement No. 2431

Oil Liquids Hydrocarbon      2/1/2018                        Amendment No. 1 to Liquids Hydrocarbon Liquid Hydrocarbon Transportation Agreement by and between Fieldwood Energy LLC and Sea
                                                             Transportation Agreement Dated October Robin Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                                                             1, 2004 between Sea Robin Pipeline
                                                             Company, LLC and Fieldwood Energy LLC‐
                                                             Agreement No. 2431

Oil Retrograde Condensate    9/1/2012                        Amendment No. 3 to Retrograde          Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                         Condensate Separation Agreement        Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate    9/1/2012                        Amendment No. 3 to Retrograde          Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                         Condensate Separation Agreement        Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate    9/1/2012                        Amendment No. 3 to Retrograde          Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                         Condensate Separation Agreement        Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate    5/1/2001                        Retrograde Condensate Separation       Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                         Agreement                              Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate    5/1/2001                        Retrograde Condensate Separation       Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                         Agreement                              Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate    3/1/2018                        Amendment No. 5 to Retrograde          Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                         Condensate Separation Agreement No.    Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                                                             2393
Oil Retrograde Condensate    3/1/2018                        Amendment No. 5 to Retrograde          Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                         Condensate Separation Agreement No.    Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                                                             2393
Oil Retrograde Condensate    3/1/2018                        Amendment No. 5 to Retrograde          Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                         Condensate Separation Agreement No.    Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                                                             2393
Oil Liquids Transportation   Start date 12/1/2013‐End Date   Rate Schedule ITS Interruptible        Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
Agreement                    1/1/2200                        Transportation Service                 Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transportation   Start date 5/1/2014‐End date    Amendment to Interruptible             Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
Agreement                    1/1/2200                        Transportation Agreement               Company, LLC and Sea Robin Pipeline Company, LLC
Crude Sales                  8/18/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0063                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/18/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0063                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/18/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0063                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/18/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0063                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/18/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0063                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/18/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0063                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/18/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0063                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/19/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0064                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/19/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0065                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/19/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0066                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/19/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0069                             Trading (US) Company and Shell Trading (US) Company

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Crude Sales            8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CL69LP0071                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CL69LP0071                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CL69LP0071                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/14/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CL69LP0062                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/14/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CL69LP0062                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/14/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CL69LP0062                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/13/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CLP0003971                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/13/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CLP0003971                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                     CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales            1/31/2014     Evergreen Lease Purchase        Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                     Chevron Products Company and Chevron Products Company
Crude Sales            1/30/2014     Evergreen Lease Purchase        Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                     Chevron Products Company and Chevron Products Company
Crude Sales            1/31/2014     Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                     Chevron Products Company and Chevron Products Company
Crude Sales            1/31/2014     Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                     Chevron Products Company and Chevron Products Company
Crude Sales            1/31/2014     Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                     Chevron Products Company and Chevron Products Company
Crude Sales            1/31/2014     Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                     Chevron Products Company and Chevron Products Company
Crude Sales            1/31/2014     Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                     Chevron Products Company and Chevron Products Company
Crude Sales            1/23/2014                                     ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                                     LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION

Crude Sales            1/23/2014                                     ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                                     LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION

Crude Sales            1/23/2014                                     ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                                     LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION

Crude Sales            1/23/2014                                     ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                                     LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION

Crude Sales            1/23/2014                                     ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                                     LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION

Crude Sales            1/23/2014                                     ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                                     LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION



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Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales/Purchase         6/1/1998     Crude Oil Purchase and Sale Agreement   Producers sell Crude Oil to Questor and Questor purchases Crude Oil from Producers. Producers
                                                                                  buy back a volume of Crude Oil at HIPS Segment III tie‐in equal to their monthly production sold
                                                                                  to Questor at the Platform. by and between Fieldwood Energy LLC and Questor Pipeline Venture
                                                                                  and Questor Pipeline Venture
MARKETING ‐ GAS PROCESSING   10/22/1976   CONSTRUCTION/OPERATING                  Agreement for the Construction and Operation of the Blue Water Gas Plant, Acadia Parish,
                                                                                  Louisiana by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                                                                  ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   7/1/2019     PROCESSING‐FEE                          between $.15 /mmbtu to $.10 /mmbtu depending on volume esc by and between Fieldwood
                                                                                  Energy LLC and Arrowhead Louisiana Pipeline, LLC and Arrowhead Louisiana Pipeline, LLC

MARKETING ‐ GAS PROCESSING   7/1/2019     PROCESSING‐FEE                          between $.15 /mmbtu to $.10 /mmbtu depending on volume esc by and between Fieldwood
                                                                                  Energy LLC and Arrowhead Louisiana Pipeline, LLC and Arrowhead Louisiana Pipeline, LLC

MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   8/1/2009     PROCESSING‐Greater of Fee or POL        80%/20% POL with a minimum $.13 /MMBtu by and between Fieldwood Energy LLC and Williams
                                                                                  Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING   12/1/2010    1st AMENDMENT                           80%/20% POL with a minimum $.13 /MMBtu by and between Fieldwood Energy LLC and Williams
                                                                                  Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING   11/5/2004    LETTER AGREEMENT‐ PROCESSING‐FEE        PTR KEEP WHOLE ‐fee=$.06 /MMBtu ‐ no liquids received by and between Fieldwood Energy LLC
                                                                                  and Williams Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING   2/1/2004     LETTER AGREEMENT‐ PROCESSING‐FEE        PTR KEEP WHOLE ‐fee=$.06 /MMBtu ‐ no liquids received by and between Fieldwood Energy LLC
                                                                                  and Williams Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING   9/1/2004     1st AMENDMENT PROCESSING‐FEE            PTR KEEP WHOLE ‐fee=$.06 /MMBtu ‐ no liquids received by and between Fieldwood Energy LLC
                                                                                  and Williams Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING   8/1/2004     LETTER AGREEMENT‐ PROCESSING‐FEE        PTR KEEP WHOLE ‐fee=$.06 /MMBtu ‐ no liquids received by and between Fieldwood Energy LLC
                                                                                  and Williams Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING   8/1/2005     GAS PROCESSING / CONDITIONING           GPM: <2=80%, 2‐3=82.5%, >3=85% by and between Fieldwood Energy LLC and DCP Midstream,
                                          AGREEMENT                               DCP Mobile Bay Processing, LLC and DCP Midstream, DCP Mobile Bay Processing, LLC

MARKETING ‐ GAS PROCESSING   8/1/2005     GAS PROCESSING / CONDITIONING           GPM: <2=80%, 2‐3=82.5%, >3=85% by and between Fieldwood Energy LLC and DCP Midstream,
                                          AGREEMENT                               DCP Mobile Bay Processing, LLC and DCP Midstream, DCP Mobile Bay Processing, LLC

MARKETING ‐ GAS PROCESSING   1/8/2019     GAS PROCESSING AGREEMENT‐FEE    $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                          Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/8/2019     GAS PROCESSING AGREEMENT‐FEE    $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                          Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   5/1/2009     PROCESSING AGREEMENT‐GREATER of 92/8% or $.08/MMBtu by and between Fieldwood Energy LLC and Plains Gas Solutions, LLC. and
                                          Fee or POL                      Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING   6/29/2010    PROCESSING AGREEMENT AMENDMENT‐ 92/8% or $.08/MMBtu by and between Fieldwood Energy LLC and Plains Gas Solutions, LLC. and
                                          GREATER of Fee or POL           Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING   10/1/2010    PROCESSING AGREEMENT‐GREATER of GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                          Fee or POL                      Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.

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MARKETING ‐ GAS PROCESSING   11/1/2010   PROCESSING AGREEMENT‐ 1ST         GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                         AMENDMENT‐GREATER of Fee or POL   Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING   7/24/2012   PROCESSING AGREEMENT‐ 2ND         GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                         AMENDMENT‐GREATER of Fee or POL   Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING   7/1/2011    GAS PROCESSING AGREEMENT          92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                                                           ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   1/1/2012    FIRST AMENDMENT ‐ GAS PROCESSING  92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                         AGREEMENT                         ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   7/1/2011    GAS PROCESSING AGREEMENT          92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                                                           ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   1/19/2012   FIRST AMENDMENT ‐ GAS PROCESSING  92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                         AGREEMENT                         ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   1/19/2012   GAS PROCESSING AGREEMENT‐POL      92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                                                           ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   1/19/2012   GAS PROCESSING AGREEMENT‐POL      92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                                                           ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   2/17/2014   FIRST AMENDMENT TO GAS PROCESSING 92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                         AGREEMENT                         ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   2/17/2014   FIRST AMENDMENT TO GAS PROCESSING 92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                         AGREEMENT                         ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   11/9/2004   GAS PROCESSING AGREEMENT          85/15% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                           Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/8/2007    FIRST AMENDMENT TO GAS PROCESSING 85/15% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                         AGREEMENT                         Gas Processing LLC
MARKETING ‐ GAS PROCESSING   4/1/2010    GAS PROCESSING AGREEMENT          85/15% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                           Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/12/2011   GAS PROCESSING AGREEMENT          85/15% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                           Gas Processing LLC
MARKETING ‐ GAS PROCESSING   4/1/2011    GAS PROCESSING AGREEMENT          85/15% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                           Gas Processing LLC
MARKETING ‐ GAS PROCESSING   3/16/2004   GAS PROCESSING AGREEMENT          87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                           Gas Processing LLC
MARKETING ‐ GAS PROCESSING   3/16/2004   GAS PROCESSING AGREEMENT          87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                           Gas Processing LLC
MARKETING ‐ GAS PROCESSING   3/1/2005    FIRST AMENDMENT TO GAS PROCESSING 87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                         AGREEMENT                         Gas Processing LLC
MARKETING ‐ GAS PROCESSING   3/1/2005    FIRST AMENDMENT TO GAS PROCESSING 87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                         AGREEMENT                         Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/1/2009    THIRD AMENDMENT TO GAS PROCESSING 87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                         AGREEMENT                         Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/1/2009    THIRD AMENDMENT TO GAS PROCESSING 87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                         AGREEMENT                         Gas Processing LLC
MARKETING ‐ GAS PROCESSING   7/1/1970    CONSTRUCTION/OPERATING (NI)       Agreement for the Construction and Operation of the Toca Gas Processing Plant, St. Bernard
                                                                           Parish, Louisiana by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                           Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   7/1/1970    CONSTRUCTION/OPERATING (NI)       Agreement for the Construction and Operation of the Toca Gas Processing Plant, St. Bernard
                                                                           Parish, Louisiana by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                           Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   7/25/2014   RATIFICATION AND ADOPTION OF C&O  Ratificaton to the Agreement for the Construction and Operation of the Toca Gas Processing
                                         AGREEMENT                         Plant, St. Bernard Parish, Louisiana by and between Fieldwood Energy LLC and Enterprise Gas
                                                                           Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   7/25/2014   RATIFICATION AND ADOPTION OF C&O  Ratificaton to the Agreement for the Construction and Operation of the Toca Gas Processing
                                         AGREEMENT                         Plant, St. Bernard Parish, Louisiana by and between Fieldwood Energy LLC and Enterprise Gas
                                                                           Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/1/1998    GAS PROCESSING AGREEMENT‐         POL= 85%/15% by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                         AMENDMENT‐ POL                    TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   1/1/1998    GAS PROCESSING AGREEMENT‐         POL= 85%/15% by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                         AMENDMENT‐ POL                    TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   5/1/2010    GAS PROCESSING AGREEMENT‐         POL= 85%/15% by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                         AMENDMENT‐ POL                    TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   5/1/2010    GAS PROCESSING AGREEMENT‐         POL= 85%/15% by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                         AMENDMENT‐ POL                    TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   5/1/2011    GAS PROCESSING AGREEMENT‐         POL= 85%/15% by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                         AMENDMENT‐ POL                    TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   5/1/2011    GAS PROCESSING AGREEMENT‐         POL= 85%/15% by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                         AMENDMENT‐ POL                    TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   9/1/2005    POL ‐GAS PROCESSING AGREEMENT     POL DEPENDENT ON GPm by and between Fieldwood Energy LLC and TARGA MIDSTREAM
                                                                           SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   9/1/2005    POL ‐GAS PROCESSING AGREEMENT     POL DEPENDENT ON GPm by and between Fieldwood Energy LLC and TARGA MIDSTREAM
                                                                           SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   9/1/2006    POL ‐GAS PROCESSING AGREEMENT     POL= 85%/15% by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                           TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   9/1/2011    POL ‐GAS PROCESSING AGREEMENT‐    POL DEPENDENT ON GPM PLU FEE ‐ 77%/23% ‐$.12026 by and between Fieldwood Energy LLC
                                         AMENDMENT                         and TARGA MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   3/15/2020   GREATER OF FEE OR POL ‐ GAS       GREATER OF FEE OR POL 85%/15% OR $.15 / MMBTU PLUS dgs FEE by and between Fieldwood
                                         PROCESSING AGREEMENT              Energy LLC and TARGA MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP

MARKETING ‐ GAS PROCESSING   1/1/2012    FEE GAS PROCESSING AGREEMENT          FEE ‐ .08005 /MCF (SUBJECT TO gdp (NEVER LESS THAT .075 OR GRATER THAN $.12 /MCF by and
                                                                               between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas Processing
                                                                               LLC
MARKETING ‐ GAS PROCESSING   1/1/2012    FEE GAS PROCESSING AGREEMENT          FEE ‐ .08005 /MCF (SUBJECT TO gdp (NEVER LESS THAT .075 OR GRATER THAN $.12 /MCF by and
                                                                               between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas Processing
                                                                               LLC
MARKETING ‐ GAS PROCESSING   8/1/2009    FEE GAS PROCESSING AGREEMENT          FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC
                                                                               and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   8/1/2009    FEE GAS PROCESSING AGREEMENT          FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC
                                                                               and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   8/1/2009    FEE GAS PROCESSING AGREEMENT          FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC
                                                                               and Enterprise Gas Processing LLC

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MARKETING ‐ GAS PROCESSING   8/1/2009     FEE GAS PROCESSING AGREEMENT         FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC
                                                                               and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   8/1/2009     FEE GAS PROCESSING AGREEMENT         FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC
                                                                               and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/18/2012    FEE GAS PROCESSING AGREEMENT ‐       FEE ‐ .0800 PER MCF ‐ ESCALATOR ADDED by and between Fieldwood Energy LLC and Enterprise
                                          AMENDMENT                            Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/18/2012    FEE GAS PROCESSING AGREEMENT ‐       FEE ‐ .0800 PER MCF ‐ ESCALATOR ADDED by and between Fieldwood Energy LLC and Enterprise
                                          AMENDMENT                            Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/18/2012    FEE GAS PROCESSING AGREEMENT ‐       FEE ‐ .0800 PER MCF ‐ ESCALATOR ADDED by and between Fieldwood Energy LLC and Enterprise
                                          AMENDMENT                            Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/18/2012    FEE GAS PROCESSING AGREEMENT ‐       FEE ‐ .0800 PER MCF ‐ ESCALATOR ADDED by and between Fieldwood Energy LLC and Enterprise
                                          AMENDMENT                            Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/18/2012    FEE GAS PROCESSING AGREEMENT ‐       FEE ‐ .0800 PER MCF ‐ ESCALATOR ADDED by and between Fieldwood Energy LLC and Enterprise
                                          AMENDMENT                            Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   10/1/2012    POL‐ GAS PROCESSING AGREEMENT        pol 85% 15% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   10/1/2012    Gas processing Raw make purchase     Gas processing Raw make purchase by and between Fieldwood Energy LLC and Enterprise Gas
                                                                               Processing LLC and Enterprise Gas Processing LLC
Environmental/Govt           6/24/2019    Master Services Contract             – IT and Consulting Support for the HWCG ‐ Fieldwood Portal for Various Exercises
Environmental/Govt           10/2/2019    Software License Agreement           IT and Consulting Support for the HWCG ‐ Fieldwood Portal for Various Exercises
Environmental/Govt           11/19/2018   Master Service Contract              Regulatory
Environmental/Govt           11/1/2013    Master Services Contract             Platform Audits / BSEE Drawings
Environmental/Govt           10/30/2019   Master Client Agreement              Industry Standards, Analytics, and Research / Subscription Service
Environmental/Govt           11/15/2019   Order Form                           Industry Standards, Analytics, and Research / Subscription Service
Land                         4/1/1981     Unit Agreement No. 14‐08‐001‐20231   Unit Agreement for the C‐6/JS Sand, effective April 1,1981, between. Arco Oil and
                                                                               Gas,Company;,Getty Oil Company, Cities Service Company, Hamilton Brothers Oil Company,
                                                                               Mobil Oil. Exploration &>. Producing S.E. Inc., Gulf Oil Corporation, Hunt Oil Company, Highland
                                                                               Resources, Inc., Hunt; lndustries, and Prosper Energy Corporation.; Unit No. 891020231




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                                   Exhibit III-G

None




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Cash and other balances to be determined at effective date

Surety Bonds in favor of FWE Survivor:
   DATE    BOND NO.              Amount                 Lease                                      PARTIES                                            SURETY                   BENEFICIARY
 10/17/18 SUR0049418           $631,130            ROW OCS‐G16039   Talos Gulf Coast Oﬀshore LLC; W&TOﬀshore Inc.; Bandon Oil and Gas, LP   Argonaut Insurance Company   Bandon Oil and Gas, LP
 10/17/18 SUR0049419         $3,455,326              OCS‐G 11881    Talos Gulf Coast Oﬀshore LLC; W&TOﬀshore Inc.; Bandon Oil and Gas, LP   Argonaut Insurance Company   Bandon Oil and Gas, LP
  2/13/18 1149839              $500,000              OCS‐G19760                         Northstar Offshore Ventures LLC                      Lexon Insurance Company      Fieldwood Energy LLC
  2/13/18 1149840               $50,000              OCS‐G19761                         Northstar Offshore Ventures LLC                      Lexon Insurance Company      Fieldwood Energy LLC




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                                  Exhibit 5A
                    Attachment to Plan of Merger (Exhibit 5)

                       Certificate of Merger (TX) (FWE)




                [Exhibit to Apache Term Sheet Implementation Agreement]
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                                    CERTIFICATE OF MERGER
                              (DOMESTIC ENTITY DIVISIONAL MERGER)
                                              OF
                                    FIELDWOOD ENERGY LLC


                                                  [•], 2021

      Pursuant to Title 1, Chapter 10 and Title 3 of the Texas Business Organizations Code (the
“TBOC”), the undersigned, Fieldwood Energy, LLC, a Texas limited liability company
(“FWE”), submits this certificate of merger for the purpose of dividing itself into a surviving
domestic entity and one new domestic entity, and hereby certifies the following:

       FIRST: The name of the domestic filing entity that is dividing itself is Fieldwood
Energy, LLC.

       SECOND: The principal place of business of FWE is 2000 W Sam Houston Pkwy S
#1200, Houston, TX 77042.

           THIRD: The filing number issued to FWE by the Secretary of State of the State of Texas
is E*]1.

           FOURTH: FWE is organized as a limited liability company.

       FIFTH: FWE shall survive the merger and shall maintain its separate existence and
continue as a filing entity under the name “Fieldwood Energy III LLC” (“FWE III”).

           SIXTH: In lieu of providing the plan of merger, the filing entity certifies that:

           (i) An executed copy of the Agreement and Plan of Merger, dated as of [•], 2021
           (the “Plan of Merger”), of FWE is on file at the principal place of business of each
           surviving and new domestic entity provided in this form.

           (ii) On written request, a copy of the Plan of Merger will be furnished without cost by
           each surviving or new domestic entity to any member of any domestic entity that is a
           party to or created by the Plan of Merger, and any creditor or obligee of the parties to the
           merger at the time of the merger if a liability or obligation is then outstanding.

       SEVENTH: The certificate of formation of FWE shall continue to be the certificate of
formation of FWE following the merger, provided that the certificate of formation of FWE shall
be amended to change the name of such entity to “Fieldwood Energy III, LLC”.

       EIGHTH: The name, jurisdiction of organization, principal place of business address,
and entity description of the entity to be created pursuant to the plan of merger are set forth

1 Note to Draft: to be assigned upon conversion of FWE to a Texas LLC.




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below. The certificate of formation of the new domestic filing entity to be created is being filed
with this certificate of merger.

         Name: Fieldwood Energy I LLC

          Entity Description: limited liability company

          Jurisdiction of Organization: Texas

          Principal place of business: [•].

      NINTH: The Plan of Merger has been approved, adopted, certified, executed and
acknowledged as required by the TBOC and the governing documents of the filing entity.

       TENTH: This document shall be effective when the document is accepted and filed by
the Secretary of State of the State of Texas.

        ELEVENTH: In lieu of providing the tax certificate, FWE III shall continue to be liable
for the payment of all required franchise taxes of FWE III.




                                                          2
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       IN WITNESS WHEREOF, the undersigned has caused this certificate of merger to be
duly executed as of the date first set forth above.



                                                 FIELDWOOD ENERGY, LLC
                                                 a Texas limited liability company


                                                 By:
                                                 Name:
                                                 Title:




                         [SIGNATURE PAGE TO CERTIFICATE OF MERGER]



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                                  Exhibit 5B
                    Attachment to Plan of Merger (Exhibit 5)

            Certificate of Formation (TX) (Fieldwood Energy I LLC)




                [Exhibit to Apache Term Sheet Implementation Agreement]
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                                                                                                                          This space reserved for office use.
                  Form 205
                  (Revised 05/11)

                  Submit in duplicate to:
                  Secretary of State
                  P.O. Box 13697                                       Certificate of Formation
                  Austin, TX 78711-3697                                Limited Liability Company
                  512 463-5555
                  FAX: 512 463-5709
                  Filing Fee: $300

                                                                     Article 1 - Entity Name and Type

                  The filing entity being formed is a limited liability company. The name of the entity is:

                 FIELD WOOD ENERGY I LLC
                  The name must contain the words “limited liability company,” “limited company,” or an abbreviation of one of these phrases.

                                                         Article 2 - Registered Agent and Registered Office
                                                           (See instructions. Select and complete either A or B and complete C.)
                  |X| A. The initial registered agent is an organization (cannot be entity named above) by the name of:
                                                                    CAPITOL CORPORATE SERVICES. INC.________________________________________________________
                  OR
                  □ B. The initial registered agent is an individual resident of the state whose name is set forth below:

                  First Name                                             M.I.                     Last Name                                         Suffix

                  C. The business address of the registered agent and the registered office address is:
                 206 E, 9TH STREET. SUITE 1300___________ AUSTIN                                                               TX          78701
                  Street Address                          City                                                                 State        Zip Code

                                                                      Article 3—Governing Authority
                                              (Select and complete either A or B and provide the name and address of each governing person.)

                  [X| A. The limited liability company will have managers. The name and address of each initial
                  manager are set forth below.
                  □ B. The limited liability company will not have managers. The company will be governed by its
                  members, and the name and address of each initial member are set forth below.
                  GOVERNING PERSON 1_____________________________
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                            M.I.          Last Name                                            Suffix
                          OR
                          IF ORGANIZATION



                      Organization Name
                  ADDRESS


                  Street or Mailing Address                                            City                                State       Country   Zip Code

                Form 205                                                                      4


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                  GOVERNING PERSON 2_____________________________
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                       M.I.            Last Name                        Suffix
                          OR
                          IF ORGANIZATION


                      Organization Name
                  ADDRESS


                  Street or Mailing Address                                         City                State   Country   Zip Code

                  GOVERNING PERSON 3_____________________________
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                       M.I.            Last Name                        Suffix
                          OR
                          IF ORGANIZATION


                      Organization Name
                  ADDRESS


                  Street or Mailing Address                                         City                State   Country   Zip Code


                                                                             Article 4 - Purpose

                  The purpose for which the company is formed is for the transaction of any and all lawful purposes for
                  which a limited liability company may be organized under the Texas Business Organizations Code.

                                                               Supplemental Provisions/Information
                  Text Area: [The attached addendum, if any, is incorporated herein by reference.]

                 The entity is fonned pursuant to a plan of merger. The name of the merging entity is Fieldwood Energy LLC.

                 The address of the converting entity is 2000 W. Sam Houston Pkwy. S., Suite 1200, Houston, Texas 77042.

                 The merging entity was fonned on 11/5/2012 under the laws of the State of Delaware, USA.

                 The merging entity was previously a Delaware limited liability company. The merger entity converted to a Texas limited
                 liability company on [ ]/[ ]/2021.




                Form 205                                                                   5

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                                                                        Organizer

                  The name and address of the organizer:


                  Name



                  Street or Mailing Address                                          City                           State   Zip Code


                                                     Effectiveness of Filing (Select either A, B, or C.)

                  A.         This document becomes effective when the document is filed by the secretary of state.
                  B.     This document becomes effective at a later date, which is not more than ninety (90) days from
                  the date of signing. The delayed effective date is:
                  C. |X] This document takes effect upon the occurrence of the future event or fact, other than the
                  passage of time. The 90th day after the date of signing is:
                  The following event or fact will cause the document to take effect in the manner described below:
                 the filing of the certificate of merger of Fieldwood Energy LLC with the Secretary of State of Texas.




                                                                        Execution

                The undersigned affirms that the person designated as registered agent has consented to the
                appointment. The undersigned signs this document subject to the penalties imposed by law for the
                submission of a materially false or fraudulent instrument and certifies under penalty of perjury that the
                undersigned is authorized to execute the filing instrument.

                Date:


                                                                          Signature of organizer


                                                                          Printed or typed name of organizer




                                                                                                                   Print               Reset




                Form 205                                                       6

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                                      Exhibit 6

                     Fieldwood Energy I LLC Agreement




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                     LIMITED LIABILITY COMPANY AGREEMENT

                                         OF
                           FIELDWOOD ENERGY I LLC
                          (a Texas Limited Liability Company)


                                       [•], 2020




THE MEMBERSHIP INTERESTS REFERENCED IN THIS LIMITED LIABILITY
COMPANY AGREEMENT HAVE BEEN ACQUIRED FOR INVESTMENT AND HAVE
NOT BEEN REGISTERED UNDER THE U.S. SECURITIES ACT OF 1933, AS
AMENDED, OR UNDER ANY APPLICABLE STATE SECURITIES LAWS. SUCH
MEMBERSHIP INTERESTS MAY NOT BE SOLD, ASSIGNED, PLEDGED,
HYPOTHECATED OR OTHERWISE DISPOSED OF AT ANY TIME WITHOUT
EFFECTIVE REGISTRATION UNDER SUCH ACT AND LAWS OR EXEMPTION
THEREFROM, AS WELL AS COMPLIANCE WITH THE OTHER SUBSTANTIAL
RESTRICTIONS ON TRANSFERABILITY THAT ARE SET FORTH HEREIN.




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                      LIMITED LIABILITY COMPANY AGREEMENT OF
                               FIELDWOOD ENERGY I LLC

         This Limited Liability Company Agreement of Fieldwood Energy I LLC, a Texas limited
liability company (the “Company”), dated as of [•], 2020 (this “Agreement”), is entered into by
and among the Company, the Initial Member1 executing this Agreement as of the date hereof, and
each other Person who after the date hereof becomes a Member of the Company and becomes a
party to this Agreement by executing a joinder agreement in form and substance acceptable to the
Company. Capitalized terms not defined where used in this Agreement shall have the meanings
assigned to such terms in ARTICLE I of this Agreement.
                                                  RECITALS

       WHEREAS, the Company was formed under the laws of the State of Texas by the filing
of a Certificate of Formation with the Secretary of State of the State of Texas on [•], 2020 (the
“Certificate of Formation”) for the purposes set forth in Section 2.05 of this Agreement;

        WHEREAS, pursuant to and in accordance with the Confirmation Order and the Term
Sheet, respectively, and as a result of a divisive merger pursuant to § 10.008 of the BOC, the
Company will own (i) the Legacy Apache Properties subject to the operational liabilities in
connection therewith, including plugging and abandonment and decommissioning liabilities
relating to the Legacy Apache Properties, and (ii) the equity interests of GOM Shelf;

         WHEREAS, in accordance with the Term Sheet, [•] has been appointed to serve as the
initial Independent Director of the Company in accordance with this Agreement; and

       WHEREAS, the Initial Member wishes to enter into this Agreement to set forth the terms
and conditions governing the operation and management of the Company;

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
hereinafter set forth and for other good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, the parties hereto agree as follows:

                                                 ARTICLE I
                                                DEFINITIONS

       Section 1.01 Definitions. Capitalized terms used herein and not otherwise defined shall
have the meanings set forth in this Section 1.01:

          “Acceptance Notice” has the meaning set forth in Section 7.09.




1 NTD: Please confirm identity of Initial Member and the equity holders of the Initial Member.

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       “Adjusted Capital Account Deficit” means, with respect to any Member, the deficit
balance, if any, in such Member’s Capital Account as of the end of the relevant Fiscal Year, after
giving effect to the following adjustments:

                 (a)      crediting to such Capital Account any amount that such Member is
          obligated to restore or is deemed to be obligated to restore pursuant to Treasury Regulations
          Sections 1.704-1(b)(2)(ii)(c), 1.704-2(g)(1) and 1.704-2(i); and

                 (b)    debiting to such Capital Account the items described in Treasury
          Regulations Section 1.704-1(b)(2)(ii)(d)(4), (5) and (6).

        “Adjusted Taxable Income” of a Member, or if the Member is disregarded for U.S.
federal income tax purposes, the members or beneficiaries of such Member, for a Fiscal Year (or
portion thereof) with respect to the Membership Interest held by such Member means the federal
taxable income allocated by the Company to the Member with respect to its Membership Interest
(as adjusted by any final determination in connection with any tax audit or other proceeding) for
such Fiscal Year (or portion thereof); provided, that such taxable income shall be computed (i)
minus any excess taxable loss of the Company for any prior period allocable to such Member with
respect to its Membership Interest that were not previously taken into account for purposes of
determining such Member’s Adjusted Taxable Income in a prior Fiscal Year to the extent such
loss would be available under the Code to offset income of the Member (or, as appropriate, the
direct or indirect owners of the Member) determined as if the income and loss from the Company
were the only income and loss of the Member (or, as appropriate, the direct or indirect owners of
the Member) in such Fiscal Year and all prior Fiscal Years, and (ii) taking into account any special
basis adjustment with respect to such Member resulting from an election by the Company under
Code Section 754.

        “Affiliate” means, with respect to any Person, any other Person who, directly or indirectly
(including through one or more intermediaries), controls, is controlled by, or is under common
control with, such Person. For purposes of this definition, “control,” when used with respect to
any specified Person, shall mean the power, direct or indirect, to direct or cause the direction of
the management and policies of such Person, whether through ownership of voting securities or
partnership or other ownership interests, by contract or otherwise; and the terms “controlling” and
“controlled” shall have correlative meanings. For the avoidance of doubt, neither Apache nor any
of its Subsidiaries nor Fieldwood II nor any of its Subsidiaries shall constitute an Affiliate of the
Company.

          “Agreement” has the meaning set forth in the Preamble.

        “Apache” means Apache Corporation, a Delaware corporation, and its successors or
assigns.

        “Applicable Law” means all applicable provisions of (a) constitutions, treaties, statutes,
laws (including the common law), rules, regulations, decrees, ordinances, codes, proclamations,
declarations, or orders of any Governmental Authority; (b) any consents or approvals of any
Governmental Authority; and (c) any orders, decisions, advisory or interpretative opinions,
injunctions, judgments, awards, decrees of, or agreements with, any Governmental Authority.
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          “Approved Providers” has the meaning set forth in Section 7.02(a).

       “BOC” means the Texas Business Organizations Code, as amended and in effect at the
time of this Agreement.

         “Book Depreciation” means, with respect to any Company asset for each Fiscal Year, the
Company’s depreciation, amortization, or other cost recovery deductions determined for federal
income tax purposes, except that if the Book Value of an asset differs from its adjusted tax basis
at the beginning of such Fiscal Year, Book Depreciation shall be (a) if such difference is being
eliminated by use of the remedial method under Treasury Regulations Section 1.704-3(d), the
amount of book basis recovered for such period under the rules prescribed by Treasury Regulations
Section 1.704-3(d)(2), or (b) if the remedial method is not used, an amount which bears the same
ratio to such beginning Book Value as the federal income tax depreciation, amortization, or other
cost recovery deduction for such Fiscal Year bears to such beginning adjusted tax basis; provided,
that if the adjusted basis for federal income tax purposes of an asset at the beginning of such Fiscal
Year is zero and the Book Value of the asset is positive, Book Depreciation shall be determined
with reference to such beginning Book Value using any permitted method selected by the Sole
Manager in accordance with Treasury Regulations Section 1.704-1(b)(2)(iv)(g)(3).

        “Book Value” means, with respect to any Company asset, the adjusted basis of such asset
for federal income tax purposes, except as follows:

                 (a)     the initial Book Value of any Company asset contributed by a Member to
          the Company shall be the gross Fair Market Value of such Company asset as of the date of
          such contribution;

                  (b)     immediately before the distribution by the Company of any Company asset
          to a Member, the Book Value of such asset shall be adjusted to its gross Fair Market Value
          as of the date of such distribution;

                 (c)    the Book Value of all Company assets may, in the sole discretion of the Sole
          Manager, be adjusted to equal their respective gross Fair Market Values, as reasonably
          determined by the Sole Manager, as of the following times:

                         (i)    the acquisition of an additional Membership Interest in the
                 Company by a new or existing Member in consideration for more than a de minimis
                 Capital Contribution;

                        (ii)  the distribution by the Company to a Member of more than a
                 de minimis amount of property (other than cash) as consideration for all or a part of
                 such Member’s Membership Interest in the Company; and

                        (iii)  the liquidation of the Company within the meaning of Treasury
                 Regulations Section 1.704-1(b)(2)(ii)(g);

                  (d)   the Book Value of each Company asset shall be increased or decreased, as
          the case may be, to reflect any adjustments to the adjusted tax basis of such Company asset

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          pursuant to Code Section 734(b) or Code Section 743(b), but only to the extent that such
          adjustments are taken into account in determining Capital Account balances pursuant to
          Treasury Regulations Section 1.704-1(b)(2)(iv)(m); provided, that Book Values shall not
          be adjusted pursuant to this paragraph (d) to the extent that an adjustment pursuant to
          paragraph (c) above is made in conjunction with a transaction that would otherwise result
          in an adjustment pursuant to this paragraph (d); and

                  (e)    if the Book Value of a Company asset has been determined pursuant to
          paragraph (a) or adjusted pursuant to paragraphs (c) or (d) above, such Book Value shall
          thereafter be adjusted to reflect the Book Depreciation taken into account with respect to
          such Company asset for purposes of computing Net Income and Net Losses.

     “Business Day” means a day other than a Saturday, Sunday or other day on which
commercial banks in the State of Texas are authorized or required to close.

          “Capital Account” has the meaning set forth in Section 3.03.

       “Capital Contribution” means, for any Member, the total amount of cash and cash
equivalents and the Book Value of any property contributed to the Company by such Member.

          “Certificate of Formation” has the meaning set forth in the Recitals.

        “Certificate of Termination” means a certificate to be filed upon completion of the
winding up and liquidation of the Company as set forth in Section 11.04, which certificate shall
be in the form required by § 11.101 of the BOC.

          “Code” means the Internal Revenue Code of 1986, as amended.

          “Company” has the meaning set forth in the Preamble.

       “Company Minimum Gain” means “partnership minimum gain” as defined in Treasury
Regulations Section 1.704-2(b)(2), substituting the term “Company” for the term “partnership” as
the context requires.

          “Confidential Information” has the meaning set forth in Section 12.03(a).

        “Confirmation Order” means the confirmation order entered in Chapter 11 Case 20­
33948, In re: Fieldwood Energy LLC, etal, in the United States Bankruptcy Court for the Southern
District of Texas, Houston Division, in form and substance reasonably acceptable to Apache.

          “Continuance” has the meaning set forth in Section 11.01.

          “Covered Person” has the meaning set forth in Section 9.01(a).

       “Decommissioning Agreement” means that certain Decommissioning Agreement, dated
as of September 30, 2013, by and among Apache Corporation, Apache Shelf, Inc., Apache
Deepwater LLC, Apache Shelf Exploration LLC, Fieldwood Energy LLC and GOM Shelf LLC,
as amended by (i) the First Amendment thereto dated as of September 30, 2013, (ii) the Second
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Amendment thereto dated as of September 30, 2013, (iii) the Third Amendment thereto dated
effective as of April 25, 2017, (iv) the Fourth Amendment thereto dated effective as of
September 1, 2017, as amended by that certain Letter Agreement dated January 3, 2018, and (v) the
Fifth Amendment thereto dated effective as of April 11, 2018.

       “Decommissioning Security” means the funds available from Trust A, the letters of credit,
and the bonds from time to time outstanding pursuant to the Decommissioning Agreement or
documents or instruments related thereto.

        “Depletable Property” means each separate oil and gas property as defined in Section 614
of the Code.

        “Divisive Merger Documents” means the certificate of division, the plan of division, the
certificate of merger, and other documents filed by or on behalf of Fieldwood with respect to the
Company with the Texas Secretary of State related to the creation of the Company.

        “Electronic Transmission” means any form of communication, including communication
by use of or participation in one or more electronic networks or databases, not directly involving
the physical transmission of paper that creates a record that may be retained, retrieved, and
reviewed by a recipient thereof and that may be directly reproduced in paper form by such a
recipient through an automated process.

        “Equity Securities” means any and all Membership Interests of the Company and any
securities of the Company convertible into, exchangeable for, or exercisable for, such Membership
Interests, and warrants or other rights to acquire such Membership Interests.

        “Estimated Tax Amount” of a Member, or if the Member is disregarded for U.S. federal
income tax purposes, the members or beneficiaries of such Member, for a Fiscal Year means the
Member’s Tax Amount for such Fiscal Year as estimated in good faith from time to time by the
Sole Manager. In making such estimate, the Sole Manager shall take into account amounts shown
on Internal Revenue Service Form 1065 filed by the Company and similar state or local forms filed
by the Company for the preceding taxable year and such other adjustments as the Sole Manager
reasonably determines are necessary or appropriate to reflect the estimated operations of the
Company for the Fiscal Year.

          “Excess Amount” has the meaning set forth in Section 6.02(c).

        “Fair Market Value” of any asset as of any date means the purchase price that a willing
buyer having all relevant knowledge would pay a willing seller for such asset in an arm’s length
transaction, as determined in good faith by the Sole Manager on such factors as the Sole Manager,
in the exercise of his or her reasonable business judgment, considers relevant.

       “Fieldwood” means Fieldwood Energy LLC, a Texas limited liability company, and its
successors and assigns (excluding, for the avoidance of doubt, the Company).




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      “[Fieldwood II” means [Fieldwood Energy II LLC], a [Delaware] limited liability
company]2, and its successors and assigns.

        “Fiscal Year” means the calendar year, unless the Company is required to have a taxable
year other than the calendar year, in which case Fiscal Year shall be the period that conforms to
its taxable year.

        “GAAP” means generally accepted accounting principles in the United States of America
in effect from time to time; provided, that, notwithstanding any term or provision contained in this
Agreement, GAAP will be deemed for all purposes hereof to treat leases that would have not been
considered to be indebtedness in accordance with GAAP as in effect on December 31, 2017
(whether such leases were in effect on such date or are entered into thereafter) in a manner
consistent with the treatment of such leases under GAAP as in effect on December 31, 2017,
notwithstanding any modification or interpretative changes thereto or implementations of any such
modifications or interpretative changes that may have occurred thereafter.

       “GOM Shelf” means GOM Shelf LLC, a Delaware limited liability company, and its
successors and assigns.

          “GOM Shelf Properties” means those assets or properties owned by GOM Shelf.

        “Governmental Authority” means any federal, state, local, or foreign government or
political subdivision thereof, or any agency or instrumentality of such government or political
subdivision, or any self-regulated organization or other non-governmental regulatory authority or
quasi-governmental authority (to the extent that the rules, regulations, or orders of such
organization or authority have the force of law), or any arbitrator, court, or tribunal of competent
jurisdiction.

       “Independent Director” means, initially, [•], or such other Person as may be designated
or become the Independent Director pursuant to the terms of this Agreement. The Independent
Director shall constitute a “manager” (as that term is defined in the BOC) of the Company.

          “Information Notice” has the meaning set forth in Section 7.09.

          “Initial Member” has the meaning set forth in the term Member.

       “Farmout Agreement” means that certain Farmout Agreement of even date herewith by
and between the Company and Fieldwood II.

       “Legacy Apache Properties” means the list of assets set forth on Schedule I to the Plan
of Merger.




2 NTD: Name to be confirmed.
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        “Legacy Apache Properties PSA” means that Purchase and Sale Agreement, dated as of
July 18, 2013, between Apache and certain of its affiliates, Fieldwood and certain of its affiliates,
and GOM Shelf, as such agreement has been amended.

      “Lien” means any mortgage, pledge, security interest, option, right of first offer,
encumbrance, or other restriction or limitation of any nature whatsoever.

          “Liquidator” has the meaning set forth in Section 11.03(a).

          “Losses” has the meaning set forth in Section 9.03(a).

        “Member” means (a) each Person identified on the Members Schedule as of the date hereof
as a Member and who has executed this Agreement or a counterpart thereof (each, an “Initial
Member”); and (b) each Person who is hereafter admitted as a Member in accordance with the
terms of this Agreement and the BOC, in each case so long as such Person is shown on the
Company’s books and records as the owner of Membership Interests. The Members shall
constitute “members” (as that term is defined in the BOC) of the Company.

       “Member Nonrecourse Debt” means “partner nonrecourse debt” as defined in Treasury
Regulations Section 1.704-2(b)(4), substituting the term “Company” for the term “partnership”
and the term “Member” for the term “partner” as the context requires.

       “Member Nonrecourse Debt Minimum Gain” means an amount, with respect to each
Member Nonrecourse Debt, equal to the Company Minimum Gain that would result if the Member
Nonrecourse Debt were treated as a Nonrecourse Liability, determined in accordance with
Treasury Regulations Section 1.704-2(i)(3).

       “Member Nonrecourse Deduction” means “partner nonrecourse deduction” as defined in
Treasury Regulations Section 1.704-2(i), substituting the term “Member” for the term “partner” as
the context requires.

          “Members Schedule” has the meaning set forth in Section 3.01.

        “Membership Interest” means an interest in the Company owned by a Member, including
such Member’s right (a) to its distributive share of Net Income, Net Losses, and other items of
income, gain, loss, and deduction of the Company; (b) to its distributive share of the assets of the
Company; (c) to vote on, consent to, or otherwise participate in any decision of the Members as
provided in this Agreement; and (d) to any and all other benefits to which such Member may be
entitled as provided in this Agreement or the BOC. The Membership Interest of each Member
shall be expressed as a percentage interest and shall be as set forth on the Members Schedule.

        “Net Income” and “Net Loss” mean, for each Fiscal Year or other period specified in this
Agreement, an amount equal to the Company’s taxable income or taxable loss, or particular items
thereof, determined in accordance with Code Section 703(a) (where, for this purpose, all items of
income, gain, loss, or deduction required to be stated separately pursuant to Code Section 703(a)(1)
shall be included in taxable income or taxable loss), but with the following adjustments:


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                  (f)     any income realized by the Company that is exempt from federal income
          taxation, as described in Code Section 705(a)(1)(B), shall be added to such taxable income
          or taxable loss, notwithstanding that such income is not includable in gross income;

                   (g)   any expenditures of the Company described in Code Section 705(a)(2)(B),
           including any items treated under Treasury Regulations Section 1.704-1(b)(2)(iv)(I) as
           items described in Code Section 705(a)(2)(B), shall be subtracted from such taxable
           income or taxable loss, notwithstanding that such expenditures are not deductible for
           federal income tax purposes;

                  (h)    any gain or loss (including Simulated Gain) resulting from any disposition
          of Company property with respect to which gain or loss is recognized for federal income
          tax purposes shall be computed by reference to the Book Value of the property so disposed,
          notwithstanding that the adjusted tax basis of such property differs from its Book Value;

                  (i)     any items of depreciation, amortization, and other cost recovery deductions
          with respect to Company property having a Book Value that differs from its adjusted tax
          basis shall be computed by reference to the property’s Book Value (as adjusted for Book
          Depreciation) in accordance with Treasury Regulations Section 1.704-1(b)(2)(iv)(g);

                   (j)     if the Book Value of any Company property is adjusted as provided in the
           definition of Book Value, then the amount of such adjustment shall be treated as an item
           of gain or loss and included in the computation of such taxable income or taxable loss;

                   (k)   to the extent an adjustment to the adjusted tax basis of any Company
           property pursuant to Code Sections 732(d), 734(b) or 743(b) is required, pursuant to
           Treasury Regulations Section 1.704 1(b)(2)(iv)(m), to be taken into account in determining
           Capital Accounts, the amount of such adjustment to the Capital Accounts shall be treated
           as an item of gain (if the adjustment increases the basis of the asset) or loss (if the
           adjustment decreases such basis); and

                   (l)     any items which are specially allocated pursuant to Section 5.02 hereof shall
           not be taken into account in computing Net Income or Net Loss. The amounts of the items
           of Company income, gain, loss or deduction available to be specially allocated pursuant to
           Section 5.02 hereof shall be determined by applying rules analogous to those set forth in
           subparagraphs (a) through (f) above.

        “Nonrecourse Deductions” has the meaning set forth in Treasury Regulations Section
 1.704-2(b).

           “Nonrecourse Liability” has the meaning set forth in Treasury Regulations Section 1.704-
2(b)(3).

      “Person” means an individual, corporation, partnership, joint venture, limited liability
company, Governmental Authority, unincorporated organization, trust, association, or other entity.



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        “Plan of Merger” means the Agreement and Plan of Merger of Fieldwood Energy LLC
into Fieldwood Energy I LLC and Fieldwood Energy III LLC, dated as of [•], 2021, and adopted
by Fieldwood Energy LLC, a Texas limited liability company.

       “Plan of Reorganization” means the plan of reorganization of Fieldwood that was
included in, and was confirmed by, the Confirmation Order.

          “Qualified Person” has the meaning set forth in Section 7.02(a).

         “Quarterly Estimated Tax Amount” of a Member, or if the Member is disregarded for
U.S. federal income tax purposes, the members or beneficiaries of such Member, for any calendar
quarter of a Fiscal Year means the excess, if any of: (a) the product of (i) a quarter (1/4) in the case
of the first calendar quarter of the Fiscal Year, half (1/2) in the case of the second calendar quarter
of the Fiscal Year, three-quarters (3/4) in the case of the third calendar quarter of the Fiscal Year,
and one (1) in the case of the fourth calendar quarter of the Fiscal Year and (ii) the Member’s
Estimated Tax Amount for such Fiscal Year; over (b) all distributions previously made during such
Fiscal Year to such Member.

       “Recharacterization Mortgages” has the meaning assigned to such term in Section 6.7 of
the Decommissioning Agreement.

          “Regulatory Allocations” has the meaning set forth in Section 5.02(f).

          “Rejection Notice” has the meaning set forth in Section 7.09.

       “Related Party Agreement” means any agreement, arrangement, or understanding
between or among the Company or any of its Affiliates, on the one hand, and the Independent
Director, the Sole Manager or any member or officer of the Company or any of its Affiliates, or
any Affiliate of the Independent Director, the Sole Manager or any member or officer of the
Company or any of its Affiliates; in each case, as such agreement may be amended, modified,
supplemented, or restated in accordance with the terms of this Agreement.

       “Representative” means, with respect to any Person, any and all directors, officers,
employees, consultants, financial advisors or lenders, counsel, accountants, and other agents of
such Person.

       “Restructuring Support Agreement” means the Restructuring Support Agreement, dated
as of August 4, 2020, by and among (i) Fieldwood Energy LLC, a Delaware limited liability
company, and including the Fieldwood PSA Parties (as defined therein); (ii) the Consenting FLTL
Lenders (as defined therein); (iii) the Consenting SLTL Lenders (as defined therein); and
(iv) Apache.

        “Securities Act” means the Securities Act of 1933, as amended, and the rules and
regulations thereunder, which shall be in effect at the time.

          “Service Provider” has the meaning set forth in Section 7.04.


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          “Service Provider Agreement” has the meaning set forth in Section 7.04.

          “Shortfall Amount” has the meaning set forth in Section 6.02(b).

       “Simulated Basis” means, with respect to each Depletable Property, the Book Value of
such property.

       “Simulated Depletion” means, with respect to each Depletable Property, a depletion
allowance computed in accordance with U.S. federal income tax principles (as if the Simulated
Basis of the property were its adjusted tax basis and using simulated cost depletion) and in the
manner specified in Treasury Regulations Section 1.704-1(b)(2)(iv)(k)(2), provided that the
Simulated Depletion with respect to a Depletable Property shall in no event exceed the Simulated
Basis of such Depletable Property.

        “Simulated Gain or Loss” means the simulated gain or loss computed with respect to a
sale or other disposition of any Depletable Property pursuant to Treasury Regulations Section
1.704-1(b)(2)(iv)(k)(2).

          “Sole Manager” has the meaning set forth in Section 7.01.

        “Standby Facility” means a secured line of credit to be provided by Apache to the
Company and GOM Shelf to fund the ongoing plugging and abandonment and decommissioning
of the Legacy Apache Properties and the GOM Shelf Properties, which shall become available to
advance funds to the Company and for use in accordance with the Standby Facility Documentation.
The Standby Facility shall be secured by a first-priority lien on all the assets of the Company
(including all of the equity interests of GOM Shelf) and on all the GOM Shelf Properties, provided
that such lien shall also secure the obligations of the Company to Apache under the
Decommissioning Agreement.

        “Standby Facility Documentation” means the Standby Loan Agreement, dated as of
[•], 2020, by and between the Company and GOM Shelf, as borrowers, and Apache, as lender,
and all of the other agreements, documents and instruments related thereto governing or setting
forth terms and conditions of the Standby Facility or of the loans/borrowings made thereunder.

       “Subsidiary” means, with respect to any Person, any other Person of which a majority of
the outstanding shares or other equity interests having the power to vote for directors or
comparable managers are owned, directly or indirectly, by the first Person.

          “Tax Advance” has the meaning set forth in Section 6.02(a).

        “Tax Amount” of a Member, or if the Member is disregarded for U.S. federal income tax
purposes, the members or beneficiaries of such Member, for a Fiscal Year means the product of
(a) the Tax Rate for such Fiscal Year and (b) the Adjusted Taxable Income of the Member for such
Fiscal Year with respect to its Membership Interest.

          “Tax Matters Representative” has the meaning set forth in Section 10.04(a).


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        “Tax Rate” of a Member, or if the Member is disregarded for U.S. federal income tax
purposes, the members or beneficiaries of such Member, for any period, means the highest
effective marginal combined federal, state, and local tax rate applicable to an individual residing
in Houston, Texas (or, if higher, a corporation doing business in Houston, Texas), taking into
account (a) the character (for example, long-term or short-term capital gain, ordinary, or exempt)
of the applicable income and (b) if applicable, the deduction under IRC Section 199A.

          “Taxing Authority” has the meaning set forth in Section 6.03(b).

        “Term Sheet” means that certain term sheet, dated July 31, 2020, among Fieldwood and
certain of its Affiliates, on the one hand, and Apache and certain of its Affiliates, on the other hand.

        “Transfer” means to, directly or indirectly, sell, transfer, assign, gift, pledge, encumber,
hypothecate, or similarly dispose of, either voluntarily or involuntarily, by operation of law or
otherwise, or to enter into any contract, option, or other arrangement or understanding with respect
to the sale, transfer, assignment, gift, pledge, encumbrance, hypothecation, or similar disposition
of, any Membership Interests owned by a Person or any interest (including a beneficial interest) in
any Membership Interests owned by a Person. “Transfer” when used as a noun shall have a
correlative meaning. “Transferor” and “Transferee” mean a Person who makes or receives a
Transfer, respectively.

       “Transition Services Agreement” means the transition services agreement in form and
substance attached hereto as Exhibit A.

        “Treasury Regulations” means the final or temporary regulations issued by the United
States Department of Treasury pursuant to its authority under the Code, and any successor
regulations.

          “Trust A” means the Fieldwood Decommissioning Trust A, a Delaware statutory trust.

          “Withholding Advances” has the meaning set forth in Section 6.03(b).

       Section 1.02 Interpretation. For purposes of this Agreement: (a) the words “include,”
“includes,” and “including” shall be deemed to be followed by the words “without limitation”; (b)
the word “or” is not exclusive; and (c) the words “herein,” “hereof,” “hereby,” “hereto,” and
“hereunder” refer to this Agreement as a whole.

        The definitions given for any defined terms in this Agreement shall apply equally to both
the singular and plural forms of the terms defined. Whenever the context may require, any pronoun
shall include the corresponding masculine, feminine, and neuter forms.

        Unless the context otherwise requires, references herein: (x) to Articles, Sections, Exhibits,
and Schedules mean the Articles and Sections of, and Exhibits and Schedules attached to, this
Agreement; (y) to an agreement, instrument, or other document means such agreement, instrument,
or other document as amended, supplemented, and modified from time to time to the extent
permitted by the provisions thereof; and (z) to a statute means such statute as amended from time
to time and includes any successor legislation thereto and any regulations promulgated thereunder.

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        This Agreement shall be construed without regard to any presumption or rule requiring
construction or interpretation against the party drafting an instrument or causing any instrument to
be drafted.

         The Exhibits and Schedules referred to herein shall be construed with, and as an integral
part of, this Agreement to the same extent as if they were set forth verbatim herein.

        The headings in this Agreement are for reference only and shall not affect the interpretation
of this Agreement.

                                           ARTICLE II
                                         ORGANIZATION

          Section 2.01 Formation.

                  (a)     The Company was formed on [•], 2020, pursuant to the provisions of the
          BOC, upon the filing, or constructive filing with the Divisive Merger Documents, of the
          Certificate of Formation with the Secretary of State of the State of Texas.

                  (b)     This Agreement shall constitute the “company agreement” (as that term is
          used in the BOC) of the Company. The rights, powers, duties, obligations, and liabilities
          of the Members, the Sole Manager and the Independent Director shall be determined
          pursuant to the BOC and this Agreement. To the extent that the rights, powers, duties,
          obligations, and liabilities of any Member, the Sole Manager or the Independent Director
          are different by reason of any provision of this Agreement than they would be under the
          BOC in the absence of such provision, this Agreement shall, to the extent permitted by the
          BOC, control.

        Section 2.02 Name. The name of the Company is “Fieldwood Energy I LLC” or such
other name or names as may be designated by the Sole Manager; provided, that the name shall
always contain the words “Limited Liability Company” or “Limited Company” or an abbreviation
of one of those phrases. Amendments to the Certificate of Formation or this Agreement to reflect
any such name change may be made by the Sole Manager without the consent of the Members.
The Sole Manager shall give prompt notice to the Members of any change to the name of the
Company and any related amendment to the Certificate of Formation or this Agreement. The
Company may conduct business under any assumed or fictitious name required by Applicable Law
or otherwise deemed desirable by the Sole Manager.

        Section 2.03 Principal Office. The principal office of the Company is located at [•], or
such other place as may from time to time be determined by the Sole Manager. The Sole Manager
shall give prompt notice of any such change to each of the Members and Apache.

          Section 2.04 Registered Office; Registered Agent.

                  (a)    The registered office of the Company shall be the office of the initial
          registered agent named in the Certificate of Formation or such other office (which need not


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          be a place of business of the Company) as the Sole Manager may designate from time to
          time in the manner provided by the BOC and Applicable Law.

                  (b)    The registered agent for service of process on the Company in the State of
          Texas shall be the initial registered agent named in the Certificate of Formation or such
          other Person or Persons as the Sole Manager may designate from time to time in the manner
          provided by the BOC and Applicable Law.

          Section 2.05 Purposes; Powers.

                 (a)     The purposes of the Company are to engage in the acquisition, disposition,
          ownership, operation, plugging and abandonment, and decommissioning of the Legacy
          Apache Properties and to cause GOM Shelf to engage in the acquisition, disposition,
          ownership, operation, plugging and abandonment, and decommissioning of the GOM Shelf
          Properties, and to engage in any and all activities necessary or incidental to the foregoing
          purposes.

                  (b)     At the date of this Agreement, the Company has no assets other than (i) the
          Legacy Apache Properties, including any accounts receivable associated with the Legacy
          Apache Properties accruing after the effective date of the Plan of Reorganization and any
          cash flow generated from the Legacy Apache Properties after the effective date of the Plan
          of Reorganization (such cash flow shall be reinvested and used to fund operating
          expenditures, to fund plugging and abandonment and decommissioning activities
          associated with the Legacy Apache Properties and the GOM Shelf Properties, to fund
          capital expenditures on the Legacy Apache Properties approved and authorized in
          accordance with this Agreement, and to repay amounts outstanding, if any, under the
          Standby Facility); (ii) 100% of the limited liability company interests or other equity
          interests in GOM Shelf; and (iii) the initial capitalization provided by Fieldwood pursuant
          to the divisive merger in an amount equal to $50 million minus the actual plugging and
          abandonment and decommissioning expenses incurred by Fieldwood between the date of
          its bankruptcy petition filing on August 3, 2020, and the effective date of the Plan of
          Reorganization.

                  (c)      At the date of this Agreement, the Company has no liabilities other than
          (i) operational liabilities accruing after the effective date of the Plan of Reorganization
          (including any accounts payable associated with the Legacy Apache Properties accruing
          after the effective date of the Plan of Reorganization), (ii) plugging and abandonment and
          decommissioning liabilities and obligations (A) relating to the Legacy Apache Properties
          and (B) of GOM Shelf relating to the GOM Shelf Properties, (iii) obligations under the
          Decommissioning Agreement and the Legacy Apache Properties PSA, and (iv) obligations
          under the Standby Facility Documentation.

                  (d)    The Company shall have all the powers necessary or convenient to carry
          out the purposes for which it is formed, including the powers granted by the BOC.



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       Section 2.06 Term. The term of the Company commenced on the date the Certificate of
Formation was filed with the Secretary of State of the State of Texas and shall continue in existence
perpetually until the Company is terminated in accordance with the provisions of this Agreement.

                                      ARTICLE III
                       CAPITAL CONTRIBUTIONS; CAPITAL ACCOUNTS

        Section 3.01 Initial Capital Contributions. Contemporaneously with the execution of
this Agreement, and pursuant to the Plan of Reorganization and as a result of a divisive merger
pursuant to § 10.008 of the BOC, the Company shall have the property and assets identified in
clauses (i) through (iii) in Section 2.05(b), which shall constitute the aggregate Capital
Contributions made by the Initial Member. The Initial Member shall own Membership Interests
in the amount set forth opposite such Member’s name on Schedule A attached hereto (the
“Members Schedule”). From and after the date of this Agreement, the Sole Manager shall
maintain and update the Members Schedule upon the issuance or Transfer of any Membership
Interests to any new or existing Member in accordance with this Agreement.

        Section 3.02 Additional Capital Contributions. No Member shall be required to make
any additional Capital Contributions to the Company. Any future Capital Contributions made by
any Member shall only be made with the consent of the Sole Manager and, in connection with an
issuance of additional Membership Interests, made in compliance with Section 7.06(e). To the
extent that a Member makes an additional Capital Contribution to the Company, the Sole Manager
shall revise the Members Schedule to reflect an increase in the Membership Interest of the
contributing Member that fairly and equitably reflects the value of its additional Capital
Contribution in relation to the aggregate amount of all Capital Contributions made by the
Members.

       Section 3.03 Maintenance of Capital Accounts. The Company shall establish and
maintain for each Member a separate capital account (a “Capital Account”) on its books and
records in accordance with this Section 3.03. Each Capital Account shall be established and
maintained in accordance with the following provisions:

                 (a)     Each Member’s Capital Account shall be increased by the amount of:

                         (i)    such Member’s Capital Contributions, including such Member’s
                initial Capital Contribution and any additional Capital Contributions;

                     (ii)   any Net Income or other item of income or gain allocated to such
                Member pursuant to ARTICLE V; and

                        (iii)  any liabilities of the Company that are assumed by such Member or
                 secured by any property distributed to such Member.

                 (b)     Each Member’s Capital Account shall be decreased by:

                     (i)    the cash amount or Book Value of any property distributed to such
                Member pursuant to ARTICLE VI and Section 11.03(d);

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                         (ii)   the amount of any Net Loss or other item of loss or deduction
                 allocated to such Member pursuant to ARTICLE V; and

                      (iii)   the amount of any liabilities of such Member assumed by the
                 Company or that are secured by any property contributed by such Member to the
                 Company.

        Section 3.04 Succession Upon Transfer. In the event that any Membership Interests are
Transferred in accordance with the terms of this Agreement, the Transferee shall succeed to the
Capital Account of the Transferor to the extent it relates to the Transferred Membership Interests
and, subject to Section 5.04, shall receive allocations and distributions pursuant to ARTICLE V,
ARTICLE VI, and ARTICLE XI in respect of such Membership Interests.

        Section 3.05 Negative Capital Accounts. In the event that any Member shall have a
deficit balance in its Capital Account, such Member shall have no obligation, during the term of
the Company or upon termination or liquidation thereof, to restore such negative balance or make
any Capital Contributions to the Company by reason thereof, except as may be required by
Applicable Law or in respect of any negative balance resulting from a withdrawal of capital or
termination in contravention of this Agreement.

        Section 3.06 No Withdrawals from Capital Accounts. No Member shall be entitled to
withdraw any part of its Capital Account or to receive any distribution from the Company, except
as otherwise provided in this Agreement. No Member shall receive any interest, salary, or drawing
with respect to its Capital Contributions or its Capital Account, except as otherwise provided in
this Agreement. The Capital Accounts are maintained for the sole purpose of allocating items of
income, gain, loss, and deduction among the Members and shall have no effect on the amount of
any distributions to any Members, in liquidation or otherwise.

       Section 3.07 Treatment of Loans from Members. Loans by any Member to the
Company shall not be considered Capital Contributions and shall not affect the maintenance of
such Member’s Capital Account, other than to the extent provided in Section 3.03(a)(iii), if
applicable.

       Section 3.08 Modifications. The foregoing provisions and the other provisions of this
Agreement relating to the maintenance of Capital Accounts are intended to comply with Treasury
Regulations Section 1.704-1(b) and shall be interpreted and applied in a manner consistent with
such Treasury Regulations. If the Sole Manager determines that it is prudent to modify the manner
in which the Capital Accounts, or any increases or decreases to the Capital Accounts, are computed
in order to comply with such Treasury Regulations, the Sole Manager may authorize such
modifications without the consent of any Member.

                                         ARTICLE IV
                                          MEMBERS

        Section 4.01 No Personal Liability. Except as otherwise provided in the BOC, by
Applicable Law, or expressly in this Agreement, no Member will be obligated personally for any
debt, obligation, or liability of the Company or other Members, whether arising in contract, tort,
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or otherwise, including a debt, obligation, or liability under a judgment, decree, or order of a court,
solely by reason of being a Member.

        Section 4.02 No Withdrawal. So long as a Member continues to hold a Membership
Interest, such Member shall not have the ability to withdraw or resign as a Member prior to the
winding up and termination of the Company and any such withdrawal or resignation or attempted
withdrawal or resignation by a Member prior to the winding up and termination of the Company
shall be null and void. As soon as any Person who is a Member ceases to hold a Membership
Interest, such Person shall no longer be a Member.

         Section 4.03 No Interest in Company Property. No real or personal property of the
Company shall be deemed to be owned by any Member individually, but shall be owned by, and
title shall be vested solely in, the Company. Without limiting the foregoing, each Member hereby
irrevocably waives during the term of the Company any right that such Member may have to
maintain any action for partition with respect to the property of the Company.

          Section 4.04 Certification of Membership Interests.

               (a)     The Sole Manager may, but shall not be required to, issue certificates to the
          Members representing the Membership Interests held by such Member.

                 (b)    In the event that the Sole Manager shall issue certificates representing
          Membership Interests in accordance with Section 4.04(a), then in addition to any other
          legend required by Applicable Law, all certificates representing issued and outstanding
          Membership Interests shall bear a legend substantially in the following form:

                 THE MEMBERSHIP INTEREST REPRESENTED BY THIS
                 CERTIFICATE IS SUBJECT TO A LIMITED LIABILITY COMPANY
                 AGREEMENT AMONG THE COMPANY AND ITS MEMBERS, A
                 COPY OF WHICH IS ON FILE AT THE PRINCIPAL EXECUTIVE
                 OFFICE OF THE COMPANY. NO TRANSFER, SALE, ASSIGNMENT,
                 GIFT, PLEDGE, HYPOTHECATION, ENCUMBRANCE, OR OTHER
                 DISPOSITION OF THE MEMBERSHIP INTEREST REPRESENTED
                 BY THIS CERTIFICATE MAY BE MADE EXCEPT IN ACCORDANCE
                 WITH THE PROVISIONS OF SUCH COMPANY AGREEMENT.

                 THE MEMBERSHIP INTEREST REPRESENTED BY THIS
                 CERTIFICATE HAS NOT BEEN REGISTERED UNDER THE
                 SECURITIES ACT OF 1933, AS AMENDED, OR UNDER ANY OTHER
                 APPLICABLE SECURITIES LAWS AND MAY NOT BE
                 TRANSFERRED,    SOLD,     ASSIGNED,  GIFTED,  PLEDGED,
                 HYPOTHECATED,     OR     OTHERWISE   DISPOSED   EXCEPT
                 PURSUANT TO (A) A REGISTRATION STATEMENT EFFECTIVE
                 UNDER SUCH ACT AND LAWS, OR (B) AN EXEMPTION FROM
                 REGISTRATION THEREUNDER.


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          Section 4.05 Meetings of Members.

               (a)     Meetings of the Members may be called by (i) the Sole Manager or (ii) a
          Member or group of Members holding a majority of the Membership Interests.

                 (b)     Written notice stating the place, date, and time of the meeting and, in the
          case of a meeting of the Members not regularly scheduled, describing the purposes for
          which the meeting is called, shall be delivered not fewer than ten days and not more than
          60 days before the date of the meeting to each Member, by or at the direction of the Sole
          Manager or the Member(s) calling the meeting, as the case may be. The Members may
          hold meetings at the Company’s principal office or at such other place, within or outside
          the State of Texas, as the Sole Manager or the Member(s) calling the meeting may
          designate in the notice for such meeting.

                  (c)     Any Member may participate in a meeting of the Members by means of
          conference telephone or other communications equipment by means of which all Persons
          participating in the meeting can talk to and hear each other, and participation in a meeting
          by such means shall constitute presence in person at such meeting.

                  (d)     On any matter that is to be voted on by Members, a Member may vote in
          person or by proxy, and such proxy may be granted in writing, by means of Electronic
          Transmission or as otherwise permitted by Applicable Law. Every proxy shall be
          revocable in the discretion of the Member executing it unless otherwise provided in such
          proxy; provided, that such right to revocation shall not invalidate or otherwise affect
          actions taken under such proxy prior to such revocation. In lieu of a proxy, a Member may
          grant an irrevocable power of attorney to conduct the affairs of such Member with respect
          to matters of the Company, including matters relating to the organization, internal affairs,
          or termination of the Company.

                 (e)     The business to be conducted at such meeting need not be limited to the
          purpose described in the notice and can include business to be conducted by Members;
          provided, that the appropriate Members shall have been notified of the meeting in
          accordance with Section 4.05(b). Attendance of a Member at any meeting shall constitute
          a waiver of notice of such meeting, except where a Member attends a meeting for the
          express purpose of objecting to the transaction of any business on the ground that the
          meeting is not lawfully called or convened.

                  (f)   A quorum of any meeting of the Members shall require the presence,
          whether in person or by proxy, of the Members holding a majority of the Membership
          Interests. Subject to Section 4.06, no action may be taken by the Members unless the
          appropriate quorum is present at a meeting.

                  (g)    Subject to Section 4.06, Section 7.05, Section 7.06 , Section 12.10 or any
          provision of this Agreement or the BOC requiring the vote, consent, or approval of a
          different percentage of the Membership Interests, no action may be taken by the Members
          at any meeting at which a quorum is present without the affirmative vote of the Members
          holding a majority of the outstanding Membership Interests.
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          Section 4.06 Action Without Meeting.

                  (a)   Notwithstanding the provisions of Section 4.05, any matter that is to be
          voted on, consented to, or approved by the Members may be taken without a meeting,
          without prior notice, and without a vote if consented to, in writing or by Electronic
          Transmission, by a Member or Members holding not less than the minimum number of
          votes that would be necessary to authorize or take such action at a meeting at which each
          Member entitled to vote on the action is present and votes. A record shall be maintained
          by the Sole Manager of each such action taken by written consent of a Member or
          Members.

                  (b)    A Member’s consent may not be established by a Member’s failure to object
          to an action in a timely manner or by any other means not explicitly provided for in this
          Agreement.

                   (c)    If any action or decision permitted by this Agreement to be taken or made
          by less than all of the Members is taken or made by a written consent signed by less than
          all of the Members, the Sole Manager shall, within ten calendar days after such action is
          taken or such decision is made, give written notice of the action taken or the decision made
          to the Members who did not sign the written consent.

        Section 4.07 Power of Members. The Members shall have the power to exercise any
and all rights or powers granted to Members pursuant to the express terms of this Agreement and
the BOC. Except as otherwise specifically provided by this Agreement or required by the BOC,
no Member, in its capacity as a Member, shall have the power to act for or on behalf of, or to bind,
the Company, other than to the extent that the Company has granted a power of attorney to such
Member to bind the Company on such actions.

        Section 4.08 Similar or Competitive Activities; Business Opportunities. Nothing
contained in this Agreement shall prevent any Member or any of its Affiliates from engaging in
any other activities or businesses, regardless of whether those activities or businesses are similar
to or competitive with the Company. None of the Members nor any of their Affiliates shall be
obligated to account to the Company or to the other Members for any profits or income earned or
derived from such other activities or businesses. None of the Members nor any of their Affiliates
shall be obligated to inform the Company or the other Members of a business opportunity of any
type or description.

                                           ARTICLE V
                                          ALLOCATIONS

        Section 5.01 Allocation of Net Income and Net Loss. For each Fiscal Year (or portion
thereof), after giving effect to the special allocations set forth in Section 5.02, Net Income and Net
Loss of the Company shall be allocated among the Members pro rata in accordance with their
Membership Interests.

       Section 5.02 Regulatory and Special Allocations. Notwithstanding the provisions of
Section 5.01:
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                  (a)     If there is a net decrease in Company Minimum Gain (determined according
          to Treasury Regulations Section 1.704-2(d)(1)) during any Fiscal Year, each Member shall
          be specially allocated Net Income for such Fiscal Year (and, if necessary, subsequent Fiscal
          Years) in an amount equal to such Member’s share of the net decrease in Company
          Minimum Gain, determined in accordance with Treasury Regulations Section 1.704-2(g).
          The items to be so allocated shall be determined in accordance with Treasury Regulations
          Sections 1.704-2(f)(6) and 1.704-2(j)(2). This Section 5.02(a) is intended to comply with
          the “minimum gain chargeback” requirement in Treasury Regulations Section 1.704-2(f)
          and shall be interpreted consistently therewith.

                  (b)    Member Nonrecourse Deductions shall be allocated in the manner required
          by Treasury Regulations Section 1.704-2(i). Except as otherwise provided in Treasury
          Regulations Section 1.704-2(i)(4), if there is a net decrease in Member Nonrecourse Debt
          Minimum Gain during any Fiscal Year, each Member that has a share of such Member
          Nonrecourse Debt Minimum Gain shall be specially allocated Net Income for such Fiscal
          Year (and, if necessary, subsequent Fiscal Years) in an amount equal to that Member’s
          share of the net decrease in Member Nonrecourse Debt Minimum Gain. Items to be
          allocated pursuant to this paragraph shall be determined in accordance with Treasury
          Regulations Sections 1.704-2(i)(4) and 1.704-2(j)(2). This Section 5.02(b) is intended to
          comply with the “minimum gain chargeback” requirement in Treasury Regulations Section
          1.704-2(i)(4) and shall be interpreted consistently therewith.

                  (c)   Nonrecourse Deductions shall be allocated to the Members in accordance
          with their Membership Interests.

                  (d)     In the event any Member unexpectedly receives any adjustments,
          allocations, or distributions described in Treasury Regulations Section 1.704-
          1(b)(2)(ii)(d)(4), (5) or (6), Net Income shall be specially allocated to such Member in an
          amount and manner sufficient to eliminate the Adjusted Capital Account Deficit created
          by such adjustments, allocations, or distributions as quickly as possible. This Section
          5.02(d) is intended to comply with the “qualified income offset” requirement in Treasury
          Regulations Section 1.704-1(b)(2)(ii)(d) and shall be interpreted consistently therewith.

                  (e)      Simulated Depletion and Simulated Loss with respect to any Depletable
          Property shall be allocated among the Members in proportion to their shares of the
          Simulated Basis in such property. Each Member’s share of the Simulated Basis in each of
          the Company’s Depletable Properties shall be allocated to each Member in accordance with
          such Member’s Membership Interest as of the time such Depletable Property is acquired
          by the Company, and shall be reallocated among the Members in accordance with the
          Members’ Membership Interest as determined immediately following the occurrence of an
          event giving rise to any adjustment to the Book Values of the Company’s oil and gas
          properties pursuant to the terms of this Agreement (or at the time of any material additions
          to the federal income tax basis of such Depletable Property).

                 (f)     The allocations set forth in subsections Section 5.02(a), Section 5.02(b),
          Section 5.02(c), Section 5.02(d) and Section 5.02(e) above (the “Regulatory Allocations”)

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          are intended to comply with certain requirements of the Treasury Regulations under Code
          Section 704. Notwithstanding any other provisions of this ARTICLE V (other than the
          Regulatory Allocations), the Regulatory Allocations shall be taken into account in
          allocating Net Income and Net Losses among Members so that, to the extent possible, the
          net amount of such allocations of Net Income and Net Losses and other items and the
          Regulatory Allocations to each Member shall be equal to the net amount that would have
          been allocated to such Member if the Regulatory Allocations had not occurred.

          Section 5.03 Tax Allocations.

                   (a)    Subject to Section 5.03(b), Section 5.03(c), and Section 5.03(d), all income,
          gains, losses and deductions of the Company shall be allocated, for federal, state, and local
          income tax purposes, among the Members in accordance with the allocation of such
          income, gains, losses, and deductions pursuant to Section 5.01 and Section 5.02, except
          that if any such allocation for tax purposes is not permitted by the Code or other Applicable
          Law, the Company’s subsequent income, gains, losses, and deductions shall be allocated
          among the Members for tax purposes, to the extent permitted by the Code and other
          Applicable Law, so as to reflect as nearly as possible the allocation set forth in Section 5.01
          and Section 5.02.

                 (b)    Items of Company taxable income, gain, loss, and deduction with respect to
          any property contributed to the capital of the Company shall be allocated among the
          Members in accordance with Code Section 704(c) using such reasonable method under
          Treasury Regulations Section 1.704-3 as shall be determined by the Sole Manager, so as
          to take account of any variation between the adjusted basis of such property to the
          Company for federal income tax purposes and its Book Value.

                  (c)     If the Book Value of any Company asset is adjusted pursuant to Treasury
          Regulations Section 1.704-1(b)(2)(iv)(f) as provided in Section 1.01(c) of the definition of
          Book Value, subsequent allocations of items of taxable income, gain, loss, and deduction
          with respect to such asset shall take account of any variation between the adjusted basis of
          such asset for federal income tax purposes and its Book Value using such reasonable
          method under Treasury Regulations Section 1.704-3 as shall be determined by the Sole
          Manager.

                  (d)     Allocations of tax credit, tax credit recapture, and any items related thereto
          shall be allocated to the Members according to their interests in such items as determined
          by the Sole Manager taking into account the principles of Treasury Regulations Section
          1.704-1(b)(4)(ii).

                 (e)     The deduction for depletion with respect to each separate oil and gas
          property (as defined in Section 614 of the Code) shall, in accordance with
          Section 613A(c)(7)(D) of the Code, be computed for federal income tax purposes
          separately by the Members rather than the Company. The proportionate share of the
          adjusted tax basis of each oil and gas property shall be allocated to each Member in
          accordance with such Member’s Membership Interest as of the time such oil and gas

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          property is acquired by the Company (and any additions to such U.S. federal income tax
          basis resulting from expenditures required to be capitalized in such basis shall be allocated
          among the Members in a manner designed to cause the Members’ proportionate shares of
          such adjusted U.S. federal income tax basis to be in accordance with their Membership
          Interests as determined at the time of any such additions), and shall be reallocated among
          the Members in accordance with the Members’ Membership Interests as determined
          immediately following the occurrence of an event giving rise to an adjustment to the Book
          Values of the Company’s oil and gas properties. For purposes of the separate computation
          of gain or loss by each Member on the taxable disposition of each oil and gas property, the
          amount realized from such disposition shall be allocated (i) first, to the Members in an
          amount equal to the Simulated Basis in such oil and gas property in proportion to their
          allocable shares thereof and (ii) second, any remaining amount realized shall be allocated
          consistent with the allocation of Simulated Gain. The allocations described in this Section
          5.03(e) are intended to be applied in accordance with the Members’ “interests in
          partnership capital” under Section 613A(c)(7)(D) or the Code; provided, however, that the
          Members understand and agree that the Sole Manager may authorize special allocations of
          federal income tax basis, income, gain, deduction or loss, as computed for U.S. federal
          income tax purposes, in order to eliminate differences between Simulated Basis and
          adjusted U.S. federal income tax basis with respect to each oil and gas property, in such
          manner as determined consistent with the principles outlined in Sections 5.03(b) and
          5.03(c). The provisions of this Section 5.03(e) and the other provisions of this Agreement
          relating to allocations under Section 613A(c)(7)(D) of the Code are intended to comply
          with Treasury Regulations Section 1.704-1(b)(4)(v) and shall be interpreted and applied in
          a manner consistent with such Treasury Regulations. Each Member, with the assistance of
          the Company, shall separately keep records of its share of the adjusted tax basis in each oil
          and gas property, adjust such share of the adjusted tax basis for any cost or percentage
          depletion allowable with respect to such property and use such adjusted tax basis in the
          computation of its cost depletion or in the computation of its gain or loss on the disposition
          of such property by the Company. Upon the reasonable request of the Company, each
          Member shall advise the Company of its adjusted tax basis in each oil and gas property and
          any depletion computed with respect thereto, both as computed in accordance with the
          provisions of this subsection for purposes of allowing the Company to make adjustments
          to the tax basis of its assets as a result of certain transfers of interests in the Company or
          distributions by the Company. The Company may rely on such information and, if it is not
          provided by the Member, may make such reasonable assumptions as it shall determine with
          respect thereto. When reasonably requested by the Members, the Company shall provide
          all available information needed by such Members to comply with the record keeping
          requirements of this Section 5.03(e) and other applicable tax reporting obligations.

                   (f)     Allocations pursuant to this Section 5.03 are solely for purposes of federal,
          state, and local taxes and shall not affect, or in any way be taken into account in computing,
          any Member’s Capital Account or share of Net Income, Net Losses, distributions, or other
          items pursuant to any provisions of this Agreement.

       Section 5.04 Allocations in Respect of Transferred Membership Interests. In the
event of a Transfer of Membership Interests during any Fiscal Year made in compliance with the

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provisions of ARTICLE VIII, Net Income, Net Losses, and other items of income, gain, loss, and
deduction of the Company attributable to such Membership Interests for such Fiscal Year shall be
determined using the interim closing of the books method.

                                            ARTICLE VI
                                          DISTRIBUTIONS

          Section 6.01 General.

                   (a)    Subject to Section 6.02, distributions of available cash shall be made to the
          Members when and in such amounts as determined by the Sole Manager and only
          following (i) payment of all operating expenses of the Company, including required
          payments under the Transition Services Agreement or the Service Provider Agreement,
          (ii) the repayment in full to Apache of any outstanding principal amounts borrowed by the
          Company under the Standby Facility and the payment of any accrued interest or premium
          thereon, in each case, pursuant to the Standby Facility Documentation, (iii) the
          reimbursement to Apache and its Affiliates for any and all costs and expenses incurred by
          Apache or any of its Affiliates (A) in performing services on behalf of the Company in
          connection with the Legacy Apache Properties or the GOM Shelf Properties pursuant to a
          services contract between Apache or any of its Affiliates and the Company, (B) pursuant
          to the penultimate sentence of Section 12.01 in connection with evaluating any matter
          specified in Section 7.06 for which Apache’s consent is requested or required or any
          proposal for prospective funding of capital expenditures pursuant to Section 7.09, and
          (C) pursuant to or as may be required in connection with the Decommissioning Agreement
          or plugging and abandonment and decommissioning of the Legacy Apache Properties or
          the GOM Shelf Properties, unless otherwise reimbursed in accordance with the
          Decommissioning Agreement, and (iv) the cessation of all production from, and
          completion of all plugging and abandonment and decommissioning activities on, the
          Legacy Apache Properties and the GOM Shelf Properties. After making all distributions
          required for a given Fiscal Year under Section 6.02 and repaying/paying all amounts then
          due and outstanding under the Standby Facility as described in the preceding sentence,
          distributions determined to be made by the Sole Manager pursuant to this Section 6.01(a)
          shall be paid to the Members in accordance with their respective Membership Interests.

                 (b)     Notwithstanding any provision to the contrary contained in this Agreement,
          the Company shall not make any distribution to the Members (i) prior to the cessation of
          all production from, and completion of all plugging and abandonment and
          decommissioning activities on, the Legacy Apache Properties and the GOM Shelf
          Properties, except as provided in Section 6.02, or (ii) if such distribution would violate
          § 101.206 of the BOC or other Applicable Law.

          Section 6.02 Tax Advances.

                   (a)     Subject to (i) any restrictions in the Company’s then applicable debt­
          financing arrangements, including, but not limited to, the Standby Facility Documentation,
          (ii) the prior repayment in full to Apache of any outstanding principal amounts borrowed

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          by the Company under the Standby Facility and the payment of any accrued interest or
          premium thereon, in each case, pursuant to the Standby Facility Documentation, (iii) the
          prior reimbursement to Apache and its Affiliates for any and all costs and expenses
          incurred by Apache or any of its Affiliates (A) in performing services on behalf of the
          Company in connection with the Legacy Apache Properties or the GOM Shelf Properties
          pursuant to a services contract between Apache or any of its Affiliates and the Company,
          (B) pursuant to the penultimate sentence of Section 12.01 in connection with evaluating
          any matter specified in Section 7.06 for which Apache’s consent is requested or required
          or any proposal for prospective funding of capital expenditures pursuant to Section 7.09,
          and (C) pursuant to or as may be required in connection with the Decommissioning
          Agreement or plugging and abandonment and decommissioning of the Legacy Apache
          Properties or the GOM Shelf Properties, unless otherwise reimbursed in accordance with
          the Decommissioning Agreement, (iv) the prior cessation of all production from, and
          completion of all plugging and abandonment and decommissioning activities on, the
          Legacy Apache Properties and the GOM Shelf Properties, and (v) the Sole Manager’s
          determination to retain any other amounts necessary to satisfy the Company’s obligations,
          from and after such time, at least three days before each date prescribed by the Code for a
          calendar-year corporation to pay quarterly installments of estimated tax, the Company shall
          use commercially reasonable efforts to distribute cash to each Member in proportion to and
          to the extent of such Member’s Quarterly Estimated Tax Amount for the applicable
          calendar quarter (each such distribution, a “Tax Advance”).

                  (b)     If, at any time after the final Quarterly Estimated Tax Amount has been
          distributed pursuant to Section 6.02(a) with respect to any Fiscal Year, the aggregate Tax
          Advances to any Member with respect to such Fiscal Year are less than such Member’s
          Tax Amount for such Fiscal Year (a “Shortfall Amount”), the Company shall use
          commercially reasonable efforts to distribute cash in proportion to and to the extent of each
          Member’s Shortfall Amount. The Company shall use commercially reasonable efforts to
          distribute Shortfall Amounts with respect to a Fiscal Year before the 90th day of the next
          succeeding Fiscal Year; provided, that if the Company has made distributions other than
          pursuant to this Section 6.02, the Sole Manager may apply such distributions to reduce any
          Shortfall Amount.

                  (c)    If the aggregate Tax Advances made to any Member pursuant to this Section
          6.02 for any Fiscal Year exceed such Member’s Tax Amount (an “Excess Amount”), such
          Excess Amount shall reduce subsequent Tax Advances that would be made to such
          Member pursuant to this Section 6.02, except to the extent taken into account as an advance
          pursuant to Section 6.02(d).

                 (d)     Any distributions made pursuant to this Section 6.02 shall be treated for
          purposes of this Agreement as advances on distributions pursuant to Section 6.01 and shall
          reduce, dollar-for-dollar, the amount otherwise distributable to such Member pursuant to
          Section 6.01.




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          Section 6.03 Tax Withholding; Withholding Advances.

                 (a)     Tax Withholding. Each Member agrees to furnish the Company with any
          representations and forms as shall be reasonably requested by the Company to assist it in
          determining the extent of, and in fulfilling, any withholding obligations it may have.

                  (b)      Withholding Advances. The Company is hereby authorized at all times to
          make payments (“Withholding Advances”) with respect to each Member in amounts
          required to discharge any obligation of the Company, including any obligation under
          Section 6225 of the Code (as determined by the Tax Matters Representative) based on the
          advice of legal or tax counsel to the Company) to withhold or make payments to any
          federal, state, local or foreign taxing authority (a “Taxing Authority”) with respect to any
          distribution or allocation by the Company of income or gain to such Member and to
          withhold the same from distributions to such Member. Any funds withheld from a
          distribution by reason of this Section 6.03(b) shall nonetheless be deemed distributed to
          the Member in question for all purposes under this Agreement. If the Company makes any
          Withholding Advance in respect of a Member hereunder that is not immediately withheld
          from actual distributions to the Member, then the Member shall promptly reimburse the
          Company for the amount of such payment, plus interest at a rate equal to the prime rate
          published in the Wall Street Journal on the date of payment plus two percent (2.0%) per
          annum, compounded annually, on such amount from the date of such payment until such
          amount is repaid (or deducted from a distribution) by the Member (any such payment shall
          not constitute a Capital Contribution). Each Member’s reimbursement obligation under
          this Section 6.03(b) shall continue after such Member transfers its Membership Interests.

                  (c)     Indemnification. Each Member hereby agrees to indemnify and hold
          harmless the Company and the other Members from and against any liability with respect
          to taxes, interest, or penalties that may be asserted by reason of the Company’s failure to
          deduct and withhold tax on amounts distributable or allocable to such Member. The
          provisions of this Section 6.03(c) and the obligations of a Member pursuant to Section
          6.03(b) shall survive the termination, dissolution, liquidation, and winding up of the
          Company and the withdrawal of such Member from the Company or Transfer of its
          Membership Interests. The Company may pursue and enforce all rights and remedies it
          may have against each Member under this Section 6.03, including bringing a lawsuit to
          collect repayment with interest of any Withholding Advances.

                  (d)    Overwithholding. None of the Company, the Sole Manager or the
          Independent Director shall be liable for any excess taxes withheld in respect of any
          distribution or allocation of income or gain to a Member. In the event of an
          overwithholding, a Member’s sole recourse shall be to apply for a refund from the
          appropriate Taxing Authority.

          Section 6.04 Distributions in Kind.

                 (a)    Subject to Sections 6.01 and 6.02, the Sole Manager is hereby authorized,
          as it may reasonably determine, to make distributions to the Members in the form of

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          securities or other property (but not including any oil and gas properties) held by the
          Company; provided, that Tax Advances shall only be made in cash. In any non-cash
          distribution, the securities or property so distributed will be distributed among the Members
          in the same proportion and priority as cash equal to the Fair Market Value of such securities
          or property would be distributed among the Members pursuant to Section 6.01.

                   (b)     Any distribution of securities shall be subject to such conditions and
          restrictions as the Sole Manager determines are required or advisable to ensure compliance
          with Applicable Law. In furtherance of the foregoing, the Sole Manager may require that
          the Members execute and deliver such documents as the Sole Manager may deem
          necessary or appropriate to ensure compliance with all federal and state securities laws that
          apply to such distribution and any further Transfer of the distributed securities, and may
          appropriately legend the certificates that represent such securities to reflect any restriction
          on Transfer with respect to such laws.

                                            ARTICLE VII
                                           MANAGEMENT

        Section 7.01 Management of the Company. The business and affairs of the Company
shall be managed, operated, and controlled by or under the direction of the Sole Manager (“Sole
Manager”). Subject to the provisions of Section 7.06, the Sole Manager shall have, and is hereby
granted, full and complete power, authority, and discretion for, on behalf of, and in the name of
the Company, to take such actions as it may deem necessary or advisable to carry out any and all
of the objectives and purposes of the Company.

          Section 7.02 Independent Director.

                   (a)     The Independent Director shall (i) be a natural person who is not, nor for
          the prior five years has been, a director, officer, employee, trade creditor or equityholder
          (or spouse, parent, sibling or child of any of the foregoing) of (A) Fieldwood or any
          Affiliate of Fieldwood or (B) any prior or current lender of Fieldwood (a natural person
          satisfying such condition set forth in this clause (i), a “Qualified Person”) and (ii) be
          provided by Citadel SPV, Global Securitization Services, LLC, Corporation Service
          Company, CT Corporation, [Lord Securities Corporation]3, Wilmington Trust Company,
          or, if none of those companies is then in the service of providing professional independent
          directors, another nationally recognized company selected by Fieldwood (or, following the
          divisive merger of Fieldwood pursuant to § 10.008 of the BOC, Fieldwood II) subject to
          Apache’s prior consent, which may be given or withheld in its sole discretion (such
          providers collectively, the “Approved Providers”). [•] is the Qualified Person provided
          by an Approved Provider that, as of the date of this Agreement, has been appointed to serve
          as the initial Independent Director and has also been approved to serve as the initial
          Independent Director for the Company in connection with the Confirmation Order entered




3 NTD: Does this entity still exist?
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          by the Bankruptcy Court for the Southern District of Texas before which the reorganization
          of Fieldwood was being conducted.

                  (b)    The Independent Director may not be removed without Apache’s prior
          written consent, which may be given or withheld in its sole discretion. If the Independent
          Director is removed with Apache’s written consent or the Independent Director resigns or
          otherwise ceases to serve in such capacity, then the Company (acting by majority vote of
          its Members) shall select another Qualified Person from the Approved Providers to serve
          as the Independent Director.

        Section 7.03 Sole Manager. The Company shall not have any officers or employees
other than a Sole Manager. In accordance with the procedure for the selection of the Sole Manager
set forth in the Term Sheet, [•] has been selected and designated to serve as the initial Sole
Manager. The Sole Manager may not be removed without Apache’s prior written consent, which
may be given or withheld in its sole discretion. In the event that the Sole Manager is removed
with Apache’s written consent or the Sole Manager resigns or otherwise ceases to serve in such
capacity, then the Sole Manager shall be selected pursuant to the following procedure: Apache
and the Company (acting through the Independent Director for all purposes under this Section
7.03, who shall solicit input from Fieldwood II for all purposes under this Section 7.03) shall each
provide the other with a list of three natural persons, each having a minimum of five years of
relevant experience in the energy sector; and if one or more names appear on both Apache’s and
the Company’s lists, then the Company will select, and the Member(s) shall cause the Company
to select, the new Sole Manager from those common names; if, however, there are no common
names between Apache’s and the Company’s lists, then Apache and the Company (acting through
the Independent Director, who shall solicit input from Fieldwood II) shall each have the right to
strike two names from the other’s list, and the new Sole Manager shall be selected by the
Independent Director from the remaining two names.

          Section 7.04 Service Provider.

                  (a)     Subject to the Transition Services Agreement described below in Section
          7.04(b), the Sole Manager shall hire one or more third-party service provider(s) (whether
          one or more, collectively, the “Service Provider”) to perform all operations and plugging
          and abandonment and decommissioning activities with respect to the Company’s and GOM
          Shelf’s properties or assets in a manner consistent with the procedures set forth in this
          Section 7.04. The Sole Manager shall solicit and obtain a bid for the work to be performed
          by each Service Provider from not less than three qualified candidates, each of which must
          (i) have a minimum of five years of relevant experience and (ii) not be, as of such date
          when bids are submitted, an Affiliate of Apache; such bids shall detail the scope, terms and
          conditions of the work to be performed, along with the price to be paid for the performance
          of such work. The Company shall share copies of each such bid received with Apache
          promptly following receipt thereof. Following the receipt of such bids, with Apache’s prior
          written consent (which may be given or withheld in its sole discretion), the Sole Manager
          shall select the candidate whose bid contains the lowest price and best terms for the work
          to be performed, in view of their relevant experience (all as determined in good faith by
          the Sole Manager and consented to by Apache), to serve as the Service Provider, and shall

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          cause the Company to enter into an agreement with such Service Provider (such agreement,
          a “Service Provider Agreement”) to provide services contemplated in this Section 7.04;
          provided that, immediately prior to executing such Service Provider Agreement, the Sole
          Manager shall have confirmed that the proposed Service Provider satisfies the candidate
          qualifications detailed in clause (ii) of the immediately prior sentence (as if being
          considered on the date of such Service Provider Agreement rather than the date when bids
          are submitted), and if the proposed Service Provider does not satisfy such candidate
          qualifications, the Sole Manager shall then reconsider the submitted bids and select another
          candidate in accordance with the requirements of this sentence as if the previously selected
          candidate had not submitted a bid. Any Service Provider Agreement shall be in such form
          and contain such terms as the Sole Manager determines in good faith to be appropriate and
          consistent with this Section 7.04. In the event that the Sole Manager elects to remove the
          Service Provider or the Service Provider otherwise ceases to provide its services in such
          capacity, then the Sole Manager shall again bid out the work, and shall select the Person to
          serve as the successor Service Provider, in accordance with the foregoing procedures of
          this Section 7.04.

                  (b)    Upon the effectiveness of the Plan of Reorganization, the Company shall
          enter into the Transition Services Agreement with Fieldwood II pursuant to which
          Fieldwood II shall provide transitional operations for the Company in accordance with the
          terms of the Transition Services Agreement. The Company and Fieldwood II (in its sole
          discretion) may mutually agree that Fieldwood II shall become the Service Provider, at the
          effective time of which the Transition Services Agreement shall terminate, and the Sole
          Manager shall cause the Company to enter into the Service Provider Agreement with
          Fieldwood II. Furthermore, as provided in the Transition Services Agreement, the
          Transition Services Agreement may be terminated by the Company, in its sole discretion,
          in accordance with the terms of the Transition Services Agreement.

       Section 7.05 Actions Requiring Independent Director Consent and Service
Provider. Without the prior consent of the Independent Director (which consent may be given or
withheld in the sole discretion of the Independent Director), and the Company shall not do, or enter
into any commitment to do, and shall not cause or permit GOM Shelf to do, or enter into any
commitment to do, any of the following:

                (a)     amend, modify, supplement or waive the Certificate of Formation, this
          Agreement or any other organizational documents of the Company or its Subsidiaries;

                 (b)     remove or replace the Sole Manager or the Service Provider;

                 (c)      enter into a fundamental business transaction (as such term is defined in the
          BOC), including a merger, consolidation, interest exchange, conversion or sale of all or
          substantially all of the Company’s or GOM Shelf’s properties or assets;

                 (d)     wind-up, dissolve, liquidate or terminate the Company or any of its
          Subsidiaries prior to the occurrence of any event set forth in Section 11.01 or enter into a


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          receivership or initiate a bankruptcy proceeding involving the Company or any of its
          Subsidiaries;

                  (e)    revoke a voluntary decision to wind up the Company or GOM Shelf or
          cancel the required winding up of the Company due to an event specified in § 11.051 of
          the BOC; or

                 (f)     reinstate the Company or GOM Shelf after termination.

       Except as provided in the fourth sentence of Section 9.02(a), in exercising its rights and
performing its duties under this Agreement (including pursuant to this Section 7.05), the
Independent Director shall have fiduciary duties of loyalty and care similar to that of a director of
a business corporation organized under the BOC.

       Section 7.06 Actions Requiring Apache Consent. Without the prior written consent of
Apache (which written consent may be given or withheld in Apache’s sole discretion, unless
expressly indicated otherwise), the Company shall not do, or enter into any commitment to do, and
shall not cause or permit GOM Shelf to do, or enter into any commitment to do, any of the
following:

                  (a)    conduct or be involved in any business or operations other than (i) operating
          or plugging and abandoning and decommissioning the Legacy Apache Properties and
          (ii) causing GOM Shelf to operate or plug and abandon and decommission the GOM Shelf
          Properties;

                  (b)     purchase or farm-in any properties or assets or sell any of the Company’s
          or GOM Shelf’s properties or assets; provided that, following receipt of any such written
          consent from Apache to purchase or farm-in any properties or assets, other than with
          respect to usual and ordinary G&A and operating expenditures required to own and
          maintain such properties or assets, no additional funds of, or available to, the Company or
          GOM Shelf shall be spent with respect to such properties or assets without the prior written
          consent of Apache (which written consent may be given or withheld in Apache’s sole
          discretion), provided further, however, that if any Person makes an unsolicited proposal to
          farm in to any of the Legacy Apache Properties or the GOM Shelf Properties on fair market
          terms and conditions (including fair market rates of return), then the Company shall be
          obligated to market (or cause GOM Shelf to market) such farm-in opportunity and accept
          (or cause GOM Shelf to accept) the highest and best offer for such farm-in opportunity as
          long as the farm-in transaction would be accretive to the Company’s consolidated cash
          flow, and in such instance no consent from Apache will be required if Apache has made or
          bid on such farm-in opportunity;

                  (c)    farm-out any of the Company’s or GOM Shelf’s properties or assets;
          provided, however, if any Person makes an unsolicited proposal to farm in to any of the
          Legacy Apache Properties or the GOM Shelf Properties on fair market terms and
          conditions (including fair market rates of return), then the Company shall be obligated to
          market (or cause GOM Shelf to market) such farm-in opportunity and accept (or cause
          GOM Shelf to accept) the highest and best offer for such farm-in opportunity as long as
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          the farm-in transaction would be accretive to the Company’s consolidated cash flow, and
          in such instance no consent from Apache will be required if Apache has made or bid on
          such farm-in opportunity;

                  (d)    incur indebtedness for borrowed money other than pursuant to the Standby
          Facility, pledge or grant Liens on any properties or assets of the Company or GOM Shelf
          other than those provided pursuant to the Standby Facility Documentation and the
          Recharacterization Mortgages, or guarantee, assume, endorse or otherwise become
          responsible for the obligations of any other Person;

                  (e)    issue additional Membership Interests or any other Equity Securities or
          admit additional Members to the Company, or issue additional equity interests of or admit
          additional members to GOM Shelf;

                   (f)     use its free cash flow (after operating expenses) for any purposes other than
          fulfilling its obligations to Apache under the Decommissioning Agreement and the Standby
          Facility Documentation for so long as the obligations thereunder have yet to be satisfied in
          full (for the avoidance of doubt, Apache’s consent shall be required for any development
          activities proposed by Fieldwood II under the Farmout Agreement);

                 (g)     make any loan, advance, or capital contribution or make any investment in
          any Person;

                 (h)     enter into, amend, waive, or terminate any Related Party Agreement;

                  (i)     amend, modify, supplement, restate, or waive any provision of the
          Certificate of Formation, this Agreement, or any other organizational documents of the
          Company or its Subsidiaries (and any such amendment, modification, supplement, or
          waiver that is attempted without Apache’s prior written consent shall be void ab initio and
          without effect);

                  (j)     engage in any activity or take any action with respect to its properties or
          assets, other than in the ordinary course of business;

                 (k)    select, remove, or replace, or change the work to be performed by, the
          Service Provider;

                (l)     remove, replace, or change the powers, rights, or responsibilities of, the Sole
          Manager or the Independent Director;

                 (m)    establish a Subsidiary or enter into any joint venture or similar business
          arrangement or enter into a transaction covered by Section 7.09;

                 (n)      settle any lawsuit, action, dispute, or other proceeding or otherwise assume
          any liability or agree to the provision of any equitable relief by the Company or GOM
          Shelf;


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                 (o)      enter into a fundamental business transaction (as such term is defined in the
          BOC), including a merger, consolidation, interest exchange, conversion, or sale of all or
          substantially all of the Company’s or GOM Shelf’s properties or assets;

                 (p)    wind-up, dissolve, liquidate, or terminate the Company or any of its
          Subsidiaries or initiate a bankruptcy proceeding involving the Company or any of its
          Subsidiaries;

                  (q)    revoke a voluntary decision to wind up the Company or GOM Shelf or
          cancel the required winding up of the Company due to an event specified in § 11.051 of
          the BOC; or

                 (r)     reinstate the Company or GOM Shelf after termination.

         In addition to the foregoing, if (i)(A) the Company or GOM Shelf defaults on its plugging
and abandonment and decommissioning obligations under the Decommissioning Agreement,
(B) any Governmental Authority or any other Person seeks to cause Apache or its Affiliates to
conduct plugging and abandonment or decommissioning activity that is required in accordance
with Applicable Law or contract in respect of any of the Legacy Apache Properties or the GOM
Shelf Properties, and (C) Apache conducts such plugging and abandonment or decommissioning
activity or activities, or (ii) prior to the cessation of all production from, and completion of all
plugging and abandonment and decommissioning on, the Legacy Apache Properties and the GOM
Shelf Properties, any letter of credit or bond that is part of the Decommissioning Security is not
renewed in a manner consistent in all respects with the existing terms of such letter of credit or
bond, then the Company shall, and the Independent Director and the Sole Manager shall cause the
Company to: (x) if applicable, as promptly as practicable after the Independent Director or the
Sole Manager becomes aware of an event described in clause (ii) immediately above, provide
written notice to Apache of the upcoming expiration of, and inability to renew, such letter of credit
or bond in a manner consistent in all respects with the existing terms of such letter of credit or
bond, and use its best efforts to assist Apache in drawing under the expiring letter of credit or bond
so that drawn funds can be contributed to Trust A; (y) take any action reasonably requested by
Apache to entitle Apache to be reimbursed by the Company or to draw on the cash in Trust A or
the other Decommissioning Security to pay or reimburse Apache for the costs (which costs shall
include, without limitation, costs of compensation and benefits of officers and employees of
Apache and its Affiliates that devote any of their productive time to performing or overseeing any
of the plugging and abandonment and decommissioning activities with respect to the Legacy
Apache Properties or the GOM Shelf Properties in accordance with the provisions on Schedule D
attached hereto applied in a consistent manner as the application of COPAS procedures, which
costs shall be determined in good faith by Apache based on the time spent by such employees in
performing or overseeing such activities) and expenses incurred in conducting such activity or
activities or, if such costs have been paid by Trust A or reimbursed to Apache with funds from
Trust A, then to contribute funds to Trust A; and (z) not take any position in any proceeding
opposed to or that is otherwise inconsistent with Apache’s ability to draw on the cash in Trust A
or the other Decommissioning Security to pay or reimburse Apache for such costs and expenses
incurred in conducting such activity or activities or to contribute funds to Trust A.


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       Furthermore, the Company shall provide written notice to Apache of (i) each request or
proposal the Company or GOM Shelf receives from a Person to farm in to any of the Legacy
Apache Properties or the GOM Shelf Properties and (ii) each prospective joint development under
the Farmout Agreement. In connection with each of the foregoing, the Company shall, and shall
cause GOM Shelf to, provide Apache full and open access to all information that the Company or
GOM Shelf has regarding each such opportunity.

         Section 7.07 Compensation and Reimbursement of the Independent Director, the
Sole Manager, the Service Provider and Fieldwood II. The Independent Director shall be
compensated for the services provided by such individual as the Independent Director of the
Company in the amount as specified in Schedule B attached hereto. The Sole Manager shall be
compensated for the services provided by such individual as the Sole Manager of the Company in
the amount as specified in Schedule C attached hereto. The Company shall reimburse the
Independent Director and the Sole Manager for all ordinary, necessary, and direct third-party
expenses incurred by the Independent Director and the Sole Manager, respectively, on behalf of
the Company in carrying out the Company’s business activities. All reimbursements for expenses
shall be reasonable in amount and shall not exceed $[•] in the aggregate for any Fiscal Year. The
Service Provider shall be compensated for the services provided by the Service Provider and
reimbursed for the out-of-pocket costs and expenses incurred in connection therewith as shall be
set forth in the applicable Service Provider Agreement. Fieldwood II shall be compensated for its
services under the Transition Services Agreement and reimbursed for the out-of-pocket costs and
expenses incurred in connection therewith as set forth in the Transition Services Agreement.

        Section 7.08 No Personal Liability. Except as otherwise provided in the BOC, by
Applicable Law, or expressly in this Agreement, neither the Independent Director nor the Sole
Manager will be obligated personally for any debt, obligation, or liability of the Company, whether
arising in contract, tort, or otherwise, including a debt, obligation, or liability under a judgment,
decree, or order of a court, solely by reason of being or acting as the Independent Director or the
Sole Manager, as applicable.

        Section 7.09 Funding Capital Expenditures. Prior to the cessation of all production
from, and completion of all plugging and abandonment and decommissioning activities on, the
Legacy Apache Properties and the GOM Shelf Properties, if the Company receives a proposal that
the Company engage in any project that is forecast to increase production or cash flow generated
from the Legacy Apache Properties or the GOM Shelf Properties (excluding any proposed
development activities pursuant to the Farmout Agreement), then the Sole Manager shall, through
a written notice, offer to Apache the opportunity to fund the capital expenditures related to such
project on behalf of the Company on terms and subject to conditions to be mutually agreed between
the Company and Apache; provided that the Company acknowledges and agrees that if any such
capital expenditures are funded, in whole or in part, out of funds then available to be borrowed by
the Company under the Standby Facility, any additional properties or assets obtained or that come
into existence as a result of the use of such borrowed amounts under the Standby Facility,
including, without limitation, any increased production or cash amounts generated thereby, shall
be pledged as additional security under the Standby Facility Documentation. Such written notice
provided to Apache shall include all available details about such opportunity, including, but not
limited to, the forecast impact on production and cash flow from the Legacy Apache Properties or

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the GOM Shelf Properties, as appropriate. Apache shall have a reasonable period (not to exceed
20 Business Days) following its receipt of such written notice to provide written notice to the
Company of (a) Apache’s election to fund any such capital expenditures and the terms and
conditions that Apache proposes to apply thereto, including whether it will fund such capital
expenditure, in whole or in part, using amounts then available to be borrowed by the Company
under the Standby Facility (such notice, an “Acceptance Notice”), (b) Apache’s election not to
fund any such capital expenditures (such notice, a “Rejection Notice”), or (c) Apache’s request
for additional information it requires to fully evaluate the proposed project (such notice, an
“Information Notice”). If Apache provides a timely Acceptance Notice, then the Company and
Apache shall endeavor in good faith to negotiate the proposed terms and conditions that will apply
thereto, and if mutually satisfactory terms are agreed to by the Company and Apache, such terms
and conditions shall be documented as promptly as practicable and the closing of such agreement
and funding(s) of such capital expenditures shall occur as so agreed. If (i) Apache timely provides
to the Company a Rejection Notice, (ii) Apache timely provides an Acceptance Notice but the
Company and Apache are unable within 60 Business Days after the Company’s receipt of the
Acceptance Notice to agree upon mutually satisfactory terms and conditions applicable thereto, or
(iii) Apache does not submit a timely response to the offer, then the offer for Apache to fund the
capital expenditures of the Company in the applicable project shall be deemed rejected by Apache
and the Company shall have 180 days within which to obtain third-party funding for such capital
expenditures subject to, and in accordance with, the other terms and conditions of this Agreement
(including, without limitation, Section 7.06); provided, however, if the Company is unable to
obtain such funding subject to, and in accordance with, the other terms and conditions of this
Agreement within such 180-day period, then the Company must again follow the procedures in
this Section 7.09 and offer Apache the opportunity to fund such expenditures. If Apache timely
provides the Company with an Information Notice, then the Company shall endeavor in good faith
to promptly provide the requested information to Apache, and following Apache’s receipt of such
information, Apache shall have the right to accept or reject such offer on the terms set forth in this
Section 7.09.

                                          ARTICLE VIII
                                           TRANSFER

          Section 8.01 General Restrictions on Transfer.

                (a)   No Member shall Transfer all or any portion of its Membership Interest in
          the Company without the prior written approval of:

                         (i)     Apache and the Company prior to (A) the cessation of all production
                 from, and completion of all plugging and abandonment and decommissioning on,
                 the Legacy Apache Properties and the GOM Shelf Properties, (B) the repayment in
                 full of any and all amounts outstanding under the Standby Facility and the
                 satisfaction of all obligations under the Standby Facility Documentation, (C) the
                 payment or reimbursement by the Company or from funds available under the
                 Decommissioning Security of the costs (which costs shall include, without
                 limitation, costs of compensation and benefits of officers and employees of Apache
                 and its Affiliates that devote any of their productive time to performing or

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                 overseeing any of the plugging and abandonment and decommissioning activities
                 with respect to the Legacy Apache Properties or the GOM Shelf Properties in
                 accordance with the provisions on Schedule D attached hereto applied in a
                 consistent manner as the application of COPAS procedures) and expenses incurred
                 by Apache and its Affiliates (1) in performing any plugging and abandonment and
                 decommissioning activities with respect to the Legacy Apache Properties or the
                 GOM Shelf Properties or (2) pursuant to or as may be required in connection with
                 the Decommissioning Agreement, and (D) the reimbursement to Apache and its
                 Affiliates for any and all costs and expenses incurred by Apache or any of its
                 Affiliates pursuant to the penultimate sentence of Section 12.01 in connection with
                 evaluating any matter specified in Section 7.06 for which Apache’s consent is
                 requested or required; and

                         (ii)    thereafter, the Company.

                  (b)     Subject to Section 8.01(a), each Member agrees that it will not Transfer all
          or any portion of its Membership Interest in the Company, and the Company agrees that it
          shall not issue any Membership Interests:

                         (i)     except as permitted under the Securities Act and other applicable
                 federal or state securities or blue sky laws, and then, with respect to a Transfer of
                 Membership Interests, only upon delivery to the Company of an opinion of counsel
                 in form and substance satisfactory to the Company to the effect that such Transfer
                 may be effected without registration under the Securities Act;

                         (ii)   if such Transfer or issuance would cause the Company to be
                 considered a “publicly traded partnership” under Section 7704(b) of the Code
                 within the meaning of Treasury Regulations Section 1.7704-1(h)(1)(ii), including
                 the look-through rule in Treasury Regulations Section 1.7704-1(h)(3);

                         (iii)   if such Transfer or issuance would affect the Company’s existence
                 or qualification as a limited liability company under the BOC;

                         (iv)    if such Transfer or issuance would cause the Company to lose its
                 status as a partnership for federal income tax purposes;

                         (v)     if such Transfer or issuance would cause the Company to be required
                 to register as an investment company under the Investment Company Act of 1940,
                 as amended; or

                         (vi)   if such Transfer or issuance would cause the assets of the Company
                 to be deemed “Plan Assets” as defined under the Employee Retirement Income
                 Security Act of 1974 or its accompanying regulations or result in any “prohibited
                 transaction” thereunder involving the Company.

                  (c)   Any Transfer or attempted Transfer of any Membership Interest in violation
          of this Agreement shall be null and void ab initio, no such Transfer shall be recorded on
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          the Company’s books, and the purported Transferee in any such Transfer shall not be
          treated (and the purported Transferor shall continue to be treated) as the owner of such
          Membership Interest for all purposes of this Agreement.

                  (d)    Subject to Section 7.06(e), no Transfer of any Membership Interest to a
          Person not already a Member of the Company shall be deemed completed until the
          prospective Transferee has executed a joinder agreement in form and substance acceptable
          to the Company.

                  (e)     For the avoidance of doubt, any completed Transfer of a Membership
          Interest permitted by this Agreement shall be deemed a sale, transfer, assignment, or other
          disposal of such Membership Interest in its entirety as intended by the parties to such
          Transfer, and shall not be deemed a sale, transfer, assignment, or other disposal of any less
          than all of the rights and benefits described in the definition of the term “Membership
          Interest.”

                                     ARTICLE IX
                           EXCULPATION AND INDEMNIFICATION

          Section 9.01 Exculpation of Covered Persons.

                  (a)    Covered Persons. As used herein, the term “Covered Person” shall mean
          (i) each current or former Member; (ii) each current or former manager, officer, director
          (including the Independent Director), shareholder, partner, member, Affiliate, employee,
          agent, or Representative of each Member, and each of their Affiliates; and (iii) each
          manager (including the Sole Manager), officer (if any), employee (if any), agent, or
          Representative of the Company.

                 (b)      Standard of Care. Subject to Section 9.02(a) with respect to the
          Independent Director, no Covered Person shall be liable to the Company or any other
          Covered Person for any loss, damage, or claim incurred by reason of any action taken or
          omitted to be taken by such Covered Person in good faith reliance on the provisions of this
          Agreement, so long as such action or omission does not constitute fraud or willful
          misconduct by such Covered Person.

                  (c)      Good Faith Reliance. A Covered Person shall be fully protected in relying
          in good faith upon the records of the Company and upon such information, opinions,
          reports, or statements (including financial statements and information, opinions, reports, or
          statements as to the value or amount of the assets, liabilities, Net Income, or Net Losses of
          the Company or any facts pertinent to the existence and amount of assets from which
          distributions might properly be paid) of the following Persons or groups: (i) another
          Member; (ii) one or more officers or employees of the Company; (iii) any attorney,
          independent accountant, appraiser, or other expert or professional employed or engaged by
          or on behalf of the Company; or (iv) any other Person selected in good faith by or on behalf
          of the Company, in each case as to matters that such relying Person reasonably believes to
          be within such other Person’s professional or expert competence. The preceding sentence

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          shall in no way limit any Person’s right to rely on information to the extent provided in
          § 3.102 or § 3.105 of the BOC.

          Section 9.02 Liabilities and Duties of Covered Persons.

                  (a)     Limitation of Liability. This Agreement, unless otherwise specifically
          stated herein, is not intended to, and does not, create or impose any fiduciary duty on any
          Covered Person. Furthermore, each of the Members and the Company hereby waives any
          and all fiduciary duties that, absent such waiver, may be implied by Applicable Law, and
          in doing so, acknowledges and agrees that the duties and obligations of each Covered
          Person to each other and to the Company are only as expressly set forth in this Agreement.
          The provisions of this Agreement, to the extent that they restrict the duties and liabilities
          of a Covered Person otherwise existing at law or in equity, are agreed by the Members to
          replace such other duties and liabilities of such Covered Person. Notwithstanding anything
          to the contrary in this Article IX, to the fullest extent permitted by Applicable Law, and
          notwithstanding any duty otherwise existing at law or in equity, the Independent Director
          shall consider only the interests of the Company, including its creditors, in acting or
          otherwise consenting to matters requiring the consent of the Independent Director in this
          Agreement. Except for duties to the Company as set forth in the immediately preceding
          sentence (including duties to the Members and the Company’s creditors solely to the extent
          of their respective economic interests in the Company but excluding (i) all other interests
          of the Members, (ii) the interests of other Affiliates of the Company, and (iii) the interests
          of any group of Affiliates of which the Company is a part) and in the last sentence of
          Section 7.05, the Independent Director shall not have any fiduciary duties to the Members
          or any other Person bound by this Agreement; provided, however, the foregoing shall not
          eliminate the implied contractual covenant of good faith and fair dealing. To the fullest
          extent permitted by law, the Independent Director shall not be liable to the Company, the
          Members or any other Person bound by this Agreement for breach of contract or breach of
          duties (including fiduciary duties), unless the Independent Director acted in bad faith or
          engaged in willful misconduct.

                  (b)     Duties. Except as provided in Section 9.02(a) with respect to the
          Independent Director, whenever in this Agreement a Covered Person is permitted or
          required to make a decision (including a decision that is in such Covered Person’s
          “discretion” or under a grant of similar authority or latitude), the Covered Person shall be
          entitled to consider only such interests and factors as such Covered Person desires,
          including its own interests, and shall have no duty or obligation to give any consideration
          to any interest of or factors affecting the Company or any other Person. Whenever in this
          Agreement a Covered Person is permitted or required to make a decision in such Covered
          Person’s “good faith,” the Covered Person shall act under such express standard and shall
          not be subject to any other or different standard imposed by this Agreement or any other
          Applicable Law.




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          Section 9.03 Indemnification.

                   (a)     Indemnification. To the fullest extent permitted by the BOC, as the same
          now exists or may hereafter be amended, substituted or replaced (but, in the case of any
          such amendment, substitution, or replacement, only to the extent that such amendment,
          substitution, or replacement permits the Company to provide broader indemnification
          rights than the BOC permitted the Company to provide prior to such amendment,
          substitution, or replacement), the Company shall indemnify, hold harmless, defend, pay,
          and reimburse any Covered Person against any and all losses, claims, damages, judgments,
          fines, or liabilities, including reasonable legal fees or other expenses incurred in
          investigating or defending against such losses, claims, damages, judgments, fines, or
          liabilities, and any amounts expended in settlement of any claims (collectively, “Losses”)
          to which such Covered Person may become subject by reason of:

                         (i)    any act or omission or alleged act or omission performed or omitted
                 to be performed on behalf of the Company, any Member, or any direct or indirect
                 Subsidiary of the foregoing in connection with the business of the Company; or

                         (ii)    such Covered Person being or acting in connection with the business
                 of the Company as a member, shareholder, Affiliate, manager, director, officer,
                 employee, or agent of the Company, any Member, or any of their respective
                 Affiliates, or that such Covered Person is or was serving at the request of the
                 Company as a member, manager, director, officer, employee, or agent of any
                 Person including the Company;

          provided, that (x) such Covered Person acted in good faith and in a manner believed by
          such Covered Person to be in, or not opposed to, the best interests of the Company and,
          with respect to any criminal proceeding, had no reasonable cause to believe his conduct
          was unlawful, and (y) such Covered Person’s conduct did not constitute fraud or willful
          and intentional misconduct, in either case as determined by a final, nonappealable order of
          a court of competent jurisdiction. In connection with the foregoing, the termination of any
          action, suit, or proceeding by judgment, order, settlement, conviction, or upon a plea of
          nolo contendere or its equivalent, shall not, of itself, create a presumption that the Covered
          Person did not act in good faith or, with respect to any criminal proceeding, had reasonable
          cause to believe that such Covered Person’s conduct was unlawful, or that the Covered
          Person’s conduct constituted fraud or willful misconduct.

                  (b)     Control of Defense. Upon a Covered Person’s discovery of any claim,
          lawsuit, or other proceeding relating to any Losses for which such Covered Person may be
          indemnified pursuant to this Section 9.03, the Covered Person shall give prompt written
          notice to the Company of such claim, lawsuit, or proceeding, provided, that the failure of
          the Covered Person to provide such notice shall not relieve the Company of any
          indemnification obligation under this Section 9.03, unless the Company shall have been
          materially prejudiced thereby. The Company shall be entitled to participate in or assume
          the defense of any such claim, lawsuit, or proceeding at its own expense. After notice from
          the Company to the Covered Person of its election to assume the defense of any such claim,

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          lawsuit, or proceeding, the Company shall not be liable to the Covered Person under this
          Agreement or otherwise for any legal or other expenses subsequently incurred by the
          Covered Person in connection with investigating, preparing to defend, or defending any
          such claim, lawsuit, or other proceeding. If the Company does not elect (or fails to elect)
          to assume the defense of any such claim, lawsuit, or proceeding, the Covered Person shall
          have the right to assume the defense of such claim, lawsuit, or proceeding as it deems
          appropriate, but it shall not settle any such claim, lawsuit, or proceeding without the
          consent of the Company (which consent shall not be unreasonably withheld, conditioned,
          or delayed).

                   (c)     Reimbursement. The Company shall promptly reimburse (and/or advance
          to the extent reasonably required) each Covered Person for reasonable legal or other
          expenses (as incurred) of such Covered Person in connection with investigating, preparing
          to defend, or defending any claim, lawsuit, or other proceeding relating to any Losses for
          which such Covered Person may be indemnified pursuant to this Section 9.03; provided,
          that if it is finally judicially determined that such Covered Person is not entitled to the
          indemnification provided by this Section 9.03, then such Covered Person shall promptly
          reimburse the Company for any reimbursed or advanced expenses.

                  (d)     Entitlement to Indemnity. The indemnification provided by this Section
          9.03 shall not be deemed exclusive of any other rights to indemnification to which those
          seeking indemnification may be entitled under any agreement or otherwise. The provisions
          of this Section 9.03 shall continue to afford protection to each Covered Person regardless
          of whether such Covered Person remains in the position or capacity pursuant to which such
          Covered Person became entitled to indemnification under this Section 9.03 and shall inure
          to the benefit of the executors, administrators, legatees, and distributees of such Covered
          Person.

                  (e)    Insurance. To the extent available on commercially reasonable terms, the
          Company may purchase, at its expense, insurance to cover Losses covered by the foregoing
          indemnification provisions and to otherwise cover Losses for any breach or alleged breach
          by any Covered Person of such Covered Person’s duties in such amount and with such
          deductibles as the Sole Manager may reasonably determine; provided, that the failure to
          obtain such insurance shall not affect the right to indemnification of any Covered Person
          under the indemnification provisions contained herein, including the right to be reimbursed
          or advanced expenses or otherwise indemnified for Losses hereunder. If any Covered
          Person recovers any amounts in respect of any Losses from any insurance coverage, then
          such Covered Person shall, to the extent that such recovery is duplicative, reimburse the
          Company for any amounts previously paid to such Covered Person by the Company in
          respect of such Losses.

                  (f)    Funding of Indemnification Obligation. Notwithstanding anything
          contained herein to the contrary, any indemnity by the Company relating to the matters
          covered in this Section 9.03 shall be provided out of and to the extent of Company assets
          only, and no Member (unless such Member otherwise agrees in writing) shall have personal


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          liability on account thereof or shall be required to make additional Capital Contributions
          to help satisfy such indemnity by the Company.

                  (g)     Savings Clause. If this Section 9.03 or any portion hereof shall be
          invalidated on any ground by any court of competent jurisdiction, then the Company shall
          nevertheless indemnify and hold harmless each Covered Person pursuant to this Section
          9.03 to the fullest extent permitted by any applicable portion of this Section 9.03 that shall
          not have been invalidated and to the fullest extent permitted by Applicable Law.

                  (h)     Amendment. The provisions of this Section 9.03 shall be a contract
          between the Company, on the one hand, and each Covered Person who served in such
          capacity at any time while this Section 9.03 is in effect, on the other hand, pursuant to
          which the Company and each such Covered Person intend to be legally bound. No
          amendment, modification, or repeal of this Section 9.03 that adversely affects the rights of
          a Covered Person to indemnification for Losses incurred or relating to a state of facts
          existing prior to such amendment, modification or repeal shall apply in such a way as to
          eliminate or reduce such Covered Person’s entitlement to indemnification for such Losses
          without the Covered Person’s prior written consent.

        Section 9.04 Survival. The provisions of this ARTICLE IX shall survive the dissolution,
liquidation, winding up, and termination of the Company.

                                       ARTICLE X
                                 ACCOUNTING; TAX MATTERS

        Section 10.01 Financial Statements and Other Information.                 The Company shall
furnish to each Member and Apache the following reports:

                  (a)     Annual Financial Statements. As soon as available, and in any event
          within 105 days after the end of each Fiscal Year, its audited consolidated balance sheet
          and related consolidated statements of operations, Members’ equity and cash flows as of
          the end of and for such year prepared under AICPA auditing standards, setting forth in each
          case in comparative form the figures for the previous Fiscal Year, all reported on by
          independent public accountants acceptable to each Member and Apache (without a “going
          concern” or like qualification, commentary, or exception (except to the extent that any such
          qualification, commentary, or exception expressly indicates that after giving effect to the
          exclusion of asset retirement obligations reflected on the accompanying balance sheet,
          there would be no such qualification, commentary, or exception), and without any
          qualification or exception as to the scope of such audit) to the effect that such consolidated
          financial statements present fairly in all material respects the consolidated financial
          condition and results of operations of the Company and GOM Shelf in accordance with
          GAAP consistently applied;

                  (b)    Quarterly Financial Statements. As soon as available, and in any event
          within 50 days after the end of each quarterly accounting period in each Fiscal Year
          (including the last fiscal quarter of the Fiscal Year), its unaudited consolidated balance
          sheet and related unaudited consolidated statements of operations, Members’ equity and
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          cash flows as of the end of and for such fiscal quarter and the then elapsed portion of the
          current Fiscal Year, setting forth in each case in comparative form the figures for the
          corresponding period or periods of the previous Fiscal Year or as at the end of such period
          or periods, all in reasonable detail and certified by the Company as presenting fairly in all
          material respects the consolidated financial condition and results of operations of the
          Company and GOM Shelf in accordance with GAAP consistently applied, subject to
          normal year-end audit adjustments and the absence of footnotes; and

                  (c)     Monthly Operating Data. As soon as available, but in no event later than
          15 Business Days after the end of each calendar month, a statement in a form reasonably
          satisfactory to each Member and Apache showing all operating data for the Company and
          GOM Shelf, including operating expenses and revenue for each of the Company and GOM
          Shelf, for such calendar month.

                  (d)     Operating Budget. As soon as available, but in any event no later than 60
          days after the end of each Fiscal Year of the Company, a detailed operating budget for the
          Fiscal Year, forecasting revenue, operating costs, and capital expenses for each fiscal
          quarter in form reasonably satisfactory to each Member and Apache.

                  (e)    Additional Information. Promptly following any reasonable request
          therefor, such other information regarding the operations, business affairs and financial
          condition of each of the Company and GOM Shelf, as any Member or Apache may
          reasonably request, including, without limitation, decommissioning cost estimates and
          calculations.

         Section 10.02 Inspection Rights. Upon reasonable notice from a Member or Apache, the
Company shall afford each Member or Apache and their respective Representatives access during
normal business hours to (a) the Company’s properties, offices, plants, and other facilities; (b) the
corporate, financial, and similar records, reports, and documents of the Company, including,
without limitation, all books and records, minutes of proceedings, internal management
documents, reports of operations, reports of adverse developments, copies of any management
letters and communications with Members or the Sole Manager or Independent Director, and to
permit each Member or Apache and their respective Representatives to examine such documents
and make copies thereof; and (c) any officers, senior employees, and public accountants of the
Company, and to afford each Member or Apache and their respective Representatives the
opportunity to discuss and advise on the affairs, finances, and accounts of the Company with such
officers, senior employees, and public accountants (and the Company hereby authorizes said
accountants to discuss with such Member or Apache and their respective Representatives such
affairs, finances, and accounts).

        Section 10.03 Income Tax Status. It is the intent of the Company and the Members that
the Company shall be treated as a partnership or a disregarded entity for U.S., federal, state, and
local income tax purposes. Neither the Company nor any Member shall make an election for the
Company to be classified as other than a partnership or a disregarded entity pursuant to Treasury
Regulations Section 301.7701-3.


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          Section 10.04 Tax Matters Representative.

                  (a)       Appointment. The Members hereby appoint the Sole Manager as
          “partnership representative” as provided in Code Section 6223(a) (the “Tax Matters
          Representative”).        If any state or local tax law provides for a tax matters
          partner/partnership representative or Person having similar rights, powers, authority or
          obligations, the person designated as the Tax Matters Representative shall also serve in
          such capacity. To the extent required by Applicable Law, if the Tax Matters Representative
          is an entity, it shall appoint a “designated individual” to act on its behalf. The Tax Matters
          Representative can be removed at any time by a vote of Members holding a majority of the
          Membership Interests, and shall resign if it is no longer a Member. In the event of the
          resignation or removal of the Tax Matters Representative, Members holding a majority of
          the Membership Interests shall select a replacement Tax Matters Representative.

                  (b)     Tax Examinations and Audits. The Tax Matters Representative is
          authorized and required to represent the Company (at the Company’s expense) in
          connection with all examinations of the Company’s affairs by Taxing Authorities,
          including resulting administrative and judicial proceedings, and to expend Company funds
          for professional services and costs associated therewith. The Tax Matters Representative
          shall promptly notify the Members in writing of the commencement of any tax audit of the
          Company, upon receipt of a tax assessment and upon receipt of a notice of final partnership
          adjustment, and shall keep the Members reasonably informed of the status of any tax audit
          and resulting administrative and judicial proceedings. Without the consent of Members
          holding a majority of the Membership Interests, the Tax Matters Representative shall not
          extend the statute of limitations, file a request for administrative adjustment, file suit
          relating to any Company tax refund or deficiency or enter into any settlement agreement
          relating to items of income, gain, loss or deduction of the Company with any Taxing
          Authority.

                   (c)    US Federal Tax Proceedings. The Members acknowledge that the
          Company may elect the application of Section 6226 of the Code. This acknowledgement
          applies to each Member whether or not the Member owns an interest in the Company in
          both the reviewed year and the year of the tax adjustment. In the event that the Company
          elects the application of Section 6226 of the Code, the Members agree and covenant to take
          into account and report to the Internal Revenue Service (or any other applicable taxing
          authority) any adjustment to their tax items for the reviewed year of which they are notified
          by the Company in a written statement, in the manner provided in Section 6226(b) of the
          Code, whether or not the Member owns any interest in the Company at such time. Any
          Member that fails to report its share of such adjustments on its tax return, agrees to
          indemnify and hold harmless the Company and the Tax Matters Representative from and
          against any and all losses, costs, liabilities and expenses related to taxes (including
          penalties and interest) imposed on the Company as a result of the Member’s inaction. If
          the Company is required to pay the assessment of the imputed underpayment under
          Section 6225(a)(1) of the Code or similar provisions of state law, any taxes, penalties, and
          interest payable by the Company shall be treated as attributable to the Members, and, to
          the extent possible, the Tax Matters Representative shall allocate the burden of any such

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          amounts to those Members to whom such amounts are reasonably attributable taking into
          account the Member’s or former Member’s allocable share of taxable income or loss with
          respect to the Fiscal Year to which such assessment pertains and adjustments that may have
          been made in computing the imputed underpayment. To the extent that any such amount
          is payable by the Company, at the option of the Tax Matters Representative, such amount
          shall be recoverable from such Member as provided in Section 6.03(c). The provisions
          contained in this Section 10.04 shall survive the dissolution, termination or liquidation of
          the Company, the withdrawal of any Member or the transfer of any Member’s interest in
          the Company and apply to unadmitted assignees of a Member Interest who may be
          considered current or former partners of the Company for federal tax purposes.

                  (d)     Tax Returns. Each Member agrees that such Member shall not treat any
          Company item inconsistently on such Member’s federal, state, foreign or other income tax
          return with the treatment of the item on the Company’s return.

                  (e)    Section 754 Election. The Tax Matters Representative will make an
          election under Code Section 754, if the Company is to be taxed as a partnership for federal
          tax purposes.

                 (f)      Indemnification. The Company shall defend, indemnify, and hold
          harmless the Tax Matters Representative against any and all liabilities sustained as a result
          of any act or decision concerning Company tax matters and within the scope of
          responsibilities as Tax Matters Representative, so long as such act or decision was done or
          made in good faith and does not constitute gross negligence or willful misconduct.

        Section 10.05 Tax Returns. At the expense of the Company, the Sole Manager (or any
officer of the Company that it may designate pursuant to this Agreement) shall endeavor to cause
the preparation and timely filing (including extensions) of all tax returns required to be filed by
the Company pursuant to the Code as well as all other required tax returns in each jurisdiction in
which the Company owns property or does business. As soon as reasonably possible after the end
of each Fiscal Year, the Sole Manager or any designated officer of the Company, as applicable,
will cause to be delivered to each Person who was a Member at any time during such Fiscal Year,
IRS Schedule K-1 to Form 1065, if applicable, and such other information with respect to the
Company as may be necessary for the preparation of such Person’s federal, state, and local income
tax returns for such Fiscal Year.

        Section 10.06 Company Funds. All funds of the Company shall be deposited in its name,
or in such name as may be designated by the Sole Manager, in such checking, savings, or other
accounts, or held in its name in the form of such other investments as shall be designated by the
Sole Manager. The funds of the Company shall not be commingled with the funds of any other
Person. All withdrawals of such deposits or liquidations of such investments by the Company
shall be made exclusively upon the signature or signatures of the Sole Manager, or any officer or
officers of the Company that may be designated by the Sole Manager, as applicable, pursuant to
this Agreement.



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                                       ARTICLE XI
                               WINDING UP AND TERMINATION

        Section 11.01 Events Requiring Winding Up. The Company shall begin to wind up its
business and affairs only upon the occurrence of any of the following events (in each case, subject
to the applicable provisions of Section 7.06):

                 (a)     upon the cessation of all production from, and completion of all plugging
          and abandonment and decommissioning on, the Legacy Apache Properties and the GOM
          Shelf Properties;

                  (b)     the occurrence of a nonwaivable event under the terms of the BOC which
          requires the winding up of the Company after its termination unless a Continuance occurs
          in respect of such event; or

                 (c)     the entry of a judicial decree ordering winding up and termination under
          § 11.314 of the BOC in proceedings of which Apache has been given notice and an
          opportunity to participate.

Notwithstanding the occurrence of an event referenced in Section 11.01(b), if the Company is
permitted prior to the termination of its existence in accordance with the BOC to revoke a winding
up upon the occurrence of such event and each of Apache, the Sole Manager, and the Independent
Director provide their prior written consent to such revocation, then, to the extent so permitted
under the BOC and in the manner provided therein, the Company’s existence shall be continued
(the revocation of such a winding up and continuance of the Company, a “Continuance”).

        Section 11.02 Effectiveness of Termination. The Company shall begin to wind up its
business and affairs as soon as reasonably practicable upon the occurrence of an event described
in Section 11.01 (if such event has not been revoked or cancelled), but the Company shall not
terminate until the winding up of the Company has been completed, the assets of the Company
have been distributed as provided in Section 11.03, and the Certificate of Termination shall have
been filed as provided in Section 11.04.

        Section 11.03 Liquidation. If the Company is to be terminated pursuant to Section 11.01
                                                                                            11.01,
the Company shall be liquidated and its business and affairs wound up in accordance with the BOC
and the following provisions:

                  (a)    Liquidator. The Sole Manager shall act as liquidator to wind up the
          Company (the “Liquidator”); provided, however, that if there is then a vacancy in the
          position of the Sole Manager or the Sole Manager is not willing to act as the Liquidator,
          the Members shall appoint a person to act as the Liquidator. The Liquidator shall have full
          power and authority to sell, assign, and encumber any or all of the Company’s assets and
          to wind up and liquidate the affairs of the Company in an orderly and business-like manner.

                 (b)     Accounting. As promptly as possible after the event requiring winding up
          and again after final liquidation, the Liquidator shall cause a proper accounting to be made
          by a recognized firm of certified public accountants of the Company’s assets, liabilities,
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          and operations through the last day of the calendar month in which such event occurs or
          the final liquidation is completed, as applicable.

               (c)     Notice. The Liquidator shall deliver to each known claimant of the
          Company the notice required by § 11.052 of the BOC.

                 (d)    Distribution of Proceeds. The Liquidator shall liquidate the assets of the
          Company and distribute the proceeds of such liquidation in the following order of priority,
          unless otherwise required by mandatory provisions of Applicable Law:

                         (i)     First, to the payment of all of the Company’s debts and liabilities to
                 its creditors (including Members, if applicable) and the expenses of liquidation
                 (including sales commissions incident to any sales of assets of the Company);

                       (ii)    Second, to Trust A until the aggregate funds in Trust A are in an
                 amount equal to 125% of the then Remaining Decommissioning (as defined in the
                 Decommissioning Agreement);

                        (iii)   Third, to the establishment of and additions to other reserves that are
                 determined by the Liquidator to be reasonably necessary for any contingent
                 unforeseen liabilities or obligations of the Company; and

                         (iv)    Fourth, to the Members in accordance with the positive balances in
                 their respective Capital Accounts, as determined after taking into account all
                 Capital Account adjustments for the taxable year of the Company during which the
                 liquidation of the Company occurs.

                  (e)     Discretion of Liquidator. Notwithstanding the provisions of Section
          11.03(d) that require the liquidation of the assets of the Company, but subject to the order
          of priorities set forth in Section 11.03(d), if upon winding up of the Company the
          Liquidator reasonably determines that an immediate sale of part or all of the Company’s
          assets would be impractical or could cause undue loss to the Members, the Liquidator may
          defer the liquidation of any assets except those necessary to satisfy Company liabilities,
          Trust A, and reserves, and may, upon approval of holders of a majority of the outstanding
          Membership Interests, distribute to the Members, in lieu of cash, as tenants in common and
          in accordance with the provisions of Section 11.03(d), undivided interests in such
          Company assets as the Liquidator deems not suitable for liquidation. Any such distribution
          in kind shall be subject to such conditions relating to the disposition and management of
          such properties as the Liquidator deems reasonable and equitable and to any agreements
          governing the operating of such properties at such time. For purposes of any such
          distribution, any property to be distributed will be valued at its Fair Market Value.

         Section 11.04 Certificate of Termination. Upon completion of the distribution of the
assets of the Company as provided in Section 11.03(d) hereof, the Liquidator or other such officer
shall execute and cause to be filed a Certificate of Termination in the State of Texas and shall
cause the cancellation of all qualifications and registrations of the Company as a foreign limited
liability company in jurisdictions other than the State of Texas and shall take such other actions as
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may be necessary to terminate the Company. Upon acceptance of the Certificate of Termination
by the Texas Secretary of State, the Company shall be terminated.

        Section 11.05 Survival of Rights, Duties, and Obligations. Dissolution, liquidation,
winding up, or termination of the Company for any reason shall not release any party from any
Loss that at the time of such dissolution, liquidation, winding up, or termination already had
accrued to any other party or thereafter may accrue in respect of any act or omission prior to such
dissolution, liquidation, winding up, or termination. For the avoidance of doubt, none of the
foregoing shall replace, diminish, or otherwise adversely affect any Member’s right to
indemnification pursuant to Section 9.03.

       Section 11.06 Recourse for Claims. Each Member shall look solely to the assets of the
Company for all distributions with respect to the Company, such Member’s Capital Account, and
such Member’s share of Net Income, Net Loss, and other items of income, gain, loss, and
deduction, and shall have no recourse therefor (upon termination or otherwise) against the
Liquidator, the Independent Director, or any other Member.

                                        ARTICLE XII
                                      MISCELLANEOUS

        Section 12.01 Expenses. Except as otherwise expressly provided herein, in the
Restructuring Support Agreement, or in the Confirmation Order, all costs and expenses, including
fees and disbursements of counsel, financial advisors, and accountants, incurred in connection with
the preparation and execution of this Agreement, or any amendment or waiver hereof, and the
transactions contemplated hereby shall be paid by the party incurring such costs and expenses. In
addition to the immediately preceding sentence and the payment or reimbursement to Apache and
its Affiliates for the costs and expenses of performing any plugging and abandonment and
decommissioning activities with respect to the Legacy Apache Properties or the GOM Shelf
Properties as provided in the final paragraph of Section 7.06, from time to time as Apache evaluates
any matter specified in Section 7.06 for which its consent is requested or required or any proposal
for prospective funding of capital expenditures pursuant to Section 7.09, the Company shall
reimburse Apache for all costs and expenses incurred in connection therewith, with such
reimbursement to be made regardless of whether Apache consents to such matter or provides an
Acceptance Notice, Rejection Notice, or Information Notice to the Company with respect to such
proposal. Apache’s costs shall include, without limitation, third-party costs and the reimbursable
costs of compensation and benefits of employees of Apache and its Affiliates who devote
productive time to evaluating any matter specified in Section 7.06 for which the consent of Apache
is requested or required or any proposal for prospective funding of capital expenditures pursuant
to Section 7.09, which costs shall be determined in good faith by Apache based on the time spent
by such employees in conducting such evaluation. The reimbursement to be made pursuant to the
immediately preceding sentences shall be made within 30 days of the Company’s receipt of a
statement from Apache specifying the costs to be so reimbursed.

        Section 12.02 Further Assurances. In connection with this Agreement and the
transactions contemplated hereby, the Company and each Member hereby agrees, at the request of
the Company or any other Member, to execute and deliver such additional documents, instruments,

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conveyances, and assurances and to take such further actions as may be required to carry out the
provisions hereof and give effect to the transactions contemplated hereby.

          Section 12.03 Confidentiality.

                  (a)     Each Member acknowledges that, during the term of this Agreement, it will
          have access to and become acquainted with trade secrets, proprietary information, and
          confidential information belonging to the Company and its Affiliates that are not generally
          known to the public, including, but not limited to, information concerning business plans,
          financial statements, and other information provided pursuant to this Agreement, operating
          practices and methods, expansion plans, strategic plans, marketing plans, contracts,
          customer lists, or other business documents that the Company treats as confidential, in any
          format whatsoever (including oral, written, electronic, or any other form or medium)
          (collectively, “Confidential Information”). In addition, each Member acknowledges that:
          (i) the Company has invested, and continues to invest, substantial time, expense, and
          specialized knowledge in developing its Confidential Information; (ii) the Confidential
          Information provides the Company with a competitive advantage over others in the
          marketplace; and (iii) the Company would be irreparably harmed if the Confidential
          Information were disclosed to competitors or made available to the public. Without
          limiting the applicability of any other agreement to which any Member is subject, no
          Member shall, directly or indirectly, disclose or use (other than solely for the purposes of
          such Member monitoring and analyzing its investment in the Company) at any time,
          including, without limitation, use for personal, commercial, or proprietary advantage or
          profit, either during its association with the Company or thereafter, any Confidential
          Information of which such Member is or becomes aware. Each Member in possession of
          Confidential Information shall take all appropriate steps to safeguard such information and
          to protect it against disclosure, misuse, espionage, loss, and theft.

                  (b)     Nothing contained in Section 12.03(a) shall prevent any Member from
          disclosing Confidential Information: (i) upon the order of any court or administrative
          agency; (ii) upon the request or demand of any regulatory agency or authority having
          jurisdiction over such Member; (iii) to the extent compelled by legal process or required or
          requested pursuant to subpoena, interrogatories, or other discovery requests; (iv) to the
          extent necessary in connection with the exercise of any remedy hereunder; (v) to the other
          Members; or (vi) to such Member’s Representatives who, in the reasonable judgment of
          such Member, need to know such Confidential Information and agree to be bound by the
          provisions of this Section 12.03 as if a Member; or (vii) to any potential Transferee in
          connection with a proposed Transfer of Membership Interests from such Member, as long
          as such potential Transferee agrees in writing to be bound by the provisions of this Section
          12.03 as if a Member before receiving such Confidential Information; provided, that in the
          case of clause (i), (ii), or (iii), such Member shall notify the Company and other Members
          of the proposed disclosure as far in advance of such disclosure as practicable (but in no
          event make any such disclosure before notifying the Company and other Members) and
          use reasonable efforts to ensure that any Confidential Information so disclosed is accorded
          confidential treatment satisfactory to the Company, when and if available.


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                  (c)    The restrictions of Section 12.03(a) shall not apply to Confidential
          Information that: (i) is or becomes generally available to the public other than as a result
          of a disclosure by a Member in violation of this Agreement; (ii) is or has been
          independently developed or conceived by such Member without use of Confidential
          Information; or (iii) becomes available to such Member or any of its Representatives on a
          non-confidential basis from a source other than the Company, the other Members, or any
          of their respective Representatives, provided, that such source is not known by the
          receiving Member to be bound by a confidentiality agreement regarding the Company.

                  (d)     The obligations of each Member under this Section 12.03 shall survive for
          so long as such Member remains a Member, and for three years following the earlier of (i)
          termination, dissolution, liquidation, and winding up of the Company; (ii) the withdrawal
          of such Member from the Company; or (iii) such Member’s Transfer of its Membership
          Interests; provided that with respect to Confidential Information that constitutes a trade
          secret under Applicable Law, the obligations of each Member under this Section 12.03
          shall survive until, if ever, such Confidential Information loses its trade secret protection
          other than due, directly or indirectly, to an act or omission of the Member.

        Section 12.04 Notices. All notices, requests, consents, claims, demands, waivers, and
other communications hereunder shall be in writing and shall be deemed to have been given:

                 (a)     when delivered by hand (with written confirmation of receipt);

                  (b)    when received by the addressee if sent by a nationally recognized overnight
          courier (receipt requested);or

                  (c)    on the third day after the date mailed, by certified or registered mail, return
          receipt requested, postage prepaid.

        Such communications must be sent to the respective parties at the following addresses (or
at such other address for a party as shall be specified in a notice given in accordance with this
Section 12.04):

 If to the Company:             Fieldwood Energy I LLC
                                [COMPANY ADDRESS]
                                Attention: [TITLE OF OFFICER TO RECEIVE NOTICES]




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 with a copy to:              Hunton Andrews Kurth LLP
                              600 Travis Street
 (which shall not
                              Suite 4200
 constitute notice)           Houston, TX 77002
                              Attention: G. Michael O’Leary



 If to the Independent       [INDEPENDENT DIRECTOR ADDRESS]
 Director:                   Attention: [TITLE OF OFFICER TO RECEIVE NOTICES]



 with a copy to:              Hunton Andrews Kurth LLP
                              600 Travis Street
 (which shall not             Suite 4200
 constitute notice)
                              Houston, TX 77002
                              Attention: G. Michael O’Leary



 If to a Member:              To the Member’s respective mailing address as set forth on the
                              Members Schedule.

        Section 12.05 Headings. The headings in this Agreement are inserted for convenience or
reference only and are in no way intended to describe, interpret, define, or limit the scope, extent,
or intent of this Agreement or any provision of this Agreement.

         Section 12.06 Severability. If any term or provision of this Agreement is held to be
invalid, illegal, or unenforceable under Applicable Law in any jurisdiction, such invalidity,
illegality, or unenforceability shall not affect any other term or provision of this Agreement or
invalidate or render unenforceable such term or provision in any other jurisdiction. Except as
provided in Section 9.03(g), upon such determination that any term or other provision is invalid,
illegal, or unenforceable, this Agreement shall be modified automatically so as to effect the original
intent of the parties as closely as possible in order that the transactions contemplated hereby be
consummated as originally contemplated to the greatest extent possible, legal, and enforceable.

        Section 12.07 Entire Agreement. This Agreement, together with the Certificate of
Formation and all related Exhibits and Schedules, constitutes the sole and entire agreement of the
parties to this Agreement with respect to the subject matter contained herein and therein, and
supersedes all prior and contemporaneous understandings, agreements, representations, and
warranties, both written and oral, with respect to such subject matter.



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        Section 12.08 Successors and Assigns. Subject to the restrictions on Transfers set forth
herein, this Agreement shall be binding upon and shall inure to the benefit of the parties hereto
and their respective heirs, executors, administrators, successors, and assigns.

        Section 12.09 No Third-Party Beneficiaries. Except (a) with respect to certain rights
reserved to Apache as set forth in this Agreement, which shall be for the benefit of and enforceable
by Apache, and (b) as provided in ARTICLE IX, which shall be for the benefit of and enforceable
by Covered Persons as described therein, this Agreement is for the sole benefit of the parties hereto
(and their respective heirs, executors, administrators, successors, and assigns) and nothing herein,
express or implied, is intended to or shall confer upon any other Person, including any creditor of
the Company, any legal or equitable right, benefit, or remedy of any nature whatsoever under or
by reason of this Agreement.

       Section 12.10 Amendment. Subject to Sections 2.02 and 7.06(i), no provision of this
Agreement may be amended or modified except by an instrument in writing executed by the
Company and the Members holding a majority of the Membership Interests. Any such written
amendment or modification will be binding upon the Company and each Member.
Notwithstanding the foregoing, amendments to the Members Schedule following any new
issuance, redemption, repurchase, or Transfer of Membership Interests in accordance with this
Agreement may be made by the Independent Director without the consent of or execution by the
Members.

         Section 12.11 Waiver. No waiver by any party or Apache of any of the provisions hereof
shall be effective unless explicitly set forth in writing and signed by the party so waiving or
Apache, respectively. No waiver by any party or Apache shall operate or be construed as a waiver
in respect of any failure, breach, or default not expressly identified by such written waiver, whether
of a similar or different character, and whether occurring before or after that waiver. No failure to
exercise, or delay in exercising, any right, remedy, power, or privilege arising from this Agreement
shall operate or be construed as a waiver thereof, nor shall any single or partial exercise of any
right, remedy, power, or privilege hereunder preclude any other or further exercise thereof or the
exercise of any other right, remedy, power, or privilege. For the avoidance of doubt, nothing
contained in this Section 12.11 shall diminish any of the explicit and implicit waivers described in
this Agreement.

       Section 12.12 Governing Law. All issues and questions concerning the application,
construction, validity, interpretation, and enforcement of this Agreement shall be governed by and
construed in accordance with the internal laws of the State of Texas, without giving effect to any
choice or conflict of law provision or rule (whether of the State of Texas or any other jurisdiction)
that would cause the application of laws of any jurisdiction other than those of the State of Texas.

        Section 12.13 Submission to Jurisdiction. The parties hereby agree that any suit, action,
or proceeding seeking to enforce any provision of, or based on any matter arising out of or in
connection with, this Agreement or the transactions contemplated hereby, whether in contract, tort,
or otherwise, shall be brought in the federal courts of the United States of America or the courts
of the State of Texas, in each case located in Harris County and in Houston, Texas. Each of the
parties hereby irrevocably consents to the jurisdiction of such courts (and of the appropriate

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appellate courts therefrom) in any such suit, action, or proceeding and irrevocably waives, to the
fullest extent permitted by law, any objection that it may now or hereafter have to the laying of the
venue of any such suit, action, or proceeding in any such court or that any such suit, action, or
proceeding that is brought in any such court has been brought in an inconvenient forum. Service
of process, summons, notice, or other document by registered mail to the address set forth in
Section 12.04 shall be effective service of process for any suit, action, or other proceeding brought
in any such court.

      Section 12.14 Waiver of Jury Trial. EACH PARTY HERETO ACKNOWLEDGES
AND AGREES THAT ANY CONTROVERSY THAT MAY ARISE UNDER THIS
AGREEMENT IS LIKELY TO INVOLVE COMPLICATED AND DIFFICULT ISSUES AND,
THEREFORE, EACH SUCH PARTY IRREVOCABLY AND UNCONDITIONALLY WAIVES
ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY LEGAL ACTION
ARISING OUT OF RELATING TO THIS AGREEMENT OR THE TRANSACTIONS
CONTEMPLATED HEREBY.

        Section 12.15 Equitable Remedies. Each party hereto acknowledges that a breach or
threatened breach by such party of any of its obligations under this Agreement would give rise to
irreparable harm to the other parties or Apache, for which monetary damages would not be an
adequate remedy, and hereby agrees that in the event of a breach or a threatened breach by such
party of any such obligations, each of the other parties hereto and Apache shall, in addition to any
and all other rights and remedies that may be available to them in respect of such breach, be entitled
to equitable relief, including a temporary restraining order, an injunction, specific performance,
and any other relief that may be available from a court of competent jurisdiction (without any
requirement to post bond).

        Section 12.16 Attorney’s Fees. In the event that any party or third-party beneficiary
hereto institutes any legal suit, action, or proceeding, including arbitration, against another party
in respect of a matter arising out of or relating to this Agreement, the prevailing party or third-
party beneficiary in the suit, action, or proceeding shall be entitled to receive, in addition to all
other damages to which it may be entitled, the costs incurred by it in conducting the suit, action,
or proceeding, including reasonable attorneys’ fees and expenses and court costs.

        Section 12.17 Remedies Cumulative. The rights and remedies under this Agreement are
cumulative and are in addition to and not in substitution for any other rights and remedies available
at law or in equity or otherwise, except to the extent expressly provided in Section 9.02 to the
contrary.

        Section 12.18 Counterparts. This Agreement may be executed in counterparts, each of
which shall be deemed an original, but all of which together shall be deemed to be one and the
same agreement. A signed copy of this Agreement delivered by email or other means of Electronic
Transmission shall be deemed to have the same legal effect as delivery of an original signed copy
of this Agreement.

                                   (Signature Page Follows)


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IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed as of the
date first written above by their respective officers thereunto duly authorized.

                                                   The Company:
                                                   FIELDWOOD ENERGY I LLC,
                                                   a Texas limited liability company


                                                   By:
                                                   [NAME]
                                                   [TITLE]

                                                   The Initial Member:
                                                   []
                                                   a []


                                                   By:
                                                   [NAME]
                                                   [TITLE]




                      Signature Page to Limited Liability Company Agreement of
                                      Fieldwood Energy I LLC

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                                   EXHIBIT A

                     FORM OF TRANSITION SERVICES AGREEMENT




                                     Exh. A-1
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                                 SCHEDULE A

                            MEMBERS SCHEDULE

 Member Name, and Address                 Capital          Membership Interest
                                          Contribution

 [                      ]                 $[AMOUNT]        100%
 [ADDRESS]


 Total:                                   $[AMOUNT]        100%




                                    Sch. A-1
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                                         SCHEDULE B

                     INDEPENDENT DIRECTOR’S COMPENSATION




[To be the market compensation needed to attract a qualified candidate to accept the position.]




                                            Sch. B-1
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                                         SCHEDULE C

                          SOLE MANAGER’S COMPENSATION



[To be the market compensation needed to attract a qualified candidate to accept the position.]




                                            Sch. C-1
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                                          SCHEDULE D

       ACCOUNTING PROCEDURES FOR APACHE OFFICERS AND EMPLOYEES



I.       DIRECT CHARGES

 1.      LABOR

A.    Salaries and wages, including incentive compensation programs as set forth in COPAS
MFI-37 (“Chargeability of Incentive Compensation Programs”), for:

          (1)   Apache’s field employees directly employed on-site in the conduct of plugging and
          abandonment and decommissioning activities with respect to the applicable Legacy
          Apache Property or the GOM Shelf Property, and

          (2)    Apache’s employees providing First Level Supervision.

Charges for Apache’s employees identified in Section I.1.A may be made based on the employee’s
actual salaries and wages, or in lieu thereof, a day rate representing Apache’s average salaries and
wages of the employee’s specific job category.

Charges for personnel chargeable under this Section I.1.A who are foreign nationals shall not
exceed comparable compensation paid to an equivalent U.S. employee pursuant to this Section I.1.

B.     Apache’s cost of holiday, vacation, sickness, and disability benefits, and other customary
allowances paid to employees whose salaries and wages are chargeable under Section I.1.A,
excluding severance payments or other termination allowances. Such costs under this I.1.B may
be charged on a “when and as-paid basis” or by “percentage assessment” on the amount of salaries
and wages chargeable under Section I.1.A. If percentage assessment is used, the rate shall be based
on Apache’s cost experience.

C.      Expenditures or contributions made pursuant to assessments imposed by governmental
authority that are applicable to costs chargeable under Sections I.1.A and B.

D.     Personal expenses of personnel whose salaries and wages are chargeable under Section
I.1.A when the expenses are incurred in connection with directly chargeable activities.

E.      Apache’s cost of established plans for employee benefits, as described in COPAS MFI-27
(“Employee Benefits Chargeable to Joint Operations and Subject to Percentage Limitation”),
applicable to Apache’s labor costs chargeable under Sections I.1.A and B based on Apache’s actual
cost not to exceed 40%.




                                             Sch. D-1
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F.      Award payments to employees, in accordance with COPAS MFI-49 (“Awards to
Employees and Contractors”) for personnel whose salaries and wages are chargeable under Section
I. 1.A.

II. OVERHEAD

As compensation for costs not specifically identified as chargeable pursuant to Section I (Direct
Charges), Apache shall be reimbursed in accordance with this Section II.

Functions included in the overhead rates regardless of whether performed by Apache, Apache’s
Affiliates or third parties and regardless of location, shall include, but not be limited to, costs and
expenses of:

          •       design and drafting
          •       inventory costs
          •       procurement
          •       administration
          •       accounting and auditing
          •       human resources
          •       management
          •       supervision not directly charged under Section I.1 (Labor)
          •       in-house legal services
          •       taxation
          •       preparation and monitoring of permits and certifications; preparing regulatory
          reports; appearances before or meetings with governmental agencies or other authorities
          having jurisdiction over the applicable Legacy Apache Property or GOM Shelf Property,
          other than on-site inspections.

Overhead charges shall include the salaries or wages plus applicable payroll burdens, benefits, and
personal expenses of personnel performing overhead functions, as well as office and other related
expenses of overhead functions.

To compensate Apache for overhead costs incurred in connection with any particular plugging and
abandonment or decommissioning project conducted on any applicable Legacy Apache Property
or GOM Shelf Property, the following overhead rates shall be applied to those costs incurred in
the performance of such plugging, abandonment, and decommissioning activities:

           (1)   5% of total costs if such costs are less than $100,000; plus

          (2)    3% of total costs in excess of $100,000 but less or equal to $1,000,000; plus

          (3)    2% of total costs in excess of $1,000,000.

Total cost shall mean the gross cost of any one project



                                               Sch. D-2
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                                      Exhibit 7

                                ST 308 Bond Form




                [Exhibit to Apache Term Sheet Implementation Agreement]
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                                       PERFORMANCE BOND

                                                                                Bond Number:


KNOW ALL MEN BY THESE PRESENTS:

That we, [Fieldwood Energy II LLC, a Texas limited liability company] with its principal office at
[]                                             (hereinafter    called     the      “Principal’”')    and
[] with its principal mailing address at []
(hereinafter called the “Surety””) are held and firmly bound unto Apache Corporation, with its principal
office at 2000 Post Oak Blvd., Suite 100, Houston, TX 77056 (hereinafter called the “Obligee””), in the
penal sum of Thirteen Million Two Hundred Thousand and 00/100 Dollars ($13,200,000.00) (the
“Amount””) lawful money of the United States of America for the payment of which penal sum the
Principal and the Surety bind themselves, their successors and assigns, jointly, severally, and in solido,
firmly by these presents.

WHEREAS, pursuant to the terms of that certain [dated effective                                      by
and between Fieldwood Energy LLC (“Fieldwood”) and Principal (the “Purchase Agreement”)],
Principal acquired from Fieldwood certain interests in the lease described on Exhibit “A” attached
hereto and in the wells, facilities, platforms, structures, pipelines, and associated equipment located
thereon (such interests so acquired collectively, the “Property”); and

WHEREAS, in accordance with the terms of the Purchase Agreement and the documents executed in
connection therewith, Principal (i) assumed the obligations attributable to the Property to perform and
complete the plugging, abandonment, decommissioning, and site clearance for the Properties in
compliance with all applicable law, rules, and regulations (the “P&A Obligations””) (for the avoidance of
doubt, the P&A Obligations do not include any obligations of, or any obligations attributable to the
interests of, Apache Shelf Exploration LLC or any other current co-owner or their successors or assigns
in the Property other than Principal), including but not limited to, the rules and regulations of the Bureau
of Ocean Energy Management (“BOEM”), the Bureau of Safety and Environmental Enforcement
(“BSEE”), and their respective successor agencies and (ii) agreed to deliver to Obligee this Performance
Bond to secure the performance of the P&A Obligations;

NOW THEREFORE, notwithstanding anything contained herein to the contrary, if the P&A
Obligations are satisfied (as evidenced by providing to Obligee evidence reasonably acceptable to
Obligee reflecting that the P&A Obligations have been fully performed, satisfied, and extinguished,
together with an affidavit signed by an officer of Principal attesting to such performance), then this
Bond and the obligations hereunder shall be null and void; otherwise, this Bond shall remain in full
force and effect in the amount hereof; provided that if Principal performs or causes to be performed
operations and activities to satisfy any part of the P&A Obligations, then following BSEE’s approval of
the performance of such operations or activities, the Amount will be automatically reduced to an amount
equal to the lesser of (i) the Amount or (ii) one hundred twenty-five percent (125%) of BSEE’s then
current decommissioning cost estimate for the remaining P&A Obligations.

FURTHERMORE, if as to any Property, a Principal Default, as defined below, occurs and is not cured
and Obligee is required by BOEM, BSEE, or any governmental authority, to perform any of the P&A
Obligations (or a demand is made upon Obligee by a co-obligor of Principal to perform or contribute
toward the costs of performing any of the P&A Obligations following such Principal Default and


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Obligee is required by law or contract to so perform or contribute), then prior to any performance by
Obligee of any such P&A Obligations (or payment of Obligee to such co-obligor of a share of the
estimated costs of performing such P&A Obligations if such demand for such payment is made on
Obligee), Surety agrees to pay to Obligee an amount reasonably estimated by Obligee as necessary or
appropriate to perform such P&A Obligations (or to pay its share of the estimated costs of such P&A
Obligations if such demand is made by such co-obligor following such failure) in an amount up to, but
not exceeding, the Amount. The Amount shall be automatically reduced by any and all amounts paid by
Surety to Obligee.

FURTHERMORE, it is agreed that the Surety shall have no obligation to the Principal, the Obligee, or
any other person or entity for any loss suffered by the Principal, the Obligee, or any other person or
entity by reason of acts or omissions for which Obligee receives payment from the Principal’s general
liability insurance, products liability insurance, or completed operations insurance. In no event shall the
Surety be obligated to incur Surety Costs and/or pay, in the aggregate, for all claims hereunder, an
amount exceeding the Amount.

It is further agreed that the Surety shall not be liable for any hold harmless and/or indemnification
agreements entered into by the Principal in relation to personal injury or property damage or any other
loss sustained by third parties in any way connected to or arising out of the work and/or operations of
any party in forming the P&A Obligations.

If Principal fails to perform any of the P&A Obligations in accordance with the terms of the Purchase
Agreement and/or any applicable laws, rules, regulations, or governmental orders (or to pay its share of
the estimated costs for the P&A Obligations if demand is made by the Principal’s co-obligor which
share is otherwise payable by Obligee upon Principal’s failure to pay) then Principal shall have thirty
(30) days following receipt of notice of default from Obligee in which to fully cure or remedy such
default, provided that the Surety shall have the option to either cure or remedy such default within such
thirty (30) day period by hiring a contractor (subject to Obligee’s prior, reasonable written approval) to
perform such P&A Obligations in accordance with the terms and conditions of the Purchase Agreement
and all applicable laws, rules, regulations, or governmental orders (any such costs incurred by the Surety
to so cure or remedy such default, the “Surety Costs’”) or by making payment to Obligee for such P&A
Obligations in an amount reasonably estimated by Obligee as necessary or appropriate to perform such
P&A Obligations (or to pay its share of the estimated costs for such P&A Obligations if demand is made
by the Principal’s co-obligor in connection with such co-obligor’s performance of such P&A
Obligations) in an amount up to, but not exceeding, the Amount. Obligee agrees to provide Surety with a
copy of each such default notice. If the default covered by such default notice is not cured or remedied
within such thirty (30) day period then upon the expiration of such thirty (30) day period such default
shall constitute a “Principal Default” for purposes of this Bond.

No amendment of or supplement to the terms or provisions of the Purchase Agreement, the agreements
and instruments entered into in association therewith, or the exhibits or schedules attached thereto shall
release the Principal and the Surety or any of them from their liability under this Performance Bond,
notice to the Surety of any such amendment or supplement being hereby waived.

No (i) assignment of the Purchase Agreement, the agreements and instruments entered into in
association therewith, or of the Properties by the Principal, its successors and assigns, (ii) delay, neglect
or failure of the Obligee to proceed promptly to enforce any rights it might have against Principal under
the Purchase Agreement or otherwise or to proceed promptly in the premises in case of any default on
the part of the Principal, (iii) lack of enforceability or other defense or offset right in respect of any


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obligation of Principal or any right to Obligee under the Purchase Agreement or otherwise in respect of
the P&A Obligations, or (iv) the insolvency, bankruptcy, or receivership of Principal, shall in any degree
relieve the Principal and the Surety or any of them of their obligations under this Performance Bond;
and Principal and Surety hereby waive any defense or argument they may in relation to their obligations
under this Performance Bond in connection with any of the foregoing.

HOWEVER, if upon assignment of the Property or any part thereof by the Principal, its successors, or
assigns, the Principal shall cause its assignee (i) to post security with Obligee, in a form and amount
reasonably satisfactory to Obligee and otherwise containing terms and issued by the parties that are
reasonably satisfactory to Obligee (including terms no less favorable in the aggregate to Obligee than
those contained in this Performance Bond and from a surety or other party issuing the applicable
security having a [S&P rating of A- or better or an A.M. Best rating of A- or better and, in either case,
listed on the Federal Register as acceptable to the U.S. Treasury to issue bonds for U.S. government
obligees (T-listed)]) and (ii) to assume (in a written instrument approved by Obligee) all P&A
Obligations, then the Obligee will accept such security in lieu of this Bond and issue an unconditional
release of the Bond within thirty (30) days of Obligee’s acceptance of such other security.

NOTWITHSTANDING ANYTHING HEREIN TO THE CONTRARY, in the event one or more
dual obligee bonds in favor of Obligee and the United States of America acting through and by the
Bureau of Ocean Energy Management (“BOEM”) (i) are delivered to BOEM and Obligee, (ii) contain
terms no less favorable in the aggregate to Obligee than those contained in this Performance Bond, (iii)
are issued by a surety having a [S&P rating of A- or better or an A.M. Best rating of A- or better and, in
either case, listed on the Federal Register as acceptable to the U.S. Treasury to issue bonds for U.S.
government obligees (T-listed)]), (iv) cover all or part of the P&A Obligations, and (v) do not cover any
other obligations (other than the P&A Obligations) such that the penal sum of such bond could be
reduced as a result of the satisfaction or reduction of such other obligations, then the Amount of this
Performance Bond shall automatically be reduced to the positive difference, if any, between the current
Amount and the penal sum of such dual obligee bond(s).

No right or action shall accrue on this Performance Bond to or for the use of any person or corporation
other than the Principal, the Obligee, and their respective heirs, executors, administrators, successors,
and assigns.

This Performance Bond may not be amended, supplemented, or modified except pursuant to a written
instrument duly executed by the Principal, Surety, and Obligee. No course of conduct, dealing, or
performance shall amend, supplement, or modify this Performance Bond unless incorporated into a
written instrument referenced in the preceding sentence.

This Bond shall be governed by and construed in accordance with the laws of the State of Texas,
excluding its conflicts of laws rules and principles. Principal, Surety, and Obligee agree that any dispute
arising out of this Performance Bond shall be brought and heard exclusively in the state or federal courts
sitting in Harris County, Texas, and all of them irrevocably consent to the jurisdiction of said courts and
do hereby waive any objections they may have to the laying of venue in such courts, including
objections based upon grounds that such venue is inconvenient.

The Obligee will issue a release of this Bond within a reasonable time period following the earlier to
occur of (i) its receipt of satisfactory evidence of the full performance, satisfaction, and extinguishment
of the P&A Obligations in accordance with all applicable laws, rules, regulations, and orders, (ii) the full
performance by Surety of its obligations under this Bond and (iii) the incurrence of Surety Costs and/or
the making of payments by the Surety under the Bond of an amount equal to the Amount, in each case,

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no later than thirty (30) days after Obligee’s receipt of evidence reasonably satisfactory to Obligee
reflecting that the P&A Obligations have been fully performed, satisfied, and extinguished in
accordance with all applicable laws, rules, regulations, and orders, which evidence shall include a report
from the proper regulatory authority reflecting such performance, and an affidavit signed by an officer
of the Principal attesting to such performance.

Notwithstanding anything herein to the contrary, Obligee will issue a release of this Bond within a
reasonable time period following the reduction of the Amount to zero.

The Principal and the Surety agree that, notwithstanding any termination of any of the leases or rights of
way that may comprise any part of the Properties, whether pursuant to their terms, by operation of law,
or otherwise, this Performance Bond shall remain in full force and effect until the earlier of to occur of
(i) all P&A Obligations having been truly and faithfully performed, satisfied, and extinguished, (ii) the
full performance by Surety of its obligations under this Bond and (iii) Surety incurring Surety Costs
and/or making payments under this Bond in an amount equal to the Amount.

Surety represents that it (i) is duly authorized by the proper public authorities to transact the business of
indemnity and suretyship in the state where it executed this Performance Bond, and represents that it is
qualified to be surety and guarantor on bonds and undertakings, which certificate has not been revoked;
(ii) has duly executed a power of attorney, appointing the hereinafter named representative as its duly
authorized deputy, as the true and lawful attorney-in-fact of such Surety, upon whom may be served all
lawful process in any action or processing against such Surety in any court or before ay officer, arising
out of or founded upon this Performance Bond or any liability hereunder; and (iii) does hereby agree and
consent that such service, when so made, shall be valid service upon it, and that such appointment shall
continue in force and effect and be irrevocable so long as any liability against it remains outstanding
hereunder.

                           [remainder ofpage blank; signature page follows]




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